                        Exhibit H




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  II. ORGANIZATION OF THE NCAA MANUAL
  Divisions I, II and III each have a separate Manual that contains legislation specific to the applicable division and does not contain
  legislation pertaining only to one or both of the other divisions. However, legislation that includes references to one or both of the
  other divisions will appear in its entirety. In addition, since each division’s Manual does not contain legislation specific to the other
  divisions, some bylaws may have gaps in the numbering sequence.

  Constitution
  Articles 1 through 6 are the constitution, which consists of information relevant to the organization of the Association and the
  more important principles for the conduct of intercollegiate athletics.
         Preamble
         Article 1    Principles
         Article 2    Organization
         Article 3    Finance
         Article 4    Rules, Compliance and Accountability
         Article 5    Amendments to the Constitution
         Article 6    Institutional Control
  Operating Bylaws
  Articles 8 through 21 are the operating bylaws, which consist of legislation adopted by the membership to promote the principles
  enunciated in the constitution and to achieve the Association’s purposes.
         Article 8    Institutional Control
         Article 9    Legislative Authority and Process
         Article 10   Ethical Conduct
         Article 11   Conduct and Employment of Athletics Personnel
         Article 12   Amateurism and Athletics Eligibility
         Article 13   Recruiting
         Article 14   Academic Eligibility
         Article 15   Financial Aid
         Article 16   Awards, Benefits and Expenses for Enrolled Student-Athletes
         Article 17   Playing and Practice Seasons
         Article 18   Championships and Postseason Football
         Article 19   Infractions Program
         Article 20   Division Membership
         Article 21   Governance Structure and Committees
  Administrative Bylaw
  Article 31 is an administrative bylaw, which sets forth policies and procedures for the implementation of the NCAA champion-
  ships and the business of the Association. Amendments to Article 31 may be adopted by the Board of Directors or Council for
  the efficient administration of the activities that they govern. The bylaw also may be amended through the regular legislative
  process.
         Article 31 Executive Regulations

  The legislation included in the Division I Manual is also available online via the NCAA Legislative Services Database for the Internet
  (LSDBi) at www.NCAA.org. The LSDBi Manual is updated throughout the year to reflect any adopted legislation, modifications of
  wording, incorporations and editorial revisions. Therefore, the LSDBi Manual includes the most up-to-date legislation available and
  a mechanism for quickly searching and locating legislation through a variety of user-friendly methods.

  Custom Manuals may be produced and printed from LSDBi. Users may select entire articles or specific constitutional provisio ns
  and bylaws to include in an abridged format. For example, a user may produce an abridged Manual that only includes legislation that
  is specific to a particular sport.
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  III. VOTING REQUIREMENTS FOR MANUAL
  The Manual presents all regulations on a given subject in logical order. As a result, different paragraphs in the same sections may
  carry different voting requirements. The following terms define voting requirements currently in effect in the Manual:

      • Constitution — Provisions in the constitution, Articles 1 through 6, require a two-thirds majority vote of the total
         membership (present and voting) for adoption or amendment.

      • Area of Autonomy — An area of autonomy is a legislative provision that provides legislative flexibility to the Atlantic Coast
         Conference, Big Ten Conference, Big 12 Conference, Pac-12 Conference and Southeastern Conference and their member
         institutions. The abovementioned conferences are granted autonomy in these areas to permit the use of resources to advance
         the legitimate educational or athletics-related needs of student-athletes and for legislative changes that will otherwise enhance
         student-athlete well-being. The requirements for adoption, amendment and expansion of the areas of autonomy are set forth
         in Bylaw 9.2.2.1. A legislative provision that is an area of autonomy is identified by a capital letter A in brackets and bold
         font immediately after the title of the provision.

      • Common provision — Legislation that is derived from the common bylaws (9, 10, 12 and 13) in the 1988-89 Manual. All
         such legislation is identified by a pound sign [#] in brackets and bold font immediately after the title of the provision and
         requires a majority vote of each of the three divisions, voting separately, for adoption or amendment.

      • Federated provision — Legislation that is derived from divided bylaws in the 1988-89 Manual. Such legislation can be
         adopted or amended by a majority vote of one or more of the subdivisions voting separately.

      • Division dominant — A division dominant provision is one that applies to all members of Division I and is of sufficient
         importance to the division that it requires a two-thirds majority vote of all delegates present and voting at an annual or special
         Convention. Division dominant provisions are identified by a diamond symbol [◆] in brackets and bold font immediately
         after the title of the provision.

      • Football Championship Subdivision Dominant — A Football Championship Subdivision dominant provision is a
         regulation that applies only to the Football Championship Subdivision and is of sufficient importance to the subdivision
         that it requires a two-thirds majority vote for adoption or to be amended pursuant to the legislative process set forth in
         Bylaw 9.2.2.2. Football Championship Subdivision dominant provisions are identified by the initialization FCSD in brackets
         and bold font immediately after the title of the provision.




                                       Symbols Designating Voting Requirements
                                         and Subdivisions for Which Federated
                                               Legislation Is Applicable

                                  Provision                                                    Symbol

                                  Area of Autonomy                                                A
                                  Common                                                          #
                                  Division dominant                                               ◆
                                  Federated
                                       Football Bowl Subdivision                                  FBS
                                       Football Championship Subdivision                          FCS
                                       Football Bowl Subdivision and                            FBS/FCS
                                       Championship Subdivision
                                       Football Championship Subdivision Dominant.               FCSD




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   IV.DE MINIMIS AND RESTITUTIONVIOLATIONS
     • De Minimis — Violations of articles designated by a capital letter D in brackets and bold font [D] at the end of the legislative
       language shall be considered institutional violations; however, the involved prospective student-athlete’s or student-athlete’s
       eligibility shall not be affected.

     • Restitution — For violations of articles designated by a capital letter R in brackets and bold font [R] at the end of the
       legislative language, if the value of the benefit provided to the individual (prospective or enrolled student-athlete) is $200 or
       less, the eligibility of the individual shall not be affected conditioned upon the individual repaying the value of the benefit to a
       charity of their choice. The individual, however, shall remain ineligible from the time the institution has knowledge of the
       receipt of the impermissible benefit until the individual repays the benefit. Violations of such provisions remain institutional
       violations and documentation of the individual’s repayment shall be forwarded to the enforcement services staff with the
       institution’s self-report of the violation.

    V. DIAGRAMS AND TABLES
         Diagrams and tables are included as supplements to the text to help present the content of certain regulations in a clear and
         concise manner. They are presented as “Figures” and are listed on the page immediately before this user's guide.

   VI. LEGISLATION THAT IS SHADED
         Legislation, incorporations of interpretations, editorial revisions and modifications of wording approved or adopted after
         August 1, 2022, are set off by a gray background and include an adoption or revision date.

  VII. NOTATION OF LEGISLATION WITH DELAYED EFFECTIVE DATE
         Legislation with a delayed effective date is enclosed in a box and set off by a gray background.




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                                    Commitments to the Division I Collegiate Model
  In addition to the purposes and fundamental policy of the National Collegiate Athletic Association, as set forth in Constitution 1, members
  of Division I support the following commitments in the belief that these commitments assist in defining the nature and purposes of the
  division. These commitments are not binding on member institutions but serve as a guide for the preparation of legislation by the
  division and for planning and implementation of programs by institutions and conferences.

  The Commitment to Value-Based Legislation. Bylaws proposed and enacted by member institutions governing the conduct of inter-
  collegiate athletics shall be designed to foster competition in amateur athletics, promote the Association’s enduring values and advance the
  Collegiate Model as set forth in the NCAA Constitution. In some instances, a careful balancing of these values may be necessary to help
  achieve the purposes of the Association.

  The Commitment to Amateurism. Member institutions shall conduct their athletics programs for students who choose to participate in
  intercollegiate athletics as a part of their educational experience and in accordance with NCAA bylaws, thus maintaining a line of
  demarcation between student-athletes who participate in the Collegiate Model and athletes competing in the professional model.

  The Commitment to Fair Competition. Bylaws shall be designed to promote the opportunity for institutions and eligible student-
  athletes to engage in fair competition. This commitment requires that all member institutions compete within the framework of the
  Collegiate Model of athletics in which athletics competition is an integral part of the student-athlete’s effort to acquire a degree in higher
  education. The commitment to fair competition acknowledges that variability will exist among members, including facilities, geographic
  locations and resources, and that such variability should not be justification for future legislation. Areas affecting fair competition include, but
  are not limited to, personnel, eligibility and amateurism, recruiting, financial aid, the length of playing and practice seasons, and the
  number of institutional competitions per sport.

  The Commitment to Integrity and Sportsmanship. It is the responsibility of each member institution to conduct its athletics pro-
  grams and manage its staff members, representatives and student-athletes in a manner that promotes the ideals of higher education and
  the integrity of intercollegiate athletics. Member institutions are committed to encouraging behavior that advances the interests of the
  Association, its membership and the Collegiate Model of athletics. All individuals associated with intercollegiate athletics programs and
  events should adhere to such fundamental values as respect, fairness, civility, honesty, responsibility, academic integrity and ethical
  conduct. These values should be manifest not only in athletics participation, but also in the broad spectrum of activities affecting the
  athletics programs.

  The Commitment to Institutional Control and Compliance. It is the responsibility of each member institution to monitor and con-
  trol its athletics programs, staff members, representatives and student-athletes to ensure compliance with the Constitution and bylaws of the
  Association. Responsibility for maintaining institutional control ultimately rests with the institution’s campus president or chancellor. It is
  also the responsibility of each member institution to report all breaches of conduct established by these bylaws to the Association in a
  timely manner and cooperate with the Association’s enforcement efforts. Upon a conclusion that one or more violations occurred, an
  institution shall be subject to such disciplinary and corrective actions as may be prescribed by the Association on behalf of the entire
  membership.

  The Commitment to Student-Athlete Well-Being. Intercollegiate athletics programs shall be conducted in a manner designed to
  enhance the well-being of student-athletes who choose to participate and to prevent undue commercial or other influences that may
  interfere with their scholastic, athletics or related interests. The time required of student-athletes for participation in intercollegiate
  athletics shall be regulated to minimize interference with their academic pursuits. It is the responsibility of each member institution to
  establish and maintain an environment in which student-athletes’ activities, in all sports, are conducted to encourage academic success
  and individual development and as an integral part of the educational experience. Each member institution should also provide an
  environment that fosters fairness, sportsmanship, safety, honesty and positive relationships between student-athletes and representatives of
  the institution.

  The Commitment to Sound Academic Standards. Standards of the Association governing participation in intercollegiate athletics,
  including postseason competition, shall be designed to ensure proper emphasis on educational objectives and the opportunity for
  academic success, including graduation, of student-athletes who choose to participate at a member institution. Intercollegiate athletics
  programs shall be maintained as an important component of the educational program, and student-athletes shall be an integral part of
  the student body. Each member institution’s admission and academic standards for student-athletes shall be designed to promote
  academic progress and graduation and shall be consistent with the standards adopted by the institution for the student body in general.

  The Commitment to Responsible Recruiting Standards. Recruiting bylaws shall be designed to promote informed decisions and
  balance the interests of prospective student-athletes, their educational institutions, the Association’s member institutions and
  intercollegiate athletics as a whole. This commitment includes minimizing the role of external influences on prospective student-athletes
  and their families and preventing excessive contact or pressure in the recruitment process.

  The Commitment to Diversity and Inclusion. The Division I membership believes in and is committed to the core values of diversity,
  inclusion and equity, because realization of those values improves the learning environment for all student-athletes and enhances
  excellence within the membership and in all aspects of intercollegiate athletics. The membership shall create diverse and inclusive
  environments, promote an atmosphere of respect for and sensitivity to the dignity of every person, and include diverse perspectives in the
  pursuit of academic and athletic excellence. Member institutions, with assistance from the national office, are expected to develop
  inclusive practices that foster positive learning and competitive environments for student-athletes, as well as professional development
  and opportunities for athletics administrators, coaches and staff from diverse backgrounds.

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CONSTITUTION,

Preamble
The National Collegiate Athletic Association is a voluntary, self-governing organization of four-year colleges, universities and
conferences committed to the well-being and development of student-athletes, to sound academic standards and the academic
success of student-athletes, and to diversity, equity and inclusion. Member institutions and conferences believe that
intercollegiate athletics programs provide student-athletes with the opportunity to participate in sports and compete as a vital,
co-curricular part of their educational experience. The member schools and conferences likewise are committed to integrity and
sportsmanship in their athletics programs and to institutional control of and responsibility for those programs. The basic
purpose of the Association is to support and promote healthy and safe intercollegiate athletics, including national
championships, as an integral part of the education program and the student-athlete as an integral part of the student body.
(Adopted: 1/20/22 effective 8/1/22)




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CONSTITUTION, ARTICLE 1

Principles
A The Primacy of Academic Experience. Intercollegiate student-athletes are matriculated, degree- seeking
students in good standing with their institutions who choose voluntarily to participate in NCAA sports. It is the responsibility of
each member institution to establish and maintain an environment in which a student-athlete’s activities are conducted with the
appropriate primary emphasis on the student-athlete’s academic experience. Intercollegiate athletics programs shall be
maintained as a vital component of each institution’s broader educational program. The admission, academic standing and
academic progress of student-athletes shall be consistent with the policies and standards adopted by the institution. (Adopted:
1/20/22 effective 8/1/22)
B The Collegiate Student-Athlete Model. Student-athletes may not be compensated by a member
institution for participating in a sport but may receive educational and other benefits in accordance with guidelines established
by their NCAA division. (Adopted: 1/20/22 effective 8/1/22)
C Integrity and Sportsmanship. It is the responsibility of each member to conduct its athletics program in a
manner that promotes the ideals of higher education, human development and the integrity of intercollegiate athletics. All
individuals associated with intercollegiate athletics programs and events should adhere to such fundamental values as respect,
fairness, civility, honesty, responsibility, academic integrity, ethical conduct, and the rules of their conferences. (Adopted: 1/20/22
effective 8/1/22)
D Student-Athlete Well-Being. Intercollegiate athletics programs shall be conducted by the Association,
divisions, conferences and member institutions in a manner designed to protect, support and enhance the physical and mental
health and safety of student-athletes. Each member institution shall facilitate an environment that reinforces physical and mental
health within athletics by ensuring access to appropriate resources and open engagement with respect to physical and mental
health. Each institution is responsible for ensuring that coaches and administrators exhibit fairness, openness and honesty in
their relationship with student-athletes. Student-athletes shall not be discriminated against or disparaged because of their
physical or mental health. (Adopted: 1/20/22 effective 8/1/22)
E Institutional Control. It is the responsibility of each member institution to monitor and control its athletics
program and to provide education and training to ensure compliance with the rules established by the Association, its division
and conference. It is the responsibility of each member institution to report all rules violations to its NCAA division and
conference in a timely manner and to cooperate fully with enforcement efforts. Responsibility for maintaining institutional
control ultimately rests with the institution’s campus president or chancellor. (Adopted: 1/20/22 effective 8/1/22)
F Diversity, Equity and Inclusion. The Association is committed to diversity, equity and inclusion. The
Association, divisions, conferences and member institutions shall create diverse and inclusive environments and shall provide
education and training with respect to the creation of such environments and an atmosphere of respect for and sensitivity to the
dignity of every person. The Association, divisions, conferences and member institutions shall commit to promoting diversity
and inclusion in athletics activities and events, hiring practices, professional and coaching relationships, leadership and
advancement opportunities. (Adopted: 1/20/22 effective 8/1/22)
G Gender Equity. The Association is committed to gender equity. Activities of the Association, its divisions,
conferences and member institutions shall be conducted in a manner free of gender Divisions, conferences and member
institutions shall commit to preventing gender bias in athletics activities and events, hiring practices, professional and coaching
relationships, leadership and advancement opportunities. (Adopted: 1/20/22 effective 8/1/22)
H Recruiting Standards. Divisional bylaws shall be designed to promote informed decisions and balance the
interests of prospective and current (or transfer) student-athletes, their educational institutions and intercollegiate athletics as a
whole. (Adopted: 1/20/22 effective 8/1/22)




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CONSTITUTION, ARTICLE 2

Organization
A The Association (Adopted: 1/20/22 effective 8/1/22)
1 The membership of the NCAA encompasses public and private institutions and conferences of widely varying mission, size,
resources and Accordingly, Association-wide governance must reflect these differences through the delegation of authorities and
responsibilities to the divisions, conferences and individual member institutions except where necessary to promote and
maintain the Association’s core principles. (Adopted: 1/20/22 effective 8/1/22)
2 The Association shall: (Adopted: 1/20/22 effective 8/1/22)
    a Conduct all NCAA championships. Each member in good standing in its division shall be eligible to compete in NCAA
    championships assuming it meets applicable Association, division and conference requirements. The Association shall
    oversee broadcasting, communications and media rights for all NCAA-conducted national championships. (Adopted:
    1/20/22 effective 8/1/22)
    b When requested by a Board of Governors recognized committee, the Committee on Competitive Safeguards and Medical
    Aspects of Sports or a division, develop and promulgate guidance, rules and policies based on consensus of the medical,
    scientific, sports medicine and sport governing communities, as appropriate, for student-athlete physical and mental health,
    safety and performance. The Association shall make available such guidance, rules and policies to all members. (Adopted:
    1/20/22 effective 8/1/22)
    c Promote gender equity, diversity and inclusion in all aspects of intercollegiate athletics. (Adopted: 1/20/22 effective 8/1/22)
    d Establish the rules for sports competitions and participation, with flexibility at the divisional, subdivisional or federated
    level as deemed necessary. (Adopted: 1/20/22 effective 8/1/22)
    e Manage the Association’s intellectual property and maintain historical and statistical records of the Association. (Adopted:
    1/20/22 effective 8/1/22)
    f Serve as liaison to the United States Olympic and Paralympic Committee. (Adopted: 1/20/22 effective 8/1/22)
    g Provide regulatory services as requested by each division. (Adopted: 1/20/22 effective 8/1/22)
    h Defer to appropriate authorities in areas where neither the Association nor the divisions have enforcement/infractions
    authority. (Adopted: 1/20/22 effective 8/1/22)
3 The Board of Governors: (Adopted: 1/20/22 effective 8/1/22)
    a Composition of the Board of Governors shall include, with due attention to diversity and gender equity, the following
    voting members: (Adopted: 1/20/22 effective 8/1/22)
         (i) Four members from Division I, to include at least one member institution president or chancellor and one
         conference commissioner. (Adopted: 1/20/22 effective 8/1/22)
         (ii) One member from the Division II Presidents Council. (Adopted: 1/20/22 effective 8/1/22)
         (iii) One member from the Division III Presidents Council. (Adopted: 1/20/22 effective 8/1/22)
         (iv) Two independent members who are not currently employed or compensated by any member institution. (Adopted:
         1/20/22 effective 8/1/22)
         (v) One graduated NCAA student-athlete, who shall have graduated not more than four years prior to appointment.
         (Adopted: 1/20/22 effective 8/1/22)
         (vi) Ex officio nonvoting members of the Board of Governors shall include the NCAA president, the chairs of the
         Division I Council and Division II and Division III Management Councils, the president of one Historically Black
         College and University (HBCU), and one former NCAA student-athlete from each of the two divisions not
         represented by the student-athlete voting member of the Board of Governors, who shall have graduated not more than
         four years prior to appointment. (Adopted: 1/20/22 effective 8/1/22)
    b Selection of the members of the Board of Governors. (Adopted: 1/20/22 effective 8/1/22)
         (i) Division I members of the Board of Governors shall be appointed by the Division I Board of Directors; Divisions II
         and III members of the Board of Governors shall be appointed by the Division II and III Presidents Councils,
         respectively. (Adopted: 1/20/22 effective 8/1/22)


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         (ii) Independent members of the Board of Governors shall be selected by the Division I, II and III members of the
         Board of Governors. (Adopted: 1/20/22 effective 8/1/22)
         (iii) Each divisional Student-Athlete Advisory Committee shall nominate one graduated student- athlete member for
         the Board of Governors. One of those nominees shall be selected by the other eight members of the Board of
         Governors to be a voting member representing all three divisions. The other two nominees shall be ex officio members
         of the Board of Governors. [See Article 2-A-3-a-(vi) above.] The selection process for the student-athlete voting
         member and ex officio members of the Board of Governors must ensure that both men’s and women’s sports are
         represented. (Adopted: 1/20/22 effective 8/1/22)
         (iv) The HBCU ex officio member of the Board of Governors shall be selected by the Division I, II and III members of
         the Board of Governors. (Adopted: 1/20/22 effective 8/1/22)
   c Each member of the Board of Governors shall have a two-year term, renewable for an additional two years. (Adopted:
   1/20/22 effective 8/1/22)
   d Duties and responsibilities: (Adopted: 1/20/22 effective 8/1/22)
         (i) Provide final approval and oversight of the Association’s budget, internal and external audits, enterprise risk
         management, strategic planning, allocation of assets and establish policies related to fiduciary responsibility; (Adopted:
         1/20/22 effective 8/1/22)
         (ii) Employ the Association’s president, who shall be administratively responsible to the Board of Governors. Annually,
         in consultation with the governing bodies of the three divisions, evaluate the president. Approve employment terms of
         the president, including but not limited to compensation, benefits, discipline and termination. (Adopted: 1/20/22
         effective 8/1/22)
         (iii) Approve Association contracts involving media rights and revenue producing agreements, consulting as
         appropriate with divisional governing bodies. (Adopted: 1/20/22 effective 8/1/22)
         (iv) In consultation with the leadership of the divisional governing bodies, adopt and implement legal strategy,
         Association risk mitigation, and government relations and policy matters that affect the Association as a whole.
         (Adopted: 1/20/22 effective 8/1/22)
         (v) Provide Board of Governors meeting agendas in advance to the chair of the Division I Board of Directors, and
         chairs of the Division II and III Presidents Councils to solicit comment and advice, and report fully to the same
         individuals Board of Governors actions. For matters pertaining primarily to one division, the Board of Governors will
         consult with and solicit comment from that division’s Board of Directors or Presidents Council with due attention to
         its views. (Adopted: 1/20/22 effective 8/1/22)
         (vi) May create an executive committee and other committees or bodies to fulfill the duties and responsibilities of the
         Board of Governors. (Adopted: 1/20/22 effective 8/1/22)
         (vii) Formulate policies and procedures consistent with this Constitution. (Adopted: 1/20/22 effective 8/1/22)
         (viii) Convene at least one combined meeting per year of the divisional presidential governing bodies. (Adopted:
         1/20/22 effective 8/1/22)
         (ix) Convene at least one same-site meeting per year of the Division I Council and the Division II and Division III
         Management Councils. (Adopted: 1/20/22 effective 8/1/22)
         (x) Sponsor proposed amendments to the Constitution to the entire membership for a vote. (Adopted: 1/20/22 effective
         8/1/22)
         (xi) Monitor adherence by the divisions to the principles in Article I. Call for a vote of the entire membership on the
         action of any division that it determines to be contrary to the basic purposes and general principles set forth in the
         Association’s Constitution. This action may be overridden by the Association’s entire membership by a two-thirds
         majority vote of those institutions voting. (Adopted: 1/20/22 effective 8/1/22)
         (xii) Call for an annual or special convention of the Association. (Adopted: 1/20/22 effective 8/1/22)
   e Duties and responsibilities of the NCAA president: (Adopted: 1/20/22 effective 8/1/22)
         (i) Administer the national office to implement directions of the Board of Governors and divisional leadership bodies.
         (Adopted: 1/20/22 effective 8/1/22)
         (ii) Enter into, administer and enforce all Association contracts, including Board of Governors approved contracts
         concerning media rights and revenue producing agreements and initiatives of the Board of Governors and divisional
         leadership bodies. (Adopted: 1/20/22 effective 8/1/22)

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         (iii) Recommend to the Board of Governors measures in response to an action or statement by an institution or its
         representatives that materially violates a constitutional principle and undermines the interests of the Association.
         (Adopted: 1/20/22 effective 8/1/22)
         (iv) Undertake other actions necessary to accomplish the purposes of the Association as determined by the Board of
         Governors and divisional leadership bodies. (Adopted: 1/20/22 effective 8/1/22)
         (v) Serve as an ex officio member of the Board of Governors with authority to vote in instances when the vote of the
         Board of Governors results in a tie. (Adopted: 1/20/22 effective 8/1/22)
B The Divisions (Adopted: 1/20/22 effective 8/1/22)
1 Each division shall have independent authority to organize itself, consistent with the principles of the Association. Each
division is authorized to structure itself as it deems necessary, including creation of subdivisions or creation of a new division and
determination of membership eligibility for these new organizations, including the role of conferences. New divisions or
subdivisions must be self-funded by the originating division. (Adopted: 1/20/22 effective 8/1/22)
2 Each division shall set standards for academic eligibility. (Adopted: 1/20/22 effective 8/1/22)
3 Each division shall determine its own governing structure and membership. (Adopted: 1/20/22 effective 8/1/22)
4 Each division shall establish guidelines regarding student-athlete benefits, including commercialization of name, image or
likeness and to prevent exploitation of student-athletes or abuses by individuals or organizations not subject to the authority of
the student-athlete’s school. (Adopted: 1/20/22 effective 8/1/22)
5 Each division shall establish policies and procedures for enforcement of Association and division rules and regulations, and the
Association will provide requested support for divisional implementation. (Adopted: 1/20/22 effective 8/1/22)
6 Each division shall determine the sports in which it conducts a national championship and the access criteria for participation.
(Adopted: 1/20/22 effective 8/1/22)
7 Two or more divisions may establish a national collegiate championship in a sport in which they do not have separate
divisional championships. (Adopted: 1/20/22 effective 8/1/22)
8 Each division shall determine whether to allow an institution to classify a sport in a division other than the division in which it
holds membership and the division shall determine the process for reclassification, and the privileges, conditions and obligations
of multidivision classification. (Adopted: 1/20/22 effective 8/1/22)
9 Each division shall determine the policies under which conferences are formed and operated. (Adopted: 1/20/22 effective
8/1/22)
10 Each division shall oversee the operations of its member conferences and their adherence to the principles and provisions in
this Constitution. (Adopted: 1/20/22 effective 8/1/22)
11 Each division shall ensure its member institutions implement the provisions of Section D below. (Adopted: 1/20/22 effective
8/1/22)
12 Authorities not explicitly enumerated in this Constitution for Association-wide governance are reserved to the divisions or, at
their discretion, to subdivisions, conferences or individual institutions. (Adopted: 1/20/22 effective 8/1/22)
C The Conferences (Adopted: 1/20/22 effective 8/1/22)
1 A member conference is a group of colleges and/or universities, created and operated in a manner governed by the policies of
its division, that conducts competition among its members, determines a conference champion in one or more sports in which
the NCAA conducts a championship, and meets the conference membership requirements established by its division. (Adopted:
1/20/22 effective 8/1/22)
    a Multisport Conferences: Multisport conferences are the primary conference members and serve a critical role in
    Association and divisional governance as they represent the positions of their member colleges and universities. (Adopted:
    1/20/22 effective 8/1/22)
    b Multisport conferences must meet all specified divisional membership criteria, including number of member institutions,
    sports sponsorship minimums and regular-season competition requirements. (Adopted: 1/20/22 effective 8/1/22)
    c Multisport conferences may be allocated voting representation on NCAA committees, working groups, task forces and
    other organizational bodies with oversight over Association or division-wide policy, as determined by the divisions.
    (Adopted: 1/20/22 effective 8/1/22)
2 Single-Sport Conferences: (Adopted: 1/20/22 effective 8/1/22)

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    a A single-sport conference conducts competition and determines a conference champion among its members in one sport.
    (Adopted: 1/20/22 effective 8/1/22)
    b Single-sport conferences must meet all specified divisional membership criteria for single-sport conferences. (Adopted:
    1/20/22 effective 8/1/22)
    c The governance and legislative role for a single-sport conference is limited to issues impacting the single sport and subject
    to the structure and requirements of its division. (Adopted: 1/20/22 effective 8/1/22)
3 Each division shall have the authority to determine the membership requirements for multisport and single-sport conference
members and the role and representation of multisport conference members in the divisional governance structure. (Adopted:
1/20/22 effective 8/1/22)
4 All conferences: (Adopted: 1/20/22 effective 8/1/22)
    a Must adhere to the principles and provisions in this Constitution and those established by their division, including in the
    conduct of athletics events. (Adopted: 1/20/22 effective 8/1/22)
    b Must provide to student-athletes any conference policies for its licensing, marketing, sponsorship, advertising, and other
    commercial agreements that may involve use of a student-athlete’s name, image or likeness. (Adopted: 1/20/22 effective
    8/1/22)
    c Shall comply completely and promptly with the rules and regulations governing the division’s enforcement process and
    shall cooperate fully in that process as a condition of membership in the Association. (Adopted: 1/20/22 effective 8/1/22)
5 Each conference shall support its member institutions in implementing the provisions of Section D below, subject to guidance
from its division. (Adopted: 1/20/22 effective 8/1/22)
D Member Colleges and Universities (Adopted: 1/20/22 effective 8/1/22)
1 All members of the NCAA must: (Adopted: 1/20/22 effective 8/1/22)
    a Ensure participating student-athletes are in good standing with the member institution, the conference, division and
    national Association. (Adopted: 1/20/22 effective 8/1/22)
    b Annually submit documentation demonstrating compliance with the division’s academic program and publish progress-
    toward-degree requirements for student-athletes. (Adopted: 1/20/22 effective 8/1/22)
    c Submit annually to the division and the NCAA financial data as determined by the division detailing operating revenues,
    expenses and capital relating to the intercollegiate athletics program. (Adopted: 1/20/22 effective 8/1/22)
    d Establish an administrative structure that provides independent medical care for student-athletes, affirms the autonomous
    authority of primary athletics health care providers, and implements NCAA guidance, rules and policies based on consensus
    of the medical, scientific, sports medicine, and sport governing communities. The physicians and health care staff at each
    member institution have the ultimate decision-making authority over the health and welfare of student-athletes. Consistent
    with the member institutions’ primary obligation with respect to student-athlete health and safety, member institutions will
    make NCAA guidance, rules and policies available to student-athletes. Member institutions shall be responsible for the
    oversight and administration of coach, administrator and staff education on relevant student-athlete physical and mental
    health topics, prevailing consensus for engaging student-athletes about physical and mental health, how to most effectively
    support student-athlete physical and mental health, and appropriate resources on campus or in the local community.
    Member institutions are responsible for regulating practice schedules, taking into consideration the health of student-
    athletes and their academic success. (Adopted: 1/20/22 effective 8/1/22)
    e Maintain written policies for its licensing, marketing, sponsorship, advertising and other commercial agreements that may
    involve the use of a student-athlete’s name, image or likeness. Each institution shall provide such policies to student-athletes
    and make those policies publicly available. (Adopted: 1/20/22 effective 8/1/22)
    f In furtherance of institutional commitments to integrity and sportsmanship, to student-athletes, and to support diversity,
    equity, and inclusion, appoint individuals who have the following designations: faculty athletics representative; senior
    woman administrator; athletics healthcare administrator; athletics diversity and inclusion designee; and senior compliance
    administrator. Each institution will have the flexibility to assign duties associated with each position that best serves the
    needs of the institution and student-athletes. (Adopted: 1/20/22 effective 8/1/22)
    g Establish a student-athlete advisory committee. Its duties may be established by the institution, but student-athletes must
    constitute a majority of the membership of the committee. (Adopted: 1/20/22 effective 8/1/22)
    h Comply completely and promptly with the rules and regulations governing the divisional enforcement process and shall
    cooperate fully in that process as a condition of membership in the Association. (Adopted: 1/20/22 effective 8/1/22)

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2 An institution’s membership in the NCAA may be suspended, terminated or otherwise disciplined (including loss of or
reduction in rights to participate in governance processes or financial penalties) for removal of the member’s accreditation,
failure to pay dues or failure to satisfy academic performance progress, or failure to abide by the principles stated in this
constitution or those established by an institution’s division. (Adopted: 1/20/22 effective 8/1/22)
E Student-Athletes (Adopted: 1/20/22 effective 8/1/22)
1 Student-athletes shall have voting representation on the Board of Governors, Division I Board of Directors, and Division II
and Division III Presidents Councils. (Adopted: 1/20/22 effective 8/1/22)
2 The president or chancellor of each member institution shall appoint and support the faculty athletics representative as the
principal point of contact to whom student-athletes can report any action, activity or behavior by anyone associated with the
athletics program inconsistent with this constitution’s principle of student-athlete health and well-being. In this role, the faculty
athletics representative is a reporting contact for student-athletes independent of the institution’s athletics department, but not a
legal advocate for student-athletes. The faculty athletics representative, in this capacity, shall report directly to the member
institution’s president or chancellor. (Adopted: 1/20/22 effective 8/1/22)




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CONSTITUTION, ARTICLE 3

Finance
A Resources will be allocated to the three divisions to provide standard membership services, including championships.
Division II will receive 4.37% and Division III will receive 3.18% of all operating revenue sources, as agreed on January 9,
1996. (Adopted: 1/20/22 effective 8/1/22)
B All Division II and Division III member schools and conferences shall receive services from the national office. Each division
may choose to support additional service needs through their divisional budget. An annual review will be conducted to validate
the additional Association service expenses that Divisions II and III pay for directly out of their allocations. (Adopted: 1/20/22
effective 8/1/22)
C All members shall pay Association-wide membership dues set by the Board of Governors on an annual basis that contribute to
the NCAA budget. (Adopted: 1/20/22 effective 8/1/22)
D Each division shall have oversight and final approval of its own budget and expenditures and the division’s revenue
distribution to its members. (Adopted: 1/20/22 effective 8/1/22)
E Divisions may levy assessments on their members, which can be allocated to the divisional budget. Any divisional levy or
increase in divisional membership dues by a division may be kept and allocated by the division acting independently of the
Association or other divisions. (Adopted: 1/20/22 effective 8/1/22)




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CONSTITUTION, ARTICLE 4

Rules, Compliance and Accountability
A Each member institution, consistent with the principle of institutional control, shall hold itself accountable to support and
comply with the rules and principles approved by the membership. Further, each school shall ensure that its staff, student-
athletes, and other individuals and groups representing the institution’s athletics interests comply with applicable rules
(institutional, conference, divisional and Association-wide) in the conduct of the institution’s intercollegiate athletics programs.
(Adopted: 1/20/22 effective 8/1/22)
B Each division shall determine the methods of investigation and adjudication to hold accountable its members whose
representatives engage in behaviors that violate the rules and principles approved by the membership. (Adopted: 1/20/22 effective
8/1/22)
1 Those accountability measures shall identify the people who engage in investigation and adjudication and define their
operating authority. (Adopted: 1/20/22 effective 8/1/22)
2 The measures shall be designed to prioritize integrity and fair play, provide fair investigative and adjudicatory procedures and
prescribe appropriate penalties in a timely manner. (Adopted: 1/20/22 effective 8/1/22)
3 Member institutions shall cooperate fully in all accountability measures established by the applicable division and shall take all
necessary measures to ensure the cooperation of their staff, student-athletes, and institutional representatives. (Adopted: 1/20/22
effective 8/1/22)
4 Divisional and, as appropriate, conference regulations must ensure to the greatest extent possible that penalties imposed for
infractions do not punish programs or student-athletes not involved nor implicated in the infraction(s). (Adopted: 1/20/22
effective 8/1/22)
5 Investigation of alleged infractions and, if appropriate, sanctions or penalties, by a division or conference should be consistent
and timely. Decisions with respect to minor infractions should be prompt and proportionate. (Adopted: 1/20/22 effective 8/1/22)
6 Each division shall annually report to the Board of Governors all major infractions as defined by each division during the
preceding year, the status of investigations, and penalties imposed. (Adopted: 1/20/22 effective 8/1/22)




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CONSTITUTION, ARTICLE 5

Amendments to the Constitution
A Provisions of the NCAA constitution may be amended only at a special or annual Convention. The membership shall receive
reasonable notice of proposed amendments. An amendment may be sponsored only by the Board of Governors or by a two-
thirds vote of a divisional leadership body. A sponsored amendment shall require a two-thirds majority vote of all delegates
present and voting. The chair of each divisional Student-Athlete Advisory Committee shall be eligible to vote. (Adopted: 1/20/22
effective 8/1/22)
B Sponsored amendments shall include a statement of intent and rationale. Amendments to amendments may be sponsored as
set forth above but may not expand the scope of the original amendment. Amendments to amendments shall require a two-
thirds majority vote of all delegates present and voting. (Adopted: 1/20/22 effective 8/1/22)
C Approved amendments shall become effective on the first day of August following adoption, unless another effective date is
approved by a two-thirds majority vote of all delegates present and voting.
(Adopted: 1/20/22 effective 8/1/22)
D Before the end of a special or annual Convention, any member who voted on the prevailing side may move for
reconsideration. (Adopted: 1/20/22 effective 8/1/22)




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CONSTITUTION, ARTICLE 6

Institutional Control
A The control and responsibility for the conduct of intercollegiate athletics shall be exercised by the institution itself and the
division and conference of which it is a member. A member institution's president or chancellor has ultimate responsibility and
final authority for the conduct of the intercollegiate athletics program and the actions of any board in control of that program.
(Adopted: 1/20/22 effective 8/1/22)
B If an institution has a nongoverning athletics board or council or an athletics advisory board, administration, faculty members
and student-athletes shall constitute at least a majority of the board. (Adopted: 1/20/22 effective 8/1/22)
C It is the responsibility of the Association and each division, conference and member institution to comply with federal and
state laws and local ordinances, including with respect to gender equity, diversity and inclusion. (Adopted: 1/20/22 effective
8/1/22)
D Consistent with the principle of institutional control, no provision in this constitution should be construed to restrict or limit
colleges and universities, public or private, from adopting or maintaining missions and policies consistent with their legal rights
or obligations as institutions of high learning. (Adopted: 1/20/22 effective 8/1/22)




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BYLAW, ARTICLE 8

Institutional Control
8.01 General Principle.
8.01.1 Institutional Control. The control and responsibility for the conduct of intercollegiate athletics shall be exercised by
the institution itself and by the conference(s), if any, of which it is a member. Administrative control or faculty control, or a
combination of the two, shall constitute institutional control. (Revised: 1/20/22)
8.01.2 Responsibility for Control. It is the responsibility of each member institution to control its intercollegiate athletics
program in compliance with the rules and regulations of the Association. The institution's president or chancellor is responsible
for the administration of all aspects of the athletics program. (Adopted: 8/1/22)
8.01.3 Responsibility to Monitor and Report. An institution shall comply with all applicable rules and regulations of
the Association in the conduct of its intercollegiate athletics programs. It shall monitor its programs to ensure compliance and to
identify and report instances in which compliance has not been achieved. An institution shall cooperate fully with any
enforcement efforts and shall take appropriate corrective actions, as necessary. Members of an institution's staff, student-athletes,
and other individuals and groups representing the institution's athletics interests shall comply with the applicable Association
rules, including rules requiring cooperation with enforcement efforts, and the member institution shall be responsible for such
compliance. (Adopted: 8/1/22)
8.1 Institutional Governance.
8.1.1 President or Chancellor. A member institution's president or chancellor has ultimate responsibility and final
authority for the conduct of the intercollegiate athletics program and the actions of any board in control of that program. The
term "president or chancellor" refers to the individual with primary executive authority for an institution and does not include
an individual who has executive responsibility over a system of institutions. (Revised: 3/8/06, 5/22/13, 1/20/22)
8.1.2 Athletics Board. A board in control of athletics or an athletics advisory board, which has responsibility for advising or
establishing athletics policies and making policy decisions, is not required. However, if such a board exists, it must conform to
the following provisions. (Revised: 1/20/22)
    8.1.2.1 Composition. Administration and/or faculty staff members shall constitute at least a majority of the board in
    control of athletics or an athletics advisory board, irrespective of the president or chancellor's responsibility and authority or
    whether the athletics department is financed in whole or in part by student fees. If the board has a parliamentary
    requirement necessitating more than a simple majority in order to transact some or all of its business, then the
    administrative and faculty members shall be of sufficient number to constitute at least that majority. (Revised: 3/8/06,
    1/20/22)
         8.1.2.1.1 Administrator Defined. An administrator (for purposes of this legislation) is an individual employed by
         the institution as a full-time administrative staff member who holds an academic appointment, is directly responsible to
         the institution's president or chancellor or serves as a chief administrative official (e.g., admissions director, finance
         officer, department head, or athletics department head). Other nonacademic staff members and individuals who are
         members of an institution's board of trustees or similar governing body would not be considered to be administrators
         for purposes of this regulation. (Revised: 3/8/06, 1/20/22)
         8.1.2.1.2 Board Subcommittee. If a board subcommittee is appointed, it is not necessary for the subcommittee to
         have majority control by administration and/or faculty members (see Bylaw 8.1.2.1), provided all actions of the
         subcommittee are approved by the entire board before becoming effective. However, if the subcommittee's actions are
         effective permanently or become effective immediately and remain in effect until reviewed by the entire board at a later
         date, the subcommittee’s membership must satisfy the majority-control requirement. (Revised: 1/20/22)
         8.1.2.1.3 Attendance. A parliamentary majority of administrators and faculty members of a board in control of
         athletics is not required to be present at any single meeting in order to conduct business. (Revised: 1/20/22)
    8.1.2.2 Chair or Voting Delegate. Only an administrator or faculty member (as opposed to a student, alumnus or
    governing board member) may serve as chair of a member institution's board in control of intercollegiate athletics or
    represent the board as the institution's voting delegate at Conventions. Institutional representatives in these positions have
    responsibility for advising or establishing athletics policies and making policy decisions that require administrative and/or
    faculty control. (Revised: 1/20/22)


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8.1.3 Faculty Athletics Representative. A member institution shall designate an individual to serve as faculty athletics
representative. An individual so designated after January 12, 1989, shall be a member of the institution's faculty or an
administrator who holds faculty rank and shall not hold an administrative or coaching position in the athletics department.
Duties of the faculty athletics representative shall be determined by the member institution. (Adopted: 1/11/89, Revised: 1/20/22)
8.2 Budgetary Control.
8.2.1 Normal Budgeting Procedures. The institution's annual budget for its intercollegiate athletics programs shall be
controlled by the institution and subject to its normal budgeting procedures. (Revised: 1/20/22)
8.2.2 President or Chancellor Approval. The institution's president or chancellor or an institutional administrator
designated by the president or chancellor from outside the athletics department shall approve the annual budget in the event
that the institution's normal budgeting procedures do not require such action. (Revised: 3/8/06, 1/20/22, 1/14/23 effective 2/1/24)
8.3 Exit Interviews. The institution's director of athletics, senior woman administrator or designated representatives
(excluding coaching staff members) shall conduct exit interviews in each sport with a sample of student-athletes (as determined
by the institution) whose eligibility has expired. Interviews shall include questions regarding the value of the students' athletics
experiences, the extent of the athletics time demands encountered by the student-athletes, proposed changes in intercollegiate
athletics and concerns related to the administration of the student-athletes' specific sports. (Adopted: 1/10/91 effective 8/1/91,
Revised: 8/7/14, 1/20/22)
8.4 Responsibilities for Actions of Outside Entities.
8.4.1 Independent Agencies or Organizations. An institution's "responsibility" for the conduct of its intercollegiate
athletics program shall include responsibility for the acts of an independent agency, corporate entity (e.g., apparel or equipment
manufacturer) or other organization when a member of the institution's executive or athletics administration, or an athletics
department staff member, has knowledge that such agency, corporate entity or other organization is promoting the institution's
intercollegiate athletics program. (Revised: 2/16/00, 1/20/22)
8.4.2 Representatives of Athletics Interests. An institution's "responsibility" for the conduct of its intercollegiate
athletics program shall include responsibility for the acts of individuals, a corporate entity (e.g., apparel or equipment
manufacturer) or other organization when a member of the institution's executive or athletics administration or an athletics
department staff member has knowledge or should have knowledge that such an individual, corporate entity or other
organization: (Revised: 2/16/00, 1/20/22)
 (a) Has participated in or is a member of an agency or organization as described in Bylaw 8.4.1;
 (b) Has made financial contributions to the athletics department or to an athletics booster organization of that institution;
 (c) Has been requested by the athletics department staff to assist in the recruitment of prospective student-athletes or is assisting
     in the recruitment of prospective student-athletes;
 (d) Has assisted or is assisting in providing benefits to enrolled student-athletes; or
 (e) Is otherwise involved in promoting the institution's athletics program.
    8.4.2.1 Agreement to Provide Benefit or Privilege. Any agreement between an institution (or any organization that
    promotes, assists or augments in any way the athletics interests of the member institution, including those identified per
    Bylaw 8.4.1) and an individual who, for any consideration, is or may be entitled under the terms of the agreement to any
    benefit or privilege relating to the institution's athletics program, shall contain a specific clause providing that any such
    benefit or privilege may be withheld if the individual has engaged in conduct that is determined to be a violation of NCAA
    legislation. The clause shall provide for the withholding of the benefit or privilege from a party to the agreement and any
    other person who may be entitled to a benefit or privilege under the terms of the agreement. (Adopted: 1/10/95, Revised:
    1/20/22)
    8.4.2.2 Retention of Identity as "Representative." Any individual participating in the activities set forth in Bylaw
    8.4.2 shall be considered a "representative of the institution's athletics interests," and once so identified as a representative,
    it is presumed the person retains that identity. (Revised: 1/20/22)




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BYLAW, ARTICLE 9

Legislative Authority and Process
9.02 Definitions and Applications.
9.02.1 Legislative Provisions.
   9.02.1.1 Area of Autonomy. An area of autonomy is a legislative provision that provides legislative flexibility to the
   Atlantic Coast Conference, Big Ten Conference, Big 12 Conference, Pac-12 Conference and Southeastern Conference and
   their member institutions. The abovementioned conferences are granted autonomy in these areas to permit the use of
   resources to advance the legitimate educational or athletics-related needs of student-athletes and for legislative changes that
   will otherwise enhance student-athlete well-being. The requirements for adoption, amendment and expansion of the areas
   of autonomy are set forth in Bylaw 9.2.2.1. A legislative provision that is an area of autonomy is identified by a capital letter
   A. (Revised: 1/20/22)
   9.02.1.2 Division Dominant. A division dominant provision is a regulation that applies to all members of a division and
   is of sufficient importance to the division that it requires a two-thirds majority vote of all delegates present and voting at a
   division's annual or special Convention. Division dominant provisions are identified by the diamond symbol (♦). (Revised:
   1/9/96 effective 8/1/97, 1/20/22)
   9.02.1.3 Common. A common provision is a regulation that applies to more than one of the divisions of the Association.
   A common provision shall be adopted by each of the applicable divisions, acting separately pursuant to the divisional
   legislative process described in Bylaw 9.2, and must be approved by all applicable divisions to be effective. Common
   provisions are identified by the pound sign (#). (Adopted: 1/14/97 effective 8/1/97, Revised: 1/20/22)
   9.02.1.4 Federated. A federated provision is a regulation adopted by the division acting pursuant to the divisional
   legislative process. Such a provision applies only to the division or subdivision that adopts it. (Revised: 1/9/96 effective
   8/1/97, 1/20/22)
   9.02.1.5 Football Championship Subdivision Dominant. A Football Championship Subdivision dominant
   provision is a regulation that applies only to the Football Championship Subdivision and is of sufficient importance to the
   subdivision that it requires a two-thirds majority vote for adoption or to be amended pursuant to the legislative process set
   forth in Bylaw 9.2. Football Championship Subdivision dominant provisions are identified by the initialization FCSD.
   (Revised: 1/15/11, 1/20/22)
9.1 Conventions and Meetings.
9.1.1 Operational Procedures.
   9.1.1.1 Quorum. For purposes of voting on division dominant legislation, 40 members of the division shall constitute a
   quorum. (Revised: 1/20/22)
   9.1.1.2 Parliamentary Rules. The rules contained in the current edition of Robert's Rules of Order, Newly Revised,
   shall be the parliamentary authority for the conduct of all meetings of the division. Additionally, they shall be the deciding
   reference used in case of parliamentary challenge in all instances to which they apply and in which they are not superseded
   by the NCAA constitution, bylaws or any special rule of order adopted by the Association in accordance with Bylaw
   9.3.3.1. (Revised: 1/20/22)
   9.1.1.3 Football Classification, Voting. A member institution shall be entitled to vote on legislative issues pertaining
   only to football in the subdivision in which it is classified. (Revised: 1/20/22)
         9.1.1.3.1 Restriction. An active member or member conference with no football program shall not be permitted to
         vote on issues affecting only football. (Revised: 1/20/22)
         9.1.1.3.2 Football Championship Subdivision Member Applying Bowl Subdivision Football
         Legislation. A Football Championship Subdivision member that elects to be governed by the legislation pertaining to
         the Football Bowl Subdivision in accordance with Bylaw 20.8.1.1.1 shall be eligible to vote on issues pertaining to
         championship subdivision football. (Revised: 12/15/06, 1/20/22)
         9.1.1.3.3 Conference of Football Bowl Subdivision and Football Championship Subdivision Members.
         A conference whose members are divided between the Football Bowl Subdivision and the Football Championship
         Subdivision shall vote in the subdivision in which the majority of its members are classified; or if the membership is


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         divided equally between the two subdivisions, the subdivision in which it shall vote shall be determined by the Council
         Coordination Committee. (Revised: 11/1/07, 8/7/14 effective 8/1/15, 12/15/16 effective 8/1/08, 1/20/22)
9.2 Amendment Process.
9.2.1 Authorizing Legislation.
   9.2.1.1 Amendment -- Division Dominant Provisions. The division dominant provisions may be amended only at
   an annual or special Convention. Federated provisions may be amended as specified in Bylaw 9.2.2. (Revised: 1/9/96 effective
   8/1/97, 1/14/97 effective 8/1/97, 1/20/22)
   9.2.1.2 Amendment-to-Amendment -- Division Dominant Provisions. A proposed amendment to a division
   dominant provision may be amended at any annual or special Convention. From July 15 through September 15, sponsors
   of proposed legislation may refine and change proposals in any manner that is germane to the original proposal. After
   September 15, proposed amendments may be amended only if the amendment to the proposed amendment does not
   increase the modification of the provision to be amended. (Revised: 1/9/96 effective 8/1/97, 1/20/22)
9.2.2 Division I Legislative Process.
   9.2.2.1 Process for Areas of Autonomy.
         9.2.2.1.1 Authority to Adopt or Amend Legislation. The Atlantic Coast Conference, Big Ten Conference, Big
         12 Conference, Pac-12 Conference and Southeastern Conference and their member institutions shall have the
         authority to adopt or amend legislation that is identified as an area of autonomy. (Adopted: 8/7/14, Revised: 1/20/22)
         9.2.2.1.2 Areas of Autonomy. The Atlantic Coast Conference, Big Ten Conference, Big 12 Conference, Pac-12
         Conference and Southeastern Conference and their member institutions are granted autonomy in the following areas
         to permit the use of resources to advance the legitimate educational or athletics-related needs of student-athletes and for
         legislative changes that will otherwise enhance student-athlete well-being: (Adopted: 8/7/14, Revised: 1/20/22)
         (a) Athletics Personnel. Definitions and limitations on athletics personnel and legislation to meet the support
             needs of student-athletes while properly managing the number of personnel directly or indirectly associated with a
             sport in a manner consistent with the need for competitive balance.
         (b) Insurance and Career Transition. Legislation related to student-athletes securing loans to purchase career-
             related insurance products (e.g., disability, loss-of-value), institutions providing insurance-related expenses for
             student-athletes and the role of agents and advisors in assisting student-athletes with career planning and decision
             making.
         (c) Promotional Activities Unrelated to Athletics Participation. Legislation related to promotional activities
             for careers and pursuits unrelated athletics participation.
         (d) Recruiting Restrictions. Legislation designed to reduce the infringement on a prospective student-athlete's
             academic preparation.
         (e) Preenrollment Expenses and Support. Legislation related to expenses and support provided in the recruiting
             process and the transition to college enrollment, including assistance to families to visit campus, medical expenses
             and academic support during the summer prior to enrollment, and transportation to enroll.
         (f) Financial Aid. Legislation related to a student-athlete's individual limit on athletically related financial aid, terms
             and conditions of awarding institutional financial aid, and the eligibility of former student-athletes to receive
             undergraduate financial aid.
         (g) Awards, Benefits and Expenses. Legislation related to awards, benefits and expenses for enrolled student-
             athletes and their families and friends.
         (h) Academic Support. Legislation related to the academic support of student-athletes.
         (i) Health and Wellness. Legislation related to the health and wellness of student-athletes, including insurance and
             other items to permit appropriate and sufficient care.
         (j) Meals and Nutrition. Legislation related to meals and nutritional demands for student-athletes.
         (k) Time Demands. Legislation that establishes an appropriate balance between athletics and other student-athlete
             activities and fosters participation in educational opportunities outside intercollegiate athletics.
             9.2.2.1.2.1 Additions to the Areas of Autonomy. Additions to the areas of autonomy may be
             recommended to the Board of Directors on support of three of the five conferences named in Bylaw 9.2.2.1.1. An
             addition shall require a 60 percent majority vote of the president or chancellor members of the Board of Directors
             present and voting. (Adopted: 8/7/14, Revised: 1/20/22)
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                9.2.2.1.2.1.1 Standard of Review. An addition to the areas of autonomy shall be subject to the standard
                that it must permit the use of resources to advance the legitimate educational or athletics-related needs of
                student-athletes, support legislative changes that will otherwise enhance student-athlete well-being, or
                complement and align with the values of higher education. (Adopted: 8/7/14, Revised: 1/20/22)
            9.2.2.1.2.2 Application to Other Conferences/Institutions. Legislation set forth as an area of autonomy
            may be applied by other member institutions at each conference's discretion, which may include delegation of
            such discretion to its member institutions. (Adopted: 8/7/14, Revised: 1/20/22)
         9.2.2.1.3 Sponsorship.
            9.2.2.1.3.1 Amendment. An amendment to an area of autonomy may be sponsored by any conference listed in
            Bylaw 9.2.2.1.1, subject to review by the other conferences listed in Bylaw 9.2.2.1.1 and approval by a presidential
            review group that includes at least one representative from each conference listed in Bylaw 9.2.2.1.1. (Adopted:
            8/7/14, Revised: 1/20/22)
            9.2.2.1.3.2 Amendment-to-Amendment. An amendment to an amendment of an area of autonomy may be
            sponsored by one of the conferences named in Bylaw 9.2.2.1.1. (Adopted: 8/7/14, Revised: 1/20/22)
         9.2.2.1.4 Submission Deadlines.
            9.2.2.1.4.1 Concept. A concept under consideration for sponsorship as an amendment to an area of autonomy
            must be submitted to the national office by 5 p.m. Eastern time September 15. (Adopted: 8/4/16, Revised: 1/20/22)
            9.2.2.1.4.2 Amendment. An amendment to an area of autonomy must be submitted to the national office by 5
            p.m. Eastern time November 1. The sponsor may refine and change its proposal in any manner that is germane to
            the original proposal until 5 p.m. Eastern time December 1. (Adopted: 8/7/14, Revised: 8/4/16, 8/8/18, 1/20/22)
            9.2.2.1.4.3 Amendment-to-Amendment. An amendment to an amendment of an area of autonomy may be
            submitted to the national office until 5 p.m. Eastern time December 1. Any such amendment shall not increase
            the modification of the provision to be amended in the original proposal. (Adopted: 8/7/14, Revised: 8/4/16, 8/8/18,
            1/20/22)
         9.2.2.1.5 Notification to Membership.
            9.2.2.1.5.1 Notice of Autonomy Concepts. Proposed autonomy concepts shall be posted on the NCAA
            website for membership review and comment after September 15. (Adopted: 8/4/16, Revised: 1/20/22)
            9.2.2.1.5.2 Initial Notification. Proposed amendments shall be available on the NCAA website for
            membership review and comment not later than November 15. (Adopted: 8/7/14, Revised: 8/4/16, 8/8/18, 1/20/22)
            9.2.2.1.5.3 Official Notice. Proposed amendments and amendments-to-amendments shall be available on the
            NCAA website for membership review and comment not later than December 15. (Adopted: 8/7/14, Revised:
            8/4/16, 8/8/18, 1/20/22)
         9.2.2.1.6 Membership and Council Review.
            9.2.2.1.6.1 Membership Review. All Division I members may provide comments related to proposed
            amendments and amendments-to-amendments via the NCAA website from the date of the initial notification to
            the membership through December 15 (5 p.m. Eastern time). (Adopted: 8/7/14, Revised: 8/4/16, 1/20/22)
            9.2.2.1.6.2 Council Review. The Council shall review proposed amendments. The review may include a
            position of support or opposition. (Adopted: 8/7/14, Revised: 1/20/22)
            9.2.2.1.6.3 Forum Review. The conferences named in Bylaw 9.2.2.1.1 shall review proposed amendments and
            amendments-to-amendments during a forum that is conducted before a business session during which voting on
            the proposed amendments and amendments-to-amendments occurs. (Adopted: 8/7/14, Revised: 1/20/22)
         9.2.2.1.7 Voting Process.
            9.2.2.1.7.1 Business Session. Consideration of proposed amendments and amendments-to-amendments shall
            occur during a business session involving the member institutions of the conferences named in Bylaw 9.2.2.1.1.
            The president or chancellor of each institution shall appoint one representative and each of the five conferences
            shall appoint three student-athlete representatives to cast votes on proposed amendments and amendments-to-
            amendments. (Adopted: 8/7/14, Revised: 1/20/22)
            9.2.2.1.7.2 Adoption of Amendments and Amendments-to-Amendments. Adoption of proposed
            amendments and amendments-to-amendments shall require: (Adopted: 8/7/14, Revised: 1/20/22)


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             (a) Approval of three of the five conferences based on a simple majority vote of the institutions within each
                 conference and a 60 percent majority vote of the eligible institutions and student-athlete representatives; or
             (b) Approval of four of the five conferences based on a simple majority vote of the institutions within each
                 conference and a simple majority vote of the eligible institutions and student-athlete representatives.
             9.2.2.1.7.3 Finality of Action. An amendment adopted during a business session shall be final upon
             adjournment of the business session. The concept of a defeated amendment may not be resubmitted as a new
             amendment for a two-year period. (Adopted: 8/7/14, Revised: 1/20/22)
   9.2.2.2 Process for Areas of Council-Governance and Football-Specific Legislation.
         9.2.2.2.1 Authority to Adopt or Amend Legislation. Federated legislation applicable to Division I may be
         adopted or amended at any meeting of the Council. (Adopted: 8/7/14 effective 8/1/15, Revised: 1/20/22)
             9.2.2.2.1.1 Emergency or Noncontroversial Legislation. The Council may adopt emergency or
             noncontroversial legislation during any meeting by at least a three-fourths majority vote of its members present
             and voting. (Adopted: 8/7/14 effective 8/1/15, Revised: 1/20/22)
         9.2.2.2.2 Sponsorship.
             9.2.2.2.2.1 Amendments and Amendments-to-Amendments. An amendment or an amendment-to-
             amendment in an area of Council governance may be sponsored by the Board of Directors, the Council or a
             conference listed in Bylaw 21.1.1-(a), 21.1.1-(b) or 21.1.1-(c). A football-specific amendment or amendment-to-
             amendment may be sponsored by a Football Bowl Subdivision conference or a Football Championship
             Subdivision conference. (Adopted: 8/7/14 effective 8/1/15, Revised: 1/20/22)
         9.2.2.2.3 Submission Deadlines.
             9.2.2.2.3.1 Concept. A conference must submit a concept under consideration for sponsorship as an
             amendment to the national office by 5 p.m. Eastern time July 15. (Adopted: 1/24/19, Revised: 1/20/22)
             9.2.2.2.3.2 Amendment. An amendment sponsored by the Council or a conference listed in Bylaw 21.1.1-(a),
             21.1.1-(b) or 21.1.1-(c) or a football-only conference as described in Bylaw 21.2.5 must be submitted to the
             national office by 5 p.m. Eastern time November 1. A conference may sponsor an amendment only if it submitted
             a concept of the amendment by the preceding July 15 deadline. From the submission deadline until 5 p.m.
             Eastern time February 1, the sponsoring conference or Council may refine and change its proposal in any manner
             that is germane to the original proposal. (Adopted: 8/7/14 effective 8/1/15, Revised: 8/4/16, 4/8/18, 1/24/19,
             1/20/22)
             9.2.2.2.3.3 Amendment-to-Amendment. An amendment to an amendment identified for a vote in January
             may be submitted to the national office until 5 p.m. Eastern time December 15. An amendment to an amendment
             identified for a vote in April may be submitted to the national office until 5 p.m. Eastern time February 1. Any
             such amendment shall not increase the modification of the provision to be amended in the original proposal.
             (Adopted: 8/7/14 effective 8/1/15, Revised: 1/20/22)
         9.2.2.2.4 Notification to Membership.
             9.2.2.2.4.1 Initial Notification. Proposed amendments shall be available on the NCAA website for
             membership review and comment not later than November 15. (Adopted: 8/7/14 effective 8/1/15, Revised: 1/24/19,
             1/20/22)
             9.2.2.2.4.2 Official Notice. Proposed amendments and amendments-to-amendments shall be available on the
             NCAA website for membership review and comment not later than February 8. (Adopted: 8/7/14 effective 8/1/15,
             Revised: 8/4/16, 1/20/22)
         9.2.2.2.5 Membership and Council Review.
             9.2.2.2.5.1 Membership Review. All Division I members may provide comments related to proposed
             amendments and amendments-to-amendments via the NCAA website until March 1 (5 p.m. Eastern time).
             (Adopted: 8/7/14 effective 8/1/15, Revised: 8/4/16, 1/20/22)
             9.2.2.2.5.2 Council Review. The Council shall review proposed amendments. The review may include a
             position of support or opposition. The Council may sponsor an amendment-to-amendment by majority vote of its
             members present and voting through February 8. (Adopted: 8/7/14 effective 8/1/15, Revised: 8/4/16, 1/20/22)
         9.2.2.2.6 Voting Process.



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             9.2.2.2.6.1 Adoption of Amendments and Amendments-to-Amendments. Adoption of proposed
             amendments and amendments-to-amendments submitted by the applicable deadline shall require a majority vote
             of representatives of the Council present and voting. An amendment-to-amendment that is proposed outside of
             the legislated submission deadline and that does not increase the modification of the provision to be amended in
             the original proposal may be adopted by a three-fourths majority vote of the Council members present and voting.
             (Adopted: 8/7/14 effective 8/1/15, Revised: 8/4/16, 10/4/17, 1/20/22)
                  9.2.2.2.6.1.1 Bowl Subdivision and Championship Subdivision Football. Members of the Council
                  who are representatives of conferences that are members of the Football Bowl Subdivision and the Football
                  Championship Subdivision shall vote separately in their respective subdivisions on legislative issues that
                  pertain only to football. (Adopted: 8/7/14 effective 8/1/15, Revised: 1/20/22)
                       9.2.2.2.6.1.1.1 Geographical Representation of Independents. An institution classified as a
                       Football Bowl Subdivision independent or a Football Championship Subdivision independent shall have
                       its views expressed on football issues by a predetermined Football Bowl Subdivision or Football
                       Championship Subdivision conference representative, respectively, within the institution's geographical
                       region. (Adopted: 8/7/14 effective 8/1/15, Revised: 1/20/22)
             9.2.2.2.6.2 Finality of Action. Legislation adopted by the Council, other than emergency or noncontroversial
             legislation, shall be considered final at the conclusion of the next Board of Directors meeting, subject to review by
             the Board of Directors as described in Bylaw 21.1.2. Emergency or noncontroversial legislation adopted by the
             Council shall be considered final at the conclusion of the Council meeting during which it was adopted. If a
             proposal does not receive a majority vote of Council members present and voting, it shall be considered defeated.
             The concept of a defeated amendment may not be resubmitted as a new amendment for a two-year period.
             (Adopted: 8/7/14 effective 8/1/15, Revised: 10/4/17, 1/20/22)
         9.2.2.2.7 Rescission Process. An amendment adopted with less than an 85 percent majority vote of Council
         members present and voting shall be subject to a 60-day rescission period. An amendment adopted with an 85 percent
         majority vote or greater of Council members present and voting shall not be subject to a rescission process. The
         concept of a rescinded amendment may not be resubmitted as a new amendment for a two-year period. (Adopted:
         8/7/14 effective 8/1/15, Revised: 1/20/22)
             9.2.2.2.7.1 Notification to Membership. Notification of the adoption of legislation by the Council shall be
             provided to the membership within 15 days of the date of the Board of Directors meeting on which the adoption
             becomes final. (Adopted: 8/7/14 effective 8/1/15, Revised: 1/20/22)
             9.2.2.2.7.2 Submission of Rescission Requests. A rescission request may be submitted through the NCAA
             website by an active member institution with voting privileges. A request must be received in the national office
             not later than 5 p.m. Eastern time within 60 days of the date of the Board of Directors meeting on which the
             adoption becomes final. A request must be approved by the institution's chancellor or president. The institution's
             chancellor or president or a designated representative may submit the rescission request to the national office.
             (Adopted: 8/7/14 effective 8/1/15, Revised: 1/20/22)
             9.2.2.2.7.3 Threshold for Rescission. An amendment shall be rescinded upon submission of rescission
             requests from at least two-thirds of all active Division I institutions that are eligible to submit a request. An
             amendment that pertains only to football shall be rescinded in the applicable subdivision upon submission of
             rescission requests from at least two-thirds of all active Football Bowl Subdivision or Football Championship
             Subdivision institutions that are eligible to submit a request. (Adopted: 8/7/14 effective 8/1/15, Revised: 1/20/22)
         9.2.2.2.8 Other Rules and Procedures. The Board of Directors or the Council may approve such additional rules
         and procedures governing the legislative process consistent with the provisions of this section (Bylaw 9.2.2) as it
         determines are necessary to ensure an efficient process to meet the legislative needs of the membership. (Adopted: 1/9/96
         effective 8/1/97, Revised: 10/4/17, 1/20/22)
             9.2.2.2.8.1 Sunset Provision. If the Council takes no action on a proposal within one year of its initial or
             subsequent consideration, the proposal shall be considered defeated. (Adopted: 10/4/17, Revised: 1/20/22)
9.2.3 Sponsorship -- Amendments to Division Dominant Provisions.
   9.2.3.1 Amendment. An amendment to a division dominant provision may be sponsored only by the Board of
   Directors. (Adopted: 1/9/96 effective 8/1/97, Revised: 1/14/97, 1/20/22)
   9.2.3.2 Amendment-to-Amendment. An amendment-to-amendment to a division dominant provision may be
   sponsored only by the Board of Directors. (Adopted: 1/9/96 effective 8/1/97, Revised: 1/14/97, 1/20/22)

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    9.2.3.3 Editorial Changes. The presiding officer may permit changes in the wording of a proposed amendment of a
    purely editorial nature or to correct typographical errors. (Adopted: 1/9/96 effective 8/1/97, Revised: 1/14/97, 1/20/22)
9.2.4 Submission Deadline.
    9.2.4.1 Division Dominant Provisions.
         9.2.4.1.1 Amendments. Amendments to division dominant provisions shall be sponsored by the Board of Directors
         in accordance with the following deadlines: (Adopted: 1/9/96 effective 8/1/97, Revised: 1/20/22)
         (a) Annual Convention -- September 1.
         (b) Special Convention -- Ninety days before a special Convention.
             9.2.4.1.1.1 Exception. The Board of Directors, by a two-thirds majority of its members present and voting,
             may establish a later date for the submission of amendments for an annual Convention when a special Convention
             is held after September 1. (Adopted: 1/9/96 effective 8/1/97, Revised: 1/20/22)
         9.2.4.1.2 Amendments-to-Amendments. The Board of Directors must submit amendments to its original
         proposals in writing and such amendments must be submitted not later than 5 p.m. Eastern time September 15, unless
         the amendment-to-amendment does not increase the modification specified in the original proposal. Any amendment
         to a proposed amendment submitted after September 15 shall not increase the modification of the original proposal
         and must be submitted in writing not later than 5 p.m. Eastern time November 1 before an annual Convention or 60
         days before a special Convention. The Board of Directors may propose amendments-to-amendments at the time of the
         Convention without meeting these procedural requirements, provided the proposed amendment-to-amendment has
         been approved by two-thirds of the Board of Directors and copies are distributed before or during the Division I
         Business Session. (Adopted: 1/9/96 effective 8/1/97, Revised: 3/1/06, 1/20/22)
9.2.5 Notification to Membership.
    9.2.5.1 Amendments to Division Dominant Provisions.
         9.2.5.1.1 Initial Publication. Amendments to division dominant provisions shall be published for the information
         of the membership as follows: (Adopted: 1/19/96 effective 8/1/97, Revised: 1/20/22)
         (a) Not later than September 22 for an annual Convention.
         (b) Not later than 75 days before a special Convention.
         9.2.5.1.2 Official Notice. A copy of the proposed amendments shall be made available not later than November 15
         before an annual Convention or 45 days preceding a special Convention. (Adopted: 1/9/96 effective 8/1/97, Revised:
         1/20/22)
         9.2.5.1.3 Delayed Date. If the Board of Directors establishes a date later than July 15 or September 1 for the
         submission of amendments to division dominant provisions for an annual Convention, it, by a two-thirds majority of
         its members present and voting, may establish a later date for publishing copies of the proposed amendments for
         information of the membership. (Revised: 1/9/96 effective 8/1/97, 1/20/22)
         9.2.5.1.4 Amendments-to-Amendments. Copies of all amendments-to-amendments to division dominant
         provisions submitted by the September 15 deadline shall be published by September 22. Copies of all other
         amendments-to-amendments submitted by the November 1 deadline shall be published in the Official Notice of the
         Convention. (Adopted: 1/9/96 effective 8/1/97, Revised: 1/20/22)
9.2.6 Adoption of Amendment, Voting Requirements.
    9.2.6.1 Division Dominant Provision. Adoption of an amendment to a division dominant provision shall require a
    two-thirds majority vote of all delegates of the affected division present and voting at a division’s annual or special
    Convention. (Adopted: 1/9/96 effective 8/1/97, Revised: 12/5/06, 1/20/22)
9.2.7 Adoption of Amendment-to-Amendment, Voting Requirements.
    9.2.7.1 Division Dominant Provision. A proposed amendment to an amendment of a division dominant provision
    shall be approved by a majority vote of the delegates of the affected division present and voting. (Adopted: 1/9/96 effective
    8/1/97, Revised: 1/20/22)
9.2.8 Special Voting Requirements. The following topics are subject to special voting requirements. (Revised: 1/20/22)
    9.2.8.1 Division Championship. A division championship per Bylaw 18.02.1.2 may be established by a majority vote
    of the Board of Directors subject to all requirements, standards and conditions prescribed in Bylaw 18.2. (Adopted: 1/14/97
    effective 8/1/97, Revised: 1/20/22)

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   9.2.8.2 Voting on Football Issues. An active member or voting member conference with no football program shall not
   be permitted to vote on issues affecting only football. (Adopted: 1/9/96 effective 8/1/97, Revised: 1/20/22)
9.2.9 Intent and Rationale.
   9.2.9.1 Amendments to Division Dominant Provisions. All amendments to division dominant provisions shall
   include a statement of intent and a separate statement of rationale. The statement of rationale shall not exceed 200 words in
   length. All amendments-to-amendments shall include a statement of intent and, if applicable, a cost estimate. An
   amendment-to-amendment also may include a statement of rationale that shall not exceed 50 words in length. (Adopted:
   1/9/96 effective 8/1/97, Revised: 1/20/22)
9.2.10 Effective Date.
   9.2.10.1 Division Dominant Provisions. All amendments to division dominant provisions shall become effective not
   earlier than the first day of August following adoption by the Convention. (Adopted: 1/9/96 effective 8/1/97, Revised:
   1/20/22)
         9.2.10.1.1 Alternative to August 1 Effective Date. If a voting delegate wishes to propose an immediate effective
         date, or to propose any other effective date prior to the first day of August, a two-thirds majority of all delegates present
         and eligible to vote on the amendment is required to approve the immediate or alternative effective date. Those
         amendments specified as being effective immediately shall become effective upon adjournment of the Convention.
         (Revised: 1/10/95 effective 8/1/95, 1/9/96, 1/20/22)
9.2.11 Reconsideration.
   9.2.11.1 Vote on Division Dominant Provisions. Prior to adjournment of any Convention, an affirmative or negative
   vote on an amendment to a division dominant provision may be subjected to one motion for reconsideration of that action
   by any member who voted on the prevailing side in the original consideration. Reconsideration of the vote must occur in
   the appropriate division business session. (Adopted: 1/9/96 effective 8/1/97, Revised: 1/20/22)
9.3 Other Legislative and Amendment Procedures.
9.3.1 Interpretations of Bylaws.
   9.3.1.1 Authorization. The Board of Directors and the Council (or the Legislative Committee on behalf of the
   Council), and the Interpretations Committee in the interim between meetings of the Board of Directors and Council (or
   Legislative Committee), are empowered to make interpretations of the bylaws. (Revised: 1/9/96 effective 8/1/97, 11/1/07
   effective 8/1/08, 8/7/14, 4/16/15, 10/4/17, 1/20/22)
         9.3.1.1.1 Modification of Wording. In addition to its general authority to make binding interpretations of NCAA
         legislation, the Council, by a two-thirds majority of its members present and voting, may interpret legislation
         consistent with the intent of the membership in adopting the legislation if sufficient documentation and testimony are
         available to establish clearly that the wording of the legislation is inconsistent with that intent. The Council shall
         initiate the legislative process to confirm any such interpretations. (Revised: 1/9/96 effective 8/1/97, 11/1/07 effective
         8/1/08, 8/7/14, 1/20/22)
   9.3.1.2 Interpretation Process.
         9.3.1.2.1 Staff Interpretation (Determination). The academic and membership affairs staff shall respond to a
         request from a member institution for an interpretation of NCAA rules. (Revised: 1/14/97 effective 8/1/97, 8/5/04,
         4/24/08, 1/20/22)
             9.3.1.2.1.1 Appeal of Staff Interpretation. An institution may appeal a staff interpretation to the
             Interpretations Committee. Such a request must be submitted in writing by the institution's conference or by one
             of the five individuals who are authorized to request interpretations on behalf of the institution (president or
             chancellor, faculty athletics representative, athletics director, senior woman administrator, senior compliance
             administrator, or a designated substitute for the president or chancellor and/or athletics director, as specified in
             writing to the national office). (Revised: 1/10/91, 1/11/94, 1/14/97 effective 8/1/97, 3/8/06, 4/24/08, 4/16/15,
             1/20/22)
                  9.3.1.2.1.1.1 Institutional Participation. An institution may participate by teleconference in the appeal
                  of an interpretation if the activity at issue already has occurred and the interpretative decision could result in
                  an individual or institutional violation. The Interpretations Committee shall establish policies and procedures
                  relating to an institution's participation. (Adopted: 4/25/02, Revised: 8/5/04, 4/24/08, 4/16/15, 1/20/22)
             9.3.1.2.1.2 Review of Staff Interpretations. The Interpretations Committee shall review all staff
             interpretations. (Adopted: 4/24/08, Revised: 4/16/15, 1/20/22)
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             9.3.1.2.1.3 Publication and Notification. A staff interpretation shall be binding on the requesting institution
             on notification of the response to its interpretation request, unless the interpretation is modified or reversed on
             appeal or review by the Interpretations Committee. A staff interpretation that has been reviewed and approved by
             the Interpretations Committee shall be binding on all other institutions on publication to the membership (e.g.,
             announced on the NCAA website or Legislative Services Database for the Internet). (Adopted: 4/24/08, Revised:
             4/16/15, 1/20/22)
         9.3.1.2.2 Review of Interpretations Committee's Decision. The Legislative Committee shall review all
         interpretations issued by the Interpretations Committee and may approve, reverse or modify such interpretations. A
         member institution may appeal a decision of the Interpretations Committee to the Legislative Committee. The appeal
         must be submitted in writing by the institution's president or chancellor, faculty athletics representative or director of
         athletics. The Legislative Committee shall establish the procedures for such an appeal. A decision of the Legislative
         Committee is final and no additional appeal opportunity shall exist for a member institution. (Adopted: 1/11/94,
         Revised: 1/9/96 effective 8/1/97, 1/14/97 effective 8/1/97, 8/5/04, 3/8/06, 11/1/07 effective 8/1/08, 10/28/10, 8/7/14,
         4/16/15, 10/4/17, 1/20/22)
             9.3.1.2.2.1 Areas of Autonomy. The members of the Legislative Committee who are representatives from the
             five conferences named in Bylaw 9.2.2.1.1 shall act on behalf of the committee on matters that relate to the areas
             of autonomy listed in Bylaw 9.2.2.1.2. (Adopted: 10/4/17, Revised: 1/20/22)
         9.3.1.2.3 Publication and Notification. Interpretations issued by the Interpretations Committee shall be binding
         on notification to affected institutions and on all member institutions after publication and notification to the
         membership. (Revised: 1/9/96 effective 8/1/97, 1/14/97 effective 8/1/97, 8/5/04, 4/16/15, 1/20/22)
         9.3.1.2.4 Revision. Interpretations approved by the Legislative Committee may not be revised by the Interpretations
         Committee. The Interpretations Committee may only recommend to the Legislative Committee revisions of such
         interpretations. (Revised: 1/15/97 effective 8/1/97, 1/9/96 effective 8/1/97, 11/1/97 effective 8/1/08, 8/7/14, 4/16/15,
         10/14/17, 1/20/22)
   9.3.1.3 Committee for Legislative Relief. An institution may appeal a decision of the NCAA staff regarding the
   application of NCAA legislation to a particular situation to the Committee for Legislative Relief when no other entity
   (other than the Board of Directors) has the authority to act. In reaching its decision, the committee shall review the
   complete record in order to determine whether there is sufficient basis to grant relief from the application of the legislation.
   The committee shall establish the process for such a review, subject to the review of the Legislative Committee. A decision
   of the Committee for Legislative Relief shall be final, binding and conclusive and shall not be subject to further review by
   any other authority. (Revised: 1/16/93, 8/1/96 effective 8/1/97, 11/1/00, 11/1/07 effective 8/1/08, 8/7/14, 10/29/15, 10/4/17,
   1/20/22)
9.3.2 Resolutions.
   9.3.2.1 Authorization. Legislation may be enacted through resolutions not inconsistent with the constitution, bylaws
   (including administrative bylaws) and special rules of order. (Revised: 1/20/22)
   9.3.2.2 Scope and Application. Legislation enacted through resolutions shall be of a temporary nature, effective only
   for a limited time as specified in the resolution itself. (Revised: 1/20/22)
   9.3.2.3 Division Dominant Provisions.
         9.3.2.3.1 Sponsorship. A resolution related to a division dominant provision may be sponsored by the Board of
         Directors. (Adopted: 1/9/96 effective 8/1/97, Revised: 1/20/22)
         9.3.2.3.2 Submission Deadline. A proposed resolution related to a division dominant provision must be submitted
         prior to November 1. The Board of Directors may sponsor resolutions at the time of the Convention without meeting
         this deadline provided the proposed resolution has been approved by a two-thirds majority vote of the Board of
         Directors and copies are distributed during the Division I Business Session. (Adopted: 1/9/96 effective 8/1/97, Revised:
         1/20/22)
         9.3.2.3.3 Voting Requirements.
             9.3.2.3.3.1 Adoption -- Annual/Special Convention. Adoption of a resolution shall require a majority vote
             of the delegates of the division present and voting at an annual or special Convention. (Adopted: 1/9/96 effective
             8/1/97, Revised: 1/20/22)
             9.3.2.3.3.2 Mail Ballot. If a majority of the delegates of the division present and voting so direct, a resolution
             shall be referred to the entire membership of the division for a mail vote conducted under conditions approved by
             the Board of Directors Administrative Committee. A two-thirds majority of members of the division voting in any
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            such mail vote shall be required for the enactment of the legislation proposed in the resolution. (Adopted: 1/9/96
            effective 8/1/97, Revised: 1/20/22)
9.3.3 Special Rules of Order.
   9.3.3.1 Division Business Session. The division may adopt special rules of order not inconsistent with the bylaws by a
   two-thirds majority of the delegates of the applicable division present and voting at any annual or special Convention.
   (Revised: 1/9/96 effective 8/1/97, 1/20/22)
9.3.4 Statements of Division Philosophy.
   9.3.4.1 Authorization. The division or a subdivision, through appropriate deliberative processes, may prepare a
   statement of division philosophy relating to the development and operation of an intercollegiate athletics program in the
   division or subdivision. (Revised: 1/20/22)
   9.3.4.2 Scope and Application. Such a statement is not binding on member institutions but shall serve as a guide for
   the preparation of legislation by the division or subdivision and for planning and implementation of programs by
   institutions and conferences. (Adopted: 1/20/22)
   9.3.4.3 Adoption Process. A statement of division philosophy may be adopted through the legislative process set forth
   in Bylaw 9.2.2. If a statement of division philosophy is adopted, it shall be published in the NCAA Manual. (Revised:
   1/9/96 effective 8/1/97, 1/20/22)




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BYLAWS, ARTICLE 10

Ethical Conduct
10.01 General Principle.
10.01.1 Honesty and Sportsmanship. Individuals employed by (or associated with) a member institution to administer,
conduct or coach intercollegiate athletics and all participating student-athletes shall act with honesty and sportsmanship at all
times so that intercollegiate athletics as a whole, their institutions and they, as individuals, shall represent the honor and dignity
of fair play and the generally recognized high standards associated with wholesome competitive sports.
10.02 Definitions and Applications.
10.02.1 Sports Wagering. [#] Sports wagering includes placing, accepting or soliciting a wager (on a staff member's or
student-athlete's own behalf or on the behalf of others) of any type with any individual or organization on any intercollegiate,
amateur or professional team or contest. Examples of sports wagering include, but are not limited to, the use of a bookmaker or
parlay card; Internet sports wagering; auctions in which bids are placed on teams, individuals or contests; and pools or fantasy
leagues in which an entry fee is required and there is an opportunity to win a prize. (Adopted: 4/26/07 effective 8/1/07)
10.02.2 Wager. [#] A wager is any agreement in which an individual or entity agrees to give up an item of value (e.g., cash,
shirt, dinner) in exchange for the possibility of gaining another item of value. (Adopted: 4/26/07 effective 8/1/07)
10.1 Unethical Conduct. Unethical conduct by a prospective student-athlete or student-athlete or a current or
former institutional staff member, which includes any individual who performs work for the institution or the athletics
department even if the individual does not receive compensation for such work, may include, but is not limited to, the
following: (Revised: 1/10/90, 1/9/96, 2/22/01, 8/4/05, 4/27/06, 1/8/07, 5/9/07, 10/23/07, 5/6/08, 1/16/10, 10/5/10, 4/28/16
effective 8/1/16, 8/31/22 effective 1/1/23)
(a) Knowing involvement in offering or providing a prospective or an enrolled student-athlete an improper inducement or extra
    benefit or improper financial aid;
(b) Receipt of benefits by an institutional staff member for facilitating or arranging a meeting between a student-athlete and an
    agent, financial advisor or a representative of an agent or advisor (e.g., "runner");
(c) Knowing involvement in providing a banned substance or impermissible supplement to student-athletes, or knowingly
    providing medications to student-athletes contrary to medical licensure, commonly accepted standards of care in sports
    medicine practice, or state and federal law. This provision shall not apply to banned substances for which the student-
    athlete has received a medical exception per Bylaw 18.4.1.4.9; however, the substance must be provided in accordance with
    medical licensure, commonly accepted standards of care and state or federal law;
(d) Engaging in any athletics competition under an assumed name or with intent to otherwise deceive; or
(e) Failure to provide complete and accurate information to the NCAA, the NCAA Eligibility Center or the institution's
    athletics department regarding an individual's amateur status.
10.2 Knowledge of Use of Banned Drugs. A member institution's athletics department staff members or
others employed by the intercollegiate athletics program who have knowledge of a student-athlete's use at any time of a
substance within the banned-drug classes, as set forth in Bylaw 18.4.1.4.7, shall follow institutional procedures dealing with
drug abuse or shall be subject to disciplinary or corrective action as set forth in Bylaw 19.12.
10.3 Sports Wagering Activities. [#] The following individuals shall not knowingly participate in sports
wagering activities or provide information to individuals involved in or associated with any type of sports wagering activities
concerning intercollegiate, amateur or professional athletics competition: (Adopted: 4/26/07 effective 8/1/07, Revised: 1/22/20)
(a) Staff members of an institution's athletics department;
(b) Nonathletics department staff members who have responsibilities within or over the athletics department (e.g., chancellor or
    president, faculty athletics representative, individual to whom athletics reports);
(c) Staff members of a conference office; and
(d) Student-athletes.
10.3.1 Scope of Application. [#] The prohibition against sports wagering applies to any institutional practice or any
competition (intercollegiate, amateur or professional) in a sport in which the Association conducts championship competition,
in bowl subdivision football and in emerging sports for women. (Adopted: 4/26/07 effective 8/1/07)
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    10.3.1.1 Exception. [#] The provisions of Bylaw 10.3 are not applicable to traditional wagers between institutions (e.g.,
    traditional rivalry) or in conjunction with particular contests (e.g., bowl games). Items wagered must be representative of
    the involved institutions or the states in which they are located. (Adopted: 4/26/07 effective 8/1/07)
10.3.2 Suspension by a Non-NCAA National or International Sports Governing Body. [#] A student-athlete
under a sports wagering related suspension from a non-NCAA national or international sports governing body shall not
participate in intercollegiate competition for the duration of the suspension. (Adopted: 1/22/20)
10.4 Disciplinary Action. [#] Prospective or enrolled student-athletes found in violation of the provisions of this
regulation shall be ineligible for further intercollegiate competition, subject to appeal to the Committee on Student-Athlete
Reinstatement for restoration of eligibility. Institutional staff members found in violation of the provisions of this regulation
shall be subject to disciplinary or corrective action as set forth in Bylaw 19.12, whether such violations occurred at the certifying
institution or during the individual's previous employment at another member institution. (Revised: 1/10/90, 4/27/00 effective
8/1/00, 4/26/07 effective 8/1/07, 7/31/14)




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BYLAWS, ARTICLE 11

Conduct and Employment of Athletics
Personnel
11.01 General Principles.
11.01.1 Exemplary Conduct. Individuals employed by or associated with member institutions for the administration, the
conduct or the coaching of intercollegiate athletics are, in the final analysis, teachers of young people. Their responsibility is an
affirmative one, and they must do more than avoid improper conduct or questionable acts. Their own moral values must be so
certain and positive that those younger and more pliable will be influenced by a fine example. Much more is expected of them
than of the less critically placed citizen. (Adopted: 8/31/22 effective 1/1/23)
11.02 Definitions and Applications.
11.02.1 Bonus. A bonus is a direct cash payment over and above an athletics department staff member's institutional salary in
recognition of a specific and extraordinary achievement (see Bylaw 11.3.2.3).
11.02.2 Countable Coach. A countable coach is an institutional staff member or any other individual outside the
institution (e.g., consultant, professional instructor) with whom the institution has made arrangements who engages in off-
campus recruiting activities or provides technical or tactical instruction related to a sport to a student-athlete at any time.
(Revised: 1/8/14 effective 8/1/14, 1/18/23 effective 7/1/23)
    11.02.2.1 Exception -- Postseason Practice Session -- Football. [FBS/FCS] In football, an employee of a
    professional sports organization or team who conducts a postseason practice session per Bylaw 17.11.7.4 is not considered a
    countable coach. (Adopted: 4/25/18 effective 8/1/18, Revised: 1/18/23 effective 7/1/23)
    11.02.2.2 Replacement Due to Extenuating Circumstances. [A] An institution may replace temporarily or on a
    limited basis one of its countable coaches if the coach is unable to perform any or all duties because of extenuating
    circumstances. The replacement coach may perform only those coaching, administrative or recruiting duties that the
    replaced coach is unable to perform. (Revised: 1/11/94, 4/25/02 effective 8/1/02, 1/18/23 effective 7/1/23)
    11.02.2.3 Replacement for National, Olympic or Paralympic Team Coaches. [A] An institution may replace a
    coach temporarily or on a limited basis when that coach takes a leave of absence to participate on or to coach a national
    team, Olympic or Paralympic team, provided the replacement is limited to a one-year period and the coach who is replaced
    performs no recruiting or other duties on behalf of the institution. (Adopted: 1/14/97, Revised: 4/25/02 effective 8/1/02,
    1/18/23 effective 7/1/23)
11.02.3 Graduate Student Coach -- Bowl Subdivision Football. [FBS] In bowl subdivision football, a graduate
student coach is any coach who has received a baccalaureate degree and has either received the individual's first baccalaureate
degree or has exhausted athletics eligibility in football (whichever occurs later) within the previous seven years (time spent under
contract as a professional football player is excepted from this requirement) and is enrolled in graduate level coursework at the
institution. For an individual who did not participate in football, exhaustion of eligibility occurs at the expiration of the
individual's five-year period of eligibility. The individual is not required to be enrolled in a specific graduate degree program
unless required by institutional policy. The following provisions shall apply: (Revised: 1/11/89, 1/10/91, 1/10/92, 1/16/93, 1/9/96
effective 8/1/96, 11/1/01 effective 8/1/02, 5/25/06, 12/15/06, 1/8/07 effective 8/1/07, 11/1/07 effective 8/1/08, 1/16/10 effective
8/1/10, 4/29/10 for new appointments, 1/15/11 effective 8/1/11, 4/26/12, 8/21/12, 1/19/13 effective 8/1/13, 10/21/13, 4/25/18,
5/1/19, 1/22/20, 9/27/21, 7/20/22 effective 8/1/22, 1/18/23 effective 7/1/23)
 (a) The individual may not serve as a graduate student coach for a period of more than two years except that if the individual
      successfully completes 24-semester or 36-quarter hours during the initial two-year period, the individual may serve as a
      graduate student coach for a third year; and
 (b) The individual may not evaluate or contact prospective student-athletes off campus.
11.02.4 Student Assistant Coach. [A] A student assistant coach is any coach who is a student-athlete who has exhausted
eligibility in the sport or has become injured to the point that the individual is unable to practice or compete ever again, and
who meets the following additional criteria: (Revised: 1/9/96, 1/12/04 effective 8/1/04, 3/10/04, 5/26/06, 8/11/09, 4/29/10 effective
8/1/10, 8/7/14, 1/15/16 effective 8/1/16, 2/7/20, 1/18/23 effective 7/1/23)
 (a) Is enrolled at the institution where the individual most recently participated in intercollegiate athletics;

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(b) Is enrolled as a full-time graduate student within the individual's five-year period of eligibility (see Bylaw 12.8) or is
    enrolled as a full-time undergraduate student in the individual's first baccalaureate degree program, except that during the
    individual's final semester or quarter of the degree program, the individual may be enrolled in less than a full-time degree
    program of studies, provided the individual is carrying (for credit) the courses necessary to complete the degree
    requirements; and
(c) Is not involved in contacting and evaluating prospective student-athletes off campus.
11.02.5 Manager. [A] A manager is an individual who performs traditional managerial duties (e.g., equipment, laundry,
hydration) and meets the following additional criteria: (Adopted: 1/16/10 effective 8/1/10, Revised: 4/29/10 effective 8/1/10,
8/7/14, 6/12/19, 1/18/23 effective 7/1/23)
 (a) In sports other than basketball, the individual shall be appointed as a manager within seven years of the individual's initial
     full-time collegiate enrollment. [Circumstances that are excepted from the application of a student-athlete's five-year period
     of eligibility per Bylaw 12.8.1 (e.g., military service, religious mission) are excepted from the application of the seven-year
     period];
 (b) The individual shall be a full-time undergraduate or graduate student (see Bylaws 14.2.2 and 14.2.2.1.5) at the institution
     for which the individual serves as a manager, except that during the individual's final semester or quarter of a degree
     program, the individual may be enrolled in less than a full-time program of studies, provided the individual is carrying (for
     credit) the courses necessary to complete the degree requirements;
 (c) The individual may participate in limited on-court or on-field activities during practice (e.g., assist with drills, throw batting
     practice) or competition (e.g., assist with warm-up activities) involving student-athletes on a regular basis;
 (d) The individual shall not provide instruction to student-athletes;
 (e) The individual shall not participate in countable athletically related activities (e.g., practice player) except as permitted in
     Bylaw 11.02.5-(c); and
 (f) The individual shall forfeit any remaining eligibility in the sport at the institution where the individual serves as a manager.
11.1 Conduct of Athletics Personnel.
11.1.1 Responsibility for Violations of NCAA Regulations. Institutional staff members found in violation of NCAA
regulations shall be subject to disciplinary or corrective action as set forth in Bylaw 19.12, whether such violations occurred at
the certifying institution or during the individual's previous employment at another member institution. (Revised: 7/31/14)
    11.1.1.1 Responsibility of Head Coach. An institution's head coach shall be held responsible for the head coach's
    actions and the actions of all institutional staff members who report, directly or indirectly, to the head coach. In order to
    assist the NCAA Division I Committee on Infractions in penalty deliberations, the enforcement staff will gather
    information regarding whether the head coach promoted an atmosphere of compliance within the program and monitored
    the activities of all institutional staff members involved with the program who report, directly or indirectly, to the coach.
    (Adopted: 4/28/05, Revised: 10/30/12, 7/16/14, 8/31/22 effective 1/1/23)
11.1.2 Use of Association Name or Affiliation. Staff members of member institutions and others serving on the
Association's committees or acting as consultants shall not use, directly or by implication, the Association's name or their
affiliation with the Association in the endorsement of products or services.
11.1.3 Representing Individuals in Marketing Athletics Ability/Reputation. Staff members of the athletics
department of a member institution shall not represent, directly or indirectly, any individual in the marketing of athletics ability
or reputation to an agent, a professional sports team or a professional sports organization, including receiving compensation for
arranging commercial endorsements or personal appearances for former student-athletes, except as specified in Bylaw 11.1.3.1,
and shall not receive compensation or gratuities of any kind, directly or indirectly, for such services. (Revised: 1/10/92, 1/11/94)
    11.1.3.1 Exception -- Professional Sports Counseling Panel and Head Coach. An institution's professional
    sports counseling panel or a head coach in a sport may contact agents, professional sports teams or professional sports
    organizations on behalf of a student-athlete, provided no compensation is received for such services. The head coach shall
    consult with and report the coach's activities on behalf of the student-athlete to the institution's professional sports
    counseling panel. If the institution has no such panel, the head coach shall consult with and report the coach's activities to
    the president or chancellor [or an individual or group (e.g., athletics advisory board) designated by the president or
    chancellor]. (Revised: 11/1/01 effective 8/1/02, 3/8/06)
11.1.4 Strength and Conditioning Coach Certification. A strength and conditioning coach shall be certified and
maintain current certification through a nationally accredited strength and conditioning certification program. (Adopted:
4/24/14 effective 8/1/15)

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11.2 Contractual Agreements.
11.2.1 Stipulation That NCAA Enforcement Provisions Apply. Contractual agreements or appointments between a
president or chancellor, director of athletics or any contracted or appointed athletics department staff member and an institution
shall include the stipulation that: (Revised: 3/10/04, 7/31/14, 8/8/18 for contracts or appointments executed on or after 8/8/18)
 (a) The individual has an affirmative obligation to cooperate fully in the infractions process, including the investigation and
     adjudication of a case (see Bylaw 19.2.1); and
 (b) An individual who is found in violation of NCAA regulations shall be subject to disciplinary or corrective action as set forth
     in the provisions of the NCAA infractions process (see Bylaw 19), including suspension without pay or termination of
     employment.
11.2.2 Athletically Related Income and Benefits. Contractual agreements, including letters of appointment, between a
full-time or part-time athletics department staff member and an institution shall include the stipulation that an athletics
department staff member who receives athletically related income or benefits from a source outside the institution (e.g., income
from endorsement or consultation contracts with apparel companies, equipment manufacturers, television and radio programs;
income from ownership, control or management of a foundation, organization or other entities; etc.) must report such earnings
[other than cash or cash equivalent (as opposed to tangible items) if the total amount received is $600 or less] to the president or
chancellor on an annual basis. (See Bylaw 11.3.2.1.1.) (Adopted: 8/8/18)
11.3 Compensation and Remuneration.
11.3.1 Control of Employment and Salaries. The institution, as opposed to any outside source, shall remain in control
of determining who is to be its employee and the amount of salary the employee is to receive within the restrictions specified by
NCAA legislation.
11.3.2 Income in Addition to Institutional Salary.
    11.3.2.1 Bona Fide Outside Employment. A staff member may earn income and receive benefits in addition to the
    institutional salary by performing services for outside groups consistent with the institution's policy related to outside
    income and benefits applicable to all full-time or part-time employees. The approval of such income and benefits shall be
    consistent with the institution's policy. (Revised: 1/10/92, 4/26/01 effective 8/1/01, 4/28/16 effective 8/1/16, 8/8/18)
         11.3.2.1.1 Noninstitutional Income and Benefits Disclosure. A full-time or part-time athletics department
         staff member who receives athletically related income or benefits from a source outside the institution (e.g., income
         from endorsement or consultation contracts with apparel companies, equipment manufacturers, television and radio
         programs; income from ownership, control or management of a foundation, organization or other entities; etc.) must
         report such earnings to the president or chancellor on an annual basis; however, the athletics staff member is not
         required to report any cash or cash equivalent (as opposed to tangible items) if the total amount received is $600 or
         less. (See Bylaw 11.2.2.) (Adopted: 8/8/18)
    11.3.2.2 Supplemental Pay. An outside source is prohibited from paying or regularly supplementing an athletics
    department staff member's annual salary and from arranging to supplement that salary for an unspecified achievement. This
    includes the donation of cash from outside sources to the institution earmarked for the staff member's salary or
    supplemental income. It would be permissible for an outside source to donate funds to the institution to be used as
    determined by the institution, and it would be permissible for the institution, at its sole discretion, to use such funds to pay
    or supplement a staff member's salary.
    11.3.2.3 Bonuses for Specific and Extraordinary Achievement. An institution may permit an outside individual,
    group or agency to supplement an athletics department staff member's salary with a direct cash payment in recognition of a
    specific and extraordinary achievement (e.g., contribution during career to the athletics department of the institution,
    winning a conference or national championship, number of games or meets won during career/season), provided such a
    cash supplement is in recognition of a specific achievement and is in conformance with institutional policy.
    11.3.2.4 Recruiting Service Consultants. Institutional athletics department staff members may not serve as
    consultants or participate on advisory panels for any recruiting or scouting service involving prospective student-athletes.
    (Adopted: 1/16/93, Revised: 11/17/21)
    11.3.2.5 Consultant for Noninstitutional Athletics Events Involving Prospective Student-Athletes. An
    athletics department staff member may not serve as a consultant for a noninstitutional athletics event that primarily involves
    prospective student-athletes. (Adopted: 1/15/11, Revised: 11/17/21)
11.4 Employment of High School, Preparatory School or Two-Year College
Coaches, or Other Individuals Associated With Prospective Student-Athletes.
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11.4.1 High School, Preparatory School or Two-Year College Coach. An institution may not employ a high
school, preparatory school or two-year college coach who remains a coach in the same sport at the high school, preparatory
school or two-year college. This provision does not preclude employment of a high school, preparatory school or two-year
college coach in a different sport. Men's and women's teams in the same sport are considered different sports for purposes of this
legislation. Men's and women's teams in the same sport are considered different sports even if an athlete from the opposite
gender is playing on a high school, preparatory school or two-year college men's or women's team, provided the team is classified
as a separate team (as opposed to a "mixed" team) by the appropriate institution or the state high school, preparatory school or
two-year college governing body. (See Bylaw 13.12.2.2 for regulations relating to the employment of high school, preparatory
school or two-year college coaches in institutional camps or clinics.) (Revised: 1/10/91, 3/16/07, 1/16/10)
    11.4.1.1 Contract for Future Employment. An institution is permitted to enter into a contractual agreement with a
    high school, preparatory school or two-year college coach for an employment opportunity that begins with the next
    academic year, provided the employment contract with the member institution is not contingent upon the enrollment of a
    prospective student-athlete and the coach does not begin any coaching duties (e.g., recruiting, selection of coaching staff)
    for the member institution while remaining associated with the high school, preparatory school or two-year college.
11.4.2 Individual Associated with a Prospective Student-Athlete -- Men's Basketball. In men's basketball,
during a two-year period before a prospective student-athlete's anticipated enrollment and a two-year period after the
prospective student-athlete's actual enrollment, an institution shall not employ (either on a salaried or a volunteer basis) or enter
into a contract for future employment with an individual associated with the prospective student-athlete in any athletics
department staff position other than a countable coach who may contact or evaluate prospective student-athletes off campus.
(Adopted: 1/16/10 a contract signed before 10/29/09 may be honored, Revised: 6/17/11, 1/18/23 effective 7/1/23)
    11.4.2.1 Application. A violation of Bylaw 11.4.2 occurs if an individual associated with a prospective student-athlete
    (see Bylaw 13.02.20) is employed by the institution and, at the time of employment, a student-athlete who enrolled at the
    institution in the previous two years (and remains enrolled at the institution) was a prospective student-athlete by which the
    individual meets the definition of an individual associated with a prospective student-athlete. A violation of Bylaw 11.4.2
    also occurs if an individual associated with a prospective student-athlete is employed and, within two years after such
    employment, a prospective student-athlete by which the individual meets the definition of an individual associated with a
    prospective student-athlete enrolls as a full-time student in a regular academic term at the institution. In either case, the
    student-athlete becomes ineligible for intercollegiate competition unless eligibility is restored by the Committee on Student-
    Athlete Reinstatement. (Adopted: 6/20/13)
    11.4.2.2 Exception -- Reassignment. An institution may reassign an individual associated with a prospective student-
    athlete from a countable coach who may contact or evaluate prospective student-athletes off campus to another athletics
    department staff position, provided the individual has been a countable coach at the institution for at least one full season.
    A season is defined as the time between the institution's start of on-court preseason practice and the institution's last
    regular-season contest. (Adopted: 4/28/16, Revised: 4/13/17, 3/3/21, 1/18/23 effective 7/1/23)
11.4.3 Individual Associated with a Recruited Prospective Student-Athlete -- Women's Basketball. In
women's basketball, during a two-year period before a recruited prospective student-athlete's anticipated enrollment and a two-
year period after the recruited prospective student-athlete's actual enrollment, an institution shall not employ (either on a
salaried or volunteer basis) or enter into a contract for future employment with an individual associated with the recruited
prospective student-athlete in any athletics department staff position other than a countable coach who may contact or evaluate
prospective student-athletes off campus. (Adopted: 4/26/17 effective 8/1/17 a contract signed before 1/18/17 may be honored,
Revised: 1/18/23 effective 7/1/23)
    11.4.3.1 Application. A violation of Bylaw 11.4.3 occurs if an individual associated with a recruited prospective student-
    athlete (see Bylaws 13.02.15.1 and 13.02.18) is employed by the institution and, at the time of employment, a student-
    athlete who enrolled at the institution in the previous two years (and remains enrolled at the institution) was a recruited
    prospective student-athlete by which the individual meets the definition of an individual associated with a recruited
    prospective student-athlete. A violation of Bylaw 11.4.3 also occurs if an individual associated with a recruited prospective
    student-athlete is employed and, within two years after such employment, a recruited prospective student-athlete by which
    the individual meets the definition of an individual associated with a recruited prospective student-athlete enrolls as a full-
    time student in a regular academic term at the institution. In either case, the student-athlete becomes ineligible for
    intercollegiate competition unless eligibility is restored by the Committee on Student-Athlete Reinstatement. (Adopted:
    4/26/17 effective 8/1/17)
    11.4.3.2 Exception -- Reassignment. An institution may reassign an individual associated with a recruited prospective
    student-athlete from a countable coach who may contact or evaluate prospective student-athletes off campus to another
    athletics department staff position, provided the individual has been a countable coach at the institution for at least one full

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    season. A season is defined as the time between the institution's start of on-court preseason practice and the end of
    institution's last regular-season contest. (Adopted: 4/26/17 effective 8/1/17, Revised: 3/3/21, 1/18/23 effective 7/1/23)
11.4.4 Individual Associated with a Prospective Student-Athlete -- Bowl Subdivision Football. [FBS] In
bowl subdivision football, during a two-year period before a prospective student-athlete's anticipated enrollment and a two-year
period after the prospective student-athlete's actual enrollment, an institution shall not employ (either on a salaried or volunteer
basis) or enter into a contract for future employment with an individual associated with the prospective student-athlete in any
athletics department noncoaching staff position or in a strength and conditioning staff position. (Adopted: 4/26/17 a contract
signed before 1/18/17 may be honored.)
    11.4.4.1 Application. [FBS] A violation of Bylaw 11.4.4 occurs if an individual associated with a prospective student-
    athlete (see Bylaw 13.02.21) is employed by the institution and, at the time of employment, a student-athlete who enrolled
    at the institution in the previous two years (and remains enrolled at the institution) was a prospective student-athlete by
    which the individual meets the definition of an individual associated with a prospective student-athlete. A violation of
    Bylaw 11.4.4 also occurs if an individual associated with a prospective student-athlete is employed and, within two years
    after such employment, a prospective student-athlete by which the individual meets the definition of an individual
    associated with a prospective student-athlete enrolls as a full-time student in a regular academic term at the institution. In
    either case, the student-athlete becomes ineligible for intercollegiate competition unless eligibility is restored by the
    Committee on Student-Athlete Reinstatement. (Adopted: 4/26/17)
    11.4.4.2 Exception -- Reassignment. [FBS] An institution may reassign an individual associated with a prospective
    student-athlete from a countable coaching staff position to a noncoaching staff position or strength and conditioning staff
    position, provided the individual has been a countable coach at the institution the previous academic year. (Adopted:
    4/26/17, Revised: 3/3/21)
11.5 Requirements to Recruit Off Campus.
11.5.1 Annual Rules Education Requirement. A coach shall not engage in off-campus recruiting activities until the
coach has received, from the coach's institution, rules education covering NCAA legislation, including Bylaw 13 and other
bylaws [e.g., Bylaw 15.3 (institutional financial aid award) and 14.3 (freshman academic requirements)] that relates to the
recruitment of prospective student-athletes. Continuing rules education must occur, at a minimum, on an annual basis.
(Adopted: 1/10/91 effective 8/1/92, Revised: 12/15/21 effective 8/1/22)
11.6 Scouting of Opponents.
11.6.1 Off-Campus, In-Person Scouting Prohibition. Off-campus, in-person scouting of future opponents (in the
same season) is prohibited, except as provided in Bylaws 11.6.1.1 and 11.6.1.2. (Adopted: 1/11/94 effective 8/1/94, Revised:
1/14/97 effective 8/1/97, 1/19/13 effective 8/1/13, 1/15/14)
    11.6.1.1 Exception -- Same Event at the Same Site. An institutional staff member may scout future opponents also
    participating in the same event at the same site. (Revised: 1/11/94 effective 8/1/94, 10/28/97 effective 8/1/98, 1/19/13 effective
    8/1/13, 9/19/13, 2/7/20, 6/30/21 effective 8/1/21)
    11.6.1.2 Exception -- Conference or NCAA Championships. An institutional staff member may attend a contest in
    the institution's conference championship or an NCAA championship contest in which a future opponent participates (e.g.,
    an opponent on the institution's spring nonchampionship-segment schedule participates in a fall conference or NCAA
    championship). (Adopted: 1/15/14, Revised: 2/7/20, 6/30/21 effective 8/1/21)
11.7 Limitations on the Number and Duties of Coaches and Noncoaching Staff
Members.
11.7.1 Designation of Coaching Category. [A] An individual who coaches and either is uncompensated or receives
compensation or remuneration of any sort from the institution, even if such compensation or remuneration is not designated for
coaching, shall be designated as a head coach, assistant coach, graduate student coach or student assistant coach by certification
of the institution. (Revised: 1/10/91 effective 8/1/92, 1/12/04 effective 8/1/04, 1/18/14 effective 8/1/14, 1/18/23 effective 7/1/23)
    11.7.1.1 Placement Within Categories. [A] If an institution has not reached its limit on the number of coaches in any
    category, any type of coach may be counted in that category. (Revised: 1/10/91 effective 8/1/92, 1/12/04 effective 8/1/04)
11.7.2 Noncoaching Staff Member with Sport-Specific Responsibilities. [A] A noncoaching staff member with
sport-specific responsibilities (e.g., director of operations, administrative assistant) is prohibited from participating in on-court or
on-field activities (e.g., assist with drills, throw batting practice, signal plays) and is prohibited from participating with or
observing student-athletes in the staff member's sport who are engaged in nonorganized voluntary athletically related activities
(e.g., pick-up games). (Adopted: 1/16/10, Revised: 1/18/14 effective 8/1/14)
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11.7.3 Bowl Subdivision Football. [FBS] There shall be a limit of one head coach, 10 assistant coaches and four graduate
student coaches who may be employed by an institution in bowl subdivision football. (Revised: 4/28/11 effective 8/1/12, 4/26/17
effective 1/9/18, 1/18/23 effective 7/1/23)
    11.7.3.1 Exceptions to Number Limits. [FBS] No individual other than coaches designated to fill the coaching
    categories set forth in Bylaw 11.7.3 may participate in any manner in the coaching of the intercollegiate team of a member
    institution during any football game, practice or other organized activity, with the following exceptions:
         11.7.3.1.1 Weight or Strength Coach. [FBS] A weight (strength and conditioning) coach may conduct flexibility,
         warm-up and physical conditioning activities prior to any game and prior to or during any practice or other organized
         activities without being included in the limitations on number of coaches. Not more than five weight or strength
         coaches are permitted to work with a football program in any capacity, including all workouts (required and
         voluntary), practices and game-related activities. (Revised: 1/15/11 effective 8/1/12)
         11.7.3.1.2 Student Assistant Coach. [FBS] The limits on the number of coaches in this section do not apply to
         student assistant coaches (see Bylaw 11.02.4). (Revised: 1/10/91 effective 8/1/92, 1/15/16 effective 8/1/16)
         11.7.3.1.3 Sprint Football. [FBS] The limits on the number of coaches in this section do not apply to sprint
         football programs. Sprint football coaches are prohibited from off-campus recruiting.
         11.7.3.1.4 Additional Coaches -- National Service Academies. [FBS] National service academies may employ
         four additional coaches. (Revised: 1/10/91 effective 8/1/92, 1/12/04 effective 8/1/04, 8/23/05)
         11.7.3.1.5 Special Attrition Provision. [FBS] The institution is permitted to meet these limitations through
         normal attrition only if the institution had in effect prior to September 15, 1990, a written obligation to the assistant
         coach through academic tenure, an enforceable contract or a formal security-of-employment commitment. (Revised:
         1/10/91 effective 8/1/92)
    11.7.3.2 Contact and Evaluation of Prospective Student-Athletes. [FBS] Only those coaches who are counted by
    the institution within the numerical limitations on head and assistant coaches may contact or evaluate prospective student-
    athletes off campus. (Revised: 4/28/05 effective 8/1/05, 1/19/13 effective 8/1/13)
11.7.4 Championship Subdivision Football. [FCS] In championship subdivision football, there shall be a limit of 13
head or assistant coaches . (Revised: 1/10/91 effective 8/1/92, 1/16/93, 1/9/96, 1/12/04 effective 8/1/04, 12/15/06, 5/1/19, 1/18/23
effective 7/1/23)
    11.7.4.1 Exceptions to Number Limits. [FCS] No individual other than coaches designated to fill the coaching limit
    set forth in Bylaw 11.7.4 may participate in any manner in the coaching of the intercollegiate team of a member institution
    during any football game, practice or other organized activity, with the following exceptions:
         11.7.4.1.1 Weight or Strength Coach. [FCS] A weight (strength and conditioning) coach may conduct flexibility,
         warm-up and physical conditioning activities prior to any game and prior to or during any practice or other organized
         activities without being included in the limitations on number of coaches.
         11.7.4.1.2 Student Assistant Coach. [FCS] The limits on the number of coaches in this section do not apply to
         student assistant coaches (see Bylaw 11.02.4). (Revised: 1/10/91 effective 8/1/92, 1/15/16 effective 8/1/16)
         11.7.4.1.3 Varsity/Freshman Team Football Program. [FCS] An institution that conducts a championship
         subdivision football program that includes a varsity team and a freshman team may employ two additional coaches.
         Freshman eligibility for varsity team participation must be prohibited by the institution and the freshman team must
         participate in five or more intercollegiate contests in order for the two additional coaches to be employed. Such
         additional coaches may perform football-related duties only during the permissible playing and practice season in
         football. (Revised: 1/10/91 effective 8/1/92, 1/12/04 effective 8/1/04, 12/15/06)
         11.7.4.1.4 Varsity/Junior Varsity/Freshman Team Football Program. [FCS] An institution that conducts a
         championship subdivision football program that includes a varsity team, a junior varsity team and a freshman team
         may employ four additional coaches. Freshman eligibility for varsity or junior varsity team participation must be
         prohibited by the institution, the junior varsity team must participate in at least four intercollegiate contests and the
         freshman team must participate in at least five intercollegiate contests in order for the four additional coaches to be
         employed. Such additional coaches may perform football-related duties only during the permissible playing and
         practice season in football. (Revised: 1/10/91 effective 8/1/92, 1/12/04 effective 8/1/04, 12/15/06)
         11.7.4.1.5 Varsity/Junior Varsity Football Program. [FCS] An institution that conducts a championship
         subdivision football program that includes a varsity team and a junior varsity team may employ two additional coaches.
         The institution's junior varsity team must participate in at least four intercollegiate contests in order for the two


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           additional coaches to be employed. Such additional coaches may perform football-related duties only during the
           permissible playing and practice season in football. (Revised: 1/10/92 effective 8/1/92, 1/12/04 effective 8/1/04, 12/15/06)
           11.7.4.1.6 Sprint Football. [FCS] The limits on the number of coaches in this section do not apply to sprint
           football programs. Sprint football coaches are prohibited from off-campus recruiting.
           11.7.4.1.7 Special Attrition Provision. [FCS] The institution is permitted to meet these limitations through
           normal attrition only if the institution had in effect prior to September 15, 1990, a written obligation to the assistant
           coach through academic tenure, an enforceable contract or a formal security-of-employment commitment. (Revised:
           1/10/91 effective 8/1/92)
    11.7.4.2 Off-Campus Contact and Evaluation of Prospective Student-Athletes. [FCS] Only those coaches who
    are counted by the institution within the numerical limitations on head and assistant coaches may contact or evaluate
    prospective student-athletes off campus. (Revised: 4/28/05 effective 8/1/05, 1/19/13 effective 8/1/13)
11.7.5 Limitations on Number of Coaches and Off-Campus Recruiters. There shall be a limit on the number of
coaches (other than graduate student coaches per Bylaw 11.02.3 and student assistant coaches per Bylaw 11.02.4) who may be
employed by an institution and who may contact or evaluate prospective student-athletes off campus in each sport as follows:
(Revised: 1/10/91 effective 8/1/92, 1/10/92 effective 8/1/92, 1/9/96 effective 8/1/96, 1/14/97, 4/25/02 effective 8/1/02, 1/12/04
effective 8/1/04, 4/29/04 effective 8/1/04, 4/28/05, 2/3/06, 12/15/06, 4/26/07 effective 8/1/07, 1/17/09 effective 8/1/09, 1/15/11
effective 8/1/11, 4/28/11 effective 8/1/12, 8/11/11, 1/19/13 effective 8/1/13, 1/18/14 effective 8/1/14, 7/31/15, 1/15/16 effective
8/1/16, 4/26/17 effective 8/1/17, 6/23/20 effective 8/1/20, 1/18/23 effective 7/1/23, 4/13/23 effective 7/1/23, 6/24/23 effective
8/1/23)
Sport                                                   Limit              Sport                                 Limit
Women's Acrobatics and Tumbling                            5               Women's Skiing                           3
Baseball                                                   4               Men's Soccer                             4
                                               6 (only 4 may recruit off
Men's Basketball                                                           Women's Soccer                           4
                                                       campus)
                                               6 (only 4 may recruit off
Women's Basketball                                                         Softball                                 4
                                                       campus)
Women's Beach Volleyball                                   3               Women's Stunt                            4
Women's Bowling                                            3               Men's Swimming                           3
Women's Equestrian                                         4               Men's Swimming and Diving                4
Men's Fencing                                              3               Women's Swimming                         3
Women's Fencing                                            3               Women's Swimming and Diving              4
Football, Bowl Subdivision (See Bylaw
                                                          11               Men's Tennis                             3
11.7.3)
Football, Championship Subdivision
                                                          13               Women's Tennis                           3
(See Bylaw 11.7.4)
                                                                           Men's Cross Country (No Track
Field Hockey                                               4                                                        3
                                                                           and Field)
Men's Golf                                                 3               Men's Track and Field                    4
                                                                           Men's Cross Country/Track and
Women's Golf                                               3                                                        6
                                                                           Field
                                                                           Women's Cross Country (No
Men's Gymnastics                                           4                                                        3
                                                                           Track and Field)
Women's Gymnastics                                         4               Women's Track and Field                  4
                                                                           Women's Cross Country/Track
Men's Ice Hockey                                           4                                                        6
                                                                           and Field
Women's Ice Hockey                                         4               Women's Triathlon                        3
Men's Lacrosse                                             4               Men's Volleyball                         4
Women's Lacrosse                                           4               Women's Volleyball                       4

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Sport                                                Limit             Sport                                Limit
Men's Rifle                                            3               Men's Water Polo                       4
Women's Rifle                                          3               Women's Water Polo                     4
Women's Rowing                                         7               Men's Wrestling                        4
Women's Rugby                                          4               Women's Wrestling                      4




Men's Skiing                                           3




   11.7.5.1 Combined Sports Program. [A] An institution that conducts a combined program in a sport (one in which
   all coaching staff members in the same sport are involved in practice activities or competition with both the men's and
   women's teams on a daily basis) may employ the total number of coaches specified separately for men and for women in
   that sport. (Adopted: 1/16/93)
         11.7.5.1.1 Exception -- Swimming and Diving. [A] An institution that conducts separate men's and women's
         swimming programs and a combined men's and women's diving program and employs a countable coach for the
         combined diving program may include the coach in the limitations for men’s swimming and diving or women’s
         swimming and diving. (Adopted: 1/18/23 effective 7/1/23)
         11.7.5.1.2 Exception -- Cross Country (No Track and Field). [A] An institution that conducts a combined
         men's and women's cross country program without track and field may only employ up to five countable coaches.
         (Adopted: 4/13/23 effective 7/1/23)
   11.7.5.2 Exceptions to Number Limits. [A] No individual other than coaches designated to fill the coaching limits set
   forth in Bylaw 11.7.5 may participate in any manner in the coaching of the intercollegiate team of a member institution
   during any game, practice or other organized activity, with the following exceptions: (Revised: 1/10/91 effective 8/1/92)
         11.7.5.2.1 Weight or Strength Coach. [A] A weight (strength and conditioning) coach may conduct flexibility,
         warm-up and physical conditioning activities prior to any game and prior to or during any practice or other organized
         activities without being included in the limitations on number of coaches. (Revised: 1/10/91 effective 8/1/92)
         11.7.5.2.2 Student Assistant Coach. [A] An institution may employ student assistant coaches (see Bylaw
         11.02.4). The limit on the number of student assistant coaches in each sport shall be the same as the limit on the
         number of coaches in the sport per Bylaw 11.7.5. (Revised: 1/10/91 effective 8/1/92, 8/23/05, 4/29/10 effective 8/1/10,
         1/15/16 effective 8/1/16)
         11.7.5.2.3 Special Attrition Provision. The institution is permitted to meet these limitations through normal
         attrition only if the institution had in effect prior to September 15, 1990, a written obligation to the assistant coach
         through academic tenure, an enforceable contract or formal security-of-employment commitment. (Revised: 1/10/91
         effective 8/1/92)


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         11.7.5.2.4 Additional Coaches -- National Service Academies. A national service academy may employ two
         additional coaches in basketball and one additional coach in men's ice hockey. (Revised: 1/10/91 effective 8/1/92,
         1/12/04 effective 8/1/04, 6/24/23)
         11.7.5.2.5 Exception -- Swimming and Diving. [A] An institution that sponsors either men's swimming and
         diving or women's swimming and diving, but not both, may employ an additional countable coach. (Adopted: 1/18/23
         effective 7/1/23)
         11.7.5.2.6 Exception -- Women's Equestrian. [A] In women's equestrian, an institution that uses both the hunt
         seat riding discipline and the western riding discipline may employ one additional countable coach. (Adopted: 1/18/23
         effective 7/1/23)
         11.7.5.2.7 Exception for Lightweight Rowing. [A] An institution that conducts a rowing program that includes
         heavyweight rowing and lightweight rowing may employ two additional coaches. Each of the institution's rowing
         teams must have at least one "eight" or two "fours" that compete in at least four spring events. (Adopted: 1/9/96 effective
         8/1/96)




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BYLAWS, ARTICLE 12

Amateurism and Athletics Eligibility
12.01 General Principles.
12.01.1 Eligibility for Intercollegiate Athletics. Only an amateur student-athlete is eligible for intercollegiate athletics
participation in a particular sport.
12.01.2 Clear Line of Demarcation. Member institutions' athletics programs are designed to be an integral part of the
educational program. The student-athlete is considered an integral part of the student body, thus maintaining a clear line of
demarcation between college athletics and professional sports.
12.01.3 "Individual" vs. "Student-Athlete." NCAA amateur status may be lost as a result of activities prior to
enrollment in college. If NCAA rules specify that an "individual" may or may not participate in certain activities, this term refers
to a person prior to and after enrollment in a member institution. If NCAA rules specify a "student-athlete," the legislation
applies only to that person's activities after enrollment.
12.01.4 Permissible Grant-in-Aid. A grant-in-aid administered by an educational institution is not considered to be pay
or the promise of pay for athletics skill, provided it does not exceed the financial aid limitations set by the Association’s
membership.
12.02 Definitions and Applications.
12.02.1 Agent. [A] An agent is any individual who, directly or indirectly: (Adopted: 1/14/12)
 (a) Represents or attempts to represent an individual for the purpose of marketing the individual's athletics ability or reputation
     for financial gain; or
 (b) Seeks to obtain any type of financial gain or benefit from securing a prospective student-athlete's enrollment at an
     educational institution or from a student-athlete's potential earnings as a professional athlete.
    12.02.1.1 Application. [A] An agent may include, but is not limited to, a certified contract advisor, financial advisor,
    marketing representative, brand manager or anyone who is employed or associated with such persons. (Adopted: 1/14/12)
    12.02.1.2 NCAA Certification Requirement -- Men's Basketball. [A] In men's basketball, any individual who
    solicits a prospective or enrolled student‐athlete to enter into an agency contract or attempts to obtain employment for an
    individual with a professional sports team or organization or as a professional athlete must be certified and maintain active
    certification per the policies and procedures of the NCAA agent certification program. (See Bylaw 12.3.1.3.) (Adopted:
    8/8/18)
         12.02.1.2.1 Exception. [A] A family member of a prospective or enrolled student-athlete or an individual acting
         solely on behalf of a professional sports team or organization is not required to be certified through the NCAA agent
         certification program. (Adopted: 8/8/18)
         12.02.1.2.2 Responsibility of NCAA-Certified Agent. [A] An NCAA-certified agent is presumed responsible for
         the actions of all employees who report, directly or indirectly, to the NCAA-certified agent. Improper conduct of an
         NCAA-certified agent's employees shall subject the agent to disciplinary action pursuant to the NCAA agent
         certification program. (Adopted: 8/8/18)
12.02.2 Actual and Necessary Expenses. Actual and necessary expenses are limited to: (Adopted: 1/19/13 effective
8/1/13)
 (a) Meals;
 (b) Lodging;
 (c) Apparel, equipment and supplies;
 (d) Coaching and instruction;
 (e) Health/medical insurance;
 (f) Transportation (expenses to and from practice and competition, cost of transportation from home to training/practice site at
     the beginning of the season/preparation for an event and from training/practice/event site to home at the end of season/
     event);
 (g) Medical treatment and physical therapy;
 (h) Facility usage;
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(i) Entry fees; and
(j) Other reasonable expenses.
    12.02.2.1 Application Unless otherwise permitted by the NCAA constitution or bylaws, actual and necessary expenses
    may be provided only if such expenses are for competition on a team or in a specific event or for practice that is directly
    related to such competition. The value of such expenses must be commensurate with the fair market value of similar goods
    and services in the locality in which the expenses are provided and must not be excessive in nature. Actual and necessary
    expenses shall not include the expenses or fees of anyone other than the individual who participates as a member of the
    team or in a specific event. (Adopted: 1/19/13 effective 8/1/13)
12.02.3 Calculation of Actual and Necessary Expenses -- Individual Sports and Women's Beach
Volleyball. In individual sports and women's beach volleyball, the calculation of an individual's actual and necessary expenses
shall be based on expenses incurred during each calendar year (January-December), rather than on an event-by-event basis.
(Adopted: 1/19/13 effective 8/1/13, Revised: 1/23/19 Immediate; may be applied retroactively to expenses incurred on or after January
1, 2019.)
12.02.4 Family Member. A family member is an individual with any of the following relationships to the prospective
student-athlete: spouse, parent or legal guardian, child, sibling, grandparent, domestic partner or any individual whose close
association with the prospective student-athlete is the practical equivalent of a family relationship. (Adopted: 4/25/18)
12.02.5 Individual. An individual, for purposes of this bylaw, is any person of any age without reference to enrollment in an
educational institution or status as a student-athlete.
12.02.6 Intercollegiate Competition. Intercollegiate competition is considered to have occurred when a student-athlete
in either a two-year or a four-year collegiate institution does any of the following: (Revised: 1/10/91, 1/16/93, 1/11/94, 1/10/95,
1/9/06, 7/31/23)
 (a) Represents the institution in any contest against outside competition, regardless of how the competition is classified (e.g.,
     scrimmage, exhibition or joint practice session with another institution's team) or whether the student is enrolled in a
     minimum full-time program of studies;
 (b) Competes in the uniform of the institution, or, during the academic year, uses any apparel (excluding apparel no longer
     used by the institution) received from the institution that includes institutional identification; or
 (c) Competes and receives expenses (e.g., transportation, meals, housing, entry fees) from the institution for the competition.
    12.02.6.1 Exempted Events. Participation in events listed in Bylaw 16.8.1.2 is exempted from the application of this
    legislation. (Revised: 1/10/92)
    12.02.6.2 Participation on an Institution's Club Team. Participation on a collegiate institution's club team is
    exempted from the application of this legislation, provided the institution did not sponsor the sport on the varsity
    intercollegiate level at the time of participation. (Adopted: 6/24/09)
12.02.7 Limited Benefit -- Prior to Initial Full-Time Enrollment at an NCAA Institution -- Expenses from a
Permissible Source. Prior to initial full-time enrollment at an NCAA institution, if an individual receives expenses from a
permissible source (e.g., event sponsor, club team) that exceed the individual's actual and necessary expenses by $300 or less, the
eligibility of the individual shall not be affected. (Adopted: 1/19/13 effective 8/1/13)
12.02.8 Limited Benefit -- Enrolled Student-Athlete -- Expenses from a Permissible Source. If a student-
athlete engages in permissible outside competition and receives expenses from a permissible source (e.g., event sponsor, club
team) that exceed the student-athlete's actual and necessary expenses by $300 or less, the eligibility of the student-athlete shall
not be affected and the institution is not required to submit a self-report of the infraction. (Adopted: 1/19/13 effective 8/1/13)
12.02.9 Organized Competition. Athletics competition shall be considered organized if any of the following conditions
exists: (Adopted: 7/31/14)
 (a) Competition is scheduled and publicized in advance;
 (b) Official score is kept;
 (c) Individual or team standings are maintained;
 (d) Official timer or game officials are used;
 (e) Admission is charged;
 (f) Teams are regularly formed or team rosters are predetermined;
 (g) Team uniforms are used;
 (h) A team is privately or commercially sponsored; or
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 (i) The competition is either directly or indirectly sponsored, promoted or administered by an individual, an organization or
     any other agency.
12.02.10 Pay. Pay is the receipt of funds, awards or benefits not permitted by the governing legislation of the Association for
participation in athletics.
12.02.11 Professional Athlete. A professional athlete is one who receives any kind of payment, directly or indirectly, for
athletics participation except as permitted by the governing legislation of the Association.
12.02.12 Professional Athletics Team. A professional team is any organized team that: (Revised: 4/25/02 effective 8/1/02,
8/8/02, 4/23/03, 4/24/04, 10/28/04)
 (a) Provides any of its players more than actual and necessary expenses for participation on the team, except as otherwise
     permitted by NCAA legislation. Actual and necessary expenses are limited to the items listed in Bylaw 12.02.2, provided the
     value of these items is commensurate with the fair market value in the locality of the player(s) and is not excessive in nature;
     or
 (b) Declares itself to be professional.
12.02.13 Religious Mission, Official. An official religious mission is one that is established by the religious organization
of which the individual is a member and that results in the individual being unable to attend a collegiate institution during the
period of the mission. (Revised: 1/9/06, 4/2/10)
12.02.14 Student-Athlete. A student-athlete is a student whose enrollment was solicited by a member of the athletics staff
or other representative of athletics interests with a view toward the student's ultimate participation in the intercollegiate athletics
program. Any other student becomes a student-athlete only when the student reports for an intercollegiate squad that is under
the jurisdiction of the athletics department, as specified in Bylaw 20.2.4.6. A student is not deemed a student-athlete solely on
the basis of prior high school athletics participation.
12.02.15 Triathlon and Cross Country, Track and Field and Swimming. Triathlon and cross country are
considered the same sport, triathlon and track and field are considered the same sport, and triathlon and swimming are
considered the same sport for purposes of Bylaw 12.1, 12.2, 12.3 and 12.8.3.2. (Adopted: 1/18/14 effective 8/1/14)
12.02.16 Volleyball and Beach Volleyball. Volleyball and beach volleyball are considered the same sport for the
purposes of Bylaws 12.1, 12.2, 12.3 and 12.8.3.2. (Adopted: 8/26/10, Revised: 7/31/14)
12.1 General Regulations. An individual must comply with the following to retain amateur status. (See Bylaw
12.12 regarding the eligibility restoration process.)
12.1.1 Validity of Amateur Status. As a condition and obligation of membership, it is the responsibility of an institution
to determine the validity of the information on which the amateur status of a prospective student-athlete (including two-year
and four-year college transfers initially enrolling at an NCAA Division I institution) and student-athlete is based. (See Bylaw
14.01.3.) (Adopted: 1/9/06 effective 8/1/06 for all final certifications for student-athletes initially enrolling at a Division I or Division
II institution on or after 8/1/07, Revised: 1/8/07, 4/30/07)
     12.1.1.1 Amateurism Certification Process. An institution shall use an initial eligibility center approved by the Board
     of Governors to determine the validity of the information on which the amateur status of a student-athlete is based.
     (Adopted: 1/9/06 effective 8/1/06 for final certifications for student-athletes initially enrolling at a Division I or Division II
     institution on or after 8/1/07, Revised: 4/30/07, 10/30/14)
          12.1.1.1.1 Scope. The certification of amateur status issued by the NCAA Eligibility Center is limited to activities
          that occur prior to the prospective student-athlete's request for final amateurism certification or the prospective
          student-athlete's initial full-time enrollment at an NCAA member institution, whichever occurs earlier. (Adopted:
          4/30/07, Revised: 6/20/23)
          12.1.1.1.2 Institutional Responsibilities.
               12.1.1.1.2.1 Amateur Status After Certification. An institution is responsible for certifying the amateur
               status of a prospective student-athlete (including two-year and four-year college transfers initially enrolling at an
               NCAA Division I institution) from the time the prospective student-athlete requests that a final certification be
               issued by the NCAA Eligibility Center or from the time the prospective student-athlete initially enrolls as a full-
               time student at an NCAA member institution (whichever occurs earlier). (Adopted: 4/30/07, Revised: 6/20/23)
               12.1.1.1.2.2 Sharing Information and Reporting Discrepancies. If an institution receives additional
               information or otherwise has cause to believe that a prospective student-athlete's amateur status has been
               jeopardized, the institution is responsible for promptly notifying the NCAA Eligibility Center of such

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              information. Further, an institution is responsible for promptly reporting to the NCAA Eligibility Center all
              discrepancies in information related to a student-athlete's amateurism certification. (Adopted: 4/30/07)
         12.1.1.1.3 Eligibility for Practice or Competition. Prior to engaging in practice or competition, a student-
         athlete shall receive a final certification of amateur status based on activities that occur prior to the student-athlete's
         request for final certification or initial full-time enrollment at an NCAA Division I or II institution (whichever occurs
         earlier). (Adopted: 4/30/07)
              12.1.1.1.3.1 Temporary Certification. If a prospective student-athlete reports for athletics participation
              before the student's amateur status has been certified, the student may practice, but not compete, for a maximum
              period of 45 days. After this period, the student's amateur status must be certified in order to continue to practice
              or to compete. (Adopted: 1/9/06 effective 8/1/06 for all final certifications for student-athletes initially enrolling at a
              Division I or Division II institution on or after 8/1/07, Revised: 11/29/09)
              12.1.1.1.3.2 Effect of Violations. A violation of Bylaw 12.1.1.1.3 or Bylaw 12.1.1.1.3.1 in which the student-
              athlete is subsequently certified without conditions shall be considered an institutional violation per Bylaw 8.01.3
              but shall not affect the student-athlete's eligibility. (Adopted: 10/29/15)
         12.1.1.1.4 Eligibility for Practice After a Final Not-Certified Certification. After a final not-certified
         certification is rendered, a student-athlete may continue to engage in practice activities, provided the institution has
         submitted a notice of appeal. At the point in which all appeal opportunities have been exhausted and no eligibility has
         been granted, the student-athlete may no longer participate in practice activities. (Adopted: 3/21/07)
12.1.2 Amateur Status. An individual loses amateur status and thus shall not be eligible for intercollegiate competition in a
particular sport if the individual: (Revised: 4/25/02 effective 8/1/02, 4/23/03 effective 8/1/03, 4/29/10 effective 8/1/10)
 (a) Uses athletics skill (directly or indirectly) for pay in any form in that sport;
 (b) Accepts a promise of pay even if such pay is to be received following completion of intercollegiate athletics participation;
 (c) Signs a contract or commitment of any kind to play professional athletics, regardless of its legal enforceability or any
     consideration received, except as permitted in Bylaw 12.2.5.1;
 (d) Receives, directly or indirectly, a salary, reimbursement of expenses or any other form of financial assistance from a
     professional sports organization based on athletics skill or participation, except as permitted by NCAA rules and regulations;
 (e) Competes on any professional athletics team per Bylaw 12.02.12, even if no pay or remuneration for expenses was received,
     except as permitted in Bylaw 12.2.3.2.1;
 (f) After initial full-time collegiate enrollment, enters into a professional draft (see Bylaw 12.2.4); or
 (g) Enters into an agreement with an agent.
    12.1.2.1 Prohibited Forms of Pay. "Pay," as used in Bylaw 12.1.2 above, includes, but is not limited to, the following:
         12.1.2.1.1 Salary, Gratuity or Compensation. Any direct or indirect salary, gratuity or comparable
         compensation.
         12.1.2.1.2 Division or Split of Surplus. Any division or split of surplus (bonuses, game receipts, etc.).
         12.1.2.1.3 Educational Expenses. Educational expenses not permitted by the governing legislation of this
         Association (see Bylaw 15 regarding permissible financial aid to enrolled student-athletes).
              12.1.2.1.3.1 Educational Expenses or Services -- Prior to Collegiate Enrollment. A prospective
              student-athlete may receive educational expenses or services (e.g., tuition, fees, living expenses, books, tutoring,
              standardized test preparatory classes) prior to collegiate enrollment from any individual or entity other than an
              agent, professional sports team/organization, member institution or a representative of an institution's athletics
              interests, provided the payment for such expenses or services is disbursed directly to the individual, organization or
              educational institution (e.g., high school, preparatory school) providing the educational expenses or services.
              (Adopted: 4/25/02 effective 8/1/02, Revised: 1/14/08, 5/1/19, 7/31/23)
                  12.1.2.1.3.1.1 Professional Sports Team/Organization -- Sports Other Than Men's Ice Hockey
                  and Skiing. In sports other than men's ice hockey and skiing, prior to collegiate enrollment, a professional
                  sports team/organization may provide payment for educational expenses or services (e.g., tuition, fees, living
                  expenses, books, tutoring, standardized test preparatory classes) provided to a prospective student-athlete,
                  provided such payment is disbursed directly to the individual, organization or educational institution (e.g.,
                  high school, preparatory school) providing the educational expenses or services. (Adopted: 5/1/19, Revised:
                  7/31/23)

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             12.1.2.1.3.2 Educational Expenses From Outside Sports Team or Organization -- After Collegiate
             Enrollment. Educational expenses provided to an individual after initial collegiate enrollment by an outside
             sports team or organization that are based on any degree on the recipient's athletics ability [except for financial aid
             that is received from a team or organization that conducts a competitive sports program by an individual who is
             not a member of that team or organization (see Bylaw 15.2.6.4)], even if the funds are given to the institution to
             administer to the recipient. (Revised: 1/10/95, 4/25/02 effective 8/1/02, 1/15/11 effective 8/1/11, 8/18/11)
                 12.1.2.1.3.2.1 Educational Expenses -- Olympic Committee. A student-athlete may receive
                 educational expenses awarded by the U.S. Olympic and Paralympic Committee (or for international student-
                 athletes, expenses awarded by the equivalent organization of a foreign country) pursuant to the applicable
                 conditions set forth in Bylaw 15.2.6.5. (Adopted: 4/15/97, Revised: 11/1/00, 4/25/02 effective 8/1/02, 10/17/19)
                 12.1.2.1.3.2.2 Educational Expenses -- National Governing Body. A student-athlete may receive
                 educational expenses awarded by a U.S. national governing body (or, for international student-athletes,
                 expenses awarded by the equivalent organization of a foreign country) pursuant to the applicable conditions
                 set forth in Bylaw 15.2.6.5. (Adopted: 10/28/97 effective 8/1/98, Revised: 11/1/00, 4/25/02 effective 8/1/02)
         12.1.2.1.4 Expenses, Awards and Benefits. Excessive or improper expenses, awards and benefits.
             12.1.2.1.4.1 Cash or Equivalent Award. Cash, or the equivalent thereof (e.g., trust fund), as an award for
             participation in competition at any time, even if such an award is permitted under the rules governing an amateur,
             noncollegiate event in which the individual is participating. An award or a cash prize that an individual could not
             receive under NCAA legislation may not be forwarded in the individual's name to a different individual or agency.
             (Revised: 4/25/02 effective 8/1/02)
                 12.1.2.1.4.1.1 Exception -- Prospective Student-Athlete's Educational Institution. A financial
                 award may be provided to a prospective student-athlete's educational institution in conjunction with the
                 prospective student-athlete being recognized as part of an awards program in which athletics participation,
                 interests or ability is a criterion, but not the sole criterion, in the selection process. Such an award must also
                 include nonathletics criteria, such as the prospective student-athlete's academic record and nonathletics
                 extracurricular activities and may not be based on the prospective student-athlete's place finish or performance
                 in a particular athletics event. In addition, it is permissible for an outside organization (other than a
                 professional sports organization) to provide actual and necessary expenses for the prospective student-athlete
                 (and the prospective student-athlete's family members) to travel to a recognition event designed to recognize
                 the prospective student-athlete's accomplishments in conjunction with selection as the recipient of a regional,
                 national or international award. (Adopted: 10/28/99, Revised: 4/25/18)
                 12.1.2.1.4.1.2 Operation Gold Grant. An individual (prospective student-athlete or student-athlete) may
                 accept funds that are administered by the U.S. Olympic and Paralympic Committee pursuant to its
                 Operation Gold program. (Adopted: 4/26/01 effective 8/1/01, Revised: 10/17/19)
                 12.1.2.1.4.1.3 Incentive Programs for International Athletes. An international prospective student-
                 athlete or international student-athlete may accept funds from a country’s national Olympic and/or
                 Paralympic governing body (equivalent to the U.S. Olympic and Paralympic Committee) based on place
                 finish in one event per year that is designated as the highest level of international competition for the year by
                 the governing body. (Adopted: 1/17/15 effective 8/1/15, Revised: 10/17/19, 1/22/20)
             12.1.2.1.4.2 Expenses/Awards Prohibited by Rules Governing Event. Expenses incurred or awards
             received by an individual that are prohibited by the rules governing an amateur, noncollegiate event in which the
             individual participates.
             12.1.2.1.4.3 Expenses from an Outside Sponsor. An individual who participates in a sport as a member of
             a team may receive actual and necessary expenses for competition and practice held in preparation for such
             competition (directly related to the competition and conducted during a continuous time period preceding the
             competition) from an outside sponsor (e.g., team, neighbor, business) other than an agent or a representative of an
             institution's athletics interests (and, after initial full-time collegiate enrollment, other than a professional sports
             organization). An individual who participates in a sport as an individual (not a member of a team) may receive
             actual and necessary expenses associated with an athletics event and practice immediately preceding the event,
             from an outside sponsor (e.g., neighbor, business) other than an agent or a representative of an institution's
             athletics interests (and, after initial full-time collegiate enrollment, other than a professional sports organization).
             (Revised: 8/26/10, 1/19/13 effective 8/1/13, 11/7/13)


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                  12.1.2.1.4.3.1 Expenses Prior to Full-Time Collegiate Enrollment -- Professional Sports
                  Organization. Prior to full-time collegiate enrollment, an individual may accept up to actual and necessary
                  expenses for competition and practice held in preparation for such competition from a professional sports
                  organization that sponsors the event. (Adopted: 10/16/12)
                  12.1.2.1.4.3.2 Expenses/Benefits Related to Olympic or Paralympic Games. Members of an
                  Olympic or Paralympic team may receive all nonmonetary benefits and awards provided to members of an
                  Olympic or Paralympic team beyond actual and necessary expenses and any other item or service for which it
                  can be demonstrated that the same benefit is available to all members of that nation's Olympic or Paralympic
                  team or the specific sport Olympic or Paralympic team. (Adopted: 11/1/00, Revised: 1/19/13 effective 8/1/13,
                  1/22/20)
             12.1.2.1.4.4 Expenses for Family Members of Participants in Athletics Competition. Expenses
             received by the family members of a participant in athletics competition from a nonprofessional organization
             sponsoring the competition in excess of actual and necessary travel, housing and food expenses, or any
             entertainment expenses, unless such expenses are made available to the family members of all participants in the
             competition. (Adopted: 1/16/93, Revised: 1/11/97, 4/25/18, 7/31/23)
                  12.1.2.1.4.4.1 Postseason Bowl Event. [FBS] On one occasion per year, a student-athlete may designate
                  either additional individuals or substitutes (not to exceed a total of six individuals) to receive entertainment
                  expenses related to an event organized by the nonprofessional sponsor of a postseason bowl game specifically
                  for the family members of student-athletes participating in the postseason bowl. For an institution that
                  participates in an additional postseason game between the winners of two postseason bowl games [see Bylaw
                  17.11.6.2.1-(d)], a student-athlete may designate either additional individuals or substitutes (not to exceed a
                  total of six individuals) to receive entertainment expenses related to an event organized by the nonprofessional
                  sponsor of the additional game specifically for the family members of student-athletes participating in the
                  additional game. The additional individuals or substitutes designated by the student-athlete shall be subject to
                  the review and approval of the institution's athletics director (or designee). (Adopted: 4/29/04 effective 8/1/04,
                  Revised: 4/25/18, 1/23/19)
         12.1.2.1.5 Payment Based on Performance. Any payment conditioned on the individual's or team's place finish
         or performance or given on an incentive basis that exceeds actual and necessary expenses, or receipt of expenses in
         excess of the same reasonable amount for permissible expenses given to all individuals or team members involved in the
         competition. (Revised: 4/25/02 effective 8/1/02, 1/19/13 effective 8/1/13)
             12.1.2.1.5.1 Operation Gold Grant. An individual (prospective student-athlete or student-athlete) may accept
             funds that are administered by the U.S. Olympic and Paralympic Committee pursuant to its Operation Gold
             program. (Adopted: 4/26/01, Revised: 10/17/19)
             12.1.2.1.5.2 Incentive Programs for International Athletes. An international prospective student-athlete
             or international student-athlete may accept funds from a country’s national Olympic and/or Paralympic governing
             body (equivalent to the U.S. Olympic and Paralympic Committee) based on place finish in one event per year that
             is designated as the highest level of international competition for the year by the governing body. (Adopted:
             1/17/15 effective 8/1/15, Revised: 10/17/19, 1/22/20)
             12.1.2.1.5.3 Awards Based on Performance in Outside Competition. An individual may receive an
             award (e.g., trophy, medal, saddle) based on place finish or performance in outside competition, subject to the
             applicable awards limits (see Bylaw 16.1). (Adopted: 8/26/10)
         12.1.2.1.6 Preferential Treatment, Benefits or Services. Preferential treatment, benefits or services because of
         the individual's athletics reputation or skill or pay-back potential as a professional athlete, unless such treatment,
         benefits or services are specifically permitted under NCAA legislation. [R] (Revised: 1/11/94, 1/14/08)
         12.1.2.1.7 Prize for Participation in Institution's Promotional Activity. Receipt of a prize for participation
         (involving the use of athletics ability) in a member institution's promotional activity that is inconsistent with the
         provisions of Bylaw 12.5 or approved official interpretations. (Revised: 11/1/07 effective 8/1/08)
   12.1.2.2 Use of Overall Athletics Skill -- Effect on Eligibility. Participation for pay in competition that involves the
   use of overall athletics skill (e.g., "superstars" competition) constitutes a violation of the Association's amateur-status
   regulations; therefore, an individual participating for pay in such competition is ineligible for intercollegiate competition in
   all sports. (See Bylaw 12.5.2.3.3 for exception related to promotional contests.) (Revised: 4/25/02 effective 8/1/02)
   12.1.2.3 Road Racing. "Road racing" is essentially the same as cross country or track and field competition and cannot
   be separated effectively from those sports for purposes of Bylaws 12.1, 12.2 and 12.8.3.2. Therefore, a student-athlete who
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   accepts pay in any form for participation in such a race is ineligible for intercollegiate cross country or track and field
   competition. (Revised: 4/25/02 effective 8/1/02)
   12.1.2.4 Exceptions to Amateurism Rule.
         12.1.2.4.1 Exception for Prize Money Based on Performance -- Sports Other Than Tennis. In sports other
         than tennis, an individual may accept prize money based on place finish or performance in an athletics event. Such
         prize money may not exceed actual and necessary expenses and may be provided only by the sponsor of the event. The
         calculation of actual and necessary expenses shall not include the expenses or fees of anyone other than the individual
         (e.g., coach's fees or expenses, family member's expenses). (Adopted: 4/25/02 effective 8/1/02, Revised: 12/12/06
         applicable to any expenses received by a prospective student-athlete on or after 8/23/06, 4/26/12, 1/19/13 effective 8/1/13,
         4/25/18)
         12.1.2.4.2 Exception for Prize Money -- Tennis.
             12.1.2.4.2.1 Prior to Full-Time Collegiate Enrollment. In tennis, prior to full-time collegiate enrollment,
             an individual may accept up to $10,000 per calendar year in prize money based on place finish or performance in
             athletics events. Such prize money may be provided only by the sponsor of an event in which the individual
             participates. Once the individual has accepted $10,000 in prize money in a particular year, the individual may
             receive additional prize money on a per-event basis, provided such prize money does not exceed the individual's
             actual and necessary expenses for participation in the event. The calculation of actual and necessary expenses shall
             not include the expenses or fees of anyone other than the individual (e.g., coach's fees or expenses, family
             member's expenses). (Adopted: 4/26/12, Revised: 1/19/13 effective 8/1/13)
             12.1.2.4.2.2 After Initial Full-Time Collegiate Enrollment. In tennis, after initial full-time collegiate
             enrollment, an individual may accept prize money based on place finish or performance in an athletics event. Such
             prize money may not exceed actual and necessary expenses and may be provided only by the sponsor of the event.
             The calculation of actual and necessary expenses shall not include the expenses or fees of anyone other than the
             individual (e.g., coach's fees or expenses, family member's expenses). (Adopted: 1/19/13 effective 8/1/13, Revised:
             4/25/18)
         12.1.2.4.3 Exception for Payment Based on Team Performance. An individual may accept payment from an
         amateur team or the sponsor of the event based on a team's place finish or performance, or given on an incentive basis
         (e.g., bonus), provided the combination of such payments and expenses provided to the individual does not exceed
         actual and necessary expenses to participate on the team. The calculation of actual and necessary expenses shall not
         include the expenses or fees of anyone other than the individual (e.g., coach's fees or expenses, family member's
         expenses). (Adopted: 10/28/10, Revised: 1/19/13 effective 8/1/13, 4/25/18)
         12.1.2.4.4 Exception for Insurance. [A] An individual may borrow against future earnings potential from an
         established, accredited commercial lending institution for the purpose of purchasing insurance incidental to
         participation in athletics (e.g., critical injury or illness, loss of value) (see Bylaw 16.11.1.4), provided a third party
         (including a representative of an institution's athletics interests) is not involved in arrangements for securing the loan.
         However, an institution's president or chancellor (or a designated representative from outside the department of
         athletics) may designate an institutional staff member (or staff members) (e.g., professional sports counseling panel) to
         assist a student-athlete with arrangements for securing the loan and insurance. (Revised: 1/16/93, 1/14/97 effective
         8/1/97, 1/16/10, 1/17/15, 8/3/22)
         12.1.2.4.5 Exception for Institutional Fundraising Activities Involving the Athletics Ability of
         Student-Athletes. Institutional, charitable or educational promotions or fundraising activities that involve the use of
         athletics ability by a student-athlete to obtain funds (e.g., "swim-a-thons") are permitted only if: (Revised: 5/11/05)
         (a) All money derived from the activity or project goes directly to the institution, conference or the charitable,
             educational or nonprofit agency;
         (b) The student-athlete receive no compensation or prizes for participation; and
         (c) The provisions of Bylaw 12.5.1 are satisfied.
         12.1.2.4.6 Exception for U.S. Olympic and Paralympic Committee Elite Athlete Health Insurance
         Program. An individual may receive the comprehensive benefits of the U.S. Olympic and Paralympic Committee
         Elite Athlete Health Insurance Program. (Adopted: 1/10/90, Revised: 10/17/19)
         12.1.2.4.7 Exception for Training Expenses. An individual (prospective or enrolled student-athlete) may receive
         actual and necessary expenses [including grants, but not prize money, whereby the recipient has qualified for the grant
         based on performance in a specific event(s)] to cover developmental training, coaching, facility usage, equipment,
         apparel, supplies, comprehensive health insurance, travel, housing and food without jeopardizing the individual's
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         eligibility for intercollegiate athletics, provided such expenses are approved and provided directly by the U.S. Olympic
         and Paralympic Committee, the appropriate national governing body in the sport (or, for international student-
         athletes, the equivalent organization of that nation) or a governmental entity. (Adopted: 1/10/91, Revised: 4/27/00,
         1/19/13 effective 8/1/13, 10/17/19, 7/31/23)
         12.1.2.4.8 Exception for Developmental Training Expenses for Elite Athletes. An individual (prospective
         or enrolled student-athlete) who has been designated by the U.S. Olympic and Paralympic Committee and the sport-
         affiliated national governing body (or the international equivalent) as an elite athlete may receive developmental
         training expenses related to training, coaching, sport experts other than coaches, training partners, facility usage,
         equipment, apparel, supplies, comprehensive health insurance, travel (including travel for parents or guardians,
         coaches, sport experts and training partners), housing and food without jeopardizing the individual's eligibility for
         intercollegiate athletics, provided such expenses are approved and provided directly by the U.S. Olympic and
         Paralympic Committee or the appropriate national governing body in the sport (or, for international student-athletes,
         the equivalent organization of that nation). (Adopted: 1/23/20, Revised: 7/31/23)
         12.1.2.4.9 Exception for Benefits to Family Members -- National Team Competition. A commercial
         company (other than a professional sports organization) or members of the local community may provide actual and
         necessary expenses for an individual's family members to attend national team competition in which the individual will
         participate. In addition, an individual's family members may receive nonmonetary benefits provided to the family
         members of all national team members in conjunction with participation in national team competition. (See Bylaw
         16.02.4.) (Adopted: 1/11/94, Revised: 1/19/13 effective 8/1/13)
         12.1.2.4.10 Exception for Payment of NCAA Eligibility Center Fee. A high school booster club (as opposed to
         specific individuals) may pay the necessary fee for prospective student-athletes at that high school to be certified by the
         NCAA Eligibility Center, provided no particular prospective student-athlete is singled out because of athletics ability or
         reputation. (Adopted: 1/11/94, Revised: 5/9/07)
         12.1.2.4.11 Exception for NCAA College Basketball Academies. The NCAA may provide actual and
         necessary expenses for a prospective student-athlete and one individual accompanying the prospective-student athlete
         to attend an NCAA College Basketball Academy per the policies and procedures of the NCAA College Basketball
         Academy. (Adopted: 8/8/18 effective 4/1/19, Revised: 10/5/22)
         12.1.2.4.12 Exception for Camp or Academy Sponsored by a Professional Sports Organization. An
         individual may receive actual and necessary expenses from a professional sports organization to attend an academy,
         camp or clinic, provided: (Adopted: 1/10/95, Revised: 11/1/01 effective 8/1/02)
         (a) No NCAA institution or conference owns or operates the academy, camp or clinic;
         (b) No camp participant is above the age of 15;
         (c) The professional sports organization provides to the participants nothing more than actual and necessary expenses
             to attend the camp or clinic and equipment/apparel necessary for participation;
         (d) Athletics ability or achievements may not be the sole criterion for selecting participants; and
         (e) Academy participants must be provided with academic services (e.g., tutoring).
         12.1.2.4.13 Exception for Receipt of Free Equipment and Apparel Items by a Prospective Student-
         Athlete. It is permissible for prospective student-athletes (as opposed to student-athletes) to receive free equipment
         and apparel items for personal use from apparel or equipment manufacturers or distributors under the following
         circumstances: (Adopted: 1/11/97)
         (a) The apparel or equipment items are related to the prospective student-athlete's sport and are received directly from
             an apparel or equipment manufacturer or distributor;
         (b) The prospective student-athlete does not enter into an arrangement (e.g., open account) with an apparel or
             equipment manufacturer or distributor that permits the prospective student-athlete to select apparel and
             equipment items from a commercial establishment of the manufacturer or distributor; and
         (c) A member institution's coach is not involved in any manner in identifying or assisting an apparel or equipment
             manufacturer or distributor in determining whether a prospective student-athlete is to receive any apparel or
             equipment items.
         12.1.2.4.14 Expenses for Participation in Olympic or Paralympic Exhibitions. An individual may receive
         actual and necessary expenses from the U.S. Olympic and Paralympic Committee, national governing body or the
         nonprofessional organizations sponsoring the event to participate in Olympic or Paralympic tours or exhibitions
         involving Olympic or Paralympic team members and/or members of the national team, provided that if the individual
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         is a student-athlete, no class time is missed, and the exhibition does not conflict with dates of institutional competition.
         (Adopted: 10/28/97 effective 8/1/98, Revised: 10/17/19, 1/22/20)
         12.1.2.4.15 Commemorative Items for Student-Athletes Participating in Olympic Games, Paralympic
         Games, World University Games (Universiade), World University Championships, Pan American
         Games, Parapan American Games, World Championships and World Cup Events. It is permissible for
         student-athletes to receive commemorative items incidental to participation in the Olympic Games, Paralympic
         Games, World University Games (Universiade), World University Championships, Pan American Games, Parapan
         American Games, World Championships and World Cup events through the applicable national governing body.
         These benefits may include any and all apparel, leisure wear, footwear and other items that are provided to all athletes
         participating in the applicable event. (Adopted: 11/1/00 effective 8/1/01, Revised: 1/14/12, 1/22/20)
         12.1.2.4.16 Exception -- NCAA First-Team Program. A prospective student-athlete who is a participant in the
         NCAA First-Team Mentoring Program may receive actual and necessary expenses to attend the First-Team Program's
         annual educational conference and training seminar. (Adopted: 8/7/03)
12.1.3 Amateur Status if Professional in Another Sport. A professional athlete in one sport may represent a member
institution in a different sport and may receive institutional financial assistance in the second sport. (Revised: 4/27/06 effective
8/1/06)
12.2 Involvement With Professional Teams.
12.2.1 Tryouts.
    12.2.1.1 Tryout Before Enrollment -- Men's Ice Hockey and Skiing. In men's ice hockey and skiing, a student-
    athlete remains eligible in a sport even though, prior to enrollment in a collegiate institution, the student-athlete may have
    tried out with a professional athletics team in a sport or received not more than one expense-paid visit from each
    professional team (or a combine including that team), provided such a visit did not exceed 48 hours and any payment or
    compensation in connection with the visit was not in excess of actual and necessary expenses. The 48-hour tryout period
    begins at the time the individual arrives at the tryout location. At the completion of the 48-hour period, the individual must
    depart the location of the tryout immediately in order to receive return transportation expenses. A tryout may extend
    beyond 48 hours if the individual self-finances additional expenses, including return transportation. A self-financed tryout
    may be for any length of time. (Revised: 12/22/08, 4/13/10 effective 8/1/10 applicable to student-athletes who initially enroll
    full time in a collegiate institution on or after 8/1/10)
         12.2.1.1.1 Exception for National Hockey League Scouting Combine -- Men's Ice Hockey. In men's ice
         hockey, prior to full-time enrollment in a collegiate institution, a prospective student-athlete may accept actual and
         necessary expenses from the National Hockey League (NHL) to attend the NHL scouting combine, regardless of the
         duration of the combine. (Adopted: 1/16/10)
    12.2.1.2 Tryout Before Enrollment -- Sports Other Than Men's Ice Hockey and Skiing. In sports other than
    men's ice hockey and skiing, prior to initial full-time collegiate enrollment, an individual may participate in a tryout with a
    professional team or league, provided not more than actual and necessary expenses is received to participate. (Adopted:
    4/13/10 effective 8/1/10 applicable to student-athletes who initially enroll full time in a collegiate institution on or after 8/1/10)
    12.2.1.3 Tryout After Enrollment. After initial full-time collegiate enrollment, an individual who has eligibility
    remaining may try out with a professional athletics team (or participate in a combine including that team) at any time,
    provided the individual does not miss class. The individual may receive actual and necessary expenses in conjunction with
    one 48-hour tryout per professional team (or a combine including that team). The 48-hour tryout period shall begin at the
    time the individual arrives at the tryout location. At the completion of the 48-hour period, the individual must depart the
    location of the tryout immediately in order to receive return transportation expenses. A tryout may extend beyond 48 hours
    if the individual self-finances additional expenses, including return transportation. A self-financed tryout may be for any
    length of time, provided the individual does not miss class. (Revised: 1/10/92, 4/24/03, 5/26/06, 4/26/07 effective 8/1/07)
         12.2.1.3.1 Exception for Major League Baseball Draft Combine. In baseball, a student-athlete may accept
         actual and necessary travel, housing and food expenses from Major League Baseball (MLB) or the national governing
         body to attend the MLB draft combine, regardless of the duration of the combine. (Adopted: 4/13/23, Revised: 7/31/23)
         12.2.1.3.2 Exception for Basketball Draft Combine. In basketball, a student-athlete may accept actual and
         necessary travel, housing and food expenses from a professional sports organization to attend that organization's
         basketball draft combine regardless of the duration of the camp. [See Bylaw 14.6.4-(e).] (Adopted: 4/23/03, Revised:
         5/26/06, 4/26/07 effective 8/1/07, 11/7/13, 7/31/23)


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         12.2.1.3.3 Exception -- Men's Basketball. In men's basketball, an individual may receive actual and necessary
         expenses each year in conjunction with one 48-hour tryout per professional team and in conjunction with a
         professional organization's draft combine. An individual who is invited to participate in a professional organization's
         draft combine is permitted to miss class for such participation and associated travel. (Adopted: 1/14/16)
         12.2.1.3.4 Exception for National Hockey League Scouting Combine -- Men's Ice Hockey. In men's ice
         hockey, a student-athlete may accept actual and necessary travel, housing and food expenses from the National Hockey
         League (NHL) to attend the NHL scouting combine, regardless of the duration of the combine. (Adopted: 1/16/10,
         Revised: 7/31/23)
         12.2.1.3.5 Exception -- Postseason Practice Session -- Football. [FBS/FCS] In football, a student-athlete may
         participate in a postseason practice per Bylaw 17.11.7.4 without such activity being considered a tryout with a
         professional team. (Adopted: 4/25/18 effective 8/1/18)
         12.2.1.3.6 Outside Competition Prohibited. During a tryout, an individual may not take part in any outside
         competition (games or scrimmages) as a representative of a professional team.
12.2.2 Practice Without Competition.
   12.2.2.1 Practice Without Competition -- Men's Ice Hockey and Skiing. In men's ice hockey and skiing, an
   individual may participate in practice sessions conducted by a professional team, provided such participation meets the
   requirements of NCAA legislation governing tryouts with professional athletics teams (see Bylaw 12.2.1) and the individual
   does not: (Revised: 4/13/10 effective 8/1/10)
    (a) Receive any compensation for participation in the practice sessions;
    (b) Enter into any contract or agreement with a professional team or sports organization; or
    (c) Take part in any outside competition (games or scrimmages) as a representative of a professional team.
   12.2.2.2 Practice Without Competition -- Sports Other Than Men's Ice Hockey and Skiing.
         12.2.2.2.1 Before Enrollment. In sports other than men's ice hockey and skiing, prior to initial full-time
         enrollment in a collegiate institution, an individual may participate in practice sessions conducted by a professional
         team, provided not more than actual and necessary expenses is received to participate. (Adopted: 4/13/10 effective 8/1/10
         applicable to student-athletes who initially enroll full time in a collegiate institution on or after 8/1/10)
         12.2.2.2.2 After Enrollment. In sports other than men's ice hockey and skiing, after initial full-time collegiate
         enrollment, an individual may participate in practice sessions conducted by a professional team, provided such
         participation meets the requirements of Bylaw 12.2.1.3 and the individual does not: (Adopted: 4/13/10 effective 8/1/10)
         (a) Receive any compensation for participation in the practice sessions;
         (b) Enter into any contract or agreement with a professional team or sports organization; or
         (c) Take part in any outside competition (games or scrimmages) as a representative of a professional team.
   12.2.2.3 Prohibited Involvement of Institution's Coach. An institution's coaching staff member may not arrange
   for or direct student-athletes' participation in football or basketball practice sessions conducted by a professional team.
12.2.3 Competition.
   12.2.3.1 Competition Against Professionals. An individual may participate singly or as a member of an amateur
   team against professional athletes or professional teams. (Revised: 8/24/07)
   12.2.3.2 Competition With Professionals. An individual shall not be eligible for intercollegiate athletics in a sport if
   the individual ever competed on a professional team (per Bylaw 12.02.12) in that sport. However, an individual may
   compete on a tennis, golf, two-person beach volleyball or two-person synchronized diving team with persons who are
   competing for cash or a comparable prize, provided the individual does not receive payment or prize money that exceeds
   actual and necessary expenses, which may only be provided by the sponsor of the event. (Revised: 1/9/96 effective 8/1/96,
   1/14/97, 4/25/02 effective 8/1/02, 4/28/14, 7/31/15)
         12.2.3.2.1 Exception -- Competition Before Initial Full-Time Collegiate Enrollment -- Sports Other
         Than Men's Ice Hockey and Skiing. In sports other than men's ice hockey and skiing, before initial full-time
         collegiate enrollment, an individual may compete on a professional team (per Bylaw 12.02.12), provided the individual
         does not receive more than actual and necessary expenses to participate on the team. (Adopted: 4/29/10 effective 8/1/10
         applicable to student-athletes who initially enroll full time in a collegiate institution on or after 8/1/10)



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         12.2.3.2.2 Professional Player as Team Member. An individual may participate with a professional on a team,
         provided the professional is not being paid by a professional team or league to play as a member of that team (e.g.,
         summer basketball leagues with teams composed of both professional and amateur athletes).
         12.2.3.2.3 Professional Coach or Referee. Participation on a team that includes a professional coach or referee
         does not cause the team to be classified as a professional team.
         12.2.3.2.4 Major Junior Ice Hockey. Ice hockey teams in the United States and Canada, classified by the
         Canadian Hockey Association as major junior teams, are considered professional teams under NCAA legislation.
             12.2.3.2.4.1 Limitation on Restoration of Eligibility. An appeal for restoration of eligibility may be
             submitted on behalf of an individual who has participated on a major junior ice hockey team under the provisions
             of Bylaw 12.12; however, such individual shall be denied at least the first year of intercollegiate athletics
             competition in ice hockey at the certifying institution and shall be charged with the loss of at least one season of
             eligibility in ice hockey. (Revised: 1/11/89)
         12.2.3.2.5 Exception -- Olympic, Paralympic or National Teams. It is permissible for an individual
         (prospective student-athlete or student-athletes) to participate on Olympic, Paralympic or national teams that are
         competing for prize money or are being compensated by the governing body to participate in a specific event, provided
         the student-athlete does not accept prize money or any other compensation (other than actual and necessary expenses).
         (Adopted: 8/8/02, Revised: 1/22/20)
   12.2.3.3 Competition in Professional All-Star Contest. A student-athlete who agrees to participate in a professional
   (players to be paid) all-star game becomes ineligible to compete in any intercollegiate contest that occurs after that
   agreement. Thus, a senior entering into such an agreement immediately following the last regular-season intercollegiate
   contest would not be eligible to compete in a bowl game, an NCAA championship or any other postseason intercollegiate
   contest.
12.2.4 Draft and Inquiry.
   12.2.4.1 Inquiry. An individual may inquire of a professional sports organization about eligibility for a professional-
   league player draft or request information about the individual's market value without affecting the individual's amateur
   status.
   12.2.4.2 Draft List. After initial full-time collegiate enrollment, an individual loses amateur status in a particular sport
   when the individual asks to be placed on the draft list or supplemental draft list of a professional league in that sport, even
   though: (Revised: 4/25/02 effective 8/1/02)
    (a) The individual asks to be removed from the draft list prior to the actual draft;
    (b) The individual's name remains on the list but the individual is not drafted; or
    (c) The individual is drafted but does not sign an agreement with any professional athletics team.
         12.2.4.2.1 Exception -- Men's Basketball -- Four-Year College Student-Athlete.
             12.2.4.2.1.1 National Basketball Association. In men's basketball, a student-athlete may enter the National
             Basketball Association's draft each year during collegiate participation without jeopardizing eligibility in that sport,
             provided: (Adopted: 8/8/18)
              (a) The student-athlete requests an evaluation from the National Basketball Association's Undergraduate Advisory
                  Committee before entering the draft;
              (b) The student-athlete requests to be removed from the draft list and declares the intent to resume intercollegiate
                  participation not later than 10 days after the conclusion of the NBA draft combine;
              (c) The student-athlete's declaration of intent is submitted in writing to the institution's director of athletics; and
              (d) The student-athlete is not drafted.
             12.2.4.2.1.2 Professional League Other Than the National Basketball Association. In men's
             basketball, a student-athlete may enter a professional league's draft (other than the National Basketball
             Association's draft) each year during the student-athlete's four-year college participation without jeopardizing
             eligibility in that sport, provided: (Adopted: 4/30/09 effective 8/1/09, Revised: 4/28/11 effective 8/1/11, 1/14/16,
             8/8/18)
              (a) The student-athlete requests to be removed from the draft list and declares the intent to resume intercollegiate
                  participation not later than 10 days after the conclusion of the professional league's draft combine. If the
                  professional league does not conduct a draft combine, the student-athlete must request to be removed from

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                  the draft list not later than the end of the day before the first day of the spring National Letter of Intent
                  signing period for the applicable year;
               (b) The student-athlete's declaration of intent is submitted in writing to the institution's director of athletics; and
               (c) The student-athlete is not drafted.
         12.2.4.2.2 Exception -- Basketball -- Two-Year College Prospective Student-Athlete. In basketball, a
         prospective student-athlete enrolled at a two-year collegiate institution may enter a professional league's draft one time
         during the prospective student-athlete's two-year college participation without jeopardizing eligibility in that sport,
         provided the prospective student-athlete is not drafted by any team in that league. (Adopted: 4/24/03 effective 8/1/03)
         12.2.4.2.3 Exception -- Women's Basketball -- Four-Year College Student-Athlete. In women's basketball,
         a student-athlete may enter a professional league's draft one time during collegiate participation without jeopardizing
         eligibility in that sport, provided the student-athlete is not drafted by any team in that league and the student-athlete
         declares the intention to resume intercollegiate participation within 30 days after the draft. The student-athlete's
         declaration of intent shall be in writing to the institution's director of athletics. (Adopted: 1/11/94, Revised: 1/10/95,
         1/14/97 effective 4/16/97, 4/24/03 effective 8/1/03, 4/30/09 effective 8/1/09, 8/8/18)
         12.2.4.2.4 Exception -- Football. [FBS/FCS] In football, a student-athlete (as opposed to a prospective student-
         athlete) may enter the National Football League draft one time during collegiate participation without jeopardizing
         eligibility in that sport, provided the student-athlete is not drafted by any team in that league and the student-athlete
         declares the intention to resume intercollegiate participation within 72 hours following the National Football League
         draft declaration date. The student-athlete's declaration of intent shall be in writing to the institution's director of
         athletics. (Adopted: 10/31/02, Revised: 4/14/03, 12/15/06)
         12.2.4.2.5 Exception -- Sports Other Than Basketball and Football. A student-athlete in a sport other than
         basketball or football may enter a professional league's draft one time during collegiate participation without
         jeopardizing eligibility in the applicable sport, provided the student-athlete is not drafted and, within 72 hours
         following the draft, declares the intention to resume participation in intercollegiate athletics. The student-athlete's
         declaration of intent shall be in writing to the institution's director of athletics. (Adopted: 4/26/07 effective 8/1/07)
    12.2.4.3 Negotiations. An individual may request information about professional market value without affecting
    amateur status. Further, the individual (or family members) or the institution's professional sports counseling panel may
    enter into negotiations with a professional sports organization without the loss of the individual's amateur status. An
    individual who retains an agent shall lose amateur status. (Adopted: 1/10/92, Revised: 4/25/18)
12.2.5 Contracts and Compensation. An individual shall be ineligible for participation in an intercollegiate sport if the
individual has entered into any kind of agreement to compete in professional athletics, either orally or in writing, regardless of
the legal enforceability of that agreement. (Revised: 1/10/92)
    12.2.5.1 Exception -- Before Initial Full-Time Collegiate Enrollment -- Sports Other Than Men's Ice Hockey
    and Skiing. In sports other than men's ice hockey and skiing, before initial full-time collegiate enrollment, an individual
    may enter into an agreement to compete on a professional team (per Bylaw 12.02.12), provided the agreement does not
    guarantee or promise payment (at any time) in excess of actual and necessary expenses to participate on the team. (Adopted:
    4/29/10 effective 8/1/10 applicable to student-athletes who initially enroll full time in a collegiate institution on or after 8/1/10)
    12.2.5.2 Nonbinding Agreement. An individual who signs a contract or commitment that does not become binding
    until the professional organization's representative or agent also signs the document is ineligible, even if the contract
    remains unsigned by the other parties until after the student-athlete's eligibility is exhausted.
12.3 Use of Agents. [A]
12.3.1 General Rule. [A] An individual shall be ineligible for participation in an intercollegiate sport if the individual ever
has agreed (orally or in writing) to be represented by an agent for the purpose of marketing athletics ability or reputation in that
sport. Further, an agency contract not specifically limited in writing to a sport or particular sports shall be deemed applicable to
all sports, and the individual shall be ineligible to participate in any sport.
    12.3.1.1 Exception -- Baseball and Men's Ice Hockey -- Prior to Full-Time Collegiate Enrollment. [A] In
    baseball and men's ice hockey, prior to full-time collegiate enrollment, an individual who is drafted by a professional
    baseball or men's ice hockey team may be represented by an agent or attorney during contract negotiations. The individual
    may not receive benefits (other than representation) from the agent or attorney and must pay the going rate for the
    representation. If the individual does not sign a contract with the professional team, the agreement for representation with
    the agent or attorney must be terminated prior to full-time collegiate enrollment. (Adopted: 1/15/16, Revised: 1/19/18)
    12.3.1.2 Exception -- NCAA-Certified Agents -- Men's Basketball. [A]
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         12.3.1.2.1 Elite Senior Prospective Student-Athletes. [A] In men's basketball, on or after July 1 immediately
         before the prospective student-athlete's senior year in high school, a prospective student-athlete identified as an elite
         senior in accordance with established policies and procedures may be represented by an NCAA-certified agent (see
         Bylaw 12.02.1.2). (Adopted: 8/8/18 Applicability to be determined after NBA and NBPA evaluation of, and determination
         permitting, the eligibility for high school students to enter the NBA draft., Revised: 6/12/19)
         12.3.1.2.2 Enrolled Student-Athletes and Two-Year College Prospective Student-Athletes -- After
         Request for Evaluation From NBA Undergraduate Advisory Committee. [A] In men's basketball, after the
         conclusion of the playing season, a student-athlete or a two-year college prospective student-athlete who has requested
         an evaluation from the NBA Undergraduate Advisory Committee may be represented by an NCAA-certified agent (see
         Bylaw 12.02.1.2). (Adopted: 8/8/18)
         12.3.1.2.3 Expenses From an NCAA-Certified Agent. [A]
             12.3.1.2.3.1 Expenses Before Agreement. [A] Before signing a written agreement with an NCAA-certified
             agent, a prospective student-athlete or student-athlete (and family members) who is eligible to be represented by
             an NCAA-certified agent may receive transportation and meals from an NCAA-certified agent in the locale where
             the prospective student-athlete or student-athlete is located (e.g., locale of home or institution) in conjunction
             with the process to select an agent. (Adopted: 8/8/18 For an elite senior high school prospective student-athlete, effective
             date to be determined after NBA and NBPA evaluation of, and determination permitting, the eligibility for high school
             students to enter the NBA draft. Expenses permissible after appropriate changes to the Uniform Athlete Agent Act,
             Revised Uniform Athlete Agent Act and relevant state laws.)
             12.3.1.2.3.2 Expenses After Agreement. [A] After signing a written agreement with an NCAA-certified
             agent, the agent may provide the prospective student-athlete or student-athlete (and family members) with
             transportation, lodging and meals associated with meeting with the agent or a professional team. (Adopted: 8/8/18
             For an elite senior high school prospective student-athlete, effective date to be determined after NBA and NBPA
             evaluation of, and determination permitting, the eligibility for high school students to enter the NBA draft. For an
             enrolled student-athlete or two-year college prospective student-athlete, effective immediately.)
         12.3.1.2.4 No Missed Class Time. [A] A prospective or enrolled student-athlete shall not miss class in conjunction
         with the agent selection process or to meet with an agent or professional team. (Adopted: 8/8/18)
         12.3.1.2.5 Written Agreement. [A] An agreement between a prospective student-athlete or student-athlete and an
         NCAA-certified agent shall be in writing. An agreement that involves a prospective student-athlete shall be disclosed to
         the NCAA national office. An agreement that involves a student-athlete shall be disclosed to the student-athlete's
         institution. If a high school prospective student-athlete does not sign a contract with a professional team, the agreement
         must be terminated before full-time enrollment. If a student-athlete or two-year college prospective student-athlete
         does not sign a contract with a professional team, the agreement must be terminated before full-time enrollment in the
         ensuing regular academic term. (Adopted: 8/8/18)
         12.3.1.2.6 Compensation for Representation. [A] A prospective student-athlete or student-athlete is not
         required to compensate an NCAA-certified agent for services provided. (Adopted: 8/8/18)
    12.3.1.3 Representation for Future Negotiations. [A] An individual shall be ineligible per Bylaw 12.3.1 if the
    individual enters into an oral or written agreement with an agent for representation in future professional sports
    negotiations that are to take place after the individual has completed eligibility in that sport.
    12.3.1.4 Benefits from Prospective Agents. [A] An individual shall be ineligible per Bylaw 12.3.1 if the individual
    (or family members or friends) accepts transportation or other benefits from: (Revised: 1/14/97, 1/16/19)
     (a) Any person who represents any individual in the marketing of athletics ability. The receipt of such expenses constitutes
         compensation based on athletics skill and is an extra benefit not available to the student body in general; or
     (b) An agent, even if the agent has indicated no interest in representing the student-athlete in the marketing of the student-
         athlete's athletics ability or reputation and does not represent individuals in the student-athlete's sport.
    12.3.1.5 Exception -- Career Counseling and Internship/Job Placement Services. [A] A student-athlete may use
    career counseling and internship/job placement services available exclusively to student-athletes, provided the student-
    athlete is not placed in a position in which the student-athlete uses athletics ability. (Adopted: 4/28/11)
12.3.2 Legal Counsel. [A] Securing advice from a lawyer concerning a proposed professional sports contract shall not be
considered contracting for representation by an agent under this rule, unless the lawyer also represents the individual in
negotiations for such a contract.


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    12.3.2.1 Presence of a Lawyer at Negotiations. [A] A lawyer may not be present during discussions of a contract
    offer with a professional organization or have any direct contact (in person, by telephone or by mail) with a professional
    sports organization on behalf of the individual. A lawyer's presence during such discussions is considered representation by
    an agent.
12.3.3 Athletics Scholarship Agent. [A] Any individual, agency or organization that represents a prospective student-
athlete for compensation in placing the prospective student-athlete in a collegiate institution as a recipient of institutional
financial aid shall be considered an agent or organization marketing the individual’s athletics ability or reputation.
    12.3.3.1 Talent Evaluation Services and Agents. [A] A prospective student-athlete may allow a scouting service or
    agent to distribute personal information (e.g., high school academic and athletics records, physical statistics) to member
    institutions without jeopardizing athletics eligibility, provided the fee paid to such an agent is not based on placing the
    prospective student-athlete in a collegiate institution as a recipient of institutional financial aid.
12.3.4 Professional Sports Counseling Panel. [A] It is permissible for an authorized institutional professional sports
counseling panel to: (Adopted: 1/16/93, Revised: 1/11/94, 1/16/10)
 (a) Advise a student-athlete about a future professional career;
 (b) Assist a student-athlete with arrangements for securing a loan for the purpose of purchasing insurance against a disabling
     injury or illness and with arrangements for purchasing such insurance;
 (c) Review a proposed professional sports contract;
 (d) Meet with the student-athlete and representatives of professional teams;
 (e) Communicate directly with representatives of a professional athletics team to assist in securing a tryout with that team for a
     student-athlete;
 (f) Assist the student-athlete in the selection of an agent by participating with the student-athlete in interviews of agents, by
     reviewing written information player agents send to the student-athlete and by having direct communication with those
     individuals who can comment about the abilities of an agent (e.g., other agents, a professional league's players association);
     and
 (g) Visit with player agents or representatives of professional athletics teams to assist the student-athlete in determining market
     value (e.g., potential salary, draft status).
    12.3.4.1 Appointment by President or Chancellor. [A] This panel shall consist of at least three persons appointed by
    the institution's president or chancellor (or a designated representative from outside the athletics department). (Revised:
    3/8/06)
    12.3.4.2 Composition. [A] The majority of panel members shall be full-time employees outside the institution's athletics
    department. No sports agent or any person employed by a sports agent or agency may be a member of the panel. All panel
    members shall be identified to the NCAA national office. (Revised: 1/11/94, 1/10/05, 1/20/17 effective 8/1/17)
12.4 Employment.
12.4.1 Criteria Governing Compensation to Student-Athletes. Compensation may be paid to a student-athlete: [R]
(Revised: 11/22/04, 4/19/19 for violations occurring on or after 4/19/19)
 (a) Only for work actually performed; and
 (b) At a rate commensurate with the going rate in that locality for similar services.
    12.4.1.1 Athletics Reputation. Such compensation may not include any remuneration for value or utility that the
    student-athlete may have for the employer because of the publicity, reputation, fame or personal following obtained because
    of athletics ability.
12.4.2 Specific Athletically Related Employment Activities.
    12.4.2.1 Fee-for-Lesson Instruction. A student-athlete may receive compensation for teaching or coaching sport skills
    or techniques in the student-athlete's sport on a fee-for-lesson basis, provided: [R] (Revised: 1/9/96 effective 8/1/96, 4/25/02
    effective 8/1/02, 4/2/03 effective 8/1/03, 1/23/19)
     (a) Institutional facilities are not used;
     (b) Playing lessons shall not be permitted;
     (c) The compensation is paid by the lesson recipient (or the recipient's family member) and not another individual or
         entity;


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     (d) Instruction to each individual is comparable to the instruction that would be provided during a private lesson when the
         instruction involves more than one individual at a time; and
     (e) The student-athlete's name, picture or appearance is not used to promote or advertise the availability of fee-for-lesson
         sessions.
    12.4.2.2 National Team Practice and Competition A student-athlete may receive actual and necessary expenses and
    reasonable benefits associated with national team practice and competition (e.g., health insurance, broken-time
    payments). [R] (Revised: 1/19/13 effective 8/1/13)
    12.4.2.3 Athletics Equipment Sales. A student-athlete may not be employed to sell equipment related to the student-
    athlete's sport if the student-athlete's name, picture or athletics reputation is used to advertise or promote the product, the
    job or the employer. If the student-athlete's name, picture or athletics reputation is not used for advertising or promotion,
    the student-athlete may be employed in a legitimate sales position, provided the student-athlete is reimbursed at an hourly
    rate or set salary in the same manner as any nonathlete salesperson. [R]
    12.4.2.4 Goodwill Tour Commissions. A student-athlete representing the institution in a goodwill tour during
    summer months, in conjunction with the tour, may sell such items as jackets, blazers or similar institutional promotional
    items to booster groups or other friends of the institution on a salary, but not a commission, basis. [R]
12.4.3 Camp/Clinic Employment, General Rule. A student-athlete may be employed by the student-athlete's
institution, by another institution, or by a private organization to work in a camp or clinic as a counselor, unless otherwise
restricted by NCAA legislation (see Bylaw 13.12 for regulations relating to camps and clinics).
12.4.4 Self-Employment. [A] A student-athlete may establish a business, provided the student-athlete's name, photograph,
appearance or athletics reputation is not used to promote the business. (Adopted: 12/12/06)
12.5 Promotional Activities.
12.5.1 Permissible.
    12.5.1.1 Institutional, Charitable, Educational or Nonprofit Promotions. An institution or recognized entity
    thereof (e.g., fraternity, sorority or student government organization), a conference or a noninstitutional charitable,
    educational or nonprofit agency may use a student-athlete's name, picture or appearance to support its charitable or
    educational activities or to support activities considered incidental to the student-athlete's participation in intercollegiate
    athletics, provided the following conditions are met: (Revised: 1/11/89, 1/10/91, 1/10/92, 1/16/93, 1/9/96, 11/12/97,
    4/26/01, 4/28/05, 4/27/06 effective 8/1/06, 5/6/08, 4/28/16 effective 8/1/16)
     (a) The student-athlete's participation is subject to the limitations on participants in such activities as set forth in Bylaw 17;
     (b) The specific activity or project in which the student-athlete participates does not involve co-sponsorship, advertisement
         or promotion by a commercial agency other than through the reproduction of the sponsoring company's officially
         registered regular trademark or logo on printed materials such as pictures, posters or calendars. The company's
         emblem, name, address, telephone number and website address may be included with the trademark or logo. Personal
         names, messages and slogans (other than an officially registered trademark) are prohibited;
     (c) The name or picture of a student-athlete with remaining eligibility may not appear on an institution's printed
         promotional item (e.g., poster, calendar) that includes a reproduction of a product with which a commercial entity is
         associated if the commercial entity's officially registered regular trademark or logo also appears on the item;
     (d) The student-athlete does not miss class;
     (e) All moneys derived from the activity or project go directly to the institution, conference or the charitable, educational
         or nonprofit agency;
     (f) The student-athlete may accept actual and necessary expenses from the institution, conference or the charitable,
         educational or nonprofit agency related to participation in such activity;
     (g) The student-athlete's name, picture or appearance is not used to promote the commercial ventures of any nonprofit
         agency;
     (h) Any commercial items with names, likenesses or pictures of multiple student-athletes (other than highlight films or
         media guides per Bylaw 12.5.1.7) may be sold only at the institution in which student-athletes are enrolled, the
         institution's conference, institutionally controlled (owned and operated) outlets or outlets controlled by the charitable,
         educational or nonprofit organization (e.g., location of the charitable or educational organization, site of charitable
         event during the event). Items that include an individual student-athlete's name, picture or likeness (e.g., name on
         jersey, name or likeness on a bobble-head doll), other than informational items (e.g., media guide, schedule cards,
         institutional publications), may not be sold; and
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    (i) The student-athlete and an authorized representative of the charitable, educational or nonprofit agency affirm that the
        student-athlete's name, image or appearance is used in a manner consistent with the requirements of this section.
         12.5.1.1.1 Promotions Involving NCAA Championships, Events, Activities or Programs. The NCAA [or
         a third party acting on behalf of the NCAA (e.g., host institution, conference, local organizing committee)] may use
         the name or picture of an enrolled student-athlete to generally promote NCAA championships or other NCAA events,
         activities or programs. (Adopted: 8/7/03)
         12.5.1.1.2 Promotions Involving Commercial Locations/Sponsors. An institution, a conference or a
         charitable, educational or nonprofit organization may use the appearance, name or picture of an enrolled student-
         athlete to promote generally its fundraising activities at the location of a commercial establishment, provided the
         commercial establishment is not a co-sponsor of the event and the student-athlete does not promote the sale of a
         commercial product in conjunction with the fundraising activity. A commercial establishment would become a co-
         sponsor if the commercial establishment either advertises the presence of the student-athlete at the commercial location
         or is involved directly or indirectly in promoting the activity. (Adopted: 1/10/92)
         12.5.1.1.3 Distribution of Institutional Items through Commercial Outlets. An institution may distribute
         noncommercial items that include names or pictures of student-athletes (items not for sale) at commercial
         establishments, provided the institution generally distributes such items to other commercial establishments in the
         community and the distribution of the items does not require the recipient to make a purchase at the commercial
         establishment. (Adopted: 1/16/93, Revised: 5/21/08)
         12.5.1.1.4 Player/Trading Cards. An institution or recognized entity thereof (e.g., fraternity, sorority or student
         government organization), a conference or a noninstitutional charitable, educational or nonprofit agency may
         distribute but may not sell player/trading cards that bear a student-athlete's name or picture. (Adopted: 1/11/94 effective
         8/1/94)
             12.5.1.1.4.1 Exception -- Olympic, Paralympic or National Team. A national governing body may sell
             player/trading cards that bear the name or picture of a student-athlete who is a member of the Olympic,
             Paralympic or national team in that sport, provided all of the funds generated through the sale of such cards are
             deposited directly with the applicable Olympic, Paralympic or national team. (Adopted: 1/6/96, Revised: 1/22/20)
         12.5.1.1.5 Schedule Cards. An advertisement on an institution's wallet-size playing schedule that includes the
         name or picture of a student-athlete may include language other than the commercial product's name, trademark or
         logo, provided the commercial language does not appear on the same page as the picture of the student-athlete. [D]
         (Adopted: 1/10/92, Revised: 1/14/08, 5/21/08)
         12.5.1.1.6 Effect of Violations. The following violations of Bylaw 12.5.1.1 shall be considered institutional
         violations; however, the student-athlete's eligibility shall not be affected: (Adopted: 1/14/97, Revised: 4/26/07, 10/29/09,
         4/28/16 effective 8/1/16)
         (a) An institution, without the student-athlete's knowledge or consent, uses or permits the use of the student-athlete's
             name or picture in a manner contrary to Bylaw 12.5.1.1; or
         (b) A violation in which the only condition of the legislation not satisfied is the requirement that the student-athlete
             and an authorized representative of the charitable, educational or nonprofit agency affirm that the student-athlete's
             name, image or appearance is used in a manner consistent with the requirements of Bylaw 12.5.1.1, provided the
             affirmation would have been given if requested.
   12.5.1.2 U.S. Olympic and Paralympic Committee/National Governing Body Advertisement Prior to
   Collegiate Enrollment. Prior to initial, full-time collegiate enrollment, an individual may receive payment for the display
   of athletics skill in a commercial advertisement, provided: (Adopted: 1/11/94, Revised: 10/17/19)
    (a) The individual receives prior approval to appear in the advertisement from the U.S. Olympic and Paralympic
        Committee or the applicable national governing body;
    (b) The U.S. Olympic and Paralympic Committee or national governing body approves of the content and the production
        of the advertisement;
    (c) The individual forwards the payment to the U.S. Olympic and Paralympic Committee or national governing body for
        the general use of the organization(s); and
    (d) The funds are not earmarked for the individual.
   12.5.1.3 Continuation of Modeling and Other Nonathletically Related Promotional Activities After
   Enrollment. [A] If an individual accepts remuneration for or permits the use of the individual's name or picture to
   advertise or promote the sale or use of a commercial product or service prior to enrollment in a member institution,
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   continued remuneration for the use of the individual's name or picture (under the same or similar circumstances) after
   enrollment is permitted without jeopardizing eligibility to participate in intercollegiate athletics only if all of the following
   conditions apply: (Revised: 1/14/97, 3/10/04)
    (a) The individual's involvement in this type of activity was initiated before enrollment in a member institution;
    (b) The individual became involved in such activities for reasons independent of athletics ability;
    (c) No reference is made in these activities to the individual's name or involvement in intercollegiate athletics;
    (d) The individual does not endorse the commercial product; and
    (e) The individual's remuneration under such circumstances is at a rate commensurate with the individual's skills and
        experience as a model or performer and is not based in any way upon the individual's athletics ability or reputation.
   12.5.1.4 Congratulatory Advertisement. It is permissible for a student-athlete's name or picture, or the group picture
   of an institution's athletics squad, to appear in an advertisement of a particular business, commercial product or service,
   provided: (Revised: 11/1/07 effective 8/1/08, 5/21/08)
    (a) The primary purpose of the advertisement is to publicize the sponsor's congratulations to the student-athlete or team;
    (b) The advertisement does not include a reproduction of the product with which the business is associated or any other
        item or description identifying the business or service other than its name or trademark;
    (c) There is no indication in the makeup or wording of the advertisement that the squad members, individually or
        collectively, or the institution endorses the product or service of the advertiser;
    (d) The student-athlete has not signed a consent or release granting permission to use the student-athlete's name or picture
        in a manner inconsistent with the requirements of this section; and
    (e) If the student-athlete has received a prize from a commercial sponsor in conjunction with participation in a
        promotional contest and the advertisement involves the announcement of receipt of the prize, the receipt of the prize is
        consistent with the provisions of Bylaw 12.5.2.3.3 and official interpretations.
   12.5.1.5 Educational Products Related to Sport-Skill Instruction. It is permissible for a student-athlete's name or
   picture to appear in books, articles and other publications, films, videotapes, and other types of electronic reproduction
   related to sport-skill demonstration, analysis or instruction, provided: (Revised: 1/9/06 effective 8/1/06, 1/23/19)
    (a) Such print and electronic media productions are for educational purposes;
    (b) There is no indication that the student-athlete expressly or implicitly endorses a commercial product or service;
    (c) The student-athlete does not receive, under any circumstances, any remuneration for such participation; however, the
        student-athlete may receive actual and necessary expenses related to participation; and
    (d) The student-athlete has signed a release statement ensuring that the student-athlete's name or image is used in a
        manner consistent with the requirements of this section.
   12.5.1.6 Camps. An institutional or privately owned camp may use a student-athlete's name, picture and institutional
   affiliation only in the camp counselor section in its camp brochure to identify the student-athlete as a staff member. A
   student-athlete's name or picture may not be used in any other way to directly advertise or promote the camp. [D] (Revised:
   4/26/01 effective 8/1/01, 4/17/02, 7/12/04, 1/9/06)
   12.5.1.7 Promotion by Third Party of Highlight Video or Media Guide. Any party other than the institution or a
   student-athlete (e.g., a distribution company) may sell and distribute an institutional highlight video or an institutional or
   conference media guide that contains the names and pictures of enrolled student-athletes only if: (Revised: 1/16/93)
    (a) The institution specifically designates any agency that is authorized to receive orders for the video or media guide;
    (b) Sales and distribution activities have the written approval of the institution's athletics director;
    (c) The distribution company or a retail store is precluded from using the name or picture of an enrolled student-athlete in
        any poster or other advertisement to promote the sale or distribution of the video or media guide; and
    (d) There is no indication in the makeup or wording of the advertisement that the squad members, individually or
        collectively, or the institution endorses the product or services of the advertiser.
   12.5.1.8 Promotion of NCAA and Conference Championships. The NCAA [or a third party acting on behalf of
   the NCAA (e.g., host institution, conference, local organizing committee)] may use the name or picture of a student-athlete
   to generally promote NCAA championships. A student-athlete's name or picture may appear in a poster that promotes a
   conference championship, provided the poster is produced by a member that hosts a portion of the championship or by the
   conference. (Adopted: 1/11/89, Revised: 8/7/03)

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   12.5.1.9 Olympic, Paralympic, Pan American, Parapan American, World Championships, World Cup,
   World University Games (Universiade) and World University Championships. A student-athlete's name or
   picture may be used to promote Olympic, Paralympic, Pan American, Parapan American, World Championships, World
   Cup, World University Games (Universiade) or World University Championships as specified in this section. (Adopted:
   1/10/92, Revised: 1/9/96 effective 8/1/96, 1/14/12, 1/22/20)
         12.5.1.9.1 Sale and Distribution of Promotional Items. Promotional items (e.g., posters, postcards, film,
         videotapes) bearing the name or picture of a student-athlete and related to these events may be sold or distributed by
         the national or international sports governing body sponsoring these events or its designated third-party distributors. It
         is not permissible for such organizations to sell player/trading cards that bear a student-athlete's name or picture, except
         as noted in Bylaw 12.5.1.1.4.1. Promotional items may include a corporate sponsor's trademark or logo but not a
         reproduction of the product with which the business is associated. The name or picture of the student-athlete may not
         be used by the distribution company or retail store on any advertisement to promote the sale or distribution of the
         commercial item. (Adopted: 1/10/92, Revised: 1/16/93, 1/11/94 effective 8/1/94)
             12.5.1.9.1.1 Corporate Sponsors. A corporate sponsor may sell a promotional item related to these events
             that uses the name or picture of a team but not an individual student-athlete. (Adopted: 1/10/92)
12.5.2 Nonpermissible.
   12.5.2.1 Advertisements and Promotions After Becoming a Student-Athlete. After becoming a student-athlete,
   a student-athlete shall not be eligible for participation in intercollegiate athletics if the student-athlete:
    (a) Accepts any remuneration for or permits the use of the student-athlete's name or picture to advertise, recommend or
        promote directly the sale or use of a commercial product or service of any kind; or
    (b) Receives remuneration for endorsing a commercial product or service through the student-athlete's use of such product
        or service.
         12.5.2.1.1 Exceptions. The individual's eligibility will not be affected, provided the individual participated in such
         activities prior to enrollment and the individual:
         (a) Meets the conditions set forth in Bylaw 12.5.1.3 that would permit continuation of such activities; or
         (b) Takes appropriate steps upon becoming a student-athlete to retract permission for the use of the individual's name
             or picture and ceases receipt of any remuneration for such an arrangement.
         12.5.2.1.2 Improper Use of Student-Athlete's Name or Picture. If an institution, without the student-
         athlete's knowledge or consent, uses or permits the use of the student-athlete's name or picture in a manner contrary to
         Bylaw 12.5.2.1, the violation shall be considered an institutional violation; however, the student-athlete's eligibility
         shall not be affected. (Adopted: 1/11/97)
   12.5.2.2 Use of a Student-Athlete's Name or Picture Without Knowledge or Permission. If a student-athlete's
   name or picture appears on commercial items (e.g., T-shirts, sweatshirts, serving trays, playing cards, posters) or is used to
   promote a commercial product sold by an individual or agency without the student-athlete's knowledge or permission, the
   student-athlete (or the institution acting on behalf of the student-athlete) is required to take steps to stop such an activity in
   order to retain eligibility for intercollegiate athletics. Such steps are not required in cases in which a student-athlete's
   photograph is sold by an individual or agency (e.g., private photographer, news agency) for private use. (Revised: 1/11/97,
   5/12/05)
   12.5.2.3 Specifically Restricted Activities. A student-athlete's involvement in promotional activities specified in this
   section is prohibited.
         12.5.2.3.1 Name-the-Player Contest. A student-athlete may not permit use of the student-athlete's name or
         picture in a "name-the-player" contest conducted by a commercial business for the purpose of promoting that business.
         12.5.2.3.2 Athletics Equipment Advertisement. A student-athlete's name or picture may not be used by an
         athletics equipment company or manufacturer to publicize the fact that the institution's team uses its equipment.
         12.5.2.3.3 Promotional Contests. Receipt of a prize for winning an institutional or noninstitutional promotional
         activity (e.g., making a half-court basketball shot, being involved in a money scramble) by a prospective student-athlete
         or student-athlete (or a family member) does not affect athletics eligibility, provided the prize is won through a random
         drawing in which all members of the general public or the student body are eligible to participate. (Revised: 1/9/96
         effective 8/1/96, 3/25/05, 6/12/07)
   12.5.2.4 Other Promotional Activities. A student-athlete may not participate in any promotional activity that is not
   permitted under Bylaw 12.5.1. (Adopted: 11/1/01)

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12.5.3 Media Activities. A student-athlete may participate in media activities, including but not limited to, radio, television
and internet-based programs (e.g., coaches’ shows), and writing projects when the student-athlete’s appearance or participation
is related in any way to status as a student-athlete. The student-athlete shall not receive any remuneration for participation in the
activity. The student-athlete shall not make any endorsement, expressed or implied, of any commercial product or service. The
student-athlete may, however, receive actual and necessary expenses directly related to the appearance or participation in the
activity. A student-athlete participating in such media activities may not miss class, except for class time missed in conjunction
with away-from-home competition or to participate in an NCAA or conference-sponsored media activity. (Revised: 1/16/93,
1/14/97, 1/9/06, 4/27/06, 1/20/17 effective 8/1/17)
12.5.4 Use of Commercial Trademarks or Logos on Equipment, Uniforms and Apparel. A student-athlete may
use athletics equipment or wear athletics apparel that bears the trademark or logo of an athletics equipment or apparel
manufacturer or distributor in athletics competition and pre- and postgame activities (e.g., celebrations on the court, pre- or
postgame press conferences), provided the following criteria are met. [D] (Revised: 1/11/94, 1/10/95, 1/9/96 effective 8/1/96,
2/16/00, 5/27/11)
 (a) Athletics equipment (e.g., shoes, helmets, baseball bats and gloves, batting or golf gloves, hockey and lacrosse sticks, goggles
     and skis) shall bear only the manufacturer's normal label or trademark, as it is used on all such items for sale to the general
     public; and
 (b) The student-athlete's institution's official uniform (including numbered racing bibs and warm-ups) and all other items of
     apparel (e.g., socks, head bands, T-shirts, wrist bands, visors or hats, swim caps and towels) shall bear only a single
     manufacturer's or distributor's normal label or trademark (regardless of the visibility of the label or trademark), not to
     exceed 2-1/4 square inches in area (rectangle, square, parallelogram) including any additional material (e.g., patch)
     surrounding the normal trademark or logo. The student-athlete's institution's official uniform and all other items of apparel
     shall not bear a design element similar to the manufacturer's trademark/logo that is in addition to another trademark/logo
     that is contrary to the size restriction.
    12.5.4.1 Laundry Label. If an institution's uniform or any item of apparel worn by a student-athlete in competition
    contains washing instructions on the outside of the apparel on a patch that also includes the manufacturer's or distributor's
    logo or trademark, the entire patch must be contained within a four-sided geometrical figure (rectangle, square,
    parallelogram) that does not exceed 2-1/4 square inches. [D] (Adopted: 1/10/95)
    12.5.4.2 Pre- or Postgame Activities. The restriction on the size of a manufacturer's or distributor's logo is applicable
    to all apparel worn by student-athletes during the conduct of the institution's competition, which includes any pre- or
    postgame activities (e.g., postgame celebrations on the court, pre- or postgame press conferences) involving student-
    athletes. [D] (Adopted: 1/10/95)
    12.5.4.3 Outside Team Uniforms and Apparel. The provisions of Bylaw 12.5.4-(b) do not apply to the official
    uniforms and apparel worn by outside teams.
    12.5.4.4 Title-Sponsor Recognition. Racing bibs and similar competition identification materials (e.g., bowl-game
    patches) worn by participants may include the name of the corporate sponsor of the competition, provided the involved
    commercial company is the sole title sponsor of the competition. [D]
12.6 Financial Donations From Outside Organizations.
12.6.1 Professional Sports Organizations.
    12.6.1.1 To Intercollegiate Event. A professional sports organization may serve as a financial sponsor of an
    intercollegiate competition event, provided the organization is not publicly identified as such. A professional sports
    organization may serve as a financial sponsor of an activity or promotion that is ancillary to the competition event and may
    be publicly identified as such. [D] (Adopted: 1/10/92, Revised: 8/5/04, 1/14/12)
    12.6.1.2 Developmental Funds to NCAA. A professional sports organization may provide funds for intercollegiate
    athletics developmental purposes in a particular sport (e.g., officiating expenses, research and educational projects, the
    conduct of summer leagues, purchase of equipment). However, such funds shall be provided in an unrestricted manner and
    administered through the Association's national office.
    12.6.1.3 To Institution, Permissible. A member institution may receive funds from a professional sports organization,
    provided: (Adopted: 4/29/04 effective 8/1/04, Revised: 1/14/12, 4/17/12)
     (a) The money is placed in the institution's general fund and used for purposes other than athletics;
     (b) The money is placed in the institution's general scholarship fund and commingled with funds for the assistance of all
         students generally;

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    (c) The money is received by the institution as a result of the professional sports organization's financial sponsorship of a
        specific intercollegiate competition event and is placed in the institution's budget for the specific event, including
        ancillary activities and promotions; or
    (d) The money is received by the institution as a result of a reciprocal contractual marketing relationship and is placed in
        the athletics department's budget for the specific purpose of marketing and promoting any institutionally sponsored
        sport other than football and men's basketball.
    12.6.1.4 To Conference, Permissible. A member conference may receive funds from a professional sports organization,
    provided the money is received by the conference as a result of the professional sports organization's financial sponsorship of
    a specific intercollegiate competition event and is placed in the conference's budget for the specific event, including ancillary
    activities and promotions. (Adopted: 1/14/12)
    12.6.1.5 To Institution, Nonpermissible. A member institution shall not accept funds from a professional sports
    organization if:
    (a) The funds are for the purpose of recognizing the development of a former student-athlete in a particular sport. The
        receipt of such funds by an institution would make additional money available that could benefit student-athletes and
        thus result in student-athletes indirectly receiving funds from a professional sports organization;
    (b) The money, even though not earmarked by the donor, is received and credited to institutional funds for the financial
        assistance of student-athletes generally; or
    (c) The money is placed in the institution's general fund and credited to the athletics department for an unspecified
        purpose.
    12.6.1.6 Revenues Derived from Pro-Am Events. The distribution of revenues from an event involving an
    intercollegiate athletics team and a professional sports team (e.g., a baseball game in which a member institution's team
    plays against a professional baseball team) or pro-am event (e.g., golf, tennis) that results in a member institution's receiving
    a share of receipts from such a contest is permitted, provided the institution has a formal agreement with the professional
    sports team regarding the institution's guarantee or share of receipts and the contractual terms are consistent with
    agreements made by the professional team or individuals for similar intercollegiate or nonprofessional competition.
    12.6.1.7 Promotion of Professional Athletics Contests. A member institution may host and promote an athletics
    contest between two professional teams from recognized professional sports leagues as a fundraising activity for the
    institution. (Revised: 1/9/96 effective 8/1/96)
    12.6.1.8 Reciprocal Marketing Agreements -- Sports Other Than Football and Men's Basketball. In sports
    other than football and men's basketball, an institution's marketing department may enter into a reciprocal contractual
    relationship with a professional sports organization for the specific purpose of marketing and promoting an institutionally
    sponsored sport. (Adopted: 4/29/04 effective 8/1/04, Revised: 2/17/12)
12.6.2 Organizations (Nonprofessional Sports Organizations).
    12.6.2.1 Individual Athletics Performance. A member institution shall not accept funds donated from a
    nonprofessional sports organization based on the place finish of a student-athlete or the number of student-athletes
    representing the institution in an event. However, the organization may donate an equal amount of funds to every
    institution with an athlete or team participating in a particular event.
    12.6.2.2 Individual and Team Rankings. A member institution may accept funds donated to its athletics program
    from a nonprofessional sports organization based on an individual's or a team's national or regional ranking. (Revised:
    1/9/06 effective 8/1/06)
    12.6.2.3 Academic Performance. A member institution may accept funds donated to its athletics program from a
    nonprofessional sports organization based on an individual's or a team's academic performance (e.g., the number of
    Academic All-American award recipients).
12.7 Athletics Eligibility Requirements.
12.7.1 Postseason and Regular-Season Competition. To be eligible for regular-season competition, NCAA
championships, and for postseason football bowl games, the student-athlete shall meet all eligibility requirements.
    12.7.1.1 Postseason Competition -- Midyear Enrollees -- Football. [FBS/FCS] In football, a midyear enrollee
    (freshman or transfer) is not eligible to participate in postseason competition that occurs before or during the student-
    athlete's initial term of full-time enrollment at the institution. (Adopted: 6/13/18)
12.7.2 Student-Athlete Statement.

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   12.7.2.1 Content and Purpose. Prior to participation in intercollegiate competition each academic year, a student-
   athlete shall sign a statement in a form prescribed by the Legislative Committee in which the student-athlete submits
   information related to eligibility, recruitment, financial aid, amateur status, previous positive-drug tests administered by any
   other athletics organization and involvement in organized gambling activities related to intercollegiate or professional
   athletics competition under the Association's governing legislation. Failure to complete and sign the statement shall result in
   the student-athlete's ineligibility for participation in all intercollegiate competition. Violations of this bylaw do not affect a
   student-athlete's eligibility if the violation occurred due to an institutional administrative error or oversight, and the
   student-athlete subsequently signs the form; however, the violation shall be considered an institutional violation per Bylaw
   8.01.3. (Revised: 1/10/92 effective 8/1/92, 1/14/97, 2/19/97, 4/24/03, 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
   12.7.2.2 Administration. The statement shall be administered to each student-athlete by the athletics director or the
   athletics director's designee prior to the student's participation in intercollegiate competition each academic year, and the
   statement shall be available for examination upon request by an authorized representative of the NCAA. (Revised: 8/4/89,
   1/9/06 effective 8/1/06, 7/30/10, 1/23/19)
   12.7.2.3 Institutional Responsibility -- Notification of Positive Test. The institution shall promptly notify the
   NCAA's chief medical officer, in writing, regarding a student-athlete's disclosure of a previous positive test for banned
   substances administered by any other athletics organization. (Adopted: 1/14/97 effective 8/1/97, Revised: 7/31/14)
12.7.3 Drug-Testing Consent Form.
   12.7.3.1 Content and Purpose. Each academic year, a student-athlete shall sign a form maintained by the Committee
   on Competitive Safeguards and Medical Aspects of Sports and approved by the Legislative Committee in which the student
   consents to be tested for the use of drugs prohibited by NCAA legislation. Failure to complete and sign the consent form
   prior to practice or competition, or before the Monday of the fourth week of classes (whichever occurs first) shall result in
   the student-athlete's ineligibility for participation (practice and competition) in all intercollegiate athletics. (Adopted:
   1/10/92 effective 8/1/92, Revised: 1/16/93, 1/10/95 effective 8/1/95, 1/14/97, 4/24/03, 8/5/04, 11/1/07 effective 8/1/08,
   7/30/10, 8/7/14, 10/4/17)
   12.7.3.2 Administration. The following procedures shall be used in administering the form (see Bylaw 20.2.4.8):
   (Adopted: 1/10/92 effective 8/1/92, Revised: 4/27/00, 7/30/10, 7/31/14, 1/23/19)
    (a) The consent form shall be administered individually to each student-athlete by the athletics director or the athletics
        director's designee each academic year; and
    (b) The athletics director or the athletics director's designee shall disseminate the list of banned drug classes to all student-
        athletes and educate them about products that might contain banned drugs. All student-athletes are to be notified that
        the list may change during the academic year, that updates may be found on the NCAA website (www.ncaa.org) and
        informed of the appropriate athletics department procedures for disseminating updates to the list; and
    (c) The consent form shall be available for examination upon request by an authorized representative of the NCAA.
   12.7.3.3 Exception -- 14-Day Grace Period. A student-athlete who is "trying out" for a team is not required to
   complete the form until 14 days from the first date the student-athlete engages in countable athletically related activities or
   before the student-athlete participates in a competition, whichever occurs earlier. (Adopted: 4/27/06 effective 8/1/06, Revised:
   7/31/14)
   12.7.3.4 Effect of Violation. A violation of Bylaw 12.7.3 or its subsections shall be considered institutional violations
   per Bylaw 8.01.3; however, a violation shall not affect the student-athlete's eligibility, provided the student-athlete signs the
   consent form. (Revised: 4/28/05 effective 8/1/05, 7/30/10)
12.7.4 Student-Athlete Health Insurance Portability and Accountability Act (HIPAA) Authorization/
Buckley Amendment Consent Form -- Disclosure of Protected Health Information.
   12.7.4.1 Content and Purpose. Each academic year, a student-athlete may voluntarily sign a statement in a form
   maintained by the Committee on Competitive Safeguards and Medical Aspects of Sports and approved by the Legislative
   Committee in which the student-athlete authorizes/consents to the institution's physicians, athletics directors and health
   care personnel to disclose the student-athlete's injury/illness and participation information associated with the student-
   athlete's training and participation in intercollegiate athletics to the NCAA and to its Injury Surveillance Program (ISP),
   agents and employees for the purpose of conducting research into the reduction of athletics injuries. The authorization/
   consent by the student-athlete is voluntary and is not required for the student-athlete to be eligible to participate. [D]
   (Adopted: 4/24/03, Revised: 8/7/03 effective 8/1/04, 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
   12.7.4.2 Administration. The following procedures shall be used in administering the form: (Adopted: 4/24/03, Revised:
   8/7/03 effective 8/1/04, 7/30/10, 1/23/19)

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     (a) The authorization/consent form shall be administered individually to each student-athlete by the athletics director or
         the athletics director's designee before the student-athlete's participation in intercollegiate athletics each academic year.
     (b) Signing the authorization/consent shall be voluntary and is not required by the student-athlete's institution for medical
         treatment, payment for treatment, enrollment in a health plan or for any benefits (if applicable) and is not required for
         the student-athlete to be eligible to participate.
12.7.5 Eligibility Requirements for Male Students to Practice With Women's Teams. A male student may
engage in practice sessions with women's teams subject to the following conditions: (Revised: 5/12/05, 5/29/08, 7/31/14, 4/26/17,
7/31/23)
 (a) A male student who practices with an institution's women's team must be verified as eligible for practice in accordance with
     Bylaw 14.2.1 and must have eligibility remaining under the five-year rule (see Bylaw 12.8.1);
 (b) It is not permissible for an institution to provide a male student financial assistance in return for practicing with a women's
     team. A male student who is receiving financial aid or any compensation for serving in any position in the athletics
     department may not practice with a women's team. A male student-athlete who is a counter in a men's sport may not
     engage in practice sessions with an institution's women's team in any sport;
 (c) It is not permissible for an institution to provide a male student housing and food to remain on campus during a vacation
     period to participate in practice sessions with a women's team;
 (d) It is not permissible for a recruited male student-athlete who is serving an academic year of residence as a nonqualifier to
     participate in practice sessions with a women's team. A nonrecruited male student who is serving an academic year of
     residence as a nonqualifier may participate in practice sessions with a women's team;
 (e) It is permissible for an institution to provide practice apparel to a male student for the purpose of practicing with a women's
     team; and
 (f) A male student who practices with an institution’s women’s basketball team may participate in required summer athletic
     activities, provided the student was enrolled full time at the conclusion of the regular academic term (e.g., spring semester
     or quarter) immediately preceding the institution’s summer term.
12.8 Seasons of Competition: Five-Year Rule. A student-athlete shall not engage in more than four
seasons of intercollegiate competition in any one sport (see Bylaws 12.02.6 and 14.3.3). An institution shall not permit a
student-athlete to represent it in intercollegiate competition unless the individual completes all seasons of participation in all
sports within the time periods specified below: (Revised: 7/31/14)
12.8.1 Five-Year Rule. A student-athlete shall complete the student-athlete's seasons of participation within five calendar
years from the beginning of the semester or quarter in which the student-athlete first registered for a minimum full-time
program of studies in a collegiate institution, with time spent in the armed services, on official religious missions or with
recognized foreign aid services of the U.S. government being excepted. For international students, service in the armed forces or
on an official religious mission of the student’s home country is considered equivalent to such service in the United States.
(Revised: 4/2/10, 7/31/14)
    12.8.1.1 Determining the Start of the Five-Year Period. For purposes of starting the count of time under the five-
    year rule, a student-athlete shall be considered registered at a collegiate institution (domestic or foreign; see Bylaw 14.02.4)
    when the student-athlete initially registers in a regular term (semester or quarter) of an academic year for a minimum full-
    time program of studies, as determined by the institution, and attends the student’s first day of classes for that term (see
    Bylaw 12.8.2). (Revised: 7/31/14)
    12.8.1.2 Service Exceptions to the Five-Year Rule. Time spent in the armed services, on official religious missions or
    with recognized foreign aid services of the U.S. government is excepted from the application of the five-year rule. Among
    such services that qualify a student-athlete for an extension of the five-year rule are: (Revised: 4/2/10, 7/31/14)
     (a) Military Sea Transport Service;
     (b) Peace Corps; or
     (c) Service as a conscientious objector ordered by the Selective Service Commission (or the equivalent authority in a
         foreign nation) in lieu of active military duty.
         12.8.1.2.1 Elapsed Time/Service to Enrollment. If a student-athlete enrolls in a regular term of a collegiate
         institution at the first opportunity following completion of any one of the commitments described in the exceptions to
         this bylaw, the elapsed time (the exact number of calendar days) between completion of the commitment and the first
         opportunity for enrollment may be added to the exact number of days served on active duty in the armed services, with
         foreign aid services or on official religious missions and will not count toward the student-athlete's five years of

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         eligibility. It is not permissible to extend the five-year period by any additional time beyond the first opportunity to
         enroll (the opening day of classes of the first regular term at the institution in which the student-athlete enrolls as a
         regular student immediately following the termination of the active-duty commitment). (Revised: 4/2/10, 7/31/14)
         12.8.1.2.2 Collegiate Enrollment Concurrent With Service Assignment. Any time in which a student-athlete
         is enrolled for a minimum full-time load as a regular student in a collegiate institution while simultaneously on active
         duty in the U.S. military, on an official religious mission or with a recognized foreign aid service of the U.S.
         government shall count against the five calendar years in which the student-athlete's seasons of eligibility must be
         completed. (Revised: 4/2/10, 7/31/14)
   12.8.1.3 Academic Study Abroad Exception. Time spent participating in a full-time study-abroad program during a
   regular term of an academic year may be excepted from the application of the five-year rule, provided: (Adopted: 1/19/17
   effective 8/1/17)
    (a) The institution recognizes the student-athlete as a full-time student at the time of participation in the study-abroad
        program;
    (b) At the time of participation in the study-abroad program, the student-athlete is academically eligible for competition
        and is not subject to an athletically related suspension;
    (c) The student-athlete does not participate in practice or competition with the institution's team and does not engage in
        outside competition while participating in the study-abroad program;
    (d) The student-athlete satisfactorily completes the study-abroad program; and
    (e) The student-athlete earns a baccalaureate degree within five years or fewer.
   12.8.1.4 Internship or Cooperative Educational Work Experience Program Exception. Time spent
   participating in a full-time internship or cooperative educational work experience program during a regular term of an
   academic year may be excepted from the application of the five-year rule, provided: (Adopted: 1/19/17 effective 8/1/17)
    (a) The institution recognizes the student-athlete as a full-time student at the time of participation in the internship or
        cooperative educational work experience program;
    (b) At the time of participation in the internship or cooperative educational work experience program, the student-athlete
        is academically eligible for competition and is not subject to an athletically related suspension;
    (c) The student-athlete does not participate in practice or competition with the institution's team and does not engage in
        outside competition while participating in the internship or cooperative educational work experience program;
    (d) The student-athlete satisfactorily completes the internship or cooperative educational work experience program; and
    (e) The student-athlete earns a baccalaureate degree within five years or fewer.
   12.8.1.5 Pregnancy Exception. A member institution may approve a one-year extension of the five-year period of
   eligibility for a female student-athlete for reasons of pregnancy. (Revised: 7/31/14)
   12.8.1.6 Athletics Activity Waiver. The Committee on Student-Athlete Reinstatement, or a committee designated by
   it, shall have the authority to waive this provision by a two-thirds majority of its members present and voting to permit
   student-athletes to participate in: (Revised: 1/10/91, 1/9/96, 1/14/12, 7/31/14, 10/17/19, 1/22/20)
    (a) Official Pan American, Parapan American, World Championships, World Cup, World University Games
        (Universiade), World University Championships, Olympic and Paralympic training, tryouts and competition;
    (b) Officially recognized training and competition directly qualifying participants for final Olympic or Paralympic tryouts;
        or
    (c) Official tryouts and competition involving national teams sponsored by the appropriate national governing bodies of
        the U.S. Olympic and Paralympic Committee (or, for student-athletes representing another nation, the equivalent
        organization of that nation, or, for student-athletes competing in a non-Olympic or non-Paralympic sport, the
        equivalent organization of that sport).
         12.8.1.6.1 Junior Level Competition. The athletics activity waiver does not apply to junior level training, tryouts
         or competition (e.g., Youth Olympic Games, U20 World Cup, Junior National Teams) that may be associated with
         the training, tryouts or competition specified in Bylaw 12.8.1.6. (Adopted: 2/17/17)
         12.8.1.6.2 Athletics Activity Waiver Criteria. Extensions of the five-year period of eligibility for student-athletes
         by the Committee on Student-Athlete Reinstatement, or its designated committee, shall be based on the following
         criteria: The member institution in which the student-athlete is enrolled must establish to the satisfaction of the
         Committee on Student-Athlete Reinstatement (by objective evidence) that the student-athlete was unable to participate
         in intercollegiate athletics as a result of participation in one of the activities listed in the above legislation for a specific
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         period of time. Further, such an extension shall be limited to one time and for a period not to exceed one year per
         student-athlete, per sport. (Revised: 8/11/98, 7/31/14)
   12.8.1.7 Five-Year Rule Waiver. The Committee on Student-Athlete Reinstatement, or its designated committee, by a
   two-thirds majority of its members present and voting, may approve waivers of the five-year rule as it deems appropriate.
   (Revised: 7/30/10, 7/31/14)
         12.8.1.7.1 Waiver Criteria. A waiver of the five-year period of eligibility is designed to provide a student-athlete
         with the opportunity to participate in four seasons of intercollegiate competition within a five-year period. This waiver
         may be granted, based upon objective evidence under the following circumstances: (Revised: 4/17/91, 1/11/94, 8/10/94,
         10/12/95, 4/27/00, 7/30/10, 7/31/14, 4/25/18, 5/19/22 applicable to a student-athlete who qualifies for a waiver that
         would provide the opportunity to participate in four seasons of competition within a five-year period)
         (a) The student-athlete did not use a season of intercollegiate competition due to an institutional decision to redshirt
             the student-athlete; the student-athlete was listed on the institution's squad list and was eligible for competition
             during the segment of the season that concludes with the NCAA championship; and the student-athlete was
             deprived of the opportunity to participate in intercollegiate competition in one other season due to circumstances
             beyond the control of the student-athlete or institution. (The use of this provision is limited to one time in a
             student-athlete's period of eligibility); or
         (b) The student-athlete is deprived of the opportunity to participate for more than one season in his or her sport
             within the five-year period of eligibility for reasons that are beyond the control of the student-athlete or the
             institution.
             12.8.1.7.1.1 Circumstances Beyond Control. Circumstances considered to be beyond the control of the
             student-athlete or the institution and do not cause a participation opportunity to be used shall include, but are not
             limited to, the following: (Adopted: 8/10/94, Revised: 10/12/95, 8/12/97, 1/9/06, 7/30/10, 7/31/14)
              (a) Situations clearly supported by contemporaneous medical documentation, which states that a student-athlete
                  is unable to participate in intercollegiate competition as a result of incapacitating physical or mental
                  circumstances;
              (b) The student-athlete is unable to participate in intercollegiate athletics as a result of a life-threatening or
                  incapacitating injury or illness suffered by a member of the student-athlete's immediate family, which clearly
                  is supported by contemporaneous medical documentation;
              (c) Reliance by the student-athlete upon written, contemporaneous, clearly erroneous academic advice provided
                  to the student-athlete from a specific academic authority from a collegiate institution regarding the academic
                  status of the student-athlete or prospective student-athlete, which directly leads to that individual not being
                  eligible to participate and, but for the clearly erroneous advice, the student-athlete would have established
                  eligibility for intercollegiate competition;
              (d) Natural disasters (e.g., earthquake, flood); and
              (e) Extreme financial difficulties as a result of a specific event (e.g., layoff, death in the family) experienced by the
                  student-athlete or by an individual upon whom the student-athlete is legally dependent, which prohibit the
                  student-athlete from participating in intercollegiate athletics. These circumstances must be clearly supported
                  by objective documentation (e.g., decree of bankruptcy, proof of termination) and must be beyond the
                  control of the student-athlete or the individual upon whom the student-athlete is legally dependent.
             12.8.1.7.1.2 Circumstances Within Control. Circumstances that are considered to be within the control of
             the student-athlete or the institution and cause a participation opportunity to be used include, but are not limited
             to, the following: (Adopted: 8/10/94, Revised: 10/12/95, 10/9/96, 7/30/10, 7/31/14)
              (a) A student-athlete's decision to attend an institution that does not sponsor the student-athlete's sport, or
                  decides not to participate at an institution that does sponsor the sport;
              (b) An inability to participate due to failure to meet institutional/conference or NCAA academic requirements, or
                  disciplinary reasons or incarceration culminating in or resulting from a conviction;
              (c) Reliance by a student-athlete upon misinformation from a coaching staff member;
              (d) Redshirt year;
              (e) Ineligibility to participate as a result of a transfer year of residence or fulfilling a condition for restoration of
                  eligibility; and
              (f) A student-athlete's lack of understanding regarding the specific starting date of the five-year period of
                  eligibility.
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             12.8.1.7.1.3 Circumstances of Extraordinary or Extreme Hardship. The Committee on Student-Athlete
             Reinstatement reserves the right to review requests that do not meet the more-than-one-year criteria of this waiver
             for circumstances of extraordinary or extreme hardship. (Revised: 4/25/18)
             12.8.1.7.1.4 Practice While Waiver is Pending. A student-athlete who has exhausted five years of eligibility
             may continue to practice (but not compete) for a maximum of 30 consecutive calendar days, provided the student-
             athlete's institution has submitted a waiver request. The student-athlete may not commence practice until the
             institution has filed such a request. Further, if such a request is denied prior to exhausting the 30-day practice
             period, the student-athlete must cease all practice activities upon the institution's notification of the denial.
             (Revised: 4/25/18)
12.8.2 Additional Applications of the Five-Year Rule.
   12.8.2.1 Athletics Competition. Even though a student is enrolled for less than a minimum full-time program of
   studies at a collegiate institution, the student's five-year period of eligibility begins if the individual represents the institution
   in intercollegiate athletics. (Revised: 7/31/14)
   12.8.2.2 Nonrecognized College. Enrollment in a postsecondary, noncollegiate institution (e.g., technical school,
   seminary or business college) in the United States that is not accredited at the college level by an agency or association
   recognized by the secretary of the Department of Education and legally authorized to offer at least a one-year program of
   study creditable toward a degree, constitutes enrollment in the application of the five-year rule only if: (Revised: 1/10/90,
   8/8/02, 7/31/14)
    (a) The student is enrolled in a minimum full-time program of studies at such an institution that conducts an
        intercollegiate athletics program; or
    (b) The student, whether enrolled for a minimum full-time program of studies or not, represents the institution in
        intercollegiate athletics.
   12.8.2.3 Joint College/High School Program. A student-athlete's eligibility under the five-year rule does not begin
   while a student is enrolled in a collegiate institution in a joint high school/college academic program for high school
   students in which the courses count as both high school graduation credit and college credit, provided the student has not
   officially graduated from high school and does not participate in intercollegiate athletics while enrolled in the joint
   program. (Revised: 11/1/01 effective 8/1/02, 7/31/14)
   12.8.2.4 Vocational Program. A student-athlete's eligibility under the five-year rule does not begin while the student is
   enrolled in a minimum full-time program of studies as a part of a special vocational program that combines enrollment in
   regular college courses and participation in vocational training courses, provided the student is not considered to be
   regularly matriculated by the institution, does not go through the customary registration and testing procedures required of
   all regular entering students and is not eligible for the institution's extracurricular activities, including athletics. (Revised:
   7/31/14)
   12.8.2.5 Eligibility for Practice. To be eligible to participate in organized practice sessions, a student-athlete shall have
   eligibility remaining under the five-year rule (see Bylaws 14.2.1.7 and 14.2.1.8). A student-athlete receiving institutional
   financial aid after having engaged in four seasons of intercollegiate competition in a sport may continue to take part in
   organized, institutional practice sessions in that sport without being a counter (see Bylaw 15.02.3). [D] (Revised: 8/5/04,
   7/31/14, 3/27/18)
12.8.3 Criteria for Determining Season of Competition.
   12.8.3.1 Minimum Amount of Competition. Any competition, regardless of time, during a season in an
   intercollegiate sport shall be counted as a season of competition in that sport, except as provided in Bylaws 12.8.3.1.1,
   12.8.3.1.2, 12.8.3.1.3, 12.8.3.1.4, 12.8.3.1.5 and 12.8.3.1.6. This provision is applicable to intercollegiate athletics
   competition conducted by a two-year or four-year collegiate institution at the varsity or subvarsity level. (Revised: 1/11/94,
   4/28/05 effective 8/1/05, 5/9/06, 1/16/10 effective 8/1/10, 7/31/14, 8/8/18 effective 8/1/18)
         12.8.3.1.1 Two-Year College Scrimmages. A two-year college prospective student-athlete may compete in a
         scrimmage as a member of a two-year college team without counting such competition as a season of competition,
         provided the competition meets all of the following conditions: (Adopted: 1/11/94, Revised: 5/9/06, 7/31/14)
         (a) The scrimmage is approved by the two-year college;
         (b) No official score is kept;
         (c) No admission is charged;
         (d) No official time is kept;

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         (e) The scrimmage is played prior to the two-year college's first regularly scheduled outside competition; and
         (f) The prospective student-athlete participates in not more than two such scrimmages or dates of competition per
             academic year.
         12.8.3.1.2 Exception -- Nonchampionship Segment Competition -- Field Hockey, Men's Soccer,
         Women's Soccer, Women's Volleyball and Men's Water Polo. In field hockey, men's soccer, women's soccer,
         women's volleyball and men's water polo, a student-athlete may engage in intercollegiate competition during the
         segment of the playing season that does not conclude with the NCAA championship without using a season of
         competition, provided the student-athlete was academically eligible during the segment that concludes with the NCAA
         championship. (Adopted: 11/1/01, Revised: 8/8/02, 10/31/02, 5/9/06, 7/31/14)
         12.8.3.1.3 Exception -- Nonchampionship Segment Competition -- Baseball, Women's Beach
         Volleyball, Lacrosse, Softball, Men's Volleyball and Women's Water Polo. In baseball, women's beach
         volleyball, lacrosse, softball, men's volleyball and women's water polo, a student-athlete may engage in intercollegiate
         competition during the segment of the playing season that does not conclude with the NCAA championship without
         using a season of competition, provided the student-athlete remains academically eligible during the segment that
         concludes with the NCAA championship. (Adopted: 6/28/17)
         12.8.3.1.4 Preseason Exhibitions/Preseason Practice Scrimmages. A student-athlete may compete in
         preseason exhibition contests and preseason practice scrimmages (as permitted in the particular sport per Bylaw 17)
         without counting such competition as a season of competition. (Revised: 5/9/06, 7/31/14, 4/26/17)
         12.8.3.1.5 Alumni Game, Fundraising Activity or Celebrity Sports Activity. A student-athlete may engage
         in outside competition in either one alumni game, one fundraising activity or one celebrity sports activity during a
         season without counting such competition as a season of competition, provided the event is exempted from the
         institution's maximum number of contests or dates of competition as permitted in the particular sport per Bylaw 17.
         (Adopted: 1/16/10 effective 8/1/10, Revised: 7/31/14)
         12.8.3.1.6 Exception -- Football. In football, a student-athlete representing a Division I institution may compete
         in up to four contests in a season without using a season of competition. (Adopted: 8/8/18 effective 8/1/18 for
         competition that occurs on or after 8/1/18, Revised: 6/12/19)
         12.8.3.1.7 Exception -- Men's Wrestling. In men's wrestling, a student-athlete representing a Division I
         institution may compete in up to five dates of competition during the student-athlete's initial year of collegiate
         enrollment without using a season of competition. Competition in a conference championship tournament, the NCAA
         Division I Wrestling Championships, or any other season-ending championship event shall not be exempted from
         counting as a season of competition. (Adopted: 6/30/22 effective 8/1/22)
   12.8.3.2 Delayed Enrollment -- Seasons of Competition.
         12.8.3.2.1 Sports Other Than Men's Ice Hockey, Skiing and Tennis. In sports other than men's ice hockey,
         skiing and tennis, a student-athlete who does not enroll in a collegiate institution as a full-time student in a regular
         academic term during a one-year period (by October 1 or March 1 immediately after one year has elapsed) after the
         student-athlete's high school graduation date or the graduation date of the student-athlete's class (as determined by the
         first year of high school enrollment or the international equivalent as specified in the NCAA Guide to International
         Academic Standards for Athletics Eligibility and based on the prescribed educational path in the student-athlete's
         country), whichever occurs earlier, shall be subject to the following: (Adopted: 1/9/96 effective 8/1/97, Revised: 4/29/04
         effective 8/1/04, 4/20/09, 4/29/10 effective 8/1/11 applicable to student-athletes who initially enroll full time in a collegiate
         institution on or after 8/1/11, 7/31/14, 4/26/23)
         (a) The student-athlete shall be charged with a season of intercollegiate eligibility for each calendar year after the one-
             year period and prior to full-time collegiate enrollment during which the student-athlete has participated in
             organized competition per Bylaw 12.02.9.
         (b) After the one-year period, if the student-athlete has engaged in competition per Bylaw 12.02.9, on matriculation at
             the certifying institution, the student-athlete must fulfill an academic year of residence before being eligible to
             represent the institution in intercollegiate competition.
             12.8.3.2.1.1 Exception -- Transfer Student. A student-athlete is not required to fulfill an academic year of
             residence before being eligible to represent the institution in intercollegiate competition, provided the student-
             athlete: (Adopted: 1/23/19)
              (a) Attended a collegiate institution (or institutions) as a full-time student for at least two semesters or three
                  quarters (excluding summer terms); and

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              (b) Satisfactorily completed an average of at least 12 semester or quarter hours of transferable-degree credit for
                  each term of full-time attendance.
             12.8.3.2.1.2 Exception -- National/International Competition. For a maximum of one year after a
             prospective student-athlete's first opportunity to enroll full time in a collegiate institution following the one-year
             time period after the prospective student-athlete's high school graduation date or the graduation date of the
             prospective student-athlete's class, whichever occurs earlier, participation in the following organized national/
             international competition is exempt from application of Bylaw 12.8.3.2.1: (Adopted: 1/15/11 effective 8/1/11,
             Revised: 1/14/12, 7/31/14, 4/25/18 effective 8/1/18 applicable to a student-athlete who initially enrolls full time in a
             collegiate institution on or after 8/1/18, 10/17/19, 1/22/20)
              (a) Official Olympic Games, Paralympic Games, Pan American Games, Parapan American Games, World
                  Championships, World Cup, World University Games (Universiade) and World University Championships
                  and established regional competition (e.g., North American Championships, European Championships) or
                  the junior level equivalents (e.g., Youth Olympic Games, U20 World Cup, junior national teams);
              (b) Officially recognized competition from which participants may be selected to a national team that will
                  participate in the Olympic Games, Paralympic Games, Pan American Games, Parapan American Games,
                  World Championships, World Cup or World University Games (Universiade), World University
                  Championships and established regional competition (e.g., North American Championships, European
                  Championships) or the junior level equivalents (e.g., Youth Olympic Games, U20 World Cup, junior
                  national teams) and final tryout competition from which participants are selected for such teams; or
              (c) Official competition involving a national team sponsored by the appropriate national governing body of the
                  U.S. Olympic and Paralympic Committee (or, for student-athletes representing another nation, the
                  equivalent organization of that nation).
             12.8.3.2.1.3 Service Exceptions. Participation in organized competition during time spent in the armed
             services, on an official religious mission or with a recognized foreign aid service of the U.S. government is exempt
             from the application of Bylaw 12.8.3.2.1. Additionally, if a student-athlete enrolls as a full-time student in a
             regular term of a collegiate institution at the first opportunity following completion of the service commitment,
             the period between completion of the service commitment and the first opportunity to enroll is exempt from the
             application of Bylaw 12.8.3.2.1. (Adopted: 4/25/18, Revised: 1/23/19, 6/12/19)
             12.8.3.2.1.4 Track and Field and Cross Country. A student-athlete who has participated in organized
             competition after the one-year time period (the next opportunity to enroll after one calendar year has elapsed) and
             prior to full-time collegiate enrollment during a cross country, indoor track and field, or outdoor track and field
             season (as opposed to general road racing events) shall be charged with a season of competition in the sport in
             which the student has participated for each calendar year after the one-year time period in which the student
             participated in organized competition. (Adopted: 4/29/10 effective 8/1/11 applicable to student-athletes who initially
             enroll full time in a collegiate institution on or after 8/1/11, Revised: 7/31/14)
             12.8.3.2.1.5 Road Racing. A student-athlete who has participated in road racing activities after the one-year
             time period (the next opportunity to enroll after one calendar year has elapsed) and prior to full-time collegiate
             enrollment shall be charged with a season of competition in each of the sports of cross country, indoor track and
             field, outdoor track and field, and triathlon for each calendar year after the one-year time period in which the
             student-athlete participates in organized competition. (Adopted: 4/29/10 effective 8/1/11 applicable to student-
             athletes who initially enroll full time in a collegiate institution on or after 8/1/11, Revised: 1/18/14 effective 8/1/14,
             7/31/14)
         12.8.3.2.2 Tennis. In tennis, a student-athlete who does not enroll in a collegiate institution as a full-time student in
         a regular academic term within six months ( by October 1 or March 1 immediately after six months have elapsed) after
         the student-athlete's high school graduation date or the graduation date of the student-athlete's class (as determined by
         the first year of high school enrollment or the international equivalent as specified in the NCAA Guide to International
         Academic Standards for Athletics Eligibility and based on the prescribed educational path in the student-athlete's
         country), whichever occurs earlier, shall be subject to the following: (Adopted: 4/29/10 effective 8/1/12, Revised: 7/31/14,
         4/26/23)
         (a) The student-athlete shall be charged with a season of intercollegiate eligibility for each calendar year after the six-
             month period has elapsed and prior to full-time collegiate enrollment during which the student-athlete has
             participated in organized competition per Bylaw 12.02.9.



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         (b) After the six-month period, if the student-athlete has engaged in organized competition per Bylaw 12.02.9, on
             matriculation at the certifying institution, the student-athlete must fulfill an academic year of residence before
             being eligible to represent the institution in intercollegiate competition.
            12.8.3.2.2.1 Exception -- Transfer Student. A student-athlete is not required to fulfill an academic year of
            residence before being eligible to represent the institution in intercollegiate competition, provided the student-
            athlete: (Adopted: 1/23/19)
             (a) Attended a collegiate institution (or institutions) as a full-time student for at least two semesters or three
                 quarters (excluding summer terms); and
             (b) Satisfactorily completed an average of at least 12 semester or quarter hours of transferable-degree credit for
                 each term of full-time attendance.
            12.8.3.2.2.2 Exception -- National/International Competition. For a maximum of one year after a
            prospective student-athlete's first opportunity to enroll full time in a collegiate institution following the six-month
            time period after the prospective student-athlete's high school graduation date or the graduation date of the
            prospective student-athlete's class, whichever occurs earlier, participation in the following organized national/
            international competition is exempt from application of Bylaw 12.8.3.2.2: (Adopted: 1/15/11 effective 8/1/12,
            Revised: 1/14/12, 7/31/14, 4/25/18 effective 8/1/18, 10/17/19, 1/22/20)
             (a) Official Olympic Games, Paralympic Games, Pan American Games, Parapan American Games, World
                 Championships, World Cup, World University Games (Universiade) and World University Championships
                 competition or the junior level equivalents (e.g., Youth Olympic Games, U20 World Cup, junior national
                 teams);
             (b) Officially recognized competition from which participants may directly qualify for final tryouts for a national
                 team that will participate in the Olympic Games, Paralympic Games, Pan American Games, Parapan
                 American Games, World Championships, World Cup or World University Games (Universiade), World
                 University Championships or the junior level equivalent (e.g., Youth Olympic Games, U20 World Cup,
                 junior national teams) and final tryout competition from which participants are selected for such teams; or
             (c) Official competition involving a national team sponsored by the appropriate national governing body of the
                 U.S. Olympic and Paralympic Committee (or, for student-athletes representing another nation, the
                 equivalent organization of that nation.)
            12.8.3.2.2.3 Service Exceptions. Participation in organized competition during time spent in the armed
            services, on an official religious mission or with a recognized foreign aid service of the U.S. government is exempt
            from the application of Bylaw 12.8.3.2.2. Additionally, if a student-athlete enrolls as a full-time student in a
            regular term of a collegiate institution at the first opportunity following completion of the service commitment,
            the period between completion of the service commitment and the first opportunity to enroll is exempt from the
            application of Bylaw 12.8.3.2.1. (Adopted: 4/25/18, Revised: 1/23/19, 6/12/19)
            12.8.3.2.2.4 Matriculation After 20th Birthday -- Tennis. In tennis, a student-athlete who is eligible under
            Bylaw 12.8.3.2.2, but who participates in organized tennis events after the student-athlete's 20th birthday and
            before full-time enrollment at the certifying institution shall be subject to the following: (Adopted: 4/29/04 effective
            8/1/04, Revised: 6/10/04, 7/31/14, 1/23/19)
             (a) The student will be charged with one season of intercollegiate tennis competition for each calendar year after
                 the student-athlete's 20th birthday and prior to full-time enrollment at the certifying institution during which
                 the student-athlete has participated in organized tennis competition per Bylaw 12.02.9. [Note: This includes
                 participation in intercollegiate tennis while enrolled full time in another two-year or four-year institution;
                 however, this provision replaces the season of competition counted in Bylaw 12.8 (only one season is used in
                 any one year).]
             (b) Upon matriculation at the certifying institution, the student-athlete must fulfill an academic year of residence
                 before being eligible to represent the institution in intercollegiate tennis, unless the student-athlete attended a
                 collegiate institution (or institutions) as a full-time student for at least two semesters or three quarters
                 (excluding summer terms) and satisfactorily completed an average of at least 12 semester or quarter hours of
                 transferable-degree credit for each term of full-time attendance.
                 12.8.3.2.2.4.1 Exception -- Continuous Full-Time Enrollment. A student-athlete who is eligible
                 under Bylaw 12.8.3.2.2 and who maintained full-time enrollment in a collegiate institution during each
                 regular academic term from initial full-time enrollment in a collegiate institution to initial full-time

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                  enrollment at the certifying institution is not subject to the application of Bylaw 12.8.3.2.2.4. (Adopted:
                  4/25/18)
                  12.8.3.2.2.4.2 Exception -- Olympic Games, Paralympic Games, Pan American Games,
                  Parapan American Games, World Championships, World Cup, World University Games
                  (Universiade) and World University Championships Participation. Participation in the Olympic
                  Games, Paralympic Games, Pan American Games, Parapan American Games, World Championships, World
                  Cup, World University Games (Universiade) and World University Championships or the junior level
                  equivalents (e.g., Youth Olympic Games, U20 World Cup, junior national teams) is exempt from the
                  application of Bylaw 12.8.3.2.2.4. (Adopted: 4/26/07 effective 8/1/07, Revised: 1/14/12, 7/31/14, 4/25/18
                  effective 8/1/18 applicable to a student-athlete who initially enrolls full time in a collegiate institution on or after
                  8/1/18, 1/22/20)
                  12.8.3.2.2.4.3 Service Exceptions. Participation in organized competition during time spent in the
                  armed services, on an official religious mission or with a recognized foreign aid service of the U.S. government
                  is exempt from the application of Bylaw 12.8.3.2.2. Additionally, if a student-athlete enrolls as a full-time
                  student in a regular term of a collegiate institution at the first opportunity following completion of the service
                  commitment, the period between completion of the service commitment and the first opportunity to enroll
                  student is exempt from the application of Bylaw 12.8.3.2.1. (Adopted: 4/25/18, Revised: 1/23/19, 6/12/19)
    12.8.3.3 Track and Field and Cross Country. Cross country, indoor track and field, and outdoor track and field shall
    be considered separate sports. (Revised: 1/10/90, 7/31/14)
    12.8.3.4 Intercollegiate Competition. A student-athlete is considered to have engaged in a season of intercollegiate
    competition when the student-athlete competes in an athletics event involving any one of the conditions characterizing
    intercollegiate competition (per Bylaw 12.02.6). (Revised: 7/31/14)
    12.8.3.5 Participation After 21st Birthday -- Men's Ice Hockey and Skiing. In men's ice hockey and skiing, any
    participation as an individual or a team representative in organized sports competition by a student during each 12-month
    period after the student's 21st birthday and prior to initial full-time enrollment in a collegiate institution shall count as one
    year of varsity competition in that sport. Participation in organized competition during time spent in the armed services, on
    official religious missions or with recognized foreign aid services of the U.S. government shall be excepted. (Revised:
    1/10/90, 1/16/93, 1/10/95 effective 8/1/95, 1/9/96 effective 8/1/96, 6/10/04, 1/17/09 effective 8/1/10, 4/13/10 effective 8/1/11,
    7/31/14, 4/25/18)
    12.8.3.6 Foreign-Tour Competition. A student-athlete who did not compete during the institution's season just
    completed and who represents the institution in a certified foreign tour after that intercollegiate season and prior to the start
    of the next academic year shall not be charged with a season of eligibility (see Bylaw 17.32.1.4). (Revised: 8/11/98, 7/31/14)
    12.8.3.7 Participation on an Institution's Club Team. An individual is charged with a season of competition for
    participation in intercollegiate competition (see Bylaw 12.02.6) as a member of an institution's club team if that institution
    sponsored the sport as a varsity intercollegiate sport and as a club sport at the time of participation. (Adopted: 6/24/09,
    Revised: 7/31/14)
12.8.4 Hardship Waiver. A student-athlete may be granted an additional year of competition by the conference or the
Committee on Student-Athlete Reinstatement for reasons of "hardship." Hardship is defined as an incapacity resulting from an
injury or illness that has occurred under all of the following conditions: (Revised: 1/10/92 effective 8/1/92, 1/14/97, 8/1/97,
4/26/01 effective 8/1/01, 11/1/01, 4/3/02, 8/8/02, 3/10/04, 5/11/05, 9/18/07, 11/1/07 effective 8/1/08, 4/24/08, 7/31/14, 6/30/22
effective 8/1/22 for injuries and illnesses occurring on or after 8/1/22)
 (a) The incapacitating injury or illness occurs in one of the four seasons of intercollegiate competition at any two-year or four-
      year collegiate institutions or occurs after the first day of classes in the student-athlete's senior year in high school;
 (b) The injury or illness occurs prior to the first contest or date of competition of the second half of the playing season that
      concludes with the NCAA championship in that sport and results in incapacity to compete for the remainder of that
      playing season; and
 (c) The injury or illness occurs when the student-athlete has not participated in more than three contests or dates of
      competition or 30 percent of the maximum number of contests or dates of competition of the playing season that concludes
      with the NCAA championship as set forth in Bylaw 17 for the applicable sport plus one contest or date of competition,
      whichever is greater.
    12.8.4.1 Administration of Hardship Waiver. The hardship waiver shall be administered by the member conferences
    of the Association or, in the case of an independent member institution, by the Committee on Student-Athlete
    Reinstatement. (Revised: 10/28/04, 4/20/09, 7/31/14)
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         12.8.4.1.1 Review of Denied Waiver. A conference that denies an institution's hardship waiver may submit the
         waiver to the Committee on Student-Athlete Reinstatement. The committee shall have the authority to review and
         determine whether to approve the waiver based on circumstances that may warrant relief from the application of the
         legislated waiver criteria. (Adopted: 4/20/09, Revised: 7/31/14)
   12.8.4.2 Criteria for Administration of Hardship Waiver.
         12.8.4.2.1 Nature of Injury/Illness. It is not necessary for the incapacitating injury or illness to be the direct result
         of the student's participation in the institution's organized practice or game competition. (Revised: 11/1/01, 7/31/14)
         12.8.4.2.2 Medical Documentation. Contemporaneous or other appropriate medical documentation, from a
         physician (a medical doctor) who administered care at the time of the injury or illness, that establishes the student-
         athlete's inability to compete as a result of that injury or illness shall be submitted with any hardship-waiver request.
         Documentation from an individual other than a physician (e.g., chiropractor, physical therapist) may only be used to
         support the physician's documentation. For a case involving a psychological or mental illness, the required
         contemporaneous or other appropriate medical documentation may be provided by an individual (e.g., psychiatrist,
         psychologist) who is qualified and licensed to diagnose and treat the particular illness. (Adopted: 4/20/99, Revised:
         2/22/01, 7/31/14, 10/17/19)
         12.8.4.2.3 First Half and 30 Percent of Season Denominator. The denominator used to determine the first
         half and 30 percent of a season is the maximum number of contests or dates of competition of the playing season that
         concludes with the NCAA championship as set forth in Bylaw 17 for the applicable sport plus one contest or date of
         competition (see Figure 12-1). (Revised: 6/30/22 effective 8/1/22 for injuries and illnesses occurring on or after 8/1/22)
             12.8.4.2.3.1 Exception -- Indoor and Outdoor Track and Field. For an institution that sponsors both
             indoor and outdoor track and field, the number of completed dates of competition, including postseason
             competition, in the applicable season (either indoor or outdoor) is used to determine the first half and 30 percent
             of the season. For an institution that sponsors only indoor or outdoor track and field (but not both), the
             maximum number of dates of competition of the playing season that concludes with the NCAA championship as
             set forth in Bylaw 17 plus one date of competition is used to determine the first half and 30 percent of the season.
             (Adopted: 6/30/22 effective 8/1/22 for injuries and illnesses occurring on or after 8/1/22)
             12.8.4.2.3.2 Fraction in the First-Half-of-Season Computation. A computation of the first-half-of-season
             that results in a fractional portion of a contest or date of competition shall be rounded up to the next whole
             number. The first contest or date of competition immediately following the rounded value is the first contest or
             date of competition in the second half of the season (see Figure 12-1). (Adopted: 6/30/22 effective 8/1/22 for injuries
             and illnesses occurring on or after 8/1/22)
             12.8.4.2.3.3 Fraction in Percent Computation. Any computation of the percent limitation that results in a
             fractional portion of a contest or date of competition shall be rounded to the next whole number (e.g., 30-percent
             of a 29-game basketball schedule -- 8.7 games -- shall be considered nine games). (Revised: 1/14/97 effective 8/1/97,
             4/26/07, 7/31/14, 6/30/22 effective 8/1/22 for injuries and illnesses occurring on or after 8/1/22)
         12.8.4.2.4 Playing Season that Concludes with the NCAA Championship. In sports in which the playing
         season may be divided into two segments, but championship selection is based on competition throughout the season
         (e.g., golf, ice hockey), completed competition for the entire season (e.g., nonchampionship and championship
         segments) shall be used when identifying the first contest or date of competition in the second half of the season and
         the number of contests or dates of competition in which the student-athlete has participated. In sports in which the
         playing season may be divided into two segments, but championship selection is based on competition during only one
         segment of the season (e.g., baseball, soccer), completed competition for only the championship segment shall be used
         when identifying the first contest or date of competition in the second half of the season and the number of contests or
         dates of competition in which the student-athlete has participated. (Adopted: 6/30/22 effective 8/1/22 for injuries and
         illnesses occurring on or after 8/1/22)
         12.8.4.2.5 Exclusions from the First Half and 30 Percent of Season. In identifying the first contest or date of
         competition in the second half of the season and the number of contests or dates of competition in which the student-
         athlete has participated, the following competitions shall be excluded: (Adopted: 6/30/22 effective 8/1/22 for injuries and
         illnesses occurring on or after 8/1/22)
         (a) Preseason exhibition contests and preseason practice scrimmages that do not count toward the use of a season of
             competition per Bylaw 12.8.3.1.4; and
         (b) Annual exemptions (e.g., alumni game, foreign team in the United States) as specified in Bylaw 17 for the
             applicable sport, except for a conference championship and other postseason competition.
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         12.8.4.2.6 Reinjury in Second Half of Season. A student-athlete who suffers an injury in the first half of the
         season that concludes with the NCAA championship or who suffers an injury after the first day of classes in the
         student-athlete's senior year of high school, attempts to return to competition during the second half of that season and
         then is unable to participate further as a result of aggravating the original injury does not qualify for the hardship
         waiver. (Revised: 11/1/01, 8/8/02, 7/31/14)
         12.8.4.2.7 Outside Competition in Second Half of Season. An individual who engages in outside competition
         during the second half of the institution's playing season that concludes with the NCAA championship, including
         competition while not representing the institution, does not qualify for a hardship waiver. (Adopted: 10/17/19, Revised:
         6/30/22 effective 8/1/22 for injuries and illnesses occurring on or after 8/1/22)
         12.8.4.2.8 Transfer Student-Athletes. The application of the hardship legislation for a transfer student-athlete
         may be based on the method that would be most beneficial to the student-athlete (the rule applicable to the division in
         which the injury or illness occurred or the Division I rule). The application of a particular division's legislation must
         include all the applicable elements of that division's legislation. It is not permissible to use selected elements of the
         legislation of more than one division. (Adopted: 11/12/97, Revised: 4/26/01 effective 8/1/01, 9/17/09, 7/31/14)
         12.8.4.2.9 Foreign-Tour Competition. A student-athlete who qualifies for a hardship for the previous academic
         year would not use a season of competition if the student-athlete represents the institution on a certified foreign tour
         during the summer-vacation period at the conclusion of that academic year. (Adopted: 1/10/92, Revised: 4/26/01,
         7/31/14)
12.8.5 Season-of-Competition Waiver -- Competition While Ineligible. In conjunction with a request for
restoration of eligibility and any conditions imposed thereon per Bylaw 12.12, a student-athlete may be granted an additional
season of competition by the Committee on Student-Athlete Reinstatement when the student-athlete participated in a limited
amount of competition as a result of a good-faith, erroneous formal declaration of eligibility by the institution's appropriate
certifying authority; or the student-athlete's good-faith, erroneous reliance on a coaching staff member's decision to put the
student-athlete into competition prior to the coaching staff member receiving a formal declaration of the student-athlete's
eligibility from the institution's appropriate certifying authority. The competition must have occurred under all of the following
conditions: (Adopted: 1/16/93, Revised: 1/14/97 effective 8/1/97, 4/20/99, 4/25/02 effective 8/1/02, 8/4/05, 7/31/14, 6/30/22
effective 8/1/22 for injuries and illnesses occurring on or after 8/1/22)
 (a) The competition occurred while the student-athlete was representing an NCAA member institution;
 (b) The competition occurred within 60 days of the date the student-athlete first reported for athletics participation;
 (c) The student-athlete did not participate in more than two events or 10 percent (whichever number is greater) of the
      maximum number of contests or dates of competition of the playing season that concludes with the NCAA championship
      as set forth in Bylaw 17 for the applicable sport plus one contest or date of competition. All competition against outside
      participants that triggers the use of a season of competition shall be countable under this limitation in determining the
      number of events in which the student-athlete participated;
 (d) The student-athlete was involved innocently and inadvertently in the erroneous determination or declaration of eligibility,
      which permitted the student-athlete to compete while ineligible; and
 (e) In the case of a coaching staff member's erroneous decision, the student-athlete had reason to believe the student-athlete
      would be eligible to participate, and the student-athlete did not contribute to the coaching staff member's erroneous
      decision to allow the student-athlete to participate.
    12.8.5.1 Ten Percent Calculation. The requirements specified in Bylaw 12.8.4.2.3 shall apply to the 10 percent
    calculation specified in this waiver. (Adopted: 1/16/93, Revised: 7/31/14, 6/30/22 effective 8/1/22 for injuries and illnesses
    occurring on or after 8/1/22)
12.8.6 Season-of-Competition Waiver -- Competition While Eligible. A student-athlete may be granted an
additional season of competition by the Committee on Student-Athlete Reinstatement in a case in which the student-athlete
participated in a limited amount of competition while eligible due to a coach's documented misunderstanding of the legislation
or other extenuating circumstances. In cases in which a student-athlete does not meet the criteria of this waiver, the Committee
on Student-Athlete Reinstatement shall have authority to review and grant a waiver based on additional documented
extenuating circumstances. (Adopted: 4/25/02 effective 8/1/02, Revised: 10/28/04, 7/31/14)
    12.8.6.1 Coach's Documented Misunderstanding. The student-athlete participated as a result of good faith, reliance
    on a coaching staff member's decision to put the student-athlete in an alumni contest, exhibition contests, scrimmages, or
    nonchampionship segment contests based on the coach's documented misunderstanding of NCAA legislation and the
    competition occurred under the following conditions: (Adopted: 10/28/04, Revised: 8/4/05, 7/31/14, 6/30/22 effective 8/1/22
    for injuries and illnesses occurring on or after 8/1/22)
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     (a) The competition occurred while the student-athlete was representing an NCAA institution;
     (b) The competition occurred prior to the completion of the first 20 percent of the playing season that concludes with the
         NCAA championship in that sport; and
     (c) The student-athlete did not compete in more than two events or 10 percent (whichever number is greater) of the
         maximum number of contests or dates of competition of the playing season that concludes with the NCAA
         championship as set forth in Bylaw 17 for the applicable sport plus one contest or date of competition. All competition
         against outside participants that triggers the use of a season of competition shall be countable under this limitation in
         determining the number of events in which the student-athlete participated.
         12.8.6.1.1 Percent Calculation. The requirements specified in Bylaw 12.8.4.2.3 shall apply to the percent
         calculation specified in this waiver. (Adopted: 10/20/04, Revised: 7/31/14, 6/30/22 effective 8/1/22 for injuries and illnesses
         occurring on or after 8/1/22)
    12.8.6.2 Extenuating Circumstances. Extenuating circumstances include, but are not limited to, the following:
    (Adopted: 4/25/02 effective 8/1/02, Revised: 10/28/04, 7/31/14)
     (a) The student-athlete failed to complete the entire season of competition at the institution as a result of a life-threatening
         injury or illness suffered by a member of the student-athlete's immediate family, that clearly is supported by
         contemporaneous medical documentation;
     (b) The student-athlete failed to complete the entire season of competition at the institution as a result of extreme financial
         difficulties as a result of a specific event (e.g., layoff, death in family) experienced by the student-athlete or an
         individual upon whom the student-athlete is legally dependent and prohibited the student-athlete from participating in
         intercollegiate athletics. These circumstances must be clearly supported by objective documentation (e.g., decree of
         bankruptcy, proof of termination) and must be beyond the control of the student-athlete or the individual upon whom
         the student-athlete is legally dependent;
     (c) The student-athlete's institution dropped the sport (in which the student practiced or competed) from its
         intercollegiate program.
         12.8.6.2.1 Conditions of Competition. The competition must have occurred under all of the following
         conditions: (Adopted: 10/28/04, Revised: 8/4/05, 1/14/08 effective 8/1/04, 7/31/14, 6/30/22 effective 8/1/22 for injuries
         and illnesses occurring on or after 8/1/22)
          (a) The competition occurred prior to the first contest or date of competition of the second half of the playing season
              that concludes with the NCAA championship in the sport; and
          (b) The student-athlete did not compete in more than three contests or dates of competition or 30 percent of the
              maximum number of contests or dates of competition of the playing season that concludes with the NCAA
              championship as set forth in Bylaw 17 for the applicable sport plus one contest or date of competition, whichever
              is greater.
              12.8.6.2.1.1 Percent Calculation. The requirements specified in Bylaws 12.8.4.2.3, 12.8.4.2.4 and 12.8.4.2.5
              shall apply to the percent calculation specified in this waiver. (Adopted: 4/25/02 effective 8/1/02, Revised: 10/28/04,
              1/14/08, 7/31/14, 6/30/22 effective 8/1/22 for injuries and illnesses occurring on or after 8/1/22)
12.9 U.S. Service Academy Exceptions, Special Eligibility Provisions.
12.9.1 Five-Year Rule. The Committee on Student-Athlete Reinstatement, by a two-thirds majority of its members present
and voting, may approve waivers to the five-year rule (see Bylaw 12.8) for student-athletes of the national service academies who
have exhausted eligibility in one sport but wish to compete in another sport or sports in which they have eligibility remaining.
(Revised: 4/24/03 effective 8/1/03, 7/31/14)
12.9.2 Transfer Status. A student who has attended as a freshman (plebe) only in the official summer-enrollment program
of one of the four national service academies is not considered a transfer in the application of the transfer regulations of Bylaw
14.5. (Revised: 7/31/14)
12.10 Certification of Eligibility.
12.10.1 Institutional Responsibility for Eligibility Certification. The president or chancellor is responsible for
approving the procedures for certifying the eligibility of an institution's student-athletes under NCAA legislation. The president
or chancellor may designate an individual on the institution's staff to administer proper certification of eligibility. Certification
of eligibility must occur prior to allowing a student-athlete to represent the institution in intercollegiate competition (see Bylaw
14.01.1). A violation of this bylaw in which the institution fails to certify a student-athlete's eligibility prior to allowing the
student-athlete to represent the institution in intercollegiate competition shall be considered an institutional violation per Bylaw
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8.01.3; however, such a violation shall not affect the student-athlete's eligibility, provided all the necessary information to certify
the student-athlete's eligibility was available to the institution and the student-athlete otherwise would have been eligible for
competition. (Revised: 3/8/06, 1/14/08, 7/31/14)
12.10.2 Squad-List Form. The institution's athletics director shall compile on a form approved by the Legislative
Committee a list of the squad members in each sport on the first day of competition and shall indicate thereon the status of each
member in the designated categories. A student-athlete's name must be on the official institutional form in order for the student
to be eligible to represent the institution in intercollegiate competition. Violations of this bylaw do not affect a student-athlete's
eligibility if the violation occurred due to an institutional administrative error or oversight and the student-athlete is
subsequently added to the form; however, the violation shall be considered an institutional violation per Bylaw 8.01.3. (See
Bylaw 15.5.11 for details about the administration of the squad list.) (Revised: 1/14/97, 11/1/07 effective 8/1/08, 7/31/14, 8/7/14,
10/4/17)
12.11 Ineligibility.
12.11.1 Obligation of Member Institution to Withhold Student-Athlete From Competition. If a student-
athlete is ineligible under the provisions of the constitution, bylaws or other regulations of the Association, the institution shall
be obligated to apply immediately the applicable rule and to withhold the student-athlete from all intercollegiate competition.
The institution may appeal to the Committee on Student-Athlete Reinstatement for restoration of the student-athlete's
eligibility as provided in Bylaw 12.12 if it concludes that the circumstances warrant restoration. (Revised: 7/31/14)
12.11.2 Ineligibility Resulting From Recruiting Violation. An institution shall not enter a student-athlete (as an
individual or as a member of a team) in any intercollegiate competition if it is acknowledged by the institution or established
through the Association's infractions process that the institution or a representative of its athletics interests violated the
Association's legislation in the recruiting of the student-athlete. The institution may appeal to the Committee on Student-
Athlete Reinstatement for restoration of the student-athlete's eligibility as provided in Bylaw 12.12 if it concludes that
circumstances warrant restoration. (Revised: 7/31/14)
    12.11.2.1 Payment of Legal Fees During Appeal. [A] An institution may provide actual and necessary expenses for a
    prospective student-athlete to attend proceedings conducted by the institution, its athletics conference or the NCAA that
    relate to the prospective student-athlete's eligibility to participate in intercollegiate athletics, provided the prospective
    student-athlete either has signed a National Letter of Intent with the institution or (if the institution is not a subscribing
    member of the National Letter of Intent program) the prospective student-athlete has been accepted for enrollment by the
    institution and has provided written confirmation of intent to enroll at the institution. The cost of legal representation in
    such proceedings also may be provided by the institution (or a representative of its athletics interests). (Revised: 7/31/14)
12.11.3 Application of Ineligibility Ruling Pending Appeal. Once an interpretation (per Bylaw 9.3.1.2) applicable
to a member institution has been issued and results in the ineligibility of a student-athlete, it is necessary for the institution to
apply the rule to the eligibility of the student-athlete, even if review of the interpretation (per Bylaw 9.3.1.2.1.1 or 9.3.1.2.2) at
the request of the institution is pending. Failure to withhold such a student-athlete from competition is a violation of the
conditions and obligations of membership. (Revised: 12/22/08, 7/31/14)
12.11.4 Ineligible Participation.
    12.11.4.1 Loss of Eligibility. A student-athlete shall be denied eligibility for intercollegiate competition in a sport if the
    student-athlete participates in intercollegiate competition in that sport while ineligible under this bylaw or other applicable
    NCAA legislation. The certifying institution may appeal to the Committee on Student-Athlete Reinstatement for
    restoration of the student-athlete's eligibility if it concludes that the circumstances warrant restoration (see Bylaw 12.12).
    (Revised: 7/31/14)
    12.11.4.2 Restitution. If a student-athlete who is ineligible under the terms of the bylaws or other legislation of the
    Association is permitted to participate in intercollegiate competition contrary to such NCAA legislation but in accordance
    with the terms of a court restraining order or injunction operative against the institution attended by such student-athlete
    or against the Association, or both, and said injunction is voluntarily vacated, stayed or reversed or it is finally determined
    by the courts that injunctive relief is not or was not justified, the Board of Directors may take any one or more of the
    following actions against such institution in the interest of restitution and fairness to competing institutions: (Revised:
    4/26/01 effective 8/1/01, 11/1/07 effective 8/1/08, 8/1/22, 8/31/22 effective 1/1/23)
     (a) Require that individual records and performances achieved during participation by such ineligible student-athlete shall
         be vacated or stricken;
     (b) Require that team records and performances achieved during participation by such ineligible student-athlete shall be
         vacated or stricken;

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     (c) Require that team victories achieved during participation by such ineligible student-athlete shall be abrogated and the
         games or events forfeited to the opposing institutions;
     (d) Require that individual awards earned during participation by such ineligible student-athlete shall be returned to the
         Association, the sponsor or the competing institution supplying same;
     (e) Require that team awards earned during participation by such ineligible student-athlete shall be returned to the
         Association, the sponsor or the competing institution supplying same;
     (f) Determine that the institution is ineligible for one or more NCAA championships in the sports and in the seasons in
         which such ineligible student-athlete participated;
     (g) Determine that the institution is ineligible for invitational and postseason meets and tournaments in the sports and in
         the seasons in which such ineligible student-athlete participated;
     (h) Require that the institution shall remit to the NCAA the institution's share of television receipts (other than the
         portion shared with other conference members) for appearing on any live television series or program if such ineligible
         student-athlete participates in a contest selected for such telecast, or if the Board of Directors concludes that the
         institution would not have been selected for such telecast but for the participation of such ineligible student-athlete
         during the season of the telecast; any such funds thus remitted shall be devoted to the NCAA postgraduate scholarship
         program; and
     (i) Require that the institution that has been represented in an NCAA championship by such a student-athlete shall be
         assessed a financial penalty as determined by the Committee on Infractions.
12.12 Restoration of Eligibility.
12.12.1 Basis for Appeal. When a student-athlete is determined to be ineligible under any applicable provision of the
constitution, bylaws or other regulations of the Association, the member institution, having applied the applicable rule and
having withheld the student-athlete from all intercollegiate competition, may appeal to the Committee on Student-Athlete
Reinstatement for restoration of the student's eligibility, provided the institution concludes that the circumstances warrant
restoration of eligibility.
12.12.2 Participation in Appeal Hearing. Any appeal to restore a student-athlete's eligibility shall be submitted in the
name of the institution by the president or chancellor (or an individual designated by the president or chancellor), faculty
athletics representative, senior woman administrator or athletics director (for the men's or women's program). At least one of
those individuals must participate in any hearing of the appeal that involves direct participation by the student-athlete or other
individuals representing the institution or the student. (Revised: 1/11/94, 3/8/06, 7/31/14)
12.12.3 Student Responsibility, Relationship to Restoration of Eligibility. A student-athlete is responsible for
the student-athlete's involvement in a violation of NCAA regulations (as defined in Bylaw 19), and the Committee on Student-
Athlete Reinstatement may restore the eligibility of a student involved in any violation only when circumstances clearly warrant
restoration. The eligibility of a student-athlete involved in a major violation shall not be restored other than through an
exception authorized by the Committee on Student-Athlete Reinstatement in a unique case on the basis of specifically stated
reasons.




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                                                        FIGURE 12-1
                                                 Hardship Waiver Criteria
                               For injuries and illnesses occurring on or after August 1, 2022

Use the figure below to identify the values for first half and 30 percent of the season for the applicable sport. Then apply
the values to the institution's completed schedule for the playing season that concludes with the NCAA championship1 as
follows:

1.       When counting on the schedule to identify the first contest in the second half of the season, exclude the following:
         a.        Preseason exhibition contests and preseason practice scrimmages that do not count toward use of a season
                   of competition per Bylaw 12.8.3.1.4; and
         b.        Bylaw 17 annual exemptions (e.g., alumni game, foreign team in the United States) except for the
                   conference championship and other postseason competition which must be counted.

2.       When counting the number of contests or dates of competition in which the student-athlete has participated, exclude
         the following:
         a.        Preseason exhibition contests and preseason practice scrimmages that do not count toward use of a season
                   of competition per Bylaw 12.8.3.1.4; and
         b.        Bylaw 17 annual exemptions (e.g., alumni game, foreign team in the United States) except for the
                   conference championship and other postseason competition which must be counted.

3.       Please note, an individual who engages in outside competition during the second half of the playing season that
         concludes with the NCAA championship, including competition while not representing the institution (e.g.,
         unattached), does not qualify for a hardship waiver per Bylaw 12.8.4.2.7.

                                                         30 Percent
 Sport                          Denominator2                                          First Half of Playing Season
                                                      of Denominator
 Acrobatics and Tumbling              13                     4            Before the start of the 8th date of competition
 Baseball                             57                    18            Before the start of the 30th contest
 Basketball                   No QRSMTE = 30         No QRSMTE = 9        No QRSMTE = Before the start of the 16th contest
                              With QRSMTE = 32      With QRSMTE = 10      With QRSMTE = Before the start of the 17th contest
 Beach Volleyball                    17                     6             Before the start of the 10th date of competition
 Bowling, Women’s                     33                    10            Before the start of the 18th date of competition
 Cross Country                         8                     3            Before the start of the 5th date of competition
 Equestrian, Women’s                  16                     5            Before the start of the 9th date of competition
 Fencing                              12                     4            Before the start of the 7th date of competition
 Field Hockey                         21                     7            Before the start of the 12th contest
 Football -- FBS 3                    13                     4            Before the start of the 8th contest
 Football -- FCS 3,4               12 or 13                  4            Before the start of the 7th or 8th contest
 Golf                                 25                     8            Before the start of the 14th date of competition
 Gymnastics                           14                     5            Before the start of the 8th date of competition
 Ice Hockey                           35                    11            Before the start of the 19th contest
 Lacrosse, Men’s                      18                     6            Before the start of the 10th date of competition
 Lacrosse, Women’s                    18                     6            Before the start of the 10th contest
 Rifle                                14                     5            Before the start of the 8th date of competition
 Rowing, Women’s                      21                     7            Before the start of the 12th contest


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    Rugby, Women’s                      17                        6              Before the start of the 10th contest
    Skiing
       Alpine                           33                       10              Before the start of the 18th date of competition
       Nordic                           33                       10              Before the start of the 18th date of competition
    Soccer                              21                       7               Before the start of the 12th contest
    Softball                            57                       18              Before the start of the 30th contest
    Swimming and Diving                 21                        7              Before the start of the 12th date of competition
    Tennis                              26                        8              Before the start of the 14th date of competition
    Track and Field            Completed dates of            Will vary5          Based on the institution’s completed dates of
    (Indoor/Outdoor)             competition5                                    competition.5
    Track and Field                   19                          6              Before the start of the 11th date of competition
    (Indoor Only)
    Track and Field                     19                        6              Before the start of the 11th date of competition
    (Outdoor Only)
    Triathlon, Women’s                   7                        3              Before the start of the 5th date of competition
    Volleyball                          29                        9              Before the start of the 16th date of competition
    Water Polo                          22                        7              Before the start of the 13th contest
    Wrestling                           17                        6              Before the start of the 10th date of competition
1
  Nonchampionship segment competition is not considered for purposes of hardship waiver eligibility.
2
  Bylaw 17 maximum for the sport plus one pursuant to Bylaw 12.8.4.2.3.
3
  A Division I football student-athlete may compete in up to four contests without using a season of competition.
4
  See Bylaw 17.11.6.1 to determine appropriate standard denominator based on application of maximum limitations legislation.
5
  See Bylaw 12.8.4.2.3.1 for additional information regarding the first half and 30 percent of season calculations for indoor and outdoor
track and field.




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BYLAWS, ARTICLE 13

Recruiting
13.01 General Principles.
13.01.1 Eligibility Effects of Recruiting Violation. The recruitment of a student-athlete by a member institution or
any representative of its athletics interests in violation of the Association's legislation, as acknowledged by the institution or
established through the Association's infractions process, shall result in the student-athlete becoming ineligible to represent that
institution in intercollegiate athletics. The Committee on Student-Athlete Reinstatement may restore the eligibility of a student
involved in such a violation only when circumstances clearly warrant restoration. A student is responsible for the student's
involvement in a violation of NCAA regulations during the student's recruitment, and involvement in a Level I or Level II
violation (see Bylaws 19.1.2 and 19.1.3) may cause the student to become permanently ineligible for intercollegiate athletics
competition at that institution. (Revised: 7/31/14)
13.01.2 Institutional Responsibility in Recruitment. A member of an institution's athletics staff or a representative of
its athletics interests shall not recruit a prospective student-athlete except as permitted by this Association, the institution and the
member conference, if any.
13.01.3 Additional Recruiting Restrictions. The Committee on Academics shall have the authority to determine the
circumstances that would require an institution or team that fails to satisfy the academic performance program to apply
additional recruiting restrictions. The Committee on Academics shall establish and annually publish to the membership such
circumstances under which the additional restrictions apply (see Bylaw 14.8). (Adopted: 4/29/04 effective 8/1/04, Revised: 8/7/14)
13.02 Definitions and Applications.
13.02.1 Business Day. A business day is any weekday that is not recognized as a national holiday, including any weekday
during which an institution is closed for other reasons (e.g., holiday break). (Adopted: 4/29/10 effective 8/1/10)
13.02.2 Camps.
    13.02.2.1 Diversified Sports Camp. A diversified sports camp is a camp that offers a balanced camping experience,
    including participation in seasonal summer sports and recreational activities, without emphasis on instruction, practice or
    competition in any particular sport.
    13.02.2.2 Specialized Sports Camp. A specialized sports camp is a camp that places special emphasis on a particular
    sport or sports and provides specialized instruction.
13.02.3 Competition Site. The "competition site" is the facility in which athletics competition is actually conducted,
including any dressing room or meeting facility used in conjunction with the competition.
13.02.4 Contact. A contact is any face-to-face encounter between a prospective student-athlete or the prospective student-
athlete's family members and an institutional staff member or athletics representative during which any dialogue occurs in excess
of an exchange of a greeting. Any such face-to-face encounter that is prearranged (e.g., staff member takes a position in a
location where contact is possible) or that takes place on the grounds of the prospective student-athlete's educational institution
or at the site of organized competition or practice involving the prospective student-athlete or the prospective student-athlete's
high school, preparatory school, two-year college or all-star team shall be considered a contact, regardless of whether any
conversation occurs. However, an institutional staff member or athletics representative who is approached by a prospective
student-athlete or the prospective student-athlete's family members at any location shall not use a contact, provided the
encounter was not prearranged and the staff member or athletics representative does not engage in any dialogue in excess of a
greeting and takes appropriate steps to immediately terminate the encounter. (Revised: 1/11/94 effective 8/1/94, 4/25/18)
13.02.5 Periods of Recruiting Activities.
    13.02.5.1 Contact Period. A contact period is a period of time when it is permissible for authorized athletics department
    staff members to make in-person, off-campus recruiting contacts and evaluations.
    13.02.5.2 Evaluation Period. An evaluation period is a period of time when it is permissible for authorized athletics
    department staff members to be involved in off-campus activities designed to assess the academic qualifications and playing
    ability of prospective student-athletes. No in-person, off-campus recruiting contacts shall be made with the prospective
    student-athlete during an evaluation period. [D] (Revised: 10/30/14)




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    13.02.5.3 Recruiting Period -- Men's Basketball. In men's basketball, a recruiting period is a period of time when it
    is permissible for authorized athletics department staff members to make in-person, off-campus recruiting contacts and
    evaluations. (Adopted: 10/27/11 effective 8/1/12)
    13.02.5.4 Quiet Period. A quiet period is a period of time when it is permissible to make in-person recruiting contacts
    only on the institution's campus. No in-person, off-campus recruiting contacts or evaluations may be made during the quiet
    period. [D] (Revised: 10/30/14)
         13.02.5.4.1 Exception -- Women's Volleyball. In women's volleyball, an institutional coaching staff member
         may have incidental contact with a two-year college prospective student-athlete who is attending and being honored at
         the annual American Volleyball Coaches Association (AVCA) awards banquet, provided no recruiting conversation
         occurs. [D] (Adopted: 7/27/21)
    13.02.5.5 Dead Period. A dead period is a period of time when it is not permissible to make in-person recruiting
    contacts or evaluations on or off the institution's campus or to permit official or unofficial visits by prospective student-
    athletes to the institution's campus. It remains permissible, however, for an institutional staff member to communicate with
    (other than in person) a prospective student-athlete during a dead period. [D] (Revised: 1/11/94, 12/6/13, 10/30/14)
         13.02.5.5.1 Exception -- After Commitment. Except for the application of Bylaw 13.02.5.5.1.1, a prospective
         student-athlete is no longer subject to the application of a dead period after one of the following events occurs:
         (Adopted: 1/16/10 effective 8/1/10, Revised: 1/15/11 effective 8/1/11, 1/19/13 effective 8/1/13, 11/25/13, 4/6/16, 4/28/16
         effective 8/1/16, 7/9/18)
          (a) The prospective student-athlete signs a National Letter of Intent (NLI) or the institution's written offer of
              admission and/or financial aid; or
          (b) The institution receives a financial deposit in response to the institution's offer of admission.
         In basketball and football, for institutions that subscribe to the National Letter of Intent program, this exception does
         not apply to an individual who only signs an institution's written offer of admission and/or financial aid prior to the
         initial regular (as opposed to early) signing date of the National Letter of Intent program in the applicable sport. In
         sports other than basketball and football, for institutions that subscribe to the National Letter of Intent program, this
         exception does not apply to an individual who only signs an institution's written offer of admission prior to the initial
         signing date of the National Letter of Intent program in applicable sport.
              13.02.5.5.1.1 December and January Dead Period -- Bowl Subdivision Football. [FBS] In bowl
              subdivision football, it is not permissible for an institution to make an in-person, on- or off-campus contact with a
              prospective student-athlete during the December and January dead period, even if the prospective student-athlete
              has signed the institution's written offer of admission and/or financial aid or the institution has received the
              prospective student-athlete's financial deposit in response to its offer of admission. However, it is permissible for
              the institution to make such contact with a prospective student-athlete who has signed a National Letter of Intent
              with the institution or has arrived in the locale of the institution for initial full-time enrollment. (Adopted: 4/6/16,
              Revised: 6/12/19)
    13.02.5.6 Recruiting Shutdown. A recruiting shutdown is a period of time when no form of recruiting (e.g., contacts,
    evaluations, official or unofficial visits, correspondence or making or receiving telephone calls) is permissible. (Adopted:
    4/25/18)
13.02.6 Enrolled Student-Athlete. An enrolled student-athlete is an individual whose enrollment was solicited by a
member of the athletics staff or other representative of athletics interests with a view toward the student’s ultimate participation
in the intercollegiate athletics program. Any other student becomes a student-athlete only when the student reports for an
intercollegiate squad that is under the jurisdiction of the athletics department.
13.02.7 Evaluation. Evaluation is any off-campus activity designed to assess the academic qualifications or athletics ability of
a prospective student-athlete, including any visit to a prospective student-athlete's educational institution (during which no
contact occurs) or the observation of a prospective student-athlete participating in any practice or competition at any site.
(Revised: 1/10/91 effective 8/1/91, 1/11/94 effective 8/1/94)
    13.02.7.1 Evaluation Days -- Football, Men's Golf, Women's Volleyball and Women's Beach Volleyball. An
    evaluation day is defined as one coach engaged in the evaluation of any prospective student-athlete on one day (12:01 a.m.
    to midnight). Two coaches making evaluations on the same day shall use two evaluation days. See Bylaws 13.1.7.4.1,
    13.1.7.9, 13.1.7.10 and 13.1.7.12. (Adopted: 1/9/96 effective 8/1/96, Revised: 1/12/99 effective 8/1/99, 4/27/00 effective
    8/1/01, 4/25/02 effective 8/1/02, 4/28/05 effective 8/1/05, 1/14/08 effective 8/1/08, 4/14/08, 1/16/10 effective 8/1/10, 1/15/11
    effective 8/1/11, 4/26/17 effective 8/1/17, 4/25/18 effective 8/1/18)

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13.02.8 Family Member. A family member is an individual with any of the following relationships to the prospective
student-athlete: spouse, parent or legal guardian, child, sibling, grandparent, domestic partner or any individual whose close
association with the prospective student-athlete is the practical equivalent of a family relationship. (Adopted: 1/15/16 effective
8/1/16, Revised: 4/25/18)
13.02.9 Recruiting-Person Days -- Men's Basketball. In men's basketball, a recruiting-person day is defined as one
coach engaged in an off-campus recruiting activity of a men's basketball prospective student-athlete on one day (12:01 a.m. to
midnight); two coaches engaged in recruiting activities on the same day shall use two recruiting-person days. Men's basketball
staff members shall not exceed 100 recruiting-person days September 1 through May 31. (Adopted: 4/28/05 effective 8/1/05,
Revised: 3/28/07, 5/9/08, 4/26/17, 8/8/18 effective 4/1/19, 1/20/22 effective 8/1/22)
    13.02.9.1 Exception -- After Commitment. Recruiting activity involving only a prospective student-athlete who has
    signed a National Letter of Intent or the institution’s written offer of admission and/or financial aid or for whom the
    institution has received a financial deposit in response to its offer of admission shall not be counted as a recruiting-person
    day. (Adopted: 4/26/17)
    13.02.9.2 Tournament Application. Each day of a tournament or tier of a tournament in which a coach engages in
    off-campus evaluation activity shall count as a separate recruiting-person day. (Adopted: 12/12/06)
13.02.10 Recruiting-Person Days -- Women's Basketball. In women's basketball, a recruiting-person day is defined
as one coach engaged in an off-campus recruiting activity of a women's basketball prospective student-athlete on one day (12:01
a.m. to midnight); two coaches engaged in recruiting activities on the same day shall use two recruiting-person days. Women's
basketball staff members shall not exceed 65 recruiting-person days each year (measured August 1 through July 31). (Adopted:
4/28/05 effective 8/1/05, Revised: 1/8/07 effective 8/1/07, 3/27/07, 5/9/08, 1/19/13 effective 8/1/13, 4/26/17, 1/20/22 effective
8/1/22)
    13.02.10.1 Exceptions. (Adopted: 4/26/17, Revised: 1/20/22 effective 8/1/22)
     (a) Recruiting activity involving only a prospective student-athlete who has signed a National Letter of Intent or the
         institution’s written offer of admission and/or financial aid or from whom the institution has received a financial
         deposit in response to its offer of admission does not count toward the recruiting-person day limitation.
     (b) A coach’s involvement in off-campus recruiting activities during the April, May, June and July evaluation periods does
         not count toward the 65 recruiting-person day limitation.
     (c) A coach's involvement in international evaluation activities during 10 calendar days in June, July and August.
    13.02.10.2 Tournament Application. Each day of a tournament or tier of a tournament in which a coach engages in
    off-campus evaluation activity shall count as a separate recruiting person day. (Adopted: 12/12/06)
13.02.11 Recruiting-Person Days -- Football. [FBS/FCS] In football, a recruiting-person day is defined as one coach
engaged in an off-campus recruiting activity of a football prospective student-athlete on one day (12:01 a.m. to midnight); two
coaches engaged in recruiting activities on the same day shall use two recruiting-person days. Football staff members shall not
exceed 140 (180 for U.S. service academies) recruiting-person days during the spring contact period. (Adopted: 4/13/23 effective
8/1/23)
    13.02.11.1 Exception -- After Commitment. [FBS/FCS] Recruiting activity involving only a prospective student-
    athlete who has signed a National Letter of Intent or the institution’s written offer of admission and/or financial aid or for
    whom the institution has received a financial deposit in response to its offer of admission shall not be counted as a
    recruiting-person day. (Adopted: 4/13/23 effective 8/1/23)
13.02.12 Home. In general, a prospective student-athlete's "home" is the prospective student-athlete's legal residence, or the
community of the educational institution in which the prospective student-athlete is enrolled while residing there.
13.02.13 National Letter of Intent. The National Letter of Intent referred to in this bylaw is the official document
administered by the Collegiate Commissioners Association and used by subscribing member institutions to establish the
commitment of a prospective student-athlete to attend a particular institution.
13.02.14 Prospective Student-Athlete. A prospective student-athlete is a student who has started classes for the ninth
grade. In addition, a student who has not started classes for the ninth grade becomes a prospective student-athlete if the
institution provides such an individual (or the individual's family members or friends) any financial assistance or other benefits
that the institution does not provide to prospective students generally. An individual remains a prospective student-athlete until:
(Revised: 1/11/89, 1/10/90, 4/28/05, 1/17/09, 1/19/13 effective 8/1/13, 4/25/18, 1/23/19, 5/18/22, 4/13/23, 5/17/23)
 (a) The individual signs a National Letter of Intent or the institution’s written offer of admission and/or financial aid or the
     institution receives the individual’s financial deposit in response to its offer of admission, completes all high school

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    graduation requirements or all transfer academic eligibility requirements and receives benefits or expenses from the
    institution that may be provided to a student-athlete (see Bylaw 16);
(b) The individual participates in summer athletic activities, or regular squad practice or competition that occurs before the
    beginning of any term at the institution;
(c) The individual enrolls in and attends classes during the institution's summer term before initial full-time enrollment or
    enrolls in a minimum full-time program of studies and attends classes in a regular term at the institution; or
(d) The individual reports to an institutional orientation session that is open to all incoming students within 14 calendar days
    prior to the opening day of classes of a regular academic year term.
    13.02.14.1 Reversion to Prospective-Student-Athlete Status. An individual who becomes a student-athlete per
    Bylaw 13.02.14-(a) and does not attend class while enrolled in a minimum full-time program of studies during the first
    regular academic term becomes a prospective student-athlete until: (Adopted: 5/18/22, Revised: 4/13/23, 5/17/23)
     (a) The individual participates in required summer athletic activities, regular squad practice or competition that occurs
         before the beginning of any term at the institution;
     (b) The individual enrolls in and attends classes during the institution's summer term before initial full-time enrollment or
         enrolls in a minimum full-time program of studies and attends classes in a regular term at the institution; or
     (c) The individual reports to an institutional orientation session that is open to all incoming students within 14 calendar
         days prior to the opening day of classes of a regular academic year term.
    13.02.14.2 Exception -- After Commitment. After an individual has signed a National Letter of Intent or the
    institution's written offer of admission and/or financial aid or after the institution has received the individual's financial
    deposit in response to its offer of admission, the individual shall no longer be subject to the restrictions of Bylaw 13.1. The
    individual remains a prospective student-athlete for purposes of applying the remaining provisions of Bylaw 13 and other
    bylaws. In basketball and football, for institutions that subscribe to the National Letter of Intent program, this exception
    does not apply to an individual who only signs an institution's written offer of admission and/or financial aid prior to the
    initial regular (as opposed to early) signing date of the National Letter of Intent program in the applicable sport. In sports
    other than basketball and football, for institutions that subscribe to the National Letter of Intent program, this exception
    does not apply to an individual who only signs an institution's written offer of admission prior to the initial signing date of
    the National Letter of Intent program in the applicable sport. (Adopted: 4/28/05, Revised: 1/19/13 effective 8/1/13, 4/28/16
    effective 8/1/16, 7/9/18)
13.02.15 Recruiting. Recruiting is any solicitation of a prospective student-athlete or a prospective student-athlete's
family members by an institutional staff member or by a representative of the institution's athletics interests for the purpose of
securing the prospective student-athlete's enrollment and ultimate participation in the institution's intercollegiate athletics
program. (Revised: 4/25/18)
    13.02.15.1 Recruited Prospective Student-Athlete. Actions by staff members or athletics representatives that cause
    a prospective student-athlete to become a recruited prospective student-athlete at that institution are: (Revised: 1/10/90,
    1/11/94 effective 8/1/94, 1/10/05 effective 8/1/05, 12/13/05, 4/26/17 effective 8/1/17, 4/25/18)
     (a) Providing the prospective student-athlete with an official visit;
     (b) Having an arranged, in-person, off-campus encounter with the prospective student-athlete or the prospective student-
         athlete's family members; or
     (c) Issuing a National Letter of Intent or the institution's written offer of athletically related financial aid to the prospective
         student-athlete. Issuing a written offer of athletically related financial aid to a prospective student-athlete to attend a
         summer session prior to full-time enrollment does not cause the prospective student-athlete to become recruited.
13.02.16 Representative of Athletics Interests. A "representative of the institution's athletics interests" is an
individual, independent agency, corporate entity (e.g., apparel or equipment manufacturer) or other organization who is known
(or who should have been known) by a member of the institution's executive or athletics administration to: (Revised: 2/16/00,
4/25/18)
 (a) Have participated in or to be a member of an agency or organization promoting the institution's intercollegiate athletics
     program;
 (b) Have made financial contributions to the athletics department or to an athletics booster organization of that institution;
 (c) Be assisting or to have been requested (by the athletics department staff) to assist in the recruitment of prospective student-
     athletes;
 (d) Be assisting or to have assisted in providing benefits to enrolled student-athletes or their family members; or
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(e) Have been involved otherwise in promoting the institution's athletics program.
    13.02.16.1 Duration of Status. Once an individual, independent agency, corporate entity or other organization is
    identified as such a representative, the person, independent agency, corporate entity or other organization retains that
    identity indefinitely. (Revised: 2/16/00)
13.02.17 Significant Other. A significant other is a spouse, fiancé or fiancée, domestic partner, or any individual whose
relationship to an identified individual (e.g., prospective student-athlete, coach, student-athlete) is the practical equivalent of a
spouse. (Adopted: 4/25/18)
13.02.18 Telephone Calls. All electronically transmitted human voice exchange (including videoconferencing and
videophones) shall be considered telephone calls. (Adopted: 1/10/95, Revised: 1/9/96 effective 8/1/96, 1/14/97, 4/27/00 effective
8/1/00, 9/6/00, 4/29/04 effective 8/1/04, 4/26/07 effective 8/1/07)
13.02.19 Visits by Prospective Student-Athletes.
    13.02.19.1 Official Visit. An official visit to a member institution by a prospective student-athlete is a visit financed in
    whole or in part by the member institution.
    13.02.19.2 Unofficial Visit. An unofficial visit to a member institution by a prospective student-athlete is a visit made at
    the prospective student-athlete's own expense. The provision of any expenses or entertainment valued at more than $100 by
    the institution or representatives of its athletics interests shall require the visit to become an official visit, except as permitted
    in Bylaws 13.5 and 13.7. (Revised: 2/22/07, 5/9/08)
13.02.20 Individual Associated with a Prospective Student-Athlete -- Basketball. In basketball, an individual
associated with a prospective student-athlete is any person who maintains (or directs others to maintain) contact with the
prospective student-athlete, the prospective student-athlete's family members, or coaches at any point during the prospective
student-athlete's participation in basketball, and whose contact is directly or indirectly related to either the prospective student-
athlete's athletic skills and abilities or the prospective student-athlete's recruitment by or enrollment in an NCAA institution.
This definition includes, but is not limited to family members, handlers, personal trainers and coaches. This definition does not
include an individual who maintained (or directed others to maintain) contact with the prospective student-athlete, the
prospective student-athlete's relatives or legal guardians, or coaches only while employed in the athletics department at a four-
year institution. An individual who meets this definition retains such status during the enrollment of the prospective student-
athlete at the institution. (Adopted: 8/26/10, Revised: 4/26/17 effective 8/1/17, 4/25/18, 3/3/21)
13.02.21 Individual Associated with a Prospective Student-Athlete -- Bowl Subdivision Football. [FBS] In
bowl subdivision football, an individual associated with a prospective student-athlete is any person who maintains (or directs
others to maintain) contact with the prospective student-athlete, the prospective student-athlete's family members, or coaches at
any point during the prospective student-athlete's participation in football, and whose contact is directly or indirectly related to
either the prospective student-athlete's athletic skills and abilities or the prospective student-athlete's recruitment by or
enrollment in an NCAA institution. This definition includes, but is not limited to, family members, handlers, personal trainers
and coaches. This definition does not include an individual who maintained (or directed others to maintain) contact with the
prospective student-athlete, the prospective student-athlete's relatives or legal guardians, or coaches only while employed in the
athletics department at a four-year institution. An individual who meets this definition retains such status during the enrollment
of the prospective student-athlete at the institution. (Adopted: 4/26/17, Revised: 4/25/18, 3/3/21)
13.1 Contacts and Evaluations. Recruiting contacts (per Bylaw 13.02.4) and telephone calls by institutional
staff members or representatives of the institution's athletics interests are subject to the provisions set forth in this bylaw. [D]
(Revised: 1/10/91 effective 7/1/91, 6/13/08, 10/30/14)
13.1.1 Contactable Individuals.
    13.1.1.1 Time Period for Off-Campus Contacts -- General Rule. Off-campus recruiting contacts shall not be made
    with an individual (or the individual's family members) before August 1 at the beginning of the individual's junior year in
    high school. U.S. service academy exceptions to this provision are set forth in Bylaw 13.16.1. [D] (Revised: 1/10/91 effective
    7/1/91, 1/11/94 effective 3/15/94, 1/10/95, 1/14/97 effective 5/1/97, 10/28/97, 4/26/01 effective 8/1/01, 4/29/04 effective
    8/1/04, 4/28/05, 1/9/06, 2/26/07, 6/13/08, 4/30/09, 1/15/11, 10/30/14, 4/25/18, 5/1/19)
         13.1.1.1.1 Exception -- Baseball and Softball. In baseball and softball, off-campus recruiting contacts shall not
         be made with an individual (or the individual's family members) before September 1 at the beginning of the
         individual's junior year in high school. [D] (Adopted: 4/18/18 effective 4/25/18, Revised: 4/26/23)
         13.1.1.1.2 Exception -- Men's Basketball. In men's basketball, off-campus recruiting contacts shall not be made
         with an individual (or the individual's family members) before the opening day of the individual's junior year in high
         school. Contacts that occur during a prospective student-athlete's junior year during recruiting periods other than the
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         April recruiting periods may occur only at the prospective student-athlete's educational institution. During the April
         recruiting periods (including days of such a period in May) of a prospective student-athlete's junior year, contacts may
         occur at either the prospective student-athlete's educational institution or residence. [D] (Adopted: 10/27/11 effective
         8/1/12, Revised: 10/30/14, 4/25/18, 8/8/18 effective 4/1/19, 5/7/19)
         13.1.1.1.3 Exception -- Women's Basketball. In women’s basketball, off-campus recruiting contacts shall not be
         made with an individual (or the individual's family members) before September 1 at the beginning of the individual's
         senior year in high school. Contacts may occur only at the prospective student-athlete’s educational institution or
         residence. [D] (Adopted: 4/26/17 effective 8/1/17, Revised: 4/25/18, 1/22/20, 1/20/22 effective 8/1/22)
         13.1.1.1.4 Exception -- Football. [FBS/FCS] In football, off-campus recruiting contacts shall not be made with an
         individual (or the individual's family members) before January 1 of the individual's junior year in high school.
         Contacts that occur during a prospective student-athlete's junior year may occur only at the prospective student-
         athlete's educational institution. [D] (Revised: 5/1/19, 4/13/23 effective 8/1/23)
         13.1.1.1.5 Exception -- Lacrosse. In lacrosse, off-campus recruiting contacts shall not be made with an individual
         (or the individual's family members) before September 1 at the beginning of the individual's junior year in high school.
         Contacts that occur during a prospective student-athlete's junior year may occur only at the prospective student-
         athlete's educational institution or residence. [D] (Adopted: 1/19/13 effective 8/1/13, Revised: 10/30/14, 4/14/17, 4/26/17
         effective 8/1/17, 4/25/18, 5/1/19)
   13.1.1.2 Two-Year College Prospective Student-Athletes -- First Year of Enrollment -- Not a Qualifier. A
   prospective student-athlete who was not a qualifier as defined in Bylaw 14.02.10.1 and who is in the first year of full-time
   enrollment (first two semesters or three quarters) at a two-year college may not be contacted in person on an institution's
   campus for recruiting purposes. Off-campus contact with such a prospective student-athlete may only occur at the
   prospective student-athlete's educational institution. [D] (Revised: 10/30/14, 4/16/15, 5/1/19)
   13.1.1.3 Four-Year College Prospective Student-Athletes. An athletics staff member or other representative of the
   institution's athletics interests shall not communicate or make contact with the student-athlete of another NCAA Division I
   institution, or any individual associated with the student-athlete (e.g., family member scholastic or nonscholastic coach,
   advisor), directly or indirectly, without first obtaining authorization through the notification of transfer process. Before
   making contact, directly or indirectly, with a student-athlete of an NCAA Division II or Division III institution, or an
   NAIA four-year collegiate institution, an athletics staff member or other representative of the institution's athletics interests
   shall comply with the rule of the applicable division or the NAIA rule for making contact with a student-athlete. [See Bylaw
   19.1.3-(f).] (Revised: 1/10/91, 1/16/93, 1/11/94, 4/26/01, 4/29/04 effective 8/1/04, 4/29/10 effective 8/1/10, 10/30/14, 8/8/18
   effective 10/15/18, 4/28/21 applicable to transfer student-athletes seeking eligibility during the 2021-22 academic year)
         13.1.1.3.1 Notification of Transfer -- Undergraduate Student-Athletes. A student-athlete may initiate the
         notification of transfer process by providing the student-athlete's institution with a written notification of transfer and
         completing an educational module related to transferring. Notification of transfer must be initiated during a period
         specified for the applicable sport (see also Figure 13-1) or after the final period for the sport concludes and before
         August 1 of the next academic year. If notification of transfer is provided during a specified period or after the final
         period for the sport concludes and before August 1, the student-athlete's institution shall enter the student-athlete's
         information into the national transfer database within two business days of receipt of a written notification of transfer
         from the student-athlete or receipt of confirmation of the student-athlete's completion of the educational module,
         whichever occurs later. A student-athlete who initiates notification of transfer after the final period for their sport
         concludes and before August 1 of the next academic year is not eligible to use the one-time transfer exception unless an
         exception applies [see Bylaw 14.5.5.2.10-(d)]. [D] (Adopted: 8/8/18 effective 10/15/18, Revised: 4/28/21 applicable to
         transfer student-athletes seeking eligibility during the 2021-22 academic year, 8/31/22 applicable to transfer student-athletes
         seeking eligibility during the 2023-24 academic year and thereafter, 9/21/22, 10/5/22, 2/2/23 effective 2/27/23)
         (a) In fall sports, the student must provide written notification of transfer during:
              (1) A 45 consecutive-day period beginning the day after championship selections are made in the sport; or
                   (i) Exception -- Participants in FCS Championship Game. Student-athletes who are members of the
                       two teams that qualify for NCAA Division I Football Championship game may provide written
                       notification of transfer during a 14 consecutive-day period beginning the day after the championship
                       game.
                   (ii) Exception -- Participants in the College Football Playoff Championship Game. Student-
                        athletes who are members of the two teams that qualify for College Football Playoff Championship game


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                       may provide written notification of transfer during a period that extends 14 consecutive days beginning
                       the day after the championship game.
              (2) May 1-15.
                   (i) Exception -- Football. In football, the student must provide written notification of transfer April
                       15-30.
         (b) In winter sports, a student must provide written notification of transfer during a 60 consecutive-day period
             beginning the day after championship selections are made in the sport.
         (c) In spring sports, the student must provide written notification of transfer during:
              (1) December 1-15; or
              (2) A 45 consecutive-day period beginning the day after championship selections are made in the sport.
         (d) In emerging sports for women, the student must provide written notification of transfer during the applicable
             period (45 consecutive-day period or May 1-15 for fall sports or 60 consecutive-day period for winter and spring
             sports) beginning the day after selections are made for a recognized national intercollegiate championship event in
             the sport.
             13.1.1.3.1.1 Exceptions.
                  13.1.1.3.1.1.1 Head Coach Departure or Athletics Aid Reduction, Cancellation or Nonrenewal.
                  A student-athlete may initiate notification of transfer during a 30 consecutive-day period beginning the day
                  after either of the following occurs: (Adopted: 8/31/22 applicable to transfer student-athletes seeking eligibility
                  during the 2023-24 academic year and thereafter)
                   (a) The head coach of the student-athlete's team departs or announces departure from the institution; or
                   (b) The student-athlete's athletics aid is reduced, canceled or not renewed (except as permitted per Bylaw
                       15.3.4.2 or Bylaw 15.3.5.1).
                  13.1.1.3.1.1.2 Four-Year College Transfer Exceptions Other Than One-Time Transfer
                  Exception. A student-athlete who will fulfill the conditions of an exception for a transfer from a four-year
                  college set forth in Bylaw 14.5.5.2 other than the one-time transfer exception (see Bylaw 14.5.5.2.10) may
                  initiate the notification of transfer process at any time by providing the student-athlete's institution with a
                  written notification of transfer and completing an educational module related to transferring. (Adopted:
                  1/11/23)
         13.1.1.3.2 Notification of Transfer -- Postgraduate Student-Athletes. A student-athlete who will participate
         as a postgraduate student at another institution during the next academic year or regular term may initiate the
         notification of transfer process at any time by providing the student-athlete's institution with a written notification of
         transfer and completing an educational module related to transferring. The student-athlete's institution shall enter the
         student-athlete's information into the national transfer database within two business days of receipt of a written
         notification of transfer from the student-athlete or receipt of confirmation of the student-athlete's completion of the
         educational module, whichever occurs later. (Adopted: 9/21/22)
         13.1.1.3.3 Written Policies. An institution shall have written policies related to the implications of a student-
         athlete providing written notification of transfer, including a description of services and benefits (e.g., academic
         support services, access to athletics facilities) that will or will not be provided to a student-athlete upon receipt of
         notification. Such policies shall be published and generally available to student-athletes (e.g., student-athlete handbook,
         institution's website). (Adopted: 4/28/16 effective 8/1/16, Revised: 8/8/18 effective 10/15/18)
         13.1.1.3.4 Student-Athlete Withdrawn From Four-Year College. An institution may contact a student-
         athlete who has withdrawn officially from a four-year collegiate institution without obtaining authorization through
         the notification of transfer process only if at least one academic year has elapsed since the withdrawal. (Revised: 8/8/18
         effective 10/15/18)
             13.1.1.3.4.1 Exception -- Official Religious Mission. An institution shall not contact a student-athlete who
             has begun service on an official religious mission without obtaining authorization through the notification of
             transfer process if the student-athlete signed a National Letter of Intent (NLI) and attended, as a full-time student,
             the institution with which the NLI was signed. If such a student-athlete has completed the official religious
             mission and does not enroll full time in a collegiate institution within one calendar year of completion of the
             mission, an institution may contact the student-athlete without obtaining authorization through the notification
             of transfer process. [D] (Adopted: 1/17/09 effective 8/1/09, Revised: 4/2/10, 10/30/14, 8/8/18 effective 10/15/18)

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         13.1.1.3.5 Transfer From Institution Placed on Probation by Committee on Infractions. It is not
         necessary for an institution to obtain authorization through the notification of transfer process to recruit a student-
         athlete at an institution that has been placed on probation with sanctions that preclude it from competing in
         postseason competition during the remaining seasons of the student-athlete's eligibility. However, the student-athlete's
         institution must be notified of the recruitment and may establish reasonable restrictions related to the contact (e.g., no
         visits during class time), provided such restrictions do not preclude the opportunity for the student-athlete to discuss
         transfer possibilities with the other institution [see Bylaw 14.7.2-(c)]. [D] (Adopted: 1/10/92, Revised: 1/9/06 effective
         8/1/06, 10/30/14, 8/8/18 effective 8/1/19, 12/20/18, 8/31/22 effective 1/1/23)
         13.1.1.3.6 Transfer From Institution Ineligible for Postseason Competition -- Academic Performance
         Program. On approval by the Committee on Academics, an institution may contact a student-athlete at another
         institution whose team is ineligible for postseason competition during the remaining seasons of the student-athlete's
         eligibility due to sanctions pursuant to the Academic Performance Program, without obtaining authorization through
         the notification of transfer process. The student-athlete's institution must be notified of the recruitment and may
         establish reasonable restrictions related to the contact (e.g., no visits during class time), provided such restrictions do
         not preclude the opportunity for the student-athlete to discuss transfer possibilities with the other institution [see
         Bylaw 14.7.2-(d)]. [D] (Adopted: 1/9/06 effective 8/1/06, Revised: 8/7/14, 10/30/14, 8/8/18 effective 10/15/18)
         13.1.1.3.7 Transfer While Ineligible Due to Positive Drug Test. If a student-athlete who is declared ineligible
         due to a positive drug test administered by the NCAA transfers to another NCAA institution, the institution from
         which the student-athlete transferred must notify the new institution of the student-athlete's ineligibility (see Bylaw
         18.4.1.4.5). [D] (Adopted: 1/14/97 effective 8/1/97, Revised: 10/30/14)
13.1.2 Permissible Recruiters.
   13.1.2.1 General Rule. All in-person, on- and off-campus recruiting contacts with a prospective student-athlete or the
   prospective student-athlete's family members shall be made only by authorized institutional staff members. Such contact, as
   well as correspondence and telephone calls, by representatives of an institution's athletics interests is prohibited except as
   otherwise permitted in this section. [D] (Revised: 8/5/04, 10/30/14, 4/25/18)
   13.1.2.2 General Exceptions. This regulation is not applicable to: (Adopted: 1/11/94, Revised: 1/10/95, 1/11/97, 1/14/97
   effective 8/1/97, 4/26/12, 4/26/17 effective 8/1/17, 4/25/18)
    (a) Admissions Program. Off-campus recruiting contacts made by an institution's regular admissions program
        representative and directed at all prospective students including nonathletes.
    (b) Coach Who Is Prospective Student-Athlete's Family Member. Recruiting contact and evaluation limitations
        do not apply to a coaching staff member who is a family member of a participant in any activity being observed (e.g.,
        practices, contests or camps), provided the attendance by the coaching staff member at such activity does not involve
        any personal contact with any other participating prospective student-athlete.
    (c) Significant Other of Prospective Student-Athlete's Coach. Recruiting contact and evaluation limitations do
        not apply to a coaching staff member observing a contest that involves prospective student-athletes coached by the
        coach's significant other, provided the attendance by the coaching staff member at such a contest does not involve any
        personal contact with any prospective student-athlete participating in the contest.
    (d) Established Family Friend/Neighbor. Contacts made with a prospective student-athlete by an established family
        friend or neighbor, it being understood that such contacts are not made for recruiting purposes and are not initiated by
        a member of an institution's coaching staff.
    (e) Significant Other of Staff Member.
         (1) On Campus. A significant other of an institutional staff member on campus.
         (2) Off Campus During Official Visit. A significant other of an athletics department staff member during a
             prospective student-athlete's official visit and within a 30-mile radius of the institution's main campus during the
             prospective student-athlete's official visit.
    (f) Interpreter. An interpreter present during an institution's in-person, off-campus contact with a prospective student-
         athlete or the prospective student-athlete's family members, provided that if the institution is involved in making the
         arrangements for the use of the interpreter, the interpreter must be a faculty member or a professional interpreter. It is
         not permissible for the interpreter to be an enrolled student-athlete, a family member of an enrolled student-athlete or
         a representative of the institution's athletics interests.
    (g) Unavoidable Incidental Contact. An unavoidable incidental contact made with a prospective student-athlete by
        representatives of the institution's athletics interests, provided the contact is not prearranged by the representative or an
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         athletics department staff member, does not take place on the grounds of the prospective student-athlete's educational
         institution or at the sites of organized competition and practice involving the prospective student-athlete or the
         prospective student-athlete's team (high school, preparatory school, two-year college or all-star team), is not made for
         the purpose of recruitment of the prospective student-athlete, and involves only normal civility.
    (h) Family Members of Enrolled Student-Athletes. On-campus contacts between a prospective student-athlete or
        the prospective student-athlete's family members accompanying the prospective student-athlete and the family
        members of an enrolled student-athlete.
    (i) Former Student-Athletes. On-campus contacts between a former student-athlete and a prospective student-athlete,
        the prospective student-athlete's family members and/or other individuals accompanying the prospective student-
        athlete.
   13.1.2.3 General Restrictions -- Staff Members and Governing Board. The following are additional restrictions
   that apply to an institution's staff members and governing board. [D] (Revised: 4/27/00, Adopted: 1/16/10, 4/13/10, 4/29/10,
   7/31/13, 4/25/18)
    (a) Noncoaching Staff Members with Sport-Specific Responsibilities. A noncoaching staff member with sport-
        specific responsibilities (except a staff member who only performs clerical duties) shall not attend an on- or off-campus
        athletics event in the staff member's sport that involves prospective student-athletes (e.g., high school contest,
        noninstitutional sports camp) unless the staff member is a family member of a participant in the activity. A staff
        member who is a family member of a participant may attend such an event, subject to the following conditions:
         (1) Attendance shall not be for evaluation purposes (the staff member shall not provide information related to the
             performance of a prospective student-athlete back to the institution's coaching staff); and
         (2) The staff member shall not have direct contact with a prospective student-athlete or a prospective student-athlete's
             family members or coach (other than the family member, if applicable) participating in the activity.
    (b) Board of Governors/Regents. Recruiting contacts on or off campus between a member of the institution's board
        of governors (or regents) and a prospective student-athlete are not permissible.
   13.1.2.4 Other Restrictions, Athletics Representatives. The following are additional restrictions that apply to
   athletics representatives: [D] (Revised: 10/30/14)
    (a) Telephone Conversation. An athletics representative of a member institution may speak to a prospective student-
        athlete via the telephone only if the prospective student-athlete initiates the telephone conversation and the call is not
        for recruiting purposes. Under such circumstances, the representative must refer questions about the institution's
        athletics program to the athletics department staff;
    (b) Observing Prospective Student-Athlete's Contest. An athletics representative may view a prospective student-
        athlete's athletics contest on the athletics representative's own initiative, subject to the understanding that the athletics
        representative may not contact the prospective student-athlete on such occasions;
    (c) Evaluation of Prospective Student-Athlete. An athletics representative may not contact a prospective student-
        athlete's coach, principal or counselor in an attempt to evaluate the prospective student-athlete; and
    (d) Visiting Prospective Student-Athlete's Institution. An athletics representative may not visit a prospective
        student-athlete's educational institution to pick up film/videotape or transcripts pertaining to the evaluation of the
        prospective student-athlete's academic eligibility or athletics ability.
   13.1.2.5 Off-Campus Contacts or Evaluations. Only those coaches who are identified by the institution, in
   accordance with Bylaws 11.7.3.2, 11.7.4.2 and 11.7.5, may contact or evaluate prospective student-athletes off campus.
   Institutional staff members (e.g., faculty members) may contact prospective student-athletes for recruiting purposes in all
   sports, on campus, within one mile of campus boundaries during an unofficial visit or within 30 miles of campus during the
   prospective student-athlete's official visit. [D] (Revised: 1/10/91 effective 8/1/92, 8/5/04, 5/26/06, 7/31/13, 4/26/17 effective
   8/1/17)
   13.1.2.6 Head Coach Restrictions -- Football. [FBS/FCS]
         13.1.2.6.1 Assistant Coach Publicly Designated as Institution's Next Head Coach. [FBS] In bowl
         subdivision football, an institution's assistant coach who has been publicly designated by the institution to become its
         next head coach shall be subject to the recruiting restrictions applicable to the institution's head coach. (Adopted:
         1/16/10)
         13.1.2.6.2 Off-Campus Contact. In football, during a prospective student-athlete's junior year of high school, the
         head coach may make in-person, off-campus contact only during one calendar day at the prospective student-athlete's
         educational institution. During a prospective student-athlete's senior year of high school, the head coach may make in-
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         person, off-campus contact only during one calendar day at any location. During such contact, the head coach may be
         accompanied by assistant coaches, who otherwise are required to observe the restrictions contained in the bylaws.
         (Revised: 1/10/92 effective 8/1/92, 8/5/04, 12/15/06, 4/25/18, 4/13/23 effective 8/1/23)
         13.1.2.6.3 Spring Contact Period. In bowl subdivision football, during the spring contact period, the head coach
         (and any assistant coach who has been publicly designated by the institution to become the next head coach) shall not
         engage in off-campus recruiting activities, participate in an off-campus coaching clinic, visit a prospective student-
         athlete's educational institution for any reason, meet with a prospective student-athlete's coach at an off-campus
         location, or attend or speak at a banquet or meeting that is designed to recognize prospective student-athletes (e.g.,
         high school awards banquet, high school all-star banquet). In addition, the head coach (or any assistant coach who has
         been publicly designated by the institution to become the next head coach) shall not make an in-person, off-campus
         contact with a prospective student-athlete during the spring contact period at any location, even if the prospective
         student-athlete has signed a National Letter of Intent or the institution's written offer of admission and/or financial aid
         or the institution has received the prospective student-athlete's financial deposit in response to its offer of admission.
         (Adopted: 1/14/08, Revised: 1/17/09, 10/20/14, 10/30/14, 9/29/15, 4/13/23 effective 8/1/23)
   13.1.2.7 Student-Athletes and Other Enrolled Students. The following conditions apply to recruiting activities
   involving enrolled student-athletes and other enrolled students: [D] (Revised: 8/5/04, 5/29/08, 4/26/12, 6/23/15, 1/18/23
   effective 7/1/23)
    (a) Off-Campus Contacts. Off-campus in-person contact between an enrolled student-athlete (or an enrolled student)
        and a prospective student-athlete is permissible, provided such contact does not occur at the direction of an
        institutional staff member.
    (b) Transportation and Expenses. An institution may not provide an enrolled student-athlete (or enrolled student)
        with transportation or expenses to recruit a prospective student-athlete except for those expenses specified in Bylaw
        13.6.7.6 when the student-athlete serves as a student host.
    (c) Correspondence. It is permissible for an enrolled student-athlete (or enrolled student) to engage in correspondence
        (written or electronic), provided a student-athlete is not required to engage in such correspondence on a student-
        athlete's required day off.
    (d) Telephone Calls. An enrolled student-athlete may participate in telephone calls with a prospective student-athlete
        initiated by an institutional staff member, provided the call does not occur on a student-athlete's required day off. An
        enrolled student-athlete may receive telephone calls made at the expense of a prospective student-athlete prior to the
        date on which an institution may begin placing telephone calls to a prospective student-athlete, provided there is no
        direct or indirect involvement by athletics department staff.
   13.1.2.8 Talent Scout. An institution may not pay any costs incurred by an athletics talent scout or a representative of its
   athletics interests in studying or recruiting prospective student-athletes. An institution may not provide any such person a
   fee or honorarium and thereby claim the person as a staff member entitled to expense money. [D] (Revised: 8/5/04)
         13.1.2.8.1 Employment Prohibition. An institution may not employ an individual for the primary purpose of
         recruiting or evaluating prospective student-athletes and designate the individual as a coach if the individual does not
         reside in the institution's general locale. Such an individual would be considered an athletics talent scout rather than a
         regular institutional staff member. [D] (Revised: 10/30/14)
         13.1.2.8.2 Expense Prohibition. An institution may not pay expenses (other than meals provided in the
         institution's home community) for representatives of its athletics interests to visit its campus for the purpose of
         becoming familiar with the institution's academic and athletics programs and campus facilities in order to represent the
         institution better when recruiting prospective student-athletes. The provision of such expenses would be considered
         payment of costs incurred by athletics talent scouts. [D] (Revised: 10/30/14)
13.1.3 Telephone Calls.
   13.1.3.1 Time Period for Telephone Calls -- General Rule. Telephone calls to an individual (or the individual's
   family members) may not be made before June 15 at the conclusion of the individual's sophomore year in high school
   (subject to the exceptions below). Thereafter, an institution may make telephone calls to the prospective student-athlete at
   its discretion. [D] (Revised: 1/10/91 effective 7/1/91, 1/16/93, 1/9/96 effective 8/1/96, 4/22/98, 4/26/01, 4/29/04 effective
   8/1/04, 4/28/05 effective 8/1/05, 1/9/06, 6/13/08, 1/15/11, 1/18/14 effective 8/1/14, 10/30/14, 4/25/18, 5/1/19)
         13.1.3.1.1 Exception -- Baseball. In baseball, telephone calls to an individual (or the individual's family members)
         may not be made before August 1 at the beginning of the individual's junior year in high school. If an individual
         attends an educational institution that uses a nontraditional academic calendar (e.g., Southern Hemisphere), telephone
         calls to the individual (or the individual's family members) may not be made before the opening day of classes of the
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         individual's junior year of high school. Thereafter, an institution may make telephone calls to the prospective student-
         athlete at its discretion. (Adopted: 4/26/23)
         13.1.3.1.2 Exception -- Lacrosse and Softball. In lacrosse and softball, telephone calls to an individual (or the
         individual's family members) may not be made before September 1 at the beginning of the individual's junior year in
         high school. If an individual attends an educational institution that uses a nontraditional academic calendar (e.g.,
         Southern Hemisphere), telephone calls to the individual (or the individual's family members) may not be made before
         the opening day of classes of the individual's junior year of high school. Thereafter, an institution may make telephone
         calls to the prospective student-athlete at its discretion. [D] (Revised: 5/1/19, 1/20/22, 4/26/23)
         13.1.3.1.3 Exception -- Women's Basketball. In women's basketball, telephone calls to an individual (or the
         individual's family members) may not be made before June 1 at the conclusion of the individual's sophomore year in
         high school. If an individual attends an educational institution that uses a nontraditional academic calendar (e.g.,
         Southern Hemisphere), telephone calls to the individual (or the individual's family members) may not be made before
         the day after the conclusion of the individual’s sophomore year in high school. Thereafter, an institution may make
         telephone calls to the prospective student-athlete at its discretion. [D] (Adopted: 1/20/22)
             13.1.3.1.3.1 Additional Restrictions -- Women's Basketball -- July Evaluation Periods. In women's
             basketball, during the July evaluation periods, all communication with a prospective student-athlete, the
             prospective student-athlete’s family members, the prospective student-athlete's coach or any individual associated
             with the prospective student-athlete as a result of the prospective student-athlete's participation in basketball,
             directly or indirectly, is prohibited. [D] (Revised: 4/28/05 effective 8/1/05, 1/18/14 effective 8/1/14, 10/30/14,
             4/25/18, 5/1/19, 1/20/22)
         13.1.3.1.4 Exception -- Men's Basketball. In men's basketball, telephone calls to an individual (or the
         individual's family members) may not be made before June 15 at the conclusion of the individual's sophomore year in
         high school. If an individual attends an educational institution that uses a nontraditional academic calendar (e.g.,
         Southern Hemisphere), telephone calls to the individual (or the individual's family members) may not be made before
         the day after the conclusion of the individual's sophomore year in high school. Thereafter, an institution may make
         telephone calls to a prospective student-athlete at its discretion. [D] (Adopted: 11/1/01 effective 4/1/02, Revised: 4/29/04
         effective 8/1/04, 4/28/05 effective 8/1/05, 1/9/06, 4/29/10 effective 8/1/10, 10/27/11 effective 6/15/12, 10/30/14, 4/25/18)
         13.1.3.1.5 Exception -- Men's Ice Hockey. In men's ice hockey, an institution is permitted to make telephone
         calls to an individual (or the individual's family members) at its discretion beginning January 1 of the individual's
         sophomore year in high school. [D] (Adopted: 4/26/07, Revised: 1/18/14, 10/30/14, 4/25/18)
         13.1.3.1.6 Exception -- Telephone Calls to a Prospective Student-Athlete's Coach who is the Family
         Member of a Prospective Student-Athlete. Telephone calls may be placed at the institution's discretion to a
         prospective student-athlete's coach who is the family member of a prospective student-athlete. (Adopted: 4/28/16,
         Revised: 4/25/18)
         13.1.3.1.8 Exception -- Official-Visit. Institutional staff members may make telephone calls to a prospective
         student-athlete (or those individuals accompanying the prospective student-athlete) during the five days immediately
         preceding the prospective student-athlete's official visit (per Bylaw 13.6) and during the official visit. (Adopted: 1/10/92,
         Revised: 4/26/01, 12/12/06, 10/30/14, 4/26/17 effective 8/1/17, 1/23/19, 7/15/23, 7/17/23 effective 8/1/23)
         13.1.3.1.9 Exception -- Unofficial-Visit. Institutional staff members may make telephone calls to a prospective
         student-athlete (or those individuals accompanying prospective student-athlete) beginning the day immediately
         preceding the prospective student-athlete's unofficial visit (per Bylaw 13.7) until the conclusion of the visit. (Adopted:
         4/26/17 effective 8/1/17, Revised: 1/23/19, 7/17/23 effective 8/1/23)
         13.1.3.1.10 Exception -- Telephone Calls Regarding Institutional Camp or Clinic Logistical Issues.
         Telephone calls to an individual (or the individual's family members or coach) that relate solely to institutional camp
         or clinic logistical issues (e.g., missing registration information) are not subject to the restrictions on telephone calls,
         provided no recruiting conversation or solicitation of particular individuals to attend a camp or clinic occurs during
         such calls. (Adopted: 9/24/09, Revised: 4/25/18, 7/17/23 effective 8/1/23)
   13.1.3.2 Additional Restrictions.
         13.1.3.2.1 During Conduct of Athletics Contest. Telephone calls to a prospective student-athlete (or the
         prospective student-athlete's family members) may not be made during the conduct of any of the institution's
         intercollegiate athletics contests in that sport from the time the institution's team reports on call at the competition site
         at the direction of the coach until the competition has concluded and the team has been dismissed by the coach. [D]
         (Revised: 1/16/93, 1/9/96, 1/8/09, 10/30/14, 4/25/18)
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         13.1.3.2.1 Off-Campus Contact Exception. Institutional coaching staff members (see Bylaw 13.1.3.1.8) may
         make unlimited telephone calls to a prospective student-athlete on the day a permissible, in-person, off-campus contact
         occurs with the prospective student-athlete. (Adopted: 1/10/92, Revised: 1/16/93, 12/12/06)
         13.1.3.2.2 Telephone Calls From an Individual -- Baseball. In baseball, an institutional staff member may not
         receive telephone calls from an individual (or the individual's family members) before August 1 at the beginning of the
         individual's junior year in high school. (Adopted: 4/26/23)
         13.1.3.2.3 Telephone Calls From an Individual -- Basketball and Football. In basketball and football,
         institutional staff members may receive telephone calls from an individual (or the individual's family members) at any
         time. (Adopted: 1/10/92, Revised: 1/10/95, 8/14/02, 12/12/06, 4/26/12, 4/14/17, 4/18/18 effective 4/25/18, 5/1/19,
         12/15/21, 4/26/23)
         13.1.3.2.4 Telephone Calls From an Individual -- Sports Other than Baseball, Basketball, Football,
         Lacrosse, Men's Ice Hockey and Softball. In sports other than baseball, basketball, football, lacrosse, men's ice
         hockey and softball, an institutional staff member may not receive telephone calls from an individual (or the
         individual's family members) before June 15 at the conclusion of the individual's sophomore year in high school. [D]
         (Adopted: 5/1/19)
         13.1.3.2.5 Telephone Calls From an Individual -- Lacrosse and Softball. In lacrosse and softball, an
         institutional staff member may not receive telephone calls from an individual (or the individual's family members)
         before September 1 at the beginning of the individual's junior year in high school. [D] (Adopted: 4/14/17, Revised:
         4/18/18 effective 4/25/18)
         13.1.3.2.6 Telephone Calls From an Individual -- Men's Ice Hockey. In men's ice hockey, an institutional staff
         member may not receive telephone calls from an individual (or the individual's family members) before January 1 of
         the individual's sophomore year in high school. [D] (Adopted: 5/1/19)
    13.1.3.3 Nonpermissible Callers.
         13.1.3.3.1 Representatives of Athletics Interests. Representatives of an institution's athletics interests (as
         defined in Bylaw 13.02.15) are prohibited from making telephonic communications with a prospective student-athlete
         or the prospective student-athlete's family members. [D] (Revised: 10/30/14, 4/25/18)
             13.1.3.3.1.1 Prospective Student-Athlete Initiates Call. An athletics representative of a member
             institution may speak to a prospective student-athlete via the telephone only if the prospective student-athlete
             initiates the telephone conversation and the call is not for recruiting purposes. Under such circumstances, the
             representative must refer questions about the institution's athletics program to the athletics department staff. [D]
             (Revised: 10/30/14)
13.1.4 Visit to Prospective Student-Athlete's Educational Institution. Visits to a prospective student-athlete's
educational institution that will occur during that portion of the day when classes are being conducted for all students must
receive the approval of the executive officer (or the executive officer's designated representative) of the prospective student-
athlete's educational institution. A coaching staff member may not visit a prospective student-athlete's educational institution
during a dead period or recruiting shutdown. (Revised: 10/27/11 effective 8/1/12, 12/6/13, 10/30/14, 12/16/22)
    13.1.4.1 Men's Basketball. In men's basketball, institutional staff members may visit a prospective student-athlete's
    educational institution on not more than one calendar day during a particular week within a recruiting period that occurs
    during the academic year, regardless of the number of prospective student-athletes enrolled in the institution or whether any
    prospective student-athlete is contacted on that day. During the April evaluation periods, if a nonscholastic event occurs at
    the educational institution of a participating prospective student-athlete, institutional staff members may visit the
    prospective student-athlete's educational institution on not more than one calendar day during a particular week (see Bylaw
    13.1.4.4). During the June and July evaluation periods, there are no limitations on the number of times an institutional
    staff member may visit a prospective student-athlete's educational institution. (Revised: 10/27/11 effective 8/1/12, 10/30/14,
    10/17/19, 7/13/20)
         13.1.4.1.1 Tournament Exception. In men's basketball, visiting a prospective student-athlete's educational
         institution on consecutive days during a particular week to observe a tournament or tier of a tournament shall count as
         a single visit (see Bylaws 13.1.7.13 and 13.1.7.13.1). (Revised: 10/27/11 effective 8/1/12)
    13.1.4.2 Football and Women's Basketball. In football and women's basketball, institutional staff members may visit
    a prospective student-athlete's educational institution on not more than one calendar day during a particular week within a
    contact period, regardless of the number of prospective student-athletes enrolled in the institution or whether any


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   prospective student-athlete is contacted on that day. (Revised: 1/11/94 effective 8/1/94, 10/27/11 effective 8/1/12, 10/30/14,
   10/17/19)
         13.1.4.2.1 Visits During Contact Period -- Football. In football, an institution may only visit a prospective
         student-athlete's educational institution once per week during a contact period as specified in Bylaw 13.17.5. A visit to
         a prospective student-athlete's educational institution counts as an evaluation for all prospective student-athletes in the
         sport at the educational institution. (Adopted: 1/10/92 effective 8/1/92, Revised: 1/11/94 effective 8/1/94, 12/15/06,
         10/30/14, 4/13/23 effective 8/1/23)
         13.1.4.2.2 Visits During Evaluation Period -- Bowl Subdivision Football. [FBS] In bowl subdivision
         football, not more than two coaches per institution may visit a prospective student-athlete's educational institution on
         any one calendar day during an evaluation period. [D] (Adopted: 4/29/10, Revised: 10/30/14)
         13.1.4.2.3 Visits During Evaluation Period -- Women's Basketball. In women's basketball, institutional staff
         members may visit a prospective student-athlete's educational institution on not more than one calendar day during a
         particular week within an evaluation period that occurs during the academic year. During the July evaluation period,
         there are no limitations on the number of times an institutional staff member may visit a prospective student-athlete's
         educational institution. (Adopted: 1/11/94 effective 8/1/94, Revised: 8/12/97, 9/15/97, 10/27/11 effective 8/1/12,
         10/30/14, 10/17/19)
             13.1.4.2.3.1 Tournament Exception. In women's basketball, visiting a prospective student-athlete's
             educational institution on consecutive days during a particular week to observe a tournament or tier of a
             tournament shall count as a single visit (see Bylaws 13.1.7.13 and 13.1.7.13.1). (Revised: 1/11/94 effective 8/1/94,
             10/27/11 effective 8/1/12)
   13.1.4.3 Multiple-Sport Athlete -- Basketball or Football. If a prospective student-athlete is a multisport athlete
   being recruited by the same institution for more than one sport, one of which is football or basketball, all staff members
   from the same institution are permitted only one visit per week to the prospective student-athlete’s educational institution,
   and all visits must take place on the same day of the week. [D] (Revised: 10/27/11 effective 8/1/12, 10/30/14)
   13.1.4.4 Competition Not Involving Educational Institution Visited -- Basketball and Football. An
   institution does not use its one visit per week to an educational institution if the coach observes competition between
   prospective student-athletes who do not attend that institution and the coach does not engage in recruitment activities with
   any prospective student-athlete who attends the institution where the competition is being conducted. (Adopted: 1/16/93,
   Revised: 10/27/11 effective 8/1/12)
13.1.5 Contacts.
   13.1.5.1 Sports Other Than Baseball, Basketball, Football, Lacrosse and Softball. In sports other than
   baseball, basketball, football, lacrosse and softball, each institution is limited to seven recruiting opportunities (contacts and
   evaluations combined) per prospective student-athlete per year (see Bylaw 13.1.5.7). Beginning August 1 at the start of the
   prospective student-athlete's junior year of high school, not more than three of the seven opportunities per year may be off-
   campus contacts at any site and shall include contacts with the prospective student-athlete's family members, but shall not
   include contacts made during an official visit per Bylaw 13.6 or an unofficial visit per Bylaw 13.7.5. [D] (Adopted: 9/12/03,
   Revised: 3/10/04, 1/9/06, 1/18/14, 10/30/14, 4/26/17 effective 8/1/17, 4/16/18, 4/18/18 effective 4/25/18, 4/25/18, 5/1/19,
   7/7/20)
   13.1.5.2 Baseball. In baseball, each institution is limited to seven recruiting opportunities (contacts and evaluations
   combined) per prospective student-athlete per year (see Bylaw 13.1.5.7). Beginning September 1 of a prospective student-
   athlete's junior year of high school, not more than three of the seven opportunities may be off-campus contacts each year,
   including contacts with the prospective student-athlete's family members. A contact made during an official visit per Bylaw
   13.6 or an unofficial visit per Bylaw 13.7.5 does not count as a recruiting opportunity. (Revised: 5/1/19, 4/26/23)
   13.1.5.3 Football. [FBS/FCS] In football, after January 1 of a prospective student-athlete's junior year each institution
   shall be limited to eight recruiting opportunities (contacts and evaluations combined) per prospective student-athlete ,
   which shall include contacts made with the prospective student-athlete's family members but shall not include contacts
   made during an official visit per Bylaw 13.6 or an unofficial visit per Bylaw 13.7.5. Football staff members shall not exceed
   140 (180 for U.S. service academies) recruiting-person days during the spring contact period. [D] (Adopted: 9/12/03,
   Revised: 12/15/06, 10/30/14, 4/26/17 effective 8/1/17, 4/25/18, 4/13/23 effective 8/1/23)
         13.1.5.3.1 Exception -- Fall Evaluation Period. [FBS/FCS] The one evaluation per prospective student-athlete
         per year during the fall evaluation period shall not count as a recruiting opportunity. (Adopted: 4/13/23 effective 8/1/23)



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         13.1.5.3.2 Additional Restrictions -- One Recruiting Opportunity Per Week. [FBS/FCS] An institution is
         limited to one recruiting opportunity per prospective student-athlete during each week of a contact period as specified
         in Bylaw 13.17.5 (Adopted: 4/13/23 effective 8/1/23)
         13.1.5.3.3 Additional Restrictions -- Junior Year Recruiting Opportunities During January/February
         Contact Period. [FBS/FCS] During a prospective student-athlete's junior year in high school each institution shall
         be limited to two recruiting opportunities per prospective student-athlete during the January/February contact period.
         Contacts that occur during a prospective student-athlete's junior year may occur only at the prospective student-
         athlete's educational institution. (Adopted: 4/13/23 effective 8/1/23)
         13.1.5.3.4 Additional Restrictions -- Junior Year Recruiting Opportunities During Spring Contact
         Period. [FBS/FCS] During a prospective student-athlete's junior year in high school each institution shall be limited
         to one recruiting opportunity per prospective student-athlete during the spring contact period. Contacts that occur
         during a prospective student-athlete's junior year may occur only at the prospective student-athlete's educational
         institution. (Adopted: 4/13/23 effective 8/1/23)
   13.1.5.4 Men's Basketball. In men's basketball, each institution shall be limited to seven recruiting opportunities
   (contacts and evaluations combined) per prospective student-athlete per year (see Bylaw 13.1.5.7). A contact made during
   an official visit per Bylaw 13.6 or an unofficial visit per Bylaw 13.7.5 does not count as a recruiting opportunity. Men's
   basketball staff members shall not exceed 100 recruiting-person days September 1 through May 31. (Adopted: 9/12/03,
   Revised: 4/28/05 effective 8/1/05, 5/9/08, 10/27/11 effective 8/1/12, 10/30/12, 10/30/14, 4/26/17 effective 8/1/17, 8/8/18
   effective 4/1/19, 1/20/22 effective 8/1/22)
         13.1.5.4.1 Exception -- April Evaluation Periods. An evaluation made during an April evaluation period shall
         not count as a recruiting opportunity. (Adopted: 4/28/16 effective 8/1/16)
   13.1.5.5 Women's Basketball. In women's basketball, each institution shall be limited to seven recruiting opportunities
   (contacts and evaluations combined) per prospective student-athlete per year (see Bylaw 13.1.5.7). A contact made during
   an official visit per Bylaw 13.6 or an unofficial visit per Bylaw 13.7.5 does not count as a recruiting opportunity. Women's
   basketball staff members shall not exceed 65 recruiting-person days each year (measured August 1 through July 31). A
   coach’s involvement in off-campus recruiting activities during the April, May, June and July evaluation periods does not
   count toward the limitation on recruiting-person days. (Adopted: 9/12/03, Revised: 3/10/04, 4/28/05 effective 8/1/05, 1/8/07
   effective 8/1/07, 5/9/08, 1/15/11 effective 8/1/11, 1/19/13 effective 8/1/13, 10/30/14, 4/26/17 effective 8/1/17, 1/20/22 effective
   8/1/22)
         13.1.5.5.1 Contact With Family Member Who Serves as Nonscholastic Coach. In women's basketball, in-
         person off-campus contact with a family member of a prospective student-athlete who serves on the staff of the
         prospective student-athlete's nonscholastic team shall count as a contact, unless the family member also serves as a head
         coach of the prospective student-athlete's scholastic team and the contact is unrelated to recruitment of the prospective
         student-athlete. (Revised: 10/17/05, 4/25/18)
         13.1.5.5.2 Additional Restrictions -- July Evaluation Periods. In women's basketball, during the July
         evaluation periods, all communication with a prospective student-athlete, the prospective student-athlete's family
         members, the prospective student-athlete's coach or any individual associated with the prospective student-athlete as a
         result of the prospective student-athlete's participation in basketball, directly or indirectly, is prohibited. [D] (Revised:
         4/28/05 effective 8/1/05, 10/30/14, 4/25/18)
   13.1.5.6 Lacrosse and Softball. In lacrosse and softball, each institution is limited to seven recruiting opportunities
   (contacts and evaluations combined) per prospective student-athlete per year (see Bylaw 13.1.5.7). Beginning September 1
   at the start of a prospective student-athlete's junior year of high school, not more than three of the seven opportunities may
   be off-campus contacts each year, including contacts with the prospective student-athlete's family members. A contact made
   during an official visit per Bylaw 13.6 or an unofficial visit per Bylaw 13.7.5 does not count as a recruiting opportunity. [D]
   (Revised: 4/16/18, 4/18/18 effective 4/25/18, 5/1/19)
   13.1.5.7 Counting Contacts and Evaluations. Evaluations that occur September 1 through May 31 count against the
   permissible number of recruiting opportunities, except for evaluations that occur on the same day as a permissible contact
   (see Bylaw 13.1.5.4.1). From June 1 through August 31, evaluations do not count against the annual number of recruiting
   opportunities. Contacts (see Bylaw 13.02.4) count against the permissible number of total recruiting opportunities
   regardless of the time period. All contacts and evaluations are subject to recruiting calendar restrictions. (Revised: 10/30/12,
   4/28/16 effective 8/1/16, 4/26/17)
   13.1.5.8 On Same Day. Any number of contacts made during the same day (defined as 12:01 a.m. to midnight) shall
   count as one contact. (Revised: 1/10/91 effective 8/1/91)

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   13.1.5.9 Letter-of-Intent Signing. Any in-person, off-campus contact made with a prospective student-athlete for the
   purpose of signing a letter of intent or other commitment to attend the institution or attendance at activities related to the
   signing of a letter of intent or other commitment to attend the institution shall be prohibited. [D] (Revised: 1/10/95 effective
   8/1/95, 10/30/14)
         13.1.5.9.1 Delivery of Letter of Intent. In-person, off-campus delivery of a letter of intent by an institutional staff
         member shall be prohibited. The letter may be delivered by express mail, courier service, regular mail, electronic mail
         or facsimile machine. [D] (Adopted: 1/10/92, Revised: 1/10/95 effective 8/1/95, 11/22/04, 10/30/14)
   13.1.5.10 Post-High School Contacts. In sports other than men's basketball, the contact limitations apply to the
   period before October 15 following the prospective student-athlete's completion of high school and the period beginning
   October 15 following the prospective student-athlete's completion of high school. In men's basketball, an institution shall
   be limited to three contacts with a prospective student-athlete beginning October 15 following the prospective student-
   athlete's completion of high school, even if the institution did not use all its recruiting opportunities for the prospective
   student-athlete in the previous year. [D] (Revised: 1/10/90, 10/27/11 effective 8/1/12, 10/30/14, 6/22/15, 4/13/17)
13.1.6 Contact Restrictions at Specified Sites.
   13.1.6.1 Prospective Student-Athlete's Educational Institution. Any staff member desiring to contact a
   prospective student-athlete at the prospective student-athlete's high school, preparatory school or two-year college first shall
   obtain permission for such contact from that institution's executive officer (or the executive officer's authorized
   representative). Contact may be made only when such permission is granted. Institutions also are bound by this provision
   when recruiting international prospective student-athletes. [D] (Revised: 8/5/04, 10/27/11 effective 8/1/12, 1/19/13 effective
   8/1/13, 4/28/16)
         13.1.6.1.1 No Contact When Classes are in Session -- Basketball. In basketball, contact may not be made
         during the time of the day when classes are in session. For two-year colleges that conduct classes throughout the day,
         contact may not be made until after 4 p.m. local time and the prospective student-athlete shall not miss class for such
         contact. [D] (Adopted: 4/28/16)
   13.1.6.2 Contact With Prospective Student-Athletes Involved in Competition.
         13.1.6.2.1 Sports Other Than Basketball. In sports other than basketball, in-person contact may not be made
         with a prospective student-athlete at any site prior to any athletics competition (including a noninstitutional, private
         camp or clinic, but not an institutional camp or clinic) in which the prospective student-athlete is a participant on a
         day of competition, even if the prospective student-athlete is on an official or unofficial visit. In-person contact may
         occur after the prospective student-athlete's competition concludes for the day and the prospective student-athlete has
         been released by the appropriate authority (e.g., coach). [D] (Adopted: 5/1/19, Revised: 7/17/20)
         13.1.6.2.2 Basketball. In basketball, in-person contact may not be made with a prospective student-athlete or the
         prospective student-athlete's family members on a day of athletics competition (including a noninstitutional, private
         camp or clinic, but not an institutional camp or clinic) in which the prospective student-athlete is a participant, even if
         the prospective student-athlete is on an official or unofficial visit. If a prospective student-athlete reports on call (at the
         direction of a coach or comparable authority) and becomes involved in competition-related activity (e.g., traveling to
         an away from-home game) prior to the day of competition, in-person contact may not be made with the prospective
         student-athlete from the time the prospective student-athlete reports on call until the day after the end of competition
         and the prospective student-athlete has been released by the appropriate institutional authority. Such contact shall be
         governed by the following: [D] (Revised: 1/11/89, 1/10/91, 1/11/94, 1/9/96 effective 7/1/96, 4/3/02, 4/24/03, 3/23/06,
         12/12/06, 9/18/07, 1/15/14, 4/28/16 effective 8/1/16, 5/1/19, 7/17/20, 10/5/22)
         (a) In-person contact is permitted with a prospective student-athlete involved in a tournament that is not conducted
             on consecutive days, provided the contact occurs on a day in which the prospective student-athlete does not
             participate in competition and the prospective student-athlete is released by the appropriate institutional
             authority ;
         (b) In-person contact with a prospective student-athlete who is on an extended road trip (e.g., traveling with a team
             from one contest or event to another), is permitted the day after competition and prior to the commencement of
             travel to the next competition, provided the prospective student-athlete has been released by the appropriate
             institutional authority ;
         (c) In men's basketball, communication with a prospective student-athlete's coach or any other individual associated
             with the prospective student-athlete's participation in basketball, directly or indirectly, is prohibited during the
             time period in which the prospective student-athlete is participating in a certified event, June scholastic event,
             National Basketball Players Association Top 100 Camp, USA Basketball Junior National Team Minicamp or
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             NCAA College Basketball Academy; however, an institutional coaching staff member may communicate (but not
             have in-person contact) with the prospective student-athlete, the prospective student-athlete's family members or
             the prospective student-athlete's high school coach (or high school administrator) during the time period in which
             the prospective student-athlete is participating in those events; and
         (d) In women's basketball, during the July evaluation periods, all communication with a prospective student-athlete,
             the prospective student-athlete's family members, the prospective student-athlete's coach or any individual
             associated with the prospective student-athlete as a result of the prospective student-athlete's participation in
             basketball, directly or indirectly, is prohibited; however, an institutional coaching staff member may communicate
             (but not have in-person contact) with the prospective student-athlete, the prospective student-athlete's family
             members or the prospective student-athlete's chaperone during the time period in which the prospective student-
             athlete is participating in the NCAA College Basketball Academy.
         13.1.6.2.3 Approved Events. It is permissible for athletics staff members who are responsible for conducting an
         approved athletics event (see Bylaw 13.11.3) involving prospective student-athletes to come in normal contact with
         participants; however, under no circumstances may recruitment take place.
         13.1.6.2.4 Athletics Events Outside Contact or Recruiting Period -- Football and Basketball. In-person
         contact with a prospective student-athlete shall not be made on or off the institution's campus at the site of practice or
         competition for any athletics event in which the prospective student-athlete participates outside the permissible contact
         or recruiting periods in football and basketball. When a prospective student-athlete in football or basketball participates
         in an athletics contest or event (including a noninstitutional, private camp or clinic, but not an institutional camp or
         clinic) on an institution's campus outside a contact or recruiting period, it is not permissible for an authorized
         institutional staff member to have contact with the prospective student-athlete until the calendar day following release
         from the contest or event. Further, if a prospective student-athlete is visiting an institution's campus immediately
         before or after participating in an athletics contest or event on the institution's campus, the prospective student-athlete
         must depart the locale of the institution the calendar day before or after the contest or event. [D] (Revised: 1/11/89,
         4/3/02, 6/1/07, 10/30/14)
         13.1.6.2.5 All-Star Contests -- Football. [FBS/FCS] In football, in-person contact with a prospective student-
         athlete who is participating in an all-star contest shall not be made from the time the prospective student-athlete arrives
         in the locale of the contest until the prospective student-athlete returns home or to the prospective-student-athlete's
         educational institution. [D] (Adopted: 10/30/13, Revised: 10/30/14)
         13.1.6.2.6 Contact by Student-Athletes and Other Enrolled Students. Contact between an enrolled student-
         athlete (or an enrolled student) and a prospective student-athlete at the prospective student-athlete's practice or
         competition site is not permissible if it occurs at the direction of an institutional staff member (see Bylaw 13.1.2.7). [D]
         (Adopted: 6/23/15)
   13.1.6.3 Bowl Games. During a dead period, a prospective student-athlete may attend an institution's bowl game
   practice session at the bowl site, provided the practice is open to the general public and the prospective student-athlete
   observes the practice only from an area reserved for that purpose for the general public. No contact between the prospective
   student-athlete and institutional staff members or representatives of the institution's athletics interests may occur. [D]
   (Adopted: 1/10/92, Revised: 5/27/11, 10/30/14)
13.1.7 Evaluations.
   13.1.7.1 Visit (Without Contact) to Prospective Student-Athlete's Educational Institution. A visit (without
   contact) by a coaching staff member to a prospective student-athlete's educational institution counts as an evaluation for all
   prospective student-athletes in that sport at that educational institution. (Adopted: 1/10/92)
         13.1.7.1.1 Competition Not Involving Educational Institution Visited. A member institution does not use
         an evaluation for prospective student-athletes at an educational institution if the coach observes competition at that
         institution between prospective student-athletes who do not attend that institution. (Adopted: 1/11/94)
   13.1.7.2 Evaluations Are Sport Specific. The limitations on the number of evaluations in Bylaw 13.1.7 are sport
   specific. Therefore, a prospective student-athlete being earnestly recruited [see Bylaw 15.5.9.7.1-(d)] by an institution in
   more than one sport may be evaluated on the permissible number of occasions in each of those sports during the academic
   year. Evaluations are counted against the sport of the coach making the evaluation. (Adopted: 1/10/92)
         13.1.7.2.1 Recruiting Opportunities in Cross Country and Track and Field. An institution is limited to a
         total of seven recruiting opportunities (contacts and evaluations combined) during the academic year during which the
         prospective student-athlete competes in any or all of the sports of cross country and indoor and outdoor track and
         field, provided not more than three of the opportunities are contacts. [D] (Adopted: 1/16/93, Revised: 4/22/98)
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   13.1.7.3 Evaluations -- Sports Other Than Football and Basketball. In sports other than football and basketball,
   during the academic year, each institution shall be limited to seven recruiting opportunities (contacts and evaluations
   combined) per prospective student-athlete and not more than three of the seven opportunities may be contacts (see Bylaws
   13.1.5.1 and 13.1.5.7). [D] (Adopted: 9/12/03, Revised: 4/29/04, 1/9/06, 6/16/15)
         13.1.7.3.1 Evaluations During Contact Periods -- Women's Lacrosse. Evaluations of live athletics activities
         during a contact period shall be limited to: [D] (Adopted: 4/8/16 effective 9/1/16)
         (a) Regularly scheduled high school, preparatory school and two-year college contests/tournaments and practices; and
         (b) Regular scholastic activities involving prospective student-athletes enrolled only at the institution where the regular
             scholastic activities occur.
   13.1.7.4 Evaluations -- Football. [FBS/FCS] In football, institutional staff members shall be limited to one evaluation
   per prospective student-athlete per year during the fall evaluation period. [D] (Adopted: 9/12/03, Revised: 4/13/23 effective
   8/1/23)
         13.1.7.4.1 Evaluation Days. [FBS/FCS] In football, each institution is limited to 33 (42 for U.S. service
         academies) evaluation days (see Bylaw 13.02.7.1) during the fall evaluation period. [D] (Adopted: 6/16/15, Revised:
         4/13/23 effective 8/1/23)
         13.1.7.4.2 Scholastic and Nonscholastic Activities -- Bowl Subdivision Football. [FBS] In bowl
         subdivision football, all live athletics evaluations shall be limited to: (Adopted: 6/16/15)
         (a) Regularly scheduled high school, preparatory school and two-year college contests and practices;
         (b) Regular scholastic activities involving prospective student-athletes enrolled only at the institution where the regular
             scholastic activities occur; or
         (c) Events, other than all-star contests and associated activities (e.g., practice, banquets, coaches clinics, etc.), that are
             organized and conducted solely by the applicable state high school athletics association, state preparatory school
             association or state or national junior college athletics association.
             13.1.7.4.2.1 Other Evaluation Events -- Bowl Subdivision Football. [FBS] In bowl subdivision football,
             an institutional staff member shall not attend a recruiting event (other than those permitted pursuant to Bylaw
             13.1.7.4.2) in which information (e.g., athletics or academic credentials, highlight or combine video) related to
             prospective student-athletes is presented or otherwise made available. [D] (Adopted: 6/16/15)
         13.1.7.4.3 Scholastic and Nonscholastic Activities -- Championship Subdivision Football. [FCS] In
         championship subdivision football, live athletics evaluations may be conducted at scholastic or nonscholastic athletics
         activities, except for all-star contests and associated activities other than practice (e.g., banquets, coaches clinics, etc.),
         provided there is no institutional involvement in arranging or directing such activities. An institutional staff member
         may attend a recruiting event (other than a permissible live athletics event) in which information (e.g., athletics or
         academic credentials, highlight video) related to prospective student-athletes is presented or otherwise made
         available. [D] (Adopted: 6/16/15, Revised: 4/28/16 effective 8/1/16)
         13.1.7.4.4 All-Star Contests -- Bowl Subdivision Football. [FBS] In bowl subdivision football, an institutional
         staff member shall not attend an all-star contest or other activities associated with such a contest (e.g., practice,
         banquets, coaches clinics, etc.). [D] (Adopted: 6/16/15, Revised: 4/28/16 effective 8/1/16)
         13.1.7.4.5 All-Star Contest -- Championship Subdivision Football. [FCS] In championship subdivision
         football, an institutional staff member shall not attend an all-star contest or activities, other than practice, associated
         with such a contest (e.g., banquet, coaches clinics, etc.). [D] (Adopted: 4/28/16 effective 8/1/16)
   13.1.7.5 Evaluations -- Men's Basketball. In men's basketball, each institution shall be limited to seven recruiting
   opportunities (contacts and evaluations combined) during the academic year per prospective student-athlete (see Bylaws
   13.1.5.4, 13.1.5.4.1, 13.1.5.7 and 13.1.5.10). Men's basketball coaching staff members shall not exceed 100 recruiting-
   person days September 1 through May 31. (Adopted: 9/12/03, Revised: 4/28/05 effective 8/1/05, 5/9/08, 10/27/11 effective
   8/1/12, 10/30/12, 6/16/15, 4/28/16 effective 8/1/16, 8/8/18 effective 4/1/19, 1/20/22 effective 8/1/22)
         13.1.7.5.1 Academic Year Recruiting Periods. Evaluations of live athletics activities during the academic year
         recruiting periods shall be limited to: [D] (Revised: 6/16/15)
         (a) Regularly scheduled high school, preparatory school and two-year college contests/tournaments and practices; and
         (b) Regular scholastic activities involving prospective student-athletes enrolled only at the institution where the regular
             scholastic activities occur.


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         13.1.7.5.2 April Evaluation Periods. Evaluations of live athletics activities during the April evaluation periods
         shall be limited to nonscholastic events that are certified per Bylaw 13.18. [D] (Revised: 6/16/15)
         13.1.7.5.3 June Evaluation Periods. During the June evaluation periods, evaluations of live athletics activities are
         limited to: [D] (Adopted: 8/8/18 effective 4/1/19, Revised: 10/3/18 effective 4/1/19, 10/18/19)
         (a) Scholastic and intercollegiate events that:
              (1) Are approved by the National Federation of State High School Associations, the NCAA (for events conducted
                  by scholastic associations that are not members of the National Federation of State High School Associations)
                  or an applicable two-year college governing body (NJCAA, CCCAA, NWAC);
              (2) For events involving high school prospective student-athletes, are organized and conducted exclusively by the
                  applicable state high school athletics association and/or state high school basketball coaches association (or if
                  there is no state high school basketball coaches association, the state high school coaches association) or the
                  applicable scholastic association that is not a member of the National Federation of State High School
                  Associations. For events involving two-year college prospective student-athletes, are organized and conducted
                  exclusively by the applicable two-year college governing body and/or two-year college coaches association; and
              (3) Occur at an educational institution (e.g., middle school, high school, two-year or four-year collegiate
                  institution) other than an NCAA Division I institution.
         (b) Two days of the National Basketball Players Association Top 100 Camp.
         13.1.7.5.4 July Evaluation Periods. During the July evaluation periods and subject to additional recruiting
         calendar restrictions (see Bylaw 13.17.2), a member of an institution's basketball coaching staff may attend
         institutional basketball camps per Bylaw 13.12.1.1, noninstitutional organized events (e.g., camps, leagues,
         tournaments and festivals) that are certified per Bylaw 13.18, noninstitutional organized events that are approved,
         sponsored or conducted by an applicable state, national or international governing body and are not organized and
         conducted primarily for a recruiting purpose (e.g., intrastate and interstate high school basketball games, state high
         school all-star games, international competitions and practices associated with such contests) and the NCAA College
         Basketball Academy. [D] (Revised: 6/16/15, 8/8/18 effective 4/1/19, 12/14/18)
             13.1.7.5.4.1 Practice in Preparation for a Certified Event. An institutional coaching staff member may
             attend organized team practices in preparation for a certified event, provided such practice time has been
             designated by the organizer as part of the event. [D] (Revised: 6/16/15)
             13.1.7.5.4.2 Events Organized and Conducted for Recruiting Purposes. A coaching staff member shall
             not attend events that are approved, sponsored or conducted by an applicable state, national or international
             governing body but are organized and conducted primarily for a recruiting purpose, unless such events are certified
             per Bylaw 13.18. [D] (Revised: 6/16/15)
         13.1.7.5.5 NBA Draft Combine. Evaluations conducted at the National Basketball Association (NBA) Draft
         Combine are not included in the 100 recruiting-person days. (Revised: 6/16/15, 1/20/22 effective 8/1/22)
         13.1.7.5.6 National Team Activities.
             13.1.7.5.6.1 Team Coached by Division I Coach. A coaching staff member may attend a live organized
             athletic activity (e.g., training camps, mini-camps, tryouts, competition) involving a national team, including
             junior level teams (e.g., U18 national team), outside an evaluation or recruiting period, provided the team is
             coached by a Division I institution’s coach (head or assistant) and the activity is approved, sponsored or conducted
             by the applicable national governing body (e.g., USA Basketball). [D] (Adopted: 4/26/17, Revised: 1/23/19 effective
             4/1/19)
             13.1.7.5.6.2 Summer USA Basketball Junior National Team Minicamp. During June, July and August,
             a coaching staff member's attendance at a USA Basketball Junior National Team minicamp is not subject to the
             restrictions of the men's basketball recruiting calendar. (Adopted: 1/23/19 effective 4/1/19)
         13.1.7.5.7 Regional Championships Approved, Sponsored or Conducted by FIBA. A coaching staff
         member may attend regional championships (e.g., FIBA U18 European Championship, FIBA Americas U18
         Championship, etc.) that are approved, sponsored or conducted by the International Basketball Federation (FIBA)
         outside permissible recruiting and evaluation periods. A coaching staff member may attend organized practices
         associated with such events, provided the practice time has been designated as part of the event by the event
         organizer. [D] (Adopted: 4/26/17, Revised: 6/28/17)
   13.1.7.6 Evaluations -- Women's Basketball. In women's basketball, each institution shall be limited to seven
   recruiting opportunities (contacts and evaluations combined) per prospective student-athlete per year (see Bylaws 13.1.5.5
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   and 13.1.5.7). Women's basketball staff members shall not exceed 65 recruiting-person days each year (measured August 1
   through July 31). A coach’s involvement in off-campus recruiting activities during the April, May, June and July evaluation
   periods does not count toward the limitation on recruiting-person days. (Adopted: 9/12/03, Revised: 4/29/04, 4/28/05
   effective 8/1/05, 1/9/06, 1/8/07 effective 8/1/07, 5/9/08, 1/15/11 effective 8/1/11, 1/19/13 effective 8/1/13, 6/15/15, 4/26/17
   effective 8/1/17, 1/20/22 effective 8/1/22)
         13.1.7.6.1 Evaluation Periods Other Than June or July. Evaluations of live athletics activities outside of June
         or July shall be limited to: (Revised: 6/16/15, 4/26/17 effective 8/1/17, 4/25/18, 1/20/22 effective 8/1/22, 1/5/23)
         (a) Regularly scheduled high school, preparatory school and two-year college contests/tournaments and practices;
         (b) Regular scholastic activities involving prospective student-athletes enrolled only at the institution where the regular
             scholastic activities occur;
         (c) Evaluations at certified nonscholastic events (per Bylaw 13.18) during the Friday, Saturday and Sunday of the
             third weekend in April and the Friday, Saturday and Sunday of the third weekend of May; and
         (d) International scholastic and nonscholastic practice and competition.
             13.1.7.6.1.1 National Standardized Testing Weekends. Evaluations at nonscholastic events during
             evaluation periods other than June or July shall not occur during any weekend (including Friday, Saturday and
             Sunday) during which the PSAT, SAT or ACT national standardized tests are administered. If the PSAT, SAT or
             ACT is administered during the third weekend in April, the nonscholastic evaluation weekend (including Friday,
             Saturday and Sunday) shall occur during the fourth weekend in April. (Revised: 6/16/15, 4/26/17 effective 8/1/17,
             4/25/18 effective 8/1/18, 1/5/23)
         13.1.7.6.2 June Evaluation Period. During the June evaluation period, evaluations of live athletics activities are
         limited to: (Adopted: 1/5/23)
         (a) Scholastic and intercollegiate events that:
              (1) Are approved by the National Federation of State High School Associations, the NCAA (for events conducted
                  by scholastic associations that are not members of the National Federation of State High School Associations)
                  or an applicable two-year college governing body (NJCAA, CCCAA, NWAC);
              (2) For events involving high school prospective student-athletes, are organized and conducted exclusively by the
                  applicable state high school athletics association and/or state high school basketball coaches association (or if
                  there is no state high school basketball coaches association, the state high school coaches association) or the
                  applicable scholastic association that is not a member of the National Federation of State High School
                  Associations. For events involving two-year college prospective student-athletes, are organized and conducted
                  exclusively by the applicable two-year college governing body and/or two-year college coaches association; and
              (3) Occur at an educational institution (e.g., middle school, high school, two-year or four-year collegiate
                  institution) other than an NCAA Division I institution.
         13.1.7.6.3 July Evaluation Period. During the July evaluation period, an institutional coaching staff member may
         attend institutional basketball camps per Bylaw 13.12.1.1, international scholastic and nonscholastic practice and
         competition, noninstitutional organized events (e.g., camps, leagues, tournaments and festivals) that are certified per
         Bylaw 13.18 and the NCAA College Basketball Academy. [D] (Revised: 6/16/15, 4/25/18, 1/20/22 effective 8/1/22,
         10/5/22)
         13.1.7.6.4 On-Campus Events. Evaluations at nonscholastic events and noninstitutional camps or clinics that
         occur on a Division I campus are prohibited. [D] (Revised: 6/16/15)
         13.1.7.6.5 Practice in Preparation for a Certified Event. An institutional coaching staff member may attend
         organized team practices in preparation for a certified event, provided such practice time has been designated by the
         organizer as part of the event. [D] (Revised: 6/16/15)
         13.1.7.6.6 Events Not Subject to Certification Program. During any contact or evaluation period, an
         institutional coaching staff member may attend noninstitutional organized events that are approved, sponsored or
         conducted by an applicable state, national or international governing body and are not organized and conducted
         primarily for a recruiting purpose (e.g., intrastate and interstate high school basketball games, state high school all-star
         games, international competitions and practices associated with such contests). A coaching staff member shall not
         attend events that are approved, sponsored or conducted by an applicable state, national or international governing
         body but are organized and conducted primarily for a recruiting purpose, unless such events are certified per Bylaw
         13.19. [D] (Revised: 6/16/15)

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         13.1.7.6.7 International Evaluations. An institutional coaching staff member may evaluate at any international
         scholastic or nonscholastic competition or practice during any contact or evaluation period and other permissible
         events (see Bylaws 13.1.7.6.8 and 13.1.7.15). Academic year international evaluations count toward the 65 recruiting-
         person day limit. Up to 10 calendar days may be used for international evaluations during June, July and August,
         during an evaluation period or other permissible events. Up to two coaching staff members per institution per day may
         attend international scholastic or nonscholastic competition or practice during the 10 calendar days.
         (Adopted: 1/20/22 effective 8/1/22)
         13.1.7.6.8 National Team Activities and Regional Championships. During quiet and dead periods, 10 of the
         65 permissible recruiting-person days may be used at the following: [D] (Adopted: 4/26/17, Revised: 4/25/18, 7/3/19,
         1/20/22 effective 8/1/22)
         (a) National Team Activities. Up to two coaching staff members per institution per calendar day may attend any
             live organized athletic activity (e.g., training camps, mini-camps, tryouts, intra-squad competition) involving a
             national team, including junior level teams (e.g., U18 national team) provided the team is coached by a Division I
             institution's coach (head or assistant) or has a Division I coach involved (e.g., floor coach, selection committee
             member, evaluator) and the activity is approved, sponsored or conducted by the applicable national governing
             body (e.g., USA Basketball); and
         (b) Regional Championships. Up to two coaching staff members per institution per calendar day may attend any
             regional championship [e.g., International Basketball Federation (FIBA) U18 European Championship, FIBA
             Americas U18 Championship, etc.] that is approved, sponsored or conducted by FIBA. A coaching staff member
             may attend organized practices associated with such events, provided the practice time has been designated as part
             of the event by the event organizer.
   13.1.7.7 On Same Day. Any number of evaluations or observations made during the same calendar day (defined as 12:01
   a.m. to midnight) shall count as one evaluation. (Adopted: 1/16/93)
   13.1.7.8 Evaluations in Team Sports. In team sports, an institution shall use an evaluation for each prospective
   student-athlete participating in a practice or contest observed by the institution's coach, except an evaluation that occurs on
   the same day as a permissible contact (see Bylaw 13.1.5.7). An institution's coach who is attending an event in which
   prospective student-athletes from multiple educational institutions participate in drills (e.g., combine) shall use an
   evaluation only for each prospective student-athlete participating in the event that the coach observes engaging in the drills.
   In football, an observation that occurs during a permissible contact period shall count only as a contact per Bylaw
   13.02.4.1. (Revised: 6/28/04, 5/14/05, 10/30/12)
   13.1.7.9 Evaluation Days -- Women's Volleyball. In women's volleyball, each institution is limited to 80 evaluation
   days (measured August 1 through July 31) per Bylaw 13.02.7.1. A coach's employment activities in an institutional camp or
   clinic (including another NCAA four-year institution’s camp or clinic) or a noninstitutional, privately owned camp or clinic
   within a 50-mile radius of the institution do not count toward the evaluation days limitation. A coach's involvement
   outside the contact/evaluation period with a local sports club per Bylaw 13.11.2.5 shall count toward the limit. A coach's
   employment activities in a noninstitutional, privately owned camp or clinic outside a 50-mile radius of the institution shall
   count toward the limit. [D] (Adopted: 4/25/02 effective 8/1/02, Revised: 1/8/07 effective 8/1/07, 4/25/18 effective 8/1/18,
   1/18/23 effective 7/1/23)
   13.1.7.10 Evaluation Days -- Women's Beach Volleyball. In women's beach volleyball, an institution is limited to
   50 evaluation days (measured August 1 through July 31) per Bylaw 13.02.7.1. Evaluation days are specific to academic
   evaluations, beach volleyball practice and beach volleyball competition only (no evaluations of other athletics activities). A
   coach's involvement outside a beach volleyball contact or evaluation period with a local sports club (volleyball or beach
   volleyball) per Bylaw 13.11.2.5 shall count toward the limit. [D] (Adopted: 1/15/11 effective 8/1/11, Revised: 4/26/17 effective
   8/1/17)
   13.1.7.11 Evaluations in Individual Sports. An institution's coach who is attending a practice or event in which
   prospective student-athletes from multiple institutions participate in drills (e.g., combine) or competition in an individual
   sport on a specific day shall use an evaluation only for those participants whom the coach observes engaging in practice or
   competition. The evaluation is not counted for a particular prospective student-athlete if a contact is made with that
   prospective student-athlete during the same day (see Bylaw 13.1.5.7). (Adopted: 1/10/92, Revised: 1/11/94 effective 8/1/94,
   6/28/04, 5/4/05, 10/30/12)
   13.1.7.12 Evaluation Days -- Men’s Golf. In men’s golf, each institution is limited to 45 evaluation days (measured
   August 1 through July 31) per Bylaw 13.02.7.1. A coach's employment activities in instructional camps or clinics do not
   count toward the evaluation days limitation. (Adopted: 4/25/18 effective 8/1/18)

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   13.1.7.13 Tournament and Multiple-Day Event Evaluations. Evaluation during each day of a tournament or
   multiple-day event (e.g., jamboree, round robin, showcase) held during the academic year shall count as a separate
   evaluation except as follows (see Bylaws 13.1.4.1.1 and 13.1.4.2.3.1): (Revised: 1/14/97, 3/22/06, 1/22/20)
    (a) Evaluation of multiple contests in a tournament or multiple-day event that occurs on consecutive days shall count as a
        single evaluation.
    (b) Evaluation of multiple contests in a single tier of a tournament or multiple-day event (e.g., sectional, district, regional)
        shall count as a single observation. If a particular tier of a tournament is subdivided into identifiable segments (e.g.,
        conducted on different weekends), evaluation of contests in each identifiable segment counts as a single observation.
   13.1.7.14 Open Events in Which College Teams Compete. An institution does not use an evaluation if the
   institution's team competes in an open event (e.g., track and field meet) in which prospective student-athletes also compete.
   (Adopted: 1/10/92)
   13.1.7.15 Coaches' Attendance at Elite and Junior Level International Events. Coaching staff members may
   attend Olympic, Paralympic, Pan American, Parapan American, World Championships, World Cup, World University
   Games (Universiade) or World University Championships competition or the junior level equivalent competition (e.g.,
   Youth Olympic Games, Junior World Championships, U19 World University Games) that occurs outside the permissible
   contact and evaluation periods. However, attendance at qualifying competition for such events, including tryouts, remains
   subject to the applicable recruiting calendars. (Adopted: 1/9/06 effective 8/1/06, Revised: 8/11/11, 1/14/12, 4/28/16, 1/22/20)
         13.1.7.15.1 Associated Practices. A coaching staff member may attend organized practices associated with
         Olympic, Paralympic, Pan American, Parapan American, World Championships, World Cup, World University
         Games (Universiade) or World University Championships competition or the junior level equivalent competition that
         occurs outside the permissible contact and evaluation periods (or recruiting periods in men's basketball), provided such
         practice time has been designated as part of the event by the event organizer. (Adopted: 10/4/16, Revised: 1/22/20)
   13.1.7.16 Evaluation of Individuals Before They Become Prospective Student-Athletes. In sports other than
   men's basketball, softball and women's volleyball, a coaching staff member may observe an individual who has not entered
   the ninth grade participating in an athletically related activity, provided such observation occurs during a contact or
   evaluation period when it is permissible to evaluate prospective student-athletes. In men's basketball, softball and women's
   volleyball, a coaching staff member may observe an individual who has not entered the seventh grade participating in an
   athletically related activity, provided such observation occurs during a period when it is permissible to evaluate prospective
   student-athletes. (Adopted: 12/12/06, Revised: 6/9/10, 10/27/11 effective 8/1/12, 4/25/18, 10/27/21 effective 1/1/22)
   13.1.7.17 Off-Campus Observation of Recruiting or Scouting Service Video. Off-campus observation of a
   prospective student-athlete via video made available by a recruiting or scouting service is considered an evaluation activity
   and is subject to applicable evaluation regulations. (Adopted: 1/16/10)
   13.1.7.18 Coaches' Involvement in Local Sports Clubs -- No Requirement to Count Evaluations. A coaching
   staff member is not required to count evaluations for any observations of prospective student-athletes that occur while the
   coach is participating in permissible activities and acting on behalf of a local sports club (e.g., coaching or instructional
   activities, scouting future opponents). (Adopted: 1/10/13)
13.1.8 Banquets, Meetings and NCAA Promotional Activities.
   13.1.8.1 Coaching Staff Member -- During a Contact, Evaluation, Recruiting or Quiet Period. During a
   contact, evaluation, recruiting or quiet period, a coach may speak at or attend a banquet or meeting where prospective
   student-athletes are in attendance or at a prospective student-athlete's educational institution without using one of the
   institution's permissible contacts or evaluations, provided: (Adopted: 1/19/22)
    (a) The event is initiated and conducted by an entity outside the coach's institution;
    (b) The individual does not make a recruiting presentation in conjunction with the appearance;
    (c) The individual does not have direct contact with a prospective student-athlete (or a prospective student-athlete's family
        members) in attendance; and
    (d) The individual does not engage in evaluation activities.
         13.1.8.1.1 Basketball and Football -- Banquets or Meetings at a Prospective Student-Athlete's
         Educational Institution During a Contact, Evaluation or Recruiting Period. A coach who speaks at a
         meeting or banquet at a prospective student-athlete’s educational institution where prospective student-athletes are in
         attendance during a contact, evaluation or recruiting period uses the institution’s once-per-week visit to a prospective
         student-athlete’s educational institution. (Adopted: 1/19/22)

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    13.1.8.2 Noncoaching Staff Members With Sport-Specific Responsibilities -- During a Contact, Evaluation,
    Recruiting or Quiet Period. A noncoaching staff member with sport-specific responsibilities may not speak at or attend
    a banquet or meeting at a prospective student-athlete’s educational institution at any time, regardless of whether prospective
    student-athletes are in attendance. During a contact, evaluation, recruiting or quiet period, a noncoaching staff member
    with sport-specific responsibilities may speak at or attend a banquet or meeting at a location other than a prospective
    student-athlete's educational institution where prospective student-athletes are in attendance, provided: (Adopted: 1/19/22,
    Revised: 5/8/23)
     (a) The event is initiated and conducted by an entity outside the staff member's institution;
     (b) The individual does not make a recruiting presentation in conjunction with the appearance;
     (c) The individual does not have direct contact with a prospective student-athlete (or a prospective student-athlete's family
         members) in attendance; and
     (d) The individual does not engage in evaluation activities.
    13.1.8.3 During a Dead Period or Recruiting Shutdown. During a dead period or recruiting shutdown, a coach or
    noncoaching staff member with sport-specific responsibilities may not attend or speak at a meeting or banquet held at a
    prospective student-athlete’s educational institution, regardless of whether prospective student-athletes are in attendance,
    and may not speak at a meeting or banquet at another location where prospective student-athletes are in attendance. A
    coach or noncoaching staff member with sport-specific responsibilities may attend a meeting or banquet at a location other
    than a prospective student-athlete’s educational institution where prospective student-athletes are in attendance, provided:
    (Adopted: 1/19/22, Revised: 12/16/22, 5/8/23)
     (a) The event is open to the general public;
     (b) The event is initiated and conducted by an entity outside the coach or staff member's institution; and
     (c) The individual does not evaluate, make a recruiting presentation or have direct contact with any prospective student-
         athlete (or a prospective student-athlete's family members) in attendance.
    13.1.8.4 Noncoaching Staff Members Without Sport-Specific Responsibilities. A noncoaching staff member
    without sport-specific responsibilities (e.g., athletics director, compliance administrator, athletics academic counselor) may
    speak at or attend a meeting or banquet where prospective student-athletes are in attendance at any time, provided the
    individual does not make a recruiting presentation and no recruiting conversations occur. (Adopted: 1/19/22)
    13.1.8.5 Virtual Attendance. A member of the institution's athletics staff may virtually participate (e.g.,
    videoconference, prerecorded message) in a meeting or banquet where prospective student-athletes will be in attendance at
    any time, provided: (Adopted: 1/19/22)
     (a) The request to participate was initiated by an entity outside the staff member's institution;
     (b) The individual does not make a recruiting presentation and no recruiting conversations occur.
    13.1.8.6 Postseason Game Exception -- Football. [FBS/FCS] In football, a coach may speak at or attend a meeting
    or banquet (at which prospective student-athletes are in attendance) in conjunction with the institution’s appearance in a
    postseason contest that occurs during a dead period only if the meeting or banquet is open to the general public, it is a
    scheduled activity associated with the contest, and the coach does not make a recruiting presentation or have any direct
    contact with any prospective student-athlete (or a prospective student-athlete’s family members) in attendance. (Adopted:
    9/15/97, Revised: 4/25/18)
    13.1.8.7 NCAA Promotional Activities Exception. An institution's coach may participate in NCAA promotional
    activities (e.g., autograph sessions, fan festivals and opening ceremonies) at NCAA championship events, provided contacts
    with prospective student-athletes are not prearranged and recruiting activities do not occur. (Adopted: 4/28/05)
13.1.9 Funeral/Memorial Services. An institutional staff member may attend the funeral or memorial services of a
student-athlete, a prospective student-athlete or a member of the student-athlete's or a prospective student-athlete's family, at
which prospective student-athletes also may be in attendance, provided no recruiting contact occurs. (Adopted: 4/28/05, Revised:
1/15/11 effective 8/1/11, 4/28/16 effective 8/1/16, 5/1/19)
13.1.10 Conference-Sponsored Sportsmanship Initiatives. A conference office may coordinate sportsmanship
initiatives that may involve prospective student-athletes and their educational institutions subject to the following conditions
(see Bylaws 13.4.3.4, 13.10.1.3 and 13.15.1.8): [D] (Adopted: 4/26/07 effective 8/1/07, Revised: 10/30/14)
 (a) Any participating prospective student-athlete must attend a high school within a 30-mile radius of a conference member
     institution's campus;


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(b) Any initiative that requires the actual presence of a prospective student-athlete shall not take place on an institution's
    campus; and
(c) An institution's student-athletes may participate, subject to the conditions of Bylaw 12.5.1.1.
13.2 Offers and Inducements.
13.2.1 General Regulation. An institution's staff member or any representative of its athletics interests shall not be
involved, directly or indirectly, in making arrangements for or giving or offering to give any financial aid or other benefits to a
prospective student-athlete or the prospective student-athlete's family members or friends, other than expressly permitted by
NCAA regulations. Receipt of a benefit by a prospective student-athlete or the prospective student-athlete's family members or
friends is not a violation of NCAA legislation if it is determined that the same benefit is generally available to the institution's
prospective students or their family members or friends or to a particular segment of the student body (e.g., international
students, minority students) determined on a basis unrelated to athletics ability. [R] (Revised: 10/28/97, 11/1/00, 3/24/05,
4/25/18)
    13.2.1.1 Specific Prohibitions. Specifically prohibited financial aid, benefits and arrangements include, but are not
    limited to, the following: [R] (Revised: 10/28/97, 11/1/00, 4/23/08, 4/25/18)
     (a) An employment arrangement for a prospective student-athlete's family members;
     (b) Gift of clothing or equipment;
     (c) Co-signing of loans;
     (d) Providing loans to a prospective student-athlete's family members or friends;
     (e) Cash or like items;
     (f) Any tangible items, including merchandise;
     (g) Free or reduced-cost services, rentals or purchases of any type;
     (h) Free or reduced-cost housing;
     (i) Use of an institution's athletics equipment (e.g., for a high school all-star game);
     (j) Sponsorship of or arrangement for an awards banquet for high school, preparatory school or two-year-college athletes by
          an institution, representatives of its athletics interests or its alumni groups or booster clubs; and
     (k) Expenses for academic services (e.g., tutoring, test preparation) to assist in the completion of initial-eligibility or
         transfer-eligibility requirements or improvement of the prospective student-athlete's academic profile in conjunction
         with a waiver request.
    13.2.1.2 Additional Prohibition -- Consulting Fees -- Men's Basketball. In men's basketball, an institution or
    staff member shall not provide a consulting fee to an individual associated with a prospective student-athlete or to a
    consulting firm in which an individual associated with a prospective student-athlete has a proprietary or financial interest.
    (Adopted: 8/26/10)
    13.2.1.3 Additional Prohibition -- Consulting Fees -- Bowl Subdivision Football. [FBS] In bowl subdivision
    football, an institution or staff member shall not provide a consulting fee to an individual associated with a prospective
    student-athlete or to a consulting firm in which an individual associated with a prospective student-athlete has a proprietary
    or financial interest. (Adopted: 4/26/17 a contract signed before 1/18/17 may be honored)
    13.2.1.4 Notification of Ineligibility and Consequences -- Basketball. If a violation of Bylaw 13.2.1 occurs in
    which an institution or a basketball staff member employed (either on a salaried or volunteer basis) an individual associated
    with a recruited prospective student-athlete at the institution's camp or clinic, the institution shall declare each involved
    prospective student-athlete ineligible. Within 30 days of becoming aware of the violation, the institution shall provide
    written notification to each involved prospective student-athlete that the actions of the institution affected the prospective
    student-athlete's eligibility. The written notification shall also include an explanation of the consequences of the violation
    for the prospective student-athlete. (Adopted: 8/12/10, Revised: 4/26/17 effective 8/1/17)
    13.2.1.5 Notification of Ineligibility and Consequences -- Football. [FBS/FCS] If a violation of Bylaw 13.2.1
    occurs in which an institution or staff member employed (either on a salaried or volunteer basis) an individual associated
    with a recruited prospective student-athlete at the institution's camp or clinic, the institution shall declare each involved
    prospective student-athlete ineligible. Within 30 days of becoming aware of the violation, the institution shall provide
    written notification to each involved prospective student-athlete that the actions of the institution affected the prospective
    student-athlete's eligibility. The written notification shall also include an explanation of the consequences of the violation
    for the prospective student-athlete. (Adopted: 4/26/17)

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13.2.2 Institutional Preenrollment Fees. [A] An institution may waive, pay in advance or guarantee payment of any
institutional preenrollment fee for a prospective student-athlete who has signed a National Letter of Intent or the institution's
written offer of admission and/or financial aid or for whom the institution has received a financial deposit in response to its offer
of admission. A preenrollment fee is one that is required by the institution for enrollment and includes the following: (Adopted:
1/15/16, Revised: 7/31/23)
 (a) The institution's processing fee required prior to the admissions office's evaluation of the prospective student-athlete's
     application;
 (b) The orientation-counseling tests fee required of all incoming students;
 (c) The preadmission academic testing fee;
 (d) Advance tuition payment for a prospective student-grantee;
 (e) Housing deposit;
 (f) Damage deposits for dormitory rooms;
 (g) ROTC deposits for military equipment;
 (h) Immunizations; or
 (i) Any other pre-enrollment fee required of prospective students.
13.2.3 Awards to Prospective Student-Athletes. An institution is limited to providing the following awards to
prospective student-athletes: (Adopted: 1/10/91, Revised: 1/15/11, 1/23/19)
 (a) Awards to prospective student-athletes for outstanding athletics accomplishments are prohibited, except as provided in (c)
     below;
 (b) Awards to high school, preparatory school or two-year-college athletics teams in the name of an NCAA member institution
     are prohibited, regardless of the institution's involvement (or lack thereof) in the administration of the award; and
 (c) Any award presented at an open event conducted by an institution or held on its campus (see Bylaw 13.11.3.1) or at high
     school, preparatory school and two-year-college athletics contests or matches under the provisions of Bylaw 13.11.3.4 must
     be limited in value to $50 but may bear the institution's name and logo.
13.2.4 Employment of Prospective Student-Athletes.
    13.2.4.1 Prior to Completion of Senior Year. An institution may employ a prospective student-athlete, provided the
    employment is arranged through normal institutional employment procedures (e.g., website, local newspaper, bulletin
    board listings) and without the intervention of any sport-specific staff member (e.g., no involvement with the hiring or
    supervision of the prospective student-athlete). Any compensation received by the prospective student-athlete must be for
    work actually performed and commensurate with the going rate for such services in the locale. (See Bylaws 13.12.1.7.1 and
    13.12.1.7.1.1.) (Adopted: 4/29/04 effective 8/1/04, Revised: 1/19/13 effective 8/1/13, 1/22/20)
    13.2.4.2 After Completion of Senior Year. An institution may arrange for employment or employ a prospective
    student-athlete and sport-specific staff members may be involved with the hiring or supervision of the prospective student-
    athlete, provided the employment does not begin prior to the completion of the prospective student-athlete's senior year in
    high school. (See Bylaws 13.12.1.7.1 and 13.12.1.7.1.1.) (Revised: 1/19/13 effective 8/1/13, 1/22/20)
         13.2.4.2.1 Two-Year College Prospective Student-Athletes. Once a prospective student-athlete has enrolled
         as a full-time student in a two-year college, the arrangement of employment by an institution for such a prospective
         student-athlete shall be permitted, provided the employment does not begin prior to the time period in which the
         prospective student-athlete has officially withdrawn from or has completed requirements for graduation at the two-year
         college. (See Bylaws 13.12.1.7.1 and 13.12.1.7.1.1.) (Adopted: 1/12/99, Revised: 1/19/13 effective 8/1/13)
    13.2.4.3 Transportation to Summer Job. An institution or its representatives shall not provide a prospective student-
    athlete free transportation to and from a summer job unless it is the employer's established policy to transport all employees
    to and from the job site.
13.2.5 Loans to Prospective Student-Athletes. Arrangement of educational loans by an institution for a prospective
student-athlete shall be permitted, provided the loan is not made prior to the completion of the prospective student-athlete's
senior year in high school. Such loans must be from a regular lending agency and based on a regular repayment schedule.
13.2.6 Summer Housing for Prospective Student-Athletes. [A] An institution may rent dormitory space to a
prospective student-athlete during the summer months at the regular institutional rate, provided it is the institution's policy to
make such dormitory space available on the same basis to all prospective students. (Revised: 4/28/05 effective 8/1/05, 1/19/13
effective 8/1/13)

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13.2.7 Medical Expenses -- Basketball. [A] In basketball, an institution may finance medical expenses (including
rehabilitation and physical therapy expenses) for a prospective student-athlete who sustains an injury while participating in:
(Adopted: 1/14/12, Revised: 1/19/13, 4/26/17)
 (a) An on-campus evaluation (see Bylaw 13.11.2.1);
 (b) A voluntary summer workout conducted by an institution's strength and conditioning coach who is not a countable coach
     in basketball (see Bylaw 13.11.3.9); or
 (c) Required summer athletic activities (see Bylaw 13.11.3.10).
13.2.8 Medical Expenses -- Football. [FBS/FCS]
    13.2.8.1 Medical Expenses -- Bowl Subdivision Football. [FBS] In bowl subdivision football, an institution may
    finance medical expenses (including rehabilitation and physical therapy expenses) for a prospective student-athlete who
    sustains an injury while participating in voluntary summer conditioning activities that are conducted by an institution's
    strength and conditioning coach who is not a countable coach in football (see Bylaw 13.11.3.8.1) or while participating in
    required summer athletic activities (see Bylaw 13.11.3.11). (Adopted: 4/24/03 effective 5/1/03, Revised: 12/15/06, 10/30/13,
    4/26/17)
    13.2.8.2 Medical Expenses -- Championship Subdivision Football. [FCS] In championship subdivision football,
    an institution may finance medical expenses (including rehabilitation and physical therapy expenses) for a prospective
    student-athlete who sustains an injury while participating in voluntary summer conditioning activities that are conducted
    by an institution’s strength and conditioning coach or a countable coach who is a certified strength and conditioning coach
    (see Bylaw 13.11.3.8.2) or while participating in required summer athletic activities (see Bylaw 13.11.3.11). (Adopted:
    4/24/03 effective 5/1/03, Revised: 4/29/04, 12/15/06, 5/4/09, 10/30/13, 4/26/17)
13.2.9 Medical Expenses -- Sports Other Than Basketball and Football. [A] In sports other than basketball and
football, an institution may finance medical expenses (including rehabilitation and physical therapy expenses) for a prospective
student-athlete who sustains an injury while participating in voluntary summer workouts conducted by an institution's strength
and conditioning coach who is not a countable coach in any sport (see Bylaw 13.11.3.9). (Adopted: 4/28/16, Revised: 4/26/17)
13.2.10 Life-Threatening Injury or Illness. An institution may provide a donation (up to $100) to a charity on behalf of
a prospective student-athlete or may provide other reasonable tokens of support (e.g., flowers, card) in the event of the death of
the prospective student-athlete or the death or life-threatening injury or illness of a member of the prospective student-athlete's
family. (Adopted: 1/12/04, Revised: 4/28/05, 5/26/06, 1/15/11 effective 8/1/11, 4/28/16 effective 8/1/16, 5/1/19)
13.2.11 Benefits for Prospective Student-Athlete's Family Members. An institutional staff member may provide
a benefit to a member of the prospective student-athlete's family, provided: (Revised: 5/11/05)
 (a) The family member has a pre-existing established relationship with the institutional staff member; and
 (b) The benefit provided is consistent with the nature and level of benefits that the institutional staff member has provided to
     the family member prior to the prospective student-athlete starting classes for the ninth grade.
13.4 Recruiting Materials.
13.4.1 Recruiting Materials and Electronic Correspondence -- General Rule. An institution shall not provide
recruiting materials, including general correspondence related to athletics, or send electronic correspondence to an individual (or
the individual's family members) until June 15 at the conclusion of the individual's sophomore year in high school. [D] (Revised:
1/10/91 effective 8/1/91, 1/10/92, 1/11/94 effective 8/1/94, 1/10/95 effective 8/1/95, 1/9/96 effective 7/1/96, 11/1/01 effective 4/1/02,
4/29/04 effective 8/1/04, 1/10/05, 4/28/05 effective 8/1/05, 4/26/07, 4/15/08, 6/13/08, 3/29/10, 10/27/11 effective 6/15/12,
1/18/14, 4/25/18, 5/1/19, 11/17/21)
    13.4.1.1 Exception -- Baseball. In baseball, an institution shall not provide recruiting materials, including general
    correspondence related to athletics, or send electronic correspondence to an individual (or the individual's family members)
    until August 1 at the beginning of the individual's junior year in high school. If an individual attends an educational
    institution that uses a nontraditional academic calendar (e.g., Southern Hemisphere), an institution shall not provide
    recruiting materials, including general correspondence related to athletics, or send electronic correspondence to the
    individual (or the individual's family members) until the opening day of classes of the individual's junior year in high
    school. (Adopted: 4/26/23)
    13.4.1.2 Exception -- Lacrosse and Softball. In lacrosse and softball, an institution shall not provide recruiting
    materials, including general correspondence related to athletics, or send electronic correspondence to an individual (or the
    individual's family members) until September 1 at the beginning of the individual's junior year in high school. If an
    individual attends an educational institution that uses a nontraditional academic calendar (e.g., Southern Hemisphere), an

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   institution shall not provide recruiting materials, including general correspondence related to athletics, or send electronic
   correspondence to the individual (or the individual's family members) until the opening day of classes of the individual's
   junior year in high school. [D] (Revised: 5/1/19, 5/18/22, 4/13/23 effective 8/1/23)
   13.4.1.3 Exception -- Men's Basketball. In men’s basketball, an institution shall not provide recruiting materials,
   including general correspondence related to athletics, to an individual (or the individual's family members) until June 15 at
   the conclusion of the individual's sophomore year in high school. If an individual attends an educational institution that
   uses a nontraditional academic calendar (e.g., Southern Hemisphere), an institution shall not provide recruiting materials,
   including general correspondence related to athletics, to an individual (or the individual's family members) until the day
   after the conclusion of the individual’s sophomore year in high school. [D] (Adopted: 4/28/05 effective 8/1/05, Revised:
   4/15/08, 4/29/10 effective 8/1/10, 5/27/11, 1/18/14, 4/25/18)
   13.4.1.4 Exception -- Women's Basketball. In women's basketball, an institution shall not provide recruiting
   materials, including general correspondence related to athletics, or send electronic correspondence to an individual (or the
   individual's family members) until June 1 at the conclusion of the individual’s sophomore year in high school. If an
   individual attends an educational institution that uses a nontraditional academic calendar (e.g., Southern Hemisphere), an
   institution shall not provide recruiting materials, including general correspondence related to athletics, or send electronic
   correspondence to the individual (or the individual's family members) until the day after the conclusion of the individual’s
   sophomore year in high school. [D] (Adopted: 5/18/22)
   13.4.1.5 Exception -- Men's Ice Hockey. In men's ice hockey, an institution shall not provide recruiting materials,
   including general correspondence related to athletics, to an individual (or the individual's family members) until January 1
   of the individual's sophomore year in high school. [D] (Adopted: 1/18/14, Revised: 4/25/18)
   13.4.1.6 Exception -- Electronic Correspondence to a Prospective Student-Athlete's Coach Who Is the
   Family Member of a Prospective Student-Athlete. Electronic Correspondence may be sent at the institution's
   discretion to a prospective student-athlete's coach who is the family member of a prospective student-athlete. (Adopted:
   4/28/16, Revised: 4/25/18)
   13.4.1.7 Exception -- Electronic Correspondence in Conjunction With an Unofficial Visit. Electronic
   correspondence may be sent to a prospective student-athlete (or those individuals accompanying the prospective student-
   athlete) beginning the day immediately preceding the unofficial visit until the conclusion of the visit. If otherwise
   impermissible correspondence occurs under this exception and a scheduled unofficial visit is canceled due to circumstances
   beyond the control of the prospective student-athlete or the institution (e.g., trip is canceled by the prospective student-
   athlete, inclement weather conditions), such correspondence shall not be considered institutional violations. (Adopted:
   4/26/17 effective 8/1/17, Revised: 1/23/19)
   13.4.1.8 Exception -- Electronic Correspondence Regarding Institutional Camp or Clinic Logistical Issues.
   Electronic correspondence to an individual (or the individual's family members or coach) that relates solely to institutional
   camp or clinic logistical issues (e.g., missing registration information) may be sent at any time, provided the correspondence
   does not contain recruiting language and no solicitation of particular individuals to attend a camp or clinic occurs. [D]
   (Adopted: 9/24/09, Revised: 10/27/11 effective 6/15/12, 1/19/13 effective 8/1/13, 1/18/14 , 1/18/14 effective 8/1/14, 4/28/16 ,
   4/28/16 effective 8/1/16, 4/25/18, 11/17/21)
   13.4.1.9 Responding to Prospective Student-Athlete's Request. Institutional staff members (including athletics
   staff members) may respond to a prospective student-athlete’s letter or electronic correspondence requesting information
   from an institution’s athletics department prior to the permissible date on which an institution may begin to provide
   recruiting materials to a prospective student-athlete, provided the written response does not include information that would
   initiate the recruitment of the prospective student-athlete or information related to the institution’s athletics program (e.g.,
   the reply contains an explanation of current NCAA legislation or a referral to the admissions department). An electronic
   reply must be a permissible form of electronic correspondence. [D] (Revised: 5/26/06, 4/20/11, 1/18/14 effective 8/1/14,
   11/17/21)
   13.4.1.10 Recruiting Materials. As specified below, an institution may provide only the following materials to a
   prospective student-athlete, the prospective student-athlete's family members, coaches or any other individual responsible
   for teaching or directing an activity in which a prospective student-athlete is involved: [D] (Adopted: 4/28/05 effective 8/1/05,
   Revised: 3/8/06, 5/25/06, 12/12/06, 1/8/07 effective 8/1/07, 4/14/08, 4/15/08, 4/24/08 effective 8/1/08, 9/24/09, 4/29/10
   effective 8/1/10, 5/27/11, 1/18/14 effective 8/1/14, 4/25/18, 1/23/19, 11/17/21)
    (a) General Correspondence. There are no restrictions on the design or content of general correspondence and
        attachments, except that the size of the printed material may not exceed 8½ by 11 inches when opened in full. There


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         are no restrictions on the design or content of an envelope used to send general correspondence and attachments,
         except that the size of the envelope may not exceed 9 by 12 inches.
     (b) Camp or Clinic Information. Camp or clinic information may be provided at any time. (See Bylaw 12.5.1.6.)
     (c) Questionnaires. An institution may provide questionnaires at any time.
     (d) Nonathletics Institutional Publications. An institution may provide nonathletics institutional publications (e.g.,
         official academic, admissions and student-services publications published by the institution) available to all students at
         any time.
     (e) Educational Material Published by the NCAA. Educational material published by the NCAA (e.g., NCAA Guide
         for the College-Bound Student-Athlete) may be provided at any time.
     (f) Preenrollment Information. An institution may provide any necessary preenrollment information regarding
         orientation, conditioning, academics and practice activities to a prospective student-athlete, provided prospective
         student-athlete has signed a National Letter of Intent or institutional financial aid agreement, or has been officially
         accepted for enrollment.
     (g) Video/Audio Materials. An institution may provide video or audio materials to a prospective student-athlete.
13.4.2 Conference Restrictions. A member conference is precluded from providing recruiting materials to prospective
student-athletes. [D] (Revised: 1/11/94 effective 8/1/94, 4/24/03 effective 8/1/03, 3/26/04)
13.5 Transportation.
13.5.1 General Restrictions. An institution may not provide transportation to a prospective student-athlete other than on
an official paid visit or, on an unofficial visit, to view a practice or competition site in the prospective student-athlete's sport and
other institutional facilities and to attend a home athletics contest at any local facility when accompanied by an institutional staff
member. During the official paid visit, transportation may be provided to view a practice or competition site and other
institutional facilities located outside a 30-mile radius of the institution's campus. [R] (Revised: 1/11/89, 10/28/97, 11/1/00,
1/9/06 effective 8/1/06, 4/27/06)
    13.5.1.1 Nonpermissible Transportation. If nonpermissible transportation is provided, the institution may not avoid
    a violation of this rule by receiving reimbursement for mileage from the prospective student-athlete.
13.5.2 Transportation on Official Paid Visit.
    13.5.2.1 General Restrictions. An institution may pay a prospective student-athlete's actual transportation costs for an
    official visit to its campus from any location, provided the prospective student-athlete returns to the original point of
    departure or travels to the prospective student-athlete's home, educational institution or site of competition. Use of a
    limousine or helicopter for such transportation is prohibited. [R] (Revised: 1/9/06, 5/26/06, 4/25/18)
    13.5.2.2 Automobile Transportation. If a prospective student-athlete travels by automobile on an official paid visit,
    the institution may pay round-trip expenses to the individual incurring the expense (except the prospective student-athlete's
    coach as set forth in Bylaw 13.8.1.2) at the same mileage rate it allows its own personnel. Any automobile may be used by
    the prospective student-athlete, provided the automobile is not owned or operated or its use arranged by the institution or
    any representative of its athletics interests. [R] (Revised: 1/11/94)
         13.5.2.2.1 Use of Automobile. The institution or representatives of its athletics interests shall not provide an
         automobile for use during the official visit by the prospective student-athlete or by a student host. [R]
         13.5.2.2.2 Coach Accompanying Prospective Student-Athlete and Family Members. Except as permitted
         in Bylaw 13.5.2.4, a coaching staff member shall not accompany a prospective student-athlete in the coach's sport to or
         from an official visit unless the prospective student-athlete travels only by automobile. If such transportation is used,
         the official visit shall begin when the coach begins transporting the prospective student-athlete and the prospective
         student-athlete’s family members to campus. A coach who makes an in-person, off-campus contact (any dialogue in
         excess of an exchange of a greeting) with the prospective student-athlete (or the prospective student-athlete’s family
         members) during a permissible contact period prior to transporting the prospective student-athlete and the prospective
         student-athlete’s family members to campus for an official visit is charged with a countable contact. On completion of
         the visit, the coach shall terminate contact with the prospective student-athlete and the prospective student-athlete’s
         family members immediately. (Adopted: 1/10/95 effective 8/1/95, Revised: 1/14/97 effective 8/1/97, 11/12/97, 1/14/08
         effective 8/1/08, 4/25/18, 4/26/23 effective 7/1/23)
              13.5.2.2.2.1 Football Championship Subdivision Exception. [FCS] In championship subdivision
              football, any member of an institution's athletics department who has been certified pursuant to a conference
              certification program may provide such transportation for a prospective student-athlete between the prospective
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              student-athlete's home or educational institution and the member institution. (Adopted: 1/10/91 effective 8/1/91,
              Revised: 12/15/06, 1/18/23 effective 7/1/23)
         13.5.2.2.3 Local Transportation. An institution transporting a prospective student-athlete (and those
         accompanying the prospective student-athlete) during the official visit may use institutional vehicles normally used to
         transport prospective students while visiting the campus, institutional vehicles normally used to transport the
         institution's athletics teams, or the personal vehicle of an institutional staff member or student host. (Adopted: 8/5/04,
         Revised: 4/25/18, 4/26/23 effective 7/1/23)
    13.5.2.3 Air Transportation. An institution providing air transportation to a prospective student-athlete and the
    prospective student-athlete's family members to and from an official campus visit must use commercial transportation at
    coach-class airfare. Coaching staff members shall not accompany a prospective student-athlete to or from an official visit
    when air travel is used, except as permitted in Bylaw 13.5.2.4. (Revised: 1/10/95 effective 8/1/95, 8/5/04, 4/26/23 effective
    7/1/23)
         13.5.2.3.1 Ticket Discounts. An institution may not arrange payment of the airline ticket to allow a prospective
         student-athlete (or the prospective student-athlete's family members or friends ) to take advantage of ticket bonuses,
         rebates, refunds, upgrades or other benefits connected with the purchase of the ticket. (Revised: 8/5/04, 4/25/18)
    13.5.2.4 From Airport or Bus or Train Station. During the official visit, any member of an institution's athletics
    department staff may provide ground transportation for a prospective student-athlete and the prospective student-athlete's
    family members between the campus and any bus or train station or airport. If a prospective student-athlete is transported
    by a member of the institution's athletics department from an airport or bus or train station other than the major airport or
    bus or train station nearest the institution, the official visit begins with the initiation of the ground transportation by the
    member of the institution's athletics department staff. (Revised: 4/28/05, 7/27/07, 4/26/23 effective 7/1/23)
    13.5.2.5 Visiting Two or More Institutions. Two or more institutions to which a prospective student-athlete is
    making official visits on the same trip may provide travel expenses, provided there is no duplication of expenses, only actual
    and necessary expenses are provided, and the two-night limitation is observed at each institution. (Revised: 4/26/23 effective
    7/1/23)
    13.5.2.6 Transportation of Prospective Student-Athlete's Family Members or Friends. An institution may
    provide the actual round-trip cost for up to two family members to accompany a prospective student-athlete on an official
    visit. Additionally, the institution may: (Revised: 1/11/94, 5/12/05, 7/27/07, 1/14/08 effective 8/1/08, 8/7/14, 1/16/19,
    4/26/23 effective 7/1/23)
     (a) Provide automobile-mileage reimbursement to a prospective student-athlete on an official visit, even if additional family
         members or friends accompany the prospective student-athlete;
     (b) Permit additional family members of a prospective student-athlete to ride in an automobile driven by a coaching staff
         member for the purpose of providing ground transportation to a prospective student-athlete as part of an official visit;
         and
     (c) Provide transportation between its campus and any bus or train station or airport for additional family members of a
         prospective student-athlete making an official visit.
13.5.3 Transportation on Unofficial Visit. During an unofficial recruiting visit, the institution may provide the
prospective student-athlete with transportation to view practice and competition sites in the prospective student-athlete's sport
and other institutional facilities and to attend a home athletics contest at any local facility. The institution may use an
institutional vehicle normally used to transport prospective students visiting campus, an institutional vehicle normally used to
transport the institution's athletics team or the personal vehicle of an institutional staff member. An institutional staff member
must accompany the prospective student-athlete during such transportation. Payment of any other transportation expenses, shall
be considered a violation. [R] (Revised: 1/11/89, 4/27/00, 3/10/04, 4/28/05, 1/9/06 effective 8/1/06, 4/27/06, 4/25/18)
13.5.4 Transportation Prior to Initial Enrollment. [A] An institution or its representatives shall not furnish a
prospective student-athlete, directly or indirectly, with transportation to the campus for enrollment. However, it is permissible
for any member of the institution's staff to provide: (Revised: 4/26/01 effective 8/1/01, 1/9/06, 10/17/13, 8/7/14)
 (a) Transportation from the nearest bus or train station or major airport to the campus on the occasion of the prospective
     student-athlete's initial arrival at the institution to attend classes for a regular term or to participate in preseason practice, or
     for initial enrollment for the institution's summer term for a prospective student-athlete who has been awarded athletically
     related financial aid for the prospective student-athlete’s initial summer term; and
 (b) Transportation from and to the nearest bus or train station or major airport on the occasion of the prospective student-
     athlete's arrival and departure from the institution to attend the institution's required new-student orientation, provided the
     prospective student-athlete has been accepted for admission to the institution.
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13.6 Official (Paid) Visit.
13.6.1 Institutional Policies. An institution must have written departmental policies related to official visits that apply to
prospective student-athletes, student hosts, coaches and other athletics administrators that are approved by the institution's
president or chancellor. The institution is responsible for the development and enforcement of appropriate policies and penalties
regarding specified areas, as identified by the Board of Directors. The institution shall have an outside entity (e.g., conference
office) evaluate its policies related to official visits once every four years. The institution may be held accountable through the
NCAA infractions process for activities that clearly demonstrate a disregard for its stated policies. (Adopted: 8/5/04, Revised:
3/8/06, 7/31/14, 1/23/19)
13.6.2 Limitations on Official Visits.
    13.6.2.1 First Opportunity to Visit.
         13.6.2.1.1 Sports Other Than Baseball, Basketball, Football, Lacrosse and Softball. In sports other than
         baseball, basketball, football, lacrosse and softball, a prospective student-athlete may not be provided an expense-paid
         visit earlier than August 1 of the prospective student-athlete's junior year in high school. [D] (Revised: 10/28/11 effective
         8/1/12, 11/1/01 effective 4/1/02, 8/5/04, 4/28/05, 4/26/17 effective 8/1/17, 4/25/18 effective 8/1/18, 5/11/18, 5/1/19)
         13.6.2.1.2 Baseball, Lacrosse and Softball. In baseball, lacrosse, and softball, a prospective student-athlete may
         not be provided an expense-paid visit earlier than September 1 of the prospective student-athlete's junior year in high
         school. If a prospective student-athlete attends an educational institution that uses a nontraditional academic calendar
         (e.g., Southern Hemisphere), the prospective student-athlete may not be provided an expense-paid visit earlier than the
         opening day of classes of the prospective student-athlete's junior year in high school. [D] (Revised: 5/1/19, 1/22/20)
         13.6.2.1.3 Men's Basketball. In men's basketball, a prospective student-athlete may not be provided an expense-
         paid visit earlier than August 1 at the beginning of the prospective student-athlete's junior year in high school. If a
         prospective student-athlete attends an educational institution that uses a nontraditional academic calendar (e.g.,
         Southern Hemisphere), the prospective student-athlete may not be provided an expense-paid visit earlier than the
         opening day of classes of the prospective student-athlete's junior year in high school. [D] (Adopted: 11/1/01 effective
         4/1/02, Revised: 4/3/02, 8/5/04, 4/28/05, 5/12/05, 10/27/11 effective 8/1/12, 1/19/13 effective 8/1/13, 4/26/17 effective
         8/1/17, 5/11/18, 8/8/18 effective 8/15/18, 1/22/20)
         13.6.2.1.4 Women's Basketball. In women's basketball, a prospective student-athlete may not be provided an
         expense-paid visit earlier than January 1 of the prospective student-athlete's junior year in high school. (Revised:
         5/11/18, 1/20/22 effective 8/1/22)
              13.6.2.1.4.1 July Evaluation Periods -- Women's Basketball. In women's basketball, an institution may
              not provide an expense-paid visit to a prospective student-athlete during the July evaluation periods (see Bylaw
              13.1.5.5.2), unless the prospective student-athlete has signed a National Letter of Intent or the institution's
              written offer of admission and/or financial aid or the institution has received a financial deposit in response to its
              offer of admission. (Adopted: 4/28/05 effective 8/1/05, Revised: 6/28/06, 1/19/13 effective 8/1/13, 5/11/18)
         13.6.2.1.5 Football. [FBS/FCS] In football, an institution may provide a prospective student-athlete an expense-
         paid visit beginning April 1 of a prospective student-athlete’s junior year through the Sunday before the last
         Wednesday in June. However, an institution shall not provide a prospective student-athlete an expense-paid visit in
         conjunction with the prospective student-athlete's participation in an institutional camp or clinic. Thereafter, an
         institution may provide an expense-paid visit beginning September 1 of the prospective student-athlete's senior year in
         high school. [D] (Adopted: 4/26/17 effective 8/1/17, Revised: 5/11/18, 1/23/19 effective 8/1/19)
              13.6.2.1.5.1 Exception -- Home Football Contest. [FBS/FCS] In August of a prospective student-athlete's
              senior year in high school, an institution may provide an expense-paid visit to the prospective student-athlete 48
              hours before through 48 hours after an institution's home contest that occurs on the institution's campus or in a
              facility normally used for its home contests. (Adopted: 1/23/19 effective 8/1/19)
         13.6.2.1.6 Nonqualifier or Academic Redshirt in First Year. A prospective student-athlete who is not a
         qualifier and who is enrolled in the prospective student-athlete's first year of full-time enrollment (first two semester or
         three quarters) at a two-year college may not be provided an expense-paid visit to a member institution. Such a
         prospective student-athlete may be provided an expense-paid visit once the individual has completed an academic year
         (two semesters or three quarters) of full-time enrollment at a two-year college. (Revised: 8/1/12 effective 8/1/16, 4/16/15,
         5/11/18, 4/26/23 effective 7/1/23)
    13.6.2.2 Number of Official Visits -- Institutional Limitations. An institution may finance one visit to its campus
    for a prospective student-athlete before October 15 following completion of high school and one visit beginning October

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   15 following completion of high school, including a visit related to a possible transfer. [D] (Revised: 1/19/91 effective 8/1/91,
   1/11/94 effective 8/1/94, 11/12/97, 1/12/99 effective 8/1/99, 10/29/09, 4/28/16 effetive 8/1/16, 4/26/17 effective 8/1/17,
   5/11/18)
         13.6.2.2.1 Exception -- Additional Visit After Departure of Head Coach. After a new head coach is hired, an
         institution may finance one additional visit for a prospective student-athlete who previously received an official visit to
         the institution. Visits provided pursuant to this exception shall also be excluded from the limitations on the number of
         official visits set forth in Bylaws 13.6.2.2.2, 13.6.2.2.3, 13.6.2.2.4, 13.6.2.2.5 and 13.6.2.2.7. [D] (Adopted: 4/25/18,
         Revised: 5/11/18, 4/26/23 effective 7/1/23)
         13.6.2.2.2 Baseball. In baseball, an institution may provide 25 official visits an annual basis (August 1 through July
         31). A national service academy may provide 31 official visits, 25 of which may be provided prior to the initial signing
         date of the National Letter of Intent. The institution must maintain a written record of the visits provided. [D]
         (Revised: 5/11/18, 5/16/18, 7/9/18)
         13.6.2.2.3 Men's Basketball. In men's basketball, an institution may provide up to 28 official visits in a rolling
         two-year period (each year measured August 1 through July 31). A national service academy may provide up to 34
         official visits in a rolling two-year period; however, the institution shall not exceed 28 official visits prior to the initial
         date of the regular signing period of the National Letter of Intent of the first year in each rolling two-year period. The
         institution must maintain a written record of the visits provided. [D] (Adopted: 4/28/16 effective 8/1/16, Revised:
         4/26/17 effective 8/1/17, 5/11/18, 5/16/18, 8/8/18 effective 8/15/18, 5/21/21, 5/17/23 effective 7/1/23 a prospective
         student-athlete who received an official visit before 7/1/23 as a junior may receive another official visit after 7/1/23 and
         before October 15 following completion of high school)
         13.6.2.2.4 Women's Basketball. In women's basketball, an institution may provide official visits to up to 24
         prospective student-athletes in a rolling two-year period. A national service academy may provide official visits to up to
         30 prospective student-athletes in a rolling two-year period (each year measured August 1 through July 31); however,
         the institution shall not exceed 24 official visits prior to the initial National Letter of Intent signing date of the first
         year in each rolling two-year period. The institution must maintain a written record of the visits provided. [D]
         (Adopted: 4/28/16 effective 8/1/16, Revised: 4/26/17 effective 8/1/17, 5/11/18, 5/16/18, 8/8/18 effective 8/15/18)
         13.6.2.2.5 Football. [FBS/FCS] In football, an institution may provide 56 official visits on an annual basis ( April 1
         through March 31). The institution must maintain a written record of the visits provided. [D] (Revised: 5/11/18,
         5/16/18, 1/22/20)
             13.6.2.2.5.1 Unused Visits -- Football. [FBS/FCS] In football, an institution may retain a maximum of six
             unused visits from the previous year. Such visits may be used only during the following year. [D] (Adopted: 1/14/97
             effective 8/1/97, Revised: 11/1/01 effective 8/1/02, 12/15/06, 10/29/09, 5/11/18, 1/22/20)
             13.6.2.2.5.2 National Service Academies and Institutions That Do Not Subscribe to the National
             Letter of Intent. [FBS/FCS] A national service academy or an institution that does not subscribe to the National
             Letter of Intent may provide 70 official visits, 56 of which may be provided prior to the initial date of the regular
             signing period of the National Letter of Intent. An official visit provided to a senior prospective student-athlete
             April 1 through July 31 may count toward the previous year's limit. (Adopted: 1/22/20)
         13.6.2.2.6 Multiple-Sport Prospective Student-Athletes. A prospective student-athlete in football and one or
         more other sports (including basketball or baseball) shall be counted against the visit limitation in football. A
         prospective student-athlete in basketball and one or more other sports (other than football) shall be counted against the
         visit limitation in basketball. A prospective student-athlete in baseball and one or more other sports (other than football
         or basketball) shall be counted against the visit limitation in baseball. [D] (Revised: 1/12/99 effective 8/1/99, 10/29/09,
         5/11/18)
         13.6.2.2.7 Head Coaching Change. In baseball, basketball and football, an institution may provide additional
         official visits (up to 25 percent of the limitation for the particular sport) after a new head coach is hired, provided the
         previous head coach used 75 percent or more of the official visits permitted for that academic year. [D] (Adopted:
         1/11/94 effective 8/1/94, Revised: 1/12/99 effective 8/1/99, 4/29/04, 11/1/07 effective 8/1/08, 10/29/09, 8/21/12, 5/11/18)
   13.6.2.3 Visit to Off-Campus Contest. An institution may not provide a prospective student-athlete with
   transportation to attend an off-campus contest outside a 30-mile radius of the member institution's main campus. [D]
   (Revised: 4/24/03, 8/5/04, 1/9/06 effective 8/1/06, 11/1/07 effective 8/1/08, 8/21/12)
   13.6.2.4 Visit While Competing in Open Event. A host institution may pay the expenses of a recruited prospective
   student-athlete to participate in an established "open" event, provided the expenses of all other competitors in that event are
   paid; the expenses are not paid from athletics department (nonmeet) funds; and the expenses of the prospective student-
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    athlete are limited to actual transportation, housing and food. This trip shall be considered the one paid visit to the
    institution's campus with the prospective student-athlete remaining not more than two nights. (Revised: 4/26/23 effective
    7/1/23, 7/31/23)
    13.6.2.5 NCAA College Basketball Academies -- Basketball. In basketball, a high school or preparatory school
    prospective student-athlete may not be provided an expense-paid visit during the NCAA College Basketball Academy.
    (Adopted: 1/14/21 a contract signed before October 29, 2020 may be honored, Revised: 10/5/22)
13.6.3 Requirements for Official Visit. The following requirements must be met before an institution may provide an
official visit to a prospective student-athlete: [D] (Adopted: 4/26/07 effective 8/1/07, Revised: 5/9/07, 11/1/07 effective 8/1/08,
8/7/14, 2/10/16)
 (a) A prospective student-athlete must present the institution with a high school (or college) academic transcript;
 (b) A high school or preparatory school prospective student-athlete must register with the NCAA Eligibility Center; and
 (c) A high school or preparatory school prospective student-athlete must be placed on the institution's institutional request list
     (IRL) with the NCAA Eligibility Center.
    13.6.3.1 NCAA Eligibility Center. A prospective student-athlete's fulfillment of these academic requirements may be
    certified by the NCAA Eligibility Center approved by the Board of Governors. (Adopted: 4/26/07 effective 8/1/07, Revised:
    10/30/14)
13.6.4 Length of Official Visit. An institution shall not provide more than two consecutive nights of lodging to a
prospective student-athlete in conjunction with an official visit. A prospective student-athlete may remain in the locale in which
the institution is located after the visit for reasons unrelated to the official visit, provided that at the completion of the visit, the
individual departs the institution's campus, and the institution does not pay any expenses thereafter, including the cost of return
transportation to the prospective student-athlete's home. Additionally, if the prospective student-athlete does not return home
prior to attending the institution, the one-way transportation to the campus would be considered a violation of Bylaw 13.5.4,
which prohibits transportation to enroll. (Revised: 1/9/96 effective 8/1/96, 8/5/04, 4/26/23 effective 7/1/23)
    13.6.4.1 Transportation. The prospective student-athlete's transportation to and from the campus must be without
    delay for personal reasons or entertainment purposes. The institution may not pay any expenses for entertainment (other
    than the actual and reasonable cost of meals) in conjunction with the prospective student-athlete's transportation. At the
    completion of the visit, the prospective student-athlete must depart the institution's campus immediately; otherwise, the
    institution may not pay any expenses incurred by the prospective student-athlete upon departure from the institution's
    campus, including the cost of the prospective student-athlete's transportation home. (Revised: 9/24/09, 4/26/23 effective
    7/1/23)
         13.6.4.1.1 Coach Accompanying Prospective Student-Athlete. If a coach accompanies a prospective student-
         athlete on an official visit by automobile per Bylaw 13.5.2.2.2, the visit shall begin when the coach begins transporting
         the prospective student-athlete to campus. A coach who makes an in-person, off-campus contact (any dialogue in
         excess of an exchange of a greeting) with the prospective student-athlete or the prospective student-athlete's family
         members during a permissible contact period prior to transporting the prospective student-athlete to campus for an
         official visit is charged with a countable contact. Upon completion of the visit, the coach shall terminate contact with
         the prospective student-athlete and the prospective student-athlete's family members immediately. (Adopted: 1/14/97
         effective 8/1/97, Revised: 4/25/18, 4/26/23 effective 7/1/23)
         13.6.4.1.2 Lodging in the Locale of the Institution Before Visit. A prospective student-athlete and up to four
         family members accompanying the prospective student-athlete may receive lodging in the locale of the institution
         without beginning the visit if the prospective student-athlete arrives in the locale too late to begin the official visit that
         day. (Adopted: 9/24/09, Revised: 10/27/11 effective 8/1/12, 1/19/13 effective 8/1/13, 1/15/16 effective 8/1/16, 4/26/23
         effective 7/1/23)
         13.6.4.1.3 Meals and Lodging While in Transit. An institution may pay the actual costs for meals and lodging
         for a prospective student-athlete and up to two family members accompanying the prospective student-athlete incurred
         while traveling to and from campus on the official visit. (Revised: 10/27/11 effective 8/1/12, 1/19/13 effective 8/1/13,
         4/25/18, 1/16/19, 4/26/23 effective 7/1/23)
    13.6.4.2 Exception for Extenuating Circumstances. An institution may provide a prospective student-athlete with
    additional expenses in conjunction with an official visit for reasons beyond the control of the prospective student-athlete
    and the institution (e.g., inclement weather conditions, natural disaster, flight delays or cancellations, airport security
    activity). (Adopted: 4/26/07 effective 8/1/07, Revised: 1/23/19, 4/26/23 effective 7/1/23)
13.6.5 Transportation on Official Visit. For regulations relating to transportation on the official visit, see Bylaw 13.5.2.

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13.6.6 Accommodations on Official Visit. A prospective student-athlete on an official visit and up to four family
members accompanying the prospective student-athlete shall be provided lodging and meals as lodging and meals are normally
provided to regular students. Local commercial facilities may be used but at a scale comparable to that of normal student life and
only within a 30-mile radius of the institution's campus. Lodging may not include special accessories (e.g., Jacuzzis, luxury suite)
that are not available generally to all guests residing at the establishment. (See Bylaw 13.6.7.8 for restrictions on meals provided
to prospective student-athletes on official visits.) [R] (Revised: 8/5/04, 10/29/15, 4/26/23 effective 7/1/23)
    13.6.6.1 Lodging for Additional Persons. Additional persons (e.g., additional family members, friends) may stay in
    the same room as the prospective student-athlete or other family members accompanying the prospective student-athlete,
    but the institution shall not pay the costs resulting from the additional occupants. The additional occupants shall not be
    prospective student-athletes being recruited by the institution. (Adopted: 1/15/16 effective 8/1/16, Revised: 4/26/23 effective
    7/1/23)
13.6.7 Entertainment/Tickets on Official Visit. [A]
    13.6.7.1 General Restrictions. [A] An institution may provide entertainment, pursuant to Bylaw 13.6.7.6, on the
    official visit for a prospective student-athlete and up to four family members accompanying the prospective student-athlete
    within a 30-mile radius of the institution's main campus. Entertainment and contact by representatives of the institution's
    athletics interests during the official visit are prohibited. It is not permissible to entertain friends (including dates) of a
    prospective student-athlete at any time at any site. [R] (Revised: 10/28/97, 11/1/00, 4/23/14, 1/15/16 effective 8/1/16)
    13.6.7.2 Complimentary Admissions. During the official visit, a maximum of five complimentary admissions to a
    home athletics event at any facility within a 30-mile radius of the institution's main campus in which the institution's
    intercollegiate team practices or competes may be provided to a prospective student-athlete. Such complimentary
    admissions are for the exclusive use of the prospective student-athlete and those persons accompanying the prospective
    student-athlete on the visit and may be issued through digital ticketing or a pass list on an individual-game basis. Such
    admissions may provide seating only in the general seating area of the facility used for conducting the event. Providing
    seating during the conduct of the event (including intermission) for the prospective student-athlete or those persons
    accompanying the prospective student-athlete in the facility's press box, special seating box or bench area is specifically
    prohibited. (Revised: 1/10/90 effective 8/1/90, 1/11/94, 10/28/97, 11/1/00, 4/26/01 effective 8/1/01, 4/24/03, 1/9/06, 4/24/08
    effective 8/1/08, 1/15/16 effective 8/1/16, 1/16/19 effective 8/1/19, 4/15/21, 4/26/23 effective 7/1/23)
         13.6.7.2.1 Conference Tournaments. A member institution may not provide complimentary admissions to a
         prospective student-athlete for a postseason conference tournament. The prospective student-athlete may purchase
         tickets only in the same manner as any other member of the general public. [R] (Revised: 1/10/91 effective 8/1/91,
         1/10/92, 4/28/08 effective 8/1/08)
         13.6.7.2.2 NCAA Championships or Other Postseason Contests. The provision of complimentary or
         reduced-cost admissions to prospective student-athletes for an NCAA championship (all rounds) or other postseason
         contests (e.g., bowl game, NAIA or NIT championship) constitutes excessive entertainment and is prohibited. The
         prospective student-athlete may purchase these tickets only in the same manner as any other member of the general
         public. [R] (Revised: 1/10/92, 4/28/08 effective 8/1/08)
         13.6.7.2.3 Purchase of Game Tickets in Same Locale. An institution may reserve tickets, only for the use of
         additional individuals accompanying a prospective student-athlete during an official visit and for seat locations adjacent
         to the complimentary seats being provided to the prospective student-athlete. Such tickets must be purchased at face
         value. [R] (Adopted: 1/10/92, Revised: 4/28/08 effective 8/1/08, 4/25/18)
         13.6.7.2.4 Exception. A member institution may provide complimentary admissions to a prospective student-
         athlete for a home athletics event that has been relocated outside a 30-mile radius of the institution's main campus due
         to the home facility's inoperable conditions (e.g., construction or facility repairs), which result in the facility being
         unavailable for safe use. (Adopted: 4/28/05)
    13.6.7.3 Parking. An institution may arrange special on-campus parking for prospective student-athletes during an
    official visit. (Adopted: 1/10/92)
    13.6.7.4 Cash to Prospective Student-Athlete. The institution or representatives of its athletics interests shall not
    provide cash to a prospective student-athlete for entertainment purposes.
    13.6.7.5 Entertainment Expenses. [A] An institution may cover the actual costs (up to $60 per person) of entertaining
    a prospective student-athlete and up to four family members accompanying the prospective student-athlete during an
    official visit, which excludes the cost of meals and admission to campus athletics events. Additional individuals
    accompanying the prospective student-athlete on the official visit may pay the actual cost of entertainment arranged by the

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    institution. The entertainment allowance may not be used for the purchase of souvenirs, such as T-shirts or other
    institutional mementos. (Adopted: 4/26/23 effective 7/1/23)
    13.6.7.6 Student Host. [A] A student host must be either a current student-athlete or a student designated in a manner
    consistent with the institution's policy for providing campus visits or tours to prospective students in general. [R] (Revised:
    1/10/90 effective 8/1/90, 1/10/92, 1/9/96 effective 8/1/96, 10/28/97, 11/1/00, 8/5/04, 5/12/05, 4/27/06, 2/23/09, 4/26/12
    effective 8/1/12, 6/16/15, 1/15/16 effective 8/1/16, 1/19/18 effective 8/1/18, 4/26/23 effective 7/1/23)
         13.6.7.6.1 Nonqualifier and Academic Redshirt Prohibition. The student host must be enrolled in the
         institution being visited by a prospective student-athlete. A nonqualifier (see Bylaw 14.02.10.3) or an academic redshirt
         (see Bylaw 14.02.10.2) may not serve as a student host during the student-athlete's first academic year of residence. [D]
         (Revised: 3/19/97, 4/24/03 effective 8/1/03, 3/26/04, 8/2/12 effective 8/1/16)
         13.6.7.6.2 Use of Automobile. The institution or representatives of its athletics interests shall not provide an
         automobile for use by the prospective student-athlete or the student host. [R] (Revised: 4/24/03 effective 8/1/03)
    13.6.7.7 Student Support Group Assisting in Recruiting. An institution may not provide a free meal or
    entertainment to a member of an institutional student support group that assists in the recruitment of a prospective
    student-athlete during an official visit unless the student is designated as the one student host for that prospective student-
    athlete. Any additional arrangement between the institution and members of such a support group (e.g., compensation,
    providing a uniform) is left to the discretion of the institution. (Adopted: 1/16/93)
    13.6.7.8 Meals on Official Visit. [A] The cost of actual meals, not to exceed three per day, on the official visit for a
    prospective student-athlete and up to four family members accompanying the prospective student-athlete need not be
    included in the entertainment expense. Meals must be comparable to those provided to student-athletes during the
    academic year. An institution may provide, at its discretion, reasonable snacks (e.g., pizza, hamburger) to the prospective
    student-athlete and up to four family members in addition to the three meals. [R] (Adopted: 1/10/92, Revised: 1/11/94
    effective 8/1/94, 1/10/95 effective 8/1/95, 8/5/04, 1/9/06, 4/26/12 effective 8/1/12, 1/15/16 effective 8/1/16, 1/19/18, 4/26/23
    effective 7/1/23)
         13.6.7.8.1 Entertainment at Staff Member's Home. [A] A luncheon, dinner or brunch at the home of an
         institutional staff member (e.g., the athletics director, a coach, a faculty member or the institution’s president) may be
         held for a prospective student-athlete on an official visit, provided the entertainment is on a scale comparable to that of
         normal student life, is not excessive in nature and occurs on only one occasion. [R] (Revised: 1/9/96)
    13.6.7.9 Normal Retail Cost. [A] If a boat, snowmobile, recreational vehicle or similar recreational equipment
    (including those provided by an institutional staff member or a representative of the institution's athletics interests) is used
    to entertain a prospective student-athlete or the prospective student-athlete's family members, the normal retail cost of the
    use of such equipment shall be assessed against the $60 per person entertainment figure; further, if such normal retail costs
    exceeds the $60 per person entertainment allowance, such entertainment may not be provided. [R] (Adopted: 1/10/92,
    Revised: 1/9/96 effective 8/1/96, 4/24/03 effective 8/1/03, 4/17/12 effective 8/1/12, 1/19/18 effective 8/1/18, 1/16/19, 4/26/23
    effective 7/1/23)
    13.6.7.10 Activities During Official Visit. An institution may not arrange miscellaneous, personalized recruiting aids
    (e.g., personalized jerseys, personalized audio/video scoreboard presentations) and may not permit a prospective student-
    athlete to engage in any game-day simulations (e.g., running onto the field with the team during pregame introductions)
    during an official visit. Personalized recruiting aids include any decorative items and special additions to any location
    outside of athletics facilities the prospective student-athlete will visit (e.g., hotel room, dorm room, student union)
    regardless of whether the items include the prospective student-athlete's name or picture. An institution may decorate
    common areas in athletics facilities (e.g., lobby, coach's office, suite in arena) for an official visit, provided the decorations
    are not personalized and the common areas are not accessible or visible to the general public while decorated. (Adopted:
    8/5/04, Revised: 5/14/05, 4/25/18 effective 8/1/18)
    13.6.7.11 Professional Tryout or Workout Activities. During an official visit, a prospective student-athlete may not
    attend events in which professional tryout or workout activities occur. (See Bylaw 13.7.3.7.) (Adopted: 1/8/07)
13.6.8 Visit Unrelated to Athletics Recruitment. During a visit to campus for reasons unrelated to athletics
recruitment (e.g., admissions weekend) and for which expenses are provided by a department other than athletics, an institution
may arrange a meeting between a prospective student-athlete who is admitted to the institution and the institution's coaching
staff without such an arrangement constituting an official visit. (Adopted: 1/22/20)
13.6.9 Notice of Student-Athlete Time Demands Expectations. The NCAA Eligibility Center shall provide
prospective student-athletes with notice of general time demands expectations related to being a student-athlete. An institution,

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in conjunction with an official visit, may provide additional general time demands expectations and specific expectations
applicable to the sport or sports in which the prospective student-athlete is being recruited. (Adopted: 1/19/17 effective 8/1/17)
13.7 Unofficial (Nonpaid) Visit.
13.7.1 First Opportunity to Visit.
    13.7.1.1 Sports Other Than Baseball, Basketball, Football, Men's Ice Hockey, Lacrosse and Softball. In
    sports other than baseball, basketball, football, men's ice hockey, lacrosse and softball, an unofficial visit with athletics
    department involvement (e.g., contact with athletics department staff, athletics-specific tour, complimentary admission)
    shall not occur with an individual (or the individual's family members) before August 1 at the beginning of the individual's
    junior year in high school. (Adopted: 4/25/18, Revised: 8/8/18 effective 8/15/18, 5/1/19)
    13.7.1.2 Baseball, Lacrosse and Softball. In baseball, lacrosse and softball, an unofficial visit with athletics
    department involvement (e.g., contact with athletics department staff, athletics-specific tour, complimentary admission)
    shall not occur with an individual (or the individual's family members) before September 1 at the beginning of the
    individual's junior year in high school. If an individual attends an educational institution that uses a nontraditional
    academic calendar (e.g., Southern Hemisphere), an unofficial visit with athletics department involvement (e.g., contact with
    athletics department staff, athletics-specific tour, complimentary admission) shall not occur earlier than the opening day of
    classes of the individual's junior year in high school. (Revised: 5/1/19, 1/22/20)
    13.7.1.3 Men's Basketball. In men's basketball, an unofficial visit with athletics department involvement (e.g., contact
    with athletics department staff, athletics-specific tour, complimentary admission) shall not occur with an individual (or the
    individual's family members) before August 1 at the beginning of the individual's sophomore year in high school. If an
    individual attends an educational institution that uses a nontraditional academic calendar (e.g., Southern Hemisphere), an
    unofficial visit with athletics department involvement (e.g., contact with athletics department staff, athletics-specific tour,
    complimentary admission) shall not occur earlier than opening day of classes of the individual's sophomore year in high
    school. (Adopted: 8/8/18 effective 8/15/18, Revised: 1/22/20)
    13.7.1.4 Women's Basketball and Football. In women's basketball and football, an unofficial visit with athletics
    department involvement (e.g., contact with athletics department staff, athletics-specific tour, complimentary admission)
    may occur with an individual (or the individual's family members) at any time, subject to recruiting calendar restrictions
    per Bylaw 13.17.3 and 13.7.5, respectively. (Adopted: 7/1/19)
    13.7.1.5 Men's Ice Hockey. In men's ice hockey, an unofficial visit with athletics department involvement (e.g., contact
    with athletics department staff, athletics-specific tour, complimentary admission) shall not occur with an individual (or the
    individual's family members) before January 1 of the individual's sophomore year in high school. (Adopted: 5/1/19)
13.7.2 Number Permitted. A prospective student-athlete may visit a member institution's campus at the prospective
student-athlete's own expense an unlimited number of times. (Adopted: 4/25/18)
    13.7.2.1 Exception -- Men's Basketball. In men's basketball, a prospective student-athlete who has not signed a
    National Letter of Intent or the institution's written offer of admission and/or financial aid or for whom the institution has
    not received a financial deposit in response to an offer of admission may not make an unofficial visit during the month of
    July or during the NCAA College Basketball Academy. A prospective student-athlete who has signed a National Letter of
    Intent or the institution's written offer of admission and/or financial aid, or the institution has received a financial deposit
    from the prospective student-athlete in response to an offer of admission may make an unofficial visit during days in July
    that do not include the NCAA College Basketball Academy. The prohibition on unofficial visits during the NCAA College
    Basketball Academy does not apply to two-year or four-year college transfer prospective student-athletes. (Adopted: 11/1/01
    effective 4/1/02, Revised: 4/12/11 effective 8/1/11, 11/7/13, 1/14/21 a contract signed before October 29, 2020 may be honored)
    13.7.2.2 Exception -- Women's Basketball. In women's basketball, a prospective student-athlete may not make an
    unofficial visit during the July evaluation periods (see Bylaw 13.1.5.5.2) unless the prospective student-athlete has signed a
    National Letter of Intent or the institution's written offer of admission and/or financial aid, or the institution has received a
    financial deposit from the prospective student-athlete in response to an offer of admission. A high school or preparatory
    school prospective student-athlete may not make an unofficial visit during the NCAA College Basketball Academy.
    (Adopted: 4/28/05 effective 8/1/05, Revised: 6/28/06, 1/19/13 effective 8/1/13, 10/5/22)
13.7.3 Entertainment/Tickets.
    13.7.3.1 General Restrictions. [A] During an unofficial visit, the institution may not pay any expenses or provide any
    entertainment except a maximum of three complimentary admissions (issued through digital ticketing or a pass list) to a
    home athletics event at any facility within a 30-mile radius of a member institution's main campus in which the
    institution's intercollegiate team practices or competes. Such complimentary admissions are for the exclusive use of the

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   prospective student-athlete and those persons accompanying the prospective student-athlete on the visit and must be issued
   on an individual-game basis. Such admissions may provide seating only in the general seating area of the facility used for
   conducting the event. Providing seating during the conduct of the event (including intermission) for the prospective
   student-athlete or those accompanying the prospective student-athlete in the facility's press box, special seating box(es) or
   bench area is specifically prohibited. Complimentary admissions may not be provided during a dead period, except as
   provided in Bylaw 13.7.3.5. [R] (Revised: 1/10/90 effective 8/1/90, 1/11/94, 4/24/03, 12/6/13, 4/15/21)
         13.7.3.1.1 Exception -- Nontraditional Family. [A] If a prospective student-athlete is a member of a
         nontraditional family (e.g., divorce, separation), the institution may provide up to two additional complimentary
         admissions to the prospective student-athlete in order to accommodate the family members accompanying the
         prospective student-athlete (e.g., stepparents) to attend a home athletics event. (Adopted: 1/15/11 effective 8/1/11,
         Revised: 1/16/19)
         13.7.3.1.2 Meals. A prospective student-athlete on an unofficial visit to an institution may pay the actual cost of
         meals (or the regular cost of training-table meals) and eat with other prospective student-athletes who are on their
         official visits or with enrolled student-athletes. [R]
             13.7.3.1.2.1 Exception -- Championship Subdivision Football. [FCS] A championship subdivision
             football program that restricts its total number of official visits to 25 may provide one meal to a football
             prospective student-athlete in the institution's on-campus student dining facilities without the visit counting as an
             official visit. The institution also may provide one meal to the prospective student-athlete's family members in the
             institution's on-campus student dining facilities without the visit counting as an official visit, provided it is the
             institution's normal policy to provide such a meal under similar circumstances to all prospective students' family
             members visiting the campus. A prospective student-athlete who is given such a meal may not also be provided by
             the institution with an official visit in any sport. [R] (Adopted: 1/11/94, Revised: 12/15/06, 4/25/18)
             13.7.3.1.2.2 Exception -- Sports Other Than Football and Basketball. In sports other than football and
             basketball, a prospective student-athlete visiting an institution's campus as part of an admissions event (open
             house) may be provided with one meal in the institution's on-campus student dining facility and may have contact
             with institutional coaching staff members only during such an event without the visit counting as an official visit.
             The institution must be able to certify that it is the institution's normal policy to provide such a meal to all
             prospective student-athletes (including nonathletes) attending the admissions event. [R] (Adopted: 1/14/97 effective
             8/1/97)
         13.7.3.1.3 Housing -- Lodging in Dormitories. A prospective student-athlete on an unofficial visit may stay in an
         enrolled student-athlete's dormitory room only if the prospective student-athlete pays the regular institutional rate for
         such lodging. [R]
         13.7.3.1.4 Transportation During Unofficial Visit. For regulations relating to transportation on an unofficial
         visit, see Bylaw 13.5.3.
         13.7.3.1.5 Reserving Game Tickets. [A] An institution may reserve tickets (in addition to the permissible
         complimentary admissions) for the use of additional individuals accompanying a prospective student-athlete during an
         unofficial visit and for seat locations adjacent to the complimentary seats being provided to the prospective student-
         athlete. Such tickets must be purchased at face value. [R] (Adopted: 1/10/92, Revised: 1/16/19 effective 8/1/19)
         13.7.3.1.6 Parking. An institution may not arrange special parking for a prospective student-athlete to use while
         attending a member institution's campus athletics event during an unofficial visit. [R] (Adopted: 1/10/92)
         13.7.3.1.7 Academic Interviews. An athletics department staff member may arrange academic interviews for a
         prospective student-athlete on an unofficial visit.
         13.7.3.1.8 Student Host. A student host must either be a current student-athlete or a student who is designated in a
         manner consistent with the institution's policies for providing campus visits or tours to prospective students in general.
         (Revised: 8/5/04)
   13.7.3.2 Home Games at Site Other Than Regular Home Facility. If an institution schedules any regular-season
   home games at a site not designated as its regular home facility, the host institution may provide a maximum of three
   complimentary admissions to any such game for the exclusive use of a prospective student-athlete and those persons
   accompanying the prospective student-athlete. Tournament and postseason games are excluded. The institution shall not
   arrange or permit any other entertainment or payment of expenses, including transportation, except as permitted in Bylaw
   13.5.3. [R] (Revised: 4/24/03)



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    13.7.3.3 Conference Tournaments. A member institution may not provide complimentary admissions to a prospective
    student-athlete for a postseason conference tournament. The prospective student-athlete may purchase tickets only in the
    same manner as any other member of the general public. [R] (Revised: 1/10/91 effective 8/1/91)
    13.7.3.4 NCAA Championships or Other Postseason Contests. The provision of complimentary or reduced-cost
    admissions to prospective student-athletes for an NCAA championship (all rounds) or other postseason contests (e.g., bowl
    game, NAIA or NIT championship) constitutes excessive entertainment and is prohibited. The prospective student-athlete
    may purchase tickets to such events only in the same manner as any other member of the general public. [R] (Revised:
    1/10/92)
    13.7.3.5 Visit Unrelated to Recruitment. The limitations on providing entertainment to a prospective student-athlete
    shall not extend to a visit to the institution's campus for a purpose having nothing whatsoever to do with the prospective
    student-athlete's athletics recruitment by the institution (e.g., band trip, fraternity weekend, athletics team's attendance at a
    sporting event with the high school coach). The institution's athletics department or representatives of its athletics interests
    may not be involved in any way with the arrangements for the visit, other than the institution providing (in accordance
    with established policy) free admissions to an athletics event on a group basis, rather than personally to the prospective
    student-athlete. Such admissions may be provided during a dead period. [R] (Revised: 12/6/13)
    13.7.3.6 Visit Related to National Student-Athlete Day or National Girls and Women in Sports Day. The
    limitations on providing entertainment to a prospective student-athlete shall not extend to a visit to the institution's campus
    for activities related to National Student-Athlete Day and National Girls and Women in Sports Day. [R] (Adopted: 1/14/97,
    Revised: 4/22/98 effective 8/1/98)
    13.7.3.7 Professional Tryout or Workout Activities. During an unofficial visit, a prospective student-athlete may
    not attend events in which professional tryout or workout activities occur. (See Bylaw 13.6.7.11.) [R] (Adopted: 1/8/07)
13.7.4 Activities During Unofficial Visit. An institution may not arrange miscellaneous, personalized recruiting aids
(e.g., personalized jerseys, personalized audio/video scoreboard presentations) and may not permit a prospective student-athlete
to engage in any game-day simulations (e.g., running onto the field with the team during pregame introductions) during an
unofficial visit. Personalized recruiting aids include any decorative items and special additions to any location outside of athletics
facilities the prospective student-athlete will visit (e.g., hotel room, dorm room, student union) regardless of whether the items
include the prospective student-athlete's name or picture. An institution may decorate common areas in athletics facilities (e.g.,
lobby, coach's office, suite in arena) for an unofficial visit, provided the decorations are not personalized and the common areas
are not accessible or visible to the general public while decorated. (Adopted: 8/5/04, Revised: 5/14/05, 4/27/06, 4/25/18 effective
8/1/18)
13.7.5 Off-Campus Contact Within One Mile of Campus Boundaries. Off-campus contact between an institutional
staff member and a prospective student-athlete (and those accompanying the prospective student-athlete) and off-campus
contact between an enrolled student-athlete and a prospective student-athlete (and those accompanying the prospective student-
athlete) may occur during an unofficial visit within one mile of campus boundaries. (Adopted: 4/26/17 effective 8/1/17)
13.8 Entertainment, Reimbursement and Employment of High School/College-
Preparatory School/Two-Year College Coaches and Other Individuals Associated
With Prospective Student-Athletes.
13.8.1 Entertainment Restrictions. Entertainment of a high school, preparatory school or two-year college coach or any
other individual responsible for teaching or directing an activity in which a prospective student-athlete is involved shall be
limited to providing a maximum of two complimentary admissions (issued through digital ticketing or a pass list) to home
intercollegiate athletics events at any facility within a 30-mile radius of the institution's main campus, which must be issued on
an individual-game basis. Such entertainment shall not include food and refreshments, room expenses, or the cost of
transportation to and from the campus or the athletics event. It is not permissible to provide complimentary admissions to any
postseason competition (e.g., NCAA championship, conference tournament, bowl game). An institutional coaching staff
member is expressly prohibited from spending funds to entertain the prospective student-athlete's coach on or off the member
institution's campus. (Revised: 4/3/02, 8/5/04, 4/28/05 effective 8/1/05, 10/30/14, 4/15/21)
    13.8.1.1 Exception -- Nonathletics Personnel. An institutional department outside the athletics department (e.g.,
    president's office, admissions) may host nonathletics high school, preparatory school or two-year college personnel (e.g.,
    guidance counselors, principals) in conjunction with a home intercollegiate athletics event and may provide such individuals
    reasonable expenses (e.g., food, refreshments, parking, room) and a nominal gift, provided the visit is not related to athletics
    recruiting and there is no involvement by the institution's athletics department in the arrangements for the visit, other than


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    providing (in accordance with established policy) free admissions to an athletics event. [D] (Adopted: 3/8/12, Revised:
    10/30/14)
    13.8.1.2 Transportation Reimbursement. An institution shall not reimburse a high school, preparatory school or
    two-year college coach for expenses incurred in transporting a prospective student-athlete to visit the campus. [D] (Revised:
    10/30/14)
    13.8.1.3 Transportation to Off-Campus Contest. If a high school, preparatory school or two-year college coach
    transports members of the coach's athletics squad to an off-campus site to watch NCAA member institutions compete, an
    institution may not reimburse the coach for the transportation costs or provide complimentary tickets for the coach or any
    of the team members. [D] (Revised: 10/30/14)
    13.8.1.4 Purchase of Game Tickets. An institution may not reserve tickets (in addition to the permissible
    complimentary admissions) to be purchased by high school, preparatory or two-year college coaches (or individuals
    accompanying them) to attend an institution's athletics contest. Tickets may be purchased only in the same manner as any
    other member of the general public. [D] (Adopted: 1/10/92, Revised: 10/30/14)
    13.8.1.5 Noncoaching-Related Organization. If a high school, preparatory school or two-year college coach is a
    member of a noncoaching-related organization (e.g., state high school principals association, college fraternity alumni
    organization, institution's alumni association), an institution may entertain the group, provided there is no direct
    involvement by the institution's athletics department. [D] (Revised: 10/30/14)
13.8.2 Material Benefits. Arrangements by an institution that involve a material benefit for a high school, preparatory
school or two-year college coach, or for any other individual responsible for teaching or directing an activity in which a
prospective student-athlete is involved, (e.g., the provision of a gift such as a tangible item bearing the institution's insignia, the
offer to pay a portion of the coach's or other individual's personal expenses, compensation based on the number of campers sent
to an institution's camp, or an arrangement to provide transportation for the coach or other individual) are prohibited. [D]
(Revised: 8/5/04, 10/30/14)
    13.8.2.1 Gifts at Coaches Clinic. An institution may not provide gifts to high school, preparatory school or two-year
    college coaches in conjunction with its coaches clinic or other events. This specifically prohibits the provision of a door
    prize to the coach, even if the cost of the prize is included in the cumulative admission fee (the admission fee charged to
    each person, when combined, would cover the cost of the prize). Materials (e.g., clipboards, file folders) may be provided to
    each person attending the clinic, provided the items are included in the registration or admission fee. [D] (Revised: 1/16/93,
    1/11/94, 10/30/14)
13.8.3 Employment Conditions.
    13.8.3.1 Employment in Athletically Related Institutional Activities -- Basketball. An institution shall not
    employ (either on a salaried or a volunteer basis) an individual as a speaker or presenter at any athletically related
    institutional event or activity (e.g., booster club function, outside consultant) if that individual is involved in coaching
    prospective student-athletes or is associated with a prospective student-athlete as a result of the prospective student-athlete's
    participation in basketball. (Adopted: 1/17/09)
    13.8.3.2 Employment in Athletically Related Institutional Activities -- Bowl Subdivision Football. [FBS] In
    bowl subdivision football, an institution shall not employ (either on a salaried or a volunteer basis) or enter into a contract
    for future employment with an individual as a speaker or presenter at any athletically related institutional event or activity
    (e.g., booster club function, outside consultant) if that individual is involved in coaching prospective student-athletes or is
    associated with a prospective student-athlete as a result of the prospective student-athlete's participation in football.
    (Adopted: 4/26/17 a contract signed before 1/18/17 may be honored)
    13.8.3.3 Individual Associated with a Prospective Student-Athlete -- Men's Basketball. In men's basketball,
    during a two-year period before a prospective student-athlete's anticipated enrollment and a two-year period after the
    prospective student-athlete's actual enrollment, an institution shall not employ (either on a salaried or volunteer basis) or
    enter into a contract for future employment with an individual associated with the prospective student-athlete in any
    athletics department staff position other than a countable coach who may contact or evaluate prospective student-athletes
    off campus. (Adopted: 1/16/10, Revised: 6/13/11, 1/18/23 effective 7/1/23)
         13.8.3.3.1 Application. A violation of Bylaw 13.8.3.3 occurs if an individual associated with a prospective student-
         athlete (see Bylaw 13.02.20) is employed by the institution and, at the time of employment, a student-athlete who
         enrolled at the institution in the previous two years (and remains enrolled at the institution) was a prospective student-
         athlete by which the individual meets the definition of an individual associated with a prospective student-athlete. A
         violation of Bylaw 13.8.3.3 also occurs if an individual associated with a prospective student-athlete is employed and,
         within two years after such employment, a prospective student-athlete by which the individual meets the definition of
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         an individual associated with a prospective student-athlete enrolls as a full-time student in a regular academic term at
         the institution. In either case, the student-athlete becomes ineligible for intercollegiate competition unless eligibility is
         restored by the Committee on Student-Athlete Reinstatement. (Adopted: 6/20/13)
         13.8.3.3.2 Exception -- Reassignment. An institution may reassign an individual associated with a prospective
         student-athlete from a countable coach who may contact or evaluate prospective student-athletes off campus to another
         athletics department staff position, provided the individual has been a countable coach at the institution for at least one
         full season. A season is defined as the time between the institution’s start of on-court preseason practice and the end of
         the institution’s last regular-season contest. (Adopted: 4/28/16, Revised: 4/13/17, 3/3/21, 1/18/23 effective 7/1/23)
   13.8.3.4 Individual Associated with a Recruited Prospective Student-Athlete -- Women's Basketball. In
   women's basketball, during a two-year period before a recruited prospective student-athlete's anticipated enrollment and a
   two-year period after the recruited prospective student-athlete's actual enrollment, an institution shall not employ (or enter
   into a contract for future employment with) an individual associated with the recruited prospective student-athlete in any
   athletics department staff position other than a countable coach who may contact or evaluate prospective student-athletes
   off campus. (Adopted: 4/26/17 effective 8/1/17 a contract signed before 1/18/17 may be honored, Revised: 1/18/23 effective
   7/1/23)
         13.8.3.4.1 Application. A violation of Bylaw 13.8.3.4 occurs if an individual associated with a recruited prospective
         student-athlete (see Bylaws 13.02.15.1 and 13.02.20) is employed by the institution and, at the time of employment, a
         student-athlete who enrolled at the institution in the previous two years (and remains enrolled at the institution) was a
         recruited prospective student-athlete by which the individual meets the definition of an individual associated with a
         recruited prospective student-athlete. A violation of Bylaw 13.8.3.4 also occurs if an individual associated with a
         recruited prospective student-athlete is employed and, within two years after such employment, a recruited prospective
         student-athlete by which the individual meets the definition of an individual associated with a recruited prospective
         student-athlete enrolls as a full-time student in a regular academic term at the institution. In either case, the student-
         athlete becomes ineligible for intercollegiate competition unless eligibility is restored by the Committee on Student-
         Athlete Reinstatement. (Adopted: 4/26/17 effective 8/1/17)
         13.8.3.4.2 Exception -- Reassignment. An institution may reassign an individual associated with a recruited
         prospective student-athlete from a coach who may contact or evaluate prospective student-athletes off campus to
         another athletics department staff position, provided the individual has been a countable coach at the institution for at
         least one full season. A season is defined as the time between the institution's start of on-court preseason practice and
         the end of institution's last regular-season contest. (Adopted: 4/26/17 effective 8/1/17, Revised: 3/3/21, 1/18/23 effective
         7/1/23)
   13.8.3.5 Individual Associated with a Prospective Student-Athlete -- Bowl Subdivision Football. [FBS] In
   bowl subdivision football, during a two-year period before a prospective student-athlete's anticipated enrollment and a two-
   year period after the prospective student-athlete's actual enrollment, an institution shall not employ (either on a salaried or a
   volunteer basis) or enter into a contract for future employment with an individual associated with the prospective student-
   athlete in any athletics department noncoaching staff position or in a strength and conditioning staff position. (Adopted:
   4/26/17 a contract signed before 1/18/17 may be honored)
         13.8.3.5.1 Application. [FBS] A violation of Bylaw 13.8.3.5 occurs if an individual associated with a prospective
         student-athlete (see Bylaw 13.02.21) is employed by the institution and, at the time of employment, a student-athlete
         who enrolled at the institution in the previous two years (and remains enrolled at the institution) was a prospective
         student-athlete by which the individual meets the definition of an individual associated with a prospective student-
         athlete. A violation of Bylaw 13.8.3.5 also occurs if an individual associated with a prospective student-athlete is
         employed and, within two years after such employment, a prospective student-athlete by which the individual meets
         the definition of an individual associated with a prospective student-athlete enrolls as a full-time student in a regular
         academic term at the institution. In either case, the student-athlete becomes ineligible for intercollegiate competition
         unless eligibility is restored by the Committee on Student-Athlete Reinstatement. (Adopted: 4/26/17)
         13.8.3.5.2 Exception -- Reassignment. [FBS] An institution may reassign an individual associated with a
         prospective student-athlete from a countable coaching staff position to a noncoaching staff position or strength and
         conditioning staff position, provided the individual has been a countable coach at the institution for the previous
         academic year. (Adopted: 4/26/17, Revised: 3/3/21)
   13.8.3.6 Graduate Teaching Assistants. A high school, preparatory school or two-year college coach who is enrolled
   in a bona fide postgraduate program at a member institution is permitted to receive legitimate compensation as a graduate
   teaching assistant.


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    13.8.3.7 Employment in Different Sport. A high school, preparatory school or two-year college coach who remains
    associated with the high school, preparatory school or two-year college in a coaching capacity in a different sport may be
    employed as a member of an institution’s coaching staff. (Revised: 3/16/07)
    13.8.3.8 Employment in Same Sport. A high school, preparatory school or two-year college coach who remains
    associated with the high school, preparatory school or two-year college in a coaching capacity in the same sport shall not be
    employed as a member of an institution's coaching staff.
         13.8.3.8.1 Contract for Future Employment. A member institution is permitted to enter into a contractual
         agreement with a high school, preparatory school or two-year college coach for an employment opportunity that begins
         with the next academic year, provided the employment contract with the member institution is not contingent upon
         the enrollment of a prospective student-athlete and the coach does not begin any coaching duties (e.g., recruiting,
         selection of coaching staff) for the member institution while remaining associated with the high school, preparatory
         school or two-year college.
13.9 Letter-of-Intent Programs, Financial Aid Agreements and Offers.
13.9.1 Oral Offers -- Men's Ice Hockey. In men's ice hockey, an athletics department staff member shall not, directly or
indirectly, provide an individual an oral offer (or indicate that an offer will or may be made) of athletically related financial aid,
other institutional financial aid, admission to the institution or as a member of an intercollegiate team before August 1 at the
beginning of the individual's junior year in high school. (Adopted: 5/1/19)
13.9.2 Requirements for Written Offer of Athletically Related Financial Aid. The following requirements must
be met before an institution may provide a written offer of athletically related financial aid (per Bylaw 15.3.2.2) to a prospective
student-athlete: [D] (Adopted: 4/26/07 effective 8/1/07, Revised: 4/30/09 effective 8/1/10)
 (a) A high school or preparatory school prospective student-athlete must register with the NCAA Eligibility Center;
 (b) A high school or preparatory school prospective student-athlete must be placed on the institution's institutional request list
     (IRL) with the NCAA Eligibility Center; and
 (c) A high school, preparatory school or transfer (if applicable) prospective student-athlete must complete the amateurism
     certification questionnaire administered by the NCAA Eligibility Center.
13.9.3 Letter of Intent Restriction. A member institution may not participate in an institutional or conference athletics
letter-of-intent program or issue an institutional or conference financial aid agreement that involves a signing date that precedes
the initial regular (as opposed to early) signing date for the National Letter of Intent program in the same sport. However, an
institution may permit a prospective student-athlete to sign an institutional or conference letter of intent during the National
Letter of Intent early signing period in the applicable sport. [D] (Revised: 8/5/04, 12/12/06, 4/26/07 effective 8/1/07)
    13.9.3.1 Mailing of Financial Aid Offer. An institutional or conference financial aid form may be included in the
    normal mailing of the National Letter of Intent, but none of the forms enclosed in the mailing may be signed by the
    prospective student-athlete prior to the initial signing date in that sport in the National Letter of Intent program. [D]
    (Revised: 8/5/04)
    13.9.3.2 Written Offer of Aid Before Signing Date. Before August 1 of an individual's senior year in high school, an
    institution shall not, directly or indirectly, provide a written offer of athletically related financial aid or indicate in writing to
    the individual that an athletically related grant-in-aid will be offered by the institution. On or after August 1 of a
    prospective student-athlete's senior year in high school, an institution may indicate in writing to a prospective student-
    athlete that an athletically related grant-in-aid will be offered by the institution; however, the institution may not permit the
    prospective student-athlete to sign a form indicating acceptance of such an award before the initial signing date in the
    applicable sport in the National Letter of Intent program. [D] (Revised: 8/5/04, 4/29/10 effective 8/1/10, 3/3/11)
         13.9.3.2.1 Nontraditional Academic Calendars. If a prospective student-athlete attends an educational
         institution that uses a nontraditional academic calendar (e.g., Southern Hemisphere), an institution may indicate in
         writing on or after the opening day of classes of the prospective student-athlete's senior year in high school that an
         athletically related grant-in-aid will be offered by the institution; however, the institution may not permit the
         prospective student-athlete to sign a form indicating acceptance of such an award before the initial signing date in that
         sport in the National Letter of Intent program. [D] (Adopted: 6/23/15)
    13.9.3.3 Limitation on Number of National Letter of Intent/Offer of Financial Aid Signings -- Bowl
    Subdivision Football. [FBS] In bowl subdivision football, there shall be an annual limit of 25 on the number of
    prospective student-athletes who may sign a National Letter of Intent or an institutional offer of financial aid and student-
    athletes who may sign a financial aid agreement for the first time. [D] (Adopted: 1/16/10 effective 8/1/10, Revised: 1/14/12
    effective 8/1/12, 4/26/17 effective 8/1/17 for signings that occur on or after 8/1/17)
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         13.9.3.3.1 Application. [FBS] A prospective student-athlete who signs a National Letter of Intent or an
         institutional offer of financial aid or a student-athlete who signs a financial aid agreement that specifies financial aid
         will be initially provided in the fall term of an academic year shall count toward the annual limit on signings for that
         academic year. A prospective student-athlete who signs a National Letter of Intent or an institutional offer of financial
         aid or a student-athlete who signs a financial aid agreement that specifies financial aid will be initially provided during
         the second or third term of the academic year may count toward the limit for that academic year or the limit for the
         next academic year. (Adopted: 1/14/12 effective 8/1/12, Revised: 4/26/17 effective 8/1/17 for signings that occur on or after
         8/1/17)
         13.9.3.3.2 Exception -- Agreement After One Year. [FBS] A student-athlete who has been in residence at the
         certifying institution for at least one academic year may sign a financial aid agreement for the first time without
         counting toward the annual limit on signings. (Adopted: 4/26/17 effective 8/1/17 for signings that occur on or after 8/1/17,
         Revised: 4/25/18 effective 8/1/18)
         13.9.3.3.3 Exception -- Incapacitating Injury or Illness. [FBS] A prospective student-athlete or student-athlete
         who, prior to participation in athletically related activities, becomes injured or ill to the point that the individual
         apparently never again will be able to participate in intercollegiate athletics shall not count toward the institution’s
         annual limit on signings. (Adopted: 4/26/17 effective 8/1/17 for signings that occur on or after 8/1/17)
13.10 Publicity.
13.10.1 Publicity Before Commitment.
   13.10.1.1 Comments Before Commitment. Before the signing of a prospective student-athlete to a National Letter of
   Intent or an institution's written offer of admission and/or financial aid or before the institution receives the prospective
   student-athlete's financial deposit in response to its offer of admission, an institution may comment publicly only to the
   extent of confirming its recruitment of the prospective student-athlete. The institution may not comment generally about
   the prospective student-athlete's ability or the contribution that the prospective student-athlete might make to the
   institution's team; further, the institution is precluded from commenting in any manner as to the likelihood of the
   prospective student-athlete committing to or signing with that institution. [D] (Revised: 1/19/13 effective 8/1/13)
         13.10.1.1.1 Evaluations for Media, Recruiting Services. Athletics department staff members shall not evaluate
         or rate a prospective student-athlete for news media, scouting services or recruiting services. [D] (Revised: 1/19/13
         effective 8/1/13)
   13.10.1.2 Involvement in Media Activities. A member institution shall not permit a prospective student-athlete to
   appear, be interviewed or otherwise be involved (in person or via audio or video) on: (Revised: 8/14/04, 1/18/13 effective
   7/31/13, 12/15/21)
    (a) Media activity (e.g., podcast, radio or television program, social media livestream) conducted by the institution's coach;
    (b) Media activity in which the institution's coach is participating; or
    (c) Media activity for which a member of the institution's athletics staff has been instrumental in arranging program
        material.
         13.10.1.2.1 Announcer for Broadcast of Prospective Student-Athlete's Athletics Contest. An
         institution's coach or noncoaching staff member with sport-specific responsibilities may not serve as an announcer or
         commentator for any athletics contest in which a prospective student-athlete is participating, or appear (in person or by
         means of audio or video) on a media broadcast of such contest. This restriction does not apply to contests involving
         national teams in which prospective student-athletes may be participants, including the Olympic and Paralympic
         Games. (Revised: 1/10/95, 1/12/99, 8/5/04, 1/19/13 effective 8/1/13, 5/1/19, 1/22/20, 12/15/21)
         13.10.1.2.2 Game Broadcast/Telecast. A prospective student-athlete may not be interviewed during the
         broadcast or telecast of an institution's intercollegiate contest. A member institution may not permit a station
         telecasting a game to show a videotape of competition involving high school, preparatory school or two-year college
         prospective student-athletes. [D] (Revised: 8/5/04, 1/19/13 effective 8/1/13)
   13.10.1.3 Conference-Sponsored Sportsmanship Initiatives. It is permissible for a conference to broadcast at any
   time, and through any medium, a public service announcement that may include prospective student-athletes, provided the
   following criteria are met (see Bylaw 13.1.10): (Adopted: 4/26/07 effective 8/1/07)
    (a) A conference office is responsible for development of the public service announcement;
    (b) The scope of the public service announcement is limited exclusively to promoting sportsmanship; and
    (c) The public service announcement is not designed to solicit the enrollment of prospective student-athletes.

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    13.10.1.4 Prospective Student-Athlete's Visit. An institution shall not publicize (or arrange for publicity of) a
    prospective student-athlete’s visit to the institution’s campus. Further, a prospective student-athlete may not participate in
    team activities that would make the public or media aware of the prospective student-athlete’s visit to the institution (e.g.,
    running out of the tunnel with team, celebratory walks to or around the stadium/arena, on-field pregame celebrations). [D]
    (Revised: 1/14/97, 9/12/03)
    13.10.1.5 Introduction of Prospective Student-Athlete. An institution may not introduce a visiting prospective
    student-athlete at a function (e.g., the institution’s sports award banquet or an intercollegiate athletics contest) that is
    attended by media representatives or open to the general public. [D] (Revised: 1/14/97)
    13.10.1.6 Intent to Enroll. An institution shall not publicize (or arrange for publicity of) a prospective student-athlete’s
    intention to accept its offer of financial assistance. [D] (Revised: 1/14/97)
    13.10.1.7 Photograph of Prospective Student-Athlete. It is permissible for an institution to photograph a
    prospective student-athlete during a campus visit to be used in the institution's permissible publicity and promotional
    activities (e.g., press release, media guide) and the photograph may be provided to the prospective student-athlete. [D]
    (Adopted: 1/16/93, Revised: 1/11/94, 4/24/03 effective 8/1/03, 3/26/04, 11/17/04, 1/19/13 effective 8/1/13, 4/26/17 effective
    8/1/17)
    13.10.1.8 Exception -- Telephone Call or Electronic Correspondence With Multiple Prospective Student-
    Athletes Before Commitment. An institution may conduct a telephone call (per Bylaw 13.1.3) with or send electronic
    correspondence (per Bylaw 13.4.1) to multiple prospective student-athletes who have not signed a National Letter of Intent
    or the institution's written offer of admission and/or financial aid or from whom the institution has not received a financial
    deposit in response to its offer of admission. (Adopted: 4/15/21, Revised: 11/17/21)
    13.10.1.9 Exception -- Actions That Indicate Approval of Content on Social Media Platforms. An athletics
    department staff member may take actions (e.g., "like," "favorite," republish, etc.) on social media platforms that indicate
    approval of content on social media platforms that was generated by users of the platforms other than institutional staff
    members or representatives of an institution's athletics interests. (See Bylaw 11.3.2.4.) (Adopted: 4/28/16 effective 8/1/16)
    13.10.1.10 Exception -- Enrolled Student-Athletes. An enrolled student-athlete may publicly comment on social
    media about a prospective student-athlete, provided such comments are not made at the direction of an institutional staff
    member. (Adopted: 4/25/18)
13.10.2 Publicity After Commitment. There are no restrictions on publicity related to a prospective student-athlete after
the prospective student-athlete has signed a National Letter of Intent or the institution's written offer of admission and/or
financial aid or after the institution has received the prospective student-athlete's financial deposit in response to its offer of
admission. In basketball and football, for institutions that subscribe to the National Letter of Intent program, this provision does
not apply to a prospective student-athlete who only signs an institution's written offer of admission and/or financial aid prior to
the initial regular (as opposed to early) signing date of the National Letter of Intent program in the applicable sport. In sports
other than basketball and football, for institutions that subscribe to the National Letter of Intent program, this provision does
not apply to an individual who only signs an institution's written offer of admission prior to the initial signing date of the
National Letter of Intent program in the applicable sport. [D] (Revised: 1/14/97, 4/29/04 effective 8/1/04, 8/25/04, 1/19/13
effective 8/1/13, 4/28/16 effective 8/1/16, 7/9/18, 11/17/21)
13.11 Tryouts.
13.11.1 Prohibited Activities. A member institution, on its campus or elsewhere, shall not conduct (or have conducted on
its behalf) any physical activity (e.g., practice session or test/tryout) at which one or more prospective student-athletes (as defined
in Bylaws 13.11.1.1 and 13.11.1.2) reveal, demonstrate or display their athletics abilities in any sport except as provided in
Bylaws 13.11.2 and 13.11.3. [D] (Revised: 8/5/04, 1/17/09)
    13.11.1.1 Definition of "Prospective Student-Athlete" for Tryout-Rule Purposes -- Sports Other Than
    Men's Basketball, Softball and Women's Volleyball. In sports other than men's basketball, softball and women's
    volleyball, for purposes of the tryout rule, the phrase "prospective student-athlete" shall include any individual who has
    started classes for the ninth grade and is not enrolled in the member institution at the time of the practice or test therein
    described. (Revised: 1/11/89, 1/17/09, 4/25/18, 10/27/21 effective 1/1/22)
    13.11.1.2 Definition of "Prospective Student-Athlete" for Tryout-Rule Purposes -- Men's Basketball,
    Softball and Women's Volleyball. In men's basketball, softball and women's volleyball, for purposes of the tryout rule,
    the phrase "prospective student-athlete" shall include any individual who has started classes for the seventh grade and is not
    enrolled in the member institution at the time of the practice or test therein described. (Adopted: 1/17/09, Revised: 4/25/18,
    10/27/21 effective 1/1/22)

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   13.11.1.3 Competition Against Prospective Student-Athletes -- Sports Other Than Football. In sports other
   than football, an institution's varsity intercollegiate team may compete against a two-year college team but may not
   compete against a high school or preparatory school team. An institution's varsity team may not participate in a contest
   against an outside team (e.g., nonscholastic team) that includes high school prospective student-athletes except for
   permissible contests while on a foreign tour, exempted contests against a foreign team in the United States and the U.S.
   national team. In individual sports, it is permissible for an institution's varsity team and an outside team that includes
   prospective student-athletes to participate in the same open event, provided the event either involves no team scoring or the
   event uses team scoring such that the institution's varsity team and the outside team are in separate scoring categories.
   Subvarsity teams are not bound by this prohibition. [D] (Revised: 8/5/04, 1/9/06 effective 8/1/06, 2/26/07, 9/18/07, 1/16/10
   effective 8/1/10, 4/29/10 effective 8/1/10 a contract signed before 8/14/09 may be honored)
   13.11.1.4 Competition Against Prospective Student-Athletes -- Bowl Subdivision Football. [FBS] In bowl
   subdivision football, an institution's varsity and subvarsity intercollegiate teams shall not compete against any team that
   includes prospective student-athletes. [D] (Adopted: 1/16/10 effective 8/1/10, Revised: 4/29/10 effective 8/1/10 a contract signed
   by 8/14/09 may be honored)
         13.11.1.4.1 Exception -- National Service Academy Subvarsity Team. [FBS] A national service academy's
         subvarsity team may compete against a two-year college team, a high school team or a preparatory school team,
         provided no payment or other inducement (e.g., guarantee) is provided to such a team and no recruiting activities
         occur with members of such a team in conjunction with the competition. [D] (Adopted: 1/15/11 effective 8/1/11)
   13.11.1.5 Competition Against Prospective Student-Athletes -- Championship Subdivision Football. [FCS]
   In championship subdivision football, an institution's varsity intercollegiate team shall not compete against a high school or
   preparatory school team. An institution's varsity intercollegiate team may compete against a two-year college team and its
   subvarsity team may compete against a two-year college team, a high school team or a preparatory school team, provided no
   payment or other inducement (e.g., guarantee) is provided to such a team and no recruiting activities occur with members
   of such a team in conjunction with such competition. [D] (Adopted: 4/29/10 effective 8/1/10 a contract signed before 8/14/09
   may be honored)
   13.11.1.6 Competition in Conjunction with a High School, Preparatory School or Two-Year College. In
   basketball, football, women's gymnastics and volleyball, an institution shall not permit competition between or among high
   schools, preparatory schools or two-year colleges to be conducted in conjunction with an intercollegiate athletics event (see
   Bylaw 13.15.1.5). [D] (Revised: 1/10/90, 1/10/95, 8/5/04, 4/25/18 effective 8/1/18)
         13.11.1.6.1 Criteria. An intercollegiate contest may be scheduled on the same day as a high school, preparatory
         school or two-year college contest (without being considered to be scheduled "in conjunction" with that event) only if
         the college and high school, preparatory school or two-year college events are conducted in separate sessions, separate
         tickets are sold for the events, and the playing facility is cleared between the contests. (Revised: 1/10/90, 1/10/95)
   13.11.1.7 Nonscholastic-Based Basketball. In basketball, a member of an institution's coaching staff or an
   institutional staff member with basketball-specific duties (e.g., director of basketball operations, manager, administrative
   personnel) may only participate in coaching activities involving a nonscholastic-based basketball team that includes the staff
   member's child or children and that is of the opposite gender than the institution's team with which the staff member is
   associated. A coaching staff member or an institutional staff member with basketball-specific duties may not participate on
   teams that include individuals with eligibility remaining or that include individuals of prospective student-athlete age or
   younger, regardless of the gender of the participants. [D] (Revised: 8/5/04, 4/28/05 effective 8/1/05, 1/9/06)
         13.11.1.7.1 Planning or Operation of Nonscholastic Events -- Men's Basketball. In men's basketball, a staff
         member or a representative of the institution's athletics interests shall not be involved in any way in the planning or
         operation of a men's/boys' basketball nonscholastic event on an institution's campus. (Adopted: 8/26/10)
   13.11.1.8 Nonscholastic Practice or Competition -- Men's Basketball. An institution [including any institutional
   department (e.g., athletics, recreational/intramural)] shall not host, sponsor or conduct a nonscholastic basketball practice
   or competition in which men's basketball prospective student-athletes (see Bylaw 13.11.1.2) participate on its campus or at
   an off-campus facility regularly used by the institution for practice and/or competition by any of the institution's sport
   programs. (Adopted: 4/28/11 a contract signed before 10/29/09 may be honored)
         13.11.1.8.1 Exception -- State Multisport Events. An institution may host basketball-related events that are part
         of officially recognized state multisport events. (Adopted: 4/28/11)
         13.11.1.8.2 Exception -- Other Events. An institution may host, sponsor or conduct a nonscholastic event that
         involves men's basketball prospective student-athletes, provided it meets one of the following conditions: (Adopted:
         4/28/11)

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         (a) The event is open (see Bylaw 13.11.3.1) and all participating men's basketball prospective student-athletes reside
             within a 50-mile radius of the institution's campus;
         (b) The event is part of a program that is consistent with the mission of the institution (e.g., state wellness and
             educational programs) and is conducted in accordance with Bylaw 13.11.3.2; or
         (c) The event is an ancillary event that is part of a nonathletics program (e.g., Boy Scouts) and is conducted in
             accordance with Bylaw 13.11.3.2.
   13.11.1.9 Nonscholastic Practice or Competition -- Women's Basketball. An institution [including any
   institutional department (e.g., athletics, recreational/intramural)] shall not host, sponsor or conduct a nonscholastic
   basketball practice or competition in which women's basketball prospective student-athletes (see Bylaw 13.11.1.1)
   participate on its campus or at an off-campus facility regularly used by the institution for practice and/or competition by
   any of the institution's sport programs. [D] (Adopted: 1/14/12 a contract signed before 6/28/11 may be honored)
         13.11.1.9.1 Exception -- State Multisport Events. An institution may host basketball-related events that are part
         of officially recognized state multisport events. (Adopted: 1/14/12)
         13.11.1.9.2 Exception -- Other Events. An institution may host, sponsor or conduct a nonscholastic event that
         involves women's basketball prospective student-athletes, provided it meets one of the following conditions: (Adopted:
         1/14/12)
         (a) The event is open (see Bylaw 13.11.3.1) and all participating women's basketball prospective student-athletes
             reside within a 50-mile radius of the institution's campus;
         (b) The event is part of a program that is consistent with the mission of the institution (e.g., state wellness and
             educational programs) and is conducted in accordance with Bylaw 13.11.3.2; or
         (c) The event is an ancillary event that is part of a nonathletics program (e.g., Girl Scouts) and is conducted in
             accordance with Bylaw 13.11.3.2.
   13.11.1.10 Nonscholastic Practice or Competition -- Bowl Subdivision Football. [FBS] In bowl subdivision
   football, an institution [including any institutional department (e.g., athletics, recreational/intramural)] shall not host,
   sponsor or conduct a nonscholastic football practice or competition (e.g., seven-on-seven events) in which football
   prospective student-athletes participate on its campus or at an off-campus facility regularly used by the institution for
   practice and/or competition by any of the institution's sport programs. [D] (Adopted: 1/14/12 a contract signed before
   8/15/11 may be honored)
   13.11.1.11 Use of Institutional Facilities for Noninstitutional Camps or Clinics -- Men's Basketball. In men's
   basketball, the use of institutional facilities for noninstitutional camps or clinics that include prospective student-athletes
   (see Bylaw 13.11.1.2) shall be limited to June, July and August or any calendar week (Sunday through Saturday) that
   includes days of those months (e.g., May 28-June 3) and shall not occur during a dead period. (Adopted: 4/28/11 a contract
   signed before 10/29/09 may be honored, Revised: 2/24/12)
   13.11.1.12 Use of Institutional Facilities for Noninstitutional Camps or Clinics -- Women's Basketball. In
   women's basketball, the use of institutional facilities for noninstitutional camps or clinics that include prospective student-
   athletes (see Bylaw 13.11.1.1) shall be limited to June, July and August or any calendar week (Sunday through Saturday)
   that includes days of those months (e.g., May 28-June 3) and shall not occur during a dead period or recruiting shutdown.
   (Adopted: 1/14/12 a contract signed before 6/28/11 may be honored, Revised: 2/13/12, 2/24/12, 12/16/22)
   13.11.1.13 Use of Institutional Facilities for Noninstitutional Camps or Clinics -- Bowl Subdivision
   Football. [FBS] In bowl subdivision football, the use of institutional facilities for noninstitutional camps or clinics that
   include prospective student-athletes (see Bylaw 13.11.1.1) shall be limited to June [or any calendar week (Sunday through
   Saturday) that includes days in June (e.g., May 28-June 3)] and July, and shall not occur during a dead period. [D]
   (Adopted: 1/14/12 a contract signed before 8/15/11 may be honored, Revised: 2/24/12, 4/26/17)
   13.11.1.14 Tryout Events. An institution or conference may not host, sponsor or conduct a tryout camp, clinic, group
   workout or combine (e.g., combination of athletics skill tests or activities) devoted to agility, flexibility, speed or strength
   tests for prospective student-athletes at any location. An institution or conference shall not host, sponsor or conduct any
   portion (e.g., instructional clinic) of an event that also includes agility, flexibility, speed or strength tests for prospective
   student-athletes that are conducted at a separate location. In sports other than bowl subdivision football, a member
   institution's staff members may only attend (subject to sport-specific restrictions) such an event sponsored by an outside
   organization if the event occurs off the institution's campus and is open to all institutions (see Bylaw 13.1.7.4.2). [D]
   (Adopted: 1/10/92, Revised: 8/5/04, 1/9/06 effective 8/1/06, 9/18/07)


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         13.11.1.14.1 Exception -- National Team Tryout Events. In sports other than basketball and bowl subdivision
         football, it is permissible for an institution to host national team tryout events conducted by the applicable national
         governing body (see Bylaws 13.11.1.8, 13.11.1.9 and 13.11.1.10). (Adopted: 12/12/06, Revised: 3/13/12)
   13.11.1.15 Notification of Ineligibility and Consequences -- Men's Basketball. If a violation of Bylaw 13.11.1
   occurs in which a men's basketball staff member or a representative of the institution's athletics interests is involved in any
   way in the operation or planning of a boys'/men's basketball nonscholastic event on its campus, the institution shall declare
   each involved prospective student-athlete ineligible. Within 30 days of becoming aware of the violation, the institution shall
   provide written notification to each involved prospective student-athlete that the actions of the institution affected the
   prospective student-athlete's eligibility. The written notification shall also include an explanation of the consequences of the
   violation for the prospective student-athlete. (Adopted: 8/12/10)
13.11.2 Permissible Activities.
   13.11.2.1 On-Campus Evaluations -- Basketball. In basketball, an institution may conduct an evaluation of a
   prospective student-athlete on its campus or at a site at which it normally conducts practice or competition, under the
   following conditions: [D] (Adopted: 1/14/12, Revised: 1/19/13, 4/8/16, 1/20/22 effective 8/1/22)
    (a) For a high school or preparatory school senior, the evaluation may be conducted only after the conclusion of the
        prospective student-athlete's season and after exhausting high school or preparatory school eligibility in basketball;
    (b) For a two-year college prospective student-athlete, the evaluation may be conducted only after the conclusion of the
        prospective student-athlete's season and after exhausting two-year college eligibility in basketball;
    (c) For a four-year college prospective student-athlete, the evaluation may be conducted only after the conclusion of the
        prospective student-athlete's season. (See Bylaw 13.1.1.3);
    (d) The on-campus evaluation may be conducted only during the prospective student-athlete's official or unofficial visit;
    (e) The on-campus evaluation shall be conducted not later than the opening day of classes of the institution's fall term;
    (f) Not more than one on-campus evaluation per prospective student-athlete per institution shall be permitted (applied
        separately to the time period in which a prospective student-athlete completes high school or preparatory school
        eligibility and to the time period after the prospective student-athlete enrolls full time in a collegiate institution);
    (g) Before participating in an on-campus evaluation, a prospective student-athlete is required to undergo a medical
        examination or evaluation administered or supervised by a physician (e.g., family physician, team physician). A nurse
        practitioner whose state medical licensure allows for health care practice independent of physician supervision may
        complete the medical examination without supervision by a physician. The examination or evaluation shall include a
        sickle cell solubility test unless documented results of a prior test are provided to the institution. The examination or
        evaluation must be administered either within six months before participation in the on-campus evaluation or within
        six months before the prospective student-athlete's initial participation in practice, competition or out-of-season
        conditioning activities during the immediately completed season. In addition, the medical examination or evaluation
        may be conducted by an institution's regular team physician or other designated physician as a part of the on-campus
        evaluation;
    (h) The institution's basketball student-athletes may participate in an on-campus evaluation, provided such participation is
        counted toward the applicable hourly and weekly limitations on countable athletically related activities (e.g., four hours
        per day and 20 hours per week during the playing season, four hours of skill instruction and eight hours per week
        outside the playing season). [See Bylaws 17.1.7.2-(a) and 17.1.7.2.2];
    (i) The duration of the on-campus evaluation activities (other than the medical examination or evaluation) shall be limited
        to two hours; and
    (j) The institution may provide equipment and clothing to a prospective student-athlete on an issuance-and-retrieval basis.
         13.11.2.1.1 Exception -- Women's Basketball. In women's basketball, an institution may conduct an evaluation
         of a high school or preparatory school prospective student-athlete during an official visit during the prospective
         student-athlete's academic year. (Adopted: 1/20/22 effective 8/1/22)
   13.11.2.2 On-Campus Evaluations -- Championship Subdivision Football. [FCS] In championship subdivision
   football, an institution may conduct an evaluation of a prospective student-athlete on its campus or at a site at which it
   normally conducts practice or competition, under the following conditions: (Adopted: 4/13/23)
    (a) For a high school or preparatory school prospective student-athlete, the evaluation may only occur during the
        prospective student-athlete's junior or senior year;
    (b) The evaluation may be conducted only after the conclusion of the prospective student-athlete's season;

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    (c) The on-campus evaluation may be conducted only during an unofficial visit;
    (d) The on-campus evaluation may only be conducted in June;
    (e) Not more than one on-campus evaluation per prospective student-athlete per institution shall be permitted (applied
        separately to the time period in which a prospective student-athlete completes high school or preparatory school
        eligibility and to the time period after the prospective student-athlete enrolls full time in a collegiate institution);
    (f) Before participating in an on-campus evaluation, a prospective student-athlete is required to undergo a medical
        examination or evaluation administered or supervised by a physician (e.g., family physician, team physician). A nurse
        practitioner whose state medical licensure allows for health care practice independent of physician supervision may
        complete the medical examination without supervision by a physician. The examination or evaluation shall include a
        sickle cell solubility test unless documented results of a prior test are provided to the institution. The examination or
        evaluation must be administered either within six months before participation in the on-campus evaluation or within
        six months before the prospective student-athlete's initial participation in practice, competition or out-of-season
        conditioning activities during the immediately completed season. In addition, the medical examination or evaluation
        may be conducted by an institution's regular team physician or other designated physician as a part of the on-campus
        evaluation;
    (g) The duration of the on-campus evaluation activities (other than the medical examination or evaluation) shall be limited
        to one hour;
    (h) The evaluation may only be conducted by a countable coach;
    (i) The evaluation may only include noncontact activities and the prospective student-athlete may not wear any protective
        equipment; and
    (j) The institution may not provide any equipment or apparel to a prospective student-athlete.
   13.11.2.3 Preseason Practice and Competition. A student-athlete who is not enrolled, but who has been accepted
   for admission to the institution in a regular full-time program of studies, shall be permitted to engage in preseason practice
   and competition in fall sports or practice occurring in midyear between terms on the academic calendar, provided such
   practice is not used to determine whether aid is to be awarded. [D]
   13.11.2.4 Recreational Activities. A prospective student-athlete visiting an institution may participate in physical
   workouts or other recreational activities during a visit to an institution's campus, provided such activities: [D] (Revised:
   1/11/94, 5/1/19)
    (a) Are not observed by members of the athletics department coaching staff;
    (b) Are not designed to test the athletics abilities of the prospective student-athlete; and
    (c) A student-athlete or prospective student-athlete may not be required to report back to a coach or other athletics
        department staff member any information related to the activity. In addition, no athletics department staff member
        who observes the activity (e.g., trainer, manager) may report back to the institution's coach any information related to
        the activity.
         13.11.2.4.1 Exception -- After National Letter of Intent Signing. A prospective student-athlete who has
         signed a National Letter of Intent (or a four-year college-transfer prospective student-athlete who has signed a written
         offer of financial aid and/or admission) may participate in voluntary weightlifting or conditioning activities (e.g.,
         conditioning on the track) on the institution's campus in the presence of the institution's strength and conditioning
         coach, provided such activities are not prearranged, the strength and conditioning coach is performing normal duties
         and responsibilities in the supervision of the weight room or facility in use (e.g., track) and the strength and
         conditioning coach does not work directly with the prospective student-athlete. [D] (Adopted: 8/26/10)
             13.11.2.4.3.2 Exception -- Men's Gymnastics. In men's gymnastics, an institution's athletics department or
             an institution's athletics booster group may sponsor a local sports club that includes prospective student-athletes
             and an athletics department staff member may be involved with a club team that is sponsored by a department of
             the institution that operates independent of the athletics department. (Adopted: 4/26/23 effective 8/1/23)
   13.11.2.5 Local Sports Clubs. In sports other than basketball and football, an institution's coach may be involved in
   any capacity (e.g., as a participant, administrator or in instructional or coaching activities) in the same sport for a local
   sports club or organization located in the institution's home community, provided all prospective student-athletes
   participating in said activities are legal residents of the area (within a 50-mile radius of the institution). In all sports, an
   institution's coach may be involved in any capacity (e.g., as a participant, administrator or in instructional or coaching
   activities) in a sport other than the coach's sport for a local sports club or organization located in the institution's home
   community, provided all prospective student-athletes participating in said activities are legal residents of the area (within a
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   50-mile radius of the institution). Further, in clubs or organizations involving multiple teams or multiple sports, the 50-
   mile radius is applicable only to the team with which the institution's coach is involved; however, it is not permissible for
   the coach to assign a prospective student-athlete who lives outside the 50-mile area to another coach of the club. A coach
   also may be involved in activities with individuals who are not of a prospective student-athlete age, regardless of where such
   individuals reside. (In women's volleyball and women's beach volleyball, see Bylaws 13.1.7.9 and 13.1.7.10, respectively, for
   regulations relating to a coach's involvement with a local sports club and the permissible number of evaluation days.) [D]
   (Revised: 1/10/90, 1/16/93, 9/6/00, 4/25/02 effective 8/1/02, 5/11/05, 7/31/15, 5/1/19)
         13.11.2.5.1 Exception. The 50-mile radius restriction shall not apply to a prospective student-athlete who resides
         outside a 50-mile radius of the institution, provided the institution documents that the local sports club is the closest
         opportunity for the prospective student-athlete to participate in the sport. (Adopted: 1/9/06 effective 8/1/06)
         13.11.2.5.2 Legal Resident. A prospective student-athlete who relocates to an area within a 50-mile radius of the
         institution on a temporary basis (e.g., to participate on a club team or attend an institution while maintaining a
         permanent residence outside the 50-mile radius) is not a legal resident of the area regardless of whether the prospective
         student-athlete meets legal standards of state or local residency for governmental purposes. (Adopted: 9/18/07)
         13.11.2.5.3 Institutional Sponsorship of Local Sports Club. Neither an institution's athletics department nor
         an institution's athletics booster group may sponsor a local sports club that includes prospective student-athletes. It is
         permissible for a department of the institution that operates independent of the athletics department (e.g., physical
         education department, recreation department) to sponsor a local sports club that includes prospective student-athletes,
         provided no athletics department staff member is involved with the club team. [D] (Adopted: 1/16/93, Revised: 1/11/94)
             13.11.2.5.3.1 Exception -- Permissible Recruiting Expenses. An institution may provide expenses to a
             coach related to permissible recruiting activities on behalf of the institution that occur while the coach is also
             acting in a permissible capacity for a local sports club. (Adopted: 5/1/19)
         13.11.2.5.4 Women's Volleyball -- Additional Restrictions. In women's volleyball, during a dead or quiet
         period, institutional coaching staff members may not coach a local sports club team at an off-campus competition
         where prospective student-athletes are present. However, it is permissible for an institution's coach to coach the coach's
         own local sports club team in practice activities. [D] (Adopted: 4/28/05 effective 8/1/05)
         13.11.2.5.5 Noncoaching Staff Members with Sport-Specific Responsibilities -- Football. [FBS/FCS] In
         football, a noncoaching staff member with sport-specific responsibilities (e.g., director of operations, administrative
         assistant) shall not be involved in any capacity (e.g., as a participant, administrator or in instructional or coaching
         activities) with a football club or organization that includes prospective student-athletes. (Adopted: 5/1/19 a contract
         signed before 6/13/18 may be reviewed on a case-by-case basis)
   13.11.2.6 Sports Camps and Clinics. An institution's coach may be employed in sports camps, coaching schools and
   clinics per Bylaw 13.12 without violating the tryout rule.
   13.11.2.7 Medical Examinations.
         13.11.2.7.1 Medical Screening Examination. During a prospective student-athlete's official or unofficial visit to
         campus, an institution may conduct a medical screening examination to determine the prospective student-athlete's
         medical qualifications to participate in intercollegiate athletics, provided : [D] (Revised: 10/30/03 effective 8/1/04,
         5/1/19)
         (a) The examination is conducted by the institution’s regular team or designated physician, or other institutional
             medical staff member (e.g., athletic trainer);
         (b) No other nonmedical athletics department staff members are present;
         (c) The examination does not include any test or procedure designed to measure the athletics agility or skill of the
             prospective student-athlete; and
         (d) The results of the examination are not used by the institution to deny admission of the prospective student-athlete
             who is otherwise qualified for admission under the institution’s regular admission criteria.
             13.11.2.7.1.1 Exception -- National Service Academies. National service academies are not subject to the
             restrictions on medical examinations during a prospective student-athlete's visit to campus set forth in Bylaw
             13.11.2.7.1.
             13.11.2.7.1.2 Exception -- On-Campus Evaluation -- Basketball. In basketball, additional athletics
             department staff members (e.g., coaches) may be present during a medical examination that is conducted as part of
             an on-campus evaluation (see Bylaw 13.11.2.1) and the medical evaluation may include tests or procedures

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             designed to measure the athletics agility or skill of the prospective student-athlete. (Adopted: 1/14/12, Revised:
             1/19/13)
         13.11.2.7.2 After Signing or Acceptance for Enrollment. It shall be permissible to administer medical
         examinations at any time to prospective student-athletes who either have signed the National Letter of Intent with the
         involved institution or have been accepted for enrollment in a regular full-time program of studies at that institution,
         provided the examinations occur during an official paid visit or a visit to the institution at the prospective student-
         athlete's own expense for any purpose. Such an examination may take place before or after, but not during, a
         prospective student-athlete's visit to the campus to attend a general orientation session pursuant to Bylaw
         13.15.2.3. [D] (Revised: 1/14/97, 6/10/04, 1/19/13 effective 8/1/13)
13.11.3 Tryout Exceptions.
   13.11.3.1 Open Events. Participation by a prospective student-athlete in open events conducted by or held on an
   institution's campus shall not be considered tryouts. Competition shall be considered open if the competitive event itself is
   not classified by age group or level of educational institution represented, and the selection of participants is not limited
   except by number, by geographical area or on the basis of some objective standard of performance (see Bylaws 13.11.1.8
   and 13.11.1.9). [D]
   13.11.3.2 Activities Not Involving Institution's Staff. The use of a member institution's facilities for physical
   activities by a group that includes prospective student-athletes shall not be considered a tryout, provided the institution's
   athletics department staff members or representatives of its athletics interests are not involved in the conduct, promotion or
   administration of the activity (other than activities incidental to supervising the use of the facilities) and are subject to all
   applicable NCAA recruiting legislation. This exception does not apply to activities and events that are prohibited per
   Bylaws 13.11.1.8, 13.11.1.9, 13.11.1.10 and 13.11.1.14. [D] (Revised: 1/9/06 effective 8/1/06, 8/12/10, 5/22/13)
   13.11.3.3 State, Regional, National or International Training Programs. In sports other than men's gymnastics,
   participation by an institution's athletics department staff member in recognized state, regional, national or international
   training programs or competition organized and administered by the applicable governing body shall not be considered
   tryouts, provided the athletics department staff member is selected by the applicable governing body and the participants
   are selected by an authority or a committee of the applicable governing body that is not limited to athletics department staff
   members affiliated with one institution. A member institution's coaching staff member may not participate only in
   noncoaching activities (e.g., consultant, on-site coordinator, participant selection), except as provided in Bylaws
   13.11.3.3.1, 13.11.3.3.2 and 13.11.3.3.3. In men's gymnastics, an institution and athletics department staff members may
   be involved in any capacity (e.g., host, coach, consultant, on-site coordinator, participant selection), in recognized state,
   regional, national or international training programs or competition organized and administered by the applicable
   governing body. (Revised: 1/9/96, 11/10/97, 4/28/11 effective 8/1/11, 4/26/23 effective 8/1/23)
         13.11.3.3.1 U.S. Junior National Teams -- Basketball. A coaching staff member who is a member of an official
         committee of USA Basketball may be involved in noncoaching activities (e.g., participant selection, on-site evaluation)
         involving prospective basketball student-athletes participating on U.S. Junior National teams. [D] (Adopted: 4/26/01)
         13.11.3.3.2 Coach/Prospective Student-Athlete Competition. It is permissible for an institution's coach to
         participate with or against prospective student-athletes in recognized state, regional, national or international training
         programs or competition, provided the competition is regularly scheduled under the authority of an outside sports
         organization and both the coach and the prospective student-athlete are eligible to enter the competition. [D]
         13.11.3.3.3 Administration of State Games. A member institution serving as the site of state games is permitted
         to involve its staff members in the administration of the event but may not be involved in the selection or assignment
         of participants and coaches participating in the event. [D] (Adopted: 1/10/91)
   13.11.3.4 High School, Preparatory School and Two-Year College Contests. High school, preparatory school
   and two-year-college athletics contests or matches, conducted by an institution or sponsored jointly with an outside
   organization and held on the institution's campus, shall not be considered tryouts, provided the following conditions are
   met [see Bylaw 13.2.3-(c) for restrictions related to the provision of awards at such contests]: [D] (Revised: 1/15/11)
    (a) Team Sports.
         (1) The opportunity to participate in the event is not limited to specific educational institutions and all educational
             institutions in a specific geographical area are eligible to compete (limited only by number, by institutional
             classification or on the basis of some objective standard of performance);
         (2) Each participant represents an educational institution in the event (no nonscholastic team representation); and


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         (3) No financial compensation (e.g., transportation, expenses, guarantee, percentage of income) from the event may
             be provided to the educational institutions;
    (b) Individual Sports.
         (1) The opportunity to participate in the event is not limited to specific prospective student-athletes or educational
             institutions and all individual prospective student-athletes or educational institutions in a specific geographical
             area are eligible to compete (limited only by number, by institutional classification or on the basis of some
             objective standard of performance);
         (2) A participant may compete as an individual or may represent an educational institution or a nonscholastic team;
             and
         (3) No financial compensation (e.g., transportation expenses, guarantee, percentage of income) from the event may be
             provided to an individual, educational institution or nonscholastic team.
   13.11.3.5 Officiating. An institution's coach may officiate competition that involves prospective student-athletes,
   provided the competition is regularly scheduled under the authority of an outside sports organization. [D]
   13.11.3.6 Private Lessons -- Women's Golf and Women's Equestrian. In women's golf and women's equestrian, a
   coach may teach private lessons to a prospective student-athlete, provided the following conditions are met: [D] (Revised:
   4/28/05 effective 8/1/05, 4/25/18, 1/23/19)
    (a) The prospective student-athlete resides within a 50-mile radius of the institution's main campus;
    (b) The coach makes lessons available to the general public;
    (c) In women's golf, lessons are only provided to female prospective student-athletes and the coach is a teaching
        professional certified pursuant to the Ladies Professional Golf Association (LPGA) and/or Professional Golf Association
        (PGA) certification program;
    (d) Fees charged to the prospective student-athlete are at a rate commensurate with fees charged to all individuals; and
    (e) Fees charged to the prospective student-athlete are not paid by individuals or entities other than the prospective
        student-athlete or the prospective student-athlete's family members.
   13.11.3.7 Private Lessons -- Men's Gymnastics. In men's gymnastics, a coach may teach private lessons to a
   prospective student-athlete, provided the following conditions are met: (Adopted: 4/26/23 effective 8/1/23)
    (a) Fees charged to the prospective student-athlete are at a rate commensurate with fees charged to all individuals;
    (b) Fees charged to the prospective student-athlete are not paid by individuals or entities other than the prospective
        student-athlete or the prospective student-athlete's family members; and
    (c) A student-athlete may be employed by the institution's coach during the private lessons, provided compensation is
        provided pursuant to the criteria of Bylaw 12.4.1.
   13.11.3.8 Voluntary Summer Conditioning -- Football. [FBS/FCS]
         13.11.3.8.1 Voluntary Summer Conditioning -- Bowl Subdivision Football. [FBS] In bowl subdivision
         football, a prospective student-athlete may engage in voluntary summer workouts conducted by an institution's
         strength and conditioning coach who is not a countable coach in football and may receive workout apparel (on an
         issuance and retrieval basis), provided the prospective student-athlete has signed a National Letter of Intent or the
         institution's written offer of admission and/or financial aid, or the institution has received the prospective student-
         athlete's financial deposit in response to its offer of admission. [D] (Adopted: 4/24/03 effective 5/1/03, Revised: 4/29/04,
         5/31/06, 12/15/06, 1/14/08, 10/26/10, 1/19/13 effective 8/1/13, 10/21/13, 4/28/16, 4/26/17)
         13.11.3.8.2 Voluntary Summer Conditioning -- Championship Subdivision Football. [FCS] In
         championship subdivision football, a prospective student-athlete may engage in voluntary summer workouts conducted
         by an institution's strength and conditioning coach or a countable coach who is a certified strength and conditioning
         coach, and may receive workout apparel (on an issuance and retrieval basis), provided the prospective student-athlete
         has signed a National Letter of Intent or the institution's written offer of admission and/or financial aid, or the
         institution has received the prospective student-athlete's financial deposit in response to its offer of admission. [D]
         (Adopted: 4/24/03 effective 5/1/03, Revised: 4/29/04, 5/31/06, 12/15/06, 1/14/08, 5/4/09, 10/26/10, 1/19/13 effective
         8/1/13, 10/21/13, 4/28/16, 4/26/17)
         13.11.3.8.3 Mandatory Medical Examination. [FBS/FCS] Prior to participation in any weight-training or
         conditioning workouts, a prospective student-athlete who will be a first-time participant shall be required to undergo a
         medical examination or evaluation administered or supervised by a physician (e.g., family physician, team physician).
         The examination or evaluation shall include a sickle cell solubility test unless documented results of a prior test are
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         provided to the institution. The examination or evaluation must have been administered within six months prior to
         participation in any weight-training or conditioning activity. [D] (Adopted: 1/8/07 effective 5/1/07, Revised: 4/29/10
         effective 8/1/10, 1/20/22 effective 8/1/22)
         13.11.3.8.4 Strength and Conditioning Coach First Aid/CPR Certification and Authority of Sports
         Medicine Staff. [FBS/FCS] A strength and conditioning coach who conducts voluntary weight-training or
         conditioning activities is required to maintain certification in first aid and cardiopulmonary resuscitation. In addition, a
         member of the institution's sports medicine staff (e.g., athletic trainer, physician) must be present during all voluntary
         conditioning activities (running, not lifting) conducted by the institution's strength coach. The sports medicine staff
         member must be empowered to have the unchallengeable authority to cancel or modify the workout for health and
         safety reasons, as the staff member deems appropriate. [D] (Adopted: 4/24/03 effective 5/1/03)
   13.11.3.9 Voluntary Summer Conditioning -- Sports Other Than Football. In sports other than football, a
   prospective student-athlete may engage in voluntary summer workouts conducted by an institution's strength and
   conditioning coach who is not a countable coach in any sport and may receive workout apparel (on an issuance and retrieval
   basis), provided the prospective student-athlete has signed a National Letter of Intent or the institution's written offer of
   admission and/or financial aid, or the institution has received the prospective student-athlete's financial deposit in response
   to its offer of admission. [D] (Adopted: 4/29/04, Revised: 7/20/04, 1/14/08, 1/19/13 effective 8/1/13, 10/21/13, 4/28/16,
   4/26/17)
         13.11.3.9.1 Mandatory Medical Examination. Prior to participation in any weight-training or conditioning
         workouts conducted by an institution's strength and conditioning coach, a prospective student-athlete who will be a
         first-time participant shall be required to undergo a medical examination or evaluation administered or supervised by a
         physician (e.g., family physician, team physician). The examination or evaluation shall include a sickle cell solubility
         test unless documented results of a prior test are provided to the institution. The examination or evaluation must have
         been administered within six months prior to participation in any weight-training or conditioning activity. [D]
         (Adopted: 1/8/07 effective 5/1/07, Revised: 4/29/10 effective 8/1/10, 1/20/22 effective 8/1/22)
         13.11.3.9.2 Strength and Conditioning Coach First Aid/CPR Certification and Authority of Sports
         Medicine Staff. A strength and conditioning coach who conducts voluntary weight-training or conditioning
         activities is required to maintain certification in first aid and cardiopulmonary resuscitation. If a member of the
         institution's sports medicine staff (e.g., athletic trainer, physician) is present during voluntary conditioning activities
         conducted by a strength and conditioning coach, the sports medicine staff member must be empowered with the
         unchallengeable authority to cancel or modify the workout for health and safety reasons, as the staff member deems
         appropriate. [D] (Adopted: 1/15/11 effective 5/1/11)
   13.11.3.10 Required Summer Athletic Activities -- Basketball.
         13.11.3.10.1 National Service Academies -- Incoming Freshmen. In basketball, a national service academy
         may designate eight weeks (not required to be consecutive weeks) of the summer during which incoming freshmen
         student-athletes who are enrolled in required summer on-campus military training may engage in required weight-
         training, conditioning and skill-related instruction. Participation in such activities shall be limited to a maximum of
         eight hours per week with not more than four hours per week spent on skill-related instruction. [D] (Adopted: 1/14/12,
         Revised: 1/19/13 effective 8/1/13, 4/28/16, 4/25/18)
         13.11.3.10.2 Institutions That Do Not Offer Summer School Courses -- Basketball. In basketball, an
         institution that does not offer summer school courses may designate eight weeks of the summer during which a
         prospective student-athlete may participate in required summer athletic activities (pursuant to Bylaw 17.1.7.2.1.6.1),
         provided the prospective student-athlete has signed a National Letter of Intent or the institution’s written offer of
         admission and/or financial aid, or the institution has received a financial deposit in response to its offer of admission.
         (Adopted: 4/25/18)
         13.11.3.10.3 Mandatory Medical Examination. Before participating in any required summer athletic activities, a
         prospective student-athlete shall be required to undergo a medical examination or evaluation administered or
         supervised by a physician (e.g., family physician, team physician). The examination or evaluation shall include a sickle
         cell solubility test unless documented results of a prior test are provided to the institution. The examination or
         evaluation must have been administered within six months before participation in any athletic activity. [D] (Adopted:
         1/14/12, Revised: 1/20/22 effective 8/1/22)
   13.11.3.11 Required Summer Athletic Activities -- Football. [FBS/FCS]
         13.11.3.11.1 National Service Academies -- Incoming Freshmen -- Bowl Subdivision Football. [FBS] In
         bowl subdivision football, a national service academy may designate eight weeks (not required to be consecutive weeks)

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         of the summer during which incoming freshmen student-athletes who are enrolled in required summer on-campus
         military training may engage in required weight-training, conditioning, review of practice and game film and
         noncontact skill-related instruction. Participation in such activities shall be limited to a maximum of eight hours per
         week with not more than two hours per week spent on film review and not more than two hours per week spent on
         noncontact skill-related instruction. During noncontact skill-related instruction, it is not permissible for student-
         athletes to wear any protective equipment (e.g., helmet, shoulder pads) or use any equipment related to the sport other
         than footballs. [D] (Adopted: 10/30/13, Revised: 4/28/16, 4/13/22)
         13.11.3.11.2 Institutions That Do Not Offer Summer School Courses -- Championship Subdivision
         Football. [FCS] In championship subdivision football, an institution that does not offer summer school courses may
         designate eight weeks of the summer during which a prospective student-athlete may participate in required summer
         athletic activities (pursuant to Bylaw 17.1.7.2.1.6.2), provided the prospective student-athlete has signed a National
         Letter of Intent or the institution’s written offer of admission and/or financial aid, or the institution has received a
         financial deposit in response to its offer of admission. (Adopted: 4/25/18)
         13.11.3.11.3 Mandatory Medical Examination. [FBS/FCS] Before participating in any required summer
         athletic activities, a prospective student-athlete shall be required to undergo a medical examination or evaluation
         administered or supervised by a physician (e.g., family physician, team physician). The examination or evaluation shall
         include a sickle cell solubility test unless documented results of a prior test are provided to the institution. The
         examination or evaluation must have been administered within six months before participation in any athletic
         activity. [D] (Adopted: 10/30/13, Revised: 1/20/22 effective 8/1/22)
13.12 Sports Camps and Clinics.
13.12.1 Institution's Sports Camps and Clinics.
   13.12.1.1 Definition. An institution's sports camp or instructional clinic shall be any camp or clinic that is owned or
   operated by a member institution or an employee of the member institution's athletics department, either on or off its
   campus, and in which prospective student-athletes participate. (Adopted: 1/11/89, Revised: 1/10/90, 4/26/01 effective 8/1/01)
         13.12.1.1.1 Definition of Prospective Student-Athlete -- Men's Basketball, Softball and Women's
         Volleyball. In men's basketball, softball and women's volleyball, for purposes of Bylaw 13.12, the phrase "prospective
         student-athlete" shall include any individual who has started classes for the seventh grade. (Adopted: 1/17/09, Revised:
         4/25/18, 10/27/21 effective 1/1/22)
         13.12.1.1.2 Definition of Recruited Prospective Student-Athlete -- Basketball. In basketball, for purposes
         of applying Bylaw 13.12, a recruited prospective student-athlete is a prospective student-athlete who has been recruited
         pursuant to the definition of recruiting in Bylaw 13.02.15 or the definition of a recruited prospective student-athlete
         pursuant to Bylaw 13.02.15.1. In addition, a basketball prospective student-athlete is considered a recruited
         prospective student-athlete if any of the following conditions have occurred: (Adopted: 10/29/09, Revised: 4/26/17
         effective 8/1/17)
         (a) The prospective student-athlete's attendance at any institutional camp or clinic has been solicited by the institution
             (or a representative of the institution's athletics interests);
         (b) The institution has provided any recruiting materials to the prospective student-athlete;
         (c) An institutional coaching staff member has had any recruiting contact [including in-person or electronic contact
             (e.g., telephone calls, video conference, electronic correspondence)] with the prospective student-athlete (including
             contact initiated by the prospective student-athlete);
         (d) The prospective student-athlete has received an oral offer of athletically related financial aid from the institution;
             or
         (e) The prospective student-athlete has orally committed to attend the institution.
         13.12.1.1.3 Definition of Recruited Prospective Student-Athlete -- Football. [FBS/FCS] In football, for
         purposes of applying Bylaw 13.12, a recruited prospective student-athlete is a prospective student-athlete who has been
         recruited pursuant to the definition of recruiting in Bylaw 13.02.15 or the definition of a recruited prospective student-
         athlete pursuant to Bylaw 13.02.15.1. In addition, a football prospective student-athlete is considered a recruited
         prospective student-athlete if any of the following conditions have occurred: (Adopted: 4/26/17)
         (a) The prospective student-athlete's attendance at any institutional camp or clinic has been solicited by the institution
             (or a representative of the institution's athletics interests);
         (b) The institution has provided any recruiting materials to the prospective student-athlete;

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         (c) An institutional coaching staff member has had any recruiting contact [including in-person or electronic contact
             (e.g., telephone calls, video conference, electronic correspondence)] with the prospective student-athlete (including
             contact initiated by the prospective student-athlete);
         (d) The prospective student-athlete has received an oral offer of athletically related financial aid from the institution;
             or
         (e) The prospective student-athlete has orally committed to attend the institution.
         13.12.1.1.4 Purposes of Camps or Clinics. An institution's sports camp or clinic shall be one that: (Adopted:
         1/11/89, Revised: 1/10/90, 5/9/06)
         (a) Places special emphasis on a particular sport or sports and provides specialized instruction or practice and may
             include competition;
         (b) Involves activities designed to improve overall skills and general knowledge in the sport; or
         (c) Offers a diversified experience without emphasis on instruction, practice or competition in any particular sport.
         13.12.1.1.5 Football. [FBS/FCS] In bowl subdivision football, an institution's camp or clinic may be conducted
         only during 10 days in the months of June [or any days (other than during a dead period) of a calendar week (Sunday
         through Saturday) that includes days in June (e.g., May 28-June 3)] and July. In championship subdivision football, an
         institution's camp or clinic may be conducted only during June [or any days (other than during a dead period) of a
         calendar week (Sunday through Saturday) that includes days in June (e.g., May 28-June 3)] and July. [D] (Revised:
         4/28/05 effective 8/1/05, 1/9/06 effective 8/1/06, 1/8/07, 1/16/10, 4/29/10, 4/26/17 a contract signed before 1/18/17 may
         be honored, 1/23/19, 4/13/23 effective 8/1/23)
         13.12.1.1.6 Basketball. An institution's basketball camp or clinic shall be conducted only during June, July and
         August, or any calendar week (Sunday through Saturday) that includes days of those months (e.g., May 28-June 3).
         Additionally, an institution's camp or clinic may not be conducted during the dates when the NCAA College
         Basketball Academy occurs. [D] (Adopted: 1/8/07, Revised: 1/14/21 a contract signed before October 29, 2020 may be
         honored, 10/5/22)
         13.12.1.1.7 Women's Volleyball. An institution's women's volleyball camp or clinic shall be conducted only
         during the period of Memorial Day through July 31. [D] (Adopted: 10/27/21 effective 1/1/22 a contract signed before
         6/23/21 may be honored and a camp or clinic publicized before 6/23/21 may be conducted outside of the specified period)
   13.12.1.2 Location Restriction.
         13.12.1.2.1 Baseball. In baseball, during a quiet period, an institution's coach or noncoaching staff member with
         responsibilities specific to baseball may be employed (either on a salaried or volunteer basis) only at the institution's
         camps or clinics that occur on the institution's campus or at a facility regularly used by the institution for practice or
         competition. (See Bylaw 13.12.2.3.2.) (Adopted: 5/4/20)
         13.12.1.2.2 Basketball. In basketball, an institution's camp or clinic shall be conducted on the institution's campus
         or within a 100-mile radius of the institution's campus. (Adopted: 4/29/10)
         13.12.1.2.3 Football. [FBS/FCS] In bowl subdivision football, an institution's camp or clinic shall be conducted on
         the institution's campus or in facilities regularly used by the institution for practice or competition. In championship
         subdivision football, an institution's camp or clinic shall be conducted within the state where the institution is located.
         (Adopted: 4/26/17 a contract signed before 1/18/17 may be honored, Revised: 4/25/18)
         13.12.1.2.4 Softball. In softball, during periods when it is not permissible to evaluate at nonscholastic practice or
         competition activities, an institution's coach or noncoaching staff member with responsibilities specific to softball may
         be employed (either on a salaried or volunteer basis) only at institutional (the individual's institution or another
         institution's) camps or clinics that occur on any institution's campus or at a facility regularly used by the institution for
         practice or competition. (See Bylaw 13.12.2.3.7.) (Adopted: 5/4/20)
   13.12.1.3 Attendance Restriction. In sports other than men's gymnastics, a member institution's sports camp or clinic
   shall be open to any and all entrants (limited only by number, age, grade level and/or gender). (Revised: 1/11/89, 1/10/91,
   1/11/94, 12/12/06, 9/24/09, 4/26/23 effective 8/1/23)
   13.12.1.4 Additional Restrictions -- Basketball. In men's basketball, all institutional men's/boys' camps and
   clinics shall offer the same participation, registration procedure, fee structure, advertisement and/or logistical experience
   (e.g., lodging, meals, transportation or awards/mementos). In women's basketball, all institutional women's/girls' camps
   and clinics shall offer the same participation, registration procedure, fee structure, advertisement and/or logistical experience
   (e.g., lodging, meals, transportation or awards/mementos). (Adopted: 8/26/10, Revised: 4/26/17 effective 8/1/17)

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   13.12.1.5 Recruiting Calendar Exceptions. Generally, the interaction during sports camps and clinics between
   prospective student-athletes and those coaches employed by the camp or clinic is not subject to the recruiting calendar
   restrictions. However, an institutional staff member employed at any camp or clinic (e.g., counselor, director) is prohibited
   from recruiting any prospective student-athlete during the time period that the camp or clinic is conducted (from the time
   the prospective student-athlete reports to the camp or clinic until the conclusion of all camp activities). The prohibition
   against recruiting includes extending written offers of financial aid to any prospective student-athlete during the prospective
   student-athlete's attendance at the camp or clinic (see Bylaw 13.9.3.2). Other coaches who attend the camp or clinic as
   observers must comply with appropriate recruiting contact and evaluation periods. In addition, institutional camps or
   clinics may not be conducted during a dead period or a recruiting shutdown. (Revised: 4/3/02, 4/26/12, 4/25/18)
         13.12.1.5.1 Exception -- Recruiting Conversations -- Sports Other Than Baseball, Basketball, Football,
         Men's Ice Hockey, Lacrosse and Softball. In sports other than baseball, basketball, football, men's ice hockey,
         lacrosse and softball, recruiting conversations during an institutional camp or clinic (including a camp or clinic that
         involves only individuals who are not yet prospective student-athletes) are not permitted between an institution’s coach
         and a participating individual before August 1 at the beginning of the individual’s junior year in high school. (Adopted:
         6/9/17 effective 6/12/17, Revised: 4/25/18, 5/1/19)
         13.12.1.5.2 Exception -- Recruiting Conversations -- Baseball, Lacrosse and Softball. In baseball, lacrosse
         and softball, recruiting conversations during an institutional camp or clinic (including a camp or clinic that involves
         only individuals who are not yet prospective student-athletes) are not permitted between an institution’s coach and a
         participating individual before September 1 at the beginning of the individual’s junior year in high school. (Revised:
         5/1/19)
         13.12.1.5.3 Exception -- Recruiting Conversations -- Men's Basketball. In men's basketball, recruiting
         conversations between the certifying institution's coach and a participating prospective student-athlete during
         the institution's camps or clinics are permissible. (Revised: 4/25/18)
         13.12.1.5.4 Exception -- Recruiting Conversations -- Football. [FBS/FCS] In football, an institutional
         coaching staff member who is permissibly employed at a camp or clinic (see Bylaws 13.12.2.3.4 and 13.12.2.3.5) may
         engage in recruiting conversations with a prospective student-athlete during the time period that the camp or clinic is
         conducted (from the time the prospective student-athlete reports to the camp or clinic until the conclusion of all camp
         activities). (Adopted: 4/26/17)
         13.12.1.5.5 Exception -- Recruiting Conversations -- Men's Ice Hockey. In men's ice hockey, recruiting
         conversations during an institutional camp or clinic (including a camp or clinic that involves only individuals who are
         not yet prospective student-athletes) are not permitted between an institution’s coach and a participating individual
         before January 1 of the individual’s sophomore year in high school. (Adopted: 5/1/19)
         13.12.1.5.6 Exception -- Recruiting Activities -- Women's Basketball. In women’s basketball, an institutional
         coaching staff member may engage in recruiting activities (e.g., campus tour, meeting with academic advisor) with
         prospective student-athletes during an institutional camp or clinic. (Adopted: 4/26/17 effective 8/1/17)
         13.12.1.5.7 Campus Tours During Institutional Camps or Clinics -- Sports Other Than Women's
         Basketball. In sports other than women's basketball, an institution's coach may arrange and conduct a campus tour
         during the institution's camp or clinic, provided the format of the tour has been approved by an institutional authority
         outside the athletics department (e.g., admissions office). (Adopted: 7/23/15, Revised: 4/26/17)
   13.12.1.6 Advertisements. An institutional camp or clinic advertisement or promotion (e.g., camp brochure, website,
   newspaper or magazine advertisement) must indicate that the camp or clinic is open to any and all entrants (limited only by
   number, age, grade level and/or gender). An institution must publicly advertise (e.g., camp brochure, website, newspaper or
   magazine advertisement) an institutional camp or clinic at least 14 calendar days before the first date of a camp or
   clinic. [D] (Revised: 8/5/04, 10/27/21 effective 1/1/22, 11/17/21)
         13.12.1.6.1 Advertisements Directed Toward a Particular Audience. An institution may advertise or
         promote an institutional camp or clinic toward a particular audience (e.g., elite camp), provided the advertisement or
         promotion indicates that the camp or clinic is open to any and all entrants (limited only by number, age, grade level
         and/or gender). [D] (Adopted: 9/24/09, Revised: 11/17/21)
   13.12.1.7 Employment of Prospective Student-Athletes/No Free or Reduced Admission Privileges.
         13.12.1.7.1 General Rule. An institution, members of its staff or representatives of its athletics interests shall not
         employ or give free or reduced admission privileges to a prospective student-athlete who is an athletics award winner or
         any individual being recruited by the institution per Bylaw 13.02.15.1. An institution may offer discounted admission
         to its camps and clinics based on objective criteria unrelated to athletics abilities (e.g., registration prior to a specific
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         date, online registration, attendance at multiple sessions, group discounts), provided such discounts are published and
         available on an equal basis to all who qualify. [R] (Revised: 3/10/04, 4/20/09, 9/24/09)
             13.12.1.7.1.1 Exception -- Employment After Commitment. An institution may employ a prospective
             student-athlete in a camp or clinic, provided the prospective student-athlete has signed a National Letter of Intent
             or the institution's written offer of admission and/or financial aid or the institution has received the prospective
             student-athlete's financial deposit in response to its offer of admission. Compensation may be paid only for work
             actually performed and at a rate commensurate with the going rate in the locality for similar services. Such
             compensation may not include any remuneration for value or utility that the student-athlete may have for the
             employer because of the publicity, reputation, fame or personal following obtained because of athletics ability. A
             prospective student-athlete who only lectures or demonstrates at a camp/clinic may not receive compensation for
             an appearance at the camp/clinic. (Adopted: 1/19/13 effective 8/1/13)
         13.12.1.7.2 Payment of Expenses. A representative of an institution's athletics interests may not pay a prospective
         student-athlete's expenses to attend a member institution's sports camp or clinic. [R]
         13.12.1.7.3 Concession Arrangement.
             13.12.1.7.3.1 Prospective Student-Athlete. An institution may not permit or arrange for a prospective
             student-athlete, at the prospective student-athlete's own expense, to operate a concession to sell items related to or
             associated with the institution's camp. [R] (Revised: 8/5/04)
             13.12.1.7.3.2 Enrolled Student-Athlete. A student-athlete, at the student-athlete's own expense, may not
             operate a concession to sell items related to or associated with an institution's camp to campers or others in
             attendance because such an arrangement would be considered an extra benefit. However, the institution may
             employ the student-athlete at a reasonable rate to perform such services for the camp. [R] (Revised: 8/5/04)
         13.12.1.7.4 Awards. Prospective student-athletes may receive awards from a member institution's sports camp or
         clinic with the understanding that the cost of such awards is included in the admissions fees charged for participants in
         the camp or clinic. [R] (Adopted: 1/10/92, Revised: 8/5/04)
13.12.2 Employment at Camp or Clinic.
   13.12.2.1 Student-Athletes. A student-athlete may be employed in any sports camp or clinic, provided compensation is
   provided pursuant to the criteria of Bylaw 12.4.1. A student-athlete who only lectures or demonstrates at a camp/clinic may
   not receive compensation for an appearance at the camp/clinic. (Revised: 4/24/03 effective 8/1/03, 1/19/13 effective 8/1/13)
         13.12.2.1.1 Self-Employment. A student-athlete with remaining eligibility is not permitted to conduct a camp or
         clinic. [R] (Revised: 4/24/03 effective 8/1/03)
   13.12.2.2 High School, Preparatory School, Two-Year College Coaches or Other Individuals Involved With
   Prospective Student-Athletes. A member institution (or employees of its athletics department) may employ a high
   school, preparatory school or two-year college coach or any other individual responsible for teaching or directing an activity
   in which a prospective student-athlete is involved at its camp or clinic, provided: [R] (Adopted: 1/11/89, Revised: 1/11/94,
   6/25/08, 8/12/10)
    (a) The individual receives compensation that is commensurate with the going rate for camp counselors of like teaching
        ability and camp experience; and
    (b) The individual is not paid on the basis of the value the individual may have for the employer because of the individual's
        reputation or contact with prospective student-athletes.
         13.12.2.2.1 Prohibited Compensation. An institution may not compensate or reimburse a high school,
         preparatory school or two-year college coach, or any other individual responsible for teaching or directing an activity in
         which a prospective student-athlete is involved based on the number of campers the individual sends to the camp. [R]
         (Revised: 4/20/11)
         13.12.2.2.2 Employment as a Speaker in an Institutional Camp or Clinic -- Basketball. An institution shall
         not employ (either on a salaried or a volunteer basis) a speaker in any basketball camp or clinic (including a coaches
         clinic or a camp or clinic involving nonprospects) who is involved in coaching prospective student-athletes or is
         associated with a prospective student-athlete as a result of the prospective student-athlete's participation in basketball.
         Such an individual may be employed as a camp counselor (except as prohibited in Bylaw 13.12.2.2.4), but may not
         perform speaking duties other than those normally associated with camp counselor duties (e.g., skill instruction).
         (Adopted: 1/17/09, Revised: 8/26/10)



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         13.12.2.2.3 Employment as a Speaker in an Institutional Camp or Clinic -- Football. [FBS/FCS] An
         institution shall not employ (either on a salaried or a volunteer basis) a speaker in any football camp or clinic (including
         a coaches clinic or a camp or clinic involving nonprospects) who is involved in coaching prospective student-athletes or
         is associated with a prospective student-athlete as a result of the prospective student-athlete's participation in football.
         Such an individual may be employed as a camp counselor (except as prohibited in Bylaw 13.12.2.2.5), but may not
         perform speaking duties other than those normally associated with camp counselor duties (e.g., skill instruction).
         (Adopted: 4/26/17 a contract signed before 1/18/17 may be honored)
         13.12.2.2.4 Individual Associated With a Recruited Prospective Student-Athlete -- Basketball. In
         basketball, an institution or staff member shall not employ (either on a volunteer or paid basis) an individual associated
         with a recruited prospective student-athlete (see Bylaws 13.02.15.1, 13.02.20 and 13.12.1.1.2) at the institution's
         camp or clinic, unless at least two years (24 months) have elapsed since the prospective student-athlete's initial full-time
         enrollment at the institution. (See Bylaws 13.2.1.4 and 13.12.3.) (Adopted: 8/26/10, Revised: 4/26/17, 4/26/17 effective
         8/1/17 a contract signed before 1/18/17 may be honored)
         13.12.2.2.5 Individual Associated With a Recruited Prospective Student-Athlete -- Bowl Subdivision
         Football. [FBS] In bowl subdivision football, an institution or staff member shall not employ (either on a volunteer
         or paid basis) an individual associated with a recruited prospective student-athlete (see Bylaws 13.02.15.1, 13.02.21
         and 13.12.1.1.3) at the institution's camp or clinic (including a coaches clinic or a camp or clinic involving
         nonprospects), unless at least two years (24 months) have elapsed since the prospective student-athlete's initial full-time
         enrollment at the institution. (See Bylaws 13.2.1.5 and 13.12.4.) (Adopted: 4/26/17 a contract signed before 1/18/17 may
         be honored, Revised: 4/25/18)
             13.12.2.2.5.1 Exception -- Coach of Four-Year, NCAA Member Institution -- Bowl Subdivision
             Football. [FBS] In bowl subdivision football, an institution or staff member may employ a coach of another
             four-year, NCAA member institution at the institution's camp or clinic regardless of whether the coach is an
             individual associated with a recruited prospective student-athlete. (Adopted: 4/26/17, Revised: 4/25/18)
   13.12.2.3 Athletics Staff Members. A member institution's athletics staff member may be involved in sports camps or
   clinics unless otherwise prohibited in this section. [D] (Revised: 8/5/04)
         13.12.2.3.1 Camp/Clinic Providing Recruiting or Scouting Service. No athletics department staff member
         may be employed (either on a salaried or a volunteer basis) in any capacity by a camp or clinic established, sponsored or
         conducted by an individual or organization that provides recruiting or scouting services concerning prospective
         student-athletes. In addition, an athletics department staff member may not be employed (either on a salaried or a
         volunteer basis) in any capacity by a coaches clinic established, sponsored or conducted by an individual or
         organization that provides recruiting or scouting services concerning prospective student-athletes, even if prospective
         student athletes are not involved in the coaches clinic. This provision does not prohibit an athletics department staff
         member from participating in an officiating camp where participants officiate for, but are not otherwise involved in, a
         scouting services camp. [D] (Adopted: 1/11/89, Revised: 1/10/90, 1/10/92, 8/5/04, 7/24/14)
             13.12.2.3.1.1 Exception -- NCAA College Basketball Academies. The NCAA may use a recruiting or
             scouting service in conjunction with the NCAA College Basketball Academy. Such use does not prohibit the
             employment of athletics department staff at the event. (Adopted: 1/22/20, Revised: 10/5/22)
         13.12.2.3.2 Institutional or Noninstitutional, Privately Owned Camps/Clinics -- Baseball. In baseball, an
         institution's coach or noncoaching staff member with responsibilities specific to baseball may serve in any capacity
         (e.g., counselor, guest lecturer, consultant) in a noninstitutional, privately owned camp or clinic, provided the camp or
         clinic is operated in accordance with restrictions applicable to an institutional camp or clinic (e.g., open to any and all
         entrants, no free or reduced admission to or employment of athletics award winners, publicly advertised at least 14 days
         before the first date of the camp or clinic). However, during a quiet period, an institution's coach or noncoaching staff
         member with responsibilities specific to baseball may be employed (either on salaried or a volunteer basis) only at the
         institution's camps or clinics that occur on the institution's campus or at a facility regularly used by the institution for
         practice or competition. [D] (Adopted: 4/28/16 effective 8/1/16, Revised: 4/14/17)
         13.12.2.3.3 Institutional or Noninstitutional, Privately Owned Camps/Clinics -- Basketball. In
         basketball, an institution's coach or noncoaching staff member with responsibilities specific to basketball may be
         employed only at the institution's camps or clinics. Participation in such camps or clinics is limited to the months of
         June, July and August or any calendar week (Sunday through Saturday) that includes days of those months (e.g., May
         28-June 3). It is not permissible for a basketball coach or a noncoaching staff member with responsibilities specific to
         basketball to be employed at other institutional camps or clinics or at noninstitutional privately owned camps or
         clinics. [D] (Adopted: 4/28/05 for men's basketball, effective 8/1/05 for women's basketball, Revised: 1/9/06 effective 8/1/06)
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             13.12.2.3.3.1 Exception -- NCAA College Basketball Academies. A noncoaching staff member with
             basketball specific responsibilities from the host institution and conference office personnel with basketball specific
             responsibilities may be employed in administrative roles (camp registration, camp logistics, facility usage)
             associated with hosting the NCAA College Basketball Academy. (Adopted: 1/22/20, Revised: 10/5/22)
         13.12.2.3.4 Institutional or Noninstitutional, Privately Owned Camps/Clinics -- Bowl Subdivision
         Football. [FBS] In bowl subdivision football, an institution's coach (including a graduate student coach who has
         successfully completed the rules education requirement per Bylaw 11.5.1) may be employed (either on a salaried or
         volunteer basis) in any capacity (e.g., counselor, guest lecturer, consultant) only by the institution's camps or clinics or
         another four-year, NCAA member institution's camps or clinics. A noncoaching athletics department staff member
         with responsibilities specific to football may be employed only by the institution’s camps or clinics. Employment in
         such a camp or clinic is limited to 10 days in the months of June [or any days (other than during a dead period) of a
         calendar week (Sunday through Saturday) that includes days in June (e.g., May 28-June 3)] and July. It is not
         permissible for a football coach to be employed at a noninstitutional, privately owned camp or clinic. It is not
         permissible for a noncoaching staff member with responsibilities specific to football to be employed at other
         institutional camps or clinics or at noninstitutional, privately owned camps or clinics. [D] (Adopted: 1/16/10, Revised:
         4/26/17 a contract signed before 1/18/17 may be honored, 1/23/19, 12/15/21 effective 8/1/22, 1/18/23 effective 7/1/23,
         4/13/23 effective 8/1/23)
         13.12.2.3.5 Institutional or Noninstitutional, Privately Owned Camps/Clinics -- Championship
         Subdivision Football. [FCS] In championship subdivision football, an institution's coach or noncoaching athletics
         department staff member with responsibilities specific to football may be employed (either on a salaried or volunteer
         basis) in any capacity (e.g., counselor, guest lecturer, consultant) only by the institution's camps or clinics or another
         four-year, NCAA member institution's camps or clinics. Employment in such a camp or clinic may occur only in June
         [or any days (other than during a dead period) of a calendar week (Sunday through Saturday) that includes days in
         June (e.g., May 28-June 3)] and July. It is not permissible for a football coach or noncoaching athletics department
         staff member with responsibilities specific to football to be employed at a noninstitutional, privately owned camp or
         clinic. [D] (Adopted: 1/16/10, Revised: 4/26/17 a contract signed before 1/18/17 may be honored, 4/25/18, 5/1/19,
         12/15/21 effective 8/1/22, 1/18/23 effective 7/1/23, 4/13/23 effective 8/1/23)
         13.12.2.3.6 Institutional or Noninstitutional, Privately Owned Camps/Clinics -- Men's Gymnastics. In
         men's gymnastics, an institution's athletics department personnel may serve in any capacity (e.g., counselor, guest
         lecturer, consultant) in a noninstitutional, privately owned camp or clinic, provided the camp or clinic is operated in
         accordance with restrictions applicable to men's gymnastics institutional camps (e.g., no free or reduced admission to
         or employment of athletics award winners, publicly advertised at least 14 days before the first date of the camp or
         clinic). (Adopted: 4/26/23 effective 8/1/23)
         13.12.2.3.7 Institutional or Noninstitutional, Privately Owned Camps/Clinics -- Softball. In softball, an
         institution's coach or noncoaching staff member with responsibilities specific to softball may be employed (either on a
         salaried or volunteer basis) in any capacity (e.g., counselor, guest lecturer, consultant) in a noninstitutional, privately
         owned camp or clinic, provided the camp or clinic is operated in accordance with restrictions applicable to an
         institutional camp or clinic (e.g., open to any and all entrants, no free or reduced admission to or employment of
         athletics award winners, publicly advertised at least 14 days before the first date of the camp or clinic). Employment in
         such a camp or clinic is limited to periods when evaluation at nonscholastic practice or competition activities is
         permissible. During periods when it is not permissible to evaluate at nonscholastic practice or competition activities, an
         institution's coach or noncoaching staff member with responsibilities specific to softball may be employed (either on a
         salaried or volunteer basis) only at institutional (the individual's institution or another institution's) camps or clinics
         that occur on any institution's campus or at a facility regularly used by the institution for practice or competition. [D]
         (Adopted: 4/26/17 effective 8/1/17)
         13.12.2.3.8 Institutional or Noninstitutional, Privately Owned Camps/Clinics -- Women's Volleyball.
         In women's volleyball, an institution's coach or noncoaching staff member with responsibilities specific to women's
         volleyball may be employed (either on a salaried or volunteer basis) in any capacity (e.g., counselor, guest lecturer,
         consultant) by the institution's camps or clinics or another four-year, NCAA member institution's camps or clinics or
         may serve in any capacity (e.g., counselor, guest lecturer, consultant) in a noninstitutional, privately owned camp or
         clinic, provided the camp or clinic is operated in accordance with restrictions applicable to an institutional camp or
         clinic (e.g., open to any and all entrants, no free or reduced admission to or employment of athletics award winners,
         publicly advertised at least 14 days before the first date of the camp or clinic). Employment in an institutional or
         noninstitutional, privately owned camp or clinic may occur only during the period of Memorial Day through July

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         31. [D] (Adopted: 1/16/10 effective 8/1/10, Revised: 5/4/20, 10/27/21 effective 1/1/22 a contract signed before 6/23/21 may
         be honored)
         13.12.2.3.9 Noninstitutional Privately Owned Camps/Clinics -- Sports Other Than Baseball,
         Basketball, Football, Men's Gymnastics, Softball and Women's Volleyball. In sports other than baseball,
         basketball, football, men's gymnastics, softball and women's volleyball, an institution's athletics department personnel
         may serve in any capacity (e.g., counselor, guest lecturer, consultant) in a noninstitutional, privately owned camp or
         clinic, provided the camp or clinic is operated in accordance with restrictions applicable to institutional camps (e.g.,
         open to any and all entrants, no free or reduced admission to or employment of athletics award winners, publicly
         advertised at least 14 days before the first date of the camp or clinic). [D] (Revised: 8/15/04, 4/28/05 effective 8/1/05,
         5/26/06, 1/16/10 effective 8/1/10, 4/28/16 effective 8/1/16, 4/26/17 effective 8/1/17, 4/26/23 effective 8/1/23)
         13.12.2.3.10 Noncoaching Athletics Staff Members. A noncoaching athletics staff member who does not have
         sport-specific responsibilities may present an educational session at a noninstitutional, privately owned camp/clinic that
         is not operated under the restrictions applicable to institutional camps/clinics, provided the staff member does not
         make a recruiting presentation. [D] (Adopted: 4/29/04 effective 8/1/04, Revised: 8/5/04, 4/26/17)
         13.12.2.3.11 Noninstitutional Fundamental Skills Camp/Clinic. An institution's athletics department
         personnel may serve in any capacity at a noninstitutional camp or clinic conducted under the following conditions: [D]
         (Adopted: 1/13/03, Revised: 8/5/04)
          (a) The camp or clinic is designed to develop fundamental skills in a sport (rather than refine the abilities of skilled
              participants in the sport);
          (b) The camp or clinic is open to the general public (except for restrictions in age or number of participants);
          (c) The camp or clinic is conducted primarily for educational purposes and does not include material benefits for the
              participants (e.g., awards, prizes, merchandise, gifts);
          (d) Participants do not receive a recruiting presentation; and
          (e) All participants reside in the state in which the camp/clinic is located or within 100 miles of the camp/clinic.
13.12.3 Notification of Ineligibility and Consequences of Violation -- Basketball. In basketball, if a violation
specified below occurs, the institution shall declare each involved prospective student-athlete ineligible. Within 30 days of
becoming aware of the violation, the institution shall provide written notification to each involved prospective student-athlete
that the actions of the institution affected the prospective student-athlete's eligibility. The written notification shall also include
an explanation of the consequences of the violation for the prospective student-athlete. (Adopted: 8/12/10, Revised: 4/26/17
effective 8/1/17)
 (a) A violation of Bylaw 13.12.2.2.4 in which an institution or a basketball staff member employs (either on a salaried or a
      volunteer basis) an individual associated with a recruited prospective student-athlete at the institution's camp or clinic.
 (b) A violation of Bylaw 13.12 in which an institutional boys' basketball camp offers a participation registration, procedure, fee
      structure, advertisement and/or logistical experience (e.g., lodging, meals, transportation or awards/mementos) that differs
      from other institutional boys' basketball camps.
 (c) A violation of Bylaw 13.12 in which an institutional women’s/girls’ basketball camp or clinic offers a participation
      registration, procedure, fee structure, advertisement and/or logistical experience (e.g., lodging, meals, transportation or
      awards/mementos) that differs from other institutional women’s/girls’ basketball camps or clinics.
13.12.4 Notification of Ineligibility and Consequences of Violation -- Football. [FBS/FCS] In football, if a
violation of Bylaw 13.12.2.2.5 occurs, the institution shall declare each involved prospective student-athlete ineligible. Within
30 days of becoming aware of the violation, the institution shall provide written notification to each involved prospective
student-athlete that the actions of the institution affected the prospective student-athlete's eligibility. The written notification
shall also include an explanation of the consequences of the violation for the prospective student-athlete. (Adopted: 4/26/17)
13.13 High School All-Star Games.
13.13.1 Coach Involvement. An institution shall not permit any coach or athletics department staff member directly
involved in the recruiting of prospective student-athletes to participate (directly or indirectly) in the management, coaching,
officiating, supervision, promotion or participant selection of any all-star team or contest involving interscholastic participants or
those who, during the previous school year, were members of high school athletics teams. [D] (Revised: 4/24/03 effective 8/1/03,
3/26/04)
    13.13.1.1 Previous Contractual Agreement. If a coach has made a contractual commitment to coach in a high
    school all-star game prior to being employed by a member institution and then becomes a member of the institution's staff
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    before the game is held, the coach shall be obligated to observe this provision and disassociate from the all-star game. [D]
    (Revised: 4/24/03 effective 8/1/03)
13.13.2 Use of Institutional Facilities. A member institution's facilities shall not be made available for a high school all-
star game unless the provisions of Bylaw 13.11.3.2 are met. [D] (Revised: 8/5/04)
13.13.3 Use of Institutional Equipment. It is not permissible for an institution to provide its athletics equipment to a
prospective student-athlete (e.g., for use in a high school all-star game). [D] (Revised: 8/5/04)
13.14 Use of Recruiting Funds.
13.14.1 Institutional Control. All funds for the recruiting of prospective student-athletes shall be deposited with the
member institution, which shall be exclusively and entirely responsible for the manner in which such funds are expended.
    13.14.1.1 Exception -- Expenses From a Local Sports Club or State, Regional, National or International
    Training Program. An institution's coach may receive expenses from a local sports club or a state, regional, national or
    international training program related to duties performed while acting in a permissible capacity for the sports club or
    training program and also in the coach's capacity as a permissible recruiter for the institution. (Adopted: 5/1/19)
13.14.2 Visiting a Prospective Student-Athlete. An institution's athletics department staff member may visit a
prospective student-athlete or the prospective student-athlete's family members at any location for recruiting purposes.
However, on any such visit, the staff member may not expend any funds other than the amount necessary for the staff member's
own personal expenses. (Revised: 4/25/18)
13.14.3 Recruiting or Scouting Services.
    13.14.3.1 Basketball and Football. In basketball and football, an institution may subscribe to a recruiting or scouting
    service involving prospective student-athletes, provided the institution does not purchase more than one annual
    subscription to a particular service and the service: [D] (Revised: 8/5/04, 1/16/10, 4/13/10, 1/14/12, 7/26/12, 1/15/14)
     (a) Is made available to all institutions desiring to subscribe and at the same fee rate for all subscribers;
     (b) Publicly identifies all applicable rates;
     (c) Disseminates information (e.g., reports, profiles) about prospective student-athletes at least four times per calendar year;
     (d) Publicly identifies the geographical scope of the service (e.g., local, regional, national) and reflects broad-based coverage
         of the geographical area in the information it disseminates;
     (e) Provides individual analysis beyond demographic information or rankings for each prospective student-athlete in the
         information it disseminates;
     (f) Provides access to samples or previews of the information it disseminates before purchase of a subscription;
     (g) Provides information regarding each prospective student-athlete in a standardized format that ensures consistent
         distribution to all subscribers; and
     (h) Does not provide information in any form (e.g., oral reports, electronic messages) about prospective student-athletes
         beyond the standardized, consistent information that is provided to all subscribers.
         13.14.3.1.1 Video-Only Services. An institution is permitted to use or subscribe to a video service that only
         provides video of prospective student-athletes and does not provide information about or analysis of prospective
         student-athletes. Use of a subscription to such a service is subject to the provisions of Bylaw 13.14.3.1, except for
         subsections (c) and (e). [D] (Adopted: 1/15/11, Revised: 1/14/12)
    13.14.3.2 Sports Other Than Basketball and Football. In sports other than basketball and football, an institution
    may subscribe to a recruiting or scouting service involving prospective student-athletes, provided the service is made
    available to all institutions desiring to subscribe and at the same fee rate for all subscribers. The service must also provide
    information regarding each prospective student-athlete in a standardized format that ensures consistent distribution to all
    subscribers. An institution is not permitted to subscribe to a recruiting or scouting service that provides information in any
    form (e.g., oral reports, electronic messages) about prospective student-athletes beyond the standardized, consistent
    information that is provided to all subscribers. An institution is permitted to subscribe to a service that provides scholastic
    and/or nonscholastic video. The institution may not contract with a service in advance to have a particular contest recorded
    or provided. [D] (Adopted: 1/14/12, Revised: 7/26/12, 1/15/14)
    13.14.3.3 Subscription Limited to Approved Services -- Basketball and Football. In basketball and football, an
    institution shall not subscribe to a recruiting or scouting service unless the service has been approved by the NCAA
    pursuant to an annual approval process. [D] (Adopted: 1/14/12 effective 6/1/12)


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13.14.4 Slush Funds. An institution shall not permit any outside organization, agency or group of individuals to use,
administer or expend funds for recruiting prospective student-athletes, including the transportation and entertainment of, and
the giving of gifts or services to, prospective student-athletes or their family members or friends. (Revised: 4/25/18)
    13.14.4.1 Pooled Resources. The pooling of resources for recruiting purposes by two or more persons shall constitute
    such a slush fund. However, this provision shall not apply to persons upon whom a prospect may be naturally or legally
    dependent.
    13.14.4.2 Company Funds. The use of a company's funds to pay the expenses incurred in transporting a prospective
    student-athlete to the campus constitutes the use of pooled resources.
13.14.5 Alumni Organizations. Bona fide alumni organizations of an institution may sponsor luncheons, teas or dinners
at which prospective students (athletes and nonathletes) of that immediate locale are guests. A member institution's area alumni
organization may be considered a bona fide part of that institution, provided such an organization is accredited by the president
or chancellor of the institution and meets these additional terms and conditions: (Revised: 3/8/06)
 (a) A staff member of the institution periodically shall inspect the financial records of the alumni organization and certify that
     the expenditures comply with the rules and regulations of the NCAA and the conference(s), if any, of which the institution
     is a member; and
 (b) A club official shall be designated by the president or chancellor as the institution's official agent in the administration of
     the club's funds, and said club official shall file regular reports to the institution relating the manner in which the club
     funds have been spent in the recruiting of student-athletes.
    13.14.5.1 Subject to NCAA Rules. If an alumni organization is certified by the president or chancellor as being a bona
    fide part of the institution, said organization becomes subject to all of the limitations placed upon the member institution
    by NCAA legislation. A violation of such legislation by any member of the alumni organization shall be a violation by the
    member institution. [D] (Revised: 8/5/04, 3/8/06)
13.15 Precollege Expenses.
13.15.1 Prohibited Expenses. An institution or a representative of its athletics interests shall not offer, provide or arrange
financial assistance, directly or indirectly, to pay (in whole or in part) the costs of the prospective student-athlete's educational or
other expenses for any period prior to the prospective student-athlete's enrollment or so the prospective student-athlete can
obtain a postgraduate education. [R] (Revised: 8/5/04)
    13.15.1.1 Extent of Prohibition. The provisions of Bylaw 13.15.1 apply to all prospective student-athletes, including
    those who have signed a National Letter of Intent or an institutional offer of admission or financial aid.
    13.15.1.2 Fundraising for High School Athletics Program. An institution may not provide funding, directly or
    through paid advertisements for more than the going rate, to benefit a high school athletics program. (Adopted: 1/10/92,
    Revised: 4/26/01, 11/17/21)
         13.15.1.2.1 Involvement by Local Representatives of Institution's Athletics Interests. A representative of
         an institution's athletics interests may provide funding to benefit a high school athletics program located in the
         community in which the athletics representative resides, provided: (Adopted: 1/10/92)
          (a) The representative acts independently of the institution;
          (b) The funds are distributed through channels established by the high school or the organization conducting the
              fundraising activity; and
          (c) The funds are not earmarked directly for a specific prospective student-athlete.
    13.15.1.3 College Use of High School Facility. An institution may not contribute to a high school or its athletics
    booster club any funds realized from an athletics contest played or a practice held at a high school facility, except actual and
    necessary expenses for rental of the facility.
    13.15.1.4 State High School Association Use of Member Institution's Facilities. An institution may permit a
    state high school association to use its facilities to host state high school championship events at a reduced rate. (Adopted:
    4/28/05)
    13.15.1.5 High School Contest in Conjunction with College Competition. A high school contest held in
    conjunction with an institution's intercollegiate contest shall be governed by the following: (Revised: 1/10/90, 1/10/95,
    4/25/18 effective 8/1/18)
     (a) It shall involve a sport other than basketball, football, women's gymnastics or volleyball;
     (b) It shall be regularly scheduled and approved by the appropriate state high school authority;

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    (c) The member institution shall not provide the high school with any financial compensation, including transportation
        expenses or a guarantee or percentage of the income realized from the contest; and
    (d) The only expenses the member institution may incur are the operating and maintenance costs associated with its
        facility's use for the high school contest.
   13.15.1.6 Donation of Equipment.
         13.15.1.6.1 Athletics Equipment. A member institution may not provide athletics equipment to a high school.
         However, a member institution is permitted to provide athletics equipment to bona fide youth organizations (e.g., the
         YMCA, YWCA, Boy Scout troops, Girl Scout troops, a summer recreation league) that may consist of some
         prospective student-athletes, provided the issuance of equipment is in accordance with the institution's regular policy
         regarding the discarding of equipment. [D] (Revised: 4/26/01, 4/26/12 effective 8/1/12)
             13.15.1.6.1.1 Exception -- Women's Rowing. An institution may loan rowing equipment to a high school's
             or junior club program's women's team on an issuance and retrieval basis and may permit high schools' and junior
             club programs' women's teams to use its rowing facilities for practice and/or competition. (Adopted: 1/9/96 effective
             8/1/96)
             13.15.1.6.1.2 Donation of Used Athletics Equipment to Foundation. An institution may donate used
             athletics equipment to a nonprofit foundation established to distribute such equipment to high schools, provided
             the request for such donations is initiated by the foundation and the institutions have no part in selecting the high
             schools that are to receive the equipment. (Adopted: 1/11/94)
             13.15.1.6.1.3 Exception -- Catastrophic Event. An institution may donate equipment and/or apparel to a
             prospective student-athlete's educational institution that has suffered a catastrophic incident, provided the
             equipment or apparel does not contain the institution's name, logo or other identifiable markings and the
             institution does not publicize the donation. (Adopted: 1/23/19)
         13.15.1.6.2 Nonathletics Equipment. A member institution may provide nonathletics equipment (e.g., a
         computer) to a high school, provided there is no athletics department involvement and the equipment is not used to
         benefit only the high school's athletics program. (Adopted: 1/10/91)
   13.15.1.7 Ticket Sales. It is not permissible for a member institution to compensate a high school, preparatory school or
   two-year college for selling tickets to the institution’s athletics contests. Specifically, the member institution may not
   provide such forms of compensation as a guarantee, a percentage of the income realized from the sale of the tickets or any
   other form of commission for providing such services.
   13.15.1.8 Conference-Sponsored Sportsmanship Initiatives. A conference may provide actual and necessary
   expenses that are directly associated with implementing a conference-sponsored sportsmanship initiative as described in
   Bylaws 13.1.10, 13.4.3.4 and 13.10.1.3. (Adopted: 4/26/07 effective 8/1/07)
   13.15.1.9 Academic Services. An institution shall not provide academic expenses or services (e.g., tutoring, test
   preparation) to assist a prospective student-athlete in completing initial-eligibility or transfer-eligibility requirements or in
   improving the prospective student-athlete's academic profile in conjunction with a waiver request. [R] (Adopted: 4/23/08)
   13.15.1.10 Donation to Nonprofit Foundation -- Men's Basketball. In men's basketball, an institution or a staff
   member shall not provide a donation to a nonprofit foundation that expends funds for the benefit of a nonscholastic team
   or teams, prospective student-athletes or individuals associated with prospective student-athletes, regardless of whether the
   foundation provides funding to or services for prospective student-athletes and individuals who are not prospective student-
   athletes. (Adopted: 8/26/10)
   13.15.1.11 Notification of Ineligibility and Consequences -- Men's Basketball. If a violation of Bylaw 13.15.1
   occurs in which a men's basketball staff member or a representative of the institution's athletics interests is involved in any
   way in the operation or planning of a boys'/men's basketball nonscholastic event on its campus, the institution shall declare
   each involved prospective student-athlete ineligible. Within 30 days of becoming aware of the violation, the institution shall
   provide written notification to each involved prospective student-athlete that the actions of the institution affected the
   prospective student-athlete's eligibility. The written notification shall also include an explanation of the consequences of the
   violation for the prospective student-athlete. (Adopted: 8/12/10)
13.15.2 Permissible Expenses.
   13.15.2.1 Expenses Related to Academic Evaluations and Test Scores. An institution may pay fees or provide
   expenses in the following situations related to a prospective student-athlete's academic evaluation or test scores: (Adopted:
   1/10/90, Revised: 10/20/14, 1/12/23 effective 8/1/23 for student-athletes initially enrolling full time in a collegiate institution on
   or after 8/1/23)
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     (a) A fee required by the appropriate testing agency to obtain a prospective student-athlete's official ACT or SAT scores;
     (b) Expenses (e.g., document fees, express delivery charges) to obtain information or receive documents that are necessary
         to certify or evaluate the academic standing of a prospective student-athlete (e.g., transcripts, translation of transcripts);
         or
     (c) Expenses (e.g., transcript fee, express delivery charges) for a prospective student-athlete's institution to send an
         academic transcript to the Eligibility Center , provided the prospective student-athlete has signed a National Letter of
         Intent or the institution's written offer of admission and/or financial aid or the institution has received a financial
         deposit in response to its offer of admission.
    13.15.2.2 Institution Providing Items to Athletics Youth Groups for Fundraising. An institution may provide
    items to assist in the fundraising efforts of athletics youth groups composed of individuals who have not started classes for
    the ninth grade without causing such individuals to become prospective student-athletes per Bylaw 13.02.13. (Adopted:
    1/10/95)
    13.15.2.3 Student Orientation Sessions. [A] An institution may pay on-campus expenses (e.g., meals, lodging) for
    prospective student-athletes to attend institutional orientation sessions conducted for all students. However, an institution
    may provide on-campus expenses to prospective student-athletes to attend orientation sessions for a particular group of
    students selected on a basis unrelated to athletics ability only if the institution is providing expenses on a uniform basis to all
    members of that particular group. An institutional staff member may provide transportation from and to the nearest bus or
    train station or major airport to the campus on the occasion of the prospective student-athlete's arrival or departure from
    the institution to attend the institution's required new-student orientation, provided the prospective student-athlete has
    been accepted for admission to the institution. [R] (Adopted: 1/10/95, Revised: 1/9/96, 4/26/01 effective 8/1/01)
    13.15.2.4 Use of Bands Comprised of Prospective Student-Athletes. An institution may hire a band (e.g.,
    marching band, pep band) comprised of prospective student-athlete-aged individuals to perform at its regular-season home
    contests and/or postseason home or away-from-home contests, provided the band is paid commensurate with the going rate
    in that locale for similar services and the organization providing the band is located within 150 miles of the competition
    site. (Adopted: 11/1/01 effective 8/1/02)
    13.15.2.5 Transportation of Equipment -- Women's Rowing. On an occasional basis, an institution may transport
    a local junior club rowing team’s equipment to an out-of-state competition, provided the equipment is transported to the
    same competition in which the institution is participating and no additional costs are incurred due to the transportation of
    the equipment. (Adopted: 4/26/17)
13.16 U.S. Service Academy Exceptions and Waivers.
13.16.1 Contacts.
    13.16.1.1 July 1 Before Junior Year in High School. Authorized athletics staff members of the U.S. Air Force,
    Military, Coast Guard, Merchant Marine and Naval Academies, where congressionally required institutional procedures
    applying to all prospective cadets and midshipmen, regardless of athletics ability, are in conflict with the Association's
    legislation governing telephonic and off-campus recruiting contacts, may make in-person, telephonic and off-campus
    contacts beginning July 1 before a prospective student-athlete's junior year in high school. Sport-specific recruiting calendar
    restrictions apply to off-campus contacts, except, in football, authorized staff members may make in-person off-campus
    contact with a prospective student-athlete during the spring evaluation period of the prospective student-athlete's junior
    year in high school, including contact at the prospective student-athlete's educational institution. The total number of
    contacts, including those after the prospective student-athlete's junior year, shall not exceed the number permitted in the
    applicable sport. (Revised: 4/24/08, 10/3/18)
    13.16.1.2 After National Letter of Intent Signing Date. There shall be no limit on the number of recruiting
    contacts with the prospective student-athlete, the prospective student-athlete's family members made by a national service
    academy to which the prospective student-athlete has applied for admission after the National Letter of Intent signing date
    in the sport. (Revised: 1/19/13 effective 8/1/13, 4/25/18)
    13.16.1.3 Freshmen at Summer Enrollment Programs. Freshmen entering the official summer enrollment program
    of one of the four national service academies (U.S. Air Force, Coast Guard, Military and Naval Academies) shall be
    considered student-athletes of a senior collegiate institution and may not be contacted by other member institutions
    without first obtaining authorization through the notification of transfer process (see Bylaw 13.1.1.3). (Revised: 10/15/19)
13.16.2 Evaluation Days -- Football. [FBS] In football, each national service academy is limited to 54 evaluation days
(see Bylaw 13.02.7.1) during the fall evaluation period. (Adopted: 4/14/08)


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13.16.3 Air Force, Military and Naval Academies Exception. A nonprofit, outside organization representing the
interests of one of the service academies may collect contributions from alumni and other friends of the academy for the purpose
of assisting candidates in obtaining a preparatory education, provided the following conditions are met: (Revised: 11/1/07
effective 8/1/08, 7/30/10)
 (a) The organization's arrangements with the preparatory school(s) shall provide that the organization's contributions shall be
      turned over to the preparatory school for the school's administration without interference or dictation from the
      organization or the academy;
 (b) The preparatory school shall have sole jurisdiction in determining the recipient of financial assistance and the terms and
      conditions of the award;
 (c) The organization may recommend candidates to the preparatory school; athletics staff members of the academy may not;
      and
 (d) Such a foundation shall provide preparatory education assistance for prospective candidates who do not have specialized
      athletics abilities as well as those who do. The number of candidates with recognized ability assisted each year as the result
      of the organization's program shall be in equal ratio to the number of student-athletes on the regular intercollegiate squads
      of the academy compared with the total enrollment of the academy.
13.16.4 Precollege Expenses/Preparatory School Assistance -- Waiver. The Committee for Legislative Relief
may approve waivers of Bylaw 13.15, provided such waivers are limited to procedures involving preparation for entrance into
one of the U.S. service academies. (Revised: 11/1/07 effective 8/1/08, 7/30/10, 8/7/14, 10/4/17)
13.17 Recruiting Calendars.
13.17.1 Baseball. The following periods of recruiting shall apply to baseball: (Adopted: 4/24/03 effective 8/1/03, Revised:
12/5/05, 7/30/10, 5/22/13, 4/28/16 effective 8/1/16, 7/9/18, 5/1/19 effective 8/1/19, 4/13/23)
(a) The third Monday of August through the second Thursday of September: Quiet Period
(b) The Friday following the second Thursday of September through the second Sunday in October: Contact Period
(c) The Monday following the second Sunday of October through the month of February [except for (1) through (4) below]:
    Quiet Period
     (1) Monday through Thursday of the week that includes the initial signing date of the National Letter of Intent: Dead
         Period
     (2) The Tuesday immediately before Thanksgiving Day through the following Sunday: Recruiting Shutdown
     (3) December 22-27: Recruiting Shutdown
     (4) The first official day of the national convention of the American Baseball Coaches Association through the day of
         adjournment of the convention: Dead Period
(d) March 1 through the Sunday immediately before the third Monday of August [except for (1) through (3) below]: Contact
    Period
     (1) The last Monday in May through the following Monday: Dead Period
     (2) The third Saturday in June through the following Monday: Dead Period
     (3) July 3-5: Dead Period
13.17.2 Men's Basketball. The following periods of recruiting shall apply to men's basketball: (Revised: 1/11/89, 1/10/91,
1/11/94, 4/27/00 effective 8/1/00, 4/26/01, 11/1/01 effective 4/1/02, 8/8/02, 4/29/04 effective 8/1/04, 4/28/05 effective 8/1/05,
12/5/05, 1/8/07, 11/1/07, 1/14/08, 4/24/08 effective 8/1/08, 7/30/10, 10/27/11 effective 8/1/12, 7/22/13, 10/30/13, 8/8/18 effective
4/1/19, 10/18/19, 1/22/20, 7/7/20, 1/11/23)
(a) September 9 through the Sunday beginning the week for the fall signing of the National Letter of Intent: Recruiting
    Period
(b) Monday through Thursday of the week that includes the initial date for the fall signing of the National Letter of Intent:
    Dead Period
(c) The Friday of the week for the fall signing of the National Letter of Intent through March 31 [except for (1) below and
    subject to 13.17.2-(e)]: Recruiting Period
     (1) December 24 through December 26: Dead Period
(d) April 1 through the Wednesday immediately prior to the NCAA Division I Men's Basketball Championship game
    [applicable only if April 1 falls on a Monday, Tuesday or Wednesday]: Quiet Period
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(e) The Thursday immediately prior to the NCAA Division I Men's Basketball Championship game to noon on the Thursday
    immediately after the game: Dead Period
(f) Noon on the Thursday immediately after the NCAA Division I Men's Basketball Championship game through seven days
    following the initial date for the spring signing of the National Letter of Intent [except for (1) below and subject to 13.17.2-
    (g)-(1)]: Recruiting Period
     (1) Monday through Thursday of the week that includes the initial date for the spring signing of the National Letter of
         Intent: Dead Period
(g) The eighth day after the initial date for the spring signing of the National Letter of Intent through July 5 [except for (1)
    through (5) below]: Quiet Period
     (1) Up to two weekends in April (Friday through Sunday) other than Easter weekend and a weekend during which the
         PSAT, SAT or ACT national standardized tests are administered: Evaluation Periods (for certified events only)
     (2) The four days immediately following each April evaluation period: Recruiting Period
     (3) The day after the conclusion of the spring National Letter of Intent signing period through the Friday before the first
         permissible day to conduct institutional basketball camps [except for (i) below]: Dead Period
          (i) National Basketball Association Draft Combine: Evaluation Period
     (4) Two days of the National Basketball Players Association Top 100 Camp: Evaluation Period
     (5) The final two Friday (noon) through Sunday (6 p.m.) periods in June: Evaluation Periods (for approved
         scholastic events only)
(h) July 6 through July 31 [except for (1) through (3) below]: Dead Period
     (1) The first Thursday-Sunday period in July beginning on or after July 6: Evaluation Period
     (2) The days when the College Basketball Academy is conducted: Evaluation Period (for College Basketball
         Academy only)
     (3) The day after the conclusion of the College Basketball Academy through July 31: Quiet Period
(i) August 1 through September 8 [except for (1) below]: Quiet Period
     (1) August 6 through August 20: Dead Period
13.17.3 Women's Basketball. The following periods of recruiting shall apply to women's basketball: (Revised: 1/11/89,
1/10/90, 1/10/91 effective 8/1/91, 8/2/91, 1/11/94 effective 8/1/94, 8/14/96, 10/9/96, 7/22/97, 10/28/99 effective 4/1/00, 11/1/00,
4/25/02, 8/8/02, 10/30/03, 10/28/04, 1/10/05 effective 8/1/05, 4/28/05 effective 8/1/05, 8/4/05, 12/5/05, 7/30/10, 1/15/11 effective
8/1/11, 4/26/12 effective 8/1/12, 1/19/13 effective 8/1/13, 10/30/13, 4/26/17 effective 8/1/17, 10/4/17 effective 8/1/18, 4/25/18,
1/22/20, 7/13/20, 1/20/22 effective 8/1/22, 10/5/22, 1/5/23, 1/6/23, 1/11/23)
(a) August 1 through August 31 [except for (1) below]: Quiet Period
     (1) Monday through Sunday of the week immediately following the second Saturday in August: Recruiting Shutdown
(b) September 1-30: Contact Period for high school or preparatory school senior prospective student athletes;
    Evaluation Period (scholastic activities only) for all other prospective student-athletes
(c) October 1 through the last day of February [except for (1) below]: Evaluation Period
     (1) December 24 through 26: Dead Period
(d) March 1 through Wednesday prior to the NCAA Division I Women's Basketball Championship game: Contact Period
    for high school or preparatory school senior prospective student athletes; Evaluation Period (scholastic
    activities only) for all other prospective student-athletes
(e) Thursday prior to the NCAA Division I Women's Basketball Championship game through the following Monday: Dead
    Period
(f) Tuesday immediately following the Division I Women's Basketball Championship game through July 31 [except for (1)
    through (10) below]: Quiet Period
     (1) The third weekend (Friday through Sunday) in April [except for (i) and (ii) below]: Evaluation Period
        (evaluations at certified nonscholastic events only)
          (i) Evaluations at nonscholastic events shall not occur during any weekend (including Friday, Saturday and Sunday)
              during which the PSAT, SAT or ACT national standardized tests are administered or during the Easter weekend.


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         (ii) If the PSAT, SAT or ACT is administered or if Easter occurs during the third weekend in April, the April
              nonscholastic evaluation weekend (including Friday, Saturday and Sunday) shall occur during the fourth weekend
              in April.
    (2) Monday immediately after the first Sunday in May through the second Sunday in May: Recruiting Shutdown
    (3) The third weekend (Friday, Saturday and Sunday) of May: Evaluation Period (including evaluations at
        certified nonscholastic events)
    (4) Tuesday and Wednesday immediately prior to Father's Day: Dead Period
    (5) Thursday, Friday and Saturday immediately prior to Father's Day: Evaluation Period (for approved scholastic
        events only)
    (6) Wednesday and Thursday immediately prior to the second weekend (Saturday and Sunday) in July: Dead Period
    (7) Friday through Monday of the second weekend in July: Evaluation Period
    (8) Tuesday after the second weekend (Saturday and Sunday) through Monday prior to the fourth weekend (Saturday and
        Sunday) in July: Dead Period
    (9) Friday through Monday of the weekend preceding the College Basketball Academy: Evaluation Period
         (i) If the College Basketball Academy begins on a Monday, that day shall be an Evaluation Period for the College
             Basketball Academy only.
    (10) The days when the College Basketball Academy is conducted: Evaluation Period (for College Basketball Academy
       only)
(g) During the National Junior College Athletic Association championship competition: Evaluation Period
(h) The following state-specific evaluation times are permissible:
    (1) In those states that play the high school basketball season in the spring, evaluations shall be permissible only April 8-28
        and July 8-31.
13.17.4 Women's Beach Volleyball. The following periods of recruiting shall apply to women's beach volleyball:
(Adopted: 4/26/17 effective 8/1/17, Revised: 7/9/18)
(a) August 1 through the first Sunday of December [except for (1) below]: Contact Period
    (1) Monday through Thursday of the week that includes the initial signing date of the National Letter of Intent: Dead
        Period
(b) Monday following the first Sunday of December through the Tuesday prior to the Division I Women's Volleyball
    Championship: Evaluation Period
(c) Wednesday prior to the Division I Women's Volleyball Championship through December 31 [except for (1) below]: Dead
    Period
    (1) Coaches attending the American Volleyball Coaches Association (AVCA) annual awards banquet may have incidental
        contact with two-year college prospective student-athletes being honored at the banquet. (See Bylaw 13.02.5.5.1.)
(d) January 1 through July 31 [except for (1) and ( 2) below]: Contact Period
    (1) January 1 through the Friday prior to Martin Luther King Jr. Day: Evaluation Period
    (2) May 1 through the Friday prior to Memorial Day [except for (i) below]: Evaluation Period
         (i) The Wednesday before through the Sunday of the NCAA National Collegiate Beach Volleyball Championship
             [except for (ii) below]: Dead Period
         (ii) An institution's authorized coaching staff members (see Bylaw 11.7.5) may evaluate on only one day and may
              attend only one event on that day during the dead period. Such an event shall occur within a 30-mile radius of the
              site of the championship. Coaches from the same institution who attend such an event shall attend the same event
              on the same day. Coaches shall not attend events that occur at the same time that any intercollegiate competition
              in conjunction with the NCAA championship occurs.
13.17.5 Football.
   13.17.5.1 Bowl Subdivision Football. [FBS] The following periods of recruiting activities shall apply to bowl
   subdivision football: (Revised: 1/10/90 effective 8/1/90, 1/10/91 effective 8/1/91, 1/11/94 effective 8/1/94, 10/12/94, 8/12/95,
   4/27/00 effective 8/1/00, 9/6/00, 4/25/02 effective 8/1/02, 2/24/03, 10/3/03, 1/10/05, 12/5/05, 12/15/06, 1/14/08 effective


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   8/1/08, 2/22/08, 4/14/08, 5/27/09, 1/16/10 effective 8/1/10, 7/30/10, 10/30/13, 4/26/17, 11/16/17, 4/25/18 effective 8/1/18,
   1/23/19, 5/1/19, 7/7/20, 10/27/22, 4/13/23 effective 8/1/23)
    (a) August 1-31 [except for (1) below]: Dead Period
         (1) Forty-eight hours before a home contest (on the institution's campus or in a facility normally used for its home
             games) that occurs in August through 48 hours after the conclusion of the contest: Quiet Period
    (b) September 1 through the Sunday immediately following the last Saturday in November: Evaluation Period
    (c) The Monday through Thursday immediately following the last Saturday in November: Dead Period
    (d) The Friday immediately following the last Saturday in November through the Saturday before the initial date for the
        early signing period of the National Letter of Intent for high school prospective student-athletes and the initial date of
        the midyear college transfer National Letter of Intent signing period: Contact Period
    (e) The Sunday before the initial date for the early signing period of the National Letter of Intent for high school
        prospective student-athletes and the initial date of the midyear college transfer National Letter of Intent signing period:
        Quiet Period
    (f) The Monday before the initial date for the early signing period of the National Letter of Intent for high school
        prospective student-athletes and the initial date of the midyear college transfer National Letter of Intent signing period
        through the Thursday of the week of the annual American Football Coaches Association Convention [applicable to all
        prospective student-athletes (see Bylaw 13.02.5.5.1.1)] [except for (1) through (3) below]: Dead Period
         (1) For national service academies, the calendar week (Sunday-Saturday) following the Army vs. Navy game (Monday-
             Thursday of the initial week of the midyear junior college NLI signing period remains a dead period for junior
             college prospective student-athletes who intend to enroll midyear. If the calendar week following the Army vs.
             Navy game coincides with the week that includes the early signing period of the National Letter of Intent for high
             school prospective student-athletes, Monday-Thursday of that week shall remain a dead period for all high school
             prospective student-athletes): Contact Period
         (2) For transfer prospective student-athletes who intend to enroll midyear, the Wednesday before the first Saturday in
             January through the following Sunday: Quiet Period
         (3) For national service academies, the Friday, Saturday and Sunday before the contact period resumes in January:
             Quiet Period
    (g) The Friday immediately following the conclusion of the annual American Football Coaches Association Convention
        through the Saturday before the initial date for the regular signing period of the National Letter of Intent: Contact
        Period
    (h) The Sunday before the initial date for the regular signing period of the National Letter of Intent: Quiet Period
    (i) Monday before the initial date for the regular signing period of the National Letter of Intent through the first Sunday in
        March [except for (1) below]: Dead Period
         (1) For national service academies, the Friday immediately following the initial date for the regular National Letter of
             Intent signing period through the first Sunday in March: Quiet Period
    (j) The Monday immediately following the first Sunday in March through April 14: Quiet Period
    (k) April 15 through the Saturday before the last Monday in May: Contact Period
    (l) The Sunday before the last Monday in May through the Wednesday immediately following the last Monday in May:
        Dead Period
    (m) The Thursday immediately following the last Monday in May through July 31 [except for (1) below]: Quiet Period
         (1) The Monday before the last Wednesday in June through July 24: Dead Period
   13.17.5.2 Championship Subdivision Football. [FCS] The following periods of recruiting activities shall apply to
   championship subdivision football: (Revised: 1/10/90 effective 8/1/90, 1/10/91 effective 8/1/91, 1/11/94 effective 8/1/94,
   10/12/94, 8/12/95, 4/27/00 effective 8/1/00, 9/6/00, 4/25/02 effective 8/1/02, 2/24/03, 10/3/03, 1/10/05, 12/5/05, 12/15/06,
   1/14/08 effective 8/1/08, 2/22/08, 4/14/08, 5/27/09, 1/16/10 effective 8/1/10, 7/30/10, 10/30/13, 4/26/17 effective 8/1/17,
   11/16/17, 4/25/18 effective 8/1/18, 1/23/19, 10/27/22, 4/13/23 effective 8/1/23)
    (a) August 1-31 [except for (1) below]: Dead Period
         (1) Forty-eight hours before a home contest (on the institution's campus or in a facility normally used for its home
             games) that occurs in August through 48 hours after the conclusion of the contest: Quiet Period

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     (b) September 1 through the Sunday immediately following the last Saturday in November: Evaluation Period
     (c) The Monday through Thursday immediately following the last Saturday in November: Dead Period
     (d) The Friday immediately following the last Saturday in November through the Saturday before the initial date for the
         early signing period of the National Letter of Intent for high school prospective student-athletes and the initial date of
         the midyear college transfer National Letter of Intent signing period: Contact Period
     (e) The Sunday before the initial date for the early signing period of the National Letter of Intent for high school
         prospective student-athletes and the initial date of the midyear college transfer National Letter of Intent signing period:
         Quiet Period
     (f) The Monday before the initial date for the early signing period of the National Letter of Intent for high school
         prospective student-athletes and the initial date of the midyear college transfer National Letter of Intent signing period
         through the Thursday of the week of the annual American Football Coaches Association Convention [applicable to all
         prospective student-athletes (see Bylaw 13.02.5.5.1.1)] [except for (1) below]: Dead Period
          (1) For transfer prospective student-athletes who intend to enroll midyear, the Wednesday before the first Saturday in
              January through the following Sunday: Quiet Period
     (g) The Friday immediately following the conclusion of the annual American Football Coaches Association Convention
         through the Saturday before the initial date for the regular signing period of the National Letter of Intent: Contact
         Period
     (h) The Sunday before the initial date for the regular signing period of the National Letter of Intent: Quiet Period
     (i) Monday before the initial date for the regular signing period of the National Letter of Intent through the first Sunday in
         March: Dead Period
     (j) The Monday immediately following the first Sunday in March through April 14: Quiet Period
     (k) April 15 through the Saturday before the last Monday in May: Contact Period
     (l) The Sunday before the last Monday in May through the Wednesday immediately following the last Monday in May:
         Dead Period
     (m) The Thursday immediately following the last Monday in May through July 31: Quiet Period
13.17.6 Men's Golf. The following periods of recruiting activities shall apply to men's golf: (Adopted: 4/25/18 effective 8/1/18)
(a) August 1 through the day before Thanksgiving Day [except for (1) below]: Contact Period
     (1) Monday through Thursday of the week that includes the initial signing date of the National Letter of Intent: Dead
         Period
(b) Thanksgiving Day through the Sunday immediately after Thanksgiving Day: Dead Period
(c) The Monday immediately after Thanksgiving Day through December 22 [except for (1) and (2) below]: Quiet Period
     (1) A coach may evaluate at the two events (showcase and combine) that are traditionally held in conjunction with the
         Golf Coaches Association of America National Convention: Evaluation Period
     (2) The first official day of the Golf Coaches Association of America Convention to 12:01 a.m. on the day after the
         adjournment of the convention: Dead Period
(d) December 23 through January 1: Dead Period
(e) January 2 through July 31: Contact Period
13.17.7 Men's Lacrosse. The following periods of recruiting shall apply to men's lacrosse: (Adopted: 11/1/01 effective 8/1/02,
Revised: 12/5/05, 1/14/08, 7/30/10, 4/28/16, 7/9/18)
(a) The day after the first Sunday in January through Martin Luther King Jr. Day: Contact Period/No Lacrosse
    Evaluations
(b) The day after Martin Luther King Jr. Day through the last day of February: Quiet Period
(c) March 1 through the Thursday before the NCAA Division I Men's Lacrosse Championship: Contact Period
(d) The Friday before the Division I Men's Lacrosse Championship to noon on the Tuesday after the championship: Dead
    Period
(e) Noon on the Tuesday after the Division I Men's Lacrosse Championship through the first Monday in August [except for
    (1) below]: Contact Period
     (1) July 2-6: Dead Period
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(f) The day after the first Monday in August through the second Monday in August: Quiet Period
(g) The day after the second Monday in August through August 31: Dead Period
(h) September 1 through October 31: Contact Period/No Lacrosse Evaluations
(i) November 1 through the Sunday before Thanksgiving Day [except for (1) below]: Contact Period
     (1) Monday through Thursday of the week that includes the initial signing date of the National Letter of Intent: Dead
         Period
(j) The Monday before Thanksgiving Day through the Sunday after Thanksgiving Day: Dead Period
(k) The Monday after Thanksgiving Day through December 23: Quiet Period
(l) December 24 through the first Sunday in January: Dead Period
13.17.8 Women's Lacrosse. The following periods of recruiting shall apply to women's lacrosse: (Adopted: 4/29/04, Revised:
12/5/05, 1/8/07, 4/30/09 effective 8/1/09, 7/30/10, 4/8/16 effective 9/1/16, 7/9/18, 4/13/23)
(a) January 3 through the Thursday before the NCAA Division I Women's Lacrosse Championship: Contact Period (See
    Bylaw 13.1.7.3.1.)
(b) The Friday before the Division I Women's Lacrosse Championship through Sunday of the championship [except for (1)
    below]: Dead Period
     (1) One event conducted during the weekend of the women's lacrosse championship, provided it is conducted within a
         100-mile radius of the site of the championship (coaches may not attend the event two hours before through two hours
         after the semifinals competition and two hours before through two hours after the final game): Evaluation Period
(c) The Monday after the Division I Women's Lacrosse Championship through the Thursday immediately before the second
    full weekend in June: Contact Period (See Bylaw 13.1.7.3.1.)
(d) The Friday before the second full weekend in June through July 31 [except for (1) below]: Evaluation Period
     (1) July 2-6: Dead Period
(e) August 1-14: Recruiting Shutdown
(f) August 15-27: Quiet Period
(g) August 28 through September 3: Dead Period
(h) September 4 through November 30 [except for (1) through (4) below]: Contact Period (See Bylaw 13.1.7.3.1.)
     (1) Monday through Thursday of the week that includes the initial signing date of the National Letter of Intent: Dead
         Period
     (2) The three weekends (5 p.m. Friday through Sunday) immediately before Thanksgiving Day: Evaluation Periods
     (3) The official first day of the Intercollegiate Women's Lacrosse Coaches Association Convention through the
        adjournment of the convention: Dead Period
     (4) The Tuesday before Thanksgiving Day through the Sunday after Thanksgiving Day: Recruiting Shutdown
(i) December 1-30 [except (1) below]: Contact Period (See Bylaw 13.1.7.3.1.)
     (1) December 22-26: Recruiting Shutdown
(j) December 31 through January 2: Recruiting Shutdown
13.17.9 Softball. The following periods of recruiting shall apply to softball: (Adopted: 1/12/99 effective 8/1/99, Revised:
4/26/01, 8/8/02, 10/31/02, 10/28/04, 1/10/05, 12/5/05, 4/26/07 effective 8/1/07, 4/30/09, 7/30/10, 5/22/13, 6/29/16, 7/9/18)
(a) August 1 through the 10th Sunday following the completion of the NCAA Division I Softball Championship: Contact
    Period
(b) The 10th Monday following the completion of the Division I Softball Championship through the Sunday immediately
    prior to Thanksgiving Day [except for (1) and (2) below]: Evaluation Period
     (1) Monday through Thursday of the week that includes the initial signing date of the National Letter of Intent: Dead
         Period
     (2) Evaluations at nonscholastic practice or competition activities shall not occur except on Saturdays and Sundays during
         the six weekends prior to Thanksgiving Day.
(c) The Monday immediately prior to Thanksgiving Day through January 1 [except for (1) below]: Quiet Period

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     (1) The first official day of the national convention of the National Fastpitch Coaches Association through the day of
         adjournment of the convention: Dead Period
(d) January 2 through the Monday immediately prior to the Division I Softball Championship [except for (1) below]:
    Evaluation Period
     (1) Evaluations at nonscholastic practice and competition activities are prohibited.
(e) The Tuesday immediately prior to the start of the Division I Softball Championship through the day of the final
    championship game: Dead Period
(f) The day after the completion of the Division I Softball Championship through July 31: Contact Period
(g) During high school regional and state championship competition that does not occur during a dead period: Evaluation
    Period
13.17.10 Cross Country/Track and Field. The following periods of recruiting shall apply to cross country and track and
field: (Adopted: 4/26/07 effective 8/1/07, Revised: 10/2/07, 10/10/07, 7/30/10, 5/22/13, 11/4/14, 4/25/18 effective 8/1/18, 7/9/18)
(a) August 1-21 : Evaluation Period
(b) August 22 through the second Sunday in December [except for (1) and (2) below]: Contact Period
     (1) Monday through Thursday of the week that includes the initial signing date of the National Letter of Intent: Dead
         Period
     (2) The day of the Division I Men's and Women's Cross Country Championships: Dead Period
(c) The day after the second Sunday in December through January 1: Dead Period
(d) January 2 through July 31 [except for (1) and (2) below]: Contact Period
     (1) The first day of the NCAA Division I Men's and Women's Indoor Track and Field Championships through the day of
         the completion of the championships: Dead Period
     (2) The first day of the NCAA Division I Men's and Women's Outdoor Track and Field Championships through the day
         of the completion of the championships: Dead Period
13.17.11 Women's Volleyball. The following periods of recruiting shall apply to women's volleyball: (Adopted: 4/25/02
effective 8/1/02, Revised: 8/15/02, 10/30/03, 4/28/05 effective 8/1/05, 10/13/05, 12/5/05, 1/9/06 effective 8/1/06, 4/26/07,
10/29/09, 7/30/10, 1/15/11 effective 8/1/11, 7/31/15, 4/26/17, 4/25/18 effective 8/1/18, 7/9/18, 7/27/21)
(a) August 1-31 : Quiet Period
(b) September 1 through November 30: Contact Period
     (1) Monday through Thursday of the week that includes the initial signing date of the National Letter of Intent: Dead
         Period
(c) December 1 through January 31 [except for (1) and (2) below]: Quiet Period
     (1) Coaches attending the American Volleyball Coaches Association (AVCA) annual awards banquet may have incidental
         contact with two-year college prospective student-athletes being honored at the banquet. (See Bylaw 13.02.5.4.1 .)
     (2) Thursday of the Division I Women's Volleyball Championship through the Sunday immediately following the
         championship. An institution's authorized coaching staff members (see Bylaw 11.7.5) may evaluate on only one day
         and may attend only one event on that day during this period. Such an event shall occur within a 30-mile radius of the
         site of the championship. Coaches from the same institution who attend such an event shall attend the same event on
         the same day. Coaches shall not attend events that occur at the same time that any intercollegiate competition in
         conjunction with the NCAA championship occurs: Evaluation Period
(d) February 1 through July 31 [except for (1) through (2) below]: Contact Period
     (1) February 1 through the Thursday prior to Presidents Day: Quiet Period
     (2) May 1 through the Thursday immediately before the first weekend in June: Quiet Period
13.17.12 Contact Period Exception. An institution that does not subscribe to the National Letter of Intent in a particular
sport and has an official admissions notification date (the date when all applicants are notified whether they are admitted) that
occurs after the end of the final contact period of the academic year may extend the final contact period of the academic year
through 30 days after the institution's official admissions notification date. The institution remains subject to all dead periods
that occur during the extended contact period and may not exceed the maximum number of contacts permitted in the particular
sport. (Revised: 7/30/10)

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13.17.13 Recruiting Periods -- Other Sports. There are no specified recruiting periods in sports for which no recruiting
calendars have been established, except for the following recruiting shutdowns, dead periods and quiet periods. (Revised:
10/27/05, 12/5/05, 7/30/10, 4/13/23)
    13.17.13.1 Recruiting Shutdowns.
         13.17.13.1.1 Swimming and Diving. The following recruiting shutdowns apply to swimming and diving.
         (Adopted: 4/13/23)
         (a) The third Monday in August through the following Sunday.
         (b) December 18 through January 7.
         (c) Fourteen consecutive days beginning with the Sunday that is 38 days before the first day of the NCAA Division I
             Women's Swimming Championship.
    13.17.13.2 Dead Periods.
         13.17.13.2.1 National Letter of Intent Signing Date. Monday through Thursday of the week that includes the
         fall or spring signing of the National Letter of Intent in the applicable sport. (Revised: 1/10/91, 8/2/91, 8/14/96,
         7/30/10)
             13.17.13.2.1.1 Exception -- North American Cup Fencing Championship. During any year in which the
             National Letter of Intent signing date dead period occurs during the North American Cup Fencing
             Championship, it shall be permissible for authorized coaching staff members to observe prospective student-
             athletes participating in that event. (Adopted: 4/30/09, Revised: 7/30/10)
             13.17.13.2.1.2 Exception -- Junior Olympic Rifle Championships. During any year in which the
             National Letter of Intent signing date dead period occurs during the Junior Olympic Rifle Championships, it shall
             be permissible for authorized coaching staff members to observe prospective student-athletes participating in that
             event. (Adopted: 4/26/17 effective 8/1/17)
         13.17.13.2.2 Women's Gymnastics. The following dead periods apply to women's gymnastics: (Revised: 6/9/10,
         7/30/10, 4/25/18 effective 8/1/18)
         (a) The day before the first day of the National Collegiate Women’s Gymnastics Championships to noon on the day
             after the championships;
         (b) June 1-15; and
         (c) December 1-30.
         13.17.13.2.3 Men's Ice Hockey. The Wednesday before the NCAA Division I Men’s Ice Hockey Championship to
         noon on the Sunday after the championship game. (Revised: 7/30/10)
         13.17.13.2.4 Women's Ice Hockey. The day before the NCAA Division I Women's Ice Hockey Championship to
         noon on the day after the game (Thursday to noon Monday based on the current Friday to Sunday format). (Adopted:
         11/1/01, Revised: 7/30/10)
         13.17.13.2.5 Women's Soccer. December 15 through January 5. (Adopted: 4/26/17 effective 8/1/17)
         13.17.13.2.6 Men's Soccer. Friday through Monday of the NCAA Division I Men's Soccer Championship;
         however, a coaching staff member may attend an event conducted in conjunction with and in the host city of the
         championship. (Adopted: 5/1/19 effective 8/1/19)
         13.17.13.2.8 Men's Wrestling. The following dead periods apply to men's wrestling: (Adopted: 1/23/19, Revised:
         6/23/20 effective 8/1/20)
         (a) The day before the first day of the NCAA Division I Wrestling Championships to noon on the day after the
             championships; and
         (b) The Monday before the National Wrestling Coaches Association Convention through the day of adjournment of
             the convention.
         13.17.13.2.9 Women's Wrestling. The Monday before the National Wrestling Coaches Association Convention
         through the day of adjournment of the convention. (Adopted: 6/23/20 effective 8/1/20)
    13.17.13.3 Quiet Periods.
         13.17.13.3.1 Women's Ice Hockey. The Monday before the American Hockey Coaches Association Convention
         through May 31. (Adopted: 10/27/05, Revised: 7/30/10, 5/1/19 effective 8/1/19)
         13.17.13.3.2 Men's Soccer. December 23-25. (Adopted: 5/1/19 effective 8/1/19)
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13.18 Basketball Event Certification. In basketball, in order for an event (e.g., camp, league, tournament or
festival) to be certified, it must be reviewed and conducted in accordance with certification policies and procedures established
and maintained by the Men's and Women's Basketball Oversight Committees. The Enforcement Certification and Approvals
Group shall administer the certification process in accordance with the certification policies and procedures. (Adopted: 11/1/01
effective 4/1/02, Revised: 1/13/03, 4/29/04, 1/8/07, 11/1/07, 10/30/08, 2/1/10, 7/30/10, 10/28/10 effective 5/1/11, 4/25/11,
10/27/11, 7/31/13, 6/12/14, 10/29/15, 6/29/16, 4/26/17 effective 8/1/17, 4/25/18, 8/8/18 effective 1/24/19, 1/24/19)




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                                                               FIGURE 13-1
                                                      Notification of Transfer Windows

          Season                     Sport                                  Open                                     Close
             Fall               Cross Country                   Sunday, November 12, 2023               Tuesday, December 26, 2023
             Fall               Field Hockey                     Monday, November 6, 2023              Wednesday, December 20, 2023
             Fall              Football (FCS)                   Monday, November 20, 2023                Thursday, January 4, 2024*
             Fall              Football (FBS)                    Monday, December 4, 2023              Wednesday, January 17, 2024**
             Fall               Men’s Soccer                    Tuesday, November 14, 2023              Thursday, December 28, 2023
             Fall              Women’s Soccer                   Tuesday, November 07, 2023              Thursday, December 21, 2023
             Fall             Women’s Volleyball                Monday, November 27, 2023                Thursday, January 11, 2024
             Fall             Men’s Water Polo                  Monday, November 20, 2023                Wednesday, January 3, 2024
           Spring                   Football                        Monday, April 15, 2024                  Tuesday, April 30, 2024
           Window           All Other Fall Sports                 Wednesday, May 1, 2024                  Wednesday, May 15, 2024
           Winter              Men’s Basketball                    Monday, March 18, 2024                   Thursday, May 16, 2024
           Winter             Women’s Basketball                   Monday, March 18, 2024                   Thursday, May 16, 2024
           Winter              Women’s Bowling                    Thursday, March 28, 2024                  Sunday, May 26,2024
           Winter                   Fencing                      Wednesday, March 13, 2024                  Saturday, May 11, 2024
           Winter              Men’s Gymnastics                   Wednesday, April 10, 2024                  Sunday, May 29, 2024
           Winter            Women’s Gymnastics                   Tuesday, March 26, 2024                   Friday, May 24, 2024
           Winter              Men’s Ice Hockey                    Monday, March 25, 2024                   Thursday, May 23, 2024
           Winter            Women’s Ice Hockey                    Monday, March 11, 2024                   Thursday, May 9, 2024
           Winter                     Rifle                    Wednesday, February 21, 2024                Saturday, April 20, 2024
           Winter                    Skiing                      Monday, February 26, 2024                 Thursday, April 25, 2024
           Winter        Men’s Swimming and Diving                Thursday, March 14, 2024                   Sunday, May 12, 2024
           Winter       Women’s Swimming and Diving                Tuesday, March 7, 2024                    Sunday, May 5, 2024
           Winter           Indoor Track and Field             Wednesday, February 28, 2024                  Friday, April 26, 2024
           Winter              Men’s Wrestling                    Thursday, March 14, 2024                   Sunday, May 12, 2024
           Spring                   Baseball                        Tuesday, May 28 2024                    Thursday, July 11, 2024
           Spring          Women’s Beach Volleyball                 Monday, April 29, 2024                Wednesday, June 12, 2024
           Spring                 Men’s Golf                        Thursday, May 2, 2024                   Saturday, June 15, 2024
           Spring                Women’s Golf                      Thursday, April 25, 2024                 Saturday, June 8, 2024
           Spring                   Lacrosse                        Monday, May 6, 2024                   Wednesday, June 19, 2024
           Spring              Women’s Rowing                     Wednesday, May 15, 2024                    Friday, June 28, 2024
           Spring                   Softball                        Monday, May 13, 2024                  Wednesday, June 26, 2024
           Spring                    Tennis                        Tuesday, April 30 2024                  Thursday, June 13, 2024
           Spring           Outdoor Track and Field                  Friday, May 17 2024                     Sunday, June 30, 2024
           Spring              Men’s Volleyball                     Monday, April 22, 2024                 Wednesday, June 5, 2024
           Spring             Women’s Water Polo                   Tuesday, April 30, 2024                 Thursday, June 13, 2024
            Fall               All Spring Sports                  Friday, December 1, 2023                Friday, December 15, 2023
           Window

         * Student-athletes who are members of the two teams that qualify for FCS game may initiate notification of transfer during a period
         that extends 14 consecutive days beginning the day after the championship game.

         ** Student-athletes who are members of the two teams that qualify for CFP Championship game may initiate notification of transfer
         during a period that extends 14 consecutive days beginning the day after the championship game.




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BYLAW, ARTICLE 14

Academic Eligibility
14.01 General Principles.
14.01.1 Institutional Responsibility. An institution shall not permit a student-athlete to represent it in intercollegiate
athletics competition unless the student-athlete meets all applicable eligibility requirements, and the institution has certified the
student-athlete's eligibility. A violation of this bylaw in which the institution fails to certify the student-athlete's eligibility before
allowing the student-athlete to represent the institution in intercollegiate competition shall be considered an institutional
violation per Bylaw 8.01.3; however, such a violation shall not affect the student-athlete's eligibility, provided all the necessary
information to certify the student-athlete's eligibility was available to the institution and the student-athlete otherwise would
have been eligible for competition. (Revised: 1/14/08)
14.01.2 Academic Status. To be eligible to represent an institution in intercollegiate athletics competition, a student-
athlete shall be enrolled in at least a minimum full-time program of studies, be in good academic standing and maintain progress
toward a baccalaureate or equivalent degree. (Revised: 5/29/08)
    14.01.2.1 Good Academic Standing. To be eligible to represent an institution in intercollegiate athletics competition,
    a student-athlete shall be in good academic standing as determined by the academic authorities who determine the meaning
    of such phrases for all students of the institution, subject to controlling legislation of the conference(s) or similar association
    of which the institution is a member. The standard of good academic standing required for a student-athlete to represent an
    institution in intercollegiate athletics competition must be at least as demanding as the institutional standard applied to all
    students to participate in extracurricular activities. (Revised: 5/29/08, 10/4/17)
         14.01.2.1.1 Additional Application -- Baseball. In baseball, a student-athlete who fails to meet the requirements
         of good academic standing at the beginning of an institution's fall term shall not be eligible for competition during the
         remainder of the academic year. (Adopted: 4/26/07 effective 8/1/08)
14.01.3 Compliance With Other NCAA and Conference Legislation. To be eligible to represent an institution in
intercollegiate athletics competition, a student-athlete shall be in compliance with all applicable provisions of the constitution
and bylaws of the Association and all rules and regulations of the institution and the conference, if any, of which the institution
is a member. A violation of this bylaw that relates only to a violation of a conference rule shall be considered an institutional
violation per Bylaw 8.01.3; however, such a violation shall not affect the student-athlete's eligibility. (Revised: 10/27/06, 5/29/08)
14.01.4 Purpose of the Academic Performance Program. The central purpose of the academic performance program
is to ensure that the Division I membership is dedicated to providing student-athletes with exemplary educational and
intercollegiate-athletics experiences in an environment that recognizes and supports the primacy of the academic mission of its
member institutions, while enhancing the ability of male and female student-athletes to earn a four-year degree. (Adopted:
4/29/04, Revised: 7/31/13)
14.01.5 Nature of Reward and Penalty Structure -- Academic Performance Program. The Division I
membership is committed to providing higher education for a diverse body of male and female student-athletes within the
context of an institution’s academic and admissions standards for all students through a system that rewards those institutions
and teams that demonstrate commitment toward the academic progress, retention and graduation of student-athletes and
penalizes those that do not. (Adopted: 4/29/04, Revised: 7/31/13)
14.01.6 Disclosure Requirements -- Academic Performance Program.
    14.01.6.1 Academic Progress Rate -- Disclosure. An institution shall not be eligible to enter a team or individual
    competitor in postseason competition (including NCAA championships and bowl games) unless it has submitted, by the
    applicable deadline, its academic progress rate (APR) in a form approved and administered by the Committee on
    Academics. (Adopted: 4/29/04, Revised: 9/14/07, 7/31/13, 8/7/14)
    14.01.6.2 Academic Performance Census -- Disclosure. An institution shall not be eligible to enter a team or
    individual competitor in postseason competition (including NCAA championships and bowl games) unless it has
    submitted, by the applicable deadline, its academic performance census (APC) in a form administered by the Committee on
    Academics. (Adopted: 4/29/04, Revised: 9/14/07, 7/31/13, 8/7/14)
    14.01.6.3 Graduation Success Rate -- Disclosure. An institution shall not be eligible to enter a team or individual
    competitor in a postseason competition (including NCAA championships and bowl games) unless it has submitted, by the
    applicable deadline, its graduation success rate (GSR) in a form approved and administered by the Committee on
    Academics. (Adopted: 4/29/04, Revised: 9/14/07, 7/31/13, 8/7/14)
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14.02 Definitions and Applications.
14.02.1 Academic Progress Rate. The Committee on Academics shall have the authority to determine the minimum
acceptable academic progress rate (APR), which shall include a calculation that accounts for currently enrolled student-athletes.
The rate shall account for the institution’s success in retaining and graduating all such student-athletes. Further, the rate shall
account for the academic eligibility of the student-athletes, including all applicable NCAA, conference and institutional
academic eligibility requirements. The committee shall publish an explanation of the APR calculation to the membership
annually. (Adopted: 4/29/04, Revised: 8/6/09, 7/31/13, 8/7/14)
14.02.2 Branch School. A branch school is an educational institution that usually offers two years of college work, does not
award degrees independently, and is wholly controlled and operated by a four-year, degree-granting parent institution.
14.02.3 Business Day. A business day is any weekday that is not recognized as a national holiday, including any weekday
during which an institution is closed for other reasons (e.g., holiday break). (Adopted: 4/29/10 effective 8/1/10)
14.02.4 Collegiate Institution. A collegiate institution (for purposes of NCAA legislation) is an institution of higher
education that: (Revised: 1/10/90, 8/8/02)
 (a) Is accredited at the college level by an agency or association recognized by the secretary of the Department of Education and
     legally authorized to offer at least a one-year program of study creditable toward a degree;
 (b) Conducts an intercollegiate athletics program, even though the institution is not accredited at the college level and
     authorized to offer at least a one-year program of study creditable toward a degree; or
 (c) Is located in a foreign country.
14.02.5 Education-Impacting Disability. An education-impacting disability is a current impairment that has a
substantial educational impact on a student's academic performance and requires accommodation. (Adopted: 8/8/08)
14.02.6 Exception. An exception is the granting of relief from the application of a specific regulation (e.g., the residence
requirement for a transfer student to become eligible for competition). The action granting the exception may be taken solely by
the certifying institution, based on evidence that the conditions on which the exception is authorized have been met (see Bylaw
14.02.14). (Revised: 11/1/07 effective 8/1/08)
14.02.7 Good Academic Standing and Progress Toward Degree. The phrases "good academic standing" and
"progress toward degree" are to be interpreted at each member institution by the academic officials who determine the meaning
and application of such phrases for all students, subject to the controlling regulations of the institution; the conference(s) (or
similar associations), if any, of which the institution is a member; and applicable NCAA legislation (see Bylaw 14.4).
14.02.8 Graduation Success Rate. The Committee on Academics shall determine the minimum acceptable graduation
success rate (GSR). The Committee on Academic Performance shall publish an explanation of the GSR calculation to the
membership annually. (Adopted: 4/29/04, Revised: 7/31/13, 8/7/14)
14.02.9 Participation in Intercollegiate Athletics. Participation in intercollegiate athletics occurs when a student-
athlete either practices in a sport (see Bylaw 17.02.1) or competes in a sport, as defined in Bylaw 17.02.8. Eligibility rules for
competition may differ from those for practice.
14.02.10 Qualification Status.
    14.02.10.1 Qualifier. A qualifier is a student who, for purposes of determining eligibility for financial aid, practice and
    competition, has met all of the following requirements (see Bylaw 14.3):
     (a) Graduation from high school;
     (b) Successful completion of a required core curriculum consisting of a minimum number of courses in specified subjects;
     (c) Specified minimum grade-point average in the core curriculum; and
     (d) Specified minimum SAT or ACT score.
    14.02.10.2 Academic Redshirt. An academic redshirt is defined as one who is a high school graduate and who
    presented the same academic qualifications applicable to qualifiers (see Bylaw 14.3.1.1) except for the following: (Adopted:
    10/27/11, Revised: 4/26/12 effective 8/1/16 for student-athletes initially enrolling full time in a collegiate institution on or after
    8/1/16)
     (a) The required minimum core-curriculum grade-point average and minimum combined score on the SAT critical
         reading and math sections or a minimum sum score on the ACT as specified in Bylaw 14.3.1.2.1; and
     (b) Bylaw 14.3.1.1-(c) shall not apply.


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    14.02.10.3 Nonqualifier. A nonqualifier is a student who has not graduated from high school or who, at the time
    specified in the regulation (see Bylaw 14.3), has not successfully completed the required core curriculum or has not
    presented the required minimum core-curriculum grade-point average and/or the corresponding SAT/ACT score required
    for a qualifier or academic redshirt. (Revised: 10/27/11, 4/26/12 effective 8/1/16 for student-athletes initially enrolling full time
    in a collegiate institution on or after 8/1/16)
14.02.11 Residence. Residence is enrollment in a full-time academic program (as defined by the institution) at a collegiate
institution during a regular term of an academic year. A summer term may not be used to satisfy an academic term of residence.
Any student-athlete (e.g., qualifier, nonqualifier, transfer student) admitted after the 12th class day may not use that semester or
quarter for the purpose of satisfying an academic term or year of residence. (Revised: 4/14/10)
    14.02.11.1 Academic Year of Residence. To satisfy an academic year of residence, a student shall: (Revised: 4/14/10,
    5/14/13)
     (a) Be enrolled in and complete a minimum full-time program of studies for two full semesters or three full quarters; or
     (b) Be enrolled in a minimum full-time program of studies for two semesters or three quarters and pass a number of hours
         (including hours earned at the certifying institution during a summer term) that is at least equal to the sum total of the
         minimum load of each of the required terms.
14.02.12 Term of Full-Time Enrollment. For purposes of Bylaw 14.4, a term of full-time enrollment occurs when a
student-athlete attends a class in a regular term (semester or quarter) of an academic year while registered as a full-time student,
as determined by the institution. (Adopted: 10/17/19)
14.02.13 Transfer Student. A transfer student, in the application of NCAA eligibility requirements, is a student who
transfers from any collegiate institution after having met any one of the conditions set forth in Bylaw 14.5.2.
14.02.14 Waiver. A waiver is an action exempting an individual or institution from the application of a specific regulation. A
waiver requires formal approval (e.g., an NCAA committee or a conference, as specified in the legislation) based on evidence of
compliance with the specified conditions or criteria under which the waiver is authorized or extenuating circumstances (see
Bylaw 14.02.6). (Revised: 11/1/07 effective 8/1/08)
14.1 Admission, Enrollment and Academic Credentials.
14.1.1 Admission. A student-athlete shall not represent an institution in intercollegiate athletics competition unless the
student has been admitted as a regularly enrolled, degree-seeking student in accordance with the regular, published entrance
requirements of that institution.
    14.1.1.1 Special Admission. A student-athlete may be admitted under a special exception to the institution's normal
    entrance requirements if the discretionary authority of the president or chancellor (or designated admissions officer or
    committee) to grant such exceptions is set forth in an official document published by the university (e.g., official catalog)
    that describes the institution's admissions requirements. (Revised: 3/8/06)
14.1.2 Validity of Academic Credentials. As a condition and obligation of membership, an institution is responsible for
determining the validity of a student-athlete's academic record. (Revised: 4/26/17 effective 8/1/17)
    14.1.2.1 Invalidation of Academic Credentials After Initial-Eligibility Certification. If a student-athlete's
    academic credentials (e.g., transcript, test scores) are invalidated after initial eligibility has been certified, the institution
    must report any violation that may have occurred as a result of the student-athlete's receipt of financial aid or participation
    in practice or competition and declare the student-athlete ineligible for competition. If such a violation occurred, the
    student-athlete remains ineligible for intercollegiate competition unless eligibility is restored by the Committee on Student-
    Athlete Reinstatement regardless of whether an initial-eligibility waiver is granted after the invalidation of the academic
    credentials. (Adopted: 3/3/11)
    14.1.2.2 High School Review Committee. The High School Review Committee shall have the authority to establish
    policies and procedures related to the academic review of high schools and to determine the validity of a high school (e.g.,
    core courses, curriculum, grades) for the purpose of meeting initial-eligibility requirements. A review may result in a
    determination that a high school shall not be used for the purpose of meeting initial-eligibility requirements. The policies
    and procedures for the review and determination of the validity of a high school shall be approved by the Committee on
    Academics. (See Bylaw 21.9.4.) (Adopted: 1/8/07, Revised: 11/1/07 effective 8/1/08, 8/7/14)
    14.1.2.3 Student Records Review Committee. The Student Records Review Committee shall have the authority to
    establish policies and procedures related to the review of a prospective student-athlete's academic credentials and to
    determine the validity of a prospective student-athlete's academic credentials for the purpose of meeting initial-eligibility
    requirements. A review may result in a determination that a prospective student-athlete's academic credentials shall not be
    used for the purpose of meeting initial-eligibility requirements. The policies and procedures for the review of academic
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    credentials and the determination of the validity of such credentials shall be approved by the Committee on Academics.
    (See Bylaw 21.9.5.) (Adopted: 1/8/07, Revised: 11/1/07 effective 8/1/08, 8/7/14)
    14.1.2.4 NCAA Eligibility Center. An institution shall use the NCAA Eligibility Center approved by the Board of
    Governors to determine the initial eligibility of a student-athlete. (Adopted: 1/19/93 effective 8/1/94, Revised: 1/10/95,
    3/10/04, 4/27/06 1/8/07, 5/9/07, 10/30/14)
         14.1.2.4.1 Institutional Responsibility. An institution is responsible for promptly reporting all discrepancies in
         information used in a student-athlete's initial-eligibility certification to the NCAA Eligibility Center. Discrepancies in
         information include, but are not limited to, corrections, additions, potential academic misconduct with regard to high
         schools attended, grades, completion of coursework or test scores. (Adopted: 4/27/06, Revised: 5/9/07)
14.2 Full-Time Enrollment.
14.2.1 Requirement for Practice. To be eligible to participate in organized practice sessions, a student-athlete shall be
enrolled in a minimum full-time program of studies leading to a baccalaureate or equivalent degree as defined by the regulations
of the certifying institution. (See Bylaw 12.8.2.5.) [D] (Revised: 1/10/92, 10/28/99, 3/27/18)
    14.2.1.1 Practice Prior to Initial Enrollment. A student-athlete may practice during the official vacation period
    immediately preceding initial enrollment, provided the student has been accepted by the institution for enrollment in a
    regular, full-time program of studies at the time of the individual's initial participation; is no longer enrolled in the previous
    educational institution; and is eligible under all institutional and NCAA requirements.
         14.2.1.1.1 Prohibited Practice Activities -- General Rule. A prospective student-athlete shall not engage in any
         practice activities (e.g., review of playbook, chalk talk, film review) with a coaching staff member prior to enrollment. A
         prospective student-athlete may observe an institution’s practice session, including a session that is closed to the general
         public. (Adopted: 12/12/06, Revised: 3/3/11, 5/30/13, 4/25/18 effective 8/1/18, 1/23/19 effective 8/1/19, 1/20/22)
             14.2.1.1.1.1 Exception -- Women's Basketball. A prospective student-athlete who signed a National Letter
             of Intent or the institution’s written offer of admission and/or financial aid or for whom the institution has
             received a financial deposit in response to its offer of admission may participate in virtual team activities (e.g., team
             meetings, film review) during an institution's summer vacation period, provided the prospective student-athlete
             has completed all academic requirements for high school graduation or all transfer academic requirements.
             (Adopted: 1/20/22)
    14.2.1.2 Drop/Add Course. A student-athlete no longer shall be considered enrolled in a minimum full-time program of
    studies (after dropping a course that places the student below full-time status) when the dropped course becomes official in
    accordance with procedures determined by the institution for all students. A student who is adding a course to reach full-
    time status shall become eligible for practice and competition once the course has been approved by the appropriate
    department head (or designated representative) and submitted to the registrar. (Adopted: 1/10/92)
    14.2.1.3 Exception -- Final Semester/Quarter. A student-athlete with athletics eligibility remaining may participate
    in organized practice sessions while enrolled in less than a minimum full-time program of studies, provided the student is
    enrolled in the final semester or quarter of a baccalaureate or graduate degree program, or a minor or undergraduate
    certificate program and the institution certifies that the student is carrying (for credit) the courses necessary to complete the
    degree, minor or certificate requirements, as determined by the faculty of the institution. To qualify for this exception, a
    minor or undergraduate certificate program must be officially designated (pursuant to institutional policy) by the student-
    athlete before the conclusion of the institution's first five days of classes of the applicable term. (Revised: 3/27/18, 1/23/19
    effective 8/1/19)
         14.2.1.3.1 Eligibility Following Final Term. A student-athlete who is eligible for practice while enrolled less than
         full time during the student-athlete's final term remains eligible for practice during the remainder of the institution's
         season, including postseason events. (See Bylaw 12.8.) (Adopted: 3/27/18)
    14.2.1.4 Final Term Before Experiential Learning Requirement. A student-athlete may practice while enrolled in
    less than a minimum full-time program of studies in the final semester or quarter of the student’s baccalaureate degree
    program before participating in an experiential learning requirement (e.g., student teaching, internship, clinical, capstone
    project, etc.) in the following term, provided the student-athlete is carrying (for credit) all courses necessary to complete
    degree requirements, other than the experiential learning requirement. A student-athlete who uses this exception is not
    permitted to use the final semester/quarter exception the following semester or quarter. (Adopted: 6/28/17 effective 8/1/17 for
    certifications of eligibility for fall 2017 and after)




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    14.2.1.5 Withdrawal or Dismissal. A student-athlete who withdraws or is dismissed from an institution is considered
    to be a prospective student-athlete eligible for recruitment by other NCAA member institutions and may not continue to
    practice with the original institution's team.
    14.2.1.6 Exception -- Practice During First Week of Class. A student-athlete may practice, but may not compete,
    during the institution's first five days of classes if the student-athlete is enrolled in less than a minimum full-time program
    of studies, provided the student is otherwise eligible under all institutional, conference and NCAA requirements. (Adopted:
    1/10/95 effective 8/1/95)
    14.2.1.7 Exception -- Former Student Participating in Practice on an Occasional Basis -- Sports Other Than
    Football. In sports other than football, a former student (e.g., former student-athlete) at the certifying institution may
    participate in an organized practice session on an occasional basis, provided the institution does not publicize the
    participation of the former student at any time before the practice session. (Adopted: 3/3/11, Revised: 4/25/18 effective
    8/1/18)
    14.2.1.8 Exception -- U.S. Olympic and Paralympic Committee/National Governing Body -- Practice. A
    student with eligibility remaining who is not enrolled or who is enrolled in less than a minimum full-time program of
    studies, or a former student-athlete may participate on a regular basis in organized practice sessions, provided the following
    conditions are met: (Adopted: 4/26/17, Revised: 10/17/19, 1/22/20, 4/26/23 effective 8/1/23)
     (a) The practice sessions take place at the institution the individual previously attended as an undergraduate or currently
         attends or previously attended as a graduate student, except that a former student-athlete who has graduated and has no
         eligibility remaining may participate in practice sessions at an institution other than the individual previously attended;
     (b) In the case of a former student-athlete, the practice sessions involve an individual sport or women's rowing;
     (c) In the case of a current student-athlete with eligibility remaining, the practice sessions involve an individual or team
         sport;
     (d) The institution receives confirmation that the U.S. Olympic and Paralympic Committee or national governing body in
         the sport has recommended the individual's participation;
     (e) In sports other than men's gymnastics, the individual does not participate in any coaching activities unless the
         institution designates the individual in the appropriate coaching limits;
     (f) In the case of a student-athlete with NCAA eligibility remaining in the sport, such participation occurs only during the
          academic year immediately preceding the Olympic or Paralmypic Games; and
     (g) In the case of a former student-athlete, such participation shall be limited to the number of years that allows the
         individual to practice with the institution's team in preparation for two consecutive Olympic or Paralympic Games
         following exhaustion of eligibility or completion of degree, whichever occurs earlier. A former student-athlete who has
         not graduated must be enrolled (full or part time) and making progress toward a degree.
14.2.2 Requirement for Competition. To be eligible for competition, a student-athlete shall be enrolled in at least a
minimum full-time program of studies leading to a baccalaureate or equivalent degree, which shall not be less than 12 semester
or quarter hours. (Revised: 6/1/07)
    14.2.2.1 Exceptions. The following exceptions to the minimum 12-semester or 12-quarter-hour enrollment requirement
    are permitted:
         14.2.2.1.1 Competition Prior to Initial Enrollment. A student-athlete may compete during the official vacation
         period immediately preceding initial enrollment, provided the student has been accepted by the institution for
         enrollment in a regular, full-time program of studies at the time of the individual’s initial participation; is no longer
         enrolled in the previous educational institution; and is eligible under all institutional and NCAA requirements. (See
         Bylaw 16.8.2.1.)
         14.2.2.1.2 Eligibility Between Terms. To be eligible for competition that takes place between terms
         (including competition between a student-athlete's final term as an undergraduate student and first term as a graduate
         or postbaccalaurate student), the student-athlete shall: (Revised: 1/11/89, 3/27/18)
         (a) Have been registered for the required minimum full-time load (see Bylaw 14.2.2) at the conclusion of the term
             immediately preceding the date of competition, if the student is continuing enrollment; or
         (b) Be accepted for enrollment as a regular full-time student for the regular term immediately following if the student
             is either continuing enrollment or beginning enrollment (see Bylaw 14.4.3.4).
         14.2.2.1.3 Final Semester/Quarter. A student-athlete may compete while enrolled in less than a minimum full-
         time program of studies, provided the student is enrolled in the final semester or quarter of a baccalaureate or graduate

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         degree program, or a minor or undergraduate certificate program and the institution certifies that the student is
         carrying (for credit) the courses necessary to complete degree, minor or certificate requirements. To qualify for this
         exception, a minor or undergraduate certificate program must be officially designated (pursuant to institutional policy)
         by the student-athlete before the conclusion of the institution's first five days of classes of the applicable term.
         Thereafter, the student shall forfeit eligibility in all sports, unless the student completes all degree, minor or certificate
         requirements during that semester or quarter and is eligible to receive the baccalaureate diploma on the institution's
         next degree-granting date. (Revised: 1/10/92, 1/16/93, 1/10/95, 2/1/05, 11/1/07 effective 8/1/08, 1/14/12, 8/21/12,
         3/27/18, 1/23/19 effective 8/1/19)
             14.2.2.1.3.1 Eligibility Following Final Term. A student-athlete who is eligible to compete while enrolled
             less than full time during the student-athlete's final term remains eligible for regular-season competition that
             occurs after the term and any postseason event that begins within 60 days following the term. A student-athlete
             who attends a quarter-system institution and who graduates at the end of the winter quarter may compete in any
             postseason event (and preceding regular-season competition) that occurs during the same academic year following
             the completion of the winter quarter. (See Bylaw 12.8.) (Adopted: 4/29/04 effective 8/1/04, Revised: 3/27/18)
         14.2.2.1.4 Final Term Before Experiential Learning Requirement. A student-athlete may compete while
         enrolled in less than a minimum full-time program of studies in the final semester or quarter of the student’s
         baccalaureate degree program before participating in an experiential learning requirement (e.g., student teaching,
         internship, clinical, capstone project, etc.) in the following term, provided the student-athlete is carrying (for credit) all
         courses necessary to complete degree requirements, other than the experiential learning requirement. Thereafter, the
         student shall forfeit eligibility in all sports, unless the student completes all degree requirements during the
         following final semester or quarter and is eligible to receive the baccalaureate diploma on the institution’s next degree
         granting date immediately following the final semester. A student-athlete who uses this exception is not permitted to
         use the final semester/quarter exception in the following semester or quarter. (Adopted: 6/28/17 effective 8/1/17 for
         certifications of eligibility for fall 2017 and after)
         14.2.2.1.5 Graduate Program. A student may compete while enrolled in a full-time graduate program as defined
         by the institution (see Bylaw 14.6). (Revised: 1/9/06 effective 8/1/06)
   14.2.2.2 Noncredit Work. Hours of noncredit work (including remedial courses) may be counted toward fulfilling the
   minimum full-time enrollment requirement, provided the noncredit work is given the same academic load value and is
   considered by the institution to be a requirement for the degree currently being pursued by the student.
   14.2.2.3 Concurrent Courses at Two Institutions. Courses taken concurrently at a second institution may be
   counted toward meeting the minimum 12-hour enrollment requirement, provided:
    (a) The certifying institution officially recognizes the student's combined hours as full-time enrollment for a minimum of
        12 hours; and
    (b) Courses taken at the second institution will be included on the student's transcript at the institution where the student
        is seeking the degree.
   14.2.2.4 Cooperative Educational Exchange Program. A student-athlete may represent the certifying institution in
   intercollegiate athletics even though at the time of competition the student is enrolled in another institution in a
   cooperative educational exchange program, provided:
    (a) The certifying institution considers the student to be regularly enrolled in a minimum full-time program of studies; and
    (b) All work is placed on the student's transcript and accepted toward the student's undergraduate degree at the certifying
        institution.
   14.2.2.5 Cooperative Educational Work Experience Program. A student-athlete may represent the certifying
   institution in intercollegiate athletics while enrolled in a cooperative educational work experience program (e.g., co-op,
   internship, practicum, student-teaching) offered by the institution, provided the student is considered to be enrolled in a
   full-time program of studies, regardless of the credit value of the program. However, a student who participates in a
   cooperative educational work experience program that is not a required element of the student's degree program must be
   enrolled in a minimum of six credit hours, which may include the credit value of the cooperative educational work
   experience program, at the certifying institution during the same term. (Adopted: 10/28/10)
   14.2.2.6 Nontraditional Courses. Enrollment in a nontraditional course (e.g., distance-learning, correspondence,
   extension, Internet/virtual courses, independent study or any other course or credit that is not earned in a face-to-face
   classroom environment with regular interaction between the instructor and the student) offered by the certifying institution
   may be used to satisfy the full-time enrollment requirement for competition, provided the following conditions are met:
   (Adopted: 4/28/11 effective 8/1/11)
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     (a) The course is available to any student at the institution;
     (b) The student-athlete enrolls in the course in the same manner as is available to any student;
     (c) Enrollment in the course occurs within the institution's regular enrollment periods (pre-registration or drop-add
         period) in accordance with the institution's academic calendar and applicable policies and procedures; and
     (d) The course is conducted during the institution's regular academic schedule (term time) in accordance with the
         institution's academic calendar and applicable policies and procedures.
14.2.3 Waivers. Waivers may be granted to the minimum 12-semester or 12-quarter hour enrollment requirement as follows:
(Revised: 1/16/10 effective 5/1/10)
    14.2.3.1 Nontraditional Academic Calendars. A student-athlete at an institution that determines enrollment hours
    on a basis other than traditional semester or quarter hours or that conducts a cooperative educational work experience
    program (e.g., co-op, internship, practicum, student-teaching) may practice and compete, if the student is enrolled for a
    comparable minimum academic load as determined by the Committee on Academics (see Bylaw 4.4.2). (Revised: 11/1/07
    effective 8/1/08, 1/16/10 effective 5/1/10, 10/8/10)
    14.2.3.2 Olympic Games, Paralympic Games, Pan American Games, Parapan American Games, World
    Championships, World Cup, World University Games (Universiade), World University Championships or
    World Youth Championships -- Competition. The Progress-Toward-Degree Waivers Committee (see Bylaw
    21.10.5.2) may waive the minimum full-time enrollment requirement for any participant in the Olympic Games,
    Paralympic Games, Pan American Games, Parapan American Games, World Championships, World Cup, World
    University Games (Universiade), World University Championships or World Youth Championships (including junior
    levels of such events) who, because of such participation, may lose eligibility for practice and competition in any sport.
    (Revised: 1/10/91, 1/9/96, 9/12/03, 12/13/05, 11/1/07 effective 8/1/08, 1/16/10 effective 5/1/10, 1/14/12, 1/22/20)
    14.2.3.3 Student-Athletes With Education-Impacting Disabilities. The Progress-Toward-Degree Waivers
    Committee (see Bylaw 21.10.5.2) may waive the 12-hour requirement for a student-athlete when objective evidence
    demonstrates that an institution defines full-time enrollment for that student-athlete to be less than 12 hours to
    accommodate for the education-impacting disability. (Adopted: 1/10/95, Revised: 11/1/07 effective 8/1/08, 8/7/08, 1/16/10
    effective 5/1/10)
    14.2.3.4 Full-Time Enrollment -- Practice and Competition. Unless otherwise specified under this bylaw, the
    Progress-Toward-Degree Waivers Committee (see Bylaw 21.10.5.2) may waive the 12-hour requirement for practice and
    competition. (Adopted: 8/4/05, Revised: 11/1/07 effective 5/1/08, 1/16/10 effective 5/1/10)
14.3 Freshman Academic Requirements.
14.3.1 Eligibility for Financial Aid, Practice and Competition -- Qualifiers and Academic Redshirts. A
student-athlete who enrolls in a member institution as an entering freshman with no previous full-time college attendance shall
meet the following academic requirements, as certified by the NCAA Eligibility Center, as approved by the Board of Governors,
and any applicable institutional and conference regulations, to be considered a qualifier or an academic redshirt. (Revised:
1/16/93 effective 8/1/94, 1/9/96 effective 8/1/97, 3/22/06, 5/9/07, 10/27/11, 4/26/12 effective 8/1/16 for student-athletes initially
enrolling full time in a collegiate institution on or after 8/1/16, 10/30/14)
    14.3.1.1 Qualifier. A qualifier shall be eligible for financial aid, practice and competition during the first academic year of
    residence. A qualifier is defined as one who is a high school graduate and who presented the following academic
    qualifications: (Revised: 1/10/90, 1/10/92 effective 8/1/95, 1/16/93 effective 8/1/90, 1/14/94 effective 8/1/96, 2/9/95, 1/11/00
    effective 8/1/11, 11/1/01 effective 8/1/05, 4/24/02 effective 8/1/08, 10/31/02 effective 8/1/03 and 8/1/05, 4/26/06, 5/31/06,
    5/9/07, 10/27/11, 4/26/12 effective 8/1/16 for student-athletes initially enrolling full time in a collegiate institution on or after
    8/1/16, 5/9/18, 1/12/23 effective 8/1/23 for student-athletes initially enrolling full time in a collegiate institution on or after
    8/1/23)
     (a) A minimum cumulative grade-point average of 2.300 (based on a maximum 4.000) in a successfully completed core
         curriculum of at least 16 academic courses per Bylaw 14.3.1.3, including the following:
          English                                                                                                4 years
          Mathematics (Three years of mathematics courses at the level of Algebra I or higher).
          (Computer science courses containing significant programming elements that meet                        3 years
          graduation requirements in the area of mathematics also may be accepted.)
          Natural or physical science (including at least one laboratory course if offered by the
                                                                                                                 2 years
          high school). (Computer science courses containing significant programming

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          elements that meet graduation requirements in the area of natural or physical science
          also may be accepted.)
          Additional courses in English, mathematics, or natural or physical science                       1 year
          Social science                                                                                   2 years
          Additional academic courses [in any of the above areas or foreign language,
                                                                                                           4 years
          philosophy or nondoctrinal religion (e.g., comparative religion) courses]
         The record of the above courses and course grades must be certified by the Eligibility Center using either an official
         high school transcript forwarded directly from the high school or a high school transcript forwarded by an institution's
         admissions office; and
    (b) Completion of 10 of the required 16 core courses before the start of the seventh semester (or the equivalent) of high
        school. Seven of the 10 core courses must include English, mathematics and natural or physical science. The 10 core
        courses used to fulfill this requirement and the grades achieved in such courses shall be used in determining the
        student-athlete's eligibility for financial aid, practice and competition during the first academic year of residence and
        shall not be replaced by courses or grades achieved in subsequently completed core courses, including courses
        completed after the core-curriculum time limitation pursuant to Bylaws 14.3.1.3.1.1 or 14.3.1.3.1.2. (See Bylaw
        14.3.1.3.6.)
         14.3.1.1.1 Exception -- International Prospective Student-Athletes. The provisions of Bylaw 14.3.1.1-(c)
         do not apply to a prospective student-athlete whose initial-eligibility certification is based entirely on international
         credentials. (Adopted: 4/26/12 effective 8/1/16 for students initially enrolling full time in a collegiate institution on or after
         8/1/16)
         14.3.1.1.2 Exception -- Early Academic Certification. A student-athlete presenting a core-course grade-point
         average of 3.000 or higher (based on a maximum of 4.000) in a minimum of 14 core courses upon completion of six
         semesters (or the equivalent) shall be certified as a qualifier. The 14 core courses shall include three core courses in
         English, two in mathematics, two in natural or physical science (including at least one laboratory course, if offered),
         two additional core courses in English, mathematics, or natural or physical science and five additional core courses in
         any NCAA core area. The record of the courses and course grades must be certified by the Eligibility Center using
         either an official high school transcript forwarded directly from the high school or a high school transcript forwarded
         by an institution's admissions office. (Adopted: 1/14/08 effective 8/1/08, Revised: 10/27/11, 4/26/12, 8/2/12 effective
         8/1/13, 2/2/16, 1/12/23 effective 8/1/23 for student-athletes initially enrolling full time in a collegiate institution on or after
         8/1/23)
              14.3.1.1.2.1 Submission of Final Transcript. If a student-athlete is certified as a qualifier pursuant to the
              early academic certification exception and initial full-time collegiate enrollment occurs at the certifying institution
              during the first term of the academic year, the institution shall ensure submission of the final high school
              transcript (official or unofficial) to the Eligibility Center by February 1 following the student-athlete's initial full-
              time enrollment. If a student-athlete is certified as a qualifier pursuant to the early academic certification exception
              and initial full-time collegiate enrollment occurs at the certifying institution after the conclusion of the first term
              of the academic year, the institution shall ensure submission of the final high school transcript (official or
              unofficial) to the Eligibility Center by February 1 of the following academic year. [D] (Adopted: 4/30/09 effective
              8/1/09)
                   14.3.1.1.2.1.1 Waiver. The Committee on Academics may waive the requirements of this legislation based
                   on objective evidence that demonstrates circumstances for which a waiver is warranted. The committee shall
                   establish the process for reviewing such waiver requests. (Adopted: 4/30/09 effective 8/1/09, Revised: 8/7/14)
   14.3.1.2 Academic Redshirt. An academic redshirt may receive institutional athletically related financial aid but may
   not compete during the first academic year of residence. An academic redshirt may practice only on campus or at the
   institution's regular practice facility during the first regular academic term of residence. An academic redshirt must
   successfully complete nine semester or eight quarter hours of academic credit in each applicable regular academic term in
   order to be eligible for practice in the immediately subsequent term of the initial academic year of residence. An academic
   redshirt is defined as one who is a high school graduate and who presented a minimum cumulative grade-point average of
   2.000 (based on a maximum 4.000) in a successfully completed core curriculum of at least 16 academic courses per Bylaw
   14.3.1.3, including the required courses set forth in Bylaw 14.3.1.1-(a). (Adopted: 10/27/11, Revised: 4/26/12 effective
   8/1/16, 1/12/23 effective 8/1/23 for student-athletes initially enrolling full time in a collegiate institution on or after 8/1/23)
         14.3.1.2.1 Outside Competition -- Academic Redshirt. An academic redshirt may participate in the
         institution's intramural program (provided the intramural team is not coached by a member of the institution's

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         athletics department staff), but during the first year of enrollment, such an individual is not permitted to practice or
         compete on an institutional club team or on an outside sports team. (Adopted: 10/27/11, Revised: 4/26/12 effective
         8/1/16 for student-athletes initially enrolling full time in a collegiate institution on or after 8/1/16)
   14.3.1.3 Core-Curriculum Requirements. [#] For purposes of meeting the core-curriculum requirement to establish
   eligibility at a member institution, a "core course" must meet all of the following criteria: (Revised: 1/11/00 effective 8/1/00,
   11/1/01 effective 8/1/05 for those students first entering a collegiate institution on or after 8/1/05, 8/7/08, 1/15/11 effective
   1/14/12)
    (a) A course must be a recognized academic course and qualify for high school graduation credit in one or a combination
        of the following areas: English, mathematics, natural/physical science, social science, foreign language or nondoctrinal
        religion/philosophy;
    (b) A course must be considered college preparatory by the high school. College preparatory is defined for these purposes as
        any course that prepares a student academically to enter a four-year collegiate institution upon graduation from high
        school;
    (c) A mathematics course must be at the level of Algebra I or a higher-level mathematics course;
    (d) A course must be taught by a qualified instructor as defined by the appropriate academic authority (e.g., high school,
        school district or state agency with authority of such matters); and
    (e) A course must be taught at or above the high school's regular academic level (remedial, special education or
        compensatory courses shall not be considered core courses). However, the prohibition against the use of remedial or
        compensatory courses is not applicable to courses designed for students with education-impacting disabilities (see
        Bylaw 14.3.1.2.1.2).
         14.3.1.3.1 Core-Curriculum Time Limitation. A prospective student-athlete must complete the core-curriculum
         requirements not later than the high school graduation date of the prospective student-athlete's class [as determined by
         the first year of enrollment in high school (ninth grade) or the international equivalent as specified in the NCAA Guide
         to International Academic Standards for Athletics Eligibility]. Graduation from high school or secondary school shall
         be based on the prospective student-athlete's prescribed educational path in the prospective student-athlete's country.
         The eligibility of an international student-athlete whose prescribed educational path culminates with a leaving
         examination (e.g., General Certificate of Secondary Education, Baccalaureat, Arbitur) shall be determined based on the
         leaving examination, regardless of a delay in graduation or completion of the leaving examination. (Revised: 1/10/90,
         9/15/97, 11/1/01 effective 8/1/02, 4/26/07 effective 8/1/07, 1/15/11 effective 8/1/12 applicable to student-athletes who
         initially enroll full time in a collegiate institution on or after 8/1/12)
             14.3.1.3.1.1 Exception -- One Core Course after High School Graduation. If a prospective student-
             athlete graduates from high school within the core-curriculum time limitation, the prospective student-athlete may
             use one core course, completed in the year after graduation (summer or academic year), but not later than the end
             of the academic year immediately after the high school graduation date of the prospective student-athlete's class, to
             satisfy the core-curriculum or minimum grade-point average requirements or both. The prospective student-
             athlete may complete the core course at a location other than the high school from which the prospective student-
             athlete graduated and may initially enroll full time at a collegiate institution at any time after completion of the
             core course. (Adopted: 4/26/07 effective 8/1/07, Revised: 9/24/09)
                  14.3.1.3.1.1.1 Receipt of Athletically Related Financial Aid While Enrolled in Core Courses. A
                  prospective student-athlete may not use a core course completed after high school graduation to satisfy initial-
                  eligibility requirements if the prospective student-athlete is enrolled in the core course while concurrently
                  receiving athletically related financial aid to attend an institution's summer term. A prospective student-
                  athlete may use a core course completed after high school graduation, provided the prospective student-athlete
                  either completes the core course prior to receiving athletically related financial aid to attend an institution's
                  summer term or does not enroll in the core course until after completion of the institution's summer term for
                  which the prospective student-athlete is receiving athletically related financial aid (see Bylaw 15.2.8.1.4).
                  (Adopted: 9/24/09)
             14.3.1.3.1.2 Exception -- Students with Education-Impacting Disabilities. If a prospective student-
             athlete with a diagnosed education-impacting disability graduates from high school within the core-curriculum
             time limitation, the prospective student-athlete may use up to three core courses completed after high school
             graduation to satisfy the core-curriculum or minimum grade-point average requirements or both. The prospective
             student-athlete may complete the core courses at a location other than the high school from which the prospective
             student-athlete graduated and may initially enroll full time at a collegiate institution at any time after completion
             of the core courses. A prospective student-athlete may not use a core course completed after graduation if the
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              prospective student-athlete receives institutional financial aid while enrolled in a course during the summer after
              the high school graduation date of the prospective student-athlete's class (see Bylaw 15.2.8.1.4). (Adopted: 1/14/97
              effective 8/1/97, Revised: 4/24/03 effective 8/1/03, 11/1/07 effective 8/1/08, 4/17/08, 8/7/08, 4/30/09 effective 8/1/10
              for student-athletes initially enrolling full time in a collegiate institution on or after 8/1/10)
         14.3.1.3.2 Nontraditional Courses. [#] Courses taught via the Internet, distance learning, independent study,
         individualized instruction, correspondence, and courses taught by similar means may be used to satisfy NCAA core-
         course requirements if all of the following conditions are satisfied: (Adopted: 1/11/00 effective 8/1/00, Revised: 1/16/10
         effective 8/1/10 for student-athletes initially enrolling full time in a collegiate institution on or after 8/1/10, 1/15/11 effective
         1/14/12)
          (a) The course meets all requirements for a core course as defined in Bylaw 14.3.1.2;
          (b) The instructor and the student have ongoing access to one another for purposes of teaching, evaluating and
              providing assistance to the student throughout the duration of the course;
          (c) The instructor and the student have regular interaction with one another for purposes of teaching, evaluating and
              providing assistance to the student throughout the duration of the course;
          (d) The student's work (e.g., exams, papers, assignments) is available for evaluation and validation;
          (e) Evaluation of the student's work is conducted by the appropriate academic authorities in accordance with the high
              school's established academic policies;
          (f) The course includes a defined time period for completion; and
          (g) The course is acceptable for any student and is placed on the high school transcript.
         14.3.1.3.3 College Courses. [#] College courses may be used to satisfy core-curriculum requirements if accepted by
         the high school, provided the courses are accepted for any other student, meet all other requirements for core courses
         and are placed on the student's high school transcript. (Revised: 4/26/12)
         14.3.1.3.4 English as a Second Language Course. [#] It is permissible to use an advanced-level English as a
         Second Language (ESL) course to satisfy a core-curriculum requirement, provided the is qualitatively and quantitatively
         the same as the comparison course in the regular-course offering and the course appears on the high school's list of
         approved core courses. Further, an advanced-level ESL course must be exclusively for ESL students and all students in
         the course must be at the same level. (Adopted: 11/17/98, Revised: 1/15/11 effective 1/14/12, 1/13/16)
         14.3.1.3.5 Courses for Students With Education-Impacting Disabilities. [#] High school courses for
         students with education-impacting disabilities may be used to fulfill the core-curriculum requirements, even if such
         courses appear to be taught at a level below the high school's regular academic instructional level (e.g., special
         education courses), if the high school principal submits a written statement to the Eligibility Center indicating that the
         courses are substantially comparable, quantitatively and qualitatively, to similar core course offerings in that academic
         discipline and the courses appear on the high school's list of approved core courses. Students with education-impacting
         disabilities still must complete the required core courses and achieve the minimum required grade-point average in the
         core curriculum. The fact that the title of a course includes a designation such as "remedial," "special education,"
         "special needs," or other similar titles used for courses designed for students with education-impacting disabilities does
         not, in and of itself, disqualify a course from satisfying core-curriculum requirements. (Revised: 1/14/97 effective 8/1/97,
         2/11/98, 4/24/03 effective 8/1/03, 8/7/08, 1/15/11 effective 1/14/12)
         14.3.1.3.6 Grade Value of Core Courses. The following grade values are to be used in determining a student's
         grade-point average in the core courses: A = 4 quality points, B = 3 quality points, C = 2 quality points, D = 1 quality
         point. In determining the core-curriculum grade-point average, each grade earned in a course (including all numerical
         grades) must be converted to this 4.000 scale on an individual-course basis. Pluses or minuses within a grade level shall
         not receive greater or lesser quality points. A school's normal practice of weighting honors or advanced courses may be
         used to compute the quality points awarded in those courses and the cumulative grade-point average, provided a
         written statement verifying the grading policy accompanies the prospective student-athlete's official grade transcript.
         An honors or advanced course shall receive no greater than 1.000 additional quality point (e.g., A=5.000). In
         calculating the grade in a weighted honors or advanced course, if a high school does not assign quality points to its
         courses, quality points shall be added to each course before calculating the student's grade-point average and not added
         to a student's cumulative core-course grade-point average. The core-curriculum grade-point average may be calculated
         using the student's 16 best grades from courses that meet the distribution requirements of the core curriculum.
         (Revised: 1/10/92 effective 8/1/95, 1/14/97, 4/15/98, 1/13/03 effective 8/1/05, 4/24/03 effective 8/1/08, 1/15/11 effective
         1/14/12, 5/2/13 effective 8/1/16 for those student-athletes initially enrolling full time in a college institution on or after
         8/1/16)
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         14.3.1.3.7 Pass-Fail Grades. [#] Courses that are awarded pass-fail grades may be used to satisfy core-curriculum
         requirements. The Eligibility Center shall assign the course the lowest passing grade that the high school assigns for a
         pass-fail course. (Revised: 1/14/97 effective 8/1/97, 4/15/97, 5/9/07, 1/15/11 effective 1/14/12)
         14.3.1.3.8 Repeat Courses. [#] A repeated course may be used only once to satisfy core-curriculum requirements.
         The best grade in that course may be used to calculate the grade-point average in the core curriculum. (Revised: 1/15/11
         effective 1/14/12)
         14.3.1.3.9 Multiple High School Attendance. [#] For a student-athlete who attends more than one high school,
         a Form 48-H (core-course form) and an official transcript from each high school the student-athlete attended must be
         used. However, the Eligibility Center may receive the official transcript from either the student-athlete's original high
         school or the high school from which the student-athlete graduated, or an institution's admissions office. (Adopted:
         1/10/92, Revised: 4/22/98 effective 8/1/98, 3/30/06, 5/9/07, 4/26/12)
    14.3.1.4 Initial-Eligibility Waivers. The Initial-Eligibility Waivers Committee (see Bylaw 21.7.5.1.3.1) shall have the
    authority to waive the initial-eligibility requirements based on objective evidence that demonstrates circumstances in which
    a student's overall academic record warrants a waiver of the normal application of this regulation. The committee shall
    oversee the process for reviewing such waivers and shall report annually to the Committee on Academics and to the
    membership the actions taken in summary, aggregate form. (Revised: 11/1/07 effective 8/1/08, 1/16/10 effective 5/1/10,
    8/7/14)
    14.3.1.5 Effect of Violations. A violation of Bylaw 14.3.1 in which the student-athlete is subsequently certified as a
    qualifier shall be considered an institutional violation per Bylaw 8.01.3 but shall not affect the student-athlete's eligibility.
    (Adopted: 10/29/15)
14.3.2 Eligibility for Financial Aid, Practice and Competition -- Nonqualifiers.
    14.3.2.1 Nonqualifier. A nonqualifier is a student who has not graduated from high school or who, at the time specified
    in the regulation (see Bylaw 14.3), did not present the core-curriculum grade-point average required for a qualifier or an
    academic redshirt. (Revised: 10/27/11, 4/26/12 effective 8/1/16, 1/12/23 effective 8/1/23 for student-athletes initially enrolling
    full time in a collegiate institution on or after 8/1/23)
         14.3.2.1.1 Eligibility for Aid, Practice and Competition. An entering freshman with no previous college
         attendance who was a nonqualifier at the time of enrollment in a Division I institution shall not be eligible for
         competition or practice during the first academic year of residence. However, such a student shall be eligible for
         nonathletics institutional financial aid that is not from an athletics source and is based on financial need only,
         consistent with institutional and conference regulations. (Revised: 1/10/95 effective 8/1/96)
    14.3.2.2 Practice-Session Attendance. A student-athlete who is a nonqualifier and who, therefore, is not eligible for
    practice, may not attend any practice sessions in any capacity, nor may the student-athlete attend any meeting characterized
    as practice (see Bylaw 17.02.1). (Revised: 1/10/95 effective 8/1/96, 1/9/96 effective 8/1/96)
    14.3.2.3 Outside Competition -- Nonqualifiers. A nonqualifier may participate in the institution's intramural
    program (provided the intramural team is not coached by a member of the institution's athletics department staff), but
    during the first year of enrollment [including an institution's term-time official vacation periods (e.g., mid-term break,
    Labor Day weekend) and between terms when classes are not in session (e.g., winter break)], such an individual is not
    permitted to practice or compete on an institutional club team or on an outside sports team, including a national team.
    (Adopted: 1/10/13)
14.3.3 Seasons of Competition -- Nonqualifiers. Nonqualifiers, recruited or nonrecruited, shall not engage in more
than three seasons of competition in any one sport. A student who transfers to a Division I member institution from another
collegiate institution shall not engage in more than four seasons of competition with not more than three of those seasons in
Division I.
    14.3.3.1 Application of Delayed Enrollment Legislation. A student-athlete who is charged with a season (or
    seasons) of eligibility due to the application of delayed enrollment legislation (Bylaws 12.8.3.2 and 12.8.3.5) is considered
    to have used that season (or seasons) of competition for purposes of Bylaw 14.3.3. (Revised: 7/15/15)
    14.3.3.2 Fourth Season of Competition -- Nonqualifiers. A fourth season of intercollegiate competition shall be
    granted to a student-athlete who is a nonqualifier, provided that at the beginning of the fifth academic year following the
    student-athlete's initial, full-time collegiate enrollment, the student-athlete has completed at least 80 percent of the student-
    athlete's designated degree program. (Revised: 4/28/05 effective 8/1/05, 1/3/06, 10/27/11, 4/26/12 effective 8/1/16 for student-
    athletes initially enrolling full time in a collegiate institution on or after 8/1/16)


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         14.3.3.2.1 Waiver. The Progress-Toward-Degree Waivers Committee (see Bylaw 21.7.5.1.3.2) shall have the
         authority to grant a fourth season of intercollegiate competition to a student-athlete who is a nonqualifier based on
         objective evidence of extraordinary circumstances that warrant a waiver of the normal application of this regulation.
         (Adopted: 1/13/98 effective 8/1/98, Revised: 4/27/00 effective 8/1/00, 8/4/05, 1/3/06, 11/1/07 effective 8/1/08, 1/16/10
         effective 5/1/10, 10/27/11, 4/26/12 effective 8/1/16 for student-athletes initially enrolling full time in a collegiate institution
         on or after 8/1/16)
14.3.4 Residence Requirement -- Academic Redshirts and Nonqualifiers. An academic redshirt must fulfill an
academic year of residence in order to be eligible to compete and to practice away from the institution. A nonqualifier must
fulfill an academic year of residence in order to be eligible for practice, competition and athletically related financial aid (see
Bylaw 14.3.2.1.1). (Revised: 1/10/90 effective 8/1/90, 1/10/95 effective 8/1/96, 1/3/06, 4/14/10, 10/27/11, 4/26/12 effective 8/1/16
for student-athletes initially enrolling full time in a collegiate institution on or after 8/1/16)
14.3.5 Determination of Freshman Eligibility.
    14.3.5.1 Participation Prior to Certification. If a student-athlete reports for athletics participation or initial
    enrollment at the certifying institution before his or her qualification status has been certified, the student may practice, but
    not compete, during a 45-day period, provided the student meets all other requirements to be eligible to practice. An
    institution may provide athletically related financial aid to the student during this period, provided the student meets all
    other requirements to receive athletically related financial aid. After the 45-day period, the student shall have established
    minimum requirements (as certified by the Eligibility Center) to continue practicing, to continue receiving athletically
    related financial aid or to compete. (Revised: 1/11/89, 10/7/05, 5/9/07, 9/18/07, 1/15/11 effective 8/1/11, 1/19/13 effective
    8/1/13, 6/30/22 effective 8/1/22)
         14.3.5.1.1 Effect of Violations. A violation of Bylaw 14.3.5.1 in which the student-athlete is subsequently certified
         as a qualifier shall be considered an institutional violation per Bylaw 8.01.3 but shall not affect the student-athlete's
         eligibility. (Adopted: 10/29/15)
    14.3.5.2 High School Graduate. In order to be considered a high school graduate, a prospective student-athlete shall
    meet all graduation requirements, including academic and nonacademic (e.g., state exit exams, community service, senior
    project) requirements, as defined for all students by the high school or secondary school. (Adopted: 4/23/08)
         14.3.5.2.1 Equivalency Test/Diploma. A prospective student-athlete who does not graduate from high school but
         completes a state high school equivalency test [e.g., General Educational Development (GED)] and obtains a state high
         school equivalency diploma may satisfy the graduation requirement, provided the equivalency test is completed on or
         after the high school graduation date of the prospective student-athlete's class [as determined by the first year of
         enrollment in high school (ninth grade) or the international equivalent as specified in the NCAA Guide to
         International Academic Standards for Athletics Eligibility]. (Revised: 6/16/04, 1/10/05 effective 8/1/05, 6/15/15)
    14.3.5.3 Advanced Placement. If the student-athlete is admitted with a minimum of 24 semester hours or a minimum
    of 36 quarter hours of advanced placement from a College Entrance Examination Board (CEEB) examination (or from a
    similar proficiency examination) and/or concurrent high school/college credit without previous enrollment at a collegiate
    institution, the student-athlete shall be immediately eligible. Credits earned from extension or summer-session courses may
    not be counted in satisfaction of this requirement. A "similar proficiency examination" must be an advanced or higher level,
    nationally administered proficiency exam with a uniform grading scale that is taken after high school graduation. (Revised:
    1/14/12 effective 8/1/12)
         14.3.5.3.1 International Certification. An institution shall use the Eligibility Center to determine whether a
         "similar proficiency examination" taken by an international student-athlete is an advanced or higher level, nationally
         administered proficiency exam with a uniform grading scale that is taken after high school graduation. In addition, the
         Eligibility Center shall certify the eligibility of an international student-athlete based on the number of advanced
         placement hours accepted by the certifying institution. (Adopted: 1/14/12 effective 8/1/12)
    14.3.5.4 International Academic Standards. A student from a foreign country shall satisfy both the requirements
    outlined in the NCAA Guide to International Academic Standards for Athletics Eligibility and the test-score requirements
    set forth in Bylaw 14.3.1.1-(b).
14.4 Progress-Toward-Degree Requirements.
14.4.1 Progress-Toward-Degree Requirements. To be eligible to represent an institution in intercollegiate athletics
competition, a student-athlete shall maintain progress toward a baccalaureate or equivalent degree at that institution as
determined by the regulations of that institution subject to controlling legislation of a conference or similar association of which


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the institution is a member and applicable NCAA legislation. (See Bylaw 20.2.4.13 regarding the obligations of members to
publish their progress-toward-degree requirements for student-athletes.) (Revised: 5/29/08, 4/15/09)
    14.4.1.1 Bona Fide International Exchange Student. The eligibility for competition of a bona fide international
    exchange student, as defined in Bylaw 14.5.1.5.1, shall be based on satisfactory completion of at least: (Revised: 1/14/08
    effective 8/1/08, 4/14/09)
     (a) Six semester or six quarter hours of academic credit during the preceding regular academic term in which the student
         has enrolled full time at the certifying institution;
     (b) Eighteen semester or 27 quarter hours of academic credit since the beginning of the previous fall term or since the
         beginning of the certifying institution's preceding regular two semesters or three quarters (hours earned during the
         summer may not be used to fulfill this requirement) (see Bylaw 14.4.3.1.4); and
     (c) A minimum grade-point average per academic term of enrollment as set forth in Bylaw 14.4.3.3.
    14.4.1.2 Temporary Student. A student-athlete having the status of temporary, transient or exchange student shall not
    represent an institution in intercollegiate athletics competition unless such status is specifically allowed and governed by
    provisions adopted by the membership.
14.4.2 Eligibility for Financial Aid and Practice. Eligibility for institutional financial aid and practice during each
academic year after a student-athlete's initial year of residence or after the student-athlete has used one season of eligibility in a
sport shall be based upon the rules of the institution and the conference(s), if any, of which the institution is a member.
14.4.3 Eligibility for Competition.
    14.4.3.1 Fulfillment of Credit-Hour Requirements. Eligibility for competition shall be determined based on
    satisfactory completion of at least: (Revised: 1/10/92, 10/31/02 effective 8/1/03, 3/10/04, 4/28/05)
     (a) Twenty-four semester or 36 quarter hours of academic credit prior to the start of the student-athlete's second year of
         collegiate enrollment (third semester, fourth quarter);
     (b) Eighteen semester or 27 quarter hours of academic credit since the beginning of the previous fall term or since the
         beginning of the certifying institution's preceding regular two semesters or three quarters (hours earned during the
         summer may not be used to fulfill this requirement) (see Bylaw 14.4.3.1.4); and
     (c) Six semester or six quarter hours of academic credit during the preceding regular academic term (e.g., fall semester,
         winter quarter) in which the student-athlete has been enrolled full time at any collegiate institution (see Bylaw
         14.4.3.4.3 for postseason certification).
         14.4.3.1.1 Regular Academic Year. For purposes of Bylaw 14.4.3.1, the regular academic year shall be defined as
         the time beginning with the opening of the institution's fall term and concluding with the institution's spring
         commencement exercises. (Adopted: 4/2/03 effective 8/1/03, Revised: 6/1/06)
         14.4.3.1.2 Transfer. To be eligible for competition, a transfer student-athlete must meet the following credit-hour
         requirements based on attendance at the previous institution(s) for the specified time and may use any hours of
         academic credit earned at any collegiate institution: (Adopted: 10/31/02 effective 8/1/03, Revised: 5/12/05)
          (a) Equivalent of one semester/one quarter: six semester or six quarter hours of academic credit;
          (b) Equivalent of one academic year (e.g., two semesters/three quarters): 24 semester or 36 quarter hours of academic
              credit;
          (c) Equivalent of three semesters/four quarters: 30 semester or 42 quarter hours of academic credit; or
          (d) Equivalent of four semesters/six quarters and thereafter: six semester or six quarter hours of academic credit during
              the previous term of full-time enrollment, if applicable (see Bylaw 14.4.3.1.2.1).
              14.4.3.1.2.1 Six-Hour Requirement for Transfer. A transfer student-athlete from a domestic two-year or
              four-year collegiate institution must complete six hours of academic credit during the previous term of full-time
              enrollment regardless of when the student-athlete enrolls in the certifying institution. A transfer student-athlete
              from a foreign collegiate institution is not required to complete six hours of academic credit in the previous term
              of full-time enrollment. (Adopted: 5/12/05)
         14.4.3.1.3 Regaining Eligibility. For purposes of Bylaw 14.4.3.1-(a), a student-athlete who does not meet the 24
         semester or 36 quarter credit-hour requirement prior to the start of the student-athlete's second year of collegiate
         enrollment (third semester, fourth quarter), may become eligible at the beginning of the next academic term by
         successfully completing 24 semester or 36 quarter hours during the previous two semesters or three quarters. (Adopted:
         4/14/03 effective 8/1/03, Revised: 4/28/05)

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             14.4.3.1.3.1 Exception -- Baseball. In baseball, a student-athlete who is subject to the 24 semester or 36
             quarter credit-hour requirement at the beginning of an institution's fall term and fails to meet the requirement
             based on the student-athlete's academic record in existence at that time shall not be eligible during the remainder
             of the academic year. (Adopted: 4/26/07 effective 8/1/08)
         14.4.3.1.4 Application of Rule. For purposes of Bylaw 14.4.3.1-(b), once a student-athlete initially enrolls as a full-
         time student [including a midyear enrollee (freshman or transfer)], the student-athlete must meet the 18 semester/27
         quarter hour requirement prior to the start of the institution's third semester or fourth quarter following the student-
         athlete's initial full-time enrollment. Further, the 18 semester/27 quarter hour requirement applies to each academic
         year in which a student-athlete is enrolled as a full-time student during any term of that academic year. (See Bylaw
         14.02.12.) Credits earned during a term in which a student-athlete is enrolled in less than a full-time program of
         studies may be used to satisfy the 18 semester/27 quarter hour requirement only if such credits are combined with
         credits earned during a term that immediately precedes or immediately follows a term in which the student-athlete is
         enrolled as a full-time student. Credits earned during a part-time term may be completed at an institution other than
         the certifying institution. (Adopted: 4/14/03 effective 8/1/03, Revised: 9/18/07, 4/8/09, 10/17/19)
             14.4.3.1.4.1 Application to a Midyear Enrollee. After a midyear enrollee's initial certification, (prior to the
             start of the institution's third semester or fourth quarter following the student-athlete's initial full-time
             enrollment), the student-athlete's completion of the 18 semester/27 quarter hour requirement shall be certified
             prior to the start of each academic year based on the student-athlete's record since the beginning of the previous
             fall term. (Adopted: 4/8/09)
             14.4.3.1.4.2 Additional Application -- Baseball. In baseball, a student-athlete who is subject to the 18
             semester/27 quarter hour requirement at the beginning of an institution's fall term and fails to meet the
             requirement based on the student-athlete's academic record in existence at that time shall not be eligible during
             the remainder of the academic year. (Adopted: 4/26/07 effective 8/1/08)
         14.4.3.1.5 Additional Application of Six-Hour and Transfer Rules -- Baseball. In baseball, a student-athlete
         who fails to meet the requirements of Bylaws 14.4.3.1-(c) or 14.4.3.1.2, or both, to be eligible for an institution's fall
         term shall not be eligible during the remainder of the academic year. (Adopted: 4/26/07 effective 8/1/08)
         14.4.3.1.6 Additional Requirements -- Football. [FBS/FCS] In football, a student-athlete who is a member of
         the institution's football team and who does not successfully complete at least nine semester hours or eight quarter
         hours of academic credit during the fall term or does not earn the Academic Progress Rate eligibility point for the fall
         term (or does not successfully complete either requirement) shall not be eligible to compete in the first four contests
         against outside competition in the following playing season. (Adopted: 4/28/11 effective 8/1/11, Revised: 5/28/13)
             14.4.3.1.6.1 Regaining Eligibility for Two Contests. [FBS/FCS] A student-athlete who is ineligible,
             pursuant to Bylaw 14.4.3.1.6, to compete in the first four contests of a playing season against outside competition
             may regain eligibility to compete in the third and fourth contests of that season, provided the student-athlete
             successfully completes at least 27 semester hours or 40 quarter hours of academic credit before the beginning of
             the next fall term. A student-athlete in the initial year of full-time collegiate enrollment may use credit hours
             earned at the certifying institution during the summer prior to initial full-time enrollment and credit hours earned
             during the summer following the regular academic year to satisfy the 27 semester/40 quarter credit-hour
             requirement. (Adopted: 4/28/11 effective 8/1/11, Revised: 2/6/12)
             14.4.3.1.6.2 Regaining Full Eligibility -- One-Time Exception. [FBS/FCS] One time during a student-
             athlete's five-year period of eligibility, a student-athlete who is ineligible, pursuant to Bylaw 14.4.3.1.6, to compete
             in the first four contests of a playing season against outside competition may regain eligibility to compete in the
             first four contests of that season, provided the student-athlete successfully completes at least 27 semester hours or
             40 quarter hours of academic credit before the beginning of the next fall term. A student-athlete in the initial year
             of full-time collegiate enrollment may use credit hours earned at the certifying institution during the summer prior
             to initial full-time enrollment and credit hours earned during the summer following the regular academic year to
             satisfy the 27 semester/40 quarter credit-hour requirement. (Adopted: 4/28/11 effective 8/1/11, Revised: 2/6/12,
             5/28/13)
         14.4.3.1.7 Hours Earned or Accepted for Degree Credit. The calculation of credit hours for the application of
         Bylaws 14.4.3.1-(a), 14.4.3.1-(c) and 14.4.3.1.6 shall be based on hours earned or accepted for degree credit at the
         certifying institution in a student-athlete's specific baccalaureate degree program, as follows: (Adopted: 1/14/97, Revised:
         1/9/06 effective 8/1/06, 3/12/12, 3/27/18, 1/29/19 effective 8/1/19 for certification of eligibility for competition that occurs
         on or after 8/1/19.)


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         (a) During the first two years of enrollment, a student-athlete may use credits acceptable toward any of the
             institution's degree programs;
         (b) By the beginning of the third year of enrollment (fifth semester or seventh quarter), a student-athlete shall be
             required to have designated a program of studies leading toward a specific baccalaureate degree. From that point,
             the credits used to meet the progress-toward-degree requirements must be degree credit toward the student's
             designated degree program;
         (c) A student-athlete who changes designated degree programs between terms may comply with the progress-toward-
             degree requirements if:
              (1) The change in programs is documented appropriately by the institution's academic authorities;
              (2) The credits earned prior to the change are acceptable toward the degree previously sought; and
              (3) The credits earned from the time of the change are acceptable toward the new desired degree.
         (d) A student-athlete who, in accordance with institutional policy, changes designated degree programs during a
             regular academic term may use credits earned during the term to fulfill credit-hour requirements toward the degree
             previously sought or the newly designated degree; and
         (e) Once a student-athlete has begun the third year of enrollment (fifth semester or seventh quarter), a course may not
             be used to fulfill the credit-hour requirements for meeting progress toward degree if the student ultimately must
             repeat the course to fulfill the requirements of the student's major, even if the course fulfills an elective component
             of the student-athlete's degree program.
             14.4.3.1.7.1 Exception -- Final Academic Year of Degree Program. A student-athlete who is in the final
             academic year (final two semesters or three quarters) of the student-athlete's designated degree program may use
             credit hours acceptable toward any of the institution's degree programs to satisfy the six-hour requirement (see
             Bylaw 14.4.3.1) and the nine semester or eight quarter-hour requirement (see Bylaw 14.4.3.1.6), provided the
             institution certifies that the student is enrolled in courses necessary to complete degree requirements at the end of
             the two semesters or three quarters or the following summer. Thereafter, the student shall forfeit eligibility in all
             sports, unless the student completes all degree requirements and is eligible to receive the baccalaureate diploma on
             the institution's next degree-granting date. (Adopted: 8/5/04, Revised: 3/27/18)
             14.4.3.1.7.2 Hours Earned or Accepted Toward a Minor. Credit hours earned or accepted toward a minor,
             including a voluntary or optional minor (a minor that is not a required element of the original baccalaureate
             degree program for all students) may be used to satisfy the credit-hour requirements after the first two years of
             enrollment, provided the minor is officially designated (pursuant to institutional policy) by the student-athlete
             before the conclusion of the institution's first five days of classes of the applicable term. (Adopted: 9/24/09, Revised:
             4/26/17 effective 8/1/17, 4/18/18)
             14.4.3.1.7.3 Hours Earned or Accepted Toward an Undergraduate Certificate Program. Credit
             hours earned or accepted toward an undergraduate certificate program may be used to satisfy credit-hour
             requirements after the first two years of enrollment, provided the following conditions are met: (Adopted: 4/26/17
             effective 8/1/17, Revised: 4/18/18)
              (a) Completion of the certificate requires a minimum of nine credit hours;
              (b) Enrollment in the program is only available to regular, degree-seeking, undergraduate students; and
              (c) The student-athlete officially designates the program (pursuant to institutional policy) before the conclusion
                  of the institution's first five days of classes of the applicable term.
   14.4.3.2 Fulfillment of Percentage of Degree Requirements. A student-athlete who is entering the third year of
   collegiate enrollment shall have completed successfully at least 40 percent of the course requirements in the student's
   specific degree program. A student-athlete who is entering the fourth year of collegiate enrollment shall have completed
   successfully at least 60 percent of the course requirements in the student's specific degree program. A student-athlete who is
   entering the fifth year of collegiate enrollment shall have completed successfully at least 80 percent of the course
   requirements in the student's specific degree program. The course requirements must be in the student's specific degree
   program (as opposed to the student's major). (Adopted: 1/10/92 effective 8/1/92, Revised: 1/9/96, 10/31/02 effective 8/1/03)
         14.4.3.2.1 Five-Year Degree Program. If the student-athlete's degree is identified in the institution's official
         catalog as a five-year program or otherwise requires the completion of a minimum of 150 semester or 225 quarter
         hours, the student-athlete who is entering the third year of collegiate enrollment shall have completed successfully 33
         percent of the course requirements in the student's specific degree program. A student-athlete who is entering the
         fourth year of collegiate enrollment shall have completed successfully 50 percent of the course requirements in the
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         student's specific degree program. A student-athlete who is entering the fifth year of collegiate enrollment shall have
         completed successfully 67 percent of the course requirements in the student's specific degree program. (Adopted:
         1/14/97, Revised: 10/31/02 effective 8/1/03)
         14.4.3.2.2 Application of Rule to Transfer Student. The provisions of Bylaw 14.4.3.2 shall be applicable to the
         eligibility of a transfer student from a two-year or four-year collegiate institution, even if the student has not yet
         completed an academic year of residence or used a season of eligibility in a sport at the certifying institution. (Adopted:
         1/10/92 effective 8/1/92)
             14.4.3.2.2.1 Exception -- National Service Academies. The provisions of Bylaw 14.4.3.2 shall only apply
             to the eligibility of a student-athlete for those years in which the student-athlete is enrolled at a national service
             academy. (Adopted: 4/24/03)
         14.4.3.2.3 Timing of Certification. A student-athlete's eligibility under this provision shall be determined on the
         basis of the student's academic record in existence at the beginning of that student's third or later academic year (fifth
         semester or seventh quarter) of full-time enrollment (see Bylaw 14.02.12). If the student-athlete is ineligible under the
         provisions of the progress-toward-degree legislation at the beginning of that term, eligibility may be reinstated at the
         beginning of any other regular term of that student's specific academic year, based on the student's later fulfillment of
         the necessary degree requirements. (Adopted: 1/11/94, Revised: 1/10/95, 10/17/19)
             14.4.3.2.3.1 Exception -- Baseball. In baseball, a student-athlete who is ineligible under this provision at the
             beginning of an institution's fall term shall not be eligible during the remainder of the academic year. (Adopted:
             4/26/07 effective 8/1/08)
         14.4.3.2.4 Hours Earned or Accepted Toward a Minor. Credit hours earned or accepted toward a voluntary or
         optional minor (a minor that is not a required element of the original baccalaureate degree program for all students)
         may not be used to satisfy percentage-of-degree requirements even if the student-athlete must complete the
         requirements of the voluntary or optional minor to graduate. A student-athlete may use credits earned in a minor only
         if the minor is a required element for all students to obtain the original baccalaureate degree. (Adopted: 9/24/09)
   14.4.3.3 Fulfillment of Minimum Grade-Point Average Requirements. A student-athlete who is entering the
   second year of collegiate enrollment shall present a cumulative minimum grade-point average (based on a maximum 4.000)
   that equals at least 90 percent of the institution's overall cumulative grade-point average required for graduation. A student-
   athlete who is entering the third year of collegiate enrollment shall present a cumulative minimum grade-point average
   (based on a maximum of 4.000) that equals 95 percent of the institution's overall cumulative minimum grade-point average
   required for graduation. A student-athlete who is entering the fourth or later year of collegiate enrollment shall present a
   cumulative minimum grade-point average (based on a maximum of 4.000) that equals 100 percent of the institution's
   overall cumulative grade-point average required for graduation. If the institution does not have an overall grade-point
   average required for graduation, it is permissible to use the lowest grade-point average required for any of the institution's
   degree programs in determining the cumulative minimum grade-point average. The minimum grade-point average must be
   computed pursuant to institutional policies applicable to all students. (Adopted: 1/10/92 effective 8/1/92, Revised: 10/31/02
   effective 8/1/03, 4/15/09)
         14.4.3.3.1 Application of Rule to Transfer Student. The provisions of Bylaw 14.4.3.3 shall be applicable to the
         eligibility of a transfer student from a two-year or four-year collegiate institution who has completed an academic term
         of residence at the certifying institution. A student-athlete who attends the certifying institution as a full-time student,
         transfers to another institution and later returns to the original institution is immediately subject to the provisions of
         Bylaw 14.4.3.3 on re-enrollment. (Adopted: 1/10/92 effective 8/1/92, Revised: 1/16/93, 1/9/06 effective 8/1/06, 4/15/09,
         9/24/09)
         14.4.3.3.2 Timing of Certification -- Sports Other Than Men's Wrestling. In sports other than men's
         wrestling, a student-athlete's eligibility under this provision shall be certified by the first date of competition or contest
         of each regular term of an academic year beginning with that student's second or later academic year (third semester or
         fourth quarter) of full-time enrollment (see Bylaw 14.02.12). The certification shall be based on the student-athlete's
         academic record in existence at the beginning of the applicable term. (Adopted: 1/11/94, Revised: 1/10/95, 4/24/03
         effective 8/1/03, 5/9/08, 4/15/09, 10/17/19, 6/30/22 effective 8/1/22)
             14.4.3.3.2.1 Exception -- Baseball. In baseball, a student-athlete who is ineligible under this provision at the
             beginning of an institution's fall term shall not be eligible during the remainder of the academic year. (Adopted:
             4/26/07 effective 8/1/08)
         14.4.3.3.3 Additional Requirement -- Men's Wrestling. In men's wrestling, a student-athlete who has
         completed an academic term in residence at the certifying institution shall present either a cumulative minimum grade-

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         point average or a term minimum grade-point average of at least 2.000. A student-athlete's eligibility under this
         provision shall be certified by the first date of competition or contest of each regular term of an academic year
         beginning with that student-athlete's second term of full-time enrollment. The certification shall be based on the
         student-athlete's record in existence at the beginning of the applicable term. (Adopted: 6/30/22 effective 8/1/22, Revised:
         8/16/22)
   14.4.3.4 Change in Eligibility Status. If a student-athlete's academic eligibility changes at the end of a quarter or
   semester, the student-athlete shall become eligible or ineligible to compete on the date eligibility officially is certified by the
   appropriate institutional authority. In a case in which the student becomes eligible at the end of the term, the earliest date
   on which the student can become eligible to compete is the day after the date of the last scheduled examination listed in the
   institution's official calendar for the term that is ending. In a case in which the student becomes ineligible, the ineligibility
   shall become effective not later than the first day of classes of the following semester or quarter. In any case, if the student-
   athlete is academically eligible to compete at the time of the student-athlete's or the institution's first participation in an
   NCAA championship, the student-athlete shall remain eligible for the remainder of the championship. (Revised: 7/31/14)
         14.4.3.4.1 Certification of Eligibility at the End of the Academic Year. A student-athlete who was ineligible
         to compete during an entire academic year (did not meet progress-toward-degree requirements or was serving a transfer
         year of residence) may not be certified as eligible to compete in the season already in progress (e.g., outdoor track and
         field, baseball) at the end of the academic year. A student-athlete who was eligible for competition at the beginning of
         the academic year but became ineligible at midyear (e.g., due to failure to meet the six-hour requirement) may be
         certified as eligible at the end of the academic year for competition in a season already in progress (e.g., outdoor track
         and field, baseball), provided the student-athlete meets all applicable progress-toward-degree requirements to be eligible
         for competition during the subsequent fall term. (Adopted: 10/4/16)
         14.4.3.4.2 Exception.
             14.4.3.4.2.1 Institutions With Official Posting Date for Grades. An institution whose official posting
             date for grades falls within three days of the first day of classes for the following academic term shall have three
             business days from the official date on which grades must be posted to certify that student-athletes have
             satisfactorily completed at least six semester or six quarter hours of academic credit during the preceding regular
             academic term (see Bylaw 14.4.3.1) and to certify that student-athletes have satisfied the grade-point average
             requirements per Bylaw 14.4.3.3. For those institutions that post grades on a rolling basis, the three-business-day
             period shall begin within the first week of classes. (Adopted: 4/28/05 effective 8/1/05, Revised: 7/31/14)
             14.4.3.4.2.2 Institutions With No Official Posting Date for Grades. An institution whose official
             submission date for grades falls on or after the first day of classes for the following academic term shall have five
             business days from the date on which grades are submitted to certify that student-athletes have satisfactorily
             completed at least six semester or six quarter hours of academic credit during the preceding regular academic term
             (see Bylaw 14.4.3.1) and to certify that student-athletes have maintained grade-point average requirements per
             Bylaw 14.4.3.3. (Adopted: 4/28/05 effective 8/1/05, Revised: 7/31/14)
             14.4.3.4.2.3 Certification of Eligibility. During the three-business-day or five-business day period, a student-
             athlete who is otherwise eligible under NCAA, conference and institutional requirements, shall be permitted to
             compete. If during the exception period, a student-athlete is certified ineligible, the student-athlete shall be
             declared immediately ineligible for competition. If the three-business-day or five-business-day period concludes
             prior to the certification of eligibility for any student-athlete, the student-athlete shall be ineligible until such time
             the student-athlete is declared eligible for competition. (Adopted: 4/28/05 effective 8/1/05, Revised: 7/31/14)
         14.4.3.4.3 Eligibility for Postseason Competition -- Between Terms. To be eligible to compete in a
         postseason event (e.g., conference tournament, bowl game, National Invitation Tournament, NCAA championship)
         that occurs between regular terms (including summer) a student-athlete shall have satisfactorily completed six semester
         or six quarter hours of academic credit during the preceding regular academic term of full-time enrollment (see Bylaws
         14.02.12, 14.4.3.1 and 14.4.3.1.7). (Adopted: 4/28/05 effective 8/1/05, Revised: 12/12/06, 1/8/07 effective 8/1/07,
         4/26/07 effective 8/1/07, 7/31/14, 10/17/19)
             14.4.3.4.3.1 Less Than Full-Time Enrollment. A student-athlete who was enrolled in less than a minimum
             full-time program of studies pursuant to an exception or waiver during the term immediately prior to the
             postseason event is subject to the following requirements: (Adopted: 1/8/07 effective 8/1/07)
              (a) If the student-athlete was enrolled in at least six credit hours, the student-athlete shall have satisfactorily
                  completed six semester or six quarter hours of academic credit; or


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              (b) If the student-athlete was enrolled in fewer than six credit hours, the student-athlete shall have satisfactorily
                  completed the number of semester or quarter hours of academic credit in which the student-athlete was
                  enrolled.
             14.4.3.4.3.2 Timing of Certification. A student-athlete's eligibility under this provision shall be determined
             within 14 business days (see Bylaw 14.02.3) (regardless of the date on which grades are posted or submitted) after
             the date of the last scheduled examination listed in the institution's official calendar for the term that is ending. If
             the postseason event occurs prior to the conclusion of the 14 business days, eligibility shall be determined by using
             grades from the immediately preceding regular academic term (e.g., fall term if certifying for a bowl game),
             provided a sufficient number of grades from the term have been posted. All grades posted in accordance with
             institutional procedures by 5 p.m. local time (where the institution is located) on the day prior to the postseason
             event must be considered. If the postseason event occurs prior to the conclusion of the 14 business days and an
             insufficient number of grades from the immediately preceding term have been posted, eligibility shall be
             determined by using grades from the most recent regular academic term for which a sufficient number of grades
             have been posted. (Adopted: 1/8/07 effective 8/1/07, Revised: 7/31/14)
                  14.4.3.4.3.2.1 Certification for Multiday Events. A student-athlete who is certified eligible for the first
                  day of a multiday event (e.g., conference track and field championship) remains eligible for the entire event
                  regardless of whether additional grades are posted after the certification deadline, provided the event
                  concludes prior to the start of the next regular academic term. If an insufficient number of grades are posted
                  for a student-athlete to be certified eligible based on the immediately preceding term and the student-athlete
                  will participate in another postseason event (e.g., NCAA championship) that occurs during the same period
                  between regular terms, the institution must recertify the student-athlete with grades available by 5 p.m. local
                  time (where the institution is located) on the day prior to the start of the additional postseason event.
                  (Adopted: 10/21/13, Revised: 7/31/14)
         14.4.3.4.4 Eligibility for Postseason Competition -- Postseason Football Bowl Game During an
         Institution's Second Academic Term. [FBS] If an institution is selected to participate in a postseason bowl game
         that will occur during the institution's second regular term (e.g., winter quarter, spring semester) of the academic year,
         a student-athlete's eligibility to compete in the bowl game shall be certified consistent with the standards applicable to
         postseason competition that occurs between terms (see Bylaws 14.4.3.4 and 14.4.3.4.3). However, a student-athlete
         must meet full-time enrollment requirements applicable to term-time competition (see Bylaw 14.2.2). (Adopted:
         4/26/07, Revised: 7/31/14)
   14.4.3.5 Regulations for Administration of Progress Toward Degree.
         14.4.3.5.1 Nontraditional Terms. An institution that determines registration other than on a traditional semester-
         or quarter-hour basis shall submit a statement describing the continuing-eligibility requirements applicable to its
         student-athletes for approval by the Committee on Academics. (Revised: 11/1/07 effective 8/1/08, 8/7/14)
         14.4.3.5.2 Advanced-Placement Tests/Credit by Examination. Credit received through advanced-placement
         tests or by examination before initial full-time enrollment may be used to meet the 24 semester or 36 quarter-hour
         requirement specified in Bylaw 14.4.3.1-(a) and percentage-of-degree requirements specified in Bylaw 14.4.3.2,
         provided the subject for which the examination is an alternative is offered by the institution as acceptable degree
         credit. Credit received after initial full-time enrollment through advanced-placement tests or by examination may be
         used to meet all progress-toward-degree requirements, provided the subject for which the examination is an alternative
         is offered by the institution as acceptable degree credit. (Revised: 10/4/17)
         14.4.3.5.3 Nontraditional Courses From Another Institution. Nontraditional courses (e.g., distance-learning,
         correspondence, extension, Internet/virtual courses, independent study or any other course or credit that is not earned
         in a face-to-face classroom environment with regular interaction between the instructor and the student) completed at
         an institution other than the certifying institution, may be used to meet credit-hour and percentage-of-degree
         requirements, provided the following conditions are met: (Revised: 4/28/11 effective 8/1/11)
         (a) The course is available to any student at the certifying institution;
         (b) The student-athlete enrolls in the course in the same manner as is available to any student; and
         (c) Enrollment in the course occurs within the offering institution's regular enrollment periods (pre-registration or
             drop-add period) in accordance with the institution's academic calendar and applicable policies and procedures.
             14.4.3.5.3.1 Summer Courses. A student-athlete may enroll in a nontraditional course during the certifying
             institution's summer vacation period at a time other than during the offering institution's regular enrollment
             periods for traditional courses and may use credits from such courses to meet the 24 semester or 36 quarter credit-
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             hours requirement and percentage-of-degree requirements, provided the course is completed before the first day of
             the certifying institution's regular fall term. (Adopted: 10/21/13)
         14.4.3.5.4 Remedial, Tutorial or Noncredit Courses. Remedial, tutorial or noncredit courses may be used by
         the student to satisfy the minimum academic progress requirement of Bylaw 14.4.3.1 only if they meet all of the
         following conditions: (Revised: 10/31/02 effective 8/1/03, 3/27/18)
         (a) The courses must be considered by the institution to be prerequisites for specific courses acceptable for any degree
             program;
         (b) The courses must be given the same weight as others in the institution in determining the student's status for full-
             time enrollment;
         (c) Noncredit courses may not exceed the maximum institutional limit for such courses in any baccalaureate degree
             program (or the student's specific baccalaureate degree program once a program has been designated); and
         (d) Credit in such courses shall not exceed six semester or nine quarter hours, and the courses must be taken before the
             start of the student's second year of collegiate enrollment (third semester, fourth quarter).
         14.4.3.5.5 Incomplete Grades. A student who receives an incomplete grade in a course may use the course in
         question to fulfill the minimum progress-toward-degree requirements, subject to the following conditions:
         (a) The incomplete grade must have been removed in accordance with the institution's regulations applicable to all
             students;
         (b) Such a course may be counted only once after a grade has been achieved that is acceptable to the institution for
             determining progress toward degree; and
         (c) The course with the acceptable grade shall be counted either during the term in which the student initially enrolled
             in the course or during the term in which the incomplete grade was removed and acceptable credit was awarded.
             14.4.3.5.5.1 Summer Courses -- Credit-Hour Requirements. If a student enrolls in a summer course but
             completes the course during the regular academic year, for purposes of Bylaws 14.4.3.1 and 14.4.3.1.6, credit for
             the course must be counted in the summer term of initial enrollment in the course. (Adopted: 3/27/18)
         14.4.3.5.6 Repeated Courses. Credit for courses that are repeated may be used by a student to satisfy the
         minimum academic progress requirements only under the following conditions: (Revised: 3/27/18)
         (a) A course repeated due to an unsatisfactory initial grade (as determined by the institution's regulations applicable to
             all students) may be used only once, and only after it has been satisfactorily completed;
         (b) Credit for a course for which credit is given only once may not be used in the term in which the course is repeated
             if the same grade is received as was received for the course in a previous term;
         (c) Credit for a course for which credit may be earned more than once (e.g., a physical education activities course)
             shall be limited by institutional regulations; and
         (d) Credits earned in courses for which credit may be earned more than once may not exceed the maximum
             institutional limit for credits of that type for any baccalaureate degree program (or for the student’s specific
             baccalaureate degree program once a program has been designated).
         14.4.3.5.7 Credit From Other Institutions.
             14.4.3.5.7.1 Before Initial Full-Time Enrollment. Credit hours earned before initial full-time enrollment
             may be used to fulfill the 24 semester or 36 quarter-hours requirement specified in Bylaw 14.4.3.1-(a) and the
             percentage-of-degree requirements specified in Bylaw 14.4.3.2. (Revised: 1/16/93, 10/31/02 effective 8/1/03, 4/5/06,
             7/27/16)
             14.4.3.5.7.2 Concurrent Enrollment. Credit hours earned from a traditional course during a regular term at
             another institution while enrolled as a full-time student at the certifying institution may be used to satisfy
             progress-toward-degree requirements specified in Bylaws 14.4.3.1 and 14.4.3.2 (see Bylaw 14.4.3.5.3). Such
             credits may be used to meet the requirements of Bylaws 14.4.3.1-(b) and 14.4.3.1-(c), provided: (Revised: 7/27/16)
              (a) The course is available to any student at the certifying institution;
              (b) The student-athlete enrolls in the course in the same manner as is available to any student; and
              (c) Enrollment in the course occurs within the offering institution's regular enrollment periods (preregistration or
                  drop/add period) in accordance with the institution's academic calendar and applicable policies and
                  procedures.


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         14.4.3.5.8 Cooperative Educational Work Experience and Study-Abroad Programs. A student-athlete
         shall not be required to complete six semester or six quarter hours of academic credit during a regular academic term or
         terms of full-time enrollment in a cooperative educational work experience program (e.g., co-op, internship, practicum,
         student-teaching) or an institutionally approved study-abroad program. (Adopted: 4/29/04, Revised: 10/8/10)
   14.4.3.6 Exceptions to Progress-Toward-Degree Rule. The following provisions are exceptions to the progress-
   toward-degree rule: (Revised: 1/10/90, 1/10/92, 1/9/96, 10/31/02 effective 8/1/03, 4/24/03 effective after the 2003 fall term,
   4/29/04, 8/25/04, 4/28/05 effective 8/1/05, 1/9/06 effective 8/1/06, 5/28/09, 4/26/17 effective 8/1/17, 3/27/18, 1/5/21)
    (a) Missed Term. One time during a student-athlete's entire period of collegiate enrollment, the provisions of Bylaw
        14.4.3.1-(b) may be prorated at nine hours per term of actual attendance if the student-athlete misses a complete term
        or consecutive terms during an academic year, subject to the following conditions:
         (1) The student-athlete did not attend class during a regular academic term while enrolled in a full-time program of
             studies;
         (2) The student-athlete engaged in no outside competition in the sport during the academic term or terms in which
             the student was not in attendance; and
         (3) At the time of certification, the student has fulfilled the progress-toward-degree requirements (per Bylaw 14.4.3.1)
             for the terms in which the student was in attendance.
   A transfer student from a two-year college is not eligible to use this one-time exception during the first academic year of
   residence at the certifying institution in order to maintain eligibility during the second year of residence. Hours earned
   while enrolled as a part-time student during the "missed term" may be used to satisfy the 24/36 hour [see Bylaw 14.4.3.1-
   (a)], percentage-of-degree (see Bylaw 14.4.3.2) and grade-point average requirements (see Bylaw 14.4.3.3).
    (b) Nonrecruited, Nonparticipant. A student-athlete may qualify for an exception to the application of the progress-
        toward-degree regulation for the initial season of eligibility if the student was not recruited by the certifying institution;
        has never received athletically related financial assistance; has never practiced or participated in intercollegiate athletics,
        except that a student may have participated in limited preseason tryouts; and is otherwise eligible under all
        institutional, conference and NCAA rules. The student-athlete's eligibility in following seasons would be governed by
        the provisions of the progress-toward-degree rule, which would be applied from the beginning of the first term the
        student began participation. This exception shall not apply to the percentage-of-degree (see Bylaw 14.4.3.2) and
        minimum grade-point average (see Bylaw 14.4.3.3) requirements.
    (c) Graduate Student Exception. A graduate student-athlete who is otherwise eligible for regular-season competition
        shall be exempt from the provisions of this regulation, except the student-athlete shall successfully complete a
        minimum of six semester or quarter hours of academic credit from course work that meets graduate program
        requirements during each regular academic term in which the student is enrolled full time as a graduate student. A
        graduate student-athlete who is enrolled in a specific degree program must earn six hours of academic credit applicable
        toward the designated degree program. (See Bylaw 14.6.)
    (d) Postbaccalaureate Exception. A student-athlete who graduates and enrolls in a second baccalaureate degree or is
        taking course work that would lead to the equivalent of another major or degree who is otherwise eligible for regular-
        season competition shall be exempt from the provisions of this regulation, except the student-athlete shall successfully
        complete a minimum of six semester or quarter hours of academic credit during each regular academic term in which
        the student is enrolled full time. A student-athlete who is enrolled in a specific degree program must earn six hours of
        academic credit applicable toward the designated degree program. (See Bylaw 14.6.)
    (e) Cooperative Educational Work Experience and Study Abroad Programs. The provisions of Bylaw 14.4.3.1-
        (b) may be prorated at nine hours for each term the student-athlete is enrolled in a cooperative educational work
        experience (e.g., co-op, internship, practicum, student teaching) or an institutionally approved study-abroad program,
        subject to the following conditions:
         (1) The institution considers the student-athlete to be a full-time student while participating in the cooperative
             educational work experience or study-abroad program;
         (2) The student-athlete satisfactorily completes the cooperative educational work experience or study-abroad program;
             and
         (3) At the time of certification, the student-athlete has fulfilled the progress-toward-degree requirements (per Bylaw
             14.4.3) for the terms in which the student-athlete has been in regular full-time attendance.
   14.4.3.7 Waivers of Progress-Toward-Degree Rule. The Division I Progress-Toward-Degree Waivers Committee
   shall establish appropriate criteria for waivers of this legislation. The following waivers shall be administered by the

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    conference members of the Association or, in the case of an independent institution, by the Division I Progress-Toward-
    Degree Waivers Committee. (Revised: 1/9/96, 10/28/97, 4/27/00, 10/31/02 effective 8/1/03, 3/10/04, 4/28/05, 1/17/09
    effective 8/1/09, 1/14/12, 5/22/13, 3/27/18, 1/22/20, 1/22/20)
     (a) Medical Absence. The credit hours required under the progress-toward-degree regulation of Bylaws 14.4.3.1-(b),
         14.4.3.1-(c), 14.4.3.1.6 and 14.4.3.6-(c) may be prorated at nine hours per term of actual attendance during an
         academic year in which a student misses a term or is unable to complete a term as a full-time student as a result of an
         injury or illness. Such an exception may be granted only when circumstances clearly supported by appropriate medical
         documentation establish that a student-athlete is unable to attend a collegiate institution as a full-time student as a
         result of an incapacitating physical injury or illness involving the student-athlete or a member of the student-athlete's
         immediate family. Credits earned by the student during the term to which the waiver applies may be used to satisfy the
         24/36 hour [see Bylaw 14.4.3.1-(a)], percentage-of-degree (see Bylaw 14.4.3.2) and grade-point average requirements
         (see Bylaw 14.4.3.3). However, a term to which a medical absence waiver applies does not count as a term of full-time
         enrollment for purposes of the 24/36 credit-hour requirement, percentage-of-degree requirements or grade-point
         average requirements.
     (b) International Competition. The credit hours required under the progress-toward-degree regulation of Bylaws
         14.4.3.1 and 14.4.3.6-(c) may be prorated at nine hours per term of actual attendance during an academic year in
         which a student is not enrolled for a term or terms or is unable to complete a term as a full-time student as a result of
         participation in the Pan American Games, Parapan American Games, Olympic Games, Paralympic Games, World
         Championships, World Cup, FIFA U-20 World Cup, World University Games (Universiade) or World University
         Championships (including final tryouts and the officially recognized training program that directly qualifies
         participants for those tryouts). This waiver provision may be applied to not more than two semesters or three quarters.
         Credits earned by the student during the term or terms to which the waiver applies may be used to satisfy the 24-/36-
         hour [see Bylaw 14.4.3.1-(a)], percentage-of-degree (see Bylaw 14.4.3.2) and grade-point average requirements (see
         Bylaw 14.4.3.3). However, a term to which an international competition waiver applies does not count as a term of
         full-time enrollment for purposes of the 24/36 credit-hour requirement, percentage-of-degree requirements or grade-
         point average requirements.
    14.4.3.8 Waiver -- Olympic or Paralympic Games. The Division I Progress-Toward-Degree Waivers Committee may
    waive this general progress-toward-degree requirement for any participant in the Olympic or Paralympic Games, who
    because of such participation, may lose eligibility for practice and competition in any sport. (Adopted: 10/31/02 effective
    8/1/03, Revised: 1/22/20)
    14.4.3.9 Waiver -- Student-Athletes With Education-Impacting Disabilities. The Division I Progress-Toward-
    Degree Waivers Committee (see Bylaw 21.10.5.2) may waive the general progress-toward-degree requirements for a
    student-athlete when objective evidence demonstrates that the institution has defined full-time enrollment for that student-
    athlete to be less than 12 hours to accommodate for the student's education-impacting disability. (Adopted: 10/31/02
    effective 8/1/03, Revised: 8/7/08)
    14.4.3.10 Additional Progress-Toward-Degree Waivers. The Division I Progress-Toward-Degree Waivers
    Committee (see Bylaw 21.10.5.2) shall have the authority to waive all other progress-toward-degree requirements based on
    objective evidence that demonstrates circumstances that warrant the waiver of the normal application of those regulations.
    The committee shall establish the process for granting such waivers and shall report annually to the Committee on
    Academics and to the membership the actions taken in summary, aggregate form. (Adopted: 1/9/96 effective 8/1/96, Revised:
    10/28/97, 11/1/07 effective 8/1/08, 1/16/10 effective 5/1/10, 8/7/14)
14.5 Transfer Regulations.
14.5.1 Residence Requirement -- General Principle. A student who transfers (see Bylaw 14.5.2) to a member
institution from any collegiate institution is required to complete one full academic year of residence (see Bylaw 14.02.11) at the
certifying institution before being eligible to compete, unless the student satisfies the applicable transfer requirements or qualifies
for an exception as set forth in this bylaw. (Revised: 1/10/91 effective 8/1/91, 4/27/00 effective 8/1/01, 5/19/08, 6/24/09, 4/14/10,
8/3/22)
    14.5.1.1 Fulfillment of Residence Requirement in Night School. When a student transfers to a member
    institution and is required to fulfill a residence requirement before being eligible to participate in competition, it is
    permissible for the transfer student to meet the requirement by attending an institution's night school, provided the
    following conditions are met:
     (a) The night school has regular terms (semesters or quarters) that are the same as the institution's day school;
     (b) The student is enrolled in a minimum full-time program of studies during each night term counted; and
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     (c) The student is considered by the institution to be a regularly matriculated student in each term.
    14.5.1.2 Disciplinary Suspension. A student who transfers to any NCAA institution from a collegiate institution while
    the student is disqualified or suspended from the previous institution (as opposed to one of the institution's teams) for
    disciplinary reasons (as opposed to academic reasons) must complete one calendar year of residence at the certifying
    institution. (Revised: 1/14/97 effective 8/1/97, 10/4/17)
    14.5.1.3 Outside Competition -- Not a Qualifier. A two-year college transfer student who is not a qualifier and does
    not meet the applicable transfer requirements may participate in the institution's intramural program (provided the
    intramural team is not coached by a member of the institution's athletics department staff), but such an individual is not
    permitted to practice or compete on an institution's club team or an outside sports team during the first academic year of
    residence. A four-year college transfer student who is not a qualifier and who has not completed an academic year of
    residence may participate in the institution's intramural program (provided the intramural team is not coached by a
    member of the institution's athletics department staff), but such an individual is not permitted to practice or compete on an
    institution's club team or an outside sports team during the first academic year of residence. (Adopted: 1/14/97, Revised:
    1/3/06)
    14.5.1.4 Eligibility for Championship in Progress. A transfer student shall be eligible for any NCAA championship
    that is in progress after a full calendar year has elapsed and at the time the student has completed two full semesters or three
    full quarters of academic work.
    14.5.1.5 Foreign Institution Transfers. A transfer student from a foreign collegiate institution (college, university or
    two-year college), except one entering as a bona fide exchange student, shall comply with the one-year residence
    requirement set forth in Bylaw 14.5.5.1.
         14.5.1.5.1 Bona Fide International Exchange Student Exception. A bona fide international exchange student
         is an individual who is sponsored by the government of the student's nation, or is sponsored by the U.S. Department
         of State, Rotary International, the Ford Foundation, the Institute of International Education or a similar organization.
         For a student to be considered a bona fide exchange student, the sponsoring organization shall identify the student
         prior to the student's departure from the student's home country and make the necessary arrangements to finance the
         student's education under the international exchange program. If these arrangements have not been completed before
         the student's enrollment at the certifying institution, the student is considered to be a transfer student and may not
         represent the institution in competition until the individual has met the required residence requirement.
14.5.2 Conditions Affecting Transfer Status. A transfer student is an individual who transfers from a collegiate
institution after having met any one of the following conditions at that institution: (Adopted: 1/10/90, Revised: 4/26/01, 4/14/03,
6/26/19 effective 8/1/19 applicable to full time enrollment in a regular term on or after 8/1/19)
 (a) The student attended a class or classes in any quarter or semester in which the student was enrolled in a minimum full-time
     program of studies, even if the enrollment was on a provisional basis and the student was later determined by the institution
     not to be admissible;
 (b) The student is or was enrolled in an institution in a minimum full-time program of studies in a night school that is
     considered to have regular terms (semesters or quarters) the same as the institution's day school, and the student is or was
     considered by the institution to be a regularly matriculated student;
 (c) The student attended a branch school that does not conduct an intercollegiate athletics program, but the student had been
     enrolled in another collegiate institution prior to attendance at the branch school;
 (d) The student attended a branch school that conducted an intercollegiate athletics program and transfers to an institution
     other than the parent institution;
 (e) The student reported for a regular squad practice (including practice or conditioning activities that occur prior to
     certification per Bylaws 14.3.5.1 and 14.5.4.6.7), announced by the institution through any member of its athletics
     department staff, prior to the beginning of any quarter or semester, as certified by the athletics director. Participation only
     in picture-day activities would not constitute "regular practice";
 (f) The student participated in practice or competed in a given sport even though the student was enrolled in less than a
     minimum full-time program of studies; or
 (g) The student received institutional financial aid while attending a summer term, summer school or summer-orientation
     program (see Bylaws 15.2.8.1.3 and 15.2.8.1.4). A recruited student who receives institutional aid pursuant to Bylaw
     15.2.8.1.4 is subject to the transfer provisions, except that a prospective student-athlete (recruited or nonrecruited) who is
     denied admission to the institution for full-time enrollment shall be permitted to enroll at another institution without being
     considered a transfer student.

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14.5.3 Conditions Not Constituting Transfer Status. Unless otherwise covered by conditions set forth in Bylaw
14.5.2, a student-athlete is not considered a transfer under the following enrollment conditions:
    14.5.3.1 Summer School, Extension Courses or Night School. The student has been enrolled in or attended classes
    only in a summer school, extension course or night school, unless the night school is considered by the institution to be a
    regular term (semester or quarter) the same as its day school, the student is enrolled for a minimum full-time load in this
    regular night term, and the student is considered by the institution to be a regularly enrolled student.
    14.5.3.2 Prospective Student-Athlete Attending Summer School Prior to Initial Full-Time Enrollment. A
    prospective student-athlete receiving financial aid to attend summer school prior to initial full-time enrollment who is
    denied admission to the institution for full-time enrollment. (Adopted: 4/26/01)
    14.5.3.3 Branch School. The student has been enrolled in or attended classes only in a branch school, provided the
    branch school does not conduct an intercollegiate athletics program. If the branch school conducts an intercollegiate
    athletics program, the student shall not be considered a transfer only upon enrollment at the parent institution directly from
    the branch school. (For definition of "branch school," see Bylaw 14.02.2.)
    14.5.3.4 Second Campus of Institution. The student is in residence at an institution's campus that is not in the same
    city as the institution's main campus, provided the campus at which the student is in residence does not conduct an
    intercollegiate athletics program, classes on the campus are taught by the same instructors who teach classes on the main
    campus, the credits received by all class enrollees are considered as regular credits by the institution's main campus, and the
    degrees awarded to all students come from the institution's main campus.
    14.5.3.5 Academic Exchange Program. The student participates in a regular academic exchange program between two
    four-year institutions that requires a participant to complete a specified period of time at each institution, and the program
    provides for the student-athlete to receive at least two baccalaureate or equivalent degrees at the conclusion of this joint
    academic program.
14.5.4 Two-Year College Transfers. A student who transfers to a member institution from a two-year college or from a
branch school that conducts an intercollegiate athletics program must complete an academic year of residence unless the student
meets the following eligibility requirements. (Revised: 1/19/92, 4/14/10)
    14.5.4.1 Qualifier. A transfer student from a two-year college who was a qualifier (per Bylaw 14.3.1.1) is eligible for
    competition in the first academic year of residence if the student meets the requirements for a nonqualifier to be eligible for
    competition (per Bylaw 14.5.4.2.1) or: (Revised: 4/24/03 effective 8/1/03, 10/27/11 effective 8/1/12 for student-athletes initially
    enrolling full time in a collegiate institution on or after 8/1/12, 6/28/17 effective 8/1/17 for certifications of eligibility for fall
    2017 and after)
     (a) Has spent at least one full-time semester or one full-time quarter of residence at the two-year college (excluding summer
         sessions);
     (b) Has presented a minimum grade-point average of 2.500 (see Bylaw 14.5.4.6.3.2); and
     (c) Has satisfactorily completed an average of at least 12-semester or quarter hours of transferable-degree credit acceptable
         toward any baccalaureate degree program at the certifying institution for each full-time academic term of attendance at
         the two-year college.
         14.5.4.1.1 Baseball, Basketball and Softball -- Midyear Enrollee. In baseball, basketball and softball, a
         qualifier who satisfies the provisions of Bylaw 14.5.4.1, but initially enrolls at the certifying institution as a full-time
         student after the conclusion of the institution's first term of the academic year, shall not be eligible for competition
         until the ensuing academic year. (Adopted: 4/27/00 effective 8/1/01, Revised: 3/10/04, 4/26/07 effective 8/1/08, 1/12/23
         effective 8/1/23)
    14.5.4.2 Nonqualifier.
         14.5.4.2.1 Eligibility for Financial Aid, Practice and Competition. A transfer student from a two-year college
         who was a nonqualifier (per Bylaw 14.3.2.1) is eligible for institutional financial aid, practice and competition during
         the first academic year of residence only if the student: (Revised: 8/2/12 effective 8/1/16 for students initially enrolling full
         time in a collegiate institution on or after 8/1/16, 1/22/20 effective 8/1/20 for incoming two-year college transfer student-
         athletes initially enrolling full-time at the certifying institution on or after 8/1/20)
          (a) Has graduated from the two-year college;
          (b) Has completed satisfactorily a minimum of 48 semester or 72 quarter hours of transferable-degree credit
              acceptable toward any baccalaureate degree program at the certifying institution, including six-semester or eight-
              quarter hours of transferable English credit, three semester or four quarter hours of transferable math or

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             quantitative reasoning (or equivalent math/quantitative reasoning) credit and three semester or four quarter hours
             of transferable natural/physical science credit;
         (c) Has attended a two-year college as a full-time student for at least three semesters or four quarters (excluding
             summer terms); and
         (d) Has achieved a cumulative grade-point average of 2.500 (see Bylaw 14.5.4.6.3.2).
         14.5.4.2.2 Eligibility for Financial Aid and Practice. A transfer student from a two-year college who was a
         nonqualifier (per Bylaw 14.3.2.1) is eligible for institutional financial aid and practice during the first academic year of
         residence only if the student: (Adopted: 10/27/11 effective 8/1/12, Revised: 8/2/12 effective 8/1/16, 1/22/20 effective 8/1/20
         for incoming two-year college transfer student-athletes initially enrolling full-time at the certifying institution on or after
         8/1/20)
         (a) Has graduated from the two-year college;
         (b) Has completed satisfactorily a minimum of 48 semester or 72 quarter hours of transferable-degree credit
             acceptable toward any baccalaureate degree program at the certifying institution, including six semester or eight
             quarter hours of transferable English credit, three semester or four quarter hours of transferable math or
             quantitative reasoning (or equivalent math/quantitative reasoning) credit and three semester or four quarter hours
             of transferable natural/physical science credit;
         (c) Has attended a two-year college as a full-time student for at least three semesters or four quarters (excluding
             summer terms); and
         (d) Has achieved a minimum cumulative grade-point average of 2.000 (see Bylaw 14.5.4.6.3.2).
         14.5.4.2.3 Use of Hours Earned During Summer Terms. Not more than a total of 18 semester or 27 quarter
         hours of the transferable-degree credit may be earned during summer terms, and not more than nine semester or 13.5
         quarter hours of the transferable-degree credit may be earned during the summer term(s) immediately prior to the
         academic year in which the transfer occurs (including a midyear transfer). (Adopted: 1/9/96 effective 8/1/97, Revised:
         10/4/17)
         14.5.4.2.4 Three-Semester/Four-Quarter Attendance Requirement. A student-athlete is not permitted to
         satisfy the three-semester/four-quarter attendance requirement during one academic year. (Adopted: 6/8/99)
         14.5.4.2.5 Baseball, Basketball and Softball -- Midyear Enrollee. In baseball, basketball and softball, a
         student who was not a qualifier (per Bylaw 14.3.1.1) who satisfies the provisions of Bylaw 14.5.4.2, but initially enrolls
         at a certifying institution as a full-time student after the conclusion of the institution's first term of the academic year,
         shall not be eligible for competition until the ensuing academic year. (Adopted: 4/27/00 effective 8/1/01, Revised:
         3/10/04, 6/1/06, 4/26/07 effective 8/1/08, 1/12/23 effective 8/1/23)
   14.5.4.3 Academic Redshirt. A transfer student from a two-year college who was an academic redshirt (per Bylaw
   14.3.1.2) is eligible for competition during the first academic year of residence only if the student: (Adopted: 8/1/12 effective
   8/1/16, Revised: 1/22/20 effective 8/1/20 for incoming two-year college transfer student-athletes initially enrolling full-time at the
   certifying institution on or after 8/1/20)
    (a) Has graduated from the two-year college;
    (b) Has completed satisfactorily a minimum of 48 semester or 72 quarter hours of transferable-degree credit acceptable
        toward any baccalaureate degree program at the certifying institution, including six semester or eight quarter hours of
        transferable English credit, three semester or four quarter hours of transferable math or quantitative reasoning (or
        equivalent math/quantitative reasoning) credit and three semester or four quarter hours of transferable natural/physical
        science credit;
    (c) Has attended a two-year college as a full-time student for at least three semesters or four quarters (excluding summer
        terms); and
    (d) Has achieved a cumulative grade-point average of 2.500 (see Bylaw 14.5.4.6.3.2).
         14.5.4.3.1 Use of Hours Earned During Summer Term. Not more than a total of 18 semester or 27 quarter
         hours of the transferable-degree credit may be earned during summer terms, and not more than nine semester or 13.5
         quarter hours of the transferable-degree credit may be earned during the summer term(s) immediately prior to
         the academic year in which the transfer occurs (including a midyear transfer). (Adopted: 8/2/12 effective 8/1/16 for
         students initially enrolling full time in a collegiate institution on or after 8/1/16, Revised: 10/4/17)




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         14.5.4.3.2 Three-Semester/Four-Quarter Attendance Requirement. A student-athlete is not permitted to
         satisfy the three-semester/four-quarter attendance requirement during one academic year. (Adopted: 8/2/12 effective
         8/1/16 for students initially enrolling full time in a collegiate institution on or after 8/1/16)
         14.5.4.3.3 Baseball, Basketball and Softball -- Midyear Enrollee. In baseball, basketball and softball, a
         student who was an academic redshirt (per Bylaw 14.3.1.2) who satisfies the provisions of Bylaw 14.5.4.3 but initially
         enrolls at the certifying institution as a full-time student after the conclusion of the institution’s first term of the
         academic year, shall not be eligible for competition until the ensuing academic year. (Adopted: 8/2/12 effective 8/1/16 for
         students initially enrolling full time in a collegiate institution on or after 8/1/16, Revised: 1/12/23 effective 8/1/23)
   14.5.4.4 Status as Nonqualifier. A prospective student-athlete who does not graduate from high school before
   enrolling as a regular student in a two-year college may not transfer work back to the high school, graduate from the high
   school and establish initial eligibility at a member institution on the basis of the revised high school record. Such a student
   is considered to be a two-year college transfer who was a nonqualifier.
   14.5.4.5 Status of Nonqualifier, Nonrecruited. A two-year college student-athlete who transferred to a Division I
   institution without meeting the requirements of Bylaw 14.5.4.2 shall not be eligible for regular-season competition and
   practice during the first academic year of residence. However, such a student who was not recruited per Bylaw 13.02.15.1
   and for whom admission and financial aid were granted without regard to athletics ability shall be eligible for nonathletics
   institutional financial aid. (Revised: 1/23/19)
   14.5.4.6 Two-Year College Transfer Regulations. The following regulations shall be applied in administering the
   eligibility requirements for two-year college transfers.
         14.5.4.6.1 Multiple Two-Year Colleges. If a student-athlete has been in residence at two or more two-year
         colleges, the terms of residence at all two-year colleges may be combined in order to satisfy the residence requirement.
         All grades and all course credits that are transferable from the two-year colleges to the certifying institution shall be
         considered in determining the student-athlete's eligibility under Bylaw 14.5 (see also Bylaw 14.5.6). In addition, at
         least 25 percent of the credit hours used to fulfill the student's academic degree requirements must be earned at the
         two-year college that awards the degree. (Revised: 1/11/94)
         14.5.4.6.2 Credit Earned at Four-Year Institution. If a student-athlete attends a two-year college and, prior to
         regular enrollment at a member institution, attains additional credits as a part-time student in a four-year collegiate
         institution, the hours accumulated at the four-year institution may be used by the member institution in determining
         the student-athlete's eligibility under the two-year college transfer provisions, provided: (Revised: 4/28/14)
         (a) The hours are accepted by the two-year college and are placed on the transcript by the two-year college from which
             the student-athlete transfers prior to the date of initial regular enrollment at the NCAA member institution; or
         (b) The hours are accepted by the two-year college and are placed on any other official document (other than the
             student's transcript) used by the two-year college for this purpose prior to the date of initial regular enrollment at
             the NCAA member institution. Such a document must include the official seal of the two-year college, be signed
             by the appropriate academic official of the two-year college and be forwarded directly from the two-year college to
             the appropriate admissions official of the certifying institution.
         14.5.4.6.3 Determination of Transferable Degree Credit. For the purpose of determining transferable degree
         credit, the institution may count those courses accepted as degree credit in any of its colleges, schools or departments.
             14.5.4.6.3.1 Transferable Credit, Unacceptable Grade. Credit hours for courses with grades not
             considered acceptable for transferable degree credit for all students at an institution shall not be counted in
             determining whether the transfer requirement for total number of hours is satisfied.
             14.5.4.6.3.2 Calculation of Grade-Point Average for Transferable Credit. Grades earned in all courses
             that are normally transferable to an institution shall be considered in determining the qualitative grade-point
             average for meeting transfer requirements, regardless of the grade earned or whether such grade makes the course
             unacceptable for transferable degree credit. Only the last grade earned in a course that has been repeated shall be
             included in the grade-point-average calculation.
         14.5.4.6.4 Use of Physical Education Activity Courses. Not more than two credit hours of physical education
         activity courses may be used to fulfill the transferable-degree credit and grade-point average requirements. However, a
         student-athlete enrolling in a physical education degree program or a degree program in education that requires
         physical education activity courses may use up to the minimum number of credits of physical education activity courses
         that are required for the specific degree program to fulfill the transferable-degree credit and grade-point average
         requirements. Additional credit hours of physical education activity courses may not be used to fulfill elective
         requirements. (Adopted: 1/16/10 effective 8/1/10, Revised: 4/13/10, 10/27/11 effective 8/1/12)
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         14.5.4.6.5 Degree Requirement. In order to satisfy the two-year-college graduation requirement for eligibility
         immediately upon transfer from a two-year college to a member institution, a student-athlete must receive an associate
         or equivalent degree in an academic or technical, rather than a vocational, curriculum. The Progress-Toward-Degree
         Waivers Committee (see Bylaw 21.10.5.2) shall have the authority to determine whether a two-year college degree is
         academic or technical, rather than vocational, in nature. (Revised: 1/10/95, 1/12/99 effective 8/1/99, 11/1/07 effective
         8/1/08, 1/16/10 effective 5/1/10)
         14.5.4.6.6 Transfer to Four-Year College Prior to Completion of Requirements. The requirements set forth
         in Bylaw 14.5.4 must be met prior to a student-athlete's transfer to the certifying institution. Thus, if a two-year
         college student transfers (as defined in Bylaw 14.5.2) to a member institution prior to the completion of applicable
         transfer requirements, the student is subject to the one-year residence requirement at the certifying institution, even
         though the student transfers back to the two-year college and completes the necessary requirements.
         14.5.4.6.7 Participation Prior to Certification. If a two-year college transfer student reports for athletics
         participation or initial enrollment at the certifying institution before the student's high school or two-year college
         academic record has been certified, the student may practice, but not compete, during a 45-day period, provided the
         student meets all other requirements to be eligible to practice. An institution may provide athletically related financial
         aid to the student during this period, provided the student meets all other requirements to receive athletically related
         financial aid. After the 45-day period, the student shall have established minimum requirements as a transfer student to
         continue practicing, to continue receiving athletically related financial aid or to compete. (Adopted: 1/10/90, Revised:
         9/18/07, 1/19/13 effective 8/1/13, 6/30/22 effective 8/1/22)
         14.5.4.6.8 Competition in Year of Transfer. A transfer student from a two-year institution, who has met the
         two-year transfer eligibility requirements per Bylaw 14.5.4, is not eligible to compete at the certifying institution
         during the segment that concludes with the NCAA championship if the student-athlete has competed at the two-year
         college during that segment of the same academic year in that sport. (Revised: 1/11/94, 4/29/04 effective 8/1/04)
   14.5.4.7 Exceptions for Transfers From Two-Year Colleges. A transfer student from a two-year college or from a
   branch school that conducts an intercollegiate athletics program is not subject to the residence requirement at the certifying
   institution if any one of the following conditions is met. An individual who is not a qualifier shall not be permitted to use
   the exceptions under this bylaw. (Revised: 4/27/06)
         14.5.4.7.1 Discontinued/Nonsponsored Sport Exception. The student changed institutions in order to
         continue participation in a sport because the student's original two-year college dropped the sport from its
         intercollegiate program (even though it may subsequently establish that sport on a club basis) or never sponsored the
         sport on the intercollegiate level while the student was in attendance at that institution, provided the student never
         transferred (see Bylaw 14.5.2) from any other collegiate institution that offered intercollegiate competition in that
         sport while the student was in attendance and the student earned at least a minimum 2.500 grade-point average (see
         Bylaw 14.5.4.6.3.2) at the two-year college. (Revised: 1/11/89, 1/10/90, 10/27/11 effective 8/1/12 for student-athletes
         initially enrolling full time in a collegiate institution on or after 8/1/12, 10/4/17)
             14.5.4.7.1.1 Original Collegiate Institution. In applying this provision for an exception to the residence
             requirement, the original collegiate institution shall be the two-year college in which the student was enrolled
             immediately prior to the transfer to the certifying institution, provided that, if the student is transferring from a
             two-year college that never sponsored the sport on the intercollegiate level, the student never shall have transferred
             from any other collegiate institution that offered intercollegiate competition in that sport while the student was in
             attendance. (Revised: 10/4/17)
         14.5.4.7.2 Two-Year Nonparticipation or Minimal Participation Exception. The student transfers to the
         certifying institution from a two-year college and, for a consecutive two-year period immediately before the date on
         which the student begins participation (practice and/or competition), the student has neither engaged in intercollegiate
         competition nor engaged in other countable athletically related activities in the involved sport in intercollegiate
         athletics beyond a 14 consecutive-day period, and has neither practiced with a noncollegiate amateur team nor engaged
         in organized noncollegiate amateur competition while enrolled as a full-time student in a collegiate institution. The 14
         consecutive-day period begins with the date on which the student-athlete first engages in any countable athletically
         related activity (see Bylaw 17.02.1). The two-year period does not include any period of time before the student's
         initial collegiate enrollment. (Adopted: 1/9/06 effective 8/1/06, Revised: 5/9/06)
   14.5.4.8 Submission of Information Necessary to Determine Academic Initial-Eligibility Status. An
   institution shall ensure submission of all necessary information (e.g., high school transcripts, test scores) to the NCAA
   Eligibility Center to determine the academic initial-eligibility status of a two-year college transfer student-athlete prior to
   the end of the student-athlete's first regular academic term of full-time enrollment at the institution. If a two-year college
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    transfer student-athlete is added to an institution's squad list after the end of the first regular academic term of full-time
    enrollment at the institution, the institution shall ensure submission of all necessary information (e.g., high school
    transcripts, test scores) to the NCAA Eligibility Center to determine academic initial-eligibility status prior to end of the
    academic year in which the student-athlete is added to the squad list. The necessary information may be submitted through
    official or unofficial transcripts or test-score reports. [D] (Adopted: 4/30/09 effective 8/1/10 for two-year college transfer
    student-athletes who initially enroll full time at the certifying institution on or after 8/1/10)
         14.5.4.8.1 Waiver. The Committee on Academics may waive the requirements of this legislation based on objective
         evidence that demonstrates circumstances for which a waiver is warranted. The Committee on Academics shall
         establish the process for reviewing such waiver requests. (Adopted: 4/30/09 effective 8/1/10 for two-year college transfer
         student-athletes who initially enroll full time at the certifying institution on or after 8/1/10, Revised: 8/7/14)
    14.5.4.9 Waivers. The Division I Progress-Toward-Degree Waivers Committee (see Bylaw 21.10.5.2) shall have the
    authority to waive all two-year college transfer requirements based on objective evidence that demonstrates circumstances
    that warrant the waiver of the normal application of those regulations. The Progress-Toward-Degree Waivers Committee
    shall establish the process for granting such waivers and shall report annually to the Committee on Academics and to the
    membership the actions taken in summary aggregate form. (Adopted: 10/27/11 effective 4/1/12, Revised: 8/7/14)
14.5.5 Four-Year College Transfers. See Bylaw 13.1.1.3 for the prohibition against contacting student-athletes of
another four-year collegiate institution without first obtaining authorization through the notification of transfer process.
    14.5.5.1 General Rule. A transfer student from a four-year institution shall not be eligible for intercollegiate competition
    at a member institution until the student has fulfilled a residence requirement of one full academic year (two full semesters
    or three full quarters) at the certifying institution. (Revised: 1/10/91 effective 8/1/91, 4/14/10)
         14.5.5.1.1 Attendance for One Academic Year. A transfer student from a four-year institution who attended a
         four-year institution at least one academic year shall be eligible for financial aid (see Bylaw 14.5.4.4) and practice at a
         member institution under the rules of the institution and the conference of which the institution is a member,
         regardless of the student's qualification status (per Bylaw 14.3.1.1) at the time of initial enrollment. (Revised: 1/9/06
         effective 8/1/07)
         14.5.5.1.2 Attendance for Less Than One Academic Year. A transfer student from a four-year institution who
         was not a qualifier (see Bylaw 14.02.10) and who attended a four-year institution less than one full academic year shall
         not be eligible for competition during the first academic year of attendance at the certifying institution. Participation in
         practice sessions and the receipt of financial aid during the first academic year of attendance at the certifying institution
         by such students is governed by the provisions of Bylaw 14.3.2.1 (see Bylaw 14.5.5.4). (Revised: 1/3/06, 1/9/06 effective
         8/1/07)
         14.5.5.1.3 Competition on a Foreign Tour. See Bylaw 17.32.1.4 for exceptions to allow a transfer student-athlete
         who is subject to the residence requirement to participate in competition on a foreign tour. (Adopted: 4/26/17)
    14.5.5.2 Exceptions for Transfers From Four-Year Colleges. A transfer student (other than one under disciplinary
    suspension per Bylaw 14.5.1.2) from a four-year collegiate institution is not subject to the residence requirement for
    intercollegiate competition, provided the student met the notification of transfer requirements per Bylaw 13.1.1.3.1, does
    not have an unfulfilled residence requirement at the institution from which the student is transferring (except for the return
    to original institution without participation or with minimal participation exception) and any of the following exceptions is
    satisfied. During the student-athlete's first academic year of full-time collegiate enrollment, such conditions may serve as a
    basis for an exception to the residence requirement only for transfer students who, at the time of initial collegiate
    enrollment, met the requirements for qualifiers (set forth in Bylaw 14.3.1) in Division I. (Revised: 1/10/90, 1/10/91 effective
    8/1/91, 4/27/00 effective 8/1/01, 3/10/04, 5/19/08, 6/24/09, 9/15/22 effective 8/31/22 applicable to transfer student-athletes
    seeking eligibility during the 2023-24 academic year and thereafter)
         14.5.5.2.1 Educational Exchange Exception. The student returns to the student's original institution under any
         of the following conditions:
         (a) After participation in a cooperative educational exchange program, provided the student is to receive a
             baccalaureate degree from the institution from which the student transferred to participate in the exchange
             program;
         (b) After one semester or quarter of attendance at another institution for purposes of taking academic courses not
             available at the original institution, regardless of whether they are required in the degree program the student-
             athlete is pursuing at the first institution. In such an instance, the student also may take additional courses that
             were available at the first institution; or


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         (c) After one academic year of attendance at another collegiate institution, in accordance with the program
             recommended by the appropriate academic officer at the original institution, provided the student was in good
             academic standing at the time the student left the original institution.
         14.5.5.2.2 Exchange Student Exception. The student is enrolled in the certifying institution for a specified
         period of time as a bona fide exchange student participating in a formal educational exchange program that is an
         established requirement of the student-athlete's curriculum. (Revised: 1/11/89, 1/10/92)
         14.5.5.2.3 Discontinued Academic Program Exception. The student changed institutions in order to continue
         a major course of study because the original institution discontinued the academic program in the student’s major.
         (Revised: 4/27/00)
         14.5.5.2.4 International Student Program Exception. The individual is an international student who is
         required to transfer (one or more times) because of a study program predetermined by the government of the student's
         nation or the sponsoring educational organization.
         14.5.5.2.5 Military Service Exception. The student returns from at least 12 months of active service in the armed
         forces of the United States. (Revised: 1/9/06, 1/17/09 effective 8/1/09)
             14.5.5.2.5.1 Collegiate Enrollment Concurrent With Military Service. The amount of time that an
             individual is enrolled as a regular student in a collegiate institution while concurrently on active military duty may
             not be counted as a part of the 12-month active-duty period that qualifies a student for an exception to the
             transfer-residence requirement. (Revised: 1/9/06, 1/17/09 effective 8/1/09)
         14.5.5.2.6 Discontinued/Nonsponsored Sport Exception. In a particular sport when the student transfers at
         any time to the certifying institution and participates in the sport on the intercollegiate level after any of the following
         conditions has occurred: (Revised: 3/10/04, 10/4/17)
         (a) The student's original four-year collegiate institution dropped (or has publicly announced it will drop) the sport
             (in which the student has practiced or competed at that institution in intercollegiate competition) from its
             intercollegiate program while the student was in attendance at the institution; or
         (b) The student's original four-year collegiate institution reclassified (or has publicly announced it will reclassify) the
             sport (in which the student has practiced or competed at that institution in intercollegiate competition) from
             Division I to Division III status while the student was in attendance at the institution, and the student
             subsequently had not competed in that sport on the Division III level; or
         (c) The student's original four-year collegiate institution never sponsored the sport on the intercollegiate level while
             the student was in attendance at the institution, provided the student had never transferred (see Bylaw 14.5.2)
             from any other collegiate institution that offered intercollegiate competition in that particular sport while the
             student was in attendance.
             14.5.5.2.6.1 Original Institution. In applying this provision for an exception to the residence requirement,
             the original collegiate institution shall be the one in which the student was enrolled immediately prior to transfer
             to the certifying institution, it being understood that, if the student is transferring from an institution that never
             sponsored the sport on the intercollegiate level, the student never shall have transferred from any other collegiate
             institution that offered intercollegiate competition in that sport while the student was in attendance. (Revised:
             10/4/17)
         14.5.5.2.7 Two-Year Nonparticipation or Minimal Participation Exception. The student transfers to the
         certifying institution from another four-year college and, for a consecutive two-year period immediately before the date
         on which the student begins participation (practice and/or competition), the student has neither engaged in
         intercollegiate competition nor engaged in other countable athletically related activities in the involved sport in
         intercollegiate athletics beyond a 14-consecutive-day period, and has neither practiced with a noncollegiate amateur
         team nor engaged in organized noncollegiate amateur competition while enrolled as a full-time student in a collegiate
         institution. The 14-consecutive-day period begins with the date on which the student-athlete first engages in any
         countable athletically related activity (see Bylaw 17.02.1). The two-year period does not include any period of time
         before the student's initial collegiate enrollment. (Revised: 1/10/95, 1/9/06)
         14.5.5.2.8 Return to Original Institution Without Participation or With Minimal Participation
         Exception. The student transfers to a second four-year collegiate institution, does not compete at the second
         institution and does not engage in other countable athletically related activities in the involved sport at the second
         institution beyond a 14-consecutive-day period and returns to the original institution. The 14-consecutive-day period
         begins with the date on which the student-athlete first engages in any countable athletically related activity (see Bylaw

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         17.02.1). A student may use this exception even if the student has an unfulfilled residence requirement at the
         institution from which the student is transferring. (Revised: 3/10/04, 1/9/06)
         14.5.5.2.9 Nonrecruited or Nonscholarship Student Exception. The student transfers to the certifying
         institution and either of the following conditions are met: (Revised: 1/9/06, 5/1/19 effective 8/1/19)
         (a) The student-athlete's previous institution does not provide athletically related financial aid in the sport and the
             student-athlete was not recruited by the previous institution (per Bylaw 13.02.15.1); or
         (b) The student-athlete's previous institution provides athletically related financial aid in the sport and no athletically
             related financial aid was received by the student-athlete.
         14.5.5.2.10 One-Time Transfer Exception. The student transfers to the certifying institution from another four-
         year collegiate institution, and all the following conditions are met (for postgraduate students, see Bylaw 14.6.1):
         (Revised: 1/16/93 effective 8/1/93, 1/11/94, 1/10/95, 1/9/96, 1/11/97, 11/1/00 effective 8/1/01, 4/26/01, 4/28/05 effective
         8/1/05, 4/27/06 effective 10/15/06, 12/15/06, 4/27/07 effective 8/1/08, 4/29/10 effective 8/1/10, 4/22/11, 4/28/21
         applicable to transfer student-athletes seeking eligibility during the 2021-22 academic year and thereafter, 8/31/22 applicable
         to transfer student-athletes seeking eligibility during the 2023-24 academic year and thereafter, 9/21/22, 10/5/22, 2/2/23
         effective 2/27/23)
         (a) The student has not transferred previously from one four-year institution unless, in the previous transfer, the
             student-athlete received an exception per Bylaw 14.5.5.2.6 (discontinued/nonsponsored sport exception);
         (b) At the time of transfer to the certifying institution (see Bylaw 14.5.2), the student would have been academically
             eligible had the student remained at the institution from which the student transferred, except that the student is
             not required to have fulfilled the necessary percentage-of-degree requirements at the previous institution;
         (c) The head coach of the certifying institution and the student shall certify that no athletics staff member or other
             representative of the institution’s athletics interest communicated or made contact with the student-athlete, or any
             individual associated with the student (e.g., family member, scholastic or nonscholastic coach, advisor), directly or
             indirectly, without first obtaining authorization through the notification of transfer process (see Bylaw 13.1.1.3);
             and
         (d) An undergraduate student must have provided written notification of transfer to the institution during a period
             specified for the applicable sport in Bylaw 13.1.1.3.1-(a) through (d) (see Figure 13-1), unless the student-athlete
             met an exception per Bylaw 13.1.1.3.1.1 or transferred from a non-Division I four-year collegiate institution (e.g.,
             Division II, NAIA, foreign collegiate institution); and
         (e) A student-athlete who will participate as postgraduate student at another institution must provide written
             notification of transfer to the institution by the following dates:
              (1) Fall and winter sports: May 1, or by the end of the final period specified for the applicable sport in Bylaw
                  13.1.1.3.1, whichever occurs later.
              (2) Spring sports: July 1, or by the end of the final period specified for the applicable sport in Bylaw 13.1.1.3.1,
                  whichever occurs later.
             14.5.5.2.10.1 Exceptions to Notification of Transfer Dates -- Postgraduate Student-Athletes.
                  14.5.5.2.10.1.1 Fall and Winter Sports. A student-athlete who participates in a fall or winter sport may
                  provide written notification of transfer after May 1, or by the end of the final period specified for the
                  applicable sport in Bylaw 13.1.1.3.1, whichever occurs later, if either of the following occur on or before July
                  1 of the same academic year: (Adopted: 9/21/22, Revised: 10/5/22)
                   (a) The student-athlete's athletics aid is reduced, canceled or not renewed (except as permitted per Bylaws
                       15.3.4.2 or 15.3.5.1); or
                   (b) The head coach of the student-athlete's team departs or announces departure from the institution.
                  14.5.5.2.10.1.2 Midyear Enrollees. A student-athlete who will enroll as a postgraduate student at
                  another Division I institution at midyear is not required to have provided notification of transfer to the
                  institution by the notification deadline in the previous academic year. (Adopted: 9/21/22)
         14.5.5.2.11 Head Coach Departure Prior to Initial Full-Time Enrollment Exception. The student transfers
         to the certifying institution from another four-year institution and the following conditions are met: (Adopted: 5/1/19
         effective 8/1/19)
         (a) The student has not previously enrolled as a full-time student in a regular term (semester or quarter) of a collegiate
             institution (see Bylaw 12.8.1.1); and
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          (b) The head coach at the student's previous institution left the institution after the student met a condition affecting
              transfer status (see Bylaw 14.5.2) and before the start of the next regular academic term (e.g., fall semester).
    14.5.5.3 Competition in Year of Transfer. A transfer student from a four-year institution who has received a waiver of
    or qualifies for an exception to the transfer residence requirement (per Bylaw 14.5.5.2) shall not be eligible for competition
    in which the student-athlete's performance could be used for NCAA championship qualification or consideration if the
    student-athlete participated in competition at the previous four-year institution in the same sport in which the student-
    athlete's performance could have been used for NCAA championship qualification or consideration. (Adopted: 1/10/95
    effective 8/1/95, Revised: 1/14/97 effective 8/1/97, 4/29/04 effective 8/1/04, 5/1/19 effective 8/1/19)
         14.5.5.3.1 Receipt of Athletically Related Financial Aid in Year of Transfer -- Tennis. In tennis, in
         addition to the application of Bylaw 14.5.5.3, a transfer student from a four-year institution who enrolls at the
         certifying institution as a full-time student after the conclusion of the first term of the academic year and qualifies for
         an exception to the one-year residence requirement shall not be eligible for competition until the following academic
         year if the student has received athletically related financial aid during the same academic year from the previous four-
         year institution. (Adopted: 1/17/09 effective 8/1/10, Revised: 1/16/10 effective 8/1/10, 5/1/19 effective 8/1/19)
    14.5.5.4 Eligibility for Institutional Athletically Related Financial Aid. A transfer student from a four-year
    institution may receive institutional athletically related financial aid during the first academic year at the certifying
    institution only if the student-athlete would have been academically eligible to compete during the next regular academic
    term had the student-athlete remained at the previous institution. A student-athlete who transfers from a four-year
    institution to a two-year institution and then to the certifying institution shall complete at least one regular academic term
    of enrollment at the two-year institution to be eligible for institutional athletically related financial aid at the certifying
    institution. (Adopted: 1/9/06 effective 8/1/07, Revised: 1/8/07 effective 8/1/07)
         14.5.5.4.1 Exceptions. A four-year transfer student-athlete may receive institutional athletically related financial aid
         during the first academic year at the certifying institution, provided: (Adopted: 9/18/07)
          (a) The student-athlete transferred from a four-year institution that did not sponsor the student-athlete's sport on the
              intercollegiate level while the student-athlete was in attendance and the student-athlete did not previously transfer
              from any other collegiate institution that offered intercollegiate competition in the sport; or
          (b) The student-athlete has not participated in intercollegiate competition and has not engaged in other countable
              athletically related activities in the sport beyond a 14-consecutive-day period.
    14.5.5.5 Baseball, Basketball and Softball -- Midyear Enrollee. In baseball, basketball and softball, a student-
    athlete who initially enrolls at the certifying institution as a full-time student after the conclusion of the first term of the
    academic year and qualifies for an exception to the one-year residence requirement shall not be eligible for competition
    until the ensuing academic year. (See Bylaw 14.6.1.1 for the application to graduate transfer student-athletes.) (Adopted:
    6/24/09, Revised: 4/26/17 effective 8/1/17, 1/12/23 effective 8/1/23)
         14.5.5.5.1 Return to Original Institution -- Baseball and Softball. In baseball and softball, a midyear four-
         year college transfer student who qualifies for the return-to-original institution exception (see Bylaw 14.5.5.2.8) to the
         transfer residence requirement is not eligible for competition until the ensuing academic year. (Adopted: 6/24/09,
         Revised: 1/12/23 effective 8/1/23)
         14.5.5.5.2 Return to Original Institution -- Basketball. In basketball, a midyear four-year college transfer
         student who qualifies for the return-to-the original institution exception (see Bylaw 14.5.5.2.8) to the transfer residence
         requirement is not subject to the restriction in Bylaw 14.5.5.5. (Adopted: 6/24/09)
14.5.6 4-2-4 College Transfers. A student who transfers from a four-year college to a two-year college and then to the
certifying institution shall complete one academic year of residence at the certifying institution prior to engaging in
intercollegiate competition, unless: (Revised: 1/10/90, 2/16/00, 1/9/06 effective 8/1/06, 10/27/11 effective 8/1/12, 3/27/18)
 (a) The student has completed an average of at least 12 semester or quarter hours of transferable-degree credit, with a
     cumulative minimum grade-point average of 2.500 (see Bylaw 14.5.4.6.3.2), acceptable toward any baccalaureate degree
     program at the certifying institution for each term of full-time attendance at the two-year college following transfer from
     the four-year college most recently attended;
 (b) One calendar year has elapsed since the student's departure from the previous four-year college (one year since the date that
     the student-athlete takes formal action with the appropriate institutional authorities required for all students to indicate that
     the student-athlete is leaving the previous four-year institution and no longer will be attending classes); and
 (c) The student has graduated from the two-year college.


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   14.5.6.1 Exceptions. A "4-2-4" transfer student who does not meet the requirements of Bylaw 14.5.6 is not subject to
   the residence requirement for intercollegiate competition if any of the following conditions are met: (Adopted: 1/11/89,
   Revised: 9/8/07, 10/27/11 effective 8/1/12 for student-athletes initially enrolling full time in a collegiate institution on or after
   8/1/12)
    (a) The student returns to the four-year college from which the student transferred to the two-year college, provided the
        student did not have an unfulfilled residence requirement at the time of the transfer from the four-year college. The
        amount of time originally spent in residence at the first four-year college may be used by the student in completing the
        unfulfilled residence requirement at that institution;
    (b) The student initially was enrolled in a four-year collegiate institution that never sponsored the student's sport on the
        intercollegiate level while the student was in attendance at the institution (provided the student never had attended any
        other four-year collegiate institution that offered intercollegiate competition in that particular sport) and provided the
        student was a qualifier and satisfactorily completed an average of at least 12 semester or quarter hours of transferable-
        degree credit acceptable toward any baccalaureate degree program at the certifying institution during each academic
        term of attendance with a cumulative minimum grade-point average of 2.500 (see Bylaw 14.5.4.6.3.2), and spent at
        least two semesters or three quarters of residence at the two-year college (excluding summer sessions); or
    (c) The student qualifies for an exception to the two-year college transfer requirements (see Bylaw 14.5.4.7) and qualifies
        for the same exception to the four-year college transfer residence requirement (see Bylaw 14.5.5.2).
   14.5.6.2 Additional Transferable Degree Credit Requirements for Academic Redshirts and Nonqualifiers.
   A student who was not a qualifier shall have satisfactorily completed a minimum of six semesters or eight quarter hours of
   transferable English credit, three semester or four quarter hours of transferable math credit and three semester or four
   quarter hours of transferable natural/physical science credit. Remedial English, math and natural/physical science courses
   may not be used to satisfy this requirement. The student may use transferable English, math and natural/physical science
   credits earned while enrolled at a previous four-year college to meet these requirements. (Adopted: 10/27/11 effective 8/1/12
   for student-athletes initially enrolling full time in a collegiate institution on or after 8/1/12, Revised: 5/16/18)
   14.5.6.3 Multiple Two-Year Colleges. If a student-athlete has been in residence at two or more two-year colleges
   following transfer from the four-year collegiate institution most recently attended, all grades and all course credits that are
   transferable from the two-year colleges to the certifying institution shall be considered in determining the student-athlete's
   eligibility under Bylaw 14.5.6-(a). In addition, at least 25 percent of the credit hours used to fulfill the student's academic
   degree requirements must be earned at the two-year college that awards the degree. (Adopted: 3/27/18)
   14.5.6.4 Use of Physical Education Activity Courses. Not more than two credit hours of physical education activity
   courses may be used to fulfill the transferable-degree credit and grade-point average requirements. However, a student-
   athlete enrolling in a physical education degree program or a degree program in education that requires physical education
   activity courses may use up to the minimum number of credits of physical education activity courses that are required for
   the specific degree program to fulfill the transferable-degree credit and grade-point average requirements. Additional credit
   hours of physical education activity courses may not be used to fulfill elective requirements. (Adopted: 1/16/10 effective
   8/1/10, Revised: 4/13/10, 10/27/11 effective 8/1/12)
   14.5.6.5 Baseball, Basketball and Softball -- Midyear Enrollee. In baseball, basketball and softball, a student who
   satisfies the provisions of Bylaw 14.5.6, but initially enrolls at a certifying institution as a full-time student after the
   conclusion of the institution's first term of the academic year, shall not be eligible for competition until the ensuing
   academic year. (Revised: 3/10/04, 4/26/07 effective 8/1/08, 1/12/23 effective 8/1/23)
         14.5.6.5.1 Return to Original Institution -- Baseball and Softball. In baseball and softball, a midyear 4-2-4
         transfer student who qualifies for the return-to-original institution exception [see Bylaw 14.5.6.1-(a)] to the transfer
         residence requirement is not eligible for competition until the ensuing academic year. (Adopted: 6/24/09, Revised:
         1/12/23 effective 8/1/23)
         14.5.6.5.2 Return to Original Institution -- Basketball. In basketball, a midyear 4-2-4 transfer student who
         qualifies for the return-to-original institution exception [see Bylaw 14.5.6.1-(a)] to the transfer residence requirement is
         not subject to the restriction in Bylaw 14.5.6.5. (Adopted: 6/24/09)
   14.5.6.6 Calendar-Year Time Lapse. It is not required that the calendar year specified in Bylaw 14.5.6 elapse prior to
   the student's initial enrollment as a regular student in the second four-year institution, but the calendar year must elapse
   before the student represents the certifying institution in intercollegiate competition. However, the student-athlete shall be
   eligible on the first day of classes or on the date of the first scheduled intercollegiate contest that falls earlier than the first
   day of classes in the regular academic term in which the student would become eligible, provided the student has fulfilled
   the one-academic-year requirement.

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     14.5.6.7 Transfer Prior to Completion of Requirements. All transfer requirements set forth in Bylaw 14.5.6, except
     the calendar-year time-lapse requirement (see Bylaw 14.5.6.6), must be met prior to the student-athlete's transfer to the
     certifying institution. Thus, if a student-athlete transfers from a four-year institution to a two-year college and, prior to
     completing the applicable transfer requirements, transfers to a member institution, the student-athlete shall be subject to the
     one-year residence requirement, even though during the course of that one-year residence at the certifying institution, the
     student-athlete may complete the necessary requirements.
     14.5.6.8 Eligibility for Institutional Athletically Related Financial Aid. A student-athlete who transfers from a
     four-year institution to a two-year institution and then to the certifying institution shall complete at least one regular
     academic term of enrollment at the two-year institution to be eligible for institutional athletically related financial aid at the
     certifying institution. (See Bylaw 14.5.5.4.) (Adopted: 1/8/07 effective 8/1/07)
     14.5.6.9 Submission of Information Necessary to Determine Academic Initial-Eligibility Status. An
     institution shall ensure submission of all necessary information (e.g., high school transcripts, test scores) to the NCAA
     Eligibility Center to determine the academic initial-eligibility status of a 4-2-4 transfer student-athlete prior to the end of
     the student-athlete's first regular academic term of full-time enrollment at the institution. If a 4-2-4 transfer student-athlete
     is added to an institution's squad list after the end of the first regular academic term of full-time enrollment at the
     institution, the institution shall ensure submission of all necessary information (e.g., high school transcripts, test scores) to
     the NCAA Eligibility Center to determine academic initial-eligibility status prior to the end of the academic year in which
     the student-athlete is added to the squad list. The necessary information may be submitted through official or unofficial
     transcripts or test-score reports. [D] (Adopted: 4/30/09 effective 8/1/10)
          14.5.6.9.1 Waiver. The Committee on Academics may waive the requirements of this legislation based on objective
          evidence that demonstrates circumstances for which a waiver is warranted. The Committee on Academics shall
          establish the process for reviewing such waiver requests. (Adopted: 4/30/09 effective 8/1/10, Revised: 8/7/14)
     14.5.6.10 Waivers. The Division I Progress-Toward-Degree Waivers Committee (see Bylaw 21.10.5.2) shall have the
     authority to waive all two-year college transfer requirements based on objective evidence that demonstrates circumstances
     that warrant the waiver of the normal application of those regulations. The Progress-Toward-Degree Waivers Committee
     shall establish the process for granting such waivers and shall report annually to the Committee on Academics and to the
     membership the actions taken in summary aggregate form. (Adopted: 10/27/11 effective 4/1/12, Revised: 8/7/14)
14.6 Graduate Student/Postbaccalaureate Participation. A student-athlete who is enrolled in a
graduate or professional school of the same institution from which the student-athlete previously received a baccalaureate degree,
a student-athlete who is enrolled and seeking a second baccalaureate or equivalent degree at the same institution, or a student-
athlete who has graduated and is continuing as a full-time student at the same institution while taking course work that would
lead to the equivalent of another major or degree as defined and documented by the institution, may participate in
intercollegiate athletics, provided the student has eligibility remaining and such participation occurs within the applicable five-
year period set forth in Bylaw 12.8 (see Bylaw 14.2.2.1.5). (Revised: 1/10/90, 1/16/93 effective 8/1/93, 7/31/14)
14.6.1 Postgraduate Transfer Exceptions. A student-athlete who is enrolled in an institution other than the institution
from which the student-athlete previously received a baccalaureate degree and is enrolled in a graduate or professional school, is
seeking a second baccalaureate or equivalent degree, or is enrolled as a full-time student while taking course work that would
lead to the equivalent of a major or degree may participate in intercollegiate athletics if the student-athlete fulfills the conditions
of an exception for transfers from four-year colleges set forth in Bylaw 14.5.5.2. (Adopted: 1/8/96 effective 7/31/96, Revised:
4/26/06, 1/5/07 effective 7/31/07, 4/27/11 effective 7/31/11, 7/30/14, 4/19/19, 4/29/20 effective 8/1/20 for a student-athlete who
initially enrolls full time at the certifying institution on or after 8/1/20, 4/28/21 applicable to transfer student-athletes seeking eligibility
during the 2021-22 academic year, 5/19/22 effective 8/1/22)
     14.6.1.1 Baseball, Basketball and Softball -- Midyear Enrollee. In baseball, basketball and softball, a graduate
     transfer student-athlete who initially enrolls at the certifying institution as a full-time student after the conclusion of the
     first term of the academic year and qualifies for an exception for transfers from four-year colleges may be immediately
     eligible for competition, provided the student-athlete satisfies all other applicable eligibility requirements. (Adopted: 4/26/17
     effective 8/1/17, Revised: 5/19/22 effective 8/1/22, 1/12/23 effective 8/1/23)
14.6.2 International Student Exception. The remaining eligibility of a student who has received a foreign postsecondary
degree that is identified as a "baccalaureate" but is not equivalent to a U.S. baccalaureate and who is entering an undergraduate
program must be reviewed on a case-by-case basis by the International-Student Records Committee. (Adopted: 1/16/93, Revised:
11/1/07 effective 8/1/08, 7/31/14)
14.6.3 Eligibility Following Final Term. A student-athlete who is eligible during the term in which degree work is
completed (or is eligible as a graduate, per Bylaw 14.6) remains eligible for practice, regular-season competition that occurs after

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the term and any postseason event that begins within 60 days after the end of the term [including an academic year interim term
(e.g., mini-term, J-term)] in which the student completes the requirements for the degree (or graduate eligibility). A student-
athlete who attends a quarter-system institution and who graduates at the end of the winter quarter may compete in any
postseason event (and preceding regular-season competition) that occurs during the same academic year following the
completion of the winter quarter. (Revised: 1/16/93, 1/10/95, 2/1/05, 11/1/07 effective 8/1/08, 1/14/12, 8/21/12, 7/31/14,
3/27/18)
14.6.4 Disciplinary Suspension. A graduate student who transfers to the certifying institution while disqualified or
suspended from the previous institution for disciplinary reasons (as opposed to academic reasons) must complete one calendar
year of residence at the certifying institution before the student may be eligible for competition. (Adopted: 4/15/14, Revised:
7/31/14)
14.7 Additional Waivers for Eligibility Requirements. Conditions under which exceptions are
permitted or waivers may be granted to specific eligibility requirements in this bylaw are noted in other sections of this bylaw.
(Revised: 11/1/07 effective 8/1/08)
14.7.1 Academic and General Requirements Waivers. The Committee on Academics may waive academic eligibility
requirements under the following conditions or circumstances: (Revised: 11/1/07 effective 8/1/08, 8/7/14)
 (a) For student-athletes in times of national emergency;
 (b) For member institutions that have instituted a trimester or other accelerated academic program, provided any member
     institution applying for a waiver shall demonstrate a reasonable need for such waiver. Further, no waiver shall be granted
     that permits a student-athlete to compete in more than the maximum permissible number of seasons of intercollegiate
     competition (see Bylaw 12.8). Under the waiver allowed, if a student in an accelerated academic program completes the
     requirements for a degree before completing eligibility, the student may participate in competition that begins within 90
     days after completion of the requirements for the degree; and
 (c) For institutions that have suffered extraordinary personnel losses from one or more of their intercollegiate athletics teams
     due to accident or illness of a disastrous nature.
14.7.2 Residence Requirement Waivers. The Committee for Legislative Relief may waive the one-year residence
requirement for student-athletes under the following conditions or circumstances: (Revised: 1/10/92, 1/16/93 effective 1/1/94,
1/9/06 effective 8/1/06, 11/1/07 effective 8/1/08, 1/19/13, 8/7/14, 10/4/17, 8/8/18 effective 8/1/19, 12/20/18, 8/31/22 effective
1/1/23, 6/28/23)
 (a) For a student-athlete who transfers to a member institution after loss of eligibility due to a violation of the regulation
     prohibiting pay for participation in intercollegiate athletics (see Bylaw 12.1.2); a violation of recruiting regulations (see
     Bylaw 13.01.1); or for a student-athlete who transfers to a Division I institution after loss of eligibility due to involvement
     in a violation of the freshman or transfer eligibility requirements for financial aid, practice and competition set forth in
     Bylaws 14.3.1, 14.5.4, 14.5.5 and 14.5.6. These requirements may be waived only on a determination of the innocence or
     inadvertent involvement of the student-athlete in the violation;
 (b) On the recommendation of the Committee on Infractions, for a student-athlete who transfers to a member institution to
     continue the student-athlete's opportunity for full participation in a sport because the student-athlete's original institution
     was placed on probation by the NCAA with sanctions that would preclude the institution's team in that sport from
     participating in postseason competition during all of the remaining seasons of the student-athlete's eligibility (see also Bylaw
     13.1.1.3.5); and
 (c) On the recommendation of the Committee on Academics, for a student-athlete who transfers to a member institution to
     continue the student-athlete's opportunity for full participation in a sport because the student-athlete's original institution
     is ineligible for postseason competition, pursuant to the Academic Performance Program, that would preclude the
     institution's team in that sport from participating in postseason competition during all of the remaining seasons of the
     student-athlete's eligibility, provided the student-athlete would have been academically eligible had the student-athlete
     remained at the original institution (see also Bylaw 13.1.1.3.6).
14.8 Academic Performance Program.
14.8.1 Penalties, Rewards and Access to Postseason Competition.
    14.8.1.1 Penalties. The Committee on Academics shall notify an institution or team when it fails to satisfy the
    appropriate academic standards as outlined in the academic performance program. The institution shall then apply the
    applicable penalty pursuant to the policies of the academic performance program. (Adopted: 4/29/04 effective 8/1/04, Revised:
    7/31/13, 8/7/14)

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         14.8.1.1.1 Determination of Penalties. The Committee on Academics shall apply multiple levels of analysis
         when identifying those institutions or teams that fail to satisfy the academic performance program. The Committee on
         Academics shall publish annually to the Division I membership the standards for determining unsatisfactory
         performance under the academic performance program. An institution or team may be required to apply penalties for
         failing to meet the identified review factors, as determined by the committee’s policies and procedures. (Adopted:
         4/29/04 effective 8/1/04, Revised: 8/6/09, 7/31/13, 8/7/14)
         14.8.1.1.2 Appeal Opportunity. An institution or team may appeal the application of penalties to the Committee
         on Academics, as specified by the committee’s policies and procedures. (Adopted: 6/29/16)
         14.8.1.1.3 Monitoring Period. An institution or team that receives penalties must satisfy the identified review
         factors, as determined by the committee’s policies and procedures, for three consecutive years before it is released from
         being subject to additional penalties. (Adopted: 6/29/16)
    14.8.1.2 Access to Postseason Competition. An institution or team that fails to satisfy the academic performance
    program shall be ineligible for any postseason competition, as specified in the policies and procedures of the academic
    performance program. (Adopted: 10/27/11 applicable to penalties assessed for the 2012-13 academic year and beyond, Revised:
    7/31/13)
         14.8.1.2.1 Determining Access to Postseason Competition. The Committee on Academics shall apply
         multiple levels of analysis to identify institutions or teams that are ineligible for postseason competition. The
         Committee on Academics shall publish annually to the Division I membership the standards for determining
         ineligibility for postseason competition under the academic performance program. (Adopted: 10/27/11 applicable to
         penalties assessed for the 2012-13 academic year and beyond, Revised: 7/31/13, 8/7/14)
         14.8.1.2.2 Individual Sports. A student-athlete who is a member of an individual sport team (see Bylaw
         17.02.18.2) that is ineligible for postseason competition pursuant to Bylaw 14.8.1.2 shall not participate in postseason
         competition, including NCAA championships, as an individual (see Bylaw 14.4). (Adopted: 10/27/11 applicable to
         penalties assessed for the 2012-13 academic year and beyond, Revised: 7/31/13)
         14.8.1.2.3 Appeal Opportunity. An institution or team may appeal the application of postseason ineligibility to
         the Committee on Academics, as specified in the committee's policies and procedures. (Adopted: 10/27/11 applicable to
         penalties assessed for the 2012-13 academic year and beyond, Revised: 7/31/13, 8/7/14)
14.8.2 Appeal Procedures. An institution or team subject to penalty (or penalties) due to its failure to satisfy the
appropriate standards of the academic performance program may appeal the application of such penalty (or penalties) to the
Committee on Academics, as specified by the committee’s policies and procedures. (Adopted: 4/29/04, Revised: 10/27/11
applicable to penalties assessed for the 2012-13 academic year and beyond, 7/31/13, 8/7/14)
    14.8.2.1 Authority and Duties of Committee. The Committee on Academics shall act on appeals from institutions or
    teams subject to penalty (or penalties) pursuant to the legislation and the standards and procedures of the academic
    performance program published to the membership on an annual basis. The committee’s determination shall be final,
    binding and conclusive and shall not be subject to further review by any other authority unless otherwise specified in this
    bylaw (see Bylaw 14.8.2.2). (Adopted: 4/29/04, Revised: 7/31/13, 8/7/14)
14.8.3 Establishment and Revision of Academic Performance Policies and Procedures.
    14.8.3.1 Amendment of Policies and Procedures. The Committee on Academics may establish or amend the
    policies and procedures of the academic performance program. The Board of Directors, at its discretion, may review, amend
    and/or act on any academic performance program policy adopted by the Committee on Academics. (Revised: 11/1/07
    effective 8/1/08, 7/31/13, 8/7/14, 11/5/14)
         14.8.3.1.1 Notification to Membership. The Committee on Academics shall notify the membership of any
         changes to the policies and procedures of the academic performance program. (Adopted: 4/29/04, Revised: 7/31/13,
         8/7/14)
14.8.4 Institutional Staff Member Responsibility -- Academic Performance Program. An institutional staff
member shall not knowingly submit erroneous material information to the academic performance program. (Adopted: 4/28/16
effective 8/1/16)
14.9 Academic Integrity.
14.9.1 General Principle. All institutional staff members and student-athletes are expected to act with honesty and integrity
in all academic matters. (Adopted: 10/27/21)
14.9.2 Definitions.

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    14.9.2.1 Institutional Staff Member. For purposes of Bylaw 14.9, an institutional staff member is any individual,
    excluding a student employee, who performs work for the institution or the athletics department, regardless of whether the
    individual receives compensation for such work. (Adopted: 10/27/21)
         14.9.2.1.1 Student Employee. For purposes of Bylaw 14.9, a student employee is an institutional staff member if:
         (Adopted: 10/27/21)
          (a) The individual has institutional responsibilities to provide academic services to student-athletes; or
          (b) The individual engages in an academic integrity violation at the direction of a nonstudent employee, a student
              employee who has institutional responsibilities to provide academic services to student-athletes or a representative
              of the institution's athletics interests.
14.9.3 Pre-Enrollment Academic Integrity. A prospective student-athlete, student-athlete, representative of an
institution's athletics interests or a current or former institutional staff member shall not: (Adopted: 10/27/21)
 (a) Arrange for a false or inaccurate academic record (e.g., courses, grades, credits, transcripts, test scores) for a prospective
     student-athlete; or
 (b) Provide false, inaccurate or incomplete information to the NCAA or an institution regarding a prospective student-athlete's
     academic record.
14.9.4 Post-Enrollment Academic Integrity.
    14.9.4.1 Policies and Procedures, Investigation and Adjudication. An institution must: (Adopted: 4/28/16
    effective 8/1/16, Revised: 10/27/21)
     (a) Have written institutional policies and procedures regarding violations or breaches of an institutional policy regarding
         academic honesty or integrity applicable to the general student body, including student-athletes. The policies and
         procedures must be approved through the institution's normal process for approving such policies and must be kept on
         file or be accessible on the institution's website; and
     (b) Investigate and adjudicate an alleged violation or breach of an institutional policy regarding academic honesty or
         integrity in accordance with established policies .
         14.9.4.1.1 Expedited Review. An institution may establish a policy that permits an expedited investigation and
         adjudication of an alleged academic violation by a student-athlete, provided other applicable policies and procedures
         are observed and the policy for expedited review is approved through the institution's normal process for approving
         such policies and is approved by the institution's president or chancellor (or designee). Further, the policy that permits
         an expedited review must be kept on file or must be accessible on the institution's website. (Adopted: 4/28/16 effective
         8/1/16, Revised: 10/27/21)
    14.9.4.2 Prohibited Conduct -- Student-Athlete. A student-athlete shall not be involved in a violation or breach of
    an institutional policy regarding academic honesty or integrity: (Adopted: 4/28/16 effective 8/1/16, Revised: 10/27/21)
     (a) Involving the alteration or falsification of a student-athlete's transcript or academic record;
     (b) Involving a current or former institutional staff member or representative of an institution's athletics interests; or
     (c) Without the involvement of a current or former institutional staff member or representative of an institution's athletics
         interests, that results in:
          (1) An erroneous declaration of eligibility to participate in intercollegiate athletics and the student-athlete
             subsequently competes for the institution while ineligible;
          (2) An erroneous declaration of eligibility to receive financial aid and the student-athlete subsequently receives
              financial aid while ineligible; or
          (3) The erroneous awarding of an Academic Progress Rate point.
    14.9.4.3 Prohibited Conduct -- Institutional Staff Member or Representative of Athletics Interests. A
    current or former institutional staff member or a representative of an institution's athletics interests shall not be involved
    (with or without the knowledge of the student-athlete) in: (Adopted: 4/28/16 effective 8/1/16, Revised: 10/27/21)
     (a) A violation or breach of an institutional policy regarding academic honesty or integrity related to a student-athlete;
     (b) The alteration or falsification of a student-athlete's transcript or academic record; or
     (c) The provision of academic assistance or an exception that is not otherwise permissible pursuant to Bylaw 16.3, is not
         generally available to the institution's students and results in the certification of a student-athlete's eligibility to
         participate in intercollegiate athletics, receive financial aid, or earn an Academic Progress Rate point.

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         14.9.4.3.1 Application. If an institution determines, pursuant to its policies and procedures, that conduct violates
         an institutional policy regarding academic honesty or integrity, a violation of Bylaw 14.9. 4.3-(c) shall not be cited by
         the institution or through an enforcement investigation. If an institution determines, pursuant to its policies and
         procedures, that conduct does not violate an institutional policy regarding academic honesty or integrity, the conduct
         in question may still constitute a violation of Bylaw 14.9. 4.3-(c). (Adopted: 4/28/16 effective 8/1/16, Revised: 10/27/21)




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                                                            FIGURE 14-1
                                                           Initial Eligibility
            How NCAA legislation (Bylaw 14.3) affects student-athletes during their initial year of college attendance.


         Are they eligible for...                                  Qualifier           Academic Redshirt       Nonqualifier


         Academic/tutoring services                                Yes                 Yes                     Yes
         Competition                                               Yes                 No                      No
         Complimentary admissions
           One for self; all regular-season                        Yes                 Yes                     Yes
             home athletics contests
           Four complimentary admissions;                          Yes                 Yes (home               No
             home or away contests in the                                              contests only
             student-athlete’s sport
         Conditioning program                                      Yes                 Yes                     Yes (supervised
           (including workout apparel)                                                                         only by institution’s
                                                                                                               strength coach or
                                                                                                               trainer for safety
                                                                                                               purposes)
         Drug-rehabilitation expenses                              Yes                 Yes                     Yes
         Financial aid
            Regular term                                           Yes                 Yes                     Yes (aid must be
                                                                                                               based on financial
                                                                                                               need and may
                                                                                                               not be from an
                                                                                                               athletics source)
            Summer-orientation program                             Yes                 Yes                     Yes
               (subject to the conditions of
               Bylaws 15.2.8.1.3 and 15.2.8.1.4)
            Summer school prior to initial year                    Yes                 Yes                     Yes
               (subject to the conditions of
               Bylaws 15.2.8.1.3 and 15.2.8.1.4)
            Training table                                         Yes                 Yes                     No (unless student-
                                                                                                               athlete pays full cost)
         Institutional awards                                      Yes                 Yes                     No
            Banquets—expenses/meals
         Insurance, athletics medical                              Yes                 Yes                     Yes
         Occasional home meal                                      Yes                 Yes                     Yes
         Outside competition (basketball)
           During the season                                       No (except          No (except              No (except
                                                                   intramurals)        intramurals)            intramurals)
            During remainder of the academic year                  No (except          No (except              No (except
              (other than during the season)                       intramurals)        intramurals)            intramurals)
            Summer after initial academic year                     Yes (only in        Yes (only in            Yes (only in approved
                                                                   approved            approved summer         summer league)
                                                                   summer league)      league)




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         Are they eligible for...                                               Qualifier                Academic Redshirt            Nonqualifier


         Outside competition
           (sports other than basketball)
            During the season                                                   No (except               No (except                   No (except
                                                                                intramurals              intramurals                  intramurals
                                                                                and individual           and individual               and individual
                                                                                competition)             competition)                 competition)
            During remainder of the academic year                               No (except               No (except                   No (except
              (other than during the season)                                    intramurals              intramurals                  intramurals
                                                                                and individual           and individual               and individual
                                                                                competition)             competition)                 competition)
            Summer after initial academic year                                  Yes                      Yes                          Yes
            Tryouts for outside teams                                           Yes                      Yes                          Yes
         Practice                                                               Yes                      Yes (on campus               No
                                                                                                         during first term)*
         Promotional activities that do not involve                             Yes                      Yes                          Yes
           countable athletically related activities
         Promotional activities that involve                                    Yes                      Yes (on campus               No
           countable athletically related                                                                during first term)*
           activities (e.g., midnight madness)
         Promotional materials, inclusion                                       Yes                      Yes                          Yes
           of photos in media guide, game
           programs, brochures, etc.
         Rehabilitation expenses (postsurgical) for                             Yes                      Yes                          Yes
           injury unrelated to athletics participation
         Student host                                                           Yes                      No                           No
         Surgical expenses for injury                                           Yes                      Yes                          Yes
           during voluntary workout




                                                                                                                                                              ELIGIBILITY
         Team manager                                                           Yes                      No                           No
         Team travel                                                            Yes                      No                           No
         Training-room facilities (in conjunction                               Yes                      Yes                          Yes
            with weight-training program)
         Weight training                                                        Yes                      Yes                          Yes (supervised
                                                                                                                                      only by institution’s
                                                                                                                                      strength coach or
                                                                                                                                      trainer for safety
                                                                                                                                      purposes)

         *Must successfully complete nine semester or eight quarter hours of academic credit during each applicable regular academic term of the
           initial year of residence in order to be eligible for practice in the immediately subsequent term of the initial year of residence.




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                                                                 FIGURE 14-2




                                                                                                                                                 Case 3:24-cv-00033-DCLC-JEM Document 2-10 Filed 01/31/24 Page 191 of 450 PageID
                                                       Academic Integrity Analysis
                                        Did the institution investigate and adjudicate alleged conduct                          NCAA
                                           in accordance with institutional policies & procedures?            NO               Academic
                                                                                                                               Violation
                                                                     YES
                    Did the conduct violate any institutional policies & procedures regarding academic honesty or integrity?
                                     If Yes:                                                  If no, did the student-athlete receive academic
                                                                                                assistance or an academic exception from a
 Alteration or                                                    Competed or                 current or former institutional staff or booster
                                  Institutional
Falsification of                                                  Received Aid
                                     Staff or




                                                                                                                                                                                       310
 Transcript or                                                      Based on
                                                                                                  Resulted in a certification of eligibility;




                                                                                                                                                                                    #:178
                                    Booster
  Academic                                                         Erroneous                      Was not generally available to
                                 Involvement?
   Record??                                                       Declaration of                   institution’s students; and
                                                                   Eligibility?                   Was not permissible under Bylaw 16.3.
                                                                                               Yes to all?          - or -        No to any?
                   Yes to any?        - or -        No to all?
                    NCAA                          No NCAA                                      NCAA                               No NCAA
                   Academic                       Academic                                    Academic                            Academic
                   Violation                      Violation                                   Violation                           Violation




                                                                                                                                                                                            8/5/23
BYLAWS, ARTICLE 15

Financial Aid
15.01 General Principles.
15.01.1 Institutional Financial Aid Permitted. A student-athlete may receive scholarships or educational grants-in-aid
administered by (see Bylaw 15.02.1) an educational institution that do not conflict with the governing legislation of this
Association. (See Bylaws 15.01.6.1, 16.3, 16.4 and 16.12.) (Revised: 5/26/09)
    15.01.1.1 Financial Aid to Attend Another Institution. An institution may not provide financial aid to a student-
    athlete to attend another institution, except as specifically authorized by NCAA legislation. (Adopted: 1/16/93)
         15.01.1.1.1 Exception -- Scholarship to Attend Vocational School. A conference or an institution may
         provide a scholarship to a student-athlete to attend a vocational school. Such a scholarship may be provided in addition
         to a full grant-in-aid and shall not be limited. (Adopted: 8/12/20, Revised: 10/6/21)
15.01.2 Improper Financial Aid. Any student-athlete who receives financial aid other than that permitted by the
Association shall not be eligible for intercollegiate athletics.
15.01.3 Financial Aid Not Administered by Institution. Any student who receives financial aid other than that
administered by the student-athlete's institution shall not be eligible for intercollegiate athletics competition, unless it is
specifically approved under the Association's rules of amateurism (see Bylaw 12) or the aid is: (Revised: 1/15/11 effective 8/1/11)
 (a) Received from one upon whom the student-athlete is naturally or legally dependent; or
 (b) Awarded solely on bases having no relationship to athletics ability; or
 (c) Awarded through an established and continuing program to aid students under the conditions listed in Bylaw 15.2.6.4.
15.01.4 Contributions by Donor. An individual may contribute funds to finance a scholarship or grant-in-aid for a
particular sport, but the decision as to how such funds are to be allocated in the sport shall rest exclusively with the institution. It
is not permissible for a donor to contribute funds to finance a scholarship or grant-in-aid for a particular student-athlete.
15.01.5 Eligibility of Student-Athletes for Institutional Financial Aid. A student-athlete must meet applicable
NCAA (see Bylaw 14), conference and institutional regulations to be eligible for institutional financial aid. If these regulations
are met, the student-athlete may be awarded institutional financial aid during any term in which a student-athlete is in regular
attendance [was enrolled initially in a minimum full-time program of studies as defined by the certifying institution during that
term (see Bylaw 14.2.2.1.3 for final term exception, Bylaw 14.2.2.1.4 for final term before experiential learning requirement
exception and Bylaw 15.2.8 for summer-term exception)] under the following circumstances: (Revised: 6/8/99, 1/9/06 effective
8/1/07, 10/27/11, 5/16/18)
 (a) The student-athlete is an undergraduate with eligibility remaining under Bylaw 12.8 (five-year rule); or
 (b) The student-athlete is a graduate student eligible under Bylaw 14.6.
[Note: See Bylaw 14.5.5.4 for financial aid implications related to the academic eligibility of four-year college transfers.]
    15.01.5.1 Exception -- Part-Time Enrollment After Exhausted Eligibility. An institution may provide financial
    aid to a student-athlete who has exhausted eligibility in the student-athlete's sport and is enrolled in less than a minimum
    full-time program of studies, provided: (Adopted: 1/15/11 effective 8/1/11)
     (a) The student-athlete is carrying for credit the courses necessary to complete degree requirements; or
     (b) The student-athlete is carrying for credit all the degree-applicable courses necessary to complete degree requirements
         that are offered by the institution during that term.
    15.01.5.2 Exception -- Former Student-Athletes. [A] Institutional financial aid may be awarded to a former student-
    athlete for any term during which the individual is enrolled (full time or part time). (Adopted: 10/27/11, Revised: 8/7/14)
         15.01.5.2.1 Degree-Completion Program -- Basketball. [A] An institution that provides athletically related
         financial aid to basketball student-athletes shall provide, at a minimum, tuition and fees, and course-related books to a
         former basketball student-athlete who requests financial aid to complete the individual's first baccalaureate degree,
         provided: (Adopted: 8/8/18 effective 8/1/19)
          (a) The former student-athlete received athletically related financial aid while previously enrolled at the institution;
          (b) Fewer than 10 years have elapsed since the former student-athlete's departure from the institution;
          (c) The former student-athlete's most recent enrollment as a full-time student occurred at the institution;
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         (d) The former student-athlete was previously enrolled as a full-time student at the institution for a minimum of two
             academic years (four semesters or six quarters);
         (e) The former student-athlete meets all institutional admissions and financial aid requirements;
         (f) The former student-athlete has exhausted other available degree completion funding options (e.g., funds from a
             professional league or contract); and
         (g) The former student-athlete is in good academic standing at the institution and meets NCAA and institutional
             progress-toward-degree requirements. This requirement applies to initial and continuing eligibility for degree
             completion funds.

         15.01.5.2.1 Degree-Completion Program. [A] An institution that provides athletically related financial aid to
         student-athletes shall provide, at a minimum, tuition and fees, and course-related books to a former student-athlete
         who requests financial aid to complete the individual's first baccalaureate degree, provided: (Adopted: 8/8/18 effective
         8/1/19, Revised: 4/26/23 effective 8/1/24)
         (a) The former student-athlete received athletically related financial aid in a head count sport or received athletically
             related financial aid that resulted in the student-athlete receiving (through athletics aid and other aid combined)
             the value of full tuition and fees, room and board and required course-related books while previously enrolled in
             a regular term at the institution;
         (b) Fewer than 10 years have elapsed since the former student-athlete's departure from the institution;
         (c) The former student-athlete's most recent enrollment as a full-time student occurred at the institution;
         (d) The former student-athlete was previously enrolled as a full-time student at the institution for a minimum of two
             academic years (four semesters or six quarters);
         (e) The former student-athlete meets all institutional admissions and financial aid requirements;
         (f) The former student-athlete has exhausted other available degree completion funding options (e.g., funds from a
             professional league or contract); and
         (g) The former student-athlete is in good academic standing at the institution and meets NCAA and institutional
             progress-toward-degree requirements. This requirement applies to initial and continuing eligibility for degree
             completion funds.

    15.01.5.3 Exception -- Former Student-Athletes -- Other Institutions. [A] A conference or an institution may
    provide a post-eligibility scholarship to a former student-athlete to complete an undergraduate or graduate degree at any
    school. Such a scholarship may be provided in addition to a full grant-in-aid and shall not be limited. (Adopted: 8/12/20,
    Revised: 10/6/21)
    15.01.5.4 Effect of Violation of Conference Rule. A violation of Bylaw 15.01.5 that relates only to a conference rule
    shall be considered an institutional violation per Bylaw 8.01.3; however, such a violation shall not affect the student-
    athlete's eligibility. (Adopted: 10/27/06)
15.01.6 Maximum Institutional Financial Aid to Individual. [A] An institution shall not award financial aid to a
student-athlete that exceeds the cost of attendance that normally is incurred by students enrolled in a comparable program at
that institution (see Bylaw 15.1), except as specifically authorized by NCAA legislation. (Revised: 4/29/04 effective 8/1/04,
8/12/20)
    15.01.6.1 Student Assistance Fund. The receipt of money from the NCAA Student Assistance Fund for student-
    athletes is not included in determining the permissible amount of financial aid that a member institution may award to a
    student-athlete. Member institutions and conferences shall not use money received from the fund to finance salaries and
    benefits; tuition and fees, living expenses, and required course-related books during a regular term (other than summer
    school) for student-athletes with remaining eligibility; capital improvements; stipends; competition-related travel expenses
    for student-athletes who are ineligible for competition (e.g., nonqualifier, transfer student-athlete); and outside athletics
    development opportunities (e.g., participation in a sports camp or clinic, private sports-related instruction, greens fees,
    batting cage rental, outside foreign tour expenses) for current student-athletes with remaining eligibility. (Adopted: 4/24/03,
    Revised: 1/8/07, 2/24/12, 1/17/15 effective 8/1/15, 10/5/16, 3/28/17, 7/31/23)
15.01.7 Sport-by-Sport Financial Aid Limitations. Division I may establish limitations on the number of financial aid
awards a member institution may provide to countable student-athletes (counters) (see Bylaw 15.5).
15.01.8 Additional Financial Aid Limitations. The Committee on Academics shall have the authority to determine the
circumstances that would require an institution or team(s) that fails to satisfy the academic performance program to apply
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additional financial aid limitations. The Committee on Academics shall establish and annually publish to the membership such
circumstances (see Bylaw 14.8). (Adopted: 4/29/04 effective 8/1/04, Revised: 8/7/14)
15.02 Definitions and Applications.
15.02.1 Administered By. Financial aid is administered by an institution if the institution, through its regular committee
or other agency for the awarding of financial aid to students generally, makes the final determination of the student-athlete who
is to receive the award and of its value.
15.02.2 Cost of Attendance. The "cost of attendance" is an amount calculated by an institutional financial aid office, using
federal regulations, that includes the total cost of tuition and fees, living expenses, books and supplies, transportation, and other
expenses related to attendance at the institution. (Adopted: 1/11/94, Revised: 7/31/23)
    15.02.2.1 Calculation of Cost of Attendance. An institution must calculate the cost of attendance for student-athletes
    in accordance with the cost-of-attendance policies and procedures that are used for students in general. Accordingly, if an
    institution's policy allows for students' direct and indirect costs (e.g., tuition, fees, living expenses, books, supplies,
    transportation, child care, cost related to a disability and miscellaneous personal expenses) to be adjusted on an individual
    basis from the institution's standard cost figure, it is permissible to make the same adjustment for student-athletes, provided
    the adjustment is documented and is available on an equitable basis to all students with similar circumstances who request
    an adjustment. (Adopted: 1/11/94, Revised: 7/31/23)
15.02.3 Counter. A "counter" includes any individual who is receiving institutional financial aid that is countable against the
aid limitations in a sport. Unless an exception is satisfied, once a student-athlete becomes a counter, the student-athlete remains
a counter for the entire academic year. Further, an undergraduate four-year transfer awarded or issued athletically related
financial aid in the academic year of initial, full-time enrollment at the certifying institution shall be a counter for the period of
the award (see Bylaw 15.3.3.3) unless a provision of Bylaw 15.5.1.2.1 is met. (Revised: 11/14/22, 1/11/23)
    15.02.3.1 Initial Counter. [FBS/FCS] An "initial counter" is a counter who is receiving countable financial aid in a
    sport for the first time. (See Bylaw 15.5.6.3 in football for instances in which the institution is permitted to defer the
    counting of such financial aid until the following academic year.)
    15.02.3.2 Replacement of Counter. An institution may apply a legislated exception to replace a counter who is no
    longer participating with the program and the replaced student-athlete shall not be a counter for the remainder of the
    academic year.
    (Adopted: 11/14/22)
15.02.4 Family Member. A family member is an individual with any of the following relationships to the prospective
student-athlete: spouse, parent or legal guardian, child, sibling, grandparent, domestic partner or any individual whose close
association with the prospective student-athlete is the practical equivalent of a family relationship. (Adopted: 4/25/18)
15.02.5 Financial Aid. "Financial aid" is funds provided to student-athletes from various sources to pay or assist in paying
their cost of education at the institution. As used in NCAA legislation, "financial aid" includes all institutional financial aid and
other permissible financial aid as set forth below. (See Bylaws 15.01.6.1, 16.2, 16.3 and 16.4.) (Revised: 5/26/09)
    15.02.5.1 Athletically Related Financial Aid. Athletically related financial aid is financial aid that is awarded on any
    basis that is related to athletics ability, participation or achievement. If an application process specifically requests athletics
    participation or achievements as criteria for consideration in determining whether an applicant receives financial aid, aid
    received pursuant to such a process is athletically related financial aid. (Adopted: 1/18/14 effective 8/1/14)
    15.02.5.2 Institutional Financial Aid. The following sources of financial aid are considered to be institutional financial
    aid: (Revised: 1/11/94 effective 8/1/94, 1/14/97 effective 8/1/97, 4/26/01 effective 8/1/01, 10/31/02 effective 8/1/03, 1/15/11
    effective 8/1/11)
     (a) All funds administered by the institution, which include but are not limited to the following:
          (1) Scholarships;
          (2) Grants;
          (3) Tuition waivers;
          (4) Employee dependent tuition benefits, unless the employee has been employed as a full-time faculty/staff member
              for a minimum of five years; and
          (5) Loans.
     (b) Aid from government or private sources for which the institution is responsible for selecting the recipient or
         determining the amount of aid, or providing matching or supplementary funds for a previously determined recipient.

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    15.02.5.3 Other Permissible Financial Aid. The following sources of financial aid are also permitted: (Adopted:
    1/10/95 effective 8/1/95, Revised: 4/29/04 effective 8/1/04, 1/15/11 effective 8/1/11, 10/17/19)
     (a) Financial aid received from anyone upon whom the student-athlete is naturally or legally dependent;
     (b) Financial aid awarded solely on bases having no relationship to athletics ability;
     (c) Financial aid awarded through an established and continuing outside program as outlined in Bylaw 15.2.6.4; and
     (d) Educational expenses awarded by the U.S. Olympic and Paralympic Committee, which count against an institution's
         sport-by-sport financial aid limitations and against the individual's maximum limit on financial aid.
    15.02.5.4 Exempted Institutional Financial Aid. The following institutional financial aid is exempt and is not
    counted in determining the institution's financial aid limitations: (Revised: 1/10/91, 1/10/92, 4/25/02, 10/31/02 effective
    8/1/03, 4/29/04 effective 8/1/04, 1/15/11 effective 8/1/11, 4/26/17 effective 8/1/17, 7/27/20 effective 8/1/20 for institutional
    merit-based and need-based awards received by a student-athlete on or after 8/1/20)
     (a) An institutional need-based grant awarded based solely on demonstrated financial need, as determined for all students
         by the institution’s financial aid office using methodologies that conform to federal, state and institutional guidelines.
         However, such aid is not exempted for purposes of determining a football or basketball student-athlete's counter status
         pursuant to Bylaw 15.5.1.1;
     (b) A nondiscretionary institutional merit-based award with no relationship to athletics ability awarded based on
         documented criteria that apply to all students. However, such aid is not exempt for purposes of determining a football
         or basketball student-athlete’s counter status pursuant to Bylaw 15.5.1.1;
     (c) An honorary award for outstanding academic achievement or an established institutional research grant that meets the
         criteria set forth in Bylaw 15.02.7 (and must be included in determining if the student-athlete's cost of attendance has
         been met);
     (d) A postgraduate scholarship awarded by an institution in accordance with Bylaw 16.1.4.1.1;
     (e) Federal government grants awarded based on a student's demonstrated financial need [e.g., Supplemental Educational
         Opportunities Grant (SEOG)], regardless of whether the institution is responsible for selecting the recipient or
         determining the amount of aid, or providing matching or supplementary funds for a previously determined recipient;
     (f) State government grants awarded based on a student's demonstrated financial need, regardless of whether the institution
          is responsible for selecting the recipient or determining the amount of aid, or providing matching or supplementary
          funds for a previously determined recipient, provided the aid is administered in accordance with the federal
          methodology for determining a student's financial need and has no relationship to athletics ability. However, such aid
          is not exempt for purposes of determining a football or basketball student-athlete's counter status pursuant to Bylaw
          15.5.1.1;
     (g) State government merit-based grants, regardless of whether the institution is responsible for selecting the recipient or
         determining the amount of aid, or providing matching or supplementary funds for a previously determined recipient,
         provided the aid is awarded consistent with the criteria of Bylaws 15.5.3.2.4.1, 15.5.3.2.4.2 or 15.5.3.2.4.3 and has no
         relationship to athletics ability. However, such aid is not exempt for purposes of determining a football or basketball
         student-athlete's counter status pursuant to Bylaw 15.5.1.1; and
     (h) Contributions made by the institution and matching payments made by the Department of Veterans Affairs pursuant
         to the Yellow Ribbon G.I. Education Enhancement Program [see Bylaw 15.2.5.1-(e)].
    15.02.5.5 Exempted Government Grants. Government grants listed in Bylaw 15.2.5.1 shall not be included when
    determining the cost of attendance for a student-athlete. (Revised: 1/11/89, 4/29/04 effective 8/1/04)
    15.02.5.6 Operation Gold Grant. Funds administered by the U.S. Olympic and Paralympic Committee pursuant to its
    Operation Gold Grant program shall not be included when determining the cost of attendance for a student-athlete.
    (Revised: 4/29/04 effective 8/1/04, 10/17/19)
15.02.6 Full Grant-in-Aid. [A] A full grant-in-aid is financial aid that consists of tuition and fees, room and board, books
and other expenses related to attendance at the institution up to the cost of attendance established pursuant to Bylaws 15.02.2
and 15.02.2.1. (Revised: 8/7/14, 1/17/15 effective 8/1/15)
15.02.7 Honorary Academic Award/Research Grant. An honorary academic award for outstanding academic
achievement or a research grant is an award that meets the following criteria: (Revised: 1/10/91, 1/10/92, 10/28/04, 1/14/08
effective 8/1/08)
 (a) The award or grant is a standing scholarship award or an established research grant;
 (b) The basis for the award or grant shall be the candidate's academic record at the awarding institution;
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(c) The award or grant shall be determined by competition among the students of a particular class or college of the institution.
    Competition for the award or grant may include additional objective criteria unrelated to athletics abilities (e.g., gender,
    race and ethnicity, financial need); and
(d) The award or grant is included in determining if the student-athlete's cost-of-attendance limitation has been met.
15.02.8 Period of Award. The period of award begins when the student-athlete receives any benefits as a part of the
student's grant-in-aid on the first day of classes for a particular academic term, or the first day of practice, whichever is earlier,
and continues until the conclusion of the period set forth in the financial aid agreement. The period of award of a multiyear
grant-in-aid awarded to an individual other than an undergraduate four-year transfer who receives or is issued athletically related
financial aid in the academic year of initial, full-time enrollment at the certifying institution may include one or more academic
years of no athletically related financial aid after the first academic year in which athletically related aid is provided, including
the final year of the award (e.g., 50 percent in year one, zero percent in year two, 50 percent in year three; 50 percent in year
one, zero percent in year two, zero percent in year three). An athletics grant-in-aid shall not be awarded in excess of the student-
athlete's five-year period of eligibility. (Revised: 10/27/11, 9/29/15, 11/14/22, 1/11/23)
15.02.9 Recruited Student-Athlete. For purposes of Bylaw 15, a recruited student-athlete is a student-athlete who, as a
prospective student-athlete: (Adopted: 1/15/11 effective 8/1/11, Revised: 4/25/18)
 (a) Was provided an official visit to the institution's campus;
 (b) Had an arranged, in-person, off-campus encounter with a member of the institution's coaching staff (including a coach's
     arranged, in-person, off-campus encounter with the prospective student-athlete or the prospective student-athlete's family
     members); or
 (c) Was issued a National Letter of Intent or a written offer of athletically related financial aid by the institution for a regular
     academic term.
15.02.10 Signature. For purposes of Bylaw 15, a signature includes an electronic authorization (e.g., electronic signature).
(Adopted: 3/5/12)
15.1 Maximum Limit on Financial Aid -- Individual. [A] A student-athlete shall not be eligible to
participate in intercollegiate athletics if the student-athlete receives financial aid that exceeds the value of the cost of attendance
as defined in Bylaw 15.02.2. A student-athlete may receive institutional financial aid based on athletics ability (per Bylaw
15.02.5.2) and educational expenses awarded per Bylaw 15.2.6.5 up to the value of a full grant-in-aid, plus any other financial
aid up to the cost of attendance. (See Bylaws 15.01.6.1, 16.3, 16.4 and 16.12.) (Revised: 4/29/04 effective 8/1/04, 5/26/09,
1/15/11 effective 8/1/11, 8/7/14)
15.1.1 Exception for Pell Grant. [A] A student-athlete who receives a Pell Grant may receive financial aid equivalent to
the limitation set forth in Bylaw 15.1 or the value of a full grant-in-aid plus the Pell Grant, whichever is greater. (Adopted:
4/29/04 effective 8/1/04, Revised: 8/7/14)
15.1.2 Types of Aid Included in Limit. In determining whether a student-athlete's financial aid exceeds the cost of
attendance, all institutional financial aid (per Bylaw 15.02.5.2) and all funds received from the following and similar sources
shall be included (see Bylaws 15.02.5.4, 15.02.5.5 and 15.02.5.6 for types of financial aid that are exempt from a student-
athlete's individual limit): (Revised: 1/11/94 effective 8/1/94, 1/10/95 effective 8/1/95, 10/31/02 effective 8/1/03, 4/29/04 effective
8/1/04, 10/17/19)
(a) Government Grants. Government grants for educational purposes, except for those listed in Bylaw 15.2.5;
(b) Other Scholarships and Grants. Other outside scholarships or grants-in-aid;
(c) Gifts. The value of gifts given to a student-athlete following completion of eligibility in appreciation for or recognition of
    the student-athlete's athletics accomplishments;
(d) Professional Sports Stipend. Any bonus or salary (no matter when received or contracted for) from a professional
    sports organization;
(e) Athletics Participation Compensation. Any other income (no matter when received or contracted for) from
    participation in an athletics event (except funds that are administered by the U.S. Olympic and Paralympic Committee
    pursuant to its Operation Gold Grant Program) unless eligibility has been exhausted in that sport; and
(f) Loans. Loans, except legitimate loans that are based upon a regular repayment schedule, available to all students and
    administered on the same basis for all students.
15.1.3 Reduction When Excess Aid Is Awarded. In the event that a student-athlete's financial aid from the sources
listed in Bylaw 15.1.2, which includes institutional financial aid, will exceed the cost of attendance for the balance of the
academic year, the institution shall reduce institutional financial aid so as not to exceed the cost of attendance. Payments
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credited to a student-athlete's account that are not refundable by the institution to the scholarship office or other appropriate
institutional agency shall not become the student's obligation. (Revised: 4/29/04 effective 8/1/04)
15.2 Elements of Financial Aid.
15.2.1 Tuition and Fees. An institution may provide a student-athlete financial aid that includes the actual cost of tuition
and required institutional fees.
    15.2.1.1 Permissible Fees. A student-athlete may be awarded financial aid that covers the payment of fees for a course
    in which the student-athlete is enrolled, if the course is part of the institution's regular curriculum (included in the
    institution's catalog of classes), and the institution pays these same fees for other students enrolled in the course who receive
    fees as a part of a grant-in-aid or scholarship.
    15.2.1.2 Optional Fees. An institution may not pay fees for services offered on an optional basis to the student body in
    general.
    15.2.1.3 Noninstitutional Fees and Expenses. Fees paid by an institution are confined to required institutional fees
    and do not include noninstitutional fees or expenses (e.g., the cost of typing reports for student-athletes).
15.2.2 Living Expenses. An institution may provide a student-athlete financial aid that includes the cost of housing and
food, based on the official allowance for housing as listed in the institution's official publication (e.g., catalog) and a food
allowance that consists of three meals per day or the institution's maximum meal plan that is available to all students, whichever
is greater. (Revised: 10/28/99 effective 8/1/00, 1/18/14 effective 8/1/14, 7/31/23)
    15.2.2.1 Living Expenses Stipend. An institution may provide the student-athlete an amount equal to the institution's
    official on-campus housing allowance, the average of the housing costs of all of its students living on campus or the cost of
    housing as calculated based on its policies and procedures for calculating the cost of attendance for all students. The
    institution also may provide the student-athlete an amount that is equivalent to the value of the maximum meal plan that is
    available to all students or the cost of meals as calculated based on its policies and procedures for calculating the cost of
    attendance for all students. (Revised: 1/10/92, 11/12/97, 10/28/99 effective 8/1/00, 4/27/06 effective 8/1/06, 1/18/14 effective
    8/1/14, 8/3/22, 7/31/23)
         15.2.2.1.1 Determination of Off-Campus Housing Rates. An institution with several official on-campus
         housing rates may use the average of the room cost for all students living on campus (based on a weighted average for
         all students who reside in on-campus facilities) or the cost of housing as calculated based on its policies and procedures
         for calculating the cost of attendance for all students. (Revised: 11/12/97, 4/27/06 effective 8/1/06, 7/31/23)
         15.2.2.1.2 Institution With No On-Campus Housing and Meal Facilities. If an institution does not provide
         an official dollar amount for living expenses and does not have on-campus student housing and meal facilities, the
         figure provided to student-athletes for off-campus student living expenses shall be the amount determined by the
         institution's office of financial aid as being commensurate with the average cost a student at that institution normally
         would incur living and eating in off-campus facilities. (Revised: 11/12/97, 7/31/23)
         15.2.2.1.3 Married Student Housing. Married student-athletes who live in noninstitutional housing are permitted
         to receive the same living expenses allowance that is provided to married students with on-campus housing. If the
         institution does not provide on-campus housing and meal facilities for married students but has other on-campus
         dormitory facilities, it must use the provisions of Bylaw 15.2.2.1 in determining the amount of living expenses a
         married student-athlete who lives in noninstitutional facilities may receive. (Adopted: 1/10/92, Revised: 7/31/23)
         15.2.2.1.4 Cost-Free Apartment. It is permissible for the institution to arrange for a cost-free, off-campus
         apartment rather than to give a student-athlete an amount equal to the institution's official housing allowance or the
         cost of housing as calculated based on its policies and procedures for calculating the cost of attendance for all students,
         provided the apartment is not rented by the institution at a reduced rate. However, if the actual rental rate is more than
         the institutional housing allowance, the student-athlete shall pay the additional amount from the student-athlete's own
         resources. (Revised: 4/27/06 effective 8/1/06, 7/31/23)
    15.2.2.2 Facility Designated by Institution. It is permissible for the institution to require a grant-in-aid recipient to
    obtain housing and food in a facility designated by the institution, provided the requirement is contained in the written
    statement outlining the amount, duration, conditions and terms of the financial aid agreement (see Bylaw 15.3.2.2).
    (Revised: 7/31/23)
    15.2.2.3 Food Stamps. A grant-in-aid recipient who lives and eats off campus may use the money provided for food to
    obtain governmental food stamps, provided the stamps are available to the student body in general. Additionally, the
    student-athlete must be eligible for such stamps without any special arrangements on the part of athletics department
    personnel or representatives of the institution's athletics interests. (Revised: 7/31/23)
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15.2.3 Books. A member institution may provide a student-athlete financial aid that covers the actual cost of required course-
related books. [R] (Revised: 4/24/03 effective 8/1/03)
    15.2.3.1 Dollar Limit. There is no dollar limit for books a student-athlete may receive, provided each book is required for
    a course in which the student-athlete is enrolled. The institution may provide the student-athlete with cash to purchase
    books, as long as the amount of cash provided is equal to the actual cost of the books purchased. [R] (Revised: 4/24/03
    effective 8/1/03)
15.2.4 Other Expenses Related to Attendance. An institution may provide a student-athlete financial aid that covers
other expenses related to attendance in combination with other permissible elements of financial aid (per Bylaw 15.2) up to the
cost of attendance (see Bylaws 15.02.2 and 15.1). (See Bylaws 15.01.6.1, 16.3, 16.4 and 16.12.) (Adopted: 4/29/04 effective
8/1/04, Revised: 5/26/09)
15.2.5 Government Grants. Government grants for educational purposes shall be included when determining the
permissible amount of the cost of attendance for a student-athlete, except for those listed in Bylaw 15.2.5.1. (Revised: 1/11/89,
4/29/04 effective 8/1/04, 4/21/05)
    15.2.5.1 Exempted Government Grants. The following government grants for educational purposes shall not be
    included when determining the permissible amount of the cost of attendance of a student-athlete: (Adopted: 1/11/89, 1/9/96
    effective 8/1/96, 1/14/97 effective 8/1/97, 4/26/01, Revised: 4/29/04 effective 8/1/04, 1/10/05, 4/28/05, 1/15/11 effective 8/1/11,
    4/26/17 effective 8/1/17)
     (a) AmeriCorps Program. Benefits received by student-athletes under the AmeriCorps Program;
     (b) Disabled Veterans. State government awards to disabled veterans;
     (c) Military Reserve Training Programs. Payments to student-athletes for participation in military reserve training
         programs;
     (d) Montgomery G.I. Bill. Benefits received by student-athletes under the Montgomery Bill -- Active Duty and the
         Montgomery G.I. Bill -- Selected Reserve;
     (e) Post-9/11 G.I. Bill. Benefits received under the Post-9/11 G.I. Bill, including matching payments made by the
         Department of Veterans Affairs pursuant to the Yellow Ribbon G.I. Education Enhancement Program;
     (f) Special U.S. Government Entitlement Programs. Payments by the U.S. government under the terms of the
         Dependents Education Assistance Program (DEAP), Social Security Insurance Program [including the Reinstated
         Entitlement Program for Survivors (REPS)] or Non-Service-Connected Veteran's Death Pension Program;
     (g) U.S. Military Annuitant Pay. United States Military Annuitant Pay or other family member service-related death
         benefits received by student-athletes from the United States Military.
     (h) U.S. Navy Nuclear Propulsion Officer Candidate Program. Benefits received by student-athletes under the
         U.S. Nuclear Propulsion Officer Candidate Program (NUPOC);
     (i) Veterans Educational Assistance Program (VEAP). Benefits received by student-athletes under the VEAP;
     (j) Vocational Rehabilitation for Service-Disabled Veterans Program. Benefits received by student-athletes
         under the Vocational Rehabilitation for Service-Disabled Veterans Program; or
     (k) Welfare Benefits. Welfare benefits received from a state or federal government.
15.2.6 Financial Aid From Outside Sources.
    15.2.6.1 Family Members. A student-athlete may receive financial aid from anyone upon whom the student-athlete is
    naturally or legally dependent. (Revised: 4/25/18)
         15.2.6.1.1 Prepaid College Tuition Plans. A state-sponsored or private prepaid college tuition plan, purchased by
         a family member and paid to an institution on behalf of a student-athlete, is not considered aid from an outside source.
         Such aid is considered financial aid from someone upon whom the student-athlete is naturally or legally dependent.
         (Revised: 6/10/04)
    15.2.6.2 No Relationship to Athletics Ability. A student-athlete may receive financial aid awarded solely on bases
    having no relationship to athletics ability.
    15.2.6.3 Athletically Related Financial Aid From an Established and Continuing Program -- Up to $1,000.
    A student-athlete may receive up to a total of $1,000 of athletically related outside financial aid per academic year, without
    restrictions, through one or more established and continuing programs to aid students. (Adopted: 5/1/19 effective 8/1/19)



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    15.2.6.4 Athletically Related Financial Aid From an Established and Continuing Program -- Aid Exceeding
    $1,000. Each academic year, after a student-athlete has received $1,000 of athletically related outside financial aid, the
    student-athlete may receive additional athletically related outside financial aid through an established and continuing
    program to aid students without the additional aid counting in the institution's financial aid limitations, provided:
    (Adopted: 1/15/11 effective 8/1/11, Revised: 4/23/14, 5/1/19 effective 8/1/19, 7/2/19 effective 8/1/19)
     (a) The recipient's choice of institutions is not restricted by the donor of the aid;
     (b) There is no direct connection between the donor and the student-athlete's institution; and
     (c) The financial aid is not provided by an outside sports team or organization that conducts a competitive sports program
         to an individual who is or has been a member of that team or organization.
    If any of the conditions are not satisfied and the student-athlete receives the additional athletically related outside financial
    aid, the recipient shall be considered a counter per Bylaw 15.5.1, and the amount shall be applied to the maximum awards
    limitation of Bylaw 15.5 for the sport in question.
    15.2.6.5 Educational Expenses -- Olympic Committee or National Governing Body. A student-athlete may
    receive educational expenses awarded by the U.S. Olympic and Paralympic Committee or a U.S. national governing body
    (or, for international student-athletes, expenses awarded by the equivalent organization of a foreign country). The amount
    of the financial assistance shall be subject to the following limitations: (Adopted: 1/10/95 effective 8/1/95, Revised: 10/28/97
    effective 8/1/98, 11/1/00, 10/17/19)
     (a) Disbursement of the aid shall be through the member institution for the recipient's educational expenses while
         attending that institution;
     (b) The recipient's choice of institutions shall not be restricted by the U.S. Olympic and Paralympic Committee or a U.S.
         national governing body (or, for international student-athletes, expenses awarded by the equivalent organization of a
         foreign country);
     (c) The value of the award alone or in combination with other aid per Bylaw 15.1.2 shall not exceed the value of the
         individual's maximum limit on financial aid; and
     (d) The recipient shall be considered a counter per Bylaw 15.5.1, and the amount shall be applied to the maximum awards
         limitation of Bylaw 15.5 for the sport in question.
15.2.7 Employment. Earnings from a student-athlete's on- or off-campus employment that occurs at any time is exempt and
is not counted in determining a student-athlete's cost of attendance or in the institution's financial aid limitations, provided:
(Revised: 10/31/02 effective 8/1/03, 4/29/04 effective 8/1/04)
 (a) The student-athlete's compensation does not include any remuneration for value or utility that the student-athlete may have
     for the employer because of the publicity, reputation, fame or personal following obtained because of athletics ability;
 (b) The student-athlete is compensated only for work actually performed; and
 (c) The student-athlete is compensated at a rate commensurate with the going rate in that locality for similar services (see Bylaw
     12.4).
15.2.8 Summer Financial Aid. Summer financial aid may be awarded only to attend the awarding institution's summer
term, summer school or summer-orientation program, provided the following conditions are met: (Revised: 1/10/90, 1/10/92)
 (a) The student has been in residence a minimum of one term during the regular academic year;
 (b) The student is attending a summer term, summer school or summer-orientation program and financial aid is administered
     pursuant to Bylaw 15.2.8.1.2, 15.2.8.1.3 or 15.2.8.1.4; or
 (c) The student is a two-year or a four-year college transfer student and is receiving aid to attend the awarding institution's
     summer-orientation program.
    15.2.8.1 General Stipulations. A student-athlete who is eligible for institutional financial aid during the summer is not
    required to be enrolled in a minimum full-time program of studies. However, the student-athlete may not receive financial
    aid that exceeds the cost of attendance in that summer term. A student-athlete may receive institutional financial aid based
    on athletics ability (per Bylaws 15.02.5.1 and 15.02.5.2) and educational expenses awarded (per Bylaw 15.2.6.5) up to the
    value of a full grant-in-aid, plus any other financial aid up to the cost of attendance. (See Bylaws 15.01.6.1, 16.3, 16.4 and
    16.12.) (Revised: 4/29/04 effective 8/1/04, 5/26/09, 1/15/11 effective 8/1/11)
         15.2.8.1.1 Exception for Pell Grant. A student-athlete who receives a Pell Grant may receive financial aid
         equivalent to the limitation set forth in Bylaw 15.2.8.1 or the value of a full grant-in-aid plus the Pell Grant, whichever
         is greater. (Adopted: 4/29/04 effective 8/1/04)

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         15.2.8.1.2 Enrolled Student-Athletes. After initial, full-time enrollment during a regular academic year, a
         student-athlete shall not receive athletically related financial aid to attend the certifying institution's summer term or
         summer school unless the student-athlete received such athletically related aid from the certifying institution during
         any previous academic year at that institution or the student-athlete has been awarded athletically related financial aid
         for the following academic year. (Adopted: 1/10/90 effective 8/1/90, Revised: 1/10/91, 1/10/92, 11/12/97, 4/26/12,
         4/28/16, 1/22/20)
             15.2.8.1.2.1 Attendance During Only One Term of Previous Academic Year. A student-athlete who
             attended the institution on a full-time basis for only one regular term during the previous academic year may
             receive financial aid during the following summer term. (Adopted: 1/10/92, Revised: 4/28/16)
             15.2.8.1.2.2 Exception for Nonqualifiers. A nonqualifier may receive athletically related financial aid to
             attend an institution's summer term or summer school after the first academic year of residence under the
             following conditions: (Adopted: 1/10/92, Revised: 1/14/97 effective 8/1/97, 4/28/16)
              (a) The student-athlete has satisfied progress-toward-degree requirements and, thus, would be eligible for
                  competition for the succeeding year (the student-athlete must have successfully satisfied the applicable
                  requirements of Bylaw 14.4.3 and be in good academic standing at the institution); and
              (b) The student-athlete has been awarded athletically related financial aid for the succeeding academic year.
         15.2.8.1.3 Prior to Initial, Full-Time Collegiate Enrollment -- Institutional Nonathletics Aid. The
         following conditions apply to the awarding of institutional nonathletics financial aid to a prospective student-athlete to
         attend an institution in the summer prior to the prospective student-athlete's initial, full-time collegiate
         enrollment: [D] (Revised: 1/10/90, 1/10/92, 4/26/01, 3/10/04, 4/29/04, 1/10/05 effective 5/1/05, 3/4/05, 1/15/11 effective
         8/1/11, 1/14/12, 1/18/14 effective 8/1/14)
         (a) The recipient shall be admitted to the awarding member institution in accordance with regular, published entrance
             requirements;
         (b) The recipient, if recruited (per Bylaw 15.02.9), is subject to NCAA transfer provisions pursuant to Bylaw 14.5.2-
             (g); and
         (c) During the summer term or orientation period, the recipient shall not engage in any countable athletically related
             activities except for those activities specifically permitted in Bylaws 13 and 17 (see Bylaws 13.11.3.10, 17.1.1 and
             17.1.1.1).
         15.2.8.1.4 Prior to Initial, Full-Time Enrollment at the Certifying Institution -- Athletics Aid. The
         following conditions apply to the awarding of athletically related financial aid to a prospective student-athlete
         (including a prospective student-athlete not certified by the NCAA Eligibility Center as a qualifier) or student-athlete
         to attend an institution in the summer prior to initial, full-time enrollment at the certifying institution: (Adopted:
         4/27/00 effective 8/1/00, Revised: 9/6/00, 4/26/01, 6/21/01, 3/10/04, 4/29/04, 1/10/05 effective 5/1/05, 3/14/05, 5/9/07,
         1/15/11 effective 8/1/11, 1/14/12, 4/26/17, 1/23/20)
         (a) The recipient shall be admitted to the awarding member institution in accordance with regular, published entrance
             requirements;
         (b) The recipient is enrolled in a minimum of three hours of academic course work (other than physical education
             activity courses) that is acceptable degree credit toward any of the institution's degree programs. Remedial, tutorial
             and noncredit courses may be used to satisfy the minimum three-hour requirement, provided the course or courses
             are considered by the institution to be prerequisites for specific courses acceptable for any degree program and are
             given the same academic weight as other courses offered by the institution;
         (c) The recipient, if recruited (per Bylaw 15.02.9), is subject to NCAA transfer provisions pursuant to Bylaw 14.5.2-
             (g), unless admission to the institution as a full-time student is denied;
         (d) During the summer term or orientation period, the recipient shall not engage in any countable athletically related
             activities except for those activities specifically permitted in Bylaws 13 and 17; and
         (e) Summer coursework is not used for the purpose of completing initial eligibility, transfer eligibility or progress-
             toward-degree requirements other than percentage-of-degree requirements per Bylaw 14.4.3.2. However, the
             hours earned during the summer prior to initial, full-time enrollment at the certifying institution may be used to
             satisfy the applicable progress-toward-degree requirements in following years (see Bylaw 14.4.3).
   15.2.8.2 Branch School. An institution may not provide a student-athlete with financial aid to attend a summer session
   at a branch campus of the institution.


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15.3 Terms and Conditions of Awarding Institutional Financial Aid. [A]
15.3.1 Eligibility of Student-Athletes for Financial Aid. [A] Institutional financial aid may be awarded for any term
during which a student-athlete is in regular attendance as an undergraduate with eligibility remaining under Bylaw 12.8, or as a
graduate eligible under Bylaw 14.6. (Revised: 10/27/11, 8/7/14)
    15.3.1.1 Applicable Requirements. [A] A student-athlete must meet applicable NCAA (see Bylaw 14), conference and
    institutional regulations to be eligible for institutional financial aid (see Bylaws 15.01.5 and 15.01.6). A violation of this
    bylaw that relates only to a violation of a conference rule shall be considered an institutional violation per Bylaw 8.01.3;
    however, such a violation shall not affect the student-athlete's eligibility. (Revised: 10/27/06, 8/7/14)
    15.3.1.2 Withdrawal From Institution. [A] A student-athlete who withdraws from the institution may not receive
    financial aid during the remainder of the term. (Revised: 8/7/14)
    15.3.1.3 Retroactive Financial Aid. [A] Institutional financial aid awarded to an enrolled student-athlete after the first
    day of classes in any term may be made retroactive to the beginning of that academic year. (Revised: 8/7/14, 1/20/17 effective
    8/1/17)
    15.3.1.4 Institutional Financial Aid to Professional Athlete. [A] It is permissible to award institutional financial
    aid to a student-athlete who is under contract to or currently receiving compensation from a professional sports
    organization in the same sport. A professional athlete in one sport may represent a member institution in a different sport
    and may receive institutional financial assistance in the second sport. (Revised: 8/11/98, 4/26/01, 4/27/06 effective 8/1/06,
    10/27/11, 8/7/14)
15.3.2 Terms of Institutional Financial Aid Award. [A]
    15.3.2.1 Physical Condition of Student-Athlete. [A] Financial aid awarded to a prospective student-athlete may not
    be conditioned on the recipient reporting in satisfactory physical condition. If a student-athlete has been accepted for
    admission and awarded financial aid, the institution shall be committed for the term of the original award, even if the
    student-athlete's physical condition prevents participation in intercollegiate athletics. (Revised: 8/7/14)
    15.3.2.2 Written Statement Requirement. [A] The institutional agency making a financial aid award for a regular
    academic year or multiple regular academic years shall give the recipient a written statement of the amount, duration,
    conditions and terms of the award. The chair of the regular committee or other agency for the awarding of financial aid to
    students generally, or the chair's official designee, shall sign or electronically authorize (e.g., electronic signature) the written
    statement. The signature of the athletics director, attesting to the committee's award, does not satisfy this requirement.
    (Revised: 3/10/04, 7/26/12, 8/7/14)
    15.3.2.3 Hearing Opportunity. [A] The institution's regular financial aid authority shall notify the student-athlete in
    writing of the opportunity for a hearing when institutional financial aid based in any degree on athletics ability is to be
    reduced or canceled during the period of the award, or is reduced or not renewed for the following academic year or years.
    The institution shall have established reasonable procedures for promptly hearing such a request and shall not delegate the
    responsibility for conducting the hearing to the university's athletics department or its faculty athletics committee. The
    written notification of the opportunity for a hearing shall include a copy of the institution's established policies and
    procedures for conducting the required hearing, including the deadline by which a student-athlete must request such a
    hearing. (Revised: 1/9/06 effective 8/1/06, 4/3/07, 4/23/08, 8/7/14)
         15.3.2.3.1 Reduction of a Multiyear Award. [A] A reduction of a multiyear award shall occur if the renewal
         period is for fewer years than the original agreement, unless the renewal includes the remaining years of the student-
         athlete's eligibility in all sports (e.g., five-year period of eligibility) or if the average amount of aid provided per year in
         the renewal is less than the average amount of aid provided per year in the original agreement, including any increases
         during the period of the original award. (Adopted: 10/27/11 effective 8/1/12 awards may be executed before 8/1/12,
         Revised: 8/7/14)
         15.3.2.3.2 Athletics Department Staff as Member of Committee. [A] An institution's athletics department
         staff member may be a member of a committee (other than an athletics department or faculty athletics committee) that
         conducts hearings related to the nonrenewal or reduction of a student-athlete's financial aid. Under such
         circumstances, the athletics department staff member must be a standing member of the committee and may not serve
         as a member of a committee only for a specific student-athlete's hearing. (Adopted: 4/3/07, Revised: 8/7/14)
    15.3.2.4 Release of Obligation to Provide Athletically Related Financial Aid. [A] Before becoming a counter for
    an academic year pursuant to a one-year or multiyear grant-in-aid, if a prospective student-athlete or student-athlete is
    awarded institutional financial aid unrelated to athletics that would count toward the team limit if the individual were a
    counter and that is equal to or greater than the amount of the individual's signed award of athletically related financial aid

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   for the specific academic year, the prospective student-athlete or student-athlete may, on the individual's initiative, release
   the institution of its obligation to provide the athletically related financial aid for that academic year. (Adopted: 1/15/11
   effective 8/1/11, Revised: 10/27/11 effective 8/1/12 awards may be executed before 8/1/12, 8/7/14, 1/15/16 effective 8/1/16,
   6/10/16, 6/12/19)
15.3.3 Period of Institutional Financial Aid Award. [A]
   15.3.3.1 Period of Award. [A] If a student's athletics ability is considered in any degree in awarding financial aid, such
   aid shall neither be awarded for a period less than one academic year nor for a period that would exceed the student's five-
   year period of eligibility (see Bylaws 12.8 and 15.01.5). One-year grants-in-aid shall be awarded (as set forth in the written
   statement per Bylaw 15.3.2.2) in equal amounts for each term of the academic year. (See Bylaw 15.02.8.) (Revised: 4/27/06
   effective 8/1/06, 10/27/11 effective 8/1/12 awards may be executed before 8/1/12, 8/7/14, 9/29/15)
         15.3.3.1.1 One-Year Period. [A] An institution may award athletically related financial aid to a student-athlete for
         a period of less than one academic year only under the following circumstances: (Adopted: 4/27/06 effective 8/1/06,
         Revised: 5/9/06, 4/24/08 effective 8/1/08, 5/19/09, 1/15/11 effective 8/1/11, 8/7/14, 1/15/16 effective 8/1/16)
         (a) Midyear Enrollment. A student-athlete whose first full-time attendance at the certifying institution during a
             particular academic year occurs at midyear (e.g., the beginning of the second semester or second or third quarter of
             an academic year) may receive a financial aid award for the remainder of that academic year.
         (b) Final Semester/Quarter. A student-athlete may receive athletically related financial aid for less than one
             academic year, provided the student is in the final semester or final two quarters of the student's degree program
             and the institution certifies that the student is carrying (for credit) the courses necessary to complete the degree
             requirements.
         (c) Graduated During Previous Academic Year and Will Exhaust Eligibility During the Following Fall
             Term. A student-athlete who graduated during the previous academic year (including summer) and will exhaust
             athletics eligibility during the following fall term may be awarded athletically related financial aid for less than one
             academic year.
         (d) One-Time Exception. One time during a recruited student-athlete's enrollment at the certifying institution the
             student-athlete may be awarded athletics aid for less than a full academic year, provided the student-athlete has
             been enrolled full time at the certifying institution for at least one regular academic term and has not previously
             received athletically related financial aid from the certifying institution.
         (e) Nonrecruited Student-Athlete Exception. At any time during a student-athlete's enrollment at the certifying
             institution, the student-athlete may be awarded athletics aid for less than a full academic year, provided the
             student-athlete has been enrolled full time at the certifying institution for at least one regular academic term and
             was not recruited by the certifying institution.
         (f) Eligibility Exhausted/Medical Noncounter. A student-athlete who has exhausted eligibility and is exempt
             from counting (per Bylaw 15.5.1.6) in the institution's financial aid limit, or a student-athlete who is exempt from
             counting (per Bylaw 15.5.1.3) due to an injury or illness may receive athletically related financial aid for less than
             one academic year. If an institution awards aid under this provision, the institutional financial aid agreement shall
             include specific nonathletically related conditions (e.g., academic requirements) the student-athlete must satisfy in
             order for the aid to be renewed for the next academic term or terms. If the student-athlete satisfies the specified
             conditions, the institution shall award financial aid at the same amount for the next term or terms of the academic
             year. If the student-athlete does not satisfy the specified conditions, the student-athlete must be provided a hearing
             opportunity per Bylaw 15.3.2.3.
         15.3.3.1.2 Effect of Violation. [A] A violation of Bylaw 15.3.3.1 in which financial aid is awarded for a period of
         less than one academic year shall be considered an institutional violation per Bylaw 8.01.3; however, the prospective
         student-athlete or student-athlete's eligibility shall not be affected. (Adopted: 10/29/09, Revised: 8/7/14)
   15.3.3.2 Regular Academic Year vs. Summer Term. [A] An institution may award financial aid to a student-athlete
   for one or more academic years or, pursuant to the exceptions set forth in Bylaw 15.3.3.1.1, part of one academic year. An
   institution also may award financial aid for a summer term or summer-orientation period, provided the conditions of Bylaw
   15.2.8 have been met. (Revised: 4/27/06 effective 8/1/06, 10/27/11 effective 8/1/12 awards may be executed before 8/1/12,
   8/7/14)
         15.3.3.2.1 Summer Term as Additional Award. [A] It is necessary to make an additional award for a summer
         term; however, an institution is not required to provide the recipient with a written statement of the amount, duration,
         conditions or terms of the award. (Revised: 10/27/11 effective 8/1/12, 7/26/12, 10/9/12, 8/7/14)

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    15.3.3.3 Undergraduate Four-Year College Transfers. [A] If an undergraduate four-year college transfer student's
    athletics ability is considered in any degree in awarding financial aid and such aid is received or issued in the academic year
    of initial, full-time enrollment at the certifying institution, such aid shall be awarded for a period no less than the student-
    athlete's five-year period of eligibility or until all requirements to receive a baccalaureate degree are completed, whichever
    occurs earlier. (Adopted: 8/31/22 applicable to transfer student-athletes seeking eligibility during the 2023-24 academic year and
    thereafter, Revised: 11/14/22, 1/11/23)
15.3.4 Reduction or Cancellation During Period of Award. [Note: Bylaw 15.3.4 applies to nonautonomy
conferences and institutions that have elected not to apply the more restrictive autonomy provisions found in Bylaw 15.3.5.]
(Revised: 11/14/22)

15.3.4 Reduction, Cancellation or Nonrenewal of Institutional Financial Aid. [A] (Revised: 11/14/22, 4/26/23
effective 8/1/24)

    15.3.4.1 Increase Permitted. Institutional financial aid may be increased for any reason at any time. (Adopted: 1/11/94,
    Revised: 2/26/03, 4/23/08, 10/27/11 effective 8/1/12 awards may be executed before 8/1/12, 8/7/14)
    15.3.4.2 Reduction or Cancellation Permitted. Institutional financial aid based in any degree on athletics ability
    awarded to an individual other than an undergraduate four-year transfer who receives or is issued athletically related
    financial aid in the academic year of initial, full-time enrollment at the certifying institution may be reduced or canceled
    during the period of the award if the recipient: (Revised: 1/10/92, 1/11/94, 1/10/95, 1/9/96, 12/13/05, 9/11/07, 8/7/14,
    6/19/18 effective 10/15/18, 11/14/22, 1/11/23)
     (a) Is rendered ineligible for intercollegiate competition based on the recipient's action or inaction;
     (b) Fraudulently misrepresents any information on an application, letter of intent or financial aid agreement (see Bylaw
         15.3.4.2.4);
     (c) Engages in serious misconduct warranting substantial disciplinary penalty (see Bylaw 15.3.4.2.5);
     (d) Voluntarily (on the recipient's own initiative) withdraws from a sport at any time for personal reasons; however, the
         recipient's financial aid may not be awarded to another student-athlete in the academic term in which the aid is
         reduced or canceled; or
     (e) Provides written notification of transfer (see Bylaw 13.1.1.3) to the institution; however, the student-athlete’s financial
         aid may not be reduced or canceled until the end of the regular academic term in which written notification of transfer
         is received. If a student-athlete provides written notification of transfer to the institution between regular academic
         terms (winter break, summer break) the institution may reduce or cancel the financial aid immediately.
         15.3.4.2.1 Undergraduate Four-Year College Transfers. Institutional financial aid based in any degree on
         athletics ability awarded or issued to an undergraduate four-year transfer student in the academic year of initial, full-
         time enrollment at the certifying institution may only be reduced or canceled during the period of the award if the
         recipient: (Adopted: 8/31/22 applicable to transfer student-athletes seeking eligibility during the 2023-24 academic year and
         thereafter, Revised: 11/14/22, 1/11/23, 6/28/23)
         (a) Transfers to another institution (see Bylaw 14.5.2);
         (b) Loses amateur status and is no longer eligible for intercollegiate competition in the applicable sport (see Bylaw
             12.1.2); or
         (c) Is disqualified or suspended from receiving institutional financial aid by an institutional (as opposed to athletics
             department) proceeding (e.g., disciplinary process). However, the student shall remain a counter for the period of
             the award; or
         (d) Does not meet any of the conditions affecting transfer status at the certifying institution (for nonathletically
             related reasons) in the first regular term of the student-athlete’s aid agreement.
         (See Bylaw 15.5.1.2.1 for exceptions to counter legislation for undergraduate four-year transfers.)
         15.3.4.2.2 Timing of Reduction or Cancellation. Any reduction or cancellation of aid during the period of the
         award may occur only after the student-athlete has been provided an opportunity for a hearing per Bylaw 15.3.2.3
         (other than as permitted in Bylaw 15.5.6.4.1). (Adopted: 5/15/07, Revised: 4/23/08, 8/7/14)
         15.3.4.2.3 Nonathletically Related Conditions. An institutional financial aid agreement awarded to an
         individual other than an undergraduate four-year transfer may include nonathletically related conditions (e.g.,
         compliance with academics policies or standards, compliance with athletics department rules or policies) by which the
         aid may be reduced or canceled during the period of the award. (Adopted: 4/23/08, Revised: 8/7/14, 11/14/22)
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         15.3.4.2.4 Fraudulent Misrepresentation. If a student-athlete other than an undergraduate four-year transfer is
         awarded institutional financial aid on the basis of declaring intention to participate in a particular sport by signing a
         letter of intent, application or tender, action on the part of the grantee not to participate (either by not reporting for
         practice or after making only token appearances as determined by the institution) would constitute fraudulent
         misrepresentation of information on the grantee's application, letter of intent or financial aid agreement and would
         permit the institution to cancel or reduce the financial aid. (Revised: 1/11/94, 8/7/14, 11/14/22)
         15.3.4.2.5 Misconduct. An institution may cancel or reduce the financial aid of a student-athlete (other than an
         undergraduate four-year transfer) who is found to have engaged in misconduct by the university's regular student
         disciplinary authority, even if the loss-of-aid requirement does not apply to the student body in general. (Revised:
         1/11/94, 8/7/14, 11/14/22)
    15.3.4.3 Reduction or Cancellation Not Permitted. Institutional financial aid based in any degree on athletics ability
    may not be reduced or canceled during the period of its award: (Adopted: 1/16/93, Revised: 1/11/94, 12/11/07, 1/14/08,
    8/7/14)
     (a) On the basis of a student-athlete's athletics ability, performance or contribution to a team's success;
     (b) Because of an injury, illness, or physical or mental medical condition (except as permitted pursuant to Bylaw 15.3.4.2);
         or
     (c) For any other athletics reason.
         15.3.4.3.1 Athletically Related Condition Prohibition. An institution may not set forth an athletically related
         condition (e.g., financial aid contingent upon specified performance or playing a specific position) that would permit
         the institution to reduce or cancel the student-athlete's financial aid during the period of the award if the conditions
         are not satisfied. (Adopted: 1/16/93, Revised: 1/11/94, 8/7/14)
         15.3.4.3.2 Decrease Not Permitted. An institution may not decrease a prospective student-athlete's or a student-
         athlete's financial aid from the time the prospective student-athlete or student-athlete signs the financial aid award
         letter until the conclusion of the period set forth in the financial aid agreement, except under the conditions set forth in
         Bylaw 15.3.4.2. (Adopted: 1/11/94, Revised: 4/2/03 effective 8/1/03, 8/7/14)
15.3.5 Reduction, Cancellation or Nonrenewal of Institutional Financial Aid. [A] [Note: Bylaws 15.3.5 and
15.3.6 apply to autonomy conferences. They also apply to nonautonomy conferences and institutions that have elected to apply
the more restrictive autonomy provisions related to reduction and nonrenewal of institutional financial aid.] (Revised: 11/14/22)
    15.3.5.1 Reduction, Cancellation or Nonrenewal Permitted. [A] Institutional financial aid based in any degree on
    athletics ability awarded to an individual other than an undergraduate four-year transfer who receives or is issued athletically
    related financial aid in the academic year of initial, full-time enrollment at the certifying institution may be reduced or
    canceled during the period of the award or reduced or not renewed for the following academic year or years of the student-
    athlete's five-year period of eligibility if the recipient: (Revised: 1/10/92, 1/11/94, 1/10/95, 1/9/96, 12/13/05, 9/11/07,
    8/7/14, 1/17/15 effective 8/1/15, 6/19/18 effective 10/15/18, 11/14/22, 1/11/23)
     (a) Is rendered ineligible for intercollegiate competition based on the recipient's action or inaction;
     (b) Fraudulently misrepresents any information on an application, letter of intent or financial aid agreement (see Bylaw
         15.3.5.1.3);
     (c) Engages in serious misconduct warranting substantial disciplinary penalty, as determined by the institution's regular
         student disciplinary authority;
     (d) Voluntarily (on the recipient's own initiative) withdraws from a sport at any time for personal reasons; however, the
         recipient's financial aid may not be awarded to another student-athlete in the academic term in which the aid is
         reduced or canceled;
     (e) Violates a nonathletically related condition outlined in the financial aid agreement or violates a documented
         institutional rule or policy (e.g., academics policies or standards, athletics department or team rules or policies); or
     (f) Provides written notification of transfer (see Bylaw 13.1.1.3) to the institution; however, the student-athlete’s financial
         aid may not be reduced or canceled until the end of the regular academic term in which written notification of transfer
         is received. If a student-athlete provides written notification of transfer to the institution between regular academic
         terms (winter break, summer break) the institution may reduce or cancel the financial aid immediately.
         15.3.5.1.1 Timing of Reduction or Cancellation. [A] Any reduction or cancellation of aid during the period of
         the award may occur only after the student-athlete has been provided an opportunity for a hearing per Bylaw 15.3.2.3
         (other than as permitted in Bylaw 15.5.6.4.1). (Adopted: 5/15/07, Revised: 4/23/08, 8/7/14)

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         15.3.5.1.2 Undergraduate Four-Year College Transfers. [A] Institutional financial aid based in any degree on
         athletics ability awarded to an undergraduate four-year transfer student in the academic year of initial, full-time
         enrollment at the certifying institution may only be reduced or canceled during the period of the award if the recipient:
         (Adopted: 8/31/22 applicable to transfer student-athletes seeking eligibility during the 2023-24 academic year and thereafter,
         Revised: 11/14/22, 1/11/23, 6/28/23)
         (a) Transfers to another institution (see Bylaw 14.5.2);
         (b) Loses amateur status and is no longer eligible for intercollegiate competition in the applicable sport (see Bylaw
             12.1.2); or
         (c) Is disqualified or suspended from receiving institutional financial aid by an institutional (as opposed to athletics
             department) proceeding (e.g., disciplinary process). However, the student shall remain a counter for the period of
             the award; or
         (d) Does not meet any of the conditions affecting transfer status at the certifying institution (for nonathletically
             related reasons) in the first regular term of the student-athlete’s aid agreement.
         (See Bylaw 15.5.1.2.1 for exceptions to counter legislation for undergraduate four-year transfers.)
         15.3.5.1.3 Fraudulent Misrepresentation. [A] If a student-athlete is awarded institutional financial aid on the
         basis of declaring intention to participate in a particular sport by signing a letter of intent, application or tender, action
         on the part of the grantee not to participate (either by not reporting for practice or after making only token
         appearances as determined by the institution) would constitute fraudulent misrepresentation of information on the
         grantee's application, letter of intent or financial aid agreement. (Revised: 1/11/94, 8/7/14, 1/17/15 effective 8/1/15)
    15.3.5.2 Reduction or Cancellation Not Permitted -- During the Period of the Award. [A] Institutional
    financial aid based in any degree on athletics ability may not be reduced or canceled during the period of its award:
    (Adopted: 1/16/93, Revised: 1/11/94, 12/11/07, 1/14/08, 8/7/14, 1/17/15 effective 8/1/15)
     (a) On the basis of a student-athlete’s athletics ability, performance or contribution to a team’s success;
     (b) Because of an injury, illness, or physical or mental medical condition (except as permitted pursuant to Bylaw 15.3.5.1);
         or
     (c) For any other athletics reason.
         15.3.5.2.1 Athletically Related Condition Prohibition. [A] An institution may not set forth an athletically
         related condition (e.g., financial aid contingent upon specified performance or playing a specific position) that would
         permit the institution to reduce or cancel the student-athlete's financial aid during the period of the award if the
         conditions are not satisfied. (Adopted: 1/16/93, Revised: 1/11/94, 8/7/14)
         15.3.5.2.2 Decrease Not Permitted. [A] An institution may not decrease a prospective student-athlete's or a
         student-athlete's financial aid from the time the prospective student-athlete or student-athlete signs the financial aid
         award letter until the conclusion of the period set forth in the financial aid agreement, except under the conditions set
         forth in Bylaw 15.3.5.1. (Adopted: 1/11/94, Revised: 4/2/03 effective 8/1/03, 8/7/14)
    15.3.5.3 Reduction or Nonrenewal Not Permitted -- After the Period of the Award. [A] If a student-athlete
    receives athletically related financial aid in the academic year of initial, full-time enrollment at the certifying institution, the
    following factors shall not be considered in the reduction or nonrenewal of such aid for the following academic year or years
    of the student-athlete's five-year period of eligibility: (Adopted: 1/17/15 effective 8/1/15)
     (a) A student-athlete's athletics ability, performance or contribution to a team's success (e.g., financial aid contingent upon
         specified performance or playing a specific position);
     (b) An injury, illness, or physical or mental medical condition; or
     (c) Any other athletics reason.
15.3.6 Increase Permitted. [A] Institutional financial aid may be increased for any reason at any time. (Adopted: 1/11/94,
Revised: 2/26/03, 4/23/08, 10/27/11 effective 8/1/12 awards may be executed before 8/1/12, 8/7/14, 1/17/15 effective 8/1/15)
15.3.7 Renewals and Nonrenewals. [A]
    15.3.7.1 Institutional Obligation. [A] The renewal of institutional financial aid based in any degree on athletics ability
    shall be made on or before July 1 prior to the academic year in which it is to be effective. The institution shall promptly
    notify in writing each student-athlete who received an award the previous academic year and who has eligibility remaining
    in the sport in which financial aid was awarded the previous academic year (under Bylaw 12.8) whether the grant has been
    renewed or not renewed for the ensuing academic year. Notification of financial aid renewals and nonrenewals must come

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    from the institution's regular financial aid authority and not from the institution's athletics department. (Revised: 1/10/95,
    8/7/14)
    15.3.7.2 Reconsideration of Nonrenewal. [A] It is permissible for an institution that has notified a student-athlete
    that the student-athlete will not be provided institutional financial aid for the next academic year subsequently to award
    financial aid to the student-athlete. (Revised: 8/7/14)
15.5 Maximum Institutional Grant-in-Aid Limitations by Sport.
15.5.1 Counters. A student-athlete shall be a counter and included in the maximum awards limitations set forth in this bylaw
under the following conditions: (Revised: 6/10/04, 1/15/11 effective 8/1/11, 10/17/19)
(a) Athletics Aid. A student-athlete who receives financial aid based in any degree on athletics ability shall become a counter
    for the year during which the student-athlete receives the financial aid; or
(b) Educational Expenses -- Olympic Committee/National Governing Body. A student-athlete who receives
   educational expenses awarded by the U.S. Olympic and Paralympic Committee or a U.S. national governing body (or, for
   international student-athletes, expenses awarded by the equivalent organization of a foreign country) per Bylaw 15.2.6.5
   shall become a counter for the year during which the student-athlete receives the aid.
    15.5.1.1 Football or Basketball, Varsity Competition. In football or basketball, a student-athlete who was recruited
    (see Bylaw 15.02.9) by the awarding institution and who receives institutional financial aid (as set forth in Bylaw 15.02.5.2)
    granted without regard in any degree to athletics ability does not have to be counted until the student-athlete engages in
    varsity intercollegiate competition (as opposed to freshman, B-team, subvarsity, intramural or club competition) in those
    sports. (Revised: 1/16/93 effective 8/1/93, 1/11/94, 6/20/04, 1/15/11 effective 8/1/11, 1/18/14 effective 8/1/14)
         15.5.1.1.1 Exception -- Receipt of Institutional Academic Aid Only. In football or basketball, a student-
         athlete who was recruited (see Bylaw 15.02.9) by the awarding institution and whose only source of institutional
         financial aid is academic aid based solely on the recipient's academic record at the certifying institution, awarded
         independently of athletics interests and in amounts consistent with the pattern of all such awards made by the
         institution, may compete without counting in the institution's financial aid team limits, provided the student-athlete
         has completed at least one academic year of full-time enrollment at the certifying institution and has achieved a
         cumulative grade-point average of at least 3.000 (on a 4.000 scale) at the certifying institution. (Adopted: 10/27/05
         effective 8/1/06, Revised: 1/15/11 effective 8/1/11)
    15.5.1.2 Undergraduate Four-Year Transfers. An undergraduate four-year transfer student who receives or is issued
    athletically related financial aid in the academic year of initial, full-time enrollment at the certifying institution shall be a
    counter for the period of the award (see Bylaw 15.3.3.3). (Adopted: 8/31/22 applicable to transfer student-athletes seeking
    eligibility during the 2023-24 academic year and thereafter, Revised: 1/11/23)
         15.5.1.2.1 Exceptions. An undergraduate four-year transfer student shall not be considered a counter for the
         subsequent academic year if: (Adopted: 8/31/22 applicable to transfer student-athletes seeking eligibility during the 2023-24
         academic year and thereafter, Revised: 11/14/22, 6/28/23)
         (a) The individual becomes medically disqualified pursuant to Bylaw 15.5.1.3;
         (b) The individual transfers to another institution pursuant to Bylaw 14.5.2; or
         (c) The individual loses amateur status and is no longer eligible for intercollegiate competition in the applicable sport
             pursuant to Bylaw 12.1.2; or
         (d) The individual’s athletics aid is canceled pursuant to 15.3.4.2.1-(d) or 15.3.5.1.2-(d).
    15.5.1.3 Counter Who Becomes Injured or Ill. A counter who becomes injured or ill to the point that the individual
    apparently never again will be able to participate in intercollegiate athletics shall not be considered a counter beginning with
    the academic year following the incapacitating injury or illness.
         15.5.1.3.1 Incapacitating Injury or Illness. If an incapacitating injury or illness occurs prior to a prospective
         student-athlete's or a student-athlete's participation in athletically related activities and results in the student-athlete's
         inability to compete ever again, the student-athlete shall not be counted within the institution's maximum financial aid
         award limitations for the current, as well as later, academic years. However, if the incapacitating injury or illness occurs
         on or after the student-athlete's participation in countable athletically related activities in the sport, the student-athlete
         shall be counted in the institution's maximum financial aid limitations for the current academic year but need not be
         counted in later academic years. (Adopted: 1/10/91, Revised: 3/26/04, 9/18/07)
         15.5.1.3.2 Change in Circumstances. If circumstances change and the student-athlete subsequently practices or
         competes at the institution at which the incapacitating injury or illness occurred, the student-athlete again shall become

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         a counter, and the institution shall be required to count that financial aid under the limitations of this bylaw in the
         sport in question during each academic year in which the financial aid was received. (Revised: 4/26/01 effective 8/1/01)
   15.5.1.4 Aid Not Renewed, Successful Appeal. If an institution does not renew financial aid for a counter in a
   following year, and a hearing before the institution's regular financial aid authority results in a successful appeal for
   restoration of aid, the student-athlete shall continue to be a counter if the individual continues to receive athletically related
   financial aid. However, the student-athlete shall not be a counter if the student-athlete receives institutionally arranged or
   awarded, nonathletically related financial aid available to all students, provided such financial aid was granted or arranged
   without regard in any degree to athletics ability. If the student-athlete ever participates again in intercollegiate athletics at
   that institution, the student-athlete will be considered to have been a counter during each year the financial aid was
   received.
   15.5.1.5 Cancellation of Aid. Once an individual becomes a counter in a head-count sport (see Bylaws 15.5.2, 15.5.4,
   15.5.5, 15.5.6, 15.5.7 and 15.5.8), the individual normally continues as a counter for the remainder of the academic year.
   However, if the individual (other than an undergraduate four-year transfer) voluntarily withdraws from the team prior to
   the first day of classes or before the first contest of the season (whichever is earlier) and releases the institution from its
   obligation to provide financial aid, the individual no longer would be considered a counter (see Bylaws 15.5.2.2 and
   15.5.6.4.1). (Revised: 11/14/22)
   15.5.1.6 Eligibility Exhausted. A student-athlete receiving institutional financial aid after having exhausted eligibility in
   a sport is not a counter in that sport in later academic years following completion of eligibility in the sport. The student-
   athlete must be otherwise eligible for the aid and is not permitted to take part in organized, institutional practice sessions in
   that sport unless the individual has eligibility remaining under the five-year rule. (See Bylaw 15.3.1 for eligibility for
   financial aid.) For this provision to be applicable to an undergraduate four-year transfer, the individual shall not have
   eligibility remaining in the individual's the five-year period of eligibility. (Revised: 1/10/91, 11/14/22)
         15.5.1.6.1 Cross Country/Track and Field. A student-athlete who is awarded athletically related financial aid and
         who has exhausted eligibility in either cross country, indoor track and field, or outdoor track and field, but has
         eligibility remaining in any of the other sports, is not a counter in the cross country/track and field financial aid
         limitations, provided the student-athlete subsequently does not practice or compete in any of the sports in which the
         student-athlete has eligibility remaining during the academic year in which the aid was awarded. (Adopted: 6/26/01
         effective 8/1/01)
   15.5.1.7 Student-Athlete Whose Five-Year Period of Eligibility Expires Midyear. In sports in which
   performance from the nonchampionship and championship segments is considered for NCAA championship qualification
   or selection, a student-athlete who receives athletically related financial aid is not a counter, provided: (Adopted: 4/25/18
   effective 8/1/18, Revised: 11/14/22)
    (a) The student-athlete's five-year period of eligibility will expire before the NCAA championship in the applicable sport
        (e.g., end of fall semester); and
    (b) The student-athlete does not compete in the involved sport during that academic year.
   For this provision to be applicable to an undergraduate four-year transfer, the individual must have completed all
   requirements to receive a baccalaureate degree.
   15.5.1.8 Aid After Departure of Head Coach. A student-athlete who receives athletically related institutional financial
   aid in academic years after the departure of a head coach from the institution is not a counter in a year in which the
   student-athlete does not participate in intercollegiate athletics, provided: (Adopted: 4/29/10 effective 8/1/10, Revised: 4/26/17
   effective 8/1/17, 5/1/19, 11/14/22, 6/28/23)
    (a) The student-athlete participated in the applicable sport and received athletically related institutional financial aid
        during the coach's tenure at the institution; and
    (b) The student-athlete does not participate in the applicable sport beyond the next regular academic year (including
        completion of the championship season in spring sports) after the departure of the head coach.
         15.5.1.8.1 Subsequent Participation. If the student-athlete subsequently participates in the applicable sport at
         the institution, the student-athlete shall become a counter for all years during which athletically related institutional aid
         was received. (Adopted: 4/29/10 effective 8/1/10, Revised: 4/26/17 effective 8/1/17)
   15.5.1.9 Aid After Student-Athlete Becomes Permanently Ineligible. A student-athlete receiving institutional
   financial aid after becoming permanently ineligible due to a violation of NCAA regulations (e.g., amateurism legislation)
   may receive athletics aid during later academic years without counting in the institution's financial aid limitations, provided
   the student-athlete is otherwise eligible for the aid and does not practice or compete in intercollegiate athletics again. If
   circumstances change and the student-athlete practices or competes, the institution is required to count the financial aid
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   received by the student-athlete during each academic year in which the aid was received (see Bylaw 15.3.1.4). (Adopted:
   1/11/94)
   15.5.1.10 Summer-Term Aid. Institutional financial aid received during a summer term is not countable in these
   limitations and does not make a student-athlete a counter.
         15.5.1.10.1 Exception -- Football. [FBS/FCS] In football, an individual who receives athletically related financial
         aid during a summer term prior to initial full-time enrollment at the certifying institution shall be an initial and overall
         counter for the ensuing academic year. (See Bylaws 15.02.3 and 15.5.6.) (Adopted: 1/14/12, Revised: 6/7/22)
   15.5.1.11 Offers Exceeding Maximum Allowable Awards. An institution may offer more than the maximum
   number of permissible awards in a sport (per Bylaw 15.5) in anticipation that not all of the offers will be accepted, but the
   institution shall not exceed the awards limitation in the sport in question.
         15.5.1.11.1 Limitation on Number of National Letter of Intent/Offer of Financial Aid Signings -- Bowl
         Subdivision Football. [FBS] In bowl subdivision football, there shall be an annual limit of 25 on the number of
         prospective student-athletes who may sign a National Letter of Intent or an institutional offer of financial aid and
         student-athletes who may sign a financial aid agreement for the first time. (Adopted: 1/16/10 effective 8/1/10, Revised:
         1/14/12 effective 8/1/12, 4/26/17 effective 8/1/17 for signings that occur on or after 8/1/17)
             15.5.1.11.1.1 Application. [FBS] A prospective student-athlete who signs a National Letter of Intent or an
             institutional offer of financial aid or a student-athlete who signs a financial aid agreement that specifies financial
             aid will be initially provided in the fall term of an academic year shall count toward the annual limit on signings
             for that academic year. A prospective student-athlete who signs a National Letter of Intent or an institutional offer
             of financial aid or a student-athlete who signs a financial aid agreement that specifies financial aid will be initially
             provided during the second or third term of the academic year may count toward the limit for that academic year
             or the limit for the next academic year. (Adopted: 1/14/12 effective 8/1/12, Revised: 4/26/17 effective 8/1/17 for
             signings that occur on or after 8/1/17)
             15.5.1.11.1.2 Exception -- Agreement After One Year. [FBS] A student-athlete who has been in residence
             at the certifying institution for at least one academic year may sign a financial aid agreement for the first time
             without counting toward the annual limit on signings. (Adopted: 4/26/17 effective 8/1/17 for signings that occur on
             or after 8/1/17, Revised: 4/25/18 effective 8/1/18)
             15.5.1.11.1.3 Exception -- Incapacitating Injury or Illness. [FBS] A prospective student-athlete or
             student-athlete who, prior to participation in athletically related activities, becomes injured or ill to the point that
             the individual apparently never again will be able to participate in intercollegiate athletics shall not count toward
             the institution’s annual limit on signings. (Adopted: 4/26/17 effective 8/1/17 for signings that occur on or after 8/1/17)
15.5.2 Head-Count Sports Other Than Football and Basketball.
   15.5.2.1 Maximum Limits. An institution shall be limited in any academic year to the total number of counters (head
   count) in each of the following sports: (Revised: 1/10/91 effective 8/1/92, 1/9/96 effective 8/1/96)
    Women's Gymnastics 12 Women's Tennis 8
    Women's Volleyball 12
   15.5.2.2 Preseason Voluntary Withdrawal. An institution may replace a counter (other than an undergraduate four-
   year transfer) who voluntarily withdraws from the team in a head-count sport other than football or basketball by providing
   the financial aid to another student who already has enrolled in the institution and is a member of the team. For this
   replacement to occur, the counter must withdraw prior to the first day of classes or before the first game of the season,
   whichever is earlier, and release the institution from its obligation to provide financial aid. The institution may not award
   the financial aid to another student-athlete in the academic term in which the aid was reduced or canceled. Further, if the
   financial aid is canceled before a regular academic term (e.g., preseason practice period), the aid may not be provided to
   another student-athlete during the ensuing academic term. (Revised: 11/14/22)
   15.5.2.3 Voluntary Withdrawal From the Institution During the Academic Year. An institution may replace a
   counter (other than an undergraduate four-year transfer) who voluntarily withdraws (e.g., transfer, official religious mission)
   from the institution during the academic year by providing the financial aid to another student-athlete, including an
   incoming student-athlete, beginning with the ensuing term (e.g., spring semester, winter or spring quarter) without making
   the second student-athlete a counter for the remainder of that academic year. (Adopted: 4/25/18 effective 8/1/18, Revised:
   11/14/22)
   15.5.2.4 Midyear Replacement -- Women's Volleyball. In women's volleyball, the financial aid of a counter who
   graduates at midyear or who graduates during the previous academic year (including summer) may be provided to another
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   student-athlete and the replaced student-athlete shall not be a counter for the remainder of that academic year. (Adopted:
   1/11/89, Revised: 1/16/10 effective 8/1/10, 11/14/22)
   15.5.2.5 Midyear Graduate Replacement -- Women's Gymnastics and Women's Tennis. In women's
   gymnastics and women's tennis, the financial aid of a counter who graduates at midyear with eligibility remaining and who
   does not return to the institution for the following academic term may be provided to another student-athlete. The replaced
   student-athlete shall not be a counter for the remainder of the academic year. (Adopted: 4/26/07 effective 8/1/07, Revised:
   11/14/22)
   15.5.2.6 Academic Study Abroad Replacement. A student-athlete who is participating in a full-time study abroad
   program pursuant to Bylaw 12.8.1.3 may be replaced as a counter for the term or terms of participation by a student who
   already has enrolled in the institution and is a member of the team. (Adopted: 1/19/17 effective 8/1/17)
   15.5.2.7 Internship or Cooperative Educational Work Experience Program Replacement. A student-athlete
   who is participating in a full-time internship or cooperative educational work experience program pursuant to Bylaw
   12.8.1.4 may be replaced as a counter for the term or terms of participation by a student who already has enrolled in the
   institution and is a member of the team. (Adopted: 1/19/17 effective 8/1/17)
   15.5.2.8 Replacement of an Ineligible Student-Athlete. An institution may replace a counter (other than an
   undergraduate four-year transfer) whose aid is canceled because the student-athlete was rendered ineligible for
   intercollegiate competition during a particular academic term (e.g., fall semester, winter quarter) by providing the financial
   aid to another student in the ensuing term (e.g., spring semester, spring quarter). (Adopted: 4/26/17 effective 8/1/17, Revised:
   11/14/22)
15.5.3 Equivalency Sports.
   15.5.3.1 Maximum Equivalency Limits.
         15.5.3.1.1 Men's Sports. There shall be a limit on the value (equivalency) of financial aid awards (per Bylaw
         15.02.5.2) that an institution may provide in any academic year to counters in the following men's sports: (Revised:
         1/10/91, 1/10/92, 1/16/93 effective 8/1/93, 4/26/07 effective 8/1/08)
         Cross Country/Track and Field                     12.6 Swimming and Diving           9.9
         Fencing                                           4.5    Tennis                      4.5
         Golf                                              4.5    Volleyball                  4.5
         Gymnastics                                        6.3    Water Polo                  4.5
         Lacrosse                                          12.6 Wrestling                     9.9
         Rifle                                             3.6
         Skiing                                            6.3
         Soccer                                            9.9
             15.5.3.1.1.1 Minimum Equivalency Value -- Men's Wrestling. In men's wrestling, an institution shall
             provide each counter athletically related and other countable financial aid that is equal to or greater than 20
             percent of an equivalency. (Adopted: 6/30/22 effective 8/1/23 for student-athletes who initially enroll full time at a
             four-year collegiate institution on or after 8/1/23)
                  15.5.3.1.1.1.1 Exception -- Need-Based Athletics Aid Only. In men's wrestling, an institution that
                  awards athletically related financial aid based solely on demonstrated financial need, as determined for all
                  students by the institution's financial aid office using methodologies that conform to federal, state and written
                  institutional guidelines (including institutional financial aid that is considered athletically related financial aid
                  based on the intervention of athletics department staff), is not subject to the 20 percent minimum equivalency
                  value per counter. (Adopted: 6/30/22 effective 8/1/23 for student-athletes who initially enroll full time at a four-
                  year collegiate institution on or after 8/1/23)
                  15.5.3.1.1.1.2 Exception -- Final Two Years of Eligibility and Not Previously Aided. An
                  institution may provide less than 20 percent of an equivalency to a student-athlete, provided the student-
                  athlete is in the final two years of eligibility and has not previously received athletically related financial aid in
                  men's wrestling at any collegiate institution. (Adopted: 6/30/22 effective 8/1/23 for student-athletes who initially
                  enroll full time at a four-year collegiate institution on or after 8/1/23)
         15.5.3.1.2 Women's Sports. There shall be a limit on the value (equivalency) of financial aid awards (per Bylaw
         15.02.5.2) that an institution may provide in any academic year to counters in the following women's sports: (Revised:
         1/10/91, 1/10/92 effective 8/1/94, 1/16/93, 1/11/94 effective 9/1/94, 1/9/96 effective 8/1/96, 11/1/01 effective 8/1/02,
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         4/28/05 effective 8/1/05, 1/17/09 effective 8/1/09, 1/15/11 effective 8/1/11, 1/18/14 effective 8/1/14, 6/23/20 effective
         8/1/20, 4/26/23 effective 8/1/23)
         Acrobatics and Tumbling              14        Rugby                12
         Bowling                              5         Skiing               7
         Cross Country/Track and Field 18               Soccer               14
         Equestrian                           15        Softball             12
         Fencing                              5         Stunt                9
         Field Hockey                         12        Swimming and Diving 14
         Golf                                 6         Triathlon            6.5
         Lacrosse                             12        Water Polo           8
         Rowing                               20        Wrestling            10
         15.5.3.1.3 Maximum Equivalency Limits -- Institutions That Sponsor Cross Country but Do Not
         Sponsor Track and Field. There shall be a limit of five on the value (equivalency) of financial aid awards (per Bylaw
         15.02.5.2) that an institution may provide in any academic year to counters in men's cross country, if the institution
         does not sponsor indoor or outdoor track and field for men. There shall be a limit of six on the value (equivalency) of
         financial aid awards (per Bylaw 15.02.5.2) that an institution may provide in any academic year to counters in
         women's cross country, if the institution does not sponsor indoor or outdoor track and field for women. (Adopted:
         1/10/91 effective 9/1/94, Revised: 1/9/96 effective 8/1/96)
         15.5.3.1.4 Midyear Replacement -- Cross Country, Field Hockey, Soccer, Track and Field and Men's
         Water Polo. In cross country, field hockey, soccer, track and field and men's water polo, financial aid equal to the
         countable financial aid provided to a counter who graduates at midyear or who graduates during the previous academic
         year (including summer) and has exhausted eligibility but remains enrolled at the institution may be provided to
         another student-athlete, who shall be a counter for the remainder of that academic year. Other financial aid provided to
         the student-athlete that would otherwise be countable is excluded from the team's maximum equivalency limits for the
         remainder of the academic year. (Adopted: 1/22/20 effective 8/1/20, Revised: 11/14/22)
   15.5.3.2 Equivalency Computations. In equivalency sports, each institutional financial aid award (per Bylaw
   15.02.5.2) to a counter shall be computed as follows: (Revised: 1/10/90, 1/9/96 effective 8/1/96, 4/29/04 effective 8/1/04,
   10/20/08, 1/17/15 effective 8/1/15)
    (a) Once a student becomes a counter, the institution shall count all institutional aid (per Bylaw 15.02.5.2) received up to
        the value of a full grant-in-aid. Exempted government grants per Bylaw 15.2.5 and exempted institutional aid per
        Bylaw 15.02.5.4 specifically are excluded from this computation.
    (b) A fraction shall be created, with the amount received by the student-athlete (up to the value of a full grant-in-aid) as
        the numerator and the full grant-in-aid value for that student-athlete as the denominator based on the actual cost or
        average cost of a full grant for all students at that institution.
    (c) The sum of all fractional and maximum awards received by counters shall not exceed the total limit for the sport in
        question for the academic year as a whole.
         15.5.3.2.1 Application to Autonomy Conferences. A member institution of one of the five conferences named
         in Bylaw 9.2.2.1.1 shall use a full grant-in-aid in its equivalency computations as defined in Bylaw 15.02.6. The
         elements of a grant-in-aid are tuition and fees, living expenses, books, and other expenses related to attendance at the
         institution. (Adopted: 1/17/15 effective 8/1/15, Revised: 7/31/23)
         15.5.3.2.2 Application to Other Conferences. A member institution of a conference other than the five
         conferences named in Bylaw 9.2.2.1.1 may use a full grant-in-aid in its equivalency computations as defined in Bylaw
         15.02.6 or one that consists of tuition and fees, living expenses, and required course-related books, subject to the
         discretion of its conference pursuant to Bylaw 9.2.2.1.2.2. If the institution uses a full grant-in-aid that consists of
         tuition and fees, living expenses, and required course-related books, financial aid unrelated to athletics ability received
         by a student-athlete in excess of a full grant-in-aid shall not be included in the equivalency computation. (Adopted:
         1/17/15 effective 8/1/15, Revised: 7/31/23)
         15.5.3.2.3 Additional Requirements. The following additional requirements shall apply to equivalency
         computations: (Revised: 10/20/08, 1/15/11, 10/18/11, 4/17/12 effective 8/1/12, 1/17/15 effective 8/1/15)
         (a) An institution may use either the actual cost or average cost of any or all the elements (other than books) of the
             equivalency calculation, provided the same method is used in both the numerator and denominator for each

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            element. Either method (or different combinations of methods among elements) may be used for each student-
            athlete on the same team or for separate teams generally.
         (b) In computing equivalencies for tuition and fees, it is not permissible to average the value of in-state and out-of-
             state tuition and fees to determine an average cost for tuition and fees.
         (c) Books shall count for calculation purposes as $800 in the denominator. If a student-athlete receives any portion of
             a book allowance for the academic year, the institution must use $800 in the denominator and numerator for
             books, regardless of the actual cost of the books. If a student-athlete is enrolled for less than a full academic year
             (e.g., one semester, one or two quarters) and receives any portion of a book allowance, the institution must use the
             amount in the numerator that is proportionate to the number of terms of enrollment ($400 for semester systems,
             $534 or $267 for quarter systems).
         15.5.3.2.4 Exceptions.
            15.5.3.2.4.1 Academic Honor Awards -- Based on High School Record. Academic honor awards that are
            part of an institution’s normal arrangements for academic scholarships, based solely on the recipient’s high school
            record and awarded independently of athletics interests and in amounts consistent with the pattern of all such
            awards made by the institution, are exempt from an institution’s equivalency computations, provided the recipient
            was ranked in the upper 10 percent of the high school graduating class or achieved a cumulative grade-point
            average of at least 3.500 (based on a maximum of 4.000) or a minimum ACT sum score of 105 or a minimum
            SAT score of 1200 (critical reading and math) for SAT tests taken before March 1, 2016; or a minimum SAT
            score of 1270 (critical reading and math) for tests taken on or after March 1, 2016, based on the concordance
            determined by the College Board. (Adopted: 1/12/99 effective 8/1/99, Revised: 1/14/08 effective 8/1/08, 1/16/10
            effective 8/1/10, 2/2/16)
                 15.5.3.2.4.1.1 Additional Requirements. The following additional requirements shall be met: (Adopted:
                 1/12/99 effective 8/1/99, Revised: 1/18/14 effective 8/1/14)
                  (a) The awards may include additional, nonacademic criteria (e.g., interviews, essays, need analysis), provided
                      the additional criteria are not based on athletics ability, participation or interests, and the awards are
                      consistent with the pattern of all such awards provided to all students;
                  (b) No quota of awards shall be designated for student-athletes;
                  (c) Athletics participation shall not be required before or after collegiate enrollment;
                  (d) No athletics department staff member shall be involved in designating the recipients of such awards; and
                  (e) Any additional criteria shall not include athletics ability, participation or interests.
                 15.5.3.2.4.1.2 Renewals. The renewal of an academic honor award (per Bylaw 15.5.3.2.4.1) may be
                 exempted from an institution’s equivalency computation regardless of whether the recipient qualified for
                 exemption in the initial academic year enrollment, provided: (Adopted: 1/12/99 effective 8/1/99, Revised:
                 3/18/10)
                  (a) The recipient achieves a cumulative grade-point average of at least 3.000 (based on a maximum of 4.000)
                      at the certifying institution; and
                  (b) The recipient meets all NCAA, conference and institutional progress-toward-degree requirements.
            15.5.3.2.4.2 Academic Honor Awards -- Transfer Students. Academic honor awards that are part of an
            institution’s normal arrangements for academic scholarships, either based solely on the recipient’s cumulative
            academic record from all collegiate institutions previously attended or based on the recipient’s high school record
            and cumulative academic record from all collegiate institutions previously attended, awarded independently of
            athletics interests and in amounts consistent with the pattern of all such awards made by the institution, may be
            exempted from a team’s equivalency computation, provided the recipient achieved a cumulative transferable grade-
            point average of at least 3.000 (based on a maximum of 4.000). (Adopted: 1/16/10 effective 8/1/10, Revised: 1/15/11
            effective 8/1/11)
                 15.5.3.2.4.2.1 Calculation of Grade-Point Average. Grades earned in all courses that are normally
                 transferable to an institution shall be considered in determining the grade-point average for meeting this
                 exception, regardless of the grade earned or whether such grade makes the course unacceptable for
                 transferable-degree credit. (Adopted: 1/16/10 effective 8/1/10)
                 15.5.3.2.4.2.2 Renewals. The renewal of an academic honor award (per Bylaw 15.5.3.2.4.2) may be
                 exempted from an institution’s equivalency computation, provided: (Adopted: 1/16/10 effective 8/1/10, Revised:
                 1/15/11 effective 8/1/11)
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                   (a) The recipient achieves a cumulative grade-point average of at least 3.000 (based on a maximum of 4.000)
                       at the certifying institution; and
                   (b) The recipient meets all NCAA, conference and institutional progress-toward-degree requirements.
             15.5.3.2.4.3 Institutional Academic Scholarships. Institutional academic scholarships that are part of an
             institution’s normal arrangements for academic scholarships, based solely on the recipient’s academic record at the
             certifying institution, awarded independently of athletics interests and in amounts consistent with the pattern of
             all such awards made by the institution, are exempt from an institution’s equivalency computation, provided the
             recipient has completed at least one academic year of full-time enrollment at the certifying institution and has
             achieved a cumulative grade-point average of at least 3.000 (on a 4.000 scale) at the certifying institution.
             (Adopted: 10/27/05 effective 8/1/06, Revised: 1/15/11 effective 8/1/11)
             15.5.3.2.4.4 Academic Study Abroad Exception. All countable financial aid of a student-athlete who is
             participating in a full-time study-abroad program pursuant to Bylaw 12.8.1.3 is exempt from an institution’s
             equivalency computation. Countable financial aid in an amount equal to the countable financial aid provided to
             the participating student-athlete may be provided to a student who already has enrolled in the institution and is a
             member of the team for the term or terms of participation in the study-abroad program. (Adopted: 1/19/17 effective
             8/1/17)
             15.5.3.2.4.5 Internship or Cooperative Educational Work Experience Program Exception. All
             countable financial aid of a student-athlete who is participating in a full-time internship or cooperative educational
             work experience program pursuant to Bylaw 12.8.1.4 is exempt from an institution’s equivalency computation.
             Countable financial aid in an amount equal to the countable financial aid provided to the participating student-
             athlete may be provided to a student who already has enrolled in the institution and is a member of the team for
             the term or terms of participation in the internship or cooperative educational work experience program. (Adopted:
             1/19/17 effective 8/1/17)
         15.5.3.2.5 Cancellation of Athletically Related Aid. If a student-athlete is dismissed from or voluntarily
         withdraws from a team and the student-athlete's athletically related financial aid is canceled (see Bylaws 15.3.2.3,
         15.3.4.2 and 15.3.5.1) during an academic term, all other countable financial aid the student-athlete receives during
         the remainder of the term is countable toward the student-athlete’s equivalency for the academic year; however, the
         institution is not required to count other countable financial aid toward the student-athlete’s equivalency during any
         remaining terms of the academic year. If a student-athlete is dismissed from or voluntarily withdraws from a team and
         the student-athlete's athletically related financial aid is canceled at the end of an academic term, the institution is not
         required to count other countable financial aid toward the student-athlete’s equivalency during any remaining terms of
         the academic year. (Adopted: 12/13/05)
15.5.4 Baseball Limitations. There shall be an annual limit of 11.7 on the value of financial aid awards (equivalencies) to
counters and an annual limit of 27 on the total number of counters in baseball. (Adopted: 4/26/07 effective 8/1/08)
    15.5.4.1 Minimum Equivalency Value. An institution shall provide each counter athletically related and other
    countable financial aid that is equal to or greater than 25 percent of an equivalency. (Adopted: 4/26/07 effective 8/1/08 for
    student-athletes who initially enroll full time at any four-year collegiate institution on or after 8/1/08, Revised: 8/9/07)
         15.5.4.1.1 Exception -- Need-Based Athletics Aid Only. In baseball, an institution that awards athletically
         related financial aid based solely on demonstrated financial need, as determined for all students by the institution's
         financial aid office using methodologies that conform to federal, state and written institutional guidelines (including
         institutional financial aid that is considered athletically related financial aid based on the intervention of athletics
         department staff), is not subject to the 25 percent minimum equivalency value per counter. (Adopted: 1/14/08 effective
         8/1/08)
         15.5.4.1.2 Exception -- Final Year of Eligibility and Not Previously Aided. An institution may provide less
         than 25 percent of an equivalency to a student-athlete, provided the student-athlete is in the final year of eligibility and
         has not previously received athletically related financial aid in baseball at any collegiate institution. (Adopted: 4/26/12
         effective 8/1/12, Revised: 8/20/12)
    15.5.4.2 Academic Study Abroad Replacement. A student-athlete who is participating in a full-time study abroad
    program pursuant to Bylaw 12.8.1.3 may be replaced as a counter for the term or terms of participation by a student who
    already has enrolled in the institution and is a member of the team. (Adopted: 1/19/17 effective 8/1/17)
    15.5.4.3 Internship or Cooperative Educational Work Experience Program Replacement. A student-athlete
    who is participating in a full-time internship or cooperative educational work experience program pursuant to Bylaw


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   12.8.1.4 may be replaced as a counter for the term or terms of participation by a student who already has enrolled in the
   institution and is a member of the team. (Adopted: 1/19/17 effective 8/1/17)
   15.5.4.4 Voluntary Withdrawal From the Institution During the Academic Year. An institution may replace a
   counter (other than an undergraduate four-year transfer) who voluntarily withdraws (e.g., transfer, official religious mission)
   from the institution during the academic year by providing the financial aid to another student-athlete, including an
   incoming student-athlete, beginning with the ensuing term (e.g., spring semester, winter or spring quarter) without making
   the second student-athlete a counter for the remainder of that academic year. (Adopted: 4/25/18 effective 8/1/18, Revised:
   11/14/22)
15.5.5 Basketball Limitations.
   15.5.5.1 Men's Basketball. There shall be a limit of 13 on the total number of counters in men's basketball at each
   institution. (Adopted: 1/10/91 effective 8/1/92, Revised: 4/27/00 effective 8/1/01, 11/1/01, 4/29/04 effective 8/1/04)
         15.5.5.1.1 Academic Study Abroad Replacement. A student-athlete who is participating in a full-time study
         abroad program pursuant to Bylaw 12.8.1.3 may be replaced as a counter for the term or terms of participation by a
         student who already has enrolled in the institution and is a member of the team. (Adopted: 1/19/17 effective 8/1/17)
         15.5.5.1.2 Internship or Cooperative Educational Work Experience Program Replacement. A student-
         athlete who is participating in a full-time internship or cooperative educational work experience program pursuant to
         Bylaw 12.8.1.4 may be replaced as a counter for the term or terms of participation by a student who already has
         enrolled in the institution and is a member of the team. (Adopted: 1/19/17 effective 8/1/17)
   15.5.5.2 Women's Basketball. There shall be an annual limit of 15 on the total number of counters in women's
   basketball at each institution. (Adopted: 1/10/91 effective 8/1/92, Revised: 1/10/92 effective 8/1/93, 1/16/93)
         15.5.5.2.1 Academic Study Abroad Replacement. A student-athlete who is participating in a full-time study
         abroad program pursuant to Bylaw 12.8.1.3 may be replaced as a counter for the term or terms of participation by a
         student who already has enrolled in the institution and is a member of the team. (Adopted: 1/19/17 effective 8/1/17)
         15.5.5.2.2 Internship or Cooperative Educational Work Experience Program Replacement. A student-
         athlete who is participating in a full-time internship or cooperative educational work experience program pursuant to
         Bylaw 12.8.1.4 may be replaced as a counter for the term or terms of participation by a student who already has
         enrolled in the institution and is a member of the team. (Adopted: 1/19/17 effective 8/1/17)
   15.5.5.3 Voluntary Withdrawal From the Institution During the Academic Year. An institution may replace a
   counter (other than an undergraduate four-year transfer) who voluntarily withdraws (e.g., transfer, official religious mission)
   from the institution during the academic year by providing the financial aid to another student-athlete, including an
   incoming student-athlete, beginning with the ensuing term (e.g., spring semester, winter or spring quarter) without making
   the second student-athlete a counter for the remainder of that academic year. (Adopted: 4/25/18 effective 8/1/18, Revised:
   11/14/22)
   15.5.5.4 Replacement of an Ineligible Student-Athlete. An institution may replace a counter (other than an
   undergraduate four-year transfer) whose aid is canceled because the student-athlete was rendered ineligible for
   intercollegiate competition during a particular academic term (e.g., fall semester, winter quarter) by providing the financial
   aid to another student in the ensuing term (e.g., spring semester, spring quarter). (Adopted: 4/26/17 effective 8/1/17, Revised:
   11/14/22)
15.5.6 Football Limitations. [FBS/FCS]
   15.5.6.1 Bowl Subdivision Football. [FBS] There shall be an annual limit of 25 on the number of initial counters (per
   Bylaw 15.02.3.1) and an annual limit of 85 on the total number of counters (including initial counters) in football at each
   institution. (Revised: 1/10/91 effective 8/1/92, 12/15/06)
   15.5.6.2 Championship Subdivision Football. [FCSD] There shall be an annual limit of 30 on the number of initial
   counters (per Bylaw 15.02.3.1), an annual limit of 63 on the value of financial aid awards (equivalencies) to counters, and
   an annual limit of 85 on the total number of counters (including initial counters) in football at each Football
   Championship Subdivision institution. (Revised: 1/10/91 effective 8/1/92, 12/15/06)
         15.5.6.2.1 Exception -- Championship Subdivision. [FCS] Championship subdivision football programs that
         meet the following criteria are exempt from the championship subdivision football counter and initial-counter
         requirements of Bylaws 15.5.1 and 15.5.6, regardless of multisport student-athletes who receive athletics aid in a sport
         other than football: (Revised: 1/11/94 effective 8/1/94, 1/10/95, 10/31/02 effective 8/1/03, 12/15/06)



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         (a) In football, the institution awards financial aid only to student-athletes who demonstrate financial need, except
             loans, academic honor awards, nonathletics achievement awards, or certain aid from outside sources may be
             provided without regard to financial need;
         (b) The institution uses methodologies for analyzing need that conform to federal, state and written institutional
             guidelines. The methodologies used to determine the need of a student-athlete must be consistent with the
             methodologies used by the institution's financial aid office for all students; and
         (c) The composition of the financial aid package offered to football student-athletes is consistent with the policy
             established for offering financial assistance to all students. The financial aid packages for football student-athletes
             also shall meet the following criteria:
              (1) The institution shall not consider athletics ability as a criterion in the formulation of any football student-
                  athlete's financial aid package; and
              (2) The procedures used to award financial aid to football student-athletes must be the same as the existing
                  financial aid procedures used for all students at the institution.
   15.5.6.3 Initial Counters -- Football (Also see Bylaw 15.02.3.1). [FBS/FCS]
         15.5.6.3.1 Recruited Student-Athlete Entering in Fall Term, Aided in First Year. [FBS/FCS] A student-
         athlete recruited (see Bylaw 15.02.9) by the awarding institution who enters in the fall term and receives institutional
         financial aid (based in any degree on athletics ability) during the first academic year of residence shall be an initial
         counter for that year in football. Therefore, such aid shall not be awarded if the institution has reached its limit on the
         number of initial counters prior to the award of institutional financial aid to the student-athlete. (Revised: 1/15/11
         effective 8/1/11)
         15.5.6.3.2 Recruited Student-Athlete Entering After Fall Term, Aided in First Year. [FBS/FCS] A student-
         athlete recruited (per Bylaw 15.02.9) by the awarding institution who enters after the first term of the academic year
         and immediately receives institutional financial aid (based in any degree on athletics ability) shall be an initial counter
         for either the current academic year (if the institution's annual limit has not been reached) or the next academic year.
         The student-athlete shall be included in the institution's total counter limit during the academic year in which the aid
         was first received. (Revised: 1/15/11 effective 8/1/11)
         15.5.6.3.3 Nonrecruited Student-Athlete Receiving Institutional Financial Aid During First Year. [FBS/
         FCS] A student-athlete not recruited (per Bylaw 15.02.9) by the institution who receives institutional financial aid
         (based in any degree on athletics ability) after beginning football practice during the first year of enrollment becomes a
         counter but need not be counted as an initial counter until the next academic year if the institution has reached its
         initial limit for the year in question. However, the student-athlete shall be considered in the total counter limit for the
         academic year in which the aid was first received. (Revised: 1/15/11 effective 8/1/11, 4/25/18 effective 8/1/18)
         15.5.6.3.4 Midyear Replacement. [FBS/FCS] The financial aid of a counter who graduates at midyear or who
         graduates during the previous academic year (including summer) may be provided to another student-athlete (an initial
         counter) and the replaced student-athlete shall not be a counter for the remainder of that academic year. The initial
         counter shall be counted against the initial limit either for the year in which the aid is awarded (if the institution's
         annual limit has not been reached) or for the following academic year, or by a student-athlete who was an initial
         counter in a previous academic year and is returning to the institution after time spent on active duty in the armed
         services or on an official religious mission. In bowl subdivision football, an institution may use the midyear
         replacement exception only if it previously has provided financial aid during that academic year to the maximum
         number of overall counters (85 total counters). In championship subdivision football, an institution may use the
         midyear replacement exception only if it previously has provided financial aid during that academic year that equals the
         maximum number of overall equivalencies or overall counters. (Revised: 4/20/99 effective 8/1/99, 6/8/99, 4/26/01
         effective 8/1/01, 8/2/05, 12/15/06, 1/14/08 effective 8/1/08, 4/2/10, 1/15/11, 11/14/22)
         15.5.6.3.5 Aid First Awarded After First Year. [FBS/FCS] A student-athlete who has been in residence at the
         certifying institution for at least one academic year may receive athletically related financial aid for the first time
         without such aid counting as an initial award, provided the aid falls within the overall grant limitation. (Adopted:
         1/11/89, Revised: 1/10/90 effective 8/1/90, 4/25/18 effective 8/1/18)
         15.5.6.3.6 Recruited Student-Athlete, Varsity Competition. [FBS/FCS] In accordance with Bylaw 15.5.1.1, a
         recruited student-athlete (per Bylaw 15.02.9) receiving institutional financial aid having been granted without regard in
         any degree to athletics ability becomes an initial counter in the first academic year in which the student-athlete
         competes on the varsity level. (See Bylaw 15.5.1.1.1.) (Revised: 10/27/05 effective 8/1/06, 1/15/11 effective 8/1/11,
         1/18/14 effective 8/1/14)

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         15.5.6.3.7 Returning Two-Year Transfer. [FBS/FCS] A student-athlete who previously was an initial counter
         and who transferred to a two-year college shall not be an initial counter upon return to the original institution.
         15.5.6.3.8 Delayed Initial Counter Who Does Not Return to School. [FBS/FCS] A student-athlete who
         receives countable financial aid but whose status as an initial counter under this bylaw is delayed until the following
         academic year shall be counted against the initial limit the following academic year, regardless of whether the student-
         athlete reports for participation or attends the institution in that academic year.
         15.5.6.3.9 Academic Study Abroad Replacement. [FBS/FCS] A student-athlete who already has enrolled in the
         institution and is a member of the team may replace a counter who is participating in a full-time study abroad program
         pursuant to Bylaw 12.8.1.3 for the term or terms of participation without being counted as an initial counter.
         (Adopted: 1/19/17 effective 8/1/17)
         15.5.6.3.10 Internship or Cooperative Educational Work Experience Program Replacement. [FBS/FCS]
         A student-athlete who already has enrolled in the institution and is a member of the team may replace a counter who is
         participating in a full-time internship or cooperative educational work experience program pursuant to Bylaw 12.8.1.4
         for the term or terms of participation without being counted as an initial counter. (Adopted: 1/19/17 effective 8/1/17)
    15.5.6.4 Exceptions. [FBS/FCS]
         15.5.6.4.1 Preseason Voluntary Withdrawal. [FBS/FCS] An institution may replace a counter (other than an
         undergraduate four-year transfer) who voluntarily withdraws from the football team by providing the financial aid to
         another student who already has enrolled in the institution and is a member of the football squad. For this replacement
         to occur, the counter must withdraw prior to the first day of classes or the first game of the season, whichever is earlier,
         and provide the institution with a signed statement releasing the institution from its obligation to provide institutional
         financial aid and verifying the voluntary nature of the withdrawal. The institution may immediately (beginning with
         the fall term) award the financial aid to a student-athlete who has been a member of the team for at least one academic
         year and has not previously received athletically related financial aid. A student-athlete who has not been a member of
         the team for at least one academic year may not receive the financial aid during the fall term, but may receive it in an
         ensuing term (e.g., spring semester, winter quarter). (Revised: 4/28/05 effective 8/1/05, 11/14/22)
         15.5.6.4.2 Voluntary Withdrawal From the Institution During the Academic Year. [FBS/FCS] An
         institution may replace a counter (other than an undergraduate four-year transfer) who voluntarily withdraws (e.g.,
         transfer, official religious mission) from the institution during the academic year by providing the financial aid to
         another student-athlete, including an incoming student-athlete, beginning with the ensuing term (e.g., spring semester,
         winter or spring quarter) without making the second student-athlete a counter for the remainder of that academic year.
         The departing student-athlete's aid may be canceled upon the institution's receipt of a signed statement from the
         student-athlete releasing the institution from its obligation to provide institutional financial aid and verifying the
         voluntary nature of the withdrawal. If such a statement is received, a hearing opportunity (per Bylaw 15.3.2.3) is not
         required. (Adopted: 4/25/18 effective 8/1/18, Revised: 11/14/22)
         15.5.6.4.3 Replacement of an Ineligible Student-Athlete. [FBS/FCS] An institution may replace a counter
         (other than an undergraduate four-year transfer) whose aid is canceled because the student-athlete was rendered
         ineligible for intercollegiate competition during a particular academic term (e.g., fall semester, winter quarter) by
         providing the financial aid to another student in the ensuing term (e.g., spring semester, spring quarter). (Adopted:
         4/26/17 effective 8/1/17, Revised: 11/14/22)
         15.5.6.4.4 Academic Study Abroad Replacement. [FBS/FCS] A student-athlete who is participating in a full-
         time study abroad program pursuant to Bylaw 12.8.1.3 may be replaced as a counter for the term or terms of
         participation by a student who already has enrolled in the institution and is a member of the team. (Adopted: 1/19/17
         effective 8/1/17)
         15.5.6.4.5 Internship or Cooperative Educational Work Experience Program Replacement. [FBS/FCS]
         A student-athlete who is participating in a full-time internship or cooperative educational work experience program
         pursuant to Bylaw 12.8.1.4 may be replaced as a counter for the term or terms of participation by a student who
         already has enrolled in the institution and is a member of the team. (Adopted: 1/19/17 effective 8/1/17)
         15.5.6.4.6 Sprint Football. [FBS/FCS] Participants in sprint football programs who do not participate in the
         institution's regular varsity intercollegiate program shall not be counted in the institution's financial aid limitations.
15.5.7 Ice Hockey Limitations. There shall be an annual limit of 18 on the value of financial aid awards (equivalencies) to
counters and an annual limit of 30 on the total number of counters in ice hockey at each institution. (Adopted: 1/16/93 effective
8/1/93)


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   15.5.7.1 Academic Study Abroad Replacement. A student-athlete who is participating in a full-time study abroad
   program pursuant to Bylaw 12.8.1.3 may be replaced as a counter for the term or terms of participation by a student who
   already has enrolled in the institution and is a member of the team. (Adopted: 1/19/17 effective 8/1/17)
   15.5.7.2 Internship or Cooperative Educational Work Experience Program Replacement. A student-athlete
   who is participating in a full-time internship or cooperative educational work experience program pursuant to Bylaw
   12.8.1.4 may be replaced as a counter for the term or terms of participation by a student who already has enrolled in the
   institution and is a member of the team. (Adopted: 1/19/17 effective 8/1/17)
   15.5.7.3 Voluntary Withdrawal From the Institution During the Academic Year. An institution may replace a
   counter (other than an undergraduate four-year transfer) who voluntarily withdraws (e.g., transfer, official religious mission)
   from the institution during the academic year by providing the financial aid to another student-athlete, including an
   incoming student-athlete, beginning with the ensuing term (e.g., spring semester, winter or spring quarter) without making
   the second student-athlete a counter for the remainder of that academic year. (Adopted: 4/25/18 effective 8/1/18, Revised:
   11/14/22)
15.5.8 Women's Beach Volleyball Limitations.
   15.5.8.1 Institutions That Sponsor Women's Beach Volleyball and Women's Volleyball. If an institution
   sponsors women's beach volleyball and women's volleyball, there shall be an annual limit of six on the value of financial aid
   awards (equivalencies) provided to counters and an annual limit of 14 on the total number of counters in women's beach
   volleyball. (Adopted: 1/15/11 effective 8/1/11)
   15.5.8.2 Institutions That Sponsor Women's Beach Volleyball but Do Not Sponsor Women's Volleyball. If
   an institution does not sponsor women's volleyball, there shall be an annual limit of eight on the value of financial aid
   awards (equivalencies) provided to counters and an annual limit of 14 on the total number of counters in women's beach
   volleyball. (Adopted: 1/15/11 effective 8/1/11)
   15.5.8.3 Academic Study Abroad Replacement. A student-athlete who is participating in a full-time study abroad
   program pursuant to Bylaw 12.8.1.3 may be replaced as a counter for the term or terms of participation by a student who
   already has enrolled in the institution and is a member of the team. (Adopted: 1/19/17 effective 8/1/17)
   15.5.8.4 Internship or Cooperative Educational Work Experience Program Replacement. A student-athlete
   who is participating in a full-time internship or cooperative educational work experience program pursuant to Bylaw
   12.8.1.4 may be replaced as a counter for the term or terms of participation by a student who already has enrolled in the
   institution and is a member of the team. (Adopted: 1/19/17 effective 8/1/17)
   15.5.8.5 Voluntary Withdrawal From the Institution During the Academic Year. An institution may replace a
   counter (other than an undergraduate four-year transfer) who voluntarily withdraws (e.g., transfer, official religious mission)
   from the institution during the academic year by providing the financial aid to another student-athlete, including an
   incoming student-athlete, beginning with the ensuing term (e.g., spring semester, winter or spring quarter) without making
   the second student-athlete a counter for the remainder of that academic year. (Adopted: 4/25/18 effective 8/1/18, Revised:
   11/14/22)
15.5.9 Multisport Participants.
   15.5.9.1 Football. [FBS/FCS] In football, a counter who was recruited (per Bylaw 15.02.9) and/or offered financial aid
   to participate in football and who participates (practices or competes) in football and one or more sports (including
   basketball) shall be counted in football. A counter who was not recruited (per Bylaw 15.02.9) and/or offered financial aid to
   participate in football and who competes in football and one or more sports (including basketball) shall be counted in
   football. (Revised: 1/10/95 effective 8/1/95, 1/9/96 effective 8/1/96, 1/15/11 effective 8/1/11)
         15.5.9.1.1 Initial Counter. [FBS/FCS] A counter who previously has not been counted in football shall be
         considered an initial counter even though the student-athlete already has received countable financial aid in another
         sport.
         15.5.9.1.2 Championship Subdivision Football Exception. [FCS] A counter who practices or competes in
         football at a Football Championship Subdivision institution that elects to use the football counter and initial-counter
         exception set forth in Bylaw 15.5.6.2.1 and who practices or competes in another sport and receives countable financial
         aid in another sport shall be counted in the institution’s financial aid limitations in the other sport. (Adopted: 1/10/95,
         Revised: 12/15/06)
   15.5.9.2 Basketball. A counter who practices or competes in basketball and one or more other sports (other than
   football) shall be counted in basketball.


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    15.5.9.3 Men's Ice Hockey. A counter who practices or competes in men's ice hockey and one or more other sports
    (other than football or basketball) shall be counted in men's ice hockey. (Adopted: 1/16/93 effective 8/1/93)
    15.5.9.4 Men's Swimming and Diving/Men's Water Polo. A counter who practices or competes in both men's
    swimming and diving and men's water polo shall be counted in men's swimming and diving, unless the individual counts
    in football or basketball.
    15.5.9.5 Women's Volleyball. A counter who practices or competes in women's volleyball and one or more other sports
    (other than basketball) shall be counted in women's volleyball.
         15.5.9.5.1 Participation in Women's Volleyball in Second Year of Enrollment After Counter Status in
         Women's Beach Volleyball in First Year of Enrollment. A student-athlete who was a counter in women's beach
         volleyball during the student-athlete's initial year of full-time enrollment at the certifying institution and participates
         (practices and competes) in women's volleyball during the student-athlete's second year of full-time enrollment at the
         certifying institution shall be a counter in women's volleyball for the student-athlete's initial year of full-time
         enrollment at the certifying institution. (Adopted: 1/15/11 effective 8/1/11)
    15.5.9.6 Two-Year Exception. If an individual has participated in a sport other than basketball or women's volleyball
    for two years or more since the individual's initial collegiate enrollment and would be involved only in basketball or
    women's volleyball practice sessions, such a student would not become a counter in those sports until the student actually
    competes as a member of the institution's intercollegiate team, at either the varsity or junior varsity level. (Revised: 1/10/95
    effective 8/1/95, 1/9/96 effective 8/1/96, 1/9/06 effective 8/1/06)
    15.5.9.7 Other Sports. Except as otherwise provided in this section, a counter who participates in two or more sports
    shall be counted in one of the sports but shall not be counted in the others.
         15.5.9.7.1 Requirement to Qualify as Multisport Athlete. To be considered a multisport athlete under this
         section, an individual must meet all of the following requirements: (Revised: 1/15/11 effective 8/1/11)
          (a) The individual shall report and participate fully in regularly organized practice with each squad;
          (b) The individual shall participate where qualified in actual competition in each sport;
          (c) The individual shall be a member of each squad for the entire playing and practice season; and
          (d) If a recruited student-athlete (per Bylaw 15.02.9), the individual shall have been earnestly recruited to participate
              in the sport in which financial aid is counted (the institution recruiting the student-athlete shall have a reasonable
              basis to believe that the student-athlete is capable of participating in the institution's varsity intercollegiate
              program in that sport, including documentation of a record of previous participation in organized competition in
              the sport that supports the student-athlete's potential to participate in that sport in varsity intercollegiate
              competition).
15.5.10 Changes in Participation. If a student-athlete changes sports during an academic year, the student-athlete's
financial aid shall be counted in the maximum limitations for the first sport for the remainder of the academic year. If the
student-athlete continues to receive financial aid, the award shall be counted the next academic year against the maximum
limitations in the second sport. A student-athlete shall be counted as an initial counter in football during the year in which the
student-athlete first becomes countable in that sport, regardless of whether countable financial aid was received previously for
another sport. (Revised: 4/3/02)
15.5.11 Squad List.
    15.5.11.1 Eligibility Requirement. To be eligible to represent an institution in intercollegiate athletics competition, a
    student-athlete shall be included on the institution's squad-list form. [D]
    15.5.11.2 Squad-List Form. The institution shall compile a list of the squad members in each sport on the first day of
    competition and shall indicate thereon the status of each member in the categories listed (see Bylaw 12.10.2). [D] (Revised:
    11/1/07 effective 8/1/08, 7/30/10, 1/18/14 effective 8/1/14, 8/7/14)
         15.5.11.2.1 Procedures. The following procedures shall be used for the squad list: [D] (Revised: 1/9/06 effective
         8/1/06, 7/30/10, 1/18/14 effective 8/1/14)
          (a) The form shall be available for examination upon request by an authorized representative of another member
              institution, the NCAA, and, if the institution is a member of a conference, an authorized representative of the
              conference;
          (b) A supplementary form may be filed to add names of persons not initially on the squad or to indicate a change of
              status;


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         (c) A student-athlete's name must be on the official institutional form to qualify to represent the institution in
             intercollegiate athletics; and
         (d) The athletics director (or designee, who may not be a coaching staff member) shall sign the form for each sport.
             The head coach in each sport shall sign the form for the applicable sport.
   15.5.11.3 Drug-Testing Consent-Form Requirement. Any student-athlete who signs a drug-testing consent form
   must be included on the institution's squad-list form, and any student-athlete who is included on the squad-list form must
   have signed a drug-testing consent form pursuant to Bylaw 12.7.3. [D] (Adopted: 1/10/92 effective 8/1/92)
         15.5.11.3.1 Exception -- 14-Day Grace Period. An institution is not required to place a student-athlete who is
         trying out for a team on the squad-list form for 14 days from the first date the student engages in countable athletically
         related activities or until the institution's first competition, whichever occurs earlier. (Adopted: 4/28/05)




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                                                           FIGURE 15-1
                                                     Financial Aid Limitations

         Note: The individual financial aid limitation applies to all student-athletes. Only aid received by a counter must be
         certified to determine whether the aid is countable against the team financial aid limitation. A counter is a student-
         athlete who receives institutional financial aid based in any degree on athletics, athletically related aid from a
         continuing and established program exceeding $1,000 that does not meet the legislated criteria, educational expenses from
         an Olympic committee or national governing body, or for recruited football or basketball student-athletes who compete in
         varsity competition, any form of institutional or institutionally administered financial aid (e.g., institutionally
         administered government grants) unless otherwise exempt. An undergraduate four-year transfer who receives athletically
         related financial aid shall be a counter for the period of award (see Bylaw 15.3.3.3).

                                                                                        Individual               Team
                                                                    Citation            Limitation1            Limitation2
         Institutional Athletics Aid
         Aid based on athletics ability                            15.02.5.1                  Yes                   Yes4
                                                                   15.02.5.2-(a)
                                                                   15.1.2
         Summer school financial aid                               15.2.8                    Yes3                    No

         Student Assistance Fund                                   15.01.6.1                  No                     No

         Postgraduate Scholarship                                  15.02.5.4-(d)              Yes                    No

         Institutional Awards, Nonathletic
         Aid Based Solely Upon Financial Need                      15.02.5.4-(a)              Yes                    No

         Academic Honor Awards
         Based on high school record (and renewal)                 15.5.3.2.4.1               Yes                    No
         Transfer students (and renewal)                           15.5.3.2.4.2               Yes                    No
         Institutional Academic Scholarships                       15.5.3.2.4.3               Yes                    No
         Based on record at the institution
         Academic award, nondiscretionary                          15.02.5.4-(b)              Yes                    No

         Research grants and honorary academic                     15.02.5.4-(c)              Yes                    No
         awards                                                    15.02.7                    Yes                    No
         Employee Tuition Benefit or Tuition Waiver                15.02.5.2-(a)              Yes                   No5

         Other forms of institutional financial aid                15.02.5.2-(a)              Yes                   Yes
         (e.g., leadership and community service awards)

         Outside Scholarship Programs
         Outside aid for educational purposes, unrelated to          15.2.6.2                 Yes                    No
         athletics ability
         Outside aid for educational purposes,                       15.2.6.3                 Yes                    No
         related to athletics ability - up to $1,000




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         Outside aid for educational purposes,                   15.2.6.4                Yes                  No
         related to athletic ability – exceeds $1,000,
         meets criteria
         Outside aid for educational purposes,                   15.2.6.4                Yes                 Yes4
         related to athletics ability – exceeds $1,000
         and does not meet criteria
         State and Federal Awards and Benefits
                                                               15.02.5.2-(b)             Yes                 Yes
         Government grants, institutionally                    15.1.2-(a)
         administered, unspecified
         Government grants, institutionally                    15.02.5.4                 Yes                 No
         administered, specified
         Government grants, not institutionally                15.02.5.5                 No                  No
                                                               15.2.5.1
         administered, specified
         Government grants, not institutionally                15.1.2-(a)                Yes                 No
                                                               15.2.5
         administered, unspecified and unrelated to
         athletics
         Pell Grant                                            15.1.1                    Yes6                 No
                                                               15.2.5
         Loans and Educational Savings Accounts
         Parent/guardian contribution                           15.2.6.1                 No                   No

         Loan, legitimate, repayment schedule                  15.1.2-(f)                No                   No

         Compensation
         Educational Expenses—USOC or NGB                      15.2.6.5                   Yes                Yes4
                                                               15.5.1-(b)
         Operation Gold Grant                                  15.02.5.6                  No                  No
         1 The value of the cost of attendance as defined by Bylaw 15.02.2. See also Bylaw 15.1.
         2 See Bylaw 15.5 for the team financial aid limitation of a particular sport.
         3 The individual limitation for the applicable summer term only.
         4 Results in counter status. All other aid received by the recipient must be evaluated to determine whether
           the award is countable toward team financial aid limits. See also Bylaw 15.5.1.1.
         5 Exempt if the student-athlete’s parent or guardian has been employed as a full-time employee or staff
           member by the institution for at least five years.
         6 Pell recipients may receive financial aid equivalent to cost of attendance or the value of a full grant-in-aid
           plus the Pell Grant, whichever is greater.
         7 Compensation for athletics performance (i.e., pay-for-play) renders a student-athlete ineligible for
           intercollegiate competition.




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                                                                      FIGURE 15-2
                                                    How to Determine a Counter
                                      (Students Other Than Undergraduate Four-Year Transfers)
             START

                                              NO                                        NO              RECEIVED AID              NO
                      RECRUITED                                 RECEIVED
                                                                                                         PER BYLAW
                      ATHLETE? 1                             ATHLETICS AID? 2,6
                                                                                                          15.02.5.2?
                              YES                                       YES                                        YES



                                                                                                    AID IS UNRELATED TO
                     RECEIVED                 YES                                            NO      ATHLETICS ABILITY,
                  ATHLETICS AID? 2                           COUNTER                                 PARTICIPATION OR
                                                                                                     ACHIEVEMENT? 3, 4, 5
                              NO                                                                                   YES

                                                                        YES                NO
                                                             COMPETED IN
                    RECEIVED AID              YES              DIVISION I
                     PER BYLAW                             VARSITY FOOTBALL                             NONCOUNTER
                      15.02.5.2?                            OR BASKETBALL?
                              NO




             1. Per Bylaw 15.02.9.
             2. In football, an individual who receives athletically related financial aid during the summer prior to initial full-time
               enrollment at the certifying institution shall be an initial and overall counter for the ensuing academic year (Bylaw
               15.5.1.9.1).
             3. Recruited student-athlete (per Bylaw 15.02.9) who is a varsity football or basketball team member but does not
               compete: Financial aid must be unrelated to athletics ability (Bylaw 15.5.1.1).
             4. Recruited student-athlete (per Bylaw 15.02.9) participating in sport other than football or basketball: Financial aid must
               be unrelated to athletics ability.
             5. Nonrecruited student-athlete (see Bylaw 15.02.9) participating in any sport: Financial aid must be unrelated to
               athletics ability.
             6. Includes athletically related financial aid from an established and continuing program that exceeds $1,000 and does not
               meet the criteria outlined in Bylaw 15.2.6.4, and educational expenses from an Olympic committee or national governing
               body (per Bylaw 15.2.6.5).




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                                                               FIGURE 15-3
                                      Where To Count Student-Athletes Who Participate
                                          in More Than One Intercollegiate Sport

         DIRECTIONS:
         Start at 1, football, and keep going until you reach a sport in which the                                   1. FOOTBALL*
         student-athlete participates. Count the student-athlete in that sport.
         Note the alternatives for men’s water polo. If a student-athlete
         participates in men’s water polo and men’s swimming and diving, the
         student-athlete is counted in men’s swimming and diving. If the
                                                                                                                     2. BASKETBALL
         student-athlete participates in men’s water polo and any sport except
         football, men’s basketball, men’s ice hockey and men’s swimming and
         diving, the student-athlete may be counted in either sport. If the
         student-athlete participates in men’s swimming and diving and any
         other sport except football, men’s basketball, men’s ice hockey and
         men’s water polo, the student-athlete may be counted in either sport.                                       3. MEN’S
                                                                                                                         ICE HOCKEY
         For student-athletes who practice in basketball or women's volleyball
         but do not compete on a junior varsity or varsity team, see the
         two-year exception in Bylaw 15.5.9.6.
                                                                                                                     4. WOMEN’S
                                                                                                                         VOLLEYBALL



                                                                                                      and
                                                                         5. MEN’S                                   5. MEN’S
                                                                             WATER POLO                                  SWIMMING
                                                                                                     Count

                                                                           and                                                      and

                                                                           ALL OTHER                                    ALL OTHER
                                                                            SPORTS                                       SPORTS
                                                                           NOT IN 1-5                                   NOT IN 1-5



                                                                                               COUNT IN ANY
                                                                                                ONE SPORT



         *In football, a counter who was not recruited (per Bylaw 15.02.9) and/or offered financial aid to participate in football and
          who competes in football and one or more sports (including basketball) must be counted in football (see Bylaw 15.5.9.1).




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BYLAWS, ARTICLE 16

Awards, Benefits and Expenses for
Enrolled Student-Athletes
16.01 General Principles. [A]
16.01.1 Application of Bylaw 16 to Specific and Limited Extenuating Circumstances. [A] For specific and
limited extenuating circumstances, an institution is authorized to provide benefits and expenses for a student-athlete's personal
health, safety and well-being. An institution should collaborate with applicable institutional financial aid, medical, legal and risk
management personnel to determine how to best address individual student-athlete needs and corresponding institutional
considerations. (Adopted: 8/3/22)
16.01.2 Eligibility Effect of Violation. [A] A student-athlete shall not receive any extra benefit. Receipt by a student-
athlete of an award, benefit or expense allowance not authorized by NCAA legislation renders the student-athlete ineligible for
athletics competition in the sport for which the improper award, benefit or expense was received. If the student-athlete receives
an extra benefit not authorized by NCAA legislation, the individual is ineligible in all sports.
    16.01.2.1 Restitution for Receipt of Impermissible Benefits. [A] Unless otherwise noted, for violations of Bylaw
    16 in which the value of the benefit is $200 or less, the eligibility of the student-athlete shall not be affected conditioned
    upon the student-athlete repaying the value of the benefit to a charity of the student-athlete's choice. The student-athlete,
    however, shall remain ineligible from the time the institution has knowledge of receipt of the impermissible benefit until
    the student-athlete repays the benefit. For violations of Bylaw 16 in which there is no monetary value to the benefit,
    violations shall be considered institutional violations per Bylaw 8.01.3; however, such violations shall not affect the student-
    athlete's eligibility. (Adopted: 11/1/01, Revised: 8/5/04, 1/19/18)
16.02 Definitions and Applications. [A]
16.02.1 Award. [A] An award is an item given in recognition of athletics participation or performance. Such awards are
subject to the limitations set forth in Bylaw 16.1.
16.02.2 Excessive Expense. [A] An excessive expense is one not specifically authorized under regulations of the Association
concerning awards, benefits and expenses.
16.02.3 Extra Benefit. [A] An extra benefit is any special arrangement by an institutional employee or representative of the
institution's athletics interests to provide a student-athlete or the student-athlete family member or friend a benefit not expressly
authorized by NCAA legislation. Receipt of a benefit by student-athletes or their family members or friends is not a violation of
NCAA legislation if it is demonstrated that the same benefit is generally available to the institution's students or their family
members or friends or to a particular segment of the student body (e.g., international students, minority students) determined
on a basis unrelated to athletics ability. (Revised: 1/10/91, 1/19/13 effective 8/1/13)
16.02.4 Family Member. [A] For purposes of Bylaw 16, a family member is an individual with any of the following
relationships to a student-athlete: spouse, parent or legal guardian, child, sibling, grandparent, domestic partner or any
individual whose close association with the student-athlete is the practical equivalent of a family relationship. (Adopted: 1/19/13
effective 8/1/13)
16.02.5 Pay. [A] Pay is the receipt of funds, awards or benefits not permitted by governing legislation of the Association for
participation in athletics. (See Bylaw 12.1.2.1 for explanation of forms of pay prohibited under the Association's amateur-status
regulations.)
16.02.6 Significant Other. [A] A significant other is a spouse, fiancé or fiancée, domestic partner, or any individual whose
relationship to an identified individual (e.g., prospective student-athlete, coach, student-athlete) is the practical equivalent of a
spouse. (Adopted: 1/19/18)
16.1 Awards. [A]
16.1.1 Application of Awards Legislation. [A]
    16.1.1.1 Awards Received for Participation While not Representing the Institution. [A] Awards received by an
    individual for participation in competition while not representing the institution shall conform to the rules of the amateur
    sports organization that governs the competition, but may not include cash (or cash equivalents) that exceeds actual and
    necessary expenses (see Bylaw 12.1.2.4). (Revised: 1/19/13 effective 8/1/13, 8/7/14)
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    16.1.1.2 Awards Received for Participation While Representing the Institution. [A] The awards limitations of
    Bylaw 16.1 apply to awards received by a student-athlete for participation in competition while representing the student-
    athlete's institution. Such awards may not include cash or cash equivalents, gift certificates or gift cards that are redeemable
    for cash (original amount or any balance thereof), or a country club or sports club membership. [R] (Revised: 4/28/10,
    1/19/13 effective 8/1/13, 8/7/14)
16.1.2 Uniformity of Awards. [A] Awards presented by a member institution, conference or other approved agency must
be uniform for all team members receiving the award. [R] (Revised: 8/7/14)
16.1.3 Transfer of Nonpermissible Award. [A] Cash or any other award that an individual could not receive under
NCAA legislation may not be forwarded in the individual's name to a different individual or agency (e.g., a collegiate
institution). (Revised: 8/7/14)
16.1.4 Types of Awards, Awarding Agencies, Maximum Value and Numbers of Awards. [A] Athletics awards
given to individual student-athletes shall be limited to those approved or administered by the member institution, its conference
or an approved agency as specified in the following subsections and shall be limited in value and number as specified in this
section. Awards received for intercollegiate athletics participation may not be sold, exchanged or assigned for another item of
value, even if the student-athlete's name or picture does not appear on the award. Each of the following subsections is
independent of the others so that it is permissible for an individual student-athlete to receive the awards described in all
subsections. [R] (Revised: 9/12/03, 8/7/14)
    16.1.4.1 Participation Awards. [A] Awards for participation in intercollegiate athletics may be presented each year,
    limited in value and number as specified in Figure 16-1. Awards for participation in special events may be provided only to
    student-athletes eligible to participate in the competition. [R] (Revised: 4/25/02 effective 8/1/02, 3/8/12, 1/19/13 effective
    8/1/13, 8/7/14)
         16.1.4.1.1 Senior Scholar-Athlete Award. [A] An institution may provide a maximum of two senior scholar-
         athlete awards each year to graduating seniors. The award may consist of a tangible item valued at not more than $175
         and a postgraduate scholarship not to exceed $10,000. The postgraduate scholarship shall be used for graduate studies
         at the recipient's choice of institution and shall be disbursed directly to that institution. Such a scholarship only may be
         awarded to a student-athlete who has completed the requirements for a baccalaureate degree. A student-athlete who has
         received an institutional postgraduate scholarship as part of a senior scholar-athlete award shall no longer be eligible to
         participate in intercollegiate athletics, except that the student may complete the remainder of any season currently in
         progress at the time of the award (e.g., postseason competition in the spring sport that occurs after graduation). [R]
         (Adopted: 4/25/02, Revised: 6/1/06, 1/14/08, 8/7/14)
         16.1.4.1.2 Special Event Participation Awards Based on Level of Achievement. [A] Special event
         participation awards may include awards that are based on a level of achievement (e.g., all-tournament award, finalist
         award, place-finish award) in the event, provided the awards are uniform within each level and the combined value of
         all awards received for participation in the particular type of special event (e.g., conference championship; other
         established meets, tournaments and featured individual competition) does not exceed the maximum permissible value
         of such awards (see Figure 16-1). (Adopted: 1/10/13, Revised: 8/7/14)
    16.1.4.2 Awards for Winning Conference and National Championships. [A] Awards for winning an individual
    or team conference or national championship may be presented each year, limited in value and number as specified in
    Figure 16-2. Awards for winning a conference or national championship in a team sport may be provided only to student-
    athletes who were eligible to participate in the championship event. The total value of any single award received for a
    national championship may not exceed $415. The total value of any single award received for a conference championship
    may not exceed $325, and each permissible awarding agency is subject to a separate $325 limit per award. Each permissible
    awarding agency may provide only a single award for each championship to each student-athlete. Separate awards may be
    presented to both the regular-season conference champion and the postseason conference champion (with a separate $325
    limitation), but if the same institution wins both the regular-season and postseason conference championship, the combined
    value of both awards shall not exceed $325. [R] (Revised: 4/25/02 effective 8/1/02, 8/7/14)
    16.1.4.3 Special Achievement Awards. [A] Awards may be provided each year to individual student-athletes and
    teams to recognize special achievements, honors and distinctions, limited in value and number as specified in Figure
    16-3. [R] (Revised: 4/25/02 effective 8/1/02, 8/7/14)
    16.1.4.4 Local Civic Organization. [A] A local civic organization (e.g., Rotary Club, Touchdown Club) may provide
    awards to a member institution's team(s), provided such awards are approved by the institution and are counted in the
    institution's limit for institutional awards. [R] (Adopted: 1/10/92, Revised: 1/9/96 effective 8/1/96, 6/11/09, 8/7/14)


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    16.1.4.5 Academic or Graduation Awards or Incentives. [A] The NCAA, a conference or an institution may
    provide a student-athlete an academic or graduation award or incentive that has a value up to the maximum value of awards
    an individual student-athlete could receive in an academic year in participation, championship and special achievement
    awards (combined) listed in Figures 16-1, 16-2, and 16-3. (Adopted: 8/12/20, Revised: 10/6/21)
16.1.5 Purchase Restrictions. [A]
    16.1.5.1 Assignment of Normal Retail Value. [A] Normal retail value shall be assigned as the value of an award when
    determining whether an award meets specified value limits, even when a member institution receives institutional awards
    from an athletics representative or organization free of charge or at a special reduced rate. Normal retail value is the cost to
    the institution that is based solely on volume and is available to all purchasers of a similar volume and that does not involve
    an obligation to make additional purchases to enable the supplier to recover the costs for the original purchase. (Adopted:
    1/16/93, Revised: 8/7/14)
    16.1.5.2 Supplementary-Purchase Arrangement. [A] An institution may not enter into a supplementary-purchase
    arrangement with an awards supplier whereby the supplier agrees to sell an award (e.g., a watch or ring) at a price below the
    maximum amount specified by NCAA legislation with the understanding that the institution will make additional
    purchases of other unrelated items to enable the supplier to recover the costs for the original purchase. Such an arrangement
    would exceed the specific-value limitations placed on permissible awards. [R] (Revised: 8/7/14)
    16.1.5.3 Combining Values. [A] An institution may not combine the value limits of awards given in a sport during the
    same season, or given to athletes who participate in more than one sport, to provide an award more expensive than
    permissible under separate application to some or all of its participating student-athletes. [R] (Revised: 8/7/14)
    16.1.5.4 Student-Athlete Contribution to Purchase. [A] The value of an award may not exceed specified value
    limits, and a student-athlete may not contribute to its purchase in order to meet those limits. [R] (Revised: 8/7/14)
16.1.6 Institutional Awards Banquets. [A] An institution may conduct awards banquets to commemorate the athletics
and/or academic accomplishments of its student-athletes. (Revised: 1/9/96 effective 8/1/96, 8/7/14)
    16.1.6.1 Booster Club Recognition Banquet. [A] One time per year, an institution's athletics booster club may
    finance an intercollegiate team's transportation expenses to a recognition banquet, provided all expenses are paid through
    the institution's athletics department, the location of the event is not more than 100 miles from the campus and no tangible
    award is provided to members of the team. [R] (Revised: 1/9/96 effective 8/1/96, 8/7/14)
16.1.7 Expenses to Receive Noninstitutional Awards. [A] A conference, an institution, the U.S. Olympic and
Paralympic Committee, a national governing body (or the international equivalents) or the awarding agency may provide actual
and necessary expenses for a student-athlete to receive a noninstitutional award or recognition for athletics or academic
accomplishments. Actual and necessary expenses may be provided for the student-athlete's family members to attend the
recognition event or awards presentation. [R] (Adopted: 1/19/13 effective 8/1/13, Revised: 8/7/14, 10/17/19)
16.2 Complimentary Admissions and Ticket Benefits. [A]
16.2.1 Permissible Procedures. [A]
    16.2.1.1 Institutional Events in the Student-Athlete's Sport. [A] An institution may provide four complimentary
    admissions per home or away intercollegiate athletics event to a student-athlete in the sport in which the individual
    participates (either practices or competes), regardless of whether the student-athlete competes in the contest. Such
    complimentary admissions are for the use of the individuals designated by the student-athlete and may be issued through
    digital ticketing or a pass list on an individual-game basis. [R] (Revised: 8/7/14, 8/3/22)
         16.2.1.1.1 Exception -- Postseason Events. [A] An institution may provide each student-athlete who participates
         in or is a member of a team participating in a postseason event (e.g., conference championship, NCAA championship,
         National Invitation Tournament, bowl game) with six complimentary admissions to all intercollegiate athletics events
         at the site at which the student (or team) participates. (Adopted: 1/9/96 effective 8/1/96, Revised: 11/1/01 effective 8/1/02,
         1/17/09 effective 8/1/09, 8/7/14)
         16.2.1.1.2 Tournaments. [A] Complimentary admissions may be provided to members of the institution's team for
         all intercollegiate athletics events in a tournament in which the team is participating, rather than only for the games in
         which the institution's team participates. However, the contests must be at the site at which the institution's team
         participates. (Revised: 8/7/14)
    16.2.1.2 Institution's Home Events in Other Sports. [A] An institution may provide admission for each student-
    athlete to all of the institution's regular-season home intercollegiate athletics events in sports other than that in which the
    student-athlete is a participant. [R] (Revised: 8/7/14, 8/3/22)

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         16.2.1.2.1 Nonqualifier. [A] A nonqualifier (per Bylaw 14.02.10.3) may receive a complimentary admission to all
         of the institution's regular-season home intercollegiate athletics events in the first academic year of residence. [R]
         (Revised: 1/3/06, 8/7/14)
         16.2.1.2.2 Complimentary Admissions to an Institution's Home Contest Honoring a Student-Athlete.
         [A] An institution may provide a maximum of four complimentary admissions to a student-athlete for an institution's
         game or event during which a student-athlete is being honored but not participating, provided such complimentary
         admissions are used by the student-athlete's family members. [R] (Adopted: 4/27/00 effective 8/1/00, Revised: 1/8/07
         effective 8/1/07, 1/19/13 effective 8/1/13, 8/7/14)
    16.2.1.3 Student-Athlete Ticket Purchases. [A] An institution may arrange for a student-athlete to purchase tickets
    at face value for an athletics event in which the student-athlete's team (or the student-athlete as an individual)
    participates. [R] (Adopted: 1/15/16, Revised: 8/3/22)
16.2.2 Nonpermissible Procedures. [A]
    16.2.2.1 Sale of Complimentary Admissions. [A] A student-athlete may not receive payment from any source for the
    student-athlete's complimentary admissions and may not exchange or assign them for any item of value.
    16.2.2.2 Payment to Third Party. [A] Individuals designated by the student-athlete to receive complimentary
    admissions are not permitted to receive any type of payment for the admissions or to exchange or assign them for any item
    of value. Receipt of payment for complimentary admissions by such designated individuals is prohibited and considered an
    extra benefit. [R]
    16.2.2.3 Sale Above Face Value. [A] A student-athlete may not purchase tickets for an intercollegiate athletics event
    from the institution and then sell the tickets at a price greater than their face value. [R]
16.3 Academic and Other Support Services. [A]
16.3.1 Mandatory. [A]
    16.3.1.1 Academic Counseling/Support Services. [A] Member institutions shall make general academic counseling
    and tutoring services available to all student-athletes. Such counseling and tutoring services may be provided by the
    department of athletics or the institution's nonathletics student support services. In addition, an institution, conference or
    the NCAA may finance other academic support, career counseling or personal development services and provide benefits
    and expenses that support or are incidental to the academic success of student-athletes. (Adopted: 1/10/91 effective 8/1/91,
    Revised: 4/25/02 effective 8/1/02, 5/9/06, 1/19/13 effective 8/1/13, 8/7/14, 8/3/22)
    16.3.1.2 Life Skills Programs. [A] An institution shall be required to conduct a life skills program on its campus.
    (Adopted: 4/27/00 effective 8/1/00, Revised: 10/7/10, 8/7/14)

    16.3.1.2 Career Counseling and Life Skills Programs. An institution shall be required to provide career counseling
    (for student-athletes and former student-athletes) and life skills programing that includes, at minimum, the following
    topics: (See Bylaw 20.2.4.25.) (Adopted: 4/27/00 effective 8/1/00, Revised: 10/7/10, 8/7/14, 4/26/23 effective 8/1/24)
     (a) Mental health;
     (b) Diversity, equity, inclusion and belonging;
     (c) Sexual violence prevention;
     (d) Education on transfer requirements;
     (e) Strength and conditioning;
     (f) Nutrition;
     (g) Financial literacy;
     (h) Career preparation; and
     (i) Name, image and likeness.

16.3.2 Expenses Related to Legal and Other Proceedings. [A] An institution may provide actual and necessary
expenses to attend proceedings conducted by the institution, its athletics conference or the NCAA that relate to the student-
athlete's eligibility to participate in intercollegiate athletics or legal proceedings that result from the student-athlete's
involvement in athletics practice or competitive events. The cost of legal representation in such proceedings also may be
provided by the institution (or a representative of its athletics interests). [R] (Revised: 5/9/06, 8/7/14)


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16.3.3 Expenses Related to Initial or Transfer-Eligibility Requirements. [A] An institution shall not provide
academic expenses or services (e.g., tutoring, test preparation) to assist a prospective student-athlete or enrolled student-athlete
in completing initial-eligibility or transfer-eligibility requirements or in improving the individual's academic profile in
conjunction with a waiver request. [R] (Adopted: 4/23/08, Revised: 8/7/14)
16.3.4 Specific Benefits Related to Education. [A] A conference or institution may provide the following benefits
related to education without limitations: (Adopted: 8/12/20, Revised: 10/6/21)
 (a) Computers, science equipment, musical instruments and other tangible items not included in the cost of attendance
     calculation but nonetheless related to the pursuit of academic studies;
 (b) Tutoring;
 (c) Expenses related to studying abroad that are not included in the cost of attendance calculation; and
 (d) Paid post-eligibility internships.
16.4 Medical Expenses. [A] An institution, conference or the NCAA may provide medical and related expenses
and services to a student-athlete. [R] (Revised: 1/11/89, 9/6/00, 4/29/04, 8/4/08, 1/19/13 effective 8/1/13, 8/7/14)
16.4.1 Medical Coverage. [A] An institution shall provide medical care to a student-athlete for an athletically related injury
incurred during the student-athlete's involvement in intercollegiate athletics for the institution. The period of care for such an
injury shall extend at least two years following either graduation or separation from the institution, or until the student-athlete
qualifies for coverage under the NCAA Catastrophic Injury Insurance Program, whichever occurs first. Each institution has the
discretion to determine the method by which it will provide medical care, the method by which it determines whether an injury
is athletically related and any policy deemed necessary for implementing the medical care. (Adopted: 1/19/18 effective 8/1/18)

16.4.1 Medical Coverage. An institution shall provide medical care, including payment of out-of-pocket medical
expenses, to a student-athlete for an athletically related injury incurred during the student-athlete's involvement in
intercollegiate athletics for the institution. The period of care for such an injury shall extend at least two years following either
graduation or separation from the institution, or until the student-athlete qualifies for coverage under the NCAA Catastrophic
Injury Insurance Program, whichever occurs first. Each institution has the discretion to determine the method by which it will
provide medical care, the method by which it determines whether an injury is athletically related and any policy deemed
necessary for implementing the medical care. (Adopted: 1/19/18 effective 8/1/18, Revised: 4/26/23 effective 8/1/24)


    16.4.1.1 Application to Nonautonomy Conferences. A member institution of a conference other than the five
    conferences named in Bylaw 9.2.2.1.1 shall apply the provisions of Bylaw 16.4.1. (Adopted: 4/26/23 effective 8/1/24)

16.4.2 Mental Health Services and Resources. [A] An institution shall make mental health services and resources
available to its student-athletes. Such services and resources may be provided by the department of athletics and/or the
institution’s health services or counseling services department. Provision of services and resources should be consistent with the
Interassociation Consensus: Mental Health Best Practices. In addition, an institution must distribute mental health educational
materials and resources to student-athletes, including those transitioning out of their sports, coaches, athletics administrators and
other athletics personnel throughout the year. Such educational materials and resources must include a guide to the mental
health services and resources available at the institution and information regarding how to access them. (Adopted: 1/24/19
effective 8/1/19)

16.4.2 Mental Health Services and Resources. An institution shall make mental health services and resources
available to its student-athletes. Such services and resources may be provided by the department of athletics and/or the
institution’s health services or counseling services department. Provision of services and resources must be consistent with the
Interassociation Consensus: Mental Health Best Practices. In addition, an institution must distribute mental health educational
materials and resources to student-athletes, including those transitioning out of their sports, coaches, athletics administrators
and other athletics personnel throughout the year. Such educational materials and resources must include a guide to the mental
health services and resources available at the institution and information regarding how to access them. (Adopted: 1/24/19
effective 8/1/19, Revised: 4/26/23 effective 8/1/24)

    16.4.2.1 Application to Nonautonomy Conferences. A member institution of a conference other than the five
    conferences named in Bylaw 9.2.2.1.1 shall apply the provisions of Bylaw 16.4.2. (Adopted: 5/1/19 effective 8/1/19)
16.5 Housing and Meals. [A]

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16.5.1 General Rule. [A] An institution is required to apply the same housing policies to student-athletes as it applies to the
student body in general. During the academic year, the institution may not house student-athletes in athletics dormitories or
athletics blocks within institutional or privately owned dormitories or apartment buildings (when the institution arranges for the
housing) on those days when institutional dormitories are open to the general student body. [R] (Adopted: 10/1/01 effective
8/1/02, Revised: 8/7/14)
    16.5.1.1 Athletics Dormitories. [A] Athletics dormitories shall be defined as institutional dormitories in which at least
    50 percent of the residents are student-athletes. (Adopted: 1/10/91 effective 8/1/96, Revised: 11/1/01 effective 8/1/02, 8/7/14)
    16.5.1.2 Athletics Blocks. [A] Athletics blocks shall be defined as individual blocks, wings or floors within institutional
    dormitories, or privately owned dormitories or apartment buildings where the institution has arranged housing for student-
    athletes, in which at least 50 percent of the residents are student-athletes. (Adopted: 1/10/91 effective 8/1/96, Revised:
    1/10/92, 11/1/01 effective 8/1/02, 8/7/14, 8/3/22)
    16.5.1.3 Exception -- Nondiscriminatory Housing Policies. [A] The prohibition against the use of athletics
    dormitories or blocks does not apply when the institution demonstrates that its housing assignment policies do not
    differentiate between student-athletes and students generally. (Adopted: 1/16/93 effective 8/1/96, Revised: 11/1/01 effective
    8/1/02, 8/7/14)
16.5.2 Permissible. An institution may provide housing and meal benefits (beyond the institution's definition of cost of
attendance as defined in Bylaw 15.02.2) incidental to a student's participation in intercollegiate athletics as identified in this
bylaw. (Revised: 8/7/14, 7/31/23)
    16.5.2.1 Summer Dormitory Rentals. [A] An institution may rent, at the regular institutional rate, dormitory space to
    a prospective or enrolled student-athlete during the summer months. [R] (Revised: 8/7/14, 8/3/22)
    16.5.2.2 Preseason Practice Expenses. An institution may provide the cost of housing and meals (beyond the
    institution's definition of cost of attendance as defined in Bylaw 15.02.2) to student-athletes who report for preseason
    practice prior to the start of the academic year, it being understood that the student-athlete has been accepted for admission
    to the institution at the time such benefits are received. An institution may begin to provide such benefits as it deems
    necessary and appropriate for specific circumstances (e.g., international travel). (Revised: 4/24/03, 3/10/04, 4/24/14, 8/7/14,
    8/3/22, 7/31/23)
         16.5.2.2.1 Effect of Violation. [A] A violation of Bylaw 16.5.2.2 due to a miscalculation of the permissible start
         date for preseason practice shall be considered an institutional violation per Bylaw 8.01.3; however, a student-athlete's
         eligibility shall not be affected. (Revised: 10/29/09, 8/7/14)
    16.5.2.3 Meals and Snacks. An institution may provide meals and snacks (beyond the institution's definition of cost of
    attendance as defined in Bylaw 15.02.2) to a student-athlete at any time. An institution shall not provide cash for a meal
    unless authorized by NCAA legislation. (Revised: 8/7/14, 10/20/14, 8/3/22, 7/31/23)
         16.5.2.3.1 Meal Expenses in Conjunction with Competition and Practice Activities. [A] An institution
         may provide a student-athlete with cash for a meal in conjunction with competition or a meal missed due to practice
         activities in a manner consistent with cash provided by the institution to institutional staff members on away-from-
         campus trips. (Adopted: 8/3/22)
    16.5.2.4 Meals Provided by a Representative of Athletics Interests. [A] A student-athlete or the entire team in a
    sport may receive an occasional meal from a representative of athletics interests on infrequent and special occasions.
    (Adopted: 8/3/22)
    16.5.2.5 Vacation-Period Expenses. An institution may provide housing and meal benefits (beyond the institution's
    definition of cost of attendance as defined in Bylaw 15.02.2) to student-athletes (during official institutional vacation
    periods) for a reasonable period when student-athletes are required to remain in the locale of the institution for organized
    practice sessions or competition. If an institution does not provide a meal to its student-athletes under such circumstances, a
    cash allowance may be provided, not to exceed the amount provided by the institution to institutional staff members on
    away-from-campus trips. If a student-athlete lives at home during the vacation period, lodging expenses may not be
    provided by the institution. (Revised: 1/14/97, 10/28/99, 4/29/04, 5/26/06, 1/8/07, 4/17/07, 4/24/14, 8/7/14, 1/19/18
    effective 8/1/18, 8/3/22, 7/31/23)
    16.5.2.6 Required Summer Athletic Activities. An institution may provide housing and meal benefits (beyond the
    institution's definition of cost of attendance as defined in Bylaw 15.02.2) to a student-athlete to participate in required
    summer athletic activities pursuant to Bylaw 17.1.7.2.1.6 while not enrolled in summer school. (Adopted: 1/24/19, Revised:
    7/31/23)


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    16.5.2.7 Nutritional Supplements. [A] An institution may provide permissible nutritional supplements to a student-
    athlete for the purpose of providing additional calories and electrolytes. Permissible nutritional supplements do not contain
    any NCAA banned substances and are identified according to the following classes: carbohydrate/electrolyte drinks, energy
    bars, carbohydrate boosters, protein supplements, omega-3 fatty acids, and vitamins and minerals. [R] (Adopted: 4/27/00
    effective 8/1/00, Revised: 11/1/01 effective 8/1/02, 4/14/09, 8/7/14, 1/20/17, 1/16/19)
16.6 Expenses for Student-Athlete's Friends and Family Members. [A]
16.6.1 Permissible. [A] An institution may not provide any expenses to a student-athlete's family members or friends,
except as permitted pursuant to this provision and Bylaw 16.11. [R] (Revised: 1/19/13 effective 8/1/13, 8/7/14)
    16.6.1.1 Expenses for Significant Other/Children to Postseason Football Bowl Game or NCAA
    Championship. [A] The institution may provide the cost of actual and necessary expenses (e.g., transportation, lodging,
    meals and expenses associated with team entertainment functions) for the significant other and children of an eligible
    student-athlete to accompany the student-athlete to a postseason football bowl game or an NCAA football championship in
    which the student-athlete is a participant, and in other sports, to one round (conducted at the site) of any NCAA
    championship in which the student-athlete is a participant. [R] (Revised: 2/1/05, 8/7/14, 1/19/18)
    16.6.1.2 Family Lodging at Postseason Events. [A] An institution may reserve or secure lodging at any postseason
    event (other than a conference event) at a reduced or special rate for the family members of a student-athlete who is a
    participant. It is not permissible for an institution to cover any portion of the cost of lodging, including any cost associated
    with reserving or securing lodging. [R] (Adopted: 10/28/99, Revised: 1/19/13 effective 8/1/13, 8/7/14)
    16.6.1.3 Injury or Illness. [A] The institution may pay transportation, housing and meal expenses for a student-athlete's
    family members and any other student-athlete to be present in situations in which a student-athlete suffers an injury or
    illness, or in the event of a student-athlete's death, to provide such expenses in conjunction with funeral arrangements. [R]
    (Revised: 1/11/89, 4/26/12, 1/19/13 effective 8/1/13, 8/7/14)
         16.6.1.3.1 Family Members of Student-Athletes. [A] An institution may pay transportation, housing and meal
         expenses for a student-athlete's family members and any other student-athlete to be present in situations in which a
         family member of the student-athlete suffers an injury or illness, or in the event of such an individual's death, to
         provide the student-athlete's family members and any other student-athlete with such expenses in conjunction with
         funeral arrangements. [R] (Adopted: 1/10/95 effective 8/1/95, Revised: 11/1/01 effective 8/1/02, 4/25/02 effective 8/1/02,
         5/22/07, 4/13/09, 4/26/12, 1/19/13 effective 8/1/13, 8/7/14)
    16.6.1.4 National Team Competition -- Family Benefits. [A] A commercial company (other than a professional
    sports organization) or members of the local community may provide actual and necessary expenses for a student-athlete's
    family members to attend national team competition in which the student-athlete will participate. In addition, family
    members of student-athletes may receive nonmonetary benefits provided to the family members of all national team
    members in conjunction with participation in national team competition. [R] (Adopted: 1/11/94, Revised: 11/1/00, 1/19/13
    effective 8/1/13, 8/7/14)
    16.6.1.5 Reasonable Food and Drinks. [A] An institution may provide the family members of a student-athlete with
    reasonable food and drinks in conjunction with educational meetings or celebratory events (e.g., senior night) and on an
    occasional basis for other reasons. [R] (Adopted: 4/27/00 effective 8/1/00, Revised: 4/25/02 effective 8/1/02, 1/16/10, 1/19/13
    effective 8/1/13, 8/7/14)
    16.6.1.6 Complimentary Admissions to Institutional Awards Banquets. [A] An institution may provide
    complimentary admissions to an institutional awards banquet for the family members of any student-athlete being honored
    at the banquet. [R] (Adopted: 11/1/00, Revised: 1/19/13 effective 8/1/13, 8/7/14)
16.7 Entertainment. [A] An institution, conference or the NCAA may provide reasonable entertainment (but may
not provide cash for such entertainment) to student-athletes at any time. [R] (Revised: 1/19/13 effective 8/1/13, 8/7/14, 1/20/17
effective 8/1/17, 8/3/22)
16.8 Expenses Provided by the Institution for Practice and Competition. [A]
16.8.1 Permissible. [A] An institution, conference or the NCAA may provide actual and necessary expenses to a student-
athlete to represent the institution in practice and competition (including expenses for activities/travel that are incidental to
practice or competition). In order to receive competition-related expenses, the student-athlete must be eligible for practice. [D]
(Revised: 1/19/13 effective 8/1/13, 8/7/14, 8/3/22)
    16.8.1.1 Incidental Expenses at NCAA Championships, National Governing Body Championships in
    Emerging Sports and Postseason Bowl Games. [A] An institution may provide $30 per day to each member of a

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    team to cover unitemized incidental expenses during travel and practice for NCAA championship events or national
    governing body championship events in emerging sports, during a period limited to the maximum number of days of per
    diem allowed for the involved championship or, for postseason bowl games, for a period not to exceed 10 days. The $30 per
    day may be provided only after the team departs for or reports to the site of the championship or postseason bowl
    contest. [R] (Adopted: 10/21/13, Revised: 8/7/14)
    16.8.1.2 Other Events. [A] During an academic year in which a student-athlete is eligible to represent an institution in
    athletics competition (or in the following summer) or in the summer prior to initial full-time enrollment at the institution,
    provided the student-athlete is eligible to represent the institution in athletics competition during the ensuing academic
    year, an institution may provide actual and necessary expenses related to participation in the following activities: [R]
    (Revised: 1/10/92, 1/9/96 effective 8/1/96, 1/14/97, 1/8/07 effective 8/1/07, 1/14/12, 1/19/13 effective 8/1/13, 8/7/14, 1/20/17,
    7/1/19, 1/15/20, 8/3/22)
     (a) Established regional (e.g., North American Championships, European Championships) and national championship
         events (including junior regional and national championships) and qualifying competition for such events;
     (b) The Olympic Games, Paralympic Games, Pan American Games, Parapan American Games, World Championships,
         World Cup, World University Games (Universiade) and World University Championships or the junior level
         equivalent competition (e.g., Youth Olympic Games, Junior World Championships, U19 World University Games)
         and qualifying competition (e.g., Olympic or Paralympic Trials) for such events; and
     (c) National team training, tryouts or competition events used for consideration for selection or to determine members of a
         national team that will participate in the Olympic Games, Paralympic Games, Pan American Games, Parapan
         American Games, World Championships, World Cup, World University Games (Universiade) or World University
         Championships or the junior level equivalent competition.
    16.8.1.3 Fees Related to Conditioning Activities. [A] An institution may pay a fee related to the conduct of
    permissible in-season or out-of-season conditioning activities (e.g., fee for yoga instruction, fee related to a conditioning
    program). (See Bylaw 16.8.2.1.) (Adopted: 10/20/14)
16.8.2 Nonpermissible. [A]
    16.8.2.1 Conditioning Expenses Outside the Playing Season. [A] An institution shall not provide expenses (e.g.,
    travel, lodging, meals) to student-athletes in conjunction with permissible conditioning activities that may occur outside the
    playing season during the academic year. (Adopted: 10/20/14)
16.9 Other Expenses Provided by the Institution. [A]
16.9.1 Permissible Expenses Not Related to Practice or Competition. [A] An institution, conference or the
NCAA may provide actual and necessary expenses to a student-athlete to represent the institution in events and activities
incidental to participation in intercollegiate athletics. Further, an institution may provide reasonable transportation to student-
athletes. [R] (Revised: 1/16/93, 1/11/94, 1/10/95, 4/26/12, 1/19/13 effective 8/1/13, 8/7/14, 8/3/22)
16.10 Provision of Expenses by Individuals or Organizations Other Than the
Institution. [A]
16.10.1 Service or Religious Organization Encampments. [A] Nationally recognized service organizations and
religious groups may underwrite the actual and necessary expenses of student-athletes attending such encampments. Neither the
institution nor an athletically related organization may underwrite such expenses. [R] (Revised: 4/27/00 effective 8/1/00, 4/2/10,
8/7/14)
16.10.2 Student-Teaching. [A] A student-athlete may accept actual and necessary travel expenses from a high school if the
student-athlete is student-teaching (even if teaching or coaching a sport) if the high school is located in a city other than the one
in which the collegiate institution is located. In order for the student-athlete to accept such expenses: [R] (Revised: 8/7/14)
 (a) Receipt of the expenses must be permitted by the established guidelines of the institution for other student-teacher trainees;
 (b) The assigned coaching responsibilities must be a part of the supervised, evaluated teacher-training program in which the
     student-athlete is enrolled; and
 (c) The high school must provide such expenses for all of its student-teacher trainees.
16.10.3 Luncheon Meeting Expenses. [A] A student-athlete may accept transportation and meal expenses in
conjunction with participation in a luncheon meeting of a booster club or civic organization, provided the meeting occurs
within a 30-mile radius of the institution's main campus and no tangible award is provided to the student-athlete. [R] (Revised:
8/7/14)

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16.10.4 Recognition by Professional Sports Organization. [A] A student-athlete may accept complimentary
admission to a professional sports contest during which the student-athlete and/or intercollegiate team is being recognized by the
professional sports organization for extraordinary achievements. Further, it shall be permissible for the professional sports
organization to promote this event to the general public. [R] (Adopted: 1/9/96 effective 8/1/96, Revised: 8/7/14)
16.11 Benefits, Gifts and Services. [A]
16.11.1 Permissible. [A]
    16.11.1.1 General Rule. [A] Receipt of a benefit (including otherwise prohibited extra benefits per Bylaw 16.11.2) by
    student-athletes, their family members or friends is not a violation of NCAA rules if it is demonstrated that the same benefit
    is generally available to the institution's students and their family members or friends. (Revised: 1/19/13 effective 8/1/13,
    8/7/14)
    16.11.1.2 Deferred Pay-Back Loan. [A] A student-athlete may receive a loan on a deferred pay-back basis without
    jeopardizing the student-athlete's eligibility, provided: [R] (Adopted: 1/11/94, Revised: 8/7/14)
     (a) The loan arrangements are not contrary to the extra-benefit rule; and
     (b) The student-athlete's athletics reputation, skill or pay-back potential as a future professional athlete is not considered
         by the lending agency in its decision to provide the loan.
    16.11.1.3 Loan From Established Family Friend. [A] A student-athlete may receive a loan from an established family
    friend without such arrangement constituting an extra benefit, provided: [R] (Adopted: 1/11/94, Revised: 8/7/14)
     (a) The loan is not offered to the student-athlete based in any degree on the student-athlete's athletics ability or reputation;
     (b) The individual providing the loan is not considered a representative of the institution's athletics interests; and
     (c) The relationship between the individual providing the loan and the student-athlete existed prior to the initiation of the
         student-athlete's recruitment by the member institution.
    16.11.1.4 Insurance. [A] An institution may purchase insurance or a student-athlete may borrow against future earnings
    potential from an established, accredited commercial lending institution for the purpose of purchasing insurance incidental
    to participation in intercollegiate athletics (e.g., critical injury or illness, loss of value), provided a third party (including a
    representative of an institution's athletics interests) is not involved in arrangements for securing the loan. However, an
    institution's president or chancellor (or designated representative from outside the athletics department) may designate an
    institutional staff member (or staff members) (e.g., professional sports counseling panel) to assist a student-athlete with
    arrangements for securing the loan and insurance. [R] (Revised: 1/14/97 effective 8/1/97, 1/16/10, 8/7/14, 1/17/15, 8/3/22)
    16.11.1.5 Research Studies Involving Only Student-Athletes. [A]
         16.11.1.5.1 NCAA Research Studies. [A] A student-athlete may receive compensation from the Association for
         participating in specified NCAA research studies. Such compensation shall be consistent with the going rate for
         compensation offered in studies involving nonathlete populations. [R] (Adopted: 10/28/99 effective 8/1/00, Revised:
         4/30/09, 8/7/14)
         16.11.1.5.2 Institution-Based Research Studies. [A] A student-athlete may receive compensation from an
         institution for participating in a research study involving only student-athletes, provided: [R] (Adopted: 4/30/09,
         Revised: 8/7/14)
          (a) The study is initiated and conducted by a faculty member at a member institution; and
          (b) The study and compensation arrangements are approved by the institutional review board of the faculty member's
              institution consistent with policies applicable to other institution-based research studies.
    16.11.1.6 Miscellaneous Benefits. [A] An institution may provide or arrange for the following benefits for a student-
    athlete: [R] (Adopted: 4/26/01, Revised: 4/24/03 effective 8/1/03, 4/13/09, 4/26/12, 1/19/13 effective 8/1/13, 8/7/14)
     (a) The use of a return ticket at any time after the conclusion of a foreign tour;
     (b) Receipt of frequent flier points and/or miles earned while traveling to and from intercollegiate practice and/or
         competition;
     (c) Participation in receptions and festivities associated with championships, conference tournaments or all-star events
         hosted by and conducted on the institution's campus;
     (d) Occasional meals to team members provided by a student-athlete's family member at any location;
     (e) Telephone calls in emergency situations as approved by the director of athletics (or designee);


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     (f) Reasonable tokens of support and transportation, housing and meal expenses in the event of injury, illness, or death of a
         family member or another student-athlete;
     (g) Fundraisers for student-athletes (or their family members) under the following extreme circumstances:
          (1) Extreme circumstances should be extraordinary in the result of events beyond the student-athlete's control (e.g.,
              life-threatening illness, natural disaster);
          (2) The proceeds must be designated for a specific purpose (e.g., payment of medical bills, purchase of medical
              equipment, replacement of items lost in a fire, etc.)
          (3) The proceeds may be given directly to the beneficiaries, with receipt kept on file by the institution, which must
              include the amount of expenses incurred and the total amount received; and
          (4) The excess proceeds must be given to a not-for-profit organization with the receipt kept on file by the institution.
     (h) The payment of admission costs or a meal for any student-athlete being honored at a nonathletics awards ceremony.
    16.11.1.7 Student Assistance Fund. A student-athlete may receive money from the NCAA Student Assistance Fund.
    Member institutions and conferences shall not use money received from the fund to finance salaries and benefits; tuition
    and fees, living expenses, and required course-related books during a regular term (other than summer school) for student-
    athletes with remaining eligibility; capital improvements; stipends; competition-related travel expenses for student-athletes
    who are ineligible for competition (e.g., nonqualifier, transfer student-athlete); and outside athletics development
    opportunities (e.g., participation in a sports camp or clinic, private sports-related instruction, greens fees, batting cage
    rental, outside foreign tour expenses) for current student-athletes with remaining eligibility. (Adopted: 4/24/03, Revised:
    1/8/07, 2/24/12, 8/7/14, 1/17/15 effective 8/1/15, 10/5/16, 3/28/17, 7/31/23)
16.11.2 Nonpermissible. [A]
    16.11.2.1 General Rule. [A] The student-athlete shall not receive any extra benefit. The term "extra benefit" refers to
    any special arrangement by an institutional employee or representative of the institution's athletics interests to provide the
    student-athlete or the student-athlete's family members or friends with a benefit not expressly authorized by NCAA
    legislation. [R] (Revised: 1/19/13 effective 8/1/13)
    16.11.2.2 Other Prohibited Benefits. [A] An institutional employee or representative of the institution's athletics
    interests may not provide a student-athlete with extra benefits or services, including, but not limited to: [R] (Revised: 8/3/22)
     (a) A loan of money;
     (b) A guarantee of bond;
     (c) An automobile or the use of an automobile; or
     (d) Signing or co-signing a note with an outside agency to arrange a loan.
    16.11.2.3 Camp Concession. [A] It is not permissible for a member institution or a member of its athletics department
    staff conducting a sports camp to permit a student-athlete (enrolled in the institution) to operate, at the student-athlete's
    own expense, a concession selling items related to or associated with the camp to campers or others in attendance (see also
    Bylaw 13.12.1.7.3.2). [R] (Revised: 8/7/14)
    16.11.2.4 Items Received for Participation in Intercollegiate Athletics. [A] An item received for participation in
    intercollegiate athletics may not be sold or exchanged or assigned for another item of value. (Adopted: 4/15/14, Revised:
    8/7/14)
16.12 Expense Waivers. [A]
16.12.1 Previously Approved Incidental Expenses. [A] Specific incidental expenses that have been previously
approved by the Committee for Legislative Relief may be processed by an institution or conference. Documentation of each
approval shall be kept on file at the conference office. (Adopted: 10/28/99, Revised: 11/1/07 effective 8/1/08, 8/21/12, 8/7/14,
10/4/17)




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                                                                                                                                                                                         FIGURE 16-1
                                                                                                                                                                               Participation Awards [A] [R]
                                                                                                                                                                                                                                                                                   Maximum Number
                                                                                                                                                Maximum Value                                       Number of Times                                   Permissible Awarding
                                                                                                        Type of Award                                                                                                                                                                of Permissible
                                                                                                                                                  of Award                                        Award May Be Received                                    Agencies                Awarding Agencies
                                                                                  Annual Participation — Underclassmen                              $225                                      Up to maximum value                                   Institution                           1
                                                                                                                                                                                              per year per sport
                                                                                  Annual Participation — Senior                                     $425                                      Up to maximum value                                   Institution                           1
                                                                                                                                                                                              per year per sport
                                                                                  Special Event Participation
                                                                                  • Participation in postseason conference                         $375*                                     Once per event                                        • Institution                         2
                                                                                    championship contest or tournament                                                                                                                              •M anagement of event (may
                                                                                                                                                                                                                                                      include conference office)
                                                                                  • Participation in postseason NCAA                               Institution — $375                        Once per event                                        • Institution                         2
                                                                                    championship contest or tournament                              NCAA — No limit                                                                                 • NCAA




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                                                                                  • Participation in all-star game or postseason bowl              $400 (Institution)                        Once per event                                        • Institution                         2
                                                                                                                                                    $550 (Management of event)                                                                      • Management of event
                                                                                  • Participation in other established meets,                      $400*                                     Once per event                                        • Institution                         2
                                                                                    tournaments and featured individual competition                                                                                                                 • Management of event
                                                                                  * The combined value of all awards received for participation in this type of event from the institution and the management of the event may not exceed the published value.




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                                                                                                                                                                                           FIGURE 16-2
                                                                                                                                                                               Championship Awards [A] [R]
                                                                                                                                                                                                                                                                                                      Maximum Number
                                                                                                                                                      Maximum Value                                   Number of Times                                    Permissible Awarding
                                                                                                        Type of Award                                                                                                                                                                                   of Permissible
                                                                                                                                                       of Award                                     Award May Be Received                                     Agencies                                Awarding Agencies
                                                                                  National Championship conducted by NCAA                                   $415*                                Once per championship                                         • Institution**                                   2
                                                                                                                                                                                                                                                               • Conference**
                                                                                  National Championship not conducted by NCAA***                            $415*                                Once per championship                                         • Institution**                                   2
                                                                                                                                                                                                                                                               • Conference**
                                                                                  Conference Championship — regular season                                  $325*#                               Once per championship                                         • Institution**                                   2
                                                                                                                                                                                                                                                               • Conference**
                                                                                  Conference Championship — postseason                                      $325*#                               Once per championship                                         • Institution**                                   2
                                                                                  contest or tournament                                                                                                                                                        • Conference**
                                                                                  * Each permissible awarding agency is subject to a separate $415/$325 limit per award.




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                                                                                  ** Award may be provided by another organization recognized by the institution or conference to act in its place.




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                                                                                  *** Applies only to sports or classification divisions in which the NCAA does not conduct championships. Teams must be designated as a “national champion” by a national wire-service poll or the national coaches association in that sport.
                                                                                  # The combined value of both awards shall not exceed $325 if same institution wins conference regular-season and postseason championships.




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                                                                              FIGURE 16-3
                                                               Special Achievement Awards [A] [R]
                                                              (Revised: 1/19/2018 effective immediate)




                                                                                                                                                                               Case 3:24-cv-00033-DCLC-JEM Document 2-10 Filed 01/31/24 Page 235 of 450 PageID
                 Type of Award                         Maximum Value            Number of Times                     Permissible Awarding                 Maximum Number
                                                         of Award                 Award May Be                            Agencies                         of Permissible
                                                                                     Received                                                            Awarding Agencies
Special attainments or contribution to team's        $175                     Once per category of        Institution                                            1
season (e.g., scholar-athlete, most improved                                  award per year
player, most minutes played, most valuable
player)
Most valuable player -- special event*               $325**                   Once per event              • Institution                                        Unlimited
                                                                                                          • Conference
                                                                                                          • Organization approved by institution or
                                                                                                            conference
Most valuable player -- bowl game or all-star        $350                     Once per event              Sponsoring entity of all-star contest or                 1
contest                                                                                                   certified postseason bowl
Established regional/national recognition awards     $325                     Once per year per           Management of award program                              1
(e.g., Wade Trophy, Heisman Trophy)                                           award
Trophy recognizing established national award        Unlimited                Once per year               Management of award program                              1
Trophy recognizing conference "athlete of the        $1,500                   Once per year to one        Conference                                               1




                                                                                                                                                                                                                     354
year"                                                                         male and one female




                                                                                                                                                                                                                  #:222
Trophy recognizing conference "scholar-athlete       $1,500                   Once per year to one        Conference                                               1
of the year"                                                                  male and one female
Specialized performance in single contest or         $80 (certificate,        Unlimited                   • Conference                                        Unlimited
during limited time period (e.g., player of the      medal or plaque                                      • Outside organization (e.g., local
game, player of the week)                            only)                                                  business)
Hometown award                                       $80                      Unlimited                   Group (other than institution's booster             Unlimited
                                                                                                          club) located in student-athlete's
                                                                                                          hometown
*The award recipient must be selected by a recognized organization approved by a member institution or conference.
**Each permissible awarding agency is subject to separate $325 limit per award. Each awarding agency may provide only a single award for each event to each student-athlete.




                                                                                                                                                                                                                          8/5/23
BYLAWS, ARTICLE 17

Playing and Practice Seasons
17.01 General Principles.
17.01.1 Institutional Limitations. A member institution shall limit its organized practice activities, the length of its
playing seasons and the number of its regular-season contests and/or dates of competition in all sports, as well as the extent of its
participation in noncollegiate-sponsored athletics activities, to minimize interference with the academic programs of its student-
athletes (see Figures 17-1 and 17-2).
17.01.2 Additional Playing and Practice Seasons Limitations. The Committee on Academics shall have the
authority to determine the circumstances that would require an institution or team(s) that fails to satisfy the academic
performance program to apply additional playing and practice seasons limitations. The committee shall establish and annually
publish to the membership such circumstances (see Bylaw 14.8). (Adopted: 1/9/06 effective 8/1/07, Revised: 8/7/14)
17.02 Definitions and Applications.
17.02.1 Countable Athletically Related Activities. Countable athletically related activities include any required
activity with an athletics purpose involving student-athletes and at the direction of, or supervised by, one or more of an
institution's coaching staff (including strength and conditioning coaches) and must be counted within the weekly and daily
limitations under Bylaws 17.1.7.1 and 17.1.7.2. Administrative activities (e.g., academic meetings, compliance meetings) shall
not be considered as countable athletically related activities. (Adopted: 1/10/91 effective 8/1/91, Revised: 10/31/02 effective 8/1/03)
    17.02.1.1 Exception -- Elite Athlete Training. A student-athlete who has been designated by the U.S. Olympic and
    Paralympic Committee and the sport-affiliated national governing body (or the international equivalent) as an elite athlete
    may participate in an individual workout session conducted by a coaching staff member without such activity being
    considered a countable athletically related activity, provided the workout is initiated by the student-athlete and the student-
    athlete does not miss class. (Adopted: 7/13/20)
17.02.2 Contest. A contest is any game, match, exhibition, scrimmage or joint practice session with another institution's
team, regardless of its formality, in which competition in a sport occurs between an intercollegiate athletics team or individual
representing a member institution and any other team or individual not representing the intercollegiate athletics program of the
same member institution. (Revised: 1/10/91)
17.02.3 Contest, Countable, Institutional. A countable contest for a member institution, in those sports for which the
limitations are based on the number of contests, is any contest by the member institution against an outside team in that sport,
unless a specific exemption for a particular contest is set forth in this bylaw. Contests, including scrimmages, by separate squads
of the same team against different outside teams shall each count as one contest.
17.02.4 Contest, Countable, Individual Student-Athlete. A countable contest for an individual student-athlete in a
sport is any contest in which the student-athlete competes while representing the member institution (see Bylaw 17.02.8)
individually or as a member of the varsity, subvarsity or freshman team of the institution in that sport, unless a specific
exemption for a particular contest is set forth in this bylaw.
17.02.5 Date of Competition. A date of competition is a single date on which any game(s), match(es), meet(s),
exhibition(s), scrimmage(s) or joint practice session(s) with another institution's team takes place, regardless of its formality,
between an intercollegiate athletics team or individual representing a member institution and any other team or individual not
representing the intercollegiate athletics program of the same member institution. (Revised: 1/10/91)
17.02.6 Date of Competition, Countable, Institutional. A countable date of competition for a member institution, in
those sports for which the limitations are based on the number of dates of competition, is a single date on which the institution's
team in a sport engages in competition in that sport against an outside team, unless a specific exemption for a particular date of
competition is set forth in this bylaw.
    17.02.6.1 Required Minimum Number of Student-Athletes. For individual sports and women's rowing, an
    institution shall be considered to have participated in competition that constitutes a date of competition if the minimum
    number of student-athletes participating on one or more teams, at one or more sites, on behalf of the institution on that
    date equals or exceeds the minimum number established for that sport, unless otherwise restricted in this bylaw for a
    particular sport (e.g., golf, tennis). (See Bylaw 20.10.6.3 for listings of minimum numbers of student-athletes per sport.)
17.02.7 Date of Competition, Countable, Individual Student-Athlete. A countable date of competition for an
individual student-athlete is any date on which a student-athlete competes while representing the institution (see Bylaw 17.02.8)
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individually or as a member of the varsity, subvarsity or freshman team, unless a specific exemption for a particular date of
competition is set forth in this bylaw.
17.02.8 Intercollegiate Competition. Intercollegiate competition is considered to have occurred when a student-athlete
in either a two-year or a four-year collegiate institution does any of the following: (Revised: 1/10/91, 1/16/93, 1/11/94, 1/10/95,
7/31/23)
 (a) Represents the institution in any contest against outside competition, regardless of how the competition is classified (e.g.,
     scrimmage, exhibition or joint practice session with another institution's team) or whether the student is enrolled in a
     minimum full-time program of studies;
 (b) Competes in the uniform of the institution, or, during the academic year, uses any apparel (excluding apparel no longer
     used by the institution) received from the institution that includes institutional identification; or
 (c) Competes and receives expenses (e.g., transportation, meals, housing or entry fees) from the institution for the competition.
    17.02.8.1 Exempted Events. Participation in events listed in Bylaw 16.8.1.2 is exempted from the application of this
    legislation. (Revised: 1/10/92)
    17.02.8.2 Participation on an Institution's Club Team. Participation on a collegiate institution's club team is
    exempted from the application of this legislation, provided the institution did not sponsor the sport on the varsity
    intercollegiate level at the time of participation. (Adopted: 6/24/09)
17.02.9 National Team. A national team is one selected, organized and sponsored by the appropriate national governing
bodies of the U.S. Olympic and Paralympic Committee (or, for student-athletes representing another nation, the equivalent
organization of that nation, or, for student-athletes competing in a non-Olympic or non-Paralympic sport, the equivalent
organization of that sport). The selection for such a team shall be made on a national qualification basis, either through a
defined selective process or by actual tryouts, publicly announced in advance. In addition, the international competition in
question shall require that the entrants officially represent their respective nations, although it is not necessary to require team
scoring by nation. (Revised: 7/31/14, 10/17/19, 1/22/20)
17.02.10 Organized Competition. Athletics competition shall be considered organized if any of the following conditions
exists: (Revised: 4/29/10, 7/31/14)
 (a) Competition is scheduled and publicized in advance;
 (b) Official score is kept;
 (c) Individual or team standings are maintained;
 (d) Official timer or game officials are used;
 (e) Admission is charged;
 (f) Teams are regularly formed or team rosters are predetermined;
 (g) Team uniforms are used;
 (h) A team is privately or commercially sponsored; or
 (i) The competition is either directly or indirectly sponsored, promoted or administered by an individual, an organization or
     any other agency.
17.02.11 Outside Competition. Outside competition is athletics competition against any other athletics team (including
an alumni team) that does not represent the intercollegiate athletics program of the same institution.
17.02.12 Outside Team. An outside team is any team that does not represent the intercollegiate athletics program of the
member institution or a team that includes individuals other than eligible student-athletes of the member institution (e.g.,
members of the coaching staff, ineligible student-athletes, members of the faculty).
17.02.13 Practice Units. In determining the first permissible preseason practice date, an institution shall count back from
its first scheduled contest, one unit for each day beginning with the opening of classes, one unit for each day classes are not in
session in the week of the first scheduled intercollegiate contest and two units for each other day in the preseason practice
period, except that the institution shall not count any units during the preseason when all institutional dormitories are closed,
the institution's team must leave campus, and practice is not conducted. (Adopted: 1/10/91 effective 8/1/91, Revised: 1/10/92,
4/14/03)
    17.02.13.1 Sunday. Sundays are excluded from the counting. (Adopted: 1/10/91 effective 8/1/91)
    17.02.13.2 Week. The "week" of the first scheduled intercollegiate contest is defined as the six days, excluding Sunday,
    preceding the date of competition (even if one or more of the days fall into different traditional calendar weeks). (Adopted:
    1/10/91 effective 8/1/91)
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    17.02.13.3 Opening Day of Classes. The "opening day of classes" is defined as the first day of classes as listed in the
    member institution's official catalog. Required freshman orientation is not considered to be the opening day of classes for
    the academic year. (Adopted: 1/10/91 effective 8/1/91)
    17.02.13.4 First Day of Practice. The first day of practice may be conducted on the day when the last practice unit
    occurs, which is determined by counting backward from the day of the first permissible regularly scheduled contest. For
    example, in soccer, practice may be held on the day that the 21st practice unit actually occurs, counting backward from the
    day of the first permissible regularly scheduled contest. (Adopted: 12/10/97, Revised: 4/14/03, 3/16/15)
17.02.14 Required Athletically Related Activities. [A] Required athletically related activities include any activities,
including those that are countable in the daily and weekly limitations, that are required of a student-athlete. Such activities
include, but are not limited to, the following: (Adopted: 1/20/17 effective 8/1/17)
 (a) Compliance meetings;
 (b) Organized team promotional activities;
 (c) Recruiting activities, including student-host duties;
 (d) Media activities;
 (e) Fundraising events;
 (f) Community service events;
 (g) Team-building activities; and
 (h) Travel to and from away-from-home competition.
    17.02.14.1 Exception -- Elite Athlete Training. A student-athlete who has been designated by the U.S. Olympic and
    Paralympic Committee and the sport-affiliated national governing body (or the international equivalent) as an elite athlete
    may participate in an individual workout session conducted by a coaching staff member without such activity being
    considered a required athletically related activity, provided the workout is initiated by the student-athlete and the student-
    athlete does not miss class. (Adopted: 7/13/20)
17.02.15 Student-Athlete Discretionary Time. [FBS/FCS] Student-athlete discretionary time is time during which a
student-athlete may only participate in athletics activities at the student-athlete's discretion. There shall be no required workouts
and institutions are not permitted to recommend that student-athletes engage in weight-training or conditioning activities;
however, if the student-athlete opts to work out, the strength and conditioning coach may monitor the facility in use for health
and safety purposes. (Adopted: 4/24/03 effective 5/1/03)
17.02.16 Tournament -- Sports Other Than Basketball. In sports other than basketball, for purposes of maximum
contest or date of competition limitations, a tournament is an event that culminates in the determination of a winner. A
tournament may be conducted in round-robin, pool play or bracket formats. (Adopted: 9/18/07)
17.02.17 Tryouts -- Enrolled Students. A tryout of an enrolled student may occur, provided the student is eligible for
practice and the tryout only involves activities that are permissible at the time they occur (e.g., practice in season, skill-related
instruction or conditioning outside the season). (Adopted: 8/21/13)
17.02.18 Varsity Intercollegiate Sport. A varsity intercollegiate sport is a sport that has been accorded that status by the
institution's president or chancellor or committee responsible for intercollegiate athletics policy and that satisfies the following
conditions: (Revised: 3/8/06)
 (a) It is a sport that is administered by the department of intercollegiate athletics;
 (b) It is a sport for which the eligibility of the student-athletes is reviewed and certified by a staff member designated by the
     institution's president or chancellor or committee responsible for intercollegiate athletics policy; and
 (c) It is a sport in which qualified participants receive the institution's official varsity awards.
    17.02.18.1 Team Sports. The following are classified as team sports for purposes of this bylaw: (Revised: 4/23/03,
    1/17/09 effective 8/1/09, 4/30/09 effective 8/1/11, 7/31/15, 6/23/20 effective 8/1/20, 4/26/23 effective 8/1/23)
     Women's Acrobatics and Tumbling                        Football                                    Soccer
     Baseball                                               Ice Hockey                                  Softball
     Basketball                                             Lacrosse                                    Women's Stunt
     Women's Beach Volleyball                               Women's Rowing                              Volleyball
     Field Hockey                                           Women's Rugby                               Water Polo


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    17.02.18.2 Individual Sports. [#] The following are classified as individual sports for purposes of this bylaw: (Revised:
    1/17/09 effective 8/1/09, 1/15/11 effective 8/1/11, 1/18/14 effective 8/1/14)
     Women's Bowling               Gymnastics                   Track and Field, Indoor and Outdoor
     Cross Country                 Rifle                        Women's Triathlon
     Women's Equestrian            Skiing                       Wrestling
     Fencing                       Swimming and Diving
     Golf                          Tennis
17.02.19 Voluntary Athletically Related Activities. In order for any athletically related activity to be considered
"voluntary," all of the following conditions must be met: (Adopted: 4/18/01, Revised: 4/29/04 effective 8/1/04)
(a) The student-athlete must not be required to report back to a coach or other athletics department staff member (e.g.,
    strength coach, trainer, manager) any information related to the activity. In addition, no athletics department staff member
    who observes the activity (e.g., trainer, manager) may report back to the student-athlete's coach any information related to
    the activity;
(b) The activity must be initiated and requested solely by the student-athlete. Neither the institution nor any athletics
    department staff member may require the student-athlete to participate in the activity at any time. However, it is
    permissible for an athletics department staff member to provide information to student-athletes related to available
    opportunities for participating in voluntary activities (e.g., times when the strength and conditioning coach will be on duty
    in the weight room or on the track). In addition, for students who have initiated a request to engage in voluntary activities,
    the institution or an athletics department staff member may assign specific times for student-athletes to use institutional
    facilities for such purposes and inform the student-athletes of the time in advance;
(c) The student-athlete's attendance and participation in the activity (or lack thereof) may not be recorded for the purposes of
    reporting such information to coaching staff members or other student-athletes; and
(d) The student-athlete may not be subjected to penalty if the student-athlete elects not to participate in the activity. In
    addition, neither the institution nor any athletics department staff member may provide recognition or incentives (e.g.,
    awards) to a student-athlete based on attendance or performance in the activity.
[Note: Coaching staff members may be present during permissible skill-related instruction pursuant to Bylaw 17.1.7.2.2 and
conditioning activities pursuant to Bylaw 17.1.7.2.3.]
17.02.20 Walk-Through -- Football. In football, a walk-through is a countable athletically related activity dedicated to
reviewing plays and formations. During a walk-through, it is permissible for student-athletes to simulate positioning and
offensive and defensive alignments, provided no conditioning or contact activities occur. Further, it is not permissible for
student-athletes to wear any protective equipment (e.g., helmet, shoulder pads) or use any equipment related to the sport (e.g.,
blocking sleds) other than footballs. (Adopted: 4/26/17, Revised: 1/23/19, 10/27/21)
17.1 General Playing-Season Regulations.
17.1.1 Playing Season. The playing (practice and competition) season for a particular sport is the period of time between
the date of an institution's first officially recognized practice session and the date of the institution's last practice session or date
of competition, whichever occurs later. An institution is permitted to conduct officially recognized practice and competition
each academic year only during the playing season as regulated for each sport in accordance with the provisions of this bylaw.
The institution must conduct the same playing season for varsity and subvarsity teams in the same sport. (Revised: 1/10/92)
    17.1.1.1 Playing Season -- Athletically Related Activities. The playing (practice and competition) season for a
    particular sport is the only time within which an institution is permitted to conduct countable athletically related activities
    (see Bylaw 17.02.1) except as set forth in Bylaws 17.1.7.2 and 17.11.7. However, a coaching staff member may engage in
    coaching activities with a student-athlete during the student-athlete's participation in events listed in Bylaw 16.8.1.2.
    (Revised: 4/28/05 effective 8/1/05, 9/29/15)
17.1.2 Segments of Playing Season. For all sports other than football, basketball, cross country, and track and field, an
institution may divide the playing season into not more than two distinct segments. (Revised: 1/10/91 effective 8/1/91, 1/14/97
effective 8/1/97, 4/25/18 effective 8/1/18)
    17.1.2.1 Exception -- Severe Inclement Weather. An institution may temporarily discontinue a segment due to
    severe inclement weather (e.g., hurricane, snowstorm), and restart the discontinued segment provided the permissible
    overall length of that segment is not exceeded. An institution that uses this exception is required to annually submit a
    detailed summary to the NCAA national office by July 31. (Adopted: 4/28/05)


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17.1.3 Declaration of Playing Season. An institution shall determine its playing season for the sports referenced under
Bylaw 17.02.18 pursuant to the regulations of this article. (Revised: 1/11/89, 1/23/19)
17.1.4 Sports Subject to Segment Limitations. Playing-season segment limitations are applicable to all team sports
that are listed in Bylaw 17.02.18.1 and all individual sports listed in Bylaw 17.02.18.2. (Revised: 1/10/91 effective 8/1/91, 1/16/93
effective 8/1/93)
17.1.5 Mandatory Medical Examination. [#] Prior to participation in any practice, competition or out-of-season
conditioning activities (or in Division I, permissible voluntary summer conditioning or individual workouts, or permissible
required summer athletic activities in basketball and football), student-athletes who are beginning their initial season of
eligibility and students who are trying out for a team shall be required to undergo a medical examination or evaluation
administered or supervised by a physician (e.g., family physician, team physician). A nurse practitioner whose state medical
licensure allows for health care practice independent of physician supervision may complete the medical examination without
supervision by a physician. The examination or evaluation must be administered within six months prior to participation in any
practice, competition or out-of-season conditioning activities. In following years, an updated history of the student-athlete's
medical condition shall be administered by an institutional medical staff member (e.g., sports medicine staff, team physician) to
determine if additional examinations (e.g., physical, cardiovascular, neurological) are required. The updated history must be
administered within six months prior to the student-athlete's participation in any practice, competition or out-of-season
conditioning activities for the applicable academic year. (Adopted: 1/8/07 effective 5/1/07, Revised: 8/5/08, 6/5/15, 10/29/15)
    17.1.5.1 Sickle Cell Solubility Test. The examination or evaluation of student-athletes who are beginning their initial
    season of eligibility and students who are trying out for a team shall include a sickle cell solubility test, unless documented
    results of a prior test are provided to the institution. (Adopted: 4/29/10 effective 8/1/10, Revised: 5/3/10, 1/20/22 effective
    8/1/22)
17.1.6 Sports-Safety Certified Staff Member Presence During Countable, Physical Activities. An
institutional staff member with current certification in first aid, cardiopulmonary resuscitation (CPR) and automatic external
defibrillator (AED) use must be present any time a student-athlete participates in a physical, countable athletically related
activity. (Adopted: 4/24/14 effective 8/1/14)
17.1.7 Time Limits for Athletically Related Activities. In all sports, the following time limitations shall apply:
(Adopted: 1/10/91 effective 8/1/91)
    17.1.7.1 Daily and Weekly Hour Limitations -- Playing Season. A student-athlete's participation in countable
    athletically related activities (see Bylaw 17.02.1) shall be limited to a maximum of four hours per day and 20 hours per
    week. (Adopted: 1/10/91 effective 8/1/91)
         17.1.7.1.1 Exception -- Golf Practice Round. A practice round of golf may exceed the four-hours-per-day
         limitation, but the weekly limit of 20 hours shall remain in effect. Other countable athletically related activities may
         occur on the same day as a practice round, provided the total countable athletically related activities that occur on that
         day do not exceed five hours. A practice round played on the day prior to the start of a intercollegiate golf tournament
         at the tournament site shall count as three hours, regardless of the actual duration of the round. (Adopted: 1/10/91
         effective 8/1/91, Revised: 1/16/93, 5/1/19 effective 8/1/19)
    17.1.7.2 Weekly Hour Limitations -- Outside of the Playing Season. (Adopted: 1/10/91 effective 8/1/91, Revised:
    1/10/95 effective 8/1/95, 1/14/97, 11/1/00, 10/31/02 effective 8/1/03, 3/10/04, 4/27/06 effective 8/1/06, 9/22/06, 12/15/06,
    4/26/17, 4/25/18 effective 8/1/18, 6/12/19, 5/19/21)
     (a) Sports Other Than Football. Outside of the playing season, from the institution's first day of classes of the
         academic year or September 15, whichever occurs earlier, to one week prior to the beginning of the institution's final
         examination period at the conclusion of the academic year, only a student-athlete's participation in required weight
         training, conditioning and skill-related instruction (including film review and team meetings related to technical and
         tactical instruction) shall be permitted. A student-athlete's participation in such activities per Bylaw 17.02.1 shall be
         limited to a maximum of eight hours per week with not more than four hours per week spent on skill-related workouts.
         All countable athletically related activities outside of the playing season are prohibited one week prior to the beginning
         of the institution's final examination period for the applicable academic term through the conclusion of the
         institution's academic term.
     (b) Bowl Subdivision Football. Activities between the institution's last contest and January 1 are limited to required
         weight training, conditioning, review of game film and walk-throughs (see Bylaw 17.02.20). A student-athlete's
         participation in such activities shall be limited to a maximum of eight hours per week, of which not more than two
         hours per week may be spent on the viewing of film and participating in walk-throughs. All activities beginning
         January 1 and outside of the playing season shall be conducted pursuant to Bylaw 17.11.7.

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    (c) Championship Subdivision Football. Activities between the institution's last contest and the conclusion of the
        academic year are limited to required weight training, conditioning, review of game film and walk-throughs (see Bylaw
        17.02.20). A student-athlete's participation in such activities shall be limited to a maximum of eight hours per week, of
        which not more than two hours per week may be spent on the viewing of film and participating in walk-throughs. All
        activities beginning with the start of summer conditioning and outside of the playing season shall be conducted
        pursuant to Bylaws 17.11.7.2 and 17.11.7.5.
         17.1.7.2.1 Institutional Vacation Period and Summer. A student-athlete may not participate in any countable
         athletically related activities outside the playing season during any institutional vacation period and/or summer.
         Strength and conditioning coaches who are not countable coaches in the student-athlete's sport may design and
         conduct specific workout programs for a student-athlete, provided such workouts are voluntary and conducted at the
         request of the student-athlete. (Adopted: 10/31/02 effective 8/1/03, Revised: 4/28/05, 12/15/06, 10/30/13, 4/26/17)
             17.1.7.2.1.1 Exception -- Championship Subdivision Football. [FCS] In championship subdivision
             football, countable coaches who are certified strength and conditioning coaches may design and conduct specific
             workout programs for student-athletes, provided such workouts are voluntary and conducted at the request of the
             student-athlete. (Adopted: 4/29/04, Revised: 12/15/06, 5/4/09, 10/30/13)
             17.1.7.2.1.2 Exception -- September 15 to First Day of Classes -- Sports Other Than Football. In
             sports other than football, required weight training, conditioning and skill-related instruction is permitted,
             pursuant to Bylaws 17.1.7.2, 17.1.7.2.2 and 17.1.7.2.3, during an institution's summer vacation period from
             September 15 to the first day of classes of the academic year. (Adopted: 4/27/06 effective 8/1/06)
             17.1.7.2.1.3 Exception -- January 15 to First Day of Classes of Second Term -- Baseball and
             Women's Lacrosse. In baseball and women's lacrosse, required weight training, conditioning and skill-related
             instruction are permitted, pursuant to Bylaws 17.1.7.2 and 17.1.7.2.3, during an institution's vacation period
             from January 15 to the first day of classes of the institution's second academic term. (Adopted: 4/26/07 effective
             8/1/07, Revised: 1/23/19 effective 8/1/19)
             17.1.7.2.1.4 Strength and Conditioning Coach First Aid/CPR Certification and Authority of Sports
             Medicine Staff -- Sports Other Than Football. A strength and conditioning coach who conducts voluntary
             weight-training or conditioning activities is required to maintain certification in first aid and cardiopulmonary
             resuscitation. If a member of the institution's sports medicine staff (e.g., athletic trainer, physician) is present
             during voluntary conditioning activities conducted by a strength and conditioning coach, the sports medicine staff
             member must be empowered with the unchallengeable authority to cancel or modify the workout for health and
             safety reasons, as the staff member deems appropriate. (Adopted: 1/15/11 effective 5/1/11)
             17.1.7.2.1.5 Exception -- Participation in Virtual Team Activities -- Women's Basketball. In women's
             basketball, a student-athlete may engage in virtual team activities (virtual nonphysical countable athletically related
             activities) during an institution's summer vacation period subject to the following limitations: (Adopted: 1/20/22)
              (a) Conclusion of Spring Commencement Exercises to Beginning of Summer Athletic Activities.
                  During an institution's summer vacation period from the conclusion of spring commencement exercises to
                  the start of an institution's summer athletics activities period, a maximum of one hour per week of virtual
                  team activities may occur.
              (b) During Summer Athletic Activities Period. If a student-athlete (or prospective student-athlete who
                  signed a National Letter of Intent or the institution’s written offer of admission and/or financial aid or for
                  whom the institution has received a financial deposit in response to its offer of admission) is not participating
                  in required summer athletics activities (per Bylaw 17.1.7.2.1.6.1), they may participate in a maximum of
                  eight hours per week of virtual team activities for up to eight weeks.
             17.1.7.2.1.6 Summer Athletic Activities.
                 17.1.7.2.1.6.1 Basketball. In basketball, a student-athlete who is enrolled in summer school may engage
                 in required weight-training, conditioning and skill-related instruction for up to eight weeks (not required to
                 be consecutive weeks). A student-athlete who is enrolled in at least three degree-applicable (pursuant to Bylaw
                 14.4.3.1.7) credit hours in one summer term that is fewer than eight weeks in duration may engage in
                 required weight-training, conditioning and skill-related instruction for up to eight weeks (not required to be
                 consecutive weeks). Participation in such activities shall be limited to a maximum of eight hours per week
                 with not more than four hours per week spent on skill-related instruction. (Adopted: 1/14/12, Revised:
                 1/19/13, 4/28/16, 4/25/18)


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                17.1.7.2.1.6.1.1 Exception to Summer School Enrollment -- Academic Requirements for
                Student-Athletes Who Receive Athletically Related Financial Aid -- Basketball. In
                basketball, a student-athlete who received athletically related financial aid during the previous academic
                year may participate in required summer athletic activities for up to eight weeks (pursuant to Bylaw
                17.1.7.2.1.6.1) without being enrolled in summer school, provided the student-athlete has achieved a
                cumulative minimum grade-point average of 2.200 (based on a maximum 4.000 and as computed
                pursuant to institutional policies applicable to all students) and has successfully completed the following
                academic requirements based on the applicable number of full-time terms of enrollment: (Adopted:
                1/14/12, Revised: 1/19/13, 4/26/17 effective 8/1/17, 5/19/22)
                 (a) After two semesters or three quarters: 30 semester hours or 45 quarter hours;
                 (b) After four quarters: 60 quarter hours;
                 (c) After three semesters or five quarters: 45 semester hours or 75 quarter hours;
                 (d) After four semesters or six quarters: 50 percent of the course requirements in the student-athlete's
                     specific degree program;
                 (e) After seven quarters: 58.33 percent of the course requirements in the student-athlete's specific degree
                     program;
                 (f) After five semesters: 62.5 percent of the course requirements in the student-athlete's specific degree
                     program;
                 (g) After eight quarters: 66.67 percent of the course requirements in the student-athlete's specific degree
                     program;
                 (h) After six semesters or nine quarters: 75 percent of the course requirements in the student-athlete's
                     specific degree program;
                 (i) After 10 quarters: 83.33 percent of the course requirements in the student-athlete's specific degree
                     program;
                 (j) After seven semesters: 87.5 percent of the course requirements in the student-athlete's specific degree
                     program;
                 (k) After 11 quarters: 91.67 percent of the course requirements in the student-athlete's specific degree
                     program; or
                 (l) After eight semesters or 12 quarters: completion of the student-athlete's specific baccalaureate degree
                     requirements (no minimum grade-point average required) or the institution certifies that the
                     student-athlete is or will be enrolled in all remaining degree-applicable credit hours in the ensuing
                     regular academic year.
                    17.1.7.2.1.6.1.1.1 Application to Transfer Student-Athletes. The exception to summer
                    school enrollment does not apply to a transfer student-athlete until the student-athlete has
                    completed one academic year (two semesters or three quarters) of full-time enrollment at the
                    certifying institution. (Adopted: 1/14/12, Revised: 1/19/13)
                17.1.7.2.1.6.1.2 Academic Requirements for Student-Athletes Who Did Not Receive
                Athletically Related Financial Aid -- Basketball. In basketball, a student-athlete who did not
                receive athletically related financial aid during the previous academic year may participate in required
                summer athletic activities for up to eight weeks (pursuant to Bylaw 17.1.7.2.1.6.1) without being
                enrolled in summer school, provided the student-athlete meets all progress-toward-degree requirements
                to be eligible for competition in the ensuing fall term by the conclusion of the preceding spring term.
                (Adopted: 4/26/17 effective 8/1/17)
                17.1.7.2.1.6.1.3 Institutions That Do Not Offer Summer School Courses -- Basketball. In
                basketball, an institution that does not offer summer school courses may designate eight weeks of the
                summer in which a student-athlete may participate in required summer athletic activities (pursuant to
                Bylaw 17.1.7.2.1.6.1), provided the student-athlete has satisfied progress-toward-degree requirements to
                be eligible for competition in the ensuing fall term by the conclusion of the preceding spring term.
                (Adopted: 4/25/18)
            17.1.7.2.1.6.2 Football. [FBS/FCS] In football, a student-athlete who is enrolled in summer school may
            engage in required weight-training, conditioning, review of practice and game film and noncontact skill-
            related instruction for up to eight weeks (not required to be consecutive weeks). A student-athlete who is
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            enrolled in at least three degree-applicable (pursuant to Bylaw 14.4.3.1.7) credit hours in one summer term
            that is fewer than eight weeks in duration may engage in required weight-training, conditioning, review of
            practice and game film and noncontact skill-related instruction for up to eight weeks (not required to be
            consecutive weeks). Participation in such activities shall be limited to a maximum of eight hours per week
            with not more than two hours per week spent on film review and not more than two hours per week spent on
            noncontact skill-related instruction. During noncontact skill-related instruction, it is not permissible for
            student-athletes to wear any protective equipment (e.g., helmet, shoulder pads) or use any equipment related
            to the sport other than footballs. (Adopted: 10/30/13, Revised: 4/28/16, 4/13/22)
                17.1.7.2.1.6.2.1 Exception to Summer School Enrollment -- Academic Requirements for
                Student-Athletes Who Receive Athletically Related Financial Aid -- Football. In football, a
                student-athlete who received athletically related financial aid during the previous academic year may
                participate in required summer athletic activities for up to eight weeks (pursuant to Bylaw 17.1.7.2.1.6.2)
                without being enrolled in summer school, provided the student-athlete has achieved a cumulative
                minimum grade-point average of 2.200 (based on a maximum 4.000 and as computed pursuant to
                institutional policies applicable to all students) and has successfully completed the following academic
                requirements based on the applicable number of full-time terms of enrollment: (Adopted: 10/30/13,
                Revised: 4/26/17 effective 8/1/17, 5/19/22)
                 (a) After two semesters or three quarters: 30 semester hours or 45 quarter hours;
                 (b) After four quarters: 60 quarter hours;
                 (c) After three semesters or five quarters: 45 semester hours or 75 quarter hours;
                 (d) After four semesters or six quarters: 50 percent of the course requirements in the student-athlete's
                     specific degree program;
                 (e) After seven quarters: 58.33 percent of the course requirements in the student-athlete's specific degree
                     program;
                 (f) After five semesters: 62.5 percent of the course requirements in the student-athlete's specific degree
                     program;
                 (g) After eight quarters: 66.67 percent of the course requirements in the student-athlete's specific degree
                     program;
                 (h) After six semesters or nine quarters: 75 percent of the course requirements in the student-athlete's
                     specific degree program;
                 (i) After 10 quarters: 83.33 percent of the course requirements in the student-athlete's specific degree
                     program;
                 (j) After seven semesters: 87.5 percent of the course requirements in the student-athlete's specific degree
                     program;
                 (k) After 11 quarters: 91.67 percent of the course requirements in the student-athlete's specific degree
                     program; or
                 (l) After eight semesters or 12 quarters: completion of the student-athlete's specific baccalaureate degree
                     requirements (no minimum grade-point average required) or the institution certifies that the
                     student-athlete is or will be enrolled in all remaining degree-applicable credit hours in the ensuing
                     regular academic year.
                     17.1.7.2.1.6.2.1.1 Application to Transfer Student-Athletes. [FBS/FCS] The exception to
                     summer school enrollment does not apply to a transfer student-athlete until the student-athlete has
                     completed one academic year (two semesters or three quarters) of full-time enrollment at the
                     certifying institution. (Adopted: 10/30/13)
                17.1.7.2.1.6.2.2 Academic Requirements for Student-Athletes Who Did Not Receive
                Athletically Related Financial Aid -- Football. [FBS/FCS] In football, a student-athlete who did
                not receive athletically related financial aid during the previous academic year may participate in required
                summer athletic activities for up to eight weeks (pursuant to Bylaw 17.1.7.2.1.6.2) without being
                enrolled in summer school, provided the student-athlete meets all progress-toward-degree requirements
                to be eligible for competition in the ensuing fall term by the conclusion of the preceding spring term.
                (Adopted: 4/26/17 effective 8/1/17)


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                       17.1.7.2.1.6.2.3 Institutions That Do Not Offer Summer School Courses -- Championship
                       Subdivision Football. [FCS] In championship subdivision football, an institution that does not offer
                       summer school courses may designate eight weeks of the summer in which a student-athlete may
                       participate in required summer athletic activities (pursuant to Bylaw 17.1.7.2.1.6.2), provided the
                       student-athlete has satisfied progress-toward-degree requirements to be eligible for competition in the
                       ensuing fall term by the conclusion of the preceding spring term. (Adopted: 4/25/18)
         17.1.7.2.2 Skill Instruction -- Sports Other Than Football. Participation by student-athletes in skill-related
         instruction in sports other than football is permitted outside the institution's declared playing season, from the
         institution's first day of classes of the academic year or September 15, whichever occurs earlier, to one week prior to the
         beginning of the institution's final examination period at the conclusion of the academic year [see Bylaw 17.1.7.2-(a)].
         Skill-related instruction includes film review and team meetings related to technical and tactical instruction. In
         basketball, skill-related instruction shall not be publicized and shall not be conducted in view of a general public
         audience. (Adopted: 1/10/95 effective 8/1/95, Revised: 1/9/96, 1/14/97 effective 8/1/97, 10/27/98, 10/31/02 effective
         8/1/03, 4/29/04 effective 8/1/04, 4/28/05, 4/27/06 effective 8/1/06, 4/26/07 effective 8/1/07, 10/30/08, 4/28/16 effective
         8/1/16, 4/25/18, 8/1/18, 5/19/21)
         17.1.7.2.3 Conditioning Activities. Conditioning drills per Bylaw 17.1.7.2 that may simulate game activities are
         permissible, provided no offensive or defensive alignments are set up and no equipment related to the sport is used. In
         ice hockey, a student-athlete may be involved in on-ice conditioning activities and use protective equipment (e.g., pads,
         helmets, sticks), provided no puck, projectile or other similar object is used. In swimming and diving, a student-athlete
         may be involved in in-pool conditioning activities and swim-specific equipment (e.g., starting blocks, kickboards, pull
         buoys) may be used. (Revised: 4/28/05 effective 8/1/05, 10/29/15)
         17.1.7.2.4 Exception -- Draft Combine Invitation -- Men's Basketball. In men's basketball, a student-athlete
         who has entered a professional league's draft and has been invited to attend the league's draft combine may participate
         in countable athletically related activities for up to four hours per day and 20 hours per week from the date of receipt of
         the invitation to participate in the combine until the date on which the student-athlete withdraws from the professional
         league's draft or the date of the league's deadline to withdraw from its draft, whichever occurs earlier. (Adopted:
         1/14/16)
   17.1.7.3 Computation and Recording of Hour Limitations.
         17.1.7.3.1 Definition of Day. A "day" shall be defined as a calendar day (12 a.m. through 11:59 p.m.). (Adopted:
         1/10/91 effective 8/1/91)
         17.1.7.3.2 Competition Day. All competition and any associated athletically related activities on the day of
         competition shall count as three hours regardless of the actual duration of these activities.
             17.1.7.3.2.1 Countable Athletically Related Activities Prohibited After Competition. Countable
             athletically related activities may not be conducted at any time (including vacation periods) following competition,
             except between contests, rounds or events during a multiday or multievent competition (e.g., double-headers in
             softball or baseball, rounds of golf in a multiday tournament). (Adopted: 1/10/91 effective 8/1/91, Revised: 1/10/92,
             4/13/09)
         17.1.7.3.3 Definition of Week. A "week" shall be defined as any seven consecutive days to be determined at the
         institution's discretion and shall be sport specific. Once the institution determines the seven-day period that shall
         constitute its week, it shall not change that designation for the remainder of the segment. (Adopted: 1/11/94, Revised:
         1/22/14)
         17.1.7.3.4 Hour-Limitation Record. Countable hours must be recorded on a daily basis for each student-athlete
         regardless of whether the student-athlete is participating in an individual or team sport. Any countable individual or
         group athletically related activity must count against the time limitation for each student-athlete who participates in the
         activity but does not count against time limitations for other team members who do not participate in the activity.
         (Adopted: 1/10/91 effective 8/1/91)
         17.1.7.3.5 Preseason Practice. Daily and weekly hour limitations do not apply to countable athletically related
         activities occurring during preseason practice prior to the first day of classes or the first scheduled contest, whichever is
         earlier. (Adopted: 1/10/91 effective 8/1/91, Revised: 1/18/18)
             17.1.7.3.5.1 Exception -- Football. [FBS/FCS] In football, on one day in every seven days during the
             preseason practice period (prior to the institution's first day of classes or seven days before the institution's first
             scheduled contest, whichever is earlier) a student-athlete’s participation in countable athletically related activities
             shall be limited to not more than two hours of off-field meetings or film review. Daily and weekly hour limitations
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             on countable athletically related activities shall apply beginning with the institution's first day of classes or seven
             days before the institution's first scheduled contest, whichever is earlier. (Adopted: 1/18/18)
         17.1.7.3.6 Vacation Periods and Between Terms. Daily and weekly hour limitations do not apply to countable
         athletically related activities occurring during an institution's term-time official vacation period, as listed in the
         institution's official calendar, and during the academic year between terms when classes are not in session. If such
         vacation periods occur during any part of a week in which classes are in session, the institution is subject to the daily
         and weekly hour limitations during the portion of the week when classes are in session and must provide the student-
         athletes with a day off (see Bylaw 17.1.7.4), which may be a vacation day. (Adopted: 1/10/91 effective 8/1/91, Revised:
         1/10/92)
         17.1.7.3.7 Final-Examination Periods. Daily and weekly hour limitations apply to countable athletically related
         activities during final-examination periods and to all official preparatory periods leading to final-examination periods.
         (Adopted: 1/10/91 effective 8/1/91)
         17.1.7.3.8 Multisport Participant. A multisport student-athlete's participation in countable athletically related
         activities is limited to a maximum of four hours per day and a total of 20 hours per week. (Adopted: 4/29/04 effective
         8/1/04)
   17.1.7.4 Required Day Off -- Playing Season. During the playing season, all countable athletically related activities
   (per Bylaw 17.02.1) shall be prohibited during one calendar day per week, except during participation in one conference
   and postseason championship and any postseason bowl games or National Invitation Tournaments, and during
   participation in NCAA championships. (Adopted: 1/10/91 effective 8/1/91, Revised: 1/11/94, 1/10/95, 1/9/96, 2/1/05)
         17.1.7.4.1 Travel Day. A travel day related to athletics participation may be considered as a day off, provided no
         countable athletically related activities (see Bylaw 17.02.1) occur during that day. (Adopted: 1/10/91 effective 8/1/91)
         17.1.7.4.2 Canceled Competition. When an institution's competition is canceled prior to the start of competition
         or canceled prior to the competition being considered a completed event in accordance with the playing rules of that
         sport, an institution may use that day as its required day off, provided the institution does not engage in any further
         countable athletically related activities during that day. (Adopted: 1/16/93)
         17.1.7.4.3 Preseason Practice -- Sports Other Than Football. In sports other than football, an institution is
         not required to provide student-athletes with one day off per week during preseason practice that occurs prior to the
         first day of classes, or the first scheduled contest, whichever is earlier. (Adopted: 1/10/92, Revised: 1/18/18)
         17.1.7.4.4 Preseason Practice -- Football. [FBS/FCS] In football, an institution is not required to provide
         student-athletes with one day off per week during the preseason practice period prior to the first day of classes, or seven
         days before the institution’s first scheduled contest, whichever is earlier. (See Bylaw 17.1.7.3.5.1.) (Adopted: 1/18/18)
         17.1.7.4.5 Vacation Period. It is permissible to use a vacation day to satisfy the day-off-per-week requirement.
         (Adopted: 1/10/92)
         17.1.7.4.6 Non-NCAA Postseason Championship. The one-day-off-per-week requirement is applicable to a
         non-NCAA postseason championship (e.g., national governing body championship) unless the event is open only to
         intercollegiate teams or intercollegiate competitors. (Adopted: 1/9/96)
         17.1.7.4.7 Multiple Conference Championships. An institution that participates in multiple conference
         championships is not subject to the one-day-off-per-week requirement in the one conference championship that it
         exempts from its maximum contest limitations. (Adopted: 1/9/96)
         17.1.7.4.8 Exception -- Three Contests in Seven-Day Period. If an institution's team participates in three
         contests or dates of competition in a seven-day period, an institution is not subject to the one-day-off-per-week
         requirement, provided the student-athletes do not engage in any countable athletically related activities for two days
         during either the preceding or the following week. (Adopted: 4/27/06 effective 8/1/06, Revised: 4/25/18 effective 8/1/18)
   17.1.7.5 Required Days Off -- Outside of the Playing Season. Outside of the playing season during the academic
   year, all countable athletically related activities (per Bylaw 17.02.1) are prohibited during two calendar days per week.
   (Adopted: 4/29/04 effective 8/1/04)
   17.1.7.6 Required Day Off -- Civic Engagement. All countable athletically related activities (per Bylaw 17.02.1) shall
   be prohibited on the first Tuesday after the first Monday in November. An institution shall develop civic engagement
   policies, which must address opportunities available to student-athletes for civic engagement, through a collaborative
   process involving student-athletes, coaches and senior athletics department staff members to ensure student-athletes are
   provided adequate opportunities, resources and programming to participate in civic engagement activities. (Adopted:
   9/16/20 not applicable to contests scheduled before July 17, 2020, Revised: 6/15/22 effective 8/1/22)

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         17.1.7.6.1 Exception -- Championship Segment. A team that is participating in the segment of the playing
         season that concludes with the NCAA championship may engage in countable athletically related activities on the first
         Tuesday after the first Monday in November, provided student-athletes are given a day off from countable athletically
         related activities to participate in civic engagement activities and programming within 15 days before or after the first
         Tuesday after the first Monday in November. (Adopted: 6/30/22 effective 8/1/22)
   17.1.7.7 Required Day Off -- Playing Season. [A] During the playing season, all required athletically related activities
   (per Bylaw 17.02.14) shall be prohibited during one calendar day per week, except during participation in one conference
   and postseason championship and any postseason bowl games or National Invitation Tournaments, and during
   participation in NCAA championships. Health and medical activities (e.g., medical evaluations or treatment for prevention
   and/or rehabilitation of injuries) or activities that are academically related (e.g., meetings with academic advisor, tutoring
   sessions) are permitted on the day off. (Adopted: 1/20/17 effective 8/1/17)
         17.1.7.7.1 Travel Day. [A] A travel day related to athletics participation may not be considered as a day off. This
         restriction shall apply to any calendar day on which travel associated with any countable athletically related activity
         occurs, regardless of the distance or duration of travel. (Adopted: 1/20/17 effective 8/1/17)
             17.1.7.7.1.1 Exception -- Return Travel Following Away-From-Home Competition -- Midnight to 5
             a.m. [A] A day on which return to campus travel occurs between midnight and 5 a.m. from away-from-home
             competition may be considered as a day off, provided no required athletically related activities occur for a
             continuous 24-hour period starting from the time all participating student-athletes have been officially released
             following the return to campus. (Adopted: 1/20/17 effective 8/1/17)
             17.1.7.7.1.2 Exception -- Travel To or From Hawaii or Alaska. [A] An institution may use an athletically
             related travel day to or from Hawaii or Alaska as a day off. (Adopted: 1/20/17 effective 8/1/17)
         17.1.7.7.2 Canceled Competition. [A] When an institution's competition is canceled prior to the start of
         competition or canceled prior to the competition being considered a completed event in accordance with the playing
         rules of that sport, an institution may use that day as its required day off, provided the institution does not engage in
         any further required athletically related activities during that day. (Adopted: 1/20/17 effective 8/1/17)
         17.1.7.7.3 Preseason Practice -- Sports Other Than Football. [A] In sports other than football, an institution
         shall provide student-athletes with one day off per week during preseason practice that occurs prior to the first day of
         classes, or the first scheduled contest, whichever is earlier. (Adopted: 1/20/17 effective 8/1/17, Revised: 1/18/18)
         17.1.7.7.4 Preseason Practice -- Football. [FBS/FCS] In football, an institution is not required to provide
         student-athletes with one day off per week during the preseason practice period prior to the first day of classes, or seven
         days before the institution’s first scheduled contest, whichever is earlier; however, on one day in every seven days
         during the preseason practice period, a student-athlete’s participation in required athletically related activities shall be
         limited to not more than two hours of off-field meetings or film review. (Adopted: 1/18/18)
         17.1.7.7.5 Vacation Period. [A] An institution shall provide student-athletes with one day off per week during a
         vacation period when classes are not in session. It is permissible to use a vacation day to satisfy the day-off-per-week
         requirement. (Adopted: 1/20/17 effective 8/1/17)
         17.1.7.7.6 Non-NCAA Postseason Championship. [A] The one-day-off-per-week requirement is applicable to a
         non-NCAA postseason championship (e.g., national governing body championship) unless the event is open only to
         intercollegiate teams or intercollegiate competitors. (Adopted: 1/20/17 effective 8/1/17)
         17.1.7.7.7 Multiple Conference Championships. [A] An institution that participates in multiple conference
         championships is not subject to the one-day-off-per-week requirement in the one conference championship that it
         exempts from its maximum contest limitations. (Adopted: 1/20/17 effective 8/1/17)
         17.1.7.7.8 Exception -- Three Contests in Seven-Day Period. [A] If an institution's team participates in three
         contests or three dates of competition in a seven-day period, an institution is not subject to the one-day-off-per-week
         requirement, provided the student-athletes do not engage in any required athletically related activities for two days
         during either the preceding or the following week. (Adopted: 1/20/17 effective 8/1/17, Revised: 4/25/18 effective 8/1/18)
         17.1.7.7.9 Exception -- Life-Skills Activities Involving Multiple Sports. [A] Required life-skills activities that
         involve multiple sports and are formally organized by the athletics department (e.g., life skills department, athletics
         director’s office) are permitted on a student-athlete’s day off. (Adopted: 1/20/17 effective 8/1/17)
   17.1.7.8 Required Days Off -- Outside of the Playing Season. [A] Outside of the playing season during the
   academic year, all required athletically related activities (per Bylaw 17.02.14) are prohibited during two calendar days per
   week. Health and medical activities (e.g., medical evaluations or treatment for prevention and/or rehabilitation of injuries)

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   or activities that are academically related (e.g., meetings with academic advisor, tutoring sessions) are permitted on the days
   off. (Adopted: 1/20/17 effective 8/1/17)
         17.1.7.8.1 Exception -- Life-Skills Activities Involving Multiple Sports. [A] Required life-skills activities that
         involve multiple sports and are formally organized by the athletics department (e.g., life skills department, athletics
         director’s office) are permitted on a student-athlete’s day off. (Adopted: 1/20/17 effective 8/1/17)
   17.1.7.9 Additional Required Days Off. [A] An institution shall provide a student-athlete with 14 additional days off
   during the playing season (including vacation periods during the season) or outside the playing and practice season during a
   regular academic term when classes are in session. Required athletically related activities are prohibited on such days.
   However, a student-athlete may participate in voluntary activities. The seven-day discretionary period (see Bylaw
   17.1.7.11.7) at the conclusion of the championship segment does not count toward this requirement. Health and medical
   activities (e.g., medical evaluations or treatment for prevention and/or rehabilitation of injuries) or activities that are
   academically related (e.g., meetings with academic advisor, tutoring sessions) are permitted during the days off. (Adopted:
   1/20/17 effective 8/1/17)
         17.1.7.9.1 Multisport Student-Athletes. [A] An institution shall provide a multisport student-athlete with a
         minimum of fourteen additional days off over the course of the academic year when classes are in session, regardless of
         the number of sports in which the student-athlete participates. (Adopted: 1/20/17 effective 8/1/17)
         17.1.7.9.2 Exception -- Quarter Institutions. [A] For a quarter-system institution, in sports that use a 144-day or
         156-day playing and practice season and for which the NCAA championship is conducted in the spring, the institution
         may provide a student-athlete up to seven days off during the period from September 15 to the institution’s first day of
         classes for the fall quarter (see Bylaw 17.1.7.2). (Adopted: 1/20/17 effective 8/1/17)
         17.1.7.9.3 Exception -- Life-Skills Activities Involving Multiple Sports. [A] Required life-skills activities that
         involve multiple sports and are formally organized by the athletics department (e.g., life skills department, athletics
         director’s office) are permitted on a student-athlete’s day off. (Adopted: 1/20/17 effective 8/1/17)
   17.1.7.10 Three-Day Period -- Basketball. [A] In basketball, an institution shall provide student-athletes with three
   consecutive days off during the institution's official vacation period after the first term of the academic year (e.g., winter
   break). Required athletically related activities are prohibited on such days. (Adopted: 1/19/18 effective 8/1/18)
         17.1.7.10.1 Exception – Participation in Qualifying Regular-Season Multiple-Team Event. [A] One time
         during a four-year period, if an institution participates in a qualifying regular-season multiple-team event (see Bylaw
         17.4.5.2.1) that occurs during the institution's official vacation period after the first term when classes are not in
         session (e.g., winter break), the institution shall not be required to provide student-athletes with three consecutive days
         off. (Adopted: 1/19/18 effective 8/1/18)
   17.1.7.11 Additional Restrictions.
         17.1.7.11.1 No Class Time Missed in Conjunction with Nonchampionship Segment Competition --
         Baseball, Field Hockey, Lacrosse, Soccer, Softball and Volleyball. In baseball, field hockey, lacrosse, soccer,
         softball and volleyball, no class time shall be missed in conjunction with nonchampionship segment competition,
         including activities associated with such competition (e.g., travel and other pregame or postgame activities). (Adopted:
         4/28/11 effective 8/1/11, Revised: 10/20/14 effective 1/1/15, 7/31/15, 4/26/17 effective 8/1/17, 5/19/22 effective 8/1/22)
             17.1.7.11.1.1 Exception -- Institution Located in Hawaii. The provisions of Bylaw 17.1.7.11.1 do not
             apply to an active member institution located in Hawaii. (Adopted: 4/28/11 effective 8/1/11)
             17.1.7.11.1.2 Exception -- Nonchampionship Segment Travel to Hawaii or Alaska. A student-athlete
             may miss class time in conjunction with an institution's use of the once-in-four years exception (or, in women's
             beach volleyball, the once-in-two years exception) for the use of any form of transportation for travel to Hawaii or
             Alaska for nonchampionship segment competition against an active member institution located in Hawaii or
             Alaska. (Adopted: 4/28/11 effective 8/1/11)
         17.1.7.11.2 No Class Time Missed for Practice Activities. No class time shall be missed at any time (e.g.,
         regular academic term, mini term, summer term) for practice activities except when a team is traveling to an away-
         from-home contest and the practice is in conjunction with the contest. (Adopted: 1/10/91 effective 8/1/91, Revised:
         5/13/10)
             17.1.7.11.2.1 Exception -- Championship Practice. At any conference or NCAA championship, student-
             athletes from the team representing the host institution shall be permitted to miss class time to attend practice
             activities conducted the day before the competition. (Adopted: 4/27/00, Revised: 4/26/01)


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         17.1.7.11.3 Preseason Off-Campus Intrasquad Games Prohibition. Preseason off-campus intrasquad games
         shall be prohibited in all sports. (Adopted: 1/10/91 effective 8/1/91, Revised: 10/27/98 effective 8/1/99, 8/11/11)
         17.1.7.11.4 Publicity of Preseason Off-Campus Practice Activities. An institution may publicize off-campus
         preseason practice activities that are conducted at a single designated site, provided the institution normally conducts
         preseason practice activities at that particular site. (Adopted: 8/11/11)
         17.1.7.11.5 Countable Athletically Related Activities Between Midnight and 5 a.m. Countable athletically
         related activities shall not occur between midnight and 5 a.m. (Adopted: 1/16/10)
             17.1.7.11.5.1 Exceptions. Countable athletically related activities may occur between midnight and 5 a.m.
             under the following circumstances: (Adopted: 1/16/10)
              (a) During participation in a conference championship or an NCAA championship;
              (b) Participation in any competition that begins before midnight and concludes after midnight; or
              (c) Participation in a promotional practice activity (e.g., first practice of the season).
         17.1.7.11.6 Required Athletically Related Activities Between 9 p.m. and 6 a.m. [A]
             17.1.7.11.6.1 Required Activities Other Than Competition. [A] Required athletically related activities
             other than competition (and associated activities) shall not occur during a continuous eight-hour period between 9
             p.m. and 6 a.m. (Adopted: 1/20/17 effective 8/1/17)
                  17.1.7.11.6.1.1 Exceptions. [A] The following required athletically related activities other than
                  competition (and associated activities) are not subject to the continuous eight-hour period restriction:
                  (Adopted: 1/20/17 effective 8/1/17)
                   (a) During participation in a regular-season multiday contest, event or tournament, conference
                      championship, other postseason championship or an NCAA championship;
                   (b) Required athletically related activities in the locale of an away-from-home competition on the day before
                       the competition if the institution's team arrives in the locale the day before the competition;
                   (c) Participation in a promotional practice activity (e.g., first practice of the season);
                   (d) Participation in recruiting activities, including student-host duties;
                   (e) Participation in required life-skills and team-building activities; or
                   (f) Health and medical activities (e.g., medical evaluations or treatment for prevention and/or rehabilitation
                       of injuries) or academically related activities (e.g., meetings with academic advisor, tutoring sessions).
             17.1.7.11.6.2 Home Competition That Concludes After 9 p.m. [A] Once a student-athlete is officially
             released from team obligations following a home contest after 9 p.m. (local time), the institution must provide the
             student-athlete a continuous eight-hour period during which required athletically related activities are prohibited.
             If necessary, an institution may schedule travel to an away-from-home contest within the eight-hour period after
             release following a home contest. (Adopted: 1/20/17 effective 8/1/17)
             17.1.7.11.6.3 Away-From-Home Competition -- Return to Campus After 9 p.m. [A] If a student-athlete
             returns to campus after 9 p.m. (local time) from an away-from-home competition, the institution must provide
             the student-athlete a continuous eight-hour period during which required athletically related activities are
             prohibited. The eight-hour period begins when the student-athlete returns to campus and is officially released
             from team obligations. (Adopted: 1/20/17 effective 8/1/17)
         17.1.7.11.7 Seven-Day Discretionary Period After Championship Segment. [A] Required athletically
         related activities shall be prohibited for a seven-day period beginning the day after a student-athlete’s or team’s last
         contest or date of competition of the championship segment, or the day after the declared championship segment of
         the playing season concludes. During this period, a student-athlete may only participate in voluntary activities. Health
         and medical activities (e.g., medical evaluations or treatment for prevention and/or rehabilitation of injuries) or
         activities that are academically related (e.g., meetings with academic advisor, tutoring sessions) are permitted during
         this period. (Adopted: 1/20/17 effective 8/1/17, Revised: 4/28/21)
             17.1.7.11.7.1 Exception -- Team Meeting. [A] A team may conduct one end-of-season meeting during the
             seven-day discretionary period, provided no countable athletically related activities occur. (Adopted: 1/24/19)
             17.1.7.11.7.2 Exception -- Training for Elite National and International Events. [A] During the seven-
             day period, a student-athlete who has qualified for an elite national or international event (see Bylaw 16.8.1.2)


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              may participate in individual-workout sessions conducted by a coaching staff member, provided the student-
              athlete initiates the request to participate in the workout sessions. (Adopted: 1/20/17 effective 8/1/17)
              17.1.7.11.7.3 Multisport Student-Athletes. [A] A multisport student-athlete may participate in required
              athletically related activities in a different sport during the seven-day discretionary period. (Adopted: 1/20/17
              effective 8/1/17)
         17.1.7.11.8 Off-Campus Practice Unrelated to Away-From-Home Competition During Vacation
         Period. [A] Off-campus practice (other than practice at an institution's regularly used off-campus practice facilities
         and other than the winter-training trip in women's rowing) unrelated to an away-from-home competition shall be
         prohibited during an institutional vacation period outside the institution's championship playing season. (Adopted:
         1/20/17 effective 8/1/17)
    17.1.7.12 Exception -- Eligibility Exhausted. A student-athlete who has exhausted eligibility in a sport, but is eligible
    for practice under the five-year rule, is not subject to the time limits of Bylaw 17.1.7. (Adopted: 4/24/08 effective 8/1/08)
17.1.8 Student-Athlete Time Management Plan. [A] An institution shall develop a student-athlete time management
plan for each varsity intercollegiate sport in which the Association sponsors a championship or that is an emerging sport for
women. The student-athlete time management plan shall include, at a minimum, policies to ensure that: (Adopted: 1/20/17
effective 8/1/17)
 (a) Student-athletes are provided adequate notice of all countable athletically related activities and other required athletically
      related activities.
 (b) Schedules for all countable athletically related activities and other required athletically related activities are developed
      through a collaborative process involving student-athletes, coaches and senior athletics department staff members.
 (c) Student-athletes are provided adequate notice of changes to a previously established schedule for countable athletically
      related activities and other required athletically related activities.
    17.1.8.1 Annual Review. [A] An institution shall conduct an annual end-of-year review of each sport’s student-athlete
    time management plan. The institution’s director of athletics, faculty athletics representative, the sport's head coach and at
    least one student-athlete representative shall be involved in the review. The review shall include, at a minimum, an
    evaluation of the extent to which the student-athletes were free from all athletically related activities, other than those
    initiated by student-athletes, during the required eight-hour overnight period and all required days off. The findings of each
    annual review shall be reviewed by the institution’s president or chancellor. (Adopted: 1/20/17 effective 8/1/17)
    17.1.8.2 Enforcement Implications for Actions Contrary to Institutional Policy. [A] As it relates to compliance
    with institutional policy in a student-athlete time management plan, an institution shall only be held accountable through
    the NCAA infractions process for actions that clearly demonstrate a disregard for its stated policies. (Adopted: 1/20/17
    effective 8/1/17)
17.1.9 General Regulations for Computing Playing Seasons. (Adopted: 1/10/92, Revised: 1/16/93, 1/11/94, 8/11/98,
4/26/01, 4/29/04 effective 8/1/04, 10/28/10, 4/26/17 effective 8/1/17, 9/15/21, 5/19/22 effective 8/1/22)
(a) Makeup Contests. An institution is not permitted to extend the playing season to make up suspended or canceled games
    (including games that determine a conference champion or the automatic qualifier to the NCAA championship);
(b) NCAA Championships Participation in Team Sports. Neither practice for nor participation in any NCAA
    championship event (including play-in contests conducted pursuant to NCAA championships) is considered part of the
    institution's declared playing season. An institution that has reason to believe it is under consideration for selection to
    participate in an NCAA championship event may continue to practice (but may not compete against outside competition)
    beyond its last regular-season contest, including the conference championship (if any), without counting such practice
    against the institution's declared playing-season limitation until it is determined by the appropriate committee whether the
    institution will be selected to participate in the NCAA championship competition. An institution that is not selected to
    participate in the NCAA championship may continue to practice or compete until the end of that championship only if it
    has time remaining in its declared playing season. In basketball, an institution may not engage in regular-season
    competition after the beginning of its conference's season-end tournament that determines automatic qualification into the
    NCAA Division I Basketball Championship;
(c) NCAA Championships Participation in Individual Sports. Only appropriate squad members considered necessary
    for effective practice by the individual(s) preparing for the NCAA championships may continue to practice without
    counting such practice against the institution's declared playing-season limitation;



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(d) Post-NCAA Championships Participation. Following the conclusion of an NCAA (or NAIA) championship in a
    sport, an institution may resume practice and/or competition in the sport, provided it is continuing its permissible playing
    season in the sport and provided the activity occurs during the academic year;
(e) Conference Championships. Conference championships must be included within the institution's playing season;
(f) Non-NCAA Season-Ending Event Participation -- Sports Other Than Basketball and Football. In sports other
    than basketball and football, neither practice for nor participation in one non-NCAA season-ending event that occurs prior
    to the conclusion of the NCAA championship in the applicable sport is considered part of the institution's declared playing
    season if the team or individual does not participate in the NCAA championship in that sport. A season-ending event
    involves competition after the end of the regular season between teams that are not identified until the close of the regular
    season;
(g) Foreign Tours. Participation by a member institution on a certified foreign tour (see Bylaw 17.32) need not be included
    within the institution's declared playing-season limitation in the sport.
    17.1.9.1 Combining Segments. In those sports that have different contest limitations in the segment concluding with
    the NCAA championship and the other segment, a member institution that conducts a single continuous segment in a
    sport (rather than dividing its playing season for that sport into two distinct segments as permitted in Bylaw 17.1.2) shall be
    limited to the number of contests or dates of competition permitted only for the segment that concludes with the NCAA
    championship. (Adopted: 1/14/97 effective 8/1/97)
17.2 Women's Acrobatics and Tumbling. Regulations for computing the women's acrobatics and
tumbling playing season are set forth in Bylaw 17.1. (See Figure 17-1 and Figure 17-2.) (Adopted: 6/23/20 effective 8/1/20)
17.2.1 Length of Playing Season. The length of an institution's playing season in women's acrobatics and tumbling shall
be limited to a 144-day season, which may consist of two segments (each consisting of consecutive days) and which may exclude
only required off days (see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-examination periods
during which no practice or competition shall occur. (Adopted: 6/23/20 effective 8/1/20, Revised: 11/25/20 effective 9/16/20)
17.2.2 Preseason Practice. An institution shall not commence practice sessions in women's acrobatics and tumbling prior
to the institution's first day of classes for the fall term. (Adopted: 6/23/20 effective 8/1/20)
17.2.3 First Date of Competition. An institution shall not engage in its first date of competition (meet or practice meet)
with outside competition in women's acrobatics and tumbling prior to February 1. (Adopted: 6/23/20 effective 8/1/20)
17.2.4 End of Regular Playing Season. An institution shall conclude all practice and competition (meets and practice
meets) in women's acrobatics and tumbling by the conclusion of the National Collegiate Acrobatics and Tumbling Association
National Championships. (Adopted: 6/23/20 effective 8/1/20)
17.2.5 Number of Dates of Competition.
    17.2.5.1 Maximum Limitations -- Institutional. An institution shall limit its total playing schedule with outside
    competition in women's acrobatics and tumbling during the playing season to 12 dates of competition, which may not
    include not more than two triangular meets, except for those dates of competition excluded under Bylaw 17.3.5.3 and
    17.3.5.4. (Adopted: 6/23/20 effective 8/1/20)
         17.2.5.1.1 In-Season Foreign Competition. An institution may play one or more of its countable dates of
         competition in women's acrobatics and tumbling in one or more foreign countries on one trip during the prescribed
         playing season. However, except for contests played in Canada and Mexico or on a certified foreign tour (see Bylaw
         17.31), the institution may not engage in such in-season foreign competition more than once every four years.
         (Adopted: 6/23/20 effective 8/1/20)
    17.2.5.2 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate in each academic
    year in not more than twelve dates of competition (this limitation includes those dates of competition in which the student-
    athlete represents the institution in accordance with Bylaw 17.02.8, including competition as a member of the varsity team
    of the institution). (Adopted: 6/23/20 effective 8/1/20)
    17.2.5.3 Annual Exemptions. The maximum number of dates of competition in women's acrobatics and tumbling
    shall exclude the following: (Adopted: 6/23/20 effective 8/1/20)
     (a) Conference Championship. Competition in one conference championship;
     (b) Season-Ending Event. Competition in one season-ending event (e.g., national governing body championship). A
         season-ending tournament involves competition after the end of the regular season between teams that are not
         identified until the close of the regular season;
     (c) Alumni Contest. One date of competition each year against an alumni team of the institution;
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     (d) Foreign Team in the United States. One date of competition each year with a foreign opponent in the United
         States;
     (e) Fundraising Activity. Any acrobatics and tumbling activities in which student-athletes from more than one of the
         institution's athletics teams participate with and against alumni and friends of the institution, the purpose of which is
         to raise funds for the benefit of the institution's athletics or other programs; provided the student-athletes do not miss
         class as a result of their participation (see Bylaw 12.5.1.1);
     (f) Celebrity Sports Activity. Competition involving a limit of two student-athletes from the institution's women's
         acrobatics and tumbling team who participate in local celebrity acrobatics and tumbling activities conducted for the
         purpose of raising funds for charitable organizations, provided:
          (1) The student-athletes do not miss classes as a result of the participation;
          (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
          (3) The activity takes place within a 30-mile radius of the institution's main campus.
     (g) U.S. National Team. One date of competition against any team as selected and designated by the appropriate
         national governing body for acrobatics and tumbling as a U.S. national team; and
     (h) Hawaii, Alaska or Puerto Rico. Any dates of competition conducted in Hawaii, Alaska or Puerto Rico, respectively,
         either against or under the sponsorship of an active Division I institution located in Hawaii, Alaska or Puerto Rico, by
         a member located outside these locales.
    17.2.5.4 Once-in-Four-Years Exemption -- Foreign Tour. An institution may not exempt more than one foreign
    tour from its maximum number of dates of competition in women's acrobatics and tumbling during any academic year and
    may not repeat participation in a foreign tour within a four-year period. The tour shall be conducted by the institution in
    accordance with the procedures set forth in Bylaw 17.32. (Adopted: 6/23/20 effective 8/1/20)
17.2.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff shall not
engage in countable athletically related activities outside the institution's declared playing season per Bylaw 17.2.1 except as
permitted in Bylaw 17.1.7.2. (Adopted: 6/23/20 effective 8/1/20)
    17.2.6.1 Summer Practice. Practice that is organized or financially supported by an institution shall be prohibited
    during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official interpretations. An
    institution may pay fees associated with the use of institutional practice and competition facilities by student-athletes
    engaged in voluntary athletically related activities in their sport. (Adopted: 6/23/20 effective 8/1/20)
    17.2.6.2 Vacation-Period and Summer Workout Exception. A coach may participate in individual workout
    sessions with student-athletes from the coach's team during any institutional vacation period and/or the summer, provided
    the request for the assistance is initiated by the student-athlete. (Adopted: 6/23/20 effective 8/1/20)
17.2.7 Safety Exception. A coach may be present during voluntary workouts in the institution's regular practice facility
(without the workouts being considered as countable athletically related activities) when a student-athlete is engaged in
individual skill work. The coach may provide safety or skill instruction but may not conduct the individual's workouts.
(Adopted: 6/23/20 effective 8/1/20)
17.2.8 Camps and Clinics. There are no limits on the number of student-athletes in women's acrobatics and tumbling who
may be employed (e.g., as camp counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not
participate as campers in their institution's camps or clinics. (Adopted: 6/23/20 effective 8/1/20)
17.2.9 Other Restrictions.
    17.2.9.1 Noncollegiate, Amateur Competition.
         17.2.9.1.1 During Academic Year. A student-athlete in women's acrobatics and tumbling who participates during
         the academic year as a member of any outside acrobatics and tumbling team in any noncollegiate, amateur competition
         (e.g., tournament, exhibition meets or other activity) except while representing the institution in intercollegiate
         women's acrobatics and tumbling competition shall be ineligible for intercollegiate women's acrobatics and tumbling
         competition unless eligibility is restored by the Committee on Student-Athlete Reinstatement (see Bylaw 17.34.3 for
         exceptions). (Adopted: 6/23/20 effective 8/1/20)
             17.2.9.1.1.1 Vacation-Period Exception. A student-athlete in women's acrobatics and tumbling may
             compete outside the institution's declared playing and practice season as a member of an outside team in any
             noncollegiate, amateur competition during any official vacation period published in the institution's catalog.
             There are no limitations on the number of student-athletes from any one institution who may compete on an
             outside amateur acrobatics and tumbling team. (Adopted: 6/23/20 effective 8/1/20)
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         17.2.9.1.2 Out of Season. There are no limits on the number of student-athletes from the same institution with
         eligibility remaining in intercollegiate women's acrobatics and tumbling who may practice or compete out of season on
         an outside, amateur acrobatics and tumbling team (competition on an outside team is permitted only during the
         summer except as provided in Bylaw 17.2.9.1.1.1). (Adopted: 6/23/20 effective 8/1/20)
                17.2.9.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of an institution may be
                involved in any capacity (e.g., coach, official, player or league/team administrator) during the academic year
                (including vacation periods during the academic year) with an outside team that involves any student-athlete with
                eligibility remaining from the institution's women's acrobatics and tumbling team except as provided under
                Bylaws 17.1.1.1, 17.32 and 17.34.3. (Adopted: 6/23/20 effective 8/1/20)
                17.2.9.1.2.2 Olympic and National Team Development Program. There are no limits on the number of
                student-athletes from the same institution who may participate in Olympic and national team development
                programs. Such programs may also include a coach and student-athlete from the same institution, provided:
                (Adopted: 6/23/20 effective 8/1/20)
                (a) The national governing body conducts and administers the development program;
                (b) The national governing body selects coaches involved in the development program; and
                (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                    one particular institution, selects the involved participants.
    17.2.9.2 Equipment Issues, Squad Pictures. No limitations. (Adopted: 6/23/20 effective 8/1/20)
17.3 Baseball. Regulations for computing the baseball playing season are set forth in Bylaw 17.1. (See Figure 17-1 and
Figure 17-2.)
17.3.1 Length of Playing Season. The length of an institution's playing season in baseball shall be limited to a 132-day
season, which may consist of two segments. (Revised: 1/10/91 effective 8/1/91, 1/14/97 effective 8/1/97, 1/9/06 effective 8/1/07)
    17.3.1.1 Championship Segment. An institution's championship segment must consist of consecutive days and may
    exclude only required days off (see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-
    examination periods during which no practice or competition shall occur. (Revised: 1/9/06 effective 8/1/07)
    17.3.1.2 Nonchampionship Segment. An institution's nonchampionship segment shall be conducted within a period
    of 45 consecutive calendar days during the months of September, October and November under the following conditions:
    (Revised: 1/9/06 effective 8/1/07)
     (a) Days used for practice or competition must be counted toward the 132-day season, but are not required to be
         consecutive;
     (b) Days during which countable athletically related activities are limited solely to required conditioning activities and/or
         in skill-related instruction are not required to count toward the 132-day season;
     (c) During any week in which practice or competition occurs, a student-athlete's involvement in countable athletically
         related activities shall be limited to a maximum of four hours per day and 20 hours per week and all countable
         athletically related activities are prohibited during one calendar day per week; and
     (d) Any week in which practice or competition does not occur shall be considered outside the playing season (see Bylaw
         17.1.7.2).
17.3.2 Preseason Practice. A member institution shall not commence practice sessions in baseball prior to the following
dates: (Adopted: 1/14/97 effective 8/1/97, Revised: 1/9/06 effective 8/1/07, 4/30/09)
(a) Nonchampionship Segment. September 1.
(b) Championship Segment. The Friday that is three weeks prior to the first permissible contest date for the championship
    segment.
17.3.3 First Contest. A member institution shall not play its first contest (game or scrimmage) with outside competition in
baseball prior to the following dates: (Adopted: 1/14/97 effective 8/1/97, Revised: 1/9/06 effective 8/1/07, 1/15/09, 4/30/09)
(a) Nonchampionship Segment. September 1.
(b) Championship Segment. The Friday in February that is 14 weeks before the Friday immediately preceding Memorial
    Day (see Figure 17-2), except that a single alumni contest may be played any time after the first permissible practice date of
    the championship segment.
17.3.4 End of Regular Playing Season. A member institution shall conclude all practice and competition (games and
scrimmages) in baseball by the conclusion of the NCAA Division I Baseball Championship. (Revised: 1/14/97 effective 8/1/97)
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17.3.5 Number of Contests.
    17.3.5.1 Maximum Limitations -- Institutional. A member institution shall limit its total playing schedule with
    outside competition in baseball during the institution's baseball playing season to 56 contests (games and scrimmages)
    during the segment in which the NCAA championship is conducted and two contests (games and scrimmages) during the
    nonchampionship segment, except for those contests excluded under Bylaws 17.3.5.3 and 17.3.5.4. (Revised: 1/10/91
    effective 8/1/91, 4/25/18 effective 8/1/18)
         17.3.5.1.1 In-Season Foreign Competition. A member institution may play one or more of its countable contests
         in baseball in one or more foreign countries on one trip during the prescribed playing season. However, except for
         contests played in Canada and Mexico or on a certified foreign tour (see Bylaw 17.32), the institution may not engage
         in such in-season foreign competition more than once every four years.
    17.3.5.2 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate in each academic
    year in not more than 56 baseball contests during the segment in which the NCAA championship is conducted and two
    contests during the nonchampionship segment (this limitation includes those contests in which the student represents the
    institution in accordance with Bylaw 17.02.8, including competition as a member of the varsity, junior varsity or freshman
    team of the institution). (Revised: 1/10/91 effective 8/1/91, 4/25/18 effective 8/1/18)
    17.3.5.3 Annual Exemptions. The maximum number of baseball contests shall exclude the following: (Revised: 1/9/96
    effective 8/1/96, 9/6/00, 2/24/03, 5/19/22 effective 8/1/22)
     (a) Conference Championship. Competition in one conference championship tournament in baseball (or the
         tournament used to determine the conference's automatic entry in an NCAA baseball championship);
     (b) Conference Playoff. Competition involving member institutions that tie for a conference baseball championship.
         Such teams may participate in a single-elimination playoff to determine the conference's automatic entry in an NCAA
         baseball championship without the game(s) being counted as a postseason tournament;
     (c) NCAA Championship Play-In Competition. Competition in play-in contests conducted before NCAA
         championships;
     (d) Season-Ending Event. Competition in one season-ending event (e.g., NCAA championship). A season-ending
         event involves competition after the end of the regular season between teams that are not identified until the close of
         the regular season;
     (e) Alumni Game. One baseball contest each year against an alumni team of the institution;
     (f) Foreign Team in the United States. One baseball contest each year with a foreign opponent in the United States;
     (g) Hawaii or Alaska. Any games played in Hawaii or Alaska, respectively, against an active Division I institution located
         in Hawaii or Alaska, by a member located outside the area in question;
     (h) Fundraising Activity. Any baseball activities in which student-athletes from more than one of the institution's
         athletics teams participate with and against alumni and friends of the institution, the purpose of which is to raise funds
         for the benefit of the institution's athletics or other programs, provided the student-athletes do not miss classes as a
         result of their participation (see Bylaw 12.5.1.1);
     (i) Celebrity Sports Activity. Competition involving a limit of two student-athletes from a member institution's
         baseball team who participate in local celebrity baseball activities conducted for the purpose of raising funds for
         charitable organizations, provided:
          (1) The student-athletes do not miss classes as a result of the participation;
          (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
          (3) The activity takes place within a 30-mile radius of the institution's main campus.
     (j) U.S. National Team. One game played against any team selected and designated by the appropriate national
         governing body in baseball as a U.S. national team (e.g., "Under-21" U.S. national team).
    17.3.5.4 Once-in-Four-Years Exemption -- Foreign Tour. An institution may exempt the contests played on a
    foreign tour, provided the tour is conducted by the member institution in accordance with the procedures set forth in
    Bylaw 17.32. (Adopted: 1/9/96 effective 8/1/96, Revised: 4/26/07 effective 8/1/07)
17.3.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff shall not
engage in countable athletically related activities outside the institution's declared playing season per Bylaw 17.3.1, except as
permitted in Bylaw 17.1.7.2. (Revised: 1/10/91 effective 8/1/91)


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    17.3.6.1 Summer Practice. Practice that is organized or financially supported by a member institution shall be
    prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official
    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by
    student-athletes engaged in voluntary athletically related activities in their sport. (Revised: 1/10/91 effective 8/1/91, 4/28/05,
    11/1/07 effective 8/1/08)
17.3.7 Camps and Clinics. There are no limits on the number of student-athletes in baseball who may be employed (e.g., as
counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not participate as campers in their
institution's camps or clinics. (Revised: 1/10/92)
17.3.8 Other Restrictions.
    17.3.8.1 Noncollegiate, Amateur Competition.
         17.3.8.1.1 During Academic Year. A student-athlete in baseball who participates during the academic year as a
         member of any outside baseball team in any noncollegiate, amateur competition (e.g., tournament play, exhibition
         games or other activity) except while representing the institution in intercollegiate baseball competition shall be
         ineligible for intercollegiate baseball competition unless eligibility is restored by the Committee on Student-Athlete
         Reinstatement (see Bylaw 17.34.3 for exceptions). (Revised: 1/10/91 effective 8/1/91, 1/16/93, 10/3/05)
             17.3.8.1.1.1 Vacation-Period Exception. A student-athlete may compete outside the institution's declared
             playing and practice season as a member of an outside team in any noncollegiate, amateur competition during any
             official vacation period published in the institution's catalog. The number of student-athletes from any one
             institution shall not exceed four. (Adopted: 1/11/94 effective 8/1/94)
         17.3.8.1.2 Out of Season. A member institution may permit not more than four student-athletes with eligibility
         remaining in intercollegiate baseball to practice or compete out of season on an outside, amateur baseball team
         (competition on an outside team permitted only during the summer except as provided in Bylaw 17.3.8.1.1.1).
         (Revised: 1/10/91 effective 8/1/91)
             17.3.8.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of a member institution may
             be involved in any capacity (e.g., coach, official, player or league/team administrator) at any time (during the
             academic year, vacation periods and summer) with an outside team that involves any student-athlete with
             remaining eligibility from that institution's baseball team except as provided under Bylaws 17.1.1.1 and 17.32 and
             17.34.3. (Revised: 4/28/05 effective 8/1/05)
             17.3.8.1.2.2 Olympic, Paralympic and National Team Development Program. There are no limits on
             the number of student-athletes from the same institution who may participate in Olympic, Paralympic and
             national team development programs. Such programs may also include a coach and student-athlete from the same
             institution, provided: (Revised: 2/21/02, 4/28/11, 1/22/20)
              (a) The national governing body conducts and administers the developmental program;
              (b) The national governing body selects coaches involved in the developmental program; and
              (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                  one particular institution, selects the involved participants.
    17.3.8.2 Equipment Issue, Squad Pictures. No limitations. (Revised: 1/11/89, 1/10/05)
    17.3.8.3 Varsity Squad Size Limitation -- Championship Segment. An institution shall declare a varsity squad of a
    maximum of 35 student-athletes by the day prior to its first scheduled contest in the championship segment of the playing
    and practice season. Only those student-athletes who are declared as varsity squad members at that time shall be eligible to
    participate in countable athletically related activities with the varsity squad during the remainder of the championship
    segment. Declared varsity squad members shall not participate in countable athletically related activities with an
    institution's subvarsity team (e.g., freshman, junior varsity). A student-athlete who is a counter (per Bylaw 15.5.1) must be
    included in the varsity squad limit. (Adopted: 4/26/07 effective 8/1/08, Revised: 10/22/07)
         17.3.8.3.1 Exception -- Season-Ending Injury. An institution may replace a varsity squad member who sustains a
         season-ending injury prior to the institution’s first scheduled competition in the championship segment, provided
         medical documentation verifies the student-athlete suffered an incapacitating injury or illness and is unable to
         participate in team practice and competition for the remainder of the academic year. The student-athlete selected as a
         replacement shall not have previously received athletically related financial aid and must have participated with the
         team during the fall academic term. (Adopted: 4/26/17 effective 8/1/17, Revised: 4/25/18)



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              17.3.8.3.1.1 Application to Replaced Student-Athlete. A student-athlete who has been replaced as a
              varsity squad member due to a season-ending injury may participate in the following countable athletically related
              activities with the varsity team: (Adopted: 4/25/18, Revised: 8/3/22)
               (a) Participation in limited on-field activities (e.g., hitting fungoes, shagging balls);
               (b) Dress in uniform and be in the dugout during contests; and
               (c) Participation in rehabilitation activities (including the use of baseball-specific equipment) under the
                   supervision of a coaching staff member conducted at the same time as team practice.
         17.3.8.3.2 Exception -- Voluntary Withdrawal. An institution may replace a varsity squad member who
         voluntarily (on the squad member's own initiative) withdraws from the team for personal reasons before the
         institution’s first scheduled competition in the championship segment. A student-athlete providing notification to
         transfer does not constitute a voluntary withdrawal. The student-athlete selected as a replacement shall not have
         previously received athletically related financial aid and must have participated with the team during the fall term.
         (Adopted: 4/25/18 effective 8/1/18, Revised: 10/12/18)
17.4 Basketball. Regulations for computing the basketball playing season are set forth in Bylaw 17.1. (See Figure 17-1
and Figure 17-2.)
17.4.1 Length of Playing Season. The length of an institution's playing season in basketball shall be limited to the period
of time between the start of preseason practice (see Bylaw 17.4.2) and the end of the regular playing season (see Bylaw 17.4.4).
(See Bylaw 17.4.3 for restrictions on first contest date.)
17.4.2 Preseason Practice -- On-Court Practice. An institution shall not commence on-court preseason basketball
practice sessions before the date that is 42 days before the date of the institution's first regular-season contest. An institution
shall not engage in more than 30 days of countable athletically related activities before its first regular-season contest. Any
countable athletically related activities (e.g., conditioning, skill-related instruction) that occur within the 42-day period shall
count against the 30 days of countable athletically related activities. (Revised: 4/28/05 effective 8/1/05, 1/14/08 effective 8/1/08,
4/29/10, 1/14/12 effective 8/1/12, 5/2/13 effective 8/1/13, 1/15/14, 1/18/18 effective 8/1/18)
    17.4.2.1 Permissible Conditioning Activities. Team conditioning or physical-fitness activities supervised by coaching
    staff members may be conducted on or off court but shall not begin prior to the beginning of the institution's academic year
    in accordance with Bylaw 17.1.7.2. Such activities shall be limited to eight hours per week. (Revised: 1/10/90 effective
    8/1/92, 1/16/93, 1/11/94)
    17.4.2.2 Prohibited Activities. Prior to the start of on-court preseason basketball practice per Bylaw 17.4.2, members
    of the institution's coaching staff may not be involved with one or more team members at any location in any of the
    following activities except as permitted in Bylaws 17.1.7.2.2 and 17.4.6: (Revised: 1/10/90 effective 8/1/92, 1/11/94, 1/14/97
    effective 8/1/97, 9/23/05)
     (a) Setting up offensive or defensive alignments;
     (b) Chalk talks;
     (c) Discussions of game strategy;
     (d) Reviewing game films or videotapes;
     (e) Activities using basketball equipment; or
     (f) Observing student-athletes in any basketball activities even if such activities are not arranged by the institution's coach.
         17.4.2.2.1 Exception -- Team Promotional Activities. Team promotional activities (e.g., autograph sessions, fan
         picture sessions, meeting with fans) per Bylaw 12.5.1 are permissible prior to the start of on-court preseason basketball
         practice per Bylaw 17.4.2, provided these promotional arrangements do not involve any of the practice activities
         prohibited under the provisions of Bylaw 17.4.2.2. (Revised: 1/11/94, 1/14/97 effective 8/1/97)
         17.4.2.2.2 Exception -- Officiating Clinic. Prior to the start of on-court preseason basketball practice per Bylaw
         17.4.2, student-athletes may observe an officiating clinic related to playing rules that is conducted by video conference,
         provided no student-athlete misses class time to observe the clinic. (Adopted: 1/9/96, Revised: 1/14/97 effective 8/1/97)
17.4.3 First Contest. An institution shall not play its first contest (game or scrimmage) with outside competition in
basketball prior to the Tuesday immediately before the second Friday of November (see Figure 17-2). (Revised: 4/27/06 effective
8/1/06, 1/18/18 effective 8/1/18)
    17.4.3.1 Required Day Off -- Civic Engagement. If the first permissible contest date falls on the first Tuesday after
    the first Monday in November and the institution uses that day as the required day off for civic engagement (see Bylaws

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    17.1.7.6 and 17.1.7.6.1), the institution may play its first contest (game or scrimmage) with outside competition on the
    Monday immediately before the second Friday of November. (Adopted: 6/26/19 effective 8/1/20, Revised: 1/14/21, 6/15/22
    effective 8/1/22)
    17.4.3.2 Exceptions. The following basketball contests (games or scrimmages) are permitted prior to the first contest
    dates specified under Bylaw 17.4.3 (Adopted: 1/10/95, Revised: 1/11/97, 4/22/98, 10/27/98 effective 8/1/99, 10/28/99,
    4/29/04 effective 8/1/04, 5/12/05, 1/14/08 effective 8/1/08, 1/17/09 effective 8/1/09, 3/2/09)
     (a) Practice Scrimmage. An informal practice scrimmage with outside competition exempted per Bylaw 17.4.5.6-(h)
         may occur at any point during the permissible playing and practice season (see Bylaw 17.4.1), provided it is conducted
         in privacy and without publicity or official scoring. Individuals other than athletics department staff members and
         those necessary to conduct a basketball practice scrimmage against outside competition may not be present during such
         a scrimmage. The institution shall ensure that the scrimmage is free from public view. No class time shall be missed by
         basketball student-athletes in conjunction with such a scrimmage, including all associated activities (e.g., travel,
         pregame and postgame activities); and
     (b) Exhibition Against a Non-NCAA Division I Four-Year Collegiate Institution. An exhibition contest
         exempted per Bylaw 17.4.5.6-(g) may occur after the date on which an institution may commence on-court preseason
         practice (see Bylaw 17.4.2).
17.4.4 End of Playing Season. An institution's last contest (game or scrimmage or postseason tournament contest) with
outside competition shall not be played after the respective Division I Basketball Championship game. An institution may not
continue to practice beyond its last regular-season contest, including the conference championship (if any), unless it has reason
to believe it is under consideration for selection to participate in an NCAA championship or other postseason national
championship event. An institution may not engage in regular-season competition after the beginning of its conference's season-
end tournament that determines automatic qualification into the Division I Basketball Championship. An institution not
selected to participate in a postseason national championship event or an institution that loses in a championship event may not
continue to practice. (Revised: 9/15/21)
17.4.5 Number of Contests.
    17.4.5.1 Maximum Limitations -- Institutional -- Men's Basketball. In men's basketball, an institution shall limit
    its total regular-season playing schedule with outside competition during the playing season to one of the following (except
    for those contests excluded under Bylaw 17.4.5.6): (Adopted: 4/30/20 effective 8/1/20 a contract signed before June 26, 2019
    may be honored)
     (a) 28 contests (games or scrimmages) and one qualifying regular-season multiple-team event (see Bylaw 17.4.5.1.1) that
         does not exceed three contests per team;
     (b) 29 contests (games or scrimmages) and one qualifying regular-season multiple-team event (see Bylaw 17.4.5.1.1) that
         does not exceed two contests per team; or
     (c) 29 contests (games or scrimmages) during a playing season in which the institution does not participate in a qualifying
         regular-season multiple-team event.
         17.4.5.1.1 Qualifying Regular-Season Multiple-Team Event -- Men's Basketball. In men's basketball, a
         qualifying regular-season multiple-team event is one in which: (Adopted: 4/30/20 effective 8/1/20 a contract signed before
         June 26, 2019 may be honored)
          (a) The event is sponsored by the NCAA, an active member or a member conference of the Association or the
              National Association of Basketball Coaches;
          (b) The event includes not more than three contests per institution. An event in which each institution participates in
              three contests must conclude not later than 10 days after the first contest of the event. An event in which each
              institution participates in two contests must conclude not later than five days after the first contest of the event;
          (c) Participation is limited, by conference, to one team per conference and, by institution, to not more than once in
              the same event in any four-year period;
          (d) Each participating institution is using the same applicable option [Bylaw 17.4.5.1-(a) or (b)] as its maximum
              contest limitation for the playing season in which it participates in the event;
          (e) Each participating institution must participate in the same number of contests in the event; and
          (f) The event may include a non-Division I institution as a participant only if the non-Division I institution serves as
              the host of the event.


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             17.4.5.1.1.1 Hawaii/Alaska/Puerto Rico Exception -- Men's Basketball. In men's basketball, an active
             Division I institution located in Hawaii, Alaska or Puerto Rico that serves as the sponsor of a qualifying regular-
             season multiple-team event is not required to count its participation in the event as its one qualifying regular-
             season multiple-team event pursuant to Bylaw 17.4.5.1-(a) or (b), provided the event is conducted in the
             institution's state or territory and the institution counts all contests of the event in which it is a participant toward
             its maximum contest limitations. Such an event qualifies as a qualifying regular-season multiple-team event for the
             other participating institutions, provided all such institutions use the same applicable option [Bylaw 17.4.5.1-(a)
             or (b)] as the maximum contest limitation for the playing season in which they participate in the event. (Adopted:
             4/30/20 effective 8/1/20 a contract signed before June 26, 2019 may be honored)
   17.4.5.2 Maximum Limitations -- Institutional -- Women's Basketball. In women's basketball, institution shall
   limit its total regular-season playing schedule with outside competition during the playing season to one of the following
   (except for those contests excluded under Bylaw 17.4.5.6): (Revised: 4/27/06 effective 8/1/06, 4/30/20 effective 8/1/20,
   1/20/22 effective 8/1/22 a contract signed before 6/23/21 may be honored)
    (a) 28 contests (games or scrimmages) and one qualifying regular-season multiple-team event per Bylaw 17.4.5.2.1 that
        does not exceed three contests per team;
    (b) 29 contests (games or scrimmages) and one qualifying regular-season multiple-team event (see Bylaw 17.4.5.2.1) that
        does not exceed two contests per team; or
    (c) 29 contests (games or scrimmages) during a playing season in which the institution does not participate in a qualifying
        regular-season multiple-team event.
         17.4.5.2.1 Qualifying Regular-Season Multiple-Team Event -- Women's Basketball. In women's
         basketball, qualifying regular-season multiple-team event is one in which: (Revised: 4/27/06 effective 8/1/06, 4/26/07
         effective 8/1/07, 1/15/11 effective 8/1/11, 4/28/16 effective 8/1/16, 4/26/17, 4/25/18 effective 8/1/18, 6/26/19 effective
         8/1/19, 4/30/20 effective 8/1/20, 1/20/22 effective 8/1/22 a contract signed before 6/23/21 may be honored)
         (a) The event is sponsored by the NCAA, an active member or a member conference of the Association or the
             Women's Basketball Coaches Association;
         (b) The event includes not more than three contests per institution and concludes not later than 14 days after the first
             contest of the event;
         (c) Participation is limited, by conference, to one team per conference and, by institution, to not more than once in
             the same event in any four-year period; and
         (d) Each participating institution is using the same applicable option [Bylaw 17.4.5.2-(a) or (b)] as its maximum
             contest limitation for the playing season in which it participates in the event.
             17.4.5.2.1.1 Hawaii/Alaska/Puerto Rico Exception -- Women's Basketball. In women's basketball, an
             active Division I institution located in Hawaii, Alaska or Puerto Rico that serves as the sponsor of a qualifying
             regular-season multiple-team event is not required to count its participation in the event as its one qualifying
             regular-season multiple-team event pursuant to Bylaw 17.4.5.2-(a), provided the event is conducted in the
             institution's state or territory and the institution counts all contests of the event in which it is a participant toward
             its maximum contest limitations. Such an event qualifies as a qualifying regular-season multiple-team event for the
             other participating institutions, provided all such institutions use Bylaw 17.4.5.2-(a) as the maximum contest
             limitation for the playing season in which they participate in the event. (Adopted: 6/13/06, Revised: 4/30/20 effective
             8/1/20)
   17.4.5.3 In-Season Foreign Competition. An institution may play one or more of its countable contests in basketball
   in one or more foreign countries on one trip during the prescribed playing season. However, except for contests played in
   Canada and Mexico or on a certified foreign tour (see Bylaw 17.32), the institution may not engage in such in-season
   foreign competition more than once every four years.
   17.4.5.4 Maximum Limitations -- Student-Athlete -- Men's Basketball. In men's basketball, an individual
   student-athlete may participate each playing season in not more than 28 basketball contests and one qualifying regular-
   season multiple-team event (see Bylaw 17.4.5.1.1) that does not exceed three contests per institution, 29 contests and one
   qualifying regular-season multiple-team event that does not exceed two contests per institution or 29 contests in an
   academic year in which the institution does not participate in a regular-season qualifying multiple-team event. This
   limitation includes those contests in which the student-athlete represents the institution in accordance with Bylaw 17.02.8,
   including competition as a member of the varsity, junior varsity or freshman team of the institution. Further, an individual
   student-athlete may participate each year in only one postseason basketball tournament as a member of the institution's
   varsity, junior varsity or freshman team. (Adopted: 4/30/20 effective 8/1/20)
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    17.4.5.5 Maximum Limitations -- Student-Athlete -- Women's Basketball. In women's basketball, an individual
    student-athlete may participate each playing season in not more than 28 basketball contests and one qualifying regular-
    season multiple-team event (see Bylaw 17.4.5.2.1) that does not exceed three contests per institution, 29 contests and one
    qualifying regular-season multiple-team event that does not exceed two contests per institution or 29 contests in an
    academic year in which the institution does not participate in a regular-season qualifying multiple-team event. This
    limitation includes those contests in which the student-athlete represents the institution in accordance with Bylaw 17.02.8,
    including competition as a member of the varsity, junior varsity or freshman team of the institution. Further, an individual
    student-athlete may participate each year in only one postseason basketball tournament as a member of the institution's
    varsity, junior varsity or freshman team. (Revised: 1/10/90, 1/10/91 effective 8/1/92, 1/12/99 effective 8/1/99, 4/27/06 effective
    8/1/06, 4/30/20 effective 8/1/20, 1/20/22 effective 8/1/22 a contract signed before 6/23/21 may be honored)
    17.4.5.6 Annual Exemptions. The following basketball contests each year may be exempted from an institution's
    maximum number of contests: (Adopted: 1/10/90, Revised: 1/9/96 effective 8/1/96, 10/27/98 effective 8/1/99, 10/28/99
    effective 8/1/00, 4/29/04 effective 8/1/04, 4/27/06 effective 8/1/06, 11/1/07 effective 8/1/08, 1/17/09 effective 8/1/09, 8/7/14,
    10/4/17, 5/19/22 effective 8/1/22, 11/1/22)
     (a) Conference Season-End Tournament. A regularly scheduled, season-end, single-elimination basketball
         championship tournament conducted by a conference (or the tournament used to determine the conference's
         automatic entry in the NCAA Division I Basketball Championship) among some or all of its members.
     (b) Postseason Tournament. Contests in one postseason basketball tournament (e.g., NCAA championship, National
         Invitation Tournament, Women's National Invitation Tournament). A postseason tournament involves competition
         after the end of the regular season between teams that are not identified until the close of that regular season;
     (c) Conference Playoff. Competition involving member institutions that tie for a conference basketball championship.
         Such teams may participate in a single-elimination playoff to determine the conference's automatic entry in an NCAA
         basketball championship without the game(s) being counted as a postseason tournament;
     (d) Automatic-Qualification Contests. Contests between conference champions that are provided by action of the
         Men's Basketball Oversight Committee in order to determine selection for automatic qualification into the Division I
         Men's Basketball Championship;
     (e) NCAA Championship Play-In Competition. Competition in play-in contests conducted before NCAA
         championships;
     (f) Regular-Season Contest Against Alaska/Hawaii Member. One regular-season game in Hawaii or Alaska versus
         a member institution located in that state;
     (g) Exhibition Against a Non-NCAA Division I Four-Year Collegiate Institution. An exhibition contest against a
         four-year collegiate institution (other than an NCAA Division I institution) played in the arena in which the member
         institution regularly plays its home contests. An institution may exempt two such contests during any year in which it
         does not use the exemption set forth in Bylaw 17.4.5.6-(h), or it may exempt one such contest and one practice
         scrimmage as defined in Bylaw 17.4.5.6-(h) each year; and
     (h) Practice Scrimmage. An informal practice scrimmage with outside competition, provided it is conducted in privacy
         and without publicity or official scoring. Individuals other than athletics department staff members and those necessary
         to conduct a basketball practice scrimmage against outside competition may not be present during such a scrimmage.
         The institution shall ensure that the scrimmage is free from public view. No class time shall be missed by basketball
         student-athletes in conjunction with such a scrimmage, including all associated activities (e.g., travel, pregame and
         postgame activities). An institution may exempt two such practice scrimmages during any year in which it does not use
         the exemption set forth in Bylaw 17.4.5.6-(g), or it may exempt one such practice scrimmage and one exhibition
         contest against a non-NCAA Division I four-year collegiate institution each year.
     (i) U.S. National Team -- Women's Basketball. One contest against any team as selected and designated by the
         appropriate national governing body in women's basketball as a U.S. national team (e.g., "Under-21" U.S. national
         team).
    17.4.5.7 Foreign Tour. The games played on a foreign basketball tour shall be excluded from the maximum number of
    contests, provided the tour is conducted in accordance with the procedures set forth in Bylaw 17.32. (Adopted: 1/9/96
    effective 8/1/96, Revised: 1/12/99 effective 8/1/99, 4/27/06 effective 8/1/06)
17.4.6 Out-of-Season Athletically Related Activities. In basketball, student-athletes and members of the coaching
staff shall not engage in countable athletically related activities outside the institution's playing season except as permitted in
Bylaw 17.1.7.2. (Revised: 4/28/05 effective 8/1/05, 4/27/06 effective 8/1/06)

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    17.4.6.1 Summer Practice. Practice that is organized or financially supported by a member institution shall be
    prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official
    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by
    student-athletes engaged in voluntary athletically related activities in their sport. (Adopted: 4/28/05, Revised: 9/27/05,
    11/1/07 effective 8/1/08)
17.4.7 Camps and Clinics. There are no limits on the number of student-athletes in basketball who may be employed (e.g.,
as counselors) in camps or clinics. Currently enrolled student-athletes may not participate as campers in their institution's camps
or clinics. (See Bylaw 13.12 for restrictions on such employment.) (Revised: 1/10/92, 1/11/94)
17.4.8 Other Restrictions.
    17.4.8.1 Noncollegiate, Amateur Competition. A student-athlete shall be ruled ineligible for intercollegiate
    basketball competition if the student participates in any organized basketball competition except while representing the
    member institution or except as permitted in accordance with Bylaw 17.34.3.
    17.4.8.2 Maximum Number of Student-Athletes on Outside Team. Following is the maximum number of
    student-athletes from the same member institution with eligibility remaining who may compete on an outside team:
    (Revised: 4/27/00, 1/22/20)
     (a) State or national multisport events -- 2.
     (b) Foreign tour (outside team or all-star team) -- 2.
     (c) Olympic, Paralympic and national team development programs and competition -- No limitations.
     (d) Summer basketball team in certified league -- 2 [see Bylaw 17.34.4.1-(e)].
    17.4.8.3 Involvement of Coaching Staff. No member of the coaching staff of a member institution may be involved
    in any capacity (e.g., coach, official, player or league/team administrator) at any time (during the academic year, vacation
    periods and summer) with an outside team that involves any student-athlete with remaining eligibility from that
    institution's basketball team except as provided in Bylaws 17.1.1.1, 17.32 and 17.34.3. (Revised: 4/28/05 effective 8/1/05)
    17.4.8.4 Equipment Issue, Squad Pictures. No limitations. (Revised: 1/10/05)
    17.4.8.5 Celebrity Sports Activity. A limit of two student-athletes from a member institution's basketball team may
    participate in local celebrity sports activities, other than in basketball, conducted for the purpose of raising funds for
    charitable organizations, provided:
     (a) The student-athletes do not miss classes as a result of the participation;
     (b) The involvement of the student-athletes has the approval of the institution's athletics director; and
     (c) The activity takes place within a 30-mile radius of the institution's main campus.
17.5 Women's Beach Volleyball. Regulations for computing the women's beach volleyball playing season are
set forth in Bylaw 17.1. (See Figure 17-1 and Figure 17-2.) (Adopted: 1/15/11 effective 8/1/11, Revised: 7/31/15)
17.5.1 Length of Playing Season. The length of an institution's playing season in women's beach volleyball shall be
limited to a 132-day season, which may consist of two segments (each consisting of consecutive days) and which may exclude
only required off days (see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-examination periods
during which no practice or competition shall occur. (Adopted: 1/15/11 effective 8/1/11, Revised: 7/31/15)
    17.5.1.1 Women's Volleyball Student-Athletes Participating in Women's Beach Volleyball. Women's
    volleyball student-athletes listed as participants for women's beach volleyball must participate fully in women's beach
    volleyball practices. If student-athletes are practicing women's volleyball skills unrelated to women's beach volleyball, such
    practices must be counted in the institution's established segment in women's volleyball. (Adopted: 1/15/11 effective 8/1/11,
    Revised: 7/31/15)
17.5.2 Preseason Practice. A member institution shall not commence practice sessions in women's beach volleyball prior
to September 7 or the institution's first day of classes for the fall term, whichever is earlier. (Adopted: 1/15/11 effective 8/1/11,
Revised: 7/31/15)
17.5.3 First Contest. A member institution shall not play its first contest (game or scrimmage) with outside competition in
women's beach volleyball prior to the following dates: (Adopted: 1/15/11 effective 8/1/11, Revised: 7/31/15, 4/26/17 effective
8/1/17)
(a) Nonchampionship Segment. September 7 or the institution's first day of classes for the fall term, whichever is earlier.
(b) Championship Segment. The Thursday that is 10 weeks before the Thursday immediately preceding the start of the
    National Collegiate Women's Beach Volleyball Championship (see Figure 17-2).
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17.5.4 End of Regular Playing Season. A member institution shall conclude all practice and competition (games and
scrimmages) in women's beach volleyball by the conclusion of the recognized national intercollegiate beach volleyball
championship events. (Adopted: 1/15/11 effective 8/1/11, Revised: 7/31/15)
17.5.5 Number of Dates of Competition.
    17.5.5.1 Maximum Limitations -- Institutional. An institution shall limit its total playing schedule with outside
    competition during the playing season to 16 dates of competition during the segment in which the NCAA championship is
    conducted, except for those dates of competition excluded under Bylaws 17.5.5.3 and 17.5.5.4. (Adopted: 1/15/11 effective
    8/1/11, Revised: 7/31/15, 4/26/17 effective 8/1/17, 5/19/22 effective 8/1/22, 4/26/23 effective 8/1/23)
         17.5.5.1.1 In-Season Foreign Competition. A member institution may play one or more of its countable dates of
         competition in women's beach volleyball in one or more foreign countries on one trip during the prescribed playing
         season. However, except for contests played in Canada and Mexico or on a certified foreign tour (see Bylaw 17.32), the
         institution may not engage in such in-season foreign competition more than once every four years. (Adopted: 1/15/11
         effective 8/1/11, Revised: 7/31/15, 5/19/22 effective 8/1/22)
    17.5.5.2 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate each academic
    year in not more than 16 dates of competition during the segment in which the NCAA championship is conducted
    and four dates of competition during the segment in which the NCAA championship is not conducted. This limitation
    includes those dates of competition in which the student-athlete represents the institution in accordance with Bylaw
    17.02.8, including competition as a member of the varsity, junior varsity or freshman team of the institution. (Adopted:
    1/15/11 effective 8/1/11, Revised: 7/31/15, 4/26/17 effective 8/1/17)
         17.5.5.2.1 Pairs Tournament -- Student-Athlete -- Nonchampionship Segment. During the
         nonchampionship segment, a pairs tournament shall count as a single date of competition for participating individuals,
         regardless of the number of days during which tournament competition takes place. (Adopted: 5/19/22 effective 8/1/22)
    17.5.5.3 Annual Exemptions. The maximum number of dates of competition in women's beach volleyball shall exclude
    the following: (Adopted: 1/15/11 effective 8/1/11, Revised: 7/31/15, 5/19/22 effective 8/1/22)
     (a) Conference Championship. Competition in one conference championship tournament or playoff in women's
         beach volleyball;
     (b) Season-Ending Event. Competition in one season-ending event (e.g., NCAA championship). A season-ending
         event involves competition after the end of the regular season between teams that are not identified until the close of
         the regular season;
     (c) Alumni Game. One date of competition each year against an alumni team of the institution;
     (d) Foreign Team in the United States. One date of competition each year with a foreign opponent in the United
         States played in the facility in which the member institution regularly plays its home dates of competition;
     (e) Hawaii, Alaska or Puerto Rico. Any dates of competition played in Hawaii, Alaska or Puerto Rico, respectively,
         either against or under the sponsorship of an active Division I institution located in Hawaii, Alaska or Puerto Rico, by
         a member located outside these locales;
     (f) Fundraising Activity. Any women's beach volleyball activities in which student-athletes from more than one of the
         institution's athletics teams participate with and against alumni and friends of the institution, the purpose of which is
         to raise funds to benefit the institution's athletics or other programs, provided the student-athletes do not miss class as
         a result of their participation (see Bylaw 12.5.1.1);
     (g) Celebrity Sports Activity. Competition involving a limit of two student-athletes from a member institution's
         women's beach volleyball team who participate in local celebrity activities in women's beach volleyball conducted for
         the purpose of raising funds for charitable organizations, provided:
         (1) The student-athletes do not miss classes as a result of the participation;
         (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
         (3) The activity takes place within a 30-mile radius of the institution's main campus.
     (h) U.S. National Team. One date of competition against any team as selected and designated by the appropriate
         national governing body for women's beach volleyball as a U.S. national team.
    17.5.5.4 Once-in-Four-Years Exemption -- Foreign Tour. An institution may not exempt more than one foreign
    tour from its maximum number of dates of competition in women's beach volleyball during any academic year and may not
    repeat participation in a foreign tour within a four-year period. The tour shall be conducted by the member institution in
    accordance with the procedures set forth in Bylaw 17.32. (Adopted: 1/15/11 effective 8/1/11, Revised: 7/31/15)
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17.5.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff shall not
engage in countable athletically related activities outside the institution's declared playing season per Bylaw 17.5.1 except as
permitted in Bylaw 17.1.7.2. (Adopted: 1/15/11 effective 8/1/11, Revised: 7/31/15)
    17.5.6.1 Summer Practice. Practice that is organized or financially supported by a member institution shall be
    prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official
    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by
    student-athletes engaged in voluntary athletically related activities in their sport. (Adopted: 1/15/11 effective 8/1/11, Revised:
    7/31/15)
17.5.7 Camps and Clinics. There are no limits on the number of student-athletes in women's beach volleyball who may be
employed (e.g., as counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not participate as
campers in their institution's camps or clinics. (Adopted: 1/15/11 effective 8/1/11, Revised: 7/31/15)
17.5.8 Other Restrictions.
    17.5.8.1 Noncollegiate, Amateur Competition.
         17.5.8.1.1 During Academic Year. A student-athlete in women's beach volleyball who participates during the
         academic year as a member of any outside women's beach volleyball team in any noncollegiate, amateur competition
         (e.g., tournament play, exhibition games or other activity) except while representing the institution in intercollegiate
         women's beach volleyball competition shall be ineligible for intercollegiate women's beach volleyball competition
         unless eligibility is restored by the Committee on Student-Athlete Reinstatement (see Bylaw 17.34.3 for exceptions).
         (Adopted: 1/15/11 effective 8/1/11, Revised: 7/31/15)
              17.5.8.1.1.1 Vacation-Period Exception. A student-athlete in women's beach volleyball may compete
              outside the institution's declared playing and practice season as a member of an outside team in any noncollegiate,
              amateur competition during any official vacation period published in the institution's catalog. The number of
              student-athletes from any one institution shall not exceed two. (Adopted: 1/15/11 effective 8/1/11, Revised: 7/31/15)
         17.5.8.1.2 Out of Season. An institution may permit not more than two student-athletes with eligibility remaining
         in intercollegiate women's beach volleyball to practice or compete out of season on an outside, amateur women's beach
         volleyball team (competition on an outside team permitted only during the summer, except as provided in Bylaw
         17.5.8.1.1.1). (Adopted: 1/15/11 effective 8/1/11, Revised: 7/31/15)
              17.5.8.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of a member institution may
              be involved in any capacity (e.g., coach, official, player or league/team administrator) at any time (during the
              academic year, vacation periods and summer) with an outside team that involves any student-athlete with
              eligibility remaining from the institution's women's beach volleyball team except as provided under Bylaws
              17.1.1.1, 17.32 and 17.34.3. (Adopted: 1/15/11 effective 8/1/11, Revised: 7/31/15)
              17.5.8.1.2.2 Olympic, Paralympic and National Team Development Program. There are no limits on
              the number of student-athletes from the same institution who may participate in Olympic, Paralympic and
              national team development programs. Such programs may also include a coach and student-athlete from the same
              institution, provided: (Adopted: 1/15/11 effective 8/1/11, Revised: 4/28/11, 7/31/15, 1/22/20)
              (a) The national governing body conducts and administers the developmental program;
              (b) The national governing body selects coaches involved in the developmental program; and
              (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                  one particular institution, selects the involved participants.
    17.5.8.2 Equipment Issue, Squad Pictures. No limitations. (Adopted: 1/15/11 effective 8/1/11, Revised: 7/31/15)
17.6 Women's Bowling. Regulations for computing the bowling playing season are set forth in Bylaw 17.1. (See
Figure 17-1 and Figure 17-2.) (Adopted: 1/9/96 effective 8/1/96)
17.6.1 Length of Playing Season. The length of an institution's playing season in bowling shall be limited to a 144-day
season, which may consist of two segments (each consisting of consecutive days) and exclude only required off days (see Bylaws
17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-examination periods during which no practice or
competition shall occur. (Adopted: 1/9/96 effective 8/1/96, Revised: 1/14/97 effective 8/1/97)
17.6.2 Preseason Practice. A member institution shall not commence practice sessions in bowling prior to October 1.
(Adopted: 1/9/96 effective 8/1/96, Revised: 1/14/97 effective 8/1/97, 1/15/11 effective 8/1/11)



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17.6.3 First Date of Competition. A member institution shall not engage in its first date of competition (game or
scrimmage) with outside competition in bowling prior to October 1. (Adopted: 1/9/96 effective 8/1/96, Revised: 1/14/97 effective
8/1/97, 1/15/11 effective 8/1/11)
17.6.4 End of Regular Season. A member institution shall conclude all practice and competition (meets and practice
meets) in each segment in bowling by the conclusion of the last date of final exams for the regular academic year at the
institution. (Adopted: 1/9/96 effective 8/1/96, Revised: 1/14/97 effective 8/1/97, 10/31/03)
17.6.5 Number of Dates of Competition.
    17.6.5.1 Maximum Limitations -- Institutional. A member institution shall limit its total playing schedule with
    outside competition in bowling during the institution's bowling playing season to 32 dates of competition (games and
    scrimmages), except for those dates of competition excluded under Bylaws 17.6.5.3 and 17.6.5.4 (see Bylaw 20.10.6.3 for
    minimum contests and participants requirements). (Adopted: 1/9/96 effective 8/1/96, Revised: 1/15/11 effective 8/1/11)
         17.6.5.1.1 In-Season Foreign Competition. A member institution may engage in one or more of its countable
         dates of competition in bowling in one or more foreign countries on one trip during the prescribed playing season.
         However, except for competition in Canada and Mexico or on a certified foreign tour (see Bylaw 17.32), the
         institution may not engage in such in-season foreign competition more than once every four years. (Adopted: 1/9/96
         effective 8/1/96)
    17.6.5.2 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate in each academic
    year in 32 dates of competition in bowling (this limitation includes those dates of competition in which the student
    represents the institution in accordance with Bylaw 17.02.8, including competition as a member of the varsity, junior
    varsity or freshman team of the institution). (Adopted: 1/9/96 effective 8/1/96, Revised: 1/15/11 effective 8/1/11)
    17.6.5.3 Annual Exemptions. The maximum number of dates of competition in bowling shall exclude the following:
    (Adopted: 1/9/96 effective 8/1/96, Revised: 2/24/03, 10/31/03, 10/5/10, 5/19/22 effective 8/1/22)
     (a) Conference Championship. Competition in one conference championship meet in bowling;
     (b) Season-Ending Event. Competition in one season-ending event (e.g., NCAA championships). A season-ending
         event involves competition after the end of the regular season between teams that are not identified until the close of
         the regular season;
     (c) Alumni Meet. One date of competition each year against an alumni team of the institution;
     (d) Foreign Team in the United States. One date of competition each year with a foreign opponent in the United
         States;
     (e) Hawaii, Alaska, Puerto Rico. Any dates of competition in Hawaii, Alaska or Puerto Rico, respectively, either
         against or under the sponsorship of an active member institution located in Hawaii, Alaska or Puerto Rico, by a
         member located outside the area in question;
     (f) Fundraising Activity. Any bowling activities in which student-athletes from more than one of the institution's
         athletics teams participate with and against alumni and friends of the institution, the purpose of which is to raise funds
         for the benefit of the institution's athletics or other programs, provided the student-athletes do not miss classes as a
         result of their participation (see Bylaw 12.5.1.1); and
     (g) Celebrity Sports Activity. Competition involving a limit of two student-athletes from a member institution's
         bowling team who participate in local celebrity bowling activities conducted for the purpose of raising funds for
         charitable organizations, provided:
          (1) The student-athletes do not miss classes as a result of the participation;
          (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
          (3) The activity takes place within a 30-mile radius of the institution's main campus.
    17.6.5.4 Foreign Tour. The dates of competition on a foreign tour shall be excluded from the maximum number of
    dates of competition, provided the tour occurs only once in a four-year period and is conducted by the member institution
    in accordance with the procedures set forth in Bylaw 17.32.
17.6.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff shall not
engage in countable athletically related activities outside the institution's declared playing season pursuant to Bylaw 17.6.1
except as permitted in Bylaw 17.1.7.2. (Adopted: 1/9/96 effective 8/1/96)
    17.6.6.1 Summer Practice. Practice that is organized or financially supported by a member institution shall be
    prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official

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    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by
    student-athletes engaged in voluntary athletically related activities in their sport. (Adopted: 1/9/96 effective 8/1/96, Revised:
    4/28/05, 11/1/07 effective 8/1/08)
    17.6.6.2 Vacation Period and Summer-Workout Sessions. A coach may participate in individual-workout sessions
    with student-athletes from the coach's team during any institutional vacation period and/or the summer, provided the
    request for such assistance is initiated by the student-athlete. (Adopted: 1/9/96 effective 8/1/96, Revised: 4/28/05, 4/25/18)
17.6.7 Camps and Clinics. There are no limits on the number of student-athletes in bowling who may be employed (e.g., as
counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not participate as campers in their
institution's camps or clinics. (Adopted: 1/9/96 effective 8/1/96)
17.6.8 Other Restrictions.
    17.6.8.1 Noncollegiate, Amateur Competition.
         17.6.8.1.1 During Academic Year. A student-athlete in bowling who participates during the academic year as a
         member of any outside team in any noncollegiate, amateur competition (e.g., team invitational meet, exhibition meets
         or other activity) except while representing the institution in intercollegiate competition shall be ineligible for
         intercollegiate competition unless eligibility is restored by the Committee on Student-Athlete Reinstatement (see Bylaw
         17.34.3 for exceptions). (Adopted: 1/9/96 effective 8/1/96, Revised: 10/3/05)
              17.6.8.1.1.1 Vacation-Period Exception. A student-athlete may compete outside the institution's declared
              playing and practice season as a member of an outside team in any noncollegiate, amateur competition during any
              official vacation period published in the institution's catalog. (Adopted: 1/9/96 effective 8/1/96)
         17.6.8.1.2 Out of Season. There are no limits on the number of student-athletes from the same member institution
         with eligibility remaining who may practice or compete out of season on an outside amateur team (competition on an
         outside team permitted only during the summer except as provided in Bylaw 17.6.8.1.1.1). (Adopted: 1/9/96 effective
         8/1/96)
              17.6.8.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of a member institution may
              be involved in any capacity (e.g., coach, official, player or league/team administrator) during the academic year
              (including vacation periods during the academic year) with an outside team that involves any student-athlete with
              eligibility remaining from the institution's team except as provided under Bylaws 17.1.1.1,17.32 and 17.34.3.
              (Revised: 4/28/05 effective 8/1/05)
              17.6.8.1.2.2 Olympic, Paralympic and National Team Development Program. There are no limits on
              the number of student-athletes from the same institution who may participate in Olympic, Paralympic and
              national team development programs. Such programs may also include a coach and student-athlete from the same
              institution, provided: (Revised: 2/21/02, 4/28/11, 1/22/20)
              (a) The national governing body conducts and administers the developmental program;
              (b) The national governing body selects coaches involved in the developmental program; and
              (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                  one particular institution, selects the involved participants.
    17.6.8.2 Equipment Issue, Squad Pictures. No limitations. (Adopted: 1/9/96 effective 8/1/96)
17.7 Cross Country. Regulations for computing the cross country playing season are set forth in Bylaw 17.1. (See
Figure 17-1 and Figure 17-2.)
17.7.1 Length of Playing Season. The length of an institution's playing season in cross country shall be limited to a 144-
day season, which may consist of multiple segments (each consisting of at least one week) and which may exclude only required
off days (see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-examination periods during which
no practice or competition shall occur. (Revised: 1/10/91 effective 8/1/91, 1/14/97 effective 8/1/97, 4/25/18 effective 8/1/18)
    17.7.1.1 Track and Field Student-Athletes Participating in Cross Country. Track and field student-athletes
    listed as participants for cross country must participate fully in cross country practices. If student-athletes are practicing in
    track and field events unrelated to cross country, such practices must be counted in the institution's established segment in
    track and field. (Adopted: 1/10/92)
17.7.2 Preseason Practice. An institution shall not commence practice sessions in cross country prior to 16 calendar days
before the first scheduled intercollegiate contest. (Revised: 1/10/91 effective 8/1/91, 1/14/97 effective 8/1/07, 4/14/03, 5/19/22
effective 8/1/22)

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17.7.3 First Date of Competition. An institution shall not engage in its first date of competition (game or scrimmage)
with outside competition in cross country prior to September 1 or the preceding Friday if September 1 falls on a Saturday,
Sunday or Monday (see Figure 17-2). (Revised: 1/10/91 effective 8/1/91, 1/16/93 effective 8/1/93, 4/15/97)
17.7.4 End of Regular Playing Season. A member institution shall conclude all practice and competition (meets and
practice meets) in cross country by the last date of final examinations for the regular academic year at the institution. (Revised:
1/14/97 effective 8/1/97)
17.7.5 Number of Dates of Competition.
    17.7.5.1 Maximum Limitations -- Institutional. An institution shall limit its total playing schedule with outside
    competition in cross country during the institution's cross country playing season to seven dates of competition (games and
    scrimmages), except for those dates of competition excluded under Bylaws 17.7.5.3 and 17.7.5.4 (see Bylaw 20.10.6.3 for
    minimum contests and participants requirements). (Revised: 1/10/91 effective 8/1/91)
         17.7.5.1.1 Exception -- Cross Country Without Indoor or Outdoor Track and Field. An institution that
         sponsors men's or women's cross country but does not sponsor indoor or outdoor track and field shall limit its total
         playing schedule with outside competition during the cross country playing season to seven dates of competition
         during the segment in which the NCAA championship is conducted and five dates of competition during another
         segment. Travel to competition in the nonchampionship segment shall be restricted to ground transportation, unless
         there are no Division I institutions that sponsor the sport located within 400 miles of the institution. (Adopted:
         1/16/93, Revised: 1/11/94 effective 8/1/94, 4/29/10 effective 8/1/10)
              17.7.5.1.1.1 Exception -- Isolated Institution. If there are fewer than five other Division I institutions that
              sponsor cross country (without indoor or outdoor track and field) located within 400 miles of the institution, the
              institution may use any form of transportation to travel to the number of nonchampionship segment competitions
              that represents the difference between the number of other institutions and five. (Adopted: 4/25/18)
              17.7.5.1.1.2 Hawaii or Alaska Exception -- Nonchampionship Segment Travel. Once every four years,
              an institution may use any form of transportation for travel to Hawaii or Alaska for nonchampionship segment
              competition against an active member institution located in Hawaii or Alaska. (Adopted: 4/28/11 effective 8/1/11)
         17.7.5.1.2 In-Season Foreign Competition. A member institution may engage in one or more of its countable
         dates of competition in cross country in one or more foreign countries on one trip during the prescribed playing
         season. However, except for competition in Canada and Mexico or on a certified foreign tour (see Bylaw 17.32), the
         institution may not engage in such in-season foreign competition more than once every four years.
    17.7.5.2 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate in each academic
    year in not more than seven cross country dates of competition (this limitation includes those dates of competition in which
    the student represents the institution in accordance with Bylaw 17.02.8, including competition as a member of the varsity,
    junior varsity or freshman team of the institution). (Revised: 1/10/91 effective 8/1/91)
         17.7.5.2.1 Exception -- Cross Country Without Indoor or Outdoor Track and Field. An individual student-
         athlete who attends an institution that sponsors men's or women's cross country but does not sponsor indoor or
         outdoor track and field may participate during each academic year in seven dates of competition during the segment in
         which the NCAA championship is conducted in cross country and five dates of competition during another segment.
         (Adopted: 1/16/93, Revised: 1/11/94 effective 8/1/94)
    17.7.5.3 Annual Exemptions. The maximum number of dates of competition in cross country shall exclude the
    following: (Adopted: 1/9/96 effective 8/1/96, Revised: 9/6/00, 2/24/03, 5/19/22 effective 8/1/22)
     (a) Conference Championship. Competition in one conference championship meet in cross country;
     (b) Season-Ending Event. Competition in one season-ending event (e.g., NCAA championships). A season-ending
         event involves competition after the end of the regular season between teams that are not identified until the close of
         the regular season;
     (c) Alumni Meet. One date of competition in cross country each year against an alumni team of the institution;
     (d) Foreign Team in the United States. One date of competition in cross country each year with a foreign opponent
         in the United States;
     (e) Hawaii or Alaska. Any dates of competition played in Hawaii or Alaska, respectively, against an active Division I
         institution located in Hawaii or Alaska, by a member located outside the area in question;
     (f) Fundraising Activity. Any cross country activities in which student-athletes from more than one of the institution's
         athletics teams participate with and against alumni and friends of the institution, the purpose of which is to raise funds

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         for the benefit of the institution's athletics or other programs, provided the student-athletes do not miss classes as a
         result of their participation (see Bylaw 12.5.1.1);
     (g) Celebrity Sports Activity. Competition involving a limit of two student-athletes from a member institution's cross
         country team who participate in local celebrity cross country activities conducted for the purpose of raising funds for
         charitable organizations, provided:
          (1) The student-athletes do not miss classes as a result of the participation;
          (2) The involvement of the athletes has the approval of the institution's athletics director; and
          (3) The activity takes place within a 30-mile radius of the institution's main campus.
     (h) U.S. National Team. One date of competition against any team as selected and designated by the appropriate
         national governing body in cross country as a U.S. national team (e.g., "Under-21" U.S. national team).
    17.7.5.4 Once-in-Four-Years Exemption -- Foreign Tour. An institution may exempt the contests played on a
    foreign tour, provided the tour is conducted by the member institution in accordance with the procedures set forth in
    Bylaw 17.32. (Adopted: 1/9/96 effective 8/1/96, Revised: 4/26/07 effective 8/1/07)
17.7.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff shall not
engage in countable athletically related activities outside the institution's declared playing season per Bylaw 17.7.1 except as
permitted in Bylaw 17.1.7.2. (Revised: 1/10/91 effective 8/1/91)
    17.7.6.1 Summer Practice. Practice that is organized or financially supported by a member institution shall be
    prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official
    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by
    student-athletes engaged in voluntary athletically related activities in their sport. (Revised: 1/10/91 effective 8/1/91, 1/10/92,
    4/28/05, 11/1/07 effective 8/1/08)
    17.7.6.2 Vacation Period and Summer-Workout Sessions. A coach may participate in individual-workout sessions
    with student-athletes from the coach's team during any institutional vacation period and/or the summer, provided the
    request for such assistance is initiated by the student-athlete. (Adopted: 1/10/92, Revised: 1/11/94, 4/28/05, 4/25/18)
17.7.7 Camps and Clinics. There are no limits on the number of student-athletes in cross country who may be employed
(e.g., as counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not participate as campers in
their institution's camps or clinics. (Revised: 1/10/92)
17.7.8 Other Restrictions.
    17.7.8.1 Noncollegiate, Amateur Competition.
         17.7.8.1.1 During Academic Year. A student-athlete in cross country who participates during the academic year as
         a member of any outside cross country team in any noncollegiate, amateur competition (e.g., team invitational meet,
         exhibition meets or other activity) except while representing the institution in intercollegiate cross country competition
         shall be ineligible for intercollegiate cross country competition unless eligibility is restored by the Committee on
         Student-Athlete Reinstatement (see Bylaw 17.34.3 for exceptions). (Revised: 1/10/91 effective 8/1/91, 1/16/93, 10/3/05)
              17.7.8.1.1.1 Vacation-Period Exception. A student-athlete may compete outside the institution's declared
              playing and practice season as a member of an outside team in any noncollegiate, amateur competition during any
              official vacation period published in the institution's catalog. The number of student-athletes from any one
              institution shall not exceed two. (Adopted: 1/11/94 effective 8/1/94)
         17.7.8.1.2 Out of Season. There are no limits on the number of student-athletes from the same member institution
         with eligibility remaining in intercollegiate cross country who may practice or compete out of season on an outside
         amateur cross country team (competition on an outside team permitted only during the summer except as provided in
         Bylaw 17.7.8.1.1.1). (Revised: 1/10/91 effective 8/1/91, 1/16/93)
              17.7.8.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of a member institution may
              be involved in any capacity (e.g., coach, official, player or league/team administrator) during the academic year
              (including vacation periods during the academic year) with an outside team that involves any student-athlete with
              eligibility remaining from the institution's cross country team except as provided under Bylaws 17.1.1.1, 17.32
              and 17.34.3. (Revised: 4/28/05 effective 8/1/05)
              17.7.8.1.2.2 Olympic, Paralympic and National Team Development Program. There are no limits on
              the number of student-athletes from the same institution who may participate in Olympic, Paralympic and
              national team development programs. Such programs may also include a coach and student-athlete from the same
              institution, provided: (Revised: 2/21/02, 4/28/11, 1/22/20)

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               (a) The national governing body conducts and administers the developmental program;
               (b) The national governing body selects coaches involved in the developmental program; and
               (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                   one particular institution, selects the involved participants.
    17.7.8.2 Equipment Issue, Squad Pictures. No limitations.
17.8 Women's Equestrian. Regulations for computing the equestrian playing season are set forth in Bylaw 17.1.
(See Figure 17-1 and Figure 17-2.)
17.8.1 Length of Playing Season. The length of an institution's playing season in equestrian shall be limited to a 144-day
season, which may consist of two segments (each consisting of consecutive days) and which may exclude only required off days
(see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-examination periods during which no
practice or competition shall occur. (Adopted: 4/25/02 effective 8/1/02)
17.8.2 Preseason Practice. A member institution shall not commence practice sessions in equestrian prior to September 7
or the institution's first day of classes for the fall term, whichever is earlier. (Adopted: 4/25/02 effective 8/1/02)
17.8.3 First Date of Competition. An institution shall not engage in its first date of competition (game or scrimmage)
with outside competition in equestrian prior to September 7 or the institution's first day of classes for the fall term, whichever is
earlier. (Adopted: 4/25/02 effective 8/1/02)
17.8.4 End of Regular Playing Season. A member institution shall conclude all practice and competition (games and
scrimmages) in each segment in equestrian by the last date of final examinations for the regular academic year. (Adopted: 4/25/02
effective 8/1/02)
17.8.5 Number of Dates of Competition.
    17.8.5.1 Maximum Limitations -- Institutional. A member institution shall limit its total playing schedule with
    outside competition in the sport of equestrian during the institution's playing season to 15 dates of competition (games and
    scrimmages), which may include not more than five two-day competitions, which shall each count as a single date of
    competition. These limitations do not include those dates of competition excluded under Bylaws 17.8.5.3 and 17.8.5.4 (see
    Bylaw 20.10.6.3 for minimum contests and participants requirements). (Adopted: 4/25/02 effective 8/1/02, Revised: 1/8/07
    effective 8/1/07)
         17.8.5.1.1 In-Season Foreign Competition. A member institution may engage in one or more of its countable
         dates of competition in equestrian in one or more foreign countries on one trip during the prescribed playing season.
         However, except for competition in Canada and Mexico or on a certified foreign tour (see Bylaw 17.32), the
         institution may not engage in such in-season foreign competition more than once every four years. (Adopted: 4/25/02
         effective 8/1/02)
    17.8.5.2 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate in each academic
    year in 15 dates of competition, which may include not more than five two-day competitions, which shall each count as a
    single date of competition (this limitation includes those dates of competition in which the student represents the
    institution in accordance with Bylaw 17.02.8, including competition as a member of the varsity, junior varsity or freshman
    team of the institution). (Adopted: 4/25/02 effective 8/1/02, Revised: 1/8/07 effective 8/1/07)
    17.8.5.3 Annual Exemptions. The maximum number of dates of competition in equestrian shall exclude the following:
    (Adopted: 4/25/02 effective 8/1/02, Revised: 2/24/03, 7/6/05, 5/19/22 effective 8/1/22)
     (a) Conference Championship. Competition in one conference championship meet in equestrian;
     (b) Season-Ending Event. Competition in one season-ending event (e.g., national intercollegiate championship). A
         season-ending event involves competition after the end of the regular season between teams that are not identified until
         the close of the regular season;
     (c) Alumni Show/Event. One date of competition in equestrian each year against an alumni team of the institution;
     (d) Foreign Team in the United States. One date of competition in equestrian each year with a foreign opponent in
         the United States;
     (e) Hawaii, Alaska, Puerto Rico. Any dates of competition in equestrian in Hawaii, Alaska or Puerto Rico, respectively,
         either against or under the sponsorship of an active member institution located in Hawaii, Alaska or Puerto Rico, by a
         member located outside the area in question;
     (f) Fundraising Activity. Any equestrian activities in which student-athletes from more than one of the institution's
         athletics teams participate with and against alumni and friends of the institution, the purpose of which is to raise funds
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         for the benefit of the institution's athletics or other programs, provided the student-athletes do not miss classes as a
         result of their participation (see Bylaw 12.5.1.1); and
     (g) Celebrity Sports Activity. Competition involving a limit of two student-athletes from a member institution's
         equestrian team who participate in local celebrity equestrian activities conducted for the purpose of raising funds for
         charitable organizations, provided:
          (1) The student-athletes do not miss classes as a result of the participation;
          (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
          (3) The activity takes place within a 30-mile radius of the institution's main campus.
    17.8.5.4 Foreign Tour. The dates of competition in equestrian on a foreign tour shall be excluded from the maximum
    number of dates of competition, provided the tour occurs only once in a four-year period and is conducted by the member
    institution in accordance with the procedures set forth in Bylaw 17.32. (Adopted: 4/25/02 effective 8/1/02)
17.8.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff shall not
engage in countable athletically related activities outside the institution's declared playing season per Bylaw 17.8.1 except as
permitted in Bylaw 17.1.7.2. (Adopted: 4/25/02 effective 8/1/02)
    17.8.6.1 Summer Practice. Practice that is organized or financially supported by a member institution shall be
    prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official
    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by
    student-athletes engaged in voluntary athletically related activities in their sport. (Adopted: 4/25/02 effective 8/1/02, Revised:
    4/28/05, 11/1/07 effective 8/1/08)
    17.8.6.2 Vacation Period and Summer-Workout Sessions. A coach may participate in individual-workout sessions
    with student-athletes from the coach's team during any institutional vacation period and/or the summer, provided the
    request for such assistance is initiated by the student-athlete. (Adopted: 1/10/92, Revised: 1/11/94, 4/28/05, 6/10/11, 4/25/18)
17.8.7 Safety Exception. A coach may be present during voluntary individual workouts in the institution's regular practice
facility (without the workouts being considered as countable athletically related activities) when the student-athlete uses
equestrian equipment. The coach may provide safety or skill instruction but may not conduct the individual's workouts.
(Adopted: 4/25/02 effective 8/1/02)
17.8.8 Camps and Clinics. There are no limits on the number of student-athletes in equestrian who may be employed (e.g.,
as counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not participate as campers in their
institution's camps or clinics. (Adopted: 4/25/02 effective 8/1/02)
17.8.9 Other Restrictions.
    17.8.9.1 Noncollegiate, Amateur Competition.
         17.8.9.1.1 During Academic Year. A student-athlete in equestrian who participates during the academic year as a
         member of any outside equestrian team in any noncollegiate, amateur competition (e.g., tournament play, exhibition
         games or other activity) except while representing the institution in intercollegiate equestrian competition shall be
         ineligible for intercollegiate equestrian competition unless eligibility is restored by the Committee on Student-Athlete
         Reinstatement (see Bylaw 17.34.3 for exceptions). (Adopted: 4/25/02 effective 8/1/02, Revised: 10/3/05)
             17.8.9.1.1.1 Vacation-Period Exception. A student-athlete may compete outside the institution's declared
             playing and practice season as a member of an outside team in any noncollegiate, amateur competition during any
             official vacation period published in the institution's catalog. (Adopted: 4/25/02 effective 8/1/02)
         17.8.9.1.2 Out of Season. There are no limits on the number of student-athletes with eligibility remaining in
         intercollegiate equestrian who may practice or compete out of season on an outside, amateur equestrian team
         (competition on an outside team permitted only during the summer, except as provided in Bylaw 17.8.9.1.1.1).
         (Adopted: 4/25/02 effective 8/1/02)
             17.8.9.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of a member institution may
             be involved in any capacity (e.g., coach, official, player or league/team administrator) during the academic year
             (including vacation periods during the academic year) with an outside team that involves any student-athlete with
             remaining eligibility from that institution's equestrian team except as provided under Bylaws 17.1.1.1, 17.32 and
             17.34.3. (Revised: 4/28/05 effective 8/1/05)
             17.8.9.1.2.2 Olympic, Paralympic and National Team Development Program. There are no limits on
             the number of student-athletes from the same institution who may participate in Olympic, Paralympic and


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                national team development programs. Such programs may also include a coach and student-athlete from the same
                institution, provided: (Adopted: 4/25/02 effective 8/1/02, Revised: 4/28/11, 1/22/20)
                (a) The national governing body conducts and administers the developmental program;
                (b) The national governing body selects coaches involved in the developmental program; and
                (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                    one particular institution, selects the involved participants.
    17.8.9.2 Equipment Issue, Squad Pictures. No limitations. (Adopted: 4/25/02 effective 8/1/02, Revised: 1/10/05)
17.9 Fencing. Regulations for computing the fencing playing season are set forth in Bylaw 17.1. (See Figure 17-1 and
Figure 17-2.)
17.9.1 Length of Playing Season. The length of an institution's playing season in fencing shall be limited to a 144-day
season, which may consist of two segments (each consisting of consecutive days) and which may exclude only required off days
(see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-examination periods during which no
practice or competition shall occur. (Revised: 1/10/91 effective 8/1/91, 1/14/97 effective 8/1/97)
17.9.2 Preseason Practice. A member institution shall not commence practice sessions in fencing prior to September 7 or
the institution's first day of classes for the fall term, whichever is earlier. (Revised: 1/10/91 effective 8/1/91, 1/10/95 effective
8/1/95, 1/14/97 effective 8/1/97)
17.9.3 First Date of Competition. A member institution shall not engage in its first date of competition (game or
scrimmage) with outside competition in fencing prior to September 7 or the institution's first day of classes for the fall term,
whichever is earlier. (Revised: 1/10/91 effective 8/1/91, 1/10/95 effective 8/1/95, 1/14/97 effective 8/1/97)
17.9.4 End of Regular Playing Season. A member institution shall conclude all practice and competition (matches or
practice matches) in fencing by the last date of final examinations for the regular academic year at the institution. (Revised:
1/10/91 effective 8/1/91, 1/14/97 effective 8/1/97)
17.9.5 Number of Dates of Competition.
    17.9.5.1 Maximum Limitations -- Institutional. A member institution shall limit its total playing schedule with
    outside competition in fencing during the permissible fencing playing season to 11 dates of competition, except for those
    dates of competition excluded under Bylaws 17.9.5.2 and 17.9.5.3 (see Bylaw 20.10.6.3 for minimum contests and
    participants requirements). (Revised: 1/10/91 effective 8/1/91)
         17.9.5.1.1 In-Season Foreign Competition. A member institution may engage in one or more of its countable
         dates of competition in fencing in one or more foreign countries on one trip during the prescribed playing season.
         However, except for competition in Canada and Mexico or on a certified foreign tour (see Bylaw 17.32), the
         institution may not engage in such in-season foreign competition more than once every four years.
         17.9.5.1.2 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate in each
         academic year in not more than 11 dates of competition in fencing. This limitation includes those dates of competition
         in which the student represents the institution in accordance with Bylaw 17.02.8, including competition as a member
         of the varsity, junior varsity or freshman team of the institution. (Revised: 1/10/91 effective 8/1/91)
    17.9.5.2 Annual Exemptions. The maximum number of dates of competition in fencing shall exclude the following:
    (Revised: 1/10/90, 1/9/96 effective 8/1/96, 9/6/00, 2/24/03, 5/19/22 effective 8/1/22)
     (a) Conference Championship. Competition in one conference championship tournament in fencing;
     (b) Season-Ending Event. Competition in one season-ending event (e.g., NCAA championships). A season-ending
         event involves competition after the end of the regular season between teams that are not identified until the close of
         the regular season;
     (c) Alumni Meet. One date of competition in fencing each year against an alumni team of the institution;
     (d) Foreign Team in the United States. One date of competition in fencing each year with a foreign opponent in the
         United States;
     (e) Hawaii or Alaska. Any dates of competition in fencing in Hawaii or Alaska, respectively, against an active Division I
         member institution located in Hawaii or Alaska, by a member located outside the area in question;
     (f) Fundraising Activity. Any fencing activities in which student-athletes from more than one of the institution's
         athletics teams participate with and against alumni and friends of the institution, the purpose of which is to raise funds
         for the benefit of the institution's athletics or other programs, provided the student-athletes do not miss classes as a
         result of their participation (see Bylaw 12.5.1.1);
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     (g) Celebrity Sports Activity. Competition involving a limit of two student-athletes from a member institution's
         fencing team who participate in local celebrity fencing activities conducted for the purpose of raising funds for
         charitable organizations, provided:
          (1) The student-athletes do not miss classes as a result of the participation;
          (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
          (3) The activity takes place within a 30-mile radius of the institution's main campus.
     (h) U.S. National Team. One date of competition against any team as selected and designated by the appropriate
         national governing body in fencing as a U.S. national team (e.g., "Under-21" U.S. national team).
    17.9.5.3 Once-in-Four-Years Exemption -- Foreign Tour. An institution may exempt the contests played on a
    foreign tour, provided the tour is conducted by the member institution in accordance with the procedures set forth in
    Bylaw 17.32. (Adopted: 1/9/96 effective 8/1/96, Revised: 4/26/07 effective 8/1/07)
17.9.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff at the
student-athlete's institution shall not engage in countable athletically related activities (see Bylaw 17.02.1) outside the
institution's declared playing season per Bylaw 17.9.1 except as permitted in Bylaw 17.1.7.2. (Revised: 1/10/91 effective 8/1/91)
    17.9.6.1 Summer Practice. Practice that is organized or financially supported by a member institution shall be
    prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official
    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by
    student-athletes engaged in voluntary athletically related activities in their sport. (Revised: 1/10/91 effective 8/1/91, 1/10/92,
    4/28/05, 11/1/07 effective 8/1/08)
    17.9.6.2 Vacation Period and Summer-Workout Sessions. A coach may participate in individual-workout sessions
    with student-athletes from the coach's team during any institutional vacation period and/or the summer, provided the
    request for such assistance is initiated by the student-athlete. (Adopted: 1/10/92, Revised: 1/11/94, 4/28/05, 4/25/18)
17.9.7 Safety Exception. A coach may be present during voluntary individual workouts in the institution's regular practice
facility (without the workouts being considered as countable athletically related activities) when the student-athlete uses fencing
equipment. The coach may provide safety or skill instruction but may not conduct the individual's workouts. (Adopted: 1/10/91
effective 8/1/91)
17.9.8 Camps and Clinics. There are no limits on the number of student-athletes in fencing who may be employed (e.g., as
counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not participate as campers in their
institution's camps or clinics. (Revised: 1/10/92)
17.9.9 Other Restrictions.
    17.9.9.1 Noncollegiate, Amateur Competition.
         17.9.9.1.1 During Academic Year. A student-athlete in fencing who participates during the academic year as a
         member of any outside fencing team in any noncollegiate, amateur competition (e.g., fencing tournament, exhibition
         games or other activity) except while representing the institution in intercollegiate fencing competition shall be
         ineligible for intercollegiate fencing competition unless eligibility is restored by the Committee on Student-Athlete
         Reinstatement (see Bylaw 17.34.3 for exceptions). (Revised: 1/10/91 effective 8/1/91, 1/16/93, 10/3/05)
              17.9.9.1.1.1 Vacation-Period Exception. A student-athlete may compete outside the institution's declared
              playing and practice season as a member of an outside team in any noncollegiate, amateur competition during any
              official vacation period published in the institution's catalog. The number of student-athletes from any one
              institution shall not exceed four. (Adopted: 1/11/94 effective 8/1/94)
         17.9.9.1.2 Out of Season. There are no limits on the number of student-athletes from the same member institution
         with eligibility remaining in intercollegiate fencing who may practice or compete out of season on an outside amateur
         fencing team (competition on an outside team permitted only during the summer except as provided in Bylaw
         17.9.9.1.1.1). (Revised: 1/10/91 effective 8/1/91, 1/16/93)
              17.9.9.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of a member institution may
              be involved in any capacity (e.g., coach, official, player or league/team administrator) during the academic year
              (including vacation periods during the academic year) with an outside team that involves any student-athlete with
              eligibility remaining with the institution's fencing team except as provided under Bylaws 17.1.1.1, 17.32 and
              17.34.3. (Revised: 4/28/05 effective 8/1/05)
              17.9.9.1.2.2 Olympic, Paralympic and National Team Development Program. There are no limits on
              the number of student-athletes from the same institution who may participate in Olympic, Paralympic and
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              national team development programs. Such programs may also include a coach and student-athlete from the same
              institution, provided: (Revised: 2/21/02, 4/28/11, 1/22/20)
               (a) The national governing body conducts and administers the developmental program;
               (b) The national governing body selects coaches involved in the developmental program; and
               (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                   one particular institution, selects the involved participants.
    17.9.9.2 Equipment Issue, Squad Pictures. No limitations.
17.10 Field Hockey. Regulations for computing the field hockey playing season are set forth in Bylaw 17.1. (See
Figure 17-1 and Figure 17-2.)
17.10.1 Length of Playing Season. The length of an institution's playing season in field hockey shall be limited to a 132-
day season, which may consist of two segments (each consisting of consecutive days) and which may exclude only required off
days (see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-examination periods during which no
practice or competition shall occur. (Revised: 1/10/91 effective 8/1/91, 1/14/97 effective 8/1/97)
17.10.2 Preseason Practice. A member institution shall not commence practice sessions in field hockey prior to 16
calendar days before the first scheduled regular-season intercollegiate contest (not a scrimmage, exhibition game or alumni
contest that may occur before that first scheduled regular-season contest). (Revised: 1/10/91 effective 8/1/91, 1/14/97 effective
8/1/97, 4/14/03, 6/17/15, 5/19/22 effective 8/1/22)
17.10.3 First Contest or Date of Competition. A member institution shall not play its first regular-season contest or
engage in its first date of competition (game or scrimmage) with outside competition in field hockey prior to the Friday prior to
the 11th weekend prior to the start of the NCAA Division I Field Hockey Championship, except that an alumni contest may be
played the weekend prior to the first scheduled regular-season contest. (Revised: 1/10/91 effective 8/1/91, 1/16/93 effective 8/1/93,
1/10/95 effective 8/1/95, 1/10/96 effective 8/1/96, 1/24/96 effective 8/1/96, 1/14/97 effective 8/1/97, 4/20/99 effective 8/1/99,
11/1/07 effective 8/1/08, 12/14/07, 6/17/15)
    17.10.3.1 Exception -- Scrimmage/Exhibition Games. An institution may play three field hockey scrimmages or
    exhibition games (which shall not count toward the institution's won-lost record) prior to the first scheduled regular-season
    contest during a particular academic year, provided such scrimmages or exhibition games are conducted during the
    institution's declared playing season per Bylaw 17.10.1 (including the preseason practice period) and are counted against
    the maximum number of contests (see Bylaw 17.10.5.1). Contests that would otherwise be exempted from the maximum
    number of contests per Bylaw 17.10.5.3 shall count against the maximum if they are played during the preseason practice
    period prior to the date specified for the first permissible regular-season contest. (Adopted: 12/14/07, Revised: 6/17/15)
17.10.4 End of Regular Playing Season. A member institution shall conclude all practice and competition (games and
scrimmages) in field hockey by the last date of final exams for the regular academic year at the institution. (Revised: 1/14/97
effective 8/1/97)
17.10.5 Number of Contests and Dates of Competition.
    17.10.5.1 Maximum Limitations -- Institutional. A member institution shall limit its total playing schedule with
    outside competition during the institution's field hockey playing season in any one year to 20 contests during the segment
    in which the NCAA championship is conducted and five dates of competition during another segment, except for those
    contests or dates of competition excluded under Bylaws 17.10.5.3 and 17.10.5.4. Travel to competition in the
    nonchampionship segment shall be restricted to ground transportation, unless there are no Division I institutions that
    sponsor the sport located within 400 miles of the institution. (Revised: 1/10/92 effective 8/1/92, 4/29/10 effective 8/1/10)
         17.10.5.1.1 Exception -- Isolated Institution. If there are fewer than five other Division I institutions that
         sponsor field hockey located within 400 miles of the institution, the institution may use any form of transportation to
         travel to the number of nonchampionship segment competitions that represents the difference between the number of
         other institutions and five. (Adopted: 4/25/18)
         17.10.5.1.2 Hawaii or Alaska Exception -- Nonchampionship Segment Travel. Once every four years, an
         institution may use any form of transportation for travel to Hawaii or Alaska for nonchampionship competition against
         an active member institution located in Hawaii or Alaska. (Adopted: 4/28/11 effective 8/1/11)
         17.10.5.1.3 In-Season Foreign Competition. A member institution may play one or more of its countable field
         hockey contests or dates of competition in one or more foreign countries on one trip during the prescribed playing
         season. However, except for contests or dates of competition played in Canada and Mexico or on a certified foreign


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         tour (see Bylaw 17.32), the institution may not engage in such in-season foreign competition more than once every
         four years.
    17.10.5.2 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate in each academic
    year in not more than 20 field hockey contests during the segment in which the NCAA championship is conducted and five
    dates of competition in field hockey during another segment. This limitation includes those contests or dates of
    competition in which the student represents the institution in accordance with Bylaw 17.02.8, including competition as a
    member of the varsity, junior varsity or freshman team of the institution. (Revised: 1/10/92 effective 8/1/92)
    17.10.5.3 Annual Exemptions. The maximum number of contests or dates of competition in field hockey shall exclude
    the following (unless such contests are played pursuant to Bylaw 17.10.3.1): (Revised: 1/9/96 effective 8/1/96, 9/6/00,
    2/24/03, 12/14/07, 5/19/22 effective 8/1/22)
     (a) Conference Championship. Competition in one conference championship tournament in field hockey (or the
         tournament used to determine the conference's automatic entry in an NCAA field hockey championship);
     (b) Conference Playoff. Competition involving member institutions that tie for a conference field hockey
        championship. Such teams may participate in a single-elimination playoff to determine the conference's automatic
        entry in an NCAA field hockey championship without the game(s) being counted as a postseason tournament;
     (c) Season-Ending Event. Competition in one season-ending event (e.g., NCAA championship). A season-ending event
         involves competition after the end of the regular season between teams that are not identified until the close of the
         regular season;
     (d) NCAA Championship Play-In Competition. Competition in play-in contests conducted before the NCAA
         championship;
     (e) Alumni Game. One contest or date of competition in field hockey each year against an alumni team of the
         institution;
     (f) Foreign Team in the United States. One contest or date of competition in field hockey each year with a foreign
         opponent in the United States;
     (g) Hawaii or Alaska. Any contests or dates of competition played in Hawaii or Alaska, respectively, against an active
         Division I member institution located in Hawaii or Alaska, by a member institution located outside the area in
         question;
     (h) Fundraising Activity. Any field hockey activities in which student-athletes from more than one of the institution's
         athletics teams participate with and against alumni and friends of the institution, the purpose of which is to raise funds
         for the benefit of the institution's athletics or other programs, provided the student-athletes do not miss classes as a
         result of their participation (see Bylaw 12.5.1.1);
     (i) Celebrity Sports Activity. Competition involving a limit of two student-athletes from a member institution's field
         hockey team who participate in local celebrity field hockey activities conducted for the purpose of raising funds for
         charitable organizations, provided:
          (1) The student-athletes do not miss classes as a result of the participation;
          (2) The involvement of the student-athletes has the approval of the institution's athletics director;
          (3) The activity takes place within a 30-mile radius of the institution's main campus; and
     (j) U.S. National Team. One contest or date of competition played against any team as selected and designated by the
         appropriate national governing body in field hockey as a U.S. national team (e.g., "Under-21" U.S. national team).
    17.10.5.4 Once-in-Four-Years Exemption -- Foreign Tour. An institution may exempt the contests played on a
    foreign tour, provided the tour is conducted by the member institution in accordance with the procedures set forth in
    Bylaw 17.32. (Adopted: 1/9/96 effective 8/1/96, Revised: 4/26/07 effective 8/1/07)
17.10.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff shall not
engage in countable athletically related activities outside the institution's declared playing season per Bylaw 17.10.1 except as
permitted in Bylaw 17.1.7.2. (Revised: 1/10/91 effective 8/1/91)
    17.10.6.1 Summer Practice. Practice that is organized or financially supported by a member institution shall be
    prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official
    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by
    student-athletes engaged in voluntary athletically related activities in their sport. (Revised: 4/28/05, 11/1/07 effective 8/1/08)



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17.10.7 Camps and Clinics. There are no limits on the number of student-athletes in field hockey who may be employed
(e.g., as counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not participate as campers in
their institution's camps or clinics. (Revised: 1/10/92)
17.10.8 Other Restrictions.
    17.10.8.1 Noncollegiate, Amateur Competition.
         17.10.8.1.1 During Academic Year. A student-athlete who participates during the academic year as a member of
         any outside field hockey team in any noncollegiate, amateur competition (e.g., tournament play, exhibition games or
         other activity) except while representing the institution in intercollegiate field hockey competition shall be ineligible for
         intercollegiate field hockey competition unless eligibility is restored by the Committee on Student-Athlete
         Reinstatement (see Bylaw 17.34.3 for exceptions). (Revised: 1/10/91 effective 8/1/91, 1/16/93, 10/3/05)
              17.10.8.1.1.1 Vacation-Period Exception. A student-athlete may compete outside the institution's declared
              playing and practice season as a member of an outside team in any noncollegiate, amateur competition during any
              official vacation period published in the institution's catalog. The number of student-athletes from any one
              institution shall not exceed five. (Adopted: 1/11/94 effective 8/1/94)
              17.10.8.1.1.2 May 1 Exception. A student-athlete in field hockey may compete outside an institution's
              declared playing and practice season as a member of an outside team in any noncollegiate, amateur competition,
              provided: (Adopted: 4/22/98 effective 8/1/98)
              (a) Such participation occurs not earlier than May 1;
              (b) The number of student-athletes from any one institution does not exceed five;
              (c) The competition is approved by the institution's director of athletics; and
              (d) No class time is missed for practice activities or for competition.
         17.10.8.1.2 Out of Season. A member institution may permit not more than five student-athletes with eligibility
         remaining in intercollegiate field hockey to practice or compete out of season on an outside amateur field hockey team
         (competition on an outside team permitted only during the summer, except as provided in Bylaws 17.10.8.1.1.1 and
         17.10.8.1.1.2). (Revised: 1/10/91 effective 8/1/91)
              17.10.8.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of a member institution
              may be involved in any capacity (e.g., coach, official, player or league/team administrator) at any time (during the
              academic year, vacation periods and summer) with an outside team that involves any student-athlete with
              remaining eligibility from the institution's field hockey team except as provided under Bylaws 17.1.1.1, 17.32 and
              17.34.3. (Revised: 4/28/05 effective 8/1/05)
              17.10.8.1.2.2 Olympic, Paralympic and National Team Development Program. There are no limits on
              the number of student-athletes from the same institution who may participate in Olympic, Paralympic and
              national team development programs. Such programs may also include a coach and student-athlete from the same
              institution, provided: (Revised: 2/21/02, 4/28/11, 1/22/20)
              (a) The national governing body conducts and administers the developmental program;
              (b) The national governing body selects coaches involved in the developmental program; and
              (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                  one particular institution, selects the involved participants.
    17.10.8.2 Equipment Issue, Squad Pictures. No limitations. (Revised: 1/11/89, 1/10/05)
17.11 Football. [FBS/FCS] Regulations for computing the football playing season are set forth in Bylaw 17.1. (See
Figure 17-1 and Figure 17-2.)
17.11.1 Prohibited Athletic Activities. [FBS/FCS] In football, an institution shall not conduct prohibited athletic
activities, as specified in policies and procedures established and maintained by the Football Oversight Committee and reviewed
by the Committee on Competitive Safeguards and Medical Aspects of Sports. (Adopted: 5/19/21, Revised: 10/6/21)
17.11.2 Length of Playing Season. [FBS/FCS] The length of an institution's playing season in football shall be limited
to the period of time between the start of preseason practice (see Bylaw 17.11.3) and the end of the regular playing season (see
Bylaw 17.11.5), except as provided in Bylaw 17.11.7 (see Bylaw 17.11.4 for restrictions on first contest dates).
17.11.3 Practice. [FBS/FCS]


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   17.11.3.1 First Practice Date. An institution shall not commence official preseason football practice sessions, for the
   varsity, junior varsity or freshman team, before 31 days before its first scheduled intercollegiate game. Before its first
   scheduled intercollegiate game, an institution may not engage in more than 25 on-field practices. (Revised: 1/11/89,
   4/14/03, 4/24/03 effective 5/1/03, 4/28/05, 1/18/18, 6/11/18, 5/18/22)
         17.11.3.1.1 Exception. [FBS/FCS] An institution that has prohibitions against athletics activities during a specific
         day of the week due to religious reasons, may start official preseason football practice sessions one day earlier than the
         date determined pursuant to Bylaw 17.11.3.1. (Adopted: 4/28/05 effective 5/1/05)
         17.11.3.1.2 Limit on Number of Participants. [FBS/FCS] There is limit of 110 student-athletes who may engage
         in practice activities prior to the institution's first day of classes or prior to the seventh day before the day of the
         institution's first contest, whichever occurs earlier. (Adopted: 1/11/94, Revised: 12/15/06, 4/26/17 effective 8/1/17,
         4/25/18, 5/19/21)
             17.11.3.1.2.1 Replacement of Student-Athlete Who Voluntarily Withdraws. [FBS/FCS] A student-
             athlete who has voluntarily withdrawn from an institution's team, has departed the practice site and no longer will
             engage in any preseason activities may be replaced with another student-athlete without including that individual
             in the preseason practice limitation. (Adopted: 1/10/95, Revised: 4/25/18)
             17.11.3.1.2.2 Replacement of Student-Athlete Due to Injury or Illness. [FBS/FCS] A student-athlete
             who sustains an injury or illness that prevents further participation in preseason practice activities may be replaced
             with another student-athlete without including that individual in the preseason practice limitation. The replaced
             student-athlete shall cease participation in all athletically related activities (including team meetings and film
             review) and shall not resume participation in athletically related activities before the institution's first day of classes
             or prior to the seventh day before the day of the institution's first contest, whichever occurs first. The replaced
             student-athlete may continue to receive preseason practice expenses. (Adopted: 1/17/09, Revised: 4/26/17 effective
             8/1/17, 5/19/21)
             17.11.3.1.2.3 Exception -- National Service Academies -- Bowl Subdivision. [FBS] In bowl subdivision
             football, there is no limit on the number of student-athletes who will be attending a national service academy and
             who may engage in preseason practice activities. (Adopted: 4/29/04 effective 8/1/04)
             17.11.3.1.2.4 Junior Varsity Exception -- Championship Subdivision. [FCS] In championship
             subdivision football, an institution that sponsors a junior varsity team that competes in at least four intercollegiate
             contests is not subject to the preseason practice limitation. (Adopted: 1/11/94)
   17.11.3.2 Academic Orientation -- First-Time Participants -- Bowl Subdivision. [FBS] In bowl subdivision
   football, an institution must establish an academic orientation period for those student-athletes who are beginning their
   initial seasons of eligibility for football practice at the institution. The period shall include not fewer than six hours of
   academic orientation. The academic orientation period requirement may be satisfied through the following options:
   (Adopted: 4/24/03 effective 5/1/03, Revised: 4/27/06, 12/15/06, 1/4/08)
    (a) An institution may conduct the required academic orientation period any time prior to or during the acclimatization
        period for student-athletes enrolled in summer classes or participating in summer conditioning activities prior to the
        student-athlete's first season of eligibility in football at the certifying institution;
    (b) An institution may establish an academic orientation day on the day prior to the start of the acclimatization period. On
        the day designated for the sole purpose of academic orientation, student-athletes may engage only in academic-related
        activities, which may include compliance-related activities (e.g., reviewing NCAA eligibility requirements, signing the
        Student-Athlete Statement and Drug-Testing Consent Form). An institution may conduct medical examinations, issue
        equipment and take individual photographs of participating student-athletes after the evening meal on the academic
        orientation day; or
    (c) An institution may conduct the academic orientation period during the acclimatization period. The orientation
        activities may be conducted on more than one day during the acclimatization period but must be conducted for the
        equivalent of one day (not fewer than six hours).
   17.11.3.3 Academic Orientation -- First-Time Participants -- Championship Subdivision. [FCS] In
   championship subdivision football, an institution must establish an academic orientation period for those student-athletes
   who are beginning their initial seasons of eligibility for football practice at the institution. The period shall include not
   fewer than six hours of academic orientation. The academic orientation period requirement may be satisfied through the
   following options: (Adopted: 4/28/16)



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    (a) An institution may conduct the required academic orientation period any time before or during the acclimatization
        period for student-athletes enrolled in summer classes or participating in summer conditioning activities before the
        student-athlete's first season of eligibility in football at the certifying institution;
    (b) An institution may establish an academic orientation day on the day before the start of the acclimatization period. On
        the day designated for the sole purpose of academic orientation, student-athletes may engage only in academic-related
        activities, which may include compliance-related activities (e.g., reviewing NCAA eligibility requirements, signing the
        Student-Athlete Statement and Drug-Testing Consent Form). An institution may conduct medical examinations, issue
        equipment and take individual photographs of participating student-athletes after the evening meal on the academic
        orientation day;
    (c) An institution may conduct the academic orientation period during the acclimatization period. The orientation
        activities may be conducted on more than one day during the acclimatization period but must be conducted for the
        equivalent of one day (not fewer than six hours); or
    (d) Student-athletes may participate in an institutional orientation session open to all incoming students at any time prior
        to or during the acclimatization period. The session must be conducted in-person and must include a minimum of six
        hours of academic content.
   17.11.3.4 Seven-Day Acclimatization Period. [FBS/FCS] In football, preseason practice shall begin with a seven-day
   acclimatization period for both first-time participants (e.g., freshmen and transfers) and continuing student-athletes. All
   student-athletes, including walk-ons who arrive to preseason practice after the first day of practice or who begin practice at
   any other point in the playing season, are required to undergo a seven-day acclimatization period. The seven-day
   acclimatization period shall be conducted as follows: (Adopted: 4/24/03 effective 5/1/03, Revised: 4/28/05 effective 8/1/05,
   7/18/05, 12/13/05, 4/27/06, 12/15/06, 1/4/08, 4/28/16 effective 8/1/16, 4/26/17, 1/18/18, 6/11/18, 1/23/19, 5/19/21,
   10/27/21)
    (a) An institution may not conduct administrative activities (e.g., team pictures, etc.) other than those permitted prior to
        or on the academic orientation day (e.g., compliance-related activities, medical examinations, individual photographs)
        prior to the first permissible date of practice. Conditioning, speed, strength or agility tests may not occur on any day
        prior to the start of the seven-day acclimatization period.
    (b) During the seven-day period, participants shall not engage in more than one on-field practice per day, not to exceed
        three hours in length.
         (1) Exception -- During the seven-day acclimatization period, an institution has the option of conducting one on-field
             practice per day, not to exceed three hours in length, or one on-field testing session (speed, conditioning or agility
             tests) per day, not to exceed one hour in length and one on-field practice, not to exceed two hours in length. In
             addition, an institution may conduct one one-hour walk-through session per day of the acclimatization period
             pursuant to Bylaw 17.02.20. Student-athletes must be provided with at least three continuous hours of recovery
             time between any sessions (testing, practice or walk-through) occurring that day. During this time, student-
             athletes may not attend any meetings or engage in other athletically related activities (e.g., weight lifting); however,
             time spent receiving medical treatment and eating meals may be included as part of the recovery time. If an
             institution conducts only a walk-through on a particular day during the acclimatization period, that day does not
             count toward the required seven days of acclimatization, but the walk-through counts toward the limit of 25 on-
             field practices in the preseason practice period.
    (c) First-time participants and continuing students shall not be required to practice separately.
    (d) During the first two days of practice or testing activity, helmets and spider pads shall be the only protective equipment
        student-athletes may wear. During the next three days of practice or testing activity, helmets, spider pads and shoulder
        pads shall be the only pieces of protective equipment student-athletes may wear. On the sixth day of practice or testing
        activity, student-athletes may practice in full pads.
    (e) An institution shall provide student-athletes with one day off during the seven-day acclimatization period. The required
        day off may occur as early as the second day or as late as the seventh day.
         17.11.3.4.1 Exception -- National Service Academies. [FBS] First-time participants (e.g., freshmen and
         transfers) who will be attending a national service academy and who have completed basic military training
         immediately prior to preseason practice are not required to complete the acclimatization period. (Adopted: 4/29/04
         effective 8/1/04, Revised: 12/15/06)
   17.11.3.5 Preseason Activities After Acclimatization Period. [FBS/FCS] The remaining 19 on-field preseason
   practice sessions after the acclimatization period shall be conducted as follows: (Adopted: 4/24/03 effective 5/1/03, Revised:
   12/15/06, 4/24/14, 4/14/17, 5/19/21, 10/8/21, 10/27/21)
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     (a) General.
          (1) Multiple on-field practice sessions shall not be conducted on the same day;
          (2) Student-athletes shall not engage in more than three hours of on-field practice activities per day;
          (3) A walk-through is not considered an on-field activity; however, if a walk-through is conducted on a day in which
              no other on-field activities occur, the walk-through must be included in the limit of 25 on-field practices in the
              preseason practice period. In championship subdivision football, on-field walk-throughs shall not exceed a total of
              two hours per day; and
          (4) Student-athletes must be provided with at least three continuous hours of recovery time between an on-field
              practice session and a walk-through. During this time, student-athletes may not engage in physical athletically
              related activities (e.g., weight lifting). Time spent in team meetings, film review, receiving medical treatment and
              eating meals may be included as part of the recovery time.
     (b) Protective Equipment Restrictions.
          (1) Up to eight on-field practice sessions may be conducted in full pads;
          (2) During at least five on-field practice sessions, protective equipment is restricted to not more than helmets and
              spider pads;
          (3) During the remaining on-field practice sessions, protective equipment is restricted to not more than helmets,
              spider pads and/or shoulder pads; and
          (4) On-field practice sessions may be conducted in less protective equipment than the maximum restrictions noted
              above.
     (c) Contact Restrictions.
          (1) Full contact (tackling to the ground) is only permitted during an on-field practice session in full pads;
          (2) An institution shall not conduct more than two consecutive days of full contact (tackling to the ground) practices.
              A full contact practice during the acclimatization period counts toward this limit;
          (3) An institution shall not conduct more than a total of 75 minutes of full contact (tackling to the ground) within
              any one on-field practice session other than during the two permissible scrimmages; and
          (4) An institution shall not conduct more than two scrimmages during the preseason practice period. A scrimmage is a
              practice devoted primarily (greater than 50 percent of practice time) to 11-on-11, full contact (tackling to the
              ground) activities. A scrimmage counts as one of the eight permissible practices in full pads and may include more
              than 75 minutes of full contact (tackling to the ground).
17.11.4 First Contest. [FBS/FCS] An institution shall not play its first contest (game or scrimmage) with outside
competition in football prior to the Thursday preceding Labor Day (see Figure 17-2). (Revised: 1/11/89, 1/9/96 effective 8/1/96,
1/14/97, 5/12/05)
    17.11.4.1 Exception -- Institutions That Compete in Hawaii. [FBS/FCS] An institution that is scheduled to play a
    regular-season game in Hawaii may play its first permissible contest with outside competition on the Saturday prior to the
    Thursday preceding Labor Day. If the institution's first opponent of the season is not a member institution located in
    Hawaii, the institution’s first opponent of the season may also play its first contest (game or scrimmage) with outside
    competition on the Saturday prior to the Thursday preceding Labor Day. (Adopted: 4/28/16 effective 8/1/16)
    17.11.4.2 Exception -- Nationally Televised Contest -- Championship Subdivision. [FCS] In championship
    subdivision football, an institution may participate in a nationally televised (broadcast or cable; not Internet only) contest
    against a nonconference opponent during the weekend (Saturday-Sunday) before the Thursday preceding Labor Day.
    Participation in such a contest is limited to one institution per conference per year. An institution that participates in such a
    contest for two consecutive years may not participate in such a contest in the following year. (Adopted: 4/28/16 effective
    8/1/16)
    17.11.4.3 Exception -- In-Season Foreign Competition. An institution that is scheduled to play a regular-season
    game in a foreign country may play its first permissible contest with outside competition on the Saturday prior to the
    Thursday preceding Labor Day. An institution that uses this exception must provide its student-athletes with five additional
    days off from all countable athletically related activities during the institution's declared playing season. (Adopted: 5/19/22
    effective 8/1/22)
17.11.5 End of Playing Season. [FBS/FCS] A member institution's last contest (game or scrimmage) with outside
competition in football shall not be played after the second Saturday or the following Sunday in December, except for the

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following: (Revised: 1/11/89, 1/10/90, 1/10/91, 1/10/92, 1/16/93, 1/14/97 effective 8/1/97, 8/5/99, 4/27/06, 12/15/06, 11/1/07
effective 8/1/08, 10/28/10, 10/27/11 effective 4/1/12, 6/8/15)
(a) Spring Practice Scrimmage. One scrimmage or contest at the conclusion of spring practice, provided the game is with a
    team composed of bona fide alumni or students or both; and
(b) Postseason Games, NCAA and NAIA Championships, International Competition and Celebration Bowl.
    Permissible postseason games that meet the requirements of Bylaw 18.7 and the NCAA postseason football handbook or
    those games played in the Division I Football Championship; football contests played on a foreign tour certified by the
    member institution; or the National Association of Intercollegiate Athletics football championships. In championship
    subdivision football only, a member institution's last contest also may include participation in the Celebration Bowl.
    17.11.5.1 Celebration Bowl Restrictions. [FCS] All members of the Mid-Eastern and Southwestern Athletic
    Conferences shall participate in the Division I Football Championship, if eligible and selected for participation, and
    members of those conferences that participate in the Division I Football Championship also shall not participate in the
    Celebration Bowl during the same year. The Celebration Bowl may be conducted on the same weekend as the Division I
    Football Championship, provided there is no conflict in the time of the contests. (Adopted: 1/16/93, Revised: 8/5/99,
    12/15/06, 6/8/15)
    17.11.5.2 Final Date for Postseason Game. [FBS/FCS] In bowl subdivision football, the postseason football games in
    Bylaw 17.11.5-(b) must be played not later than the second Monday in January. In championship subdivision football, the
    postseason games in Bylaw 17.11.5-(b) must be played not later than the Sunday before the second Monday in January.
    (Adopted: 1/11/89, Revised: 1/10/95 effective 8/1/95, 2/1/05, 1/9/06 effective 8/1/06, 12/15/06, 6/8/15, 7/27/16)
17.11.6 Number of Contests. [FBS/FCS]
    17.11.6.1 Maximum Limitations -- Institutional. [FBS/FCS] In bowl subdivision football, a member institution shall
    limit its total regular-season playing schedule with outside competition during the permissible football playing season in any
    one year to 12 contests (games or scrimmages), except as provided for member institutions located in Alaska and Hawaii,
    under Bylaw 17.31.2, and except as provided for all members under Bylaw 17.11.6.2. In championship subdivision
    football, a member institution shall limit its total regular-season playing schedule with outside competition during the
    permissible football playing season in any one year to 11 contests (games or scrimmages), except as provided for member
    institutions located in Alaska and Hawaii, under Bylaw 17.31.2, and except as provided for all members under Bylaw
    17.11.6.2. Twelve football contests shall be permissible during those years in which there are 14 Saturdays from the first
    permissible playing date through the last playing date in November (e.g., 2024, 2025). (Revised: 1/12/99 effective 8/1/02,
    8/5/99 effective 8/1/02, 4/28/05 effective 8/1/06, 12/15/06)
         17.11.6.1.1 In-Season Foreign Competition. [FBS/FCS] A member institution may play one or more of its
         countable contests in football in one or more foreign countries on one trip during the prescribed playing season.
         However, except for contests played in Canada, Mexico or on a certified foreign tour (see Bylaw 17.32), the institution
         may not engage in such in-season foreign competition more than once every four years.
         17.11.6.1.2 Maximum Limitations -- Student-Athlete. [FBS/FCS] In bowl subdivision football, an individual
         student-athlete may participate in each academic year in not more than 12 football contests. In championship
         subdivision football, an individual student-athlete may participate in each academic year in not more than 11 football
         contests, except that 12 football contests shall be permissible during those years in which there are 14 Saturdays from
         the first permissible playing date through the last playing date in November (e.g., 2019). This limitation includes those
         contests in which the student-athlete represents the institution in accordance with Bylaw 17.02.8, including
         competition as a member of the varsity, junior varsity or freshman team of the institution. (Revised: 1/10/91 effective
         8/1/92, 8/5/99 effective 8/1/02, 4/28/05 effective 8/1/06, 12/15/06)
    17.11.6.2 Annual Exemptions. [FBS/FCS]
         17.11.6.2.1 Bowl Subdivision. [FBS] In bowl subdivision football, the maximum number of football contests shall
         exclude the following: (Revised: 1/10/90, 11/1/07 effective 8/1/08, 10/28/10, 10/27/11 effective 4/1/12, Adopted: 8/2/12
         effective 8/1/14, 1/15/16 effective 8/1/16, 5/18/22)
         (a) Spring Game. One contest at the conclusion of the spring practice period [see Bylaw 17.11.5-(a)], provided the
             contest is against a team composed of bona fide alumni or students or both;
         (b) Conference Championship Game. One conference championship game;
         (c) Bowl Games. One postseason game that meets the requirements of Bylaw 18.7 and the NCAA postseason
             football handbook;


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         (d) Additional Football Bowl Subdivision Postseason Game. One postseason game between the winners of
             two exempted postseason bowl games per Bylaw 17.11.6.2.1-(c). The participants in the two post-season bowl
             games will be selected by Football Bowl Subdivision conferences and independent institutions.
         (e) NAIA Championship. Games play in the National Association of Intercollegiate Athletics (NAIA) football
             championship;
         (f) Foreign Tour. The football games played on a foreign tour, provided the tour occurs only once in a four-year
             period and is conducted by the member institution in accordance with the procedures set forth in Bylaw 17.32;
         (g) Hawaii, Alaska, Puerto Rico. Any football games played in Hawaii, Alaska, or Puerto Rico, respectively, either
             against or under the sponsorship of an active member institution located in Hawaii, Alaska or Puerto Rico, by a
             Division I member institution located outside the areas in question; and
         (h) Celebrity Sports Activity. Competition involving a limit of two student-athletes from a member institution's
             football team who participate in local celebrity football activities conducted for the purpose of raising funds for
             charitable organizations, provided:
              (1) The student-athletes do not miss classes as a result of the participation;
              (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
              (3) The activity takes place within a 30-mile radius of the institution's main campus.
         17.11.6.2.2 Championship Subdivision. [FCS] In championship subdivision football, the maximum number of
         football contests shall exclude the following: (Revised: 1/10/90, Adopted: 1/10/91, 1/19/92, 1/16/93 effective 8/1/93,
         1/13/98 effective 8/1/98, 2/16/00, 12/15/06, 10/28/10, 6/8/15)
         (a) Spring Game. One contest at the conclusion of the spring practice period [see Bylaw 17.11.5-(a)], provided the
             contest is against a team composed of bona fide alumni or students or both;
         (b) Celebration Bowl. Participation in the Celebration Bowl held between representatives of the Mid-Eastern
             Athletic Conference and the Southwestern Athletic Conference, which shall meet the reporting requirements set
             forth in Bylaw 18.7.2 in order to be exempt;
         (c) Twelve-Member Conference Championship Game. A conference championship game between division
             champions of a member conference of 12 or more institutions that is divided into two divisions (of six or more
             institutions each), each of which conducts round-robin, regular-season competition among the members of that
             division;
         (d) Championship Subdivision Conference Tournament. A conference-sponsored, season-ending postseason
             tournament (one between teams that are not identified until the end of the preceding regular season), not to
             exceed one contest for any member institution. This provision does not preclude an institution from participating
             in a conference-sponsored season-ending postseason tournament and additional postseason football opportunities
             (e.g., NCAA Championship, Celebration Bowl) during the same season;
         (e) NCAA Championship. Games played in the NCAA Division I Football Championship;
         (f) NCAA Championship Play-in-Competition. Competition in play-in contests conducted before the NCAA
             championship;
         (g) NAIA Championship. Games play in the National Association of Intercollegiate Athletics (NAIA) football
             championship;
         (h) Foreign Tour. The football games played on a foreign tour, provided the tour occurs only once in a four-year
             period and is conducted by the member institution in accordance with the procedures set forth in Bylaw 17.32;
         (i) Hawaii, Alaska, Puerto Rico. Any football games played in Hawaii, Alaska, or Puerto Rico, respectively, either
             against or under the sponsorship of an active member institution located in Hawaii, Alaska or Puerto Rico, by a
             Division I member institution located outside the areas in question; and
         (j) Celebrity Sports Activity. Competition involving a limit of two student-athletes from a member institution's
             football team who participate in local celebrity football activities conducted for the purpose of raising funds for
             charitable organizations, provided:
              (1) The student-athletes do not miss classes as a result of the participation;
              (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
              (3) The activity takes place within a 30-mile radius of the institution's main campus.


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17.11.7 Out-of-Season Athletically Related Activities. [FBS/FCS] Student-athletes and members of the coaching
staff shall not engage in countable athletically related activities outside the playing season, except as set forth in this bylaw (see
Bylaw 17.1.7.2): (Revised: 4/24/03 effective 5/1/03, 3/10/04, 1/8/07 effective 5/1/07)
    17.11.7.1 Conditioning Activities -- Bowl Subdivision. [FBS] In bowl subdivision football, student-athletes may
    participate in conditioning activities pursuant to Bylaw 17.1.7.2 as follows: (Revised: 1/16/10)
         17.11.7.1.1 January 1 Until the Start of Preseason Practice. [FBS] In bowl subdivision football, between
         January 1 and the institution's reporting date for preseason practice, an institution shall conduct its out-of-season
         conditioning period as follows: (Adopted: 4/14/03 effective 5/1/03, Revised: 4/24/03 effective 5/1/03, 12/15/06, 1/14/08,
         1/16/10, 7/1/11, 12/6/11, 10/30/13, 4/26/17, 1/23/19)
          (a) An institution shall designate eight weeks as student-athlete discretionary time (see Bylaw 17.02.15). The
              designated eight weeks (each week must be seven consecutive calendar days) must be placed on file in writing in
              the department of athletics prior to January 1. An institution is permitted to designate institutional vacation
              periods (e.g., holiday break, spring break) as student-athlete discretionary time.
          (b) Required conditioning, weight-training activities, review of game film and walk-throughs (see Bylaw 17.02.20)
              shall remain permissible during the academic year outside the eight weeks designated as student-athlete
              discretionary time. A student-athlete's participation in such activities shall be limited to a maximum of eight hours
              per week, of which not more than two hours per week may be spent on the viewing of game film and participating
              in walk-throughs.
          (c) Spring football practice per Bylaw 17.11.7.5 shall remain permissible outside the eight weeks.
          (d) An institution shall designate nine consecutive weeks between the conclusion of the academic year and its
              reporting date for preseason practice as its summer conditioning period. During this nine-week period, institutions
              shall designate one week as student-athlete discretionary time (in addition to the eight weeks already designated).
          (e) During the remaining eight weeks of the summer conditioning period, student-athletes may be involved in
              voluntary weight training and conditioning activities pursuant to Bylaw 17.1.7.2.1 and prospective student-
              athletes may be involved in voluntary weight training and conditioning activities pursuant to Bylaw 13.11.3.8.
              Such activities are limited to eight hours per week. In addition, student-athletes may participate in required
              summer athletic activities pursuant to Bylaw 17.1.7.2.1.6.2.
          (f) All remaining days between the conclusion of the academic year and the institution's reporting date for preseason
              practice that are not part of the institution's designated summer conditioning period and not already designated as
              student-athlete discretionary time shall be considered student-athlete discretionary time.
              17.11.7.1.1.1 National Service Academies. [FBS] National service academies shall be subject to the
              restrictions governing conditioning activities in Bylaw 17.11.7.1.1, except that they shall be able to designate nine
              weeks of student-athlete discretionary time between January 1 and the start of the preseason practice period.
              (Adopted: 4/29/04 effective 8/1/04, Revised: 12/15/06)
    17.11.7.2 Conditioning Activities -- Championship Subdivision. [FCS] In championship subdivision football,
    student-athletes may participate in conditioning activities pursuant to Bylaw 17.1.7.2. Between the conclusion of the
    academic year and the institution's reporting date for the preseason practice, an institution shall conduct its summer
    conditioning period as follows: (Adopted: 4/24/03 effective 5/1/03, Revised: 1/14/08, 1/16/10, 10/30/13)
     (a) An institution shall designate nine consecutive weeks as its summer conditioning period. During this nine-week period,
         institutions shall designate one week as student-athlete discretionary time.
     (b) During the remaining eight weeks of the summer conditioning period, student-athletes may be involved in voluntary
         weight training and conditioning activities pursuant to Bylaw 17.1.7.2.1 and prospective student-athletes may be
         involved in voluntary weight training and conditioning activities pursuant to Bylaw 13.11.3.8. Such activities are
         limited to eight hours per week. In addition, student-athletes may participate in required summer athletic activities
         pursuant to Bylaw 17.1.7.2.1.6.2.
     (c) All remaining days between the conclusion of the academic year and the institution's reporting date for preseason
         practice that are not part of the institution's designated summer conditioning period and not already designated as
         student-athlete discretionary time shall be considered student-athlete discretionary time.
    17.11.7.3 Strength and Conditioning Coach First Aid/CPR Certification and Authority of Sports Medicine
    Staff. [FBS/FCS] A strength and conditioning coach who conducts voluntary weight training or conditioning activities is
    required to maintain certification in first aid and cardiopulmonary resuscitation. In addition, a member of the institution's
    sports medicine staff (e.g., athletic trainer, physician) must be present during all voluntary conditioning activities (running,

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    not lifting) conducted by the institution's strength coach. The sports medicine staff member must be empowered to have
    the unchallengeable authority to cancel or modify the workout for health and safety reasons, as the staff member deems
    appropriate. (Adopted: 4/24/03 effective 5/1/03)
    17.11.7.4 Postseason Practice Session. [FBS/FCS] An institution may conduct one postseason practice session before
    the end of the institution’s academic year for the purpose of conducting a professional tryout or workout activity, subject to
    the following conditions: (Adopted: 4/25/18 effective 8/1/18)
     (a) A student-athlete may not miss class to participate;
     (b) The session shall be conducted on the institution’s campus or in facilities regularly used by the institution for practice
         or competition;
     (c) The session shall not involve contact and student-athletes shall not wear protective equipment (e.g. helmet, shoulder
         pads, spider pads, padded undergarments); and
     (d) The amount of time that a student-athlete is involved in such countable athletically related activities shall be limited to
         a maximum of four hours.
    17.11.7.5 Spring Practice. [FBS/FCS] Fifteen postseason practice sessions [including intrasquad scrimmages and the
    spring game permitted in Bylaw 17.11.6.2-(a)] are permissible. An institution is not required to count as one of its 15
    designated days any day during which countable athletically related activities are limited solely to required conditioning
    activities, review of game film and/or walk-throughs (see Bylaw 17.02.20). Practice sessions must meet the following
    conditions: (Revised: 1/10/90, 1/10/91, 1/10/92, 1/11/94, 1/13/98, 6/21/01, 1/9/06 effective 8/1/06, 12/15/06, 4/26/17,
    1/19/22, 2/9/22)
     (a) All practice sessions are conducted within a period of 34 consecutive calendar days, omitting vacation and examination
         days officially announced on the institution's calendar and days during which the institution is closed due to inclement
         weather.
     (b) Any such practice sessions held during vacation days may not be of longer duration than those normally held when
         academic classes are in session.
     (c) Only 12 of the practice sessions may involve contact, and such contact shall not occur prior to the third practice
         session.
     (d) The noncontact practice sessions may involve headgear as the only piece of protective equipment.
     (e) Of the 12 permissible contact sessions, eight sessions may involve tackling, and not more than three of the eight
         tackling sessions may be devoted primarily (greater than 50 percent of practice time) to 11-on-11 scrimmages.
     (f) An institution shall not conduct full contact (tackling to the ground) practices on consecutive calendar days.
     (g) An institution shall not conduct more than a total of 75 minutes of full contact (tackling to the ground) within any one
         on-field practice session other than the three tackling sessions devoted primarily to 11-on-11 scrimmages.
     (h) Tackling shall be prohibited in four of the 12 contact sessions. An institution has the discretion to determine the
         practice activities (other than tackling) that may occur during the four contact nontackling sessions as well as the
         protective equipment to be worn by the student-athletes.
     (i) If an institution conducts a "spring game" per Bylaw 17.11.6.2-(a), the game shall be counted as one of the three
         sessions that may be devoted primarily to 11-on-11 scrimmages.
     (j) The amount of time that a student-athlete may be involved in such postseason countable athletically related activities
         shall be limited to a maximum of four hours per day and 20 hours per week.
    17.11.7.6 Summer Practice. [FBS/FCS] Practice that is organized or financially supported by a member institution
    shall be prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official
    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by
    student-athletes engaged in voluntary athletically related activities in their sport. (Adopted: 4/28/05, Revised: 9/27/05,
    11/1/07 effective 8/1/08)
17.11.8 Camps or Clinics. [FBS/FCS] There are no limits on the number of student-athletes with eligibility remaining in
football who may be employed (e.g., as counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes
may not participate as campers in their institution’s camps or clinics. (Revised: 1/11/89, 1/11/94, 1/10/95, 5/9/06, 12/15/06,
1/19/13 effective 8/1/13)
17.11.9 Other Restrictions. [FBS/FCS]
    17.11.9.1 Noncollegiate, Amateur Competition. [FBS/FCS]

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         17.11.9.1.1 During Academic Year. [FBS/FCS] A student-athlete in football who participates during the
         academic year as a member of any outside football team in any noncollegiate, amateur competition (e.g., tournament
         play, exhibition games or other activity) except while representing the institution in intercollegiate football competition
         shall be ineligible for intercollegiate football competition unless eligibility is restored by the Committee on Student-
         Athlete Reinstatement (see Bylaw 17.34.3 for exceptions). (Adopted: 1/10/91 effective 8/1/91, Revised: 1/16/93, 4/22/14)
              17.11.9.1.1.1 Vacation-Period Exception. [FBS/FCS] A student-athlete may compete outside the
              institution's declared playing and practice season as a member of an outside team in any noncollegiate, amateur
              competition during any official vacation period published in the institution's catalog. The number of student-
              athletes from any one institution shall not exceed five. (Adopted: 1/11/94)
    17.11.9.2 Postseason Football Contests. [FBS/FCS] A member institution shall not participate in any noncollegiate
    or nonconference-sponsored postseason football game unless it satisfies the provisions of Bylaw 18.7 and the NCAA
    postseason football handbook. (Revised: 2/1/05, 11/1/07 effective 8/1/08, 10/27/11 effective 4/1/12)
17.12 Golf. Regulations for computing the golf playing season are set forth in Bylaw 17.1. (See Figure 17-1 and Figure
17-2.)
17.12.1 Length of Playing Season. The length of an institution's playing season in golf shall be limited to a 144-day
season, which may consist of two segments (each consisting of consecutive days) and which may exclude only required off days
(see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-examination periods during which no
practice or competition shall occur. (Revised: 1/10/91 effective 8/1/91, 1/14/97 effective 8/1/97)
    17.12.1.1 Exception -- East Lake Cup. Participation in the East Lake Cup is excluded from an institution's 144-day
    season. (Adopted: 4/26/17 effective 8/1/17)
17.12.2 Preseason Practice. An institution shall not commence practice sessions in golf before September 1 or five days
before the institution's first day of classes for the fall term, whichever is earlier. (Revised: 1/14/97 effective 8/1/97, 5/1/19 effective
8/1/19)
    17.12.2.1 Exception -- Fall Conference Championship. An institution that is a member of a conference that
    conducts its only conference championship in golf during the fall may commence practice August 24 or the first day in
    which classes are scheduled for the institution's fall term, whichever date occurs earlier. (Adopted: 4/20/99 effective 8/1/99)
    17.12.2.2 Exception -- Topy Cup. An institution selected to participate in the Topy Cup may commence practice
    sessions five days before the practice round of the event. (Adopted: 1/14/12 effective 8/1/12)
17.12.3 First Date of Competition. An institution shall not engage in its first date of competition (match or practice
match) with outside competition in golf before September 1 or five days before the institution's first day of classes for the fall
term, whichever is earlier. (Revised: 1/14/97 effective 8/1/97, 5/1/19 effective 8/1/19)
    17.12.3.1 Exception -- Topy Cup. An institution may participate in the Topy Cup before the date specified for the first
    date of competition in Bylaw 17.12.3. (Adopted: 1/14/12 effective 8/1/12)
17.12.4 End of Regular Playing Season. An institution shall conclude all practice and competition (meets and practice
meets) in golf by the conclusion of the NCAA Division I Golf Championships. (Revised: 1/14/97 effective 8/1/97)
17.12.5 Number of Dates of Competition.
    17.12.5.1 Maximum Limitations -- Institutional. An institution shall limit its total playing schedule with outside
    competition in golf during the permissible golf playing season to 24 dates of competition, except for those dates of
    competition excluded under Bylaws 17.12.5.2 and 17.12.5.3 (see Bylaw 20.10.6.3 for minimum contests and participants
    requirements). (Revised: 1/10/91 effective 8/1/91, 4/26/07 effective 8/1/07, 1/12/08 effective 8/1/08)
         17.12.5.1.1 Tournament Limitations. [#] No tournament shall exceed three days. A "college-am" fundraiser may
         be excluded from this limitation, provided the event is held the day prior to a three-day tournament and no practice
         round is played prior to the day of the "college-am." (Adopted: 1/10/91 effective 8/1/91, Revised: 1/11/94 effective 8/1/94)
         17.12.5.1.2 Determination of Date of Competition. An institution shall be considered to have used a date of
         competition in golf if five or more student-athletes participate on behalf of the institution or any number of student-
         athletes contribute to a team score on a particular date. (Revised: 1/15/09 effective 8/1/09)
         17.12.5.1.3 In-Season Foreign Competition. An institution may play one or more of its countable dates of
         competition in golf in one or more foreign countries on one trip during the prescribed playing season. However, except
         for competition in Canada and Mexico or on a certified foreign tour (see Bylaw 17.32), the institution may not engage
         in such in-season foreign competition more than once every four years.


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         17.12.5.1.4 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate in each
         academic year in not more than 24 dates of competition in golf (this limitation includes those dates of competition in
         which the student represents the institution in accordance with Bylaw 17.02.8, including competition as a member of
         the varsity, junior varsity or freshman team of the institution). (Revised: 1/10/91 effective 8/1/91, 4/26/07 effective
         8/1/07, 1/12/08 effective 8/1/08)
    17.12.5.2 Annual Exemptions. The maximum number of dates of competition in golf shall exclude the following:
    (Revised: 1/10/91, Adopted: 1/9/96 effective 8/1/96, 9/6/00, 1/14/08 effective 8/1/08, 4/30/09 effective 8/1/09, 4/26/17 effective
    8/1/17, 1/23/20, 5/19/22 effective 8/1/22)
     (a) Conference Championship. Competition in one conference championship tournament in golf;
     (b) Season-Ending Event. Competition in one season-ending event (e.g., NCAA championships). A season-ending
         event involves competition after the end of the regular season between teams that are not identified until the close of
         the regular season;
     (c) Alumni Match. One date of competition in golf each year against an alumni team of the institution;
     (d) Foreign Team in the United States. One date of competition in golf each year with a foreign opponent in the
         United States;
     (e) Hawaii or Alaska. The dates of competition of one event (e.g., dual competition, tournament) in golf in Hawaii or
         Alaska, respectively, either against or under the sponsorship of an active Division I member located in Hawaii or
         Alaska, by a member located outside the area in question;
     (f) Fundraising Activity. Any golf activities in which student-athletes from more than one of the institution's athletics
         teams or in which team members of that sport participate with and against alumni and friends of the institution, the
         purpose of which is to raise funds for the benefit of the institution's athletics or other programs, provided the student-
         athletes do not miss classes as a result of their participation (see Bylaw 12.5.1.1);
     (g) Celebrity Sports Activity. Competition involving a limit of two student-athletes from the institution's golf team
         who participate in local celebrity golf activities conducted for the purpose of raising funds for charitable organizations,
         provided:
          (1) The student-athletes do not miss classes as a result of the participation;
          (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
          (3) The activity takes place within a 30-mile radius of the institution's main campus.
     (h) College-Am Event. A "college-am" golf tournament, provided the event is held in conjunction with intercollegiate
         competition and student-athletes do not receive awards or prizes for such participation;
     (i) Conference Playoff. Conference playoff competition involving institutions that tie for a conference championship.
         Such teams may participate in a single conference championship playoff to determine the conference's automatic entry
         into an NCAA championship without the event being counted as a postseason tournament;
     (j) U.S. National Team. One date of competition against any team as selected and designated by the appropriate
         national governing body for golf as a U.S. national team (e.g., "Under-21" U.S. national team);
     (k) College All-American Golf Classic. Competition in the College All-American Golf Classic shall be exempt,
         provided not more than two student-athletes from the institution participate and the event is limited to two dates of
         competition;
     (l) East Lake Cup. Competition in the East Lake Cup; and
     (m) Augusta National Women's Amateur. Competition in the Augusta National Women's Amateur.
    17.12.5.3 Once-in-Four-Years Exemption -- Foreign Tour. An institution may exempt a foreign tour from its
    maximum number of dates of competition, provided the tour occurs only once in a four-year period and is conducted by
    the institution in accordance with the procedures set forth in Bylaw 17.32. (Adopted: 1/9/96 effective 8/1/96, Revised:
    4/26/07 effective 8/1/07)
17.12.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff shall not
engage in countable athletically related activities outside the institution's declared playing season per Bylaw 17.12.1 except as
permitted in Bylaw 17.1.7.2. (Revised: 1/10/91)
    17.12.6.1 Summer Practice. Practice that is organized or financially supported by an institution shall be prohibited
    during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official interpretations. An
    institution may pay fees associated with the use of institutional practice and competition facilities by student-athletes

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    engaged in voluntary athletically related activities in their sport. (Revised: 1/10/91 effective 8/1/91, 1/10/92, 4/28/05, 11/1/07
    effective 8/1/08)
    17.12.6.2 Vacation Period and Summer-Workout Sessions. A coach may participate in individual-workout
    sessions with student-athletes from the coach's team during any institutional vacation period and/or the summer, provided
    the request for such assistance is initiated by the student-athlete. (Adopted: 1/10/92, Revised: 1/11/94, 4/28/05, 4/25/18)
17.12.7 Camps and Clinics. There are no limits on the number of student-athletes in golf who may be employed (e.g., as
counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not participate as campers in their
institution's camps or clinics. (Revised: 1/10/92)
17.12.8 Other Restrictions.
    17.12.8.1 Noncollegiate, Amateur Competition.
         17.12.8.1.1 During Academic Year. A student-athlete in golf who participates during the academic year as a
         member of any outside golf team in any noncollegiate, amateur competition (e.g., tournament play, exhibition meets
         or other activity) except while representing the institution in intercollegiate golf competition shall be ineligible for
         intercollegiate golf unless eligibility is restored by the Committee on Student-Athlete Reinstatement (see Bylaw 17.34.3
         for exceptions). (Revised: 1/10/91 effective 8/1/91, 1/16/93 effective 8/1/93, 10/3/05)
              17.12.8.1.1.1 Vacation-Period Exception. A student-athlete may compete outside the institution's declared
              playing and practice season as a member of an outside team in any noncollegiate, amateur competition during any
              official vacation period published in the institution's catalog. The number of student-athletes from any one
              institution shall not exceed two. (Adopted: 1/11/94 effective 8/1/94)
         17.12.8.1.2 Out of Season. There are no limits on the number of student-athletes with eligibility remaining in
         intercollegiate golf who may practice or compete out of season on an outside amateur golf team (competition on an
         outside team permitted only during the summer except as provided in Bylaw 17.12.8.1.1.1). (Revised: 1/10/91 effective
         8/1/91, 1/16/93)
              17.12.8.1.2.1 Involvement of Coaching Staff. No member of the coaching staff may be involved in any
              capacity (e.g., coach, official, player or league/team administrator) during the academic year (including vacation
              periods during the academic year) with an outside team that involves any student-athlete with eligibility remaining
              from the institution's golf team except as provided under Bylaws 17.1.1.1, 17.32 and 17.34.3. (Revised: 4/28/05
              effective 8/1/05)
              17.12.8.1.2.2 Olympic, Paralympic and National Team Development Program. There are no limits on
              the number of student-athletes from the same institution who may participate in Olympic, Paralympic and
              national team development programs. Such programs may also include a coach and student-athlete from the same
              institution, provided: (Revised: 2/21/02, 4/28/11, 1/22/20)
               (a) The national governing body conducts and administers the developmental program;
               (b) The national governing body selects coaches involved in the developmental program; and
               (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                   one particular institution, selects the involved participants.
    17.12.8.2 Equipment Issue, Squad Pictures. No limitations. (Revised: 1/16/93 effective 8/1/93)
17.13 Gymnastics. Regulations for computing the gymnastics playing season are set forth in Bylaw 17.1. (See Figure
17-1 and Figure 17-2.)
17.13.1 Length of Playing Season. The length of an institution's playing season in gymnastics shall be limited to a 144-
day season, which may consist of two segments (each consisting of consecutive days) and which may exclude only required off
days (see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-examination periods during which no
practice or competition shall occur. (Revised: 1/10/91 effective 8/1/91, 1/14/97 effective 8/1/97)
17.13.2 Preseason Practice. A member institution shall not commence practice sessions in gymnastics prior to September
7 or the institution's first day of classes for the fall term, whichever is earlier. (Revised: 1/10/91 effective 8/1/91, 1/10/95 effective
8/1/95, 1/14/97 effective 8/1/97)
17.13.3 First Date of Competition. A member institution shall not engage in its first date of competition (meet or
practice meet) with outside competition in gymnastics prior to September 7 or the institution's first day of classes for the fall
term, whichever is earlier. (Revised: 1/10/91 effective 8/1/91, 1/10/95 effective 8/1/95, 1/14/97 effective 8/1/97)


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17.13.4 End of Regular Playing Season. A member institution shall conclude all practice and competition (meets and
practice meets) in gymnastics by the conclusion of the USA Gymnastics or National College Gymnastics Association (NCGA)
collegiate gymnastics championships, whichever is later. (Revised: 1/10/91 effective 8/1/91, 1/14/97, 4/27/00)
17.13.5 Number of Dates of Competition.
    17.13.5.1 Maximum Limitations -- Institutional. A member institution shall limit its total playing schedule with
    outside competition in gymnastics during the permissible gymnastics playing season to 13 dates of competition except for
    the dates of competition excluded under Bylaws 17.13.5.2 and 17.13.5.3 (see Bylaw 20.10.6.3 for minimum contests and
    participants requirements). (Revised: 1/10/91 effective 8/1/91, 1/16/93)
         17.13.5.1.1 In-Season Foreign Competition. A member institution may engage in one or more of its countable
         gymnastics dates of competition in one or more foreign countries on one trip during the prescribed playing season.
         However, except for competition in Canada and Mexico or on a certified foreign tour (see Bylaw 17.32), the
         institution may not engage in such in-season foreign competition more than once every four years.
         17.13.5.1.2 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate in each
         academic year in not more than 13 dates of competition in gymnastics. This limitation includes those dates of
         competition in which the student represents the institution in accordance with Bylaw 17.02.8, including competition
         as a member of the varsity, junior varsity or freshman team of the institution. (Revised: 1/10/91 effective 8/1/91,
         1/16/93)
    17.13.5.2 Annual Exemptions. The maximum number of dates of competition in gymnastics shall exclude the
    following: (Revised: 1/9/96 effective 8/1/96, 9/6/00, 4/26/01 effective 8/1/01, 2/24/03, 5/19/22 effective 8/1/22)
     (a) Conference Championship. Competition in one conference championship meet in gymnastics;
     (b) Season-Ending Event. Competition in one season-ending event (e.g., NCAA championship). A season-ending
         event involves competition after the end of the regular season between teams that are not identified until the close of
         the regular season;
     (c) Alumni Meet. One date of competition in gymnastics each year against an alumni team of the institution;
     (d) Foreign Team in United States. One date of competition in gymnastics each year with a foreign opponent in the
         United States;
     (e) Hawaii or Alaska. Any dates of competition in gymnastics in Hawaii or Alaska, respectively, against an active
         Division I member institution located in Hawaii or Alaska, by a member located outside the area in question;
     (f) Fundraising Activity. Any gymnastics activities in which student-athletes from more than one of the institution's
         athletics teams participate with and against alumni and friends of the institution, the purpose of which is to raise funds
         for the benefit of the institution's athletics or other programs, provided the student-athletes do not miss classes as a
         result of their participation (see Bylaw 12.5.1.1);
     (g) Celebrity Sports Activity. Competition involving a limit of two student-athletes from a member institution's
         gymnastics team who participate in local celebrity gymnastics activities conducted for the purpose of raising funds for
         charitable organizations, provided:
          (1) The student-athletes do not miss classes as a result of the participation;
          (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
          (3) The activity takes place within a 30-mile radius of the institution's main campus.
     (h) U.S. National Team. One date of competition played against any team as selected and designated by the appropriate
         national governing body for gymnastics as a U.S. national team (e.g., "Under-21" U.S. national team).
    17.13.5.3 Once-in-Four-Years Exemption -- Foreign Tour. The contests played on a foreign tour, provided the tour
    is conducted by the member institution in accordance with the procedures set forth in Bylaw 17.32. (Adopted: 1/9/96
    effective 8/1/96, Revised: 4/26/07 effective 8/1/07)
17.13.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff at the
student-athlete's institution shall not engage in countable athletically related activities (see Bylaw 17.02.1) outside the
institution's declared playing season per Bylaw 17.13.1 except as permitted in Bylaw 17.1.7.2. (Revised: 1/10/91 effective 8/1/91)
    17.13.6.1 Summer Practice. Practice that is organized or financially supported by a member institution shall be
    prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official
    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by


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    student-athletes engaged in voluntary athletically related activities in their sport. (Revised: 1/10/91 effective 8/1/91, 1/10/92,
    4/28/05, 11/1/07 effective 8/1/08)
    17.13.6.2 Vacation Period and Summer-Workout Sessions. A coach may participate in individual-workout
    sessions with student-athletes from the coach's team during any institutional vacation period and/or the summer, provided
    the request for such assistance is initiated by the student-athlete. (Adopted: 1/10/92, Revised: 1/11/94, 4/28/05, 4/25/18)
17.13.7 Safety Exception. A coach may be present during voluntary individual workouts in the institution's regular
practice facility (without the workouts being considered as countable athletically related activities) when the student-athlete uses
gymnastics equipment. The coach may provide safety instruction and skill instruction, but may not conduct the individual's
workouts. (Adopted: 1/10/91 effective 8/1/91)
17.13.8 Camps and Clinics. There are no limits on the number of student-athletes in gymnastics who may be employed
(e.g., as counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not participate as campers in
their institution's camps or clinics. (Revised: 1/10/92)
17.13.9 Other Restrictions.
    17.13.9.1 Noncollegiate, Amateur Competition.
         17.13.9.1.1 During Academic Year. A student-athlete in gymnastics who participates during the academic year as
         a member of any outside gymnastics team in any noncollegiate, amateur competition (e.g., tournament, exhibition
         meets or other activity) except while representing the institution in intercollegiate gymnastics competition shall be
         ineligible for intercollegiate gymnastics competition unless eligibility is restored by the Committee on Student-Athlete
         Reinstatement (see Bylaw 17.34.3 for exceptions). (Revised: 1/10/91 effective 8/1/91, 1/16/93, 10/3/05)
              17.13.9.1.1.1 Vacation-Period Exception. A student-athlete may compete outside the institution's declared
              playing and practice season as a member of an outside team in any noncollegiate, amateur competition during any
              official vacation period published in the institution's catalog. The number of student-athletes from any one
              institution shall not exceed two. (Adopted: 1/11/94 effective 8/1/94)
         17.13.9.1.2 Out of Season. There are no limits on the number of student-athletes from the same member
         institution with eligibility remaining in intercollegiate gymnastics who may practice or compete out of season on an
         outside amateur gymnastics team (competition on an outside team permitted only during the summer except as
         provided in Bylaw 17.13.9.1.1.1). (Revised: 1/10/91 effective 8/1/91, 1/16/93)
              17.13.9.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of a member institution
              may be involved in any capacity (e.g., coach, official, player or league/team administrator) during the academic
              year (including vacation periods during the academic year) with an outside team that involves any student-athlete
              with eligibility remaining from the institution's gymnastics team except as provided under Bylaws 17.1.1.1, 17.32
              and 17.34.3. (Revised: 4/28/05 effective 8/1/05)
              17.13.9.1.2.2 Olympic, Paralympic and National Team Development Program. There are no limits on
              the number of student-athletes from the same institution who may participate in Olympic, Paralympic and
              national team development programs. Such programs may also include a coach and student-athlete from the same
              institution, provided: (Revised: 2/21/02, 4/28/11, 1/22/20)
               (a) The national governing body conducts and administers the developmental program;
               (b) The national governing body selects coaches involved in the developmental program; and
               (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                   one particular institution, selects the involved participants.
    17.13.9.2 Equipment Issue, Squad Pictures. No limitations.
17.14 Ice Hockey. Regulations for computing the ice hockey playing season are set forth in Bylaw 17.1. (See Figure
17-1 and Figure 17-2.) (Revised: 1/9/96 effective 8/1/96, 5/30/08)
17.14.1 Length of Playing Season. The length of an institution's playing season in ice hockey shall be limited to a 132-
day season, which may consist of two segments (each consisting of consecutive days) and which may exclude only required off
days (see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-examination periods during which no
practice or competition shall occur. (Revised: 1/10/91 effective 8/1/91, 1/14/97 effective 8/1/97)
17.14.2 Preseason Practice. In men's ice hockey, an institution shall not commence practice sessions prior to the Monday
before the 25th full weekend prior to the start of the NCAA Division I Men's Ice Hockey Championship. In women's ice
hockey, an institution shall not commence practice sessions prior to the Monday before the 25th full weekend prior to the start

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of the National Collegiate Women's Ice Hockey Championship. (Revised: 1/10/91 effective 8/1/91, 1/14/97 effective 8/1/97,
11/1/01 effective 8/1/04, 3/16/07, 5/19/22 effective 8/1/22)
17.14.3 First Contest. In men's ice hockey, an institution shall not play its first contest (game or scrimmage) with outside
competition prior to the Saturday of the 25th full weekend prior to the start of the NCAA Division I Men's Ice Hockey
Championship. In women's ice hockey, an institution shall not play its first contest (game or scrimmage) with outside
competition prior to the Saturday of the 25th full weekend prior to the start of the National Collegiate Women's Ice Hockey
Championship. (See Figure 17-2.) (Revised: 1/10/95 effective 8/1/95, 3/16/07)
17.14.4 End of Regular Playing Season. A member institution shall conclude all practice and competition (games and
scrimmages) in each segment in ice hockey by the last day of final examinations for the regular academic year at the institution.
(Revised: 1/14/97 effective 8/1/97)
17.14.5 Number of Contests.
    17.14.5.1 Maximum Limitations -- Institutional. A member institution shall limit its total playing schedule with
    outside competition during the institution's ice hockey playing season to 34 contests (games or scrimmages), except for
    those contests excluded under Bylaws 17.14.5.3 and 17.14.5.4. (Revised: 1/10/91 effective 8/1/91, 1/9/96 effective 8/1/96)
         17.14.5.1.1 In-Season Foreign Competition. A member institution may play one or more of its countable
         contests in ice hockey in one or more foreign countries on one trip during the prescribed playing season. However,
         except for contests played in Canada and Mexico or on a certified foreign tour (see Bylaw 17.32), the institution may
         not engage in such in-season foreign competition more than once every four years.
    17.14.5.2 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate in each academic
    year in 34 contests (this limitation includes those contests in which the student represents the institution in accordance with
    Bylaw 17.02.8, including competition as a member of the varsity, junior varsity or freshman team of the institution).
    (Revised: 1/10/91 effective 8/1/91)
    17.14.5.3 Annual Exemptions. The maximum number of ice hockey contests shall exclude the following: (Adopted:
    1/16/93, 1/9/96 effective 8/1/96, Revised: 9/6/00, 2/24/03, 11/22/04, 1/14/08, 4/25/18, 1/22/20, 5/19/22 effective 8/1/22)
     (a) Conference Championship. Competition in one conference championship tournament in ice hockey (or the
         tournament used to determine the conference's automatic entry in an NCAA ice hockey championship);
     (b) Conference Playoff. Competition involving member institutions that tie for a conference championship. Such
         teams may participate in a single-elimination playoff to determine the conference's automatic entry in an NCAA ice
         hockey championship without the game(s) being counted as a postseason tournament;
     (c) NCAA Championship Play-In Competition. Competition in play-in contests conducted before NCAA
         championships;
     (d) Season-Ending Event. Competition in one season-ending event (e.g., NCAA championship). A season-ending
         event involves competition after the end of the regular season between teams that are not identified until the close of
         the regular season;
     (e) Alumni Game. One ice hockey contest each year against an alumni team of the institution;
     (f) Foreign Team in the United States. One ice hockey contest each year with a foreign opponent in the United
         States;
     (g) Hall of Fame Game. The one ice hockey game between two Division I intercollegiate teams conducted by the U.S.
         Hockey Hall of Fame;
     (h) U.S. Olympic or Paralympic Team. One ice hockey contest each year against the U.S. Olympic or Paralympic ice
         hockey team during that team's training for participation in the Winter Olympics;
     (i) Hawaii or Alaska. Any games played in Hawaii or Alaska, respectively, against an active Division I member
         institution located in Hawaii or Alaska, by a member located outside the area in question;
     (j) Fundraising Activity. Any ice hockey activities in which student-athletes from more than one of the institution's
         athletics teams participate with and against alumni and friends of the institution, the purpose of which is to raise funds
         for the benefit of the institution's athletics or other programs, provided the student-athletes do not miss classes as a
         result of their participation (see Bylaw 12.5.1.1);
     (k) Celebrity Sports Activity. Competition involving a limit of two student-athletes from a member institution's ice
         hockey team who participate in local celebrity ice hockey activities conducted for the purpose of raising funds for
         charitable organizations, provided:
          (1) The student-athletes do not miss classes as a result of the participation;
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          (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
          (3) The activity takes place within a 30-mile radius of the institution's main campus.
     (l) U.S. National Team. One game played against any team as selected and designated by the appropriate national
         governing body for ice hockey as a U.S. national team (e.g., "Under-21" U.S. national team); and
     (m) Hockey Commissioners Association/Ice Breaker Tournaments. Competition in the men's or women's Ice
        Breaker Tournament sponsored by the Hockey Commissioners Association.
     (n) Scrimmage/Exhibition Contest. One ice hockey scrimmage or exhibition contest each year against outside
         competition.
    17.14.5.4 Once-in-Four-Years Exemption -- Foreign Tour. An institution may exempt the contests played on a
    foreign tour, provided the tour is conducted by the member institution in accordance with the procedures set forth in
    Bylaw 17.32. (Adopted: 1/9/96 effective 8/1/96, Revised: 4/26/07 effective 8/1/07)
17.14.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff shall not
engage in countable athletically related activities outside the institution's declared playing season per Bylaw 17.14.1 except as
permitted in Bylaw 17.1.7.2. (Revised: 1/10/91 effective 8/1/91)
    17.14.6.1 Summer Practice. Practice that is organized or financially supported by a member institution shall be
    prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official
    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by
    student-athletes engaged in voluntary athletically related activities in their sport. (Revised: 4/28/05, 11/1/07 effective 8/1/08)
17.14.7 Camps and Clinics. There are no limits on the number of student-athletes with eligibility remaining in ice hockey
who may be employed (e.g., as counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not
participate as campers in their institution's camps or clinics. (Revised: 1/10/92)
17.14.8 Other Restrictions.
    17.14.8.1 Noncollegiate, Amateur Competition.
         17.14.8.1.1 During Academic Year. A student-athlete in ice hockey who participates during the academic year as a
         member of any outside ice hockey team in any noncollegiate, amateur competition (e.g., tournament play, exhibition
         games or other activity) except while representing the institution in intercollegiate ice hockey competition shall be
         ineligible for intercollegiate ice hockey competition unless eligibility is restored by the Committee on Student-Athlete
         Reinstatement (see Bylaw 17.34.3 for exceptions). (Revised: 1/10/91 effective 8/1/91, 1/16/93, 10/3/05)
             17.14.8.1.1.1 Vacation-Period Exception. A student-athlete may compete outside the institution's declared
             playing and practice season as a member of an outside team in any noncollegiate, amateur competition during any
             official vacation period published in the institution's catalog. The number of student-athletes from any one
             institution shall not exceed four. (Adopted: 1/11/94 effective 8/1/94)
             17.14.8.1.1.2 Exception -- Conference All-Star Competition Against U.S. National Team. In
             women's ice hockey, a student-athlete may compete during the academic year as a member of a conference all-star
             team in up to two contests against the U.S. Women's National Ice Hockey Team in the 12 months prior to the
             Winter Olympic Games, provided the student-athlete is academically eligible for intercollegiate competition at the
             time of the competition. (Adopted: 1/17/09)
         17.14.8.1.2 Out of Season. There are no limits on the number of student-athletes with eligibility remaining in
         intercollegiate ice hockey who may practice or compete out of season on an outside, amateur ice hockey team, provided
         such competition on an outside team occurs only during the summer (except as provided in Bylaw 17.14.8.1.1.1).
         (Revised: 1/10/91 effective 8/1/91)
             17.14.8.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of a member institution
             may be involved in any capacity (e.g., coach, official, player or league/team administrator) at any time (during the
             academic year, vacation periods and summer) with an outside team that involves any student-athlete with
             eligibility remaining from the institution's ice hockey team except as provided under Bylaws 17.1.1.1, 17.32 and
             17.34.3. (Revised: 4/28/05 effective 8/1/05)
             17.14.8.1.2.2 Olympic, Paralympic and National Team Development Program. There are no limits on
             the number of student-athletes from the same institution who may participate in Olympic, Paralympic and
             national team development programs. Such programs may also include a coach and student-athlete from the same
             institution, provided: (Revised: 2/21/02, 4/28/11, 1/22/20)
              (a) The national governing body conducts and administers the developmental program;
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                (b) The national governing body selects coaches involved in the developmental program; and
                (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                    one particular institution, selects the involved participants.
    17.14.8.2 Equipment Issue, Squad Pictures. No limitations. (Revised: 1/11/89, 1/10/05)
17.15 Lacrosse. Regulations for computing the lacrosse playing season are set forth in Bylaw 17.1. (See Figure 17-1 and
Figure 17-2.)
17.15.1 Length of Playing Season. The length of an institution's playing season in lacrosse shall be limited to a 132-day
season, which may consist of two segments (each consisting of consecutive days) and which may exclude only required off days
(see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-examination periods during which no
practice or competition shall occur. (Revised: 1/10/91 effective 8/1/91, 1/14/97 effective 8/1/97)
17.15.2 Preseason Practice. (Revised: 1/14/97 effective 8/1/97, 4/26/17 effective 8/1/17, 5/19/22 effective 8/1/22)
(a) Men. An institution shall not commence practice sessions in lacrosse prior to the following dates:
     (1) Nonchampionship Segment. September 7 or the institution's first day of classes, whichever is earlier.
     (2) Championship Segment. January 7.
(b) Women. An institution shall not commence practice sessions in lacrosse prior to the following dates:
     (1) Nonchampionship Segment. September 7 or the institution's first day of classes, whichever is earlier.
     (2) Championship Segment. The third Saturday in January.
17.15.3 First Contest or Date of Competition. (Revised: 1/14/97 effective 8/1/97, 4/26/17 effective 8/1/17, 5/19/22
effective 8/1/22)
(a) Men. An institution shall not engage in its first date of competition (game or scrimmage) with outside competition in
    lacrosse prior to the following dates:
     (1) Nonchampionship Segment. September 7 or the institution's first day of classes, whichever is earlier.
     (2) Championship Segment. The Saturday that is 16 weeks before the Saturday immediately preceding the NCAA
         Men's Lacrosse Championship game.
(b) Women. An institution shall not engage in its first contest or date of competition (game or scrimmage) with outside
    competition in lacrosse prior to the following dates:
     (1) Nonchampionship Segment. September 7 or the institution's first day of classes, whichever is earlier.
     (2) Championship Segment. The Friday that is 15 weeks before the Friday immediately preceding the NCAA
         Women's Lacrosse Championship game.
    17.15.3.1 Exception -- Preseason Scrimmages/Exhibition Games. An institution may play up to three lacrosse
    scrimmages or exhibition games (which shall not count toward the institution's won-lost record) prior to the first scheduled
    regular-season contest during a particular academic year, provided such scrimmages or exhibition games are conducted
    during the institution's declared playing season per Bylaw 17.15.1 and are counted against the maximum number of
    contests (see Bylaw 17.15.5.1). Contests that would otherwise be exempted from the maximum number of contests per
    Bylaw 17.15.5.3 shall count against the maximum if they are played during the preseason practice period prior to the date
    specified for the first permissible regular-season contest. (Adopted: 4/25/18 effective 8/1/18, Revised: 5/19/22 effective 8/1/22)
17.15.4 End of Regular Playing Season. An institution shall conclude all practice and competition (games and
scrimmages) in lacrosse by the conclusion of the NCAA Division I Lacrosse Championship. (Revised: 1/14/97 effective 8/1/97)
17.15.5 Number of Contests and Dates of Competition.
    17.15.5.1 Maximum Limitations -- Institutional. (Revised: 1/10/91 effective 8/1/91, 1/14/97 effective 8/1/97, 4/26/17
    effective 8/1/17)
     (a) Men. An institution shall limit its total playing schedule with outside competition during the institution's playing
         season to 17 dates of competition, except for those dates of competition excluded under Bylaws 17.15.5.3 and
         17.15.5.4.
     (b) Women. An institution shall limit its total playing schedule with outside competition to 17 contests during the
         segment in which the NCAA championship is conducted and five dates of competition during another segment, except
         for those contests or dates of competition excluded under Bylaws 17.15.5.3 and 17.15.5.4.


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         17.15.5.1.1 In-Season Foreign Competition. An institution may engage in one or more of its countable contests
         or dates of competition in lacrosse in one or more foreign countries on one trip during the prescribed playing season.
         However, except for contests or dates of competition in Canada and Mexico or on a certified foreign tour (see Bylaw
         17.32), the institution may not engage in such in-season foreign competition more than once every four years. (Revised:
         4/26/17 effective 8/1/17)
    17.15.5.2 Maximum Limitations -- Student-Athlete. (Revised: 1/10/91 effective 8/1/91, 1/14/97 effective 8/1/97,
    4/26/17 effective 8/1/17)
     (a) Men. An individual student-athlete may participate in each academic year in not more than 17 dates of competition .
         This limitation includes those dates of competition in which the student represents the institution in accordance with
         Bylaw 17.02.8, including competition as a member of the varsity, junior varsity or freshman team of the institution.
     (b) Women. An individual student-athlete may participate in each academic year in not more than 17 contests during the
         segment in which the NCAA championship is conducted and five dates of competition during another segment. This
         limitation includes those contests or dates of competition in which the student represents the institution in accordance
         with Bylaw 17.02.8, including competition as a member of the varsity, junior varsity or freshman team of the
         institution.
    17.15.5.3 Annual Exemptions. The maximum number of contests or dates of competition in lacrosse shall exclude the
    following: (Adopted: 1/9/96 effective 8/1/96, Revised: 9/6/00, 2/24/03, 4/26/17 effective 8/1/17, 5/19/22 effective 8/1/22)
     (a) Conference Championship. Competition in one conference championship tournament in lacrosse;
     (b) NCAA Championship Play-In Competition. Competition in play-in contests conducted before the NCAA
         championship;
     (c) Season-Ending Event. Competition in one season-ending event (e.g., NCAA championship). A season-ending event
         involves competition after the end of the regular season between teams that are not identified until the close of the
         regular season;
     (d) Alumni Game. One contest or date of competition in lacrosse each year against an alumni team of the institution;
     (e) Foreign Team in the United States. One contest or date of competition in lacrosse each year with a foreign
         opponent in the United States;
     (f) Hawaii or Alaska. Any contests or dates of competition played in Hawaii or Alaska, respectively, against an active
         Division I member located in Hawaii or Alaska, by a member located outside the area in question;
     (g) Fundraising Activity. Any lacrosse activities in which student-athletes from more than one of the institution's
         athletics teams participate with and against alumni and friends of the institution, the purpose of which is to raise funds
         for the benefit of the institution's athletics or other programs, provided the student-athletes do not miss classes as a
         result of their participation (see Bylaw 12.5.1.1);
     (h) Celebrity Sports Activity. Competition involving a limit of two student-athletes from a member institution's
         lacrosse team who participate in local celebrity lacrosse activities conducted for the purpose of raising funds for
         charitable organizations, provided:
          (1) The student-athletes do not miss classes as a result of the participation;
          (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
          (3) The activity takes place within a 30-mile radius of the institution's main campus.
     (i) U.S. National Team. One contest or date of competition played against any team as selected and designated by the
         appropriate national governing body for lacrosse as a U.S. national team (e.g., "Under-21" U.S. national team).
    17.15.5.4 Once-in-Four-Years Exemption -- Foreign Tour. An institution may exempt the contests played on a
    foreign tour, provided the tour is conducted by the member institution in accordance with the procedures set forth in
    Bylaw 17.32. (Adopted: 1/9/96 effective 8/1/96, Revised: 4/26/07 effective 8/1/07)
17.15.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff shall not
engage in countable athletically related activities outside the institution's declared playing season per Bylaw 17.15.1 except as
permitted in Bylaw 17.1.7.2. (Revised: 1/10/91 effective 8/1/91)
    17.15.6.1 Summer Practice. Practice that is organized or financially supported by a member institution shall be
    prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official
    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by
    student-athletes engaged in voluntary athletically related activities in their sport. (Revised: 4/28/05, 11/1/07 effective 8/1/08)

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17.15.7 Camps and Clinics. There are no limits on the number of student-athletes in lacrosse who may be employed (e.g.,
as counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not participate as campers in their
institution's camps or clinics. (Revised: 1/10/92)
17.15.8 Other Restrictions.
    17.15.8.1 Noncollegiate, Amateur Competition.
         17.15.8.1.1 During Academic Year. A student-athlete in lacrosse who participates during the academic year as a
         member of any outside lacrosse team in any noncollegiate, amateur competition (e.g., tournament play, exhibition
         games or other activity) except while representing the institution in intercollegiate lacrosse competition shall be
         ineligible for intercollegiate lacrosse competition unless eligibility is restored by the Committee on Student-Athlete
         Reinstatement (see Bylaw 17.34.3 for exceptions). (Revised: 1/10/91 effective 8/1/91, 1/16/93, 10/3/05)
              17.15.8.1.1.1 Vacation-Period Exception. A student-athlete may compete outside the institution's declared
              playing and practice season as a member of an outside team in any noncollegiate, amateur competition during any
              official vacation period published in the institution's catalog. The number of student-athletes from any one
              institution shall not exceed five. (Adopted: 1/11/94 effective 8/1/94)
         17.15.8.1.2 Out of Season. A member institution may permit not more than five student-athletes with eligibility
         remaining in intercollegiate lacrosse to practice or compete out of season on an outside, amateur lacrosse team
         (competition on an outside team permitted only during the summer, except as provided in Bylaw 17.15.8.1.1.1).
         (Revised: 1/10/91 effective 8/1/91)
              17.15.8.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of a member institution
              may be involved in any capacity (e.g., coach, official, player or league/team administrator) at any time (during the
              academic year, vacation periods and summer) with an outside team that involves any student-athlete with
              eligibility remaining from the institution's lacrosse team except as provided under Bylaws 17.1.1.1, 17.32 and
              17.34.3. (Revised: 4/28/05 effective 8/1/05)
              17.15.8.1.2.2 Olympic, Paralympic and National Team Development Program. There are no limits on
              the number of student-athletes from the same institution who may participate in Olympic, Paralympic and
              national team development programs. Such programs may also include a coach and student-athlete from the same
              institution, provided: (Revised: 2/21/02, 4/28/11, 1/22/20)
               (a) The national governing body conducts and administers the developmental program;
               (b) The national governing body selects coaches involved in the developmental program; and
               (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                   one particular institution, selects the involved participants.
    17.15.8.2 Equipment Issue, Squad Pictures. No limitations. (Revised: 1/11/89, 1/10/05)
17.16 Rifle. Regulations for computing the rifle playing season are set forth in Bylaw 17.1. (See Figure 17-1 and Figure
17-2.)
17.16.1 Length of Playing Season. The length of an institution’s playing season in rifle shall be limited to a 144-day
season, which may consist of two segments (each consisting of consecutive days) and which may exclude only required off days
(see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-examination periods during which no
practice or competition shall occur. (Revised: 1/10/91 effective 8/1/91, 1/14/97 effective 8/1/97)
17.16.2 Preseason Practice. A member institution shall not commence practice sessions in rifle prior to September 7 or
the institution’s first day of classes for the fall term, whichever is earlier. (Revised: 1/10/91 effective 8/1/91, 1/10/95 effective
8/1/95, 1/14/97 effective 8/1/97)
17.16.3 First Date of Competition. A member institution shall not engage in its first date of competition (meet or
practice meet) with outside competition in rifle prior to September 7 or the institution’s first day of classes for the fall term,
whichever is earlier. (Revised: 1/10/91 effective 8/1/91, 1/10/95 effective 8/1/95, 1/14/97 effective 8/1/97)
17.16.4 End of Regular Playing Season. A member institution shall conclude all practice and competition (meets and
practice meets) in rifle by the last date of final examinations for the regular academic year at the institution. (Revised: 1/10/91
effective 8/1/91, 1/14/97 effective 8/1/97)
17.16.5 Number of Dates of Competition.
    17.16.5.1 Maximum Limitations -- Institutional. A member institution shall limit its total playing schedule with
    outside competition in rifle during the permissible rifle playing season to 13 dates of competition except for those dates of

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    competition excluded under Bylaws 17.16.5.3 and 17.16.5.4 (see Bylaw 20.10.6.3 for minimum contests and participants
    requirements). (Revised: 1/10/91 effective 8/1/91)
         17.16.5.1.1 Competition That Exceeds One Day. An institution that participates in a match that exceeds one
         day in duration may count the multiple-day contest as a single date of competition. However, if a student-athlete fires
         more than one score for either smallbore rifle or air rifle during a multiple-day contest, such participation will result in
         a second date of competition for the institution. (Adopted: 1/15/11 effective 8/1/11)
         17.16.5.1.2 In-Season Foreign Competition. A member institution may engage in one or more of its countable
         dates of competition in rifle in one or more foreign countries on one trip during the prescribed playing season.
         However, except for competition in Canada and Mexico or on a certified foreign tour (see Bylaw 17.32), the
         institution may not engage in such in-season foreign competition more than once every four years.
    17.16.5.2 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate in each academic
    year in not more than 13 dates of competition in rifle. This limitation includes those dates of competition in which the
    student represents the institution in accordance with Bylaw 17.02.8, including competition as a member of the varsity,
    junior varsity or freshman team of the institution. (Revised: 1/10/91 effective 8/1/91)
    17.16.5.3 Annual Exemptions. The maximum number of dates of competition in rifle shall exclude the following:
    (Revised: 1/9/96 effective 8/1/96, 9/6/00, 2/24/03, 5/19/22 effective 8/1/22)
     (a) Conference Championship. Competition in one conference championship;
     (b) Season-Ending Event. Competition in one season-ending event (e.g., NCAA championships). A season-ending
         event involves competition after the end of the regular season between teams that are not identified until the close of
         the regular season;
     (c) Alumni Match. One date of competition in rifle each year against an alumni team of the institution;
     (d) Foreign Team in the United States. One date of competition in rifle each year with a foreign opponent in the
         United States;
     (e) Hawaii or Alaska. Any dates of competition in rifle in Hawaii or Alaska, respectively, against an active member
         institution located in Hawaii or Alaska, by an active member located outside the area in question;
     (f) Fundraising Activity. Any rifle activities in which student-athletes from more than one of the institution's athletics
         teams participate with and against alumni and friends of the institution, the purpose of which is to raise funds for the
         benefit of the institution's athletics or other programs, provided the student-athletes do not miss classes as a result of
         their participation (see Bylaw 12.5.1.1);
     (g) Celebrity Sports Activity. Competition involving a limit of two student-athletes from a member institution's rifle
         team who participate in local celebrity rifle activities conducted for the purpose of raising funds for charitable
         organizations, provided:
          (1) The student-athletes do not miss classes as a result of the participation;
          (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
          (3) The activity takes place within a 30-mile radius of the institution's main campus.
     (h) U.S. National Team. One date of competition played against any team as selected and designated by the appropriate
         national governing body for rifle as a U.S. national team (e.g., "Under-21" U.S. national team).
    17.16.5.4 Once-in-Four-Years Exemption -- Foreign Tour. An institution may exempt the contests played on a
    foreign tour, provided the tour is conducted by the member institution in accordance with the procedures set forth in
    Bylaw 17.32. (Adopted: 1/9/96 effective 8/1/96, Revised: 4/26/07 effective 8/1/07)
17.16.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff at the
student-athlete's institution shall not engage in countable athletically related activities (see Bylaw 17.02.1) outside the
institution's declared playing season per Bylaw 17.16.1 except as permitted in Bylaw 17.1.7.2 (Revised: 1/10/91 effective 8/1/91)
    17.16.6.1 Summer Practice. Practice that is organized or financially supported by a member institution shall be
    prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official
    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by
    student-athletes engaged in voluntary athletically related activities in their sport. (Revised: 1/10/91 effective 8/1/91, 1/10/92,
    4/28/05, 11/1/07 effective 8/1/08)
    17.16.6.2 Vacation Period and Summer-Workout Sessions. A coach may participate in individual-workout
    sessions with student-athletes from the coach's team during any institutional vacation period and/or the summer, provided
    the request for such assistance is initiated by the student-athlete. (Adopted: 1/10/92, Revised: 1/11/94, 4/28/05, 4/25/18)
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17.16.7 Safety Exception. A coach may be present during voluntary individual workouts in the institution’s regular
practice facility (without the workouts being considered as countable athletically related activities) when the student-athlete is
shooting. The coach may provide safety or skill instruction but may not conduct the individual’s workouts. (Adopted: 1/10/91
effective 8/1/91)
17.16.8 Camps and Clinics. There are no limits on the number of student-athletes in rifle who may be employed (e.g., as
counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not participate as campers in their
institution’s camps or clinics. (Revised: 1/10/92)
17.16.9 Other Restrictions.
    17.16.9.1 Noncollegiate, Amateur Competition.
         17.16.9.1.1 During Academic Year. A student-athlete in rifle who participates during the academic year as a
         member of any outside rifle team in any noncollegiate, amateur competition (e.g., tournament play, exhibition games
         or other activity) except while representing the institution in intercollegiate rifle competition shall be ineligible for
         intercollegiate rifle competition unless eligibility is restored by the Committee on Student-Athlete Reinstatement (see
         Bylaw 17.34.3 for exceptions). (Revised: 1/10/91 effective 8/1/91, 1/16/93, 10/3/05)
              17.16.9.1.1.1 Vacation-Period Exception. A student-athlete may compete outside the institution’s declared
              playing and practice season as a member of an outside team in any noncollegiate, amateur competition during any
              official vacation period published in the institution’s catalog. The number of student-athletes from any one
              institution shall not exceed two. (Adopted: 1/11/94 effective 8/1/94)
         17.16.9.1.2 Out of Season. There are no limits on the number of student-athletes from the same member
         institution with eligibility remaining in intercollegiate rifle who may practice or compete out of season on an outside,
         amateur rifle team (competition on an outside team permitted only during the summer, except as provided in Bylaw
         17.16.9.1.1.1). (Revised: 1/10/91 effective 8/1/91, 1/16/93)
              17.16.9.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of a member institution
              may be involved in any capacity (e.g., coach, official, player or league/team administrator) during the academic
              year (including vacation periods during the academic year) with an outside team that involves any student-athlete
              with eligibility remaining from the institution's rifle team except as provided under Bylaws 17.1.1.1, 17.32 and
              17.34.3. (Revised: 4/28/05 effective 8/1/05)
              17.16.9.1.2.2 Olympic, Paralympic and National Team Development Program. There are no limits on
              the number of student-athletes from the same institution who may participate in Olympic, Paralympic and
              national team development programs. Such programs may also include a coach and student-athlete from the same
              institution, provided: (Revised: 2/21/02, 4/28/11, 1/22/20)
               (a) The national governing body conducts and administers the developmental program;
               (b) The national governing body selects coaches involved in the developmental program; and
               (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                   one particular institution, selects the involved participants.
    17.16.9.2 Equipment Issue, Squad Pictures. No limitations.
17.17 Women's Rowing. Regulations for computing the rowing playing season are set forth in Bylaw 17.1. (See
Figure 17-1 and Figure 17-2.) The following regulations apply independently to open and lightweight rowing programs.
(Revised: 4/28/05 effective 8/1/05)
17.17.1 Length of Playing Season. The length of an institution’s playing season in rowing shall be limited to a 156-day
season, which may consist of two segments (each consisting of consecutive days) and which may exclude only required off days
(see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-examination periods during which no
practice or competition shall occur. (Adopted: 1/9/96 effective 8/1/96, Revised: 1/14/97 effective 8/1/97)
    17.17.1.1 Winter-Training Trip. A single winter-training trip, for practice only, shall be permitted between the
    segments, provided the trip does not exceed two weeks and is counted as part of the 156-day playing and practice season.
    (Adopted: 1/9/96 effective 8/1/96, Revised: 1/14/97 effective 8/1/97)
17.17.2 Preseason Practice. A member institution shall not commence practice sessions in rowing prior to September 7 or
the institution’s first day of classes for the fall term, whichever is earlier. (Adopted: 1/9/96 effective 8/1/96, Revised: 1/14/97
effective 8/1/97)



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17.17.3 First Date of Competition. A member institution shall not engage in its first date of competition (game or
scrimmage) with outside competition in rowing prior to September 7 or the institution’s first day of classes for the fall term,
whichever is earlier. (Adopted: 1/9/96 effective 8/1/96, Revised: 1/14/97 effective 8/1/97)
17.17.4 End of Regular Playing Season. A member institution shall conclude all practice and competition (games and
scrimmages) in rowing by the conclusion of the NCAA Division I Rowing Championship, or for lightweight rowing, the
conclusion of the Intercollegiate Rowing Association (IRA) Women's Lightweight Rowing Championship. (Adopted: 1/9/96
effective 8/1/96, Revised: 1/14/97 effective 8/1/97, 4/26/01)
17.17.5 Number of Dates of Competition.
    17.17.5.1 Maximum Limitations -- Institutional. A member institution shall limit its total playing schedule with
    outside competition in rowing during the institution's playing season to 20 dates of competition (games and scrimmages),
    except for those dates of competition excluded under Bylaws 17.17.5.3 and 17.17.5.4. (Adopted: 1/9/96 effective 8/1/96)
         17.17.5.1.1 In-Season Foreign Competition. A member institution may engage in one or more of its countable
         dates of competition in rowing in one or more foreign countries on one trip during the prescribed playing season.
         However, except for competition in Canada and Mexico or on a certified foreign tour (see Bylaw 17.32), the
         institution may not engage in such in-season foreign competition more than once every four years. (Adopted: 1/9/96
         effective 8/1/96)
    17.17.5.2 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate in each academic
    year in 20 dates of competition (this limitation includes those dates of competition in which the student represents the
    institution in accordance with Bylaw 17.02.8, including competition as a member of the varsity, junior varsity or freshman
    team of the institution). (Adopted: 1/9/96 effective 8/1/96)
    17.17.5.3 Annual Exemptions. The maximum number of dates of competition in rowing shall exclude the following:
    (Adopted: 1/9/96 effective 8/1/96, Revised: 2/24/03, 5/19/22 effective 8/1/22)
     (a) Conference Championship. Competition in one conference championship meet in rowing;
     (b) Season-Ending Event. Competition in one season-ending event (e.g., NCAA championship). A season-ending
         event involves competition after the end of the regular season between teams that are not identified until the close of
         the regular season;
     (c) Alumni Meet. One date of competition in rowing each year against an alumni team of the institution;
     (d) Foreign Team in the United States. One date of competition in rowing each year with a foreign opponent in the
         United States;
     (e) Hawaii, Alaska, Puerto Rico. Any dates of competition in rowing in Hawaii, Alaska or Puerto Rico, respectively,
         either against or under the sponsorship of an active member institution located in Hawaii, Alaska or Puerto Rico, by a
         member located outside the area in question;
     (f) Fundraising Activity. Any rowing activities in which student-athletes from more than one of the institution's
         athletics teams participate with and against alumni and friends of the institution, the purpose of which is to raise funds
         for the benefit of the institution's athletics or other programs, provided the student-athletes do not miss classes as a
         result of their participation (see Bylaw 12.5.1.1); and
     (g) Celebrity Sports Activity. Competition involving a limit of two student-athletes from a member institution's
         rowing team who participate in local celebrity rowing activities conducted for the purpose of raising funds for
         charitable organizations, provided:
          (1) The student-athletes do not miss classes as a result of the participation;
          (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
          (3) The activity takes place within a 30-mile radius of the institution's main campus.
    17.17.5.4 Foreign Tour. The dates of competition in rowing on a foreign tour shall be excluded from the maximum
    number of dates of competition, provided the tour occurs only once in a four-year period and is conducted by the member
    institution in accordance with the procedures set forth in Bylaw 17.32.
17.17.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff shall not
engage in countable athletically related activities outside the institution's declared playing season per Bylaw 17.17.1 except as
permitted in Bylaw 17.1.7.2. (Adopted: 1/9/96 effective 8/1/96)
    17.17.6.1 Summer Practice. Practice that is organized or financially supported by a member institution shall be
    prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official

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    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by
    student-athletes engaged in voluntary athletically related activities in their sport. (Adopted: 1/9/96 effective 8/1/96, Revised:
    4/28/05, 11/1/07 effective 8/1/08)
17.17.7 Safety Exception. A coach may be present during voluntary individual workouts in the institution’s regular
practice facility (without the workouts being considered as countable athletically related activities) when the student-athlete uses
rowing equipment. The coach may provide safety or skill instruction but may not conduct the individual’s workouts. (Adopted:
1/9/96 effective 8/1/96)
17.17.8 Camps and Clinics. There are no limits on the number of student-athletes in rowing who may be employed (e.g.,
as counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not participate as campers in their
institution’s camps or clinics. (Adopted: 1/9/96 effective 8/1/96)
17.17.9 Other Restrictions.
    17.17.9.1 Noncollegiate, Amateur Competition.
         17.17.9.1.1 During Academic Year. A student-athlete in rowing who participates during the academic year as a
         member of any outside rowing team in any noncollegiate, amateur competition (e.g., tournament play, exhibition
         games or other activity) except while representing the institution in intercollegiate rowing competition shall be
         ineligible for intercollegiate rowing competition unless eligibility is restored by the Committee on Student-Athlete
         Reinstatement (see Bylaw 17.34.3 for exceptions). (Adopted: 1/9/96 effective 8/1/96, Revised: 10/3/05)
              17.17.9.1.1.1 Vacation-Period Exception. A student-athlete may compete outside the institution's declared
              playing and practice season as a member of an outside team in any noncollegiate, amateur competition during any
              official vacation period published in the institution's catalog. The number of student-athletes from any one
              institution shall not exceed four. (Adopted: 1/9/96 effective 8/1/96, Revised: 1/16/10)
         17.17.9.1.2 Out of Season. There are no limits on the number of student-athletes with eligibility remaining in
         intercollegiate rowing who may practice or compete out of season on an outside, amateur rowing team (competition on
         an outside team permitted only during the summer, except as provided in Bylaw 17.17.9.1.1.1). (Adopted: 1/9/96
         effective 8/1/96)
              17.17.9.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of a member institution
              may be involved in any capacity (e.g., coach, official, player or league/team administrator) at any time (during the
              academic year, vacation periods and summer) with an outside team that involves any student-athlete with
              remaining eligibility from that institution’s rowing team except as provided under Bylaws 17.1.1.1, 17.32
              and17.34.3. (Adopted: 1/9/96 effective 8/1/96)
              17.17.9.1.2.2 Olympic, Paralympic and National Team Development Program. There are no limits on
              the number of student-athletes from the same institution who may participate in Olympic, Paralympic and
              national team development programs. Such programs may also include a coach and student-athlete from the same
              institution, provided: (Revised: 2/21/02, 4/28/11, 1/22/20)
               (a) The national governing body conducts and administers the developmental program;
               (b) The national governing body selects coaches involved in the developmental program; and
               (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                   one particular institution, selects the involved participants.
    17.17.9.2 Equipment Issue, Squad Pictures. No limitations. (Adopted: 1/9/96 effective 8/1/96, Revised: 1/10/05)
17.18 Women's Rugby. Regulations for computing the women's rugby playing season are set forth in Bylaw 17.1.
(See Figure 17-1 and Figure 17-2.) (Adopted: 4/28/05 effective 8/1/05)
17.18.1 Length of Playing Season. The length of an institution's playing season in women's rugby shall be limited to a
132-day season, which may consist of two segments (each consisting of consecutive days) and which may exclude only required
off days (see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-examination periods during which
no practice or competition shall occur. (Adopted: 4/28/05 effective 8/1/05)
17.18.2 Preseason Practice. A member institution shall not commence practice sessions in women's rugby prior to the
date that permits a maximum of 21 units (see Bylaw 17.02.13) prior to the first scheduled intercollegiate contest. (Adopted:
4/28/05 effective 8/1/05)
17.18.3 First Date of Competition. A member institution shall not engage in its first date of competition with outside
competition in women's rugby prior to September 1 or the preceding Friday if September 1 falls on a Saturday, Sunday or
Monday (see Figure 17-2). (Adopted: 4/28/05 effective 8/1/05, Revised: 1/18/14 effective 8/1/14)
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17.18.4 End of Regular Playing Season. An institution shall conclude all practice and competition (games and
scrimmages) in women's rugby by the last date of final exams for the regular academic year at the institution or the conclusion of
the USA Rugby College 7s National Championship or the Collegiate Rugby 7s National Championship, whichever occurs later.
(Adopted: 4/28/05 effective 8/1/05, Revised: 4/25/18 effective 8/1/18)
17.18.5 Number of Dates of Competition.
    17.18.5.1 Maximum Limitations -- Institutional. A member institution shall limit its total playing schedule with
    outside competition in women's rugby during the institution's rugby playing season in any one year to 16 dates of
    competition (15-a-side and/or seven-a-side), except for those dates of competition excluded under Bylaws 17.17.6.3 and
    17.17.6.4. (Adopted: 4/28/05 effective 8/1/05, Revised: 1/18/14 effective 8/1/14)
         17.18.5.1.1 Scrimmages/Exhibition Games. A member institution may play one rugby scrimmage or exhibition
         game (which shall not count toward the institution's won-lost record) prior to the first scheduled date of competition
         during a particular academic year, provided such scrimmage or exhibition game is conducted during the institution's
         declared playing season per Bylaw 17.18.1 and is counted against the maximum number of dates of competition.
         (Adopted: 4/28/05 effective 8/1/05, Revised: 1/18/14 effective 8/1/14)
         17.18.5.1.2 In-Season Foreign Competition. A member institution may play one or more of its countable dates
         of competition in women's rugby in one or more foreign countries on one trip during the prescribed playing season.
         However, except for dates of competition played in Canada and Mexico or on a certified foreign tour (see Bylaw
         17.32), the institution may not engage in such in-season foreign competition more than once every four years.
         (Adopted: 4/28/05 effective 8/1/05, Revised: 1/18/14 effective 8/1/14)
    17.18.5.2 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate in each academic
    year in not more than 16 rugby dates of competition (15-a-side and/or seven-a-side). This limitation includes those dates of
    competition in which the student represents the institution in accordance with Bylaw 17.02.8, including competition as a
    member of the varsity, junior varsity or freshman team of the institution. (Adopted: 4/28/05 effective 8/1/05, Revised: 1/18/14
    effective 8/1/14)
    17.18.5.3 Annual Exemptions. The maximum number of rugby dates of competition shall exclude the following:
    (Adopted: 4/28/05 effective 8/1/05, Revised: 1/18/14 effective 8/1/14, 5/19/22 effective 8/1/22)
     (a) Conference Championship. Competition in one conference championship tournament in women's rugby;
     (b) Season-Ending Event. Competition in one season-ending event (e.g., national governing body championship). A
         season-ending event involves competition after the end of the regular season between teams that are not identified until
         the close of the regular season;
     (c) Alumni Contest. One date of competition each year against an alumni team of the institution;
     (d) Foreign Team in the United States. One date of competition each year with a foreign opponent in the United
         States;
     (e) Hawaii, Alaska or Puerto Rico. Any women's rugby dates of competition in Hawaii, Alaska or Puerto Rico,
         respectively, either against or under the sponsorship of an active member institution located in Hawaii, Alaska or
         Puerto Rico, by a member located outside the area in question;
     (f) U.S. National Team. One date of competition against the U.S. national team as selected and designated by the
         appropriate national governing body for rugby (e.g., "Under-21" U.S. national team).
     (g) Fundraising Activity. Any rugby activities in which student-athletes from more than one of the institution's
         athletics teams participate with and against alumni and friends of the institution, the purpose of which is to raise funds
         for the benefit of the institution's athletics or other programs, provided the student-athletes do not miss classes as a
         result of their participation (see Bylaw 12.5.1.1); and
     (h) Celebrity Sports Activity. Competition involving a limit of two student-athletes from a member institution's rugby
         team who participate in local celebrity rugby activities conducted for the purpose of raising funds for charitable
         organizations, provided:
          (1) The student-athletes do not miss classes as a result of the participation;
          (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
          (3) The activity takes place within a 30-mile radius of the institution's main campus.
    17.18.5.4 Foreign Tour. An institution may exempt the contests played on a foreign tour, provided the tour occurs only
    once in a four-year period and is conducted by the member institution in accordance with the procedures set forth in Bylaw
    17.32. (Adopted: 4/28/05 effective 8/1/05)
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17.18.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff shall not
engage in countable athletically related activities outside the institution's declared playing season per Bylaw 17.18.1 except as
permitted in Bylaw 17.1.7.2. (Adopted: 4/28/05 effective 8/1/05)
    17.18.6.1 Summer Practice. Practice that is organized or financially supported by a member institution shall be
    prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official
    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by
    student-athletes engaged in voluntary athletically related activities in their sport. (Adopted: 4/28/05 effective 8/1/05, Revised:
    11/1/07 effective 8/1/08)
17.18.7 Camps and Clinics. There are no limits on the number of student-athletes in women's rugby who may be
employed (e.g., as counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not participate as
campers in their institution's camps or clinics. (Adopted: 4/28/05 effective 8/1/05)
17.18.8 Other Restrictions.
    17.18.8.1 Noncollegiate, Amateur Competition.
         17.18.8.1.1 During Academic Year. A student-athlete in women's rugby who participates during the academic
         year as a member of any outside rugby team in any noncollegiate, amateur competition (e.g., tournament play,
         exhibition games or other activity) except while representing the institution in intercollegiate rugby competition shall
         be ineligible for intercollegiate rugby competition unless eligibility is restored by the Committee on Student-Athlete
         Reinstatement (see Bylaw 17.34.3 for exceptions). (Adopted: 4/28/05 effective 8/1/05, Revised: 10/3/05)
                17.18.8.1.1.1 Vacation-Period Exception. A student-athlete may compete outside the institution's declared
                playing and practice season as a member of an outside team in any noncollegiate, amateur competition during any
                official vacation period published in the institution's catalog. The number of student-athletes from any one
                institution shall not exceed five. (Adopted: 4/28/05 effective 8/1/05)
                17.18.8.1.1.2 May 1 Exception. A student-athlete in rugby may compete outside an institution's declared
                playing and practice season as a member of an outside team in any noncollegiate amateur competition, provided:
                (Adopted: 4/28/05 effective 8/1/05)
                (a) Such participation occurs not earlier than May 1;
                (b) The number of student-athletes from any one institution does not exceed five;
                (c) The competition is approved by the institution's director of athletics; and
                (d) No class time is missed for practice activities or for competition.
         17.18.8.1.2 Out of Season. A member institution may permit not more than five student-athletes with eligibility
         remaining in intercollegiate women's rugby to practice or compete out of season on an outside, amateur rugby team
         (competition on an outside team permitted only during the summer, except as provided in Bylaws 17.17.9.1.1.1 and
         17.17.9.1.1.2). (Adopted: 4/28/05 effective 8/1/05)
                17.18.8.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of a member institution
                may be involved in any capacity (e.g., coach, official, player or league/team administrator) at any time (during the
                academic year, vacation periods and summer) with an outside team that involves any student-athlete with
                eligibility remaining from the institution's women's rugby team except as provided under Bylaws 17.1.1.1, 17.32
                and 17.34.3. (Adopted: 4/28/05 effective 8/1/05)
                17.18.8.1.2.2 Olympic, Paralympic and National Team Development Program. There are no limits on
                the number of student-athletes from the same institution who may participate in Olympic, Paralympic and
                national team development programs. Such programs may also include a coach and student-athlete from the same
                institution, provided: (Revised: 2/21/02, 4/28/05 effective 8/1/05, 4/28/11, 1/22/20)
                (a) The national governing body conducts and administers the developmental program;
                (b) The national governing body selects coaches involved in the developmental program; and
                (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                    one particular institution, selects the involved participants.
    17.18.8.2 Equipment Issue, Squad Pictures. No limitations. (Adopted: 4/28/05 effective 8/1/05)
17.19 Skiing. Regulations for computing the skiing playing season are set forth in Bylaw 17.1. (See Figure 17-1 and
Figure 17-2.)


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17.19.1 Length of Playing Season. The length of an institution's playing season in skiing shall be limited to a 144-day
season, which may consist of two segments (each consisting of consecutive days) and which may exclude only required off days
(see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-examination periods during which no
practice or competition shall occur. An institution that sponsors both Alpine and Nordic skiing may declare separate playing and
practice seasons. (Revised: 4/28/05 effective 8/1/05)
17.19.2 Preseason Practice. A member institution shall not commence practice sessions in skiing prior to September 7 or
the institution’s first day of classes for the fall term, whichever is earlier. (Revised: 1/10/91 effective 8/1/91, 1/10/95 effective
8/1/95, 1/14/97 effective 8/1/97)
17.19.3 First Date of Competition. A member institution shall not engage in its first date of competition (meets or
practice meets) with outside competition in skiing prior to September 7 or the institution’s first day of classes for the fall term,
whichever is earlier. (Revised: 1/10/91 effective 8/1/91, 1/10/95 effective 8/1/95, 1/14/97 effective 8/1/97)
17.19.4 End of Regular Playing Season. A member institution shall conclude all practice and competition (meets and
practice meets) in skiing by the last date of final examinations for the regular academic year at the institution. (Revised: 1/10/91
effective 8/1/91, 1/14/97 effective 8/1/97)
17.19.5 Number of Dates of Competition.
    17.19.5.1 Maximum Limitations -- Institutional. A member institution shall limit its total playing schedule with
    outside competition in skiing during the permissible skiing playing season to 32 dates of competition for Alpine events and
    32 dates of competition for Nordic events, except for those dates of competition excluded under Bylaws 17.19.5.3 and
    17.19.5.4 (see Bylaw 20.10.6.3 for minimum contests and participants requirements). (Revised: 1/10/91 effective 8/1/91,
    1/16/93, 4/29/04, 4/26/17 effective 8/1/18)
         17.19.5.1.1 In-Season Foreign Competition. A member institution may engage in one or more of its countable
         dates of competition in skiing in one or more foreign countries on one trip during the prescribed playing season.
         However, except for competition in Canada and Mexico or on a certified foreign tour (see Bylaw 17.32), the
         institution may not engage in such in-season foreign competition more than once every four years. (Revised: 4/26/17
         effective 8/1/18)
    17.19.5.2 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate in each academic
    year in not more than 32 dates of competition in skiing. This limitation includes those dates of competition in which the
    student represents the institution in accordance with Bylaw 17.02.8, including competition as a member of the varsity,
    junior varsity or freshman team of the institution. (Revised: 1/10/91 effective 8/1/91, 1/16/93, 4/26/17 effective 8/1/18)
    17.19.5.3 Annual Exemptions. The maximum number of dates of competition in skiing shall exclude the following:
    (Revised: 1/9/96 effective 8/1/96, 9/6/00, 2/24/03, 5/19/22 effective 8/1/22)
     (a) Conference Championship. Competition in one conference championship meet;
     (b) Season-Ending Event. Competition in one season-ending event (e.g., NCAA championships). A season-ending
         event involves competition after the end of the regular season between teams that are not identified until the close of
         the regular season;
     (c) Alumni Meet. One date of competition in skiing each year against an alumni team of the institution;
     (d) Foreign Team in the United States. One date of competition in skiing each year with a foreign opponent in the
         United States;
     (e) Hawaii or Alaska. Any dates of competition in skiing in Hawaii or Alaska, respectively, against an active member
         institution located in Hawaii or Alaska, by a member located outside the area in question;
     (f) Fundraising Activity. Any skiing activities in which student-athletes from more than one of the institution's athletics
         teams participate with and against alumni and friends of the institution, the purpose of which is to raise funds for the
         benefit of the institution's athletics or other programs, provided the student-athletes do not miss classes as a result of
         their participation (see Bylaw 12.5.1.1);
     (g) Celebrity Sports Activity. Competition involving a limit of two student-athletes from a member institution's skiing
         team who participate in local celebrity skiing activities conducted for the purpose of raising funds for charitable
         organizations, provided:
          (1) The student-athletes do not miss classes as a result of the participation;
          (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
          (3) The activity takes place within a 30-mile radius of the institution's main campus.

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     (h) U.S. National Team. One date of competition against any team as selected and designated by the appropriate
         national governing body for skiing as a U.S. national team (e.g., "Under-21" U.S. national team).
    17.19.5.4 Once-in-Four-Years Exemption -- Foreign Tour. An institution may exempt the contests played on a
    foreign tour, provided the tour is conducted by the member institution in accordance with the procedures set forth in
    Bylaw 17.32. (Adopted: 1/9/96 effective 8/1/96, Revised: 4/26/07 effective 8/1/07)
17.19.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff at the
student-athlete's institution shall not engage in countable athletically related activities (see Bylaw 17.02.1) outside the
institution's declared playing season per Bylaw 17.19.1 except as permitted in Bylaw 17.1.7.2. (Revised: 1/10/91 effective 8/1/91)
    17.19.6.1 Summer Practice. Practice that is organized or financially supported by a member institution shall be
    prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official
    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by
    student-athletes engaged in voluntary athletically related activities in their sport. (Revised: 1/10/91 effective 8/1/91, 1/10/92,
    4/28/05, 11/1/07 effective 8/1/08)
    17.19.6.2 Vacation Period and Summer-Workout Sessions. A coach may participate in individual-workout
    sessions with student-athletes from the coach's team during any institutional vacation period and/or the summer, provided
    the request for such assistance is initiated by the student-athlete. (Adopted: 1/10/92, Revised: 1/11/94, 4/28/05, 4/25/18)
17.19.7 Safety Exception. A coach may be present during voluntary individual workouts in the institution’s regular
practice facility (without the workouts being considered as countable athletically related activities) when the student-athlete is
engaged in skiing. The coach may provide safety or skill instruction but may not conduct the individual’s workouts. (Adopted:
1/10/91 effective 8/1/91)
17.19.8 Camps and Clinics. There are no limits on the number of student-athletes in skiing who may be employed (e.g., as
counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not participate as campers in their
institution’s camps or clinics. (Revised: 1/10/92)
17.19.9 Other Restrictions.
    17.19.9.1 Noncollegiate, Amateur Competition.
         17.19.9.1.1 During Academic Year. A student-athlete in skiing who participates during the academic year as a
         member of any outside skiing team in any noncollegiate, amateur competition (e.g., tournament, exhibition games or
         other activity) except while representing the institution in intercollegiate skiing competition shall be ineligible for
         intercollegiate skiing competition unless eligibility is restored by the Committee on Student-Athlete Reinstatement (see
         Bylaw 17.34.3 for exceptions). (Revised: 1/10/91 effective 8/1/91, 1/16/93, 10/3/05)
              17.19.9.1.1.1 Vacation-Period Exception. A student-athlete may compete outside the institution’s declared
              playing and practice season as a member of an outside team in any noncollegiate, amateur competition during any
              official vacation period published in the institution’s catalog. The number of student-athletes from any one
              institution shall not exceed four. (Adopted: 1/11/94 effective 8/1/94)
         17.19.9.1.2 Out of Season. There are no limits on the number of student-athletes from the same member
         institution with eligibility remaining in intercollegiate skiing who may practice or compete out of season on an outside,
         amateur skiing team (competition on an outside team is permitted only during the summer, except as provided in
         Bylaw 17.19.9.1.1.1). (Revised: 1/10/91 effective 8/1/91, 1/16/93)
              17.19.9.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of a member institution
              may be involved in any capacity (e.g., coach, official, player or league/team administrator) during the academic
              year (including vacation periods during the academic year) with an outside team that involves any student-athlete
              with eligibility remaining with the institution's skiing team except as provided under Bylaws 17.1.1.1, 17.32 and
              17.34.3. (Revised: 4/28/05 effective 8/1/05)
              17.19.9.1.2.2 Olympic, Paralympic and National Team Development Program. There are no limits on
              the number of student-athletes from the same institution who may participate in Olympic, Paralympic and
              national team development programs. Such programs may also include a coach and student-athlete from the same
              institution, provided: (Revised: 2/21/02, 4/28/11, 1/22/20)
              (a) The national governing body conducts and administers the developmental program;
              (b) The national governing body selects coaches involved in the developmental program; and
              (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                  one particular institution, selects the involved participants.

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    17.19.9.2 Equipment Issue, Squad Pictures. No limitations.
17.20 Soccer. Regulations for computing the soccer playing season are set forth in Bylaw 17.1. (See Figure 17-1 and
Figure 17-2.)
17.20.1 Length of Playing Season. The length of an institution’s playing season in soccer shall be limited to a 132-day
season, which may consist of two segments (each consisting of consecutive days) and which may exclude only required off days
(see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-examination periods during which no
practice or competition shall occur. (Revised: 1/10/91 effective 8/1/91, 1/14/97 effective 8/1/97)
17.20.2 Preseason Practice. An institution shall not commence practice sessions prior to 16 calendar days before the first
scheduled regular-season intercollegiate contest (not a scrimmage, exhibition game or alumni contest that may occur before the
first scheduled regular-season contest). (Revised: 1/10/91 effective 8/1/91, 1/14/97 effective 8/1/97, 4/14/03, 6/17/15, 5/19/22
effective 8/1/22)
17.20.3 First Contest or Date of Competition. (Adopted: 4/20/99 effective 8/1/99, Revised: 12/14/07, 1/14/08 effective
8/1/08, 4/30/09 effective 8/1/09, 4/28/11 effective 8/1/11, 6/17/15, 4/25/18 effective 8/1/18, 1/22/20 effective 8/1/20)
(a) Men. An institution shall not play its first regular-season contest or engage in its first date of competition (game) with
    outside competition before the Thursday before the 12th weekend before the start of the NCAA Division I Men's Soccer
    Championship (see Figure 17-2), except that an alumni contest may be played the previous weekend.
(b) Women. An institution shall not play its first regular-season contest or engage in its first date of competition (game) with
    outside competition before the Thursday before the 12th weekend before the start of the NCAA Division I Women's
    Soccer Championship (see Figure 17-2), except that an alumni contest may be played the previous weekend.
    17.20.3.1 Exception -- Scrimmages/Exhibition Games. An institution may play up to three soccer scrimmages or
    exhibition games (which shall not count toward the institution's won-lost record) prior to the first scheduled regular-season
    contest during a particular academic year, provided such scrimmages or exhibition games are conducted during the
    institution's declared playing season per Bylaw 17.20.1 and are counted against the maximum number of contests (see
    Bylaw 17.20.5.1). Contests that would otherwise be exempted from the maximum number of contests per Bylaw 17.20.5.3
    shall count against the maximum if they are played during the preseason practice period prior to the date specified for the
    first permissible regular-season contest. (Adopted: 12/14/07, Revised: 6/17/15)
17.20.4 End of Regular Playing Season. A member institution shall conclude all practice and competition (games and
scrimmages) in soccer by the last date of final exams for the regular academic year at the institution. (Revised: 1/14/97 effective
8/1/97)
17.20.5 Number of Contests and Dates of Competition.
    17.20.5.1 Maximum Limitations -- Institutional. A member institution shall limit its total playing schedule with
    outside competition in soccer during the institution's soccer playing season in any one year to 20 contests during the
    segment in which the NCAA championship is conducted and five dates of competition during another segment, except for
    those contests and/or dates of competition excluded under Bylaws 17.20.5.3 and 17.20.5.4. Travel to competition in the
    nonchampionship segment shall be restricted to ground transportation, unless there are no Division I institutions that
    sponsor the sport located within 400 miles of the institution. (Revised: 1/10/91 effective 8/1/91, 4/29/10 effective 8/1/10)
         17.20.5.1.1 Exception -- Isolated Institution. If there are fewer than five other Division I institutions that
         sponsor soccer (for the applicable gender) located within 400 miles of the institution, the institution may use any form
         of transportation to travel to the number of nonchampionship segment competitions that represents the difference
         between the number of other institutions and five. (Adopted: 4/25/18)
         17.20.5.1.2 Hawaii or Alaska Exception -- Nonchampionship Segment Travel. Once every four years, an
         institution may use any form of transportation for travel to Hawaii or Alaska for nonchampionship segment
         competition against an active member institution located in Hawaii or Alaska. (Adopted: 4/28/11 effective 8/1/11)
         17.20.5.1.3 In-Season Foreign Competition. A member institution may play one or more of its countable
         contests in soccer in one or more foreign countries on one trip during the prescribed playing season. However, except
         for contests played in Canada and Mexico or on a certified foreign tour (see Bylaw 17.32), the institution may not
         engage in such in-season foreign competition more than once every four years.
    17.20.5.2 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate in each academic
    year in not more than 20 soccer contests during the segment in which the NCAA championship is conducted and five dates
    of competition in soccer during another segment. This limitation includes those contests in which the student represents


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    the institution in accordance with Bylaw 17.02.8, including competition as a member of the varsity, junior varsity or
    freshman team of the institution. (Revised: 1/10/91 effective 8/1/91)
    17.20.5.3 Annual Exemptions. The maximum number of soccer contests and dates of competition shall exclude the
    following (unless such contests are played pursuant to Bylaw 17.20.3.1): (Revised: 1/9/96 effective 8/1/96, 9/6/00, 2/24/03,
    12/14/07, 5/19/22 effective 8/1/22)
     (a) Conference Championship. Competition in one conference championship tournament in soccer (or the
         tournament used to determine the conference's automatic entry in an NCAA soccer championship);
     (b) Conference Playoff. Competition involving member institutions that tie for a conference soccer championship.
         Such teams may participate in a single-elimination playoff to determine the conference's automatic entry in an NCAA
         soccer championship without the game(s) being counted as a regular-season contest or postseason tournament;
     (c) NCAA Championship Play-In Competition. Competition in play-in contests conducted before the NCAA
         championship;
     (d) Season-Ending Event. Competition in one-season ending event (e.g., NCAA championship). A season-ending
         event involves competition after the end of the regular season between teams that are not identified until the close of
         the regular season;
     (e) Alumni Game. One soccer contest or date of competition each year against an alumni team of the institution;
     (f) Foreign Team in the United States. One soccer contest or date of competition each year with a foreign opponent
         in the United States;
     (g) Hawaii or Alaska. Any soccer games played in Hawaii or Alaska, respectively, against an active Division I member
         institution located in Hawaii or Alaska, by a member located outside the area in question;
     (h) Fundraising Activity. Any soccer activities in which student-athletes from more than one of the institution's
         athletics teams participate with and against alumni and friends of the institution, the purpose of which is to raise funds
         for the benefit of an institution's athletics or other programs, provided the student-athletes do not miss classes as a
         result of their participation (see Bylaw 12.5.1.1);
     (i) Celebrity Sports Activity. Competition involving a limit of two student-athletes from a member institution's soccer
         team who participate in local celebrity soccer activities conducted for the purpose of raising funds for charitable
         organizations, provided:
          (1) The student-athletes do not miss classes as a result of the participation;
          (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
          (3) The activity takes place within a 30-mile radius of the institution's main campus.
     (j) U.S. National Team. One contest or date of competition played against the U.S. national team as selected and
         designated by the appropriate national governing body for soccer (e.g., "Under-21" U.S. national team).
    17.20.5.4 Once-in-Four-Years Exemption -- Foreign Tour. An institution may exempt the contests played on a
    foreign tour, provided the tour is conducted by the member institution in accordance with the procedures set forth in
    Bylaw 17.32. (Adopted: 1/9/96 effective 8/1/96, Revised: 4/26/07 effective 8/1/07)
17.20.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff shall not
engage in countable athletically related activities outside the institution's declared playing season per Bylaw 17.20.1 except as
permitted in Bylaw 17.1.7.2. (Revised: 1/10/91 effective 8/1/91)
    17.20.6.1 Summer Practice. Practice that is organized or financially supported by a member institution shall be
    prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official
    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by
    student-athletes engaged in voluntary athletically related activities in their sport. (Revised: 4/28/05, 11/1/07 effective 8/1/08)
17.20.7 Camps and Clinics. There are no limits on the number of student-athletes in soccer who may be employed (e.g., as
counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not participate as campers in their
institution’s camps or clinics. (Revised: 1/10/92, 1/11/94)
17.20.8 Other Restrictions.
    17.20.8.1 Noncollegiate, Amateur Competition.
         17.20.8.1.1 During Academic Year. A student-athlete in soccer who participates during the academic year as a
         member of any outside soccer team in any noncollegiate, amateur competition (e.g., tournament play, exhibition games
         or other activity) except while representing the institution in intercollegiate soccer competition shall be ineligible for
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         intercollegiate soccer competition unless eligibility is restored by the Committee on Student-Athlete Reinstatement (see
         Bylaw 17.34.3 for exceptions). (Revised: 1/10/91 effective 8/1/91, 1/16/93, 10/3/05)
                17.20.8.1.1.1 Vacation-Period Exception. A student-athlete may compete outside the institution's declared
                playing and practice season as a member of an outside team in any noncollegiate, amateur competition during any
                official vacation period published in the institution's catalog. The number of student-athletes from any one
                institution shall not exceed five. (Adopted: 1/11/94 effective 8/1/94, Revised: 10/31/02)
                17.20.8.1.1.2 May 1 Exception. A student-athlete in soccer may compete outside an institution's declared
                playing and practice season as a member of an outside team in any noncollegiate amateur competition, provided:
                (Adopted: 1/14/97 effective 8/1/97, Revised: 10/31/02)
                (a) Such participation occurs not earlier than May 1;
                (b) The number of student-athletes from any one institution does not exceed five;
                (c) The competition is approved by the institution's director of athletics; and
                (d) No class time is missed for practice activities or for competition.
         17.20.8.1.2 Out of Season. A member institution may permit not more than five student-athletes with eligibility
         remaining in intercollegiate soccer to practice or compete out of season on an outside, amateur soccer team
         (competition on an outside team permitted only during the summer, except as provided in Bylaws 17.20.8.1.1.1 and
         17.20.8.1.1.2). (Revised: 1/10/91 effective 8/1/91, 10/31/02)
                17.20.8.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of a member institution
                may be involved in any capacity (e.g., coach, official, player or league/team administrator) at any time (during the
                academic year, vacation periods and summer) with an outside team that involves any student-athlete with
                eligibility remaining from the institution's soccer team except as provided under Bylaws 17.1.1.1, 17.32 and
                17.34.3. (Revised: 4/28/05 effective 8/1/05)
                17.20.8.1.2.2 Olympic, Paralympic and National Team Development Program. There are no limits on
                the number of student-athletes from the same institution who may participate in Olympic, Paralympic and
                national team development programs. Such programs may also include a coach and student-athlete from the same
                institution, provided: (Revised: 2/21/02, 4/28/11, 1/22/20)
                (a) The national governing body conducts and administers the developmental program;
                (b) The national governing body selects coaches involved in the developmental program; and
                (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                    one particular institution, selects the involved participants.
    17.20.8.2 Equipment Issue, Squad Pictures. No limitations. (Revised: 1/11/89, 1/10/05)
17.21 Softball. Regulations for computing the softball playing season are set forth in Bylaw 17.1. (See Figure 17-1 and
Figure 17-2.)
17.21.1 Length of Playing Season. The length of an institution's playing season in softball shall be limited to a 132-day
season, which may consist of two segments. (Revised: 1/10/91 effective 8/1/91, 1/14/97 effective 8/1/97, 1/13/08 effective 8/1/08)
    17.21.1.1 Championship Segment. An institution's championship segment must consist of consecutive days and may
    exclude only required off days (see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-
    examination periods during which no practice or competition shall occur. (Adopted: 1/14/08 effective 8/1/08)
    17.21.1.2 Nonchampionship Segment. An institution's nonchampionship segment shall be conducted within a
    period of 45 consecutive days during the months of September, October and November under the following conditions:
    (Adopted: 1/14/08 effective 8/1/08)
     (a) Days used for practice or competition must be counted toward the 132-day season, but are not required to be
         consecutive;
     (b) Days during which countable athletically related activities are limited solely to required conditioning activities and/or
         skill-related instruction are not required to count toward the 132-day season;
     (c) During any week in which practice or competition occurs, a student-athlete's involvement in countable athletically
         related activities shall be limited to a maximum of four hours per day and 20 hours per week and all countable
         athletically related activities are prohibited during one calendar day per week; and
     (d) Any week in which practice or competition does not occur shall be considered outside the playing season (see Bylaw
         17.1.7.2).
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17.21.2 Preseason Practice. A member institution shall not commence practice sessions in softball before September 1 or
the institution's first day of classes, whichever is later; however, if an institution's first day of classes occurs after September 15,
the institution may commence practice sessions on or after September 15. (Revised: 1/14/97 effective 8/1/97, 1/14/08 effective
8/1/08, 1/16/10 effective 8/1/10)
17.21.3 First Contest Date. An institution shall not play its first contest (game or scrimmages) with outside competition in
softball prior to the following dates: (Revised: 1/14/97 effective 8/1/97, 4/28/05 effective 8/1/05, Adopted: 4/26/07 effective 8/1/07,
1/14/08 effective 8/1/08, 1/16/10 effective 8/1/10)
(a) Nonchampionship Segment. If the institution's first day of classes occurs on or before September 15: September 1 or
    the institution's first day of classes, whichever is later. If the institution's first day of classes occurs after September 15:
     September 15.
(b) Championship Segment. The Thursday that is 14 weeks before the Thursday immediately preceding the start of the
    NCAA Division I Softball Championship (see Figure 17-2).
17.21.4 End of Regular Playing Season. A member institution shall conclude all practice and competition (games and
scrimmages) in softball by the conclusion of the NCAA Division I Softball Championship. (Revised: 1/14/97 effective 8/1/97)
17.21.5 Number of Contests.
    17.21.5.1 Maximum Limitations -- Institutional. A member institution shall limit its total playing schedule with
    outside competition in softball during the institution's softball playing season to 56 contests (games and scrimmages) during
    the segment in which the NCAA championship is conducted and eight contests (games and scrimmages) during the
    nonchampionship segment, except for those contests excluded under Bylaws 17.21.5.3 and 17.21.5.4. Travel to
    competition in the nonchampionship segment shall be restricted to ground transportation, unless there are no Division I
    institutions that sponsor the sport located within 400 miles of the institution. (Revised: 1/10/91 effective 8/1/91, 4/26/07
    effective 8/1/08, 4/29/10 effective 8/1/10)
         17.21.5.1.1 Exception -- Isolated Institution. If there are fewer than eight other Division I institutions that
         sponsor softball located within 400 miles of the institution, the institution may use any form of transportation to travel
         to the number of nonchampionship segment competitions that represents the difference between the number of other
         institutions and eight. (Adopted: 4/25/18)
         17.21.5.1.2 Hawaii or Alaska Exception -- Nonchampionship Segment Travel. Once every four years, an
         institution may use any form of transportation for travel to Hawaii or Alaska for nonchampionship segment
         competition against an active member institution located in Hawaii or Alaska. (Adopted: 4/28/11 effective 8/1/11)
         17.21.5.1.3 Daily Contest Limitations. There shall be a limit of three on the number of contests that may be
         played during any one calendar day. (Adopted: 1/12/99 effective 8/1/99)
         17.21.5.1.4 In-Season Foreign Competition. A member institution may play one or more of its countable
         contests in softball in one or more foreign countries on one trip during the prescribed playing season. However, except
         for contests played in Canada and Mexico or on a certified foreign tour (see Bylaw 17.32), the institution may not
         engage in such in-season foreign competition more than once every four years.
    17.21.5.2 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate each academic
    year in not more than 56 softball contests during the segment in which the NCAA championship is conducted and eight
    contests during the nonchampionship segment (this limitation includes those contests in which the student represents the
    institution in accordance with Bylaw 17.02.8, including competition as a member of the varsity, junior varsity or freshman
    team of the institution). (Revised: 1/10/91 effective 8/1/91, 4/26/07 effective 8/1/08)
         17.21.5.2.1 Daily Contest Limitations. There shall be a limit of three on the number of contests that may be
         played during any one calendar day. (Adopted: 1/12/99 effective 8/1/99)
    17.21.5.3 Annual Exemptions. The maximum number of softball contests shall exclude the following: (Adopted: 1/9/96
    effective 8/1/96, Revised: 9/6/00, 10/31/02, 5/19/22 effective 8/1/22)
     (a) Conference Championship. Competition in one conference championship tournament in softball (or the
         tournament used to determine the conference's automatic entry in the NCAA Division I Softball Championship);
     (b) Conference Playoff. Competition involving member institutions that tie for a conference championship. Such
         teams may participate in a single-elimination playoff to determine the conference's automatic entry in the NCAA
         Division I Softball Championship without the game(s) being counted as a postseason tournament;
     (c) NCAA Championship Play-In Competition. Competition in play-in contests conducted before the NCAA
         championship;

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     (d) Season-Ending Event. Competition in one season-ending event (e.g., NCAA championship). A season-ending
         event involves competition after the end of the regular season between teams that are not identified until the close of
         the regular season;
     (e) Alumni Game. One softball contest each year with an alumni team of the institution;
     (f) Foreign Team in the United States. One softball contest or both games of a doubleheader each year with a foreign
         opponent in the United States;
     (g) Hawaii or Alaska. Any softball games played in Hawaii or Alaska, respectively, against an active Division I member
         located in Hawaii or Alaska, by a member institution located outside the area in question;
     (h) Fundraising Activity. Any softball activities in which student-athletes from more than one of the institution's
         athletics teams participate with and against alumni and friends of the institution, the purpose of which is to raise funds
         for the benefit of an institution's athletics or other programs, provided the student-athletes do not miss classes as a
         result of their participation (see Bylaw 12.5.1.1);
     (i) Celebrity Sports Activity. Competition involving a limit of two student-athletes from a member institution's
         softball team who participate in local celebrity softball activities conducted for the purpose of raising funds for
         charitable organizations, provided:
          (1) The student-athletes do not miss classes as a result of the participation;
          (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
          (3) The activity takes place within a 30-mile radius of the institution's main campus.
     (j) U.S. National Team. One contest or both games of a double-header against any team as selected and designated by
         the appropriate national governing body for softball as a U.S. national team (e.g., "Under-21" U.S. national team).
    17.21.5.4 Once-in-Four-Years Exemption -- Foreign Tour. An institution may exempt those softball games played
    on a foreign tour, provided the tour is conducted by the member institution in accordance with the procedures set forth in
    Bylaw 17.32, from its maximum number of softball contests during any academic year. (Adopted: 1/9/96 effective 8/1/96,
    Revised: 4/26/07 effective 8/1/07)
17.21.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff shall not
engage in countable athletically related activities outside the institution’s declared playing season per Bylaw 17.21.1 except as
permitted in Bylaw 17.1.7.2. (Revised: 1/10/91 effective 8/1/91)
    17.21.6.1 Summer Practice. Practice that is organized or financially supported by a member institution shall be
    prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official
    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by
    student-athletes engaged in voluntary athletically related activities in their sport. (Revised: 1/10/91 effective 8/1/91, 4/28/05,
    11/1/07 effective 8/1/08)
17.21.7 Camps and Clinics. There are no limits on the number of student-athletes in softball who may be employed (e.g.,
as counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not participate as campers in their
institution’s camps or clinics. (Revised: 1/10/92)
17.21.8 Other Restrictions.
    17.21.8.1 Noncollegiate, Amateur Competition.
         17.21.8.1.1 During Academic Year. A student-athlete in softball who participates during the academic year as a
         member of any outside softball team in any noncollegiate, amateur competition (e.g., tournament play, exhibition
         games or other activity) except while representing the institution in intercollegiate softball competition shall be
         ineligible for intercollegiate softball competition unless eligibility is restored by the Committee on Student-Athlete
         Reinstatement (see Bylaw 17.34.3 for exceptions). (Revised: 1/10/91 effective 8/1/91, 1/16/93, 10/3/05)
             17.21.8.1.1.1 Vacation-Period Exception. A student-athlete may compete outside the institution’s declared
             playing and practice season as a member of an outside team in any noncollegiate, amateur competition during any
             official vacation period published in the institution’s catalog. The number of student-athletes from any one
             institution shall not exceed four. (Adopted: 1/11/94 effective 8/1/94)
         17.21.8.1.2 Out of Season. A member institution may permit not more than four student-athletes with eligibility
         remaining in intercollegiate softball to practice or compete out of season on an outside, amateur softball team
         (competition on an outside team permitted only during the summer, except as provided in Bylaw 17.21.8.1.1.1).
         (Revised: 1/10/91 effective 8/1/91)

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             17.21.8.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of a member institution
             may be involved in any capacity (e.g., coach, official, player or league/team administrator) at any time (during the
             academic year, vacation periods and summer) with an outside team that involves any student-athlete with
             eligibility remaining from the institution's softball team except as provided under Bylaws 17.1.1.1, 17.32 and
             17.34.3. (Revised: 4/28/05 effective 8/1/05)
             17.21.8.1.2.2 Olympic, Paralympic and National Team Development Program. There are no limits on
             the number of student-athletes from the same institution who may participate in Olympic, Paralympic and
             national team development programs. Such programs may also include a coach and student-athlete from the same
             institution, provided: (Revised: 2/21/02, 4/28/11, 1/22/20)
              (a) The national governing body conducts and administers the developmental program;
              (b) The national governing body selects coaches involved in the developmental program; and
              (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                  one particular institution, selects the involved participants.
    17.21.8.2 Equipment Issue, Squad Pictures. No limitations. (Revised: 1/11/89, 1/10/05)
17.22 Women's Stunt. Regulation for computing the women's stunt playing season are set forth in Bylaw 17.1. (See
Figure 17-1 and Figure 17-2.) (Adopted: 4/26/23 effective 8/1/23)
17.22.1 Length of Playing Season. The length of an institution's playing season in women's stunt shall be limited to a
144-day season, which may consist of two segments (each consisting of consecutive days) and which may exclude only required
days per Bylaw 17.1.7.4and official vacation, holiday and final-examination periods during which no practice or competition
shall occur. (Adopted: 4/26/23 effective 8/1/23)
17.22.2 Preseason Practice. An institution shall not commence practice sessions in women's stunt prior to the institution's
first day of classes for the fall term. (Adopted: 4/26/23 effective 8/1/23)
17.22.3 First Date of Competition. An institution shall not engage in its first date of competition with outside
competition in women's stunt prior to February 1. (Adopted: 4/26/23 effective 8/1/23)
17.22.4 End of Regular Playing Season. An institution shall conclude all practice and competition in women's stunt by
the conclusion of the College Stunt Association National Championship. (Adopted: 4/26/23 effective 8/1/23)
17.22.5 Number of Dates of Competition. (Adopted: 4/26/23 effective 8/1/23)
    17.22.5.1 Maximum Limitations -- Institutional. An institution shall limit its total playing schedule with outside
    competition in women's stunt during the playing season to 16 dates of competition, except for those dates of competition,
    except for those dates of competition excluded under Bylaw 17.23.5.3 and 17.23.5.4. (Adopted: 4/26/23 effective 8/1/23)
         17.22.5.1.1 In-Season Foreign Competition. An institution may play one or more of its countable dates of
         competition in women's stunt in one or more foreign countries on one trip during the prescribed playing season.
         However, except for contests played in Canada and Mexico or on a certified foreign tour (see Bylaw 17.30), the
         institution may not engage in such in-season foreign competition more than once every four years. (Adopted: 4/26/23
         effective 8/1/23)
    17.22.5.2 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate in each academic
    year in not more than 16 dates of competition (this limitation includes those dates of competition in which the student-
    athlete represents the institution in accordance with Bylaw 17.02.8, including competition as a member of the varsity team
    of the institution). (Adopted: 4/26/23 effective 8/1/23)
    17.22.5.3 Annual Exemptions. The maximum number of dates of competition in women's stunt shall exclude the
    following: (Adopted: 4/26/23 effective 8/1/23)
     (a) Conference Championship. Competition in one conference championship;
     (b) Season-Ending Event. Competition in one season-ending event. A season-ending tournament involves competition
         after the end of the regular season between teams that are not identified until the close of the regular season;
     (c) Alumni Contest. One date of competition each year against an alumni team of the institution.
     (d) Foreign Team in the United States. One date of competition each year with a foreign opponent in the United
         States;
     (e) Fundraising Activity. Any stunt activities in which student-athletes from more than one of the institution's athletics
         teams participate with and against alumni and friends of the institution, the purpose of which is to raise funds for the

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         benefits of the institution's athletics or other programs; provided the student-athletes do not miss class as a result of
         their participation (see Bylaw 12.5.1.1);
     (f) Celebrity Sports Activity. Competition involving a limit of two student-athletes from the institution's women's
         stunt team who participate in local celebrity stunt activities conducted for the purpose of raising funds for charitable
         organizations, provided:
          (1) The student-athletes do not miss classes as a result of the participation.
          (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
          (3) The activity takes place within a 30-mile radius of the institution's main campus.
     (g) U.S. National Team. One date of competition against any team as selected and designated by the appropriate
         national governing body for stunt as a U.S. national team; and
     (h) Hawaii, Alaska or Puerto Rico. Any dates of competition conducted in Hawaii, Alaska or Puerto Rico, respectively,
         either against or under the sponsorship of an active Division I institution located in Hawaii, Alaska or Puerto Rico, by
         a member located outside these locales.
    17.22.5.4 Once-in-Four-Years Exemption -- Foreign Tour. An institution may not exempt more than one foreign
    tour from its maximum number of dates of competition in women's stunt during any academic year and may not repeat
    participation in a foreign tour within a four-year period. The tour shall be conducted by the institution in accordance with
    the procedures set forth in Bylaw 17.31. (Adopted: 4/26/23 effective 8/1/23)
17.22.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff shall not
engage in countable athletically related activities outside the institution's declared playing season per Bylaw 17.2.1 except as
permitted in Bylaw 17.1.7.2 (Adopted: 4/26/23 effective 8/1/23)
    17.22.6.1 Summer Practice. Practice that is organized or financially supported by an institution shall be prohibited
    during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official interpretations. An
    institution may pay fees associated with the use of institutional practice and competition facilities by student-athletes
    engaged in voluntary athletically related activities in their sport. (Adopted: 4/26/23 effective 8/1/23)
    17.22.6.2 Vacation-Period and Summer Workout Exception. A coach may participate in individual workout
    sessions with student-athletes from the coach's team during any institutional vacation period and/or the summer, provided
    the request for the assistance is initiated by the student-athlete. (Adopted: 4/26/23 effective 8/1/23)
17.22.7 Safety Exception. A coach may be present during voluntary workouts in the institution's regular practice facility
(without the workouts being considered as countable athletically related activities) when a student-athlete is engaged in
individual skill work. The coach may provide safety or skill instruction but may not conduct the individual's workouts.
(Adopted: 4/26/23 effective 8/1/23)
17.22.8 Camps and Clinics. There are no limits on the number of student-athletes in women's stunt who may be employed
(e.g., as camp counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not participate as
campers in their institution's camps or clinics. (Adopted: 4/26/23 effective 8/1/23)
17.22.9 Other Restrictions. (Adopted: 4/26/23 effective 8/1/23)
    17.22.9.1 Noncollegiate, Amateur Competition. (Adopted: 4/26/23 effective 8/1/23)
         17.22.9.1.1 During Academic Year. A student-athlete in women's stunt who participates during the academic year
         as a member of any outside stunt team in any noncollegiate, amateur competition (e.g., tournament, exhibition meets
         or other activity) except while representing the institution in intercollegiate women's stunt competition shall be
         ineligible for intercollegiate stunt competition unless eligibility is restored by the Committee on Student-Athlete
         Reinstatement (see Bylaw 17.32.3 for exceptions). (Adopted: 4/26/23 effective 8/1/23)
             17.22.9.1.1.1 Vacation-Period Exception. A student-athlete in women's stunt may compete outside the
             institution's declared playing and practice season as a member of an outside team in any noncollegiate, amateur
             competition during any official vacation period published in the institution's catalog. There are no limitations on
             the number of student-athletes from any one institution who may compete on an outside amateur stunt team.
             (Adopted: 4/26/23 effective 8/1/23)
         17.22.9.1.2 Out of Season. There are no limits on the number of student-athletes from the same institution with
         eligibility remaining in intercollegiate women's stunt who may practice or compete out of season on an outside,
         amateur stunt team (competition on an outside team is permitted only during the summer except as provided in Bylaw
         17.23.9.1.1.1). (Adopted: 4/26/23 effective 8/1/23)


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              17.22.9.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of an institution may be
              involved in any capacity (e.g., coach, official, player or league/team administrator) during the academic year
              (including vacation periods during the academic year) with an outside team that involves any student-athlete with
              eligibility remaining from the institution's women's stunt team except as provided under Bylaws 17.1.1.1, 17.31
              and 17.32.3. (Adopted: 4/26/23 effective 8/1/23)
              17.22.9.1.2.2 Olympic and National Team Development Program. There are no limits on the number
              of student-athletes from the same institution who may participate in Olympic and national team development
              programs. Such programs may also include a coach and student-athlete from the same institution, provided:
              (Adopted: 4/26/23 effective 8/1/23)
              (a) The national governing body conducts and administers the development program;
              (b) The national governing body selects coaches involved in the development program; and
              (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                  one particular institution, selects the involved participants.
    17.22.9.2 Equipment Issues, Squad Pictures. No limitations. (Adopted: 4/26/23 effective 8/1/23)
17.23 Swimming and Diving. Regulations for computing the swimming and diving playing season are set forth
in Bylaw 17.1. (See Figure 17-1 and Figure 17-2.)
17.23.1 Length of Playing Season. The length of an institution's playing season, in swimming and diving shall be limited
to a 144-day season, which may consist of two segments (each consisting of consecutive days) and exclude only required off days
(see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-examination periods during which no
practice or competition shall occur. (Revised: 1/10/91 effective 8/1/91, 1/14/97 effective 8/1/97)
    17.23.1.1 Exception. A diving student-athlete may engage in diving sessions beyond the conclusion of the institution's
    144-day playing and practice season, provided the student-athlete does not engage in countable in-season athletically related
    activities for more than 144 days. (Adopted: 4/22/98 effective 8/1/98)
17.23.2 Preseason Practice. A member institution shall not commence practice sessions in swimming and diving prior to
September 7 or the institution's first day of classes for the fall term, whichever is earlier. (Revised: 1/14/97 effective 8/1/97)
17.23.3 First Date of Competition. A member institution shall not engage in its first date of competition (game or
scrimmage) with outside competition in swimming and diving prior to September 7 or the institution’s first day of classes for
the fall term, whichever is earlier. (Revised: 1/14/97 effective 8/1/97)
17.23.4 End of Regular Season. A member institution shall conclude all practice and competition (meets and practice
meets) in each segment in swimming and diving by the last date of final examinations for the regular academic year at the
institution. (Revised: 1/14/97 effective 8/1/97)
17.23.5 Number of Dates of Competition.
    17.23.5.1 Maximum Limitations -- Institutional. A member institution shall limit its total playing schedule with
    outside competition in swimming and diving during the institution's swimming and diving playing season to 20 dates of
    competition (games and scrimmages), except for those dates of competition excluded under Bylaws 17.23.5.3 and 17.23.5.4
    (see Bylaw 20.10.6.3 for minimum contests and participants requirements). (Revised: 1/10/91 effective 8/1/91)
         17.23.5.1.1 In-Season Foreign Competition. A member institution may engage in one or more of its countable
         dates of competition in swimming and diving in one or more foreign countries on one trip during the prescribed
         playing season. However, except for competition in Canada and Mexico or on a certified foreign tour (see Bylaw
         17.32), the institution may not engage in such in-season foreign competition more than once every four years.
    17.23.5.2 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate in each academic
    year in not more than 20 dates of competition (this limitation includes those dates of competition in which the student
    represents the institution in accordance with Bylaw 17.02.8, including competition as a member of the varsity, junior
    varsity or freshman team of the institution). (Revised: 1/10/91 effective 8/1/91)
    17.23.5.3 Annual Exemptions. The maximum number of dates of competition in swimming and diving shall exclude
    the following: (Adopted: 1/9/96 effective 8/1/96, Revised: 2/24/03, 4/26/17 effective 8/1/17, 5/19/22 effective 8/1/22)
     (a) Conference Championship. Competition in one conference championship meet in swimming and diving (or the
         meet used to determine the conference's entries in an NCAA swimming and diving championships);




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     (b) Season-Ending Event. Competition in one season-ending event (e.g., NCAA championships). A season-ending
         event involves competition after the end of the regular season between teams that are not identified until the close of
         the regular season;
     (c) Alumni Meet. One date of competition in swimming and diving each year against an alumni team of the institution;
     (d) Foreign Team in the United States. One date of competition in swimming and diving each year with a foreign
         opponent in the United States;
     (e) Hawaii, Alaska, Puerto Rico. Any dates of competition in Hawaii, Alaska or Puerto Rico, respectively, either
         against or under the sponsorship of an active member institution located in Hawaii, Alaska or Puerto Rico, by a
         member located outside the area in question;
     (f) Fundraising Activity. Any swimming and diving activities in which student-athletes from more than one of the
         institution's athletics teams participate with and against alumni and friends of the institution, the purpose of which is
         to raise funds for the benefit of the institution's athletics or other programs, provided the student-athletes do not miss
         classes as a result of their participation (see Bylaw 12.5.1.1);
     (g) Celebrity Sports Activity. Competition involving a limit of two student-athletes from a member institution's
         swimming and diving team who participate in local celebrity swimming and diving activities conducted for the purpose
         of raising funds for charitable organizations, provided:
          (1) The student-athletes do not miss classes as a result of the participation;
          (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
          (3) The activity takes place within a 30-mile radius of the institution's main campus.
     (h) U.S. National Team. One date of competition against any team as selected and designated by the appropriate
         national governing body for swimming and diving as a U.S. national team (e.g., "Under-21" U.S. national team).
    17.23.5.4 Once-in-Four-Years Exemption -- Foreign Tour. An institution may exempt the contests played on a
    foreign tour, provided the tour is conducted by the member institution in accordance with the procedures set forth in
    Bylaw 17.32). (Adopted: 1/9/96 effective 8/1/96, Revised: 4/26/07 effective 8/1/07)
17.23.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff shall not
engage in countable athletically related activities outside the institution's declared playing season pursuant to Bylaw 17.23.1
except as permitted in Bylaw 17.1.7.2. (Adopted: 1/9/96 effective 8/1/96)
    17.23.6.1 Summer Practice. Practice that is organized or financially supported by a member institution shall be
    prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official
    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by
    student-athletes engaged in voluntary athletically related activities in their sport. (Adopted: 1/9/96 effective 8/1/96, Revised:
    4/28/05, 11/1/07 effective 8/1/08)
    17.23.6.2 Vacation Period and Summer-Workout Sessions. A coach may participate in individual-workout
    sessions with student-athletes from the coach's team during any institutional vacation period and/or the summer, provided
    the request for such assistance is initiated by the student-athlete. (Adopted: 1/9/96 effective 8/1/96, Revised: 4/28/05, 4/25/18)
17.23.7 Safety Exception. A coach may be present during voluntary individual workouts in the institution's regular
practice facility (without the workouts being considered as countable athletically related activities) when the student-athlete is
engaged in swimming and diving. The coach may provide safety or skill instruction but may not conduct the individual's
workouts. (Adopted: 1/10/91 effective 8/1/91)
17.23.8 Camps and Clinics. There are no limits on the number of student-athletes in swimming and diving who may be
employed (e.g., as counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not participate as
campers in their institution’s camps or clinics. (Adopted: 1/9/96 effective 8/1/96)
17.23.9 Other Restrictions.
    17.23.9.1 Noncollegiate, Amateur Competition.
         17.23.9.1.1 During Academic Year. A student-athlete in swimming and diving who participates during the
         academic year as a member of any outside team in any noncollegiate, amateur competition (e.g., team invitational
         meet, exhibition meets or other activity) except while representing the institution in intercollegiate competition shall be
         ineligible for intercollegiate swimming and diving competition unless eligibility is restored by the Committee on
         Student-Athlete Reinstatement (see Bylaw 17.34.3 for exceptions). (Adopted: 1/9/96 effective 8/1/96, Revised: 10/3/05)


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                17.23.9.1.1.1 Vacation-Period Exception. A student-athlete may compete outside the institution’s declared
                playing and practice season as a member of an outside team in any noncollegiate, amateur competition during any
                official vacation period published in the institution’s catalog. (Adopted: 1/9/96 effective 8/1/96)
                17.23.9.1.1.2 Exception -- Conference All-Star Competition Against U.S. National Team. A student-
                athlete may compete during the academic year as a member of a conference all-star team in one contest against the
                USA Swimming National Team or the USA Diving National Team, provided the student-athlete is academically
                eligible for intercollegiate competition at the time of the competition. (Adopted: 4/25/18 effective 8/1/18)
         17.23.9.1.2 Out of Season. There are no limits on the number of student-athletes from the same member
         institution with eligibility remaining who may practice or compete out of season on an outside amateur team
         (competition on an outside team permitted only during the summer, except as provided in Bylaw 17.23.9.1.1.1).
         (Adopted: 1/9/96 effective 8/1/96)
                17.23.9.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of a member institution
                may be involved in any capacity (e.g., coach, official, player or league/team administrator) during the academic
                year (including vacation periods during the academic year) with an outside team that involves any student-athlete
                with eligibility remaining from the institution's swimming and diving team except as provided under Bylaws
                17.1.1.1, 17.32 and 17.34.3. (Revised: 4/28/05 effective 8/1/05)
                17.23.9.1.2.2 Olympic, Paralympic and National Team Development Program. There are no limits on
                the number of student-athletes from the same institution who may participate in Olympic, Paralympic and
                national team development programs. Such programs may also include a coach and student-athlete from the same
                institution, provided: (Revised: 2/21/02, 4/28/11, 1/22/20)
                (a) The national governing body conducts and administers the developmental program;
                (b) The national governing body selects coaches involved in the developmental program; and
                (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                    one particular institution, selects the involved participants.
    17.23.9.2 Equipment Issue, Squad Pictures. No limitations.
17.24 Tennis. Regulations for computing the tennis playing season are set forth in Bylaw 17.1. (See Figure 17-1 and
Figure 17-2.)
17.24.1 Length of Playing Season. The length of an institution’s playing season in tennis shall be limited to a 144-day
season, which may consist of two segments (each consisting of consecutive days) and which may exclude only required off days
(see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-examination periods during which no
practice or competition shall occur. (Revised: 1/10/91 effective 8/1/91, 1/14/97 effective 8/1/97)
17.24.2 Preseason Practice. A member institution shall not commence practice sessions in tennis prior to September 7 or
the institution’s first day of classes for the fall term, whichever is earlier. (Revised: 1/14/97 effective 8/1/97)
17.24.3 First Date of Competition. A member institution shall not engage in its first date of competition (meet or
practice meet) with outside competition in tennis prior to September 7 or the institution’s first day of classes for the fall term,
whichever is earlier. (Revised: 1/14/97 effective 8/1/97)
17.24.4 End of Regular Playing Season. A member institution shall conclude all practice and competition (meets and
practice meets) in tennis by the conclusion of the NCAA tennis championships in the institution's division. (Revised: 1/14/97
effective 8/1/97)
17.24.5 Number of Dates of Competition.
    17.24.5.1 Maximum Limitations -- Institutional. A member institution shall limit its total playing schedule with
    outside competition in tennis during the permissible tennis playing season to 25 dates of competition (including not more
    than seven individual singles and/or doubles tournaments that are counted as single dates of competition), except for those
    dates of competition excluded under Bylaws 17.24.5.3 and 17.24.5.4 (see Bylaw 20.10.6.3 for minimum contests and
    participants requirements). (Revised: 1/10/91 effective 8/1/91)
         17.24.5.1.1 Dual Tennis Match. A dual tennis match in which head-to-head competition occurs between two
         collegiate institutions or between an intercollegiate team and an outside team shall count as one date of competition.
         17.24.5.1.2 Individual Singles or Doubles Tournament Limitations -- Institutional. An individual singles
         or doubles tournament that does not include any team scoring or the recognition of a team champion shall count as a
         single date of competition (not to exceed the maximum number of tournaments noted in Bylaw 17.24.5.1) for those
         institutions that have more than four student-athletes competing therein, regardless of the number of days during
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         which tournament competition takes place. If more than four student-athletes represent an institution in such
         tournaments at different sites on the same date, the institution must count an institutional date of competition for that
         date (see Bylaw 17.02.6.1). (Revised: 10/20/08, 1/15/09 effective 8/1/09)
             17.24.5.1.2.1 Participation in Multiple Tournaments on the Same Day or Days. An institution that
             participates in multiple individual singles or doubles tournaments on the same day or days may select any day on
             which all the tournaments are conducted as one institutional date of competition. Participation in a separate event
             (e.g., dual match, tournament that includes team scoring) on the selected day shall be counted as follows:
             (Adopted: 3/10/04, Revised: 10/15/08, 6/20/11)
              (a) If the institution participates in a separate event on the selected day, it is not required to count an additional
                  date of competition.
              (b) If the institution participates in a separate event on a day not selected as the date of competition associated
                  with multiple individual singles or doubles tournaments, the institution is required to count an additional
                  date of competition only if the total number of student-athletes participating in the separate event equals or
                  exceeds the minimum participants requirement in Bylaw 20.10.6.3.
         17.24.5.1.3 Participation in Tournament Played under the Team Tennis Format -- Institutional. A
         tournament, involving both male and female participants (comprised of not more than three men and three women),
         played under the rules and format of Team Tennis, shall not count as a date of competition for either the men's or
         women's team, regardless of the actual number of days during which competition takes place. (Adopted: 1/11/94
         effective 8/1/94, Revised: 1/12/99 effective 8/1/99)
         17.24.5.1.4 In-Season Foreign Competition. A member institution may engage in one or more of its countable
         dates of competition in tennis in one or more foreign countries on one trip during the prescribed playing season.
         However, except for competition in Canada and Mexico or on a certified foreign tour (see Bylaw 17.32), the
         institution may not engage in such in-season foreign competition more than once every four years.
   17.24.5.2 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate in each academic
   year in not more than 25 dates of competition (including not more than seven individual singles and/or doubles
   tournaments that are counted as a single date of competition). This limitation includes those contests in which the student
   represents the institution in accordance with Bylaw 17.02.8, including competition as a member of the varsity, junior
   varsity or freshman team of the institution. (Revised: 1/10/91 effective 8/1/91)
         17.24.5.2.1 Individual Singles or Doubles Tournament Limitations -- Student-Athlete. An individual
         singles or doubles tournament that does not include any team scoring or the recognition of a team champion shall
         count as a single date of competition (in not more than seven tournaments) for the participating individuals, regardless
         of the number of days during which tournament competition takes place. (Revised: 1/10/91 effective 8/1/91)
         17.24.5.2.2 Individual Singles or Doubles Team Tennis Tournament Limitations -- Student-Athlete. A
         tournament conducted more than one day, under the rules and format of Team Tennis, shall count as one date of
         competition for the participating individuals, regardless of the actual number of days during which tournament
         competition takes place. (Adopted: 1/11/94 effective 8/1/94, Revised: 1/12/99 effective 8/1/99)
   17.24.5.3 Annual Exemptions. The maximum number of dates of competition in tennis shall exclude the following:
   (Adopted: 1/9/96 effective 8/1/96, Revised: 9/6/00, 2/24/03, 5/19/22 effective 8/1/22)
    (a) Conference Championship. Competition in one conference championship tournament in tennis (or the
        tournament used to determine the conference's automatic entries in the NCAA tennis championships);
    (b) Season-Ending Event. Competition in one season-ending event (e.g., NCAA championships). A season-ending
        event involves competition after the end of the regular season between teams that are not identified until the close of
        the regular season;
    (c) Alumni Match. One date of competition in tennis each year against an alumni team of the institution;
    (d) Foreign Team in the United States. One date of competition in tennis each year with a foreign opponent in the
        United States;
    (e) Hawaii or Alaska. Any dates of competition in Hawaii or Alaska, respectively, against an active Division I member
        institution located in Hawaii or Alaska, by a member located outside the area in question;
    (f) ITA Championships. Participation in the Intercollegiate Tennis Association men's and women's national indoor
        team championships;



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     (g) Fundraising Activity. Any tennis activities in which athletes from more than one of the institution's athletics teams
         or in which team members of that sport participate with and against alumni and friends of the institution, the purpose
         of which is to raise funds for the benefit of an institution's athletics or other programs, provided the student-athletes do
         not miss classes as a result of their participation (see Bylaw 12.5.1.1);
     (h) Celebrity Sports Activity. Competition involving a limit of two student-athletes from a member institution's tennis
         team who participate in local celebrity tennis activities conducted for the purpose of raising funds for charitable
         organizations, provided:
          (1) The student-athletes do not miss classes as a result of the participation;
          (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
          (3) The activity takes place within a 30-mile radius of the institution's main campus.
     (i) U.S. National Team. One date of competition played against any team as selected and designated by the appropriate
         national governing body for tennis as a U.S. national team (e.g., "Under-21" U.S. national team).
    17.24.5.4 Once-in-Four-Years Exemption -- Foreign Tour. An institution may exempt the contests played on a
    foreign tour, provided the tour is conducted by the member institution in accordance with the procedures set forth in
    Bylaw 17.32). (Adopted: 1/9/96 effective 8/1/96, Revised: 4/26/07 effective 8/1/07)
17.24.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff shall not
engage in countable athletically related activities outside the institution's declared playing season per Bylaw 17.24.1 except as
permitted in Bylaw 17.1.7.2. (Revised: 1/10/91 effective 8/1/91)
    17.24.6.1 Summer Practice. Practice that is organized or financially supported by a member institution shall be
    prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official
    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by
    student-athletes engaged in voluntary athletically related activities in their sport. (Revised: 1/10/91 effective 8/1/91, 1/10/92,
    4/28/05, 11/1/07 effective 8/1/08)
    17.24.6.2 Vacation Period and Summer-Workout Sessions. A coach may participate in individual-workout
    sessions with student-athletes from the coach's team during any institutional vacation period and/or the summer, provided
    the request for such assistance is initiated by the student-athlete. (Adopted: 1/10/92, Revised: 1/11/94, 4/28/05, 4/25/18)
17.24.7 Camps and Clinics. There are no limits on the number of student-athletes in tennis who may be employed (e.g., as
counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not participate as campers in their
institution’s camps or clinics. (Revised: 1/10/92)
17.24.8 Other Restrictions.
    17.24.8.1 Noncollegiate, Amateur Competition.
         17.24.8.1.1 During Academic Year. A student-athlete in tennis who participates during the academic year as a
         member of any outside tennis team in any noncollegiate, amateur competition (e.g., tournament play, exhibition games
         or other activity) except while representing the institution in intercollegiate tennis competition shall be ineligible for
         intercollegiate tennis competition unless eligibility is restored by the Committee on Student-Athlete Reinstatement (see
         Bylaw 17.34.3 for exceptions). (Revised: 1/10/91 effective 8/1/91, 1/16/93, 10/3/05)
             17.24.8.1.1.1 Vacation-Period Exception. A student-athlete may compete outside the institution’s declared
             playing and practice season as a member of an outside team in any noncollegiate, amateur competition during any
             official vacation period published in the institution’s catalog. The number of student-athletes from any one
             institution shall not exceed two. (Adopted: 1/11/94 effective 8/1/94)
         17.24.8.1.2 Out of Season. There are no limits to the number of student-athletes with eligibility remaining in
         intercollegiate tennis who may practice or compete out of season on an outside, amateur tennis team (competition on
         an outside team permitted only during the summer, except as provided in Bylaw 17.24.8.1.1.1). (Revised: 1/10/91
         effective 8/1/91, 1/16/93)
             17.24.8.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of a member institution
             may be involved in any capacity (e.g., coach, official, player or league/team administrator) during the academic
             year (including vacation periods during the academic year) with an outside team that involves any student-athlete
             with eligibility remaining from the institution's tennis team except as provided under Bylaws 17.1.1.1, 17.32 and
             17.34.3. (Revised: 4/28/05 effective 8/1/05)
             17.24.8.1.2.2 Olympic, Paralympic and National Team Development Program. There are no limits on
             the number of student-athletes from the same institution who may participate in Olympic, Paralympic and
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              national team development programs. Such programs may also include a coach and student-athlete from the same
              institution, provided: (Revised: 2/21/02, 4/28/11, 1/22/20)
               (a) The national governing body conducts and administers the developmental program;
               (b) The national governing body selects coaches involved in the developmental program; and
               (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                   one particular institution, selects the involved participants.
    17.24.8.2 Equipment Issue, Squad Pictures. No limitations.
17.25 Track and Field, Indoor/Outdoor. Regulations for computing the indoor/outdoor track and field
playing season are set forth in Bylaw 17.1. (See Figure 17-1 and Figure 17-2.)
17.25.1 Length of Playing Season. The length of an institution's playing season in indoor and outdoor track and field
shall be limited to the following: (Revised: 1/10/91 effective 8/1/91, 1/14/97 effective 8/1/97, 4/25/18 effective 8/1/18)
(a) Indoor or Outdoor Track and Field. An institution that sponsors only indoor or outdoor track and field (but not both)
    or does not participate in the minimum number of contests with at least the minimum number of participants required to
    count both indoor and outdoor track and field in meeting division membership requirements is limited to a 144-day season
    for indoor and outdoor track and field combined, which may consist of multiple segments (each consisting of at least one
    week) and which may exclude only required off days (see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation,
    holiday and final-examination periods during which no practice or competition shall occur.
(b) Indoor and Outdoor Track and Field. An institution that sponsors both indoor and outdoor track and field and
    participates in at least the minimum number of contests with at least the minimum number of participants required to
    count both sports in meeting division membership requirements is limited to a 156-day season for indoor and outdoor
    track and field combined, which may consist of multiple segments (each consisting of at least one week) and which may
    exclude only required off days (see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-
    examination periods during which no practice or competition shall occur.
    17.25.1.1 Cross Country/Track and Field Participants. Track and field student-athletes listed as participants for
    cross country must participate fully in cross country practices. If student-athletes are practicing in track and field events
    unrelated to cross country, such practice must be counted in the institution’s established segment in track and field.
    (Adopted: 1/10/92)
17.25.2 Preseason Practice. A member institution shall not commence practice sessions in indoor and outdoor track and
field prior to September 7 or the institution’s first day of classes for the fall term, whichever is earlier. (Revised: 1/14/97 effective
8/1/97)
17.25.3 First Date of Competition. A member institution shall not engage in its first date of competition (meet or
practice meet) with outside competition in indoor and outdoor track and field prior to September 7 or the institution's first day
of classes for the fall term, whichever is earlier. (Revised: 1/14/97 effective 8/1/97)
17.25.4 End of Regular Season. A member institution shall conclude all practice and competition (meets and practice
meets) in each segment in indoor and outdoor track and field by the conclusion of the NCAA Division I Track and Field
Championships. (Revised: 1/14/97 effective 8/1/97)
17.25.5 Number of Dates of Competition.
    17.25.5.1 Maximum Limitations -- Institutional. An institution shall limit its total playing schedule with outside
    competition in indoor or outdoor track and field during the permissible indoor or outdoor track and field playing season to
    18 dates of competition. An institution that sponsors indoor and outdoor track and field and participates in at least the
    minimum number of contests with at least the minimum number of participants required to count both sports in meeting
    divisional membership requirements shall limit its total playing schedule with outside competition in indoor/outdoor track
    and field during the permissible indoor/outdoor track and field playing season to 18 dates of competition. These limitations
    do not include those dates of competition excluded under Bylaws 17.25.5.3 and 17.25.5.4 (see Bylaw 20.10.6.3 for
    minimum contests and participants requirements). (Revised: 1/10/91 effective 8/1/91, 1/16/93 effective 8/1/93, 12/10/97,
    3/10/04, 6/20/11)
         17.25.5.1.1 Two-Day Meets. An institution may count a maximum of six two-day meets each as a single date of
         competition. The institution may select either day of a two-day meet as the day on which to count the single date of
         competition. Participation in a separate event on either day shall be counted as follows: (Adopted: 6/20/11)
          (a) If the institution participates in a separate event on the selected day, it is not required to count an additional date
              of competition.
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         (b) If the institution participates in a separate event on the day not selected, the institution is required to count an
             additional date of competition only if the total number of student-athletes participating in the separate event
             equals or exceeds the minimum participants requirement in Bylaw 20.10.6.3.
             17.25.5.1.1.1 Competition That Exceeds Two Days. An institution that participates in a meet that exceeds
             two days in duration may count the first two days of competition as one of the six two-day meets that each count
             as a single date of competition but must count any additional days as separate dates of competition. The
             institution may select either of the first two days of such a meet as the day on which to count the single date of
             competition. Participation in a separate event on either day shall be counted as follows: (Adopted: 3/10/04, Revised:
             6/20/11)
              (a) If the institution participates in a separate event on the selected day, it is not required to count an additional
                  date of competition.
              (b) If the institution participates in a separate event on the day not selected, the institution is required to count an
                  additional date of competition only if the total number of student-athletes participating in the separate event
                  equals or exceeds the minimum participants requirement in Bylaw 20.10.6.3.
         17.25.5.1.2 In-Season Foreign Competition. A member institution may engage in one or more of its countable
         dates of competition in indoor and outdoor track and field in one or more foreign countries on one trip during the
         prescribed playing season. However, except for competition in Canada and Mexico or on a certified foreign tour (see
         Bylaw 17.32), the institution may not engage in such in-season foreign competition more than once every four years.
   17.25.5.2 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate in each academic
   year in not more than 18 dates of competition in indoor or outdoor track and field. An individual student-athlete
   competing in indoor and outdoor track and field at a member institution that uses both indoor and outdoor track and field
   to meet divisional sports sponsorship requirements may participate in each academic year in not more than 18 dates of
   competition, which may include not more than six two-day meets that shall each count as a single date. These limitations
   include those contests in which the student represents the institution in accordance with Bylaw 17.02.8, including
   competition as a member of the varsity, junior varsity or freshman team of the institution. (Revised: 1/10/91 effective 8/1/91,
   1/16/93 effective 8/1/93)
   17.25.5.3 Annual Exemptions. The maximum number of dates of competition in indoor and outdoor track and field
   shall exclude the following: (Adopted: 1/9/96 effective 8/1/96, Revised: 9/6/00, 2/24/03, 5/19/22 effective 8/1/22)
    (a) Conference Championship. Competition in one conference championship meet in indoor track and field and one
        such meet in outdoor track and field;
    (b) Season-Ending Event. Competition in one season-ending event (e.g., NCAA championships). A season-ending
        event involves competition after the end of the regular season between teams that are not identified until the close of
        the regular season;
    (c) Alumni Meet. One date of competition in indoor and outdoor track and field each year against an alumni team of the
        institution;
    (d) Foreign Team in the United States. One date of competition in indoor and outdoor track and field each year with
        a foreign opponent in the United States;
    (e) Hawaii or Alaska. Any dates of competition in Hawaii or Alaska, respectively, against an active Division I member
        located in Hawaii or Alaska, by a member located outside the area in question;
    (f) Fundraising Activity. Any indoor or outdoor track and field activities in which student-athletes from more than one
        of the institution's athletics teams participate with and against alumni and friends of the institution, the purpose of
        which is to raise funds for the benefit of the institution's athletics or other programs, provided the student-athletes do
        not miss classes as a result of their participation (see Bylaw 12.5.1.1);
    (g) Celebrity Sports Activity. Competition involving a limit of two student-athletes from a member institution's
        indoor/outdoor track and field team who participate in local celebrity track and field activities conducted for the
        purpose of raising funds for charitable organizations, provided:
         (1) The student-athletes do not miss classes as a result of the participation;
         (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
         (3) The activity takes place within a 30-mile radius of the institution's main campus.



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     (h) U.S. National Team. Any date of competition against any team as selected and designated by the appropriate
         national governing body for indoor/outdoor track and field as a U.S. national team (e.g., "Under-21" U.S. national
         team).
    17.25.5.4 Once-in-Four-Years Exemption -- Foreign Tour. An institution may exempt the contests played on a
    foreign tour, provided the tour is conducted by the member institution in accordance with the procedures set forth in
    Bylaw 17.32. (Adopted: 1/9/96 effective 8/1/96)
17.25.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff shall not
engage in countable athletically related activities outside the institution’s declared playing season per Bylaw 17.25.1 except as
permitted in Bylaw 17.1.7.2. (Revised: 1/10/91 effective 8/1/91)
    17.25.6.1 Summer Practice. Practice that is organized or financially supported by a member institution shall be
    prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official
    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by
    student-athletes engaged in voluntary athletically related activities in their sport. (Revised: 1/10/91 effective 8/1/91, 1/10/92,
    4/28/05, 11/1/07 effective 8/1/08)
    17.25.6.2 Vacation Period and Summer-Workout Sessions. A coach may participate in individual-workout
    sessions with student-athletes from the coach's team during any institutional vacation period and/or summer, provided the
    request for such assistance is initiated by the student-athlete. (Adopted: 1/10/92, Revised: 1/11/94, 4/28/05, 4/25/18)
17.25.7 Safety Exception. A coach may be present during voluntary individual workouts in the institution's regular
practice facility (without the workouts being considered as countable athletically related activities) when the student-athlete is
engaged in field events, jumping hurdles or the jumping element of the steeplechase. The coach may provide safety or skill
instruction but may not conduct the individual’s workouts. (Adopted: 1/10/91 effective 8/1/91, Revised: 4/30/09)
17.25.8 Camps and Clinics. There are no limits on the number of student-athletes in indoor or outdoor track and field
who may be employed (e.g., as counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not
participate as campers in their institution’s camps or clinics. (Revised: 1/10/92)
17.25.9 Other Restrictions.
    17.25.9.1 Noncollegiate, Amateur Competition.
         17.25.9.1.1 During Academic Year. A student-athlete in indoor/outdoor track and field who participates during
         the academic year as a member of any outside indoor/outdoor track and field team in any noncollegiate, amateur
         competition (e.g., team invitational meet, exhibition meets or other activity) except while representing the institution
         in intercollegiate indoor/outdoor track and field competition shall be ineligible for intercollegiate indoor/outdoor track
         and field competition unless eligibility is restored by the Committee on Student-Athlete Reinstatement (see Bylaw
         17.34.3 for exceptions). (Revised: 1/10/91 effective 8/1/91, 1/16/93, 10/3/05)
              17.25.9.1.1.1 Vacation-Period Exception. A student-athlete may compete outside the institution’s declared
              playing and practice season as a member of an outside team in any noncollegiate, amateur competition during any
              official vacation period published in the institution’s catalog. The number of student-athletes from any one
              institution shall not exceed seven. (Adopted: 1/11/94 effective 8/1/94)
         17.25.9.1.2 Out of Season. There are no limits on the number of student-athletes with eligibility remaining in
         intercollegiate indoor/outdoor track and field who may practice or compete out of season on an outside, amateur
         indoor/outdoor track and field team (competition on an outside team permitted only during the summer, except as
         provided in Bylaw 17.25.9.1.1.1). (Revised: 1/10/91 effective 8/1/91, 1/16/93)
              17.25.9.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of a member institution
              may be involved in any capacity (e.g., coach, official, player or league/team administrator) during the academic
              year (including vacation periods during the academic year) with an outside team that involves any student-athlete
              with eligibility remaining from the institution's indoor/outdoor track and field team except as provided under
              Bylaws 17.1.1.1, 17.32 and 17.34.3. (Revised: 4/28/05 effective 8/1/05)
              17.25.9.1.2.2 Olympic, Paralympic and National Team Development Program. There are no limits on
              the number of student-athletes from the same institution who may participate in Olympic, Paralympic and
              national team development programs. Such programs may also include a coach and student-athlete from the same
              institution, provided: (Revised: 2/21/02, 4/28/11, 1/22/20)
              (a) The national governing body conducts and administers the developmental program;
              (b) The national governing body selects coaches involved in the developmental program; and

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              (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                  one particular institution, selects the involved participants.
    17.25.9.2 Equipment Issue, Squad Pictures. No limitations.
17.26 Women's Triathlon. Regulations for computing the women's triathlon playing season are set forth in Bylaw
17.1. (See Figure 17-1 and Figure 17-2.) (Adopted: 1/18/14 effective 8/1/14)
17.26.1 Length of Playing Season. The length of an institution's playing season in women's triathlon shall be limited to
a 144-day season, which may consist of two segments (each consisting of consecutive days) and which may exclude only required
off days (see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-examination periods during which
no practice or competition shall occur. (Adopted: 1/18/14 effective 8/1/14)
17.26.2 Preseason Practice. A member institution shall not commence practice sessions in women's triathlon prior to the
date that permits a maximum of 21 units (see Bylaw 17.02.13) prior to the first scheduled intercollegiate contest. (Adopted:
1/18/14 effective 8/1/14)
17.26.3 First Date of Competition. A member institution shall not engage in its first date of competition (game or
scrimmage) with outside competition in women's triathlon prior to September 1 or the preceding Friday if September 1 falls on
a Saturday, Sunday or Monday (see Figure 17-2). (Adopted: 1/18/14 effective 8/1/14)
17.26.4 End of Regular Playing Season. A member institution shall conclude all practice and competition (games and
scrimmages) in women's triathlon by the last date of final examinations for the regular academic year at the institution.
(Adopted: 1/18/14 effective 8/1/14)
17.26.5 Number of Dates of Competition.
    17.26.5.1 Maximum Limitations -- Institutional. A member institution shall limit its total playing schedule with
    outside competition in women's triathlon during the institution's playing season to six dates of competition except for those
    dates of competition excluded under Bylaws 17.26.5.3 and 17.26.5.4. (Adopted: 1/18/14 effective 8/1/14)
         17.26.5.1.1 In-Season Foreign Competition. A member institution may play one or more of its countable dates
         of competition in triathlon in one or more foreign countries on one trip during the prescribed playing season.
         However, except for contests played in Canada and Mexico or on a certified foreign tour (see Bylaw 17.32), the
         institution may not engage in such in-season foreign competition more than once every four years. (Adopted: 1/18/14
         effective 8/1/14)
    17.26.5.2 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate each academic
    year in not more than six dates of competition in triathlon, including not more than two during the segment in which the
    NCAA championship is not conducted. This limitation includes those dates of competition in which the student-athlete
    represents the institution in accordance with Bylaw 17.02.8, including competition as a member of the varsity, junior
    varsity or freshman team of the institution. (Adopted: 1/18/14 effective 8/1/14)
    17.26.5.3 Annual Exemptions. The maximum number of dates of competition in triathlon shall exclude the following:
    (Adopted: 1/18/14 effective 8/1/14, Revised: 5/19/22 effective 8/1/22)
     (a) Conference Championship. Competition in one conference championship or playoff in triathlon;
     (b) Season-Ending Event. Competition in one season-ending event (e.g. national intercollegiate championship). A
         season-ending event involves competition after the end of the regular season between teams that are not identified until
         the close of the regular season;
     (c) Alumni Contest. One date of competition each year against an alumni team of the institution;
     (d) Foreign Team in the United States. One date of competition each year with a foreign opponent in the United
         States conducted on the course on which the member institution regularly conducts its home dates of competition;
     (e) Fundraising Activity. Any triathlon activities in which student-athletes from more than one of the institution's
         athletics teams participate with and against alumni and friends of the institution, the purpose of which is to raise funds
         for the benefit of the institution's athletics or other programs, provided the student-athletes do not miss classes as a
         result of their participation (see Bylaw 12.5.1.1);
     (f) Celebrity Sports Activity. Competition involving a limit of two student-athletes from a member institution's
         triathlon team who participate in local celebrity triathlon activities conducted for the purpose of raising funds for
         charitable organizations, provided:
          (1) The student-athletes do not miss classes as a result of the participation;
          (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
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          (3) The activity takes place within a 30-mile radius of the institution's main campus.
     (g) U.S. National Team. One date of competition against any team as selected and designated by the appropriate
         national governing body for triathlon as a U.S. national team; and
     (h) Hawaii, Alaska or Puerto Rico. Any dates of competition conducted in Hawaii, Alaska or Puerto Rico, respectively,
         either against or under the sponsorship of an active Division I institution located in Hawaii, Alaska or Puerto Rico, by
         a member located outside these locales.
    17.26.5.4 Once-in-Four-Years Exemption -- Foreign Tour. An institution may not exempt more than one foreign
    tour from its maximum number of dates of competition in triathlon during any academic year and may not repeat
    participation in a foreign tour within a four-year period. The tour shall be conducted by the member institution in
    accordance with the procedures set forth in Bylaw 17.32. (Adopted: 1/18/14 effective 8/1/14)
17.26.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff shall not
engage in countable athletically related activities outside the institution's declared playing season per Bylaw 17.26.1 except as
permitted in Bylaw 17.1.7.2. (Adopted: 1/18/14 effective 8/1/14)
    17.26.6.1 Summer Practice. Practice that is organized or financially supported by a member institution shall be
    prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official
    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by
    student-athletes engaged in voluntary athletically related activities in their sport. (Adopted: 1/18/14 effective 8/1/14)
    17.26.6.2 Vacation Period and Summer-Workout Sessions. A coach may participate in individual-workout
    sessions with student-athletes from the coach's team during any institutional vacation period and/or summer, provided the
    request for such assistance is initiated by the student-athlete. (Adopted: 3/15/23)
17.26.7 Safety Exception. A coach may be present during voluntary individual workouts in the institution's regular
practice facility (without the workouts being considered as countable athletically related activities) when the student-athlete is
engaged in swimming or cycling. The coach may provide safety or skill instruction but may not conduct the individual's
workouts. (Adopted: 1/18/14 effective 8/1/14)
17.26.8 Camps and Clinics. There are no limits on the number of student-athletes in triathlon who may be employed (e.g.,
as counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not participate as campers in their
institution's camps or clinics. (Adopted: 1/18/14 effective 8/1/14)
17.26.9 Other Restrictions.
    17.26.9.1 Noncollegiate, Amateur Competition.
         17.26.9.1.1 During Academic Year. A student-athlete in triathlon who participates during the academic year as a
         member of any outside triathlon team in any noncollegiate, amateur competition (e.g., team invitational meet,
         exhibition meets or other activity) except while representing the institution in intercollegiate triathlon competition
         shall be ineligible for intercollegiate triathlon competition unless eligibility is restored by the Committee on Student-
         Athlete Reinstatement (see Bylaw 17.34.3 for exceptions). (Adopted: 1/18/14 effective 8/1/14)
              17.26.9.1.1.1 Vacation-Period Exception. A student-athlete in triathlon may compete outside the
              institution's declared playing and practice season as a member of an outside team in any noncollegiate, amateur
              competition during any official vacation period published in the institution's catalog. The number of student-
              athletes from any one institution shall not exceed two. (Adopted: 1/18/14 effective 8/1/14)
         17.26.9.1.2 Out of Season. There are no limits on the number of student-athletes from the same member
         institution with eligibility remaining in intercollegiate triathlon who may practice or compete out of season on an
         outside, amateur triathlon team (competition on an outside team is permitted only during the summer, except as
         provided in Bylaw 17.26.9.1.1.1). (Adopted: 1/18/14 effective 8/1/14)
              17.26.9.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of a member institution
              may be involved in any capacity (e.g., coach, official, player or league/team administrator) during the academic
              year (including vacation periods during the academic year) with any student-athlete with eligibility remaining
              from the institution's triathlon team except as provided under Bylaws 17.1.1.1, 17.32 and 17.34.3. (Adopted:
              1/18/14 effective 8/1/14)
              17.26.9.1.2.2 Olympic, Paralympic and National Team Development Program. There are no limits on
              the number of student-athletes from the same institution who may participate in Olympic, Paralympic and
              national team development programs. Such programs may also include a coach and student-athlete from the same
              institution, provided: (Adopted: 1/18/14 effective 8/1/14, Revised: 1/22/20)

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               (a) The national governing body conducts and administers the developmental program;
               (b) The national governing body selects coaches involved in the developmental program; and
               (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                   one particular institution, selects the involved participants.
    17.26.9.2 Equipment Issue, Squad Pictures. No limitations. (Adopted: 1/18/14 effective 8/1/14)
17.27 Volleyball. Regulations for computing the volleyball playing season are set forth in Bylaw 17.1. (See Figure 17-1
and Figure 17-2.)
17.27.1 Length of Playing Season. (Revised: 1/10/91 effective 8/1/91, 1/14/97 effective 8/1/97, 4/26/17 effective 8/1/17)
(a) Men. The length of an institution’s playing season in volleyball shall be limited to a 132-day season, which may consist of
    two segments (each consisting of consecutive days) and which may exclude only required off days (see Bylaws 17.1.7.4,
    17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-examination periods during which no practice or
    competition shall occur.
(b) Women. The length of an institution’s playing season in volleyball shall be limited to a 132-day season, which may consist
    of two segments.
     (1) Championship Segment. An institution’s championship segment must consist of consecutive days and may exclude
         only required days off (see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-examination
         periods during which no practice or competition shall occur.
     (2) Nonchampionship Segment. An institution’s nonchampionship segment shall be conducted within a period of 60
         consecutive calendar days (which may exclude official vacation, holiday and final-examination periods during which no
         practice or competition occurs) during the months of January, February, March, April and May under the following
         conditions:
          (i) Days used for practice or competition must be counted toward the 132-day season, but are not required to be
              consecutive;
          (ii) Days during which countable athletically related activities are limited solely to required conditioning activities are
               not required to count toward the 132-day season;
          (iii) During any week in which practice or competition occurs, a student-athlete's involvement in countable
               athletically related activities shall be limited to a maximum of four hours per day and 20 hours per week and all
               countable athletically related activities are prohibited during one calendar day per week; and
          (iv) Any week in which practice or competition does not occur shall be considered outside the playing season.
17.27.2 Preseason Practice -- Women. A member institution shall not commence practice sessions in women's volleyball
prior to 17 calendar days before the first scheduled intercollegiate contest (excluding the early alumni match) An institution may
not begin practice in its segment in which the NCAA championship is not conducted until January 1. (Revised: 4/28/05 effective
8/1/05, 4/27/06, 6/12/07, 3/16/15, 5/19/22 effective 8/1/22)
17.27.3 First Contest -- Women. A member institution shall not engage in its first contest (game or scrimmage) with
outside competition in women's volleyball until the Friday prior to September 1. If September 1 falls on a Friday, the first
permissible contest shall be the preceding Friday. If September 1 falls on a Saturday, the first permissible contest shall be two
Fridays prior to September 1. (See Figure 17-2.) An alumni match may be played during the week (Saturday-Friday) prior to the
first permissible contest. An institution may not begin competition in its segment in which the NCAA championship is not
conducted until January 1. (Revised: 4/28/05 effective 8/1/05, 6/30/22 effective 8/1/23)
    17.27.3.1 Exception -- Scrimmage/Exhibition Contest. An institution may play one scrimmage or exhibition
    contest (which shall not count toward the institution's won-lost record) prior to the first scheduled regular-season contest,
    provided the scrimmage or exhibition contest is conducted during the institution's declared playing season per Bylaw
    17.27.1 and is counted against the maximum number of contests (see Bylaw 17.27.7.1). A contest that would otherwise be
    exempted from the maximum number of contests per Bylaw 17.27.9 shall count against the maximum if it is played during
    the preseason practice period prior to the date specified for the first permissible regular-season contest. (Adopted: 4/26/17
    effective 8/1/17, Revised: 6/30/22 effective 8/1/23)
17.27.4 Preseason Practice -- Men. A member institution shall not commence practice sessions in men's volleyball prior
to September 7 or the institution's first day of classes for the fall term, whichever is earlier. (Revised: 1/14/97 effective 8/1/97)
17.27.5 First Date of Competition -- Men. A member institution shall not engage in its first date of competition (game
or scrimmage) with outside competition in men's volleyball prior to September 7 or the institution's first day of classes for the
fall term, whichever is earlier. (Revised: 1/14/97 effective 8/1/97)
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17.27.6 End of Regular Playing Season. A member institution shall conclude all practice and competition (games and
scrimmages) in volleyball on the following dates:
(a) Men. The conclusion of the National Collegiate Men's Volleyball Championship.
(b) Women. The last date of final examinations for the regular academic year at the institution.
17.27.7 Number of Contests and Dates of Competition -- Women.
    17.27.7.1 Maximum Limitations -- Institutional. A member institution shall limit its total playing schedule with
    outside competition in women's volleyball during the playing season to 32 contests during the segment in which the NCAA
    championship is conducted and four dates of competition during another segment, except for those contests or dates of
    competition excluded under Bylaws 17.27.9 and 17.27.10. Travel to competition in the nonchampionship segment shall be
    restricted to ground transportation, unless there are no Division I institutions that sponsor the sport located within 400
    miles of the institution. (Revised: 1/10/91 effective 8/1/91, 4/29/10 effective 8/1/10, 6/30/22 effective 8/1/23)
         17.27.7.1.1 Exception -- Isolated Institution. If there are fewer that four other Division I institutions that
         sponsor women's volleyball located within 400 miles of the institution, the institution may use any form of
         transportation to travel to the number of nonchampionship segment competitions that represents the difference
         between the number of other institutions and four. (Adopted: 4/25/18)
         17.27.7.1.2 Hawaii or Alaska Exception -- Nonchampionship Segment Travel. Once every four years, an
         institution may use any form of transportation for travel to Hawaii or Alaska for nonchampionship segment
         competition against an active member institution located in Hawaii or Alaska. (Adopted: 4/28/11 effective 8/1/11)
         17.27.7.1.3 In-Season Foreign Competition -- Women. A member institution may play one or more of its
         countable contests in women’s volleyball in one or more foreign countries on one trip during the prescribed playing
         season. However, except for contests played in Canada and Mexico or on a certified foreign tour (see Bylaw 17.32), the
         institution may not engage in such in-season foreign competition more than once every four years. (Revised: 6/30/22
         effective 8/1/23)
    17.27.7.2 Maximum Limitations -- Student-Athlete -- Women. An individual student-athlete may participate each
    academic year in not more than 32 contests in women's volleyball during the segment in which the NCAA championship is
    conducted and four dates of competition during another segment. This limitation includes those contests or dates of
    competition in which the student-athlete represents the institution in accordance with Bylaw 17.02.8, including
    competition as a member of the varsity, junior varsity or freshman team of the institution. (Revised: 1/10/91 effective 8/1/91,
    6/30/22 effective 8/1/23)
17.27.8 Number of Dates of Competition -- Men.
    17.27.8.1 Maximum Limitations -- Institutional. A member institution shall limit its total playing schedule with
    outside competition in men's volleyball during the playing season to not more than 28 dates of competition during the
    segment in which the NCAA championship is conducted and not more than four dates of competition during another
    segment, except for those dates of competition excluded under Bylaws 17.27.9 and 17.27.10. Travel to competition in the
    nonchampionship segment shall be restricted to ground transportation, unless there are no Division I institutions that
    sponsor the sport located within 400 miles of the institution. (Revised: 1/10/91 effective 8/1/91, 4/29/10 effective 8/1/10)
         17.27.8.1.1 Exception -- Isolated Institution. If there are fewer that four other Division I institutions that
         sponsor men's volleyball located within 400 miles of the institution, the institution may use any form of transportation
         to travel to the number of nonchampionship segment competitions that represents the difference between the number
         of other institutions and four. (Adopted: 4/25/18)
         17.27.8.1.2 Hawaii or Alaska Exception -- Nonchampionship Segment Travel. Once every four years, an
         institution may use any form of transportation for travel to Hawaii or Alaska for nonchampionship segment
         competition against an active member institution located in Hawaii or Alaska. (Adopted: 4/28/11 effective 8/1/11)
         17.27.8.1.3 In-Season Foreign Competition -- Men. A member institution may play one or more of its
         countable dates of competition in men's volleyball in one or more foreign countries on one trip during the prescribed
         playing season. However, except for those contests played in Canada and Mexico or on a certified foreign tour (see
         Bylaw 17.32), the institution may not engage in such in-season foreign competition more than once every four years.
    17.27.8.2 Maximum Limitations -- Student-Athlete -- Men. An individual student-athlete may participate each
    academic year in not more than 28 dates of competition in men's volleyball during the segment in which the NCAA
    championship is conducted and not more than four dates of competition during another segment. This limitation includes
    those dates of competition in which the student represents the institution in accordance with Bylaw 17.02.8, including
    competition as a member of the varsity, junior varsity or freshman team of the institution. (Revised: 1/10/91 effective 8/1/91)
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17.27.9 Annual Exemptions. The maximum number of dates of competition in volleyball shall exclude the following:
(Revised: 1/10/90, Adopted: 1/10/95, 1/9/96 effective 8/1/96, 9/6/00, 9/7/07, 6/1/11, 5/19/22 effective 8/1/22)
(a) Conference Championship. Competition in one conference championship tournament in volleyball (or the tournament
    used to determine the conference's automatic entry in an NCAA volleyball championship);
(b) Conference Playoff. Competition involving member institutions that tie for a conference volleyball championship. Such
    teams may participate in a single-elimination playoff to determine the conference's automatic entry in an NCAA volleyball
    championship without the date(s) of competition being counted as a postseason tournament;
(c) NCAA Championship Play-In Competition. Competition in play-in contests conducted before the NCAA
    championship;
(d) Season-Ending Event. Competition in one season-ending event (e.g., NCAA championship). A season-ending event
    involves competition after the end of the regular season between teams that are not identified until the close of the regular
    season;
(e) Alumni Game. One date of competition in volleyball each year against an alumni team of the institution;
(f) Foreign Team in the United States. One date of competition in volleyball each year with a foreign opponent in the
    United States;
(g) Hawaii or Alaska. Any dates of competition in volleyball in Hawaii or Alaska, respectively, against an active Division I
    institution located in Hawaii or Alaska, by a member located outside the area in question;
(h) Fundraising Activity. Any volleyball activities in which student-athletes from more than one of the institution's athletics
    teams participate with and against alumni and friends of the institution, the purpose of which is to raise funds for the
    benefit of the institution's athletics or other programs, provided the student-athletes do not miss classes as a result of their
    participation (see Bylaw 12.5.1.1);
(i) Celebrity Sports Activity. Competition involving a limit of two student-athletes from a member institution's volleyball
    team who participate in local celebrity volleyball activities conducted for the purpose of raising funds for charitable
    organizations, provided:
     (1) The student-athletes do not miss classes as a result of the participation;
     (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
     (3) The activity takes place within a 30-mile radius of the institution's main campus.
(j) U.S. National Team. One date of competition against any team as selected and designated by the appropriate national
    governing body for volleyball as a U.S. national team (e.g., "Under-21" U.S. national team).
(k) AVCA Volleyball Showcase. Competition in the AVCA Volleyball Showcase.
17.27.10 Once-in-Four-Years Exemption -- Foreign Tour. An institution may not exempt more than one foreign
tour from its maximum number of contests or dates of competition in volleyball during any academic year and may not repeat
participation in a foreign tour within a four-year period. The tour shall be conducted by the member institution in accordance
with the procedures set forth in Bylaw 17.32. (Adopted: 1/9/96 effective 8/1/96, Revised: 4/26/07 effective 8/1/07, 6/30/22 effective
8/1/23)
17.27.11 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff shall not
engage in countable athletically related activities outside the institution’s declared playing season per Bylaw 17.27.1 except as
permitted in Bylaw 17.1.7.2. (Revised: 1/10/91 effective 8/1/91)
    17.27.11.1 Summer Practice. Volleyball practice that is organized or financially supported by a member institution
    shall be prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official
    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by
    student-athletes engaged in voluntary athletically related activities in their sport. (Revised: 4/28/05, 11/1/07 effective 8/1/08)
17.27.12 Camps and Clinics. There are no limits on the number of student-athletes in volleyball who may be employed
(e.g., as counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not participate as campers in
their institution’s camps or clinics. (Revised: 1/10/92)
17.27.13 Other Restrictions.
    17.27.13.1 Noncollegiate, Amateur Competition.
         17.27.13.1.1 During Academic Year -- Men and Women. A student-athlete in volleyball who participates
         during the academic year as a member of any outside volleyball team in any noncollegiate, amateur competition (e.g.,
         tournament play, exhibition games or other activity) except while representing the institution in intercollegiate
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         volleyball competition shall be ineligible for intercollegiate volleyball competition unless eligibility is restored by the
         Committee on Student-Athlete Reinstatement (see Bylaw 17.34.3 for exceptions). (Revised: 1/10/91 effective 8/1/91,
         1/16/93, 10/3/05)
              17.27.13.1.1.1 Vacation-Period Exception. A student-athlete in men’s or women’s volleyball may compete
              outside the institution’s declared playing and practice season as a member of an outside team in any noncollegiate,
              amateur competition during any official vacation period published in the institution’s catalog. The number of
              student-athletes from any one institution shall not exceed two. (Adopted: 1/11/94 effective 8/1/94)
              17.27.13.1.1.2 May 1 Exception -- Women's Volleyball. A student-athlete in women's volleyball may
              compete outside the institution's declared playing and practice season as a member of an outside team in any
              noncollegiate, amateur competition, provided: (Adopted: 1/14/97 effective 8/1/97)
               (a) Such participation occurs not earlier than May 1;
               (b) The number of student-athletes from any one institution does not exceed two;
               (c) The competition is approved by the institution's director of athletics;
               (d) No class time is missed for practice activities or for competition; and
               (e) All practice and competition is confined to doubles tournaments in outdoor volleyball, either on sand or grass.
         17.27.13.1.2 Out of Season. In men's and women's volleyball, a member institution may permit not more than
         two student-athletes with eligibility remaining in intercollegiate volleyball to practice or compete out of season on an
         outside, amateur volleyball team (competition on an outside team permitted only during the summer, except as
         provided in Bylaws 17.27.13.1.1.1 and 17.27.13.1.1.2). (Revised: 1/10/91 effective 8/1/91, 1/16/93)
              17.27.13.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of a member institution
              may be involved in any capacity (e.g., coach, official, player or league/team administrator) at any time (during the
              academic year, vacation periods and summer) with an outside team that involves any student-athlete with
              eligibility remaining from the institution's volleyball team except as provided under Bylaws 17.1.1.1, 17.32 and
              17.34.3. (Revised: 4/28/05 effective 8/1/05)
              17.27.13.1.2.2 Olympic, Paralympic and National Team Development Program. There are no limits
              on the number of student-athletes from the same institution who may participate in Olympic, Paralympic and
              national team development programs. Such programs may also include a coach and student-athlete from the same
              institution, provided: (Revised: 2/21/02, 4/28/11, 1/22/20)
               (a) The national governing body conducts and administers the developmental program;
               (b) The national governing body selects coaches involved in the developmental program; and
               (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                   one particular institution, selects the involved participants.
    17.27.13.2 Equipment Issue, Squad Pictures. No limitations. (Revised: 1/11/89, 1/10/05)
17.28 Water Polo. Regulations for computing the men's and women's water polo playing season are set forth in Bylaw
17.1. (See Figure 17-1 and Figure 17-2.) (Revised: 1/9/96 effective 8/1/96)
17.28.1 Length of Playing Season. The length of an institution’s playing season in water polo shall be limited to a 132-
day season, which may consist of two segments (each consisting of consecutive days) and which may exclude only required off
days (see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-examination periods during which no
practice or competition shall occur. (Revised: 1/10/91 effective 8/1/91, 1/14/97 effective 8/1/97)
17.28.2 Preseason Practice. (Revised: 1/10/91 effective 8/1/91, 1/14/97 effective 8/1/97, 8/11/98, 4/14/03, 5/19/22 effective
8/1/22)
(a) Men. A member institution shall not commence practice sessions in men's water polo prior to 16 calendar days before the
    first scheduled intercollegiate contest.
(b) Women. A member institution shall not commence practice sessions in women's water polo prior to September 7 or the
    institution's first day of classes for the fall term, whichever is earlier.
17.28.3 First Date of Competition. (Revised: 1/10/91 effective 8/1/91, 1/16/93 effective 8/1/93, 1/14/97 effective 8/1/97,
8/11/98)
(a) Men. A member institution shall not engage in its first date of competition (game or scrimmage) with outside competition
    in men's water polo prior to the first Saturday in September (see Figure 17-2).

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(b) Women. A member institution shall not engage in its first date of competition (game or scrimmage) with outside
    competition in women's water polo prior to September 7 or the institution's first day of classes for the fall term, whichever
    is earlier.
17.28.4 End of Regular Playing Season. (Revised: 1/14/97 effective 8/1/97, 8/11/98)
(a) Men. A member institution shall conclude all practice and competition (games and scrimmages) in men's water polo by the
    last date of final exams for the regular academic year at the institution.
(b) Women. A member institution shall conclude all practice and competition (games and scrimmages) in women's water polo
    by the conclusion of the National Collegiate Women's Water Polo Championship.
17.28.5 Number of Dates of Competition.
    17.28.5.1 Maximum Limitations -- Institutional. A member institution shall limit its total playing schedule with
    outside competition in water polo during the institution's water polo playing season to 21 dates of competition during the
    segment in which the NCAA championship is conducted and four dates of competition during the nonchampionship
    segment, except for those dates of competition excluded under Bylaws 17.28.5.3 and 17.28.5.4. (Revised: 1/10/91 effective
    8/1/91, 5/19/22 effective 8/1/22)
         17.28.5.1.1 In-Season Foreign Competition. A member institution may play one or more of its countable dates
         of competition in water polo in one or more foreign countries on one trip during the prescribed playing season.
         However, except for contests played in Canada and Mexico or on a certified foreign tour (see Bylaw 17.32), the
         institution may not engage in such in-season foreign competition more than once every four years.
    17.28.5.2 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate in each academic
    year in not more than 21 dates of competition in water polo during the segment in which the NCAA championship is
    conducted and four dates of competition during the nonchampionship segment. This limitation includes those contests in
    which the student represents the institution in accordance with Bylaw 17.02.8, including competition as a member of the
    varsity, junior varsity or freshman team of the institution. (Revised: 1/10/91 effective 8/1/91, 5/19/22 effective 8/1/22)
    17.28.5.3 Annual Exemptions. The maximum number of dates of competition in water polo shall exclude the
    following: (Revised: 1/9/96 effective 8/1/96, 8/11/98, 9/6/00, 2/24/03, 5/19/22 effective 8/1/22)
     (a) Conference Championship -- Men and Women. Competition in one conference championship tournament in
         water polo (or the tournament used to determine the conference's automatic entry in the National Collegiate Men's
         Water Polo Championship or the tournament used to determine the conference's entry in the National Collegiate
         Women's Water Polo Championship);
     (b) Conference Playoff -- Men and Women. Competition involving member institutions that tie for a conference
         water polo championship. Such teams may participate in a single-elimination playoff to determine the conference's
         automatic entry in the National Collegiate Men's Water Polo Championship or the National Collegiate Women's
         Water Polo Championship without the game(s) being counted as a postseason tournament;
     (c) NCAA Championship Play-In Competition -- Men and Women. Competition in play-in contests conducted
         before the National Collegiate Men's Water Polo Championship or the National Collegiate Women's Water Polo
         Championship;
     (d) Season-Ending Event -- Men and Women. Competition in one season-ending event (e.g., NCAA championship).
         A season-ending event involves competition after the end of the regular season between teams that are not identified
         until the close of the regular season;
     (e) Alumni Game -- Men and Women. One date of competition in water polo each year against an alumni team of the
         institution;
     (f) Foreign Team in the United States -- Men and Women. One date of competition in water polo each year with a
         foreign opponent in the United States;
     (g) Hawaii, Alaska, Puerto Rico -- Men and Women. For men's and women's water polo, any dates of competition
         in Hawaii, Alaska or Puerto Rico, respectively, against an active member institution located in Hawaii, Alaska or
         Puerto Rico, by a member located outside the area in question;
     (h) Fundraising Activity -- Men and Women. Any water polo activities in which student-athletes from more than one
         of the institution's athletics teams participate with and against alumni and friends of the institution, the purpose of
         which is to raise funds for the benefit of the institution's athletics or other programs, provided the student-athletes do
         not miss classes as a result of their participation (see Bylaw 12.5.1.1);


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     (i) Celebrity Sports Activity -- Men and Women. Competition involving a limit of two student-athletes from a
         member institution's water polo team who participate in local celebrity water polo activities conducted for the purpose
         of raising funds for charitable organizations, provided:
          (1) The student-athletes do not miss classes as a result of the participation;
          (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
          (3) The activity takes place within a 30-mile radius of the institution's main campus.
     (j) U.S. National Team -- Men and Women. One date of competition against any team as selected and designated by
         the appropriate national governing body for water polo as a U.S. national team (e.g., "Under-21" U.S. national team).
    17.28.5.4 Once-in-Four-Years Exemption -- Foreign Tour. An institution may exempt the contests played on a
    foreign tour, provided the tour is conducted by the member institution in accordance with the procedures set forth in
    Bylaw 17.32. (Adopted: 1/9/96 effective 8/1/96, Revised: 4/26/07 effective 8/1/07)
17.28.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff shall not
engage in countable athletically related activities outside the institution's declared playing season per Bylaw 17.28.1 except as
permitted in Bylaw 17.1.7.2. (Revised: 1/10/91 effective 8/1/91)
    17.28.6.1 Summer Practice. Practice that is organized or financially supported by a member institution shall be
    prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official
    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by
    student-athletes engaged in voluntary athletically related activities in their sport. (Revised: 1/10/91 effective 8/1/91, 4/28/05,
    11/1/07 effective 8/1/08)
17.28.7 Camps and Clinics. There are no limits on the number of student-athletes in water polo who may be employed
(e.g., as counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not participate as campers in
their institution’s camps or clinics. (Revised: 1/10/92)
17.28.8 Safety Exception. A coach may be present during voluntary individual workouts in the institution’s regular
practice facility (without the workouts being considered as countable athletically related activities) when the student-athlete is
engaged in water polo. The coach may provide safety or skill instruction but may not conduct the individual’s workouts.
(Adopted: 1/10/91 effective 8/1/91)
17.28.9 Other Restrictions.
    17.28.9.1 Noncollegiate, Amateur Competition.
         17.28.9.1.1 During Academic Year. A student-athlete in water polo who participates during the academic year as
         a member of any outside water polo team in any noncollegiate, amateur competition (e.g., tournament play, exhibition
         games or other activity) except while representing the institution in intercollegiate water polo competition shall be
         ineligible for intercollegiate water polo competition unless eligibility is restored by the Committee on Student-Athlete
         Reinstatement (see Bylaw 17.34.3 for exceptions). (Revised: 1/10/91 effective 8/1/91, 1/16/93, 10/3/05)
              17.28.9.1.1.1 Vacation-Period Exception. A student-athlete may compete outside the institution’s declared
              playing and practice season as a member of an outside team in any noncollegiate, amateur competition during any
              official vacation period published in the institution’s catalog. There are no limitations on the number of student-
              athletes from any one institution who may compete on an outside amateur water polo team. (Adopted: 1/11/94
              effective 8/1/94, Revised: 1/10/95 effective 8/1/95)
              17.28.9.1.1.2 May 1 Exception. A student-athlete in men's water polo may compete outside an institution's
              declared playing and practice season as a member of an outside team in any noncollegiate, amateur competition,
              provided: (Adopted: 1/12/99 effective 5/1/99)
              (a) Such participation occurs not earlier than May 1;
              (b) The competition is approved by the institution's director of athletics; and
              (c) No class time is missed for practice activities or for competition.
         17.28.9.1.2 Out of Season. There are no limitations on the number of student-athletes from the same member
         institution with eligibility remaining who may practice or compete out of season on an outside amateur water polo
         team (competition on an outside team permitted only during the summer, except as provided in Bylaws 17.28.9.1.1.1
         and 17.28.9.1.1.2). (Revised: 1/10/91 effective 8/1/91, 1/16/93, 1/10/95 effective 8/1/95)
              17.28.9.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of a member institution
              may be involved in any capacity (e.g., coach, official, player or league/team administrator) during the academic
              year (including vacation periods during the academic year) with an outside team that involves any student-athlete
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              with eligibility remaining from the institution's water polo team except as provided under Bylaws 17.1.1.1, 17.32
              and 17.34.3. (Revised: 4/28/05 effective 8/1/05)
              17.28.9.1.2.2 Olympic, Paralympic and National Team Development Program. There are no limits on
              the number of student-athletes from the same institution who may participate in Olympic, Paralympic and
              national team development programs. Such programs may also include a coach and student-athlete from the same
              institution, provided: (Revised: 2/21/02, 4/28/11, 1/22/20)
               (a) The national governing body conducts and administers the developmental program;
               (b) The national governing body selects coaches involved in the developmental program; and
               (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                   one particular institution, selects the involved participants.
    17.28.9.2 Equipment Issue, Squad Pictures. No limitations. (Revised: 1/11/89, 1/10/05)
17.29 Men's Wrestling. Regulations for computing the men's wrestling playing season are set forth in Bylaw 17.1.
(See Figure 17-1 and Figure 17-2.) (Revised: 2/24/03, 6/23/20 effective 8/1/20)
17.29.1 Length of Playing Season. The length of an institution's playing season in men's wrestling shall be limited to a
144-day season, which may consist of two segments (each consisting of consecutive days) and exclude only required off days (see
Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-examination periods during which no practice or
competition shall occur. (Revised: 1/10/91 effective 8/1/91, 1/14/97 effective 8/1/97, 6/23/20 effective 8/1/20)
17.29.2 Preseason Practice. A member institution shall not commence practice sessions in men's wrestling prior to
October 10. (Revised: 1/14/97 effective 8/1/97, 1/15/11 effective 8/1/11, 6/23/20 effective 8/1/20)
17.29.3 First Date of Competition. A member institution shall not engage in its first date of competition (game or
scrimmage) with outside competition in men's wrestling prior to November 1. (Revised: 1/15/11 effective 8/1/11, 6/23/20 effective
8/1/20)
17.29.4 End of Regular Playing Season. A member institution shall conclude all practice and competition (meets and
practice meets) in men's wrestling by the last date of final examinations for the regular academic year at the institution. (Revised:
1/14/97 effective 8/1/97, 6/23/20 effective 8/1/20)
17.29.5 Number of Dates of Competition.
    17.29.5.1 Maximum Limitations -- Institutional. A member institution shall limit its total playing schedule with
    outside competition in men's wrestling during the permissible men's wrestling playing season to 16 dates of competition,
    except for those dates of competition excluded under Bylaws 17.29.5.3 and 17.29.5.4 (see Bylaw 20.10.6.3 for minimum
    contests and participants requirements). (Revised: 1/10/91 effective 8/1/91, 1/10/95 effective 8/1/95, 1/14/97 effective 8/1/97,
    1/14/08 effective 8/1/08, 6/20/11, 6/23/20 effective 8/1/20)
         17.29.5.1.1 Multiple-Day Competition and Dual Meets Within Three Consecutive Days. On not more
         than two occasions, an institution may count a multiple-day competition or two consecutive dual meets as one date of
         competition, if the following requirements are met: (Adopted: 6/20/11, Revised: 5/1/19 effective 8/1/19)
          (a) The multiple-day competition or two consecutive dual meets occur within three consecutive days; and
          (b) The institution participates in not more than one multiple-day event or not more than two dual meets during the
              three consecutive days.
         17.29.5.1.2 In-Season Foreign Competition. An institution may engage in one or more of its countable dates of
         competition in men's wrestling in one or more foreign countries on one trip during the prescribed playing season.
         However, except for competition in Canada and Mexico or on a certified foreign tour (see Bylaw 17.32), the
         institution may not engage in such in-season foreign competition more than once every four years. (Revised: 6/23/20
         effective 8/1/20)
    17.29.5.2 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate in each academic
    year in not more than 16 dates of competition in men's wrestling, which may include not more than two occasions in
    which a multiple-day event or two consecutive dual meets are held within three consecutive days that shall each count as a
    single date of competition (see Bylaw 17.29.5.1.1). This limitation includes those dates of competition in which the student
    represents the institution in accordance with Bylaw 17.02.8, including competition as a member of the varsity, junior
    varsity or freshman team of the institution. (Revised: 1/10/91 effective 8/1/91, 1/10/95 effective 8/1/95, 1/14/97 effective
    8/1/97, 1/14/08 effective 8/1/08, 5/1/19 effective 8/1/19, 6/23/20 effective 8/1/20)



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    17.29.5.3 Annual Exemptions. The maximum number of dates of competition in men's wrestling shall exclude the
    following: (Revised: 1/9/96 effective 8/1/96, Adopted: 10/27/98 effective 8/1/99, 9/6/00, 1/15/11 effective 8/1/11, 6/23/20
    effective 8/1/20, 5/19/22 effective 8/1/22)
     (a) Conference Championship. Competition in one conference championship tournament in wrestling (or the
         tournament used to determine the conference's automatic entries in the NCAA men's wrestling championships);
     (b) Season-Ending Event. Competition in one season-ending event (e.g., NCAA championships). A season-ending
         event involves competition after the end of the regular season between teams that are not identified until the close of
         the regular season;
     (c) Alumni Meet. One date of competition in men's wrestling each year against an alumni team of the institution;
     (d) Foreign Team in the United States. One date of competition in men's wrestling each year with a foreign
         opponent in the United States;
     (e) Hawaii or Alaska. Any dates of competition in Hawaii or Alaska, respectively, against an active Division I member
         institution located in Hawaii or Alaska, by a member located outside the area in question;
     (f) Fundraising Activity. Any men's wrestling activities in which student-athletes from more than one of the
         institution's athletics teams participate with and against alumni and friends of the institution, the purpose of which is
         to raise funds for the benefit of the institution's athletics or other programs, provided the student-athletes do not miss
         classes as a result of their participation (see Bylaw 12.5.1.1);
     (g) Celebrity Sports Activity. Competition involving a limit of two student-athletes from a member institution's men's
         wrestling team who participate in local celebrity men's wrestling activities conducted for the purpose of raising funds
         for charitable organizations, provided:
          (1) The student-athletes do not miss classes as a result of the participation;
          (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
          (3) The activity takes place within a 30-mile radius of the institution's main campus.
     (h) U.S. National Team. One date of competition against any team as selected and designated by the appropriate
         national governing body for men's wrestling as a U.S. national team (e.g., "Under-21" U.S. national team);
     (i) NWCA All-Star Meet. One date of competition in men's wrestling each year in the National Wrestling Coaches
         Association (NWCA) all-star meet; and
     (j) NWCA National Duals. Competition in the National Wrestling Coaches Association (NWCA) National Duals.
    17.29.5.4 Once-in-Four-Years Exemption -- Foreign Tour. An institution may exempt the contests played on a
    foreign tour, provided the tour is conducted by the member institution in accordance with the procedures set forth in
    Bylaw 17.32. (Adopted: 1/9/96 effective 8/1/96, Revised: 4/26/07 effective 8/1/07)
17.29.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff shall not
engage in countable athletically related activities outside the institution's declared playing season per Bylaw 17.29.1 except as
permitted in Bylaw 17.1.7.2. (Revised: 1/10/91 effective 8/1/91)
    17.29.6.1 Summer Practice. Practice that is organized or financially supported by a member institution shall be
    prohibited during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official
    interpretations. An institution may pay fees associated with the use of institutional practice and competition facilities by
    student-athletes engaged in voluntary athletically related activities in their sport. (Revised: 1/10/91 effective 8/1/91, 1/10/92,
    4/28/05, 11/1/07 effective 8/1/08)
    17.29.6.2 Vacation Period and Summer-Workout Sessions. A coach may participate in individual-workout
    sessions with student-athletes from the coach's team during any institutional vacation period and/or summer, provided the
    request for such assistance is initiated by the student-athlete. (Adopted: 1/10/92, Revised: 1/11/94, 4/28/05, 4/25/18)
17.29.7 Safety Exception. A coach may be present during voluntary individual workouts in the institution’s regular
practice facility (without the workouts being considered as countable athletically related activities) when the student-athlete is
engaged in men's wrestling. The coach may provide safety or skill instruction but may not conduct the individual’s workouts.
(Adopted: 1/10/91 effective 8/1/91, Revised: 6/23/20 effective 8/1/20)
17.29.8 Camps and Clinics. There are no limits on the number of student-athletes in men's wrestling who may be
employed (e.g., as counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not participate as
campers in their institution’s camps or clinics. (Revised: 1/10/92, 6/23/20 effective 8/1/20)
17.29.9 Other Restrictions.
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    17.29.9.1 Noncollegiate, Amateur Competition.
         17.29.9.1.1 During Academic Year. A student-athlete in men's wrestling who participates during the academic
         year as a member of any outside men's wrestling team in any noncollegiate, amateur competition (e.g., team
         invitational meets, exhibition meets or other activity) except while representing the institution in intercollegiate men's
         wrestling competition shall be ineligible for intercollegiate wrestling competition unless eligibility is restored by the
         Committee on Student-Athlete Reinstatement (see Bylaw 17.34.3 for exceptions). (Revised: 1/10/91 effective 8/1/91,
         1/16/93, 10/3/05, 6/23/20 effective 8/1/20)
              17.29.9.1.1.1 Vacation-Period Exception. A student-athlete may compete outside the institution's declared
              playing and practice season as a member of an outside team in any noncollegiate, amateur competition during any
              official vacation period published in the institution's catalog, except a vacation period that occurs between the
              beginning of the institution's academic year and November 1. The number of student-athletes from any one
              institution shall not exceed five. (Adopted: 1/11/94 effective 8/1/94, Revised: 1/15/11 effective 8/1/11)
         17.29.9.1.2 Out of Season. There are no limits on the number of student-athletes from the same member
         institution with eligibility remaining in intercollegiate men's wrestling who may practice or compete out of season on
         an outside, amateur men's wrestling team (competition on an outside team permitted only during the summer, except
         as provided in Bylaw 17.29.9.1.1.1). (Revised: 1/10/91 effective 8/1/91, 1/16/93, 6/23/20 effective 8/1/20)
              17.29.9.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of a member institution
              may be involved in any capacity (e.g., coach, official, player or league/team administrator) during the academic
              year (including vacation periods during the academic year) with an outside team that involves any student-athlete
              with eligibility remaining from the institution's men's wrestling team except as provided under Bylaws 17.1.1.1,
              17.32 and 17.34.3. (Revised: 4/28/05 effective 8/1/05, 6/23/20 effective 8/1/20)
              17.29.9.1.2.2 Olympic, Paralympic and National Team Development Program. There are no limits on
              the number of student-athletes from the same institution who may participate in Olympic, Paralympic and
              national team development programs. Such programs may also include a coach and student-athlete from the same
              institution, provided: (Revised: 2/21/02, 4/28/11, 1/22/20)
              (a) The national governing body conducts and administers the developmental program;
              (b) The national governing body selects coaches involved in the developmental program; and
              (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                  one particular institution, selects the involved participants.
    17.29.9.2 Equipment Issue, Squad Pictures. No limitations.
17.30 Women's Wrestling. Regulations for computing the women's wrestling playing season set forth in Bylaw
17.1. (See Figure 17-1 and Figure 17-2.) (Adopted: 6/23/20 effective 8/1/20)
17.30.1 Length of Playing Season. The length of an institution's playing season in women's wrestling shall be limited to
a 144-day season, which may consist of two segments (each consisting of consecutive days) and exclude only required off days
(see Bylaws 17.1.7.4, 17.1.7.6 and 17.1.7.7) and official vacation, holiday and final-examination periods during which no
practice or competition shall occur. (Adopted: 6/23/20 effective 8/1/20)
17.30.2 Preseason Practice. An institution shall not commence practice sessions in women's wrestling prior to October
10. (Adopted: 6/23/20 effective 8/1/20)
17.30.3 First Date of Competition. An institution shall not engage in its first date of competition (game or scrimmage)
with outside competition in women's wrestling prior to November 1. (Adopted: 6/23/20 effective 8/1/20)
17.30.4 End of Regular Playing Season. An institution shall conclude all practice and competition (meets and practice
meets) in women's wrestling by the last date of final examinations for the regular academic year at the institution. (Adopted:
6/23/20 effective 8/1/20)
17.30.5 Number of Dates of Competition.
    17.30.5.1 Maximum Limitations -- Institutional. An institution shall limit its total playing schedule with outside
    competition in women's wrestling during the permissible women's wrestling playing season to 16 dates of competition,
    except for those dates of competition excluded under Bylaw 17.30.5.3 and 17.30.5.4 (see Bylaw 20.10.6.3 for minimum
    contests and participants requirements). (Adopted: 6/23/20 effective 8/1/20)
         17.30.5.1.1 Multiple-Day Competition and Dual Meets Within Three Consecutive Days. On not more
         than two occasions, an institution may count a multiple-day competition or two consecutive dual meets as one date of
         competition, if the following requirements are met: (Adopted: 6/23/20 effective 8/1/20)
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          (a) The multiple-day competition or two consecutive dual meets occur within three consecutive days; and
          (b) The institution participates in not more than one multiple-day event or not more than two dual meets during the
              three consecutive days.
         17.30.5.1.2 In-Season Foreign Competition. An institution may engage in one or more of its countable dates of
         competition in women's wrestling in one or more foreign countries on one trip during the prescribed playing season.
         However, except for competition in Canada and Mexico or on a certified foreign tour (see Bylaw 17.32), the
         institution may not engage in such in-season foreign competition more than once every four years. (Adopted: 6/23/20
         effective 8/1/20)
    17.30.5.2 Maximum Limitations -- Student-Athlete. An individual student-athlete may participate in each academic
    year in not more than 16 dates of competitions in women's wrestling, which may include not more than two occasions in
    which a multiple-day event or two consecutive dual meets are held within three consecutive days that shall each count as a
    single date of competition (see Bylaw 17.30.5.1.1). This limitation includes those dates of competition in which the student
    represents the institution in accordance with Bylaw 17.02.8, including competition as a member of the varsity, junior
    varsity or freshman team of the institution. (Adopted: 6/23/20 effective 8/1/20)
    17.30.5.3 Annual Exemptions. The maximum number of dates of competition in women's wrestling shall exclude the
    following: (Adopted: 6/23/20 effective 8/1/20)
     (a) Conference Championship. Competition in one conference championship tournament;
     (b) Season-Ending Event. Competition in one season-ending event (e.g., national governing body championship). A
         season-ending event involves competition after the end of the regular season between teams that are not identified until
         the close of the regular season;
     (c) Alumni Meet. One date of competition in women's wrestling each year against an alumni team of the institution;
     (d) Foreign Team in the United States. One date of competition in women's wrestling each year with a foreign
         opponent in the United States;
     (e) Hawaii or Alaska. Any dates of competition in Hawaii or Alaska, respectively, against an active Division I institution
         located in Hawaii or Alaska, by a member located outside the area in question;
     (f) Fundraising Activity. Any women's wrestling activities in which student-athletes from more than one of the
         institution's athletics teams participate with and against alumni and friends of the institution, the purpose of which is
         to raise funds for the benefit of the institution's athletics or other programs, provided the student-athletes do not miss
         classes as a result of their participation (see Bylaw 12.5.1.1);
     (g) Celebrity Sports Activity. Competition involving a limit of two student-athletes from the institution's women's
         wrestling team who participate in local celebrity wrestling activities conducted for the purpose of raising funds for
         charitable organizations, provided:
          (1) The student-athletes do not miss classes as a result of the participation;
          (2) The involvement of the student-athletes has the approval of the institution's athletics director; and
          (3) The activity takes place within a 30-mile radius of the institution's main campus.
     (h) U.S. National Team. One date of competition against any team as selected and designated by the appropriate
         national governing body for women's wrestling as a U.S. national team (e.g., "Under-21" U.S. national team);
     (i) NWCA All-Star Meet. One date of competition in women's wrestling each year in the National Wrestling Coaches
         Association (NWCA) all-star meet; and
     (j) NWCA National Duals. Competition in the National Wrestling Coaches Association (NWCA) National Duals.
    17.30.5.4 Once-in-Four-Years Exemption -- Foreign Tour. An institution may exempt the contests played on a
    foreign tour, provided the tour is conducted by the institution in accordance with the procedures set forth in Bylaw 17.32.
    (Adopted: 6/23/20 effective 8/1/20)
17.30.6 Out-of-Season Athletically Related Activities. Student-athletes and members of the coaching staff shall not
engage in countable athletically related activities outside the institutions's declared playing season per Bylaw 17.31.1 except as
permitted in Bylaw 17.1.7.2. (Adopted: 6/23/20 effective 8/1/20)
    17.30.6.1 Summer Practice. Practice that is organized or financially supported by an institution shall be prohibited
    during the summer unless specifically authorized in the bylaws (e.g., foreign tour) or through official interpretations. An
    institution may pay fees associated with the use of institutional practice and competition facilities by student-athletes
    engaged in voluntary athletically related activities in their sport. (Adopted: 6/23/20 effective 8/1/20)

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    17.30.6.2 Vacation Period and Summer-Workout Sessions. A coach may participate in individual workout
    sessions with student-athletes from the coach's team during any institutional vacation period and/or summer, provided the
    request for such assistance is initiated by the student-athlete. (Adopted: 6/23/20 effective 8/1/20)
17.30.7 Safety Exception. A coach may be present during voluntary individual workouts in the institution's regular
practice facility (without the workouts being considered as countable athletically related activities) when the student-athlete is
engaged in women's wrestling. The coach may provide safety or skill instruction but may not conduct the individual's workouts.
(Adopted: 6/23/20 effective 8/1/20)
17.30.8 Camps and Clinics. There are no limits on the number of student-athletes in women's wrestling who may be
employed (e.g., as counselors) in camps or clinics (see Bylaw 13.12). Currently enrolled student-athletes may not participate as
campers in their institution's camp or clinics. (Adopted: 6/23/20 effective 8/1/20)
17.30.9 Other Restrictions.
    17.30.9.1 Noncollegiate, Amateur Competition.
         17.30.9.1.1 During Academic Year. A student-athlete in women's wrestling who participates during the academic
         year as a member of any outside women's wrestling team in any noncollegiate, amateur competition (e.g., team
         invitational meets, exhibition meets or other activity) except while representing the institution in intercollegiate
         women's wrestling competition shall be ineligible for intercollegiate wrestling competition unless eligibility is restored
         by the Committee on Student-Athlete Reinstatement (see Bylaw 17.34.3 for exceptions).
         (Adopted: 6/23/20 effective 8/1/20)
              17.30.9.1.1.1 Vacation-Period Exception. A student-athlete may compete outside the institution's declared
              playing and practice season as a member of an outside team in any noncollegiate, amateur competition during any
              official vacation period published in the institution's catalog, except a vacation period that occurs between the
              beginning of the institution's academic year and November 1. The number of student-athletes from any one
              institution shall not exceed five. (Adopted: 6/23/20 effective 8/1/20)
         17.30.9.1.2 Out of Season. There are no limits on the number of student-athletes from the same institution with
         eligibility remaining in intercollegiate women's wrestling who may practice or compete out of season on an outside,
         amateur women's wrestling team (competition on an outside team permitted only during the summer, except as
         provided in Bylaw 17.30.9.1.1.1). (Adopted: 6/23/20 effective 8/1/20)
              17.30.9.1.2.1 Involvement of Coaching Staff. No member of the coaching staff of an institution may be
              involved in any capacity (e.g., coach, official, player or league/team administrator) during the academic year
              (including vacation periods during the academic year) with an outside team that involves any student-athlete with
              eligibility remaining from the institution's women's wrestling team except as provided under Bylaws 17.1.1.1,
              17.31 and 17.34.3. (Adopted: 6/23/20 effective 8/1/20)
              17.30.9.1.2.2 Olympic and National Team Development Program. There are no limits on the number
              of student-athletes from the same institution who may participate in Olympic and national team development
              programs. Such programs may also include a coach and student-athlete from the same institution, provided:
              (Adopted: 6/23/20 effective 8/1/20)
               (a) The national governing body conducts and administers the developmental program;
               (b) The national governing body selects coaches involved in the developmental program; and
               (c) A committee or other authority of the national governing body, which is not limited to coaches affiliated with
                   one particular institution, selects the involved participants.
    17.30.9.2 Equipment Issue, Squad Pictures. No limitations. (Adopted: 6/23/20 effective 8/1/20)
17.31 Exceptions for Member Institutions Located in Alaska, Hawaii and Puerto
Rico.
17.31.1 Practice and Playing Seasons. Member institutions located in Alaska, Hawaii and Puerto Rico shall not be
required to observe the starting dates for the practice and playing seasons set forth in this bylaw, provided the amount of practice
and number of contests engaged in by such institutions in each sport do not exceed the amount of practice and number of
contests in each sport permitted other members of the Association.
17.31.2 Alaska/Hawaii, Additional Football Contest. Member institutions located in Alaska and Hawaii shall be
permitted to exceed, by one, the maximum number of football contests permitted under Bylaw 17.11.6.1 but otherwise shall
conform to the same maximum number of contests and dates of competition permitted other members of the Association.

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17.32 Foreign Tours.
17.32.1 Institutional Tours. A member institution may participate in competition in any sport on foreign tours. (Revised:
1/11/89, 1/14/97 effective 8/1/97, 7/30/10, 1/23/19)
    17.32.1.1 Tour to U.S. Territory or Commonwealth. A tour to a U.S. commonwealth (e.g., Puerto Rico) or a U.S.
    territory (e.g., Virgin Islands) may be considered a foreign tour. (Revised: 4/26/17 effective 8/1/17)
    17.32.1.2 Timing of Tour. A tour may only be scheduled during the summer-vacation period between the institution's
    spring and fall terms or during an academic year vacation period (other than a Labor Day vacation period) published in the
    institution's official catalog. All travel to and from the foreign country must take place during such a vacation period.
    However, if the team crosses the international date line during the tour, the change of date will be disregarded and the
    equivalent time as measured in the United States will be used to determine the institution's vacation period. (Revised:
    10/18/89, 4/29/04, 10/29/04 effective 11/1/04, 5/12/05, 1/8/07, 1/17/09 effective 8/1/09 a contract signed before 4/14/08 may
    be honored, 7/30/10)
         17.32.1.2.1 Summer Vacation Period. A foreign tour taken during the summer vacation period shall be
         considered to have occurred during the academic year after the summer for purposes of Bylaw 17. (Revised: 7/30/10)
         17.32.1.2.2 Prohibition Prior to Championship Segment. In sports in which separate dates are specified for
         the first permissible date of practice and the first permissible date of competition for the championship segment (e.g.,
         women's volleyball, basketball, baseball), an institution may not engage in a foreign tour during the period beginning
         30 days prior to the first permissible practice date until the first permissible date for a contest or date of competition in
         the championship segment in the applicable sport. In sports in which the same date is specified for the first permissible
         date of practice and the first permissible date of competition (e.g., gymnastics, lacrosse, swimming and diving), an
         institution may not engage in a foreign tour for a period of 30 days prior to the first day of the institution's declared
         playing and practice season (first permissible date of practice or competition) for the championship segment in the
         applicable sport. (Adopted: 6/11/07, Revised: 7/30/10)
         17.32.1.2.3 Exception -- National Service Academies. In sports other than football, a national service academy
         may conduct a foreign tour at any time, provided: (Adopted: 4/25/18)
         (a) The tour is requested and sponsored by the U.S. Department of State or the U.S. Department of Defense, or a
             direct subordinate organization;
         (b) The tour is for the purpose of advancing international relations; and
         (c) All missed class time is approved by the appropriate institutional authority.
    17.32.1.3 Time Lapse Between Tours. An institution shall not engage in a foreign tour in each sport more than once
    every four years. In basketball, a student-athlete shall not participate in more than one foreign tour for a particular
    institution. (Revised: 1/11/89, 4/29/10 effective 8/1/10, 7/30/10)
         17.32.1.3.1 Exception -- National Service Academies. A national service academy shall not engage in a foreign
         tour conducted pursuant to Bylaw 17.32.1.2.3 more than once every three years in each sport. Such a tour shall not
         count toward the once-in-four-years restriction and, in basketball, shall not count as participation in a foreign tour for
         the participating student-athletes. (Adopted: 4/25/18)
    17.32.1.4 Eligibility of Student-Athletes. The eligibility of student-athletes on the tour shall be governed by the
    following (see Bylaw 12.8.3.6): (Revised: 8/11/98, 7/30/10, 4/26/17)
     (a) If the tour takes place during the summer, a student-athlete shall have been eligible for intercollegiate competition
         during the previous academic year or shall have been enrolled at the institution as a full-time student during the
         previous academic year and have established by the beginning of the tour that the student-athlete is eligible for
         competition during the academic year immediately following the tour; or
     (b) If the tour takes place after preseason practice or the academic year has started, the student-athletes shall be regularly
         enrolled in the institution (see Bylaw 14.2.1.1) and eligible for intercollegiate competition. A student-athlete who is
         subject to a transfer residence requirement is eligible to participate on a foreign tour, provided the student-athlete is
         otherwise eligible for competition and was academically eligible for competition at the previous institution upon
         leaving the institution.
         17.32.1.4.1 Incoming-Student Participation -- Summer Prior to Initial Full-Time Enrollment at the
         Certifying Institution. It is permissible for an incoming student-athlete (freshman or transfer) to represent the
         institution on a foreign tour that occurs during the summer prior to the student-athlete's initial full-time enrollment at
         the certifying institution and participate in practice conducted in preparation for the foreign tour, provided the
         student-athlete is eligible to represent the institution in intercollegiate competition during the academic year
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         immediately following the tour. If an incoming freshman student-athlete's initial academic eligibility qualification
         status has not been certified, the student-athlete may participate in practice pursuant to Bylaw 14.3.5.1. If an incoming
         transfer student-athlete's academic record has not been certified, the student-athlete may participate in practice
         pursuant to Bylaw 14.5.4.6.7. A student-athlete who is subject to a transfer residence requirement is eligible to
         participate on a foreign tour, provided the student-athlete is otherwise eligible for competition and was academically
         eligible for competition at the previous institution upon leaving the institution. (Revised: 5/4/05, 7/30/10, 4/26/17)
         17.32.1.4.2 Eligibility for Travel Expenses. An institution may provide actual and necessary expenses to a
         student-athlete to travel on a foreign tour, provided the student-athlete is eligible to practice. (Adopted: 8/3/22)
    17.32.1.5 Practice Limitation. Not more than 10 days of practice are permitted prior to departure. Practice is
    prohibited outside the playing season one week prior to the beginning of the institution's final examination period for the
    applicable regular academic term through the conclusion of the final examination period. (Revised: 1/14/08, 7/30/10)
    17.32.1.6 Maximum Number of Contests/Competition Dates. A team shall be limited to a maximum of three
    football games, 10 basketball games, or 10 contests or dates of competition in any other sport during and as part of the
    tour. (Revised: 1/10/91, 7/30/10)
         17.32.1.6.1 Exception -- National Service Academies. A national service academy that conducts a foreign
         tour pursuant to Bylaw 17.32.1.2.3 shall be limited to a maximum of three contests or dates of competition during and
         as part of the tour. (Adopted: 4/25/18)
    17.32.1.7 Opponents. The team shall not compete during the tour against other American teams (colleges or other U.S.
    teams) other than teams composed of U.S. armed forces personnel stationed at U.S. military bases in foreign countries.
    (Revised: 7/30/10)
         17.32.1.7.1 Exception -- Women's Rowing. It is permissible for rowing teams representing NCAA member
         institutions to compete against each other as part of the Henley Women's Regatta and the Henley Royal Regatta.
         (Adopted: 4/20/99, Revised: 7/30/10, 4/16/12)
    17.32.1.8 Football Postseason Opportunity. [FBS/FCS] A foreign football tour shall be considered that institution’s
    postseason opportunity for that season, the accounting period to commence with the start of the institution’s normal
    beginning of fall football practice. (Revised: 7/30/10)
    17.32.1.9 Per Diem. An institution may provide a student-athlete $30 cash per day to cover unitemized incidental
    expenses incurred in connection with a foreign tour. This expense allowance may be provided each day of the tour, up to a
    maximum of 21 days. (Revised: 1/9/96 effective 8/1/96, 11/1/01, 7/30/10, 1/23/19)
    17.32.1.10 Passports. An institution may purchase passports for its student-athletes that are required for travel in
    connection with a foreign tour, and student-athletes may retain ownership of such passports. The institution also may
    provide student-athletes with reasonable local transportation to obtain such passports. (Adopted: 11/1/01, Revised: 7/30/10)
17.32.2 Outside-Team Tours. An outside team that includes student-athletes from more than one member institution may
participate in international competition in any sport on a foreign tour. However, any such outside team that includes more than
the following number of student-athletes from the same member institution must be certified by the institution in accordance
with procedures set forth in Bylaw 17.32.1. (Revised: 1/14/97 effective 8/1/97, 10/31/02, 5/18/05, 1/16/10)
Baseball                     4 Gymnastics                        2 Softball                                      4
Basketball                   2 Ice Hockey                        4 Swimming and Diving                           5
Cross Country                2 Lacrosse                          5 Tennis                                        2
Fencing                      4 Rifle                             2 Track and Field                               7
Field Hockey                 5 Women's Rowing                    4 Volleyball                                    2
Football                     5 Skiing                            4 Water Polo                                    4
Golf                         2 Soccer                            5 Wrestling                                     5
    17.32.2.1 Institutional Foreign-Tour Limitations. A member institution shall be charged with its foreign-tour
    opportunity in a sport and its once-in-four-years limitation if the institution is represented by more than the number of
    student-athletes specified under Bylaw 17.32.2 on an outside team participating in a foreign tour in that sport.
17.33 Playing Rules. Member institutions shall conduct all of their intercollegiate competition in accordance with
the playing rules of the Association in all sports for which the NCAA develops playing rules. It is not mandatory that those rules
be used in institutional scrimmages or other forms of practice with outside competition.


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17.34 Outside Competition, Effects on Eligibility. The eligibility of a student-athlete who engages in
outside competition (see Bylaw 17.02.11) is affected as set forth in the following regulations.
17.34.1 Outside Competition -- Sports Other Than Basketball. A student-athlete in any sport other than basketball
who participates during the academic year as a member of any outside team in any noncollegiate, amateur competition becomes
ineligible for intercollegiate competition unless eligibility is restored by the Committee on Student-Athlete Reinstatement. A
student-athlete is permitted to practice on such a team. (Adopted: 1/10/91 effective 8/1/91, Revised: 1/16/93, 1/11/94, 1/10/05)
    17.34.1.1 Exception -- Sports Other Than Wrestling. In sports other than wrestling, a student-athlete may compete
    outside the institution's declared playing and practice season as a member of an outside team in any noncollegiate, amateur
    competition during any official vacation period. The number of student-athletes from any one institution shall not exceed
    the applicable limits set forth in Bylaw 17.32.2. (Adopted: 1/11/94 effective 8/1/94, Revised: 1/15/11 effective 8/1/11)
    17.34.1.2 Exception -- Women's Wrestling. In women's wrestling, a student-athlete may compete outside the
    institution's declared playing and practice season as a member of an outside team in any noncollegiate, amateur competition
    during any official vacation period, except a vacation period that occurs between the beginning of the institution's academic
    year and November 1. The number of student-athletes from any one institution shall not exceed the applicable limits set
    forth in Bylaw 17.32.2. (Adopted: 1/15/11 effective 8/1/11, Revised: 6/30/22 effective 8/1/22)
    17.34.1.3 Exception -- Men's Wrestling. In men's wrestling, a student-athlete may compete outside the institution's
    declared playing and practice season as a member of an outside team in any noncollegiate, amateur competition during any
    official vacation period, except a vacation period that occurs between the beginning of the institution's academic year and
    November 1 and any vacation period that occurs during the student-athlete's first academic term of full-time enrollment. A
    student-athlete must maintain a minimum grade-point average, as specified in Bylaw 14.3.3.3.3, to participate in outside
    competition. The number of student-athletes from any one institution shall not exceed the applicable limits set forth in
    Bylaw 17.32.2. (Adopted: 6/30/22 effective 8/1/22)
    17.34.1.4 Exception -- Soccer, Women's Volleyball, Field Hockey and Men's Water Polo. In soccer, women's
    volleyball, field hockey and men's water polo, a student-athlete may compete outside the institution's declared playing and
    practice season as a member of an outside team in any noncollegiate, amateur competition, provided: (Adopted: 1/14/97
    effective 8/1/97, Revised: 4/22/98 effective 8/1/98, 1/12/99 effective 5/1/99)
     (a) Such participation occurs not earlier than May 1;
     (b) In soccer, women's volleyball and field hockey, the number of student-athletes from any one institution does not
         exceed the applicable limits set forth in Bylaw 17.32.2;
     (c) The competition is approved by the institution's director of athletics;
     (d) No class time is missed for practice activities or for competition; and
     (e) In women's volleyball, all practice and competition is confined to doubles tournaments in outdoor volleyball, either on
         sand or grass.
    17.34.1.5 Exception -- Conference All-Star Competition Against U.S. National Team -- Women's Ice
    Hockey. In women's ice hockey, a student-athlete may compete during the academic year as a member of a conference all-
    star team in up to two contests against the U.S. Women's National Ice Hockey Team in the 12 months prior to the Winter
    Olympic Games, provided the student-athlete is academically eligible for competition at the time of the competition.
    (Adopted: 1/17/09)
    17.34.1.6 Exception -- Conference All-Star Competition Against U.S. National Team -- Swimming and
    Diving. In swimming and diving, a student-athlete may compete during the academic year as a member of a conference
    all-star team in one contest against the USA Swimming National Team or the USA Diving National Team, provided the
    student-athlete is academically eligible for competition at the time of the competition. (Adopted: 4/25/18 effective 8/1/18)
    17.34.1.7 Exception -- USA Fencing National Championships. In fencing, a student-athlete may compete during
    the academic year as a member of a USA Fencing member club team in the USA Fencing National Championships.
    (Adopted: 1/14/12)
    17.34.1.8 Exception -- Preseason Tryouts. A student-athlete who fails to make an institution's team during a given
    year after participating in limited preseason tryouts shall not be subject to the provision of Bylaw 17.34.1. (Revised: 4/5/06)
    17.34.1.9 Competition as Individual/Not Representing Institution. It is permissible for a student-athlete to
    participate in outside competition as an individual during the academic year in the student-athlete's sport, as long as the
    student-athlete represents only the student-athlete in the competition and does not engage in such competition as a member
    of or receive expenses from an outside team.

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         17.34.1.9.1 Exception -- No Competition Before November 1 -- Wrestling. In wrestling, a student-athlete
         shall not participate in outside competition as an individual between the beginning of the institution's academic year
         and November 1. (Adopted: 1/15/11 effective 8/1/11)
         17.34.1.9.2 Exception -- No Competition During First Term -- Men's Wrestling. In men's wrestling, a
         student-athlete shall not participate in outside competition as an individual during the student-athlete's first full-time
         term of collegiate enrollment. Thereafter, a student-athlete shall meet the minimum grade-point average requirement
         specified in Bylaw 14.3.3.3.3 in order to be eligible to compete in outside competition as an individual. (Adopted:
         6/30/22 effective 8/1/22)
    17.34.1.10 Exempt Teams. In individual sports (see Bylaw 17.02.18.2), such units as "pro-am" golf teams, doubles
    tennis teams and relay teams in track and field are not considered to be outside teams for purposes of this legislation.
    17.34.1.11 Triathlon and Cross Country, Track and Field and Swimming. Triathlon and cross country are
    considered the same sport, triathlon and track and field are considered the same sport, and triathlon and swimming are
    considered the same sport for purposes of Bylaw 17.34. (Adopted: 1/18/14 effective 8/1/14)
    17.34.1.12 Volleyball and Beach Volleyball. Volleyball and beach volleyball are considered the same sport for
    purposes of Bylaw 17.34. (Adopted: 8/26/10, Revised: 7/31/15)
    17.34.1.13 Application of Numerical Limitations to Transfer Student-Athletes. A student-athlete who has
    officially withdrawn from a four-year institution and has been accepted for enrollment at a second institution does not
    count in the limitation on the number of student-athletes from the first institution who may compete on an outside
    amateur team in the applicable sport and does not count in the limitation on the number of student-athletes at the second
    institution who may compete on an outside amateur team in the applicable sport unless the student-athlete is a student-
    athlete at that institution (e.g., has enrolled and attended classes during a summer term). (Adopted: 4/15/14)
17.34.2 Outside Competition -- Basketball. A student-athlete who participates in any organized basketball competition
except while representing the institution in intercollegiate competition in accordance with the permissible playing season
specified in Bylaw 17.4 becomes ineligible for any further intercollegiate competition in basketball (see Bylaws 17.34.3 and
17.34.4 for exceptions and waivers).
    17.34.2.1 Organized Basketball Competition. Outside basketball competition, including competition involving
    teams with fewer than five players, shall be considered "organized" if any one of the following conditions exists:
     (a) Teams are regularly formed or team rosters are predetermined;
     (b) Competition is scheduled and publicized in advance;
     (c) Official score is kept;
     (d) Individual or team standings are maintained;
     (e) Official timer or game officials are used;
     (f) Team uniforms are used;
     (g) Admission is charged;
     (h) A team is privately or commercially sponsored; or
     (i) Competition is either directly or indirectly sponsored, promoted or administered by an individual, an organization or
         any other agency.
    17.34.2.2 Individual Subject to Outside-Competition Regulations. Once a student-athlete becomes a candidate
    for the institution's basketball team (has reported for the squad), or if the student was recruited by a member institution in
    part for basketball ability and subsequently enrolls in the institution, this prohibition against outside organized basketball
    competition remains applicable until the student-athlete's intercollegiate basketball eligibility has been exhausted. This
    includes time while the student is officially withdrawn from college, fulfilling a residence requirement after transfer to
    another college, awaiting transfer or enrolled in a nonmember collegiate institution.
         17.34.2.2.1 Exception -- 4-2-4 Transfer Participating in June Intercollegiate Event. Outside competition
         legislation does not apply to a 4-2-4 transfer prospective student-athlete who participates in a June intercollegiate event
         (see Bylaw 13.1.7.5.3). (Adopted: 1/22/20)
    17.34.2.3 Nonrecruited, Nonparticipant. Participation by a student-athlete in organized basketball competition while
    enrolled in a member institution and having participated in a sport other than basketball would not jeopardize the student's
    eligibility in basketball if the individual had not been recruited in basketball and had not participated on or been a
    candidate for the institution's intercollegiate basketball team.

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17.34.3 Exceptions -- All Sports. The following exceptions to the outside-competition regulations are permitted: (Revised:
1/14/97 effective 8/1/97, 8/9/01, 7/30/10, 1/14/12, 1/23/19, 10/17/19, 1/22/20, 8/3/22)
(a) High School or Two-Year College All-Star Contests. A student-athlete may compete in a high school or two-year
    college all-star contest during the summer prior to initial full-time enrollment in a regular term at the institution.
(b) High School Alumni Game. A student-athlete may compete in one game a year involving participants from the student-
    athlete's former high school and its alumni team. In sports other than basketball, this game must take place during an
    official vacation period of the institution's academic year.
(c) Multisport Events. A student-athlete may participate in officially recognized state and national multisport events.
(d) Established Regional and National Championships. A student-athlete may participate in established regional (e.g.,
    North American Championships, European Championships) and national championship events (including junior regional
    and national championships) and qualifying competition for such events.
(e) International Events. A student-athlete may participate in the Olympic Games, Paralympic Games, Pan American
    Games, Parapan American Games, World Championships, World Cup, World University Games (Universiade) and World
    University Championships or the junior level equivalent competition (e.g., Youth Olympic Games, Junior World
    Championships, U19 World University Games) and qualifying competition (e.g., Olympic or Paralympic Trials) for such
    events.
(f) National Team Tryouts. A student-athlete may participate in national team training, tryouts or competition events used
    for consideration for selection or to determine members of a national team that will participate in the Olympic Games,
    Paralympic Games, Pan American Games, Parapan American Games, World Championships, World Cup, World
    University Games (Universiade) or World University Championships or the junior level equivalent competition.
(g) National Team Competition. A student-athlete may participate in competition involving national teams and junior
    national teams sponsored by the appropriate national governing bodies of the U.S. Olympic and Paralympic Committee
    (or, for the student-athletes representing another nation, the equivalent organization of that nation or, for student-athletes
    competing in a non-Olympic or non-Paralympic sport, the equivalent organization of that sport).
    17.34.3.1 National-Team Criteria. In applying the regulation permitting exceptions for student-athletes to participate
    during the institution's intercollegiate season in international competition involving national teams represented in the
    competition, a national team is defined as one that meets the following criteria: (Revised: 7/30/10, 4/12/13, 10/17/19,
    1/22/20)
     (a) It is designated by the U.S. Olympic and Paralympic Committee, national governing body or other organization
         recognized by the U.S. Olympic and Paralympic Committee (or, for student-athletes representing another nation, the
         equivalent organization of that nation, or, for student-athletes competing in a non-Olympic or non-Paralympic sport,
         the equivalent organization in that sport);
     (b) Selection for such a team is made on a national qualification basis either through a defined selective process or actual
         tryouts, publicly announced; and
     (c) The international competition in question requires that the entries officially represent their respective nations, although
         it is not necessary to require team scoring by nation.
17.34.4 Exceptions -- Basketball. (Revised: 1/11/94, 1/14/97 effective 8/1/97, 10/28/99 effective 8/1/00, 2/24/03, 4/14/03,
Adopted: 4/24/03, 7/30/10, 1/19/13 effective 8/1/13)
(a) Summer League. A student-athlete may compete during the period between June 15 and August 31 or the institution's
    opening day of classes (see Bylaw 17.02.13.3), whichever comes earlier, on a team in a league certified per Bylaw 17.34.4.1,
    provided the student-athlete has received written permission from the institution's athletics director (or the director's
    official representative) prior to participation in the league. If the student-athlete is transferring and has been officially
    accepted for enrollment in a second institution, and if the previous institution certifies that the student has withdrawn and
    does not intend to return to that institution for the next term, this written permission is to be obtained from the member
    institution to which the student-athlete is transferring. Under such circumstances, the student-athlete does not count on the
    summer-league roster as a representative of either institution unless the student-athlete has enrolled and attended classes
    during the certifying institution's summer term.
(b) Puerto Rico Superior Basketball League. A student-athlete who is a resident of Puerto Rico may participate in the
    Superior Basketball League of Puerto Rico (see Bylaw 12.02.12).
(c) United States vs. U.S. National Teams. A student-athlete may participate in the United States against U.S. national
    teams.

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(d) Outside-Team Tours. A student-athlete may participate in an outside team summer foreign basketball tour (see Bylaw
    17.32.2).
(e) Basketball Draft Combine. A student-athlete using the draft exception set forth in Bylaw 12.2.4.2.1 may participate in a
    draft combine sponsored by a professional sports organization (during the summer or academic year), provided the student-
    athlete has received written permission from the institution's director of athletics.
   17.34.4.1 Summer Basketball Leagues. In order for a summer basketball league to be certified, a certification
   application form must be submitted each year to the NCAA national office. To be certified, the following criteria must be
   met by each league: (Revised: 10/18/89, 1/10/91, 8/2/91, 8/6/93, 1/11/94, 4/20/99, 4/27/00, 11/1/01, 1/13/03, 4/14/03,
   4/29/04, 11/1/07, 10/30/08, 2/1/10, 7/30/10, 10/29/15)
    (a) All-Star Games Prohibition. No all-star game of any kind shall be permitted;
    (b) Geographical Limitation. League play shall be within 100 air miles of the city limits of the student-athlete's official
        residence at the end of the previous academic year or the institution the student-athlete last attended as a regular
        student. If a league does not exist within 100 air miles of the student-athlete's residence, a student-athlete may
        participate in the summer league located closest to the student's official residence;
    (c) Payment Prohibition. No member team shall make any payments for play or expenses directly or indirectly to any
        player;
    (d) Postseason Competition. Postseason play-offs or tournaments shall be permitted, provided they involve intraleague
        competition and are completed by August 31;
    (e) Player Limitations.
         (1) Number From Any One College. Each team shall include on its roster not more than two players with
             intercollegiate basketball eligibility remaining from any two-year or four-year college (other than a Division II or
             Division III member institution);
         (2) Replacement of Student-Athlete Who Withdraws. A student-athlete who is listed on the roster of a team
             and withdraws or is injured and will not continue to practice or compete may be replaced for the remainder of the
             season by another basketball student-athlete from the same institution. The institution is permitted only one
             replacement per team; and
         (3) One Team, One League. All Division I student-athletes must limit their competition to one team in one league;
    (f) Revenue. No admission shall be charged for any game, no fee shall be charged for parking to attend any game, no
        revenue shall be realized at any game from raffles or similar activities, and no revenue shall be realized from over-the-air
        or cable television or radio rights fees for any game;
    (g) Staff Limitations.
         (1) Neither the league nor any member team shall have on its staff or as a participant any person associated in any
             employment capacity with any two-year or four-year college, except that institutional employees who are not
             athletics department staff members and do not have responsibilities directly related to the athletics department
             may serve as game officials.
         (2) Neither the league nor any member team shall have on its staff or as a participant any individual who has been
             found guilty or pleaded guilty in a court of law for having been involved in sports bribery, point shaving or game
             fixing;
    (h) Venue. A certified league shall not be associated in any way with a venue or other entity that is associated in any way
        with wagering on intercollegiate athletics;
    (i) Involvement of Agents. No individual or agency involved in the marketing of any individual's athletics reputation
         or ability (including an employee of an agent or anyone associated with an agent in the agent's capacity of marketing
         any individual's athletics reputation or ability) shall be associated in any capacity with the league (or any team
         participating in the league);
    (j) Awards. League participants may receive an award, provided the cost of the award is included in the participant's entry
        fee;
    (k) Accident Medical Insurance. The league operator must provide proof of accident medical insurance coverage for
        league participants; and
    (l) Approval of League Operator or Manager. Individuals involved in operating or managing a league must be
        approved in accordance with guidelines established by the NCAA basketball certification staff.

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17.34.5 Collegiate All-Star Contests. A student-athlete who competes as a member of a squad in any college all-star
football or basketball contest shall be denied further intercollegiate eligibility in that sport.




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                                                                                          FIGURE 17-1
                            Maximum Number of Contests and Dates of Competition for Each Sport
                                                                                                                                                             Dates of
                             Sport                                                                                                       Contests           Competition
                             Acrobatics and Tumbling                                                                                                                 12
                             Baseball
                                 Championship Segment                                                                                       56
                                 Other Segment                                                                                               2
                             Basketball                                                                                                  28 or 291
                             Beach Volleyball, Women’s
                                 Championship Segment                                                                                                                 16
                                 Other Segment (Student-Athletes)                                                                                                      4
                             Bowling, Women’s                                                                                                                         32
                             Cross Country                                                                                                                            72
                             Equestrian, Women’s                                                                                                                      15
                             Fencing                                                                                                                                  11
                             Field Hockey
                                 Championship Segment                                                                                          20
                                 Other Segment                                                                                                                         5
                             Football
                                 FBS                                                                                                           12
                                 FCS                                                                                                          11 3
                             Golf                                                                                                                                     24
                             Gymnastics                                                                                                                               13
                             Ice Hockey, Men’s and Women’s                                                                                     34
                             Lacrosse, Men’s                                                                                                                          17
                             Lacrosse, Women’s
                                 Championship Segment                                                                                          17
                                 Other Segment                                                                                                                       5
                             Rifle                                                                                                                                  13
                             Rowing, Women’s                                                                                                                        20
                             Rugby, Women’s                                                                                                                         16
                             Skiing                                                                                                                           16 (Alpine)
                                                                                                                                                              16 (Nordic)
                             Soccer
                                 Championship Segment                                                                                          20
                                 Other Segment                                                                                                                         5
                             Softball
                                  Championship Segment Other                                                                                   56
                                  Segment                                                                                                       8
                             Swimming and Diving                                                                                                                      20
                             Tennis
                                 Overall                                                                                                                              25
                                 Individual Singles and/or Doubles Tournaments                                                                                         7
                             Track and Field (Indoor and Outdoor)                                                                                                    18 4
                             Triathlon, Women’s                                                                                                                        6
                             Volleyball, Men’s
                                 Championship Segment                                                                                                                 28
                                 Other Segment                                                                                                                         4
                             Volleyball, Women’s
                                 Championship Segment                                                                                                                32
                                 Other Segment                                                                                                                        4
                             Water Polo
                                 Championship Segment                                                                                                                 21
                                 Other Segment                                                                                                                        4
                             Wrestling, Men’s                                                                                                                         16
                             Wrestling, Women’s                                                                                                                       16
1
 See Bylaw 17.4.5.1. 28 contests and one qualifying regular-season multiple-team event (does not exceed three contests per team), 29 contests and one qualifying regular-season multiple-
team event (does not exceed two contests per team) or 29 contests and no qualifying regular-season multiple-team event.
2
 See Bylaw 17.7.5.1.1 for institutions that sponsor men’s or women’s cross country but do not sponsor indoor or outdoor track and field.
3
 Twelve football contests shall be permitted during those years in which there are 14 Saturdays from the first permissible playing date through the last playing date in November (see Bylaw 17.11.5.1).
4
 See Bylaw 17.25.5.1 for institutions that sponsor indoor and outdoor track and field and participate in at least the minimum number of contests with at least the minimum number of
participants.
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                                                              Figure 17-2
                              First Practice, Contest or Date of Competition, and End-of-Season Dates
                                                                         First Contest Date or                 End of Regular
            Sport                     First Practice Date                Date of Competition                   Playing Season
 Women's Acrobatics and        The first day of classes.            February 1 of each year.           Conclusion of the National
 Tumbling                                                                                              Collegiate Acrobatics and
                                                                                                       Tumbling Association National
                                                                                                       Championships.
 Baseball                      January 26, 2024;                    February 16, 2024;                 Conclusion of the NCAA Division
 (Championship Segment)        January 24, 2025;                    February 14, 2025;                 I Baseball Championship.
                               January 23, 2026                     February 13, 2026
 (Other Segment)               September 1 of each year.            September 1 of each year.          November 30 of each year.
 Men's Basketball              42 days before first regular         November 6, 2023;                  NCAA Division I Men's
                               season contest.                      November 4, 2024;                  Basketball Championship game.
                                                                    November 11, 2025
                                                                    Exceptions: See Bylaw 17.4.3.1
 Women's Basketball            42 days before first regular         November 6, 2023;                  NCAA Division I Women's
                               season contest.                      November 4, 2024;                  Basketball Championship game.
                                                                    November 11, 2025
                                                                    Exceptions: See Bylaw 17.4.3.1
 Women's Beach Volleyball –    September 7 or the first day of      February 22, 2024;                 NCAA National Collegiate
 (Championship Segment)        classes, whichever occurs first.     February 20, 2025;                 Women's Beach Volleyball
                                                                    February 19, 2026                  Championship.
 (Other Segment)               September 7 or the first day of      September 7 or the first day of
                               classes, whichever occurs first.     classes, whichever occurs first.
 Women's Bowling               October 1 of each year.              October 1 of each year.            Last day of final exams for the
                                                                                                       regular academic year.
 Cross Country                 16 days before first scheduled       September 1, 2023;                 Last day of final exams for the
                               date of competition.                 August 30, 2024;                   academic year.
                                                                    August 29, 2025
 Field Hockey                  16 days before first scheduled       August 25, 2023;                   Last day of final exams for
                               date of competition.                 August 30, 2024;                   academic year.
                                                                    August 29, 2025
 Football                      31 days before first scheduled       August 31, 2023;                   Second Saturday or Sunday in
                               intercollegiate game.                August 29, 2024;                   December (Exception: See
                                                                    August 28, 2025                    Bylaw 17.11.4).
                                                                     Exceptions: See Bylaws
                                                                    17.11.3.1 and 17.11.3.2
 Golf                          September 1 or five days before      September 1 or five days before    Conclusion of the NCAA Division
                               the first day of classes,            the first day of classes,          I Golf Championships.
                               whichever occurs earlier             whichever occurs earlier
                               (Exceptions: See Bylaws              (Exception: See Bylaw
                               17.12.2.1 and 17.12.2.2).            17.12.3.1).
 Men's Ice Hockey              October 2, 2023;                     October 7, 2023;                   Last day of final exams for
                               September 30, 2024;                  October 5, 2024;                   academic year.
                               September 29, 2025                   October 4, 2025
 Women's Ice Hockey            September 18, 2023;                  September 23, 2023;                Last day of final exams for
                               September 16, 2024;                  September 21, 2024;                academic year.
                               September 15, 2025                   September 20, 2025
 Men's Lacrosse                January 7                            February 3, 2024;                  Conclusion of the NCAA Division
 (Championship Segment)                                             February 1, 2025;                  I Men's Lacrosse Championship.
                                                                    January 31, 2026
 (Other Segment)               September 7 of the first day of      September 7 or the first da of
                               classes, whichever occurs first.     classes, whichever occurs first.
 Women's Lacrosse              January 21, 2023;                    February 9, 2024;                  Conclusion of the NCAA Division
 (Championship Segment)        January 20, 2024;                    February 7, 2025;                  I Women's Lacrosse
                               January 18, 2025                     February 6, 2026                   Championship.
 (Other Segment)               September 7 or the first day of      September 7 or the first day of
                               classes, whichever occurs first.     classes, whichever occurs first.




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                                                                     First Contest Date or                 End of Regular
            Sport                 First Practice Date                Date of Competition                   Playing Season
 Women's Rugby             Date that permits 21 "practice       September 1, 2023;                 Last day of final exams for
                           units" before first scheduled date   August 30, 2024;                   academic year.
                           of competition.                      August 29, 2025
 Men's Soccer              16 days before first scheduled       August 24, 2023;                   Last day of final exams for
                           date of competition.                 August 29, 2024;                   academic year.
                                                                August 28, 2025
 Women's Soccer            16 days before first scheduled       August 17, 2023;                   Last day of final exams for
                           date of competition.                 August 22, 2024;                   academic year.
                                                                August 21, 2025
 Softball                  September 1 or the first day of      February 8, 2024;                  Conclusion of the NCAA Division
 (Championship Segment)    classes, whichever is later or       February 6, 2025;                  I Softball Championship.
                           September 15 (See Bylaw              February 5, 2026
                           17.21.2)
 (Other Segment)                                                September 1 or the first day of
                                                                classes, whichever is later or
                                                                September 15 (See Bylaw
                                                                17.21.2)
 Women's Triathlon         Date that permits 21 "practice       September 1, 2023;                 Last day of final exams for
                           units" before first scheduled        August 30, 2024;                   academic year.
                           contest.                             August 29, 2025
 Women's Volleyball        17 days before first date of         August 25, 2023;                   NCAA Division I Women's
 (Championship Segment)    scheduled competition                August 30, 2024;                   Volleyball Championship game
                           (excluding an alumni game).          August 29, 2025                    [See Bylaw 17.1.9-(b)].
 (Other Segment)           January 1 of each year.              January 1 of each year.            Last day of final exams for
                                                                                                   academic year.
 Men's Water Polo          16 days before first scheduled       September 2, 2023;                 Last day of final exams for
                           date of competition.                 September 7, 2024;                 academic year.
                                                                September 6, 2025
 Men's Wrestling           October 10 of each year.             November 1 of each year.           Last day of final exams for
                                                                                                   academic year.
 Women's Wrestling         October 10 of each year.             November 1 of each year.           Last day of final exams for
                                                                                                   academic year.
 Other Team Sports         September 7 or the first day of      September 7 or the first day of    Conclusion of the NCAA Division
   Women's Rowing          classes, whichever occurs first.     classes, whichever occurs first.   I or National Collegiate
   Men's Volleyball                                                                                Championship, whichever is
   Women's Water Polo                                                                              applicable.
 Other Team Sports         September 7 or the first day of      September 7 or the first day of    In Gymnastics, USA Gymnastics
   Equestrian              classes, whichever occurs first.     classes, whichever occurs first.   or National College Gymnastics
   Fencing                                                                                         Association (NCGA) collegiate
   Gymnastics                                                                                      gymnastics championships,
   Rifle                                                                                           whichever is later.
   Skiing
   Swimming and Diving                                                                             In tennis and track and field, the
   Tennis                                                                                          conclusion of the NCAA Division
   Track and Field                                                                                 I Championship.
    (Indoor and Outdoor)
                                                                                                   In equestrian, fencing, rifle,
                                                                                                   skiing and swimming and diving,
                                                                                                   the last day of final exams for
                                                                                                   academic year.




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                                      FIGURE 17-3
                              First Contest Date -- Basketball

                                                              Civic Engagement
         Academic Year   First Permissible Contest Date
                                                              Required Day Off
            2023-24        Monday, November 6, 2023          November 7, 2023
            2024-25        Monday, November 4, 2024          November 5, 2024
            2025-26       Tuesday, November 11, 2025         November 4, 2025
            2026-27       Tuesday, November 10, 2026         November 3, 2026
            2027-28        Monday, November 9, 2027          November 2, 2027
            2028-29        Monday, November 6, 2028          November 7, 2028
            2029-30        Monday, November 5, 2029          November 6, 2029
            2030-31       Monday, November 4, 2030           November 5, 2030
            2031-32       Monday, November 3, 2031           November 4, 2031




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BYLAWS, ARTICLE 18

Championships and Postseason Football
18.01 General Principles.
18.01.1 Purpose of NCAA Championships. NCAA championships are intended to provide national-level competition
among the best eligible student-athletes and teams of member institutions, with consideration also for approved regional
structures for certain championships.
18.01.2 Postseason Competition Not Sponsored by a Collegiate Entity. Competition by member institutions in
postseason contests that are not sponsored, promoted, managed and controlled by a collegiate entity shall conform to the
requirements set forth in this article and all other applicable legislation of the Association, which may include penalties for
violations of these requirements by sponsoring agencies.
18.01.3 Championships Access. [♦] Members are guaranteed access to national championships (including the play-in
structure in certain championships, sizes of championship fields and the number and ratio of automatic qualifying conferences)
at least at the level provided as of August 1, 2014. (Adopted: 1/9/96 effective 8/1/97, Revised: 12/15/06, 1/18/15, 1/20/22)
18.01.4 Championships -- Sports Other Than Football. [♦] With the exception of football, not more than one
national championship shall be conducted in each men's and women's sport. (Adopted: 1/14/97 effective 8/1/97, Revised: 1/20/22)
18.02 Definitions and Applications.
18.02.1 Championships.
    18.02.1.1 National Collegiate Championship. A national collegiate championship for a particular sport is postseason
    competition conducted by the Association for eligible student-athletes and teams of active member institutions to determine
    the NCAA champion in that sport for all divisions that do not have a separate division championship in that sport. A
    national collegiate championship is established or continued in accordance with the criteria set forth in Bylaws 18.2.3 and
    18.2.4.
    18.02.1.2 Division Championship. A division championship for a particular sport is postseason competition conducted
    by the Association for eligible student-athletes or teams of active member institutions to determine the division champion
    in that sport. A division championship is established or continued in accordance with the criteria set forth in Bylaws 18.2.3
    and 18.2.4.
18.02.2 Mixed Team. A mixed team is a varsity intercollegiate sports team on which at least one individual of each gender
competes (see Bylaw 18.2.8.3). (Revised: 1/11/94)
18.02.3 Open Date. An open date is a regular weekend playing date prior to the end of an institution's regular football
schedule on which an institution is not playing a game, or a date approved by the Council, by a two-thirds majority of its
members present and voting, to enable an institution to assist financially in meeting an unforeseen hardship situation resulting
directly from the institution's intercollegiate athletics activities. (Revised: 11/1/07 effective 8/1/08, 8/7/14)
18.02.4 Postseason Football Bowl Game. [FBS/FCS] A postseason football bowl game is a football contest conducted
after the regular football season and involving two teams selected because of their regular-season performance (e.g., won-lost
record, conference championship). Participation in such events by member institutions is limited to those bowl games that meet
the requirements of Bylaw 18.7 and the NCAA postseason football handbook. (Revised: 2/1/05, 7/30/10, 10/28/11 effective
4/1/12)
18.02.5 Significant Other. A significant other is a spouse, fiancé or fiancée, domestic partner, or any individual whose
relationship to an identified individual (e.g., prospective student-athlete, coach, student-athlete) is the practical equivalent of a
spouse. (Adopted: 4/25/18)
18.1 Regulations and Authority for Conduct of Championships. All NCAA championships
shall be conducted in accordance with this bylaw and the policies and procedures established by the applicable sport oversight
committee or the Competition Oversight Committee, which shall establish and revise the policies and procedures governing the
administration of NCAA championships, including selection processes, formats and distribution of revenues to participating
institutions. NCAA championships shall be under the control, direction and supervision of the appropriate sports committees,
subject to the requirements, standards and conditions prescribed in Bylaw 31. (Revised: 1/10/91, 8/9/07, 11/1/07 effective 8/1/08,
8/7/14, 10/30/14, 10/4/17)


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18.2 Criteria for Establishment or Continuation of Championships. The establishment or
continuation of an NCAA championship in a given sport shall be determined on the basis of the requirements in the following
bylaws, with sponsorship of a sport based on the Association’s records as of September 30 each year.
18.2.1 National Collegiate Championship. A National Collegiate Championship for which any active member in good
standing is eligible (per Bylaw 20.9) may be established by action of all three divisions acting through each division’s governance
structure, subject to the requirements, standards and conditions regarding the required number of members sponsoring the sport
as prescribed in this bylaw. (Revised: 1/14/97 effective 8/1/97)
18.2.2 Division Championship. A Division I championship in a particular sport may be established by a majority vote of
the Board of Directors subject to the requirements, standards and conditions regarding the required number of members
sponsoring the sport as prescribed in this bylaw. (Revised: 1/9/96 effective 8/1/97)
18.2.3 Championships Existing During 1993-94. A National Collegiate Championship or a division championship
that existed during the 1993-94 academic year may be continued if at least 40 member institutions sponsor the sport. (Adopted:
1/11/94 effective 8/1/94)
    18.2.3.1 National Collegiate and Division Championship in Same Sport. If a National Collegiate Championship
    and a division championship exist in the same sport, sponsorship of the sport in the division in which the division
    championship is conducted shall not count toward the minimum sponsorship number for the National Collegiate
    Championship. (Adopted: 1/11/94 effective 8/1/94)
18.2.4 Minimum Sponsorship for Championships.
    18.2.4.1 Men's Sports. A National Collegiate Championship or a division championship may be established in a men's
    sport if at least 50 institutions sponsor the sport. (Adopted: 1/11/94 effective 8/1/94, Revised: 1/17/09)
    18.2.4.2 Women's Sports. A National Collegiate Championship or a division championship may be established in a
    women's sport if at least 40 institutions sponsor the sport. (Adopted: 1/11/94 effective 8/1/94, Revised: 4/22/98 effective
    8/1/98, 4/25/02 effective 8/1/02, 1/17/09)
    18.2.4.3 Sponsorship Criteria.
         18.2.4.3.1 Minimum Period. In men’s sports, the applicable minimum sponsorship number must exist for two
         consecutive academic years in order for a championship to be established. Legislation to establish the championship
         may be proposed during the second year in which the minimum sponsorship number exists. In women’s sports, the
         applicable minimum sponsorship number must exist for one academic year in order for a championship to be
         established. Legislation to establish the championship may be proposed during the year in which the minimum
         sponsorship number exists. Varsity sports sponsored prior to August 1, 1994, shall count toward the minimum year
         sponsorship requirement. (Adopted: 1/11/94 effective 8/1/94, Revised: 10/28/99 effective 8/1/00)
         18.2.4.3.2 National Collegiate and Division Championship in Same Sport. If a National Collegiate
         Championship and a division championship exist in the same sport, sponsorship of the sport in the division in which
         the division championship is conducted shall not count toward the minimum sponsorship number for the National
         Collegiate Championship. (Adopted: 1/11/94 effective 8/1/94)
18.2.5 Establishment of Single Championship in Sport. If only one championship is established or continued in
accordance with Bylaws 18.2.3 and 18.2.4, it shall be a National Collegiate Championship for which any active member
institution in good standing can be eligible.
18.2.6 Establishment of Three Championships in Sport. If a National Collegiate Championship and two division
championships exist in the same sport, the National Collegiate Championship automatically shall become a division
championship for the remaining division that does not sponsor a division championship in that sport.
18.2.7 Establishment of Two Championships in Sport. If a National Collegiate Championship and one division
championship exist in the same sport, only the members of the division sponsoring the division championship may participate
in the division championship, and that division’s membership may not participate in the National Collegiate Championship in
that sport.
18.2.8 Determination of Sponsorship Requirements.
    18.2.8.1 Single-Gender Athletics Programs. For purposes of meeting the required minimums set forth in Bylaws
    18.2.3 and 18.2.4, member institutions sponsoring no varsity intercollegiate athletics programs for men shall not be
    included in making calculations concerning men’s championships, and member institutions sponsoring no varsity
    intercollegiate athletics programs for women shall not be included in making calculations concerning women’s
    championships.

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    18.2.8.2 Separate Men's and Women's Teams, Same Sport. For purposes of meeting the required minimums set
    forth in Bylaws 18.2.3 and 18.2.4 for a combined men’s and women’s championship, separate varsity intercollegiate men’s
    and women’s teams in the same sport at a member institution shall be counted separately.
    18.2.8.3 Mixed Team. For purposes of meeting the required minimums set forth in Bylaws 18.2.3 and 18.2.4, a mixed
    team (as defined in Bylaw 18.02.2) shall be counted as one team. A mixed team shall count toward the minimum
    sponsorship percentage for men’s championships.
18.2.9 Subdivision Requirements. If a division subdivides for the administration of a sport, resulting in less than the
applicable minimum number of the division’s active members sponsoring the sport on a varsity intercollegiate basis in that
subdivision, the subdivision shall meet the requirement within three years of the date the subdivision was created. It may
establish and conduct a championship in the interim. (Revised: 1/11/94 effective 8/1/94)
18.2.10 Failure to Meet Minimum Sponsorship Requirements. A championship shall be discontinued
automatically at the conclusion of the academic year in which it falls below the applicable minimum sponsorship number set
forth in Bylaw 18.2.3 or 18.2.4. (Revised: 1/11/94 effective 8/1/94)
    18.2.10.1 Exception -- Olympic Sports. A National Collegiate Championship or a division championship in any
    Olympic sport shall be exempt from the minimum sponsorship-percentage requirements of Bylaws 18.2.3 and 18.2.4. The
    membership may adopt specific legislation to discontinue the championship in an Olympic sport. (Adopted: 1/14/97
    effective 8/1/97)
    18.2.10.2 Exception -- Men's and Women's Lacrosse. A National Collegiate Championship or a division
    championship in men's and women's lacrosse shall be exempt from the minimum sponsorship-percentage requirements of
    Bylaws 18.2.3 and 18.2.4. The membership may adopt specific legislation to discontinue the championship in men's
    lacrosse. (Adopted: 10/28/99 effective 8/1/00)
18.3 Current Championships. The Association currently administers 90 national championships. Eleven are
National Collegiate Championships. Additionally, there are 26 Division I championships, 25 Division II championships and 28
Division III championships. The current championships are as follows: (Revised: 1/10/90, 1/10/92, 1/9/96, 4/27/00, 4/26/01,
1/15/11 effective 8/1/11, 10/30/14 effective 8/1/15)
18.3.1 National Collegiate Championships (11). [#] (Adopted: 4/27/00, 4/24/03 effective 8/1/03, Revised: 10/30/14
effective 8/1/15, 7/31/15)
Men (3)                              Men and Women (3)       Women (5)
Gymnastics                           Fencing                 Beach Volleyball
Volleyball (Divisions I and II)      Rifle                   Bowling
Water Polo                           Skiing                  Gymnastics
                                                             Ice Hockey (Divisions I and II)
                                                             Water Polo
18.3.2 Division I Championships (26). (Revised: 1/9/96, 4/27/00, 4/26/01 effective 8/1/01, 12/15/06)
Men (13)                                         Women (13)
Baseball                                         Basketball
Basketball                                       Cross Country
Cross Country                                    Field Hockey
Football                                         Golf
Golf                                             Lacrosse
Ice Hockey                                       Rowing
Lacrosse                                         Soccer
Soccer                                           Softball
Swimming and Diving                              Swimming and Diving
Tennis                                           Tennis
Indoor Track and Field                           Indoor Track and Field
Outdoor Track and Field                          Outdoor Track and Field
Wrestling                                        Volleyball

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18.4 Eligibility for Championships.
18.4.1 Student-Athlete Eligibility. To be eligible for NCAA championships, a student-athlete shall meet all applicable
individual-eligibility requirements set forth in NCAA legislation. The general and academic eligibility requirements are set forth
in detail in Bylaws 12 and 14.
    18.4.1.1 Institution's Responsibility. The responsibility of an institution to withhold from all intercollegiate
    competition a student-athlete who is ineligible under any NCAA legislation is set forth in Bylaw 12.11.1.
    18.4.1.2 Committee on Student-Athlete Reinstatement Authority. The Committee on Student-Athlete
    Reinstatement shall have initial authority to determine all matters pertaining to the eligibility of student-athletes competing
    in the various NCAA championships and to act upon all appeals concerning the eligibility of student-athletes submitted by
    member institutions (see Bylaw 12.12).
    18.4.1.3 Protest of Eligibility Status. If a student-athlete has been certified by the institution as eligible to compete in
    an NCAA championship and the student-athlete's eligibility is protested, the Committee on Student-Athlete Reinstatement
    shall not rule on such a protest received during the period beginning 24 hours before the event and ending with the
    conclusion of the event. (See Bylaw 31.2.2.2 regarding protests received during a break in the continuity of a
    championship.)
    18.4.1.4 Ineligibility for Use of Banned Drugs. A student-athlete who, as a result of a drug test administered by the
    NCAA, tests positive for use of a substance in a banned drug class shall be declared ineligible for further participation in
    postseason and regular-season competition in accordance with the ineligibility provisions in this bylaw. (Revised: 1/10/90
    effective 8/1/90, 4/22/14, 4/24/14 effective 8/1/14, 6/10/16, 1/23/19 effective 8/1/19)
         18.4.1.4.1 Penalty -- Banned Drug Classes Other Than Cannabinoids or Narcotics. A student-athlete who,
         as a result of a drug test administered by the NCAA, tests positive for use of a substance in a banned drug class other
         than cannabinoids or narcotics (in accordance with the testing methods authorized by the Board of Governors) shall be
         subject to the following: (Revised: 1/10/90 effective 8/1/90, 1/16/93, 1/9/96 effective 8/1/96, 1/14/97 effective 8/1/97,
         4/28/05 effective 8/1/05, 11/1/07, 4/10/14, 4/24/14 effective 8/1/14 for tests occurring on or after 8/1/14, 10/30/14,
         1/17/15, 10/29/15 effective 8/1/16 for all drug tests administered on or after 8/1/16, 6/10/16, 11/18/16, 1/23/19 effective
         8/1/19, 4/19/19)
          (a) The student-athlete shall be ineligible for competition in all sports until the student-athlete has been withheld from
              the equivalent of one season (the maximum number of championship segment regular-season contests or dates of
              competition in the applicable sport per Bylaw 17) of regular-season competition. The student-athlete must be
              otherwise eligible for competition to fulfill this penalty except a transfer student-athlete may fulfill a transfer
              residence requirement and a drug-testing penalty concurrently if the student-athlete meets all other eligibility
              requirements;
          (b) A student-athlete who tests positive during a year in which the student-athlete did not use a season of competition
              shall be charged with the loss of one season of competition in all sports. A student-athlete who tests positive during
              a year in which the student-athlete used a season of competition shall be charged with the loss of one additional
              season of competition in all sports (in addition to the season used) unless the student-athlete uses a season of
              competition in the academic year immediately after the positive test; and
          (c) The student-athlete shall be ineligible for intercollegiate competition for 365 consecutive days after the collection
              of the student-athlete's positive drug-test specimen and until the student-athlete tests negative pursuant to the
              policies and procedures of the NCAA Drug-Testing Program.
              18.4.1.4.1.1 Second Positive Test. If a student-athlete who previously tested positive for the use of a
              substance in a banned drug class other than cannabinoids or narcotics tests positive a second time for the use of a
              substance in a banned drug class other than cannabinoids or narcotics, the student-athlete shall lose all remaining
              regular-season and postseason eligibility in all sports. If a student-athlete who previously tested positive for the use
              of a substance in a banned drug class other than cannabinoids or narcotics tests positive for the use of a substance
              in the banned drug class cannabinoids, the student-athlete shall engage, with the institution, in an education and
              management plan for substance misuse (e.g., engagement with campus counseling services, participation in
              identified programs to address the substance misuse, enrollment in evidence-based educational sessions) as
              developed and facilitated by the institution. If a student-athlete who previously tested positive for the use of a
              substance in a banned drug class other than cannabinoids or narcotics tests positive for the use of a substance in
              the banned drug class narcotics, the student-athlete shall be ineligible for competition for 50 percent of a season in
              all sports (the first 50 percent of the Bylaw 17 maximum regular-season contests or dates of competition). The
              student-athlete shall remain ineligible from the time the institution is notified of the test result until the prescribed
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             penalty is fulfilled and the student-athlete tests negative pursuant to the policies and procedures of the NCAA
             Drug-Testing Program. (Adopted: 6/10/16, Revised: 11/18/16, 1/23/19 effective 8/1/19, 4/19/19, 8/5/19, 5/18/22
             effective 8/1/22 for penalties served 8/1/22 or later)
         18.4.1.4.2 Penalty -- Narcotics. A student-athlete who, as a result of a drug test administered by the NCAA, tests
         positive for use of a substance in the banned drug class narcotics (in accordance with the testing methods authorized by
         the Board of Governors) shall be ineligible for competition during 50 percent of a season in all sports (50 percent of
         the Bylaw 17 maximum regular-season contests or dates of competition). The student-athlete shall remain ineligible
         from the time the institution is notified of the test result until the prescribed penalty is fulfilled and the student-athlete
         tests negative pursuant to the policies and procedures of the NCAA Drug-Testing Program. (Adopted: 4/24/14 effective
         8/1/14, Revised: 10/30/14, 10/29/15 effective 8/1/16, 6/10/16, 11/18/16, 4/14/17, 1/23/19 effective 8/1/19, 4/19/19,
         8/5/19, 5/18/22 effective 8/1/22 for penalties served 8/1/22 or later)
             18.4.1.4.2.1 Second Positive Test. If a student-athlete who previously tested positive for use of a substance in
             the banned drug class narcotics tests positive a second time for use of a substance in the banned drug class
             narcotics or if a student-athlete who previously tested positive for use of a substance in the banned drug class
             narcotics tests positive for use of a substance in a banned drug class other than cannabinoids or narcotics, the
             student-athlete shall subject to the penalties set forth in Bylaw 18.4.1.4.1. If a student-athlete who previously
             tested positive for use of a substance in the banned drug class narcotics tests positive for use of a substance in the
             banned drug class cannabinoids, the student-athlete shall be subject to the penalties set forth in Bylaw 18.4.1.4.3.
             (Adopted: 6/10/16, Revised: 11/18/16, 1/23/19 effective 8/1/19, 4/19/19, 8/5/19, 5/18/22 effective 8/1/22 for penalties
             served 8/1/22 or later)
         18.4.1.4.3 Penalty -- Cannabinoids. A student-athlete who, as a result of a drug test administered by the NCAA,
         tests positive for use of a substance in the banned drug class cannabinoids (in accordance with the testing methods
         authorized by the Board of Governors) shall engage, with the institution, in an education and management plan for
         substance misuse (e.g., engagement with campus counseling services, participation in identified programs to address the
         substance misuse, enrollment in evidence-based educational sessions) as developed or facilitated by the institution.
         (Adopted: 5/18/22 effective 8/1/22 for penalties served 8/1/22 or later)
             18.4.1.4.3.1 Second Positive Test. If a student-athlete who previously tested positive for use of a substance in
             the banned drug class cannabinoids tests positive a second time for the use of a substance in the banned drug class
             cannabinoids, the institution must attest that the student-athlete was compliant with the education and
             management plan required following the student-athlete's first positive test, as specified by the policies and
             procedures of the NCAA Drug-Testing Program, and has agreed to continue to engage in an education and
             management plan for substance misuse (e.g., engagement with campus counseling services, participation in
             identified programs to address substance misuse, enrollment in evidence-based educational sessions) as developed
             or facilitated by the institution and designed to mitigate any identified at-risk behavior. If a student-athlete who
             previously tested positive for use of a substance in the banned drug class cannabinoids tests positive for use of a
             substance in a banned drug class other than cannabinoids or narcotics or tests positive for use of a substance in the
             banned drug class narcotics, the student-athlete shall be subject to the penalties set forth in Bylaws 18.4.1.4.1 or
             18.4.1.4.2, respectively. (Adopted: 5/18/22 effective 8/1/22 for penalties served 8/1/22 or later)
                  18.4.1.4.3.1.1 Failure to Attest. If an institution cannot or does not attest, the student-athlete shall be
                  ineligible for competition during 25 percent of a season in all sports (25 percent of the NCAA Bylaw 17
                  maximum regular-season contests or dates of competition). (Adopted: 5/18/22 effective 8/1/22 for penalties
                  served 8/1/22 or later)
             18.4.1.4.3.2 Additional Positive Tests. If a student-athlete who previously tested positive for use of a
             substance in the banned drug class cannabinoids tests positive a third time or more for use of a substance in the
             banned drug class cannabinoids, the institution must attest that the student-athlete was compliant with the
             education and management plan required following the student-athlete's second or subsequent positive test, as
             specified by the policies and procedures of the NCAA Drug-Testing Program, and has agreed to continue to
             engage in an education and management plan for substance misuse (e.g., engagement with campus counseling
             services, participation in identified programs to address substance misuse, enrollment in evidence-based
             educational sessions) as developed or facilitated by the institution and designed to mitigate any identified at-risk
             behavior. (Adopted: 5/18/22 effective 8/1/22 for penalties served 8/1/22 or later)
                  18.4.1.4.3.2.1 Failure to Attest. If the institution cannot or does not attest, the student-athlete shall be
                  ineligible for competition during 50 percent of a season in all sports (50 percent of the NCAA Bylaw 17


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                  maximum regular-season contests or dates of competition). (Adopted: 5/18/22 effective 8/1/22 for penalties
                  served 8/1/22 or later)
         18.4.1.4.4 Breach of NCAA Drug-Testing Program Protocol. A student-athlete who is in breach of the NCAA
         drug-testing program protocol (e.g., no-show) shall be considered to have tested positive for use of any drug in a
         banned drug class other than cannabinoids or narcotics. (Adopted: 4/28/05 effective 8/1/05, Revised: 4/26/12 effective
         8/1/12, 11/18/16, 1/23/19 effective 8/1/19)
             18.4.1.4.4.1 Tampering with Drug-Test Sample. A student-athlete who is involved in a case of clearly
             observed tampering with an NCAA drug-test sample (e.g., urine substitution and related methods), as
             documented per NCAA drug-testing protocol by a drug-testing crew member, shall be subject to the following:
             (Adopted: 4/26/12 effective 8/1/12, Revised: 6/19/12, 10/30/14, 10/29/15 effective 8/1/16, 6/10/16, 10/3/18, 4/19/19)
              (a) The student-athlete shall be ineligible for competition in all sports until the student-athlete has been withheld
                  from the equivalent of two seasons (the maximum number of championship segment regular-season contests
                  or dates of competition in the applicable sport per Bylaw 17) of regular-season competition. The student-
                  athlete must be otherwise eligible for competition to fulfill this penalty except a transfer student-athlete may
                  fulfill a transfer residence requirement and a drug-testing penalty concurrently if the student-athlete meets all
                  other eligibility requirements;
              (b) A student-athlete who is involved in tampering during a year in which the student-athlete did not use a season
                  of competition, shall be charged with the loss of two seasons of competition in all sports. A student-athlete
                  who is involved in tampering during a year in which the student-athlete used a season of competition, shall be
                  charged with the loss of two additional seasons of competition in all sports (in addition to the season used)
                  unless the student-athlete uses a season of competition in one of the next two academic years. If the student-
                  athlete uses a season of competition in one of the next two academic years, the student-athlete will only be
                  charged one additional season of competition in all sports (in addition to the seasons used); and
              (c) The student-athlete shall be ineligible for intercollegiate competition for 730 consecutive days after the
                  student-athlete was involved in tampering and until the student-athlete tests negative pursuant to the policies
                  and procedures of the NCAA Drug-Testing Program.
         18.4.1.4.5 Transfers. If the student-athlete transfers to another NCAA institution while ineligible, the institution
         from which the student-athlete transferred must notify the student-athlete's new institution that the student-athlete is
         ineligible. If the student-athlete transfers to a non-NCAA institution while ineligible and competes in intercollegiate
         competition during the prescribed period of ineligibility: (Revised: 4/28/05 effective 8/1/05, 4/24/14 effective 8/1/14,
         10/30/14, 5/29/15, 10/29/15 effective 8/1/16, 6/10/16, 4/19/19)
         (a) The student-athlete remains ineligible for all NCAA regular-season and postseason competition until the student-
             athlete does not compete in intercollegiate competition for the entirety of the prescribed penalty (the total number
             of prescribed contests or dates of competition) while enrolled and otherwise eligible for competition at an NCAA
             institution;
         (b) The student-athlete shall be ineligible for intercollegiate competition for the applicable consecutive-day period
             (365 or 730) after the student-athlete's final non-NCAA competition; and
         (c) The student-athlete remains ineligible until the student-athlete tests negative pursuant to the policies and
             procedures of the NCAA Drug-Testing Program.
         18.4.1.4.6 Appeals. An institution may appeal a drug-testing penalty to the Committee on Competitive Safeguards
         and Medical Aspects of Sports (or a designated subcommittee), as specified by the committee's policies and procedures.
         The committee determination shall be final, binding and conclusive and shall not be subject to further review by any
         other authority. (Adopted: 4/28/05 effective 8/1/05, Revised: 10/29/15 effective 8/1/16, 6/10/16, 4/15/21)
         18.4.1.4.7 Banned Drug Classes. NCAA banned drug classes are the same as those included in the World Anti-
         Doping Agency (WADA) list of prohibited substances, except for glucocorticoids. The Committee on Competitive
         Safeguards and Medical Aspects of Sports (or a designated subcommittee) may identify specific banned drugs and
         exceptions within each banned drug class. An institution and student-athletes shall be held accountable for all drugs
         within the banned-drug classes regardless of whether they have been specifically identified. (Revised: 1/10/90 effective
         8/1/90, 10/30/14, 1/23/19 effective 8/1/19)
             18.4.1.4.7.1 Drugs and Procedures Subject to Restrictions. The use of the following drugs and/or
             procedures is subject to certain restrictions and may or may not be permissible, depending on limitations expressed
             in these provisions and/or quantities of these substances used: (Revised: 8/15/89, 12/9/91, 5/4/92, 6/17/92, 8/13/93,
             7/22/97, 10/30/14, 1/23/19 effective 8/1/19)
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              (a) Blood Doping. The practice of blood doping (the intravenous injection of whole blood, packed red blood
                  cells or blood substitutes) is prohibited, and any evidence confirming use will be cause for action consistent
                  with that taken for a positive drug test.
              (b) Gene Doping. The practice of gene doping (the non-therapeutic use of cells, genes, genetics elements or of
                  the modulation of gene expression, having the capacity to improve athletic performance) is prohibited, and
                  any evidence confirming use will be cause for action consistent with that taken for a positive drug test.
              (c) Local Anesthetics. The Board of Governors will permit the limited use of local anesthetics under the
                  following conditions:
                   (1) That procaine, xylocaine, carboncaine or any other local anesthetic may be used, but not cocaine;
                   (2) That only local or topical injections can be used (intravenous injections are not permitted); and
                   (3) That use is medically justified only when permitting the student-athlete to continue the competition
                       without potential risk to the student-athlete's health.
              (d) Manipulation of Urine Samples. The Board of Governors bans the use of substances and methods (e.g.,
                  diuretics, probenecid, bromantan or related compounds, epitestosterone) that alter the integrity and/or
                  validity of urine samples provided during NCAA drug testing.
              (e) Beta 2 Agonists. The use of beta 2 agonists is permitted by inhalation only.
              (f) Additional Analysis. Drug screening for select nonbanned substances may be conducted for nonpunitive
                  purposes.
         18.4.1.4.8 Non-NCAA Athletics Organization's Positive Drug Test. The Board of Governors shall authorize
         methods for drug testing any student-athlete who has disclosed in the student-athlete statement (see Bylaw 12.7.2.1) a
         positive drug test administered by a non-NCAA athletics organization that has adopted the World Anti-Doping
         Agency (WADA) code. A student-athlete under a drug-testing suspension from a national or international sports
         governing body that has adopted the WADA code shall not participate in NCAA intercollegiate competition for the
         duration of the suspension. (Adopted: 1/14/97 effective 8/1/97, Revised: 4/28/05 effective 8/1/05, 10/30/14, 6/19/17)
         18.4.1.4.9 Medical Exceptions. Exceptions to the prohibition on use of any substance in a banned-drug class may
         be provided to a student-athlete, as specified in the policies and procedures of the of the NCAA Drug-Testing
         Program.. (Revised: 8/5/99, 9/26/06, 10/27/06 effective 8/1/07, 2/5/09, 10/30/14, 1/23/19 effective 8/1/19, 1/19/22)
         18.4.1.4.10 Methods for Drug Testing. The Board of Governors shall authorize methods for drug testing of
         student-athletes on a year-round basis. The methods and any later modifications authorized by the Board of Governors
         for drug testing of student-athletes shall be summarized and posted on the NCAA website. (Revised: 10/30/14, 1/23/19
         effective 8/1/19)
         18.4.1.4.11 Events Identified for Drug Tests. The Board of Governors shall determine the regular-season and
         postseason competition for which drug tests shall be made and the procedures to be followed in disclosing its
         determinations. (Revised: 10/30/14, 1/23/19 effective 8/1/19)
         18.4.1.4.12 Individual Eligibility -- Team Sanctions. Regulations pertaining to team-eligibility sanctions for
         positive tests resulting from the NCAA drug-testing program shall apply only in the following situation: If a student-
         athlete is declared ineligible prior to an NCAA team championship or a postseason football game and the institution
         knowingly allows the student-athlete to participate, all team-ineligibility sanctions shall apply (the team shall be
         required to forfeit its awards and any revenue distribution it may have earned, and the team's and student-athlete's
         performances shall be deleted from NCAA records). (Revised: 1/10/90, 1/23/19 effective 8/1/19)
18.4.2 Institutional Eligibility.
    18.4.2.1 General Institutional Requirements. To be eligible to enter a team or an individual in NCAA
    championship competition: (Adopted: 1/10/90, Revised: 1/10/95, 3/8/06, 11/1/07 effective 8/1/08, 1/14/08, 1/17/09 effective
    8/1/09, 7/30/10, 7/31/14, 8/7/14, 4/26/17 effective 8/1/17, 1/23/19, 4/19/19 effective 8/1/19, 1/11/23)
    (a) The institution shall be an active member in good standing in the appropriate division, or have its sport so classified,
        and be eligible under the rules of the member conference of which it is a member;
    (b) The institution shall have paid its membership dues for the current year in accordance with the deadlines set forth in
        Bylaw 31.2.1.2;
    (c) The institution shall designate (in accordance with Bylaw 20) its athletics program as Division I for competition and
        possible eligibility for championships in those intercollegiate sports recognized by the NCAA;

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    (d) The institution's president or chancellor shall attest annually to an understanding of the institutional obligations and
        personal responsibilities imposed by the NCAA constitution (Principle of Institutional Control; Rules, Compliance
        and Accountability);
    (e) The institution's director of athletics shall certify annually the institution's compliance with Bylaw 18.4.2.1.1;
    (f) The institution shall have confirmed annually its sponsorship of a varsity intercollegiate team in the sport by so
        reporting on the NCAA official information form;
    (g) The institution shall have submitted its race and demographic information to the NCAA through the official
        submission process;
    (h) The institution shall have submitted its financial data detailing operating revenues, expenses and capital related to its
        intercollegiate athletics program to the NCAA through the official submission process (see Bylaw 20.2.4.17); and
    (i) The institution shall refrain from entering a student-athlete as an individual or as a member of a team in an NCAA
        championship if it is acknowledged by the institution or established through the Association's infractions process that
        the institution or representatives of its athletics interests violated NCAA regulations in the recruiting of the student-
        athlete. The institution may appeal to the Committee on Student-Athlete Reinstatement for restoration of the student-
        athlete's eligibility (see Bylaw 12.12).
         18.4.2.1.1 Certification of Compliance -- Requirements. The institution's director of athletics shall certify that
         the following conditions have been satisfied. (See Bylaw 20.2.4.16.) (Revised: 1/10/95, 3/8/06, 7/30/10, 4/19/19 effective
         8/1/19)
             18.4.2.1.1.1 NCAA Rules Review. The director of athletics or a designated representative has reviewed with all
             athletics department staff members the rules and regulations of the NCAA as they apply to the administration and
             conduct of intercollegiate athletics. (Revised: 3/7/06, 7/29/10, 8/7/18 effective 7/31/19, 4/19/19 effective 8/1/19)
             18.4.2.1.1.2 Attestation of Compliance Obligations. The director of athletics has attested annually to an
             understanding of the institutional obligations and personal responsibilities imposed by the NCAA constitution
             (Principle of Institutional Control; Rules, Compliance and Accountability) and that all athletics department staff
             members (full-time, part-time, clerical, volunteer) are aware of the institutional obligations and personal
             responsibilities imposed by the NCAA constitution. (Adopted: 8/7/18 effective 7/31/19, Revised: 4/19/19 effective
             8/1/19, 1/11/23)
             18.4.2.1.1.3 Coaching Staff Disciplinary Actions. At the time of such certification, and as a result of
             involvement in a violation of the Association's legislation as determined by the Committee on Infractions or the
             Infractions Appeals Committee, no current member of the institution's coaching staff: (Revised: 7/30/10, 7/31/14,
             8/8/18 effective 8/1/19, 12/20/18, 8/31/22 effective 1/1/23)
              (a) Shall have been temporarily or permanently suspended from coaching duties by another member institution
                  within the last two years;
              (b) Shall have been prohibited within the last two years, as a result of violations occurring while employed by
                  another member institution, from participating in identified coaching-related activities, unless the prohibition
                  has been equally applied by the certifying institution with respect to the individual’s coaching-related activities
                  on its behalf; or
              (c) Shall have been permitted within the last two years to perform any coaching-related activities for the certifying
                  institution that were prohibited after determination by the Committee on Infractions or Independent
                  Resolution Panel of an "appropriate disciplinary action" for the individual in accordance with the show-cause
                  provision of Bylaw 19.12.10.
                  18.4.2.1.1.3.1 Period of Suspension or Prohibition. The period of suspension or prohibition
                  established by the Committee on Infractions or the Infractions Appeals Committee must be in effect for the
                  provisions set forth in Bylaw 18.4.2.1.1.3 to apply. (Revised: 7/30/10, 8/8/18 effective 8/1/19, 12/20/18,
                  8/31/22 effective 1/1/23)
                  18.4.2.1.1.3.2 Due-Process Requirement. The affected coaching staff member must be given through
                  the appropriate institution notice of an opportunity to be heard at both the NCAA hearing resulting in the
                  finding of involvement in the violation and the institutional hearing resulting in suspension or prohibition.
                  (Revised: 7/30/10)
             18.4.2.1.1.4 Certification of Policies, Procedures and Practices. The policies, procedures and practices
             of the institution, its staff members and representatives of its athletics interests are in compliance at the present


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             time with the Association's legislation insofar as the director of athletics can determine. (Revised: 3/7/06, 7/29/10,
             4/19/19 effective 8/1/19)
             18.4.2.1.1.5 Additional Requirements. An institution shall specifically affirm the following: (Revised:
             7/30/10)
              (a) It has published its regular entrance requirements, including any special-admission opportunities;
              (b) It has published its requirements for progress toward a degree, in accordance with membership obligations set
                  forth in Bylaw 20.2; and
              (c) Each student-athlete who represents the institution in intercollegiate athletics competition during the
                  academic year has been certified to be in good academic standing and maintaining progress toward a degree as
                  set forth in Bylaw 14.
         18.4.2.1.2 Additional Requirements. Other requirements for institutional eligibility for championships are set
         forth in Bylaw 31.2.1.
   18.4.2.2 Championships -- Eligibility. To be eligible to enter a team or an individual in an NCAA championship, a
   member institution also shall: (Revised: 1/10/90 for data collection, effective 10/1/91 for disclosure, 10/28/97, 11/1/00 effective
   8/1/01, 3/8/06, 12/15/06, 11/1/07 effective 8/1/08, 7/30/10, 8/7/14, 4/28/16 effective 8/1/16, 6/19/17, 4/26/23 effective 8/1/23
   August 1, 2023 (applicable to student-athletes who initially enroll full time at a collegiate institution on or after August 1, 2023).)
    (a) Limit its athletically related grant-in-aid awards and eligibility for participation in practice or competition to student-
        athletes who meet the following requirements:
         (1) Freshman eligibility requirements for financial aid, practice and competition set forth in Bylaws 14.3.1 and 14.3.2;
             and
         (2) Transfer eligibility requirements for financial aid, practice and competition set forth in Bylaws 14.5.4.1 and
             14.5.4.2 (for transfer from a two-year college) or in Bylaw 14.5.5.1 (for transfer from a four-year college);
    (b) Have operated for a period of two years in conformity with the requirements of Bylaw 18.4.2.2-(a) at the time it
        certifies conformance;
    (c) Report annually to the NCAA, through the president or chancellor, the admissions and graduation-rate data specified
        in Bylaws 18.4.2.2.1, 18.4.2.2.2 and 18.4.2.2.3. The data shall be received in the national office not later than March
        1. Any data received after that date shall appear on a form postmarked not later than February 22;
    (d) In championship subdivision football, have complied with the minimum scheduling requirements set forth in Bylaw
        20 for a period of two years; and
    (e) In cross country and indoor and outdoor track and field, have met the minimum contests and participants
        requirements for sports sponsorship set forth in Bylaw 20.10.6.3.
         18.4.2.2.1 Admissions and Graduation-Rate Disclosure. An institution shall not be eligible to enter a team or
         an individual competitor in an NCAA championship unless it has submitted federal graduation rate and enrollment
         data to the NCAA national office on or before the applicable deadline . (Revised: 1/10/90, 1/6/91 for data collection,
         effective 10/1/91 for disclosure, 4/15/92, 1/14/97, 10/28/97, 8/11/98, 1/12/04, 7/30/10, 6/19/17)
         18.4.2.2.2 Academic Progress Rate and Academic Performance Census -- Disclosure. An institution shall
         not be eligible to enter a team or individual competitor in an NCAA championship unless it has submitted, by the
         applicable deadline, its Academic Progress Rate (APR) and Academic Performance Census (APC) in a form approved
         and administered by the Board of Directors, or an entity designated by the Board. (Adopted: 8/7/03 effective 8/1/04,
         Revised: 7/30/10)
         18.4.2.2.3 Graduation Success Rate -- Disclosure. An institution shall not be eligible to enter a team or
         individual competitor in an NCAA championship unless it has submitted, by the applicable deadline, its Graduation
         Success Rate (GSR) in a form approved and administered by the Board of Directors, or an entity designated by the
         Board. (Adopted: 4/29/04 effective 8/1/04, Revised: 7/30/10)
         18.4.2.2.4 Division II or Division III Institution Petitioning for Division I Classification. A Division II or
         Division III institution petitioning for Division I institutional membership or eligibility in a sport (in accordance with
         Bylaw 20) shall have operated in conformity with the requirements of Bylaw 18.4.2.2-(a) for a period of two years
         preceding the effective date of its Division I membership or be ineligible for Division I championships.
   18.4.2.3 Academic Performance Program. The Committee on Academics shall have the authority to determine the
   circumstances that require an institution or team that fails to satisfy the academic performance program to be ineligible for
   postseason competition, including, but not limited to, NCAA championships and bowl games. The Committee on
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    Academics shall establish and annually publish to the membership such circumstances. (Adopted: 4/29/04 effective 8/1/04,
    Revised: 1/8/07 effective 8/1/07, 10/27/11 for penalties assessed for the 2012-13 academic year and beyond, 8/7/14)
         18.4.2.3.1 Appeal Opportunity. An institution may appeal such postseason competition restrictions to the
         Committee on Academics, as specified by the committee's policies and procedures. (See Bylaw 23.3.) (Adopted: 4/29/04
         effective 8/1/04, Revised: 1/8/07 effective 8/1/07, 10/27/11 for penalties assessed for the 2012-13 academic year and beyond,
         8/7/14)
18.5 Automatic Qualification by Conference.
18.5.1 Division I Championship. To be eligible for automatic qualification into any Division I championship, a
conference shall: (Revised: 1/9/06 effective 8/1/06)
 (a) Have at least six member institutions classified in Division I in the sport in which automatic qualification is sought; and
 (b) Meet all requirements for conference automatic qualification into a Division I championship as set forth in Bylaw 31.3.4.
18.5.2 National Collegiate Championship. [#] To be eligible for automatic qualification into any National Collegiate
Championship, a conference shall: (Adopted: 1/9/06 effective 8/1/06)
 (a) Have at least six active members that sponsor the applicable sport in any division;
 (b) Meet all applicable requirements for conference automatic qualification into any National Collegiate Championship as set
     forth in Bylaw 31.3.4.
18.5.3 Men's Basketball Eligibility Requirements. For automatic qualification in men's basketball, a conference shall
meet the following additional requirements: (Revised: 1/10/91 effective 8/1/91)
 (a) It shall determine a conference champion in at least six men's sports [at least two of which must be team sports as set forth
     in Bylaw 31.3.4.1-(a)]; and in each of these six sports, at least six of the conference's member institutions shall sponsor the
     sport on the varsity intercollegiate level; and
 (b) It shall conduct double round-robin, in-season conference competition, or a minimum of 14 conference games, before
     declaring its champion in basketball.
18.6 Playing Rules for Championships. In sports in which the Association maintains rules committees, the
rules adopted by said committees shall govern the conduct of all NCAA-sponsored events in those sports. In those sports in
which the Association does not maintain rules committees, the rules to be used are specified in Bylaw 31.1.6.
18.7 Postseason Football. [FBS/FCS]
18.7.1 Permissible Football Games. [FBS/FCS] The only football games in which a member institution may compete
are: (Revised: 2/1/05, 12/15/06, 10/28/11 effective 4/1/12, Adopted: 8/2/12 effective 8/1/14)
 (a) Games scheduled as to the identity of a participating college before the beginning of the regular football season of the
     institution for any academic year, including not only games for which the identity of one participating college is known, but
     also one for which the institution's opponent is not known at the time of scheduling;
 (b) Any football game scheduled between two colleges [which is to be played on a common and regular open date (as defined in
     Bylaw 18.02.3) of their regular football seasons, on the campus or in the regular playing stadium of either team], even if it is
     scheduled after the beginning of either participant's football season;
 (c) Games that are part of the NCAA championship;
 (d) Games that are part of the National Association of Intercollegiate Athletics football championships;
 (e) A conference championship game on an open date during the traditional fall season, provided the game is played (as
     opposed to scheduled) the week prior to the first round of an NCAA football championship date and provided the game is
     listed on the schedules of all conference members; and
 (f) Postseason bowl games that meet all requirements and conditions set forth in Bylaw 18.7.2 and the NCAA postseason
     football handbook; and
 (g) One postseason game between the winners of two exempted postseason bowl games per Bylaw 17.11.6.2.1-(d). The
     participants in the two postseason bowl games shall be selected by Football Bowl Subdivision conferences and independent
     institutions.
18.7.2 Postseason Bowl Games. [FBS/FCS] The conditions and requirements that must be met in order for an
institution to participate in a postseason bowl game are set forth in the NCAA postseason football handbook. (Revised: 1/10/92,
2/1/05, 12/15/06, 7/30/10, 4/28/11, 10/27/11 effective 4/1/12)

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   18.7.2.1 Contest Status. [FBS] A contest shall serve the purpose of providing a national contest between deserving
   teams. A "deserving team" shall be defined as one that has won a number of games against Football Bowl Subdivision
   opponents that is equal to or greater than the number of its overall losses. Tie games do not count in determining a team's
   won-lost record. Further, if forfeiture of a regular-season football victory is required by the Committee on Infractions or a
   conference, or is self-imposed by an institution as a result of a violation of NCAA rules, neither of the competing
   institutions may count that contest in satisfying the definition of a "deserving team." (Revised: 10/18/89, 10/12/93, 4/20/99,
   12/15/06, 4/29/10 effective 8/1/10, 7/30/10, 10/27/11 effective 4/1/12, 8/8/18 effective 8/1/19, 12/20/18, 8/31/22 effective
   1/1/23)
         18.7.2.1.1 Exception -- Football Championship Subdivision Opponent. [FBS] Each year, a Football Bowl
         Subdivision institution may count one victory against a Football Championship Subdivision opponent toward meeting
         the definition of a "deserving team," provided the opponent has averaged 90 percent of the permissible maximum
         number of grants-in-aid per year in football during a rolling two-year period. (Adopted: 10/28/97 effective 8/1/98,
         Revised: 4/28/05, 12/15/06, 4/29/10 effective 8/1/10, 7/30/10, 5/18/22, 9/21/22 effective 8/1/23)
         18.7.2.1.2 Exception -- Deserving Team That Loses Conference Championship Game. [FBS] An
         institution that finishes its regular season having met the definition of a "deserving team" but loses its conference
         championship game shall continue to be considered a deserving team. (Adopted: 5/2/13)
         18.7.2.1.3 Exception -- Insufficient Number of Eligible Institutions. [FBS] If an insufficient number of
         institutions meet the definition of a deserving team pursuant to Bylaw 18.7.2.1 to participate in postseason bowl games
         in a particular year, an institution that meets a condition set forth below shall be eligible to participate as an alternate in
         such a bowl game. All deserving teams must be selected before an alternate may be selected. The terms of participation
         in the bowl game shall be the same for the alternate as the terms that were applicable to the originally contracted
         conference participant. All institutions that meet the first condition below must be selected before an institution that
         meets the second condition may be selected and so forth in descending order: (Adopted: 5/18/22)
         (a) An institution that would have met the requirements set forth in Bylaw 18.7.2.1.1 but for the fact that one victory
             was against a Football Championship Subdivision opponent that had not met the required average of the
             permissible maximum number of grants-in-aid per year in football during a rolling two-year period and the
             institution's waiver request was denied.
         (b) An institution that participated in 13 regular-season contests and finished the season with a record of six wins that
             count toward meeting the definition of a deserving team and seven losses.
         (c) An institution that is in its final year of reclassification from the Football Championship Subdivision to the
             Football Bowl Subdivision and meets the definition of a deserving team pursuant to Bylaw 18.7.2.1 or the
             exception in Bylaw 18.7.2.1.1.
         (d) An institution that finished its season with a minimum of five wins that count toward meeting the definition of a
             deserving team and a maximum of seven losses but achieved a multiyear Academic Progress Rate (APR) that
             permits postseason participation. Alternates identified pursuant to this condition shall be identified as eligible in
             descending order based on the institutions' multiyear Academic Progress Rates.
              (1) If multiple institutions achieved the same multiyear rate, the institution with the highest single-year Academic
                  Progress Rate, beginning with the most recent reporting year and continuing until a higher rate is found, shall
                  be identified as eligible first. An institution that is identified as an alternate must declare whether it will
                  participate in a bowl game. An alternate institution that declares an intention to participate shall select an
                  available bowl game in which to participate.
              (2) If an institution is unable to participate in a bowl game after accepting a bid, the bowl entity shall select an
                  alternate from among the remaining Football Bowl Subdivision institutions with a multiyear Academic
                  Progress Rate that permits postseason participation to replace the team that accepted the bid and is no longer
                  able to participate in the bowl game.
   18.7.2.2 Participation Restrictions. [FBS] The competing institutions shall be active members of this Association, and
   a member institution shall not participate in more than one such game during any academic year, except as permitted in
   Bylaw 18.7.1-(g). (Revised: 7/30/10, 8/2/12 effective 8/1/14)
   18.7.2.3 Waivers. [FBS] The Division I Football Oversight Committee, or its designated committee, shall have the
   authority to waive all postseason bowl game requirements based on objective evidence that demonstrates circumstances that
   warrant the waiver of the normal application of those regulations. The Football Oversight Committee shall establish the
   process for granting such waivers. (Adopted: 10/4/17 effective 8/1/18)


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18.7.3 Written Report -- Championship Subdivision Football. [FCS] The director of athletics of an institution that
participates in a postseason championship football game or bowl game that is exempt from the maximum number of football
contests per Bylaw 17.11.6.1, except for the Division I Football Championship, shall submit to the Football Oversight
Committee a written report on the conduct and administration of the event, with special emphasis on game management. The
report shall be submitted by the following March 1 on a form approved by the Football Oversight Committee. (Revised:
7/30/10, 8/7/14, 10/4/17)
18.7.4 Eligibility Rules. [FBS/FCS] The eligibility rules governing individual participation and drug usage shall be as
demanding for participants in postseason bowl games as those governing participation in NCAA championships. To attest to the
eligibility of its student-athletes (in conformity with this paragraph), each institution selected or qualified for a postseason game
shall meet the certification-of-eligibility requirements set forth in Bylaw 12.10. (Revised: 1/10/95, 7/30/10)
    18.7.4.1 Institutional Eligibility. [FBS/FCS] The competing institutions shall be active members of the Association,
    and members shall conduct their intercollegiate athletics programs in conformance with the requirements for institutional
    eligibility set forth in Bylaw 18.4.2.2-(a).
18.7.5 Expenses for Significant Others/Children. A competing institution may include the significant others and
children of student-athletes on the traveling squad as part of its official party to attend a postseason football game and may pay
their necessary travel, lodging and meal costs (see Bylaw 16.6.1.1). (Revised: 2/1/05, 10/27/11 effective 4/1/12, 4/25/18)




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BYLAW, ARTICLE 19

Infractions Program
19.01 General Principles.
19.01.1 Mission of the Infractions Program. It is the mission of the NCAA infractions program to uphold integrity and
fair play among the NCAA membership, and to prescribe appropriate and fair penalties if violations occur. One of the
fundamental principles of the infractions program is to ensure that those institutions and student-athletes abiding by the NCAA
bylaws are not disadvantaged by their commitment to compliance. The program is committed to the fairness of procedures and
the timely resolution of infractions cases. The ability to investigate allegations and penalize infractions is critical to the common
interests of the Association's membership and the preservation of its enduring values. (Adopted: 1/11/94, Revised: 10/30/12
effective 8/1/13, 7/31/14, 8/1/22)
19.01.2 Accountability. The infractions program shall hold institutions, coaches, administrators, other representatives and
student-athletes who violate NCAA bylaws accountable for their conduct. (Adopted: 10/30/12 effective 8/1/13, Revised: 7/31/14,
8/1/22, 8/31/22 effective 1/1/23)
19.02 Definitions and Applications.
19.02.1 Involved Individual. Involved individuals are individuals who have received formal notice of involvement in
alleged violations and may be subject to penalties pursuant to Bylaw 19.12.6.4. (Adopted: 10/30/12 effective 8/1/13, Revised:
8/31/22 effective 1/1/23)
19.02.2 New Information. New information is relevant, material information that could not have reasonably been
ascertained prior to the Committee on Infractions hearing. (Adopted: 1/6/96, Revised: 10/30/12 effective 8/1/13, 7/31/14, 8/31/22
effective 1/1/23)
19.02.3 Show-Cause Order. A show-cause order is an order that requires a member institution to demonstrate to the
satisfaction of the Committee on Infractions why it should not be subject to a penalty or additional penalty for not taking
appropriate disciplinary or corrective action with regard to an institutional staff member or representative of the institution's
athletics interests found by the Committee on Infractions as having been involved in a violation of NCAA bylaws. (Revised:
1/10/95, 4/24/03, 10/30/12 effective 8/1/13, 1/23/19 effective 8/1/19, 8/1/22, 8/31/22 effective 1/1/23)
19.1 Violation Structure.
19.1.1 Application of Violation Structure. The level of a violation attaches to the conduct, not to the individual.
Therefore, an institution shall be held responsible for violations committed by staff members at the same level. Further, if
violations from multiple levels are identified, the case shall be processed pursuant to procedures applicable to the most serious
violation(s) alleged. (Adopted: 8/31/22 effective 1/1/23)
19.1.2 Level I Violation. A Level I violation is a violation that seriously undermines or threatens the integrity of the NCAA
Collegiate Model, as set forth in the bylaws, including any violation that provides or is intended to provide a substantial or
extensive recruiting, competitive or other advantage, or a substantial or extensive impermissible benefit. Among other examples,
the following, in appropriate circumstances, may constitute a Level I violation: (Adopted: 10/30/12 effective 8/1/13, Revised:
7/31/14, 1/23/19 effective 8/1/19, 8/1/22, 8/31/22 effective 1/1/23)
 (a) Lack of institutional control;
 (b) Academic integrity violations;
 (c) Failure to cooperate in an NCAA enforcement investigation;
 (d) Providing or attempting to influence others to provide false or misleading information, regardless of whether the underlying
     institutional violations are considered Level I;
 (e) A violation of Bylaw 11.1.1.1 (Responsibility of Head Coach) by a head coach resulting from an underlying Level I
     violation;
 (f) Cash payment or other benefits provided by a coach, administrator or representative of the institution's athletics interests
     intended to secure, or which resulted in, enrollment of a prospective student-athlete;
 (g) Third-party involvement in recruiting violations in which institutional staff members knew or should have known about the
     involvement;
 (h) Intentional violations or reckless indifference to NCAA bylaws; or

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(i) Collective Level II and/or Level III violations.
19.1.3 Level II Violation. A Level II violation is a violation that provides or is intended to provide more than a minimal but
less than a substantial or extensive recruiting, competitive or other advantage; includes more than a minimal but less than a
substantial or extensive impermissible benefit; or involves conduct that may compromise the integrity of the NCAA Collegiate
Model as set forth in the bylaws. Among other examples, the following may constitute a Level II violation: (Adopted: 10/30/12
effective 8/1/13, Revised: 8/8/18 effective 10/15/18, 8/31/22 effective 1/1/23)
 (a) Violations that do not rise to the level of Level I violations and are more serious than Level III violations;
 (b) Failure to monitor (such violations will be presumed Level II but may be deemed to be of a Level I nature if the failure is
      substantial or egregious);
 (c) Systemic violations that do not amount to a lack of institutional control;
 (d) Multiple recruiting, financial aid, or eligibility violations that do not amount to a lack of institutional control;
 (e) A violation of Bylaw 11.1.1.1 (Responsibility of Head Coach) by a head coach resulting from an underlying Level II
      violation;
 (f) A violation of Bylaw 13.1.1.3 (Four-Year College Prospective Student-Athletes) as it relates to contact with a prospective
      student-athlete; or
 (g) Collective Level III violations.
19.1.4 Level III Violation. A Level III violation is a violation that is isolated or limited in nature; provides no more than a
minimal recruiting, competitive or other advantage; and provides no more than a minimal impermissible benefit. Among other
examples, the following may constitute a Level III violation: (Adopted: 10/30/12 effective 8/1/13, 8/31/22 effective 1/1/23)
 (a) Inadvertent violations that are isolated or limited in nature; or
 (b) Extra-benefit, financial aid, academic eligibility and recruiting violations, provided they do not create more than minimal
     advantages.
19.2 Responsibility to Cooperate.
19.2.1 Responsibility to Cooperate. Institutions, current and former institutional staff members, and prospective and
enrolled student-athletes have an affirmative obligation to cooperate fully with and assist the NCAA enforcement staff, the
Committee on Infractions, and the Infractions Appeals Committee to further the objectives of the Association and its infractions
program. Full cooperation includes, but is not limited to: (Adopted: 11/1/07 effective 8/1/08, Revised: 10/30/12 effective 8/1/13,
7/31/14, 8/8/18 effective 8/1/19, 12/20/18, 1/23/19, 8/31/22 effective 1/1/23)
 (a) Affirmatively reporting instances of noncompliance to the NCAA national office in a timely manner;
 (b) Affirmatively preserving relevant materials, documentation and/or electronically stored information upon becoming aware,
      from any source, of potential violations;
 (c) Assisting in the development of full information to determine whether a possible violation of NCAA bylaws has occurred
      and the details thereof;
 (d) Timely participation in interviews and providing complete and truthful responses;
 (e) Making a full and complete disclosure of relevant information, including timely production of materials or information
      requested, and in the format requested;
 (f) Disclosing and providing access to all electronic devices and accounts that are or may be relevant to the investigation;
 (g) Providing access to all social media, messaging and other applications that are or may be relevant to the investigation;
 (h) Preserving the integrity of an investigation and abiding by all applicable confidentiality bylaws and instructions, including
      public disclosure as outlined in Bylaw 19.3;
 (i) Instructing legal counsel, agents and/or others acting on a party's behalf to cooperate fully; and
 (j) Encouraging spouses, family members, representatives of the institution’s athletics interests and/or other associates to
      cooperate fully, including participating in interviews if requested and allowing access to all electronic devices and accounts
      that are or may be relevant to the investigation.
    19.2.1.1 Exemplary Cooperation. Exemplary cooperation begins with institutional and athletics leadership embracing
    and exceeding the responsibility to cooperate. Exemplary cooperation by an institution or involved individual may
    constitute a mitigating factor pursuant to Bylaw 19.12.4. Institutions or involved individuals may demonstrate exemplary
    cooperation while denying some or all of the alleged violations and otherwise acting in furtherance of their independent
    interests. (Adopted: 10/30/12 effective 8/1/13, 8/31/22 effective 1/1/23)
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    19.2.1.2 Protection for Cooperation. An institution shall not retaliate against a current or former institutional staff
    member or prospective student-athlete or student-athlete who voluntarily reports information about potential violations of
    NCAA bylaws to the individual's conference, member institution and/or the NCAA national office. (Adopted: 8/8/18,
    8/31/22 effective 1/1/23)
19.2.2 Failure to Cooperate. Failing to satisfy the responsibility to cooperate may result in immediate penalties pursuant
to Bylaw 19.2.3, an inference pursuant to Bylaw 19.7.5, an independent allegation of failure to cooperate and/or be considered
an aggravating factor pursuant to Bylaw 19.12.3. Failing to cooperate includes, but is not limited to: (Adopted: 10/30/12 effective
8/1/13, Revised: 8/8/18 effective 8/1/19, 12/20/18, 8/31/22 effective 1/1/23)
 (a) Failing to fulfill the responsibility cooperate as outlined in Bylaw 19.2.1;
 (b) Refusing to provide or attempting to influence others to refuse to provide information relevant to a possible violation of
     NCAA bylaws when requested to do so by the NCAA and/or the individual’s institution; and
 (c) Providing or attempting to influence others to provide the NCAA and/or the individual’s institution false or misleading
     information relevant to a possible violation of NCAA bylaws.
19.2.3 Immediate Penalties for Failure to Cooperate. The Committee on Infractions may prescribe immediate
penalties during the investigation if an institution or individual fails to satisfy the responsibility to cooperate. In cases before the
Committee on Infractions, the chair of the Committee on Infractions; a hearing panel generated at the request of the chair to
review whether an institution or individual failed to satisfy the responsibility to cooperate; the chief hearing officer of a hearing
panel assigned to review the case, if appointed by the chair; or the hearing panel, if requested by the chief hearing officer, may
prescribe penalties. (Adopted: 8/8/18 effective 2/1/19, Revised: 1/23/19, 8/31/22 effective 1/1/23)
    19.2.3.1 Finality of Immediate Penalties. The prescribed penalties are final and not subject to appeal. Immediate
    penalties may be lifted by the hearing panel upon a determination that the party has cured the failure to cooperate.
    (Adopted: 1/23/19 effective 2/1/19, 8/31/22 effective 1/1/23)
    19.2.3.2 Committee on Infractions Hearing Panel Generated for Review. When practicable, members of a
    Committee on Infractions hearing panel generated at the request of the Committee on Infractions chair to review whether
    an institution or individual failed to satisfy the responsibility to cooperate will serve on the panel that reviews the case.
    (Adopted: 1/23/19 effective 2/1/19, 8/31/22 effective 1/1/23)
    19.2.3.3 Impact of Immediate Penalties on Infractions Case.
         19.2.3.3.1 Allegation of a Failure to Cooperate. At the conclusion of an investigation, the enforcement staff
         may allege a party failed to cooperate pursuant to Bylaw 19.2.1 regardless of whether it petitioned the Committee on
         Infractions for immediate penalties during the course of an investigation. (Adopted: 8/31/22 effective 1/1/23)
         19.2.3.3.2 Concluding a Failure to Cooperate. The Committee on Infractions hearing panel may consider a
         petition and/or conclusion regarding immediate penalties in concluding whether a failure to cooperate violation
         pursuant to Bylaw 19.2.1 occurred. However, the outcome of a petition for immediate penalties shall not preclude the
         hearing panel from concluding that a party failed to cooperate in the case. The panel may also consider any penalties
         prescribed in accordance with this bylaw in prescribing penalties pursuant to Bylaw 19.12 in its review of the case.
         (Adopted: 1/23/19 effective 2/1/19, Revised: 8/31/22 effective 1/1/23)
19.3 Public Disclosure and Dashboard.
19.3.1 Public Disclosure. Except as provided in this article, an institution, including its representatives or legal counsel; any
individual subject to NCAA bylaws, including their representative or legal counsel; the NCAA National Office; the Committee
on Infractions; and the Infractions Appeals Committee shall not make public disclosures about a pending case until the case has
been announced in accordance with prescribed procedures. However, if information concerning a case is made public, the
parties may confirm, correct or deny the information made public. Parties who fail to satisfy public disclosure and
confidentiality requirements may be sanctioned by the Committee on Infractions or the Infractions Appeals Committee.
(Adopted: 10/30/12 effective 8/1/13, 8/31/22 effective 1/1/23)
19.3.2 Public Dashboard. If an investigation pursuant to Bylaw 19.5 results in allegations of Level I and/or Level II
violations, the NCAA National Office may make available publicly a procedural timeline once a Notice of Allegations has been
issued pursuant to Bylaw 19.8.3 and/or Bylaw 19.9.2.1, a summary disposition has been submitted pursuant to Bylaw 19.9.3
and/or negotiated resolution has been approved pursuant to Bylaw 19.10. The timeline shall begin from the start of the
investigation and continue through final resolution.
(Adopted: 8/31/22 effective 1/1/23)
19.4 Committee on Infractions.
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19.4.1 Composition of Committee. The Board of Directors shall appoint a Committee on Infractions comprised of not
more than 24 members to act as hearing officers in infractions proceedings of the Association. The Board of Directors shall also
appoint one member of the committee to serve as chair and another member to serve as vice chair. If at any time the chair is
unavailable to act as such, the vice chair is empowered to exercise the functions of the chair. There shall be no subdivision
restrictions except that all nonpublic members may not be from the same subdivision. The committee shall reflect the
Association's commitment to diversity, equity and inclusion. To the extent reasonably possible, the committee shall include
members from each of the following categories: (Revised: 1/16/93, 10/27/98, 10/28/99, 1/11/00, 11/1/01, 10/31/02, 10/30/12
effective 8/1/13, 1/19/13 effective 8/1/13, 4/18/18, 8/31/22 effective 1/1/23)
 (a) Current or former college or university presidents, chancellors or other senior institutional administrators (no more than
      three years removed from employment by a member institution or similar service at the time of the individual's initial
      appointment);
 (b) Current or former directors of athletics (no more than three years removed from employment by a member institution or
      similar service at the time of the individual's initial appointment);
 (c) Former NCAA coaches (no more than 10 years removed from employment by a member institution or similar service at the
      time of the individual's initial appointment);
 (d) Representatives from conference offices;
 (e) Institutional staff or faculty, including but not limited to faculty athletics representatives [such a member who does not
      meet the definition of "on the staff" due to a change in employment status during a term of office may complete the
      individual's term (subject to discretion of the committee chair) and be eligible for reappointment];
 (f) Athletics administrators with compliance experience; and
 (g) Members of the general public with formal legal training who are not associated with a collegiate institution, conference, or
      professional or similar sports organization and who do not represent coaches or athletes in any capacity.
19.4.2 Temporary Substitutes. If it appears that one or more members of the committee will be unable to participate in
the disposition of a case, the chair may designate a current or former member or members of the committee to participate for
purposes of consideration and disposition of that case. (Revised: 11/1/07 effective 8/1/08, 10/30/12 effective 8/1/13)
19.4.3 Hearing Panels of the Committee. Unless ordered otherwise by the committee chair or to review an agreement of
negotiated resolution pursuant to Bylaw 19.10.1, cases involving Level I or Level II violations will be presented to and decided
by hearing panels consisting of not less than five and not more than seven members of the full Committee on Infractions. When
submitting the case for the committee's consideration, the parties may identify their belief that the case is suitable to be decided
by a three-member panel. When appropriate based on the number and nature of allegations, the chair or vice chair may order
that a panel of three members be generated. Upon notification, parties may submit their position when they believe that a three-
member panel is not appropriate to review the case. The final decision of whether to consider a case with a three-member panel
rests with the chair or vice chair. Decisions issued by hearing panels are made on behalf of the Committee on Infractions.
(Adopted: 10/30/12 effective 8/1/13, Revised: 10/5/16, 10/31/18)
19.4.4 Conflict of Interest. No member of a hearing panel shall participate in a case if the member is directly connected
with an institution under investigation or if the member has a personal, professional or institutional affiliation that may create
the appearance of partiality. It is the responsibility of the panel member to determine if a conflict exists. Objections to the
participation of a panel member in a particular case should be raised as soon as recognized but will not be considered unless
raised at least one week in advance of the panel's review of the case. Objections will be decided by the committee chair.
(Adopted: 10/30/12 effective 8/1/13)
19.4.5 Term of Office. A member shall be appointed to serve a three-year term, which shall commence on the first day of
September following the member's appointment. A member may be reappointed for additional three-year terms but shall not
serve more than nine years on the committee. (Adopted: 1/11/00, Revised: 10/30/12 effective 8/1/13)
19.4.6 Authority and Duties of Committee. Disciplinary or corrective actions other than suspension or termination of
membership may be prescribed by members of hearing panels of the Committee on Infractions present and voting at any duly
called hearing thereof, provided the call of such a hearing shall have contained notice of the situation presenting the disciplinary
problem. Actions of panels in cases involving Level I or Level II violations, however, may be subject to review by the Infractions
Appeals Committee. The penalties prescribed by a panel are separate and apart from any penalties prescribed as part of the
Academic Performance Program by the Committee on Academics. The Committee on Infractions shall: (Revised: 1/16/93,
1/10/95, 4/24/03, 10/30/12 effective 8/1/13, 7/31/14, 8/7/14, 8/8/18 effective 2/1/19, 1/23/19, 8/1/22, 8/31/22 effective 1/1/23)
 (a) Find facts related to alleged bylaw violations;
 (b) Conclude whether the facts constitute one or more violations of NCAA bylaws;
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(c) Upon concluding that one or more violations occurred, prescribe an appropriate penalty consistent with the provisions of
    this article;
(d) Coordinate with the office of the Committees on Infractions as necessary for logistic, administrative or other support related
    to implementation of the committee's decisions;
(e) Monitor compliance with prescribed penalties. In the event an institution fails or refuses to implement prescribed penalties,
    a hearing panel of the committee may prescribe additional penalties, provided the institution is given the opportunity to
    appear before the panel and the opportunity to appeal any additional penalty;
(f) Formulate and revise internal operating procedures. Committee amendments to the procedures shall be effective
    immediately and subject to review and ratification by the Board of Directors;
(g) Review negotiated resolutions (see Bylaw 19.10.1);
(h) Prescribe penalties during the investigation if an institution or individual fails to satisfy the responsibility to cooperate (see
    Bylaw 19.2.3);
(i) Sanction parties and/or their representative(s) for behaviors that inhibit the committee's ability to effectively manage the
    docket, ensure a professional and civil decorum in all proceedings or otherwise efficiently resolve infractions cases; and
(j) Carry out such other duties directly related to the administration of the Association's infractions program.
19.4.7 Duties of Committee Chair. The duties of the committee chair (or a designee) shall be as follows: (Adopted:
10/30/12 effective 8/1/13, Revised: 4/14/17, 8/31/22 effective 1/1/23)
 (a) Schedule and preside over two meetings of the full committee annually. In the interim between meetings of the full
     committee, the chair shall act on behalf of the committee, subject to committee ratification at its next meeting;
 (b) For each hearing panel, appoint a chief hearing officer to preside over cases assigned to the panel. The chief hearing officer
     will generally be the panel member with the greatest length of service on the Committee on Infractions.
 (c) At the request of the enforcement staff, determine whether to grant limited immunity to a current or former institutional
     staff member with responsibilities related to athletics based on information that the individual reports in situations in which
     the individual would otherwise be subject to disciplinary action as described in Bylaws 19.12.6.4 and 19.12.8-(i). Such
     immunity shall not apply to the individual's involvement in violations of NCAA bylaws not reported, to future involvement
     in violations of NCAA bylaws by the individual or to any action taken by an institution;
 (d) At the request of the enforcement staff, determine whether to grant limited immunity to a student-athlete or prospective
     student-athlete in situations in which the student-athlete or prospective student-athlete might otherwise be declared
     ineligible for intercollegiate competition based on information reported to the enforcement staff by the individual or a third
     party associated with the individual. Such immunity shall not apply to the individual's involvement in violations of NCAA
     bylaws not reported, to future involvement in violations of NCAA bylaws by the individual or to any action taken by an
     institution;
 (e) Consider and decide requests by an institution or involved individual for an accelerated hearing pursuant to Bylaw 19.8.4.6;
 (f) Coordinate with the office of the Committees on Infractions as necessary for logistic, administrative or other support;
 (g) Coordinate with the office of the Committees on Infractions regarding hearing panel assignments, committee meetings and
     training activities;
 (h) Prescribe or generate a hearing panel to prescribe penalties during the investigation if an institution or individual fails to
     satisfy the responsibility to cooperate in Bylaw 19.2.1;
 (i) Resolve or appoint a designee to resolve procedural matters or significant investigative disputes that may arise during an
     infractions case.
19.4.8 Duties of the Chief Hearing Officer. The duties of the chief hearing officer shall be as follows: (Adopted: 10/30/12
effective 8/1/13, 8/31/22 effective 1/1/23)
 (a) Consider and decide scheduling requests and extensions of time regarding hearing-related deadlines;
 (b) For each hearing panel, appoint an individual responsible for conducting the press conference when the panel's decision is
      released;
 (c) For each case set for a full or written record hearing and in consultation with the committee chair, designate a panel
      member or other member of the committee to serve as the committee appeals advocate for any appeal from the decision of
      the panel;
 (d) Coordinate with the office of the Committees on Infractions as necessary for logistic, administrative or other support related
      to hearings to which the chief hearing officer is assigned;
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(e) Prescribe penalties during the investigation if an institution or individual fails to satisfy the responsibility to cooperate as
    authorized in Bylaw 19.2.3; and
(f) Resolve or appoint a designee to resolve procedural matters or significant investigative disputes that may arise during an
    infractions case.
19.5 Infractions Appeals Committee.
19.5.1 Composition of Committee. The Board of Directors shall appoint an Infractions Appeals Committee to act as
appellate hearing officers for appeals from decisions involving Level I or Level II violations by the Committee on Infractions.
The committee shall be comprised of no more than seven members. At least two members shall be from the general public and
shall not be connected with a collegiate institution, conference, or professional or similar sports organization, or represent
coaches or athletes in any capacity. The remaining members shall presently or previously be on the staff of an active member
institution or member conference, but shall not serve presently on the Board of Directors. There shall be no subdivision
restrictions except that all nonpublic members may not be from the same subdivision. The committee shall reflect the
Association's commitment to diversity, equity and inclusion. (Adopted: 1/16/93, Revised: 10/27/98, 10/30/12 effective 8/1/13,
1/22/20, 8/31/22 effective 1/1/23)
19.5.2 Temporary Substitutes. If it appears that one or more of the committee members will be unable to participate in
the disposition of a case, the chair may designate a former member or members of the committee to rejoin the committee for
purposes of consideration and disposition of that case. (Adopted: 4/22/98, Revised: 11/1/07 effective 8/1/08, 4/28/11, 10/30/12
effective 8/1/13, 8/31/22 effective 1/1/23)
19.5.3 Conflict of Interest. No member of the Infractions Appeals Committee shall participate in a case if the member is
directly connected with an institution under investigation or has a personal, professional or institutional affiliation that may
create the appearance of partiality. It is the responsibility of the committee member to determine if a conflict exists. Objections
to the participation of a committee member in a particular case should be raised as soon as recognized, but will not be
considered unless raised at least one week in advance of the committee's review of the case. (Adopted: 10/30/12 effective 8/1/13,
Revised: 8/31/22 effective 1/1/23)
19.5.4 Term of Office. A member shall serve a three-year term, which shall commence on the first day of September
following the member's appointment. A member may be reappointed for additional terms but shall not serve more than nine
years on the committee. (Adopted: 1/9/96, Revised: 10/30/12 effective 8/1/13, 8/31/22 effective 1/1/23)
19.5.5 Authority of Committee. The Infractions Appeals Committee shall: (Adopted: 1/16/93, Revised: 1/10/95, 1/14/97,
11/1/07 effective 8/1/08, 10/30/12 effective 8/1/13, 1/23/19, 8/1/22, 8/31/22 effective 1/1/23)
 (a) Consider appeals from decisions of a hearing panel of the Committee on Infractions involving Level I or Level II violations;
 (b) Affirm, reverse, or vacate and/or remand the panel's findings, conclusions, determinations and/or penalties prescribed for
     violations of NCAA bylaws;
 (c) Assign a new classification to a case and remand for assessment of penalties only upon a conclusion that the hearing panel’s
     level decision and/or determination regarding one or more aggravating or mitigating factors should be set aside pursuant to
     Bylaw 19.13.
 (d) Formulate and revise its operating procedures. Committee amendments to the procedures shall be effective immediately and
     subject to review and ratification by the Board of Directors; and
 (e) Sanction parties and/or their representative(s) for behaviors that inhibit the committee's ability to effectively manage the
     docket, ensure a professional and civil decorum in all proceedings or otherwise efficiently resolve infractions cases.
19.6 Enforcement Staff Review and Investigation of Alleged Violations.
19.6.1 Enforcement Staff to Receive Information and Conduct Investigations. Information regarding a
potential failure to comply with NCAA bylaws shall be provided to the enforcement staff. If there is any information that may
demonstrate a potential Level I and/or Level II violation occurred, the enforcement staff shall conduct an investigation on behalf
of the membership to develop, to the extent reasonably possible, all relevant information. The enforcement staff will usually
share information with the institution during an investigation, including information that may assist the institution in stopping
an ongoing violation. However, to protect the integrity of the investigation, the staff may not, in all instances, share information
with the institution. (Adopted: 10/30/12 effective 8/1/13, Revised: 8/1/22, 8/31/22 effective 1/1/23)
    19.6.1.1 Conflict of Interest. Any enforcement staff member who has or had a personal relationship or institutional
    affiliation that may create the appearance of partiality should refrain from participating in the case. (Adopted: 10/30/12
    effective 8/1/13)


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    19.6.1.2 Internal Operating Procedures. To the extent reasonably practicable, the investigation should be conducted
    pursuant to internal operating procedures. Any amendments to the internal operating procedures shall be effective when
    reviewed by the Committee on Infractions and ratified by the Board of Directors.
    (Adopted: 8/31/22 effective 1/1/23)
    19.6.1.3 New Information. Should information become available during the investigation and/or resolution of a case
    about potential additional violations, the enforcement staff shall determine whether the information warrants opening a
    new investigation or including the information in the pending matter. The enforcement staff shall notify the institution as
    appropriate pursuant to Bylaw 19.6.1 and related procedures.
    (Adopted: 8/31/22 effective 1/1/23)
19.6.2 Notice of Inquiry to Institution. Before the enforcement staff conducts an interview with an enrolled student-
athlete or current institutional staff member, the enforcement staff shall notify the institution's president or chancellor (or a
designee) of the inquiry, either orally or in writing. This notice shall toll the statute of limitations. The institution shall be
informed of its obligation to cooperate and of the confidential nature of the inquiry. (Adopted: 10/30/12 effective 8/1/13, Revised:
4/14/17, 10/15/21, 8/31/22 effective 1/1/23)
19.6.3 Interviews.
    19.6.3.1 Interviews with Member Institution. The enforcement staff shall contact the director of athletics or other
    appropriate official of an institution in order to schedule interviews with enrolled student-athletes or institutional staff
    members. Interviews should be conducted without disrupting normally scheduled academic activities whenever reasonably
    possible. (Adopted: 10/30/12 effective 8/1/13, Revised: 10/15/21, 8/31/22 effective 1/1/23)
    19.6.3.2 Presence of Institutional Representative During Interview. An institutional representative may be
    present during an interview with an enrolled student-athlete or current athletics department staff member provided the
    representative is someone who would not compromise the integrity of the investigation and whose participation would not
    prejudice the subject institution or any involved individual. (Adopted: 10/30/12 effective 8/1/13, Revised: 10/5/16, 10/15/21,
    8/31/22 effective 1/1/23)
    19.6.3.3 Interview Notices.
         19.6.3.3.1 Representation by Legal Counsel. When an enforcement staff member conducts an interview, the
         interviewee may be represented by personal legal counsel. (Adopted: 10/30/12 effective 8/1/13, Revised: 1/23/19 effective
         8/1/19, 8/31/22 effective 1/1/23)
         19.6.3.3.2 Disclosure of Purpose of Interview. The enforcement staff shall advise an interviewee that the
         purpose of the interview is to determine whether the individual has knowledge of or has been involved directly or
         indirectly in any violation of NCAA bylaws. (Adopted: 10/30/12 effective 8/1/13, Revised: 8/1/22, 8/31/22 effective
         1/1/23)
         19.6.3.3.3 Responsibility to Provide Truthful Information. The enforcement staff shall advise a prospective or
         enrolled student-athlete or a current or former institutional staff member that refusing to furnish information or
         providing false or misleading information may result in an allegation that the interviewee violated Bylaw 19.2.1 and/or
         the application of an aggravating factor pursuant to Bylaw 19.12. (Adopted: 10/30/12 effective 8/1/13, Revised: 5/12/17,
         8/31/22 effective 1/1/23)
         19.6.3.3.4 Recording of Interviews. With the permission of the interviewee, the enforcement staff shall digitally
         record interviews whenever feasible. (Adopted: 8/31/22 effective 1/1/23)
    19.6.3.4 Use of a Transcriptionist During an Interview. The enforcement staff, institution and/or interviewee may
    use a transcriptionist during an interview subject to the following conditions. The party requesting the transcriptionist shall:
    (Adopted: 10/30/12 effective 8/1/13, 8/31/22 effective 1/1/23)
     (a) Pay the transcriptionist’s fees;
     (b) Provide a copy of the transcript to other parties, if any, participating in the interview at no charge; and
     (c) Agree that the confidentiality standards of Bylaw 19.6.3.5 apply. An institutional representative or individual who
         chooses to use a transcriptionist shall submit a written notice of agreement with the required conditions to the
         enforcement staff prior to the interview.
    19.6.3.5 Statement of Confidentiality. Individuals and institutional representatives shall be required to agree not to
    release recordings or interview transcripts to a third party. A statement of confidentiality shall be signed or recorded prior to
    an interview. Failure to enter into such an agreement precludes the individual or institutional representative from recording,
    transcribing or receiving access to the enforcement staff’s recording and transcript of the interview. (Adopted: 10/30/12
    effective 8/1/13, 8/31/22 effective 1/1/23)
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19.6.4 Access to Information. For all cases to be considered by the Committee on Infractions, the enforcement staff shall
make available to the institution and participating involved individuals recorded interviews, interview summaries and/or
interview transcripts, and other factual information pertinent to the case. The institution and participating involved individuals
may review such information through a secure website or at the NCAA national office. (Adopted: 10/30/12 effective 8/1/13,
Revised: 7/31/14)
19.6.5 Termination of Investigation. The enforcement staff shall terminate an investigation if it determines the
information developed does not appear to be of sufficient substance or reliability to support potential violations of NCAA
bylaws. (Adopted: 10/30/12 effective 8/1/13, 8/31/22 effective 1/1/23)
19.7 Standards of Review and Resolution Methods (Level I/II Cases)
19.7.1 Enforcement Allegation Standard. The enforcement staff shall make formal allegations if it determines there is
credible and sufficient information (direct or circumstantial) that reasonably demonstrates a violation of one or more NCAA
bylaws occurred.
(Adopted: 8/31/22 effective 1/1/23)
    19.7.1.1 Statute of Limitations. The enforcement staff shall limit allegations to possible violations occurring not earlier
    than four years before the date the notice of inquiry is provided to the institution or the date the institution notifies (or, if
    earlier, should have notified) the enforcement staff of its inquiries into the matter. However, the following shall not be
    subject to the four-year limitation: (Adopted: 10/30/12 effective 8/1/13, Revised: 1/23/19 effective 8/1/19, 8/31/22 effective
    1/1/23)
     (a) Allegations involving violations affecting the eligibility of a current student-athlete;
     (b) Allegations in a case in which available information indicates a pattern of willful violations on the part of the institution
         or individual involved, which began before but continued into the four-year period; and
     (c) Allegations that indicate a blatant disregard for fundamental recruiting, extra benefit or academic bylaws or that involve
         an effort to conceal the occurrence of the violation. In such cases, the enforcement staff shall have an 18-month period
         after the date information concerning the matter becomes available to the NCAA to investigate and submit a resolution
         document pursuant to Bylaws 19.8, 19.9 and/or 19.10.
19.7.2 Committee on Infractions Decision Standard. In all matters before the Committee on Infractions, a hearing
panel shall conclude a violation occurred if it determines an allegation is supported by credible and sufficient information (direct
or circumstantial) on which a reasonable person could rely.
(Adopted: 8/31/22 effective 1/1/23)
19.7.3 Violations Presumed in Select Cases. In cases involving name, image and likeness offers, agreements and/or
activities in which related communications and conduct are subject to NCAA regulation, the infractions process (including
interpretive requests) shall presume a violation occurred if circumstantial information suggests that one or more parties engaged
in impermissible conduct. The enforcement staff may make a formal allegation based on the presumption. The hearing panel
shall conclude a violation occurred unless the institution or involved individual clearly demonstrates with credible and sufficient
information that all communications and conduct surrounding the name, image and likeness activity complied with NCAA
legislation. (Adopted: 10/26/22 effective 1/1/23)
19.7.4 Importation.
    19.7.4.1 Importation of Facts. A hearing panel may consider and accept as true facts established through proceedings
    outside the NCAA infractions process if those facts are in the record, not under appeal and are established by:
    (Adopted: 8/8/18, Revised: 8/31/22 effective 1/1/23)
     (a) A decision or judgement of a court, agency, accrediting body or other administrative tribunal of competent jurisdiction;
         or
     (b) A Commission or similar review of comparable independence authorized by a member institution or university system
         board of trustees (regardless of whether the facts are accepted by the institution or university system board of trustees).
    19.7.4.2 Importation of Evidence and Positions. Evidence submitted to any court, agency, accrediting body or other
    administrative tribunal of competent jurisdiction, regardless of whether the matter is finally resolved and regardless of who
    offered the evidence, may be considered when alleging and/or concluding whether a violation occurred. Positions taken by a
    party in such a matter may be considered in the infractions process when determining whether to allege or conclude that the
    same party violated NCAA bylaws. (Adopted: 8/8/18, 8/31/22 effective 1/1/23)
19.7.5 Inference for Failing to Produce Materials or Participate in the Infractions Process.


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    19.7.5.1 Materials Not Produced. The enforcement staff and/or hearing panel may infer that materials requested
    during an investigation but not produced by an institution, individual or their representative, including legal counsel, a
    representative of the institution’s athletics interests, agent or another acting on their behalf, would support an alleged
    violation, for which the party may be subject to penalty pursuant to Bylaw 19.12. (Adopted: 8/8/18, 8/31/22 effective 1/1/23)
    19.7.5.2 Failure or Refusal to Participate in Interview. The enforcement staff and/or hearing panel may view the
    failure or refusal by an individual or their representative, including agent or another acting on their behalf, to participate in
    an interview as an admission that an alleged violation, for which the individual may be subject to penalty pursuant to Bylaw
    19.12, occurred. (Adopted: 8/8/18, 8/31/22 effective 1/1/23)
    19.7.5.3 Failure to Participate in the Infractions Process. The enforcement staff and/or hearing panel may view the
    failure by an institution or involved individual to participate in the infractions process as an admission that an alleged
    violation, for which the party may be subject to penalty pursuant to Bylaw 19.12, occurred. (Adopted: 8/8/18, 8/31/22
    effective 1/1/23)
19.7.6 Methods of Resolution. Cases involving allegations of Level I and/or Level II violations will be presented to and
resolved by the Committee on Infractions. The Committee on Infractions shall resolve Level I and/or Level II allegations
through hearing resolution pursuant to Bylaw 19.8, limited resolution pursuant to Bylaw 19.9 and/or negotiated resolution
pursuant to Bylaw 19.10. Except in exceptional circumstances, a case shall be limited to two resolution methods. (Adopted:
1/23/19 effective 1/1/23, Revised: 8/31/22 effective 1/1/23)
    19.7.6.1 Initial Selection of Resolution Method. At the conclusion of an investigation that results in Level I and/or
    Level II allegations, the enforcement staff, in consultation with the institution and all participating involved individuals,
    shall make a preliminary determination of which resolution method is appropriate for each party. The enforcement staff
    shall submit a letter to the chair of the Committee on Infractions outlining a brief summary of the case, the selected
    resolution method(s) and rationale and whether each party agrees to the selected method(s). (Adopted: 8/31/22 effective
    1/1/23)
    19.7.6.2 Approval of Agreed-Upon Resolution Method. If the participating party and the enforcement staff agree
    on the selected resolution method, the chair of the Committee on Infractions shall approve the resolution method unless
    doing so would not be in the best interests of the Association. After approval, the enforcement staff shall issue a Notice of
    Allegations pursuant to Bylaw 19.8 or Bylaw 19.9.2 or the parties shall submit a summary disposition pursuant to Bylaw
    19.9.3 or negotiated resolution pursuant to Bylaw 19.10. (Adopted: 8/31/22 effective 1/1/23)
    19.7.6.3 Selection of Resolution Method Under Dispute. If the participating party and the enforcement staff do
    not agree on the resolution method selected by the enforcement staff, or if the chair of the Committee on Infractions
    disagrees with the agreed-upon resolution method, the chair of the Committee on Infractions shall hold a status conference
    with the impacted parties to determine which resolution method(s) are in the best interests of the Association. After
    determination by the chair of the appropriate resolution method, the enforcement staff shall issue a Notice of Allegations
    pursuant to Bylaw 19.8 or Bylaw 19.9.2 or the parties shall submit a summary disposition pursuant to Bylaw 19.9.3 or
    negotiated resolution pursuant to Bylaw 19.10. (Adopted: 8/31/22 effective 1/1/23)
    19.7.6.4 Impact of Multiple Resolution Methods. When different resolutions methods are appropriate for different
    parties in a single case, the enforcement staff shall notify the parties of the possibility for differing outcomes. Parties will
    submit written confirmation of understanding of the potential for differing outcomes with the submission of the case.
    Outcomes that differ across resolution methods in a single case do not support an argument on appeal that a hearing panel
    of the Committee on Infractions erred. (Adopted: 8/31/22 effective 1/1/23)
    19.7.6.5 Information from Confidential Sources. In all resolution methods, the parties, including the enforcement
    staff, shall only rely on information that can be attributed to individuals who are willing to be identified. Such confidential
    sources shall not be identified to the hearing panel, the institution or an involved individual. (Adopted: 10/30/12 effective
    8/1/13, Revised: 8/31/22 effective 1/1/23)
19.8 Full Hearing Resolution.
19.8.1 Standard for Full Hearing Resolution. A full hearing before the Committee on Infractions shall be reserved for
select cases involving alleged behaviors that significantly undermine the integrity of the NCAA Collegiate model, cases that
implicate NCAA core principles and/or cases that are otherwise best resolved through a comprehensive review on the full record.
In these instances, the hearing panel assigned to a case shall hold a hearing to make factual findings and to conclude whether
violations of NCAA bylaws occurred and, if so, to prescribe appropriate penalties. The decision on whether the full hearing will
take place in person or via video conference (or another mode of communication) rests with the panel. (Adopted: 8/31/22
effective 1/1/23)


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19.8.2 Factors Relevant for Full Hearing Resolution. Factors pertinent to whether a case should be resolved via a full
hearing include, but are not limited to, the following: (Adopted: 8/31/22 effective 1/1/23)
 (a) The level of agreement between the enforcement staff, institution and/or participating involved individuals;
 (b) The type of behavior(s) resulting in allegations;
 (c) Whether the matter includes allegations of failure to monitor and/or lack of institutional control;
 (d) A recent history of Level I or II violations by the institution or participating involved individuals, particularly if the previous
     violations were similar in nature and/or in the same sport program(s);
 (e) The level of cooperation and accountability (e.g., self-imposed penalties) shown by the institution and participating
     involved individuals;
 (f) The scope, scale and duration of the case; and
 (g) Other factors warranting a hearing before the Committee on Infractions.
19.8.3 Notice of Allegations. The enforcement staff shall issue a notice of allegations to the chancellor or president of the
institution participating in the hearing (with copies to the faculty athletics representative, the director of athletics and the
executive officer of the conference of which the institution is a member) and/or any involved individuals participating in the
hearing. The notice of allegations shall include: (Adopted: 10/30/12, Revised: 7/31/14, 8/31/22 effective 1/1/23)
 (a) Alleged violation(s) and related details, including identifying any involved individual(s) who could be subject to a show
     cause order or penalties;
 (b) Possible level of each alleged violation and the overall processing level of the case;
 (c) Factual information on which the enforcement staff may rely in presenting the case;
 (d) Aggravating and mitigating factors the enforcement staff believes are applicable;
 (e) Notice of the opportunity to respond to the allegations; and
 (f) Procedures related to a full hearing.
19.8.4 Submission Deadlines.
    19.8.4.1 Responses by Institutions or Involved Individuals. Any response to the notice of allegations shall be
    submitted to the hearing panel, the enforcement staff and all parties participating in the hearing no later than 90 days from
    the date of the notice of allegations. Failure to submit a timely response may be viewed by the panel as an admission that
    the alleged violation(s) occurred. (Adopted: 10/30/12 effective 8/1/13, Revised: 8/31/22 effective 1/1/23)
    19.8.4.2 Reply by Enforcement Staff. Within 60 days after the submissions of written responses pursuant to Bylaw
    19.8.4.1, the enforcement staff shall submit a written reply to the hearing panel and all parties participating in the hearing.
    As an exhibit to its reply, the enforcement staff shall prepare a chart summarizing the parties' positions on each allegation
    and the aggravating and mitigating factors. (Adopted: 10/30/12 effective 8/1/13, Revised: 8/31/22 effective 1/1/23)
    19.8.4.3 Prehearing Conference. Within 60 days after the submissions of written responses pursuant to Bylaw
    19.8.4.1, the enforcement staff shall consult with the parties participating in the hearing in order to clarify the issues to be
    discussed during the hearing, make suggestions regarding additional investigation or interviews that should be conducted to
    supplement a response and identify allegations that the staff intends to amend or withdraw. The enforcement staff shall
    conduct independent prehearing conferences unless mutually agreed by all parties to do otherwise. (Adopted: 10/30/12
    effective 8/1/13, Revised: 8/31/22 effective 1/1/23)
    19.8.4.4 Submission of Written Material. Except as otherwise ordered by the chief hearing officer and for good cause
    shown, all written material to be considered by the hearing panel must be received by the hearing panel, enforcement staff
    and all parties participating in the hearing at least 30 days prior to the date the panel considers the case. Supplemental
    submissions shall not serve as an opportunity to rebut the enforcement staff’s written reply but shall be limited to situations
    involving new information as defined by Bylaw 19.02.2 or modifications to positions or arguments set forth in the party’s
    response to the notice of allegation. The chief hearing officer may reject any written materials that do not comply with
    relevant bylaws and procedures. (Adopted: 10/30/12 effective 8/1/13, Revised: 8/31/22 effective 1/1/23)
    19.8.4.5 Extensions. Extensions to any deadlines outlined above shall not be granted except in exceptional
    circumstances. Further, a denial of an extension request does not support an argument on appeal that a hearing panel of the
    Committee on Infractions erred. (Adopted: 8/31/22 effective 1/1/23)
    19.8.4.6 Accelerated Hearing Docket. Any party participating in the hearing may petition the chief hearing officer for
    an accelerated schedule for written submissions and hearing date. The petition shall be submitted not later than 14 calendar
    days after the date of the notice of allegations. The enforcement staff may respond to the petition within five business days.
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    The chief hearing officer may grant or deny such a petition and set a reasonable schedule. (Adopted: 10/30/12 effective
    8/1/13, Revised: 4/14/17, 8/31/22 effective 1/1/23)
19.8.5 Information Presented at Hearings.
    19.8.5.1 Obligation to Present All Relevant Information. At a hearing, the participating parties and their legal
    counsel or representative have the obligation to present, to the extent reasonably possible, all material and relevant
    information necessary for the hearing panel to reach an informed decision, including information that corroborates or
    refutes an allegation and information relevant for consideration in determining appropriate penalties. Subject to procedures
    of the Committee on Infractions, the participating parties and/or their legal counsel or representative may deliver opening
    and closing statements, present factual information, make arguments, explain the alleged violations and answer questions
    from panel members. Any oral or documentary information may be received, but the panel may exclude information that it
    determines to be irrelevant, immaterial or unduly repetitious. (Adopted: 10/30/12 effective 8/1/13, Revised: 8/31/22 effective
    1/1/23)
    19.8.5.2 Scope of Inquiry. When an institution and/or involved individual appears before a hearing panel to discuss a
    response to the notice of allegations, the hearing shall be directed toward the general scope of the notice of allegations but
    shall not preclude the panel from concluding that any violation occurred based on information developed or discussed
    during the hearing. In any case, the panel may make specific factual findings based on information presented by the parties
    or at a hearing even if different from the notice of allegations. (Revised: 4/24/03, 10/30/12 effective 8/1/13, 8/31/22 effective
    1/1/23)
19.8.6 Appearance of Individuals at Hearings. Except as otherwise provided herein or as ordered by the chief hearing
officer, hearing attendees shall be limited to institutional representatives, involved individuals, NCAA staff representatives,
hearing panel members, a transcriptionist and other technical/support staff as permitted by the chief hearing officer. An
individual who appears before the panel may appear with personal legal counsel or similar representative. The chief hearing
officer may exclude an individual and the individual's counsel or representative from those portions of the hearing concerning
matters in which the individual is not involved. (Adopted: 10/30/12 effective 8/1/13, Revised: 7/31/14, 8/31/22 effective 1/1/23)
    19.8.6.1 Representatives of Institution. Except as otherwise ordered by the chief hearing officer, an institution’s
    representatives should include the institution's chancellor or president, the head coach of the sport(s) in question, the
    institution's director of athletics and/or any individual with direct responsibility and oversight of the athletics department,
    senior compliance administrator, faculty athletics representative, legal counsel (if any), enrolled student-athletes whose
    eligibility could be affected by information presented at the hearing, and any other representatives whose attendance would
    be helpful to or has been requested by the panel. Additional individuals may be included among the institution's
    representatives only if specifically approved. (Adopted: 10/30/12 effective 8/1/13, Revised: 7/31/14, 8/31/22 effective 1/1/23)
         19.8.6.1.1 Prohibited Attendance by Conflicted Committee Members. A member of the Committee on
         Infractions or the Infractions Appeals Committee who is prohibited under Bylaws 19.4.4 or 19.5.3 from participating
         in an infractions proceeding may not attend a Committee on Infractions hearing involving the committee member's
         institution unless specifically requested by the chief hearing officer. (Adopted: 10/30/12 effective 8/1/13, Revised: 8/31/22
         effective 1/1/23)
    19.8.6.2 Representatives of Member Conference. A representative of a conference may attend a hearing involving a
    conference member who is subject to potential penalties pursuant to Bylaw 19.12. (Adopted: 10/30/12 effective 8/1/13,
    Revised: 8/31/22 effective 1/1/23)
    19.8.6.3 Request for Specific Individuals. The chief hearing officer may request that additional individuals appear
    during the hearing. Individuals who are specifically requested by the chief hearing officer are expected to appear and may be
    accompanied by personal legal counsel or representative. Failure to attend may result in a separate violation and/or impact
    penalties pursuant to Bylaw 19.12. (Adopted: 10/30/12 effective 8/1/13, Revised: 8/31/22 effective 1/1/23)
19.8.7 Recording of Proceedings. The proceedings of infractions hearings shall be transcribed by a transcriptionist
(unless otherwise agreed) and shall be recorded by the hearing panel. No additional verbatim recording of the proceedings will
be permitted. In the event of an appeal, a transcript of the proceedings shall be reproduced and submitted to the Infractions
Appeals Committee and made available for review by the appealing parties through a secure website. (Adopted: 10/30/12 effective
8/1/13, Revised: 8/31/22 effective 1/1/23)
19.8.8 Posthearing Committee Deliberations. After all presentations have been made and the hearing has been
concluded, the hearing panel shall excuse the parties and deliberate in private. (Adopted: 10/30/12 effective 8/1/13)
    19.8.8.1 Request for Additional and/or New Information. In arriving at its decision, the hearing panel may request
    additional information from any participating party. In the event that new information is requested, all participating parties

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    will be afforded an opportunity to respond at the time such information is provided. (Adopted: 10/30/12 effective 8/1/13,
    Revised: 8/31/22 effective 1/1/23)
    19.8.8.2 Request for Interpretation. The hearing panel may request that the NCAA academic and membership affairs
    staff provide an interpretation of applicable bylaws based on facts submitted by the panel. If an interpretation is requested,
    the participating parties and enforcement staff will be notified in writing of the interpretation request and the response. If
    participating in the hearing, the institution may appeal the interpretation in accordance with Bylaw 9.3.1.2. (Adopted:
    10/30/12 effective 8/1/13, Revised: 8/31/22 effective 1/1/23)
19.9 Limited Resolution.
19.9.1 Standard for Limited Resolution. When a case is not appropriate for full hearing resolution pursuant to Bylaw
19.8 and parties are unable to reach the requisite agreement for negotiated resolution pursuant to Bylaw 19.10, contested
portions of a case shall be resolved by a hearing panel of the Committee on Infractions via a written record hearing or a
summary disposition. (Adopted: 8/31/22 effective 1/1/23)
19.9.2 Written Record Hearing. In instances where the enforcement staff and a participating party are unable to reach
complete agreement on the facts, violations, level of an allegation and/or penalties, a hearing panel of the Committee on
Infractions may resolve the case on the written record focused primarily on the contested portion(s) of the case. (Adopted:
8/31/22 effective 1/1/23)
    19.9.2.1 Notice of Allegations. The enforcement staff shall issue a notice of allegations as outlined in Bylaw 19.8.3. In
    addition, the enforcement staff shall include: (Adopted: 8/31/22 effective 1/1/23)
     (a) Level of agreement by the parties participating in the written resolution related to each allegation, the level(s) of the
         allegation(s), the aggravating and mitigating factors and the overall processing level of the case;
     (b) Remaining issues to be resolved by a hearing panel of the Committee on Infractions; and
     (c) Procedures related to resolution on the written record.
    19.9.2.2 Submission Deadlines.
         19.9.2.2.1 Responses by Institution and/or Involved Individuals. Any response to the notice of allegations
         shall be submitted to the hearing panel and the parties participating in the written record hearing no later than 60 days
         from the date of the notice of allegations. The responses shall be limited to the remaining issues as outlined in the
         Notice of Allegations. Failure to submit a timely response may be viewed by the panel as an admission that the alleged
         violation(s) occurred. (Adopted: 8/31/22 effective 1/1/23)
             19.9.2.2.1.1 Submission by a Member Conference. A conference may submit a brief statement on behalf
             of its member who is subject to potential penalties pursuant to Bylaw 19.12 as an exhibit to the institution’s
             response. (Adopted: 8/31/22 effective 1/1/23)
         19.9.2.2.2 Reply by the Enforcement Staff. Within 45 days after submission of written response(s), the
         enforcement staff shall submit a written reply to the hearing panel and all parties participating in the written record
         hearing. The reply shall be limited to the remaining issues as outlined in the Notice of Allegations. As an exhibit to its
         reply, the enforcement staff shall prepare a chart summarizing the parties' positions on each allegation and aggravating
         and mitigating factors. (Adopted: 8/31/22 effective 1/1/23)
         19.9.2.2.3 Submission of Other Written Material. Parties may only supplement their written responses with the
         permission of and/or at the request of the chief hearing officer. (Adopted: 8/31/22 effective 1/1/23)
         19.9.2.2.4 Extensions. Extensions to any deadlines outlined above shall not be granted except in exceptional
         circumstances. Further, a denial of an extension request shall not support an argument on appeal that a hearing panel
         of the Committee on Infractions erred. (Adopted: 8/31/22 effective 1/1/23)
    19.9.2.3 Obligation to Present All Information Relevant to Contested Issues. In their responses, the parties
    participating in the written record hearing shall include only information that is material and relevant to the identified
    contested issues and necessary for the hearing panel to reach an informed decision, including information that corroborates
    or refutes an allegation and information relevant for consideration in determining appropriate penalties. The panel may
    exclude information that it determines to be irrelevant, immaterial or unduly repetitious. (Adopted: 8/31/22 effective 1/1/23)
    19.9.2.4 Committee Deliberations. After all written submissions have been received, the hearing panel shall deliberate
    in private. (Adopted: 8/31/22 effective 1/1/23)
         19.9.2.4.1 Request for Additional, Clarifying and/or New Information on Contested Violations and
         Issues. In arriving at its decision, the hearing panel may request additional and/or clarifying information from the
         parties participating in the written record hearing related to contested areas identified by the parties. In the event new
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         information is requested, all parties will be afforded an opportunity to respond at the time such information is
         provided. (Adopted: 8/31/22 effective 1/1/23)
         19.9.2.4.2 Request for Additional, Clarifying and/or New Information on Agreed-Upon Violations and
         Issues. Violations and issues agreed upon by the participating parties are presumed appropriate and shall be accepted
         by the hearing panel of the Committee on Infractions unless acceptance would not be in the best interest of the
         Association. The hearing panel shall only request additional, clarifying or new information if there is a material error in
         the agreed-upon violations, the submission lacks the requisite level of agreement or further information is required to
         prescribe appropriate penalties, if any. (Adopted: 8/31/22 effective 1/1/23)
         19.9.2.4.3 Request for Interpretation. The hearing panel may request that the NCAA academic and membership
         affairs staff provide an interpretation of applicable bylaws based on facts submitted by the panel. If an interpretation is
         requested, the participating parties will be notified in writing of the interpretation request and the response. If
         participating, the institution may appeal the interpretation in accordance with Bylaw 9.3.1.2. (Adopted: 8/31/22
         effective 1/1/23)
19.9.3 Summary Disposition. In instances in which the institution, an involved individual and/or the enforcement staff
reach agreement on the facts and violations but cannot reach agreement on the aggravating and mitigating factors and/or
penalties, the parties may submit the case for resolution via summary disposition. (Adopted: 10/30/12 effective 8/1/13, Revised:
1/23/19 effective 8/1/19, 8/31/22 effective 1/1/23)
    19.9.3.1 Written Report. The parties participating in the summary disposition shall submit a written report setting
    forth: (Adopted: 10/30/12 effective 8/1/13, Revised: 7/31/14, 8/31/22 effective 1/1/23)
     (a) The proposed findings of fact;
     (b) A summary of information on which the proposed findings of fact are based;
     (c) A statement identifying the violation(s) of NCAA bylaws;
     (d) The parties' agreement on the overall level of the case;
     (e) A statement of unresolved issues;
     (f) A list of any agreed-upon aggravating and mitigating factors; and
     (g) A stipulation that the proposed findings of fact are substantially correct and complete.
    19.9.3.2 Proposed Penalties. The parties participating in the summary disposition, excluding the enforcement staff,
    shall submit proposed penalties from the guidelines set forth in Bylaw 19.12 and Figure 19-1. The parties may also submit a
    statement regarding any aggravating or mitigating factors and other considerations that may impact the penalty or penalties.
    (Adopted: 10/30/12 effective 8/1/13, Revised: 8/31/22 effective 1/1/23)
    19.9.3.3 Committee on Infractions Review. A hearing panel of the Committee on Infractions shall deliberate in
    private. (Adopted: 10/30/12 effective 8/1/13, Revised: 8/31/22 effective 1/1/23)
         19.9.3.3.1 Request for Additional and/or Clarifying Information. Prior to accepting or rejecting the
         summary disposition, the panel may request additional or clarifying information related to the overall level, aggravating
         and mitigating factors and/or penalties. Violations and issues agreed upon by the participating parties are presumed
         appropriate and shall be accepted by the hearing panel of the Committee on Infractions unless acceptance would not be
         in the best interests of the Association. The hearing panel shall only request additional, clarifying or new information if
         there is a material error in the agreed-upon violations, the submission lacks the requisite level of agreement or further
         information is required to prescribe appropriate penalties, if any. (Adopted: 10/30/12, Revised: 8/31/22 effective 1/1/23)
         19.9.3.3.2 Acceptance of Proposed Findings of Fact, Violations and Penalties. If the panel accepts the
         proposed findings of fact and penalties, it shall prepare a report of its decision or adopt the written report of the parties.
         The panel may make additional comments explaining its analysis or amend the proposed findings of fact, provided any
         addition or amendment is editorial and does not alter the substance of the proposed findings of fact. The written report
         may identify the chancellor or president of the institution (in cases involving lack of institutional control); the director
         of athletics and/or any individual with direct responsibility and oversight of the athletics department (in cases involving
         lack of institutional control and failure to monitor); the head coach(es) of the sport(s) involved; and, if appropriate, the
         chair or other members of the institution's governing body. The panel shall forward the report to the enforcement staff
         and the parties and publicly announce the resolution of the case pursuant to Bylaw 19.11. (Adopted: 10/30/12 effective
         8/1/13, Revised: 7/31/14, 8/31/22 effective 1/1/23)
         19.9.3.3.3 Proposed Findings of Fact and/or Violations Not Accepted. If the panel does not accept the
         proposed findings of fact, the case shall be processed as directed by the hearing panel. (Adopted: 10/30/12 effective
         8/1/13, Revised: 7/31/14, 8/31/22 effective 1/1/23)
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         19.9.3.3.4 Proposed Penalties Not Accepted. If the panel accepts the proposed findings of fact but proposes
         penalties in addition to those set forth in the written report, the parties participating in the summary disposition may
         accept those penalties or request an expedited hearing on penalties before the panel. The parties may appear before the
         panel in person or may provide a written submission in lieu of a hearing. The panel shall only consider information
         relevant to the calculation of penalties during the expedited hearing or, if no hearing is requested, on the written
         submission. At the conclusion of the expedited hearing or review of the written submission, the panel shall prepare a
         written report and provide notification of its decision. The parties may appeal additional penalties to the Infractions
         Appeals Committee. (Adopted: 10/30/12 effective 8/1/13, Revised: 8/31/22 effective 1/1/23)
19.10 Negotiated Resolution.
19.10.1 Standard for Negotiated Resolution. In instances where the institution, an involved individual and/or the
enforcement staff reach agreement on the pertinent facts, violations, classification and penalties, the parties may submit a
negotiated resolution for approval by a hearing panel of the Committee on Infractions. The negotiated resolution must resolve
all known violations for which the parties participating in the negotiated resolution may be subject to penalties pursuant to
Bylaw 19.12. (Adopted: 8/8/18, Revised: 10/31/18, 1/23/19 effective 8/1/19, 8/31/22 effective 1/1/23)
    19.10.1.1 Timing of Negotiated Resolution. Subject to Bylaw 19.7.5, the parties participating in a negotiated
    resolution may submit a written agreement any time after the conclusion of the enforcement staff’s investigation until
    hearing panel review pursuant to Bylaw 19.8 or 19.9. (Adopted: 8/31/22 effective 1/1/23)
19.10.2 Involvement of Parties in a Negotiated Resolution.
    19.10.2.1 All Participating Parties Agree on Resolution. If the institution and all participating involved individuals
    in the case agree to negotiated resolution, they shall submit the written agreement to the chair of the Committee on
    Infractions or the chief hearing officer, if assigned, for hearing panel review and approval. The enforcement staff shall also
    include the violations by and penalties related to any involved individual not participating in the case. A hearing panel of
    three Committee on Infractions members shall review the negotiated resolution if the parties submit the written agreement
    prior to issuance of the summary disposition report or notice of allegations. (Adopted: 10/31/18, Revised: 8/31/22 effective
    1/1/23)
    19.10.2.2 Not All Participating Parties Agree on Resolution. If, pursuant to the process outlined in Bylaw 19.7.5,
    some but not all parties participating in the case agree on negotiated resolution, the enforcement staff shall include the
    written agreement of negotiated resolution as a part of the resolution processes outlined in Bylaws 19.8 and/or 19.9,
    including amending the submissions if necessary. (Adopted: 10/31/18, Revised: 8/31/22 effective 1/1/23)
19.10.3 Written Agreement. Any negotiated resolution shall contain the following: (Adopted: 8/8/18, Revised: 10/31/18,
8/31/22 effective 1/1/23)
 (a) A brief description of the case, including the involvement of the parties included in the negotiated resolution;
 (b) The agreed-upon violation(s);
 (c) Other violations the enforcement staff considered and agreed or opted not to allege;
 (d) The agreed-upon level of agreed-upon violation(s);
 (e) The agreed-upon penalties, including all aggravating and mitigating factors;
 (f) The nature of any participation or cooperation provided by a party pursuant to the negotiated resolution, and consequences
     for a party's failure or refusal to strictly adhere to the agreed-upon participation and cooperation conditions;
 (g) Waiver of appellate opportunities; and
 (h) Other material terms of the agreement.
19.10.4 Scope of Review. A hearing panel shall only reject a negotiated resolution if it is not in the best interests of the
Association or the agreed-upon penalties are manifestly unreasonable pursuant to Bylaw 19.12 and Figure 19-1. (Adopted:
10/31/18, Revised: 8/31/22 effective 1/1/23)
19.10.5 Preliminary Assessment of Penalties. Prior to submission of a written agreement, parties participating in the
negotiated resolution may request a hearing panel of three Committee on Infractions members to preliminarily assess whether
the agreed-upon penalties are manifestly unreasonable pursuant to Bylaw 19.12 and Figure 19-1. The preliminary assessment is
not binding. (Adopted: 10/31/18, Revised: 8/31/22 effective 1/1/23)
    19.10.5.1 Approval in Conjunction with Preliminary Assessment. Unless the parties instruct otherwise, the
    hearing panel may approve the negotiated resolution in conjunction with its preliminary assessment provided the written
    agreement complies with Bylaw 19.10.3. (Adopted: 1/23/19, Revised: 8/31/22 effective 1/1/23)

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    19.10.5.2 Review By Hearing Panel After Preliminary Assessment. If practicable, the members of the panel that
    preliminarily assessed penalties will review the negotiated resolution when the written agreement is submitted to the
    Committee on Infractions. (Adopted: 10/31/18, Revised: 8/31/22 effective 1/1/23)
19.10.6 Negotiated Resolution Approved. If the hearing panel approves the negotiated resolution, the panel shall
forward the approval to the enforcement staff and parties participating in the negotiated resolution, and publicly announce the
resolution of the case pursuant to Bylaw 19.11. The approved penalties shall be effective immediately, unless ordered otherwise
by the hearing panel. The approval shall be final and have no precedential value. (Adopted: 8/8/18, Revised: 10/31/18, 8/31/22
effective 1/1/23)
    19.10.6.1 Approval When Not All Parties Participate in Negotiated Resolution. If, pursuant to Bylaw 19.7.5,
    some but not all parties resolve their portion of the case via negotiated resolution, the hearing panel may approve the
    negotiated resolution and release a decision in accordance with Bylaw 19.11. (Adopted: 10/31/18, Revised: 8/31/22 effective
    1/1/23)
19.10.7 Negotiated Resolution Not Approved. If the hearing panel does not approve the negotiated resolution, the
panel may return the negotiated resolution to the parties participating in the negotiated resolution for additional information or
clarification and request that the parties submit an amended written agreement in response. In the alternative, the panel may
reject the negotiated resolution and issue instructions for processing of the case pursuant to Bylaw 19.8 or Bylaw 19.9. (Adopted:
8/8/18, Revised: 10/31/18, 8/31/22 effective 1/1/23)
    19.10.7.1 Continued Review by Hearing Panel After Rejection of Negotiated Resolution. If practicable, the
    members of the panel that rejected the negotiated resolution will serve on the hearing panel, which may differ in size, when
    the case proceeds to a full hearing resolution pursuant to Bylaw 19.8 or a limited resolution pursuant to Bylaw 19.9.
    (Adopted: 10/31/18, Revised: 8/31/22 effective 1/1/23)
19.11 Committee on Infractions Decisions.
19.11.1 Full Infractions Decision. After resolution of all allegations pursuant to Bylaws 19.8, 19.9 and/or 19.10, the
Committee on Infractions hearing panel shall prepare and approve the final, full infractions decision. The full infractions
decision shall be provided to the chancellor or president of the involved institution (or a designee), any involved individuals and
the vice president of enforcement. (Adopted: 10/30/12 effective 8/1/13, Revised: 1/23/19 effective 8/1/19, 8/31/22 effective 1/1/23)
    19.11.1.1 Abbreviated Infractions Decision. If a case is resolved through multiple resolution methods pursuant to
    Bylaw 19.7.5, the hearing panel shall prepare and approve an abbreviated infractions decision when each resolution method
    concludes. The abbreviated infractions decision shall be provided to the parties participating in that resolution method.
    (Adopted: 8/31/22 effective 1/1/23)
19.11.2 Public Release of Full Infractions Decision. Once the full infractions decision has been provided to the
parties, the hearing panel shall release it publicly. The public version shall not include names of individuals, but the panel may,
at its discretion, identify the chancellor or president of the institution (in cases involving lack of institutional control); the
director of athletics and/or any individual with direct responsibility and oversight of the athletics department (in cases involving
lack of control or failure to monitor); the head coach(es) of the sport(s) involved; and, if appropriate, the chair or other members
of the institution's governing body. (Adopted: 10/30/12 effective 8/1/13, Revised: 8/31/22 effective 1/1/23)
    19.11.2.1 Impact of Multiple Resolution Methods on Public Release. If a case is resolved through multiple
    resolution methods, the hearing panel shall release a public statement as each resolution method concludes. The public
    statement shall include the method of resolution, the parties involved, a brief summary of the findings and penalties and the
    remaining portions to be resolved, if any. The party whose portion of the case was resolved may also confirm resolution
    consistent with the hearing panel’s statement. The party may only make additional comment with the consent of the
    enforcement staff and hearing panel. After the case is fully resolved, the hearing panel shall issue a full infractions decision
    in accordance with Bylaws 19.11.1 and 19.11.2. (Adopted: 8/31/22 effective 1/1/23)
19.11.3 Public Announcement. Once the full infractions decision has been released publicly, the panel member
designated by the chief hearing officer may hold a press conference related to the infractions case. Except as allowed pursuant to
Bylaws 19.3 and 19.11.2.1, the institution and/or any involved individuals shall not comment publicly until the conclusion of
the panel’s press conference. Parties who fail to adhere to these requirements may be sanctioned by the Committee on
Infractions. (Adopted: 10/30/12 effective 8/1/13, Revised: 8/31/22 effective 1/1/23)
19.11.4 Reconsideration by the Hearing Panel. Once the full infractions decision has been publicly announced by the
Committee on Infractions hearing panel and the appeal opportunity has been exhausted, there shall be no reconsideration of the
decision except as follows. (Adopted: 10/30/12 effective 8/1/13, Revised: 1/23/19 effective 8/1/19, 8/31/22 effective 1/1/23)


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    19.11.4.1 New Information or Prejudicial Error. A hearing panel may reconsider a decision upon a showing of new
    information that is directly related to the decision or upon a showing that there was prejudicial error in processing the case.
    (Revised: 1/9/96, 10/30/12 effective 8/1/13, 7/31/14, 8/31/22 effective 1/1/23)
         19.11.4.1.1 Review Process. Any institution or involved individual may initiates a review by submitting a brief of
         its request to the hearing panel of the Committee on Infractions. The hearing panel shall decide whether to deny or
         grant the request and conduct further proceedings as the panel deems necessary to resolve the matter. (Revised:
         10/30/12 effective 8/1/13, 8/31/22 effective 1/1/23)
         19.11.4.1.2 No Calculation of New Penalty. If reconsideration is granted, the panel may reduce or eliminate a
         penalty but may not prescribe any new penalty. The panel's decision with respect to the penalty shall be final and
         conclusive for all purposes. (Revised: 10/30/12 effective 8/1/13, 8/31/22 effective 1/1/23)
    19.11.4.2 Penalty Modified or Set Aside Outside the Association. Should any portion of the penalty in the case
    be modified or set aside for any reason other than by appropriate action of the Association, the penalty shall be reconsidered
    by a hearing panel. In such cases, any extensions or adjustment of a penalty shall be prescribed by the panel after notice to
    the institution and/or an involved individual and an opportunity to respond. Any such action by the panel may be reviewed
    by the Infractions Appeals Committee. (Revised: 10/30/12 effective 8/1/13, 8/31/22 effective 1/1/23)
19.11.5 Finality of Decisions. Any decision by a hearing panel of the Committee on Infractions that is not appealed or
reconsidered pursuant to Bylaw 19.11.4 shall be final, binding and conclusive, and shall not be subject to further review by any
governance body. (Adopted: 10/30/12 effective 8/1/13, Revised: 8/31/22 effective 1/1/23)
19.12 Penalties.
19.12.1 Calculation of Penalty. If a hearing panel concludes that a violation occurred, it shall prescribe an appropriate
penalty or recommend to the Board of Directors suspension or termination of membership in an appropriate case. Failure to
fully implement the prescribed penalty may be considered a violation and/or may subject the institution, and/or an institution
employing an involved individual under a show-cause order, to further disciplinary action by the Committee on Infractions.
(Adopted: 10/30/12 effective 8/1/13, Revised: 7/31/14)
19.12.2 Factors Affecting Penalties. The hearing panel shall determine whether any factors that may affect penalties are
present for a case. The panel shall weigh any factors and determine whether a party should be subject to standard penalties or
should be classified with aggravation or mitigation and, therefore, subject to a higher or lower range of penalties. Absent
extenuating circumstances, core penalties corresponding to the classification shall be prescribed as set forth in Figure 19-1.
(Adopted: 10/30/12 effective 8/1/13, Revised: 7/31/14)
    19.12.2.1 Aggravation. An aggravated case is one in which aggravating factors for a party outweigh mitigating factors
    for that party. A case should not be classified as aggravated solely because the number of aggravating factors is larger than
    the number of mitigating factors. An egregious aggravating factor may outweigh multiple mitigating factors. (Adopted:
    10/30/12 effective 8/1/13, Revised: 7/31/14)
    19.12.2.2 Standard. A standard case is one in which no mitigating or aggravating factors are present for a party or in
    which aggravating and mitigating factors for that party are generally of equal weight. (Adopted: 10/30/12 effective 8/1/13,
    Revised: 7/31/14)
    19.12.2.3 Mitigation. A mitigated case is one in which mitigating factors for a party outweigh aggravating factors for
    that party. A case should not be classified as mitigated solely because the number of mitigating factors is larger than the
    number of aggravating factors. (Adopted: 10/30/12 effective 8/1/13, Revised: 7/31/14)
19.12.3 Aggravating Factors. Aggravating factors are circumstances that warrant a higher range of penalties for a
particular party. A hearing panel determines whether aggravating factors are present in a case and the weight assigned to each
factor. Examples of aggravating factors include, but are not limited, to the following: (Adopted: 10/30/12 effective 8/1/13, Revised:
7/31/14, 8/8/18, 9/24/18, 1/23/19 effective 8/1/19, 8/31/22 effective 1/1/23)
    19.12.3.1 Aggravating Factors for Institutions. (Adopted: 8/31/22 effective 1/1/23)
     (a) Multiple Level I and/or multiple Level II violations for which the institution is responsible;
     (b) Lack of institutional control;
     (c) Failing or refusing to take all appropriate steps outlined in Bylaw 19.2.1 to advance resolution of the matter, including
         steps that hinder or thwart the institution and/or enforcement staff’s investigation;
     (d) Violations were premeditated, deliberate or committed after substantial planning;
     (e) Persons of authority condoned, participated in or negligently disregarded the violation or related wrongful conduct;
     (f) One or more violations caused ineligible competition;
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     (g) A pattern of noncompliance within the sport program(s) involved;
     (h) Conduct intended to generate pecuniary gain for the institution;
     (i) Intentional, willful or blatant disregard for NCAA bylaws by a person with institutionally derived authority;
     (j) The institution employs an athletics department staff member who is subject to a show-cause order and during the
         period of the show-cause order that individual's conduct, or for a director of athletics and/or head coach, conduct
         involving any program in which the individual has oversight, results in an institutional Level I or Level II violation in
         the case;
     (k) Involvement by a representative of the institution’s athletics interests in violations;
     (l) Conduct by a party and/or their representative that inhibits the Committee on Infractions’ ability to effectively manage
         the docket, ensure a professional and civil decorum in all proceedings and/or otherwise efficiently resolve infractions
         cases; and
     (m) Other facts warranting a higher penalty range.
    19.12.3.2 Aggravating Factors for Involved Individuals. (Adopted: 8/31/22 effective 1/1/23)
     (a) Multiple Level I and/or multiple Level II violations;
     (b) Failing or refusing to take all appropriate steps outlined in Bylaw 19.2.1 to advance resolution of the matter, including
         steps that hinder or thwart the institution and/or enforcement staff’s investigation;
     (c) Violations were premeditated, deliberate or committed after substantial planning;
     (d) Persons of authority condoned, participated in or negligently disregarded the violation or related wrongful conduct;
     (e) One or more violations caused ineligible competition;
     (f) Conduct or circumstances demonstrating an abuse of a position of trust;
     (g) A pattern of noncompliance within the sport program(s) involved;
     (h) Conduct intended to generate pecuniary gain for the individual;
     (i) Intentional, willful or blatant disregard for NCAA bylaws;
     (j) Involvement by a representative of the institution’s athletics interests in violations;
     (k) Conduct by a party and/or their representative that inhibits the Committee on Infractions’ ability to effectively manage
         the docket, ensure a professional and civil decorum in all proceedings and/or otherwise efficiently resolve infractions
         cases; and
     (l) Other facts warranting a higher penalty range.
19.12.4 Mitigating Factors. Mitigating factors are circumstances that warrant a lower range of penalties for a particular
party. A hearing panel determines whether mitigating factors are present in a case and the weight assigned to each factor.
Examples of mitigating factors include, but are not limited to, the following: (Adopted: 10/30/12 effective 8/1/13, Revised:
7/31/14, 10/5/16, 4/25/18, 4/27/18, 8/8/18, 9/24/18, 1/23/19 effective 8/1/19, 10/28/22 effective 1/1/23)
    19.12.4.1 Mitigating Factors for Institutions. (Adopted: 10/28/22 effective 1/1/23)
     (a) Prompt self-disclosure of the violation(s);
     (b) Prompt acknowledgement and acceptance of responsibility for the violations;
     (c) Institution self-imposed meaningful corrective measures and/or penalties;
     (d) Affirmative steps to expedite final resolution of the matter, including a good faith request for an accelerated hearing
         docket pursuant to Bylaw 19.8.4, timely submission of a summary disposition report pursuant to Bylaw 19.9.3 or
         timely submission of a negotiated resolution pursuant to Bylaw 19.10;
     (e) An established history of self-reporting Level III or secondary violations (i.e., at minimum, five violations per year for
         the previous five years);
     (f) Implementation of a system of compliance methods designed to ensure rules compliance and satisfaction of
         institutional/coaches' control standards. Additional considerations include:
         (1) Whether the institution’s compliance system aligns with industry standards, such as adoption of the National
             Association of Athletics Compliance Reasonable Standards;
         (2) Whether the compliance system was in place at the time the violation(s) occurred; and
         (3) Whether the compliance system detected or should have detected the violation(s).

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     (g) Exemplary cooperation, such as:
          (1) Volunteering all pertinent information the institution possesses or should reasonably be expected to possess to
              further the expectations of the infractions process;
          (2) Identifying individuals to be interviewed by the enforcement staff, documents and other information of which the
              enforcement staff was not aware;
          (3) Expending substantial institutional resources to expedite a thorough and fair collection and disclosure of
              information; and/or
          (4) Recognizing and bringing to the attention of the enforcement staff, in a timely manner, additional violations
              discovered in the investigation of which the enforcement staff was not aware. Any failure to comply with
              investigative requests or any failure to comply with Bylaw 19.2.1 (Responsibility to Cooperate) shall render this
              mitigating factor inapplicable.
     (h) The absence of prior conclusions of Level I, Level II or major violations committed by the institution within the past
         10 years;
     (i) Securing the meaningful cooperation of an individual who does not have an affirmative obligation to cooperate under
         Bylaw 19.2.1 (Responsibility to Cooperate); and
     (j) Other facts warranting a lower penalty range.
    19.12.4.2 Mitigating Factors for Involved Individuals. (Adopted: 8/31/22 effective 1/1/23)
     (a) Prompt self-disclosure of the violation(s);
     (b) Prompt acknowledgement of and acceptance of responsibility for the violation(s);
     (c) Affirmative steps to expedite final resolution of the matter, including timely submission of a summary disposition
         report pursuant to Bylaw 19.9.3, timely submission of a negotiated resolution pursuant to Bylaw 19.10 or a good faith
         request for an accelerated hearing docket pursuant to 19.8.4.6;
     (d) Exemplary cooperation, such as:
          (1) Volunteering all pertinent information the involved individual possesses, has the ability and means to obtain, or
              should reasonably be expected to possess to further the expectations of the infractions process;
          (2) Identifying individuals to be interviewed by the enforcement staff, documents and other information of which the
              enforcement staff was not aware;
          (3) Expending substantial resources to expedite a thorough and fair collection and disclosure of information; and/or
          (4) Recognizing and bringing to the attention of the enforcement staff, in a timely manner, additional violations
              discovered in the investigation of which the enforcement staff was not aware.
              Any failure to comply with investigative requests pursuant to Bylaw 19.2.1 (Responsibility to Cooperate shall
              render this mitigating factor inapplicable;
     (e) The absence of prior conclusions of Level I, Level II or major violations committed by the involved individual;
     (f) Securing the meaningful cooperation of an individual who does not have an affirmative obligation to cooperate under
         Bylaw 19.2.1 (Responsibility to Cooperate); and/or
     (g) Other facts warranting a lower penalty range.
19.12.5 Repeat Violators.
    19.12.5.1 Time Period. An institution shall be considered a repeat violator if the Committee on Infractions finds that a
    Level I or Level II violation has occurred within five years of the starting date of a Level I or Level II penalty stemming from
    a previous case. For this provision to apply, it shall not be necessary that the Committee on Infractions’ hearing be
    conducted or its decision issued within the five-year period. An involved individual shall be considered a repeat violator if
    any of the three divisional Committees on Infractions previously concluded the individual was involved in a Level I, Level II
    or major violation. (Adopted: 8/31/22 effective 1/1/23)
    19.12.5.2 Repeat Violator Penalties. In prescribing penalties for an institution or individual who is a repeat violator as
    defined by Bylaw 19.12.5.1, a hearing panel may depart upward from the core penalties identified in Figure 19-1 pursuant
    to Bylaw 19.12.7. (Adopted: 8/31/22 effective 1/1/23)
19.12.6 Core Penalties for Level I and Level II Violations. If a hearing panel concludes pursuant to Bylaw 19.8 or
19.9 or the parties participating in a negotiated resolution pursuant to Bylaw 19.10 agree that an institution or involved
individual committed Level I and/or Level II violation(s), and after determining the appropriate classification based on
aggravating and mitigating factors, the hearing panel shall prescribe and/or the parties participating in a negotiated resolution
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should agree to core penalties from the ranges set forth in Figure 19-1 and described below. (Adopted: 10/30/12 effective 8/1/13,
Revised: 8/31/22 effective 1/1/23)
    19.12.6.1 Competition Penalties. Competition limitations on the institution's participation in postseason play in the
    involved sport(s). (Adopted: 10/30/12 effective 8/1/13)
    19.12.6.2 Financial Penalties. Financial penalties may include requirements that an institution pay a fine, return
    revenue received from a specific athletics event or series of events, face reduction in or elimination of monetary distribution
    by the Association or lose all revenue sharing in postseason competition (including the NCAA Division I Men's Basketball
    Championship) for the entire period of a postseason ban. (Adopted: 10/30/12 effective 8/1/13, Revised: 8/8/18)
         19.12.6.2.1 Fine for Participation in NCAA Championship and Other Postseason Contests in Which an
         Ineligible Student-Athlete Competed. A hearing panel may require an institution to pay a fine, to be distributed
         to the NCAA Student-Athlete Opportunity Fund, if an ineligible student-athlete competes in NCAA championship or
         other postseason contests. In such a case, the institution shall pay the value of the full unit(s) [Basketball Performance
         Fund unit(s) and/or Equal Conference Fund unit(s)] awarded based on the institution's participation in NCAA
         Division I Men's Basketball Championship contests in which the ineligible student-athlete competed, or shall pay the
         value of a similar distribution awarded for the institution's participation in other NCAA championship or postseason
         contests in which the ineligible student-athlete competed. (Adopted: 1/23/19)
    19.12.6.3 Scholarship Reductions. Limitations on the number of financial aid awards that may be provided during a
    specified period. (Adopted: 10/30/12 effective 8/1/13)
    19.12.6.4 Show-Cause Orders. If a determination is made that an institution has not taken appropriate disciplinary or
    corrective action regarding an individual found in violation of NCAA bylaws, the panel may issue and/or approve an order
    that the institution take additional disciplinary or corrective action, including but not limited to, restriction of some or all
    athletically related duties, as set forth in Figure 19-1, unless the institution appears before the panel to show cause why the
    additional penalties should not be applied. Decisions regarding disciplinary or corrective actions involving personnel shall
    be made by the institution, but the determination of whether the action satisfies the institution's obligation of NCAA
    membership shall rest solely with the Committee on Infractions. (Adopted: 10/30/12 effective 8/1/13, Revised: 1/23/19
    effective 8/1/19, 8/31/22 effective 1/1/23)
    19.12.6.5 Head Coach Restrictions. If a determination is made that an employing institution has not taken
    appropriate disciplinary or corrective action regarding a head coach found in violation of Bylaw 11.1.1.1, the panel may
    issue and/or approve an order that the institution suspend the coach for a number of contests from the range set forth in
    Figure 19-1 that would apply to the underlying violation(s) unless the institution appears before the panel to show cause
    why the suspension should not be applied. Decisions regarding disciplinary or corrective actions involving personnel shall
    be made by the institution, but the determination of whether the action satisfies the institution's obligation of NCAA
    membership shall rest solely with the Committee on Infractions. (Adopted: 10/30/12 effective 8/1/13, Revised: 1/23/19
    effective 8/1/19, 8/31/22 effective 1/1/23)
    19.12.6.6 Recruiting Restrictions. Recruiting restrictions may include limitations for varying lengths of time on
    official visits; unofficial visits (the number of scheduled unofficial visits, provision of complimentary admissions and local
    transportation); recruiting communications (telephone and written correspondence); and off-campus recruiting activities.
    (Adopted: 10/30/12 effective 8/1/13)
    19.12.6.7 Probation. The hearing panel may prescribe and/or approve probationary conditions designed on a case-by-
    case basis to remediate weaknesses detected in the institution's administration of its athletics programs. Prior to expiration
    of the probation period and before the institution is restored to full rights and privileges of membership in the Association,
    the office of the Committee on Infractions will review the athletics policies and practices of the institution. If an institution
    fails to satisfy all probationary conditions, the Committee on Infractions may extend the probationary period and/or
    prescribe additional penalties. Conditions of probation may include, but are not limited to, the following: (Adopted:
    10/30/12 effective 8/1/13, Revised: 1/23/19 effective 8/1/19, 8/31/22 effective 1/1/23)
     (a) Submission of compliance reports during the period of probation;
     (b) Acknowledgement in alumni publications, media guides and recruiting materials identifying the violations committed,
         the terms of probation, and penalties prescribed;
     (c) Written confirmation to the Committee on Infractions that the institution's president or chancellor met with student-
         athletes, athletics department staff and other relevant parties to personally affirm the president or chancellor's
         commitment to NCAA rules compliance, shared responsibility and preserving the integrity of intercollegiate athletics;
     (d) Requiring an institution to announce during broadcast contests, on its website and in institutional publications that it
         is on probation and the reasons why the probation was prescribed;
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     (e) In cases in which an institution is found to lack institutional control and serious remediation is necessary, in-person
         reviews of the institution's athletics policies and practices by the office of the Committee on Infractions or, in limited
         circumstances, as appropriate, Committee on Infractions or a third party;
     (f) Implementation of educational or deterrent programs; or
     (g) Audits for specific programs or teams.
19.12.7 Departures from Level I and Level II Core Penalties. If extenuating circumstances are found, the hearing
panel and/or the parties participating in a negotiated resolution may depart from the core penalties in Figure 19-1, provided the
panel’s decision and/or written agreement explain the basis for its prescription of core penalties different than those set forth in
Figure 19-1. (Adopted: 10/30/12 effective 8/1/13, Revised: 8/31/22 effective 1/1/23)
19.12.8 Additional Penalties for Level I and Level II Violations. Additional penalties for Level I and/or Level II
violations may include one or more of the following: (Adopted: 10/30/12 effective 8/1/13, Revised: 8/7/14, 8/31/22 effective 1/1/23)
 (a) Prohibition against specified competition in the sport during the regular season;
 (b) Prohibition of all coaching staff members in the sport from involvement, directly or indirectly, in any coaching activities at
     the institution during the regular season;
 (c) Prohibition against institutional staff members serving on the Board of Directors, Council or other committees of the
     Association for a prescribed period (or requirement that any institutional staff members serving in leadership positions on
     any NCAA council or committee resign their leadership positions);
 (d) Requirement that the institution relinquish its voting privilege in the Association for a prescribed period;
 (e) Recommendation that the institution's membership in the Association be suspended or terminated pursuant to Bylaw
     20.2.5;
 (f) Public reprimand and censure;
 (g) Vacation of records in contests in which a student-athlete competed while ineligible, including one or more of the
     following:
      (1) Vacation of individual records and performances;
      (2) Vacation of team records and performances, including wins from the career record of the head coach in the involved
          sport, or, in applicable cases, reconfiguration of team point totals; or
      (3) Return of individual or team awards to the Association.
 (h) Prohibition against television appearances of the institution in the sport in which the violation occurred. The penalty shall
     specify that the institution may not enter into any contracts or agreements for such appearances until the institution has
     been restored to full privileges of membership. The Board of Directors is authorized to permit a closed-circuit telecast,
     limited to the campus of the opponent of the ineligible institution, provided no rights fee is to be paid to the ineligible
     institution;
 (i) Pursuant to a show-cause order, disassociation of relations with a representative of an institution's athletics interests,
     including:
      (1) Not accepting any assistance from the individual that would aid in the recruitment of prospective student-athletes or
          the support of enrolled student-athletes;
      (2) Not accepting financial assistance for the institution's athletics program from the individual;
      (3) Ensuring that no athletics benefit or privilege is provided to the individual that is not generally available to the public
          at large; and
      (4) Taking such other actions against the individual that the institution determines to be within its authority to eliminate
          the involvement of the individual in the institution's athletics program.
 (j) Publicizing institutions on probation on the NCAA website, in appropriate NCAA publications and in NCAA
     championship game programs of the involved sports;
 (k) Institutionally imposed suspension of a staff member from some or all athletically related duties for a specified period,
     pursuant to a show-cause order, for a situation in which the staff member engaged in or condoned a Level I or Level II
     violation; or
 (l) Other penalties as appropriate.
19.12.9 Penalties for Level III Violations. Penalties for Level III violations may include, but are not limited to, the
following: (Adopted: 10/30/12 effective 8/1/13, Revised: 4/14/17, 8/31/22 effective 1/1/23)

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(a) Termination of the recruitment of a prospective student-athlete by the institution or, if the prospective student-athlete
    enrolls (or has enrolled) in the institution, direction that the institution take appropriate action regarding eligibility
    pursuant to Bylaw 12.12 and/or not allow the student-athlete to participate in intercollegiate athletics unless and until
    eligibility is restored by the Committee on Student-Athlete Reinstatement;
(b) Forfeiture/vacation of contests in which an ineligible student-athlete participated;
(c) Prohibition of the head coach or other staff members in the involved sport from participating in any off-campus recruiting
    activities for up to one year;
(d) An institutional fine for each violation, with the monetary penalty ranging in total from $500 to $5,000, except if an
    ineligible student-athlete participates in an NCAA championship or other postseason competition, the $5,000 limit shall
    not apply;
(e) Reduction in the number of financial aid awards that may be awarded during a specified period in the sport involved to the
    maximum extent of 20 percent of the maximum number of awards normally permissible in that sport;
(f) Institutional recertification that its current athletics policies and practices conform to all requirements of NCAA bylaws;
(g) Institutionally imposed suspension of the head coach or other staff members for one or more competitions;
(h) Public reprimand; and
(i) Requirement that a member institution that has been found in violation, or that has an athletics department staff member
    who has been found in violation of NCAA bylaws while representing another institution, show cause why a penalty or an
    additional penalty should not be prescribed if it does not take appropriate disciplinary or corrective action against the
    athletics department personnel involved, any other institutional employee, if the circumstances warrant, or representatives
    of the institution's athletics interests.
19.12.10 Show-Cause Penalties. If a hearing panel prescribes and/or approves additional penalties for an institution for
Level I or Level II violations pursuant to Bylaw 19.12.6.4, the institution shall be provided the opportunity to appear before the
panel. Further, for show-cause penalties prescribed by a Committee on Infractions hearing panel, the institution shall be
provided the opportunity to appeal any additional penalty prescribed by the panel. (Adopted: 10/30/12 effective 8/1/13, Revised:
1/23/19 effective 8/1/19, 8/31/22 effective 1/1/23)
19.12.11 Notification of Regional Accrediting Agency. In cases in which the hearing panel has found and/or
approved academic violations or questionable academic conduct, the NCAA president may forward a copy of the public
infractions decision to the appropriate regional accrediting agency. (Revised: 10/30/12 effective 8/1/13, 10/28/22 effective 1/1/23)
19.12.12 Obligation of Institution to Take Appropriate Action. If a violation has been found that affects the
eligibility of one or more student-athletes, the institution and its conference, if any, shall be notified of the violation and the
name(s) of the student-athlete(s) involved. If the institution fails to take appropriate action by declaring the student-athlete(s)
ineligible, the institution shall be required to show cause to the Committee on Infractions why additional penalties should not
be prescribed for a failure to abide by the conditions and obligations of membership if it permits the student-athlete(s) to
compete in intercollegiate athletics. (Revised: 1/10/95, 4/24/03, 10/30/12 effective 8/1/13, 1/23/19 effective 8/1/19, 8/31/22
effective 1/1/23)
19.13 Appeal of Committee on Infractions Decisions.
19.13.1 Basis for Granting an Appeal.
    19.13.1.1 Findings and Conclusions. A Committee on Infractions hearing panel's factual findings and its conclusion
    that one or more violations occurred shall be affirmed if there is information in the case record supporting the hearing
    panel’s decision. The hearing panel’s factual findings and conclusions shall not be set aside except on a showing by the
    appealing party that no reasonable person could have made the decision after considering the record. (Adopted: 10/30/12
    effective 8/1/13, Revised: 7/31/14, 1/23/19 effective 8/1/19, 8/31/22 effective 1/1/23)
    19.13.1.2 Level and Classification. A Committee on Infractions hearing panel’s level decision and determination and
    weighing of aggravating and mitigating factors shall be affirmed if there is information in the case record supporting the
    hearing panel's decision. The hearing panel's level decision and determination and weighing of aggravating and mitigating
    factors shall not be set aside except on a showing by the appealing party that no reasonable person could have made the
    decision after considering the record. (Adopted: 8/31/22 effective 1/1/23 applicable to new and open cases for which an appeal of
    a Committee on Infractions decision is requested on or after 1/1/23.)
    19.13.1.3 Penalties. A core penalty prescribed by the Committee on Infractions hearing panel shall not be subject to
    appeal if it is within the range of penalties in Figure 19-1 corresponding to the case classification. An additional penalty
    shall be affirmed if there is information in the case record supporting the hearing panel’s decision. An additional penalty

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    shall not be set aside except on a showing by the appealing party that no reasonable person could have made the decision
    after considering the record. (Adopted: 10/30/12 effective 8/1/13, Revised: 1/23/19 effective 8/1/19, 8/31/22 effective 1/1/23)
19.13.2 Appeal by Institution or Involved Individual. An institution participating in the proceedings of a Committee
on Infractions hearing panel may appeal the panel's findings, conclusions, determinations and/or penalties prescribed for
violations of NCAA bylaws. An involved individual participating in the proceedings of the panel and who the panel concluded
committed a violation may appeal the panel's findings, conclusions, determinations and/or prescribed penalties regarding that
individual for violations in which the individual is named. The notice of intent to appeal must be presented in writing to the
Infractions Appeals Committee not later than 15 calendar days after the date the hearing panel releases the public infractions
decision. (Adopted: 10/30/12 effective 8/1/13, Revised: 1/23/19 effective 8/1/19, 8/31/22 effective 1/1/23)
    19.13.2.1 Contents of Notice of Intent to Appeal. The notice of intent to appeal shall include the following, unless
    otherwise ordered by the Infractions Appeals Committee: (Adopted: 10/30/12 effective 8/1/13, Revised: 8/31/22 effective
    1/1/23)
     (a) The date on which the decision of the hearing panel was released to the public;
     (b) A request, if applicable, for a stay of penalties pursuant to Bylaw 19.13.2.2; and
     (c) If the appealing party is an involved individual, a statement indicating whether the individual is employed at an NCAA
         institution. If the involved individual's employment status changes during the course of the appeal, the statement shall
         be amended promptly to reflect the change and the identity of the new employer.
    19.13.2.2 Stay of Penalties. Filing a notice of intent to appeal does not automatically stay penalties prescribed by a
    hearing panel of the Committee on Infractions. In its notice of intent to appeal, a party may request the Infractions Appeals
    Committee stay any penalty subject to appeal. Upon such a request, the Infractions Appeals Committee shall stay any
    appealed penalty during the pendency of the appeal. (Adopted: 10/30/12 effective 8/1/13, Revised: 8/31/22 effective 1/1/23)
19.13.3 Written Materials on Appeal. Materials may be submitted as set forth below, subject to procedures promulgated
by the Infractions Appeals Committee or as otherwise directed by the committee. Extensions to any deadlines set forth below
shall not be granted except in exceptional circumstances. (Adopted: 10/30/12 effective 8/1/13, Revised: 8/31/22 effective 1/1/23)
    19.13.3.1 Initial Submission by Institution or Involved Individual. Within 30 days after receipt of the Infractions
    Appeals Committee's acknowledgement of a timely notice of intent to appeal, an appealing institution or individual shall
    provide its initial submission. (Adopted: 10/30/12 effective 8/1/13, Revised: 8/31/22 effective 1/1/23)
    19.13.3.2 Response by Committee Appeals Advocate. Within 30 days after receipt of an initial submission in
    support of its appeal by an institution or involved individual, the committee appeals advocate shall submit a response to the
    Infractions Appeals Committee. (Adopted: 10/30/12 effective 8/1/13, Revised: 4/19/19, 8/31/22 effective 1/1/23)
    19.13.3.3 Rebuttal by Institution or Involved Individual. Within 14 days after receipt of the committee appeals
    advocate's response, an institution or involved individual may submit a rebuttal to the Infractions Appeals Committee. The
    rebuttal may only address issues contained in the initial submission or the committee appeals advocate's response. (Adopted:
    10/30/12 effective 8/1/13)
    19.13.3.4 Enforcement Staff Statement. Within 10 days after the deadline for submission of all rebuttals, the
    enforcement staff may provide a written statement to the Infractions Appeals Committee regarding perceived new
    information, errors, misstatements and omissions relating to the initial submission(s), the committee appeals advocate's
    response and/or rebuttal documents. The enforcement staff’s statement shall be included in the record on appeal and
    considered by the Infractions Appeals Committee. (Adopted: 10/30/12 effective 8/1/13, Revised: 8/31/22 effective 1/1/23)
19.13.4 Information Considered on Appeal. The Infractions Appeals Committee shall consider only the information
contained in the record of proceedings before the Committee on Infractions, the record on appeal and arguments presented
during the appeal oral argument, if any, unless otherwise ordered by the Infractions Appeals Committee. If an institution or
involved individual seeks to introduce new information during the appeal process, the Infractions Appeals Committee shall
determine whether it meets the threshold definition of new information per Bylaw 19.02.2 and, if so, may stay the appeal and
remand the matter to the assigned panel to conduct further proceedings as may be necessary to address whether the information
affects the panel's decision and to amend the decision, if necessary. (Adopted: 10/30/12 effective 8/1/13, Revised: 7/31/14)
19.13.5 Mode of Appeal. Appeal arguments shall be reviewed on the written record and parties may not request oral
argument. In extenuating circumstances, the Infractions Appeals Committee may order limited oral argument if a majority of
committee members determine that a decision cannot be rendered in the absence of oral argument. If ordered, an oral argument
may be conducted subject to procedures promulgated by the Infractions Appeals Committee or as otherwise directed by the
committee. The total time allowed for presentations, rebuttal (if any) and responses to the Infractions Appeals Committee’s
questions shall not exceed 60 minutes per party. (Adopted: 10/30/12 effective 8/1/13, Revised: 8/31/22 effective 1/1/23)

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19.13.6 Decision of the Infractions Appeals Committee. After considering the appeal and deliberating privately, the
Infractions Appeals Committee shall prepare a written decision and provide a copy to any appealing party (including the
president or chancellor of an institution currently employing an involved individual), the chair of the Committee on Infractions,
the committee appeals advocate and the vice president of enforcement, unless otherwise ordered by the committee. If the
committee affirms the hearing panel’s decision, it may issue a summary decision stating its conclusions without further
discussion. Once the decision has been provided to the parties, the committee shall release a public appeal decision. The public
appeal decision will not include names of individuals, but the committee may, at its discretion, identify the chancellor or
president of the institution (in cases involving lack of institutional control); the director of athletics and/or any individual with
direct responsibility and oversight of the athletics department (in cases involving lack of control or failure to monitor); the head
coach(es) of the sport(s) involved; and, if appropriate, the chair or other members of the institution's governing body. (Adopted:
10/30/12 effective 8/1/13, Revised: 8/31/22 effective 1/1/23)
19.13.7 Final Decision not Subject to Further Review. Any decision of the Infractions Appeals Committee shall be
final, binding and conclusive, and shall not be subject to further review by any governance body. (Adopted: 10/30/12 effective
8/1/13)
19.14 Notice of Allegations, Opportunity to Respond and Penalties (Level III
Cases).
19.14.1 General Process for Alleged Violations. A Level III case is a case presenting Level III violations that do not
collectively constitute a Level II violation. An institution or involved individual subject to a show-cause order in a Level III case
may be represented by legal counsel and shall be provided the following: (Adopted: 10/30/12 effective 8/1/13, Revised: 7/31/14,
4/14/17)
 (a) Notice of any specific allegations and the facts upon which such allegations are based; and
 (b) An opportunity to provide a written response to the vice president of enforcement (or a designee) to answer such allegations
     by the production of factual information and to appeal to a hearing panel of the Committee on Infractions.
19.14.2 Determination by Enforcement Staff. After reviewing relevant information and consulting with the institution
or involved individual, the enforcement staff shall conclude whether one or more Level III violations occurred. If the
enforcement staff concludes that the alleged violation(s) should not be processed as a Level III case, it may process the case as
Level I or Level II case, as appropriate, or determine that no further action is required. (Adopted: 10/30/12 effective 8/1/13,
Revised: 4/14/17)
19.14.3 Authority to Prescribe Penalties. As authorized by the Committee on Infractions, upon a conclusion that one
or more Level III violations occurred, the vice president of enforcement (or a designee) may determine whether a penalty is
warranted and, if so, prescribe and announce an appropriate penalty pursuant to Bylaw 19.9.8. Failure to fully implement the
penalty may be considered a violation and/or may subject the institution to further disciplinary action by the NCAA. Failure to
fully implement self-imposed actions may also subject the institution to further disciplinary action by the NCAA. (Adopted:
10/30/12 effective 8/1/13, Revised: 7/31/14)
19.14.4 Appeal to Committee on Infractions. If an institution or involved individual subject to a show-cause order
disputes an action by the enforcement staff regarding a Level III violation, the institution or involved individual may appeal by
submitting a notice of appeal through the online reporting system for Level III violations within 15 days after receipt of the
enforcement staff's decision. An institution that self-reports a violation may appeal a penalty prescribed by the enforcement staff,
but not the violation. An institution or involved individual subject to a show-cause order may request the opportunity to appear
in person or by video or telephone conference. If no such request is made, or if the request is denied, a hearing panel of the
committee will review the appeal on the basis of the written record. The panel shall not deny an involved individual's request to
appear in person if a show-cause order was prescribed. (Adopted: 10/30/12 effective 8/1/13)
    19.14.4.1 Stay of Penalties. If a notice of appeal is filed within the deadline, unless ordered otherwise by a hearing
    panel of the Committee on Infractions, any penalties prescribed by the enforcement staff that have been appealed shall be
    stayed during the pendency of the appeal. (Adopted: 10/30/12 effective 8/1/13)




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                                                                                     FIGURE 19-1
                                                                                 Penalty Guidelines




                                                                                                                                                                                                         Case 3:24-cv-00033-DCLC-JEM Document 2-10 Filed 01/31/24 Page 372 of 450 PageID
                                          (Adopted: 10/30/12 effective 8/1/13, Revised: 4/26/17 effective 8/1/17, 8/8/18, 1/23/19)
                                                Competition Penalties:
                                                   Postseason Ban
Violation Level I   Violation Level II       *Competition penalties may be
                                                 used singularly or in
                                                    combination
  Aggravation                                          1 to 5 years
   Standard             Aggravation                    1 to 2 years
  Mitigation             Standard                       0 to 1 year
                         Mitigation                          0
                                                                        Financial Penalties: Fine         Financial Penalties:        Financial Penalties: Reduce     Financial Penalties: Loss of all
                                                                        based on participation in        Negate revenue from              or eliminate NCAA                 revenue sharing in
                                         Financial Penalties: Fine     NCAA championship and            sport program for years        monetary distribution for         postseason competition
Violation Level I   Violation Level II     based on percent of         other postseason contests          in which violations         sports sponsorship and/or          (including NCAA Men's
                                          total budget for sport         in which an ineligible                 occurred                     grants-in-aid            Basketball Championship) for
                                                 program               student-athlete competed                                                                        entire period of postseason
                                                                         (see Bylaw 19.9.5.2.1)                                                                                    ban
  Aggravation                               $5,000 plus 3 to 5%       Alternative financial penalty   Alternative financial penalty   Alternative financial penalty    Alternative financial penalty




                                                                                                                                                                                                                                               491
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   Standard           Aggravation           $5,000 plus 1 to 3%       Alternative financial penalty   Alternative financial penalty   Alternative financial penalty
   Mitigation           Standard            $5,000 plus 0 to 1%       Alternative financial penalty   Alternative financial penalty   Alternative financial penalty
                       Mitigation                $5,000*              Alternative financial penalty   Alternative financial penalty   Alternative financial penalty
                                            *A minimum $5,000
                                            financial penalty will
                                          be imposed to ensure
                                           the penalty will be at
                                           least as significant as
                                          the fine imposed for a
                                              Level III violation.




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Violation Level I      Violation Level II    Scholarship Reductions of
                                             Involved Sport Program*




                                                                                                                                             Case 3:24-cv-00033-DCLC-JEM Document 2-10 Filed 01/31/24 Page 373 of 450 PageID
 Aggravation                                         10 to 25%                        *For cases in which financial aid overages have
                                                                                   occurred, a minimum 2-for-1 reduction in financial aid
   Standard              Aggravation                 5 to 15%                        awards shall apply up to at least 20% of the team
                                                                                                     financial aid limit.
  Mitigation               Standard                  0 to 10%
                          Mitigation                  0 to 5%
   Violation Level I        Violation Level II                   Show-Cause Order                                  Restrictions
   Aggravation                                                    3 years to lifetime                      All athletically related duties
     Standard                 Aggravation                           2 to 5 years                            All or partial coaching and
                                                                                                         recruiting duties (including game
                                                                                                                    suspensions)
    Mitigation                  Standard                            0 to 2 years                            All or partial coaching and
                                                                                                         recruiting duties (including game
                                                                                                                    suspensions)
                               Mitigation                           0 to 1 years                            All or partial coaching and
                                                                                                         recruiting duties (including game
                                                                                                                    suspensions)
                                                         Head Coach Restrictions (game
                                                         suspensions via show cause for




                                                                                                                                                                                   492
 Violation Level I          Violation Level II                  Bylaw 11.1.1.1)




                                                                                                                                                                                #:360
   Aggravation                                       50 to 100% of season plus % of additional
                                                                     seasons
     Standard                 Aggravation                        30 to 50% of season
    Mitigation                  Standard                         0 to 30% of season
                               Mitigation                        0 to 10% of season




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                                                                                            2
                                                                                                 Recruiting Communication                   Off-Campus Recruiting
Violation Level I   Violation Level II             Recruiting Visit Restrictions                        Restrictions                             Restrictions




                                                                                                                                                                                   Case 3:24-cv-00033-DCLC-JEM Document 2-10 Filed 01/31/24 Page 374 of 450 PageID
   Aggravation
                                                            25 to 100%                                   25 to 50%                                 25 to 50%
                                              14- to 52-week ban on unofficial visits             14- to 26-week ban on            Sports with no limits: 14- to 26-week ban on
                                              (no scheduled unofficial visits and no          communication with all prospective           all contacts and evaluations
                                                      complimentary tickets)                         student-athletes
                                                                                                                                     25 to 50% cuts in Recruiting Person Days
                                          25 to 100% cuts in official paid visits (based on                                                (RPD) or Evaluation Days (ED)
                                             the average number provided during the
                                                        previous 4 years)                                                           Men’s Basketball: 33 to 65 (RPD) Women’s
                                           Football: 14 to 56 visits (need to account for                                          Basketball: 28 to 56 (RPD) Football: 11 to 21
                                           unused visits from the previous year, if any)
                                                                                                                                    Fall; 42 to 84 Spring (ED) Women’s Beach
                                         Men’s Basketball: 4 to 14 visits (need to account
                                                  for rolling two-year period)                                                     Volleyball: 13 to 25 (ED) Women’s Volleyball:
                                            Women’s Basketball: 3 to 12 visits (need to                                                           20 to 40 (ED)
                                              account for rolling two-year period)
                                                                                                                                            Men’s Golf: 12 to 23 (ED)
                                                      Baseball: 7 to 25 visits
  Standard            Aggravation                          12.5 to 25%
                                                                                                         12.5 to 25%                              12.5 to 25%




                                                                                                                                                                                                                         493
                                            7- to 13-week ban on unofficial visits (no
                                                                                                                                       No-limit sports: 7- to 13-week ban




                                                                                                                                                                                                                      #:361
                                                scheduled unofficial visits and no                    7- to 13-week ban
                                                     complimentary tickets)
                                                                                                                                      12.5 to 25% cuts in RPD or ED Men’s
                                         12.5 to 25% cuts in official paid visits (based on
                                            the average number provided during the                                                    Basketball: 17 to 33 (RPD) Women’s
                                                        previous 4 years)
                                                                                                                                           Basketball: 14 to 28 (RPD)
                                           Football: 7 to 14 visits (need to account for
                                           unused visits from the previous year, if any)                                           Football: 6 to 11 Fall; 21 to 42 Spring (ED)
                                         Men’s Basketball: 2 to 4 visits (need to account                                           Women’s Beach Volleyball: 7 to 13 (ED)
                                                  for rolling two-year period)
                                                                                                                                       Women’s Volleyball: 10 to 20 (ED)
                                           Women’s Basketball: 2 to 3 visits (need to
                                             account for rolling two-year period)                                                           Men’s Golf: 6 to 12 (ED)
                                                      Baseball: 4 to 7 visits




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                                                                                                             Recruiting             Off-Campus Recruiting




                                                                                                                                                                         Case 3:24-cv-00033-DCLC-JEM Document 2-10 Filed 01/31/24 Page 375 of 450 PageID
Violation Level I   Violation Level II                   Recruiting Visit Restrictions                     Communication                 Restrictions
                                                                                                             Restrictions
 Mitigation             Standard                                   0 to 12.5%                               0 to 12.5%                    0 to 12.5%
                                               0 to 6-week ban on unofficial visits (no scheduled         0 to 6-week ban      No-limit sports: 0 to 6-week ban
                                                 unofficial visits and no complimentary tickets)
                                                                                                                              0 to 12.5% cuts in RPD or ED Men’s
                                              0 to 12.5% cuts in official paid visits (based on the
                                            average number provided during the previous 4 years)                              Basketball: 0 to 17 (RPD) Women’s
                                            Football: 0 to 7 visits (need to account for unused visits                       Basketball: 0 to 14 (RPD) Football: 0 to
                                                          from the previous year, if any)
                                                                                                                              6 Fall; 0 to 21 Spring (ED) Women’s
                                            Basketball: 0 to 2 visits (need to account for rolling two-
                                                                    year period)                                             Beach Volleyball: 0 to 7 (ED) Women’s
                                                              Baseball: 0 to 4 visits                                                Volleyball: 0 to 10 (ED)
                                                                                                                                     Men’s Golf: 0 to 6 (ED)
                       Mitigation                                    0 to 5%                                  0 to 5%                        0 to 5%
                                                       0 to 3-week ban on unofficial visits                0 to 3-week ban     No-limit sports: 0 to 3-week ban
                                                      (no scheduled unofficial visits and no
                                                             complimentary tickets)                                                0 to 5% cuts in RPD or ED




                                                                                                                                                                                                               494
                                            0 to 5% cuts in official paid visits (based on the average                          Men’s Basketball: 0 to 7 (RPD)




                                                                                                                                                                                                            #:362
                                                 number provided during the previous 4 years)
                                                                                                                               Women’s Basketball: 0 to 6 (RPD)
                                                              Football: 0 to 3 visits
                                                                                                                             Football: 0 to 3 Fall; 0 to 9 Spring (ED)
                                                   Basketball: 0 to 1 visit (need to account for                             Women’s Beach Volleyball: 0 to 3 (ED)
                                                           rolling two-year period)
                                                                                                                                Women’s Volleyball: 0 to 4 (ED)
                                                              Baseball: 0 to 2 visits
                                                                                                                                     Men’s Golf: 0 to 3 (ED)
Violation Level I      Violation Level II                     Probation
   Aggravation                                               4 to 10 years
    Standard              Aggravation                        3 to 6 years
    Mitigation             Standard                          2 to 4 years
                           Mitigation                        0 to 2 years




                                                                                                                                                                                                                    8/5/23
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                                                FIGURE 19-2
                          Processing a Typical NCAA Infractions Appeals Case


               Institution (or involved individual) indicates it will appeal certain findings or
               penalties to NCAA Infractions Appeals Committee by submitting written notice of
               intent to appeal to Infractions Appeals Committee not later than 15 calendar days
               from the date of the public release of the Committee on Infractions’ report.



               Infractions Appeals Committee acknowledges receipt of timely appeal. Institution (or
               involved individual) is provided a 30-day period to submit its initial submission in
               support of its appeal.



               After receiving institution’s (and/or involved individual’s) initial submission, the
               Committee on Infractions is provided a 30-day period to submit response to the
               institution’s (or involved individual’s) written appeal.



               Institution (and/or involved individual) is provided 14 days to submit a rebuttal to
               the Committee on Infractions’ response. Enforcement staff may provide written
               statement not later than 10 days from the rebuttal deadline.



               Infractions Appeals Committee reviews the institution’s (and/or involved individual’s)
               appeal and the Committee on Infractions’ response. The review is completed either
               through an appeal oral argument or on the written record. Appeal oral arguments
               include representatives on behalf of the institution, involved individual(s), the
               Committee on Infractions and enforcement staff.



               Infractions Appeals Committee decision is announced.




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BYLAWS, ARTICLE 20

Division Membership
20.01 General Principles.
20.01.1 Membership in the Association. Eligibility for membership in the Association; conditions, obligations and
classes of Association membership; and procedures governing the termination, suspension and reinstatement of such
membership are governed by this article. (Revised: 1/20/22)
20.01.2 Division Membership. Each active member institution and member conference is designated as a member of
Division I, II or III for certain legislative and competitive purposes. In football, Division I is divided into the Football Bowl
Subdivision and the Football Championship Subdivision (see Bylaw 20.8.1). Multidivision classification is permitted under
specified circumstances (see Bylaw 20.6). (Revised: 12/15/06)
20.01.3 Revenue Guarantee. [♦] All member institutions and conferences in good standing with Division I membership
requirements shall receive revenue from all gross revenue sources received by the Association, unless specifically excluded,
through the division's revenue distribution formulas. (Adopted: 1/9/96 effective 8/1/97, Revised: 12/2/16, 1/20/22)
    20.01.3.1 Revenue From New Subdivision Championship. [♦] This provision shall not apply to the distribution of
    revenue produced directly by a new subdivisional championship in a sport that has a subdivisional championship at the
    time of the adoption of this legislation. Any revenue produced by such a new subdivisional championship shall be
    distributed as determined by that subdivision. (Adopted: 1/9/96 effective 8/1/97, Revised: 1/20/22)
    20.01.3.2 Revenue Distribution Formula. [♦] As used in this section, the components of the division's revenue
    distribution formulas as they existed at the time of the adoption of this legislation include the Academic Enhancement,
    Academic Performance, Basketball Performance, Conference Grant, Equal Conference, Grants-in-Aid, Student Assistance,
    and Sports Sponsorship funds, and the supplemental and reserve funds intended for distribution to the membership.
    (Adopted: 1/9/96 effective 8/1/97, Revised: 1/20/22)
         20.01.3.2.1 Proportion of Revenue. [♦] The revenue distributed through these funds shall be allocated among the
         funds pursuant to the revenue distribution policy and plan in existence and approved by the Board of Directors as of
         January 20, 2022. (Adopted: 1/9/96 effective 8/1/97, Revised: 1/14/97, 1/20/22)
         20.01.3.2.2 Formula for Allocation. [♦] The formula for allocating each such fund among the members shall be
         pursuant to the revenue distribution policy and plan in existence and approved by the Board of Directors as of January
         20, 2022. (Adopted: 1/9/96 effective 8/1/97, Revised: 1/20/22)
         20.01.3.2.3 Waiver of Proportionality Requirement. The Board of Directors may waive the proportionality
         requirements of the revenue guarantee to permit uniform increases to all programs in the Academic Enhancement,
         Conference Grant and Student Assistance funds. (Adopted: 1/14/97 effective 8/1/97, Revised: 1/20/22)
20.01.4 Obligation to Meet Division Criteria. Division membership criteria constitute enforceable legislation. Each
member institution shall comply with all applicable criteria of its division, and an institution that fails to do so shall be subject to
the infractions process and to possible reclassification. (Revised: 7/31/14, 1/20/22)
20.01.5 Termination or Suspension of Membership. All rights and privileges of a member shall cease immediately
upon termination or suspension of its membership. (Revised: 1/20/22)
20.01.6 Joint Ventures. All marketing joint ventures, involving sports (other than bowl subdivision football) in which the
NCAA sponsored a championship as of January 15, 1997, between the Association (or the Association's representative or agent)
and a member conference or member institution (or the representative or agent of a member institution or conference) shall be
reviewed by the Council. (Adopted: 1/14/97 effective 8/1/97, Revised: 12/15/06, 11/1/07 effective 8/1/08, 8/7/14, 1/20/22)
    20.01.6.1 Definition. A marketing joint venture is any marketing program that uses the Association's marks or logos in
    conjunction with those of a conference or member institution. (Adopted: 1/14/97 effective 8/1/97, Revised: 1/20/22)
    20.01.6.2 Approval Process. The principles and overall program of any joint venture defined in Bylaw 20.01.6.1 shall
    require the approval of the Council and Board of Directors to be enacted as an Association business operation. (Adopted:
    1/14/97 effective 8/1/97, Revised: 11/7/07 effective 8/1/08, 8/7/14, 1/20/22)
20.02 Definitions and Applications.
20.02.1 Competitive Body. A competitive body is an athletics conference that conducts competition among its member
institutions and determines a conference champion in one or more sports. (Revised: 1/20/22)
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20.02.2 Legislative Body. A legislative body is an athletics conference that develops and maintains rules and regulations
governing the athletics programs and activities of its member institutions. (Revised: 1/20/22)
20.02.3 Membership Categories.
    20.02.3.1 Active Member. An active member is a four-year college or university that is accredited by the appropriate
    regional accrediting agency and duly elected to active membership under the provisions of this article (see Bylaw 20.2).
    Active members have the right to compete in NCAA championships, to vote on legislation and other issues before the
    Association, and to enjoy other privileges of membership designated in the constitution and bylaws of the Association. (See
    Bylaw 20.2.2.1.1 regarding restrictions on the privileges of for-profit institutions.) (Revised: 1/15/11 effective 8/1/11,
    4/14/17, 1/20/22)
         20.02.3.1.1 Athletics Consortium. An athletics consortium consists of one member institution and neighboring
         member or nonmember institutions (but not more than one nonmember institution), recognized and approved by a
         two-thirds vote of the Strategic Vision and Planning Committee. The student-athletes of the combined institutions are
         permitted to compete on the NCAA member institution's athletics teams, provided they meet the eligibility
         requirements of the NCAA and the member institution (see Bylaw 20.1.2). (Revised: 11/1/07 effective 8/1/08, 8/7/14,
         10/4/17, 1/20/22)
    20.02.3.2 Member Conference. A member conference is a group of colleges and/or universities that conducts
    competition among its members and determines a conference champion in one or more sports (in which the NCAA
    conducts championships or for which it is responsible for providing playing rules for intercollegiate competition), duly
    elected to conference membership under the provisions of this article (see Bylaw 20.3.3). A member conference is entitled
    to all of the privileges of active members except the right to compete in NCAA championships (see Bylaw 20.3.2). Only
    those conferences that meet specific criteria as competitive and legislative bodies (see Bylaws 20.02.1 and 20.02.2) and
    minimum standards related to size and division status are permitted to vote on legislation or other issues before the
    Association. (Revised: 1/20/22)
20.02.4 Multidivision Classification. Multidivision classification is the classification in which a sport is classified in a
division other than the division in which an institution holds membership (see Bylaw 20.6). (Revised: 1/15/11 effective 8/1/11)
20.02.5 Performance Criterion. A performance criterion is a requirement for membership or classification in a division
that must be met by the member institution prior to the date that the requirement becomes effective (e.g., during the academic
year preceding the effective date). Performance criteria include, but are not limited to, minimum sports sponsorship
requirements, minimum scheduling requirements and minimum game-attendance requirements.
20.02.6 Restricted Membership. Restricted membership is a membership classification status assigned to an institution
that fails to comply with the minimum requirements of its division (e.g., sports sponsorship, scheduling). The institution placed
in such status loses eligibility for a number of membership privileges and has from one year to three years to comply with the
requirement involved. Failure to comply shall result in the termination of the institution's membership in the Association.
(Revised: 1/15/11 effective 8/1/11)
20.02.7 Emerging Sports for Women. The following shall be considered emerging sports for women and countable for
purposes of revenue distribution (for sports sponsorship and grants-in-aid): (Adopted: 1/11/94 effective 9/1/94, Revised: 4/15/97,
1/12/99 effective 8/1/99, 4/27/00 effective 8/1/00, 4/25/02, 4/24/03 effective 8/1/03, 1/17/09 effective 8/1/09, 4/30/09, 1/16/10
effective 8/1/11, 1/15/11 effective 8/1/11, 1/18/14 effective 8/1/14, 10/30/14 effective 8/1/15, 6/23/20 effective 8/1/20, 4/26/23
effective 8/1/23)
(a) Team Sports: acrobatics and tumbling, rugby and stunt; and
(b) Individual Sports: equestrian, triathlon and wrestling.
    20.02.7.1 Additional Emerging Sports. The Board of Directors periodically shall identify future emerging sports for
    women that shall be countable sports for revenue distribution and minimum sports sponsorship criteria and shall establish
    procedures to determine minimum contests and maximum grants in those sports. (Adopted: 1/11/94 effective 9/1/94)
    20.02.7.2 Removal of Emerging Sports. A sport shall no longer be considered an emerging sport once the sport has
    been established as a championship sport. Further, an emerging sport is limited to a 10-year period to become a
    championship sport unless it can be demonstrated that steady growth has occurred during that time. (Adopted: 4/15/97)
20.02.8 Multisport Conference. A Division I multisport conference shall satisfy the requirements of this section. (Adopted:
1/15/11 effective 8/1/11)
    20.02.8.1 Minimum Number of Members. A multisport conference shall be composed of at least seven active Division
    I members. The member conference shall include at least seven active Division I members that sponsor both men's and
    women's basketball. (Adopted: 1/15/11 effective 8/1/11)
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    20.02.8.2 Sports Sponsorship. A multisport conference shall satisfy the following requirements: (Adopted: 1/15/11
    effective 8/1/11)
     (a) The conference shall sponsor a minimum of 12 Division I sports;
     (b) The conference shall sponsor a minimum of six men's sports, one of which shall be men's basketball. In addition to
         men's basketball, the conference shall sponsor football or two other men's team sports. A minimum of seven members
         shall sponsor men's basketball. A minimum of six members shall sponsor five other sports, including football or two
         additional men's team sports; and
     (c) The conference shall sponsor a minimum of six women's sports, one of which shall be women's basketball. In addition
         to women's basketball, the conference shall sponsor two other women's team sports. A minimum of seven members
         shall sponsor women's basketball. A minimum of six members shall sponsor five other sports, including two additional
         women's team sports (or a minimum of five members for an emerging sport for women).
    20.02.8.3 Regular-Season Conference Competition. Multisport conference members shall participate in regular-
    season conference competition, subject to the following requirements: (Adopted: 1/15/11 effective 8/1/11)
     (a) Basketball teams shall participate in a regular-season conference schedule of a double round robin, in-season
         competition, or a minimum of 14 regular-season conference contests;
     (b) In football or in a minimum of two men's team sports other than men's basketball [as required in Bylaw 20.02.8.2-
         (b)], teams shall compete in a minimum regular-season conference schedule of five contests. A minimum of five
         regular-season conference contests must be hosted by one of the two competing teams at its home venue; and
     (c) In a minimum of two women's team sports other than women's basketball (as required in Bylaw 20.02.8.2), teams shall
         compete in a minimum regular-season conference schedule of five contests. A minimum of five regular-season
         conference contests must be hosted by one of the two competing teams at its home venue.
    20.02.8.4 Continuity. A multisport conference shall establish continuity. To establish continuity, a multisport
    conference must meet the requirements of Bylaw 20.02.8.1. In addition, the conference must meet the requirements of
    Bylaws 20.02.8.2 and 20.02.8.3 for a period of eight consecutive years. (Adopted: 1/15/11 effective 8/1/11)
    20.02.8.5 Grace Period. A conference shall continue to be considered a multisport conference for two years following
    the date of withdrawal of the institution(s) that causes the conference's noncompliance with the minimum multisport
    conference requirements. (Adopted: 1/15/11 effective 8/1/11)
20.02.9 Football Bowl Subdivision Conference. A conference classified as a Football Bowl Subdivision conference
shall be comprised of at least eight full Football Bowl Subdivision members that satisfy all bowl subdivision requirements. An
institution shall be included as one of the eight full Football Bowl Subdivision members only if the institution participates in the
conference schedule in at least six men's and eight women's conference-sponsored sports, including men's basketball and football
and three women's team sports, including women's basketball. A conference-sponsored sport shall be a sport in which regular-
season and/or championship opportunities are provided, consistent with the minimum standards identified by the applicable
NCAA sport committee for automatic qualification. (Adopted: 10/31/02 effective 8/1/05, Revised: 12/15/06)
    20.02.9.1 Exception. A Football Bowl Subdivision member institution shall be permitted to count as one of its required
    six men's sports and one of its required eight women's sports a sport in which its conference does not sponsor or conduct a
    championship, provided the sport is one in which it participates in another Division I multisport or single-sport conference.
    Different sports may be counted for men and women. (Adopted: 4/29/04 effective 8/1/05, Revised: 12/15/06)
    20.02.9.2 Grace Period. A conference shall continue to be considered a Football Bowl Subdivision conference for two
    years following the date when it fails to satisfy the eight full Football Bowl Subdivision member requirement due to one or
    more of its member's failure to comply with the bowl subdivision membership requirements. (Adopted: 4/28/05 effective
    8/1/05, Revised: 12/15/06)
20.02.10 Full Grant. For purposes of Bylaw 20, a full grant is the value of tuition and fees, living expenses, and required
course-related books. (Adopted: 1/17/15 effective 8/1/15, Revised: 7/31/23)
20.1 Eligibility for Membership.
20.1.1 General. Membership is available to four-year colleges and universities that are accredited by one of the regional
accrediting agencies and are located in the United States, its territories or possessions, and athletics conferences. Such
institutions or organizations must accept and observe the principles set forth in the bylaws. (Revised: 8/9/07, 11/1/07, 1/15/11
effective 8/1/11, 6/26/19 effective 8/1/19, 1/20/22)
20.1.2 Athletics Consortiums. The Strategic Vision and Planning Committee, by a two-thirds majority of its members
present and voting, may approve an athletics consortium involving a member institution and neighboring member or

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nonmember institutions (but not more than one nonmember institution) to permit the student-athletes of the combined
institutions to compete on the member institution's intercollegiate athletics teams, provided the student-athletes satisfy the
eligibility requirements of the member institution and the NCAA. (Revised: 11/1/07 effective 8/1/08, 7/30/10, 8/7/14, 10/4/17,
1/20/22)
    20.1.2.1 General Policy. In general, a consortium shall be approved on the basis of existing academic considerations
    with the understanding that there shall be no change in the basic recruitment, enrollment or financial aid policies of the
    involved institutions as a result of such approval. (Revised: 7/30/10, 1/20/22)
    20.1.2.2 Combining Entire Athletics Programs. The institutions shall combine their entire athletics programs, and
    the consortium shall not be formed on a sport-by-sport basis. (Revised: 7/30/10, 1/20/22)
    20.1.2.3 Conference Approval. An institution that belongs to an NCAA member conference first shall receive approval
    of its conference prior to instituting a consortium for its intercollegiate athletics program. If more than one institution holds
    such conference membership, all such conferences shall approve the consortium. (Revised: 7/30/10, 1/20/22)
    20.1.2.4 Eligibility Requirements for Student-Athletes. Participating student-athletes shall meet all eligibility
    requirements of the member institution(s), the athletics conference(s) involved and the NCAA. The member institution(s)
    shall certify the eligibility of all student-athletes under those rules. (Revised: 7/30/10, 1/20/22)
    20.1.2.5 Financial Assistance to Student-Athletes. Within a consortium: (Revised: 7/30/10, 1/20/22)
     (a) Each institution shall be responsible for the financial assistance awarded to its student-athletes. The financial
         arrangement between or among the institutions for the exchange of funds to cover the academic costs of student-
         athletes who take part in the exchange program shall apply to student-athletes in the same manner as it applies to those
         students not participating in the intercollegiate athletics program;
     (b) One institution may not provide a scholarship or any other form of financial aid to a student-athlete enrolled in
         another institution or transmit a scholarship or grant-in-aid to another institution to be used by one or more of its
         student-athletes; and
     (c) Financial aid limitations as set forth in Bylaw 15 shall be applicable to the consortium as one entity and shall include all
         countable student-athletes, regardless of the institution in which they are enrolled.
    20.1.2.6 Length of Approval. NCAA approval shall be for a four-academic-year period, at the end of which the
    institutions shall submit a report on the program, setting forth its effect upon their academic and athletics operations.
    (Revised: 8/4/89, 7/30/10, 1/20/22)
    20.1.2.7 NCAA Division Membership. The institutions may be members of different NCAA divisions but shall select
    one division for legislative and competitive purposes. (Revised: 7/30/10, 1/20/22)
    20.1.2.8 NCAA Member Involvement. At least one of the institutions already shall be a member of the NCAA, and
    not more than one nonmember institution shall be included. (Revised: 7/30/10, 1/20/22)
    20.1.2.9 NCAA Membership Application. The institutions shall apply for NCAA membership as a consortium and
    shall be considered as one member of the Association, with their combined names included on the official NCAA
    membership list. (Revised: 7/30/10, 1/20/22)
    20.1.2.10 Prior Academic Consortium Relationship. The institutions shall have had a prior academic consortium
    relationship. (Revised: 7/30/10, 1/20/22)
    20.1.2.11 Recruitment. It is permissible for one institution to recruit prospective student-athletes with a view to their
    possible enrollment at another institution in the consortium, provided the individuals qualify for admission to that
    institution and the athletics interests of the member institution are not involved, directly or indirectly, in influencing the
    admission or award of financial assistance. (Revised: 7/30/10, 1/20/22)
20.2 Active Membership.
20.2.1 Eligibility Requirements.
    20.2.1.1 Types of Institutions. Active membership is available to four-year colleges and universities, accredited by the
    appropriate regional accrediting agency and pursuant to Board of Governors policy, and duly elected to active membership
    under the provisions of Bylaw 20.2.3. (Revised: 1/15/11 effective 8/1/11, 7/23/12, 10/30/14, 1/20/22)
    20.2.1.2 Compliance With Association Rules. The institution shall administer its athletics programs in accordance
    with the bylaws. (Revised: 1/20/22)
    20.2.1.3 Standards. The institution's athletics programs shall reflect the establishment and maintenance of high
    standards of personal honor, eligibility and fair play. (Revised: 1/20/22)

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20.2.2 Privileges.
   20.2.2.1 Active Members. Active members shall be entitled to all of the privileges of membership under the constitution
   and bylaws of the Association and all privileges incidental thereto. (Revised: 2/4/21, 1/20/22)
         20.2.2.1.1 Exception -- For-Profit Institutions. For-profit institutions shall be restricted, as follows: (Adopted:
         4/14/17, Revised: 1/20/22)
         (a) A for-profit institution shall not have voting privileges at the annual NCAA Convention or any special
             Convention. The institution shall be entitled to three accredited delegates without voting privileges. Any of the
             accredited delegates shall be entitled to privileges of the floor and the right to active participation in the business
             proceedings;
         (b) A representative of a for-profit institution shall not be permitted to serve as a voting institutional representative on
             an NCAA committee; and
         (c) A for-profit institution shall not receive NCAA grants or financial distributions directly from the NCAA.
   20.2.2.2 Use of Association's Registered Marks. Active members may use the registered marks of the Association
   (the Association's name, logo or other insignia) only in accordance with guidelines established by the Board of Governors.
   (Revised: 10/30/14, 1/20/22)
20.2.3 Election Procedures.
   20.2.3.1 Completion of Reclassification Process. An institution desiring to become an active member of Division I
   shall complete a reclassification period (see Bylaw 20.10). After the Strategic Vision and Planning Committee has
   determined that the institution has met the requirements of reclassification, its request for active membership will be
   referred to the Board of Directors for election. (Revised: 1/11/94 effective 9/2/94, 5/8/06, 11/1/07 effective 8/1/08, 10/28/10,
   1/15/11 effective 8/1/11, 8/7/14, 10/4/17, 1/20/22)
   20.2.3.2 Accreditation. After the Strategic Vision and Planning Committee has determined that the institution is
   accredited by one of the regional accrediting agencies, the application shall be referred to the Board of Directors for
   consideration. (Revised: 11/1/07 effective 8/1/08, 10/28/10, 1/15/11 effective 8/1/11, 8/7/14, 10/4/17, 1/20/22)
   20.2.3.3 Election. A favorable vote by two-thirds of the Board of Directors members present and voting shall elect the
   applicant to membership effective the following August 1. When the vote of the Board of Directors has been completed, the
   applicant shall be notified. (Revised: 11/1/07 effective 8/1/08, 10/28/10, 1/15/11 effective 8/1/11, 1/20/22)
   20.2.3.4 Resignation and Re-election to Membership. If an institution resigns its Division I membership and
   subsequently applies to re-establish its Division I membership, the institution shall complete the reclassification process (see
   Bylaw 20.7) before becoming eligible for re-election as an active member. (Revised: 1/11/94 effective 9/2/94, 1/26/07,
   1/15/11 effective 8/1/11, 1/20/22)
20.2.4 Conditions and Obligations of Membership.
   20.2.4.1 General. An active member institution agrees to administer its athletics program in accordance with the bylaws.
   (Revised: 1/20/22)
   20.2.4.2 Obligation to Meet Division Criteria. Division membership criteria constitute enforceable legislation. Each
   member institution shall comply with all applicable criteria of its division, and an institution that fails to do so shall be
   subject to the infractions process and to possible reclassification. (Revised: 7/31/14, 1/20/22)
   20.2.4.3 Equity, Diversity and Inclusion Review. An active member institution shall complete an equity, diversity
   and inclusion review at least once every four years and provide written confirmation of completion to the national office.
   Failure to complete an equity, diversity and inclusion review at least once every four years shall subject an institution to a
   penalty pursuant to a penalty structure and timeline maintained by the Strategic Vision and Planning Committee. (Adopted:
   5/1/19 effective 8/1/19, Revised: 1/22/20 effective 8/1/20, 1/11/21, 1/20/22)
   20.2.4.4 Certification of Eligibility/Declaration of Ineligibility. An active member is responsible for certifying the
   eligibility of student-athletes under the terms of the bylaws before permitting a student-athlete to represent the institution
   in intercollegiate competition. Procedures for eligibility certification shall be approved by the president or chancellor, who
   may designate an individual on the institution's staff to administer proper certification of eligibility. The institution shall be
   obligated immediately to apply all applicable rules and withhold ineligible student-athletes from all intercollegiate
   competition (see Bylaw 12.11). See Bylaw 12.12 for procedures regarding restoration of eligibility. (Revised: 3/8/06,
   1/20/22)
   20.2.4.5 Academic Performance Program. An active member institution is responsible for annually submitting
   documentation demonstrating its compliance with the academic performance program, including the submission of data for
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   the academic progress rate (APR), the academic performance census (APC) and the graduation success rate (GSR). The
   specific requirements of the academic performance program are set forth in Bylaw 14.8. (Adopted: 4/29/04, Revised:
   1/20/22)
   20.2.4.6 Application of Rules to All Recognized Varsity Sports. The constitution, bylaws and other legislation of
   this Association, unless otherwise specified therein, shall apply to all teams in sports recognized by the member institution as
   varsity intercollegiate sports and that involve all-male teams, mixed teams of males and females, and all-female teams. To be
   recognized as a varsity sport, the following conditions must be met: (Revised: 1/11/89, 1/11/94, 1/10/95, 3/8/06, 1/15/11
   effective 8/1/11, 1/20/22)
    (a) The sport shall be one in which the Association conducts championships, except as provided in Bylaw 20.10.6.1.1 or
        an emerging sport for women per Bylaw 20.02.7;
    (b) The sport officially shall have been accorded varsity status by the institution's president or chancellor or committee
        responsible for intercollegiate athletics;
    (c) The sport is administered by the department of intercollegiate athletics;
    (d) The eligibility of student-athletes participating in the sport shall be reviewed and certified by a staff member designated
        by the institution's president or chancellor or committee responsible for intercollegiate athletics policy; and
    (e) Qualified participants in the sport shall receive the institution's official varsity awards.
         20.2.4.6.1 Intent to Sponsor a Varsity Sport. Once an institution evidences an intent or commitment to sponsor
         a sport on a varsity level (e.g., official announcement that competition will be conducted on a varsity basis,
         employment of individuals to coach the varsity team), the institution must begin applying NCAA recruiting
         regulations to the applicable sport. (Revised: 1/14/97, 1/20/22)
   20.2.4.7 Student-Athlete Statement. An active member institution shall administer annually, on a form prescribed by
   the Legislative Committee, a signed statement for each student-athlete that provides information prescribed in Bylaw
   12.7.2. (Revised: 4/24/03, 11/1/07 effective 8/1/08, 8/7/14, 10/4/17, 1/20/22)
   20.2.4.8 Drug-Testing Program and Consent Form. An active member institution shall administer annually, a drug-
   testing consent form for each student-athlete (per Bylaw 12.02.14) pursuant to Bylaw 12.7.3 and shall ensure compliance
   with the following elements of the NCAA Drug-Testing Program: [D] (Adopted: 1/10/92 effective 8/1/92, Revised: 4/24/03,
   11/1/07 effective 8/1/08, 7/30/10, 1/15/11 effective 8/1/11, 5/29/15, 1/20/22)
    (a) Respond to the initial drug-testing notification from Drug Free Sport International by the date specified by the
        organization;
    (b) Complete and forward to Drug Free Sport International a current and accurate institutional squad list (see Bylaw
        15.5.11) by the date specified by the organization;
    (c) Provide adequate and secure drug-testing facilities as specified by Drug Free Sport International;
    (d) Notify student-athletes who have been selected for drug testing according to the timeline specified by Drug Free Sport
        International;
    (e) Respond to additional requests for assistance in administering the NCAA drug-testing program as specified by Drug
        Free Sport International;
    (f) Designate an individual (or individuals) as the athletics department resource for questions related to NCAA banned
        drugs and the use of nutritional supplements; and
    (g) Educate athletics department staff members who have regular interaction with student-athletes that:
         (1) The NCAA maintains a list of banned drug classes and provides examples of banned substances in each drug class
             on the NCAA website;
         (2) Any nutritional supplement use may present risks to a student-athlete's health and eligibility; and
         (3) Questions regarding NCAA banned drugs and the use of nutritional supplements should be referred to the
             institution's designated athletics department resource individual (or individuals).
   20.2.4.9 Certification of Insurance Coverage. An active member institution must certify insurance coverage for
   medical expenses resulting from athletically related injuries sustained by the following individuals while participating in a
   covered event: [D] (Adopted: 4/28/05 effective 8/1/05, Revised: 1/20/22)
    (a) A student-athlete participating in a covered event in an intercollegiate sport as recognized by the participating
        institution; and


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    (b) A prospective student-athlete participating in a covered event who has graduated from high school and signed a
        National Letter of Intent or an institution's written offer of admission and/or financial aid to participate in an
        intercollegiate sport at a participating institution.
         20.2.4.9.1 Amount of Coverage Insurance. Such insurance coverage must be of equal or greater value than the
         deductible of the NCAA Catastrophic Injury Insurance Program and may be provided through the following sources:
         (Adopted: 4/28/05 effective 8/1/05, Revised: 1/20/22)
         (a) Parents or guardians' insurance coverage;
         (b) Participant's personal insurance coverage; or
         (c) Institution's insurance program.
         20.2.4.9.2 Athletically Related Injuries. For purposes of this provision, athletically related injuries are injuries
         that are a direct result of participation in a covered event. (Adopted: 4/28/05 effective 8/1/05, Revised: 1/20/22)
         20.2.4.9.3 Covered Event. A covered event includes the following: (Adopted: 4/28/05 effective 8/1/05, Revised:
         1/20/22)
         (a) Any intercollegiate sports activity, including team travel, competition, practices and conditioning sessions during
             the playing season (as defined in Bylaw 17.1.1);
         (b) An NCAA-sanctioned competition in which the insured person is an official competitor; or
         (c) Practice and conditioning sessions that are authorized, organized or directly supervised by athletics department
             personnel at the member institution other than during the playing season. Such sessions must occur on campus or
             at approved off-campus facilities as part of an intercollegiate athletics activity. For insured student-athletes or
             prospective student-athletes who compete in individual sports, off-campus intercollegiate athletics activities must
             be authorized by athletics department personnel at the participating school and take place at approved locations.
   20.2.4.10 Student-Athlete Health Insurance Portability and Accountability Act (HIPAA) Authorization/
   Buckley Amendment Consent Form -- Disclosure of Protected Health Information. An active member
   institution shall administer annually a statement for each student-athlete to voluntarily sign that provides information
   prescribed in Bylaw 12.7.4. (Adopted: 4/23/03 effective 8/1/03, Revised: 8/7/03 effective 8/1/04, 11/1/07 effective 8/1/08,
   1/20/22)
   20.2.4.11 Discipline of Members. Pursuant to directions of the Board of Directors or the annual Convention, an active
   member institution shall refrain from athletics competition with designated institutions as required under the provisions of
   the Association's infractions process (see Bylaw 19). (Revised: 11/1/07 effective 8/1/08, 7/31/14, 1/20/22)
   20.2.4.12 Standards. An active member institution agrees to establish and maintain high standards of personal honor,
   eligibility and fair play. (Revised: 1/20/22)
   20.2.4.13 Publication of Progress-Toward-Degree Requirements. An active member institution is obligated to
   publish its progress-toward-degree requirements for student-athletes (see Bylaw 14.4.1). (Revised: 1/20/22)
   20.2.4.14 Missed Class-Time Policies. An active member institution is obligated to establish policies in all sports
   concerning student-athletes' missed class time due to participation in intercollegiate athletics and in athletics competition
   scheduled during final examination periods. (Adopted: 4/29/10 effective 8/1/10, Revised: 4/25/15 effective 8/1/18, 1/20/22)
   20.2.4.15 President or Chancellor Attestation of Compliance Obligations. An active member institution shall
   not be eligible to enter a team or individual competitors in an NCAA championship and shall be subject to removal from
   and/or ineligibility of individuals to serve on an NCAA board, council or committee unless its president or chancellor
   attests annually to an understanding of the institutional obligations and personal responsibilities imposed by the
   constitution (Principle of Institutional Control; Rules, Compliance and Accountability). [See Bylaw 18.4.2.1-(d).]
   (Adopted: 4/19/19 effective 8/1/19, Revised: 1/20/22, 1/11/23)
   20.2.4.16 Compliance-Related Certification. An active member institution shall not be eligible to enter a team or
   individual competitors in an NCAA championship and shall be subject to removal from and/or ineligibility of individuals
   to serve on an NCAA board, council or committee unless it certifies [see Bylaw 18.4.2.1-(e)] that the conditions of Bylaw
   18.4.2.1.1 have been satisfied. (Adopted: 1/10/95, Revised: 3/8/06, 8/8/18 effective 8/1/19, 1/20/22)
   20.2.4.17 Operating and Capital Financial Data Report. An active member institution shall submit financial data
   detailing operating revenues, expenses and capital related to its intercollegiate athletics program to the NCAA on an annual
   basis in accordance with the financial reporting policies and procedures. The required data shall include, but is not limited
   to, the following: (Adopted: 1/17/09 effective 8/1/09, Revised: 1/20/22)


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    (a) All expenses and revenues for or on behalf of an institution's intercollegiate athletics program, including those by any
        affiliated or outside organization, agency or group of individuals;
    (b) Salary and benefits data for all athletics positions. The data shall include base salary, bonuses, endorsements, media fees,
        camp or clinic income, deferred income and other income contractually guaranteed by the institution;
    (c) Capital expenditures (to be reported in aggregate for athletics facilities), including capitalized additions and deletions to
        facilities during the reporting period, total estimated book value of athletically related plant and equipment net of
        depreciation, total annual debt service on athletics and university facilities and total debt outstanding on athletics and
        university facilities;
    (d) Value of endowments at fiscal year-end that are dedicated to the sole support of athletics;
    (e) Value of all pledges at fiscal year-end that support athletics; and
    (f) The athletics department fiscal year-end fund balance.
         20.2.4.17.1 Verification and Certification. The report shall be subject to annual agreed-on verification
         procedures approved by the membership (in addition to any regular financial reporting policies and procedures of the
         institution) and conducted by a qualified independent accountant who is not a staff member of the institution and who
         is selected by the institution's chancellor or president or by an institutional administrator from outside the athletics
         department designated by the chancellor or president. The independent accountant shall verify the accuracy and
         completeness of the data prior to submission to the institution's chancellor or president and the NCAA. The
         institution's chancellor or president shall certify the financial report prior to submission to the NCAA. (Adopted:
         1/17/09 effective 8/1/09, Revised: 1/20/22)
   20.2.4.18 Designation of Team Physician. [A] An active member institution shall designate a team physician for all
   or each of its intercollegiate teams. The team physician shall be a doctor of medicine (MD) or doctor of osteopathic
   medicine (DO) with a current license in good standing to practice medicine in the state in which the institution is located.
   The team physician shall be authorized to oversee the medical services for injuries and illnesses incidental to a student-
   athlete's participation in intercollegiate athletics. (Revised: 1/18/14 effective 8/1/14, 1/20/22)
   20.2.4.19 Independent Medical Care. [A] An active member institution shall establish an administrative structure that
   provides independent medical care and affirms the unchallengeable autonomous authority of primary athletics health care
   providers (team physicians and athletic trainers) to determine medical management and return-to-play decisions related to
   student-athletes. An active institution shall designate an athletics health care administrator to oversee the institution's
   athletic health care administration and delivery. (Adopted: 1/15/16 effective 8/1/16, Revised: 10/7/16, 1/20/22)
         20.2.4.19.1 Application to Nonautonomy Conferences. A member institution of a conference other than the
         five conferences named in Bylaw 9.2.2.1.1 shall apply the provisions of Bylaw 20.2.4.19. (Adopted: 10/30/19 effective
         8/1/20, Revised: 1/20/22)
   20.2.4.20 Concussion Management Plan. [A] An active member institution shall have a concussion management
   plan for its student-athletes. The plan shall include, but is not limited to, the following: (Adopted: 8/12/10, Revised: 1/20/22)
    (a) An annual process that ensures student-athletes are educated about the signs and symptoms of concussions. Student-
        athletes must acknowledge that they have received information about the signs and symptoms of concussions and that
        they have a responsibility to report concussion-related injuries and illnesses to a medical staff member;
    (b) A process that ensures a student-athlete who exhibits signs, symptoms or behaviors consistent with a concussion shall
        be removed from athletics activities (e.g., competition, practice, conditioning sessions) and evaluated by a medical staff
        member (e.g., sports medicine staff, team physician) with experience in the evaluation and management of concussions;
    (c) A policy that precludes a student-athlete diagnosed with a concussion from returning to athletics activity (e.g.,
        competition, practice, conditioning sessions) for at least the remainder of that calendar day; and
    (d) A policy that requires medical clearance for a student-athlete diagnosed with a concussion to return to the athletics
        activity (e.g., competition, practice, conditioning sessions) as determined by a physician (e.g., team physician) or the
        physician's designee.

   20.2.4.20 Concussion Management Plan. An active member institution shall have a concussion management plan
   for its student-athletes. The plan shall be consistent with the NCAA Concussion Safety Protocol Checklist and shall
   include, but is not limited to, the following: (See Bylaw 20.2.4.24.) (Adopted: 8/12/10, Revised: 1/20/22, 4/26/23 effective
   8/1/24)



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    (a) An annual process that ensures student-athletes are educated about the signs and symptoms of concussions. Student-
        athletes must acknowledge that they have received information about the signs and symptoms of concussions and that
        they have a responsibility to report concussion-related injuries and illnesses to a medical staff member;
    (b) A process that ensures a student-athlete who exhibits signs, symptoms or behaviors consistent with a concussion shall
        be removed from athletics activities (e.g., competition, practice, conditioning sessions) and evaluated by a medical
        staff member (e.g., sports medicine staff, team physician) with experience in the evaluation and management of
        concussions;
    (c) A policy that precludes a student-athlete diagnosed with a concussion from returning to athletics activity (e.g.,
        competition, practice, conditioning sessions) for at least the remainder of that calendar day; and
    (d) A policy that requires medical clearance for a student-athlete diagnosed with a concussion to return to the athletics
        activity (e.g., competition, practice, conditioning sessions) as determined by a physician (e.g., team physician) or the
        physician's designee.

         20.2.4.20.1 Concussion Safety Protocol. [A] An active member institution shall submit its Concussion Safety
         Protocol to the Concussion Safety Protocol Committee by May 1 of each year. The protocol shall be consistent with
         the NCAA Concussion Safety Protocol Checklist and shall include: [D] (Revised: 2/23/17, Adopted: 1/17/19, 2/13/20,
         1/20/22)
         (a) Policies and procedures that meet the requirements of Bylaw 20.2.4.20;
         (b) Procedures for preparticipation baseline testing of each student athlete;
         (c) Procedures for reducing exposure to head injuries;
         (d) Procedures for education about concussion, including a policy that addresses return-to-learn;
         (e) Procedures to ensure that proper and appropriate concussion management, consistent with best known practices
             and the NCAA Concussion Safety Protocol Checklist, is made available to any student-athlete who has suffered a
             concussion;
         (f) Procedures requiring that the process of identifying, removing from game or practice, and assessing a student-
             athlete for a possible concussion are reviewed annually; and
         (g) A written certificate of compliance signed by the institution's athletics health care administrator.
             20.2.4.20.1.1 Information to Concussion Safety Protocol Committee. [A] An institution shall provide
             information to the Concussion Safety Protocol Committee, as the committee may request, concerning any
             incident in which a student-athlete may have suffered a concussion. [D] (Adopted: 1/17/15, Revised: 1/20/22)
   20.2.4.21 Concussion Reporting. An active member institution shall report all instances of diagnosed sport-related
   concussions in student-athletes and their resolutions to the NCAA on an annual basis pursuant to policies and procedures
   maintained by the Committee on Competitive Safeguards and Medical Aspects of Sports. (Adopted: 1/22/20, Revised:
   1/20/22)
   20.2.4.22 Catastrophic Sport Injury Report. An active member institution shall submit data detailing student-athlete
   catastrophic fatalities, near fatalities and catastrophic injuries (e.g., injuries and illnesses related to head, neck, spine, cardiac,
   pulmonary, heat, sickle cell trait, eyes) to the NCAA on an annual basis pursuant to policies and procedures that govern
   such data as determined by the Committee on Competitive Safeguards and Medical Aspects of Sports. [D] (Adopted:
   1/18/14 effective 8/1/14, Revised: 1/20/22)

   20.2.4.22 Catastrophic Sport Injury Review and Report. An active member institution shall complete a post-
   incident review of circumstances surrounding athletically related catastrophic fatalities, near fatalities and catastrophic
   injuries (e.g., injuries and illnesses related to head, neck, spine, cardiac, pulmonary, heat, sickle cell trait, eyes).
   Additionally, an institution shall submit data detailing such fatalities, near fatalities and injuries to the NCAA on an
   annual basis pursuant to policies and procedures that govern such data as determined by the Committee on Competitive
   Safeguards and Medical Aspects of Sports. (Adopted: 1/18/14 effective 8/1/14, Revised: 1/20/22, 4/26/23 effective 8/1/24)

   20.2.4.23 Student-Athlete Health and Safety Survey. An active member institution shall complete a student-
   athlete health and safety survey on an annual basis pursuant to policies and procedures as determined by the Committee on
   Competitive Safeguards and Medical Aspects of Sports. Failure to complete the student-athlete health and safety survey
   shall subject an institution to a penalty pursuant to a penalty structure and timeline maintained by the Strategic Vision and
   Planning Committee. (Adopted: 4/26/17 effective 8/1/17, Revised: 1/22/20 effective 8/1/20, 1/20/22)

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   20.2.4.24 Student-Athlete Advisory Committee. An active member institution shall establish a student-athlete
   advisory committee for its student-athletes, which must: (Adopted: 4/13/23 effective 8/1/23)
    (a) Appoint an executive team that, at a minimum, includes a chair and vice chair;
    (b) Be directly overseen by a senior athletics administrator; and
    (c) Be provided two opportunities annually for committee leaders to engage with members of the athletics senior leadership
        team, management team, or members of groups of equivalent nature to discuss and exchange feedback on student-
        athlete-related topics in academics, facilities, campus life and other initiatives, as well as department-wide projects and
        strategic planning.

   20.2.4.24 Consensus-Based Care, Education and Services Model. An active member institution shall provide
   consensus-based care, education and services to its student-athletes. The institution shall attest annually to the institution's
   compliance with consensus-based guidance supporting student-athlete health, safety and performance (e.g., Cardiac Care
   Best Practices, Interassociation Mental Health Best Practices, Concussion Safety Protocol Checklist) as identified,
   established and maintained through policies and procedures approved by the NCAA Board of Governors.
   (Adopted: 4/26/23 effective 8/1/24)

   20.2.4.25 Institutional Committees on Student-Athlete Issues. An institutional committee or ad hoc group
   established to address issues that directly impact student-athletes must include at least one student-athlete as an active
   member. (Adopted: 4/13/23 effective 8/1/23)

   20.2.4.25 Attestation of Student-Athlete Services Requirements. [A] An active member institution shall attest
   annually to providing student-athletes with academic support services consistent with the requirements of Bylaw 16.3.1.1,
   and career counseling and life skills programming consistent with the requirements of Bylaw 16.3.1.2. (Adopted: 4/26/23
   effective 8/1/24)

   20.2.4.26 Use of a Student-Athlete's Name or Likeness.
         20.2.4.26.1 Contracts and Commercial Agreements. For agreements that may involve the use of a student-
         athlete's name or likeness, an institution shall include language in all licensing, marketing, sponsorship, advertising,
         broadcast and other commercial agreements that outlines the commercial entity's obligation to comply with relevant
         NCAA legislation, interpretations and policies on the use of a student-athlete's name or likeness. (Adopted: 1/15/11
         effective 8/1/11, Revised: 1/20/22)
         20.2.4.26.2 Written Policies. An institution shall maintain written policies for its licensing, marketing,
         sponsorship, advertising, broadcast and other commercial agreements that may involve the use of a student-athlete's
         name or likeness. Such policies shall be made available for examination on request by an NCAA staff member or an
         authorized representative of the NCAA. (Adopted: 1/15/11 effective 8/1/11, Revised: 1/20/22)
   20.2.4.27 Athletics Diversity and Inclusion Designee. An active member institution shall designate an athletics
   diversity and inclusion designee to be the primary contact and conduit for diversity and inclusion-related information.
   (Adopted: 1/22/20 effective 8/1/20, Revised: 1/20/22)
   20.2.4.28 Degree Completion Program -- Basketball. [A] An active member institution shall provide a former
   basketball student-athlete with financial aid to complete the individual's first baccalaureate degree, pursuant to the
   requirements of Bylaw 15.01.5.2.1. (Adopted: 8/8/18 effective 8/1/19, Revised: 1/20/22)
20.2.5 Loss of Active Membership.
   20.2.5.1 Termination or Suspension. The membership of any active member failing to maintain the academic or
   athletics standards required for such membership or failing to meet the conditions and obligations of membership may be
   suspended, terminated or otherwise disciplined by a vote of two-thirds of the delegates present and voting at an annual
   Convention. Membership shall not be suspended or terminated unless: (Revised: 3/8/06, 1/20/22)
    (a) A notice of intention to suspend or terminate membership, stating the grounds on which such a motion will be based,
        is given in writing to the chair of the Board of Directors and to the president or chancellor of the member institution
        on or before the first day of November prior to the Convention;
    (b) The Board of Directors approves the notification of intention to move for suspension or termination; and
    (c) Such notice is included in the Official Notice of the annual Convention.
         20.2.5.1.1 Cessation of Rights and Privileges. All rights and privileges of the member shall cease upon any
         termination or suspension of active membership. (Revised: 1/20/22)
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    20.2.5.2 Removal of Accreditation. If an active member's accreditation is removed by its regional accrediting agency,
    it shall immediately forfeit its membership in the Association. (Revised: 1/15/11 effective 8/1/11, 1/20/22)
    20.2.5.3 Failure to Pay Dues. If an active member fails to pay its annual dues for one year, its membership shall be
    automatically terminated. (Revised: 1/20/22)
    20.2.5.4 Failure to Satisfy the Academic Performance Program. A member institution may be placed in a
    restricted membership category if the institution or its sports team(s) has failed to comply with the established requirements
    of the academic performance program. (See Bylaw 14.8.) (Revised: 4/29/04 effective 8/1/04, 1/15/11 effective 8/1/11,
    10/27/11 applicable to penalties assessed for the 2012-13 academic year and beyond, 1/20/22)
    20.2.5.5 Reinstatement of Terminated Member. Any active member whose membership has been terminated may
    have it reinstated by a two-thirds vote of the members present and voting at any annual Convention. (Revised: 1/20/22)
    20.2.5.6 Reinstatement of Suspended Member. Any active member whose membership has been suspended may be
    reinstated to good standing in accordance with the terms, if any, of the suspension action, or at any time after six months
    from the date of such suspension, by vote of a majority of the Board of Directors or by vote of the majority of the members
    present and voting at any annual Convention. (Revised: 1/20/22)
20.2.6 Discipline of Active Members. Disciplinary or corrective actions other than suspension or termination of
membership may be affected during the period between annual Conventions for violation of NCAA rules (see Bylaw 19).
(Revised: 7/31/14, 1/20/22)
    20.2.6.1 Restoration of Good Standing. Disciplined members shall resume good standing in accordance with the
    terms of the disciplinary action taken, or may be restored to good standing at any time by a hearing panel of the Committee
    on Infractions. Disciplined members also may be restored to good standing at the annual Convention, by vote of a majority
    of the members present and voting. (Revised: 8/18/18 effective 8/1/19, 12/20/18, 1/23/19 effective 8/1/19, 1/20/22, 8/31/22
    effective 1/1/23)
20.3 Member Conference.
20.3.1 Eligibility.
    20.3.1.1 Competitive and Legislative Body. A member conference shall be both a competitive and a legislative body
    on the conference level (see Bylaws 20.02.7 and 20.02.8). (Revised: 1/25/11 effective 8/1/11, 1/20/22)
    20.3.1.2 Conference Competition Requirement. Conference membership is available to duly elected athletics
    conferences of colleges and universities that conduct conference competition and determine a champion in one or more
    sports in which the Association conducts championships or for which it is responsible for providing playing rules for
    intercollegiate competition. (Revised: 1/15/11 effective 8/1/11, 1/20/22)
    20.3.1.3 Composition of Conference. Composition of Conference. All of the members of the conference shall be
    active members of Division I or be engaged in the reclassification process pursuant to Bylaw 20.8. (Revised: 1/11/94 effective
    9/2/94, 1/15/11 effective 8/1/11, 1/20/22)
20.3.2 Privileges.
    20.3.2.1 Privileges of Member Conferences. Member conferences shall be entitled to all of the privileges of active
    members except the right to compete as such in NCAA championships. (Revised: 2/24/21, 1/20/22)
    20.3.2.2 Voting Rights. Only those member conferences that meet the criteria of Bylaw 20.02.8 shall be permitted to
    vote on issues before the Association. (Revised: 1/15/11 effective 8/1/11, 1/20/22)
         20.3.2.2.1 Football Issues. Conference championship competition shall be conducted in football in order for the
         conference to vote on issues pertaining only to football. (Revised: 1/15/11 effective 8/1/11, 1/20/22)
    20.3.2.3 Use of Association's Registered Marks. Member conferences may use the registered marks of the
    Association (the Association's name, logo or other insignia) only in accordance with guidelines established by the Board of
    Governors. (Revised: 10/30/14, 1/20/22)
20.3.3 Election Procedures.
    20.3.3.1 Application. An athletics conference desiring to become a member conference shall make application on a form
    available from the national office by June 1 for membership effective August 1 of the following academic year. A check in
    the appropriate amount for annual dues (see Bylaw 20.9.2) shall accompany the application. Should the applicant fail
    election, the dues paid shall be refunded. (Revised: 4/25/02 effective 8/1/11, 1/20/22)



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   20.3.3.2 Election. An athletics conference may be elected as a member conference by a majority vote of the delegates
   present and voting at an annual Convention or by a majority vote of the Board of Directors, effective the following August
   1. (Revised: 4/25/02, 11/11/07 effective 8/1/08, 10/28/10, 1/15/11 effective 8/1/11, 1/20/22)
20.3.4 Conditions and Obligations of Membership.
   20.3.4.1 General. The member conferences of this Association agree to administer their athletics programs in accordance
   with the constitution, bylaws and other legislation of the Association. (Revised: 1/20/22)
   20.3.4.2 Equity, Diversity and Inclusion Review. An active member conference shall complete an equity, diversity
   and inclusion review of its internal policies, procedures and programming at least once every four years and provide written
   confirmation of completion to the national office. Failure to complete an equity, diversity and inclusion review at least once
   every four years shall subject a member conference to a penalty pursuant to a penalty structure and timeline maintained by
   the Strategic Vision and Planning Committee. (Adopted: 7/27/20 effective 8/1/20, Revised: 1/11/21, 1/20/22)
   20.3.4.3 Conference Competition. Member conferences shall conduct conference competition and determine a
   champion in one or more sports in which the Association conducts championships or for which it is responsible for
   providing playing rules for intercollegiate competition. (Revised: 1/20/22)
   20.3.4.4 Officiating. A multisport conference shall provide oversight of the officiating programs for selecting, training
   and assigning officials for its men's and women's basketball programs. (Adopted: 1/15/11 effective 8/1/11, Revised: 1/20/22)
   20.3.4.5 Compliance Program. A multisport conference shall have a comprehensive compliance program. (Adopted:
   1/15/11 effective 8/1/11, Revised: 1/20/22)
   20.3.4.6 Conference Student-Athlete Advisory Committee. Each conference shall establish a student-athlete
   advisory committee for its member institutions' student-athletes. The composition and duties of the committee shall be
   determined by the conference. The committee must: (Adopted: 10/27/98 effective 8/1/99, Revised: 1/20/22, 4/13/23 effective
   8/1/23)
    (a) Appoint an executive team that, at a minimum, includes a chair and vice chair;
    (b) Be directly overseen by a senior conference administrator; and
    (c) Be provided at least two opportunities annually for at least two student-athlete representatives (e.g., SAAC leadership)
        to engage with relevant operational-level conference committees to discuss and exchange feedback on student-athlete
        initiatives, legislation, championships, and other student-athlete-related topics. The conference has the discretion to
        determine the specific committees that will engage with the student-athletes, but must include at least one group.
   20.3.4.7 Conference Committees on Student-Athlete Issues. A conference committee or ad hoc group established
   to address issues that directly impact student-athletes must include at least one student-athlete as an active member.
   (Adopted: 4/13/23 effective 8/1/23)
   20.3.4.8 Sport-Specific Student-Athlete Engagement or Advocacy Groups. If a conference has sport-specific
   student-athlete engagement or advocacy groups, a conference coaches group must meet at least once annually with at least
   two members of the corresponding student-athlete engagement or advocacy group. (Adopted: 4/13/23 effective 8/1/23)
   20.3.4.9 Use of a Student-Athlete's Name or Likeness.
         20.3.4.9.1 Contracts and Commercial Agreements. For agreements that may involve the use of a student-
         athlete's name or likeness, a conference shall include language in all licensing, marketing, sponsorship, advertising,
         broadcast and other commercial agreements that outlines the commercial entity's obligation to comply with relevant
         NCAA legislation, interpretations and policies on the use of a student-athlete's name or likeness. (Adopted: 1/15/11
         effective 8/1/11, Revised: 1/20/22)
         20.3.4.9.2 Written Policies. A conference shall maintain written policies for its licensing, marketing, sponsorship,
         advertising, broadcast and other commercial agreements that may involve the use of a student-athlete's name or
         likeness. Such policies shall be made available for examination on request by an NCAA staff member or an authorized
         representative of the NCAA. (Adopted: 1/15/11 effective 8/1/11, Revised: 1/20/22)
   20.3.4.10 Academic Performance Program. A conference shall maintain a written policy regarding teams that are
   subject to a postseason restriction pursuant to the academic performance program (see Bylaw 14.8) with respect to the
   conference's automatic qualification for postseason/championships and revenue distribution. The policy shall be made
   available for examination upon request by an NCAA staff member or an authorized representative of the NCAA. (Adopted:
   10/27/11 effective 8/1/12 applicable to postseason competition occurring on or after 8/1/12, Revised: 1/20/22)



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    20.3.4.11 Athletics Diversity and Inclusion Designee. An active member conference shall designate an athletics
    diversity and inclusion designee to be the primary contact and conduit for diversity and inclusion-related information.
    (Adopted: 1/22/20 effective 8/1/20, Revised: 1/20/22)
20.3.5 Loss of Member Conference Status.
    20.3.5.1 Termination or Suspension. The membership of any member conference failing to maintain the academic or
    athletics standards required for membership or failing to meet the conditions and obligations of membership may be
    suspended or terminated or the member conference otherwise disciplined by a vote of two-thirds of the delegates present
    and voting at an annual Convention. Membership shall not be suspended or terminated unless: (Revised: 3/8/06, 1/20/22)
     (a) Notice of intention to suspend or terminate membership, stating the grounds on which such motion will be based, is
         given in writing to the secretary of this Association and to the president or chancellor of the member conference on or
         before the first day of November prior to the Convention;
     (b) The Board of Directors approves the notification of intention to move for suspension or termination; and
     (c) Such notice is included in the Official Notice of the annual Convention.
         20.3.5.1.1 Cessation of Rights and Privileges. All rights and privileges of the member shall cease upon any
         termination or suspension of conference membership. (Revised: 1/20/22)
    20.3.5.2 Failure to Pay Dues. If a member conference fails to pay its annual dues for one year, its membership shall be
    automatically terminated. (Revised: 1/20/22)
    20.3.5.3 Reinstatement of Terminated Member. Any member conference whose membership has been terminated
    (see Bylaw 20.3.5.1) may have it reinstated by a two-thirds vote of the members present and voting at any annual
    Convention. (Revised: 1/20/22)
    20.3.5.4 Reinstatement of Suspended Member. Any member conference whose membership has been suspended
    may be reinstated to good standing in accordance with the terms, if any, of the suspension action, or at any time after six
    months from the date of such suspension, by vote of a majority of the Board of Directors or by vote of the majority of the
    members present and voting at any annual Convention. (Revised: 1/20/22)
20.3.6 Discipline of Member Conferences. Disciplinary or corrective actions other than suspension or termination of
membership may be affected during the period between annual Conventions for violation of NCAA rules (see Bylaw 19).
(Revised: 7/31/14, 1/20/22)
    20.3.6.1 Restoration of Good Standing. Disciplined members shall resume good standing under the terms of
    disciplinary action taken or, at the annual Convention, by majority vote of the members present and voting. (Revised:
    10/31/12 effective 8/1/13, 1/20/22)
20.4 Dues of Members.
20.4.1 Determination of Dues. The annual dues of the various classes of membership shall be recommended to the
membership by the Board of Governors. (Revised: 1/10/90, 12/5/06, 10/30/14, 1/20/22)
20.4.2 Current Annual Dues. The annual dues for various classes of membership shall be:
Active Members                               $1,800.00
Member Conferences                           $900.00
(Revised: 6/26/19 effective 8/1/19, 1/20/22)
20.4.3 Payment Deadline. Dues are payable September 1 of each year. A member shall not be permitted to vote at a
Convention of the Association if its dues are not paid for that year. To be eligible to compete in NCAA championships, dues
shall be paid in accordance with Bylaw 31.2.1.2. Membership is terminated if a member fails to pay dues for one year (see
Bylaws 20.5.5.3 and 20.3.5.2). (Revised: 1/20/22)
20.5 Establishment of and Compliance With Division Criteria.
20.5.1 Adoption of Criteria. The members of the division, through the legislative process, may establish division criteria
for membership and competition by sport.
20.5.2 Effective Date and Compliance Period. In establishing criteria, the members of the division shall specify the
effective date and compliance period, if any. Each institution (either as a member of that division or as an institution that
competes in a sport in that division under the provisions of multidivision classification per Bylaw 20.6) shall conform to the
requirements of the criteria by that effective date or by the end of the compliance period, whichever is later.


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    20.5.2.1 Deadline for Meeting Performance Criterion. An institution must comply with any specific performance
    criterion adopted by the membership of its division (e.g., that the institution sponsor a minimum number of sports,
    schedule and play a specific percentage or number of contests against opponents of a certain division, or demonstrate a
    specific level of paid attendance) by the end of the academic year prior to the effective date of the legislation.
20.5.3 Failure to Conform by Effective Date. If an institution has not conformed to the adopted criteria of its division
by the effective date or the end of the prescribed compliance period, the institution’s membership (or its sport per Bylaw 20.6)
shall be reassigned to a division for which it qualifies. If the member (or its sport per Bylaw 20.6) does not qualify for any
division, the institution (or its sport per Bylaw 20.6) shall be reclassified in accordance with Bylaw 20.5.5.
20.5.4 Continuation of Compliance. To retain division membership or approved multidivision classification (per Bylaw
20.6), each member institution shall continue to meet division criteria when any grace period expires. If an institution fails to
remain in compliance with its division’s criteria, the institution’s membership (or its sport per Bylaw 20.6) shall be reassigned to
a division for which it qualifies. If the member (or its sport per Bylaw 20.6) does not qualify for any division, the institution
shall be reclassified in accordance with Bylaw 20.5.5 and also shall be subject to the Association’s infractions process. (Revised:
7/31/14)
20.5.5 Noncompliance and Waivers of Division Criteria.
    20.5.5.1 Restricted Membership.
         20.5.5.1.1 Minimum One-Year Compliance Period. If an institution (or its sport per Bylaw 20.6) does not
         qualify for membership in any division, the institution (or its sport per Bylaw 20.6) may be placed in a restricted
         membership category for a minimum of one year. At the conclusion of the minimum one-year period, the institution
         automatically shall be granted membership in its preferred division, provided the institution complies with the
         division's criteria. If the institution does not meet the criteria of any division at the end of the restricted membership
         period, the institution shall forfeit its membership in the Association. (Revised: 1/15/11 effective 8/1/11)
         20.5.5.1.2 Failure to Meet Minimum Sports Sponsorship Criteria.
              20.5.5.1.2.1 One-Year Probationary Period. An institution that fails to meet either the minimum men's or
              women's sports sponsorship criterion for its division shall be placed on probation for one year for its entire
              program (both men's and women's sports) in the next academic year after noncompliance with sports sponsorship
              requirements is discovered. An institution shall be afforded the one-year probationary period for failure to comply
              with sports sponsorship criteria only once in every 10-year period. The 10-year period shall begin the September 1
              following completion of the academic year in which the membership criterion is not met. (Revised: 1/11/89)
              20.5.5.1.2.2 Application of Restricted Membership Status. If an institution fails to meet the sports
              sponsorship criterion at the end of the probationary year or is ineligible for the once-in-10-year probationary
              period, it shall be placed in restricted membership and shall not be eligible for NCAA championship competition
              in all sports (both men's and women's) in the first academic year after the probationary year (or the first academic
              year after failure to meet the requirements if the institution is ineligible for the once-in-10-year probationary
              period). If the institution still cannot certify compliance with the division criterion at the end of that year, it shall
              forfeit its membership in the Association. (Revised: 1/11/89, 1/15/11 effective 8/1/11)
         20.5.5.1.3 Failure to Meet Division Scheduling Requirement. An institution that fails to meet the division
         scheduling requirement in a sport shall be placed in the restricted membership category in that sport, with men's and
         women's teams in the same sport treated separately. The sport shall be in the restricted membership category for not
         longer than a three-year period.
         20.5.5.1.4 Failure to Meet Financial Aid Minimums. An institution that fails to meet the financial aid
         minimums shall be placed in the restricted membership category for a period of one year. (Adopted: 11/1/00 effective
         8/1/01)
         20.5.5.1.5 Voting Privileges and Eligibility for Championships. The institution shall identify its preferred
         division and, during the period of restricted membership, shall be:
          (a) In compliance to the greatest extent possible with that division's scheduling criteria;
          (b) Bound by all other applicable rules of the Association;
          (c) Permitted to vote only on dominant issues, unless the restricted membership status is in one sport, in which case its
              loss of voting privileges shall apply only to that sport; and
          (d) Ineligible for NCAA championships and postseason football contests, unless the restricted membership status is in
              one sport, in which case loss of eligibility for championships and postseason football contests shall apply only to
              that sport.
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         20.5.5.1.6 Division Members Counting a Restricted Opponent. During the period of its restricted
         membership, an institution may be counted by its classified opponents as a member of the restricted institution's
         desired division for purposes of the opponents' meeting their division's scheduling criteria; however, a restricted
         member shall not count another restricted member for such purposes.
             20.5.5.1.6.1 Restricted Members Counting a Restricted Opponent. A contest between two institutions
             in restricted membership status in a sport shall not be counted as a contest by either institution for purposes of the
             scheduling criterion in the sport in which they are restricted, provided this exception is not applied to more than
             25 percent of an institution's contests in the sport in question for any particular season.
         20.5.5.1.7 No Voluntary Selection of Restricted Membership Category. Restricted membership status is
         imposed only when an institution has failed to comply with division membership criteria. An institution is not
         permitted to select voluntarily or to request that it be placed in the restricted membership category.
         20.5.5.1.8 Removal of Restricted Membership Status. When an institution that has been placed in restricted
         membership status wishes to return to its original membership division, it shall meet the criteria that were in effect at
         the time it became restricted or that have become effective since that time. If a restricted institution wishes to move to a
         different membership division, it is considered a petitioner for change of division membership per Bylaw 20.7 and
         would be required to meet all of the new division's criteria at the time the institution leaves restricted status.
   20.5.5.2 Loss of Membership.
         20.5.5.2.1 Failure to Meet Three-Season Requirement. If an active member no longer meets the three-season
         requirement for either men or women, it shall immediately forfeit its membership in the Association. (Revised: 5/8/06,
         1/15/11 effective 8/1/11)
   20.5.5.3 Waivers of Division I Membership Criteria. The Strategic Vision and Planning Committee, by a two-thirds
   majority of its members present and voting, may grant waivers of the Division I membership criteria according to the
   procedures specified below. (Revised: 1/11/94 effective 9/2/94, 4/24/03 effective 8/1/03, 11/1/07 effective 8/1/08, 8/7/14,
   10/4/17)
         20.5.5.3.1 Submission of Request. The institution shall submit its written request for a waiver to the Strategic
         Vision and Planning Committee, and it shall be received in the national office not later than September 15. The
         request shall be signed by the institution's president or chancellor and shall include pertinent information supporting
         the institution's request. The committee, by a two-thirds majority of its members present and voting, may waive the
         September 15 deadline due to circumstances beyond an institution's control. (Revised: 1/19/96, 4/24/03 effective 8/1/03,
         3/8/06, 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
         20.5.5.3.2 Effective Date of Waiver. If the division votes to admit the institution as a member of that division,
         such classification shall become effective: (Adopted: 1/11/89, Revised: 1/10/90, 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
         (a) In accordance with the requirements of Bylaw 20.2.3.3 if a new member of the Association is involved;
         (b) September 1 following the Strategic Vision and Planning Committee action if an active member institution is
             seeking multidivision classification or change of division membership; or
         (c) Immediately if the institution receives a waiver of the restricted membership classification.
             20.5.5.3.2.1 Maximum Three-Year Waiver Period. If after three years from the effective date of
             multidivision classification or reclassification (September 1 following the Strategic Vision and Planning
             Committee action) the institution receiving such a waiver has not conformed to all adopted criteria of the division,
             the institution's membership (or its sport per Bylaw 20.6): (Revised: 1/11/94 effective 9/2/94, 11/1/07 effective
             8/1/08, 8/7/14, 10/4/17)
              (a) Shall be assigned to a division for which it qualifies in accordance with Bylaw 20.7.1.1; or
              (b) Shall be placed in the restricted membership category for a minimum of one year in accordance with Bylaw
                  20.5.5.1 if the member (or its sport per Bylaw 20.6) does not qualify for any division.
             20.5.5.3.2.2 Eligibility for Championships. The institution receiving such a waiver shall be accorded all
             privileges of division membership during this waiver period; however, its eligibility for championships shall require
             compliance with the institutional eligibility requirements of Bylaw 20.6.3 or 20.7.3.
         20.5.5.3.3 Rejection of Waiver Request. If the Strategic Vision and Planning Committee votes to reject the
         institution's request, the institution's membership (or its sport per Bylaw 20.6): (Adopted: 4/24/03 effective 8/1/03,
         Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
         (a) Shall be reassigned to a division for which it qualifies;

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          (b) Shall be placed in the restricted membership category, if it does not qualify for any division (see Bylaw 20.5.5.1);
              or
          (c) Shall be required to repeat the membership process.
20.6 Multidivision Classification/Reclassification of Football Subdivision.
20.6.1 Multidivision Classification. A member of Division II or Division III may have a sport classified in Division I,
provided the sport was so classified during the 2010-11 academic year. Such a classification shall continue until the institution
fails to conduct the sport in Division I in any subsequent academic year. (Revised: 8/9/07, 1/15/11 effective 8/1/11)
    20.6.1.1 Reclassification of a Sport of the Opposite Gender. A member of Division II or Division III that had one
    sport classified in Division I during the 2010-11 academic year may petition to have one sport of the opposite gender, other
    than football or basketball, classified in Division I, provided the original sport remains classified in Division I. (Adopted:
    10/27/11 process to begin with applications received by 6/1/12)
         20.6.1.1.1 Notification/Application Requirement. An institution's chancellor or president shall submit to the
         national office written notice of the institution's intention to reclassify and a completed application. The notice and
         application shall be received in the national office (by mail or electronic transmission) not later than June 1 two years
         prior to August 1 of the year the institution intends to reclassify the applicable sport. Any form received after June 1
         shall be postmarked not later than May 25. The notice and application shall be accompanied by a $10,000 fee and a
         strategic plan that addresses the Division I philosophy statement (see Bylaw 20.10.2) and the requirements set forth by
         the Strategic Vision and Planning Committee. If the institution fails to meet the requirements of reclassification, the
         application fee shall be refunded, less any expenditure for educational costs related to the reclassification process.
         (Adopted: 10/27/11 process to begin with applications received by 6/1/12, Revised: 1/19/13, 8/7/14, 10/5/16)
         20.6.1.1.2 Compliance With Criteria. The Strategic Vision and Planning Committee shall monitor the
         institution's progress and compliance with the criteria of the reclassification process. The committee shall have the
         authority to deny advancement to the next year of the process if it determines that deficiencies warrant a requirement
         that the institution repeat the first year. If the institution meets all applicable division membership criteria of this article
         (other than scheduling requirements during the first year of reclassification) and complies for the two years preceding
         June 1 of the year the institution intends to reclassify the applicable sport with all other bylaw requirements as they
         pertain to the sport in question, the committee shall refer the institution's request for participation in the division in
         that sport to the Board of Directors for election effective August 1 of the year that the institution selects as its effective
         date. (Adopted: 10/27/11 process to begin with applications received by 6/1/12, Revised: 7/22/13, 8/7/14, 10/6/17)
         20.6.1.1.3 Reclassification Requirements.
             20.6.1.1.3.1 First Year. During the first year of reclassification, an institution shall satisfy the following
             requirements: (Adopted: 10/27/11 process to begin with applications received by 6/1/12, Revised: 8/7/14, 10/4/17)
              (a) Attend an orientation session conducted by the national office staff related to the application of Division I
                  membership requirements. Institutional representatives required to attend the orientation session are the
                  chancellor or president (or an individual appointed by the chancellor or president with executive status at the
                  institution), the director of athletics representative and the senior compliance administrator;
              (b) Submit an annual report and updated strategic plan by June 1 at the end of the first academic year based on
                  feedback received from the previous year's report; and
              (c) Report all violations as part of the required annual report.
             20.6.1.1.3.2 Second Year. During the second year of reclassification, an institution shall satisfy the following
             requirements: (Adopted: 10/27/11 process to begin with applications received by 6/1/12, Revised: 8/7/14, 10/6/17)
              (a) Full compliance with all Division I legislation and membership requirements; and
              (b) Submit an annual report and updated strategic plan confirming compliance with all Division I legislation and
                  membership requirements; and
              (c) Report all violations as part of the required annual report.
             20.6.1.1.3.3 Compliance Review Requirement. The institution must engage in a compliance review (at the
             institution's expense) during the multidivision reclassification period. The review must be conducted by an
             authority outside the athletics department (e.g., multisport conference, outside consultant), subject to approval by
             the Strategic Vision and Planning Committee. A copy of the report must be submitted to the Strategic Vision and
             Planning Committee. (Adopted: 10/27/11 process to begin with applications received by 6/1/12, Revised: 8/7/14,
             10/4/17, 1/23/19)

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20.6.2 Football Subdivision Reclassification Options. A member of Division I may petition to be classified in
football in the Football Bowl Subdivision or the Football Championship Subdivision. (Adopted: 1/15/11 effective 8/1/11)
    20.6.2.1 Reclassification from Football Championship Subdivision to Football Bowl Subdivision.
         20.6.2.1.1 Eligibility for Reclassification. Before a Football Championship Subdivision institution may apply for
         reclassification to the Football Bowl Subdivision, the institution must receive a bona fide invitation for membership
         from a Football Bowl Subdivision conference or a conference that previously met the definition of a Football Bowl
         Subdivision conference (see Bylaw 20.02.9). (Adopted: 1/15/11 effective 8/1/11)
         20.6.2.1.2 Notification/Application Requirement. The chancellor or president from a Football Championship
         Subdivision institution that intends to petition for reclassification to the Football Bowl Subdivision, per Bylaw 20.6.2,
         shall submit to the national office written notice of the institution's intention to reclassify and a completed application.
         The notice and application shall be received in the national office (by mail or electronic transmission) not later than
         June 1 two years prior to the August 1 when the institution intends to reclassify to the Football Bowl Subdivision. Any
         form received after June 1 shall be postmarked not later than May 25. The notice and application shall be accompanied
         by a $5,000 fee and a strategic plan that addresses the Division I philosophy statement (see Bylaw 20.10.2) and any
         requirements set forth by the Strategic Vision and Planning Committee. If the institution fails to qualify for
         membership in the Football Bowl Subdivision, the application fee shall be refunded, less any expenditure for
         educational costs related to the reclassification process. (Adopted: 4/28/05, Revised: 3/8/06, 12/15/06, 1/15/11 effective
         8/1/11, 1/19/13, 8/7/14, 10/5/16)
         20.6.2.1.3 Compliance with Criteria. The Strategic Vision and Planning Committee shall monitor the
         institution's progress and compliance with the criteria of the reclassification process. The committee shall have the
         authority to deny advancement to the next year of the process if it determines that deficiencies warrant a requirement
         that the institution repeat the first year. If the member has met all applicable division membership criteria of this article
         (other than scheduling requirements during the first year of reclassification) and has complied for the two years
         preceding June 1 with all other bylaw requirements as they pertain to the Football Bowl Subdivision, the committee
         shall refer the institution's request for participation in the Football Bowl Subdivision to the Board of Directors for
         election effective August 1 of the year that the institution selects as its effective date. (Revised: 1/10/90, 4/25/02 effective
         8/1/02, 1/15/11 effective 8/1/11, 7/22/13, 8/7/14, 10/4/17)
         20.6.2.1.4 Reclassification Requirements.
             20.6.2.1.4.1 First Year. During the first year of reclassification, an institution shall satisfy the following
             requirements: (Adopted: 1/8/07, Revised: 11/1/07 effective 8/1/08, 1/14/08 effective 8/1/08, 1/15/11 effective 8/1/11,
             8/7/14, 10/4/17)
              (a) Attend an orientation session conducted by the national office staff related to the application of Football Bowl
                  Subdivision membership requirements. Institutional representatives required to attend the orientation session
                  are the chancellor or president (or an individual appointed by the chancellor or president with executive status
                  at the institution), the director of athletics representative and the senior compliance administrator;
              (b) Submit an annual report and updated strategic plan by June 1 at the end of the first academic year based on
                  feedback received from the previous year's report; and
              (c) Report all violations as part of the required annual report.
             20.6.2.1.4.2 Second Year. During the second year of reclassification, an institution shall satisfy the following
             requirements: (Adopted: 1/14/08 effective 8/1/08, Revised: 1/15/11 effective 8/1/11, 8/7/14, 10/4/17)
              (a) Full compliance with all Football Bowl Subdivision legislation and membership requirements;
              (b) Submit an annual report and updated strategic plan confirming compliance with all Football Bowl
                 Subdivision legislation and membership requirements; and
              (c) Report all violations as part of the required annual report.
             20.6.2.1.4.3 Compliance Review Requirement. The institution must engage in a compliance review (at the
             institution's expense) during the reclassification period. The review must be conducted by an authority outside the
             athletics department (e.g., multisport conference, outside consultant), subject to approval by the Strategic Vision
             and Planning Committee. A copy of the report must be submitted to the Strategic Vision and Planning
             Committee. (Adopted: 1/14/08 effective 8/1/08, Revised: 1/15/11 effective 8/1/11, 8/7/14, 10/4/17, 1/23/19)
         20.6.2.1.5 Waivers. The Council, by a two-thirds majority of its members present and voting, may grant waivers of
         the requirements for reclassification from the Football Championship Subdivision to the Football Bowl Subdivision.
         (Adopted: 4/25/18)
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20.6.3 Championships Eligibility. A member of Division I that has forwarded to the national office written notice of its
intention to change its football membership classification from Championship Subdivision to Bowl Subdivision per Bylaw
20.6.2.1 no longer shall be eligible for participation in the Division I Football Championship. (Adopted: 4/26/01 effective 8/1/01,
Revised: 12/15/06)
20.6.4 Compliance Review Requirement. At least once every four years, an active multidivisional institution must
engage in a compliance review (at the institution's expense) conducted by an authority outside the athletics department (e.g.,
Division I multisport conference, outside consultant), subject to approval by the Strategic Vision and Planning Committee. A
copy of the report of the compliance review must be submitted to the Strategic Vision and Planning Committee. (Adopted:
1/14/08 effective 8/1/08, Revised: 8/7/14, 10/4/17, 1/23/19)
    20.6.4.1 Failure to Meet Deadline. A multidivisional institution that fails to complete a compliance review and submit
    a copy of the report to the Strategic Vision and Planning Committee by the end of each four-year period shall be subject to
    a penalty pursuant to a penalty structure and timeline maintained by the Strategic Vision and Planning Committee.
    (Adopted: 10/27/11, Revised: 8/7/14, 10/4/17, 1/22/20 effective 8/1/20)
20.7 Change of Division Membership.
20.7.1 Eligibility for Reclassification.
    20.7.1.1 Division II Member. A member of Division II may petition to change its membership to Division I subject to
    the following prerequisites: (Revised: 1/15/11 effective 8/1/11, 4/28/21 effective 6/1/21)
     (a) The institution shall have been an active Division II member for the preceding five years;
     (b) The institution shall be in compliance with all Division I minimum sports sponsorship and financial aid membership
         requirements; and
     (c) The institution shall have received a bona fide offer of membership from an active Division I multisport conference.
    20.7.1.2 Division III Member.
         20.7.1.2.1 Pre-Application Process. Before a member of Division III may submit an application to change its
         membership status to Division I, the institution must successfully complete a pre-application process of not less than
         one year. The pre-application process shall include, but is not limited to, a feasibility study and the development of a
         strategic plan and policies and procedures that demonstrate the institution’s commitment to Division I membership.
         The Strategic Vision and Planning Committee shall determine whether an institution has satisfied the requirements of
         the pre-application process and is prepared to submit an application for reclassification to Division I. (Adopted: 4/28/21
         effective 6/1/21)
         20.7.1.2.2 Application for Reclassification. A member of Division III may petition to change its membership to
         Division I after the Strategic Vision and Planning Committee has determined the institution has satisfied the
         requirements of the pre-application process. The Division III member’s reclassification application is subject to the
         following prerequisites: (Adopted: 4/28/21 effective 6/1/21)
          (a) The institution shall have been an active Division III member for the preceding five years;
          (b) The institution shall be in compliance with all Division I minimum sports sponsorship requirements and shall
              demonstrate an intent to comply with minimum Division I financial aid membership requirements during the
              first year of the reclassification process;
          (c) The institution shall have received a bona fide offer of membership from an active Division I multisport
              conference.
20.7.3 Requesting Reclassification. In order to petition to change its membership to Division I, the institution and its
sponsoring conference shall complete an application and submit it to the Strategic Vision and Planning Committee on a form
approved by the committee. (Revised: 1/15/11 effective 8/1/11, 8/7/14, 10/4/17)
    20.7.3.1 Deadline for Submission of Application. The application shall be received in the national office (by mail or
    electronic transmission) not later than June 1 prior to the academic year in which the institution is seeking to begin its first
    year of the reclassification process. Any application received after that date shall be postmarked not later than May 25.
    (Revised: 1/15/11 effective 8/1/11)
    20.7.3.2 Application Fee. A fee shall accompany the application. The amount of the fee shall be determined each year
    based on the estimated annual average value of direct benefits through distributions and championships made available to
    Division I members. If an institution withdraws from the reclassification process, the application fee shall be refunded to
    the institution on a prorated basis -- 75 percent through year one, 50 percent through year two, 30 percent through year
    three and no refund thereafter. (Adopted: 1/15/11 effective 8/1/11)
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   20.7.3.3 Initial Strategic Plan. The institution's application shall include an initial strategic plan that addresses the
   Division I philosophy statement (see Bylaw 20.10.2) and the requirements set forth by the Strategic Vision and Planning
   Committee. The initial strategic plan must be approved by the sponsoring conference. (Adopted: 1/15/11 effective 8/1/11,
   Revised: 1/19/13, 8/7/14, 10/5/16)
   20.7.3.4 Notification of Infractions Matters. The institution's application shall include notification whether it is, at
   the time of application, involved in an investigation of potential rules violations, an infractions case or is on probation for
   rules violations. (Adopted: 1/15/11 effective 8/1/11)
   20.7.3.5 Compliance With Criteria. The Strategic Vision and Planning Committee shall monitor the institution's
   progress and compliance with the criteria of the reclassification process. The committee shall have the authority to deny
   advancement to the next year of the process if it determines that deficiencies warrant a requirement that the institution
   repeat a particular year. If the institution has met the reclassification criteria of this article and has complied for the four
   years preceding June 1 with all other requirements set forth in this bylaw, the committee shall refer the institution's request
   for active Division I membership to the Board of Directors for election effective August 1 following such election. However,
   the committee may deny referral of a reclassifying institution to the Board of Directors for advancement to active Division I
   status if any of the institution's sport programs are subject to penalties pursuant to the Division I Academic Performance
   Program. An institution shall not be elected to active membership in Division I if it is subject to an Academic Performance
   Program penalty. (Revised: 1/10/90, 4/25/02 effective 8/1/02, 1/17/09 effective 8/1/09 applicable to institutions in the
   provisional or reclassifying processes as of 8/1/09 and those beginning either process on or after 8/1/09, 10/28/10, 1/15/11 effective
   8/1/11, 8/7/14, 10/4/17)
         20.7.3.5.1 First Year. During the first year of reclassification, an institution shall satisfy the following requirements:
         (Adopted: 4/25/02 effective 8/1/02, Revised: 3/10/04, 1/15/11 effective 8/1/11, 1/19/13, 7/31/14, 8/7/14, 10/5/16,
         10/4/17)
         (a) Attendance at an orientation session conducted by the national office staff related to basic Division I operating
             rules and membership requirements. Institutional representatives required to attend are the chancellor or president
             (or an individual appointed by the chancellor or president with executive status at the institution), the director of
             athletics, the senior woman administrator, the faculty athletics representative and the senior compliance
             administrator;
         (b) Attendance at the NCAA Convention Division I issues forum and business session. Institutional representatives
             required to attend are the chancellor or president (or an individual appointed by the chancellor or president with
             executive status at the institution), the director of athletics, the senior woman administrator, the faculty athletics
             representative and the senior compliance administrator;
         (c) Attendance at the Regional Rules Seminar conducted by the NCAA. Institutional representatives required to
             attend are the chancellor or president (or an individual appointed by the chancellor or president with executive
             status at the institution), the director of athletics, the senior woman administrator, the faculty athletics
             representative and the senior compliance administrator;
         (d) Apply all Division I legislation, except scheduling requirements and continuing eligibility requirements (e.g.,
             progress-toward-degree, five-year rule) for student-athletes who are completing their final season of competition
             and were enrolled at the institution at least one year prior to the institution entering year one of the reclassification
             process;
         (e) Completion of an NCAA self-study program as established by the Strategic Vision and Planning Committee;
         (f) Process institutional and individual student-athlete violations of Division I legislation through Division I
             infractions and student-athlete reinstatement processes. The institution shall be subject to any and all sanctions for
             violations of Division I legislation; and
         (g) Submit an annual report and a strategic plan by June 1. The institution shall report all violations as part of the
             annual report and provide notice whether it is involved in an investigation of potential rules violations, an
             infractions case or is on probation for rules violations.
         20.7.3.5.2 Second Year. During the second year of reclassification, an institution shall satisfy the following
         requirements: (Adopted: 4/25/02 effective 8/1/02, Revised: 1/15/11 effective 8/1/11, 7/31/14, 8/7/14, 10/4/17)
         (a) Full compliance with all Division I legislation and membership requirements;
         (b) Attendance at the NCAA Convention Division I issues forum and business session. Institutional representatives
             required to attend are the chancellor or president (or an individual appointed by the chancellor or president with


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             executive status at the institution), the director of athletics, the senior woman administrator, the faculty athletics
             representative and the senior compliance administrator.
         (c) Attendance at a Regional Rules Seminar conducted by the NCAA. Institutional representatives required to attend
             are the chancellor or president (or an individual appointed by the chancellor or president with executive status at
             the institution), the director of athletics, the senior woman administrator, the faculty athletics representative and
             the senior compliance administrator;
         (d) Completion of a compliance review conducted by the national office and submission of a report with an
             institutional response to the findings and recommendations;
         (e) Process institutional and individual student-athlete violations of Division I legislation through the Division I
             infractions and student-athlete reinstatement processes. The institution shall be subject to any and all sanctions for
             violations of Division I legislation; and
         (f) Submit an annual report and an updated strategic plan by June 1 based on feedback related to the previous year's
             plan. The institution shall report all violations as part of the annual report and provide notice whether it is
             involved in an investigation of potential rules violations, an infractions case or is on probation for rules violation.
         20.7.3.5.3 Third Year. During the third year of reclassification, an institution shall satisfy the following
         requirements: (Adopted: 4/25/02 effective 8/1/02, Revised: 1/15/11 effective 8/1/11, 1/19/13, 7/31/14, 8/7/14, 10/5/16,
         10/4/17)
         (a) Attendance at the NCAA Convention Division I issues forum and business session. Institutional representatives
             required to attend are the chancellor or president (or an individual appointed by the chancellor or president with
             executive status at the institution), the director of athletics, the senior woman administrator, the faculty athletics
             representative and the senior compliance administrator;
         (b) Attendance at a Regional Rules Seminar conducted by the NCAA. Institutional representatives required to attend
             are the chancellor or president (or an individual appointed by the chancellor or president with executive status at
             the institution), the director of athletics, the senior woman administrator, the faculty athletics representative and
             the senior compliance administrator;
         (c) Completion of an NCAA self-study program as established by the Strategic Vision and Planning Committee;
         (d) Process institutional and individual student-athlete violations of Division I legislation through Division I
             infractions and student-athlete reinstatement processes. The institution shall be subject to any and all sanctions for
             violations of Division I legislation; and
         (e) Submit an annual report and an updated strategic plan by June 1 based on feedback related to the previous year's
             plan. The institution shall report all violations as part of the annual report and provide notice whether it is
             involved in an investigation of potential rules violations, an infractions case or is on probation for rules violations.
         20.7.3.5.4 Fourth Year. During the fourth year of reclassification, an institution shall satisfy the following
         requirements: (Adopted: 4/25/02 effective 8/1/02, Revised: 1/15/11 effective 8/1/11, 1/19/13, 7/31/14, 8/7/14, 10/5/16,
         10/4/17)
         (a) Successfully complete an NCAA self-study program as established by the Strategic Vision and Planning
             Committee;
         (b) Attendance at the NCAA Convention Division I issues forum and business session. Institutional representatives
             required to attend are the chancellor or president (or an individual appointed by the chancellor or president with
             executive status at the institution), the director of athletics, the senior woman administrator, the faculty athletics
             representative and the senior compliance administrator;
         (c) Attendance at a Regional Rules Seminar conducted by the NCAA. Institutional representatives required to attend
             are the chancellor or president (or an individual appointed by the chancellor or president with executive status at
             the institution), the director of athletics, the senior woman administrator, the faculty athletics representative and
             the senior compliance administrator;
         (d) Process institutional and individual student-athlete violations of Division I legislation through the Division I
             infractions and student-athlete reinstatement processes. The institution shall be subject to any and all sanctions for
             violations of Division I legislation; and
         (e) Submit an annual report and an updated strategic plan by June 1 based on feedback related to the previous year's
             plan. The institution shall report all violations as part of the annual report and provide notice whether it is
             involved in an investigation of potential rules violations, an infractions case or is on probation for rules violations.

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20.7.4 Timing of Monetary Distributions. The institution shall qualify to begin receiving revenue distributions related
to sports sponsorship and grants-in-aid after its third academic year as an active Division I member. The institution shall qualify
to receive the Student Assistance Fund, Academic Enhancement Fund, Academic Performance Fund, Basketball Performance
Fund and Equal Conference Distribution Fund, as determined by its sponsoring conference, beginning with the first year of
active membership. (Adopted: 1/15/11 effective 8/1/11, Revised: 2/24/12, 10/25/13, 5/16/18, 1/23/19 effective 8/1/19)
20.7.5 Championships Eligibility. To be eligible for NCAA championships in Division I as of the effective August 1
following election to active membership, the institution shall comply with all championships eligibility requirements, as
prescribed by Bylaw 31, and otherwise shall be eligible for participation in those championships. In addition, a member of
Division I shall comply with the provisions of Bylaw 18.4.2. (Revised: 1/15/11 effective 8/1/11)
20.8 Division Legislation.
20.8.1 Applicable Legislation. A member institution shall observe the applicable legislation and requirements of its
membership division. However, if the institution is eligible to participate in a sport in Division I (see Bylaw 20.6 for
multidivision-classification privileges), it shall apply the rules of Division I that govern the sport in question. (Revised: 1/15/11
effective 8/1/11)
         20.8.1.1.1 Football Championship Subdivision Member Electing Football Bowl Subdivision
         Legislation. A Football Championship Subdivision member institution may elect to be governed by the legislation
         pertaining to the Football Bowl Subdivision, as follows: (Revised: 12/15/06)
          (a) The institution shall file a declaration of intent with the NCAA president. The declaration shall be received in the
              national office (by mail or electronic transmission) not later than June 1 preceding the applicable academic year.
              Any declaration received after that date shall be postmarked not later than May 25.
          (b) Once receipt of the declaration has been confirmed, the institution shall not be eligible for inclusion in
              championship subdivision football rankings or for consideration for the Division I Football Championship.
    20.8.1.2 Division III Application. A Division III member institution that has a sport classified in Division I may apply
    Division I rules in that sport except the institution must apply the Division III financial aid regulations of Bylaw 15 in the
    Division I sport. (Revised: 1/11/94, 2/7/20)
         20.8.1.2.1 Waivers. If a member institution conducts a men's or women's sport that was classified in Division I
         during the 1982-83 academic year, the Strategic Vision and Planning Committee, by a two-thirds majority of its
         members present and voting, may approve waivers of the application of the Division III regulations to such a sport.
         (Revised: 11/1/07 effective 8/1/08, 1/15/11 effective 8/1/11, 8/7/14, 10/4/17)
20.9 Eligibility for National Collegiate and Division Championships.
20.9.1 Eligibility for National Collegiate Championships. [#] Separate championships in each division are not
sponsored in the following sports: (Adopted: 4/24/03 effective 8/1/03, Revised: 1/15/11 effective 8/1/11, 10/30/14 effective 8/1/15,
7/31/15)
 Women's beach volleyball                   Women's gymnastics                                   Men's volleyball (Divisions I and II)
 Women's bowling                            Women's ice hockey (Divisions I and II)              Men's water polo
 Men's and women's fencing                  Men's and women's rifle                              Women's water polo
 Men's gymnastics                           Men's and women's skiing
An active member institution in good standing, regardless of division, is eligible for the National Collegiate Championships if a
division championship in the respective sport is not offered in its division. Such an institution is required to meet only the
institutional and individual eligibility requirements of its division that govern the sport in question.
20.9.2 Division II Options When No Division II Championship Is Conducted. An active member institution that
holds membership in Division II is eligible to compete in the Division I championship in those sports for which no
championship is conducted in Division II. The Division II institution shall declare its intention to compete by June 1. This
declaration of intent shall be effective for a minimum of three years. (Revised: 1/10/91 effective 9/1/92)
    20.9.2.1 Participation in Division I Championship. To be eligible for the Division I championship in such a sport,
    the Division II member institution is required to meet all Division I institutional and individual eligibility requirements
    and may use Division I financial aid limitations in that sport as permitted under Bylaw 20.10.1.1. (Revised: 1/10/91 effective
    9/1/92)
    20.9.2.2 Exception for Maximum Number of Contests or Dates of Competition. A Division II member
    institution that is eligible for a championship in another division because there is no championship in that sport in its

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    membership division shall apply the maximum number of contests or dates of competition in the sport involved that applies
    to the division in which it declares its intention to compete.
20.10 Division I Membership.
20.10.1 Commitments to the Division I Collegiate Model. In addition to the purposes and fundamental policy of the
National Collegiate Athletic Association, as set forth in the NCAA constitution, members of Division I support the following
commitments in the belief that these commitments assist in defining the nature and purposes of the division. These
commitments are not binding on member institutions, but serve as a guide for the preparation of legislation by the division and
for planning and implementation of programs by institutions and conferences. (Adopted: 1/19/13 effective 8/1/13)
    20.10.1.1 The Commitment to Value-Based Legislation. Bylaws proposed and enacted by member institutions
    governing the conduct of intercollegiate athletics shall be designed to foster competition in amateur athletics, promote the
    Association's enduring values and advance the Collegiate Model as set forth in the NCAA constitution. In some instances, a
    careful balancing of these values may be necessary to help achieve the purposes of the Association. (Adopted: 1/19/13 effective
    8/1/13)
    20.10.1.2 The Commitment to Amateurism. Member institutions shall conduct their athletics programs for students
    who choose to participate in intercollegiate athletics as a part of their educational experience and in accordance with NCAA
    bylaws, thus maintaining a line of demarcation between student-athletes who participate in the Collegiate Model and
    athletes competing in the professional model. (Adopted: 1/19/13 effective 8/1/13)
    20.10.1.3 The Commitment to Fair Competition. Bylaws shall be designed to promote the opportunity for
    institutions and eligible student-athletes to engage in fair competition. This commitment requires that all member
    institutions compete within the framework of the Collegiate Model of athletics in which athletics competition is an integral
    part of the student-athlete's effort to acquire a degree in higher education. The commitment to fair competition
    acknowledges that variability will exist among members, including facilities, geographic locations and resources, and that
    such variability should not be justification for future legislation. Areas affecting fair competition include, but are not limited
    to, personnel, eligibility and amateurism, recruiting, financial aid, the length of playing and practice seasons, and the
    number of institutional competitions per sport. (Adopted: 1/19/13 effective 8/1/13)
    20.10.1.4 The Commitment to Integrity and Sportsmanship. It is the responsibility of each member institution to
    conduct its athletics programs and manage its staff members, representatives and student-athletes in a manner that
    promotes the ideals of higher education and the integrity of intercollegiate athletics. Member institutions are committed to
    encouraging behavior that advances the interests of the Association, its membership and the Collegiate Model of athletics.
    All individuals associated with intercollegiate athletics programs and events should adhere to such fundamental values as
    respect, fairness, civility, honesty, responsibility, academic integrity and ethical conduct. These values should be manifest
    not only in athletics participation, but also in the broad spectrum of activities affecting the athletics programs. (Adopted:
    1/19/13 effective 8/1/13)
    20.10.1.5 The Commitment to Institutional Control and Compliance. It is the responsibility of each member
    institution to monitor and control its athletics programs, staff members, representatives and student-athletes to ensure
    compliance with the constitution and bylaws of the Association. Responsibility for maintaining institutional control
    ultimately rests with the institution's campus president or chancellor. It is also the responsibility of each member institution
    to report all breaches of conduct established by these bylaws to the Association in a timely manner and cooperate with the
    Association's infractions process. Upon a conclusion that one or more violations occurred, an institution shall be subject to
    such disciplinary and corrective actions as may be prescribed by the Association on behalf of the entire membership.
    (Adopted: 1/19/13 effective 8/1/13, Revised: 7/31/14)
    20.10.1.6 The Commitment to Student-Athlete Well-Being. Intercollegiate athletics programs shall be conducted
    in a manner designed to enhance the well-being of student-athletes who choose to participate and to prevent undue
    commercial or other influences that may interfere with their scholastic, athletics or related interests. The time required of
    student-athletes for participation in intercollegiate athletics shall be regulated to minimize interference with their academic
    pursuits. It is the responsibility of each member institution to establish and maintain an environment in which student-
    athletes' activities, in all sports, are conducted to encourage academic success and individual development and as an integral
    part of the educational experience. Each member institution should also provide an environment that fosters fairness,
    sportsmanship, safety, honesty and positive relationships between student-athletes and representatives of the institution.
    (Adopted: 1/19/13 effective 8/1/13)
    20.10.1.7 The Commitment to Sound Academic Standards. Standards of the Association governing participation
    in intercollegiate athletics, including postseason competition, shall be designed to ensure proper emphasis on educational
    objectives and the opportunity for academic success, including graduation, of student-athletes who choose to participate at a

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    member institution. Intercollegiate athletics programs shall be maintained as an important component of the educational
    program, and student-athletes shall be an integral part of the student body. Each member institution's admission and
    academic standards for student-athletes shall be designed to promote academic progress and graduation and shall be
    consistent with the standards adopted by the institution for the student body in general. (Adopted: 1/19/13 effective 8/1/13)
    20.10.1.8 The Commitment to Responsible Recruiting Standards. Recruiting bylaws shall be designed to
    promote informed decisions and balance the interests of prospective student-athletes, their educational institutions, the
    Association's member institutions and intercollegiate athletics as a whole. This commitment includes minimizing the role of
    external influences on prospective student-athletes and their families and preventing excessive contact or pressure in the
    recruitment process. (Adopted: 1/19/13 effective 8/1/13)
    20.10.1.9 The Commitment to Diversity and Inclusion. The Division I membership believes in and is committed to
    the core values of diversity, inclusion and equity, because realization of those values improves the learning environment for
    all student-athletes and enhances excellence within the membership and in all aspects of intercollegiate athletics. The
    membership shall create diverse and inclusive environments, promote an atmosphere of respect for and sensitivity to the
    dignity of every person, and include diverse perspectives in the pursuit of academic and athletic excellence. Member
    institutions, with assistance from the national office, are expected to develop inclusive practices that foster positive learning
    and competitive environments for student-athletes, as well as professional development and opportunities for athletics
    administrators, coaches and staff from diverse backgrounds. (Adopted: 1/19/13 effective 8/1/13)
20.10.2 Division I Philosophy. Members of Division I support the following principles in the belief that the following
statements provide further definition of the nature and purposes of the division. These statements are not binding on member
institutions, but serve as additional guidance for the preparation of legislation by the division and for planning and
implementation of programs by institutions and conferences. A member of Division I: (Revised: 1/19/13 effective 8/1/13)
 (a) Subscribes to high standards of academic quality, as well as breadth of academic opportunity;
 (b) Strives in its athletics program for regional and national excellence and prominence. Accordingly, its recruitment of student-
     athletes and its emphasis on and support of its athletics program are, in most cases, regional and national in scope;
 (c) Recognizes the dual objective in its athletics program of serving both the university or college community (participants,
     student body, faculty-staff, alumni) and the general public (community, area, state, nation);
 (d) Believes in offering extensive opportunities for participation in varsity intercollegiate athletics for both men and women;
 (e) Sponsors at the highest feasible level of intercollegiate competition one or both of the traditional spectator-oriented, income-
     producing sports of football and basketball. In doing so, members of Division I recognize the differences in institutional
     objectives in support of football; therefore, the division provides competition in that sport in the Bowl Subdivision and the
     Championship Subdivision;
 (f) Believes in scheduling its athletics contests primarily with other members of Division I, especially in the emphasized,
     spectator-oriented sports, as a reflection of its goal of maintaining an appropriate competitive level in its sports program;
 (g) Maintains institutional control over all funds supporting athletics; and
 (h) Understands, respects and supports the programs and philosophies of other divisions. Occasionally, institutions from other
     divisions or athletics associations will seek membership in Division I. In such cases, the applicants should be required to
     meet, over a period of time, prescribed criteria for Division I membership in order to ensure that such institutions agree and
     comply with the principles and program objectives embodied in this statement.
20.10.3 Financial Aid Requirements.
    20.10.3.1 Maximum Limitations. A member of Division I shall not make an award of financial aid (for which the
    recipient’s athletics ability is considered in any degree) in excess of the number permitted by the provisions of the bylaws
    governing Division I financial aid awards limitations (see Bylaw 15.5). (Revised: 1/10/91 effective 9/1/94)
    20.10.3.2 Minimum Awards. A member of Division I shall provide institutional financial assistance that equals one of
    the following: (Revised: 1/10/91 effective 9/1/94, 1/10/95, 1/9/96, 1/14/97 effective 9/1/97, 4/15/97 effective 8/1/98, 10/27/98
    effective 8/1/99, 4/13/99, 4/11/00, 4/10/01, 8/14/02, 4/28/05, 4/27/06, 6/11/07, 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
     (a) A minimum of 50 percent of the maximum allowable grants in 14 sports, at least seven of which must be women's
         sports. If an institution uses indoor track and field, outdoor track and field and cross country to meet the financial aid
         criterion, it must award the equivalent of at least 80 percent of the full grants for men and 80 percent of the full grants
         for women in those sports. If the institution counts two of those three sports to meet the financial aid criterion, it must
         award the equivalent of at least 70 percent of the full grants for men and 70 percent of the full grants for women. If the
         institution counts indoor and outdoor track and field as one sport, it must award the equivalent of at least 50 percent
         of the full grants for men and 50 percent of the full grants for women;
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     (b) Financial aid representing a minimum aggregate expenditure of $1,835,123 in 2023-24 (with at least $917,562 in
         women’s sports) and $1,890,177 in 2024-25 (with at least $945,089 in women’s sports) exclusive of grants in football
         and men's and women's basketball, provided the aggregate grant value is not less than the equivalent of 38 full grants,
         with at least 19 full grants for women. The Strategic Vision and Planning Committee shall adjust the minimum
         aggregate figure annually to reflect inflation, based on changes in average national tuition charges for regionally
         accredited institutions. The committee shall announce the revised figure in the fall each year for the following academic
         year. If the institution does not sponsor men's or women's basketball, the minimum aggregate expenditure must be
         $1,211,557 in 2023-24 and $1,247,904 in 2024-25 for the gender without the basketball program, but in no case
         fewer than the equivalent of 29 full grants for that gender;
     (c) A minimum of the equivalent of 50 full grants (at least 25 full grants in women's sports), exclusive of grants awarded in
         football and men's and women's basketball. If the member institution does not provide men's or women's basketball, it
         shall sponsor a minimum of 35 full grants in the sports program for the gender without the basketball program; or
     (d) A minimum of one-half of the required grants or aggregate expenditures cited in (a), (b) or (c) above, for institutions
         that depend on exceptional amounts of federal assistance to meet students' financial needs. This provision shall be
         applicable to an institution in a given year if the average per-student allotment of Pell Grant dollars for undergraduates
         reported to the U.S. Department of Education the previous September is more than one standard deviation above the
         mean for all reporting Division I member institutions that year. If an institution does not qualify under this provision
         after having been able to do so the previous year, the institution may continue to use this alternative for one year and
         shall not be required to meet the provisions of (a), (b) or (c) above until the following year. This provision shall be
         applicable only to institutions that were members of Division I on September 1, 1990.
         20.10.3.2.1 Aid Counted Toward Minimum Requirements. All institutional financial aid (including any
         exempted aid) awarded by the member institution to a counter (per Bylaw 15.5.1) shall be used to meet the
         appropriate minimum. (Revised: 1/10/91 effective 9/1/94, 1/11/04, 10/27/05 effective 8/1/06, 7/7/20)
         20.10.3.2.2 Student-Athlete Who Has Exhausted Eligibility or Used Medical Exemption. Countable
         financial aid awarded to a student-athlete who has exhausted eligibility in a sport during a previous academic year and
         countable aid provided to a medically exempt student-athlete per Bylaw 15.5.1.3 may be used to meet the appropriate
         minimum. (Adopted: 1/11/94)
         20.10.3.2.3 Award Requirement. To be included in reaching the appropriate minimum, the financial aid actually
         must be awarded. (Revised: 1/10/91 effective 9/1/94)
         20.10.3.2.4 Multisport Student-Athlete. Financial aid awarded to multisport student-athletes shall be counted
         against the minimum requirements pursuant to Bylaw 15.5.9. (Revised: 1/10/91 effective 9/1/94)
         20.10.3.2.5 Emerging Sports. Financial aid awarded to student-athletes in emerging sports for women, as defined
         in Bylaw 20.02.7, may be counted in reaching the appropriate financial aid minimum requirements as well as for
         revenue distribution. (Adopted: 1/11/94 effective 9/1/94)
         20.10.3.2.6 Non-NCAA Sports. Financial aid awarded in non-NCAA sports per Bylaw 20.10.6.1.1 may be counted
         in reaching the appropriate minimum, but financial aid awarded to those other than student-athletes (e.g.,
         cheerleaders) shall not be counted. (Revised: 1/10/91 effective 9/1/94)
         20.10.3.2.7 Exemptions -- No Institutional Athletics Aid. Member institutions that did not award any
         athletically related financial aid in any sport as of January 11, 1991, shall be exempted from the minimum
         requirements. (Revised: 1/10/91 effective 9/1/94)
         20.10.3.2.8 On-Campus Employment. On-campus employment earnings during the academic year outside the
         athletics department for which athletics interests of the institution do not intercede on behalf of the student-athlete are
         not countable for team equivalency purposes per Bylaw 15.02.5.2-(a) but may be counted in reaching the appropriate
         minimum. (Adopted: 1/11/94 effective 9/1/94)
         20.10.3.2.9 Submission of Annual Form. A member institution must submit its annual form regarding
         minimum financial aid awards to the NCAA national office not later than September 15. (Adopted: 11/1/00 effective
         8/1/01)
         20.10.3.2.10 Waiver of Minimum Financial Aid Awards. The Strategic Vision and Planning Committee, by a
         two-thirds majority of its members present and voting, may waive the minimum financial aid awards required for
         Division I membership based on objective evidence that demonstrates circumstances that warrant the waiver of the
         normal application of that legislation. (Adopted: 1/9/96, Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
20.10.4 Regular-Season Eligibility. A member institution shall conduct its regular-season competition under eligibility
rules at least as stringent as the provisions of Bylaw 14.
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20.10.5 Three-Season Requirement. The institution shall sponsor at least one sport involving an all-male team or a
mixed team of males and females and at least one sport involving an all-female team in every sport season. An institution may
use a sport to meet the three-season requirement only if the institution has met the minimum contests and participants
requirements for sports sponsorship in that sport as set forth in Bylaw 20.10.6.3. (Revised: 5/8/06)
    20.10.5.1 Counting Multiseason Sports. If an institution sponsors the same sport in two different seasons, it may
    count the sport only in the season in which its team participates in the most contests. To be counted as a fall sport, the
    majority of an institution's contests or dates of competition would have to occur from September through December; to be
    counted as a spring sport February through May. (Revised: 5/8/06)
    20.10.5.2 Mixed Team. A mixed team is a varsity intercollegiate sports team on which at least one individual of each
    gender competes. (Revised: 5/8/06)
    20.10.5.3 Single-Gender Institution Exception. Institutions that sponsor and conduct athletics programs for only
    one gender need not meet the four-sport/three-season requirement for the other gender. (Revised: 5/8/06)
    20.10.5.4 Waiver of Three-Season Requirement. The Strategic Vision and Planning Committee, by a two-thirds
    majority of its members present and voting, may waive the requirement that an active member shall conduct at least one
    sport in every sport season if the institution is precluded by its academic calendar and climatic conditions from conducting
    a sport in a particular season. (Revised: 5/8/06, 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
20.10.6 Sports Sponsorship. A member institution shall sponsor teams in a minimum of: (Revised: 1/10/91 effective
9/1/94, 1/16/93 effective 8/1/94, 1/11/94 effective 9/1/94, 12/15/06)
 (a) Seven varsity intercollegiate sports, including at least two team sports, based on the minimum requirements of Bylaw
     20.10.6.3 and involving all-male teams or mixed teams of males and females, and seven varsity intercollegiate sports (of
     which a maximum of two emerging sports per Bylaw 20.02.7 may be used), including at least two team sports, based on the
     minimum requirements of Bylaw 20.10.6.3 and involving all-female teams; or
 (b) Six varsity intercollegiate sports, including at least two team sports, based on the minimum requirements of Bylaw
     20.10.6.3 and involving all-male teams or mixed teams of males and females, and eight varsity intercollegiate sports (of
     which a maximum of two emerging sports per Bylaw 20.02.7 may be used), including at least two team sports, based on the
     minimum requirements of Bylaw 20.10.6.3 and involving all-female teams. (See Bylaws 20.10.9.1 and 20.10.10.1 for
     additional sports sponsorship requirements for member institutions participating in football.)
    20.10.6.1 Acceptable Sports. The sports designated to meet the sports sponsorship criteria shall: (Revised: 1/11/94
    effective 9/1/94)
     (a) Be among those in which the Association sponsors a championship or emerging sports for women (per Bylaw 20.02.7);
     (b) Be recognized by the institution as varsity intercollegiate sports (see Bylaw 20.2.4.6); and
     (c) Involve all-male teams, mixed teams of males and females or all-female teams.
         20.10.6.1.1 Waiver. The Strategic Vision and Planning Committee, by a two-thirds majority of its members present
         and voting, may approve a request from an active member institution to designate one sport involving all-male teams
         or mixed teams of males and females and one sport involving all-female teams other than those set forth in Bylaw
         20.10.6.1-(a). (Revised: 1/11/89, 11/1/07 effective 8/1/08, 12/17/10, 8/7/14, 10/4/17)
    20.10.6.2 Waiver of Minimum Women's Sports Sponsorship Criterion. The Strategic Vision and Planning
    Committee, by a two-thirds majority of its members present and voting, may grant waivers of the minimum women's
    sports sponsorship requirement for active members in accordance with the procedures listed below: (Revised: 1/10/90,
    3/8/06, 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
     (a) The institution shall submit its request for a waiver, signed by the institution's president or chancellor, to the NCAA
         president. The request shall include pertinent information supporting the institution's request, and it shall be received
         in the national office (by mail or electronic transmission) not later than October 1. Any request received after that date
         shall be postmarked not later than September 22.
     (b) The institution shall provide data demonstrating that the ratio of male to female enrollment prohibits the offering of
         the required number of sports for women; or
     (c) The institution shall provide data demonstrating insufficient student interest in establishing or maintaining the
         requisite number of teams.
     (d) If the Strategic Vision and Planning Committee votes to reject the institution's request, the institution shall be placed
         in a division for which it qualifies or in the restricted membership category pursuant to the provisions of Bylaw
         20.6.5.1.

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   20.10.6.3 Minimum Contests and Participants Requirements for Sports Sponsorship. In each sport, the
   institution's team shall engage in at least a minimum number of intercollegiate contests (against four-year, degree-granting
   collegiate institutions) each year. In the individual sports and women's rowing, the institution's team shall include a
   minimum number of participants in each contest that is counted toward meeting the minimum-contests requirement. The
   following minimums are applicable: (Revised: 1/11/94 effective 9/1/94, 1/12/99, 1/25/02 effective 8/1/02, 10/31/02, 4/28/05
   effective 8/1/05, 1/17/09 effective 8/1/09, 1/15/11 effective 8/1/11, 1/18/14 effective 8/1/14, 7/31/15, 4/28/16 effective 8/1/16,
   4/25/18 effective 8/1/18, 6/23/20 effective 8/1/20, 4/26/23 effective 8/1/23)
                                Minimum Minimum                                                 Minimum Minimum
    Team Sports                                       Individual Sports
                                Contests Participants                                           Contests Participants
    Women's Acrobatics and
                                     6             18        Women's Bowling                         8             5
    Tumbling
    Baseball                        27                       Cross Country                           4             5
    Basketball                      25                       Equestrian                              6            12
    Women's Beach
                                     8                       Men's Fencing                           9             5
    Volleyball
    Field Hockey                    11                       Women's Fencing                         9             5
    Football                         9                       Golf                                    8             5
    Men's Ice Hockey                25                       Men's Gymnastics                        9             6
    Women's Ice Hockey              20                       Women's Gymnastics                      9             5
    Lacrosse                        10                       Rifle                                   8             4
    Women's Rowing                   6             23        Skiing                                  5             5
    Women's Rugby                    9                       Swimming and Diving                     6            11
    Soccer                          11                       Tennis                                 12             5
    Softball                        27                       Track and Field, Indoor                 4            14
    Women's Stunt                    8             16        Track and Field, Outdoor                4            14
    Volleyball                      19                       Women's Triathlon                       4             3
    Men's Water Polo                15                       Men's Wrestling                        13             7
    Women's Water Polo              10                   Women's Wrestling                   13  7
   (Note: The minimum-contest requirements set forth in Bylaws 20.10.6.3.1 through 20.10.6.3.9 apply only to the
   provisions of this section and do not apply to minimum-contest requirements in Bylaw 17.)
         20.10.6.3.1 Completion of Contest. To count as a contest, the institution's team actually shall participate in and
         complete the contest. Scheduled contests that are canceled or not completed (in accordance with the playing rules of
         the sport in question) may not be counted.
         20.10.6.3.2 Counting Multicontest Events in Team Sports. In the team sports, each game in a doubleheader,
         triple-header or tournament shall be counted as one contest.
         20.10.6.3.3 Counting Multiteam Events in Individual Sports. In cross country and indoor and outdoor track
         and field, a multiteam event shall count as one contest. In the individual sports other than cross country and indoor
         and outdoor track and field, not more than three institution-versus-institution meetings shall be counted as contests in
         any multiteam competition (e.g., quadrangular meet). If the institution achieves a single score in competition with the
         other competing institutions (e.g., a conference championship), it shall be counted as one contest. (Revised: 1/10/90
         effective 9/1/90, 1/10/95, 4/25/18 effective 8/1/18)
               20.10.6.3.3.1 Meets With No Team Scoring. In individual sports, a meet at which no team scoring is kept
               counts as a contest for the purpose of meeting the minimum-contest requirement, provided at least the minimum
               number of participants per Bylaw 20.10.6.3 participate on the institution's team.
               20.10.6.3.3.2 Regional Cross Country Qualifying Meets. An institution may count participation in a
               regional cross country meet in meeting the minimum-contest requirement, provided the institution meets the
               minimum-participant requirement per Bylaw 20.10.6.3 and no qualifying standards exist for participation in the
               meet. (Adopted: 1/11/94)
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         20.10.6.3.4 Individual Sports -- One or More Sites. In the individual sports, if the minimum number of
         student-athletes participating on one or more teams, at one or more sites, on behalf of the institution on the same day
         equals or exceeds the minimum number of participants per Bylaw 20.10.6.3, an institution may use the competition as
         a contest in meeting the minimum-contest requirements (see Bylaw 17.02.6.1). (Adopted: 1/16/93)
             20.10.6.3.4.1 Exception -- Multiday Meets -- Track and Field. In track and field, if the number of
             student-athletes participating in a multiday meet on behalf of the institution during the course of the entire meet
             equals or exceeds the minimum number of participants per Bylaw 20.10.6.3 and the meet is conducted on
             consecutive days, an institution may use the competition as a contest in meeting the minimum-contest
             requirements. (Adopted: 1/17/09 effective 8/1/09)
         20.10.6.3.5 Contests in Two Seasons. If an institution sponsors the same sport in two different seasons of the
         same academic year, it may count contests in both seasons, provided regular varsity competition is sponsored in both
         seasons and is so listed on the institution’s official schedule in that sport.
         20.10.6.3.6 Contests vs. Club Teams. A contest against a collegiate institution’s club team may not be counted
         toward meeting minimum-contest requirements. However, a member is not precluded from scheduling club teams.
             20.10.6.3.6.1 Exception -- Women's Beach Volleyball. One dual, one-day contest against a four-year
             collegiate institution's club team per year may count toward meeting minimum-contest requirements. A multi-
             opponent tournament (see Bylaw 20.10.6.3.9) may count toward meeting minimum-contest requirements if not
             more than 40 percent of the participating teams are club teams affiliated with four-year collegiate institutions.
             (Adopted: 1/15/11 effective 8/1/11)
             20.10.6.3.6.2 Exception -- Women's Rugby. In women's rugby, an institution may count up to two contests
             per year against collegiate club teams of four-year institutions toward meeting minimum-contest requirements.
             (Adopted: 1/18/14 effective 8/1/14)
         20.10.6.3.7 Indoor Track and Field and Outdoor Track and Field. A member institution may receive credit
         for sponsoring both indoor track and field and outdoor track and field, provided its team participates in a total of at
         least eight indoor and outdoor meets during the year, including at least three indoor and three outdoor meets.
         (Revised: 4/25/18 effective 8/1/18)
         20.10.6.3.8 Women's Rugby. In women's rugby, 15-a-side and seven-a-side competition may count toward the
         required minimum number of contests. (Adopted: 1/18/14 effective 8/1/14)
         20.10.6.3.9 Women's Beach Volleyball. The following additional criteria shall apply to women's beach volleyball:
         (Adopted: 1/15/11 effective 8/1/11, Revised: 10/30/13)
         (a) Not less than three of the minimum eight contests shall be dual, one-day competitions in which five two-person
             teams compete (institution versus institution on a single day). Only one contest per day shall count toward
             meeting this requirement; and
         (b) The remaining number of minimum contests shall be dual, one-day competitions in which five two-person teams
             compete or be multi-opponent competitions. For a tournament to qualify as a contest, it must culminate in the
             determination of a winner based on the performance of each institution's five, two-person teams.
         20.10.6.3.10 Women's Acrobatics and Tumbling. In women's acrobatics and tumbling, dual meets and
         triangular meets may count toward the minimum number of contests. Triangular meets are counted as two contests for
         each competing team. No more than two triangular meets may be counted toward the minimum number of contests.
         (Adopted: 6/23/20 effective 8/1/20)
         20.10.6.3.11 Waivers.
             20.10.6.3.11.1 Minimum Contests and Participants. The Strategic Vision and Planning Committee, by a
             two-thirds majority of its members present and voting, may approve waivers of the minimum number of
             intercollegiate contests or the minimum number of participants in a contest in situations in which unforeseen
             circumstances beyond the institution's control have prevented the completion of a scheduled competition or the
             participation of the required minimum number of individuals and, despite a good-faith effort, the institution was
             unable to engage in at least the required minimum number of intercollegiate contests. (Revised: 1/10/90, 4/24/03
             effective 8/1/03, 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
             20.10.6.3.11.2 Minimum Contests. The Strategic Vision and Planning Committee, by a two-thirds majority
             of its members present and voting, may approve an additional waiver of the minimum number of intercollegiate
             contests in a situation in which: (Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)


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              (a) The member institution can document that it had scheduled (for that academic year) the appropriate
                  minimum number of contests under enforceable game contracts executed in writing;
              (b) An opponent canceled a game that it had contracted to play that academic year; and
              (c) Despite a good-faith effort, the institution was unable to re-arrange its schedule to play the appropriate
                  minimum number of contests.
20.10.7 Scheduling -- Sports Other Than Football and Basketball.
   20.10.7.1 Scheduling Requirement -- Sports Other Than Football, Basketball, Cross Country, Men's
   Swimming and Diving, Indoor and Outdoor Track and Field, and Wrestling. In sports other than football,
   basketball, cross country, men's swimming and diving, indoor and outdoor track and field, and wrestling that an institution
   uses to meet the Division I sports sponsorship criteria, an institution shall schedule and play 100 percent of its contests
   against Division I opponents to meet the minimum number of contests specified in Bylaw 20.10.6.3. The institution shall
   schedule and play at least 50 percent of its contests beyond the number specified in Bylaw 20.10.6.3 against Division I
   opponents. (Adopted: 1/10/91 effective 9/1/94, Revised: 4/29/04 effective 8/1/04, 1/15/11 effective 8/1/11, 6/3/13, 4/25/18
   effective 8/1/18)
   20.10.7.2 Scheduling Requirement -- Cross Country, Men's Swimming and Diving, Indoor and Outdoor
   Track and Field, and Wrestling. In cross country, men's swimming and diving, indoor and outdoor track and field,
   and wrestling, an institution shall schedule and play at least 50 percent of its contests against Division I opponents to satisfy
   the minimum number of contests specified in Bylaw 20.10.6.3. (Adopted: 4/29/04 effective 8/1/04, Revised: 1/15/11 effective
   8/1/11, 6/3/13, 4/25/18 effective 8/1/18)
   20.10.7.3 Application of Scheduling Requirements -- Sports Other Than Football and Basketball.
         20.10.7.3.1 Reclassifying Opponents. A reclassifying institution shall be counted as a Division I opponent in the
         year the reclassifying institution must comply with Division I scheduling requirements (year two of reclassifying). A
         reclassifying institution may be counted as a Division I opponent in year one of the reclassification process if the
         reclassifying institution meets Division I scheduling requirements. (Adopted: 1/10/92 effective 9/1/04, Revised: 1/11/94,
         6/3/13, 1/23/19 effective 8/1/19)
         20.10.7.3.2 Multiteam Events -- Individual Sports Other Than Cross Country and Indoor and Outdoor
         Track and Field. In individual sports other than cross country and indoor and outdoor track and field, if a multiteam
         event is not scored by division, an institution may use the event to satisfy the scheduling requirements, provided at least
         two-thirds of the institutions competing in the event are Division I members. If a multiteam event is scored by
         division, there is no minimum required percentage of participating Division I institutions. Regardless of whether a
         multiteam event is scored by division, an institution that is using a multiteam event to satisfy the scheduling
         requirements must satisfy the minimum required number of participants, per Bylaw 20.10.6.3. (Adopted: 1/10/92
         effective 9/1/94, Revised: 1/11/94, 6/3/13, 4/25/18 effective 8/1/18)
             20.10.7.3.2.1 Multiteam Events -- Cross Country and Indoor and Outdoor Track and Field. In cross
             country and indoor and outdoor track and field, if a multiteam event is not scored by division, an institution may
             use the event to satisfy the scheduling requirements, provided at least one other institution competing in the event
             is a Division I member. If a multiteam event is scored by division, there is no minimum required percentage of
             participating Division I institutions. Regardless of whether a multiteam event is scored by division, an institution
             that is using a multiteam event to satisfy the scheduling requirements must satisfy the minimum required number
             of participants, per Bylaw 20.10.6.3. (Adopted: 4/25/18 effective 8/1/18)
         20.10.7.3.3 Exception. The scheduling criteria in Bylaws 20.10.7.1 and 20.10.7.2 shall not apply in sports in which
         the only championship opportunity is the National Collegiate Championship per Bylaw 18.02.1.1 or sports in which
         there is no NCAA-sponsored postseason championship. (Adopted: 1/10/91 effective 9/1/94, Revised: 1/9/96 effective
         8/1/96, 6/3/13)
         20.10.7.3.4 Waiver -- Situations Beyond Institutional Control. The Strategic Vision and Planning
         Committee, by a two-thirds majority of its members present and voting, may approve waivers of the scheduling
         requirement in situations beyond the control of the institution (e.g., weather conditions or natural disasters) that
         prevent the completion of scheduled competition. (Adopted: 1/9/96, Revised: 11/1/07 effective 8/1/08, 6/3/13, 8/7/14,
         10/4/17)
20.10.8 Basketball Scheduling.



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    20.10.8.1 Four-Game Limit. An institution may schedule and play not more than four basketball games, including any
    contest (e.g., scrimmage, exhibition), in an academic year against institutions that are not members of Division I. (Revised:
    3/1/12)
    20.10.8.2 One-Third of Contests in Home Arena. An active or reclassifying member must play at least one-third of
    its regular-season basketball contests in the arena regularly used for the institution's home games. (Revised: 1/11/94 effective
    9/2/94, 3/10/04, 1/15/11 effective 8/1/11)
         20.10.8.2.1 Multiple Home Arenas. In meeting the home-arena requirement, an institution may use more than
         one arena, provided each arena is located within a 30-mile radius of the institution's main campus and each arena is
         used annually by the institution for at least two home basketball contests.
    20.10.8.3 One-Third of Women's Contests Away From Home or at a Neutral Site. An active member or a
    reclassifying member must play at least one-third of its regular-season women's basketball contests away from home or at a
    neutral site. A reclassifying member is required to apply scheduling criteria beginning with year two of the reclassifying
    process. (Adopted: 1/15/11 effective 8/1/11)
    20.10.8.4 Counting Contests.
         20.10.8.4.1 Membership Classification of Opponents. In determining whether an institution meets the
         scheduling criteria, each opponent shall be counted as it was classified on August 1 of the academic year involved.
             20.10.8.4.1.1 Reclassifying Opponents. A reclassifying institution shall be counted as a Division I opponent
             in the year the reclassifying institution must comply with Division I scheduling requirements (year two of the
             reclassifying process). A reclassifying institution may be counted as a Division I opponent in year one of the
             reclassification process if the reclassifying institution meets Division I scheduling requirements. (Adopted: 4/15/97,
             Revised: 4/24/03 effective 8/1/03, 1/23/19 effective 8/1/19)
             20.10.8.4.1.2 Waiver. The Strategic Vision and Planning Committee, by a two-thirds majority of its members
             present and voting, may grant a waiver of the provisions of Bylaw 20.10.8.4.1 in cases of reclassification of an
             opponent when there is an enforceable game contract, executed in writing, or in the case of similar contractual
             problems. (Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
20.10.9 Football Bowl Subdivision Requirements. [FBS] An institution classified in the Football Bowl Subdivision
shall meet the additional requirements listed below. (Revised: 12/15/06)
    20.10.9.1 Sports Sponsorship. [FBS] The institution shall sponsor a minimum of 16 varsity intercollegiate sports,
    including football, based on the minimum sports sponsorship and scheduling requirements set forth in Bylaws 20.13.6 and
    20.13.6.3, including a minimum of six sports involving all-male teams or mixed teams of males and females, and a
    minimum of eight varsity intercollegiate sports (of which a maximum of two emerging sports per Bylaw 20.02.7 may be
    used) based on the minimum sports sponsorship and scheduling requirements set forth in Bylaws 20.13.6 and 20.13.6.3
    and involving all-female teams, subject to the waiver provision in Bylaw 20.13.6.2. (Revised: 1/11/94 effective 9/1/94,
    4/25/02 effective 8/1/04)
    20.10.9.2 Football Scheduling Requirements. [FBS] The institution shall schedule and play at least 60 percent of its
    football games against members of the Football Bowl Subdivision. The institution shall schedule and play at least five
    regular-season home games against Football Bowl Subdivision opponents. For purposes of satisfying the home-games
    requirement, a contest shall be considered a home contest if it is played in the stadium in which an institution conducts at
    least 50 percent of its home contests. In addition, an institution may use one home contest against a Football Bowl
    Subdivision member conducted at a neutral site to satisfy the home-games requirement. (Revised: 4/25/02 effective 8/1/04,
    1/12/04, 12/15/06, 10/6/17)
         20.10.9.2.1 Exception -- Football Championship Subdivision Opponent. Each year, a Football Bowl
         Subdivision institution may count one contest against a Football Championship Subdivision opponent to satisfy the
         football-scheduling requirement specified in Bylaw 20.10.9.2, provided the Football Championship Subdivision
         opponent has averaged 90 percent of the permissible maximum number of grants-in-aid per year in football over a
         rolling two-year period. (Adopted: 4/28/05, Revised: 12/15/06, 5/18/22, 9/21/22 effective 8/1/23)
         20.10.9.2.2 Membership Classification of Opponents. [FBS] In determining whether an institution meets the
         scheduling requirements of the Football Bowl Subdivision, each opponent shall be counted as it was classified on
         September 1 of the academic year involved. (Revised: 12/15/06, 10/6/17)
             20.10.9.2.2.1 Reclassifying Opponents. [FBS] A reclassifying institution shall be counted as a Football Bowl
             Subdivision opponent in the year the reclassifying institution must meet the Football Bowl Subdivision scheduling
             requirements (year two of the reclassifying process). A reclassifying institution may be counted as a Football Bowl

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             Subdivision opponent in year one of the reclassification process if the reclassifying institution meets Football Bowl
             Subdivision scheduling requirements. (Adopted: 4/15/97, Revised: 3/10/04, 12/15/06, 1/23/19 effective 8/1/19)
             20.10.9.2.2.2 Waiver. [FBS] The Football Oversight Committee, by a two-thirds majority of its members
             present and voting, may grant a waiver of the provisions of Bylaw 20.10.9.2.2 in cases of reclassification of an
             opponent when there is an enforceable game contract, executed in writing, or in the case of similar contractual
             problems. (Revised: 12/15/06, 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
         20.10.9.2.3 Canceled Games. [FBS] A canceled game shall not be counted toward meeting the Football Bowl
         Subdivision scheduling requirements unless the Football Oversight Committee, by a two-thirds majority of its
         members present and voting, approve a waiver of the criterion in a situation in which: (Revised: 12/15/06, 11/1/07
         effective 8/1/08, 8/7/14, 10/4/17)
         (a) The member institution can document that it had scheduled (for that academic year) the appropriate minimum
             percentage of contests with members of the Football Bowl Subdivision, under enforceable game contracts executed
             in writing;
         (b) An opponent canceled a game that it had contracted to play that academic year; and
         (c) Despite a good-faith effort, the institution was unable to re-arrange its schedule to play the appropriate percentage
             of contests with members of the Football Bowl Subdivision.
         20.10.9.2.4 Alaska, Hawaii or Puerto Rico. [FBS] Games played in Alaska, Hawaii or Puerto Rico shall not be
         counted for purposes of meeting the subdivision's scheduling requirement if such games are exempt from counting
         toward the playing-season limitations. (Adopted: 1/10/92)
   20.10.9.3 Football-Attendance Requirements. [FBS] Once every two years on a rolling basis, the institution shall
   average at least 15,000 in actual or paid attendance for all home football games. (Revised: 4/25/02 effective 8/1/04, 4/28/05
   effective 8/1/05)
         20.10.9.3.1 Counting Attendance. [FBS]
             20.10.9.3.1.1 Actual Attendance. [FBS] For purposes of computing actual attendance figures, an individual
             may be counted if any one of the following conditions applies: (Revised: 4/25/02 effective 8/1/04, 4/28/05 effective
             8/1/05)
              (a) Attendees are issued tickets that are collected on admission to the game and retained;
              (b) Attendees enter through and are counted by a turnstile that is monitored by a representative of the
                  department of athletics who verifies in writing the accuracy of the count on a per-game basis; or
              (c) Attendees enter through a gate at which a representative of the department of athletics counts them
                  individually with a manual counter, and the representative provides a written statement verifying the accuracy
                  of the count on a per-game basis.
             20.10.9.3.1.2 Paid Attendance. [FBS] For purposes of computing paid attendance figures, tickets must be
             sold for at least one-third of the highest regular established ticket price as established prior to the season, regardless
             of whether they are used for admission. Tickets sold at less than one-third of the highest regular established price
             may be counted as paid attendance only if they are used for admission. Student attendance may be counted as paid
             attendance if the student pays at least one-third of the highest regular established ticket price or, if the student
             actually attends the game and any one of the following conditions applies: (Adopted: 4/28/05 effective 8/1/05)
              (a) The student paid an athletics fee;
              (b) The student paid an institutional fee of which a certain portion was allocated to the department of
                  intercollegiate athletics; or
              (c) The student paid no athletics fee, but the institution allocated to the department of intercollegiate athletics a
                  certain portion of tuition income or general operating funds as the equivalent of a student athletics fee.
                 20.10.9.3.1.2.1 Student Attendance. [FBS] Student attendance must be verified through one of the
                 following methods: (Adopted: 4/28/05 effective 8/1/05)
                  (a) Such students are issued tickets that are collected on admission to the game and retained;
                  (b) Such students enter through and are counted by a turnstile (which is not used by others in attendance)
                      that is monitored by a representative of the department of athletics who verifies in writing the accuracy of
                      the count on a per-game basis; or


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                   (c) Such students enter through a gate (that is not used by others in attendance) at which a representative of
                       the department of athletics counts them individually with a manual counter, and the representative
                       provides a written statement verifying the accuracy of the count on a per-game basis.
                       20.10.9.3.1.2.1.1 Noncounted Students. [FBS] Student-athletes and cheerleaders scheduled by the
                       institution to be at the game and students performing services at the stadium (e.g., concessionaires, ticket
                       takers, parking-lot attendants, ushers, grounds keepers) shall not be counted toward meeting the
                       attendance requirements. (Adopted: 4/28/05 effective 8/1/05)
                  20.10.9.3.1.2.2 Exchange of Tickets With Opponent. [FBS] For an institution to meet the Football
                  Bowl Subdivision attendance requirements, tickets for a football contest obtained by an institution through
                  an exchange agreement or a purchase agreement with another institution may be used only if sold for at least
                  one-third of the highest regular established ticket price and are used to attend the game. (Adopted: 4/28/05
                  effective 8/1/05, Revised: 12/15/06)
         20.10.9.3.2 Certified Audit. [FBS] In meeting the football-attendance requirements of the Football Bowl
         Subdivision, an institution must undertake an annual certified audit verifying its football attendance. The audited
         football-attendance figures must be received in the NCAA national office not later than the February 15 following the
         completion of the football season, and NCAA national office staff shall verify compliance with all the Football Bowl
         Subdivision attendance requirements. The certified audit and materials (including the ticket manifest) must be
         available for inspection for a four-year period. (Revised: 10/17/05, 12/15/06)
   20.10.9.4 Additional Financial Aid Requirements. [FBS] The institution shall satisfy the following additional
   financial aid requirements: (Adopted: 4/25/02 effective 8/1/04)
    (a) Provide an average of at least 90 percent of the permissible maximum number of overall football grants-in-aid per year
        during a rolling two-year period; and
    (b) Annually offer a minimum of 200 athletics grants-in-aids or expend at least $4 million on grants-in-aid to student-
        athletes in athletics programs.
         20.10.9.4.1 Type of Financial Aid Counted. [FBS] The institution shall count only athletically related financial
         aid (as defined in Bylaw 15.02.5.1) awarded to counters (as defined in Bylaw 15.02.3). (Adopted: 3/10/04 effective
         8/1/04)
         20.10.9.4.2 Exception -- National Service Academies. [FBS] The national service academies are exempt from
         all financial aid requirements set forth in Bylaw 20.10.9. (Adopted: 4/25/02 effective 8/1/04)
   20.10.9.5 Noncompliance with Football Bowl Subdivision Criteria. [FBS]
         20.10.9.5.1 Notice of Noncompliance. [FBS] An institution that fails to satisfy any of the Football Bowl
         Subdivision membership requirements shall receive notice of such noncompliance. After receiving notice, any further
         noncompliance with the Football Bowl Subdivision requirements within a 10-year period shall cause the institution to
         be placed in restricted membership. (Adopted: 8/5/04, Revised: 12/15/06)
         20.10.9.5.2 Restricted Membership. [FBS] While in restricted membership, the institution shall not be eligible
         for postseason football competition. At the conclusion of the one-year period, the institution shall be granted
         membership in its preferred subdivision, provided the institution complies with the subdivision's criteria. If the
         member does not meet the criteria of any subdivision at the end of the restricted membership period, the institution
         may continue to be classified as a Division I member in sports other than football, provided the institution satisfies the
         Division I membership requirements set forth in Bylaws 20.13.3 through 20.13.7. A Division I member that loses
         Football Bowl Subdivision status must comply with the multidivision classification requirements set forth in Bylaw
         20.6 to regain such status. (Adopted: 8/5/04, Revised: 12/15/06)
   20.10.9.6 Waivers. [FBS] There shall be no waivers of the Football Bowl Subdivision membership requirements.
   (Adopted: 4/24/03 effective 8/1/03, Revised: 12/15/06)
20.10.10 Football Championship Subdivision Requirements. [FCSD] An institution classified as a Football
Championship Subdivision member shall meet the additional requirements listed below. (Revised: 12/15/06)
   20.10.10.1 Sports Sponsorship. [FCSD] The institution shall sponsor in Division I a minimum of: (Revised: 1/10/91
   effective 9/1/94, 1/11/94 effective 9/1/94, 1/15/11)
    (a) Seven varsity intercollegiate sports, including football, based on the minimum requirements of Bylaws 20.10.6 and
        20.10.6.3 and involving all-male teams or mixed teams of males and females, and seven varsity intercollegiate sports (of
        which a maximum of two emerging sports per Bylaw 20.02.7 may be utilized) based on the minimum requirements of
        Bylaws 20.10.6 and 20.10.6.3 and involving all-female teams, subject to the waiver provision in Bylaw 20.10.6.2; or
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    (b) Six varsity intercollegiate sports, including football, based on the minimum requirements of Bylaws 20.10.6 and
        20.10.6.3 and involving all-male teams or mixed teams of males and females, and eight varsity intercollegiate sports (of
        which a maximum of two emerging sports per Bylaw 20.02.7 may be utilized) based on the minimum requirements of
        Bylaws 20.10.6 and 20.10.6.3 and involving all-female teams, subject to the waiver provision in Bylaw 20.10.6.2.
   20.10.10.2 Football Scheduling Requirement. [FCSD] The institution shall schedule and play more than 50 percent
   of its football games against Football Bowl Subdivision or Football Championship Subdivision members. (Revised:
   12/15/06)
         20.10.10.2.1 Membership Classification of Opponents. [FCSD] In determining whether an institution meets
         the scheduling criteria of the Football Championship Subdivision, each opponent shall be counted as it was classified
         on September 1 of the academic year involved. (Revised: 12/15/06, 1/15/11)
             20.10.10.2.1.1 Reclassifying Opponents. [FCSD] A reclassifying institution shall be counted as a Football
             Championship Subdivision opponent in the year the reclassifying institution must comply with Football
             Championship Subdivision scheduling requirements (year two of the reclassifying process). A reclassifying
             institution may be counted as a Football Championship Subdivision opponent in year one of the reclassification
             process if the reclassifying institution meets Football Championship Subdivision scheduling requirements.
             (Adopted: 4/15/97, Revised: 3/10/04, 12/15/06, 1/15/11, 1/23/19 effective 8/1/19)
             20.10.10.2.1.2 Waiver. [FCSD] The Football Oversight Committee, by a two-thirds majority of those present
             and voting, may grant a waiver of the provisions of Bylaw 20.10.10.2.1 in cases of reclassification of an opponent
             when there is an enforceable game contract, executed in writing, or in the case of similar contractual problems.
             (Revised: 12/15/06, 1/15/11, 8/7/14, 10/4/17)
         20.10.10.2.2 Canceled Games. [FCSD] A canceled game shall not be counted toward meeting the Football
         Championship Subdivision scheduling criterion unless the Football Oversight Committee, by a two-thirds majority of
         those present and voting, approves a waiver of the criterion in a situation in which: (Revised: 12/15/06, 1/15/11, 8/7/14,
         10/4/17)
         (a) The member institution can document that it had scheduled (for that academic year) the appropriate minimum
             percentage of contests with members of the Football Championship Subdivision, under enforceable game
             contracts executed in writing;
         (b) An opponent canceled a game that it had contracted to play that academic year; and
         (c) Despite a good-faith effort, the institution was unable to re-arrange its schedule to play the appropriate percentage
             of contests with Football Championship Subdivision members.
         20.10.10.2.3 Alaska, Hawaii or Puerto Rico. [FCSD] Games played in Alaska, Hawaii or Puerto Rico shall not
         be counted for purposes of meeting the subdivision's scheduling requirement if such games are exempt from counting
         toward the playing-season limitations. (Adopted: 1/10/92, Revised: 1/15/11)
         20.10.10.2.4 Geographical Waiver -- Football Championship Subdivision. [FCSD] The Football Oversight
         Committee, by a two-thirds majority of those present and voting, may waive the provisions of Bylaw 20.10.10.2 for a
         Football Championship Subdivision institution that does not offer athletically related financial aid in football, or which
         offers fewer than 20 percent of the maximum allowable number of scholarships in the Football Championship
         Subdivision and was classified in Division II prior to September 1993, if it is determined that fewer than six other
         championship subdivision football programs exist within a 500-mile radius of the institution's campus that do not offer
         athletically related financial aid in football or which offer fewer than 20 percent of the maximum allowable number of
         scholarships in the Football Championship Subdivision and were classified in Division II prior to September 1993. An
         institution must calculate the percentage based upon the amount of athletically related financial aid received by its
         student-athletes, as opposed to including all institutional aid. (Adopted: 1/16/93 effective 8/1/93, Revised: 1/10/95,
         12/15/06, 1/15/11, 8/7/14, 10/4/17)




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BYLAW, ARTICLE 21

Governance Structure and Committees
21.02 Definitions and Applications.
21.02.1 Faculty Athletics Representative. A faculty athletics representative is a member of an institution's faculty or
administrative staff who is designated by the institution's president or chancellor or other appropriate entity to represent the
institution and its faculty in the institution's relationships with the NCAA and its conference(s), if any (see also Bylaw 8.1.3).
(Adopted: 1/9/96 effective 8/1/97, Revised: 6/26/19 effective 8/1/19, 1/20/22)
21.02.2 Senior Woman Administrator.
    21.02.2.1 Institutional Senior Woman Administrator. An institutional senior woman administrator is the highest-
    ranking female involved in the management of an institution's intercollegiate athletics program. An institution with a
    director of athletics who identifies as female may designate a different individual who identifies as female involved with the
    management of the member's program as a fifth representative to the NCAA governance structure. (Revised: 11/1/01
    effective 8/1/02, 10/27/05, 1/20/22, 2/17/23)
    21.02.2.2 Conference Senior Woman Administrator. A conference senior woman administrator is the highest-
    ranking female involved with the conduct and policy processes of a conference's office. A conference with a commissioner
    who identifies as female may designate a different individual who identifies as female involved with the management of the
    conference as a representative to the NCAA governance structure. (Adopted: 11/1/01 effective 8/1/02, Revised: 10/27/05,
    1/20/22, 2/17/23)
21.02.3 Gender and Diversity Requirements. The Board of Directors membership shall include at least one person
who is an ethnic minority and at least one person of each gender, and a single member shall not be considered to meet both
minimums. The combined membership of the Council, Committee on Academics and other Division I governance entities
(other than sport committees) shall include representatives who comprise at least 20 percent persons who are ethnic minorities
and at least 35 percent persons of each gender. (Adopted: 11/1/07 effective 8/1/08, Revised: 8/7/14, 1/20/22)
21.02.4 Selection/Term of Office of Board of Directors and Council.
    21.02.4.1 Selection. Members of the Board of Directors shall be selected by the constituencies that they represent. Each
    membership unit (e.g., conference) that is authorized to select or nominate individuals must have a plan to ensure diversity
    among these individuals. Members of the Council shall be selected by the Board of Directors or a committee designated by
    the Board of Directors. (Adopted: 11/1/07 effective 8/1/08, Revised: 8/7/14, 1/20/22)
         21.02.4.1.1 Selection Process -- Board of Directors. In order to ensure that the requirements for diversity of
         membership (as set forth in Bylaw 21.02.3) are met, the following process shall be used: (Adopted: 11/1/07 effective
         8/1/08, Revised: 10/30/14, 1/20/22)
          (a) The conferences represented in each subdivision (as identified in Bylaw 21.1.1), shall review the open positions in
              the subdivision and shall attempt to coordinate the conference selections to ensure adequate diversity in the
              subdivision's representatives.
          (b) The Board of Directors shall review the selections from each subdivision to assess the diversity of those selections.
              If the Board of Directors does not approve the diversity of the selections of a subdivision, it shall ask the
              subdivision to reconsider the selections and report any changes.
          (c) If, after reconsideration, the Board of Directors still does not agree that the selections of any subdivision are
              adequately diverse, it shall direct each conference that has made a selection in that subdivision to provide a report
              on the diversity, qualifications and willingness to serve of the chancellors or presidents in the conference. The
              report shall be forwarded to a subcommittee of the Board of Governors. The subcommittee shall analyze the
              availability and alter selections as warranted to achieve adequate diversity.
          (d) In the event a conference fails to satisfy Football Bowl Subdivision membership criteria, the conference shall lose
              its designated seat on the Board of Directors and be removed from Football Bowl Subdivision classification in the
              governance structure. The Board of Directors shall be authorized to determine the manner by which the
              unallocated Football Bowl Subdivision position is assigned.
         21.02.4.1.2 Selection Process -- Council. The following process shall be used for selection of members of the
         Council: (Adopted: 11/1/07 effective 8/1/08, Revised: 8/7/14, 1/20/22)


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          (a) Each conference listed in Bylaw 21.1.1-(a), 21.1.1-(b) and 21.1.1-(c) shall nominate at least three candidates to
              serve as its representative on the Council.
          (b) The Board of Directors or a designated committee shall review the nominations to assess competency and ensure
              reasonable diversity of perspectives and shall make the selection for service.
    21.02.4.2 Term of Office.
         21.02.4.2.1 Board of Directors. The term of office for the members of the Board of Directors shall be as follows:
         (Adopted: 11/1/07 effective 8/1/08, Revised: 1/20/22)
          (a) Football Bowl Subdivision members shall serve a four-year term. Football Bowl Subdivision members of the Board
              of Directors are not eligible for immediate re-election;
          (b) The Football Championship Subdivision and Division I Subdivision conferences shall be authorized to determine
              the term of office of their members, not to exceed four consecutive years. Further, after completing a term,
              Football Championship Subdivision and Division I Subdivision members of the Board of Directors may not serve
              again for two years;
          (c) A conference may remove its representative during a term of office;
          (d) The terms of service of Board of Directors members shall expire on a staggered basis to provide for continuity.
              Members may be appointed for less than full terms; and
          (e) Board of Directors members who serve more than one-half of a term shall be considered to have served a full term.
         21.02.4.2.2 Council. The term of office for the Council shall be as follows: (Adopted: 11/1/07 effective 8/1/08,
         Revised: 8/7/14, 1/20/22)
          (a) A member shall serve a four-year term. A member is not eligible for immediate reappointment;
          (b) A conference may recommend to the Board of Directors or a designated committee to replace its representative
              during a term;
          (c) The terms of office of Football Bowl Subdivision positions and Football Championship Subdivision and Division I
              Subdivision positions shall expire on a staggered basis to provide for continuity. A member may be appointed for
              less than a full term; and
          (d) A member who serves more than one-half of a term shall be considered to have served a full term.
    21.02.4.3 Institution's Membership in Different Subdivision. An institution's representative to the Board of
    Directors or Council is eligible to serve on behalf of the multisport conference in which the institution holds membership,
    even if the institution's NCAA membership is in a different subdivision. (Adopted: 11/1/07 effective 8/1/08, Revised: 8/7/14,
    1/20/22)
21.02.5 Association-Wide Committees. [#] Association-wide committees deal with issues that affect all members of the
Association and perform duties necessary to the on-going operation of the Association. Association-wide committees are
comprised of members from each of the Association’s divisions. (Adopted: 1/14/97 effective 8/1/97, Revised: 1/20/22 effective
8/1/22)
21.02.6 Common Committees. [#] Common committees deal with issues that apply to more than one division of the
Association. Common committees perform duties necessary to the on-going operation of the applicable divisions and are
comprised of members from the applicable divisions. (Adopted: 1/14/97 effective 8/1/97, Revised: 1/20/22 effective 8/1/22)
21.02.7 Districts. [#] For purposes of committee composition, the geographical districts are as follows: (Adopted: 10/30/03)
 (a) District 1 -- Connecticut, Maine, Massachusetts, New Hampshire, Rhode Island, Vermont;
 (b) District 2 -- Delaware, New Jersey, New York, Pennsylvania, Puerto Rico, West Virginia;
 (c) District 3 -- Alabama, District of Columbia, Florida, Georgia, Kentucky, Louisiana, Maryland, Mississippi, North Carolina,
     South Carolina, Tennessee, Virginia;
 (d) District 4 -- Illinois, Indiana, Michigan, Minnesota, Ohio, Wisconsin;
 (e) District 5 -- Iowa, Kansas, Missouri, Nebraska, North Dakota, Oklahoma, South Dakota;
 (f) District 6 -- Arkansas, New Mexico, Texas;
 (g) District 7 -- Arizona, Colorado, Idaho, Montana, Utah, Wyoming; and
 (h) District 8 -- Alaska, British Columbia, California, Hawaii, Nevada, Oregon, Washington.



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21.02.8 Conflict of Interest. A committee member shall not participate in the committee's discussion or vote on any action
that might bring direct or indirect financial benefit to the member of any organization in which the member is financially
interested (other than the member's institution or the conference of which it is a member). A violation of this rule by a member
of a committee shall not invalidate the action taken by the committee if, following disclosure of the conflict of interest, the
committee authorizes, ratifies or approves the action by a vote sufficient for the purpose, without counting the vote of the
committee member with the conflict of interest, and the Council approves such action. All committee members shall agree to
this policy prior to committee service and shall abide by the policy at all times. The current conflict of interest policy is located
on the NCAA website (NCAA.org) or may be obtained from the NCAA national office. (Adopted: 1/13/09, Revised: 8/7/14)
21.1 Division I Board of Directors.
21.1.1 Composition. Giving due weight to gender and ethnic diversity per Bylaw 21.02.3, the Board of Directors shall
include 25 members and shall be comprised of 20 presidents or chancellors, one director of athletics, one senior woman
administrator, one faculty athletics representative and two student-athletes. The members of the Board shall include: (Adopted:
1/9/96 effective 8/1/97, Revised: 1/14/97 effective 8/1/97, 8/5/99, 4/24/03, 11/1/07 effective 8/1/05, 5/2/13 effective 8/1/13, 8/7/14,
1/20/22, 4/26/23 effective 8/1/23)
 (a) One institutional president or chancellor from each of the following conferences:
    (1) American Athletic Conference;                          (6) Mid-American Conference;
    (2) Atlantic Coast Conference;                             (7) Mountain West Conference;
    (3) Big 12 Conference;                                     (8) Pac-12 Conference;
    (4) Big Ten Conference;                                    (9) Southeastern Conference; and
    (5) Conference USA;                                        (10) Sun Belt Conference.
(b) Five institutional presidents or chancellors from among the following conferences (limited to one president or chancellor
    from any one conference):
    (1) Big Sky Conference;                                        (7) Ohio Valley Conference;
    (2) Big South Conference;                                      (8) Patriot League;
    (3) Coastal Athletic Association                               (9) Southern Conference;
    (4) The Ivy League;                                            (10) Southland Conference; and
    (5) Mid-Eastern Athletic Conference;                           (11) Southwestern Athletic Conference.
    (6) Northeast Conference;
(c) Five institutional presidents or chancellors from among the following conferences (limited to one president or chancellor
    from any one conference):
    (1) America East Conference;                                        (7) Metro Atlantic Athletic Conference;
    (2) Atlantic Sun (ASUN) Conference;                                 (8) Missouri Valley Conference;
    (3) Atlantic 10 Conference;                                         (9) The Summit League;
    (4) Big East Conference;                                            (10) West Coast Conference; and
    (5) Big West Conference;                                            (11) Western Athletic Conference.
    (6) Horizon League;
(d) The chair of the Council.
(e) An institutional Division I member of Women Leaders in College Sports, appointed by the Executive Committee of
    Women Leaders in College Sports.
(f) A Division I member of the Executive Committee of the Faculty Athletic Representatives Association, selected by the
    Executive Committee of the Faculty Athletics Representatives Association.
(g) The chair and an additional member of the Student-Athlete Advisory Committee. At least one of the two shall be a current
    or former student-athlete in men’s or women’s basketball or football.
    21.1.1.1 Rotation of Representatives. The rotation of Board of Directors conference representatives among the
    conferences listed in Bylaw 21.1.1-(b) and 21.1.1-(c) shall be developed, maintained and revised by those conferences.
    (Adopted: 1/14/97 effective 8/1/97, Revised: 12/15/06, 8/7/14, 1/20/22)
21.1.2 Duties and Responsibilities. The Board of Directors shall serve as the overall governing body for Division I, with
responsibility for strategy, policy, legislative oversight and management oversight. Specifically, the Board shall: (Adopted: 1/9/96
effective 8/1/97, Revised: 8/7/03 effective 8/1/04, 3/8/06, 11/1/07 effective 8/1/08, 10/28/10, 7/31/14, 8/7/14, 10/30/14, 10/29/15,
8/8/18 effective 8/1/19, 12/20/18, 1/23/19 effective 8/1/19, 1/20/22, 8/31/22 effective 1/1/23)

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(a) Address future issues, challenges, opportunities and outcomes, focusing on strategic topics in intercollegiate athletics and its
    relationship to higher education;
(b) Review and set parameters that guide and determine present and future decisions, embracing general goals and acceptable
    procedures;
(c) Monitor legislation to ensure it does not conflict with basic policies and strategic goals;
(d) Ratify, amend or defeat academically related legislation adopted by the Council and, at its discretion, adopt academically
    related legislation otherwise addressed by the Council;
(e) Rescind or adopt other legislation addressed by the Council in order to prevent an extraordinary adverse impact on the
    Division I membership;
(f) Adopt legislation or grant relief from the application of legislation in circumstances in which significant values are at stake or
    the use of the regular legislative process is likely to cause significant harm or hardship to the Association or the Division I
    membership because of the delay in its effective date;
(g) Delegate to the Council responsibilities for specific matters it deems appropriate;
(h) Appoint members of the Committee on Infractions, Infractions Appeals Committee, Council and Committee on
   Academics;
(i) Review and ratify policies and procedures governing the infractions program;
(j) Determine whether legislation proposed as an area of autonomy is consistent with the scope and nature of the applicable area
    of autonomy as set for in Bylaw 9.2.2.1.2;
(k) Ensure that there is gender and ethnic diversity among its membership and the membership of each of the other bodies in
    the administrative structure;
(l) Require bodies in the administrative structure to alter (but not expand) their membership to achieve diversity;
(m) Approve an annual budget;
(n) Approve regulations providing for the expenditure of funds and the distribution of income consistent with the provisions of
    Bylaw 20.01.3;
(o) Collaborate with NCAA staff, as necessary, to determine how the national office can best to serve the Division I
    membership;
(p) Advise the Board of Governors concerning the employment of the NCAA president and concerning the oversight of the
    president's employment;
(q) Conduct biannual assessments to evaluate the operation of the governance structure and to monitor membership standards
    and criteria affecting Division I and subdivisional membership; and
(r) Elect institutions to active Division I membership.
21.1.3 Voting Method. The method of voting on issues considered by the Board of Directors shall be by roll call, except for
those actions taken by the unanimous consent of the Board members present and voting. Roll-call vote results shall be reported
to the membership. (Adopted: 1/9/96 effective 8/1/97, Revised: 1/20/22)
21.1.4 Administrative Committee. Administrative Committee. The Board of Directors Administrative Committee is
empowered to act on behalf of the Council to transact necessary and routine items of business as set forth in the Board of
Directors' policies and procedures. (Adopted: 10/4/17, Revised: 1/20/22)
21.1.5 Standing Committees. Standing committees may be formed by the Board of Directors as it deems necessary.
Details related to such committees (e.g., composition, selection, duties) shall be set forth in the Board of Directors' policies and
procedures. (Adopted: 8/7/14, Revised: 10/14/17, 1/20/22)
21.1.6 Executive Sessions. The Board of Directors shall have the authority to conduct an executive session involving only
presidents and chancellors. (Adopted: 8/7/14, Revised: 1/20/22)
21.2 Division I Council.
21.2.1 Composition. Giving due weight to gender and ethnic diversity per Bylaw 21.02.3, the Council shall include 40
members and shall be comprised of athletics administrators (e.g., athletics directors, senior woman administrators, conference
administrators, compliance administrators and other senior level administrators), faculty athletics representatives and student-
athletes. The members of the Council shall include: (Adopted: 1/9/96 effective 8/1/97, Revised: 1/14/97 effective 8/1/97, 8/5/99,
4/24/03, 12/15/06, 11/1/07 effective 8/1/08, 5/2/13 effective 8/1/13, 8/7/14, 1/20/22)


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(a) One athletics administrator or faculty athletics representative from each of the conferences listed in Bylaw 21.1.1-(a), 21.1.1
    -(b) and 21.1.1-(c). At least 60 percent of these representatives shall be directors of athletics.
(b) One conference commissioner from one of the following five conferences:
    (1) Atlantic Coast Conference;                  (4) Pac-12 Conference; and
    (2) Big 12 Conference;                          (5) Southeastern Conference.
    (3) Big Ten Conference;
(c) One conference commissioner from one of the following five conferences:
    (1) American Athletic Conference;                 (4) Mountain West Conference; and
    (2) Conference USA;                               (5) Sun Belt Conference.
    (3) Mid-American Conference;
(d) One conference commissioner from one of the following 13 conferences:
    (1) Atlantic Sun (ASUN) Conference;               (8) Ohio Valley Conference;
    (2) Big Sky Conference;                           (9) Patriot League;
    (3) Coastal Athletic Association;                 (10) Pioneer Football League;
    (4) The Ivy League;                               (11) Southern Conference;
    (5) Mid-Eastern Athletic Conference;              (12) Southland Conference; and
    (6) Missouri Valley Football Conference;          (13) Southwestern Athletic Conference.
    (7) Northeast Conference;
(e) One conference commissioner from one of the following 11 conferences:
    (1) America East Conference;                (7) Metro Atlantic Athletic Conference;
    (2) Atlantic 10 Conference;                 (8) Missouri Valley Conference;
    (3) Big East Conference;                    (9) The Summit League;
    (4) Big South Conference;                   (10) West Coast Conference; and
    (5) Big West Conference;                    (11) Western Athletic Conference.
    (6) Horizon League;
(f) Two faculty athletics representatives, one appointed by the 1A Faculty Athletics Representatives group and one appointed by
    the Faculty Athletics Representatives Association.
(g) Two members of the Student-Athlete Advisory Committee, each of whom may serve on the Council up to one year after
    completion of intercollegiate athletics eligibility.
21.2.2 Duties and Responsibilities. The Council shall: (Revised: 1/9/96 effective 8/1/97, 11/1/07 effective 8/1/08, 8/7/14,
1/20/22)
 (a) Serve as the division's primary legislative authority, subject to review by the Board of Directors (see Bylaw 9.2.2);
 (b) Recommend nonacademic policies to the Board of Directors;
 (c) Coordinate strategic planning activities;
 (d) Identify and examine trends and issues of intercollegiate athletics;
 (e) Take final action on matters delegated to it by the Board of Directors;
 (f) Make interpretations of the bylaws;
 (g) Review the recommendations of the substructure;
 (h) Supervise qualification and/or selection procedures for National Collegiate Championships and Division I championships;
 (i) Review recommendations from sports committees regarding the administration of championships;
 (j) Act as the final authority regarding championships matters in Division I or in a National Collegiate Championship that are
     subject to appeal to the Council;
 (k) Oversee the appointment of the members of the substructure (e.g., subcommittees and committees);
 (l) Oversee Division I membership requirements and processes;
 (m) In conjunction with the Minority Opportunities and Interests Committee, review issues related to the interests of ethnic
     minority student-athletes, NCAA minority programs and NCAA policies that affect ethnic minorities; and



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(n) In conjunction with the Committee on Women's Athletics, study and make policy recommendations concerning
   opportunities for women in athletics at the institutional, conference and national levels, and other issues directly affecting
   women's athletics.
21.2.3 Chair. The Council shall elect a member who is a director of athletics to serve for a period of not more than two years
as chair. The chair shall not be eligible for immediate re-election to that position. At least once in every three chair rotations, a
Football Championship Subdivision or Division I Subdivision representative shall serve as chair. (Revised: 1/14/97 effective
8/1/97, 4/27/97 effective 8/1/97, 4/27/00 effective 8/1/00, 11/1/01, 12/15/06, 11/1/07 effective 8/1/08, 8/7/14, 1/20/22)
21.2.4 Weighted Voting. Voting on matters other than football-specific issues or football-specific legislation shall be
weighted as follows: (Adopted: 8/7/14, Revised: 1/20/22)
 (a) Representatives [other than those noted in (d) and (e) below] from the following conferences and the conference
     commissioner representative of these conferences shall have four votes each:
    (1) Atlantic Coast Conference;                               (4) Pac-12 Conference; and
    (2) Big 12 Conference;                                       (5) Southeastern Conference.
    (3) Big Ten Conference;
(b) Representatives [other than those noted in (d) and (e) below] from the following conferences and the conference
    commissioner representative of these conferences shall have two votes each:
    (1) American Athletic Conference;                 (4) Mountain West Conference;
    (2) Conference USA;                               (5) Sun Belt Conference.
    (3) Mid-American Conference;
(c) Representatives from the following conferences and the conference commissioner representatives of these conferences shall
    have one vote each:
    (1) America East Conference;                        (12) Mid-Eastern Athletic Conference;
    (2) Atlantic 10 Conference;                         (13) Missouri Valley Conference;
    (3) Atlantic Sun (ASUN) Conference;                 (14) Northeast Conference;
    (4) Big East Conference;                            (15) Ohio Valley Conference;
    (5) Big Sky Conference;                             (16) Patriot League;
    (6) Big South Conference;                           (17) Southern Conference;
    (7) Big West Conference;                            (18) Southland Conference;
    (8) Colonial Athletic Association;                  (19) Southwestern Athletic Conference;
    (9) Horizon League;                                 (20) The Summit League;
    (10) The Ivy League;                                (21) West Coast Conference; and
    (11) Metro Atlantic Athletic Conference;           (22) Western Athletic Conference.
(d) The two designated faculty athletics representatives [see Bylaw 21.2.1-(f)] shall have one vote each.
(e) Student-athlete representatives shall have one vote each.
    21.2.4.1 Voting on Football Bowl Subdivision Issues and Legislation. Voting on Football Bowl Subdivision
    Issues and Legislation. Voting on Football Bowl Subdivision-specific issues and Football Bowl Subdivision-specific
    legislation other than legislation related to scholarship limitations shall be weighted as follows: (Adopted: 8/7/14, Revised:
    1/20/22)
     (a) Representatives from the following conferences shall have two votes each:
          (1) Atlantic Coast Conference;
          (2) Big Ten Conference;
          (3) Big 12 Conference;
          (4) Pac-12 Conference; and
          (5) Southeastern Conference.
     (b) Representatives from the following conferences shall have one vote each:
          (1) American Athletic Conference;
          (2) Conference USA;
          (3) Mid-American Conference;
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          (4) Mountain West Conference; and
          (5) Sun Belt Conference.
         21.2.4.1.1 Voting on Scholarship Limitations. Voting on legislation related to football scholarship limitations
         shall not be weighted. (Adopted: 8/7/14, 1/20/22)
21.2.5 Football Championship Subdivision Representation and Voting. Members of the Council who represent
Football Championship Subdivision conferences shall act on issues and legislation specific to the subdivision in accordance with
Bylaw 9.2.2.2.6 (see Bylaw 9.1.1.3). A Football Championship Subdivision conference not listed in Bylaw 21.1.1-(b), may
appoint an individual to represent its interests and vote on issues and legislation related to championship subdivision football,
provided the conference consists of at least six championship subdivision football-sponsoring members (regular or affiliate
members of the conference) that play a single round-robin schedule that leads to the declaration of a conference football
champion and the affairs of the conference are administered by a conference listed in Bylaw 21.1.1-(b) or 21.1.1-(c). (Adopted:
8/7/14, Revised: 1/20/22)
21.2.6 Voting Method. The method of voting on issues considered by the Council shall be by roll call, except for actions
taken by the unanimous consent of the members present and voting. Roll-call vote results of legislative actions shall be reported
to the membership and shall include a record of each member's vote. The overall outcomes of votes on other matters shall be
reported to the membership, but neither the vote count nor individual votes shall be reported. (Adopted: 1/9/96 effective 8/1/97,
Revised: 11/1/07 effective 8/1/88, 10/28/10, 8/7/14, 1/20/22)
21.2.7 Council Coordination Committee.
    21.2.7.1 Composition and Selection. The Council Coordination Committee shall consist of up to 10 members of the
    Council, including two representatives of Football Bowl Subdivision conferences, two representatives of Football
    Championship Subdivision conferences and two representatives of Division I Subdivision conferences. The process for
    selection to the Council Coordination Committee and the term of office of committee members shall be set forth in the
    policies and procedures of the Council. (Adopted: 1/14/97 effective 8/1/97, Revised: 10/10/00, 12/15/06, 11/1/07 effective
    8/1/08, 8/7/14, 10/14/17, 1/20/22)
    21.2.7.2 Duties. The Council Coordination Committee is empowered to act on behalf of the Council to transact
    necessary and routine items of business as set forth in the Council's policies and procedures. (Adopted: 1/14/97 effective
    8/1/97, Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/4/17, 1/20/22)
    21.2.7.3 Review of Actions. All actions of the Council Coordination Committee shall be reported to and subject to
    review by the Council. (Adopted: 1/14/97 effective 8/1/97, Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/4/17, 1/20/22)
21.3 Committee on Academics.
21.3.1 Composition. The Board of Directors shall appoint a Committee on Academics composed of 20 members, including
a minimum of two chancellors or presidents, one provost, four faculty athletics representatives, one director of athletics, one
senior woman administrator, one conference administrator and one student-athlete. The Committee on Academics shall include
at least two members from each of the three Division I membership subdivisions. A president or chancellor member shall serve
as chair. After the chair has served two full terms, the Board of Directors may extend the individual's term at two-year intervals.
(Adopted: 8/7/14, Revised: 1/20/22)
    21.3.1.1 Student-Athlete Representation. One member of the Division I Student-Athlete Advisory Committee shall
    serve as a voting member of the Committee on Academics up to one year after completion of intercollegiate athletics
    eligibility. (Adopted: 8/7/14, Revised: 1/20/22)
21.3.2 Duties and Responsibilities. The Committee on Academics shall: (Adopted: 8/7/14, Revised: 1/20/22)
 (a) Serve as the division's primary academic authority, subject to review by the Board of Directors;
 (b) Manage all policy pertaining to academic matters, including academic eligibility standards and related policies;
 (c) Recommend and review legislation pertaining to academic matters, including academic eligibility standards;
 (d) Take final action on routine and noncontroversial matters of general academic policy and Academic Performance Program
     policy;
 (e) Establish, oversee and support the work of the academic substructure;
 (f) Perform all duties directly related to the administration of the Academic Performance Program, including interpretations of
     Academic Performance Program legislation and policies, hearing appeals (or waivers) of institutions or teams subject to
     penalties and any other matters of appeal pursuant to the legislation and policies and procedures of the Academic
     Performance Program;

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(g) Determine the appropriate standards on which Academic Performance Program penalties or rewards apply;
(h) Recommend changes to the Academic Performance Program based on research data analysis and practical experience;
(i) Oversee administration of academic waivers as specified by legislation and/or policy;
(j) Study issues and make policy or legislative recommendations concerning relationships between the Association and the
    nation's two-year colleges as represented by established regional and national organizations; and
(k) Work with the Division II governance structure to ensure that consistent policies exist when possible, while maintaining
    each division's philosophy and legislative intent.
21.3.3 Academic Performance Program Policies and Procedures. The Committee on Academics shall have the
authority to adopt or revise policies and procedures for the conduct of the academic performance program. The Board of
Directors, at its discretion, may review, amend and/or act on any academic performance program policy adopted by the
Committee on Academics. (Adopted: 4/29/04, Revised: 11/1/07 effective 8/1/08, 8/7/14, 11/15/14, 1/20/22)
21.4 Playing Rules Oversight Panel. [#]
21.4.1 Composition. [#] The panel shall consist of 12 members, including six members from Division I and three
representatives each from Divisions II and III. A single conference may not have more than one representative on the panel.
(Adopted: 4/28/05)
21.4.2 Method of Selection. [#] Three of the six Division I representatives shall be appointed by the Division I Council
and one of those three must have experience working with playing rules. The remaining three shall be appointed by the Division
I Collegiate Commissioners Association (CCA). Two of those three shall have experience working with playing rules. One of the
three Divisions II and III representatives shall be appointed by the divisions' Championships Committees (these appointees
must be current members of the divisions' Championships Committees). The remaining two representatives in Divisions II and
III will be appointed at large and one of the two per each division shall have experience working with playing rules. (Adopted:
4/28/05, Revised: 11/1/07 effective 8/1/08, 8/7/14)
    21.4.2.1 Definition of "Working With Playing Rules." [#] The following experience will be considered to be the
    equivalent of "working with playing rules": officiating experience, previous service on a rules committee, previous service on
    a committee with responsibility for playing rules administration or coaching. (Adopted: 4/28/05)
21.4.3 Term of Office. [#] At-large and Division I members of the panel will serve four-year terms. Championships
Committee appointments will serve for the duration of their committee terms. (Adopted: 4/28/05, Revised: 11/1/07 effective
8/1/07, 8/7/14)
21.4.4 Duties. The panel shall: (Adopted: 4/28/05, Revised: 1/8/07, 4/13/23)
 (a) Oversee all NCAA playing rules committees. This includes approval of playing rules recommendations and oversight of
     other issues pertaining to playing rules;
 (b) Recommend the establishment and dissolution of playing rules committees;
 (c) Monitor playing rules maintained outside the NCAA;
 (d) Be responsible for all research and communication pertaining to the administration of playing rules, including the
     advancement of budgetary recommendations from the playing rules committees and to ensure consistency among different
     sports, when appropriate (for example, policies controlling fighting or abusive language);
 (e) Review all playing rules changes pertaining to finances, safety and image of the game; and
 (f) Oversee the selection process for secretary-rules editors, approve the selections of secretary-rules editors and review waiver
     requests for secretary-rules editor term limits.
21.4.5 Meetings. [#] The Playing Rules Oversight Panel shall meet three times annually (e.g., March, June, August) after the
playing rules committees for each season have completed their meetings. (Adopted: 4/28/05)
21.4.6 Special Operating Rules. [#]
    21.4.6.1 Review Process. [#] A recommendation from any rules committee shall be considered valid unless the Playing
    Rules Oversight Panel determines that the recommendation harms the image of the games, creates an unsafe environment
    for student-athletes or places an unreasonable financial burden on the membership. (Adopted: 4/28/05)
         21.4.6.1.1 Rules Committee Involvement. [#] The Playing Rules Oversight Panel may request that playing rules
         committee chairs and/or secretary-rules editors present their cases to the Playing Rules Oversight Panel when proposed
         changes are controversial or unusually complicated. (Adopted: 4/28/05)
21.5 Association-Wide Committees -- General Committees. [#]
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21.5.1 Selection, Term of Office and Operation. [#]
   21.5.1.1 Method of Selection. [#] Each division's governance structure shall appoint members to serve on the general
   Association-wide committees of the Association, consistent with that division's committee-appointment procedures. The
   membership of each committee shall include representatives from each of the Association's membership divisions, including
   each subdivision of Division I. (Revised: 1/10/90, 1/16/93, 1/14/97 effective 8/1/97, 11/1/01, 5/13/08)
   21.5.1.2 Term of Office. [#] Unless otherwise specified, a member of the committees listed in this bylaw shall be
   appointed for one four-year term. A former member may be appointed to an additional term after three years have elapsed.
   An individual who has served two terms on a committee may not serve further on that committee. A member's term of
   service shall commence on the first day of September following the member's election or appointment. (Revised: 5/13/08)
   21.5.1.3 Operation. [#] The Board of Governors also shall ratify policies regarding length, location and expenses of
   Association-wide committee meetings. (Revised: 1/10/90, 1/16/93, 1/14/97 effective 8/1/97, 11/1/01, 5/13/08, 10/30/14)
21.5.2 Committee on Competitive Safeguards and Medical Aspects of Sports. [#]
   21.5.2.1 Composition. [#] The Committee on Competitive Safeguards and Medical Aspects of Sports shall consist of 25
   members, including seven positions allocated for individuals who identify as male , seven allocated for individuals who
   identify as female and 11 unallocated. The membership of the committee shall be constituted as follows: (Revised: 1/10/90,
   1/10/91, 1/10/95, 10/28/99, 4/26/01, 11/1/01, 10/30/03, 7/22/14, 4/30/15, 3/27/17, 4/14/17, 10/4/17, 5/18/22, 2/17/23)
    (a) Two athletics directors or senior woman athletics administrators, one who identifies as male and one who identifies as
        female ;
    (b) One member who is an active coach;
    (c) One strength and conditioning specialist certified by an accredited strength and conditioning certification body;
    (d) Five members from the field of medicine, of whom at least two shall identify as female . One shall be a primary-care
        physician who is board certified in family practice, internal medicine or emergency medicine, and shall have a current
        Certificate of Added Qualifications in Sports Medicine. One shall be a board certified orthopedic surgeon. One shall
        be a physician with expertise in endocrinology. One shall be a physician with expertise in drug-testing. One member
        shall be a physician who is a member of the general public;
    (e) Two athletic trainers, one who identifies as male and one who identifies as female . One must be responsible for the
        total athletics training program at a member institution;
    (f) One member representing the field of law who is a lawyer practicing in sports law or a related field, or a faculty member
        in sports law or a related field;
    (g) One member of the NCAA Football Rules Committee;
    (h) One member representing secondary school interests. This individual shall be the National Federation of State High
        School Associations’ staff liaison to the Sports Medicine Advisory Board and shall be eligible for reappointment
        without restriction;
    (i) One member active in sport-science research;
    (j) One member with expertise in the area of drug education;
    (k) One student-athlete from each division (who shall have one vote each) shall serve as a member of the committee. Each
        student-athlete may serve on the committee up to one year after completion of intercollegiate athletics eligibility;
    (l) Two licensed mental health practitioners, one who identifies as male and one who identifies as female ;
    (m) One registered dietitian who specializes in sports nutrition;
    (n) One representative from the Division I Council;
    (o) One representative from the Division II Management Council; and
    (p) One representative from the Division III Management Council.
   21.5.2.2 Duties. [#] The committee, subject to the direction of the Board of Governors, and in conjunction with the
   NCAA Sport Science Institute, shall: (Revised: 10/31/02, 10/30/14)
    (a) Promote and sponsor research to address relevant health and safety issues;
    (b) Promote education to enhance the health and safety of student-athletes;
    (c) Operate a national injury surveillance program to monitor injury trends and enhance safety in intercollegiate athletics;
    (d) Deter the use of NCAA banned substances in order to promote fair competition and safety;

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    (e) Facilitate outreach activities to enhance student-athlete health and safety; and
    (f) Provide a health and safety perspective on relevant legislation and policy.
   21.5.2.3 Term of Office, Chair. [#] The chair may remain on the committee for up to one additional year if the
   individual becomes the committee chair with only one year or less remaining on the individual's four-year term. (Adopted:
   1/9/06 effective 10/22/07)
21.5.3 Honors Committee. [#]
   21.5.3.1 Composition. [#] The Honors Committee shall consist of nine members, including one current or former
   chancellor or president from a member institution, one member from each division and subdivision of Division I and three
   nationally distinguished citizens, one of which must be a former NCAA honors recipient. Division II and Division III will
   be represented each by a member of the Management Council. Two positions shall be allocated for individuals who identify
   as male, two allocated for individuals who identify as female and five unallocated. (Revised: 1/13/98, 11/1/07, 2/17/23)
   21.5.3.2 Term of Office. A member's term of service shall commence on the day following adjournment of the NCAA
   Convention following the member's appointment. (Adopted: 1/14/08)
   21.5.3.3 Duties. [#] The committee shall receive nominations for the Theodore Roosevelt Award, the Silver Anniversary
   Awards, the Today's Top 10 Awards, the Award of Valor and the Inspiration Award and shall select the recipients of those
   awards. (Revised: 7/25/12)
21.5.4 Minority Opportunities and Interests Committee. [#]
   21.5.4.1 Composition. [#] The Minority Opportunities and Interests Committee shall consist of 18 members, including
   a current chancellor or president from each division. There shall be six members from Division I, six members from
   Division II and six members from Division III. One student-athlete from each division (who shall have one vote each) shall
   serve as a member of the committee. The Division I student-athlete may serve on the committee up to one year after
   completion of intercollegiate athletics eligibility. The Division II and Division III student-athletes may serve on the
   committee up to two years after completion of athletics eligibility. Committee membership shall include a minimum of
   eight ethnic minorities, including at least four who identify as male and four who identify as female. (Adopted: 1/10/91,
   Revised: 11/1/01, 8/11/11, 4/14/17, 2/17/23)
   21.5.4.2 Duties. [#] The committee shall: (Adopted: 1/10/91, Revised: 10/29/15)
    (a) Review issues related to the interests and advocacy of student-athletes, coaches and administrators who are ethnic
        minorities, LGBTQ or who have disabilities; and
    (b) Review and advocate for NCAA programs and policies that affect and include, but are not limited to, ethnic minorities,
        individuals with disabilities and the LGBTQ community.
21.5.5 Olympic Sports Liaison Committee. [#]
   21.5.5.1 Composition. [#] The Olympic Sports Liaison Committee shall consist of 14 members, including at least one
   from each division. One student-athlete from each division (who shall have one vote each) shall serve as a member of the
   committee. The Division I student-athlete may serve on the committee up to one year after completion of intercollegiate
   athletics eligibility. The Division II and Division III student-athletes may serve on the committee up to two years after
   completion of athletics eligibility. (Adopted: 1/10/91, Revised: 11/1/01, 4/14/17)
   21.5.5.2 Duties. [#] The committee shall: (Adopted: 1/10/91, Revised: 10/17/19)
    (a) Act as a liaison between the Association, the U.S. Olympic and Paralympic Committee and national governing bodies;
        and
    (b) Study and make recommendations concerning the Association's appropriate role in the involvement of student-athletes
        in international athletics.
21.5.6 Postgraduate Scholarship Committee. [#]
   21.5.6.1 Composition. [#] The Postgraduate Scholarship Committee shall consist of seven members, including two
   positions allocated for individuals who identify as male, two allocated for individuals who identify as female and three
   unallocated, one of which shall be a former recipient of an NCAA postgraduate scholarship. (Revised: 2/17/23)
   21.5.6.2 Duties. [#] The committee shall be responsible for planning and administering the Association’s postgraduate
   scholarship program for student-athletes who have distinguished themselves academically and athletically.
21.5.7 Walter Byers Scholarship Committee. [#]



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   21.5.7.1 Composition. [#] The Walter Byers Scholarship Committee shall consist of seven members, including one
   position allocated for an individual who identifies as male, one allocated for an individual who identifies as female, one
   allocated for a former student-athlete and four unallocated. (Adopted: 1/10/90, Revised: 5/2/13, 6/13/18, 2/17/23)
   21.5.7.2 Duties. [#] The committee shall be responsible for planning and administering the Association’s Walter Byers
   Scholarship program for student-athletes who have distinguished themselves academically and athletically. (Adopted:
   1/10/90)
21.5.8 Committee on Women's Athletics. [#]
   21.5.8.1 Composition. [#] The Committee on Women's Athletics shall consist of 18 members, including a current
   chancellor or president from each division. There shall be six members from Division I, six members from Division II and
   six members from Division III. Six positions shall be allocated for individuals who identify as male, six allocated for
   individuals who identify as female and six unallocated. One student-athlete from each division (who shall have one vote
   each) shall serve as a member of the committee. The Division I student-athlete may serve on the committee up to one year
   after completion of intercollegiate athletics eligibility. The Division II and Division III student-athlete may serve on the
   committee up to two years after completion of athletics eligibility. (Revised: 1/11/89, 11/1/01, 4/29/04 effective 8/1/04,
   4/24/08, 8/11/11, 4/14/17, 2/17/23)
   21.5.8.2 Duties. [#] The committee shall: (Revised: 4/24/03)
    (a) Study and make policy recommendations concerning opportunities for women in athletics at the institutional,
        conference and national levels;
    (b) Study and make policy recommendations concerning other issues directly affecting women's athletics; and
    (c) Appoint and oversee the Woman of the Year Selection Committee and the process.
21.6 Association-Wide Committees -- Rules Committees Without Championships
Administration Responsibilities. [#]
21.6.1 Selection, Composition, Duties, Term of Office and Operation. [#]
   21.6.1.1 Method of Selection. [#] Each division's governance structure shall appoint members to serve on the rules
   committees without championships administration responsibilities. The Playing Rules Oversight Panel shall oversee the
   selection process for secretary-rules editors and approve selections for those positions. The secretary-rules editor may be re-
   appointed but is limited to a term not to exceed eight years in length and shall be a nonvoting member of the committee.
   The membership of each committee shall include representatives from each of the Association's membership divisions.
   (Revised: 1/11/89, 1/10/91, 1/16/93, 1/14/97 effective 8/1/97, 11/1/01, 4/24/03, 1/8/07)
         21.6.1.1.1 Waiver -- Secretary-Rules Editor Term Limit. [#] Due to extenuating circumstances, the Playing
         Rules Oversight Panel may waive the secretary-rules editor's eight-year term limit; however, the term shall not be
         extended by more than four additional years. (Adopted: 4/24/03, Revised: 1/8/07)
   21.6.1.2 Composition Requirements. [#] At least 25 percent of the positions on each rules committee shall be filled
   by athletics directors, associate or assistant athletics directors, senior woman athletics administrators, individuals who are
   employed full-time as administrators by member conferences, or individuals who are employed both part-time as
   administrators by member conferences and full-time by member institutions. Further, at least 50 percent of the total
   positions on each rules committee shall be filled by coaching staff members. In order for a district to be represented, at least
   five of its active members shall sponsor the sport involved on an intercollegiate basis. (Revised: 1/10/90, 4/27/00 effective
   8/1/00)
   21.6.1.3 Duties. Subject to the final authority of the Playing Rules Oversight Panel, each rules committee shall establish
   and maintain rules of play in its sport consistent with the sound traditions of the sport and of such character as to ensure
   good sportsmanship and safe participation by the competitors. Playing rules committees shall have the authority to permit
   rules experimentation in the nontraditional/nonchampionship season without Playing Rules Oversight Panel approval.
   Experimentation in the regular season shall be subject to Playing Rules Oversight Panel review. (Revised: 1/10/92 effective
   8/1/92, 1/14/97 effective 8/1/97, 4/28/05, 12/2/05, 4/13/23)
   21.6.1.4 Term of Office. [#] Unless otherwise specified, a member of the committees listed in this bylaw shall be
   appointed for one four-year term. A former member may be appointed to an additional term after three years have elapsed.
   An individual who has served two terms on a committee may not serve further on that committee. A member's term of
   service shall commence on the first day of September following the member's election or appointment. (Revised: 5/13/08)
   21.6.1.5 Cooperation with Other Organizations. [#] A rules committee may cooperate with other national
   organizations in the development of common playing rules. (Revised: 1/14/97 effective 8/1/97)

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    21.6.1.6 Operation. [#] The Board of Governors shall ratify policies regarding the length, location and expenses of
    association-wide committee meetings. (Adopted: 1/14/97 effective 8/1/97, Revised: 10/30/14)
21.6.2 Baseball Rules Committee. [#] The Baseball Rules Committee shall consist of nine members and shall be
constituted as follows: (Revised: 1/11/89)
 (a) Four members shall be from Division I, two members shall be from Division II, two members shall be from Division III
     and an additional member shall be secretary-rules editor; and
 (b) One member shall be elected chair.
21.6.3 Basketball Rules Committee, Men's. [#] The Men's Basketball Rules Committee shall consist of 13 members
and shall be constituted as follows: (Revised: 1/10/91)
 (a) There shall be at least two representatives from each of the following four geographical regions: Districts 1 and 2; District 3;
     Districts 4 and 5; and Districts 6, 7 and 8;
 (b) Six members shall be from Division I, three members shall be from Division II, three members shall be from Division III
     and an additional member shall be secretary-rules editor; and
 (c) One member shall be elected chair.
21.6.4 Basketball Rules Committee, Women's. [#] The Women's Basketball Rules Committee shall consist of 13
members and shall be constituted as follows: (Revised: 1/11/89)
 (a) There shall be at least two representatives from each of the following four geographical regions: Districts 1 and 2; District 3;
     Districts 4 and 5; and Districts 6, 7 and 8;
 (b) Six members shall be from Division I, three members shall be from Division II, three members shall be from Division III
     and an additional member shall be secretary-rules editor; and
 (c) One member shall be elected chair.
21.6.5 Football Rules Committee. [#] The Football Rules Committee shall consist of 13 members and shall be
constituted as follows: (Revised: 1/16/93)
 (a) There shall be at least two representatives from each of the following four geographical regions: Districts 1 and 2; District 3;
     Districts 4 and 5; and Districts 6, 7 and 8;
 (b) Six members shall be from Division I, three members shall be from Division II, three members shall be from Division III
     and an additional member shall be secretary-rules editor; and
 (c) One member shall be elected chair.
21.6.6 Ice Hockey Rules Committee, Men's and Women's. [#] The Men's and Women's Ice Hockey Rules
Committee shall consist of 13 members and shall be constituted as follows: (Revised: 1/11/89, 1/14/97 effective 8/1/97, 4/27/00,
4/26/01, 10/29/15)
 (a) Six members shall be from Division I, one member shall be from a Division II institution that sponsors Division I, II or III
     men's or women's ice hockey, four members shall be from Division III, one member shall be from Division II or III and an
     additional member shall be secretary-rules editor;
 (b) Within Divisions I and III, one-half of the members shall represent men's ice hockey interests and one-half of the members
     shall represent women's ice hockey interests; and
 (c) One member shall be elected chair.
21.6.7 Lacrosse Rules Committee, Men's. [#] The Men's Lacrosse Rules Committee shall consist of nine members and
shall be constituted as follows:
 (a) Four members shall be from Division I, one member shall be from the Division II and three members shall be from
     Division III. One additional member shall serve as a nonvoting secretary-rules editor; and
 (b) One member shall be elected chair.
21.6.8 Lacrosse Rules Committee, Women's. [#] The Women's Lacrosse Rules Committee shall consist of nine
members and shall be constituted as follows: (Adopted: 4/28/05 effective 8/1/05)
 (a) Four members shall be from Division I, one member shall be from Division II and three members shall be from Division
     III. One additional member shall serve as a nonvoting secretary-rules editor; and
 (b) One member shall be elected chair.


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21.6.9 Soccer Rules Committee, Men's and Women's. [#] The Men's and Women's Soccer Rules Committee shall
consist of nine members and shall be constituted as follows: (Adopted: 1/11/89)
 (a) Four members shall be from Division I, two members shall be from Division II, two members shall be from Division III
     and an additional member shall be secretary-rules editor;
 (b) Within each division, one-half of the members shall represent men's soccer interests, and one-half of the members shall
     represent women's soccer interests; and
 (c) One member shall be elected chair.
21.6.10 Softball Rules Committee, Women's. [#] The Women's Softball Rules Committee shall consist of nine
members and shall be constituted as follows: (Adopted: 1/9/96)
 (a) Four members shall be from Division I, two members shall be from Division II, two members shall be from Division III
     and an additional member shall be secretary-rules editor; and
 (b) One member shall be elected chair.
21.6.11 Swimming and Diving Rules Committee, Men's and Women's. [#] The Men's and Women's Swimming
and Diving Rules Committee shall consist of nine members and shall be constituted as follows: (Adopted: 1/14/12 effective
8/1/12)
 (a) Four members shall be from Division I, two members shall be from Division II, two members shall be from Division III
     and an additional member shall be a secretary-rules editor; and
 (b) One member shall be elected chair.
21.6.12 Track and Field Rules Committee, Men's and Women's. [#] The Men's and Women's Track and Field
Rules Committee shall consist of nine members and shall be constituted as follows: (Adopted: 1/14/12 effective 8/1/12)
 (a) Four members shall be from Division I, two members shall be from Division II, two members shall be from Division III
     and an additional member shall be a secretary-rules editor; and
 (b) One member shall be elected chair.
21.6.13 Volleyball Rules Committee, Women's. [#] The Women's Volleyball Rules Committee shall consist of nine
members and shall be constituted as follows: (Revised: 4/26/01 effective 8/1/01, Adopted: 11/1/01)
 (a) Four members shall be from Division I, two members shall be from Division II, two members shall be from Division III
     and one additional member shall serve as nonvoting secretary-rules editor; and
 (b) One member shall be elected chair.
21.6.14 Wrestling Rules Committee, Men's. [#] The Men's Wrestling Rules Committee shall consist of nine members
and shall be constituted as follows: (Adopted: 1/14/12 effective 8/1/12, Revised: 6/23/20 effective 8/1/20)
 (a) Four members shall be from Division I, two members shall be from Division II, two members shall be from Division III
     and an additional member shall be a secretary-rules editor; and
 (b) One member shall be elected chair.
21.7 Common Committees -- Committees With Playing Rules and Championships
Administration Responsibilities. [#]
21.7.1 Selection, Composition, Duties, Term of Office and Operation. [#]
    21.7.1.1 Method of Selection. [#] Each division's governance structure shall appoint members to serve on the
    committees with playing rules and championships administration responsibilities. The Playing Rules Oversight Panel shall
    oversee the selection process of secretary-rules editors and approve the selections for those positions. The secretary-rules
    editor may be reappointed but is limited to a term not to exceed eight years in length and shall be a nonvoting member of
    the committee. The membership of each committee shall include representatives from each of the Association's membership
    divisions. (Revised: 1/11/89, 1/14/97 effective 8/1/97, 11/1/01, 4/24/03, 1/8/07)
         21.7.1.1.1 Waiver -- Secretary-Rules Editor Term Limit. [#] Due to extenuating circumstances, the Playing
         Rules Oversight Panel may waive the secretary-rules editor's eight-year term limit; however, the term shall not be
         extended by more than four additional years. (Adopted: 4/24/03, Revised: 1/8/07)
    21.7.1.2 Composition Requirements. [#] For committees that administer Division I, Division II, Division III and
    National Collegiate Championships in individual sports, at least 25 percent of the positions on each committee shall be
    filled by athletics administrators (athletics directors, associate or assistant athletics directors, senior woman athletics
    administrators, individuals who are employed full time as administrators by member conferences, or individuals who are
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    employed both part time as administrators by member conferences and full time by member institutions). Further, at least
    50 percent of the total positions on each rules committee shall be filled by coaching staff members. For committees that
    administer Division I, Division II, Division III and National Collegiate Championships in team sports, at least 50 percent
    of the positions on each committee shall be filled by athletics administrators. Further, at least 50 percent of the total
    positions on each rules committee shall be filled by coaching staff members. In order for a district to be represented on a
    committee for which district representation is specified, at least five of its active members shall sponsor the sport on an
    intercollegiate basis. (Revised: 1/10/90, 1/10/95, 4/27/00 effective 8/1/00)
         21.7.1.2.1 Exception -- Men's and Women's Skiing Committee. [#] The Men's and Women's Skiing
         Committee shall be exempt from the composition requirements set forth in Bylaw 21.7.1.2. (Adopted: 11/1/00)
    21.7.1.3 Special Operating Rules. [#] Each committee shall act as one body to formulate playing rules and determine
    general policies for the administration of the NCAA championships under its jurisdiction. Division subcommittees,
    composed of committee members from the respective divisions, shall be responsible for administering the respective division
    championships.
    21.7.1.4 Advisory Committees. [#] The governing sports committee may appoint individuals not already serving on a
    sports committee to an advisory committee.
    21.7.1.5 Duties. [#]
         21.7.1.5.1 Rules of Play. Subject to the final authority of the Playing Rules Oversight Panel, each rules committee
         shall establish and maintain rules of play in its sport consistent with the sound traditions of the sport and of such
         character as to ensure good sportsmanship and safe participation by the competitors. Playing rules committees shall
         have the authority to permit rules experimentation in the nontraditional/nonchampionship season without Playing
         Rules Oversight Panel approval. Experimentation in the regular season shall be subject to Playing Rules Oversight
         Panel review. (Revised: 1/10/92 effective 8/1/92, 1/14/97 effective 8/1/97, 4/28/05, 12/2/05, 4/13/23)
         21.7.1.5.2 National Records. [#] In sports for which national records are maintained, each committee shall be
         responsible for approval of such national records.
         21.7.1.5.3 Cooperation with Other Organizations. [#] A rules committee may cooperate with other national
         organizations in the development of common playing rules. (Revised: 1/14/97 effective 8/1/97)
         21.7.1.5.4 Operation. [#] The Board of Governors shall ratify policies regarding the length, location and expenses
         of common committee meetings. (Adopted: 1/14/97 effective 8/1/97, Revised: 10/30/14)
    21.7.1.6 Term of Office. [#] Unless otherwise specified, a member of the committees listed in this bylaw shall be
    appointed for one four-year term. A former member may be appointed to an additional term after three years have elapsed.
    An individual who has served two terms on a committee may not serve further on that committee. A member's term of
    service shall commence on the first day of September following the member's election or appointment. (Revised: 5/13/08)
21.7.2 Beach Volleyball Committee, Women's. [#] The Women's Beach Volleyball Committee shall consist of six
members. (Adopted: 1/17/15, Revised: 7/31/15)
21.7.3 Bowling Committee, Women's. [#] The Women's Bowling Committee shall consist of seven members, including
the secretary-rules editor, who shall be a nonvoting member. (Revised: 10/28/10)
21.7.4 Rifle Committee, Men's and Women's. [#] The Men's and Women's Rifle Committee shall consist of seven
members, including the secretary-rules editor.
21.7.5 Skiing Committee, Men's and Women's. [#] The Men's and Women's Skiing Committee shall consist of seven
members and shall be constituted as follows: (Revised: 1/11/89, 4/11/00, 11/1/01 effective 8/1/01, 10/29/15)
 (a) Two members shall represent men's skiing interests, two members shall represent women's skiing interests and three
     unallocated;
 (b) One member shall be selected from the West skiing region, one member shall be selected from the Central skiing region,
     two members shall be selected from the East skiing region, two members shall be selected at large and one member shall be
     secretary-rules editor; and
 (c) Two members shall be coaches who represent downhill Alpine skiing and two members shall be coaches who represent
     Nordic skiing. The secretary-rules editor may be counted toward satisfying this requirement.
21.7.6 Water Polo Committee, Men's. [#] The Men's Water Polo Committee shall consist of six members and shall be
constituted as follows: (Revised: 10/28/97, 1/12/99 effective 8/1/99, 1/8/07)
 (a) Two members shall be from the East region;
 (b) Two members shall be from the West region;
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(c) One member shall be selected at large; and
(d) An additional member shall be secretary-rules editor.
21.7.7 Water Polo Committee, Women's. [#] The Women's Water Polo Committee shall consist of six members. There
shall be three members from Division I, one member from Division II, one member from Division III and an additional
member shall be secretary-rules editor. (Adopted: 4/27/00 effective 8/1/00)
21.8 Common Committees -- Committees                                             With        Only        Championship
Administration Responsibilities. [#]
21.8.1 Selection, Composition, Duties, Term of Office and Operation. [#]
    21.8.1.1 Method of Selection. [#] Each applicable division’s governance structure shall nominate and select the
    members and chair of each committee. (Revised: 1/14/97 effective 8/1/97, 11/1/01)
    21.8.1.2 Duties. [#] Each committee shall be responsible for developing policies and procedures governing the
    administration and conduct of the NCAA championships under its jurisdiction, subject to the approval of the applicable
    division's governance structure and the requirements, standards and conditions prescribed by Bylaw 31. Policies and
    procedures governing the administration of National Collegiate Championships applicable to more than one division also
    shall be subject to the ratification of the Board of Governors. (See Bylaw 31 for committee duties related to the
    administration of championships.) (Revised: 1/14/97 effective 8/1/97, 11/1/07 effective 8/1/07, 10/30/14)
    21.8.1.3 Term of Office. [#] Unless otherwise specified, a member of committees listed in this bylaw shall be appointed
    for one four-year term. A former member may be appointed to an additional term after three years have elapsed. An
    individual who has served two terms on a committee may not serve further on that committee. A member's term of service
    shall commence on the first day of September following the member's election or appointment. (Revised: 5/13/08)
    21.8.1.4 Special Operating Rules. [#] Each committee shall act as one body to determine general policies for the
    administration of championships. (Revised: 1/14/97 effective 8/1/97)
    21.8.1.5 Selection Criteria. [#] Each committee shall have the authority to establish championships selection criteria,
    including requirements to use regular-season playing rules that conform with rules used in NCAA championships under its
    jurisdiction in those sports for which the Association does not maintain playing rules.
    21.8.1.6 Regional Advisory Committees. [#] Regional advisory committees may be appointed by each championships
    committee. (Revised: 1/14/97 effective 8/1/97)
    21.8.1.7 Operation. [#] The Board of Governors shall ratify policies regarding the length, location and expenses of
    common committee meetings. (Adopted: 1/14/97 effective 8/1/97, Revised: 10/30/14)
21.8.2 Ice Hockey Committee, Women's. [#] The Women's Ice Hockey Committee shall consist of one member from
each conference that is eligible for and applies for automatic qualification into the NCAA National Collegiate Women’s Ice
Hockey Championship. (Adopted: 4/27/00, Revised: 4/25/02 effective 8/1/02, 4/26/17 effective 7/18/17, 12/15/21 effective 9/1/22)
21.9 Common Committees -- Committees With Governance Administration
Responsibilities. [#]
21.9.1 Selection. [#] Each applicable division's governance structure shall appoint members to serve on the common
committees with governance administration responsibilities. The membership of each committee shall include representatives
from each of the Association's applicable membership divisions, including each subdivision of Division I. (Adopted: 1/14/97
effective 8/1/97, Revised: 11/1/01)
21.9.2 Operation. [#] The Board of Governors shall ratify policies regarding the length, location and expenses of common
committee meetings. (Adopted: 1/14/97 effective 8/1/97, Revised: 10/30/14)
21.9.3 International Student Records Committee. [#]
    21.9.3.1 Composition. [#] The committee shall consist of six members, including two Division I representatives, two
    Division II representatives and two representatives who may be from either Division I or Division II. (Adopted: 4/27/00,
    Revised: 5/9/07, 4/30/09, 10/29/09)
    21.9.3.2 Duties. [#] The committee shall assist in reviewing initial-eligibility standards for international students. The
    Division I Committee on Academics and the Division II Academic Requirements Committee shall annually review and
    approve the policies and procedures of the International-Student Records Committee. (Adopted: 4/27/00, Revised: 10/29/15)



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   21.9.3.3 Terms. [#] Committee members shall be appointed for one three-year term. Members may be appointed to an
   additional term(s) on the committee after three years have elapsed. An individual who has served three consecutive terms on
   the committee may not serve further on that committee. (Adopted: 4/27/00, Revised: 11/1/01)
21.9.4 High School Review Committee. [#]
   21.9.4.1 Composition. [#] The committee shall consist of nine members and shall be constituted as follows: (Adopted:
   4/26/07, Revised: 11/1/07 effective 8/1/08, 8/7/14, 4/30/15)
    (a) One admissions officer of a Division I or Division II institution;
    (b) One staff member of a Division I or Division II institution or conference office;
    (c) One staff member of a Division I institution or conference;
    (d) One representative from the Division II Academic Requirements Committee;
    (e) Four representatives from the secondary-school community; and
    (f) One member selected at large from either the secondary-school community or a Division I or II institution or
        conference office.
   21.9.4.2 Duties. [#] The committee shall have the authority to establish policies and procedures related to the academic
   review of high schools and to determine the validity of a high school (e.g., core courses, curriculum, grades) for the purpose
   of meeting initial-eligibility requirements. A review may result in a determination that a high school shall not be used for
   the purpose of meeting initial-eligibility requirements. The policies and procedures for the review and determination of the
   validity of a high school shall be approved by the Division I Committee on Academics and the Division II Academic
   Requirements Committee. (See Bylaw 14.1.2.2.) (Adopted: 4/26/07, Revised: 11/1/07 effective 8/1/08, 8/7/14)
   21.9.4.3 Terms. [#] Committee members shall be appointed to one four-year term. A member's term of service shall
   commence on the first day of July following the member's appointment. A member may be appointed to one additional
   term. An individual who has served two terms may not be re-appointed. The term of service of the member serving on the
   Division II Academic Requirements Committee shall run concurrently with service on that committee. (Adopted: 4/26/07,
   Revised: 11/1/07 effective 8/1/08, 8/7/14, 4/30/15)
   21.9.4.4 Appeals. [#] The committee determination shall be final, binding and conclusive and shall not be subject to
   further review by any other authority. (Adopted: 4/26/07, Revised: 11/1/07 effective 8/1/08)
21.9.5 Student Records Review Committee. [#]
   21.9.5.1 Composition. [#] The committee shall consist of nine members and shall be constituted as follows: (Adopted:
   4/26/07, Revised: 11/1/07 effective 8/1/08, 8/7/14, 4/30/15)
    (a) One admissions officer of a Division I or Division II institution;
    (b) One staff member of a Division I or Division II institution or conference office;
    (c) One staff member of a Division I institution or conference;
    (d) One representative from the Division II Academic Requirements Committee;
    (e) Four representatives from the secondary-school community; and
    (f) One member selected at large from either the secondary-school community or a Division I or II institution or
        conference office.
   21.9.5.2 Duties. [#] The committee shall have the authority to establish policies and procedures related to the review of a
   prospective student-athlete's academic credentials and to determine the validity of a prospective student-athlete's academic
   credentials for the purpose of meeting initial-eligibility requirements. A review may result in a determination that a
   prospective student-athlete's academic credentials shall not be used for the purpose of meeting initial-eligibility
   requirements. The policies and procedures for the review of academic credentials and the determination of the validity of
   such credentials shall be approved by the Division I Committee on Academics and the Division II Academic Requirements
   Committee. (See Bylaw 14.1.2.3.) (Adopted: 4/26/07, Revised: 11/1/07 effective 8/1/08, 8/7/14)
   21.9.5.3 Terms. [#] Committee members shall be appointed to one four-year term. A member's term of service shall
   commence on the first day of January following the member's appointment. A member may be appointed to one additional
   term. An individual who has served two terms may not be re-appointed. The term of service of the member serving on the
   Division II Academic Requirements Committee shall run concurrently with service on that committee. (Adopted: 4/26/07,
   Revised: 11/1/07 effective 8/1/08, 8/7/14, 4/30/15)
   21.9.5.4 Appeals. [#] The committee determination shall be final, binding and conclusive and shall not be subject to
   further review by any other authority. (Adopted: 4/27/07, Revised: 11/1/07 effective 8/1/08)
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21.10 Division I Committees.
21.10.1 Eligibility for Membership.
    21.10.1.1 "On the Staff." Individuals serving on Division I committees, or as Division I representatives on Association-
    wide or common committees shall be salaried on a regular basis by a Division I institution or conference and perform a
    regular staff function representing at least 50 percent of the normal workload for a staff member at that institution or
    conference, unless otherwise specified. In addition, a conference office staff member must be employed at a single or
    multisport conference that meets the requirements for automatic qualification and must be nominated by a multisport
    conference set forth in Bylaw 21.1.1. (Adopted: 1/14/97 effective 8/1/97, Revised: 10/31/02 effective 8/1/03, 1/8/07, 8/7/14)
         21.10.1.1.1 Modification in Employment Status. If a committee member's employment status is altered to the
         extent that the individual no longer meets this requirement, the individual shall be replaced. (Adopted: 1/14/97 effective
         8/1/97, Revised: 11/1/07 effective 8/1/08, 8/7/14)
         21.10.1.1.2 Individuals on Sabbatical or Temporary Leave. An individual on sabbatical or other temporary
         leave for a period not exceeding 12 consecutive months may be considered to be "on the staff" and eligible for
         committee membership. An individual on terminal leave or on leave in excess of 12 consecutive months shall not be
         eligible to serve on a committee. (Adopted: 1/14/97 effective 8/1/97, Revised: 8/7/14)
         21.10.1.1.3 Waiver of Replacement Requirement. The Council, subject to ratification by the Board of
         Directors, shall have the authority to waive this provision or to approve a delayed replacement if it deems that an
         immediate replacement would be detrimental to the work of the committee involved. (Adopted: 1/14/97 effective
         8/1/97, Revised: 11/1/07 effective 8/1/08, 8/7/14)
         21.10.1.1.4 Exception -- Secretary-Rules Editor. An individual serving as the secretary-rules editor on a sport
         rules committee shall not be subject to the "on the staff" requirement set forth in Bylaw 21.10.1.1. (Adopted: 8/9/01)
         21.10.1.1.5 Exception -- Playing Rules Committees. Institutional staff members from Division II or Division
         III institutions that sponsor a Division I sport may serve on that sport's playing rules committee as a Division I
         representative, provided at least 25 percent of the institutions that sponsor the sport are Division II or III institutions.
         (Adopted: 1/8/07 effective 8/1/07)
21.10.2 Representation. No subdivision shall have more than 50 percent representation on any committee unless approved
by a vote of at least 85 percent of the Board of Directors. The Board of Directors, the Council and football-related committees
are not subject to this requirement. (Adopted: 1/14/97 effective 8/1/97, Revised: 6/4/07, 11/1/07 effective 8/1/08, 8/7/14)
    21.10.2.1 Exception. The following committees shall not be subject to the requirement that no subdivision shall have
    more than 50 percent representation on any committee: (Adopted: 10/27/98, Revised: 11/1/01, 8/8/02, 10/31/02, 4/24/03,
    4/29/04, 5/30/07, 1/14/08, 4/28/11, 8/7/14, 1/17/18 effective 8/1/18, 1/23/19 effective 8/1/19, 6/23/20 effective 8/1/20,
    8/31/22 effective 1/1/23)
     (a) Baseball Committee;
     (b) Men's Basketball Committee;
     (c) Women's Basketball Committee;
     (d) Committee on Academics;
     (e) Committee on Infractions;
     (f) Committee on Student-Athlete Reinstatement;
     (g) Men's Gymnastics Committee;
     (h) Women's Gymnastics Committee;
     (i) Infractions Appeals Committee;
     (j) Initial-Eligibility Waivers Committee;
     (k) Men's Soccer Committee;
     (l) Women's Soccer Committee;
     (m) Women's Softball Committee;
     (n) Women's Volleyball Committee; and
     (o) Men's Wrestling Committee.
21.10.3 Appointments, Methods of Selection and Term of Office.

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    21.10.3.1 Appointment of Committees. The Council shall make committee appointments. (Adopted: 1/14/97 effective
    8/1/97, Revised: 11/1/07 effective 8/1/08, 8/7/14)
    21.10.3.2 Term of Office of Committees. The term of office for members of committees shall be as follows: (Adopted:
    1/14/97 effective 8/1/97, Revised: 11/1/07 effective 8/1/08, 8/7/14)
     (a) Unless otherwise specified, members of committees shall be appointed for one four-year term. A former committee
         member may be appointed to an additional term on that committee after three years have elapsed. An individual who
         has served two terms on a committee may not serve further on that committee;
     (b) Unless otherwise specified, a term of office shall commence on the first day of September following the member's
         appointment;
     (c) Members who serve more than one-half of a term shall be considered to have served a full term; and
     (d) The chair of each committee may recommend to the Council that a member be replaced if the member is not properly
         discharging the member's duties.
21.10.4 Meeting Length and Sites. The Council, subject to ratification by the Board of Directors, is responsible for
developing policies governing the length, sites and expenses related to Division I committee meetings (see Bylaw 31.7.2).
(Adopted: 1/14/97 effective 8/1/97, Revised: 11/1/07 effective 8/1/08, 8/7/14)
21.10.5 Committees Reporting to the Committee on Academics.
    21.10.5.1 Initial-Eligibility Waivers Committee.
         21.10.5.1.1 Composition. The Initial-Eligibility Waivers Committee shall consist of 20 members. (Adopted:
         1/14/97 effective 8/1/97, Revised: 4/15/97, 10/30/03, 11/1/07 effective 8/1/08, 8/7/14)
         21.10.5.1.2 Term of Office. A member's term of office shall commence on the first day of January following the
         member's appointment. (Adopted: 4/27/00)
         21.10.5.1.3 Duties. The committee shall be responsible for: (Adopted: 1/14/97 effective 8/1/97, Revised: 1/16/10
         effective 5/1/10, 8/7/14)
         (a) Oversight of the process for reviewing requests for waivers of the initial-eligibility requirements in accordance with
             Bylaw 14.3.1.4 . The policies and procedures for the review of such waivers shall be approved by the Committee
             on Academics; and
         (b) Consideration of appeals of staff decisions related to initial-eligibility waiver requests.
         21.10.5.1.4 Appeals. After the NCAA staff has acted on an initial-eligibility matter, the involved institution may
         appeal the decision to the Initial-Eligibility Waivers Committee. The committee determination shall be final, binding
         and conclusive and shall not be subject to further review by any other authority. (Adopted: 4/15/97, Revised: 11/1/07
         effective 8/1/08, 1/16/10 effective 5/1/10)
    21.10.5.2 Progress-Toward-Degree Waivers Committee.
         21.10.5.2.1 Composition. The Progress-Toward-Degree Waivers Committee shall consist of 14 members. (Revised:
         4/24/03, 11/1/07 effective 8/1/08, 10/27/11 effective 4/1/12, 8/7/14)
         21.10.5.2.2 Duties. The committee shall be responsible for: (Revised: 1/16/10 effective 5/1/10, 10/27/11 effective
         4/1/12, 8/7/14)
         (a) Oversight of the process for reviewing requests for waivers of all progress-toward-degree requirements set forth in
             Bylaw 14.4.3 and all full-time enrollment requirements of Bylaw 14.2. The policies and procedures for the review
             of such waivers shall be approved by the Committee on Academics; and
         (b) Oversight of the process for reviewing requests for waivers of the two-year college transfer requirements set forth in
             Bylaw 14.5.4 and 14.5.5. The policies and procedures for the review of such waivers shall be approved by the
             Committee on Academics; and
         (c) Consideration of appeals of staff decisions related to waiver requests for which the committee has jurisdiction.
         21.10.5.2.3 Appeals. After the NCAA staff has acted on a progress-toward-degree or two-year college transfer
         matter, the involved institution may appeal the decision to the Progress-Toward-Degree Waivers Committee. The
         committee's determination shall be final, binding and conclusive and shall not be subject to further review by any other
         authority. (Adopted: 1/16/10 effective 5/1/10, Revised: 10/28/11 effective 4/1/12)
    21.10.5.3 Common Committees. The following committees shall report to the Committee on Academics regarding
    issues related to Division I: (Adopted: 11/1/07 effective 8/1/08, Revised: 8/7/14)

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     (a) International-Student Records Committee;
     (b) High School Review Committee; and
     (c) Student Records Review Committee.
21.10.6 Committees Reporting to the Council. The total composition of the seven standing committees of the Council
(Men's Basketball Oversight Committee, Women's Basketball Oversight Committee, Competition Oversight Committee,
Football Oversight Committee, Legislative Committee, Strategic Vision and Planning Committee and Student-Athlete
Experience Committee) shall consist of approximately 95 members, as set forth in the Council's policies and procedures. The
composition of other committees that report to the Council is set forth below. (Revised: 10/4/17)
    21.10.6.1 Men's Basketball Oversight Committee. The composition, duties and substructure of the Men's
    Basketball Oversight Committee are set forth in the policies and procedures of the Council and the committee's policies
    and procedures. (Adopted: 10/4/17)
         21.10.6.1.1 Men's Basketball Committee. The Men's Basketball Committee shall consist of 12 members,
         including one member from each of the five conferences named in Bylaw 9.2.2.1.1, three members selected from the
         seven highest ranked other conferences based on basketball success and four members from the conferences ranked
         13-32 based on basketball success. Basketball success is defined as total conference appearances plus total conference
         wins in the previous five NCAA championships, excluding First Four wins. The committee shall include at least one
         member from each of the five Division I men's basketball regions and seven members selected at large. Not more than
         four committee members shall represent any single region. (Revised: 10/4/17, 1/14/21 composition achieved through
         normal attrition)
             21.10.6.1.1.1 Term of Office. A committee member shall be appointed for a five-year term. (Revised: 10/4/17)
    21.10.6.2 Women's Basketball Oversight Committee. The composition, duties and substructure of the Women's
    Basketball Oversight Committee are set forth in the policies and procedures of the Council and the committee's policies
    and procedures. (Adopted: 10/4/17)
         21.10.6.2.1 Women's Basketball Committee. The Women's Basketball Committee shall consist of 12 members,
         including one member from each of the five conferences named in Bylaw 9.2.2.1.1, three members selected from the
         seven highest ranked other conferences based on basketball success and four members from the conferences ranked
         13-32 based on basketball success. Basketball success is defined as total conference appearances plus total conference
         wins in the previous five NCAA championships, excluding First Four wins. The committee shall include at least one
         member from each of the five Division I women's basketball regions and seven members selected at large. Not more
         than four committee members shall be from any single region. (Revised: 10/4/17, 1/14/21 composition achieved through
         normal attrition, 1/11/23)
             21.10.6.2.1.1 Term of Office. A committee member shall be appointed for a five-year term. (Revised: 10/4/17)
    21.10.6.3 Competition Oversight Committee. The composition, duties and substructure of the Competition
    Oversight Committee are set forth in the policies and procedures of the Council and the committee's policies and
    procedures. (Adopted: 10/4/17)
         21.10.6.3.1 Sports Committees.
             21.10.6.3.1.1 Rules Committees without Championships Responsibilities. These Association-wide
             committees shall report to the applicable sport oversight committee or the Competition Oversight Committee for
             Division I review of the playing rules developed by those committees, which are applicable to all divisions.
             (Adopted: 1/14/97 effective 8/1/97, Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
             21.10.6.3.1.2 Rules Committees with Championships Responsibilities. These common committees
             shall report to the Competition Oversight Committee for Division I review of the playing rules developed by those
             committees, which are applicable to all divisions. Each committee shall act as one body to formulate playing rules
             and to administer championships in those sports in which there is only a National Collegiate Championship.
             Division I members of each committee shall be responsible for administering the Division I championship in the
             sport. (Adopted: 1/14/97 effective 8/1/97, Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
                  21.10.6.3.1.2.1 Administration of Championships. Each committee shall develop policies and
                  procedures governing the administration of the NCAA championships under its jurisdiction, subject to the
                  approval of the Competition Oversight Committee, and shall control, direct and supervise the conduct of said
                  championships subject to the requirements, standards and conditions prescribed by Bylaw 31. (Adopted:
                  1/14/97 effective 8/1/97, Revised: 11/1/07 effective 8/1/08, 8/7/14, 6/3/15, 10/4/17)


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             21.10.6.3.1.2.2 Regional Advisory Committees. Regional advisory committees may be appointed by
             each sports committee as prescribed by the Competition Oversight Committee. (Adopted: 1/14/97 effective
             8/1/97, Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
         21.10.6.3.1.3 Committees with Championships Administration and Sports Issues
         Responsibilities. These sports committees shall be responsible for administering the Division I championships
         or National Collegiate Championships in the applicable sport. Those committees that administer National
         Collegiate Championships may include representatives from member institutions in Divisions II and III. Those
         committees administering Division I championships may meet with committees administering championships in
         the same sport in other divisions as appropriate for the efficient administration of the championships. (Adopted:
         1/14/97 effective 8/1/97, Revised: 11/1/07 effective 8/1/08)
             21.10.6.3.1.3.1 Composition Requirements. For committees that administer championships in
             individual sports, at least 25 percent of the positions on each sports committee shall be filled by athletics
             administrators (e.g., athletics directors, associate or assistant athletics directors, senior woman administrators,
             individuals who are employed full time as administrators by member conferences, or individuals who are
             employed both part time as administrators by member conferences and full time by member institutions). For
             committees that administer championships in team sports, at least 50 percent of the positions on each sports
             committee shall be filled by athletics administrators. (Adopted: 1/14/97 effective 8/1/97)
             21.10.6.3.1.3.2 Duties. Each committee shall be responsible for: (Adopted: 1/14/97 effective 8/1/97, Revised:
             11/1/07 effective 8/1/08, 8/7/14)
              (a) Developing policies and procedures governing the administration and conduct of the NCAA
                  championships under its jurisdiction, subject to the approval of the Council and the requirements,
                  standards and conditions prescribed by Bylaw 31; and
              (b) The review of issues related to the applicable sport.
             21.10.6.3.1.3.3 Championships Selection Criteria. Each committee shall have the authority to
             establish championships selection criteria, including requirements to use regular-season playing rules that
             conform with rules used in NCAA championships under its jurisdiction in those sports for which the
             Association does not maintain playing rules. (Adopted: 1/14/97 effective 8/1/97, Revised: 11/1/07 effective
             8/1/08)
             21.10.6.3.1.3.4 Regional Advisory Committees. Regional advisory committees may be appointed by
             each sports committee as prescribed by the Competition Oversight Committee. (Adopted: 1/14/97 effective
             8/1/97, Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
             21.10.6.3.1.3.5 Baseball Committee. The Baseball Committee shall consist of 10 members, including
             one member from each of the five Division I baseball regions and five members selected at large. Six members
             shall be representatives from Football Bowl Subdivision institutions, and four members shall be
             representatives from Football Championship Subdivision and Division I Subdivision institutions. (Adopted:
             1/14/97 effective 8/1/97, Revised: 10/27/98, 12/15/06, 10/5/16)
             21.10.6.3.1.3.6 Men's and Women's Fencing Committee. The Men's and Women's Fencing
             Committee shall consist of eight members. Four members shall represent men's fencing interests, including
             one representative from each of the four men's fencing regions. Four members shall represent women's
             fencing interests, including one representative from each of the four women's fencing regions. (Adopted:
             1/14/97 effective 8/1/97)
             21.10.6.3.1.3.7 Field Hockey Committee. The Field Hockey Committee shall consist of six members.
             One member shall be selected from each of the five Division I field hockey regions, and one member shall be
             selected at large. (Adopted: 1/14/97 effective 8/1/97, Revised: 1/12/99 effective 8/1/99)
             21.10.6.3.1.3.8 Men's Golf Committee. The Men's Golf Committee shall consist of six members.
             (Adopted: 1/14/97 effective 8/1/97, Revised: 10/28/97 effective 8/1/98, 4/20/99 effective 8/1/99, 10/28/99)
             21.10.6.3.1.3.9 Women's Golf Committee. The Women's Golf Committee shall consist of six members.
             (Adopted: 10/28/99)
             21.10.6.3.1.3.10 Men's Gymnastics Committee. The Men's Gymnastics Committee shall consist of six
             members, including at least two representatives from each of the two men's gymnastics regions (East and
             West) and two representatives selected at large. (Adopted: 1/14/97 effective 8/1/97, Revised: 4/24/03)


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            21.10.6.3.1.3.11 Women's Gymnastics Committee. The Women's Gymnastics Committee shall
            consist of seven members, including six members from Division I and one member from Division II or III.
            The six Division I members shall include one member from each of the six women's gymnastics regions and
            the Division II or III member may represent any of the six women's gymnastics regions. Further, the Division
            II or III member shall be excluded in determining whether the 50 percent administrator committee
            composition requirements per Bylaw 21.7.1.2 are met. (Adopted: 1/14/97 effective 8/1/97, Revised: 10/28/99
            effective 8/1/00, 4/26/01)
            21.10.6.3.1.3.12 Men's Ice Hockey Committee. The Men's Ice Hockey Committee shall consist of one
            member from each conference that is eligible for and applies for automatic qualification into the Division I
            Men's Ice Hockey Championship. Institutional staff members from Division II or Division III institutions
            that sponsor Division I men's ice hockey may serve on the committee. (Adopted: 1/14/97 effective 8/1/97,
            Revised: 4/26/01, 10/29/09 effective 8/1/10, 4/29/10 effective 8/1/10)
            21.10.6.3.1.3.13 Men's Lacrosse Committee. The Men's Lacrosse Committee shall consist of five
            members, including two representatives from the North region, two representatives from the South region
            and one representative from the West region. Of the five members, at least two must be coaches. (Revised:
            4/27/06)
            21.10.6.3.1.3.14 Women's Lacrosse Committee. The Women's Lacrosse Committee shall consist of six
            members, including one representative from each of the four regions (Northeast, Mid-Atlantic, South and
            West/Midwest) and two representatives selected at large. Not more than two committee members shall be
            from any single region. (Adopted: 1/14/97 effective 8/1/97, Revised: 4/20/99 effective 8/1/99, 4/27/00, 4/24/03
            effective 8/1/03, 5/18/05, 4/27/06)
            21.10.6.3.1.3.15 Women's Rowing Committee. The Women's Rowing Committee shall consist of
            seven members, including one from each of the five Division I women's rowing regions and two members
            selected at large. (Adopted: 1/14/97 effective 8/1/97, Revised: 4/26/01 effective 8/1/01)
            21.10.6.3.1.3.16 Men's Soccer Committee. The Men's Soccer Committee shall consist of eight
            members, including one member from each of the four Division I men's soccer regions and four members
            selected at large. Not more than three members may be appointed from the same region. (Adopted: 1/14/97
            effective 8/1/97, Revised: 10/27/98, 1/12/99 effective 8/1/99, 12/15/06, 1/15/11 effective 8/1/11, 10/5/16,
            1/17/18 effective 8/1/18)
            21.10.6.3.1.3.17 Women's Soccer Committee. The Women's Soccer Committee shall consist of 10
            members, including one member from each of the five Division I women's soccer regions and five members
            selected at large. Not more than two members of the committee may be appointed from the same region. Six
            members shall be representatives from Football Bowl Subdivision institutions, and four members shall be
            representatives from Football Championship Subdivision and Division I Subdivision institutions. (Adopted:
            1/14/97 effective 8/1/97, Revised: 10/27/98, 1/12/99 effective 8/1/99, 4/26/01 effective 8/1/01, 12/15/06,
            10/30/08, 10/5/16)
            21.10.6.3.1.3.18 Women's Softball Committee. The Women's Softball Committee shall consist of 10
            members, including one representative from each of the five regions. Not more than two members of the
            committee may be appointed from the same region. Six members shall be representatives from Football Bowl
            Subdivision institutions, and four members shall be representatives from Football Championship Subdivision
            and Division I Subdivision institutions. (Adopted: 1/14/97 effective 8/1/97, Revised: 10/27/98, 4/20/99 effective
            8/1/99, 4/27/00, 12/15/06, 10/5/16)
            21.10.6.3.1.3.19 Men's and Women's Swimming and Diving Committee. The Men's and Women's
            Swimming and Diving Committee shall consist of 10 members. Four members of the committee shall
            represent men's swimming interests and four members shall represent women's swimming interests, including
            three positions allocated for individuals who identify as male, three allocated for individuals who identify as
            female and two unallocated. An additional two members shall represent diving interests, one representing
            men's diving and one representing women's diving. (Adopted: 1/14/12 effective 8/1/12, Revised: 2/17/23)
            21.10.6.3.1.3.20 Men's and Women's Tennis Committee. The Men's and Women's Tennis
            Committee shall consist of 12 members. Six members of the committee shall represent men's tennis interests
            and six members shall represent women's tennis interests, including four positions allocated for individuals
            who identify as male, four allocated for individuals who identify as female and four unallocated. Not more
            than one of the six members representing men's tennis interests shall be selected from any one of the six
            Division I men's tennis regions. Not more than one of the six members representing women's tennis interests
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                  shall be selected from any one of the six Division I women's tennis regions. (Adopted: 1/14/97 effective 8/1/97,
                  Revised: 1/12/99 effective 8/1/99, 11/1/00, 10/27/06, 2/17/23)
                  21.10.6.3.1.3.21 Men's and Women's Track and Field and Cross Country Committee. The Men's
                  and Women's Track and Field and Cross Country Committee shall consist of 12 members. Six members of
                  the committee shall represent men's track and field and cross country interests and six members shall
                  represent women's track and field and cross country interests, including four positions allocated for
                  individuals who identify as male, four allocated for individuals who identify as female and four unallocated.
                  (Adopted: 1/14/12 effective 8/1/12, Revised: 6/3/15, 2/17/23)
                  21.10.6.3.1.3.22 Men's Volleyball Committee. The Men's Volleyball Committee shall consist of five
                  members, including one member from each of the three men's volleyball regions and two members selected at
                  large. Not more than two committee members shall be from any single region. (Adopted: 1/14/97 effective
                  8/1/97, Revised: 1/12/99 effective 8/1/99, 5/1/19 effective 8/1/19)
                  21.10.6.3.1.3.23 Women's Volleyball Committee. The Women's Volleyball Committee shall consist
                  of 10 members, including one member from each of the five Division I women's volleyball districts and five
                  members selected at large. Six members shall be representatives from Football Bowl Subdivision institutions,
                  and four members shall be representatives from Football Championship Subdivision and Division I
                  Subdivision institutions. (Adopted: 1/14/97 effective 8/1/97, Revised: 10/27/98, 1/12/99 effective 8/1/99,
                  12/15/06, 10/5/16)
                  21.10.6.3.1.3.24 Men's Wrestling Committee. The Men's Wrestling Committee shall consist of six
                  members. (Adopted: 1/14/12 effective 8/1/12, Revised: 6/23/20 effective 8/1/20)
         21.10.6.3.2 Association-Wide Committees. The following committees shall report to the Council Competition
         Oversight Committee regarding issues related to Division I: (Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
         (a) Olympic Sports Liaison Committee; and
         (b) Playing Rules Oversight Panel (for informational purposes only).
   21.10.6.4 Football Oversight Committee. The composition, duties and substructure of the Football Oversight
   Committee are set forth in the policies and procedures of the Council and the committee's policies and procedures.
   (Adopted: 10/4/17)
         21.10.6.4.1 Football Championship Committee. The Football Championship Committee shall consist of one
         representative from each conference that is eligible for and applies for automatic qualification for participation in the
         Division I Football Championship. (Revised: 10/4/17)
   21.10.6.5 Legislative Committee. The composition, duties and substructure of the Legislative Committee are set forth
   in the policies and procedures of the Council and the committee's policies and procedures.
   (Adopted: 10/4/17)
         21.10.6.5.1 Interpretations Committee. The Interpretations Committee shall report to the Legislative
         Committee. (Revised: 10/4/17)
             21.10.6.5.1.1 Composition. The Interpretations Committee shall consist of 11 members, including a
             representative from each of the five conferences named in Bylaw 9.2.2.1.1, a minimum of two members
             representing each subdivision and a minimum of one director of athletics/senior woman administrator, one
             campus compliance administrator, one conference administrator and one faculty athletics representative. (Adopted:
             8/5/04, Revised: 8/7/14, 4/16/15)
             21.10.6.5.1.2 Duties. The committee shall: (Adopted: 8/5/04)
              (a) Determine interpretations of all legislation;
              (b) Review interpretations issued by the academic and membership affairs staff and, if necessary, modify such
                  interpretations;
              (c) Respond to requests from the member institutions to interpret Division I bylaws (see Bylaw 9.3.1.2.1); and
              (d) Identify interpretations to be incorporated into the NCAA Division I Manual.
             21.10.6.5.1.3 Special Operating Rules.
                  21.10.6.5.1.3.1 Limit on Authority. The committee shall not have the authority to alter interpretations
                  that have been approved by the Legislative Committee. Its decision shall be binding unless overturned on


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                appeal to the Legislative Committee at its regularly scheduled meeting. (Adopted: 8/5/04, Revised: 11/1/07
                effective 8/1/08, 8/7/14, 10/4/17)
                21.10.6.5.1.3.2 Areas of Autonomy. The members of the committee who are representatives from the
                five conferences named in Bylaw 9.2.2.1.1 shall have the authority to act on behalf of the committee on
                matters that relate to the areas of autonomy listed in Bylaw 9.2.2.1.2. (Adopted: 8/7/14)
         21.10.6.5.2 Committee for Legislative Relief. The Committee for Legislative Relief shall report to the
         Legislative Committee. (Adopted: 10/4/17)
            21.10.6.5.2.1 Composition. The Committee for Legislative Relief shall consist of seven members, including at
            least one representative from the conferences listed in Bylaw 21.2.1-(b), at least one representative from the
            conferences listed in Bylaw 21.2.1-(c), at least one representative from the conferences listed in Bylaw 21.2.1-(d)
            and at least one representative from the conferences listed in Bylaw 21.2.1-(e). One member of the committee
            shall be a member of the Student-Athlete Experience Committee. (Adopted: 10/4/17)
                21.10.6.5.2.1.1 Student-Athlete Representation. One member of the Student-Athlete Advisory
                Committee shall serve as a member of the committee in an advisory capacity and may serve up to one year
                after completion of athletics eligibility. The student-athlete member shall attend all in-person meetings and
                participate on teleconferences not associated with an appeal of a legislative relief waiver case. (Adopted:
                4/18/18)
            21.10.6.5.2.2 Duties. The Committee for Legislative Relief shall review appeals of waiver requests submitted to
            the NCAA staff for relief from the application of NCAA legislation to a particular situation in which no other
            entity has the authority to act. In reaching its decision, the committee shall review the complete record in order to
            determine whether there is sufficient basis to grant relief from the application of the legislation. The Committee
            for Legislative Relief shall establish policies and procedures for reviewing such requests, subject to the review of the
            Legislative Committee. (Adopted: 10/4/17)
            21.10.6.5.2.3 Authority. A decision made by the Committee for Legislative Relief shall be final, binding and
            conclusive and shall not be subject to further review by any other authority. (Adopted: 10/4/17)
         21.10.6.5.3 Committee on Student-Athlete Reinstatement. The Committee on Student-Athlete
         Reinstatement shall report to the Legislative Committee. (Revised: 10/4/17)
            21.10.6.5.3.1 Composition. The Committee on Student-Athlete Reinstatement shall consist of five members.
            (Adopted: 11/1/01, Revised: 1/9/06, 11/1/07 effective 8/1/08)
                21.10.6.5.3.1.1 Student-Athlete Representation. One member of the Student-Athlete Advisory
                Committee shall serve as a member of the committee in an advisory capacity and may serve up to one year
                after completion of athletics eligibility. The student-athlete member shall attend all in-person meetings and
                participate on teleconferences not associated with an appeal of a reinstatement case. (Adopted: 1/9/06, Revised:
                11/1/07 effective 8/1/08)
            21.10.6.5.3.2 Term of Office. Committee members shall be appointed for one three-year term. A member's
            term of service shall commence on the first day of July following the member's appointment. A committee
            member may be appointed to a second three-year term on the committee. An individual who has served two terms
            on the committee may not serve further on the committee. (Adopted: 11/1/01, Revised: 8/4/05, 11/1/07 effective
            8/1/08)
            21.10.6.5.3.3 Duties. The committee shall have the authority under Bylaw 12.12 to determine all matters
            pertaining to the policies and procedures for the restoration of eligibility of a student-athlete who is ineligible for
            intercollegiate competition as a result of a violation of NCAA legislation and for waivers of legislation for which
            the committee has been authorized to act. (Adopted: 1/11/01, Revised: 11/1/07 effective 8/1/08)
                21.10.6.5.3.3.1 Application of Eligibility Rules. In fulfilling the duties set forth above, the following
                shall apply: (Adopted: 1/11/01, Revised: 1/1/07 effective 8/1/08, 4/20/09, 8/7/14, 10/4/17)
                 (a) Authority of the Student-Athlete Reinstatement Staff. Subject to review by the Legislative
                     Committee, the student-athlete reinstatement staff is authorized to apply the eligibility rules of the
                     division.
                 (b) Appeals. After the student-athlete reinstatement staff has acted on a reinstatement matter or waiver, the
                     involved institution or conference may appeal the decision to the Committee on Student-Athlete
                     Reinstatement. The committee's determination shall be final, binding and conclusive and shall not be
                     subject to further review by any other authority.

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   21.10.6.6 Strategic Vision and Planning Committee. The composition, duties and substructure of the Strategic
   Vision and Planning Committee are set forth in the policies and procedures of the Council and the committee's policies
   and procedures.
   (Adopted: 10/4/17)
         21.10.6.6.1 Association-Wide Committees. The following committees shall report to the Strategic Vision and
         Planning Committee regarding issues related to Division I: (Adopted: 10/4/17, Revised: 1/11/23, 4/13/23)
         (a) Committee on Competitive Safeguards and Medical Aspects of Sports;
         (b) Honors Committee;
         (c) Minority Opportunities and Interests Committee;
         (d) Postgraduate Scholarship Committee;
         (e) Walter Byers Scholarship Committee; and
         (f) Committee on Women's Athletics.
   21.10.6.7 Student-Athlete Experience Committee. The composition, duties and substructure of the Student-
   Athlete Experience Committee are set forth in the policies and procedures of the Council and the committee's policies and
   procedures. (Adopted: 10/4/17)
         21.10.6.7.1 Preenrollment Amateurism Certification Committee. The Preenrollment Amateurism
         Certification Committee shall report to the Student-Athlete Experience Committee. (Adopted: 10/6/17, Revised:
         5/19/21)
             21.10.6.7.1.1 Composition. The committee shall consist of seven members, including four members from the
             conferences named in Bylaw 9.2.2.1.1 and one member of the Student-Athlete Advisory Committee. (Adopted:
             10/4/17, Revised: 5/19/21)
             21.10.6.7.1.2 Duties. The committee shall be responsible for establishing and maintaining preenrollment
             amateurism certification policies and procedures, subject to the review of the Student-Athlete Experience
             Committee. Additionally, the committee shall be responsible for making a determination of facts related to the
             certification of a prospective student-athlete's amateur status on appeal of an institution related to a final
             determination of facts by the staff of the NCAA Eligibility Center. The student-athlete member of the committee
             shall not participate in such an appeal. Additional policies and procedures governing such an appeal shall be
             approved by the Student-Athlete Experience Committee. (Adopted: 10/4/17, Revised: 5/19/21)
             21.10.6.7.1.3 Authority. A decision made by the Preenrollment Amateurism Certification Committee shall be
             final, binding and conclusive and shall not be subject to further review by any other authority. (Adopted: 10/4/17,
             Revised: 5/19/21)
   21.10.6.8 Nominating Committee.
         21.10.6.8.1 Composition. The committee shall consist of 12 members, including four representatives from Football
         Bowl Subdivision conferences, four from Football Championship Subdivision conferences, and four from Division I
         Subdivision conferences. (Adopted: 10/4/17)
         21.10.6.8.2 Duties. The committee shall: (Adopted: 10/4/17)
         (a) Recommend representatives for all Division I committees (e.g., sport committees) other than Council standing
             committees and recommend representatives to fill Division I vacancies on Association-wide committees; and
         (b) Conduct a semiannual review of demographic data of Division I governance entities and Division I representation
             on Association-wide committees, including a review of gender and diversity pursuant to the requirements of Bylaw
             21.02.3, and provide a report to the Council Coordination Committee and the Council.
   21.10.6.9 Student-Athlete Advisory Committee.
         21.10.6.9.1 Composition. The Student-Athlete Advisory Committee shall consist of one student-athlete from each
         of the conferences identified in Bylaw 21.1.1. The members shall be selected by the Council from a pool of two
         nominees from each of the represented conferences. (Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/29/15)
         21.10.6.9.2 Term of Office. A student-athlete member shall not serve more than two years on the committee but
         may request appointment for another two-year term, subject to the Council's approval. A member's term of office shall
         commence on the first day of June following the member's appointment. (Adopted: 1/14/97 effective 8/1/97, Revised:
         4/26/01 effective 8/1/01, 11/1/07 effective 8/1/08, 4/29/10, 8/7/14, 1/14/16)


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         21.10.6.9.3 Duties. The committee shall receive information and explanations of divisional activities and legislation,
         review and react to topics referred to it by other governance entities and comment to the governance structure on any
         divisional subject of interest. (Adopted: 1/14/97 effective 8/1/97)
21.10.7 Committees Reporting to Board of Directors.
   21.10.7.1 Committee on Academics. The Committee on Academics shall be appointed and its duties assigned as
   provided in Bylaw 21.3. (Adopted: 4/29/04, Revised: 11/1/07 effective 8/1/08, 7/31/13, 8/7/14)
   21.10.7.2 Committee on Infractions. The Committee on Infractions shall be appointed and its duties assigned as
   provided in Bylaw 19.4. (Adopted: 1/14/97 effective 8/1/97, Revised: 11/1/07 effective 8/1/08)
   21.10.7.3 Infractions Appeals Committee. The Infractions Appeals Committee shall be appointed and its duties
   assigned as provided in Bylaw 19.5. (Adopted: 1/14/97 effective 8/1/97, Revised: 11/1/07 effective 8/1/08)
21.10.8 Concussion Safety Protocol Committee. [A]
   21.10.8.1 Composition. [A] The Concussion Safety Protocol Committee shall consist of six members. One member
   shall be appointed by the NCAA president. One member shall be appointed by each commissioner of the five conferences
   named in Bylaw 9.2.2.1.1. Each representative shall be a medically qualified individual who has appropriate knowledge and
   competence to fulfill the duties of the committee. (Adopted: 1/17/15)
   21.10.8.2 Term of Office. [A] A committee member may be removed at any time at the discretion of the appropriate
   appointing authority (NCAA president or specific conference commissioner). (Adopted: 1/17/15)
   21.10.8.3 Duties. [A] The committee shall: (Adopted: 1/17/15, Revised: 5/23/17, 2/13/20)
    (a) Review each institution's Concussion Safety Protocol for consistency with the requirements of Bylaw 20.2.4.20.1 by
        June 30 of the calendar year in which it is submitted; and
    (b) Provide guidance and updates concerning expectations and requirements for Concussion Safety Protocols and best
        practices for baseline testing, prevention, education, evaluation and management of concussions in a manner that is
        consistent with the NCAA Concussion Safety Protocol Checklist.




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ADMINISTRATIVE, ARTICLE 31

Executive Regulations
31.01 General Principles.
31.01.1 Names of Championships. All NCAA championships (see Bylaw 18.3) have formal designations that identify
their appropriate category and sport classification (see Bylaw 31.02.2). The name of each championship is the property of the
Association (see Bylaw 31.6).
31.01.2 Postseason Championship Opportunities. NCAA championships are intended to provide national-
championship competition among the best eligible student-athletes and teams at the conclusion of the respective sport seasons,
with consideration for regional structures that may be approved for certain championships.
31.01.3 Size of Championship Fields. The size of all NCAA championships fields shall be established by the applicable
sport oversight committee or the Competition Oversight Committee to provide for efficient management of the events,
adequate NCAA championship opportunities relative to the nationwide quality of competition and sound economic
administration of the financial resources of the Association and its championships. (See Bylaw 31.3.1 for the criteria to be
considered in establishing the size of the championship field.) (Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
31.01.4 Economy of Operation. Every sports committee (see Bylaws 21.02.5 through 21.02.7) and games committee
(Bylaw 31.1.2) shall exercise all possible economy in the conduct of an NCAA championship.
31.02 Definitions and Applications.
31.02.1 Automatic Qualification. Automatic qualification is the automatic entry into a championship field by a team or
individual student-athletes representing a member conference recommended by the appropriate sports committee and approved
by the applicable sport oversight committee or the Competition Oversight Committee (see Bylaw 31.3.4). (Revised: 11/1/07
effective 8/1/08, 8/7/14, 10/4/17)
31.02.2 Championships Classification and Terminology.
    31.02.2.1 Team Championships. Generally, team championships are those conducted for the team sports (see Bylaw
    17.02.18.1). The title of a team championship is always singular and is identified as a National Collegiate Championship or
    a division championship (e.g., National Collegiate Women's Water Polo Championship, Division I Men's Basketball
    Championship).
    31.02.2.2 Individual-Team Championships. Generally, individual-team championships are those conducted for the
    individual sports (see Bylaw 17.02.18.2). The title of an individual-team championship is always plural, reflecting the fact
    that both individual and team championships are determined (e.g., National Collegiate Men's Gymnastics Championships,
    Division I Women's Tennis Championships).
31.02.3 Core Conference. A core conference is a multisport conference that has been elected to membership and, as a result
of legislation, is identified in the applicable sections of Bylaw 21 related to representation in the NCAA governance structure.
(Adopted: 1/15/11 effective 8/1/11, Revised: 1/20/22)
31.02.4 Misconduct. Misconduct in an NCAA championship is any act of dishonesty, unsportsmanlike conduct,
unprofessional behavior or breach of law, occurring from the time the championship field is announced through the end of the
championship, that discredits the event or intercollegiate athletics. (Revised: 8/15/89, 8/13/92, 1/14/08 effective 8/1/08)
31.1 Administration of NCAA Championships.
31.1.1 Authority for Conduct of Championships. As specified in Bylaw 18.1, all NCAA championships shall be
conducted in accordance with the general policies established by the applicable sport oversight committee or the Competition
Oversight Committee and shall be under the control, direction and supervision of the appropriate sports committees, subject to
the standards and conditions set forth in these executive regulations. Additional policies of an administrative nature are set forth
in the respective championships handbooks and are to be followed in the administration of NCAA championships. (Revised:
8/9/07, 11/1/07 effective 8/1/08, 8/7/14, 10/30/14, 10/4/17)
    31.1.1.1 Waivers. The NCAA president shall be authorized to grant waivers of executive regulations governing the
    conduct of an NCAA championship when warranted by special and unusual circumstances.
    31.1.1.2 Appeal of Decisions of Sports Committees. An appeal of a decision of a governing sports committee, or a
    subcommittee designated by it, concerning questions of individual or institutional eligibility or the conduct of a
    championship will not be considered by the applicable sport oversight committee or the Competition Oversight Committee
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    at any time during the championship or 48 hours immediately preceding the beginning of the championship. During such
    period, the governing sports committee, or a subcommittee designated by it, shall be the final authority in acting upon
    appeals concerning the conduct of the championship, subject to the provisions of Bylaw 31.2 regarding institutional and
    individual eligibility questions. (Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
31.1.2 Games Committee. The governing sports committee shall appoint a games committee to supervise actively the
conduct of each championship session. The games committee conducting any NCAA championship shall limit participation to
eligible student-athletes and may limit the number of entries or reject any application for entry in any event in order that the
competition shall best promote the welfare and interest of the sport involved.
31.1.3 Sites and Dates. The governing sports committees recommend to the applicable sport oversight committee or the
Competition Oversight Committee the sites and dates for all NCAA championships. (Revised: 11/1/07 effective 8/1/08, 8/7/14,
10/4/17)
    31.1.3.1 Approval. Approval shall be obtained before final site commitments are made to the host institution or any
    other individual or organization associated with the management of an NCAA championship. However, in baseball,
    basketball, field hockey, football, ice hockey, lacrosse, soccer, softball and volleyball, the governing sports committees are
    authorized to select sites for preliminary rounds of competition without prior approval. (Revised: 11/1/07 effective 8/1/08,
    8/7/14, 10/4/17)
    31.1.3.2 Site Selection. The governing sports committees shall evaluate prospective sites for NCAA championships in
    terms of the specific criteria approved by the applicable sport oversight committee or the Competition Oversight
    Committee. The division championships committees may assign specific priorities to these criteria for their respective
    championships. These criteria shall be specified in the appropriate championships handbooks. A governing sports
    committee that desires to use additional criteria shall obtain approval before doing so. (Revised: 11/1/07 effective 8/1/08,
    8/7/14, 10/4/17)
         31.1.3.2.1 Criteria for Site Determination. The following criteria are to be used in the evaluation of sites for all
         competition in NCAA championships: (Revised: 11/1/01, 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
          (a) Quality and availability of the facility and other necessary accommodations;
          (b) Revenue potential (e.g., a financial guarantee or guideline that ensures fiscal responsibility and is appropriate for
              the particular event, as recommended by the governing sports committee and approved by the applicable sport
              oversight committee or the Competition Oversight Committee);
          (c) Attendance history and potential;
          (d) Geographical location; and
          (e) Championships operating costs.
             31.1.3.2.1.1 Site Bid Information. Sports committees shall submit information related to championships site
             bids in a format approved by the applicable sport oversight committee or the Competition Oversight Committee.
             (Adopted: 11/1/01, Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
         31.1.3.2.2 Nonpredetermined Site. If a championship site is not predetermined, the governing sports committee
         may award the site to the higher-ranked team if the above criteria, and any priorities established by the respective
         division championships committee, are met.
         31.1.3.2.3 On-Campus Versus Off-Campus Sites. Preference shall be given to conducting competition on the
         grounds or in the buildings of educational institutions unless there are compelling reasons, based on evaluation of the
         criteria in Bylaw 31.1.3.2.1 (which shall be applied to both on-campus and off-campus sites), to conduct the
         competition in an off-campus facility. In those instances in which it is advisable to conduct the competition at off-
         campus sites, the host institution(s) shall have complete control, supervision and management of the facility being
         used. (Revised: 12/3/90)
         31.1.3.2.4 Reconsideration of Host Institution. The applicable sport oversight committee or the Competition
         Oversight Committee may reconsider the designation of a host institution for an NCAA championship if that
         institution's team or individual student-athletes are not eligible to compete in the championship. (Revised: 11/1/07
         effective 8/1/08, 8/7/14, 10/4/17)
         31.1.3.2.5 Nonrevenue Championships Site Assignment. In championships that do not generate revenue and
         for which only 25 percent of the bracket is seeded, seeded teams shall have the opportunity to host preliminary rounds.
         Conference opponents shall be avoided in the first two rounds of the championships. (Adopted: 4/28/11 effective 8/1/11)



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    31.1.3.3 Concluding Dates. NCAA championships competition shall be concluded not later than May 31 each year
    unless later dates are approved by the applicable sport oversight committee or the Competition Oversight Committee.
    (Note: Waivers have been granted for the Division I Baseball Championship, the Division I Men's Golf Championships,
    the Division I Softball Championship, and the Division I Men's and Women's Outdoor Track and Field Championships.)
    (Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
31.1.4 Day of Competition. NCAA championships competition may be scheduled or conducted on any day, provided the
governing sports committee has received the prior approval of the applicable sport oversight committee or the Competition
Oversight Committee and the following regulations are applied. (Revised: 4/22/98, 8/11/98, 11/1/07 effective 8/1/08, 8/7/14,
10/4/17)
    31.1.4.1 Institutional Policy. If a participating institution has a written policy against competition on a particular day
    for religious reasons, it shall submit its written policy to the governing sports committee on or before September 1 of each
    academic year in order for it or one of its student-athletes to be excused from competing on that day. The championship
    schedule shall be adjusted to accommodate that institution. (Adopted: 4/22/98, Revised: 8/11/98, 10/28/99, 5/2/13)
    31.1.4.2 Individual Championships. In individual championships, an athlete must compete according to the
    institution's policy regarding Sunday competition (if the institution has no policy against Sunday competition, the athlete
    shall compete on Sunday if required by the schedule).
    31.1.4.3 Rescheduling. If an emergency develops that causes postponement of an NCAA championship, or if the
    competitive situation dictates a more expeditious completion of the meet or tournament, Sunday competition may be
    permitted, provided the competing institutions are agreeable and advance approval is obtained from the applicable sport
    oversight committee or the Competition Oversight Committee. (Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
    31.1.4.4 Noon Start Time. NCAA competition conducted on Sunday may not begin prior to noon, local time.
         31.1.4.4.1 Exception. Sports committees may reschedule competition to begin prior to noon on Sunday if
         extenuating circumstances arise (e.g., weather) that would affect the health and safety of the participants or otherwise
         cause postponement of the championship. (Adopted: 4/25/02, Revised: 10/30/03)
         31.1.4.4.2 Exception -- Men's Golf and Women's Rowing Championships. In instances in which the final
         day of the men's golf or women's rowing championships occurs on a Sunday, competition may begin prior to noon.
         (Adopted: 10/31/02 effective 8/1/03, Revised: 1/14/12)
         31.1.4.4.3 Exception -- Women's Golf Championships. Competition conducted on Sunday in the women's golf
         championships may begin prior to noon. (Adopted: 10/29/15)
         31.1.4.4.4 Exception -- Men's and Women's Fencing Championships. Competition conducted on Sunday in
         the men's and women's fencing championships may begin prior to noon. (Adopted: 10/29/15)
31.1.5 Squad Limits. In any championship in which a squad limit has been established by the governing sports committee
or by the bylaws, the number of eligible student-athletes in competitive uniform at the start of the competition shall not exceed
the prescribed number. An institution that is advised that it is in violation of this regulation and that does not promptly
conform to it automatically shall forfeit the competition. There shall be no inordinate delay of the competition to allow the
institution to conform to the rule.
31.1.6 Playing Rules.
    31.1.6.1 Non-NCAA Rules, Men's Sports. In those men's sports in which the Association does not publish rules, the
    NCAA championships shall be conducted according to the following, except where those rules are superseded by
    modifications recommended by the appropriate governing sports committee and approved by the Playing Rules Oversight
    Panel (see Bylaw 18.6): (Revised: 4/20/11, 1/23/19, 5/2/19)
     (a) Fencing -- U.S. Fencing Association Rules;
     (b) Golf -- U.S. Golf Association Rules;
     (c) Gymnastics -- International Gymnastics Federation Rules;
     (d) Rifle -- USA Shooting Rules;
     (e) Skiing -- International Ski Federation and U.S. Ski and Snowboard Association Competition Guides;
     (f) Tennis -- U.S. Tennis Association Rules; and
     (g) Volleyball -- U.S. Volleyball Association Rules.
    31.1.6.2 Non-NCAA Rules, Women's Sports. In those women's sports in which the Association does not publish rules,
    the NCAA championships shall be conducted according to the following, except where those rules are superseded by

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    modifications recommended by the appropriate governing sports committee and approved by the Playing Rules Oversight
    Panel (see Bylaw 18.6): (Adopted: 1/14/97, Revised: 4/20/11, 1/23/19, 5/2/19)
     (a) Fencing -- U.S. Fencing Association Rules;
     (b) Field Hockey -- International Field Hockey Rules;
     (c) Golf -- U.S. Golf Association Rules;
     (d) Gymnastics -- USA Gymnastics Junior Olympic and Paralympic Women’s Code of Points (Level 10 Rules)
     (e) Rifle -- USA Shooting Rules;
     (f) Rowing -- U.S. Rowing Rules;
     (g) Skiing -- International Ski Federation and U.S. Ski and Snowboard Association Competition Guides; and
     (h) Tennis -- U.S. Tennis Association Rules.
31.1.7 Logo Restrictions -- Bench Personnel. The logo restrictions on student-athletes' apparel set forth in Bylaw
12.5.4 shall apply during NCAA championships to all personnel (e.g., coaches, trainers, managers) who are on the team bench
for practices and games or who participate in NCAA news conferences. (Adopted: 8/11/98 effective 8/1/99 those contracts between
institutions and apparel manufacturers or distributors that include logo specifications may be honored provided such contracts were in
effect before 8/11/98)
31.1.8 Logo Restrictions -- Noncompeting Participants. The logo restriction on student-athletes' apparel set forth in
Bylaw 12.5.4 shall apply to commercial logos on uniforms worn by band members, cheerleaders, dance team members and the
institution's mascot during NCAA championship events. (Adopted: 8/11/98 effective 8/1/99)
31.1.9 Medical Disqualification. The student-athlete’s team physician shall examine each athlete injured during NCAA
competition and make a recommendation to the athlete, the coach and the chair of the governing sports committee, or the
chair’s designated representative, as to the advisability of continued participation or disqualification of the athlete. In the absence
of said team physician, the NCAA tournament physician, as recommended by the host institution and approved by the
governing sports committee, shall examine the injured athlete and make a recommendation as noted above. The chair of the
governing sports committee, or the chair’s designated representative, shall be responsible for enforcement of the medical
recommendation if it involves disqualification.
31.1.10 Misconduct. Each games committee shall hold a pretournament meeting with the coaches of participating
institutions to review and explain the policies related to misconduct (as defined in Bylaw 31.02.4).
    31.1.10.1 Hearing Opportunity. An act of misconduct may be found upon an administrative hearing granted to the
    student-athlete or the institutional representative involved by the governing sports committee or the games committee
    authorized to act for it.
    31.1.10.2 Misconduct Incident During Competition. If the act of misconduct occurs during the competition, under
    normal circumstances the individual shall be allowed to complete the competition in which the individual is participating at
    the time of the incident. An administrative hearing shall be held at the conclusion of the day’s competition, during a break
    in the continuity of the championship (e.g., between rounds of a basketball tournament) when no competition is being
    conducted or at the conclusion of the championship. However, if the act of misconduct is so flagrant that it obviously
    violates the principles of fair play and sportsmanship, the games committee may immediately withdraw the student-athlete
    or institutional representative from the competition and conduct the hearing following this action. Other acts of
    misconduct may be dealt with at the governing sports committee’s convenience. (Revised: 8/13/92)
    31.1.10.3 Penalty for Misconduct. A governing sports committee (or the games committee authorized to act for it)
    may impose any one or a combination of the following penalties on an institution or any student-athlete or representative of
    an institution guilty of misconduct: (Revised: 8/13/92, 11/1/07 effective 8/1/08, 1/14/08 effective 8/1/08, 8/7/14)
     (a) Public or private reprimand of the individual;
     (b) Disqualification of the individual from further participation in the NCAA championship involved;
     (c) Banishment of the individual from participation in one or more following championships of the sport involved;
     (d) Cancellation of payment to the institution of the Association's travel guarantee for the individuals involved;
     (e) Withholding of all or a portion of the institution's share of revenue distribution;
     (f) Banishment of the institution from participation in one or more following championships in which its team in that
         sport otherwise would be eligible to participate;
     (g) Disqualification of an institution for a period of time from serving as host institution for one or more NCAA
         championships;
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     (h) Cancellation of all or a portion of the honorarium for hosting an NCAA championship; and
     (i) Financial or other penalties different from (a) through (h) above, but only if they have prior approval of the applicable
         sport oversight committee or the Competition Oversight Committee.
    31.1.10.4 Ban from Subsequent Championship. When a student-athlete or institutional representative is banned
    from participation in a subsequent championship, such penalty shall be applied to the next tournament(s) in which the
    individual’s team is involved and the individual otherwise is eligible to participate. In the case of an individual event, the
    penalty shall be applied to the next meet(s) or tournament(s) for which the individual qualifies and otherwise is eligible to
    participate.
    31.1.10.5 Review of Action. Any action related to misconduct may be reviewed by the governing sports committee
    upon request of any institution participating in the championship.
31.1.11 Failure to Adhere to Policies and Procedures.
    31.1.11.1 Financial Penalties. Pursuant to established policies and procedures, a governing sports committee may
    assess a financial penalty against an institution for failure of any of its representatives to adhere to the policies and
    procedures governing championships administration, subject to review by and appeal to the applicable sport oversight
    committee or the Competition Oversight Committee. (Revised: 5/7/90, 11/1/07 effective 8/1/08, 10/29/09, 8/7/14, 4/26/17
    effective 8/1/17)
    31.1.11.2 Late-Entry Fines. Institutions shall not be charged entry fees for teams or student-athletes competing in
    NCAA championships, but governing sports committees may establish late-entry fines, subject to the approval of the
    applicable sport oversight committee or the Competition Oversight Committee. (Revised: 11/1/07 effective 8/1/08, 8/7/14)
31.1.12 Awards. The Association has created standard participant and commemorative awards for individuals and teams that
participate in NCAA championships. The number of such awards for each championship shall be determined by the governing
sports committee, subject to the approval of the applicable sport oversight committee (men's basketball, women's basketball or
football) or the Competition Oversight Committee (for all other sports). These official NCAA awards shall be the only awards
presented by the Association to teams and individuals for participation in NCAA championships competition and shall be the
only awards presented at the site of an NCAA championship. "At the site" is intended to include the period from the time access
to the site is available to spectators until all patrons have left the facility or area used for competition. (See Figure 16-1, Figure
16-2 and Figure 16-3 for additional limitations on awards.) (Revised: 8/8/02, 11/1/07 effective 8/1/08, 8/7/14)
    31.1.12.1 Additional Awards. Subject to the director of athletics' discretion, an institution may purchase standard
    participant or commemorative awards at the level in which the institution competed. The NCAA awards form shall be used
    to purchase additional awards. (Adopted: 8/8/02, Revised: 10/28/04, 5/18/05)
    31.1.12.2 Other Permissible Awards. The above provision places no restriction on the presentation of awards at
    banquets or meetings held in conjunction with the championship or at sites other than that of the championships
    competition itself.
31.1.13 Admission and Tickets. Admission shall be charged at all NCAA championships unless a governing sports
committee determines that charging admission is not feasible because of facility configuration or the expense relative to the
event's attendance history. Ticket prices shall be determined by the respective games committees with the approval of the
governing sports committee.
31.2 Eligibility for Championships.
31.2.1 Institutional Eligibility. To be eligible to enter teams or individual student-athletes in NCAA championships, an
institution shall recognize the sport involved as a varsity intercollegiate sport (see Bylaw 17.02.18) and shall meet the
institutional requirements set forth in Bylaw 18.4.2 applicable to the division in which the institution is a member or for which
it is petitioning for eligibility in a sport. An institution that holds membership in a member conference may not enter teams or
individuals in an NCAA championship unless they are eligible for such competition under the rules of that conference [see
Bylaw 18.4.2.1-(a)].
    31.2.1.1 Commitment to Participate. Eligible members in a sport that are not also members of the National
    Association of Intercollegiate Athletics will participate (if selected) in the NCAA championship or in no postseason
    competition in that sport. (Revised: 8/12/91)
    31.2.1.2 Deadline. The institutional eligibility requirements for entry into NCAA championships (see Bylaw 18.4.2)
    must be met by the following dates [in addition to the deadline for the academic reporting form required for Division I set
    forth in Bylaw 18.4.2.2-(c)]:
     (a) September 15 for fall championships;

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    (b) December 1 for winter championships; and
    (c) March 1 for spring championships.
         31.2.1.2.1 Compliance with Deadline. Any dues check or approved form required shall be received in the
         national office by the applicable date or must have been postmarked not later than seven days prior to the applicable
         date.
   31.2.1.3 Deadline Waivers. Institutions that fail to meet a deadline for institutional eligibility in NCAA championships
   may appeal to the applicable sport oversight committee or the Competition Oversight Committee for a waiver. If the appeal
   is granted, the institution may be restored to eligibility for NCAA championships. (Revised: 11/1/07 effective 8/1/08, 8/7/14,
   10/4/17)
         31.2.1.3.1 Penalty for Additional Waiver. An institution that fails to meet a deadline again may be granted a
         waiver only on payment of a penalty of $150 for the second offense and $300 for each offense thereafter during the
         five-year period preceding the last offense. On approval of such waiver and receipt of the institution's check in the
         national office, the institution may compete in NCAA championships, provided it is otherwise eligible. (Revised:
         1/11/07 effective 8/1/08)
   31.2.1.4 Joint-Declaration Program. The NCAA and the National Association of Intercollegiate Athletics together
   administer a joint-declaration program in those men's and women's sports in which there is a date conflict between the
   national championships of the two organizations. In such championships, each institution that holds membership in both
   organizations must declare by mid-September each year whether it will participate (if selected) in the NAIA championship,
   in the NCAA championship or in no postseason competition in that sport. An institution that fails to submit the joint-
   declaration form by the established deadline shall be ineligible to compete in both associations' championships in the
   particular sport(s) that year. An appeal process exists for such institutions and such an appeal may be submitted to the
   applicable sport oversight committee or the Competition Oversight Committee. (Revised: 11/1/07 effective 8/1/08, 8/7/14,
   10/4/17)
   31.2.1.5 National Collegiate Championships. In team sports in which the NCAA offers only one national
   championship, all member institutions in good standing are eligible to compete in accordance with the requirements of
   division membership (see Bylaw 20.10) and institutional eligibility (per Bylaw 31.2.1).
   31.2.1.6 Division Championships. In those sports in which national-championship competition is offered in more
   than one division, only those member institutions that meet the membership requirements of the respective divisions or
   requirements applicable to institutions competing outside their membership divisions are eligible to compete in such
   division championships (see Bylaw 20).
   31.2.1.7 Eligibility Requirements. Institutional eligibility for all championships shall be limited to member
   institutions that meet institutional eligibility requirements (see Bylaw 31.2.1) and any additional requirements specified in
   the applicable championships handbooks.
         31.2.1.7.1 Eligibility of Participants. An institution shall advise the NCAA championships staff if a student-
         athlete who has participated in regular-season competition becomes ineligible before the date on which the governing
         sports committee selects championship participants, as indicated in the appropriate championships handbook.
             31.2.1.7.1.1 Failure to Report Ineligible Student-Athlete Prior to Selection. If an institution fails to
             report an ineligible student-athlete prior to being selected to participate in the championship, the governing sports
             committee may declare the institution ineligible to participate in the tournament for one or two years.
             31.2.1.7.1.2 Discovery of Ineligibility of Student-Athlete After Selection. If an institution fails to
             report an ineligible student-athlete and the omission is not discovered until after the institution is selected to
             participate in the championship, necessitating the institution's withdrawal from the championship, that
             withdrawal shall be considered as one of the years of ineligibility, provided another institution participates in the
             championship in place of the disqualified institution. If the discovery of the ineligible student-athlete occurs so
             near the beginning of the championship that the governing sports committee does not have a reasonable period of
             time to replace the disqualified institution in the bracket, that fact shall be taken into consideration in determining
             the number of years the disqualified institution shall be ineligible to participate.
             31.2.1.7.1.3 Review of Violation of Terms of Availability Questionnaire. When an institution is alleged
             to have violated the terms of an availability questionnaire (e.g., failing to report an ineligible student-athlete), it
             may be represented at the meeting of the governing sports committee when the committee determines whether a
             violation occurred and, if so, whether the institution shall be ineligible to participate in the tournament for one or
             more years. The institution may submit a written statement or make an in-person presentation, or both. After the
             governing sports committee has ruled on the matter, its decision shall be final unless the institution appeals the
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              decision to the applicable sport oversight committee or the Competition Oversight Committee. The applicable
              sport oversight committee or the Competition Oversight Committee shall hear the appeal at one of its regularly
              scheduled meetings unless there are compelling reasons to conduct a special meeting for such purpose. (Revised:
              11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
         31.2.1.7.2 Protest Regarding Eligibility of Team. Any team that has been duly certified as eligible for an NCAA
         championship shall not be withheld from participation because of any protest made or filed during the progress of the
         competition or during a period 24 hours immediately before the championship. If there is a break in the continuity of
         the championship (e.g., between rounds of a basketball tournament) when no competition is being conducted, a team
         may be withheld from further competition in the championship, provided such protest is made or filed at least 24
         hours before the next segment of the championship.
31.2.2 Individual Eligibility. All student-athletes, regardless of division, must meet the eligibility standards established for
NCAA championships competition. The general and academic eligibility requirements are set forth in detail in Bylaws 12 and
14, in which there also is reference to other legislation regarding eligibility of the individual student-athlete. Other specific
requirements for eligibility for NCAA championships (e.g., authority of the Committee on Academics, Committee on Student-
Athlete Reinstatement, amateur status certification and ineligibility for use of banned drugs) are set forth in Bylaws 10.3, 10.4
and 18.4.1. (Revised: 3/5/97, 11/1/07 effective 8/1/08, 8/7/14, 10/30/14, 6/29/16)
    31.2.2.1 Eligibility Requirements. A member institution shall not enter a student-athlete, as an individual or as a
    member of a team, in an NCAA championship unless the student-athlete satisfies the relevant eligibility requirements of
    Bylaw 14. (Revised: 8/15/89)
    31.2.2.2 Protest of Eligibility Status. Any student-athlete duly certified by the institution for an NCAA championship
    shall not be withheld from participation because of any protest made or filed during the championship or during the 24
    hours immediately before the championship. If there is a break in the continuity of the championship (e.g., between rounds
    of a basketball tournament) when no competition is being conducted, the student may be withheld from further
    competition in the championship, provided the protest is made or filed at least 24 hours before the next segment of the
    championship.
    31.2.2.3 Participation While Ineligible. When a student-athlete competing as an individual or representing the
    institution in a team championship is declared ineligible following the competition, or a penalty has been prescribed or
    action taken as set forth in Bylaw 19.12.8-(g) or the Committee on Infractions may require the following: (Revised: 8/15/89,
    4/26/01, 7/31/14, 1/23/19 effective 8/1/19)
     (a) Individual Competition. The individual's performance may be stricken from the championships records, the points
         the student has contributed to the team's total may be deleted, the team standings may be adjusted accordingly, and
         any awards involved may be returned to the Association. For those championships in which individual results are
         recorded by time, points or stroke totals (cross country, golf, gymnastics, indoor track and field, outdoor track and
         field, rifle, swimming and skiing), the placement of other competitors may be altered and awards presented
         accordingly. For those championships in which individual results are recorded by advancement through a bracket or
         head-to-head competition, the placement of other competitors shall not be altered.
     (b) Team Competition. The record of the team's performance may be deleted, the team's place in the final standings
         may be vacated, and the team's trophy and the ineligible student's award may be returned to the Association.
    31.2.2.4 Institutional Penalty for Ineligible Participation. When an ineligible student-athlete participates in an
    NCAA championship and the student-athlete or the institution knew or had reason to know of the ineligibility, the
    Committee on Infractions may assess a financial penalty. (Revised: 4/26/01 effective 8/1/01, 1/23/19 effective 8/1/19, 8/31/22
    effective 1/1/23)
31.3 Selection of Teams and Individuals for Championships Participation. A list of the
institutions in good standing shall be supplied by the NCAA president to the chair of each governing sports committee and to
the athletics director of the host institution. This list should be observed carefully to ensure that no entries are accepted from or
invitations extended to ineligible institutions.
31.3.1 Size of Championships Fields. The size of all NCAA championships fields shall be established by the applicable
sport oversight committee or the Competition Oversight Committee to provide for efficient management of the events,
adequate NCAA championship opportunities relative to the nationwide quality of competition and sound economic
administration of the financial resources of the Association and its championships. (Revised: 8/13/93, 1/14/97 effective 8/1/97,
11/1/07 effective 8/1/08, 8/7/14, 10/4/17)



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31.3.2 Selection Decisions of Sports Committees. The determination of sites, selection of teams or individuals, or
their site assignment in championships competition made by a governing sports committee (or a designated subcommittee) may
not be appealed.
31.3.3 Criteria for Selection of Participants. The following criteria shall be employed by a governing sports committee
in selecting participants for NCAA championships competition, and a governing sports committee that wishes to use additional
criteria must obtain approval from the applicable sport oversight committee or the Competition Oversight Committee before
doing so: (Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
 (a) Won-lost record;
 (b) Strength of schedule; and
 (c) Eligibility and availability of student-athletes for NCAA championships.
    31.3.3.1 Countable Competition. For NCAA team-championship selection purposes, competition is countable only
    when the teams played are varsity intercollegiate teams of four-year, degree-granting institutions that conduct a majority of
    their competition in that team sport against varsity intercollegiate teams (see Bylaw 20.2.4.6) of United States four-year,
    degree-granting institutions. Competition against service teams, professional teams, semiprofessional teams, amateur teams,
    two-year colleges and club teams shall be excluded.
    31.3.3.2 Qualifying Standards. Individuals and teams required to meet performance standards to qualify for NCAA
    championships competition shall achieve such standards in meets held during the same academic year as the particular
    championship.
    31.3.3.3 Ineligible Student-Athletes on Team. The presence on a varsity squad of one or more student-athletes who
    are ineligible, or unavailable due to injury, for NCAA championships competition does not necessarily disqualify that team
    from consideration. If such a student-athlete contributed materially to the team’s success during the season, the committee
    may choose not to select that team, based on the conclusion that without the use of the ineligible or unavailable student-
    athlete, the team would not have been able to compile the record that brought it before the committee for consideration. It
    shall be the responsibility of the governing sports committee to apply the criterion "contributed materially" to each case as it
    arises.
    31.3.3.4 Removal of Committee Member from Selection Process. If a team or individual athlete of the institution
    of a member of the governing sports committee is under consideration for selection, that person shall withdraw from the
    committee deliberations while that team or individual is being considered and shall not participate in any discussion or vote
    affecting that particular selection. The chair of the committee may appoint a replacement if it is deemed necessary. In the
    event the chair must withdraw, an individual shall be appointed by the chair to assume the responsibilities of the chair. The
    new chair may appoint a replacement to fill the vacancy if it is deemed necessary. In the event a replacement is appointed,
    geographical representation on the committee shall be maintained insofar as possible.
    31.3.3.5 Exclusion of Institution Reclassifying from Division II to Division I. In all sports, any Division II
    institution that has forwarded to the national office written notice of its intention to change its membership classification to
    Division I per Bylaw 20.7.1.1 or that has petitioned to reclassify to Division I per Bylaw 20.7.3.1 no longer shall be eligible
    to participate in any subsequent NCAA Division II championship. (Adopted: 1/11/94 effective 8/1/94)
31.3.4 Automatic Qualification. Each governing sport committee shall forward annually to the applicable sport oversight
committee or the Competition Oversight Committee those conferences that should receive automatic qualification for their
teams or individual student-athletes into NCAA championships. Prior to forwarding the list of conferences to receive automatic
qualification, a governing sport committee shall ensure that the member conference meets the requirements specified in Bylaws
31.3.4.1 through 31.3.4.6. A member conference may appeal to the applicable sport oversight committee or the Competition
Oversight Committee the automatic-qualification review of the sport committee and the committee's decision to find, or not
find, a conference qualified for automatic-qualification status. The decision on such appeals will be final. (Revised: 1/14/97
effective 8/1/97, 4/27/00, 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
    31.3.4.1 Requirements -- Division I Championship. To be eligible for automatic qualification in a Division I
    Championship, a member conference must meet the following requirements: (Revised: 12/9/91, 8/13/93, 12/5/94, 10/18/95,
    10/27/98, 4/20/99, 1/9/06 effective 8/1/06, 12/15/06)
     (a) Conference competition must be conducted in the applicable sport and the conference champion in that sport must be
         determined not later than the date on which participants are selected for the NCAA championship, either by regular
         in-season conference competition or a conference meet or tournament, as indicated at the time of application. If a
         conference's competition to determine its automatic qualifier is unexpectedly terminated (e.g., due to inclement


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         weather), the conference may designate its qualifier, provided it has established objective criteria for making that
         designation and has communicated that information to the appropriate sports committee by a specified deadline.
    (b) In the event of a tie for the conference championship, the conference shall have the responsibility of determining which
        team or individual shall represent the conference in NCAA competition. If a play-off is held, such competition shall be
        considered conference competition, not NCAA competition.
    (c) In sports other than championship subdivision football, a conference may establish subdivisions and conduct
        competition within each subdivision to determine a conference champion, as long as each subdivision consists of at
        least four members. A conference with subdivisions of four members must conduct double round-robin competition
        within each subdivision, plus a postseason tournament, to determine its champion. A conference with subdivisions of
        five or more members may conduct either single or double round-robin competition within each subdivision, plus a
        postseason tournament to determine its champion. (Note: This regulation does not apply to Division I men's or
        women's basketball. In those sports, a conference may conduct either double round-robin, in-season competition, or a
        minimum of 14 conference games in order to determine its champion.)
    (d) In championship subdivision football, football-playing conferences that subdivide into five or more teams are required
        to conduct a single round-robin competition within each division and develop a formula for determination of the
        conference champion, which must be approved by the Football Championship Committee prior to the start of the
        season. A postseason championship game is not required.
    (e) The conference must maintain and actively enforce compliance with eligibility rules at least as stringent as those in
        Bylaw 14 applicable to its members. The use of an ineligible student-athlete by a team in a conference that has been
        granted automatic qualification may result in the involved team being denied the right to be the automatic entry in the
        NCAA championship. The governing sports committee may recommend loss of the automatic-qualification privilege
        for the conference during the season in which the violation occurred or for a future championship.
    (f) All eligible member institutions must agree to participate in the applicable NCAA championship. If a conference
        champion is ineligible to compete, declines to compete or cannot compete for any reason, automatic qualification shall
        be withdrawn for that year and the remaining conference members shall be considered at large. Automatic qualification
        for a conference shall not be withdrawn if a conference champion declines to compete in an NCAA championship for
        reasons related to written religious policies against competition on certain days. Under such circumstances, the
        conference's second-place team (as determined by the conference) shall receive the automatic bid to the NCAA
        championship.
    (g) All institutions may hold membership in only that conference in the sport in which automatic qualification is sought
        and may participate in only that conference's process to determine the automatic qualifier.
         31.3.4.1.1 Notification -- Automatic Qualification in Jeopardy. A governing sports committee must issue a
         written warning one year in advance to a conference that is in jeopardy of losing its automatic qualification. (Note:
         This regulation does not apply to championships in which a play-in system has been established.)
   31.3.4.2 Requirements -- National Collegiate Championship. [#] To be eligible for automatic qualification in a
   National Collegiate Championship, a member conference must meet the following general requirements: (Adopted: 1/9/06
   effective 8/1/06)
    (a) Have at least six active members that sponsor the applicable sport in any division (Note: A provisional member in the
        process of becoming an NCAA member may not be used to meet the requisite number.);
    (b) The six active members must have conducted conference competition together for the preceding two years in the
        applicable sport;
    (c) There shall be no waivers of the two-year waiting period; and
    (d) Any new member added to a conference that is eligible for an automatic bid shall be immediately eligible to represent
        the conference as the automatic qualifier.
   31.3.4.3 Additional Requirements -- Sports Other Than Basketball.
         31.3.4.3.1 Multisport Conference. To be considered eligible for automatic qualification in a particular sport, a
         multisport conference (see Bylaw 20.02.8) must be a core conference (see Bylaw 31.02.3) and must include six
         institutions that sponsor the sport and conduct conference competition together. (Revised: 4/27/00 10/00, 4/29/04
         effective 8/1/04, 8/5/04, 1/15/11 effective 8/1/11)
         31.3.4.3.2 Single-Sport Conference. To be considered for automatic qualification in a particular sport, a single-
         sport member conference for a sport sponsored by less than 50 percent of the Division I membership must include six


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         institutions that have conducted conference competition together the preceding two years in the sport in question at
         the Division I level. (Adopted: 8/5/04, Revised: 4/27/06 effective 8/1/06)
         31.3.4.3.3 Grace Period. A conference shall remain eligible for automatic qualification for two years following the
         date of the withdrawal of the institution(s) that causes the conference's membership to fall below six institutions that
         sponsor the sport and conduct conference competition together, provided the conference maintains at least five
         Division I members. (Adopted: 8/5/04, Revised: 1/15/11 effective 8/1/11)
    31.3.4.4 Additional Requirements -- Basketball. To be considered eligible for automatic qualification in basketball,
    a member conference must be a core conference (see Bylaw 31.02.3) and must meet the requirements of Bylaw 20.02.8.
    (Revised: 8/14/90, 12/3/90, 4/27/00, 4/29/04 effective 8/1/04, 1/15/11 effective 8/1/11)
         31.3.4.4.1 Grace Period. A conference shall remain eligible for automatic qualification for two years following the
         date of withdrawal of the institution(s) that causes the conference's membership to fall below seven institutions that
         sponsor the sport and conduct conference competition together, provided the conference maintains at least six Division
         I members (see Bylaw 20.02.8). (Adopted: 4/27/00, Revised: 4/29/04 effective 8/1/04, 1/15/11 effective 8/1/11)
    31.3.4.5 Sports Groupings for Automatic Qualification. For purposes of evaluating criteria for automatic
    qualification, the various sports shall be grouped as follows: (Revised: 4/26/07 effective 8/1/07, 11/1/07 effective 8/1/08,
    8/7/14, 10/4/17, 6/23/20 effective 8/1/20)
     (a) Team Sports -- baseball, basketball, beach volleyball, bowling, field hockey, football, ice hockey, lacrosse, rowing,
         soccer, softball, volleyball and water polo. In this category, subject to the approval of the applicable sport oversight
         committee or the Competition Oversight Committee, a sport committee may grant exceptions to the six-team
         requirement for sports that are sponsored by less than 30 percent of the membership, provided the conference
         previously included six teams that sponsored the sport;
     (b) Timed Individual Sports -- indoor track and field, outdoor track and field, and swimming; and
     (c) Other Individual Sports -- cross country, fencing, golf, gymnastics, rifle, skiing, tennis and men's wrestling. In this
         category, a sports committee may grant exceptions to the six-team requirement, subject to the approval of the
         applicable sport oversight committee or the Competition Oversight Committee.
    31.3.4.6 Limitations on Automatic-Qualifying Positions.
         31.3.4.6.1 Team Sports Other Than Men's Basketball. In team sports, per Bylaw 31.3.4.5-(a), excluding
         football and any team sport in which automatic qualification is not offered, the sport committee must award, if a
         sufficient number of applications for automatic qualification exist, at least 50 percent of the championship field to
         conferences that meet automatic-qualification criteria and provide play-in criteria. In sports other than men's
         volleyball, men's water polo and women's water polo, the remaining 50 percent of the championship field shall be
         reserved for at-large teams. It will be the responsibility of the applicable sport oversight committee or the Competition
         Oversight Committee to determine if a conference play-in to a championship field is to be administered by the NCAA
         championships staff or by the member conferences. (Adopted: 4/20/99, Revised: 11/1/07 effective 8/1/08, 4/28/11 effective
         8/1/11, 8/7/14, 10/4/17)
         31.3.4.6.2 Men's Basketball. In men's basketball, subject to the championships-access guarantee afforded to
         members as set forth in Bylaw 18.01.3 (e.g., all contests that are part of the championship shall be administered and
         funded by the NCAA and broadcast on television and any team that participates in the championship shall be awarded
         at least one financial unit), there shall be a minimum of 34 at-large selections and the remainder of the championship
         field automatic-qualifying positions. All competition in the championship is to be administered by the NCAA
         championships staff. (Adopted: 4/20/99, Revised: 12/15/06)
31.3.5 Selection of Balance of Championship Field. Once the official representative(s) of each qualifying conference is
determined, the governing sports committee responsible for selection of the balance of the championship field shall consider
objectively and without prejudice the competitive records of all other eligible student-athletes and teams (including
representatives of the other members of the conferences receiving automatic qualification). To the best of its ability, the
committee shall select the most highly qualified individuals and teams to complete the championship field in accordance with
the regional structure, if any, approved for the particular championship.
31.3.6 Institution Trademarks. Participation in a national collegiate championship constitutes acquiescence by the
member institution that the Association may use the institution's name, mascot and other identifying marks in championship-
related activities, including television, promotion, licensing and merchandising programs incident to the championship.
Revenues derived from such activities, less expenses, will be remitted to the member institution. (Revised: 11/3/93)
31.4 Financial Administration of Championships.
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31.4.1 Host Institution's Responsibility. The host institution shall administer the finances of an NCAA championship
in accordance with this bylaw and consistent with the institution's championship budget, as submitted to and approved by the
governing sports committee and the applicable sport oversight committee or the Competition Oversight Committee. (Revised:
11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
    31.4.1.1 Institution's Financial Report. A financial report from each championship site shall be submitted to the
    NCAA president not later than 60 days following the conclusion of the competition and shall bear certification of the
    athletics director of the host institution. The report shall be submitted on a form approved and provided by the NCAA
    president.
         31.4.1.1.1 Exclusions. A host institution or sponsoring agency shall not include in its financial report or in its
         percentage of net receipts television rights fees or income from the sale of championships merchandise. Also, income
         from program advertising or sales shall not be included in the host institution’s or sponsoring agency’s financial report
         or percentage of net receipts if the program is produced and sold under contract between the NCAA and an outside
         agency.
31.4.2 Gross Receipts. Gross receipts shall be all revenues derived from the championship, including:
 (a) Sale of tickets. All tickets shall be accounted for at face value and shall become a part of gross receipts. Working passes may
     be provided to bona fide working personnel, including media representatives; and participation passes may be provided to
     student-athletes competing in the championship and to their coaches, athletic trainers, managers and other members of the
     participating institution's official party as defined by the Association;
 (b) Net revenue from marketing items sold at the site through or by an outside agency under contract with the NCAA;
 (c) Program sales and advertising;
 (d) Radio, television and movie rights; and
 (e) Any other income derived from the operation of the championship.
    31.4.2.1 Exclusions. Income from concessions and parking shall accrue to the host institution or sponsoring agency and
    is not included in gross receipts. Sales commissions received by a host institution for selling marketing items on behalf of an
    outside agency under contract with the NCAA shall accrue to the host institution.
    31.4.2.2 Waiver. Any waiver of the policies for the gross receipts of championships shall be approved in advance by the
    applicable sport oversight committee or the Competition Oversight Committee. (Revised: 11/1/07 effective 8/1/08, 8/7/14,
    10/4/17)
31.4.3 Game Expenses. Game expenses are the actual costs directly related to the administration and conduct of the
championship, including specifically the costs for tickets (printing, selling and collecting), sales taxes, ushers, game officials,
police, buildings and grounds expenses, printing of related materials, motion pictures of the competition (if authorized by the
applicable sport oversight committee or the Competition Oversight Committee), reasonable entertainment, expenses of selection
committees authorized by the governing sports committee and any other out-of-pocket expense directly related to the
administration and conduct of the championship. (Revised: 12/2/90, 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
    31.4.3.1 Exclusions. The following items shall not be included as game expenses:
     (a) The cost of permanent equipment, local transportation of competing teams and on-campus facility rental charges; and
     (b) A fee or honorarium for athletics department staff members of the host institution (e.g., athletics director, assistant
         athletics director, business manager, ticket manager, coach, sports information director or athletic trainer). (Note: Such
         a payment could be made from the host institution's share of net receipts.)
    31.4.3.2 Waiver. Any waiver of the policies for game expenses shall be approved in advance by the applicable sport
    oversight committee or the Competition Oversight Committee. (Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
31.4.4 Institutional Allowance. The host institution may share in the balance remaining after game expenses are deducted
from the gross receipts. Television rights fees and income from championships programs and merchandise produced and sold
under contract between the NCAA and an outside agency shall not be included in determining the host institution’s allowance.
    31.4.4.1 Permissible Allowances. The amount of institutional allowance varies with the sport, the level of
    championships competition, whether there is a common site for men's and women's championships and whether an
    institution's facilities are used. The permissible institutional allowances (from balance of gross receipts after deduction of
    game expenses) are as follows: (Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
                                            TEAM                            INDIVIDUAL
                                      Preliminary         Final        Preliminary               Final

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     One day                          $575                $1,150       $700                       $1,725
     Two days                         $750                $1,450       $870                       $2,000
     Three or more days               $920                $1,725       $1,150                     $2,300

    -- For championships conducted at institutional facilities, hosts may deduct the permissible allowance above or a maximum
    of 15 percent of gross receipts after deduction of game expenses (20 percent for the NCAA Division I Men's Basketball
    Championship), whichever is greater.
    -- For championships conducted at off-campus facilities, hosts may deduct the permissible allowance or a maximum of 10
    percent of gross receipts after deduction of game expenses, upon the recommendation of the sports committee and approval
    of the applicable sport oversight committee or the Competition Oversight Committee.
    -- Amount is doubled for common-site men's and women's championships.


    31.4.4.2 Restrictions. The following restrictions apply to allowances to host institutions:
     (a) If an institution's department of intercollegiate athletics must pay a rental fee for the use of an on-campus facility, such
         fee shall be deducted from the institution's share of the net receipts or allowance; and
     (b) No other sum from the receipts of an NCAA championship, or from any other source, shall be paid to the college or
         university sponsoring or acting as host of the NCAA championship except to cover actual and necessary expenses
         directly incurred in the conduct of the championship as noted in Bylaw 31.4.3.
31.4.5 Administrative Expenses. After the institution’s allowance has been deducted, the athletics director of the host
institution shall forward the remaining receipts to the NCAA president, who then deducts administrative expenses and costs
incurred by governing sports committees and their representatives in matters of championships administration.
31.4.6 Transportation and Per Diem Expenses. Subject to the availability of funds, the Association may pay
transportation and per diem expenses incurred by teams and individual competitors in NCAA championships competition.
Transportation expenses and per diem allowances for the official traveling parties of competing institutions in Division I and
National Collegiate team championships and individual-team championships shall be determined and provided in accordance
with policies and procedures established by the applicable sport oversight committee or the Competition Oversight Committee.
On an annual basis, the percentage of transportation expense and the per diem allowance to be paid in each championship for
the next academic year shall be announced to the membership. (Revised: 4/26/07, 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
31.4.7 Expenses for Family Travel to Final Four -- Basketball. The Association may provide travel expenses for
family members of each student-athlete who travels with the student-athlete's team that participates in the men's or women's
basketball Final Four. The expenses shall be provided in accordance with policies and procedures established and maintained by
the Men's Basketball Oversight Committee for the Men's Final Four and by the Women's Basketball Oversight Committee for
the Women's Final Four. (Adopted: 1/24/19)
31.4.8 Net Receipts. After payment of game and administrative expenses for each championship, the NCAA president shall
place the remaining money in the general operating fund of the Association to be used to cover other expenses of the Association
and to be apportioned among member institutions, as directed by the Board of Directors Finance Committee. (Revised: 8/14/90,
11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
31.4.9 Distribution of Forfeited Receipts. An institution may be obligated to return its share of the revenue distribution
for permitting an ineligible student-athlete to participate in the championship (see Bylaw 31.2.2.4). If so, such funds shall be
distributed among other member institutions according to a formula prescribed by the Board of Directors Finance Committee.
(Revised: 8/14/90, 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
31.4.10 Publication of Championships Financial Summaries. A financial summary of each championship shall be
published on the Association's website.
31.5 Financial Administration of Postseason Football. [FBS/FCS] Requirements that must be
met in order for an institution to participate in a postseason bowl game are set forth in Bylaw 18.7 and the NCAA postseason
football handbook. (Adopted: 11/1/00, Revised: 1/14/12 effective 4/1/12)
31.6 Rights to NCAA Properties and Marketing Restrictions.
31.6.1 Names and Marks. The NCAA owns or controls all rights and interests in its name, logo, seal, trademarks and
service marks, whether registered or unregistered, including "National Collegiate Athletic Association," "NCAA," "National
Collegiate Championships," "NCAAction," "College Sports USA," "The Final Four," "Women’s Final Four," "College World
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Series," "Women’s College World Series" and "Stagg Bowl." The NCAA will prosecute infringement of identical or confusingly
similar marks. The NCAA shall maintain control over the nature and quality of the goods and services rendered under the
marks; therefore, no use of the marks by others will be permitted in advertising, in association with commercial services or
related to the sale of merchandise without the specific approval of the NCAA. (Revised: 1/29/90)
31.6.2 Concessions. The following conditions or restrictions apply to all concession items sold at any event sponsored or
administered by the Association: (Revised: 12/4/89, 4/25/18 effective 8/1/18)
 (a) Any merchandise or material bearing any name, logo, trademarks or service marks of the Association that is to be sold or
     distributed at an event sponsored or administered by the Association must have the prior approval of the NCAA president
     before being sold or distributed. No such merchandise or material shall be sold or distributed by anyone except as
     designated by the NCAA. The host institution may sell merchandise that features an institutional mark or logo at NCAA
     competition only if it has guaranteed a sellout of the NCAA merchandise at the site of the competition and has agreed to
     provide the NCAA championship 25 percent of gross sales (after sales taxes) of all non-NCAA championship merchandise.
     The quantity of NCAA merchandise sent to the site shall have the prior approval of the president and shall not be less than
     a comparable shipment to a comparable site of the previous year's championship.
 (b) The NCAA owns the rights to all concession items other than food or drink sold at such events. Any merchandise or
     material to be sold at such events must have prior approval of the NCAA president, and any unapproved material shall be
     barred from the premises. If the championship facility has prior contractual commitments with outside vendors, the NCAA
     will endeavor to work with such vendors to advance the policies of the Association in the sale of concession items as herein
     stated.
 (c) The NCAA may authorize others, including the host institution or the coaches organization for the sport involved in the
     particular event, to sell and distribute concession items.
 (d) Income payable to the NCAA from the sale of concession items other than food and drink at such events shall be included
     in the gross receipts of the championship.
31.6.3 Programs. The Association reserves the right to publish and sell any program sold or distributed for an NCAA
championship. It may award such rights for any championship to another party or agency, provided it retains the right to review
and approve the content of all programs to be sold or distributed, and provided it shall receive a guaranteed amount or
predetermined percentage of program receipts. All financial arrangements for official programs produced by the host institution
or sponsoring agency shall be reflected in the proposed budget, and receipts and expenses shall be entered in the financial report
of the championship. If the program is produced and sold under contract between the NCAA and an outside agency, income
from program advertising or sales shall not be included in the host institution’s or sponsoring agency’s financial report or
percentage of net receipts.
31.6.4 Championships Properties. The Association owns all rights to each and all of its championships as listed in Bylaw
18.3. These rights include, in addition to the rights with respect to participation and admission, rights to television (live and
delayed), radio broadcasting, filming and commercial photography. In addition, the NCAA reserves the right to sell items
developed through the NCAA marketing program at the site of a championship.
    31.6.4.1 Awarding Media Rights. Television, radio and film rights shall be awarded in such a manner as to advance
    most fully the following interests:
     (a) Gate attendance;
     (b) Promotion of interest in the sport;
     (c) Promotion of intercollegiate athletics as a part of collegiate education; and
     (d) Promotion of the Association and its purposes and fundamental policy.
         31.6.4.1.1 Procedures. Specific policy decisions under the foregoing are determined by the governing sports
         committee for the particular championship, subject to the approval of the applicable sport oversight committee or the
         Competition Oversight Committee. Negotiations with respect to the awarding of any such rights shall be conducted by
         the president, who shall have authority to determine the specific terms and conditions and to execute contracts for the
         awarding of such rights on behalf of the Association. Inquiries concerning all such rights should be directed to the
         NCAA president at the national office. In accordance with the policies stated herein, the NCAA president shall
         negotiate with any party interested in such rights when they are available. (Revised: 11/1/07 effective 8/1/08, 8/7/14,
         10/4/17)
    31.6.4.2 Marketing, Licensing, Promotional and Public Affairs Initiatives. The NCAA president shall be
    responsible for the oversight and administration of all marketing, licensing, promotions and public affairs initiatives. The
    NCAA president shall have the authority to appoint ad hoc advisory groups to provide assistance in developing policies to

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    review any initiative and to provide assistance in addressing emerging issues. In addition, negotiations with respect to
    awarding merchandising, marketing and licensing rights (including corporate partner rights) shall be conducted by the
    NCAA president, who shall have the authority to determine the specific terms and conditions and to execute and enforce
    contracts for the awarding of such rights on behalf of the Association. The Board of Governors, at its discretion, may
    request a detailed accounting of any marketing, licensing, promotional and public affairs initiative that resulted in the
    awarding of a contract on behalf of the Association. The Board of Directors and the Council may request a report related to
    any matter handled by the NCAA president under the authority of this legislation. (Adopted: 1/11/00, Revised: 11/1/07
    effective 8/1/08, 8/7/14, 10/30/14)
    31.6.4.3 Photographs, Films and Videotapes. The Association reserves all rights to the use of still photographs, films
    and videotapes of its championships. All rights to photograph, film and videotape NCAA championships may be assigned
    to media representatives for news purposes but otherwise are to be controlled exclusively by NCAA Productions, a unit of
    the NCAA. NCAA Productions shall film or videotape certain NCAA championships, as recommended by the governing
    sports committees and approved by the applicable sport oversight committee or the Competition Oversight Committee. Its
    cost in filming or videotaping an NCAA championship and producing prints or video dubs for the NCAA library of films
    shall be entered as an item of game expenses for that championship. The filming or videotaping of NCAA championships
    by parties other than NCAA Productions (e.g., participating institutions or commercial film production companies) for any
    purpose other than news purposes may be permitted only with the advance written consent of the NCAA president.
    (Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/4/17)
         31.6.4.3.1 Exception. An institution is permitted to designate two team content personnel to be present at NCAA
         championship events for the purpose of capturing video and photographs of the institution's participation in the event
         for the sole use of the institution (not to be released for commercial purposes). (Adopted: 1/9/06, Revised: 10/14/19)
    31.6.4.4 Use of Action Footage on Television News Programs. The games committee of a particular NCAA
    championship for which exclusive rights have not been awarded may permit single television stations or television and/or
    cable networks to broadcast action footage of the championship (on a live or delayed basis) on their regular television news
    programs (see Bylaw 31.6.4.4.1). Unless otherwise approved by the NCAA, these broadcasts shall not exceed three minutes
    of action footage of the championship unless broadcast rights have been secured from the Association by payment of a
    rights fee. The NCAA president shall be authorized to interpret and apply these provisions as necessary.
         31.6.4.4.1 News Program. A "news program" shall be a regularly scheduled program devoted exclusively to general
         news and/or sports news. Sports-entertainment programs do not qualify under this provision.
    31.6.4.5 Live Microphone on Coach. The placement of microphones on a team coach or in team huddles and bench
    areas for television, radio or motion-picture purposes is prohibited in all NCAA championships.
    31.6.4.6 Promotional Announcements for Professional Sports Contests. During the telecast of any NCAA
    championship, there shall be not more than two promotional announcements for telecasts of professional sports contests.
    Each such announcement shall not exceed 15 seconds in length. It may be of a billboard nature only and shall not include
    any action footage of any professional sports contest. If less than the complete championship segment is televised, only one
    such professional announcement shall be permitted. These restrictions shall not apply to postseason bowl games. (Revised:
    8/15/89)
31.7 General Financial Management.
31.7.1 General Operating Budget. The Board of Governors shall adopt a budget for the ensuing fiscal year prior to the
end of any current fiscal year. The budget, as approved, shall list all anticipated revenues and expenses for the coming fiscal year,
including transfers to or withdrawals from reserve funds. (Revised: 10/30/14)
31.7.2 Committee and Delegate Finances.
    31.7.2.1 Allowable Expenses, Committee Members. Any member of an NCAA committee who is entitled under
    the following regulations to reimbursement of expenses for attendance at a committee meeting shall not receive such
    payment if the member fails to remain in actual attendance at the meeting for its entire duration as announced in advance.
    However, in any special case in which a committee member for valid reasons is granted permission by the chair for late
    arrival or early departure, the member shall receive reimbursement in full.
         31.7.2.1.1 Transportation Allowances. A committee member may be reimbursed for the following
         transportation expenses: (Revised: 8/12/91, 1/13/98 effective 2/1/98, 1/12/99, 6/20/08)
          (a) Commercial Airline. The member must travel by coach (or "super saver"); and
          (b) Automobile. The member may claim mileage for the round trip at the NCAA approved rate, based on the most
              direct route between the two points.
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             31.7.2.1.1.1 Travel to Competition Site. A committee member or designated representative who travels to
             the site of preliminary competition in an NCAA championship via either ground or coach-class air may claim
             mileage at the NCAA approved rate based on the most direct route between the two points. (Revised: 1/13/98,
             6/20/08)
         31.7.2.1.2 Per Diem Allowance. A per diem allowance of $75 may be claimed for each day or part thereof away
         from home, except that not more than one day’s travel each way may be claimed. The Association shall pay single-
         room and tax charges for committee members attending scheduled committee meetings or on Association business.
         Incidental charges shall be the responsibility of the committee member. (Revised: 8/3/95, 1/13/98)
         31.7.2.1.3 Actual Expenses. The Council or Board of Governors for Association-wide issues may authorize
         reimbursement of actual expenses if circumstances warrant. (Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/30/14)
         31.7.2.1.4 Meeting Frequency. Payment of expenses for attendance at meetings of an NCAA standing committee
         shall be limited to two meetings per year unless otherwise authorized by the Council or Board of Governors for
         Association-wide issues. (Revised: 8/5/99, 11/1/07 effective 8/1/08, 8/7/14, 10/30/14)
         31.7.2.1.5 Meeting Site. Recommendations for sites of meetings of standing and special committees shall be
         submitted by the committee chair to the NCAA president and are subject to the following conditions: (Revised:
         10/28/97, 1/12/99)
         (a) Committees that meet only once per year are required to meet in the Indianapolis metropolitan area in alternate
             years;
         (b) Committees that meet more than once per year are required to conduct at least one-half of the meetings in the
             Indianapolis metropolitan area (e.g., one of two or two of four); and
         (c) All meetings of NCAA committees shall be held within the 48 contiguous states.
         31.7.2.1.6 Special Committees. The expense allowance for any special committees or for individuals engaged in
         official Association business shall be determined by the Council or Board of Governors for Association-wide issues.
         (Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/30/14)
         31.7.2.1.7 Sports Committees. Meetings of sports committees shall be held at places and times other than those
         authorized for the championships of their respective sports and shall be limited to two days (plus travel time) for
         purposes of the NCAA per diem expense allowance, unless other arrangements have been approved by the Council or
         Board of Governors for Association-wide issues. (Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/30/14)
         31.7.2.1.8 Expense Allowance for Conventions. An expense allowance shall not be granted for committee
         meetings held in connection with a Convention of the Association, except that standing committees that regularly meet
         before or after an Association Convention shall be entitled to one day's per diem for each day or part thereof on
         Association business, subject to the approval of the Council or Board of Governors for Association-wide issues.
         (Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/30/14)
         31.7.2.1.9 Approval of Payments. All expense payments shall be approved in writing by the committee chair or,
         in the case of the Council, Board of Directors and Board of Governors, by the secretary-treasurer or the NCAA
         president. (Revised: 11/1/07 effective 8/1/08, 8/7/14, 10/30/14)
         31.7.2.1.10 Waivers. The NCAA president, subject to the approval of the Council or Board of Governors for
         Association-wide issues, may grant such waivers of the committee-expense regulations in particular cases as are deemed
         advisable to prevent hardship upon a committee or an individual committee member. (Revised: 8/7/47, 11/1/07 effective
         8/1/08, 10/30/14)
   31.7.2.2 Allowable Delegate Expenses.
         31.7.2.2.1 Meetings of Other Organizations. Delegates of the Association attending meetings of other
         organizations (e.g., various sports federations) shall be entitled to the same expense allowances as those outlined in
         Bylaw 31.7.2.
         31.7.2.2.2 Games Committees for International Competition. NCAA delegates to games committees
         appointed to supervise international competition may not receive expenses to more than one meeting during each
         academic year.
         31.7.2.2.3 Governing Boards of Other Organizations. NCAA delegates to the governing boards of other
         organizations may claim an expense allowance for each regular or special meeting of the particular board.
   31.7.2.3 Prohibition Against Funding Olympics. Income from the Association’s championships shall not be
   allocated to the Olympic fund.

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31.7.3 Defense and Indemnification.
   31.7.3.1 Conditions for Defense and Indemnification. The Association shall defend and indemnify any present or
   former employee, committee member, or agent of the Association who is or was a party to or is threatened to be made a
   party to, or who is to be subpoenaed to be deposed or to give evidence in any civil, criminal, administrative, or investigative
   action or proceeding, including those brought by the Association, provided all of the following conditions are met:
   (Adopted: 11/1/01)
    (a) The individual requesting defense and indemnification is being named as a party or subpoenaed to be deposed or to
        give evidence by reason of the fact that the individual is or was an employee, committee member, or agent of the
        Association or is or was serving at the request of the Association as a director, officer, employee, or agent of another
        association, corporation, partnership, joint venture, trust, or other enterprise;
    (b) The individual is determined to have been acting within the scope of the individual's duties to the Association;
    (c) The individual is determined to have been acting in good faith and in a manner the individual reasonably believed to be
        in or not opposed to the best interest of the Association in the performance of the individual's duties to the
        Association. In respect to any alleged criminal action or proceeding, the individual also must be determined to have
        had no reasonable cause to believe the alleged conduct was unlawful;
    (d) The individual promptly and timely notifies the Association's general counsel of the actual or threatened service of
        process, subpoena, notice of deposition, or other legal process before incurring attorney fees or other expenses;
    (e) The individual accepts counsel provided or approved by the Association and agrees to accede to the legal strategies
        approved by the Association's general counsel, including any settlement determinations. In the event that the
        individual wishes to hire other counsel or not accede to the Association's legal strategies, the Association shall not be
        obligated to defend or indemnify the individual, except when it is determined that a conflict of interest exists with the
        Association such that retaining separate counsel is warranted; and
    (f) The individual agrees to repay any expenses, including attorney fees, incurred in bringing or defending a civil or
        criminal action or proceeding paid by the Association in advance of the final disposition of such action or proceeding,
        if it is ultimately determined that the individual is not entitled to be indemnified by the Association as authorized in
        this bylaw.
         31.7.3.1.1 Determination Regarding Conditions for Defense and Indemnification. The determination as
         to whether indemnification is appropriate because the conditions of Bylaw 31.7.3.1 have been satisfied shall be made:
         (Adopted: 11/1/01, Revised: 1/12/09, 10/30/14)
         (a) By the NCAA Board of Governors Executive Committee by a majority vote of a quorum consisting of members
             who are not parties to such action or proceeding. The vote may be taken by electronic mail, telephone, facsimile or
             in person;
         (b) If such a quorum is not obtainable, or, even if obtainable, if a quorum of disinterested Board of Governors
             members so directs, by independent legal counsel in a written opinion; or
         (c) By the NCAA president if so delegated by the Board of Governors.
         31.7.3.1.2 Definition of Committee. For purposes of Bylaw 31.7.3, committee shall include all Association
         committees, boards, cabinets, councils, subcommittees and panels. (Adopted: 11/1/01)
         31.7.3.1.3 Termination of Action or Proceeding. The termination of any action or proceeding by judgment,
         order, settlement, conviction, or upon a plea of nolo contendere or its equivalent, shall not, of itself create a
         presumption in regard to these determinations. However, if an individual is adjudged to be liable for negligence or
         misconduct in the performance of the individual's duty to the Association, there shall be no indemnification unless and
         only to the extent that the court in which such action or suit was brought shall determine that, despite the adjudication
         of liability but in view of all circumstances of the case, such individual is fairly and reasonably entitled to indemnity for
         such expenses as the court shall deem proper. (Adopted: 11/1/01)
   31.7.3.2 Insurance. The Association may purchase and maintain insurance on behalf of any individual who is or was an
   employee, committee member, or agent of the Association, or is or was serving at the request of the Association as a
   director, officer, employee, or agent of another association, corporation, partnership, joint venture, trust, or other enterprise
   against any liability asserted against the individual and incurred by the individual in any such capacity or arising out of the
   individual's status as such, whether or not the Association would have the power to indemnify the individual against such
   liability under the provisions of Bylaw 31.7.3. (Adopted: 11/1/01)



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    31.7.3.3 Definition of Indemnification. For purposes of this bylaw, indemnification shall consist of payment against
    expenses (including attorney's fees), judgments, fines, and amounts paid in settlement actually and reasonably incurred by
    the individual in connection with such action or proceeding. (Adopted: 11/1/01)
31.7.4 Insurance.
    31.7.4.1 Primary Liability. Host institutions and sponsoring agencies of NCAA championships shall have in place
    primary comprehensive general public liability insurance coverage with combined single limits of at least $1 million per
    occurrence for bodily injury and property damage and shall provide the national office with the appropriate insurance
    certificates unless statutes of the state in which the host institution or sponsoring agency is located provide a lesser
    maximum recovery limit and documentation of that statute is on file at the NCAA national office. (Revised: 12/2/90)
    31.7.4.2 Excess Liability. The Association maintains excess liability insurance coverage for the conduct of NCAA
    championships. The coverage includes bodily injury and property damage resulting from accidents.
    31.7.4.3 Injury, Death and Dismemberment. Basic athletics-injury, catastrophic-injury, and accidental death and
    dismemberment insurance for participants in NCAA championships shall be provided by the Association.
31.8 Personnel.
31.8.1 Employment. The NCAA president is authorized to employ such persons as may be necessary to conduct efficiently
the business of the Association. The number of administrative personnel that may be employed shall be determined at the
beginning of each fiscal year and may not be increased without the approval of the Board of Governors. The NCAA president
may employ as many nonadministrative personnel as may be necessary. (Revised: 10/30/14)
    31.8.1.1 Affirmative Action. In the selection of personnel for appointment, the policies and procedures of the
    Association’s affirmative-action program, as approved by the Board of Governors, shall be followed. (Revised: 10/30/14)
31.8.2 Staff Operations. The national office staff operations shall be reviewed by the Board of Governors. Among the items
to be reviewed are: (Revised: 10/30/14)
 (a) Employee compensation;
 (b) Employee benefits; and
 (c) Allegations of improper conduct by any member of the national office staff as reported to the NCAA president.
    31.8.2.1 Employee Compensation and Benefits. The Board of Governors shall review staff compensation and
    benefits at least once each year. (Revised: 10/30/14)
    31.8.2.2 Pension Trust Plan. The policies for the retirement benefits of the staff are set forth in the NCAA Pension
    Trust Plan, which was adopted and may be revised by the Board of Governors. (Revised: 10/30/14)
31.9 National Statistics Program. A national statistics program shall be maintained for active member
institutions in baseball, men's and women's basketball, field hockey, football, men's and women's ice hockey, men's and
women's lacrosse, men's and women's soccer, softball, and men's and women's volleyball. The sport oversight committees and
the Competition Oversight Committee shall oversee the statistics program and approve its policies and procedures. The national
statistics program policies and procedures shall be published on the NCAA website. (Revised: 4/14/06, 11/1/07 effective 8/1/08,
10/30/08, 8/7/14, 10/4/17)




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